          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT
STATE OF TEXAS,                      §
                                     §
      Petitioner,                    §
                                     §
v.                                   §
                                     §
UNITED STATES                        §
ENVIRONMENTAL                        §   Case No. 24-1246
PROTECTION AGENCY AND                §
MICHAEL S. REGAN,                    §
ADMINISTRATOR, UNITED STATES         §
ENVIRONMENTAL PROTECTION             §
AGENCY,                              §
                                     §
      Respondents.                   §

                       PETITION FOR REVIEW

     In accordance with 42 U.S.C. § 7607(b)(1), Federal Rule of Appellate

Procedure 15, and D.C. Circuit Rule 15(a)(1), Petitioner the State of Texas

hereby petitions this Court for review of the final action taken by

Respondents United States Environmental Protection Agency and Michael

S. Regan, Administrator, United States Environmental Protection Agency,

entitled “New Source Performance Standards for the Synthetic Organic

Chemical Manufacturing Industry and National Emission Standards for

Hazardous Air Pollutants for the Synthetic Organic Chemical Manufacturing

Industry and Group I & II Polymers and Resins Industry,” published at 89

Fed. Reg. 42,932 on May 16, 2024 (attached hereto).
Dated: July 15, 2024   Respectfully submitted,

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                      CERTIFICATE OF SERVICE

     I hereby certify that I caused a true and correct copy of this Petition

for Review to be served on July 15, 2024, by United States first-class mail

on the following individuals:

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     The Honorable Merrick B. Garland
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                                                 ENVIRONMENTAL PROTECTION                                the Federal Register as of July 15, 2024.             reference purposes, the EPA defines the
                                                 AGENCY                                                  The incorporation by reference of                     following terms and acronyms here:
                                                                                                         certain other material listed in the rule             ACS American Community Survey
                                                 40 CFR Parts 60 and 63                                  was approved by the Director of the                   AERMOD American Meteorological Society/
                                                 [EPA–HQ–OAR–2022–0730; FRL–9327–02–                     Federal Register as of October 17, 2000                 EPA Regulatory Model dispersion
                                                 OAR]                                                    and November 16, 2007.                                  modeling system
                                                                                                         ADDRESSES: The U.S. Environmental                     ANSI American National Standards Institute
                                                 RIN 2060–AV71                                           Protection Agency (EPA) has established               APCD air pollution control device
                                                                                                         a docket for this action under Docket ID              API American Petroleum Institute
                                                 New Source Performance Standards                                                                              ASME American Society of Mechanical
                                                 for the Synthetic Organic Chemical                      No. EPA–HQ–OAR–2022–0730. All
                                                                                                                                                                 Engineers
                                                 Manufacturing Industry and National                     documents in the docket are listed on
                                                                                                                                                               BACT best available control technology
                                                 Emission Standards for Hazardous Air                    the https://www.regulations.gov/                      BLR basic liquid epoxy resins
                                                 Pollutants for the Synthetic Organic                    website. Although listed, some                        BPT benefit per-ton
                                                 Chemical Manufacturing Industry and                     information is not publicly available,                BSER best system of emissions reduction
                                                 Group I & II Polymers and Resins                        e.g., Confidential Business Information               BTEX benzene, toluene, ethylbenzene, and
                                                 Industry                                                (CBI) or other information whose                        xylenes
                                                                                                         disclosure is restricted by statute.                  CAA Clean Air Act
                                                 AGENCY: Environmental Protection                        Certain other material, such as                       CBI confidential business information
                                                 Agency (EPA).                                           copyrighted material, is not placed on                CDX Central Data Exchange
                                                                                                                                                               CEDRI Compliance and Emissions Data
                                                 ACTION: Final rule.                                     the internet and will be publicly
                                                                                                                                                                 Reporting Interface
                                                                                                         available only in hard copy form.                     CFR Code of Federal Regulations
                                                 SUMMARY: This action finalizes                          Publicly available docket materials are               CMPU chemical manufacturing process unit
                                                 amendments to the New Source                            available either electronically through               CO carbon monoxide
                                                 Performance Standards (NSPS) that                       https://www.regulations.gov/, or in hard              CO2 carbon dioxide
                                                 apply to the Synthetic Organic Chemical                 copy at the EPA Docket Center, WJC                    CPI consumer price index
                                                 Manufacturing Industry (SOCMI) and                      West Building, Room Number 3334,                      CRA Congressional Review Act
                                                 amendments to the National Emission                     1301 Constitution Ave. NW,                            EAV equivalent annual value
                                                 Standards for Hazardous Air Pollutants                  Washington, DC. The Public Reading                    ECHO Enforcement and Compliance History
                                                 (NESHAP) that apply to the SOCMI                                                                                Online
                                                                                                         Room hours of operation are 8:30 a.m.
                                                 (more commonly referred to as the                                                                             EFR external floating roof
                                                                                                         to 4:30 p.m. Eastern Standard Time,                   EIS Emission Information System
                                                 Hazardous Organic NESHAP or HON)                        Monday through Friday. The telephone                  EPA Environmental Protection Agency
                                                 and Group I and II Polymers and Resins                  number for the Public Reading Room is                 EPPU elastomer product process unit
                                                 (P&R I and P&R II, respectively)                        (202) 566–1744, and the telephone                     ERT Electronic Reporting Tool
                                                 Industries. The EPA is finalizing                       number for the EPA Docket Center is                   EtO ethylene oxide
                                                 decisions resulting from the Agency’s                   (202) 566–1742.                                       FTIR fourier transform infrared
                                                 technology review of the HON and the                    FOR FURTHER INFORMATION CONTACT: For                  HAP hazardous air pollutant(s)
                                                 P&R I and P&R II NESHAP, and its                                                                              HON Hazardous Organic NESHAP
                                                                                                         questions about the HON and SOCMI                     HQ hazard quotient
                                                 review of the NSPS that apply to the                    NSPS, contact U.S. EPA, Attn: Mr.
                                                 SOCMI. The EPA is also finalizing                                                                             HQREL hazard quotient reference exposure
                                                                                                         Andrew Bouchard, Mail Drop: Sector                      level
                                                 amendments to the NSPS for equipment                    Policies and Programs Division (E143–                 IBR incorporation by reference
                                                 leaks of volatile organic compounds                     01), 109 T.W. Alexander Drive, P.O. Box               ICR information collection request
                                                 (VOC) in SOCMI based on its                             12055, RTP, North Carolina 27711;                     IFR internal floating roof
                                                 reconsideration of certain issues raised                telephone number: (919) 541–4036; and                 IRIS Integrated Risk Information System
                                                 in an administrative petition for                       email address: bouchard.andrew@                       ISA Integrated Science Assessment
                                                 reconsideration. Furthermore, the EPA                   epa.gov. For questions about the P&R I                km kilometer
                                                 is finalizing emission standards for                                                                          LAER lowest achievable emissions rate
                                                                                                         and P&R II NESHAP, contact U.S. EPA,                  lb/hr pound per hour
                                                 ethylene oxide (EtO) emissions and                      Attn: Ms. Njeri Moeller, Mail Drop:
                                                 chloroprene emissions after considering                                                                       lb/yr pound per year
                                                                                                         Sector Policies and Programs Division                 LDAR leak detection and repair
                                                 the results of a risk assessment for the                (E143–01), 109 T.W. Alexander Drive,                  LDEQ Louisiana Department of
                                                 HON and for Neoprene Production                         P.O. Box 12055, RTP, North Carolina                     Environmental Quality
                                                 processes subject to the P&R I NESHAP,                  27711; telephone number: (919) 541–                   LEL lower explosive limit
                                                 and is finalizing a fenceline monitoring                1380; and email address: moeller.njeri@               MACT maximum achievable control
                                                 work practice standard for certain                      epa.gov. For specific information                       technology
                                                 hazardous air pollutants (HAP). Lastly,                 regarding the risk modeling                           MDL method detection limit
                                                 the EPA is finalizing the removal of                                                                          MERP monomer emission reduction project
                                                                                                         methodology, contact U.S. EPA, Attn:                  MIR maximum individual lifetime [cancer]
                                                 exemptions from standards for periods                   Mr. Matthew Woody, Mail Drop: Health
                                                 of startup, shutdown, and malfunction                                                                           risk
                                                                                                         and Environmental Impacts Division                    MON Miscellaneous Organic Chemical
                                                 (SSM), adding work practice standards                   (C539–02), 109 T.W. Alexander Drive,                    Manufacturing NESHAP
                                                 for such periods where appropriate,                     P.O. Box 12055, RTP, North Carolina                   MTVP maximum true vapor pressure
                                                 finalizing standards for previously                     27711; telephone number: (919) 541–                   NAICS North American Industry
                                                 unregulated HAP, and adding                             1535; and email address:                                Classification System
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                                                 provisions for electronic reporting of                  woody.matthew@epa.gov.                                NAAQS National Ambient Air Quality
                                                 performance test reports and periodic                   SUPPLEMENTARY INFORMATION:
                                                                                                                                                                 Standards
                                                 reports.                                                                                                      NATTS National Air Toxic Trends Station
                                                                                                           Preamble acronyms and                               NEI National Emissions Inventory
                                                 DATES: This final rule is effective on July             abbreviations. We use multiple                        NESHAP national emission standards for
                                                 15, 2024. The incorporation by reference                acronyms and terms in this preamble.                    hazardous air pollutants
                                                 (IBR) of certain publications listed in                 While this list may not be exhaustive, to             NOX nitrogen oxides
                                                 the rule is approved by the Director of                 ease the reading of this preamble and for             N2O nitrous oxide



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                                                 NPDES national pollutant discharge                      Responses for New Source Performance                    E. Amendments Addressing NSPS
                                                   elimination system                                    Standards for the Synthetic Organic                        Subparts VV and VVa Reconsideration
                                                 NRDC Natural Resources Defense Council                  Chemical Manufacturing Industry and                     F. Other Amendments to the NESHAP and
                                                 NSPS new source performance standards                                                                              NSPS
                                                                                                         National Emission Standards for
                                                 NTTAA National Technology Transfer and                                                                        V. Summary of Cost, Environmental, and
                                                   Advancement Act                                       Hazardous Air Pollutants for the                           Economic Impacts and Additional
                                                 NYSDEC New York State Department of                     Synthetic Organic Chemical                                 Analyses Conducted
                                                   Environmental Conservation                            Manufacturing Industry and Group I &                    A. What are the affected sources?
                                                 OAR Office of Air and Radiation                         II Polymers and Resins Industry, Docket                 B. What are the air quality impacts?
                                                 OEL open-ended valves or lines                          ID No. EPA–HQ–OAR–2022–0730. A                          C. What are the cost impacts?
                                                 OGI optical gas imaging                                 ‘‘track changes’’ version of the                        D. What are the economic impacts?
                                                 OIG Office of Inspector General                         regulatory language that incorporates                   E. What are the benefits?
                                                 OMB Office of Management and Budget                                                                             F. What analysis of environmental justice
                                                                                                         the changes in this action is available in
                                                 P&R I Group I Polymers and Resins                                                                                  did we conduct?
                                                 P&R II Group II Polymers and Resins                     the docket.                                             G. Children’s Environmental Health
                                                 PDF portable document format                               Organization of this document.                     VI. Statutory and Executive Order Reviews
                                                 PMPU polyether polyol manufacturing                        The information in this preamble is                  A. Executive Order 12866: Regulatory
                                                   process unit                                          organized as follows:                                      Planning and Review and Executive
                                                 POM polycyclic organic matter                           I. General Information                                     Order 14094: Modernizing Regulatory
                                                 ppbv parts per billion by volume                           A. Executive Summary                                    Review
                                                 ppm parts per million                                      B. Does this action apply to me?                     B. Paperwork Reduction Act (PRA)
                                                 ppmv parts per million by volume                           C. Where can I get a copy of this document           C. Regulatory Flexibility Act (RFA)
                                                 ppmw parts per million by weight                             and other related information?                     D. Unfunded Mandates Reform Act
                                                 PRA Paperwork Reduction Act                                D. Judicial Review and Administrative                   (UMRA)
                                                 psig pounds per square inch gauge                            Reconsideration                                    E. Executive Order 13132: Federalism
                                                 PRD pressure relief device                              II. Background                                          F. Executive Order 13175: Consultation
                                                 PV present value                                           A. What is the statutory authority for this             and Coordination with Indian Tribal
                                                 RACT reasonably available control                            action?                                               Governments
                                                   technology                                               B. What are the source categories and how            G. Executive Order 13045: Protection of
                                                 RDL representative detection limit                           did the previous standards regulate                   Children from Environmental Health
                                                 REL reference exposure level                                 emissions?                                            Risks and Safety Risks
                                                 RFA Regulatory Flexibility Act                             C. What changes did we propose in our                H. Executive Order 13211: Actions
                                                 RIA Regulatory Impact Analysis                               April 25, 2023, proposal?                             Concerning Regulations that
                                                 RTO regenerative thermal oxidizer                       III. What is included in this final rule?                  Significantly Affect Energy Supply,
                                                 RTR risk and technology review                             A. What are the final rule amendments                   Distribution, or Use
                                                 SCAQMD South Coast Air Quality                               based on the risk review for the SOCMI             I. National Technology Transfer and
                                                   Management District                                        and Neoprene Production source                        Advancement Act (NTTAA) and 1 CFR
                                                 scfm standard cubic feet per minute                          categories NESHAP?                                    part 51
                                                 scmm standard cubic meter per minute                       B. What are the final rule amendments                J. Executive Order 12898: Federal Actions
                                                 SOCMI Synthetic Organic Chemical                             based on the technology review for the                to Address Environmental Justice in
                                                   Manufacturing Industry                                     SOCMI, P&R I, and P&R II source                       Minority Populations and Low-Income
                                                 SO2 sulfur dioxide                                           categories NESHAP pursuant to CAA                     Populations and Executive Order 14096:
                                                 SSM startup, shutdown, and malfunction                       section 112(d)(6) and NSPS reviews for                Revitalizing Our Nation’s Commitment
                                                 TAC Texas Administrative Code                                the SOCMI source category pursuant to                 to Environmental Justice for All
                                                 TCEQ Texas Commission on Environmental                       CAA section 111(b)(1)(B)?                          K. Congressional Review Act (CRA)
                                                   Quality                                                  C. What are the final rule amendments
                                                 TCI total capital investment                                 pursuant to CAA sections 112(d)(2) and           I. General Information
                                                 TOC total organic compounds                                  (3), and 112(h) for the SOCMI, P&R I, and        A. Executive Summary
                                                 TOSHI target organ-specific hazard index                     P&R II source categories?
                                                 tpy tons per year                                          D. What are the final rule amendments              1. Purpose of the Regulatory Action
                                                 TRE total resource effectiveness                             addressing emissions during periods of
                                                 TRI Toxics Release Inventory                                 SSM?                                                The source categories that are the
                                                 UMRA Unfunded Mandates Reform Act                          E. What are the final amendments                   subject of this final action are the
                                                 URE unit risk estimate                                       addressing the NSPS Subparts VV and              SOCMI and various polymers and resins
                                                 U.S.C. United States Code                                    VVa reconsideration?                             manufacturing source categories. The
                                                 VCS voluntary consensus standards                          F. What other changes have been made to            SOCMI source category includes
                                                 VOC volatile organic compound(s)                             the NESHAP and NSPS?                             chemical manufacturing processes
                                                 WSR wet strength resins                                    G. What are the effective and compliance           producing commodity chemicals while
                                                 WWTP wastewater treatment plant                              dates of the standards?                          the polymers and resins manufacturing
                                                                                                         IV. What is the rationale for our final
                                                    Background information. On April 25,                                                                       source categories covered in this action
                                                                                                              decisions and amendments for the
                                                 2023, the EPA proposed amendments to                         SOCMI, P&R I, and P&R II source                  include elastomers production
                                                 the NSPS that apply to the SOCMI, and                        categories?                                      processes and resin production
                                                 amendments to the HON and P&R I and                        A. Residual Risk Review for the SOCMI              processes that use epichlorohydrin
                                                 P&R II NESHAP. In this action, we are                        and Neoprene Production Source                   feedstocks (see sections I.B and II.B of
                                                 finalizing decisions and revisions for                       Categories NESHAP                                this preamble for detailed information
                                                 the rule. We summarize some of the                         B. Technology Review for the SOCMI, P&R            about these source categories). The EPA
                                                 more significant comments we timely                          I, and P&R II Source Categories NESHAP           has previously promulgated maximum
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                                                 received regarding the proposed rule                         and NSPS Review for the SOCMI Source             achievable control technology (MACT)
                                                                                                              Category
                                                 and provide our responses in this                                                                             standards for certain processes in the
                                                                                                            C. Amendments Pursuant to CAA Section
                                                 preamble. A summary of all other public                      112(d)(2) and (3) and 112(h) for the             SOCMI source category in the HON
                                                 comments on the proposal and the                             SOCMI, P&R I, and P&R II Source                  rulemaking at 40 Code of Federal
                                                 EPA’s responses to those comments is                         Categories NESHAP                                Regulations (CFR) part 63, subparts F, G,
                                                 available in the document titled                           D. Amendments Addressing Emissions                 and H. In 1994, the EPA finalized
                                                 Summary of Public Comments and                               During Periods of SSM                            MACT standards in subparts F, G, and


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                                                 H for SOCMI processes (59 FR 19454),1                      For NESHAP, CAA section 112(d)(2)                     Due to the development of the EPA’s
                                                 and the Agency completed a residual                     requires the EPA to establish MACT                    Integrated Risk Information System
                                                 risk and technology review (RTR) for                    standards for listed categories of major              (IRIS) inhalation unit risk estimate
                                                 these NESHAP in 2006 (71 FR 76603).                     sources of HAP. Section 112(d)(6) of the              (URE) for chloroprene in 2010, the EPA
                                                 In 1995, the EPA finalized MACT                         CAA requires the EPA to review                        conducted a second CAA section 112(f)
                                                 standards in the P&R II NESHAP (40                      standards promulgated under CAA                       risk review for the SOCMI source
                                                 CFR part 63, subpart W) for epoxy resin                 section 112, and revise them ‘‘as                     category and Neoprene Production
                                                 and non-nylon polyamide resin                           necessary (taking into account                        source category. In the first step of the
                                                 manufacturing processes (60 FR 12670),                  developments in practices, processes,                 CAA section 112(f)(2) determination of
                                                 and the Agency completed a residual                     and control technologies),’’ no less often            risk acceptability for this rulemaking,
                                                 RTR for these standards in 2008 (73 FR                  than every eight years following                      the use of the 2010 chloroprene risk
                                                 76220). In 1996, the EPA finalized                      promulgation of those standards. This is              value resulted in the EPA identifying
                                                 MACT standards in the P&R I NESHAP                      referred to as a ‘‘technology review’’ and            unacceptable cancer risk driven by
                                                 (40 CFR part 63, subpart U) for various                 is required for all standards established             chloroprene emissions from the sole
                                                 elastomer manufacturing processes (61                   under CAA section 112. Section 112(f)                 affected source producing neoprene
                                                 FR 46906), and the Agency completed                     of the CAA requires the EPA to assess                 subject to the P&R I NESHAP.2
                                                 residual RTRs for these standards in                    the risk to public health remaining after             Consequently, the final amendments to
                                                 2008 and 2011 (73 FR 76220 and 76 FR                    the implementation of MACT emission                   the P&R I NESHAP address the EPA
                                                 22566).                                                 standards promulgated under CAA                       review of additional control
                                                                                                         section 112(d)(2). If the MACT                        technologies, beyond those analyzed in
                                                    The EPA has also promulgated NSPS                    standards for a source category do not                the technology review conducted for the
                                                 for certain processes in the SOCMI                      provide ‘‘an ample margin of safety to                P&R I source category, to address the
                                                 source category. In 1983, the EPA                       protect public health,’’ the EPA must                 unacceptable risk and achieve an ample
                                                 finalized NSPS (40 CFR part 60, subpart                 also promulgate health-based standards                margin of safety to protect public health
                                                 VV) for equipment leaks of VOC in                       for that source category to further                   at that affected source.
                                                 SOCMI (48 FR 48328). In 1990, the EPA                   reduce risk from HAP emissions.                          Additionally, in 2016, the EPA
                                                 finalized NSPS (40 CFR part 60,                            Section 301(a)(1) of the CAA                       updated the IRIS inhalation URE for
                                                 subparts III and NNN) for VOC from air                  authorizes the Administrator to                       EtO. In the first step of the CAA section
                                                 oxidation unit processes and distillation               prescribe such regulations as are                     112(f)(2) determination of risk
                                                 operations (55 FR 26912 and 55 FR                       necessary to carry out his functions                  acceptability for this rulemaking, the
                                                 26931). In 1993, the EPA finalized NSPS                 under the CAA. Section 307(d)(7)(B) of                use of the updated 2016 EtO risk value
                                                 (40 CFR part 60, subpart RRR) for VOC                   the CAA requires the reconsideration of               resulted in the EPA identifying
                                                 from reactor processes (58 FR 45948). In                a rule only if the person raising an                  unacceptable cancer risk driven by EtO
                                                 2007, the EPA promulgated NSPS (40                      objection to the rule can demonstrate                 emissions from HON processes.
                                                 CFR part 60, subpart VVa) for VOC from                  that it was impracticable to raise such               Consequently, the final amendments to
                                                 certain equipment leaks (72 FR 64883),                  objection during the period for public                the HON also address the EPA review of
                                                 which reflect the EPA’s review and                      comment or if the grounds for the                     additional control technologies, beyond
                                                 revision of the standards in 40 CFR part                objection arose after the comment                     those analyzed in the technology review
                                                 60, subpart VV.                                         period (but within the time specified for             conducted for the SOCMI source
                                                    The statutory authority for this action              judicial review), and if the objection is             category, to address the unacceptable
                                                 is sections 111, 112, 301(a)(1), and                    of central relevance to the outcome of                risk and achieve an ample margin of
                                                 307(d)(7)(B) of the CAA. Section                        the rule.                                             safety to protect public health at SOCMI
                                                 111(b)(1)(B) of the CAA requires the                       The final new NSPS for SOCMI                       and P&R I affected sources.
                                                 EPA to promulgate standards of                          equipment leaks, air oxidation unit
                                                                                                         processes, distillation operations, and               2. Summary of the Major Provisions of
                                                 performance for new sources in any                                                                            the Regulatory Action In Question
                                                 category of stationary sources that the                 reactor processes (i.e., NSPS subparts
                                                 Administrator has listed pursuant to                    VVb, IIIa, NNNa, and RRRa,                               The most significant amendments that
                                                 111(b)(1)(A). Section 111(a)(1) of the                  respectively) are based on the Agency’s               we are finalizing are described briefly
                                                 CAA provides that these performance                     review of the current NSPS (subparts                  below. However, all of our final
                                                 standards are to ‘‘reflect[ ] the degree of             VVa, III, NNN, and RRR) pursuant to                   amendments, including amendments to
                                                 emission limitation achievable through                  CAA section 111(b)(1)(B), which                       remove exemptions for periods of SSM,
                                                 the application of the best system of                   requires that the EPA review the NSPS                 are discussed in detail with rationale in
                                                                                                         every eight years and, if appropriate,                section IV of this preamble or in the
                                                 emission reduction which (taking into
                                                                                                         revise them. In addition, the EPA is                  document titled Summary of Public
                                                 account the cost of achieving such
                                                                                                         finalizing amendments to the NSPS for                 Comments and Responses for New
                                                 reduction and any nonair quality health
                                                                                                         equipment leaks of VOC in SOCMI                       Source Performance Standards for the
                                                 and environmental impact and energy
                                                                                                         based on its reconsideration of certain               Synthetic Organic Chemical
                                                 requirements) the Administrator
                                                                                                         aspects of subparts VV and VVa that                   Manufacturing Industry and National
                                                 determines has been adequately
                                                                                                         were raised in an administrative                      Emission Standards for Hazardous Air
                                                 demonstrated.’’ We refer to this level of
                                                                                                         petition which the Agency granted                     Pollutants for the Synthetic Organic
                                                 control as the best system of emissions
                                                                                                         pursuant to section 307(d)(7)(B) of the               Chemical Manufacturing Industry and
                                                 reduction or ‘‘BSER.’’ Section
                                                                                                                                                               Group I & II Polymers and Resins
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                                                                                                         CAA. The final amendments to the HON
                                                 111(b)(1)(B) of the CAA requires the                                                                          Industry, which is available in the
                                                                                                         (NESHAP subparts F, G, H, and I), the
                                                 EPA to ‘‘at least every 8 years, review                                                                       docket for this rulemaking.
                                                                                                         P&R I NESHAP (NESHAP subpart U),
                                                 and, if appropriate, revise’’ the NSPS.
                                                                                                         and the P&R II NESHAP (NESHAP
                                                   1 Around the same time, the EPA set MACT
                                                                                                         subpart W) are based on the Agency’s                    2 As discussed in section III.B of the proposal

                                                                                                         review of the current NESHAP (subparts                preamble (see 88 FR 25080, April 25, 2023),
                                                 standards for equipment leaks from certain non-                                                               chloroprene emissions from HON processes do not
                                                 SOCMI processes at chemical plants regulated            F, G, H, I, U, and W) pursuant to CAA                 on their own present unacceptable cancer risk from
                                                 under 40 CFR part 63, subpart I (59 FR 19587).          sections 112(d) and (f).                              the SOCMI source category.



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                                                 a. HON                                                  indicating a leak in the HON), and delay              NESHAP subpart F (see 40 CFR
                                                   We are finalizing amendments to the                   of repair is not allowed unless the                   63.113(j), 40 CFR 63.108, and 40 CFR
                                                 HON for heat exchange systems, process                  equipment can be isolated such that it                63.124; and sections III.A.1 and IV.A of
                                                 vents, storage vessels, transfer racks,                 is no longer in EtO service (see 40 CFR               this preamble).3
                                                 wastewater, and equipment leaks.                        63.104(g)(6) and (h)(6); and sections                    • a work practice standard for
                                                                                                         III.A.1 and IV.A of this preamble).                   maintenance vents requiring that, prior
                                                 i. NESHAP Subpart F                                        • a provision allowing use of the                  to opening process equipment to the
                                                    • As detailed in section II.B.1.a of this            previous leak monitoring requirements                 atmosphere, the equipment must either:
                                                 preamble, NESHAP subpart F contains                     for heat exchange systems at 40 CFR                   (1) Be drained and purged to a closed
                                                 provisions to determine which chemical                  63.104(b) in limited instances in lieu of             system so that the hydrocarbon content
                                                                                                         using the Modified El Paso Method for                 is less than or equal to 10 percent of the
                                                 manufacturing processes at a facility are
                                                                                                         heat exchange systems cooling process                 lower explosive limit (LEL); (2) be
                                                 subject to the HON, monitoring
                                                                                                         fluids that will remain in the cooling                opened and vented to the atmosphere
                                                 requirements for HAP (i.e., HAP listed
                                                                                                         water if a leak occurs (see 40 CFR                    only if the 10-percent LEL cannot be
                                                 in Table 4 of NESHAP subpart F) that
                                                                                                         63.104(l); and sections III.B.1 and IV.B              demonstrated and the pressure is less
                                                 may leak into cooling water from heat
                                                                                                         of this preamble).                                    than or equal to 5 pounds per square
                                                 exchange systems, and requirements for
                                                 maintenance wastewater. For NESHAP                      ii. NESHAP Subpart G                                  inch gauge (psig), provided there is no
                                                 subpart F, we are finalizing:                                                                                 active purging of the equipment to the
                                                                                                            As detailed in section II.B.1.b of this
                                                    • compliance dates for all of the HON                preamble, NESHAP subpart G contains
                                                                                                                                                               atmosphere until the LEL criterion is
                                                 requirements in this action (see 40 CFR                                                                       met; (3) be opened when there is less
                                                                                                         requirements for process vents, storage
                                                 63.100(k)(10) through (12); and section                                                                       than 50 lbs of VOC that may be emitted
                                                                                                         vessels, transfer racks, wastewater
                                                 III.G of this preamble).                                                                                      to the atmosphere; or (4) for installing
                                                                                                         streams, and closed vent systems.
                                                    • the moving of all the definitions                     For process vents, we are finalizing:              or removing an equipment blind,
                                                 from NESHAP subparts G and H (i.e., 40                     • the removal of the 50 ppmv and                   depressurize the equipment to 2 psig or
                                                 CFR 63.111 and 40 CFR 63.161,                           0.005 standard cubic meter per minute                 less and maintain pressure of the
                                                 respectively) into the definition section               (scmm) Group 1 process vent thresholds                equipment where purge gas enters the
                                                 of NESHAP subpart F (see 40 CFR                         from the Group 1 process vent                         equipment at or below 2 psig during the
                                                 63.101; and sections III.F and IV.F of                  definition, and instead we are requiring              blind flange installation, provided none
                                                 this preamble).                                         owners and operators of process vents                 of the other work practice standards can
                                                    • a new definition for ‘‘in ethylene                 that emit greater than or equal to 1.0                be met (see 40 CFR 63.113(k); and
                                                 oxide service’’ (for equipment leaks,                   pound per hour (lb/hr) of total organic               sections III.C and IV.C of this preamble).
                                                 heat exchange systems, process vents,                   HAP to reduce emissions of organic                       • requirements that owners and
                                                 storage vessels, and wastewater) (see 40                HAP using a flare meeting the operating               operators of process vents in EtO service
                                                 CFR 63.101; and sections III.A and IV.A                 and monitoring requirements for flares                are allowed to use the maintenance vent
                                                 of this preamble).                                      in NESHAP subpart F; or reduce                        work practice standards; however,
                                                    • new operating and monitoring                       emissions of total organic HAP or total               owners and operators are prohibited
                                                 requirements for flares (see 40 CFR                     organic compounds (TOC) by 98 percent                 from releasing more than 1.0 ton of EtO
                                                 63.108; and sections III.C and IV.C of                  by weight or to an exit concentration of              from all maintenance vents combined
                                                 this preamble).                                         20 ppmv, (see 40 CFR 63.101 and 40                    on a facility basis in any consecutive 12-
                                                    • sampling and analysis procedures                   CFR 63.113(a)(1) and (2); and sections                month period (see 40 CFR 63.113(k)(4);
                                                 for owners and operators to demonstrate                 III.B.1 and IV.B of this preamble).                   and sections III.A.1 and IV.A of this
                                                 that process equipment does, or does                       • the removal of the total resource                preamble).
                                                 not, meet the definition of being ‘‘in                  effectiveness (TRE) concept in its                       For storage vessels, we are finalizing:
                                                 ethylene oxide service’’ (see 40 CFR                    entirety (see 40 CFR 63.113(a)(4); and                   • requirements that owners and
                                                 63.109; and sections III.A and IV.A of                  sections III.B.1 and IV.B of this                     operators must reduce emissions of EtO
                                                 this preamble).                                         preamble).                                            from storage vessels in EtO service by
                                                    For heat exchange systems, we are                       • an emission standard of 0.054                    either: (1) Venting emissions through a
                                                 finalizing:                                             nanograms per dry standard cubic meter                closed-vent system to a control device
                                                    • requirements that owners or                        (ng/dscm) at 3 percent oxygen (toxic                  that reduces EtO by greater than or
                                                 operators must use the Modified El Paso                 equivalency basis) for dioxins and                    equal to 99.9 percent by weight or to a
                                                 Method and repair leaks of total                        furans from chlorinated process vents                 concentration less than 1 ppmv for each
                                                 strippable hydrocarbon concentration                    (see 40 CFR 63.113(a)(5); and sections                storage vessel vent; or (2) venting
                                                 (as methane) in the stripping gas of 6.2                III.C and IV.C of this preamble).                     emissions through a closed-vent system
                                                 parts per million by volume (ppmv) or                      • requirements that owners and                     to a flare meeting the operating and
                                                 greater (see 40 CFR 63.104(g) through (j);              operators must reduce emissions of EtO                monitoring requirements for flares in
                                                 and sections III.B.1 and IV.B of this                   from process vents in EtO service by                  NESHAP subpart F (see 40 CFR
                                                 preamble).                                              either: (1) Venting emissions through a               63.119(a)(5), 40 CFR 63.108, and 40 CFR
                                                    • requirements for heat exchange                     closed-vent system to a control device
                                                 systems in EtO service that owners or                   that reduces EtO by greater than or                     3 We are also removing the option to allow use

                                                 operators must conduct more frequent                    equal to 99.9 percent by weight, to a                 of a design evaluation in lieu of performance testing
                                                 leak monitoring (weekly instead of                      concentration less than 1 ppmv for each               to demonstrate compliance for controlling various
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                                                                                                                                                               emission sources in EtO service. In addition,
                                                 quarterly) and repair leaks of total                    process vent, or to less than 5 pound per             owners or operators that choose to control
                                                 strippable hydrocarbon concentration                    year (lb/yr) for all combined process                 emissions with a non-flare control device are
                                                 (as methane) in the stripping gas of 6.2                vents per chemical manufacturing                      required to conduct an initial performance test on
                                                 ppmv or greater within 15 days from the                 process unit (CMPU); or (2) venting                   each control device in EtO service to verify
                                                                                                                                                               performance at the required level of control, and are
                                                 sampling date (in lieu of the previous                  emissions through a closed-vent system                required to conduct periodic performance testing on
                                                 45-day repair requirement after                         to a flare meeting the operating and                  non-flare control devices in EtO service every 5
                                                 receiving results of monitoring                         monitoring requirements for flares in                 years (see 40 CFR 63.124).



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                                                 63.124; and sections III.A.1 and IV.A of                m3 and 151 m3 (see Table 5 to subpart                 subpart H for all emission sources. For
                                                 this preamble).4                                        G; and sections III.B.1 and IV.B of this              equipment leaks and fenceline
                                                    • a work practice standard to allow                  preamble).                                            monitoring, we are finalizing:
                                                 storage vessels to be vented to the                        • revisions to the Group 1 stored-                    • requirements that all connectors in
                                                 atmosphere once a storage vessel                        liquid maximum true vapor pressure                    EtO service be monitored monthly at a
                                                 degassing concentration threshold is                    (MTVP) of total organic HAP threshold                 leak definition of 100 ppm with no skip
                                                 met (i.e., once a storage vessel degassing              (for storage vessels at existing and new              period, and delay of repair is not
                                                 organic HAP concentration of 5,000                      sources) from greater than or equal to                allowed unless the equipment can be
                                                 ppmv as methane is met, or until the                    13.1 kilopascals to greater than or equal             isolated such that it is no longer in EtO
                                                 vapor space concentration is less than                  to 6.9 kilopascals (see Tables 5 and 6 to             service (see 40 CFR 63.174(a)(3),
                                                 10 percent of the LEL) and all standing                 subpart G; and sections III.B.1 and IV.B              (b)(3)(vi), and (g)(3), and 40 CFR
                                                 liquid has been removed from the vessel                 of this preamble).                                    63.171(f); and sections III.A and IV.A of
                                                 to the extent practicable (see 40 CFR                      For transfer racks, we are finalizing:             this preamble).
                                                 63.119(a)(6); and sections III.C and IV.C                  • removing the exemption for transfer                 • requirements that all gas/vapor and
                                                 of this preamble).                                      operations that load ‘‘at an operating                light liquid valves in EtO service be
                                                    • a definition for ‘‘pressure vessel’’               pressure greater than 204.9 kilopascals’’             monitored monthly at a leak definition
                                                 and removing the exemption for                          from the definition of transfer operation             of 100 ppm with no skip period, and
                                                 ‘‘pressure vessels designed to operate in               (see 40 CFR 63.101; and sections III.C                delay of repair is not allowed unless the
                                                 excess of 204.9 kilopascals and without                 and IV.C of this preamble).                           equipment can be isolated such that it
                                                 emissions to the atmosphere’’ from the                     For wastewater streams, we are                     is no longer in EtO service (see 40 CFR
                                                 definition of storage vessel (see 40 CFR                finalizing:                                           63.168(b)(2)(iv) and (d)(5), and 40 CFR
                                                 63.101); and requirements for initial and                  • revisions to the Group 1 wastewater              63.171(f); and sections III.A and IV.A of
                                                 annual performance testing of pressure                  stream threshold to include wastewater                this preamble).
                                                 vessels that are considered Group 1                     streams in EtO service (i.e., wastewater                 • requirements that all light liquid
                                                 storage vessels using EPA Method 21 of                  streams with total annual average                     pumps in EtO service be monitored
                                                 40 CFR part 60, appendix A–7 to                         concentration of EtO greater than or                  monthly at a leak definition of 500 ppm,
                                                 demonstrate no detectable emissions                     equal to 1 parts per million by weight                and delay of repair is not allowed unless
                                                 (i.e., required to meet a leak definition               (ppmw) at any flow rate) (see 40 CFR                  the equipment can be isolated such that
                                                 of 500 parts per million (ppm) at each                  63.132(c)(1)(iii) and (d)(1)(ii); and                 it is no longer in EtO service (see 40
                                                 point on the pressure vessel where total                sections III.A and IV.A of this                       CFR 63.163(a)(1)(iii), (b)(2)(iv), (c)(4),
                                                 organic HAP could potentially be                        preamble).                                            and (e)(7), and 40 CFR 63.171(f); and
                                                 emitted) (see 40 CFR 63.119(a)(7); and                     • requirements prohibiting owners                  sections III.A and IV.A of this
                                                 sections III.C and IV.C of this preamble).              and operators from injecting wastewater               preamble).
                                                    • requirements that all openings in an               into or disposing of water through any                   • a work practice standard for
                                                 internal floating roof (IFR) (except those              heat exchange system in a CMPU                        pressure relief devices (PRDs) that vent
                                                 for automatic bleeder vents (vacuum                     meeting the conditions of 40 CFR                      to the atmosphere that require owners
                                                 breaker vents), rim space vents, leg                    63.100(b)(1) through (3) if the water                 and operators to implement at least
                                                 sleeves, and deck drains) be equipped                   contains any amount of EtO, has been in               three prevention measures, perform root
                                                 with a deck cover; and that the deck                    contact with any process stream                       cause analysis and corrective action in
                                                 cover be equipped with a gasket                         containing EtO, or the water is                       the event that a PRD does release
                                                 between the cover and the deck (see 40                  considered wastewater as defined in 40                emissions directly to the atmosphere,
                                                 CFR 63.119(b)(5)(ix); and sections III.B.1              CFR 63.101 (see 40 CFR 63.104(k); and                 and monitor PRDs using a system that
                                                 and IV.B of this preamble).                             sections III.A and IV.A of this                       is capable of identifying and recording
                                                    • control requirements for guidepoles                preamble).                                            the time and duration of each pressure
                                                 for all storage vessels equipped with an                   For closed vent systems, we are                    release and of notifying operators that a
                                                 IFR (see 40 CFR 63.119(b)(5)(x), (xi), and              finalizing:                                           pressure release has occurred (see 40
                                                 (xii); and sections III.B.1 and IV.B of this               • requirements that owners and                     CFR 63.165(e); and sections III.C and
                                                 preamble).                                              operators may not bypass an air                       IV.C of this preamble).
                                                    • a work practice standard that                      pollution control device (APCD) at any                   • requirements that all surge control
                                                 applies during periods of planned                       time (see 40 CFR 63.114(d)(3), 40 CFR                 vessels and bottoms receivers meet the
                                                 routine maintenance of a control device,                63.127(d)(3), and 40 CFR 63.148(f)(4)),               requirements we are finalizing for
                                                 fuel gas system, or process equipment                   that a bypass is a violation, and that                process vents (see 40 CFR 63.170(b); and
                                                 that is normally used for compliance                    owners and operators must estimate and                sections III.C and IV.C of this preamble).
                                                 with the storage vessel emissions                       report the quantity of organic HAP                       • requirements that owners and
                                                 control requirements; owners and                        released (see 40 CFR 63.118(a)(5), 40                 operators may not bypass an APCD at
                                                 operators are not permitted to fill the                 CFR 63.130(a)(2)(iv), 40 CFR                          any time (see 40 CFR 63.114(d)(3), 40
                                                 storage vessel during these periods                     63.130(b)(3), 40 CFR 63.130(d)(7), and                CFR 63.127(d)(3), and 40 CFR
                                                 (such that working losses are controlled                40 CFR 63.148(i)(3)(iii) and (j)(4); and              63.148(f)(4)), that a bypass is a violation,
                                                 and the vessel only emits HAP to the                    sections III.C and IV.C of this preamble).            and that owners and operators must
                                                 atmosphere due to breathing losses for                                                                        estimate and report the quantity of
                                                                                                         iii. NESHAP Subparts H and I                          organic HAP released (see 40 CFR
                                                 a limited amount of time) (see 40 CFR
                                                                                                            As detailed in sections II.B.1.c and
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                                                 63.119(e)(7); and sections III.C and IV.C                                                                     63.118(a)(5), 40 CFR 63.130(a)(2)(iv), 40
                                                 of this preamble).                                      II.B.1.d of this preamble, NESHAP                     CFR 63.130(b)(3), 40 CFR 63.130(d)(7),
                                                    • revisions to the Group 1 storage                   subparts H and I contain requirements                 and 40 CFR 63.148(i)(3)(iii) and (j)(4);
                                                 capacity criterion (for storage vessels at              for equipment leaks. Also, due to space               and sections III.C and IV.C of this
                                                 existing sources) from between 75 cubic                 limitations in NESHAP subpart F, we                   preamble).
                                                 meters (m3) and 151 m3 to between 38                    are finalizing fenceline monitoring (i.e.,               • fenceline monitoring work practice
                                                                                                         monitoring along the perimeter of the                 standards requiring owners and
                                                   4 See footnote 3.                                     facility’s property line) in NESHAP                   operators to monitor for any of six


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                                                 specific HAP (i.e., benzene, 1,3-                       concentration less than 1 ppmv for each                 monitoring requirements for flares; or
                                                 butadiene, ethylene dichloride, vinyl                   process vent, or to less than 5 lb/yr for               reduce emissions of organic HAP or
                                                 chloride, EtO, and chloroprene) if their                all combined process vents per                          total organic carbon (TOC) by 90 percent
                                                 affected source uses, produces, stores, or              elastomer product process unit (EPPU)                   by weight (or to an exit concentration of
                                                 emits any of them, and conduct root                     (see 40 CFR 63.485(y), and 40 CFR                       20 ppmv if considered an ‘‘aggregate
                                                 cause analysis and corrective action                    63.510; and sections III.A and IV.A of                  batch vent stream’’ as defined by the
                                                 upon exceeding annual average                           this preamble).5                                        rule) (see 40 CFR 63.482, 40 CFR
                                                 concentration action levels set forth for                  • the same requirements (except for                  63.487(e)(1)(iv), 40 CFR 63.488(d)(2),
                                                 each HAP (see 40 CFR 63.184; and                        EtO standards) listed in section I.A.2.a.ii             (e)(4), (f)(2), and (g)(3); and sections
                                                 sections III.B.1 and IV.B of this                       of this preamble that we are finalizing                 III.B.1 and IV.B of this preamble).
                                                 preamble).                                              for process vents subject to the HON to                    • the same chloroprene standards that
                                                                                                         also apply to continuous front-end                      we are finalizing for continuous front-
                                                 b. P&R I NESHAP                                         process vents subject to the P&R I                      end process for batch front-end process
                                                    As detailed in section II.B.2 of this                NESHAP (see 40 CFR 63.482, 40 CFR                       vents at affected sources producing
                                                 preamble, the P&R I NESHAP (40 CFR                      63.485(l)(6), (o)(6), (p)(5), and (x), 40               neoprene (see 40 CFR 63.487(j); and
                                                 part 63, subpart U) generally follows                   CFR 63.113(a)(1) and (2), 40 CFR                        sections III.A and IV.A of this
                                                 and refers to the requirements of the                   63.113(a)(4), 40 CFR 63.113(k), 40 CFR                  preamble).
                                                 HON, with additional requirements for                   63.114(a)(5)(v); and sections III.B.1 and                  • the same work practice standards
                                                 batch process vents. We are finalizing                  IV.B of this preamble).                                 that we are finalizing for maintenance
                                                 amendments to the P&R I NESHAP for                         • requirements that owners and                       vents as described for HON to the P&R
                                                 heat exchange systems, process vents,                   operators of continuous front-end                       I NESHAP (see 40 CFR 63.487(i); and
                                                 storage vessels, wastewater, and                        process vents in chloroprene service are                sections III.C and IV.C of this preamble).
                                                 equipment leaks. For NESHAP subpart                     allowed to use the maintenance vent                        • requirements that owners and
                                                 U, we are finalizing:                                   work practice standards; however,                       operators of batch front-end process
                                                    • compliance dates for all of the                    owners and operators are prohibited                     vents in chloroprene service are allowed
                                                 requirements in this action related to                  from releasing more than 1.0 ton of                     to use the maintenance vent work
                                                 the P&R I NESHAP (see 40 CFR                            chloroprene from all maintenance vents                  practice standards; however, owners
                                                 63.481(n) and (o); and section III.G of                 combined on a facility basis in any                     and operators are prohibited from
                                                 this preamble).                                         consecutive 12-month period (see 40                     releasing more than 1.0 ton of
                                                    • new operating and monitoring                       CFR 63.485(z); and sections III.A and                   chloroprene from all maintenance vents
                                                 requirements for flares (see 40 CFR                     IV.A of this preamble).                                 combined on a facility basis in any
                                                 63.508; and sections III.C and IV.C of                     • the same dioxins and furans                        consecutive 12-month period (see 40
                                                 this preamble).                                         emission standard that we are finalizing                CFR 63.487(i)(4); and sections III.A and
                                                    • the removal of the provisions to                   for process vents subject to the HON of                 IV.A of this preamble).
                                                 assert an affirmative defense to civil                  0.054 ng/dscm at 3 percent oxygen                          • the same dioxins and furans
                                                 penalties (see 40 CFR 63.480(j)(4); and                 (toxic equivalency basis) to also apply to              emission standard that we are finalizing
                                                 sections III.D and IV.D of this preamble).              chlorinated continuous front-end                        for process vents subject to the HON of
                                                    • the same fenceline monitoring                      process vents (see 40 CFR 63.485(x); and                0.054 ng/dscm at 3 percent oxygen
                                                 requirements that we are finalizing in                  sections III.C and IV.C of this preamble).              (toxic equivalency basis) to also apply to
                                                 Subpart H for HON sources.                                 For batch front-end process vents, we                chlorinated batch front-end process
                                                    • sampling and analysis procedures                   are finalizing:                                         vents (see 40 CFR 63.487(a)(3) and
                                                 for owners and operators of affected                       • the removal of the annual organic                  (b)(3); and sections III.C and IV.C of this
                                                 sources producing neoprene to                           HAP emissions mass flow rate, cutoff                    preamble).
                                                 demonstrate that process equipment                      flow rate, and annual average batch vent                   For back-end process vents, we are
                                                 does, or does not, meet the definition of               flow rate Group 1 process vent                          finalizing:
                                                 being ‘‘in chloroprene service’’ (see 40                thresholds from the Group 1 batch front-                   • a requirement that owners and
                                                 CFR 63.509; and sections III.A and IV.A                 end process vent definition (these                      operators reduce emissions of
                                                 of this preamble).                                      thresholds were previously determined                   chloroprene from back-end process
                                                    For heat exchange systems, we are                    on an individual batch process vent                     vents in chloroprene service at affected
                                                 finalizing:                                             basis). Instead, owners and operators of                sources producing neoprene by venting
                                                    • the same requirements (except for                  batch front-end process vents that                      emissions through a closed-vent system
                                                 EtO standards) listed in section I.A.2.a.i              release total annual organic HAP                        to a non-flare control device that
                                                 of this preamble that we are finalizing                 emissions greater than or equal to 4,536                reduces chloroprene by greater than or
                                                 for heat exchange systems subject to the                kilograms per year (kg/yr) (10,000                      equal to 98 percent by weight, to a
                                                 HON to also apply to heat exchange                      pounds per year (lb/yr)) from all batch                 concentration less than 1 ppmv for each
                                                 systems subject to the P&R I NESHAP                     front-end process vents combined are                    process vent, or to less than 5 lb/yr for
                                                 (see 40 CFR 63.502(n)(7); and sections                  required to reduce emissions of organic                 all combined process vents (see 40 CFR
                                                 III.B.1 and IV.B of this preamble).                     HAP from these process vents using a                    63.494(a)(7); and sections III.A and IV.A
                                                    For continuous front-end process                     flare meeting the operating and                         of this preamble).
                                                 vents, we are finalizing:                                                                                          For storage vessels, we are finalizing:
                                                    • the requirement that owners and                       5 We are also removing the option to allow use          • the requirement that owners and
                                                 operators must reduce emissions of                      of a design evaluation in lieu of performance testing   operators reduce emissions of
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                                                                                                         to demonstrate compliance for controlling various
                                                 chloroprene from continuous front-end                   emission sources in chloroprene service. In
                                                                                                                                                                 chloroprene from storage vessels in
                                                 process vents in chloroprene service at                 addition, owners or operators are required to           chloroprene service at affected sources
                                                 affected sources producing neoprene by                  conduct an initial performance test on each non-        producing neoprene by venting
                                                 venting emissions through a closed-vent                 flare control device in chloroprene service to verify   emissions through a closed-vent system
                                                                                                         performance at the required level of control, and are
                                                 system to a non-flare control device that               required to conduct periodic performance testing on
                                                                                                                                                                 to a non-flare control device that
                                                 reduces chloroprene by greater than or                  non-flare control devices in chloroprene service        reduces chloroprene by greater than or
                                                 equal to 98 percent by weight, to a                     every 5 years (see 40 CFR 63.510).                      equal to 98 percent by weight or to a


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                                                 concentration less than 1 ppmv for each                 c. P&R II NESHAP                                      NNNa. We are also not including a relief
                                                 storage vessel vent (see 40 CFR                            The most significant amendments that               valve discharge exemption in the
                                                 63.484(u) and 40 CFR 63.510; and                        we are finalizing for the P&R II NESHAP               definition of ‘‘vent stream’’ in new
                                                 sections III.A and IV.A of this                         (40 CFR part 63, subpart W) are                       NSPS subparts IIIa, NNNa, and RRRa;
                                                 preamble).6                                             requirements for heat exchange systems                instead, any relief valve discharge to the
                                                    • the same requirements (except for                  (see 40 CFR 63.523(d) and 40 CFR
                                                                                                                                                               atmosphere of a vent stream is a
                                                 EtO standards) listed in section I.A.2.a.ii                                                                   violation of the emissions standard. In
                                                                                                         63.524(c); and sections III.C and IV.C of
                                                 of this preamble that we are finalizing                                                                       addition, we are finalizing in new NSPS
                                                                                                         this preamble) and requirements for
                                                 for storage vessels subject to the HON                                                                        subparts IIIa, NNNa, and RRRa the same
                                                                                                         owners and operators of wet strength
                                                 except the requirements apply to storage                                                                      work practice standards for
                                                                                                         resins (WSR) sources to comply with
                                                 vessels subject to the P&R I NESHAP                                                                           maintenance vents that we are finalizing
                                                                                                         both the equipment leak standards in
                                                 (see 40 CFR 63.484(t); and sections                                                                           for HON process vents, and the same
                                                                                                         the HON and the HAP emissions
                                                 III.B.1 and IV.B of this preamble).                                                                           monitoring requirements that we are
                                                                                                         limitation for process vents, storage
                                                    For wastewater streams, we are                                                                             finalizing for HON process vents for
                                                                                                         tanks, and wastewater systems (see 40
                                                 finalizing:                                                                                                   adsorbers that cannot be regenerated
                                                                                                         CFR 63.524(a)(3) and (b)(3); and sections
                                                    • the Group 1 wastewater stream                      III.C and IV.C of this preamble). We are
                                                                                                                                                               and regenerative adsorbers that are
                                                 threshold to include wastewater streams                                                                       regenerated offsite (see sections III.B.2
                                                                                                         also finalizing the same dioxin and                   and IV.B of this preamble).
                                                 in chloroprene service at affected                      furan emission standard of 0.054 ng/
                                                 sources producing neoprene (i.e.,                       dscm at 3 percent oxygen (toxic                       f. NSPS Subpart VVa
                                                 wastewater streams with total annual                    equivalency basis) for chlorinated
                                                 average concentration of chloroprene                                                                             We are amending certain aspects of
                                                                                                         process vents as in the HON and the                   NSPS subparts VV and VVa to address
                                                 greater than or equal to 10 ppmw at any                 P&R I NESHAP (see 40 CFR 63.523(e)                    issues raised in an administrative
                                                 flow rate) (see 40 CFR 63.501(a)(10)(iv);               (for process vents associated with each               petition which the Agency granted
                                                 and sections III.A and IV.A of this                     existing, new, or reconstructed affected              pursuant to section 307(d)(7)(B) of the
                                                 preamble).                                              basic liquid epoxy resins (BLR) source),              CAA. In addition, we are amending the
                                                    • requirements prohibiting owners                    40 CFR 63.524(a)(3) (for process vents                applicability of the existing NSPS
                                                 and operators from injecting wastewater                 associated with each existing affected                subpart VVa so that it applies to sources
                                                 into or disposing of water through any                  WSR source), and 40 CFR 63.524(b)(3)                  constructed, reconstructed, or modified
                                                 heat exchange system in an EPPU if the                  (for process vents associated with each               after November 6, 2006, and on or
                                                 water contains any amount of                            new or reconstructed affected WSR                     before April 25, 2023. Affected facilities
                                                 chloroprene, has been in contact with                   source); and see sections III.C and IV.C              that are constructed, reconstructed, or
                                                 any process stream containing                           of this preamble).                                    modified after April 25, 2023, are
                                                 chloroprene, or the water is considered
                                                                                                         d. NSPS Subparts III, NNN, and RRR                    subject to the new NSPS subpart VVb.
                                                 wastewater as defined in 40 CFR 63.482
                                                 (see 40 CFR 63.502(n)(8); and sections                    We are amending the applicability of                g. NSPS Subpart VVb
                                                 III.A and IV.A of this preamble).                       NSPS subparts III, NNN, and RRR so                       We are finalizing in a new NSPS
                                                    For equipment leaks and fenceline                    that they only apply to sources                       subpart VVb the same requirements in
                                                 monitoring, we are finalizing:                          constructed, reconstructed, or modified               NSPS subpart VVa plus a requirement
                                                    • the same requirements (except for                  on or before April 25, 2023. Affected                 that all gas/vapor and light liquid valves
                                                 EtO standards) listed in section                        facilities that are constructed,                      be monitored quarterly at a leak
                                                 I.A.2.a.iii of this preamble that we are                reconstructed, or modified after April                definition of 100 ppm and all
                                                 finalizing for equipment leaks subject to               25, 2023, are subject to the new NSPS                 connectors be monitored once every 12
                                                 the HON except the requirements apply                   subparts IIIa, NNNa, and RRRa.                        months at a leak definition of 500 ppm
                                                 to equipment leaks subject to the P&R I                                                                       (see sections III.B.2 and IV.B of this
                                                 NESHAP (see 40 CFR 63.502(a)(1)                         e. NSPS Subparts IIIa, NNNa, and RRRa
                                                                                                                                                               preamble). For each of these two
                                                 through (a)(6); and sections III.C and                     Rather than comply with a TRE                      additional requirements, we are also
                                                 IV.C of this preamble).                                 concept which is used in NSPS subparts                finalizing skip periods for good
                                                    • the cross-reference in the P&R I                   III, NNN, and RRR, we are finalizing in               performance.
                                                 NESHAP to the fenceline monitoring                      new NSPS subparts IIIa, NNNa, and
                                                 work practice standards in the HON (see                 RRRa a requirement for owners and                     3. Costs and Benefits
                                                 40 CFR 63.502) requiring owners and                     operators to reduce emissions of TOC                     Pursuant to E.O. 12866, the EPA
                                                 operators to monitor for any of six                     (minus methane and ethane) from all                   prepared an analysis of the potential
                                                 specific HAP (i.e., benzene, 1,3-                       vent streams of an affected facility (i.e.,           costs and benefits associated with this
                                                 butadiene, ethylene dichloride, vinyl                   SOCMI air oxidation unit processes,                   action. This analysis, titled Regulatory
                                                 chloride, EtO, and chloroprene) if their                distillation operations, and reactor                  Impact Analysis for the Final New
                                                 affected source uses, produces, stores, or              processes for which construction,                     Source Performance Standards for the
                                                 emits any of them, and conduct root                     reconstruction, or modification occurs                Synthetic Organic Chemical
                                                 cause analysis and corrective action                    after April 25, 2023) by 98 percent by                Manufacturing Industry and National
                                                 upon exceeding annual average                           weight or to a concentration of 20 ppmv               Emission Standards for Hazardous Air
                                                 concentration action levels set forth for               on a dry basis corrected to 3 percent                 Pollutants for the Synthetic Organic
                                                 each HAP (see sections III.B.1 and IV.B                 oxygen, or combust the emissions in a                 Chemical Manufacturing Industry and
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                                                 of this preamble), plus a lower annual                  flare meeting the same operating and                  Group I & II Polymers and Resins
                                                 average concentration action level for                  monitoring requirements for flares that               Industry (referred to as the RIA in this
                                                 chloroprene applicable to neoprene                      we are finalizing for flares subject to the           document), is available in the docket,
                                                 production source category (see sections                HON. We are finalizing a mass-based                   and is also briefly summarized in
                                                 III.A and IV.A of this preamble).                       exemption criterion of 0.001 lb/hr TOC                section V of this preamble. The
                                                                                                         (for which emission controls are not                  assessment of costs and benefits
                                                   6 See footnote 5.                                     required) in new NSPS subparts IIIa and               described herein and in the RIA is


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                                                 presented solely for the purposes of                    source category, the EPA considered                   national-emissions-standards-
                                                 complying with E.O. 12866 and to                        emission sources associated with:                     hazardous. This information includes
                                                 provide the public with a complete                      equipment leaks (including leaks from                 an overview of the RTR program and
                                                 depiction of the impacts of this final                  heat exchange systems), process vents,                links to project websites for the RTR
                                                 action. The EPA notes that analysis of                  transfer racks, storage vessels, and                  source categories.
                                                 costs and benefits in the RIA is distinct               wastewater collection and treatment
                                                                                                                                                               D. Judicial Review and Administrative
                                                 from the determinations finalized in this               systems. The elastomer production
                                                                                                                                                               Reconsideration
                                                 action under CAA sections 111 and 112,                  source categories in the P&R I NESHAP
                                                 which are based on the statutory factors                and resins produced with                                Under CAA section 307(b)(1), judicial
                                                 the EPA is required to consider under                   epichlorohydrin feedstock in the P&R II               review of this final action is available
                                                 those sections.                                         NESHAP have many similar emission                     only by filing a petition for review in
                                                                                                         sources with SOCMI sources and are                    the United States Court of Appeals for
                                                 B. Does this action apply to me?                                                                              the District of Columbia Circuit (the
                                                                                                         discussed further in section II.B of this
                                                    Regulated entities. Categories and                   preamble.                                             Court) by July 15, 2024. Under CAA
                                                 entities potentially regulated by this                     The EPA Priority List (40 CFR 60.16,               section 307(b)(2), the requirements
                                                 action are the SOCMI source category                    44 FR 49222, August 21, 1979) included                established by these final rules may not
                                                 (and whose facilities, sources and                      ‘‘Synthetic Organic Chemical                          be challenged separately in any civil or
                                                 processes we often refer to as ‘‘HON                    Manufacturing’’ 9 as a source category                criminal proceedings brought to enforce
                                                 facilities,’’ ‘‘HON sources,’’ and ‘‘HON                for which standards of performance                    the requirements.
                                                 processes’’ for purposes of the NESHAP)                 were to be promulgated under CAA                        Section 307(d)(7)(B) of the CAA
                                                 and several Polymers and Resins                         section 111. In the development of                    further provides that only an objection
                                                 Production source categories covered in                 NSPS subparts VVa, III, NNN, and RRR                  to a rule or procedure which was raised
                                                 the P&R I and P&R II NESHAP (see                        for this source category, the EPA                     with reasonable specificity during the
                                                 section II.B of this preamble for detailed              considered emission sources associated                period for public comment (including
                                                 information about the source                            with unit processes, storage and                      any public hearing) may be raised
                                                 categories).7 The North American                        handling equipment, fugitive emission                 during judicial review. This section also
                                                 Industry Classification System (NAICS)                  sources, and secondary sources.                       provides a mechanism for the EPA to
                                                 code for SOCMI facilities begins with                      To determine whether your facility is              reconsider the rule if the person raising
                                                 325, for P&R I facilities is 325212, and                affected, you should examine the                      an objection can demonstrate to the
                                                 for P&R II facilities is 325211. The list               applicability criteria in the appropriate             Administrator that it was impracticable
                                                 of NAICS codes is not intended to be                    NESHAP or NSPS. If you have any                       to raise such objection within the period
                                                 exhaustive, but rather provides a guide                 questions regarding the applicability of              for public comment or if the grounds for
                                                 for readers regarding the entities that                 any aspect of these NESHAP and NSPS,                  such objection arose after the period for
                                                 this final action is likely to affect.                  please contact the appropriate person                 public comment (but within the time
                                                    As defined in the Initial List of                    listed in the preceding FOR FURTHER                   specified for judicial review) and if such
                                                 Categories of Sources Under Section                     INFORMATION CONTACT section of this                   objection is of central relevance to the
                                                 112(c)(1) of the Clean Air Act                          preamble.                                             outcome of the rule. Any person seeking
                                                 Amendments of 1990 (see 57 FR 31576,                                                                          to make such a demonstration should
                                                 July 16, 1992) and Documentation for                    C. Where can I get a copy of this                     submit a Petition for Reconsideration to
                                                 Developing the Initial Source Category                  document and other related                            the Office of the Administrator, U.S.
                                                 List, Final Report (see EPA–450/3–91–                   information?                                          EPA, Room 3000, WJC South Building,
                                                 030, July 1992), the SOCMI source                         In addition to being available in the               1200 Pennsylvania Ave. NW,
                                                 category is any facility engaged in                     docket, an electronic copy of this final              Washington, DC 20460, with a copy to
                                                 ‘‘manufacturing processes that produce                  action will also be available on the                  both the person(s) listed in the
                                                 one or more of the chemicals [listed]                   internet. Following signature by the                  preceding FOR FURTHER INFORMATION
                                                 that either: (1) Use an organic HAP as                  EPA Administrator, the EPA will post a                CONTACT section, and the Associate
                                                 a reactant or (2) produce an organic                    copy of this final action at: https://                General Counsel for the Air and
                                                 HAP as a product, co-product, by-                       www.epa.gov/stationary-sources-air-                   Radiation Law Office, Office of General
                                                 product, or isolated intermediate.’’ 8 In               pollution/synthetic-organic-chemical-                 Counsel (Mail Code 2344A), U.S. EPA,
                                                 the development of NESHAP for this                      manufacturing-industry-organic-                       1200 Pennsylvania Ave. NW,
                                                                                                         national, https://www.epa.gov/                        Washington, DC 20460.
                                                   7 The P&R I NESHAP includes MACT standards
                                                                                                         stationary-sources-air-pollution/group-i-             II. Background
                                                 for nine listed elastomer production source
                                                 categories (i.e., Butyl Rubber Production,
                                                                                                         polymers-and-resins-national-emission-
                                                 Epichlorohydrin Elastomers Production, Ethylene-        standards-hazardous, and https://                     A. What is the statutory authority for
                                                 Propylene Elastomers Production, HypalonTM              www.epa.gov/stationary-sources-air-                   this action?
                                                 Production, Neoprene Production, Nitrile Butadiene      pollution/epoxy-resins-production-and-
                                                 Rubber Production, Polybutadiene Rubber                                                                       1. NESHAP
                                                 Production, Polysulfide Rubber Production, and
                                                                                                         non-nylon-polyamides-national-
                                                                                                         emission. Following publication in the                   The statutory authority for this action
                                                 Styrene-Butadiene Rubber and Latex Production).
                                                 The P&R II NESHAP includes MACT standards for           Federal Register, the EPA will post the               related to NESHAP is provided by
                                                 two listed source categories that use                   Federal Register version and key                      sections 112 and 301 of the CAA, as
                                                 epichlorohydrin feedstock (Epoxy Resins
                                                                                                         technical documents at these same                     amended (42 U.S.C. 7401 et seq.).
                                                 Production and Non-Nylon Polyamides                                                                           Section 112 of the CAA establishes a
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                                                 Production).                                            websites.
                                                   8 The original list of chemicals is located in          Additional information is available on              two-stage regulatory process to develop
                                                 Appendix A (beginning on page A–71) of EPA–450/         the RTR website at https://                           standards for emissions of HAP from
                                                 3–91–030 dated July 1992. Alternatively, the most       www.epa.gov/stationary-sources-air-                   stationary sources. ‘‘Major sources’’ are
                                                 recent list of chemicals is documented in the HON                                                             those that emit, or have the potential to
                                                 applicability rule text at 40 CFR 63.100(b)(1) and      pollution/risk-and-technology-review-
                                                 (2). The original list of organic HAPs for the SOCMI
                                                                                                                                                               emit, any single HAP at a rate of 10 tpy
                                                 source category is located in Table 3.1 of Section       9 For readability, we also refer to this as the      or more, or 25 tpy or more of any
                                                 3.0 of EPA–450/3–91–030.                                SOCMI source category for purposes of the NSPS.       combination of HAP. For major sources,


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                                                 these standards are commonly referred                      In the second stage of the regulatory               there was no need to revise the HON
                                                 to as MACT standards and must reflect                   process, the CAA requires the EPA to                   under the provisions of either CAA
                                                 the maximum degree of emission                          undertake two different analyses, which                section 112(f) or 112(d)(6). As part of the
                                                 reductions of HAP achievable (after                     we refer to as the technology review and               residual risk review, the EPA conducted
                                                 considering cost, energy requirements,                  the residual risk review. Under the                    a risk assessment and, based on the
                                                 and non-air quality health and                          technology review, we must review the                  results of the risk assessment,
                                                 environmental impacts). In developing                   technology-based standards and revise                  determined that the then-current level
                                                 MACT standards, CAA section 112(d)(2)                   them ‘‘as necessary (taking into account               of control called for by the existing
                                                 directs the EPA to consider the                         developments in practices, processes,                  MACT standards both reduced HAP
                                                 application of measures, processes,                     and control technologies)’’ no less                    emissions to levels that presented an
                                                 methods, systems, or techniques,                        frequently than every 8 years, pursuant                acceptable level of risk and provided an
                                                 including, but not limited to, those that               to CAA section 112(d)(6). In conducting                ample margin of safety to protect public
                                                 reduce the volume of or eliminate HAP                   this review, the EPA is not required to                health (see 71 FR 76603, December 21,
                                                 emissions through process changes,                      recalculate the MACT floors that were                  2006 for additional details). In 2008, the
                                                 substitution of materials, or other                     established in earlier rulemakings.                    EPA conducted a combined RTR for
                                                 modifications; enclose systems or                       Natural Resources Defense Council                      four of the P&R I source categories
                                                 processes to eliminate emissions;                       (NRDC) v. EPA, 529 F.3d 1077, 1084                     (including the Polysulfide Rubber
                                                 collect, capture, or treat HAP when                     (D.C. Cir. 2008); Association of Battery               Production, Ethylene-Propylene
                                                 released from a process, stack, storage,                Recyclers, Inc. v. EPA, 716 F.3d 667                   Elastomers Production, Butyl Rubber
                                                 or fugitive emissions point; are design,                (D.C. Cir. 2013). The EPA may consider                 Production, and Neoprene Production
                                                 equipment, work practice, or                            cost in deciding whether to revise the                 source categories) and all P&R II source
                                                 operational standards; or any                           standards pursuant to CAA section                      categories (Epoxy Resins Production
                                                 combination of the above. The MACT                      112(d)(6). The EPA is required to                      and Non-Nylon Polyamides Production
                                                 standards may take the form of design,                  address regulatory gaps, such as missing               source categories). In 2011, the EPA
                                                 equipment, work practice or operational                 standards for listed air toxics known to               completed the combined RTR for the
                                                 standards where the EPA first                           be emitted from the source category, and               remaining five P&R I source categories
                                                 determines either that (1) a pollutant                  any new MACT standards must be                         (Epichlorohydrin Elastomers
                                                 cannot be emitted through a conveyance                  established under CAA sections                         Production, HypalonTM Production,
                                                 designed and constructed to emit or                     112(d)(2) and (3), or, in specific                     Polybutadiene Rubber Production,
                                                 capture the pollutant, or that any                      circumstances, CAA sections 112(d)(4)                  Styrene-Butadiene Rubber and Latex
                                                 requirement for, or use of, such a                      or (h). Louisiana Environmental Action                 Production, and Nitrile Butadiene
                                                 conveyance would be inconsistent with                   Network v. EPA, 955 F.3d 1088 (D.C.                    Rubber Production). The EPA
                                                 law; or (2) the application of                          Cir. 2020). Under the residual risk                    concluded in these actions that there
                                                 measurement methodology to a                            review, we must evaluate the risk to                   was no need to revise standards for any
                                                 particular class of sources is not                      public health remaining after                          of the nine P&R I source categories and
                                                 practicable due to technological and                    application of the technology-based                    two P&R II source categories under the
                                                 economic limitations. CAA section                       standards and revise the standards, if                 provisions of either CAA section 112(f)
                                                 112(h)(1)–(2).                                          necessary, to provide an ample margin                  or 112(d)(6) (see 73 FR 76220, December
                                                                                                         of safety to protect public health or to               16, 2008 and 77 FR 22566, April 21,
                                                    For these MACT standards, the statute                prevent, taking into consideration costs,
                                                 specifies certain minimum stringency                                                                           2011 for additional details).11
                                                                                                         energy, safety, and other relevant                        This action constitutes another CAA
                                                 requirements, which are referred to as                  factors, an adverse environmental effect.
                                                 MACT floor requirements, and which                                                                             section 112(d)(6) technology review for
                                                                                                         The residual risk review is required                   the HON and the P&R I and P&R II
                                                 may not be based on cost                                within 8 years after promulgation of the
                                                 considerations. See CAA section                                                                                NESHAP. This action also constitutes an
                                                                                                         MACT standards, pursuant to CAA                        updated CAA section 112(f) risk review
                                                 112(d)(3). For new sources, the MACT                    section 112(f). In conducting the
                                                 floor cannot be less stringent than the                                                                        based on new information for the HON
                                                                                                         residual risk review, if the EPA
                                                 emission control achieved in practice by                                                                       and for affected sources producing
                                                                                                         determines that the current standards
                                                 the best-controlled similar source. The                                                                        neoprene subject to the P&R I NESHAP.
                                                                                                         provide an ample margin of safety to
                                                 MACT standards for existing sources                                                                            We note that although there is no
                                                                                                         protect public health, it is not necessary
                                                 can be less stringent than floors for new                                                                      statutory CAA obligation under CAA
                                                                                                         to revise the MACT standards pursuant
                                                 sources, but they cannot be less                                                                               section 112(f) for the EPA to conduct a
                                                                                                         to CAA section 112(f).10 For more
                                                 stringent than the average emission                                                                            second residual risk review of the HON
                                                                                                         information on the statutory authority
                                                 limitation achieved by the best-                                                                               or of standards for affected sources
                                                                                                         for this rule, see 88 FR 25080, April 25,
                                                 performing 12 percent of existing                                                                              producing neoprene subject to the P&R
                                                                                                         2023. Often, the CAA section 112(d)(6)
                                                 sources in the category or subcategory                                                                         I NESHAP, the EPA retains discretion to
                                                                                                         technology review and the CAA section
                                                 (or the best-performing five sources for                                                                       revisit its residual risk reviews where
                                                                                                         112(f)(2) residual risk review are
                                                 categories or subcategories with fewer                                                                         the Agency deems that to be warranted.
                                                                                                         combined into a single rulemaking
                                                 than 30 sources). In developing MACT                                                                           See, e.g., Fed. Commc’ns Comm’n v. Fox
                                                                                                         action, commonly called a ‘‘risk and
                                                 standards, we must also consider                                                                               Television Stations, Inc., 556 U.S. 502,
                                                                                                         technology review’’ (RTR).
                                                 control options that are more stringent                    The EPA conducted a combined RTR                      11 We note that in the April 21, 2011, rulemaking
                                                 than the floor under CAA section
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                                                                                                         for the HON in 2006, concluding that                   (see 77 FR 22566), the EPA finalized amendments
                                                 112(d)(2). We may establish standards                                                                          to eliminate the SSM exemption in the P&R I
                                                 more stringent than the floor, based on                   10 The Court has affirmed this approach of           NESHAP; however, for consistency with the SSM
                                                 the consideration of the cost of                        implementing CAA section 112(f)(2)(A): NRDC v.         related amendments that we are finalizing for the
                                                 achieving the emissions reductions, any                 EPA, 529 F.3d 1077, 1083 (D.C. Cir. 2008) (‘‘If EPA    HON and the P&R II NESHAP, we are also finalizing
                                                                                                         determines that the existing technology-based          (as detailed in section IV.D of this preamble)
                                                 non-air quality health and                              standards provide an ’ample margin of safety,’ then    additional amendments to the P&R I NESHAP
                                                 environmental impacts, and energy                       the Agency is free to readopt those standards during   related to the SSM exemption that were not
                                                 requirements.                                           the residual risk rulemaking.’’).                      addressed in the April 21, 2011, P&R I rule.



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                                                 515 (2009); Motor Vehicle Mfrs. Ass’n v.                health. Instead, we are conducting that               EPA must then issue performance
                                                 State Farm Mut. Auto. Ins. Co., 463 U.S.                analysis in this action.                              standards for new (and modified or
                                                 29, 42 (1983); Ethylene Oxide Emissions                    In order to ensure our standards                   reconstructed) sources in each source
                                                 Standards for Sterilization Facilities;                 provide an ample margin of safety to                  category pursuant to CAA section
                                                 Final Decision, 71 FR 17712, 17715 col.                 protect public health following the new               111(b)(1)(B). These standards are
                                                 1 (April 7, 2006) (asserting authority, in              IRIS inhalation UREs for EtO and                      referred to as new source performance
                                                 residual risk review for EtO, for EPA ‘‘to              chloroprene, we are exercising our                    standards, or NSPS. The EPA has the
                                                 revisit (and revise, if necessary) any                  discretion and conducting risk                        authority to define the scope of the
                                                 rulemaking if there is sufficient                       assessments in this action for HON                    source categories, determine the
                                                 evidence that changes within the                        sources and for affected sources                      pollutants for which standards should
                                                 affected industry or significant                        producing neoprene subject to the P&R                 be developed, set the emission level of
                                                 improvements to science suggests the                    I NESHAP. Finally, we note that on                    the standards, and distinguish among
                                                 public is exposed to significant                        September 15, 2021, the EPA partially                 classes, types, and sizes within
                                                 increases in risk as compared to the risk               granted a citizen administrative petition             categories in establishing the standards.
                                                 assessment prepared for the rulemaking                  requesting that the EPA conduct a                        CAA section 111(b)(1)(B) requires the
                                                 (e.g., CAA section 301).’’).                            second residual risk review under CAA                 EPA to ‘‘at least every 8 years review
                                                                                                         section 112(f)(2) for the HON, stating                and, if appropriate, revise’’ NSPS.
                                                    Here, the specific changes to health                 our intent to conduct a human health                  However, the Administrator need not
                                                 information related to certain pollutants               risk assessment concurrently with the                 review any such standard if the
                                                 emitted by these unique categories led                  section 112(d)(6) review.13 Likewise, on              ‘‘Administrator determines that such
                                                 us to determine that it is appropriate, in              March 4, 2022, the EPA partially                      review is not appropriate in light of
                                                 this case, to conduct these second                      granted another citizen administrative                readily available information on the
                                                 residual risk reviews under CAA section                 petition requesting that the EPA also                 efficacy’’ of the standard. When
                                                 112(f). In particular, the EPA is                       conduct a second residual risk review                 conducting a review of an existing
                                                 concerned about the cancer risks posed                  under CAA section 112(f) for the                      performance standard, the EPA has the
                                                 by the SOCMI source category due to                     Neoprene Production source category in                discretion and authority to add emission
                                                 the EPA’s 2016 updated IRIS inhalation                  the P&R I NESHAP, stating that we                     limits for pollutants or emission sources
                                                 URE for EtO, which shows EtO to be                      intend to conduct a human health risk                 not currently regulated for that source
                                                 significantly more toxic than previously                assessment concurrently with the                      category.
                                                 known.12 This updated URE was not                       section 112(d)(6) review.14 This final                   In setting or revising a performance
                                                 available in 2006, when the EPA                         rulemaking is partly undertaken in                    standard, CAA section 111(a)(1)
                                                 conducted its last RTR, but if this URE                 response to those citizen administrative              provides that performance standards are
                                                 had been available, the EPA would                       petitions. In sum, even though we do                  to reflect ‘‘the degree of emission
                                                 almost undoubtedly have reached                         not have a mandatory duty to conduct                  limitation achievable through the
                                                 different conclusions about risk                        repeated residual risk reviews under                  application of the BSER which (taking
                                                 acceptability and the need to modify the                CAA section 112(f)(2), we have the                    into account the cost of achieving such
                                                 standards to provide an ample margin of                 authority to revisit any rulemaking if                reduction and any nonair quality health
                                                 safety to protect public health.                        there is: (1) Significant new scientific              and environmental impact and energy
                                                 Similarly, for chloroprene, when the                    information suggesting the public is                  requirements) the Administrator
                                                 EPA conducted the first residual risk                   exposed to higher risks from facilities               determines has been adequately
                                                 assessment for the SOCMI and                            subject to the HON and the P&R I and                  demonstrated.’’ The term ‘‘standard of
                                                 Neoprene Production source categories,                  P&R II NESHAP than previously                         performance’’ in CAA section 111(a)(1)
                                                 there was no inhalation URE for                         realized, as compared to the previous                 makes clear that the EPA is to determine
                                                 chloroprene. Therefore, in those risk                   risk assessments prepared for earlier                 both the BSER for the regulated sources
                                                 reviews, the EPA attributed no cancer                   rulemakings, or (2) sufficient evidence               in the source category and the degree of
                                                 risk to chloroprene. The EPA concluded                  that changes within the affected                      emission limitation achievable through
                                                 development of the IRIS inhalation URE                  industry are exposing the public to new               application of the BSER. The EPA must
                                                 for chloroprene in 2010. That URE                       risks.                                                then, under CAA section 111(b)(1)(B),
                                                 allows us to assess, for the first time, the                                                                  promulgate standards of performance
                                                 cancer risks posed by chloroprene. Had                  2. NSPS                                               for new sources that reflect that level of
                                                 the EPA had the benefit of this new URE                    The EPA’s authority for the final                  stringency. CAA section 111(h)(1)
                                                 at the time it conducted the 2006 and                   NSPS rules is CAA section 111, which                  authorizes the Administrator to
                                                 2008 RTRs, the URE would almost                         governs the establishment of standards                promulgate ‘‘a design, equipment, work
                                                 undoubtedly have impacted our                           of performance for stationary sources.                practice, or operational standard, or
                                                 conclusions about risk acceptability and                Section 111(b)(1)(A) of the CAA requires              combination thereof’’ if in his or her
                                                 the P&R I standards’ provision of an                    the EPA Administrator to list categories              judgment, ‘‘it is not feasible to prescribe
                                                 ample margin of safety to protect public                of stationary sources that in the                     or enforce a standard of performance.’’
                                                                                                         Administrator’s judgment cause or                     CAA section 111(h)(2) provides the
                                                   12 U.S. EPA. Evaluation of the Inhalation             contribute significantly to air pollution             circumstances under which prescribing
                                                 Carcinogenicity of Ethylene Oxide (CASRN 75–21–         that may reasonably be anticipated to                 or enforcing a standard of performance
                                                 8) In Support of Summary Information on the
                                                                                                         endanger public health or welfare. The                is ‘‘not feasible,’’ such as, when the
                                                 Integrated Risk Information System (IRIS).
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                                                                                                                                                               pollutant cannot be emitted through a
                                                 December 2016. EPA/635/R–16/350Fa. Available at:
                                                 https://cfpub.epa.gov/ncea/iris/iris_documents/           13 See letter dated September 15, 2021, from        conveyance designed to emit or capture
                                                 documents/toxreviews/1025tr.pdf. See also, 87 FR        Joseph Goffman to Kathleen Riley, Emma Cheuse,        the pollutant, or when there is no
                                                 77985 (Dec. 21, 2022), Reconsideration of the 2020      and Adam Kron (see Docket Item No. EPA–HQ–            practicable measurement methodology
                                                 National Emission Standards for Hazardous Air           OAR–2022–0730–0047).                                  for the particular class of sources. CAA
                                                 Pollutants: Miscellaneous Organic Chemical                14 See letter dated March 4, 2022, from Joseph

                                                 Manufacturing Residual Risk and Technology              Goffman to Emma Cheuse, Deena Tumeh, Michelle
                                                                                                                                                               section 111(b)(5) precludes the EPA
                                                 Review, Final action; reconsideration of the final      Mabson, Maryum Jordan, and Dorian Spence (see         from prescribing a particular
                                                 rule.                                                   Docket Item No. EPA–HQ–OAR–2022–0730–0048).           technological system that must be used


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                                                 to comply with a standard of                            and VVa (NSPS for VOC from                             Federal Register to extend the stay until
                                                 performance. Rather, sources can select                 equipment leaks in SOCMI) based on its                 we took final action on the issues of
                                                 any measure or combination of                           reconsideration of certain aspects of                  which the EPA granted reconsideration.
                                                 measures that will achieve the standard.                these NSPS subparts that were raised in                Under the direct final rule, the stay
                                                    Pursuant to the definition of new                    an administrative petition which the                   would take effect 30 days after the close
                                                 source in CAA section 111(a)(2),                        Agency granted pursuant to section                     of the comment period on the proposed
                                                 standards of performance apply to                       307(d)(7)(B) of the CAA. In January                    stay if no adverse comments were
                                                 facilities that begin construction,                     2008, the EPA received one petition for                received. The third notice published
                                                 reconstruction, or modification after the               reconsideration of the NSPS for VOC                    that same day was an interim final rule
                                                 date of publication of the proposed                     from equipment leaks in SOCMI (40                      extending the 90-day stay at the time for
                                                 standards in the Federal Register.                      CFR part 60, subparts VV and VVa) and                  an additional 60 days so that the stay
                                                 Under CAA section 111(a)(4),                            the NSPS for equipment leaks in                        would not expire before the direct final
                                                 ‘‘modification’’ means any physical                     petroleum refineries (40 CFR part 60,                  rule could take effect (73 FR 31376). The
                                                 change in, or change in the method of                   subparts GGG and GGGa) pursuant to                     EPA did not receive adverse comments
                                                 operation of, a stationary source which                 CAA section 307(d)(7)(B) from the                      on the proposed stay and, as a result,
                                                 increases the amount of any air                         following petitioners: American                        the stay became effective August 1,
                                                 pollutant emitted by such source or                     Chemistry Council, American Petroleum                  2008.
                                                 which results in the emission of any air                Institute (API), and National                             In the three June 2, 2008 actions, the
                                                 pollutant not previously emitted.                       Petrochemical and Refiners Association                 EPA indicated that it would be
                                                 Changes to an existing facility that do                 (now the American Fuel and                             publishing a Federal Register notice in
                                                 not result in an increase in emissions                  Petrochemical Manufacturers). A copy                   response to the petition; this action
                                                 are not considered modifications. Under                 of the petition and subsequent EPA                     constitutes such notice and formally
                                                 the provisions in 40 CFR 60.15,                         correspondence granting                                responds to the issues raised in the
                                                 reconstruction means the replacement                    reconsideration is provided in the                     petition with respect to NSPS subparts
                                                 of components of an existing facility                   docket for this rulemaking (see Docket                 VV and VVa. This final action presents
                                                 such that: (1) The fixed capital cost of                No. EPA–HQ–OAR–2022–0730). The                         the EPA’s revisions to the NSPS for VOC
                                                 the new components exceeds 50 percent                   petitioners primarily requested that the               from equipment leaks in SOCMI based
                                                 of the fixed capital cost that would be                 EPA reconsider four provisions in those                on the EPA’s reconsideration of issues
                                                 required to construct a comparable                      rules: (1) The clarification of the                    (2) through (4) in the petition. We are
                                                 entirely new facility; and (2) it is                    definition of process unit in subparts                 also finalizing amendments that address
                                                 technologically and economically                        VV, VVa, GGG, and GGGa; (2) the                        the stay on issue (1) in the petition. See
                                                 feasible to meet the applicable                         assignment of shared storage vessels to                sections III.E and IV.E of this preamble
                                                 standards.                                              specific process units in subparts VV,                 for details about these final
                                                    In the development of NSPS for the                   VVa, GGG, and GGGa; (3) the                            amendments.
                                                 SOCMI source category, the EPA                          monitoring of connectors in subpart
                                                 considered emission sources associated                                                                         B. What are the source categories and
                                                                                                         VVa; and (4) the definition of capital                 how did the previous standards regulate
                                                 with unit processes, storage and                        expenditure in subpart VVa.15 The
                                                 handling equipment, fugitive emission                                                                          emissions?
                                                                                                         rationale for this request is provided in
                                                 sources, and secondary sources. In 1983,                                                                          The source categories that are the
                                                                                                         the petition. The petitioners also
                                                 the EPA promulgated NSPS for VOC                                                                               subject of this final action are the
                                                                                                         requested that the EPA stay the
                                                 from equipment leaks in SOCMI (40                                                                              SOCMI source category subject to the
                                                                                                         effectiveness of these provisions of the
                                                 CFR part 60, subpart VV). In 1990, the                                                                         HON and 11 Polymers and Resins
                                                                                                         rule pending resolution of their petition
                                                 EPA promulgated NSPS (40 CFR part                                                                              Production source categories subject to
                                                                                                         for reconsideration. On March 4, 2008,
                                                 60, subparts III and NNN) for VOC from                                                                         the P&R I and P&R II NESHAP. This
                                                                                                         the EPA sent a letter to the petitioners
                                                 air oxidation unit processes and                                                                               final action also addresses equipment
                                                                                                         informing them that the EPA was
                                                 distillation operations in the SOCMI (55                                                                       leaks in the SOCMI and SOCMI air
                                                                                                         granting their request for
                                                 FR 26912 and 55 FR 26931). In 1993, the                                                                        oxidation unit processes, distillation
                                                                                                         reconsideration on issues (2) through (4)
                                                 EPA promulgated NSPS (40 CFR part                                                                              operations, and reactor processes. The
                                                                                                         above. The letter also indicated that the
                                                 60, subpart RRR) for VOC from reactor                                                                          NESHAP and NSPS included in this
                                                                                                         EPA was not taking action on the first
                                                 processes in the SOCMI (58 FR 45948).                                                                          action that regulate emission sources
                                                                                                         issue related to the definition of process
                                                 In 2007, based on its review of NSPS                                                                           from the SOCMI and Polymers and
                                                                                                         unit. Finally, the letter indicated that
                                                 subpart VV, the EPA promulgated                                                                                Resins Production source categories are
                                                                                                         the EPA was granting a 90-day stay of
                                                 certain amendments to NSPS subpart                                                                             described below.
                                                                                                         the provisions of the rules under
                                                 VV and new NSPS (40 CFR part 60,                        reconsideration (see CAA section                       1. HON
                                                 subpart VVa) for VOC from certain                       307(d)(7)(B)), as well as the clarification
                                                 equipment leaks in the SOCMI (72 FR                                                                               The sources affected by the HON
                                                                                                         of the definition of process unit, because             include heat exchange systems and
                                                 64883). This final action presents the                  of its reliance upon the new provision
                                                 required CAA 111(b)(1)(B) review of the                                                                        maintenance wastewater located at
                                                                                                         on the allocation of shared storage                    SOCMI facilities that are regulated
                                                 NSPS for the air oxidation unit                         vessels. On June 2, 2008, the EPA
                                                 processes (subpart III), distillation                                                                          under NESHAP subpart F; process
                                                                                                         published three actions in the Federal                 vents, storage vessels, transfer racks,
                                                 operations (subpart NNN), reactor                       Register relative to extending the 90-day              and wastewater streams located at
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                                                 processes (subpart RRR), and equipment                  stay. Specifically, the EPA published a
                                                 leaks (subpart VVa).                                                                                           SOCMI facilities that are regulated
                                                                                                         direct final rule (73 FR 31372) and a                  under NESHAP subpart G; equipment
                                                 3. Petition for Reconsideration                         parallel proposal (73 FR 31416) in the                 leaks associated with SOCMI processes
                                                    In addition to the final action under                  15 Note that this final action does not respond to
                                                                                                                                                                regulated under NESHAP subpart H;
                                                 CAA section 111(b)(1)(B) described                      the petition for reconsideration of NSPS subparts
                                                                                                                                                                and equipment leaks from certain non-
                                                 above, this action includes final                       GGG and GGGa, as the EPA is not reviewing those        SOCMI processes at chemical plants
                                                 amendments to the NSPS subparts VV                      subparts in this action.                               regulated under NESHAP subpart I. As


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                                                 previously mentioned, these four                        racks, storage vessels, and wastewater at                  • Group 1 transfer racks must reduce
                                                 NESHAP are more commonly referred                       SOCMI facilities; it also includes                      emissions of total organic HAP by 98
                                                 together as the HON.                                    emissions averaging provisions.                         percent by weight or to an exit
                                                   In general, the HON applies to CMPUs                  NESHAP subpart G provides an                            concentration of 20 ppmv; 20 or reduce
                                                 that: (1) Produce one of the listed                     equation representing a site-specific                   emissions of organic HAP using a flare
                                                 SOCMI chemicals,16 and (2) either use                   allowable overall emission limit for the                meeting 40 CFR 63.11(b), using a vapor
                                                 as a reactant or produce a listed organic               combination of all emission sources                     balancing system, or by routing
                                                 HAP in the process. A CMPU means the                    subject to the HON at a SOCMI facility.                 emissions to a fuel gas system or to a
                                                 equipment assembled and connected by                    Existing sources must demonstrate                       process.
                                                 pipes or ducts to process raw materials                 compliance using one of two                                • Group 1 storage vessels must reduce
                                                 and to manufacture an intended                          approaches: the point-by-point                          emissions of organic HAP using a fixed
                                                 product. A CMPU consists of more than                   compliance approach or the emissions                    roof tank equipped with an IFR; using
                                                 one unit operation. A CMPU includes                     averaging approach. New sources are                     an external floating roof (EFR); using an
                                                 air oxidation reactors and their                        not allowed to use emissions averaging,                 EFR tank converted to a fixed roof tank
                                                 associated product separators and                       but rather must demonstrate compliance                  equipped with an IFR; by routing
                                                 recovery devices; reactors and their                    using the point-by-point approach.                      emissions to a fuel gas system or to a
                                                 associated product separators and                       Under the point-by-point approach, the                  process; or reduce emissions of organic
                                                 recovery devices; distillation units and                owner or operator would apply control                   HAP by 95 percent by weight using a
                                                 their associated distillate receivers and               to each Group 1 emission source. A                      closed vent system (i.e., vapor collection
                                                 recovery devices; associated unit                       Group 1 emission source is a point                      system) and control device, or
                                                 operations; associated recovery devices;                which meets the control applicability                   combination of control devices (or
                                                 and any feed, intermediate and product                  criteria, and the owner or operator must                reduce emissions of organic HAP by 90
                                                 storage vessels, product transfer racks,                reduce emissions to specified levels;                   percent by weight using a closed vent
                                                 and connected ducts and piping. A                       whereas a Group 2 emission source is                    system and control device if the control
                                                 CMPU includes pumps, compressors,                       one that does not meet the criteria and                 device was installed before December
                                                 agitators, PRDs, sampling connection                    no additional emission reduction is                     31, 1992).
                                                 systems, open-ended valves or lines                     required. Under the emissions averaging                    • Group 1 process wastewater streams
                                                 (OEL), valves, connectors,                              approach, an owner or operator may                      and equipment managing such streams
                                                 instrumentation systems, and control                    elect to control different groups of                    at both new and existing sources must
                                                 devices or systems. A CMPU is                           emission sources to different levels than               meet control requirements for: (1) Waste
                                                 identified by its primary product.                      specified by the point-by-point                         management units including wastewater
                                                                                                         approach, as long as the overall                        tanks, surface impoundments,
                                                 a. NESHAP Subpart F                                                                                             containers, individual drain systems,
                                                                                                         emissions do not exceed the overall
                                                    NESHAP subpart F contains                            allowable emission level. For example,                  and oil-water separators; (2) treatment
                                                 provisions to determine which chemical                  an owner or operator can choose not to                  processes including the design steam
                                                 manufacturing processes at a SOCMI                      control a Group 1 emission source (or to                stripper, biological treatment units, or
                                                 facility are subject to the HON. Table 1                control the emission source with a less                 other treatment devices; and (3) closed
                                                 of NESHAP subpart F contains a list of                  effective control technique) if the owner               vent systems and control devices such
                                                 SOCMI chemicals, and Table 2 of                         or operator over-controls another                       as flares, catalytic incinerators, etc.
                                                 NESHAP subpart F contains a list of                     emission source. For the point-by-point                 Existing sources are not required to
                                                 organic HAP regulated by the HON. In                    approach, NESHAP subpart G contains                     meet control requirements if Group 1
                                                 general, if a process both: (1) Produces                the following standards:                                process wastewater streams are
                                                 one of the listed SOCMI chemicals and                      • Group 1 process vents must reduce                  included in a 1 megagram per year
                                                 (2) either uses as a reactant or produces               emissions of organic HAP using a flare                  source-wide exemption allowed by
                                                 a listed organic HAP in the process,                    meeting 40 CFR 63.11(b); reduce                         NESHAP subpart G.
                                                 then that SOCMI process is subject to                   emissions of total organic HAP or TOC                      • In general, Group 2 emission
                                                 the HON. Details on how to determine                    by 98 percent by weight or to an exit                   sources are not required to apply any
                                                 which emission sources (i.e., heat                      concentration of 20 ppmv; 17 or achieve                 additional emission controls (provided
                                                 exchange systems, process vents, storage                and maintain a TRE index value 18                       they remain below Group 1 thresholds);
                                                 vessels, transfer racks, wastewater, and                greater than 1.0.19                                     however, they are subject to certain
                                                 equipment leaks) are part of a chemical                                                                         monitoring, reporting, and
                                                 manufacturing process are also                            17 The phrase ‘‘whichever is less stringent’’ was     recordkeeping requirements to ensure
                                                 contained in NESHAP subpart F.                          originally used as part of this NESHAP standard;        that they were correctly determined to
                                                                                                         however, we have determined the phrase does not         be Group 2 and that they remain Group
                                                 NESHAP subpart F also contains                          serve any meaningful purpose and are removing it
                                                 monitoring requirements for HAP (i.e.,                  in this final action. For specific details about this   2.
                                                 HAP listed in Table 4 of NESHAP                         editorial correction, refer to section 4.3 of the
                                                                                                                                                                 c. NESHAP Subpart H
                                                 subpart F) that may leak into cooling                   document titled Summary of Public Comments and
                                                 water from heat exchange systems.
                                                                                                         Responses for New Source Performance Standards             NESHAP subpart H contains the
                                                                                                         for the Synthetic Organic Chemical Manufacturing        standard for equipment leaks at SOCMI
                                                 Additionally, NESHAP subpart F                          Industry and National Emission Standards for
                                                 requires sources to prepare a description               Hazardous Air Pollutants for the Synthetic Organic      facilities, including leak detection and
                                                 of procedures for managing                              Chemical Manufacturing Industry and Group I & II        repair (LDAR) provisions and other
                                                                                                         Polymers and Resins Industry, which is available in     control requirements. Equipment
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                                                 maintenance wastewater as part of a                     the docket for this rulemaking.
                                                 SSM plan.                                                 18 See section III.C.3.a of the preamble to the
                                                                                                                                                                 regulated includes pumps, compressors,
                                                                                                         proposed rule (88 FR 25080, April 25, 2023) for a       agitators, PRDs, sampling connection
                                                 b. NESHAP Subpart G                                     description of the TRE index value and how the
                                                    NESHAP subpart G contains the                        concept is currently used in the HON.                   by 99 percent (or 95 percent for control devices
                                                                                                           19 Halogenated vent streams (as defined in            installed prior to December 31, 1992) or reduce the
                                                 standards for process vents, transfer                   NESHAP subpart G) from Group 1 process vents            outlet mass emission rate of total hydrogen halides
                                                                                                         may not be vented to a flare and must reduce the        and halogens to less than 0.45 kg/hr.
                                                   16 See Table 1 to NESHAP subpart F.                   overall emissions of hydrogen halides and halogens        20 See footnote 17.




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                                                 systems, OEL, valves, connectors, surge                 NESHAP subpart H. Process vents are                   4. NSPS Subpart VVa
                                                 control vessels, bottoms receivers, and                 also regulated emission sources but,
                                                 instrumentation systems in organic HAP                  unlike the HON, these emissions                          NSPS subpart VVa contains VOC
                                                 service. A piece of equipment is in                     sources are subdivided into front and                 standards for leaks from equipment
                                                 organic HAP service if it contains or                   back-end process vents in the P&R I                   within a process unit for which
                                                 contacts a fluid that is at least 5 percent             NESHAP. The front-end are unit                        construction, reconstruction, or
                                                 by weight organic HAP. Depending on                     operations prior to and including the                 modification commenced after
                                                 the type of equipment, the standards                    stripping operations. These are further               November 7, 2006. Under NSPS subpart
                                                 require either periodic monitoring for                  subdivided into continuous front-end                  VVa, equipment means each pump,
                                                 and repair of leaks, the use of specified               process vents regulated under NESHAP                  compressor, PRD, sampling connection
                                                 equipment to minimize leaks, or                         subpart G and batch front-end process                 system, OEL, valve, and flange or other
                                                 specified work practices. Monitoring for                vents that are regulated according to the             connector in VOC service and any
                                                 leaks must be conducted using EPA                       requirements within the P&R I NESHAP.                 devices or systems required by the
                                                 Method 21 in appendix A–7 to 40 CFR                     Back-end unit operations include                      NSPS. Process units consist of
                                                 part 60 or other approved equivalent                    filtering, coagulation, blending,                     components assembled to produce, as
                                                 monitoring techniques.                                  concentration, drying, separating, and                intermediate or final products, one or
                                                                                                         other finishing operations, as well as                more of the chemicals listed in 40 CFR
                                                 d. NESHAP Subpart I                                                                                           60.489. A process unit can operate
                                                                                                         latex and crumb storage. The
                                                   NESHAP subpart I provides the                         requirements for back-end process vents               independently if supplied with
                                                 applicability criteria for certain non-                 are not subcategorized into batch or                  sufficient feed or raw materials and
                                                 SOCMI processes subject to the                          continuous and are also found within                  sufficient storage facilities for the
                                                 negotiated regulation for equipment                     the P&R I NESHAP.                                     product. The standards in NSPS subpart
                                                 leaks. Regulated equipment is the same                                                                        VVa include LDAR provisions and other
                                                 as that for NESHAP subpart H.                           3. P&R II NESHAP                                      control requirements. A piece of
                                                 2. P&R I NESHAP                                           The P&R II NESHAP regulates HAP                     equipment is in VOC service if it
                                                                                                         emissions from two source categories,                 contains or contacts a fluid that is at
                                                    The P&R I NESHAP generally follows                                                                         least 10 percent by weight VOC.
                                                 and refers to the requirements of the                   Epoxy Resins Production (also referred
                                                                                                         to as BLR) and Non-Nylon Polyamides                   Depending on the type of equipment,
                                                 HON, with additional requirements for                                                                         the standards require either periodic
                                                 batch process vents. Generally, the P&R                 Production (also referred to as WSR).
                                                                                                         The P&R II NESHAP takes a different                   monitoring for and repair of leaks, the
                                                 I NESHAP applies to EPPUs and                                                                                 use of specified equipment to minimize
                                                 associated equipment. Similar to a                      regulatory and format approach from the
                                                                                                         P&R I NESHAP but still refers to HON                  leaks, or specified work practices.
                                                 CMPU in the HON, an EPPU means a                                                                              Monitoring for leaks must be conducted
                                                 collection of equipment assembled and                   provisions for a portion of the
                                                                                                         standards. BLR are resins made by                     using EPA Method 21 in appendix A–
                                                 connected by hard-piping or duct work                                                                         7 to 40 CFR part 60 or other approved
                                                 used to process raw materials and                       reacting epichlorohydrin and bisphenol
                                                                                                         A to form diglycidyl ether of bisphenol-              equivalent monitoring techniques.
                                                 manufacture elastomer product. The
                                                 EPPU includes unit operations, recovery                 A. WSR are polyamide/epichlorohydrin                  5. NSPS Subpart III
                                                 operations, process vents, storage                      condensates which are used to increase
                                                 vessels, and equipment that are covered                 the tensile strength of paper products.                  NSPS subpart III regulates VOC
                                                 by equipment leak standards and                           The emission sources affected by the                emissions from SOCMI air oxidation
                                                 produce one of the elastomer types                      P&R II NESHAP are all HAP emission                    reactors for which construction,
                                                 listed as an elastomer product,                         points within a facility related to the               reconstruction, or modification
                                                 including: butyl rubber,                                production of BLR or WSR. These                       commenced after October 21, 1983. For
                                                 epichlorohydrin elastomer, ethylene                     emission points include process vents,                the purpose of NSPS subpart III, air
                                                 propylene rubber, halobutyl rubber,                     storage tanks, wastewater systems, and                oxidation reactors are devices or process
                                                 HypalonTM, neoprene, nitrile butadiene                  equipment leaks. Equipment includes                   vessels in which one or more organic
                                                 latex, nitrile butadiene rubber,                        connectors, pumps, compressors,                       reactants are combined with air, or a
                                                 polybutadiene rubber/styrene butadiene                  agitators, PRDs, sampling connection                  combination of air and oxygen, to
                                                 rubber by solution, polysulfide rubber,                 systems, OEL, and instrumentation                     produce one or more organic
                                                 styrene butadiene latex, and styrene                    system in organic HAP service.                        compounds. The affected facility is
                                                 butadiene rubber by emulsion. An EPPU                   Equipment leaks are regulated under the               designated as a single air oxidation
                                                 consists of more than one unit                          HON (i.e., NESHAP subpart H).                         reactor with its own individual recovery
                                                 operation. An EPPU includes, as                           Process vents, storage tanks, and                   system (if any) or the combination of
                                                 ‘‘equipment,’’ pumps, compressors,                      wastewater systems combined are                       two or more air oxidation reactors and
                                                 agitators, PRDs, sampling connection                    regulated according to a production-                  the common recovery system they share
                                                 systems, OEL, valves, connectors, surge                 based emission rate (e.g., pounds HAP                 that produces one or more of the
                                                 control vessels, bottoms receivers,                     per million pounds BLR or WSR                         chemicals listed in 40 CFR 60.617 as a
                                                 instrumentation systems, and control                    produced). For existing sources, the rate             product, co-product, by-product, or
                                                 devices or systems.                                     shall not exceed 130 pounds per 1                     intermediate. The BSER for reducing
                                                    The emissions sources affected by the                million pounds of BLR produced and 10                 VOC emissions from SOCMI air
                                                 P&R I NESHAP include heat exchange                      pounds per 1 million pounds of WSR                    oxidation units was identified as
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                                                 systems and maintenance wastewater at                   produced. For new sources, BLR                        combustion (e.g., incineration, flares)
                                                 P&R I facilities regulated under                        requires all uncontrolled emissions to                and the standard of performance
                                                 NESHAP subpart F; storage vessels,                      achieve 98 percent reduction or limits                requires owners and operators of an
                                                 transfer racks, and wastewater streams                  the total emissions to 5,000 pounds of                affected facility to reduce emissions of
                                                 at P&R I facilities regulated under                     HAP per year. New WSR sources are                     TOC (minus methane and ethane) by 98
                                                 NESHAP subpart G; and equipment                         limited to 7 pounds of HAP per 1                      percent by weight or to a concentration
                                                 leaks at P&R I facilities regulated under               million pounds of WSR produced.                       of 20 ppmv on a dry basis corrected to


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                                                 3 percent oxygen; 21 combust the                        7. NSPS Subpart RRR                                   control device that reduces EtO by
                                                 emissions in a flare meeting 40 CFR                        NSPS subpart RRR regulates VOC                     greater than or equal to 99.9 percent by
                                                 60.18(b); or maintain a TRE index                       emissions from SOCMI reactor                          weight, to a concentration less than 1
                                                 value 22 greater than 1.0 without use of                processes for which construction,                     ppmv for each process vent and storage
                                                 VOC emission control devices.                           reconstruction, or modification                       vessel, or to less than 5 lb/yr for all
                                                                                                         commenced after June 29, 1990. For the                combined process vents; or (2) venting
                                                 6. NSPS Subpart NNN                                                                                           emissions through a closed-vent system
                                                                                                         purpose of NSPS subpart RRR, reactor
                                                                                                         processes are unit operations in which                to a flare meeting the proposed
                                                    NSPS subpart NNN regulates VOC
                                                                                                         one or more chemicals, or reactants                   operating and monitoring requirements
                                                 emissions from SOCMI distillation
                                                                                                         other than air, are combined or                       for flares in NESHAP subpart F.
                                                 operations for which construction,                                                                               • For equipment leaks in EtO service,
                                                 reconstruction, or modification                         decomposed in such a way that their
                                                                                                                                                               we proposed the following combined
                                                 commenced after December 30, 1983.                      molecular structures are altered and one
                                                                                                                                                               requirements: monitoring of connectors
                                                 For the purpose of NSPS subpart NNN,                    or more new organic compounds are
                                                                                                                                                               in gas/vapor and light liquid service at
                                                 distillation operations are operations                  formed. The affected facility is
                                                                                                                                                               a leak definition of 100 ppm on a
                                                 separating one or more feed stream(s)                   designated as a single reactor process
                                                                                                                                                               monthly basis with no reduction in
                                                 into two or more exit stream(s), each                   with its own individual recovery system
                                                                                                                                                               monitoring frequency and no delay of
                                                 exit stream having component                            (if any) or the combination of two or                 repair; light liquid pump monitoring at
                                                 concentrations different from those in                  more reactor processes and the common                 a leak definition of 500 ppm monthly;
                                                 the feed stream(s); and the separation is               recovery system they share that is part               and gas/vapor and light liquid valve
                                                 achieved by the redistribution of the                   of a process unit that produces any of                monitoring at a leak definition of 100
                                                 components between the liquid and                       the chemicals listed in 40 CFR 60.707 as              ppm monthly with no reduction in
                                                 vapor-phase as they approach                            a product, co-product, by-product, or                 monitoring frequency and no delay of
                                                 equilibrium within a distillation unit.                 intermediate. The BSER for reducing                   repair.
                                                 The affected facility is designated as a                VOC emissions from SOCMI reactor                         • For heat exchange systems in EtO
                                                 single distillation column with its own                 processes was identified as combustion                service, we proposed to require owners
                                                                                                         (e.g., incineration, flares) and the                  or operators to conduct more frequent
                                                 individual recovery system (if any) or
                                                                                                         standard of performance requires                      leak monitoring (weekly instead of
                                                 the combination of two or more
                                                                                                         owners and operators of an affected                   quarterly) and repair leaks within 15
                                                 distillation columns and the common
                                                                                                         facility to reduce emissions of TOC                   days from the sampling date (in lieu of
                                                 recovery system they share that is part
                                                                                                         (minus methane and ethane) by 98                      the current 45-day repair requirement
                                                 of a process unit that produces any of
                                                                                                         percent by weight or to a concentration               after receiving results of monitoring
                                                 the chemicals listed in 40 CFR 60.667 as                of 20 ppmv on a dry basis corrected to
                                                 a product, co-product, by-product, or                                                                         indicating a leak), and delay of repair
                                                                                                         3 percent oxygen; 25 combust the                      would not be allowed.
                                                 intermediate. The BSER for reducing                     emissions in a flare meeting 40 CFR
                                                 VOC emissions from SOCMI distillation                                                                            • For wastewater in EtO service, we
                                                                                                         60.18(b); or maintain a TRE index                     proposed to revise the Group 1
                                                 operations was identified as combustion                 value 26 greater than 1.0 without use of
                                                 (e.g., incineration, flares) and the                                                                          wastewater stream threshold for sources
                                                                                                         VOC emission control devices.                         to include wastewater streams in EtO
                                                 standard of performance requires
                                                 owners and operators of an affected                     C. What changes did we propose in our                 service.
                                                                                                         April 25, 2023, proposal?                                • For maintenance vents, we
                                                 facility to reduce emissions of TOC
                                                                                                                                                               proposed a requirement that owners and
                                                 (minus methane and ethane) by 98                        1. NESHAP                                             operators cannot release more than 1.0
                                                 percent by weight or to a concentration                                                                       ton of EtO from all maintenance vents
                                                 of 20 ppmv on a dry basis corrected to                  a. Proposed Actions Related to CAA
                                                                                                         Section 112(f) Risk Assessment                        combined in any consecutive 12-month
                                                 3 percent oxygen; 23 combust the                                                                              period.
                                                 emissions in a flare meeting 40 CFR                        To reduce risk from the SOCMI source                  • For flares, we proposed a
                                                 60.18(b); or maintain a TRE index                       category to an acceptable level, we                   requirement that owners and operators
                                                 value 24 greater than 1.0 without use of                proposed under CAA section 112(f) to                  can send no more than 20 tons of EtO
                                                 VOC emission control devices.                           require (in the HON) control of EtO                   to all of their flares combined from all
                                                                                                         emissions from: (1) Process vents, (2)                HON emission sources at a facility in
                                                   21 The phrase ‘‘whichever is less stringent’’ was     storage vessels, (3) equipment leaks, (4)             any consecutive 12-month period.
                                                 originally used as part of this NSPS standard;          heat exchange systems, and (5)                           • For PRDs in EtO service, we
                                                 however, we have determined the phrase does not         wastewater ‘‘in ethylene oxide service’’              proposed that any atmospheric PRD
                                                 serve any meaningful purpose and are removing it        (see 88 FR 25080, April 25, 2023, for our
                                                 in this final action. For specific details about this                                                         release is a violation of the standard.
                                                 editorial correction, refer to section 5.1 of the       proposed definition of ‘‘in ethylene                     To reduce risk from the Neoprene
                                                 document titled Summary of Public Comments and          oxide service’’). We also proposed                    Production source category to an
                                                 Responses for New Source Performance Standards          requirements to reduce EtO emissions                  acceptable level, we proposed under
                                                 for the Synthetic Organic Chemical Manufacturing        from maintenance vents, flares, and
                                                 Industry and National Emission Standards for                                                                  CAA section 112(f) to require (in the
                                                 Hazardous Air Pollutants for the Synthetic Organic      PRDs.                                                 P&R I NESHAP) control of chloroprene
                                                 Chemical Manufacturing Industry and Group I & II           • For process vents and storage                    for: (1) Process vents, (2) storage vessels,
                                                 Polymers and Resins Industry, which is available in     vessels in EtO service, we proposed                   and (3) wastewater ‘‘in chloroprene
                                                 the docket for this rulemaking.                         owners and operators reduce emissions
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                                                   22 See section III.C.3.b of the preamble to the                                                             service’’ (see 88 FR 25080, April 25,
                                                 proposed rule (88 FR 25080, April 25, 2023) for a
                                                                                                         of EtO by either: (1) Venting emissions               2023, for our proposed definition of ‘‘in
                                                 description of the TRE index value and how the          through a closed-vent system to a                     chloroprene service’’). We also proposed
                                                 concept is used in NSPS subpart III.                                                                          requirements to reduce chloroprene
                                                   23 See footnote 21.                                     25 See footnote 21.
                                                   24 See section III.C.3.b of the preamble to the         26 See section III.C.3.b of the preamble to the
                                                                                                                                                               emissions from maintenance vents and
                                                 proposed rule (88 FR 25080, April 25, 2023) for a       proposed rule (88 FR 25080, April 25, 2023) for a     PRDs.
                                                 description of the TRE index value and how the          description of the TRE index value and how the           • For process vents and storage
                                                 concept is used in NSPS subpart NNN.                    concept is used in NSPS subpart RRR.                  vessels in chloroprene service, we


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                                                 proposed owners and operators reduce                    P&R II NESHAP currently does not                      P&R I vent streams (i.e., closed vent
                                                 emissions of chloroprene by venting                     regulate HAP emissions from heat                      systems containing bypass lines);
                                                 emissions through a closed-vent system                  exchange systems.                                       • dioxins and furans emission limits
                                                 to a control device that reduces                           • For HON and P&R I storage vessels,               in the HON and the P&R I and P&R II
                                                 chloroprene by greater than or equal to                 we proposed to revise applicability                   NESHAP;
                                                 99.9 percent by weight, to a                            thresholds to require existing storage                  • new monitoring requirements for
                                                 concentration less than 1 ppmv for each                 vessels between 38 m3 (10,000 gal) and                HON and P&R I pressure vessels;
                                                 process vent and storage vessel, or to                  151 m3 (40,000 gal) with a vapor                        • new emission standards for HON &
                                                 less than 5 lb/yr for all combined                      pressure ≥6.9 kilopascals to add control,             P&R I surge control vessels and bottoms
                                                 process vents.                                          and also require upgraded deck fittings               receivers;
                                                    • For wastewater in chloroprene                      and controls for guidepoles for all IFR                 • a revised applicability threshold for
                                                 service, we proposed to revise the                      storage vessels. For P&R II storage                   HON transfer racks;
                                                 Group 1 wastewater stream threshold                     vessels, we proposed that no revisions                  • requirements in the P&R II NESHAP
                                                 for sources to include wastewater                       to the current standards are necessary.               for heat exchange systems;
                                                 streams in chloroprene service.                            • For HON and P&R I process vents,                   • requirements in the P&R II NESHAP
                                                    • For maintenance vents, we                          we proposed to: (1) Remove the TRE                    for WSR sources and equipment leaks;
                                                 proposed a requirement that owners and                  concept in its entirety; (2) remove 50                  • to require owners and operators that
                                                 operators cannot release more than 1.0                  ppmv and 0.005 scmm Group 1 process                   use a sweep, purge, or inert blanket
                                                 ton of chloroprene from all maintenance                 vent thresholds; and (3) redefine a                   between the IFR and fixed roof of a
                                                 vents combined in any consecutive 12-                   Group 1 process vent (require control)                storage vessel to route emissions
                                                 month period.                                           as any process vent that emits ≥1.0 lb/               through a closed vent system and
                                                    • For PRDs in chloroprene service,                   hr of total organic HAP. For P&R II                   control device;
                                                 we proposed that any atmospheric PRD                    process vents, we proposed that no                      • to remove exemptions in the HON
                                                 release is a violation of the standard.                 revisions to the current standards are                and the P&R I and P&R II NESHAP from
                                                    • We also proposed a facility-wide                   necessary.                                            the requirement to comply during
                                                 chloroprene emissions cap for all                          Under CAA section 112(d)(6), we also               periods of SSM; and
                                                 neoprene production emission sources                    proposed a fenceline monitoring work                    • to remove affirmative defense
                                                 as a backstop.                                          practice standard requiring owners and                provisions from the P&R I NESHAP that
                                                    Based on our ample margin of safety                  operators to monitor for any of six                   were adopted in 2011.
                                                 analysis, we proposed that the controls                 specific HAP (i.e., benzene, 1,3-
                                                 to reduce EtO emissions at HON                          butadiene, ethylene dichloride, vinyl                 d. Other Proposed Actions
                                                 processes and chloroprene emissions at                  chloride, EtO, and chloroprene) if their                 In addition to the actions described in
                                                 neoprene production processes to get                    site uses, produces, stores, or emits any             the sections above related to NESHAP,
                                                 risks to an acceptable level (described in              of them, and conduct root cause                       we also proposed:
                                                 this section of the preamble) would also                analysis and corrective action upon                      • changes to the HON and the P&R I
                                                 provide an ample margin of safety to                    exceeding the annual average                          and P&R II NESHAP recordkeeping and
                                                 protect public health. We also proposed                 concentration action level set forth for              reporting requirements to require the
                                                 that HAP emissions from the source                      each HAP. We also requested public                    use of electronic reporting of
                                                 categories do not result in an adverse                  comments on whether to promulgate the                 performance test reports and periodic
                                                 environmental effect, and that it is not                fenceline monitoring work practice                    reports;
                                                 necessary to set a more stringent                       standards, including the proposed                        • restructuring of all HON
                                                 standard to prevent, taking into                        action levels for EtO and chloroprene,                definitions;
                                                 consideration costs, energy, safety, and                under the second step of the CAA                         • monitoring requirements for
                                                 other relevant factors, an adverse                      section 112(f)(2) residual risk decision              adsorbers that cannot be regenerated
                                                 environmental effect.                                   framework to provide an ample margin                  and regenerative adsorbers that are
                                                 b. Proposed Actions Related to CAA                      of safety to protect public health in light           regenerated offsite;
                                                 Section 112(d)(6) Technology Review                     of facility-wide risks.                                  • to require subsequent performance
                                                    Pursuant to the CAA section 112(d)(6)                c. Proposed Actions Related to CAA                    testing on non-flare control devices no
                                                 technology review for the HON and the                   Section 112(d)(2) and (3), and 112(h)                 later than 60 calendar months after the
                                                 P&R I, and P&R II NESHAP, we                                                                                  previous performance test; and
                                                                                                            We proposed other requirements for
                                                 proposed that no revisions to the                                                                                • to correct section reference errors
                                                                                                         the HON and P&R I and P&R II NESHAP
                                                 current standards beyond the fenceline                                                                        and make other minor editorial
                                                                                                         based on analyses performed pursuant
                                                 monitoring work practice standard                                                                             revisions.
                                                                                                         to CAA sections 112(d)(2) and (3), and
                                                 discussed below and those proposed                      112(h), and that are consistent with                  2. NSPS
                                                 under CAA section 112(f) are necessary                  Sierra Club v. EPA, 551 F.3d 1019 (D.C.               a. Proposed Actions Related to CAA
                                                 for transfer racks, wastewater streams,                 Cir. 2008), ensuring that CAA section                 Section 111(b)(1)(B) Review
                                                 and equipment leaks; however, we did                    112 standards apply continuously,
                                                 propose additional changes under CAA                    including:                                              Pursuant to the CAA section
                                                 section 112(d)(6) for heat exchange                        • new monitoring and operational                   111(b)(1)(B) reviews for the SOCMI
                                                 systems, storage vessels and process                    requirements for flares in the HON and                NSPS rules, we proposed new NSPS for
                                                                                                                                                               equipment leaks (NSPS subpart VVb)
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                                                 vents.                                                  P&R I NESHAP;
                                                    • For HON and P&R I heat exchange                       • work practice standards for periods              and process vents associated with air
                                                 systems, we proposed requirements that                  of SSM for certain HON and P&R I vent                 oxidation units (NSPS subpart IIIa),
                                                 owners or operators must use the                        streams (i.e., PRD releases, maintenance              distillation operations (NSPS subpart
                                                 Modified El Paso Method and repair                      vents, and planned routine maintenance                NNNa), and reactor processes (NSPS
                                                 leaks of total strippable hydrocarbon                   of storage vessels);                                  subpart RRRa).
                                                 concentration (as methane) in the                          • regulatory provisions for vent                     • For NSPS subpart VVb, we
                                                 stripping gas of 6.2 ppmv or greater. The               control bypasses for certain HON and                  proposed the same requirements in


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                                                 NSPS subpart VVa plus a requirement                     affected source prior to November 16,                 control of EtO for: (1) Process vents, (2)
                                                 that all gas/vapor and light liquid valves              2007.                                                 storage vessels, (3) equipment leaks, (4)
                                                 be monitored monthly at a leak                                                                                heat exchange systems, and (5)
                                                                                                         c. Other Proposed Actions
                                                 definition of 100 ppm and all                                                                                 wastewater ‘‘in ethylene oxide service.’’
                                                 connectors be monitored once every 12                      In addition to the actions described in            We are also finalizing requirements to
                                                 months at a leak definition of 500 ppm.                 the sections above related to the CAA                 reduce EtO emissions from maintenance
                                                    • For NSPS subparts IIIa, NNNa, and                  section 111(b)(1)(B) reviews for the                  vents and PRDs. As discussed in section
                                                 RRRa, we proposed the same                              SOCMI NSPS rules and the NSPS                         IV.A of this preamble, implementation
                                                 requirements in NSPS subparts III,                      subparts VV and VVa reconsideration,                  of these controls will reduce risk to an
                                                 NNN, and RRR, except we proposed to:                    we also proposed:                                     acceptable level and provide an ample
                                                 (1) Eliminate the TRE concept in its                       • standards in NSPS subparts VVb,                  margin of safety to protect public health
                                                 entirety (including the removal of the                  IIIa, NNNa, and RRRa that apply at all                from source category emissions points.
                                                 alternative of maintaining a TRE index                  times;                                                In addition, the fenceline monitoring
                                                 value greater than 1 without the use of                    • the use of electronic reporting of               requirements being finalized in this
                                                 control device and the limited                          performance test reports and periodic
                                                                                                                                                               action will further reduce whole-facility
                                                 applicability exemptions) and instead                   reports;
                                                                                                                                                               EtO and chloroprene emissions at
                                                 require owners and operators to reduce                     • several corrections to the
                                                                                                                                                               facilities with HON and Neoprene
                                                 emissions of TOC (minus methane and                     calibration drift assessment
                                                                                                         requirements in NSPS subpart VVa; and                 Production processes, with
                                                 ethane) from all vent streams of an                                                                           consequential reductions in risks from
                                                 affected facility (i.e., SOCMI air                         • to require subsequent performance
                                                                                                         testing on non-flare control devices no               these pollutants. In general, we are
                                                 oxidation unit processes, distillation
                                                                                                         later than 60 calendar months after the               finalizing all of the EtO related
                                                 operations, and reactor processes for
                                                                                                         previous performance test.                            requirements as proposed (for HON),
                                                 which construction, reconstruction, or
                                                                                                                                                               except: we are not finalizing (in
                                                 modification commences after April 25,                  III. What is included in this final rule?             response to persuasive comments
                                                 2023) by 98 percent by weight or to a
                                                                                                            This action finalizes the EPA’s                    received during the public comment
                                                 concentration of 20 ppmv on a dry basis
                                                                                                         determinations pursuant to the                        period) the proposed requirement at 40
                                                 corrected to 3 percent oxygen, or
                                                                                                         applicable provisions of CAA section                  CFR 63.108(p) that would prohibit
                                                 combust the emissions in a flare
                                                                                                         112 for the SOCMI source category and                 owners and operators from sending
                                                 meeting the same operating and
                                                                                                         various polymers and resins source                    more than 20 tons of EtO to all of their
                                                 monitoring requirements for flares that
                                                 we proposed for flares subject to the                   categories and amends the HON and                     flares combined in any consecutive 12-
                                                 HON; (2) eliminate the relief valve                     P&R I and P&R II NESHAP based on                      month period. In addition to the
                                                 discharge exemption from the definition                 those determinations. In addition, this               primary CAA section 112(d)(6)-based
                                                 of ‘‘vent stream’’ such that any relief                 action finalizes determinations of our                fenceline monitoring program action
                                                 valve discharge to the atmosphere of a                  review of the SOCMI NSPS rules                        levels that we are finalizing for all six
                                                 vent stream is a violation of the                       pursuant to CAA section 111(b)(1)(B).                 HAP that reflect compliance with the
                                                 emissions standard; (3) require the same                This actions also finalizes other changes             source category-specific emissions
                                                 work practice standards for                             to the NESHAP, including adding                       limits for SOCMI and P&R I source
                                                 maintenance vents that we proposed for                  requirements and clarifications for                   category processes (see section III.B.1 of
                                                 HON process vents; and (4) require the                  periods of SSM and bypasses; revising                 this preamble), we are also finalizing
                                                 same monitoring requirements that we                    the operating and monitoring                          separately, in the P&R I NESHAP for
                                                 proposed for HON process vents for                      requirements for flares; adding                       Neoprene Production sources, an
                                                 adsorbers that cannot be regenerated                    provisions for electronic reporting; and              additional secondary action level under
                                                 and regenerative adsorbers that are                     other editorial and technical changes.                CAA section 112(f)(2) for fenceline
                                                 regenerated offsite.                                    Additionally, this action finalizes                   monitoring of chloroprene emissions.
                                                                                                         amendments to NSPS subparts VV and                    This secondary action level for
                                                 b. Proposed Actions Related to NSPS                     VVa in response to the January 2008                   chloroprene for facilities with Neoprene
                                                 Subparts VV and VVa Reconsideration                     petition for reconsideration. This action             Production sources is the same action
                                                    In response to the January 2008                      also reflects several changes to the April            level that was proposed. The primary
                                                 petition for reconsideration we                         25, 2023 proposal (88 FR 25080), in                   chloroprene action level, which applies
                                                 proposed: (1) Definitions for ‘‘process                 consideration of comments received                    to sources subject to 40 CFR subpart H
                                                 unit’’ for NSPS subparts VV and VVa;                    during the public comment period as                   in the HON, is higher than what was
                                                 (2) to remove the requirements in 40                    described in section IV of this preamble.             proposed, but reflects the modeled
                                                 CFR 60.482–1(g) (for NSPS subpart VV)                                                                         emissions concentrations expected to
                                                 and 40 CFR 60.482–1a(g) (for NSPS                       A. What are the final rule amendments                 result from compliance with the other
                                                 subpart VVa) that are related to a                      based on the risk review for the SOCMI                emission standards adopted in the final
                                                 method for assigning shared storage                     and Neoprene Production source                        rule, as we discussed in the proposed
                                                 vessels to specific process units; (3) to               categories NESHAP?                                    rule. See 88 FR at 25145/col. 2. The
                                                 remove the connector monitoring                            Consistent with the proposal, the EPA              secondary chloroprene action level will
                                                 provisions from NSPS subpart VVa at 40                  determined that the risks for the SOCMI               further reduce whole-facility risks
                                                 CFR 60.482–11a in their entirety and                    and Neoprene Production source                        caused by such emissions from facilities
                                                 instead, include connector monitoring                   categories under the previous MACT                    with Neoprene Production sources,
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                                                 provisions in NSPS subpart VVb; and                     standards are unacceptable. When risks                consistent with the goal to provide an
                                                 (4) to revise the ‘‘capital expenditure’’               are unacceptable, the EPA must                        ample margin of safety to protect public
                                                 definition in NSPS subpart VVa at 40                    determine the emissions standards                     health. For this reason, for facilities
                                                 CFR 60.481a to reflect the definition                   necessary to reduce risk to an acceptable             with Neoprene Production sources we
                                                 used in NSPS subpart VV at 40 CFR                       level. As such, the EPA is promulgating               are promulgating the secondary
                                                 60.481 for owners or operators that start               final amendments to the HON pursuant                  chloroprene action level we had
                                                 a new, reconstructed, or modified                       to CAA section 112(f)(2) that require                 proposed under CAA section 112(d)(6)


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                                                 under our CAA section 112(f)(2)                         preamble, implementation of these                       • the sampling site for determining
                                                 authority, as we requested comment on                   controls will reduce risk to an                       whether an emissions source is in
                                                 in the proposed rule. See id., at 25145/                acceptable level and provide an ample                 chloroprene service is after the last
                                                 col. 3.                                                 margin of safety to protect public health             recovery device (if any recovery devices
                                                    Also, based on comments received on                  from the Neoprene Production source                   are present) but prior to the inlet of any
                                                 the proposed rulemaking, we are                         category. In general, we are finalizing all           control device that is present and prior
                                                 clarifying in this final action that:                   of the chloroprene related requirements               to release to the atmosphere (see 40 CFR
                                                    • we mean ‘‘the procedures specified                 as proposed (for Neoprene Production                  63.509(a)); and
                                                 in § 63.109’’ instead of ‘‘sampling and                 sources in the P&R I NESHAP), except                    • the 5 lb/yr chloroprene mass
                                                 analysis’’ within the definitions of ‘‘in               in response to persuasive comments                    threshold for combined process vents in
                                                 ethylene oxide service’’ for storage                    received during the public comment                    chloroprene service is on a EPPU-by-
                                                 vessels, equipment leaks, and heat                      period: (1) We are not finalizing the                 EPPU basis (see the definition of ‘‘in
                                                 exchange systems (see 40 CFR 63.101);                   facility-wide chloroprene emissions cap               chloroprene service’’ for process vents).
                                                    • the sampling site for determining                  at 40 CFR 63.483(a)(10) that would                      Section IV.A.3 of this preamble
                                                 whether an emissions source is in EtO                   prohibit owners and operators from                    provides a summary of key comments
                                                 service is after the last recovery device               emitting 3.8 tpy of chloroprene in any                we received on the CAA section 112(f)
                                                 (if any recovery devices are present) but               consecutive 12-month period from all                  provisions and our responses.
                                                 prior to the inlet of any control device                neoprene production emission sources;
                                                 that is present and prior to release to the                                                                   B. What are the final rule amendments
                                                                                                         (2) we are revising the performance                   based on the technology review for the
                                                 atmosphere (see 40 CFR 63.109(a));                      standard from a 99.9 percent by weight
                                                    • owners and operators can use good                                                                        SOCMI, P&R I, and P&R II source
                                                                                                         reduction requirement to a 98 percent                 categories NESHAP pursuant to CAA
                                                 engineering judgment to determine the                   by weight reduction requirement for
                                                 percent of EtO of the process fluid                                                                           section 112(d)(6) and NSPS reviews for
                                                                                                         storage vessels in chloroprene service                the SOCMI source category pursuant to
                                                 cooled by the heat exchange system                      (see 40 CFR 63.484(u) and 40 CFR
                                                 similar to what we are allowing for                                                                           CAA section 111(b)(1)(B)?
                                                                                                         53.510), continuous front-end process
                                                 equipment leaks in 40 CFR 63.109(c)(2)                  vents in chloroprene service (see 40 CFR              1. NESHAP
                                                 (see 40 CFR 63.109(e));                                 63.485(y) and 40 CFR 53.510), and batch
                                                    • the 5 lb/yr EtO mass threshold for                                                                          For transfer racks, wastewater
                                                                                                         front-end process vents in chloroprene                streams, and equipment leaks in the
                                                 combined process vents in EtO service                   service (see 40 CFR 63.487(j)); (3) we are
                                                 is on a CMPU-by-CMPU basis (see 40                                                                            SOCMI, P&R I, and P&R II source
                                                                                                         finalizing a requirement that owners                  categories, the EPA is finalizing its
                                                 CFR 63.113(j)(2), 40 CFR 63.124(a)(4)                   and operators reduce emissions of
                                                 and (a)(4)(iii), and within the definition                                                                    proposed determination in the
                                                                                                         chloroprene from back-end process                     technology review that there are no
                                                 of ‘‘in ethylene oxide service’’ for                    vents in chloroprene service at affected
                                                 process vents);                                                                                               developments in practices, processes,
                                                                                                         sources producing neoprene by venting                 and control technologies that warrant
                                                    • owners and operators may delay
                                                                                                         emissions through a closed-vent system                revisions to the MACT standards
                                                 repair of equipment leaks in EtO
                                                                                                         to a non-flare control device that                    beyond those needed under CAA
                                                 service, and heat exchange systems in
                                                                                                         reduces chloroprene by greater than or                section 112(f) or for other purposes
                                                 EtO service, indefinitely as long as there
                                                                                                         equal to 98 percent by weight, to a                   besides section 112(d)(6). Therefore,
                                                 is no longer an active EtO leak once the
                                                                                                         concentration less than 1 ppmv for each               with the exception of the fenceline
                                                 equipment is isolated and not in EtO
                                                                                                         process vent, or to less than 5 lb/yr for             monitoring standards that are discussed
                                                 service (see 40 CFR 63.104(h)(6) and 40
                                                                                                         all combined process vents (see 40 CFR                further below, we are not finalizing
                                                 CFR 63.171(b));
                                                    • we mean ‘‘process wastewater’’                     63.494(a)(7)); and (4) we are finalizing              revisions to the MACT standards for
                                                 instead of ‘‘wastewater’’ in 40 CFR                     in the primary CAA section 112(d)(6)-                 these emission sources under CAA
                                                 63.132(c)(1)(iii) and (d)(1)(ii);                       based fenceline monitoring program                    section 112(d)(6).
                                                    • owners and operators can                           action levels for all six HAP addressed                  For heat exchange systems, we
                                                 demonstrate compliance with the                         in the proposal that reflect compliance               determined that there are developments
                                                 standards for wastewater in EtO service                 with the source category-specific                     in practices, processes, and control
                                                 if the concentration of EtO is reduced,                 emissions limits for SOCMI and P&R I                  technologies that warrant revisions to
                                                 by removal or destruction, to a level less              source category processes, and which                  the MACT standards for heat exchange
                                                 than 1 ppmw as determined in the                        subject sources are largely already                   systems in the SOCMI, P&R I, and P&R
                                                 procedures specified in 40 CFR                          meeting (see section III.B.1 of this                  II source categories. Therefore, to satisfy
                                                 63.145(b) (see 40 CFR 63.138(b)(3) and                  preamble). Separately, we are also                    the requirements of CAA section
                                                 (c)(3)); and                                            setting an additional secondary action                112(d)(6), we are revising the MACT
                                                    • owners and operators can use test                  level under CAA section 112(f)(2) for                 standards, consistent with the proposed
                                                 methods specified in 40 CFR 63.109(d)                   fenceline monitoring of chloroprene                   rule (88 FR 25080, April 25, 2023), to
                                                 for analysis of EtO in wastewater (see 40               emissions. This standard will further                 include revisions to the heat exchange
                                                 CFR 63.144(b)(5)(i)).                                   reduce whole-facility risks caused by                 system requirements to require owners
                                                    Additionally, the EPA is promulgating                such emissions, consistent with the goal              or operators to use the Modified El Paso
                                                 final amendments to the P&R I NESHAP                    to provide an ample margin of safety to               Method and repair leaks of total
                                                 for Neoprene Production sources                         protect public health. Also, based on                 strippable hydrocarbon concentration
                                                 pursuant to CAA section 112(f)(2) that                  comments received on the proposed                     (as methane) in the stripping gas of 6.2
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                                                 require control of chloroprene for: (1)                 rulemaking, we are clarifying in this                 ppmv or greater. We are also finalizing,
                                                 Process vents, (2) storage vessels, (3)                 final action that:                                    as proposed, that owners and operators
                                                 wastewater ‘‘in chloroprene service.’’                     • we mean ‘‘the procedures specified               may use the current leak monitoring
                                                 We are also finalizing requirements to                  in § 63.509’’ instead of ‘‘sampling and               requirements for heat exchange systems
                                                 reduce chloroprene emissions from                       analysis’’ within the definitions of ‘‘in             at 40 CFR 63.104(b) in lieu of using the
                                                 maintenance vents and PRDs. As                          chloroprene service’’ for storage vessels             Modified El Paso Method provided that
                                                 discussed in section IV.A of this                       (see 40 CFR 63.482);                                  99 percent by weight or more of the


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                                                 organic compounds that could leak into                  We are also removing, as proposed, the                health. See 40 CFR 63.184 (for HON)
                                                 the heat exchange system are water                      TRE concept in its entirety, and                      and 40 CFR 63.502 (for the P&R I
                                                 soluble and have a Henry’s Law                          removing, as proposed, the 50 ppmv                    NESHAP). In addition, the final rule
                                                 Constant less than 5.0E–6 atmospheres-                  and 0.005 scmm Group 1 process vent                   includes burden reduction measures to
                                                 cubic meters/mol at 25 degrees Celsius.                 thresholds. See 40 CFR 63.101 and 40                  allow owners and operators to skip
                                                 See 40 CFR 63.104(g) through (j) and (l)                CFR 63.113(a)(1), (2), and (4) (for HON)              fenceline measurement periods for
                                                 (for HON), 40 CFR 63.502(n)(7) (for the                 and 40 CFR 63.482 and 40 CFR                          specific monitors with a history of
                                                 P&R I NESHAP), and 40 CFR 63.523(d)                     63.485(l)(6), (o)(6), (p)(5), and (x) (for            measurements that are at or below
                                                 and 40 CFR 63.524(c) (for the P&R II                    the P&R I NESHAP). To satisfy the                     certain specified action levels. We have
                                                 NESHAP).                                                requirements of CAA section 112(d)(6),                also made a clarification that fenceline
                                                    For storage vessels, we did not                      we are also revising the MACT                         monitoring is required for owners and
                                                 identify any control options for storage                standards, consistent with the proposed               operators with affected sources that
                                                 tanks subject to the P&R II NESHAP.                     rule (88 FR 25080, April 25, 2023), to                produce, store, or emit one or more of
                                                 However, we determined that there are                   include revisions to the process vent                 the target analytes; and we have reduced
                                                 developments in practices, processes,                   applicability threshold to redefine a                 the requirements in the final rule for the
                                                 and control technologies that warrant                   P&R I Group 1 batch front-end process                 minimum detection limit of alternative
                                                 revisions to the MACT standards for                     vent as process vents that release total              measurement approaches (for fenceline
                                                 storage vessels in the SOCMI and P&R                    annual organic HAP emissions greater                  monitoring). In addition, we have made
                                                 I source categories. Therefore, to satisfy              than or equal to 4,536 kg/yr (10,000 lb/              clarifications on the calculation of delta
                                                 the requirements of CAA section                         yr) from all batch front-end process                  c (Dc) 27 when a site-specific monitoring
                                                 112(d)(6), we are revising the MACT                     vents combined. See 40 CFR 63.482, 40                 plan is used to correct monitoring
                                                 standards, consistent with the proposed                 CFR 63.487(e)(1)(iv), 40 CFR                          location concentrations due to offsite
                                                 rule (88 FR 25080, April 25, 2023), to                  63.488(d)(2), (e)(4), (f)(2), and (g)(3) (for         impacts, and we have made a change in
                                                 include revisions to the storage vessel                 the P&R I NESHAP).                                    the required method detection limit for
                                                 applicability threshold to require both                                                                       alternative test methods from an order
                                                                                                           Also, to satisfy the requirements of
                                                 existing and new storage vessels                                                                              of magnitude below the action level to
                                                                                                         CAA section 112(d)(6), we are revising
                                                 between 38 m3 and 151 m3 with a vapor                                                                         one-third of the action level. Finally,
                                                                                                         the MACT standards, consistent with
                                                 pressure greater than or equal to 6.9                                                                         with the exception of fenceline
                                                                                                         the proposed rule (88 FR 25080, April
                                                 kilopascals to reduce emissions of                                                                            monitoring of chloroprene at P&R I
                                                 organic HAP by 95 percent utilizing a                   25, 2023), to include a fenceline
                                                                                                                                                               affected sources producing neoprene,
                                                 closed vent system and control device,                  monitoring work practice standard for
                                                                                                                                                               discussed below, we have changed the
                                                 or reduce organic HAP emissions either                  the SOCMI and P&R I source categories,
                                                                                                                                                               compliance date to begin fenceline
                                                 by utilizing an IFR, an EFR, or by                      requiring owners and operators to
                                                                                                                                                               monitoring from 1 to 2 years after the
                                                 routing the emissions to a process or a                 monitor for any of six specific HAP (i.e.,
                                                                                                                                                               effective date of the final rule. For P&R
                                                 fuel gas system, or vapor balancing. We                 benzene, 1,3-butadiene, ethylene
                                                                                                                                                               I affected sources producing neoprene,
                                                 are also finalizing, as proposed,                       dichloride, vinyl chloride, EtO, and
                                                                                                                                                               we have changed the compliance date
                                                 requirements that all openings in an IFR                chloroprene) if their affected source
                                                                                                                                                               for fenceline monitoring of chloroprene
                                                 (except those for automatic bleeder                     uses, produces, stores, or emits any of
                                                                                                                                                               to begin no later than October 15, 2024,
                                                 vents (vacuum breaker vents), rim space                 them, and to conduct root cause
                                                                                                                                                               or upon startup, whichever is later,
                                                 vents, leg sleeves, and deck drains) be                 analysis and corrective action upon
                                                                                                                                                               subject to the owner or operator seeking
                                                 equipped with a deck cover; and that                    exceeding the annual average
                                                                                                                                                               the EPA’s authorization of an extension
                                                 the deck cover be equipped with a                       concentration action level set forth for
                                                                                                                                                               of up to 2 years from July 15, 2024.
                                                 gasket between the cover and the deck;                  each HAP. However, based on
                                                                                                                                                                  Section III.G.1 of this preamble
                                                 and control requirements for guidepoles                 comments received on the proposed
                                                                                                                                                               provides a more detailed discussion of
                                                 for all storage vessels equipped with an                rulemaking, we are amending the
                                                                                                                                                               the effective and compliance dates for
                                                 IFR. See Tables 5 and 6 to subpart G,                   fenceline monitoring work practice
                                                                                                                                                               the requirements we are finalizing in
                                                 and 40 CFR 63.119(b)(5)(ix), (x), (xi),                 standards in the final rule adopted
                                                                                                                                                               this action for the HON and the P&R I
                                                 and (xii) (for HON) and 40 CFR 63.484(t)                under CAA section 112(d)(6) to include
                                                                                                                                                               NESHAP. Section IV.B.3 of this
                                                 (for the P&R I NESHAP).                                 the action level of 0.8 ug/m3 for
                                                                                                                                                               preamble provides a summary of key
                                                    For process vents, we did not identify               chloroprene, which reflects compliance                comments we received on the CAA
                                                 any control options for process vents                   with the source category-specific                     section 112(d)(6) provisions and our
                                                 subject to the P&R II NESHAP. However,                  emissions limits for P&R I source                     responses.
                                                 we determined that there are                            category processes. The action levels for
                                                 developments in practices, processes,                   benzene, 1,3-butadiene, ethylene                      2. NSPS
                                                 and control technologies that warrant                   dichloride, EtO, and vinyl chloride will                 The EPA is finalizing, as proposed, a
                                                 revisions to the MACT standards for                     also correspond to the modeled                        determination that the BSER for
                                                 process vents in the SOCMI and P&R I                    concentrations resulting from                         reducing VOC emissions from SOCMI
                                                 source categories. Therefore, to satisfy                compliance with the process emission                  air oxidation units, distillation
                                                 the requirements of CAA section                         standards promulgated in the final rule               operations, and reactor processes
                                                 112(d)(6), we are revising the MACT                     and/or levels that HON-subject sources                remains combustion (e.g., incineration,
                                                 standards, consistent with the proposed                 are largely already meeting. Separately,              flares), and we are also maintaining that
                                                                                                         we are also setting an additional
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                                                 rule (88 FR 25080, April 25, 2023), to                                                                        the standard of performance of 98
                                                 include revisions to the process vent                   secondary action level of 0.3 ug/m3 for
                                                 applicability threshold to redefine a                   chloroprene under CAA section                           27 Delta c, notated as Dc, represents the

                                                 HON Group 1 process vent and P&R I                      112(f)(2), because this standard will                 concentration difference between the highest
                                                 Group 1 continuous front-end process                    further reduce elevated risks from                    measured concentration and lowest measured
                                                                                                                                                               concentration for a set of samples in one sampling
                                                 vent (i.e., to require control) as any                  facility-wide emissions of this pollutant             period. The sampling period Dc values are averaged
                                                 process vent that emits greater than or                 consistent with the goal to provide an                over 1 year to create an annual average; the annual
                                                 equal to 1.0 lb/hr of total organic HAP.                ample margin of safety to protect public              average Dc is compared to the action level.



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                                                 percent reduction of TOC (minus                         standard. In addition, we are finalizing,             63.118(a)(5), 40 CFR 63.127(d)(3), 40
                                                 methane and ethane), or reduction of                    as proposed, the same work practice                   CFR 63.130(a)(2)(iv), (b)(3), and (d)(7),
                                                 TOC (minus methane and ethane) to an                    standards for maintenance vents that we               and 40 CFR 63.148(f)(4), (i)(3)(iii), and
                                                 outlet concentration of 20 ppmv on a                    are finalizing for HON process vents,                 (j)(4) (for HON and the P&R I NESHAP)
                                                 dry basis corrected to 3 percent oxygen,                and, as proposed, the same monitoring                 as well as 40 CFR 63.480(d)(3), 40 CFR
                                                 continues to reflect the BSER for NSPS                  requirements that we are finalizing for               63.491(e)(6), 40 CFR 63.497(d)(3), and
                                                 subparts IIIa, NNNa, and RRRa. While                    HON process vents for adsorbers that                  63.498(d)(5)(v) (for the P&R I NESHAP));
                                                 we are finalizing no changes in the                     cannot be regenerated and regenerative                   • maintenance vents and equipment
                                                 BSER for reducing VOC emissions from                    adsorbers that are regenerated offsite.               openings (excluding storage vessel
                                                 SOCMI air oxidation units, distillation                    For equipment leaks, we determined                 degassing) (see 40 CFR 63.113(k) (for
                                                 operations, and reactor processes, we                   that there are techniques used in                     HON) 40 CFR 63.485(x) and 40 CFR
                                                 determined that there are certain                       practice related to LDAR of certain                   63.487(i) (for the P&R I NESHAP));
                                                 advances in process operations that                     equipment that achieve greater emission                  • storage vessel degassing (see 40 CFR
                                                 were not identified or considered during                reductions than those currently required              63.119(a)(2) (for HON) and 40 CFR
                                                 development of the original NSPS                        by NSPS subpart VVa. Therefore,                       63.484(a) (for the P&R I NESHAP)); and
                                                                                                         pursuant to the requirements of CAA                      • planned routine maintenance for
                                                 subparts III, NNN, and RRR (for SOCMI
                                                                                                         section 111(b)(1)(B), we are finalizing               storage vessels (see 40 CFR 63.119(e)(3)
                                                 air oxidation units, distillation
                                                                                                         revised equipment leak requirements in                through (5) (for HON) and 40 CFR
                                                 operations, and reactor processes,                                                                            63.484(a) (for the P&R I NESHAP)).
                                                 respectively), which warrant revisions                  new NSPS subpart VVb (for facilities
                                                                                                         that commence construction,                              However, in response to comments
                                                 to the requirements for process vents in                                                                      received on the proposed rulemaking for
                                                                                                         reconstruction, or modification after
                                                 the SOCMI source category. Therefore,                                                                         storage vessel degassing, we are: (1)
                                                                                                         April 25, 2023), consistent with the
                                                 pursuant to CAA section 111(b)(1)(B),                                                                         Clarifying in the final rule at 40 CFR
                                                                                                         proposed rule (88 FR 25080, April 25,
                                                 we are finalizing revised process vent                                                                        63.119(a)(6) that the storage vessel
                                                                                                         2023). We are finalizing that BSER for
                                                 requirements in new NSPS subparts IIIa,                                                                       degassing work practice standard
                                                                                                         gas and light liquid valves is the same
                                                 NNNa, and RRRa (for SOCMI air                                                                                 applies to all Group 1 storage vessels,
                                                                                                         monitoring in an LDAR program as
                                                 oxidation unit processes, distillation                                                                        including storage vessels in EtO service,
                                                                                                         NSPS subpart VVa, but now at a leak
                                                 operations, and reactor processes for                                                                         and (2) revising the storage vessel
                                                                                                         definition of 100 ppm, and BSER for
                                                 which construction, reconstruction, or                  connectors is monitoring in the LDAR                  degassing work practice standard in the
                                                 modification commenced after April 25,                  program at a leak definition of 500 ppm               final rule at 40 CFR 63.119(a)(6) to allow
                                                 2023), consistent with the proposed rule                and monitored annually, with reduced                  storage vessels to be vented to the
                                                 (88 FR 25080, April 25, 2023). In                       frequency for good performance. In a                  atmosphere once a storage vessel
                                                 particular, we are finalizing for NSPS                  change from the proposed rule, we are                 degassing organic HAP concentration of
                                                 subparts IIIa, NNNa and RRRa, as                        finalizing a definition of ‘‘capital                  5,000 ppmv as methane is met, or until
                                                 proposed, the removal of the entire TRE                 expenditure’’ in NSPS subpart VVb to                  the vapor space concentration is less
                                                 concept (including the removal of the                   use a formula that better reflects the                than 10 percent of the LEL. In addition,
                                                 alternative of maintaining a TRE index                  trajectory of inflation.                              in response to comments received on
                                                 value greater than 1 without the use of                    Section IV.B.3 of this preamble                    the proposed rulemaking for planned
                                                 control device and the limited                          provides a summary of key comments                    routine maintenance of storage vessels,
                                                 applicability exemptions) such that                     we received on the proposed provisions                we are clarifying in the final rule at 40
                                                 owners and operators of affected                        pursuant to CAA section 111(b)(1)(B)                  CFR 63.119(f)(3) that the 240-hour
                                                 facilities (for which construction,                     and our responses.                                    planned routine maintenance provisions
                                                 reconstruction, or modification                                                                               also apply for breathing losses for fixed
                                                 commences after April 25, 2023) are                     C. What are the final rule amendments                 rood roof vessels routed to a fuel gas
                                                 required to reduce emissions of TOC                     pursuant to CAA sections 112(d)(2) and                system or to a process.
                                                 (minus methane and ethane) from all                     (3), and 112(h) for the SOCMI, P&R I,                    To address regulatory gaps, we are
                                                 vent streams of an affected facility by 98              and P&R II source categories?                         also finalizing the emission limits as
                                                 percent by weight or to a concentration                    Consistent with Sierra Club v. EPA                 proposed for polychlorinated dibenzo-p-
                                                 of 20 ppmv on a dry basis corrected to                  551 F. 3d 1019 (D.C. Cir. 2008) and the               dioxins (dioxins) and polychlorinated
                                                 3 percent oxygen, or combust the                        April 25, 2023, proposal (88 FR 25080),               dibenzofurans (furans) for HON, P&R I,
                                                 emissions in a flare. The EPA is also                   we are revising monitoring and                        and P&R II facilities (see 40 CFR
                                                 finalizing, as proposed, that affected                  operational requirements for flares to                63.113(a)(5) (for HON), 40 CFR
                                                 sources that combust the emissions in a                 ensure HON and P&R I flares meet the                  63.485(x) and 40 CFR 63.487(a)(3) and
                                                 flare meet the same operating and                       MACT standards at all times when                      (b)(3) (for the P&R I NESHAP), and 40
                                                 monitoring requirements for flares that                 controlling HAP emissions.28 See 40                   CFR 63.523(e), 40 CFR 63.524(a)(3), and
                                                 we are finalizing for flares subject to the             CFR 63.108 (for HON) and 40 CFR                       40 CFR 63.524(b)(3) (for the P&R II
                                                 HON. However, based on comments                         63.508 (for the P&R I NESHAP). In                     NESHAP)). We are also finalizing the
                                                 received on the proposed rulemaking,                    addition, we are finalizing provisions                requirements as proposed for transfer
                                                 we are finalizing a mass-based                          and clarifications as proposed for                    operations (see 40 CFR 63.101 (for
                                                 exemption criteria of 0.001 lb/hr TOC                   periods of SSM and bypasses, including:               HON)), heat exchange systems (40 CFR
                                                 (for which emission controls are not                       • PRD releases (see 40 CFR 63.165(e)               63.523(d) and 40 CFR 63.524(c) (for the
                                                 required) in new NSPS subparts IIIa and                 (for HON) and 40 CFR 63.502(a) (for the               P&R II NESHAP)), and WSR sources and
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                                                 NNNa. Also, as proposed, we are not                     P&R I NESHAP));                                       equipment leaks (see 40 CFR
                                                 including in the final NSPS subparts                       • bypass lines on closed vent systems              63.524(a)(3) and (b)(3) (for the P&R II
                                                 IIIa, NNNa, and RRRa a relief valve                     (see 40 CFR 63.114(d)(3), 40 CFR                      NESHAP)). In addition, we are
                                                 discharge exemption in the definition of                                                                      finalizing the requirements as proposed
                                                                                                            28 P&R II sources do not use flares as APCDs as
                                                 ‘‘vent stream’’; instead, any relief valve              they are making resins from chlorinated chemicals
                                                                                                                                                               for pressure vessels (see 40 CFR
                                                 discharge to the atmosphere of a vent                   (i.e., epichlorohydrin feedstocks), and chlorinated   63.119(a)(7) (for HON) and 40 CFR
                                                 stream is a violation of the emissions                  chemicals are not controlled with flares.             63.484(t) (for the P&R I NESHAP)), surge


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                                                 control and bottoms receivers (see 40                   greater than or equal to 1.0 lb/hr of total           preamble, the EPA determined that no
                                                 CFR 63.170(b) (for HON) and 40 CFR                      organic HAP.                                          additional standards are needed to
                                                 63.485(d) (for the P&R I NESHAP)), but                    Section IV.C.3 of this preamble                     address emissions during periods of
                                                 with a few changes in the final rule in                 provides a summary of key comments                    SSM and that facilities in the SOCMI
                                                 response to persuasive comments                         we received on the CAA sections                       and P&R II source categories can meet
                                                 received during the public comment                      112(d)(2), (d)(3), and (h) provisions and             the applicable MACT standards at all
                                                 period.                                                 our responses.                                        times, including periods of startup and
                                                    In response to comments received on                                                                        shutdown.
                                                                                                         D. What are the final rule amendments                    We are also finalizing, as proposed,
                                                 the proposed rulemaking for pressure                    addressing emissions during periods of
                                                 vessels, we are:                                                                                              revisions to the HON and P&R II General
                                                                                                         SSM?                                                  Provisions tables (Table 3 to subpart F
                                                    • clarifying that the pressure vessel
                                                 requirements at 40 CFR 63.119(a)(7)                     1. NESHAP                                             of part 63 and Table 1 to subpart W of
                                                 only apply to pressure vessels that are                                                                       part 63, respectively) to eliminate
                                                                                                            We are finalizing the proposed
                                                 considered Group 1 storage vessels;                                                                           requirements that include rule language
                                                                                                         amendments to the HON and the P&R I
                                                    • clarifying that if the equipment is                                                                      providing an exemption for periods of
                                                                                                         and P&R II NESHAP to remove and
                                                 not a connector, gas/vapor or light                                                                           SSM. We note that the EPA already
                                                                                                         revise provisions related to SSM. In its
                                                 liquid valve, light liquid pump, or PRD                                                                       made a similar revision to the General
                                                                                                         2008 decision in Sierra Club v. EPA, 551
                                                 in ETO service and the equipment is on                                                                        Provisions table to the P&R I NESHAP
                                                                                                         F.3d 1019 (D.C. Cir. 2008), the Court
                                                 a pressure vessel located at a HON or                                                                         (see 77 FR 22566, April 21, 2011).
                                                                                                         vacated portions of two provisions in
                                                 P&R I facility, then that particular                                                                          Additionally, we are finalizing our
                                                                                                         the EPA’s CAA section 112 regulations
                                                 equipment is not subject to HON                                                                               proposal to eliminate language related
                                                                                                         governing the emissions of HAP during
                                                 subpart H, but rather the equipment is                                                                        to SSM that treats periods of startup and
                                                                                                         periods of SSM. Specifically, the Court               shutdown the same as periods of
                                                 subject to the pressure vessel                          vacated the SSM exemptions contained
                                                 requirements we proposed and are                                                                              malfunction. Finally, we are finalizing
                                                                                                         in 40 CFR 63.6(f)(1) and (h)(1), holding              our proposal to revise reporting and
                                                 finalizing in 40 CFR 63.119(a)(7);                      that under section 302(k) of the CAA,                 recordkeeping requirements for
                                                    • clarifying that unsafe and difficult/              emissions standards or limitations must               deviations as they relate to exemptions
                                                 inaccessible to monitor provisions in 40                be continuous in nature, and that the                 for periods of SSM. These revisions are
                                                 CFR 63.168(h) and (i) (for valves in gas/               SSM exemptions violated the CAA’s                     consistent with the requirement in 40
                                                 vapor service and in light liquid service)              requirement that some CAA section 112                 CFR 63.102(e) and 40 CFR.525(j) that
                                                 and in 40 CFR 63.174(f) and (h) (for                    standards apply at all times. We are                  the standards apply at all times. We are
                                                 connectors in gas/vapor service and in                  finalizing, as proposed, a requirement                also finalizing, as proposed, a revision
                                                 light liquid service) still apply to valves             that the standards apply at all times (see            to the performance testing requirements.
                                                 and connectors when complying with                      40 CFR 63.102(e) (for HON) and 40                     The final performance testing provisions
                                                 40 CFR 63.119(a)(7); and                                CFR.525(j) (for the P&R II NESHAP)),                  prohibit performance testing during
                                                    • replacing the word ‘‘deviation’’                   consistent with the Sierra Club decision.             SSM because these conditions are not
                                                 with ‘‘violation’’ in the final rule text at            We determined that facilities in the                  representative of normal operating
                                                 40 CFR 63.119(a)(7).                                    SOCMI and P&R II source categories can                conditions. The final rule also requires,
                                                    In response to comments received on                  meet the applicable MACT standards at                 as proposed, that operators maintain
                                                 the proposed rulemaking for surge                       all times, including periods of startup               records to document that operating
                                                 control and bottoms receivers, we are                   and shutdown. We note that on April                   conditions during the test represent
                                                 adding language in the ‘‘C’’ and ‘‘Q’’                  21, 2011 (see 77 FR 22566), the EPA                   normal operations. In light of NRDC v.
                                                 terms of the equations at 40 CFR                        finalized amendments to eliminate the                 EPA, 749 F.3d 1055 (D.C. Cir., 2014)
                                                 63.115(g)(3)(ii) and (g)(4)(iv) to allow                SSM exemption in the P&R I NESHAP;                    (vacating affirmative defense provisions
                                                 the use of engineering calculations to                  however, for consistency with the SSM-                in the CAA section 112 rule establishing
                                                 determine concentration or flow rate                    related amendments that we are                        emission standards for Portland cement
                                                 only in situations where measurements                   finalizing for the HON and the P&R II                 kilns), the EPA is also removing, as
                                                 cannot be taken with EPA reference                      NESHAP, we are also finalizing, as                    proposed, all of the regulatory
                                                 methods. We are also adding reference                   proposed, additional amendments to the                affirmative defense provisions from the
                                                 methods for measuring flow rate at 40                   P&R I NESHAP related to the SSM                       P&R I NESHAP at 40 CFR 480(j)(4) in its
                                                 CFR 63.115(g)(3)(ii) and 40 CFR                         exemption that were not addressed in                  entirety and all other rule text that
                                                 63.115(g)(4)(iv).                                       the April 21, 2011, P&R I rule.                       references these provisions (i.e., the
                                                    Finally, we are finalizing, as                          As discussed in the proposal                       definition of affirmative defense in 40
                                                 proposed, that owners and operators                     preamble, the EPA interprets CAA                      CFR 63.482(b) and the reference to
                                                 that use a sweep, purge, or inert blanket               section 112 as not requiring emissions                ‘‘§ 63.480(j)(4)’’ in 40 CFR
                                                 between the IFR and fixed roof of a                     that occur during periods of                          63.506(b)(1)(i)(A) and (b)(1)(i)(B)); and
                                                 storage vessel are required to route                    malfunction to be factored into                       we did not receive any comments in
                                                 emissions through a closed vent system                  development of CAA section 112                        opposition to these amendments.
                                                 and control device (see 40 CFR                          standards, although the EPA has the                      The legal rationale and detailed
                                                 63.119(b)(7)). However, based on                        discretion to set standards for                       revisions for SSM periods and the
                                                 comments received on the proposed                       malfunction periods where feasible.                   affirmative defense provision that we
                                                 rulemaking, we are clarifying in the                    Where appropriate, and as discussed in
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                                                                                                                                                               are finalizing here are set forth in the
                                                 final rule that 40 CFR 63.119(b)(7)                     section III.C of this preamble, we are                proposal preamble (see 88 FR 25080,
                                                 applies only if a continuous sweep,                     also finalizing alternative standards for             April 25, 2023).
                                                 purge, or inert blanket is used between                 certain emission points during periods
                                                 the IFR and fixed roof that causes a                    of SSM to ensure a CAA section 112                    2. NSPS
                                                 pressure/vacuum vent to remain                          standard applies ‘‘at all times.’’ Other                 The EPA has determined the
                                                 continuously open to the atmosphere                     than for those specific emission points               reasoning in the court’s decision in
                                                 where uncontrolled emissions are                        discussed in section III.C of this                    Sierra Club applies equally to CAA


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                                                 section 111 because the definition of                    X, where the value of ‘‘X’’ is 2006 minus            through the use of the ERT or an
                                                 ‘‘emission’’ or ‘‘standard’’ in CAA                      the year of construction. Section IV.E.3             electronic file consistent with the xml
                                                 section 302(k), and the embedded                         of this preamble provides a summary of               schema on the ERT website, and other
                                                 requirement for continuous standards,                    key comments we received on the NSPS                 performance test results be submitted in
                                                 also applies to the NSPS.29 Therefore,                   subparts VV and VVa reconsideration                  portable document format (PDF) using
                                                 we are finalizing, as proposed,                          issues and our responses.                            the attachment module of the ERT. For
                                                 standards in NSPS subparts VVb, IIIa,                                                                         periodic reports (including fenceline
                                                                                                          F. What other changes have been made
                                                 NNNa, and RRRa that apply at all times,                                                                       monitoring reports), the final rule
                                                                                                          to the NESHAP and NSPS?
                                                 and more specifically during periods of                                                                       requires that owners or operators use
                                                 SSM. The NSPS general provisions in                         This rule also finalizes, as proposed,            the appropriate spreadsheet template to
                                                 40 CFR 60.8(c) currently exempt non-                     revisions to several other NESHAP and                submit information to CEDRI. We have
                                                 opacity emission standards during                        NSPS requirements. We describe these                 made minor clarifying edits to the
                                                 periods of SSM. We are finalizing, as                    revisions in this section as well as other           spreadsheet templates based on
                                                 proposed, specific requirements in                       proposed provisions that have changed                comments received during the public
                                                 NSPS subparts IIIa, NNNa, and RRRa                       since proposal.                                      comment period. The final version of
                                                 that override the general provisions for                    To increase the ease and efficiency of            the templates for these reports are
                                                 SSM (see 40 CFR 60.612a, 40 CFR                          data submittal and data accessibility, we            located on the CEDRI website.31 The
                                                 60.662a, and 40 CFR 60.702a,                             are finalizing, as proposed, a                       final rule requires that flare
                                                 respectively).                                           requirement that owners or operators                 management plans be submitted as a
                                                                                                          submit electronic copies of certain                  PDF upload in CEDRI. Furthermore, we
                                                 E. What are the final amendments                         required performance test reports, flare             are finalizing, as proposed, provisions
                                                 addressing the NSPS Subparts VV and                      management plans, and periodic reports               in the NSPS that allow facility operators
                                                 VVa reconsideration?                                     (including fenceline monitoring reports              the ability to seek extensions for
                                                    In response to the January 2008                       for HON and the P&R I NESHAP)                        submitting electronic reports for
                                                 petition for reconsideration, we are                     through the EPA’s Central Data                       circumstances beyond the control of the
                                                 finalizing, as proposed: (1) Definitions                 Exchange (CDX) using the Compliance                  facility, i.e., for a possible outage in the
                                                 for ‘‘process unit’’ for NSPS subparts VV                and Emissions Data Reporting Interface               CDX or CEDRI or for a force majeure
                                                 and VVa; (2) removal of the                              (CEDRI) (see 40 CFR 63.108(e), 40 CFR                event in the time just prior to a report’s
                                                 requirements in 40 CFR 60.482–1(g) (for                  63.152(c) and (h), and 40 CFR 63.182(d)              due date, as well as the process to assert
                                                 NSPS subpart VV) and 40 CFR 60.482–                      and (e) (for HON), 40 CFR 63.506(e)(6),              such a claim. For a more detailed
                                                 1a(g) (for NSPS subpart VVa) that are                    and (i)(3) (for the P&R I NESHAP), and               discussion of these final amendments,
                                                 related to a method for assigning shared                 40 CFR 63.528(a) and (d) (for the P&R                see section III.E.3 of the proposal
                                                 storage vessels to specific process units;               II NESHAP), 40 CFR 60.486(l), and                    preamble (see 88 FR 25080, April 25,
                                                 and (3) removal of the connector                         60.487(a) and (g) through (i) (for NSPS              2023), as well as sections IV.F and VI.B
                                                 monitoring provisions from NSPS                          subpart VV), 40 CFR 60.486a(l), and                  of this preamble.
                                                 subpart VVa at 40 CFR 60.482–11a in                      60.487a(a) and (g) through (i) (for NSPS                Also, we are finalizing, as proposed,
                                                 their entirety. However, based on                        subpart VVa), 40 CFR 60.486b(l), and                 the restructuring of all HON definitions
                                                 comments received on the proposed                        60.487b(a) and (g) through (i) (for NSPS             from NESHAP subparts G and H (i.e., 40
                                                 rulemaking, we are revising the value of                 subpart VVb), 40 CFR 60.615(b), (j), (k),            CFR 63.111 and 40 CFR 63.161,
                                                 ‘‘X’’ in the capital expenditure equation                and (m) through (o) (for NSPS subpart                respectively) into the definition section
                                                 of NSPS subpart VVa to correct an                        III), 40 CFR 60.615a(b), (h) through (l),            of NESHAP subpart F (i.e., 40 CFR
                                                 erroneous phrasing that attached the                     and (n), and 40 CFR 619a(e) (for NSPS                63.101). To consolidate differences
                                                 value of ‘‘X’’ in the percent Y equation                 subpart IIIa), 40 CFR 60.665(b), (l), (m),           between certain definitions in these
                                                 to the date of construction,                             and (q) through (s) (for NSPS subpart                subparts, we are also finalizing the
                                                 reconstruction and modification (as                      NNN), 40 CFR 60.665a(b), (h), (k)                    amendments we proposed in Table 30 of
                                                 opposed to date of physical or                           through (n), and (p), and 40 CFR 669a(e)             the proposal preamble (88 FR 25080,
                                                 operational change). In the final rule, we               (for NSPS subpart NNNa), 40 CFR                      April 25, 2023), with only minor
                                                 have revised the ‘‘capital expenditure’’                 60.705(b), (l), (m), and (u) through (w)             changes based on comments received on
                                                 definition in NSPS subpart VVa at 40                     (for NSPS subpart RRR), and 40 CFR                   the proposed rulemaking. The
                                                 CFR 60.481a such that for owners or                      60.705a(b), (k) through (o), and (v), and            comments and our specific responses to
                                                 operators that made a physical or                        40 CFR 709a(e) (for NSPS subpart                     these items can be found in the
                                                 operational change to their existing                     RRRa)). A description of the electronic              document titled Summary of Public
                                                 facility prior to November 16, 2007, the                 data submission process is provided in               Comments and Responses for New
                                                 percent Y is determined from the                         the memorandum, Electronic Reporting                 Source Performance Standards for the
                                                 following equation: Y = 1.0 ¥ 0.575 log                  Requirements for New Source                          Synthetic Organic Chemical
                                                 X, where the value of ‘‘X’’ is 1982 minus                Performance Standards (NSPS) and                     Manufacturing Industry and National
                                                 the year of construction, and for owners                 National Emission Standards for                      Emission Standards for Hazardous Air
                                                 or operators that made a physical or                     Hazardous Air Pollutants (NESHAP)                    Pollutants for the Synthetic Organic
                                                 operational change to their existing                     Rules (see Docket Item No. EPA–HQ–                   Chemical Manufacturing Industry and
                                                 facility on or after November 16, 2007,                  OAR–2022–0730–0002). The final rule                  Group I & II Polymers and Resins
                                                 the percent Y is determined from the                     requires that performance test results               Industry, which is available in the
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                                                 following equation: Y = 1.0 ¥ 0.575 log                  collected using test methods that are                docket for this rulemaking.
                                                                                                          supported by the EPA’s Electronic                       In addition, we are finalizing
                                                    29 See, e.g., 88 FR 11556 (Feb. 23, 2023) (removing
                                                                                                          Reporting Tool (ERT) as listed on the                requirements, as proposed, at 40 CFR
                                                 SSM exemptions from NSPS for lead acid battery           ERT website 30 at the time of the test be            63.114(a)(5)(v), 40 CFR 63.120(d)(1)(iii),
                                                 manufacturing plants); 88 FR 80594 (Nov. 20, 2023)
                                                 (removing SSM exemptions from NSPS for                   submitted in the format generated                    40 CFR 63.127(b)(4), and 40 CFR
                                                 secondary lead smelters); 77 FR 49490 (Aug. 16,
                                                 2012) (removing SSM exemptions from NSPS for oil           30 https://www.epa.gov/electronic-reporting-air-     31 https://www.epa.gov/electronic-reporting-air-

                                                 and natural gas sector).                                 emissions/electronic-reporting-tool-ert.             emissions/cedri.



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                                                 63.139(d)(5) (for HON), and 40 CFR                      not receive any comments in opposition                   Finally, we are finalizing all of the
                                                 63.484(t), 40 CFR 63.485(x), and 40 CFR                 of these amendments.                                  revisions that we proposed for clarifying
                                                 63.489(b)(10) (for the P&R I NESHAP)                       In addition, we are finalizing, as                 text or correcting typographical errors,
                                                 for owners or operators using adsorbers                 proposed, the requirement in the HON                  grammatical errors, and cross-reference
                                                 that cannot be regenerated and                          and the P&R I and P&R II NESHAP, and                  errors. These editorial corrections and
                                                 regenerative adsorbers that are                         NSPS subparts IIIa, NNNa, and RRRa to                 clarifications are discussed in section
                                                 regenerated offsite to use dual (two or                 conduct subsequent performance testing                III.E.5.f of the proposal preamble (see 88
                                                 more) adsorbent beds in series and                      on non-flare control devices no later                 FR 25080, April 25, 2023). We are also
                                                 conduct monitoring of HAP or TOC on                     than 60 calendar months after the                     including several additional minor
                                                 the outlet of the first adsorber bed in                 previous performance test. The                        clarifying edits in the final rule based on
                                                 series using a sample port and a                        comments and our specific response to                 comments received during the public
                                                 portable analyzer or chromatographic                    this item can be found in the document                comment period. The comments and
                                                 analysis. However, we have clarified in                 titled Summary of Public Comments                     our specific responses to these items can
                                                 the proposed rule text in this final                    and Responses for New Source                          be found in the document titled
                                                 action that the monitoring plan                         Performance Standards for the                         Summary of Public Comments and
                                                 provisions in 40 CFR 63.120(d)(2) and                   Synthetic Organic Chemical                            Responses for New Source Performance
                                                 (3) do not apply to HON sources subject                 Manufacturing Industry and National                   Standards for the Synthetic Organic
                                                 to the monitoring provisions in 40 CFR                  Emission Standards for Hazardous Air                  Chemical Manufacturing Industry and
                                                                                                         Pollutants for the Synthetic Organic                  National Emission Standards for
                                                 63.120(d)(1)(iii); and the monitoring
                                                                                                         Chemical Manufacturing Industry and                   Hazardous Air Pollutants for the
                                                 plan provisions in 40 CFR 63.120(d)(2)
                                                                                                         Group I & II Polymers and Resins                      Synthetic Organic Chemical
                                                 and (3) do not apply to P&R I sources
                                                                                                         Industry, which is available in the                   Manufacturing Industry and Group I &
                                                 subject to the monitoring provisions in
                                                                                                         docket for this rulemaking.                           II Polymers and Resins Industry, which
                                                 40 CFR 63.120(d)(1)(iii) (via 40 CFR
                                                                                                            Also, we are finalizing, as proposed               is available in the docket for this
                                                 63.484(t) and 40 CFR 63.485(x)). The                                                                          rulemaking.
                                                 comments and our specific responses to                  to: (1) Remove the provisions that allow
                                                 these items can be found in the                         compliance with certain portions of 40                G. What are the effective and
                                                 document titled Summary of Public                       CFR part 264, subpart AA or CC in lieu                compliance dates of the standards?
                                                 Comments and Responses for New                          of portions of NESHAP subpart G (see
                                                                                                         40 CFR 63.110(h)); and (2) remove the                 1. HON and the P&R I and P&R II
                                                 Source Performance Standards for the                                                                          NESHAP
                                                 Synthetic Organic Chemical                              provisions that allow compliance with
                                                 Manufacturing Industry and National                     certain portions of 40 CFR part 65 in                    For all of the requirements we are
                                                 Emission Standards for Hazardous Air                    lieu of portions of NESHAP subparts G                 finalizing under CAA sections 112(d)(2),
                                                 Pollutants for the Synthetic Organic                    and H (see 40 CFR 63.110(i) and 40 CFR                (3), and (6), and 112(h) (except for the
                                                 Chemical Manufacturing Industry and                     60.160(g)). In addition, based on                     removal of affirmative defense
                                                 Group I & II Polymers and Resins                        comments received on the proposed                     provisions in the P&R I NESHAP and
                                                 Industry, which is available in the                     rulemaking, we are: (1) Revising 40 CFR               fenceline monitoring requirements in
                                                 docket for this rulemaking.                             63.160(b)(1) and (c)(1) in the final rule             HON and the P&R I NESHAP), all
                                                                                                         such that compliance with HON subpart                 existing affected sources and all affected
                                                    We are also finalizing, as proposed,                 H constitutes compliance with NSPS                    sources that were new sources under the
                                                 several corrections to the calibration                  subpart VVa provided the owner or                     previous HON and P&R I NESHAP (i.e.,
                                                 drift assessment requirements in NSPS                   operator continues to comply with 40                  sources that commenced construction or
                                                 subpart VVa at 40 CFR 60.485a(b)(2).                    CFR 60.480a(e)(2)(i); and (2) revising 40             reconstruction after December 31, 1992
                                                 These amendments include: (1)                           CFR 63.160(b)(1) and (c)(1) in the final              (for HON) or after June 12, 1995 (for the
                                                 Correcting a regulatory citation to read                rule such that compliance with HON                    P&R I NESHAP), and on or before April
                                                 ‘‘§ 60.486a(e)(8)’’ instead of                          subpart H constitutes compliance with                 25, 2023), must comply with all of the
                                                 ‘‘§ 60.486a(e)(7)’’; (2) removing the                   NSPS subpart VVb provided the owner                   amendments no later than July 15, 2027,
                                                 extraneous sentence ‘‘Calculate the                     or operator continues to comply with 40               or upon startup, whichever is later. For
                                                 average algebraic difference between the                CFR 60.480b(e)(2)(i). We have also                    existing sources, CAA section 112(i)
                                                 three meter readings and the most                       revised 40 CFR 60.480b(e)(2)(i) in the                provides that the compliance date for
                                                 recent readings and the most recent                     final rule to require compliance with 40              standards promulgated under section
                                                 calibration value.’’; (3) providing clarity             CFR 60.482–7b (i.e., the standards for                112(d) shall be as expeditious as
                                                 in the mathematical step of the                         gas and light liquid valves in NSPS                   practicable, but no later than 3 years
                                                 assessment by replacing the sentence                    subpart VVb) in addition to the                       after the effective date of the standard.
                                                 ‘‘Divide this algebraic difference by the               requirements of 40 CFR 60.485b(d), (e),               Association of Battery Recyclers v. EPA,
                                                 initial calibration value and multiply by               and (f), and 40 CFR 60.486b(i) and (j).               716 F.3d 667, 672 (D.C. Cir. 2013)
                                                 100 to express the calibration drift as a               The comments and our specific                         (‘‘Section 112(i)(3)’s three-year
                                                 percentage.’’ with ‘‘Divide the                         responses to these items can be found in              maximum compliance period applies
                                                 arithmetic difference of the initial and                the document titled Summary of Public                 generally to any emission standard . . .
                                                 post-test calibration response by the                   Comments and Responses for New                        promulgated under [section 112].’’). We
                                                 corresponding calibration gas value for                 Source Performance Standards for the                  agree with the commenters (see section
                                                 each scale and multiply by 100 to                       Synthetic Organic Chemical                            11.1 of the document titled Summary of
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                                                 express the calibration drift as a                      Manufacturing Industry and National                   Public Comments and Responses for
                                                 percentage.’’; and (4) providing clarity                Emission Standards for Hazardous Air                  New Source Performance Standards for
                                                 by making other minor textural changes                  Pollutants for the Synthetic Organic                  the Synthetic Organic Chemical
                                                 to the provisions related to the                        Chemical Manufacturing Industry and                   Manufacturing Industry and National
                                                 procedures for when a calibration drift                 Group I & II Polymers and Resins                      Emission Standards for Hazardous Air
                                                 assessment shows negative or positive                   Industry, which is available in the                   Pollutants for the Synthetic Organic
                                                 drift of more than 10 percent. We did                   docket for this rulemaking.                           Chemical Manufacturing Industry and


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                                                 Group I & II Polymers and Resins                        requirements upon exceedance of an                    EPA, 716 F.3d 667, 672 (D.C. Cir. 2013)
                                                 Industry, which is available in the                     annual average concentration action                   (‘‘[S]ection 112(f)(4)’s two-year
                                                 docket for this rulemaking) that 3 years                level. We extended the timeline for                   maximum applies more specifically to
                                                 is needed for owners and operators to                   fenceline monitoring from 1 to 2 years                standards ‘under this subsection,’ i.e.,
                                                 implement the requirements we are                       based on comments received, which                     section 112(f).’’). For existing sources,
                                                 finalizing under CAA sections 112(d)(2),                indicated that EPA Method 327 will                    the earliest compliance date for CAA
                                                 (3), and (6). For example, for process                  require laboratories to increase their                section 112(f) standards is 90 days.
                                                 vents, if an affected source has                        capacity to meet the requirements for                 However, the compliance period can be
                                                 uncontrolled process vents that emit                    fenceline monitoring. We consider this                extended up to 2 years if the EPA finds
                                                 greater than or equal to 1.0 lb/hr of total             expanded timeline to be necessary to                  that more time is needed for the
                                                 organic HAP, then a new control                         allow commercial labs to conduct the                  installation of controls. 42 U.S.C.
                                                 system, such as a thermal oxidizer with                 needed method development, expand                     7412(f)(4)(B). The EPA finds that the
                                                 piping, ductwork, etc., may need to be                  capacity, and develop the logistics                   new EtO provisions under CAA section
                                                 installed (due to the removal of the TRE                needed to meet the requirements in the                112(f) will require additional time to
                                                 concept in its entirety in the final rule).             final rule. We also agree with                        plan, purchase, and install emission
                                                 Also, additional permits (e.g., New                     commenters’ other assertions that more                control equipment. For example, for
                                                 Source Review and/or a Title V permit                   time is needed to read and assess the                 process vents, if an affected source
                                                 modifications) may be required for new                  new fenceline monitoring requirements;                cannot demonstrate 99.9-percent control
                                                 emission control equipment. Moreover,                   prepare sampling and analysis plans;                  of EtO emissions, or reduce EtO
                                                 3 years is needed to understand the final               develop and submit site-specific                      emissions to less than 1 ppmv (from
                                                 rule changes; revise site guidance and                  monitoring plans; identify                            each process vent) or 5 pounds per year
                                                 compliance programs; ensure operations                  representative, accessible, and secure                (for all combined process vents), then a
                                                 can meet the standards during startup                   monitoring locations for offsite monitors             new control system, such as a scrubber
                                                 and shutdown; update operation,                         and obtain permission from the property               with piping, ductwork, feed tanks, etc.,
                                                 maintenance, and monitoring plans;                      owner to both place and routinely                     may need to be installed. Similarly, this
                                                 upgrade emission capture and control                    access the monitors; make any necessary               same scenario (i.e., installation of a new
                                                 systems; install new flare monitoring                   physical improvements to fencelines to                control system, such as a scrubber with
                                                 equipment; and install new process                      be able to site monitors, including                   piping, ductwork, feed tanks, etc) may
                                                 control systems. As provided in CAA                     construction of access roads, physical                be necessary for storage vessels in order
                                                 section 112(i) and 5 U.S.C. 801(3), all                 fencing, and potential drainage                       to reduce EtO emissions by greater than
                                                 new affected sources that commenced                     improvements; and obtain approval of                  or equal to 99.9 percent by weight or to
                                                 construction or reconstruction after                    any necessary capital expenditures. We                a concentration less than 1 ppmv.
                                                 April 25, 2023, are required to comply                  consider 2 years to be necessary to allow             Likewise, a new steam stripper may be
                                                 with all requirements under CAA                         for all of these things. For additional               needed control wastewater with a total
                                                 sections 112(d)(2), (3), (6), and 112(h)                details, see section 11.1 of the document             annual average concentration of EtO
                                                 (including fenceline monitoring) by July                titled Summary of Public Comments                     greater than or equal to 1 ppmw.
                                                 15, 2024 or upon startup, whichever is                  and Responses for New Source                          Additionally, we agree with
                                                 later. We are also finalizing, as                       Performance Standards for the                         commenters (see section 11.1 of the
                                                 proposed, that owners or operators of                   Synthetic Organic Chemical                            document titled Summary of Public
                                                 P&R I affected sources must comply                      Manufacturing Industry and National                   Comments and Responses for New
                                                 with the removal of the affirmative                     Emission Standards for Hazardous Air                  Source Performance Standards for the
                                                 defense provisions 60 days after the                    Pollutants for the Synthetic Organic                  Synthetic Organic Chemical
                                                 publication date of the final rule (or                  Chemical Manufacturing Industry and                   Manufacturing Industry and National
                                                 upon startup, whichever is later). We                   Group I & II Polymers and Resins                      Emission Standards for Hazardous Air
                                                 provided additional rationale for these                 Industry, which is available in the                   Pollutants for the Synthetic Organic
                                                 compliance dates in the preamble to the                 docket for this rulemaking.                           Chemical Manufacturing Industry and
                                                 proposed rule (88 FR 25080, April 25,                      For all of the requirements we are                 Group I & II Polymers and Resins
                                                 2023).                                                  finalizing under CAA sections 112(f) for              Industry, which is available in the
                                                    In a change from the proposed rule,                  the HON, we are finalizing as proposed,               docket for this rulemaking) that
                                                 we have extended the compliance date                    except we are clarifying that the                     additional permits may be required for
                                                 for fenceline monitoring (with the                      compliance dates we proposed are from                 these new emission control equipment
                                                 exception of fenceline monitoring of                    the effective date of the rule rather than            (e.g., New Source Review and/or a Title
                                                 chloroprene at P&R I affected sources                   the publication date of the proposal. In              V permit modifications). In other words,
                                                 producing neoprene, which is discussed                  other words, all existing affected                    sufficient time is needed to properly
                                                 later in this section) from 1 to 2 years.               sources and all affected sources that                 engineer the project, obtain capital
                                                 Owners and operators of all existing                    were new sources under the previous                   authorization and funding, procure the
                                                 sources, and all affected sources that                  HON (i.e., sources that commenced                     equipment, obtain permits, and
                                                 were new under the current rules—i.e.,                  construction or reconstruction after                  construct and start-up the equipment.
                                                 sources that commenced construction or                  December 31, 1992, and on or before                   Therefore, we are finalizing a
                                                 reconstruction after December 31, 1992                  April 25, 2023) must comply with the                  compliance date of 2 years after the
                                                 (for HON) or after June 12, 1995 (for the               EtO requirements no later than July 15,               effective date of the final rule for all
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                                                 P&R I NESHAP), and on or before April                   2026, or upon startup, whichever is                   existing affected sources to meet the EtO
                                                 25, 2023—must begin fenceline                           later. As explained in the April 25,                  requirements. All new affected sources
                                                 monitoring 2 years after the effective                  2023, proposed rule (88 FR 25080,                     that commence construction or
                                                 date of the final rule and, starting 3                  25176), CAA section 112(f)(4) prescribes              reconstruction after April 25, 2023, are
                                                 years after the effective date of the final             the compliance date for emission                      required to comply with the EtO
                                                 rule, must perform root cause analysis                  standards issued under CAA section                    requirements for the HON by July 15,
                                                 and apply corrective action                             112(f). Ass’n of Battery Recyclers v.                 2024 or upon startup, whichever is later.


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                                                 This compliance schedule is consistent                      All new affected sources that                     available on the CEDRI website (https://
                                                 with the compliance deadlines outlined                   commence construction or                             www.epa.gov/electronic-reporting-air-
                                                 in the CAA under section 112(f)(4) and                   reconstruction after April 25, 2023, are             emissions/cedri) for 1 year, whichever
                                                 the CRA. We provided additional                          required to comply with the                          date is later.
                                                 rationale for these compliance dates in                  chloroprene requirements for P&R I
                                                                                                                                                               IV. What is the rationale for our final
                                                 the preamble to the proposed rule (88                    affected sources producing neoprene no
                                                 FR 25080, April 25, 2023).                               later than by July 15, 2024 or upon                  decisions and amendments for the
                                                    In a change from the proposed rule,                   startup, whichever is later. This                    SOCMI, P&R I, and P&R II source
                                                 the EPA is shortening the compliance                     compliance schedule is consistent with               categories?
                                                 deadline for affected sources producing                  the compliance deadlines outlined in                   For each issue, this section provides
                                                 neoprene, due to the EPA’s finding that                  the CAA under section 112(f)(4) and the              a description of what we proposed and
                                                 chloroprene emissions from the only                      CRA, 5 U.S.C. 801.                                   what we are finalizing for the issue, the
                                                 such source pose an imminent and                                                                              EPA’s rationale for the final decisions
                                                 substantial endangerment under CAA                       2. NSPS Subparts VV, VVa, VVb, III,
                                                                                                          IIIa, NNN, NNNa, RRR, RRRa                           and amendments, and a summary of key
                                                 section 303, 42 U.S.C. 7603. United                                                                           comments and responses. For all
                                                 States v. Denka Performance Elastomer,                      All sources of equipment leaks in the             comments not discussed in this
                                                 LLC, et al., No. 2:23–cv–00735 (E.D. La.                 SOCMI (regulated under NSPS subpart
                                                                                                                                                               preamble, comment summaries and the
                                                 filed Feb. 28, 2023). All existing affected              VVb) and all SOCMI air oxidation unit
                                                                                                                                                               EPA’s responses can be found in the
                                                 sources producing neoprene and all                       processes, distillation operations, and
                                                                                                                                                               document titled Summary of Public
                                                 affected sources producing neoprene                      reactor processes (regulated under NSPS
                                                                                                                                                               Comments and Responses for New
                                                 that were new sources under the                          subparts IIIa, NNNa, and RRRa,
                                                                                                                                                               Source Performance Standards for the
                                                 previous P&R I NESHAP (i.e., sources                     respectively), that commenced
                                                                                                                                                               Synthetic Organic Chemical
                                                 that commenced construction or                           construction, reconstruction, or
                                                                                                                                                               Manufacturing Industry and National
                                                 reconstruction after June 12, 1995, and                  modification on or after April 25, 2023,
                                                                                                                                                               Emission Standards for Hazardous Air
                                                 on or before April 25, 2023) must                        must meet the requirements of the new
                                                                                                                                                               Pollutants for the Synthetic Organic
                                                 comply with the chloroprene                              NSPS upon startup of the new,
                                                                                                          reconstructed or modified facility or by             Chemical Manufacturing Industry and
                                                 requirements we are finalizing under
                                                                                                          July 15, 2024, whichever is later. This              Group I & II Polymers and Resins
                                                 CAA section 112(f) for the P&R I
                                                                                                          compliance schedule is consistent with               Industry, which is available in the
                                                 NESHAP (see sections III.B.1 and
                                                                                                          the requirements in section 111 of the               docket for this rulemaking.
                                                 IV.A.3.e of this preamble for a details
                                                 about these chloroprene requirements)                    CAA and the CRA.                                     A. Residual Risk Review for the SOCMI
                                                 no later than October 15, 2024,32 or                        Also, for NSPS subparts VV, VVa, III,             and Neoprene Production Source
                                                 upon startup, whichever is later.                        NNN, and RRR, we are finalizing, as                  Categories NESHAP
                                                 However, such sources may seek the                       proposed, the change in format of the
                                                                                                          reporting requirements to require                    1. What did we propose pursuant to
                                                 EPA’s approval of a waiver from the 90-
                                                                                                          electronic reporting (i.e., we are not               CAA section 112(f) for the SOCMI and
                                                 day compliance deadline and obtain a
                                                 compliance date of up to July 15, 2026                   finalizing any new data elements); and               Neoprene Production source categories?
                                                 if they demonstrate to the                               owners and operators must begin                      a. SOCMI Source Category
                                                 Administrator’s satisfaction that ‘‘such                 submitting performance test reports
                                                 period is necessary for the installation                 electronically beginning on July 15,                   Pursuant to CAA section 112(f), the
                                                 of controls’’ and that steps will be taken               2024 and semiannual reports on and                   EPA conducted a residual risk review
                                                 during the waiver period to assure that                  after July 15, 2025 or once the report               and presented the results of this review,
                                                 the public health of persons will be                     template for the subpart has been                    along with our proposed decisions
                                                 protected from any imminent                              available on the CEDRI website (https://             regarding risk acceptability and ample
                                                 endangerment. See 42 U.S.C.                              www.epa.gov/electronic-reporting-air-                margin of safety, in the April 25, 2023,
                                                 112(f)(4)(B); 40 CFR 63.6(i)(4)(ii).33                   emissions/cedri) for 1 year, whichever               proposed rule for the SOCMI source
                                                                                                          date is later. For NSPS subparts IIIa,               category subject to HON (88 FR 25080).
                                                    32 The compliance date is 90 days after the           NNNa, and RRRa, we are finalizing, as                The results of the risk assessment for the
                                                 effective date of this final action due to the           proposed, that owners and operators                  proposal are presented briefly in Table
                                                 Congressional Review Act.                                                                                     1 of this preamble. More detail is in the
                                                    33 We are revising the General Provisions table to
                                                                                                          must submit performance test reports
                                                                                                          electronically within 60 days after the              residual risk technical support
                                                 the P&R II NESHAP entry for 40 CFR 63.6(e)(1)(i)
                                                 by changing the ‘‘No’’ to ‘‘Yes’’ for affected sources   date of completing each performance                  document, Residual Risk Assessment for
                                                 producing neoprene. EPA is also retaining authority      test, and for NSPS subparts VVb, IIIa,               the SOCMI Source Category in Support
                                                 to grant or deny requests for extensions of the                                                               of the 2023 Risk and Technology Review
                                                 compliance date under 40 CFR 63.6(i)(4)(ii) at 40
                                                                                                          NNNa, and RRRa, semiannual reports
                                                 CFR 63.507(c)(6), and is not delegating that             on and after July 15, 2024 or once the               Proposed Rule (see Docket Item No.
                                                 authority to states.                                     report template for the subpart has been             EPA–HQ–OAR–2022–0730–0085).
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                                                         Table 1. SOCMI Source Category Inhalation Risk Assessment Results Based on Actual and
                                                         Allowable Emissions in Proposal 1
                                                                                                      Estimated      IEstimateo                   Refined
                                                                                   Maximum          Population   at    Annual                    Maximum
                                                                                   Individual Increased Risk of Cancer Maximum Screening
                                                                          Number Cancer                Cancer        Incidence Chronic             Acute
                                                              Risk           of    Risk (-in-1 > 100-in- ~ 1-in-1 (cases per Noncancer Noncancer
                                                          Assessment Facilities2 million)3 1 million million            year)      TOSHI            HQ
                                                          SOCMI          195       2,000       87,000       7.2      Q           2             HQREL = 3
                                                          Source                               (50          million              (maleic       (chlorine)
                                                          Category                             1<.ilometers (50 km)              anhydride)
                                                                                               (km))                                           HQREL = 3
                                                                                                                                 2             (acrolein)
                                                                                                                                  chlorine)
                                                          Facility-      195       2,000       95,000       8.9      Q           4             --
                                                          wide                                 (50 km)      million              (chlorine,
                                                                                                            (50 km)              acrylic acid,
                                                                                                                                 and
                                                                                                                                 acrylonitrile
                                                           1 Actual emissions equal allowable emissions; therefore, risks estimated based on actual
                                                         emissions equal risks estimated based on allowable emissions.
                                                           2 There are 207 HON facilities; however, only 195 of these facilities are included in the risk
                                                         assessment based on available data, which corresponds to 222 Emission Information System
                                                         (EIS) facility IDs.
                                                           3 Maximum individual excess lifetime cancer risk due to HAP emissions.


                                                    The results of the proposed chronic                  (SV) of 60 for mercury and 2 for                      potential for multipathway risk of
                                                 baseline inhalation cancer risk                         cadmium for the fisher scenario, and 20               concern due to lead emissions.
                                                 assessment at proposal indicated that,                  for polycyclic organic matter (POM) for                  At proposal, the maximum lifetime
                                                 based on estimates of current actual and                the gardener scenario. At proposal, no                individual cancer risk posed by the 195
                                                 allowable emissions, the maximum                        site-specific assessment using                        modeled facilities, based on whole-
                                                 individual lifetime cancer risk posed by                TRIM.FaTE (which incorporates                         facility emissions, was 2,000-in-1
                                                 the source category was 2,000-in-1                      AERMOD deposition, enhanced soil/                     million, with EtO emissions from PRDs
                                                 million driven by EtO emissions from                    water run-off calculations, and model                 (74 percent) and equipment leaks (20
                                                 PRDs (74 percent) and equipment leaks                   boundary identification) was deemed                   percent) from SOCMI source category
                                                 (20 percent). At proposal, the total                    necessary. The EPA determined that it                 emissions driving the risk. Regarding
                                                 estimated cancer incidence from this                    is not necessary to go beyond the Tier                the noncancer risk assessment, the
                                                 source category was estimated to be 2                   3 lake analysis or conduct a site-specific            maximum chronic noncancer hazard
                                                 excess cancer cases per year.                                                                                 index (HI) posed by whole-facility
                                                                                                         assessment for cadmium, mercury, or
                                                 Approximately 7.2 million people were                                                                         emissions was estimated to be 4 (for
                                                                                                         POM. The EPA compared the Tier 3
                                                 estimated to have cancer risks above 1-                                                                       respiratory effects) due mostly (98
                                                                                                         screening results to site-specific risk
                                                 in-1 million from HAP emitted from the                                                                        percent) to emissions from 2 facilities.
                                                 facilities in this source category. At                  estimates for five previously assessed                   We weighed all health risk measures
                                                 proposal, the estimated maximum                         source categories and concluded that if               and factors, including those shown in
                                                 chronic noncancer target organ-specific                 the Agency was to perform a site-                     Table 1 of this preamble, in our risk
                                                 hazard index (TOSHI) for the source                     specific assessment for the SOCMI                     acceptability determination and
                                                 category was 2 for respiratory effects at               source category, the HQ for ingestion                 proposed that the risks posed by the
                                                 two different facilities (from maleic                   exposure, specifically cadmium and                    SOCMI source category under the
                                                 anhydride emissions at one facility and                 mercury through fish ingestion, is at or              current MACT provisions are
                                                 chlorine emissions at another facility).                below 1; and for POM, the maximum                     unacceptable (section III.B of the
                                                    As shown in Table 1 of this preamble,                cancer risk under the rural gardener                  proposal preamble, 88 FR 25080, April
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                                                 the worst-case acute hazard quotient                    scenario would likely decrease to below               25, 2023). At proposal, we identified
                                                 (HQ) (based on the reference exposure                   1-in-1 million. Also, at proposal, the                EtO as the driver of the unacceptable
                                                 level (REL)) at proposal was 3 based on                 highest annual average lead                           risk and evaluated several options to
                                                 the RELs for chlorine and acrolein. In                  concentration of 0.004 micrograms per                 control EtO emissions from (1) process
                                                 addition, at proposal, the multipathway                 cubic meter (mg/m3) was well below the                vents, (2) storage vessels, (3) equipment
                                                 risk screening assessment resulted in a                 National Ambient Air Quality Standards                leaks, (4) heat exchange systems, and (5)
                                                                                                                                                                                                           ER16MY24.004</GPH>




                                                 maximum Tier 3 cancer screening value                   (NAAQS) for lead, indicating low                      wastewater ‘‘in ethylene oxide service.’’


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                                                 We also proposed requirements to                        proposal preamble (88 FR 25080, April                 from a PRD in EtO service is a violation
                                                 reduce EtO emissions from maintenance                   25, 2023).                                            of the standard to ensure that these
                                                 vents, flares, and PRDs.                                   To reduce risks from storage vessels               process vent emissions are controlled
                                                    For process vents, we proposed to                    in EtO service, we proposed a                         and do not bypass controls. Also, in
                                                 define ‘‘in ethylene oxide service’’ in                 requirement at 40 CFR 63.119(a)(5) to                 order to help reduce EtO risk from the
                                                 the HON at 40 CFR 63.101 to mean each                   reduce emissions of EtO by either (1)                 SOCMI source category to an acceptable
                                                 process vent in a process that, when                    venting emissions through a closed-vent               level, we proposed: (1) A requirement at
                                                 uncontrolled, contains a concentration                  system to a control device that reduces               40 CFR 63.113(k)(4) that owners and
                                                 of greater than or equal to 1 ppmv                      EtO by greater than or equal to 99.9                  operators cannot release more than 1.0
                                                 undiluted EtO, and when combined, the                   percent by weight or to a concentration               ton of EtO from all maintenance vents
                                                 sum of all these process vents would                    less than 1 ppmv for each storage vessel              combined in any consecutive 12-month
                                                 emit uncontrolled EtO emissions greater                 vent; or (2) venting emissions through a              period; and (2) a requirement at 40 CFR
                                                 than or equal to 5 pounds per year (2.27                closed-vent system to a flare meeting the             63.108(p) that owners and operators can
                                                 kilograms per year).                                    flare operating requirements discussed                send no more than 20 tons of EtO to all
                                                    For storage vessels of any capacity                  in section IV.A.1 of the proposal                     of their flares combined in any
                                                 and vapor pressure, we proposed to                      preamble (84 FR 69182, December 17,                   consecutive 12-month period from all
                                                 define ‘‘in ethylene oxide service’’ in                 2019).                                                HON emission sources at a facility.
                                                 the HON at 40 CFR 63.101 to mean that                      To reduce risks from equipment leaks                  After implementation of the proposed
                                                 the concentration of EtO of the stored                  in EtO service, we proposed the                       controls for: (1) Process vents, (2)
                                                 liquid is at least 0.1 percent by weight.               following combined requirements:                      storage vessels, (3) equipment leaks, (4)
                                                 Additionally, we proposed that unless                   monitoring of connectors in gas/vapor                 heat exchange systems, and (5)
                                                 specified by the Administrator, owners                  and light liquid service at a leak                    wastewater ‘‘in ethylene oxide service,’’
                                                 and operators may calculate the                         definition of 100 ppm on a monthly                    as well as implementation of the
                                                 concentration of EtO of the fluid stored                basis with no reduction in monitoring                 proposed requirements to reduce EtO
                                                 in a storage vessel if information                      frequency or delay of repair (at 40 CFR               emissions from maintenance vents,
                                                 specific to the fluid stored is available               63.174(a)(3) and 40 CFR                               flares, and PRDs, we proposed that the
                                                 such as concentration data from safety                  63.174(b)(3)(vi)); light liquid pump                  resulting risks would be acceptable for
                                                 data sheets. We also proposed that the                  monitoring at a leak definition of 500                the SOCMI source category. We
                                                 exemption for ‘‘vessels storing organic                 ppm monthly (at 40 CFR                                determined at proposal that estimated
                                                 liquids that contain organic hazardous                  63.163(b)(2)(iv)); and gas/vapor and                  post-control risks would be reduced to
                                                 air pollutants only as impurities’’ listed              light liquid valve monitoring at a leak               100-in-1 million (down from 2,000-in-1
                                                 in the definition of ‘‘storage vessel’’ at              definition of 100 ppm monthly with no                 million) with no individuals exposed to
                                                 40 CFR 63.101 does not apply for                        reduction in monitoring frequency or                  risk levels greater than 100-in-1 million
                                                 storage vessels in EtO service.                         delay of repair (at 40 CFR                            from HAP emissions from HON
                                                    For the EtO equipment leak                           63.168(b)(2)(iv) and 40 CFR                           processes (see section III.B.2 of the
                                                 provisions, we proposed to define ‘‘in                  63.168(d)(5)).                                        proposal preamble, 88 FR 25080, April
                                                 ethylene oxide service’’ in the HON at                     To reduce risks from EtO emissions                 25, 2023).
                                                 40 CFR 63.101 to mean any equipment                     due to heat exchange system leaks, we                    We then considered whether the
                                                 that contains or contacts a fluid (liquid               proposed at 40 CFR 63.104(g)(6) to                    existing MACT standards provide an
                                                 or gas) that is at least 0.1 percent by                 require weekly monitoring for leaks for               ample margin of safety to protect public
                                                 weight of EtO.                                          heat exchange systems in EtO service                  health and whether, taking into
                                                    For heat exchange systems, we                        using the Modified El Paso Method, and                consideration costs, energy, safety, and
                                                 proposed to define ‘‘in ethylene oxide                  if a leak is found, we proposed at 40                 other relevant factors, additional
                                                 service’’ in the HON at 40 CFR 63.101                   CFR 63.104(h)(6) that owners and                      standards are required to prevent an
                                                 to mean each heat exchange system in                    operators must repair the leak to reduce              adverse environmental effect. We noted
                                                 a process that cools process fluids                     the concentration or mass emissions rate              that the EPA previously made a
                                                 (liquid or gas) that are 0.1 percent or                 to below the applicable leak action level             determination that the standards for the
                                                 greater by weight of EtO.                               as soon as practicable, but no later than             SOCMI source category provided an
                                                    For wastewater, we proposed to                       15 days after the sample was collected                ample margin of safety to protect public
                                                 define ‘‘in ethylene oxide service’’ in                 with no delay of repair allowed.                      health, and that the most significant
                                                 the HON at 40 CFR 63.101 to mean each                      To reduce risks from wastewater in                 change since that determination was the
                                                 wastewater stream that contains total                   EtO service, we proposed at 40 CFR                    revised 2016 IRIS inhalation URE for
                                                 annual average concentration of EtO                     63.132(c)(1)(iii) and (d)(1)(ii) that                 EtO and new 2010 IRIS inhalation URE
                                                 greater than or equal to 1 ppmw at any                  owners and operators of HON sources                   for chloroprene. As such, we focused
                                                 flow rate.                                              manage and treat any wastewater                       our ample margin of safety analysis on
                                                    To reduce risks from process vents in                streams that are ‘‘in ethylene oxide                  cancer risk for EtO and chloroprene,
                                                 EtO service, we proposed requirements                   service.’’ We also proposed at 40 CFR                 since these pollutants, even after
                                                 at 40 CFR 63.113(j) to reduce emissions                 63.104(k) to prohibit owners and                      application of controls needed to get
                                                 of EtO by either (1) venting emissions                  operators from injecting water into or                risks to an acceptable level, drive cancer
                                                 through a closed-vent system to a                       disposing of water through any heat                   risk and cancer incidence (i.e., 60
                                                 control device that reduces EtO by                      exchange system in a CMPU meeting the                 percent of remaining cancer incidence is
                                                 greater than or equal to 99.9 percent by
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                                                                                                         conditions of 40 CFR 63.100(b)(1)                     from EtO) for the SOCMI source
                                                 weight, to a concentration less than 1                  through (3) if the water contains any                 category. The ample margin of safety
                                                 ppmv for each process vent, or to less                  amount of EtO, has been in contact with               analysis for the SOCMI source category
                                                 than 5 lb/yr for all combined process                   any process stream containing EtO, or                 identified no other control options for
                                                 vents; or (2) venting emissions through                 the water is considered wastewater as                 EtO beyond those proposed to reduce
                                                 a closed-vent system to a flare meeting                 defined in 40 CFR 63.101.                             risks to an acceptable level. For
                                                 the flare operating requirements                           In addition, we proposed at 40 CFR                 chloroprene emissions from HON-
                                                 discussed in section III.B.4.a.i of the                 63.165(e)(3)(v)(D) that any release event             subject sources, we identified control


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                                                 options for equipment leaks and                         III.B.3 of the proposal preamble, 88 FR               the P&R I NESHAP (88 FR 25080). The
                                                 maintenance activities; however, the                    25080, April 25, 2023).                               results of the risk assessment for the
                                                 options evaluated were found not to be                  b. Neoprene Production Source Category                proposal are presented briefly in Table
                                                 cost-effective (see sections III.C.6 and                                                                      2 of this preamble. More detail is in the
                                                 III.D.4 of the proposal preamble, 88 FR                    Pursuant to CAA section 112(f), the                residual risk technical support
                                                 25080, April 25, 2023). Therefore, we                   EPA conducted a residual risk review                  document, Residual Risk Assessment for
                                                                                                         and presented the results of this review,
                                                 proposed that the requirements that we                                                                        the Polymers & Resins I Neoprene
                                                                                                         along with our proposed decisions
                                                 proposed to achieve acceptable risk                                                                           Production Source Category in Support
                                                                                                         regarding risk acceptability and ample
                                                 would also provide an ample margin of                   margin of safety, in the April 25, 2023,              of the 2023 Risk and Technology Review
                                                 safety to protect public health (section                proposed rule for the Neoprene                        Proposed Rule (see Docket Item No.
                                                                                                         Production source category subject to                 EPA–HQ–OAR–2022–0730–0095).


                                                         Table 2. Neoprene Production Source Category Inhalation Risk Assessment Results Based
                                                         on Actual and Allowable Emissions in Proposal1
                                                                                                   Estimated
                                                                                                 Population at Estimated
                                                                                  Maximum Increased Risk of Annual                        Maximum
                                                                                  [ndividua         Cancer        Cancer Maximum Screening
                                                                         Number Cancer > 100-                    Incidence Chronic          Acute
                                                              Risk          of    Risk (-in- in-1       ~ 1-in-1 (cases per Noncancer Noncancer
                                                           Assessment Facilities2 1 million)3 million million      year)      TOSHI           HQ
                                                          Neoprene      1         500         2,100     690,000 0.05       0.05          HQREL = 0.3
                                                          Production                          (50 km) (50 km)              (chloroprene) (chloroform)
                                                          Source
                                                          Category
                                                          Facility-wide 1         600         2,300     890,000 0.06       0.3           --
                                                                                              (50 km) (50 km)              (chlorine)
                                                            1 Actual emissions equal allowable emissions; therefore, risks estimated based on actual

                                                         emissions equal risks estimated based on allowable emissions.
                                                          2 Number of facilities evaluated in the risk analysis.
                                                          3 Maximum individual excess lifetime cancer risk due to HAP emissions.


                                                    The results of the proposed chronic                  undertake the three-tier human health                 that no ecological benchmark was
                                                 baseline inhalation cancer risk                         risk screening assessment that was                    exceeded.
                                                 assessment at proposal indicated that,                  conducted for the SOCMI source                           At proposal, the maximum lifetime
                                                 based on estimates of current actual and                category given that we did not identify               individual cancer risk posed by the one
                                                 allowable emissions, the MIR posed by                   reported persistent and bioaccumulative               neoprene production facility, based on
                                                 the source category was 500-in-1                        HAP (PB–HAP) emissions from the                       whole-facility emissions, was 600-in-1
                                                 million, driven by chloroprene                          Neoprene Production source category.                  million, with chloroprene emissions
                                                 emissions from maintenance vents (67                    Instead, at proposal, we noted that we                from maintenance vents (66 percent
                                                 percent), storage vessels (11 percent),                 would expect dioxins likely to be                     total, 55 percent from neoprene
                                                 wastewater (8 percent), and equipment                   formed by combustion controls used to                 production sources and 11 percent from
                                                 leaks (4 percent). At proposal, the total               control chlorinated chemicals such as                 HON sources), storage vessels (9 percent
                                                 estimated cancer incidence from this                    chloroprene from this source category                 total, all from neoprene production
                                                 source category was estimated to be 0.05                                                                      sources), equipment leaks (7 percent
                                                                                                         and concluded that risk from dioxins
                                                 excess cancer cases per year, or 1 cancer                                                                     total, 3 percent from neoprene
                                                                                                         from the Neoprene Production source
                                                 case every 20 years. Approximately                                                                            production sources and 4 percent from
                                                 690,000 people were estimated to have                   category would be lower than they are
                                                                                                                                                               HON sources), and wastewater (7
                                                 cancer risks above 1-in-1 million from                  for the SOCMI source category after                   percent, all from neoprene production
                                                 HAP emitted from this source category.                  compliance with the proposed dioxin                   sources) driving the risk. Regarding the
                                                 At proposal, the estimated maximum                      limit occurs. Also, because we did not                noncancer risk assessment, the
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                                                 chronic noncancer TOSHI for the source                  identify reported PB–HAP emissions,                   maximum chronic noncancer TOSHI
                                                 category was 0.05 for respiratory effects               we did not undertake the environmental                posed by whole-facility emissions was
                                                 from chloroprene emissions.                             risk screening assessment of PB–HAP                   estimated to be 0.3 (for respiratory
                                                    As shown in Table 2 of this preamble,                for the Neoprene Production source                    effects) due to chlorine emissions.
                                                 the worst-case acute HQ at proposal was                 category; however, we did conduct an                     We weighed all health risk measures
                                                 0.3 based on the REL for chloroform. In                 environmental risk screening                          and factors, including those shown in
                                                                                                         assessment for acid gases and concluded
                                                                                                                                                                                                           ER16MY24.005</GPH>




                                                 addition, at proposal, we did not                                                                             Table 2 of this preamble, in our risk


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                                                 acceptability determination and                         of chloroprene by either venting                      that estimated post-control risks would
                                                 proposed that the risks posed by the                    emissions through a closed-vent system                be reduced to 100-in-1 million (down
                                                 Neoprene Production source category                     to a non-flare control device that                    from 500-in-1 million) with no
                                                 under the current MACT provisions are                   reduces chloroprene by greater than or                individuals exposed to risk levels
                                                 unacceptable (section III.B of the                      equal to 99.9 percent by weight or to a               greater than 100-in-1 million (see
                                                 proposal preamble, 88 FR 25080, April                   concentration less than 1 ppmv for each               section III.B.2 of the proposal preamble,
                                                 25, 2023). At proposal, we identified                   process vent, or to less than 5 lb/yr for             88 FR 25080, April 25, 2023) from
                                                 chloroprene as the driver of the                        all combined process vents.                           neoprene production emission sources.
                                                 unacceptable risk and evaluated several                    To reduce risks from storage vessels
                                                 options to control chloroprene                          in chloroprene service, we proposed a                    We then considered whether the
                                                 emissions from (1) process vents, (2)                   requirement at 40 CFR 63.484(u)(1) to                 existing MACT standards provide an
                                                 storage vessels, and (3) wastewater ‘‘in                reduce emissions of chloroprene by                    ample margin of safety to protect public
                                                 chloroprene service.’’ We also proposed                 either venting emissions through a                    health and whether, taking into
                                                 requirements to reduce chloroprene                      closed-vent system to a non-flare control             consideration costs, energy, safety, and
                                                 emissions from maintenance vents and                    device that reduces chloroprene by                    other relevant factors, additional
                                                 PRDs, as well as a facility-wide                        greater than or equal to 99.9 percent by              standards are required to prevent an
                                                 chloroprene emissions cap for all                       weight or to a concentration less than 1              adverse environmental effect. We noted
                                                 neoprene production emission sources                    ppmv for each storage vessel.                         that the EPA previously made a
                                                 as a backstop.                                             To reduce risks from wastewater in                 determination that the standards for the
                                                    For process vents, we proposed to                    chloroprene service, we proposed at 40                Neoprene Production source category
                                                 define ‘‘in chloroprene service’’ in the                CFR 63.501(a)(10)(iv) that owners and                 provided an ample margin of safety to
                                                 P&R I NESHAP at 40 CFR 63.482 to                        operators of P&R I sources producing                  protect public health, and that the most
                                                 mean each continuous front-end process                  neoprene manage and treat any
                                                                                                                                                               significant change since that
                                                 vent and each batch front-end process                   wastewater streams that are ‘‘in
                                                                                                                                                               determination was the new 2010 IRIS
                                                 vent in a process at affected sources                   chloroprene service.’’ We also proposed
                                                                                                         at 40 CFR 63.502(n)(8) to prohibit                    inhalation URE for chloroprene. As
                                                 producing neoprene that, when
                                                 uncontrolled, contains a concentration                  owners and operators from injecting                   such, we focused our ample margin of
                                                 of greater than or equal to 1 ppmv                      water into or disposing of water through              safety analysis on cancer risk for
                                                 undiluted chloroprene, and when                         any heat exchange system in an EPPU                   chloroprene since this pollutant, even
                                                 combined, the sum of all these process                  if the water contains any amount of                   after application of controls needed to
                                                 vents would emit uncontrolled,                          chloroprene, has been in contact with                 get risks to an acceptable level, drives
                                                 chloroprene emissions greater than or                   any process stream containing                         cancer risk and cancer incidence (i.e.,
                                                 equal to 5 lb/yr (2.27 kg/yr).                          chloroprene, or the water is considered               99.995 percent of remaining cancer
                                                    For storage vessels of any capacity                  wastewater as defined in 40 CFR 63.482.               incidence is from chloroprene) for the
                                                 and vapor pressure in a process at                         In addition, we proposed at 40 CFR                 Neoprene Production source category.
                                                 affected sources producing neoprene,                    63.165(e)(3)(v)(D) that any release event             To determine whether the rule provides
                                                 we proposed to define ‘‘in chloroprene                  from a PRD in chloroprene service is a                an ample margin of safety, we
                                                 service’’ in the P&R I NESHAP at 40                     violation of the standard to ensure that              considered the chloroprene specific
                                                 CFR 63.482 to mean that the                             these process vent emissions are                      requirements that we proposed to
                                                 concentration of chloroprene of the                     controlled and do not bypass controls.                achieve acceptable risks, as well as
                                                 stored liquid is at least 0.1 percent by                Also, in order to help reduce                         additional control requirements for
                                                 weight. Additionally, we proposed that                  chloroprene risk from the Neoprene
                                                                                                                                                               chloroprene. The ample margin of safety
                                                 unless specified by the Administrator,                  Production source category to an
                                                                                                                                                               analysis found that additional
                                                 owners and operators may calculate the                  acceptable level, we proposed: (1) A
                                                                                                         requirement at 40 CFR 63.485(z) and 40                chloroprene controls would not be cost-
                                                 concentration of chloroprene of the
                                                 fluid stored in a storage vessel if                     CFR 63.487(i)(4) that owners and                      effective, and therefore, we proposed
                                                 information specific to the fluid stored                operators cannot release more than 1.0                that the requirements that we proposed
                                                 is available such as concentration data                 ton of chloroprene from all maintenance               to achieve acceptable risk would also
                                                 from safety data sheets. We also                        vents combined in any consecutive 12-                 provide an ample margin of safety to
                                                 proposed that the exemption for                         month period; and (2) a facility-wide                 protect public health (section III.B.4 of
                                                 ‘‘vessels and equipment storing and/or                  chloroprene emissions cap at 40 CFR                   the proposal preamble, 88 FR 25080,
                                                 handling material that contains no                      63.483(a)(10) that owners and operators               April 25, 2023). See the technical
                                                 organic HAP, or organic HAP as                          cannot release more than 3.8 tpy in any               documents titled Residual Risk
                                                 impurities only’’ listed in the definition              consecutive 12-month period from all                  Assessment for the Polymers & Resins I
                                                 of ‘‘storage vessel’’ at 40 CFR 63.482                  neoprene production emission sources,                 Neoprene Production Source Category
                                                 does not apply for storage vessels in                   combined.                                             in Support of the 2023 Risk and
                                                 chloroprene service.                                       After implementation of the proposed               Technology Review Proposed Rule;
                                                    For wastewater, we proposed to                       controls for: (1) Process vents, (2)                  Analysis of Control Options for Process
                                                 define ‘‘in chloroprene service’’ in the                storage vessels, and (3) wastewater ‘‘in              Vents and Storage Vessels to Reduce
                                                 P&R I NESHAP at 40 CFR 63.482 to                        chloroprene service,’’ as well as                     Residual Risk of Chloroprene Emissions
                                                 mean each wastewater stream that                        implementation of the proposed                        at P&R I Affected Sources Producing
                                                                                                         requirements to reduce chloroprene
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                                                 contains total annual average                                                                                 Neoprene; and Analysis of Control
                                                 concentration of chloroprene greater                    emissions from maintenance vents,
                                                                                                                                                               Options for Wastewater Streams to
                                                 than or equal to 10.0 ppmw at any flow                  PRDs, and all neoprene production
                                                                                                                                                               Reduce Residual Risk of Chloroprene
                                                 rate.                                                   emission sources, combined, we
                                                                                                                                                               From Neoprene Production Processes
                                                    To reduce risks from process vents in                proposed that the resulting risks would
                                                 chloroprene service, we proposed                        be acceptable from HAP emissions from                 Subject to P&R I (see Docket Item No.
                                                 requirements at 40 CFR 63.485(y)(1) and                 the Neoprene Production source                        EPA–HQ–OAR–2022–0730–0095, –0083
                                                 40 CFR 63.487(j)(1) to reduce emissions                 category. We determined at proposal                   and –0092, respectively).



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                                                 2. How did the risk review change for                   Emission Standards for Hazardous Air                  population exposed to cancer risk
                                                 the SOCMI and Neoprene Production                       Pollutants for the Synthetic Organic                  greater than or equal to 1-in-1 million is
                                                 source categories?                                      Chemical Manufacturing Industry and                   approximately 7.17 million people. Of
                                                    In response to comments received on                  Group I & II Polymers and Resins                      the 195 facilities that were assessed for
                                                 the proposed rulemaking, we revised                     Industry, which is available in the                   risk, 8 facilities have an estimated
                                                 the risk assessments for the SOCMI and                  docket for this rulemaking, we modified               maximum cancer risk greater than 100-
                                                 Neoprene Production source categories.                  our approach to modeling flares for the               in-1 million. In addition, the maximum
                                                 The comments included our approach                      SOCMI source category and performed a                 modeled chronic noncancer TOSHI for
                                                 to modeling flares, which impacted the                  revised risk assessment of baseline risk              the source category based on actual and
                                                 SOCMI baseline and post control risk                    (i.e., risk prior to the implementation of            allowable emissions is estimated to be 2
                                                 assessments, and the performance                        the control requirements described in                 (for respiratory effects) at two different
                                                 standard for process vents and storage                  this final action). Based on this revised             facilities (from maleic anhydride
                                                 vessels in chloroprene service, which                   risk assessment, the baseline MIR risk                emissions at one facility and chlorine
                                                 impacted the Neoprene Production post                   posed by the source category is 2,000-                emissions at another facility).
                                                 control risk assessment. The following                  in-1 million driven by EtO emissions                  Approximately 83 people are estimated
                                                 sections provide the results of the                     from PRDs (74 percent) and equipment                  to be exposed to a TOSHI greater than
                                                 revised risk assessments.                               leaks (20 percent). The total estimated               1. We note that the only change in these
                                                                                                         cancer incidence due to emissions from                results from the proposal is the number
                                                 a. SOCMI Source Category                                this source category is estimated to be               of people exposed to cancer risk greater
                                                    In response to a comment in section                  2 excess cancer cases per year. Within                than 100-in-1 million for HON
                                                 1.1 of the document titled Summary of                   50 km (∼31 miles) of HON-subject                      emissions, which decreased from 87,000
                                                 Public Comments and Responses for                       facilities, the population exposed to                 people at proposal to 83,000 people
                                                 New Source Performance Standards for                    cancer risk greater than 100-in-1 million             here. See Table 3 of this preamble for a
                                                 the Synthetic Organic Chemical                          for HON actual and allowable emissions                summary of the HON baseline
                                                 Manufacturing Industry and National                     is approximately 83,000 people, and the               inhalation risk assessment results.


                                                         Table 3. SOCMI Source Category Baseline (Pre-Control) Inhalation Risk Assessment
                                                         Results Based on Actual and Allowable Emissions 1
                                                                                                   Estimated         Estimateo                     Refined
                                                                                  Maximum         Population  at      Annual                      Maximum
                                                                                  Individual Increased Risk of Cancer Maximum Screening
                                                                          Number Cancer              Cancer          Incidence Chronic              Acute
                                                              Risk           of   Risk (-in-1 > 100-in- ~ 1-in-1 (cases per Noncancer Noncancer
                                                          Assessment Facilities2 million)3 1 million million           year)       TOSHI             HQ
                                                          SOCMI          195      2,000       83,000     7.17        Q           2              HQREL = 3
                                                          Source                              (50 km)    million                 (maleic        (chlorine)
                                                          Category                                       (50 km)                 anhydride)
                                                                                                                                                HQREL = 3
                                                                                                                                 2              (acrolein)
                                                                                                                                  chlorine)
                                                          Facility-      195      2,000       90,000     8.92        Q           4              --
                                                          wide                                (50 km)    million                 (chlorine,
                                                                                                         (50 km)                 acrylic acid,
                                                                                                                                 and
                                                                                                                                 acrvlonitrile'
                                                           1 Actual emissions equal allowable emissions; therefore, actual risks equal allowable risks.
                                                           2 There are 207 HON facilities; however, only 195 of these facilities are included in the risk
                                                         assessment based on available data, which corresponds to 222 Emission Information System
                                                         (EIS) facility IDs.
                                                           3 Maximum individual excess lifetime cancer risk due to HAP emissions.
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                                                    We conducted a revised assessment of                 emissions is 2,000-in-1 million with EtO              emission levels is 2 excess cancer cases
                                                 facility-wide (or ‘‘whole-facility’’) risk to           emissions from PRDs (74 percent) and                  per year. Within 50 km (∼31 miles) of
                                                 characterize the source category risk in                equipment leaks (20 percent) from                     HON-subject facilities, the population
                                                 the context of whole-facility risk. The                 SOCMI source category emissions                       exposed to cancer risk greater than 100-
                                                 maximum lifetime individual cancer                      driving the risk. The total estimated                 in-1 million for HON facility-wide
                                                 risk posed based on whole-facility                      cancer incidence based on facility-wide               emissions is approximately 90,000
                                                                                                                                                                                                            ER16MY24.006</GPH>




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                                                 people, and the population exposed to                   is reduced to 100-in-1 million (down                  comment period) the requirement at 40
                                                 cancer risk greater than or equal to 1-in-              from 2,000-in-1 million) with no                      CFR 63.108(p) that would prohibit
                                                 1 million is approximately 8.92 million                 individuals exposed to risk levels                    owners and operators from sending
                                                 people. The maximum chronic                             greater than 100-in-1 million from HAP                more than 20 tons of EtO to all of their
                                                 noncancer TOSHI posed by whole-                         emissions from the SOCMI source                       flares combined in any consecutive 12-
                                                 facility emissions is estimated to be 4                 category, which is the same as in the                 month period (for more information on
                                                 (for respiratory effects) due mostly (98                proposal. The total population exposed                this, see Section IV.A.3.d.v of this
                                                 percent) to emissions from 2 facilities.                to risk levels from the SOCMI source                  preamble). Table 4 of this preamble
                                                 Emissions from one facility contribute                  category greater than or equal to 1-in-1              summarizes the reduction in risks due
                                                 to 83 percent of the TOSHI, with                        million living within 50 km (∼31 miles)               to emissions from the SOCMI source
                                                 approximately 60 percent of the total                   of a facility would be reduced from 7.17              category based on the controls in this
                                                 TOSHI from non-source category                          million people to 6.27 million people.                action. For further details on the revised
                                                 emissions of chlorine and another 15                    The cancer incidence would be reduced                 risk assessment for the SOCMI source
                                                 percent from source category emissions                  from 2 excess cancer cases per year to                category, see the document titled
                                                 of chlorine. Emissions from the second                  0.4 excess cancer cases per year. The                 Residual Risk Assessment for the
                                                 facility contribute to 15 percent of the                maximum modeled chronic noncancer                     SOCMI Source Category in Support of
                                                 TOSHI, with approximately 11 percent                    TOSHI for the source category remains                 the 2024 Risk and Technology Review
                                                 of the total TOSHI from source category                 unchanged. Specifically, the chronic                  Final Rule, which is available in the
                                                 emissions of acrylic acid and 2 percent                 noncancer TOSHI is estimated to be 2                  docket for this rulemaking.
                                                 from source category emissions of                       (for respiratory effects) at two different               Table 4 of this preamble also
                                                 acrylonitrile. Approximately 1,100                      facilities (from maleic anhydride                     summarizes the facility-wide risks for
                                                 people are estimated to be exposed to a                 emissions at one facility and chlorine                facilities in the SOCMI source category.
                                                 TOSHI greater than 1 due to whole-                      emissions at another facility) with                   The post-control facility-wide MIR
                                                 facility emissions. Again, we note that                 approximately 83 people estimated to be               remains 2,000-in-1 million, driven by
                                                 the only change in these results from the               exposed to a TOSHI greater than 1. The                EtO emissions from Polyether Polyols
                                                 proposal is the number of people                        estimated worst-case off-site acute                   Production source category emissions
                                                 exposed to cancer risk greater than 100-                exposures to emissions from the SOCMI                 sources, which the EPA intends to
                                                 in-1 million, which decreased from                      source category also remains                          address in a future action. Further, we
                                                 95,000 people at proposal to 90,000                     unchanged, with a maximum modeled                     note that the fenceline monitoring
                                                 people here (due to our modified                        acute HQ of 3 based on the RELs for                   action level of 0.2 mg/m3 for EtO will
                                                 approach to modeling flares, discussed                  chlorine and acrolein. The only change                reduce EtO emissions and therefore
                                                 above).                                                 in these results from proposal is the                 risks below these levels, with the MIR
                                                    Finally, we conducted a revised                      number of people exposed to cancer risk               reduced to 1,000-in-1 million or lower
                                                 assessment to evaluate risks after                      levels greater than or equal to 1-in-1                and the number of individuals exposed
                                                 implementation of the control                           million (6.27 million here compared to                to cancer risk levels greater than 100-in-
                                                 requirements described in this action.                  5.7 million at proposal) due to us not                1 million and greater than or equal to 1-
                                                 After implementation of the controls,                   finalizing (in response to persuasive                 in-1 million expected to be lower than
                                                 the MIR for the SOCMI source category                   comments received during the public                   those in Table 4 of this preamble.
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                                                         Table 4. SOCMI Source Category and Facility-wide Inhalation Risk Assessment Results
                                                         Based on Baseline (Pre-Control) Emissions and Post-Control Emissions
                                                                                     Estimated Population at     Estimated                  Refined
                                                                       Maximum Increased Risk of Cancer           Annual                   Maximum
                                                                       Individual                                 Cancer     Maximum Screening
                                                                         Cancer                                  Incidence     Chronic       Acute
                                                              Risk     Risk (-in-1 t> 100-in-1   ~ 1-in-1        (cases per Noncancer Noncancer
                                                           Assessment million) 1 million         million           year)       TOSHI          HQ
                                                                                             SOCMI Source Category
                                                           Pre-Control    2,000         83,000       7.17             2            2       HQREL = 3
                                                            Baseline                   (50 km)     million                      (maleic    (chlorine)
                                                                                                   (50 km)                   anhydride)
                                                                                                                                           HQREL = 3
                                                                                                                                   2       (acrolein)
                                                                                                                              (chlorine)
                                                              Post-        100             0         6.27            0.4           2       HQREL = 3
                                                             Control                               million                      (maleic    (chlorine)
                                                                                                   (50km)                    anhydride)
                                                                                                                                           HQREL = 3
                                                                                                                                   2       (acrolein)
                                                                                                                              (chlorine)
                                                                                                 Facility-wide
                                                           Pre-Control    2,000         90,000       8.92             2            4           --
                                                            Baseline                   (50 km)     million                    (chlorine,
                                                                                                   (50 km)                  acrylic acid,
                                                                                                                                  and
                                                                                                                            acrylonitrile'
                                                              Post-       2,000         2,900        8.49             2            4           --
                                                             Control                   (50 km)     million                    (chlorine,
                                                                                                   (50 km)                  acrylic acid,
                                                                                                                                  and
                                                                                                                            acrylonitrile'
                                                         1 Maximum individual excess lifetime cancer risk due to HAP emissions.


                                                 b. Neoprene Source Category                             emissions from the Neoprene                           results remained the same. Table 5 of
                                                    In response to a comment in section                  Production source category. This result               this preamble summarizes the reduction
                                                 IV.A.3.e.i of this preamble, we revised                 is the same as in the proposal. The total             in cancer risks due to emissions from
                                                 the performance standard for process                    population exposed to risk levels from                the Neoprene Production source
                                                 vents and storage vessels in chloroprene                the Neoprene Production source                        category based on the controls in this
                                                 service for the Neoprene Production                     category greater than or equal to 1-in-1              action. For further details on the revised
                                                 source category. This revision did not                  million would be reduced from 690,000                 risk assessment for the Neoprene
                                                 change the baseline source category or                  people to 58,000 people. The total                    Production source category, see the
                                                 facility-wide risk assessments for the                  estimated cancer incidence of 0.05                    document titled Residual Risk
                                                 Neoprene Production source category                     drops to 0.01 excess cancer cases per                 Assessment for the Polymers & Resins I
                                                 from proposal (see section IV.A.1.b of                  year. For the risk results estimated after            Neoprene Production Source Category
                                                 this preamble and Table 5 of this                       implementation of controls, the two                   in Support of the 2024 Risk and
                                                 preamble). The revised assessment                       changes from proposal are the number                  Technology Review Final Rule, which is
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                                                 indicated that, after implementation of                 of people exposed to risk levels greater              available in the docket for this
                                                 the controls, the MIR for the Neoprene                  than or equal to 1-in-1 million (58,000               rulemaking.
                                                 Production source category is 100-in-1                  here compared to 48,000 at proposal)                     Table 5 of this preamble also provides
                                                 million (down from 500-in-1 million in                  and the cancer incidence (0.01 here                   the facility-wide risks for the facility in
                                                 the pre-control baseline) with no                       compared to 0.008 at proposal) from                   the Neoprene Production source
                                                 individuals exposed to risk levels                      HAP emissions from the Neoprene                       category, which are of increased
                                                                                                                                                                                                             ER16MY24.007</GPH>




                                                 greater than 100-in-1 million from HAP                  Production source category. All other                 importance due to the secondary


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                                                 fenceline action level for chloroprene,                 neoprene production emission sources.                 to lifetime cancer risk levels greater than
                                                 before (pre-control baseline) and after                 The secondary fenceline action level of               100-in-1 million, and the number of
                                                 controls (post-control) of neoprene                     0.3 mg/m3 for chloroprene will further                people exposed to cancer risk levels
                                                 production emission sources in this                     reduce chloroprene emissions and                      greater than or equal to 1-in-1 million
                                                 action. The post-control facility-wide                  therefore risks below these levels, with              expected to be lower than those in Table
                                                 MIR is 200-in-1 million, driven by                      the MIR expected to be 100-in-1 million               5 of this preamble.
                                                 chloroprene emissions from SOCMI and                    or lower, with no individuals exposed


                                                         Table 5. Neoprene Production Source Category and Facility-wide Inhalation Risk
                                                         Assessment Results Based on Baseline (Pre-Control) Emissions and Post-Control Emissions
                                                                                          Estimated        Estimated
                                                                         Maximum        Population at       Annual                  Maximum
                                                                         Individual   Increased Risk  of    Cancer       Maximum     Screening
                                                                           Cancer           Cancer         Incidence      Chronic      Acute
                                                              Risk       Risk (-in-1 > 100-in- ~ 1-in-1    (cases per    Noncancer Noncancer
                                                           Assessment     million) 1 1 million million        year)       TOSHI         HQ
                                                                                     Neoprene Production Source Category
                                                             Pre-Control                  500             2,100            690,000                0.05             0.05     HQREL = 0.3
                                                              Baseline                                   (50 km)           (50 km)                            (chloroprene) (chloroform)
                                                            Post-Control                  100                  0            58,000                0.01             0.01     HQREL = 0.3
                                                                                                                           (50 km)                            (chloroprene) (chloroform)
                                                                                                                           Facility-wide
                                                             Pre-Control                  600             2,300            890,000                0.06              0.3                      --
                                                              Baseline                                   (50 km)           (50 km)                               (chlorine)
                                                            Post-Control                  200              326              87,000                0.02              0.3                     ---
                                                                                                         (50 km)           (50 km)                               (chlorine)
                                                            1 Maximum individual excess lifetime cancer risk due to HAP emissions.


                                                 3. What key comments did we receive                     review, can be found in the document                  affirm its determination that the IRIS
                                                 on the risk review, and what are our                    titled Summary of Public Comments                     assessments are scientifically sound and
                                                 responses?                                              and Responses for New Source                          robust and represent the best available
                                                    This section provides summaries of                   Performance Standards for the                         inhalation cancer risk values for EtO.34
                                                 and responses to the key comments                       Synthetic Organic Chemical                            These comments are not summarized in
                                                 received regarding our risk assessment                  Manufacturing Industry and National                   this preamble. Instead, all of these
                                                 for the SOCMI source category, our risk                 Emission Standards for Hazardous Air                  comments (related to the EPA’s use of
                                                 assessment for the Neoprene Production                  Pollutants for the Synthetic Organic                  the EtO IRIS value for CAA section
                                                 source category, the proposed                           Chemical Manufacturing Industry and                   112(f)(2) risk assessment) and the EPA’s
                                                 requirements to reduce EtO emissions                    Group I & II Polymers and Resins                      responses are in the document titled
                                                 from the SOCMI source category, and                     Industry, which is available in the                   Summary of Public Comments and
                                                 the proposed requirements to reduce                     docket for this rulemaking.                           Responses for New Source Performance
                                                 chloroprene emissions from the                                                                                Standards for the Synthetic Organic
                                                                                                         a. EtO IRIS URE
                                                 Neoprene Production source category.                                                                          Chemical Manufacturing Industry and
                                                 We received comments in support of                        We received numerous comments in                    National Emission Standards for
                                                 and against the proposed residual risk                  support of, and in opposition to, the                 Hazardous Air Pollutants for the
                                                 review, the IRIS URE used in the                        EPA’s use of the EtO IRIS value in                    Synthetic Organic Chemical
                                                 review, and our determination that                      assessing cancer risk for a source                    Manufacturing Industry and Group I &
                                                 additional controls were warranted                      category under CAA section 112(f)(2) for              II Polymers and Resins Industry, which
                                                 under CAA section 112(f)(2) for the                     EtO. After careful review of the                      is available in the docket for this
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                                                 SOCMI and Neoprene Production                           comments, the Agency has determined                   rulemaking.
                                                 source categories. Other comments on                    that commenters did not identify new
                                                 these issues, as well as the EtO IRIS                   scientific information that would alter                 34 87 FR 77985 (Dec. 21, 2022), Reconsideration

                                                 URE, chloroprene IRIS URE, and on                       aspects of the EPA IRIS assessments or                of the 2020 National Emission Standards for
                                                                                                                                                               Hazardous Air Pollutants: Miscellaneous Organic
                                                 additional issues regarding the residual                call into question the scientific                     Chemical Manufacturing Residual Risk and
                                                 risk review and the EPA’s proposed                      judgments reflected in those                          Technology Review, Final action; reconsideration of
                                                                                                                                                                                                                     ER16MY24.008</GPH>




                                                 changes based on the residual risk                      assessments. The EPA continues to                     the final rule.



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                                                 b. Chloroprene IRIS URE                                 controls and emissions estimation                        By incorporating the above revisions,
                                                    We received numerous comments in                     methodologies. The commenter pointed                  commenters insisted the residual risk
                                                 support of, and in opposition to, the                   out that although several facilities                  attributable to EtO would be reduced
                                                 EPA’s use of the chloroprene IRIS value                 provided revisions to the EPA for their               and the EPA would conclude that risks
                                                 in assessing cancer risk for a source                   NEI modeling file inputs, the EPA                     are acceptable, even if the current IRIS
                                                 category under CAA section 112(f)(2) for                rejected many of them. The commenter                  value for EtO is used.
                                                                                                         contended that if the EPA corrected its                  A different commenter asserted that
                                                 chloroprene. After careful review of the
                                                                                                         emissions modeling file to reflect more               the EPA cannot rely on a single year of
                                                 comments, the Agency has determined
                                                                                                         accurate emissions levels or upgraded                 emissions data from HON and P&R I
                                                 that commenters did not identify new
                                                                                                         emissions controls, it would determine,               sources to evaluate residual risk. The
                                                 scientific information that would alter
                                                                                                         for a number of facilities, that risks were           commenter explained that the NEI does
                                                 aspects of the EPA IRIS assessments or
                                                                                                         acceptable, or some emissions units                   not provide a reliable basis for
                                                 call into question the scientific                                                                             estimating downwind concentrations of
                                                 judgments reflected in those                            were not meaningfully contributing to
                                                                                                         risk.                                                 specific HAPs and the resulting cancer
                                                 assessments. The EPA continues to                                                                             or noncancer risk to the communities
                                                 affirm its determination that the IRIS                     Commenters provided the following
                                                                                                         specific examples of corrections                      nearby. The commenter said that, by the
                                                 assessments are scientifically sound and                                                                      EPA’s conclusions, fenceline monitoring
                                                 robust and represent the best available                 facilities made to their 2017 NEI data,
                                                                                                         but were rejected by the EPA:                         data has shown that modeled
                                                 inhalation cancer risk values for
                                                                                                            • Huntsman Petrochemical—Conroe                    concentrations greatly underestimate
                                                 chloroprene.35 These comments are not                                                                         monitored concentrations. The
                                                                                                         Plant (ID 4945611); Conroe, TX
                                                 summarized in this preamble. Instead,                      Used actual emissions for equipment                commenter contended that the reliance
                                                 all of these comments (related to the                   leaks.                                                on 2017 NEI data would contradict the
                                                 EPA’s use of the chloroprene IRIS value                    Used updated emission rates for                    EPA’s own statements and would not
                                                 for CAA section 112(f)(2) risk                          holding ponds.                                        provide the ample margin of safety that
                                                 assessment) and the EPA’s responses are                    Used actual operation hours for                    the CAA requires. While the NEI can be
                                                 in the document titled Summary of                       pumps.                                                used as a starting point, the commenter
                                                 Public Comments and Responses for                          • Eastman Chemical Company—                        recommended that the EPA should
                                                 New Source Performance Standards for                    Texas Operations (ID 4941511);                        select the highest annual emissions that
                                                 the Synthetic Organic Chemical                          Longview, TX                                          each source has reported to either the
                                                 Manufacturing Industry and National                        Provided consistency with process                  Toxics Release Inventory (TRI) or the
                                                 Emission Standards for Hazardous Air                    vent stack test data.                                 NEI within the most recent five-year
                                                 Pollutants for the Synthetic Organic                       Used refined El Paso Method response               period for which data are available. The
                                                 Chemical Manufacturing Industry and                     factors for cooling towers.                           commenter explained that TRI reports
                                                 Group I & II Polymers and Resins                           Used updated wastewater emissions                  are filed annually and may provide a
                                                 Industry, which is available in the                     calculations.                                         more accurate picture of current
                                                 docket for this rulemaking.                                Used updated fugitive emissions                    emissions, and it would be irrational to
                                                                                                         calculations.                                         base a residual risk assessment for
                                                 c. Risk Assessment                                         • Sasol Chemicals—Lake Charles                     sources on the 2017 NEI when the same
                                                    Several commenters provided                          Chemical Complex (ID 8468011);                        sources are reporting higher emissions
                                                 comments on specific facilities in the                  Westlake, LA                                          in the 2017–2021 TRI or 2020 NEI
                                                 EPA risk assessment and submitted                          Removed a process vent not subject to
                                                                                                                                                               reports.
                                                 additional data for the EPA to use for                  HON.                                                     Similarly, a commenter objected to
                                                 assessing public health risks. We also                     Removed a transfer rack not subject to
                                                                                                                                                               the EPA’s use of the 2019 baseline
                                                 received comments regarding                             HON.
                                                                                                                                                               actual emissions for Denka Performance
                                                 environmental justice, our community-                      • BASF Corporation—Geismar Site
                                                                                                                                                               Elastomers, LLC to assess residual risk
                                                 based risk assessment, and the statutory                (ID 8465611); Geismar, LA
                                                                                                            Used more recent process vent stack                of chloroprene emissions. The
                                                 authority to assess risk. Key comments                                                                        commenter said that the 2019 baseline
                                                 on these topics are as follows:                         test data.
                                                                                                            • Clear Lake Plant (ID 4057911);                   actual emissions are substantially lower
                                                 i. Emissions Data                                       Pasadena, TX                                          than historic actual emission levels
                                                                                                            Used revised stream compositions to                reported to the Louisiana Department of
                                                    Comment: Commenters objected to                                                                            Environmental Quality (LDEQ) from
                                                 the use of the 2017 National Emissions                  estimate equipment leak emissions.
                                                                                                            Used revised calculation                           1991 through 2017; and the EPA’s risk
                                                 Inventory (NEI) data without corrections                                                                      report does not appear to include a
                                                 or revisions to model risk. These                       methodologies to estimate process vent
                                                                                                         emissions.                                            description of the primary causes for the
                                                 commenters requested that the EPA
                                                                                                            • Shell Chemical—Geismar Plant (ID                 observed 2019 emission reductions. The
                                                 incorporate all of the revisions that were                                                                    commenter added that the combined
                                                                                                         7445611); Geismar, LA
                                                 provided by various companies that                         Installed a thermal oxidizer to reduce             average 2019 community monitored
                                                 participated in the EPA’s January 18,                   EtO emissions.                                        chloroprene concentration is 2.5 times
                                                 2022, CAA section 114 request. A                           Used more accurate concentration                   the EPA’s 2019 modeled average
                                                 commenter explained that the EPA                        data and targeted source control efforts              fenceline concentration (0.74 mg/m3).
                                                 allowed facilities to update emissions                  for wastewater.                                       The commenter also asserted that the
                                                 values so the EPA’s assessment was
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                                                                                                            Used more frequent connector                       2019 actual annual baseline emissions
                                                 representative of current operations and                monitoring to estimate equipment leak                 do not reflect sustainable chloroprene
                                                 improvements to both emissions                          emissions.                                            emission reductions achieved through
                                                                                                            Changed the specification of residual              work practice standards or application
                                                   35 U.S. EPA. March 14, 2022. Response to the
                                                                                                         EtO in Ethoxylate product to reduce EtO               of MACT emission controls given that
                                                 Request for Correction of the 2010 IRIS Chloroprene
                                                 Toxicological Review. www.epa.gov/system/files/         emissions.                                            the average chloroprene concentration
                                                 documents/2022-03/ord-22-000-2789-final-rfc-               Installed a thermal oxidizer on some               measured at 5th Ward Elementary
                                                 21005-response-03-01-2022-new.pdf                       process vents.                                        during the first 6 months of 2020 were


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                                                 ∼52 percent higher than the measured                    given that we contend, based on the                   agency must make a judgment in the
                                                 2019 concentrations.                                    fenceline data, that the modeling file                face of a known risk of unknown
                                                    Response: We disagree with                           emissions for these pollutants are                    degree.’’ Mexichem Specialty Resins,
                                                 commenters who object to the use of the                 underestimated.                                       Inc., 787 F.3d. 561 (D.C. Cir. 2015)).
                                                 2017 NEI data. We relied on the January                    Regarding the commenter’s objection                   For further details on the assumptions
                                                 2021 version of the 2017 NEI dataset                    to the EPA’s use of the 2019 baseline                 and methodologies used to estimate
                                                 because it provided the best available                  actual emissions for Denka Performance                actual emissions, see Appendix 1 of the
                                                 data for EtO emissions and other HAP                    Elastomers, LLC to assess residual risk               documents titled Residual Risk
                                                 emissions for the SOCMI source                          of chloroprene emissions, the facility’s              Assessment for the SOCMI Source
                                                 category and the Neoprene Production                    emissions inventory was provided to the               Category in Support of the 2024 Risk
                                                 source category covered under the P&R                   EPA pursuant to our CAA section 114                   and Technology Review Final Rule and
                                                 I NESHAP. However, in a few instances                   request. In particular, the EPA requested             Residual Risk Assessment for the
                                                 where facility-specific data were not                   emission inventories from the past 5                  Polymers & Resins I Neoprene
                                                 available or not reflective of current                  years (i.e., 2016–2020) from the facility’s           Production Source Category in Support
                                                 controls in the 2017 NEI, we attempted                  operations as part of this request. As                of the 2024 Risk and Technology Review
                                                 to obtain data from a more recent                       2017 NEI data did not represent current               Final Rule, which are both available in
                                                 dataset (e.g., review of emissions                      controls being employed at Denka                      the docket for this rulemaking.
                                                 inventory data from our CAA section                     Performance Elastomers, LLC, the EPA                     Comment: A commenter contended
                                                 114 request, more recent inventories                    chose to use the most current data it had             that the EPA’s inclusion of infrequent,
                                                 submitted to states, or the 2018 NEI).                  available, which is reflective of current             episodic events in their risk assessment
                                                 Where we did not have better data, we                   operations and emissions. Given the                   is inappropriate. The commenter
                                                 did not update our dataset. Of note, for                EPA’s concerns about decreased                        explained that short-term or one-time
                                                 the one neoprene production facility                    production and emissions in 2020 from                 emissions release events are not
                                                 (which is also part of the SOCMI source                 the COVID–19 pandemic, we elected to                  representative of concentrations an
                                                 category), we used the 2019 emissions                   use Denka Performance Elastomer,                      individual would be exposed to over a
                                                 inventory that was provided to the EPA                  LLC’s 2019 emissions inventory                        lifetime. Furthermore, the commenter
                                                 from our CAA section 114 request. The                   submitted as part of the CAA section                  contended that the EPA should also
                                                 NEI data were also used to develop the                  114 request in its risk assessment for the            have excluded EtO emissions related to
                                                 other parameters needed to perform the                  HON and Neoprene Production source                    SSM events from its voluntary risk
                                                 risk modeling analysis, including the                   categories in lieu of the 2017 NEI data.              analysis because the EPA is statutorily
                                                 emissions release characteristics, such                 The EPA also reviewed chloroprene                     obligated to address SSM events under
                                                 as stack heights, stack diameters, flow                 emission records to determine whether                 CAA sections 112(d)(2) and (d)(3).
                                                 rates, temperatures, and emission                       the emissions were associated with                       Response: If any operating period
                                                 release point locations.                                HON processes, neoprene processes, or                 (including SSM periods) leads to
                                                    We note that the EPA has an                          other non-HON and non-neoprene                        noncompliance with standards, we
                                                 obligation to use the best available data               processes and updated the regulatory                  would not model such noncompliance
                                                 for establishment of risk-based                         code in the risk modeling input files to              for purposes of assessing risk in the
                                                 standards and generally updates the                     account for this review.                              CAA section 112(f) risk review because
                                                 dataset where we have sufficient                           In summary, we took many steps to                  the agency estimates risk based on
                                                 rationale or improved data (e.g., relevant              develop an emissions modeling file that               compliance with the established
                                                 stack test data, documented process                     was representative of emissions from                  NESHAP. The statute does not require
                                                 concentrations), but the EPA has                        HON and P&R I sources, including                      the agency to determine risk based on
                                                 discretion to reject updated emissions                  declining to revise data where we had                 some assumed level of noncompliance.
                                                 estimates when insufficient rationale                   insufficient rationale or information to              In addition, the appropriate remedy for
                                                 and information is provided. In general,                verify commenters’ suggested changes.                 noncompliance with a NESHAP is an
                                                 we rejected the corrections facilities                  As described in more detail in the                    enforcement action seeking to require
                                                 made to their 2017 NEI data (i.e., the                  preamble to the proposed rulemaking                   the source to come into compliance
                                                 corrections listed by commenters as                     (88 FR 25080, April 25, 2023), the EPA                with the standard.
                                                 specified in this comment summary)                      used many sources of information to                      Emissions events in violation of the
                                                 due to insufficient information when                    develop the HAP emissions inventory                   standards, whether or not they are
                                                 numbers were updated without a clear                    used to assess risks for this rulemaking,             caused by malfunction events, are not
                                                 or substantive explanation of why                       including, but not limited to, the 2017               considered as part of risk analyses. The
                                                 emissions changed and where EPA                         NEI and information gathered under our                EPA interprets CAA section 112 as not
                                                 could not fully verify the changes. For                 CAA section 114 authority. The EPA                    requiring emissions that occur during
                                                 example, many suggested changes were                    typically has wide latitude in                        periods of malfunction to be factored
                                                 due to revisions in the engineering                     determining the extent of data-gathering              into development of CAA section 112
                                                 calculation methods with no                             necessary to solve a problem and courts               standards, and this reading has been
                                                 documented detailed calculations                        generally defer to the agency’s decision              upheld as reasonable by the U.S. Court
                                                 shown. Other examples include                           to proceed on the basis of imperfect                  of Appeals for the District of Columbia
                                                 changing calculation input assumptions                  scientific information, rather than to                in U.S. Sugar Corporation v. EPA, 830
                                                 for the amount of HAP in process                        ‘‘invest the resources to conduct the                 F.3d 579, 606–10 (D.C. Cir. 2016).
                                                                                                                                                               Consistent with previous risk
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                                                 streams where no source testing/                        perfect study.’’ Sierra Club v. EPA, 167
                                                 sampling was provided by commenters                     F. 3d 658, 662 (D.C. Cir. 1999) (‘‘If the             assessments, the EPA considered both
                                                 to support their suggested changes.                     EPA were required to gather exhaustive                allowable and actual emissions in
                                                 Further, in many cases we also rejected                 data about a problem for which                        assessing chronic inhalation exposure
                                                 corrections listed by commenters related                gathering such data is not yet feasible,              and risk under CAA section 112(f)(2) for
                                                 to pollutants that drive cancer risks for               the agency would be unable to act even                the SOCMI source category and the
                                                 HON (i.e., EtO) and neoprene                            if such inaction had potentially                      Neoprene Production source category
                                                 production sources (i.e., chloroprene)                  significant consequences . . . . [A]n                 covered under the P&R I NESHAP (see,


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                                                 e.g., the National Emission Standards                   release contributed to the majority of the            address these concerns. The commenter
                                                 for Coke Oven Batteries [70 FR 19998–                   cancer risk for that facility and as such             cited the EPA’s environmental justice
                                                 19999, April 15, 2005] and the proposed                 we proposed and are finalizing                        web page, specifically the phrase ‘‘no
                                                 and final HON (71 FR 34428, June 14,                    requirements that any releases from PRD               group of people should bear a
                                                 2006 and 71 FR 76603, December 21,                      in EtO service are violations of these                disproportionate share of the negative
                                                 2006, respectively)). The final rule is                 emission standards. The EPA did not                   environmental consequences,’’ and
                                                 designed to require sources to comply                   include other additional emission                     stated that people of color will still bear
                                                 during all periods of operation. As                     estimates from non-routine PRD or flare               a disproportionate share of exposure to
                                                 explained in the preamble to the                        events in the emissions inventory that                HAPs and resulting cancer risk if the
                                                 proposed rule (see 88 FR 25080, April                   was used to assess residual risk. Other               HON rule is adopted as proposed.
                                                 25, 2023), it is not generally possible to              than for highly toxic compounds such                  Furthermore, the commenter contended
                                                 model malfunctions in the risk                          as EtO and chloroprene, we have found                 that the EPA failed to cite and analyze
                                                 assessment, because by nature they are                  that non-routine emissions from PRDs                  the scientific evidence that shows that
                                                 infrequent and unpredictable, and we                    and flares in similar source categories,              people of color are also uniquely
                                                 generally have insufficient information                 including ethylene production facilities              susceptible to the health effects of toxic
                                                 to model these types of events. The                     and petroleum refineries, have not                    air pollutants, in addition to being more
                                                 main purpose of the risk review for                     significantly affected risks (see, e.g., 85           highly exposed, due to the cumulative
                                                 these source categories is to evaluate                  FR 75187–75188, December 1, 2015).                    impacts from a combination with other
                                                 whether the emission limits—the                                                                               psycho-social stressors including
                                                                                                         ii. Environmental Justice
                                                 ‘‘standards promulgated pursuant to                                                                           racism, poverty, lack of access to health
                                                 subsection (d),’’ not the non-compliance                   Comment: Commenters asserted that                  care and healthful foods.
                                                 with those standards—should be made                     the EPA should continue to place                         Response: The EPA is directed, to the
                                                 more stringent to reduce the risk posed                 environmental justice at the forefront as             greatest extent practicable and
                                                 after compliance with the underlying                    it moves through the regulatory process               permitted by law, to make
                                                 MACT standards. To the extent that a                    and ensure it takes steps to reduce                   environmental justice part of its mission
                                                 source is violating an underlying MACT                  impacts on overburdened communities.                  by identifying and addressing, as
                                                 standard, it is unlikely that tightening of             A commenter pointed out that                          appropriate, disproportionate and
                                                 the emission standard as a result of the                populations with lung disease, children,              adverse human health or environmental
                                                                                                         people with heart disease, and others                 effects of its programs, policies, and
                                                 residual risk review will avoid or
                                                                                                         are typically at higher risk of health                activities on communities with
                                                 mitigate such violations. In other words,
                                                                                                         harm from air pollution. The commenter                environmental justice concerns. The
                                                 a source that is violating a MACT
                                                                                                         declared that the EPA must place a                    EPA’s environmental justice policies
                                                 emissions standard promulgated under
                                                                                                         priority on ensuring the current                      promote justice, including access to
                                                 CAA section 112(d) would not be any
                                                                                                         administration meets its goals on                     health impact data, by providing
                                                 more likely to be able to avoid such
                                                                                                         improving environmental justice,                      information on the types of
                                                 violations and comply with a different
                                                                                                         ensuring that people who live near these              environmental justice harms and risks
                                                 presumably more stringent standard
                                                                                                         facilities do not continue to face                    that are prevalent in communities with
                                                 promulgated under CAA section 112(f).
                                                                                                         overlapping health inequities that                    environmental justice concerns. No
                                                 Such events are violations and subject                  increase their overall risk. Other                    such policies mandate consideration of
                                                 to enforcement by the EPA, the states,                  commenters called attention to the 7                  any specific factors or particular
                                                 or citizens, and an action for injunctive               million people who live near chemical                 outcomes from an action, but they direct
                                                 relief is the most effective means to                   plants who face serious cancer risk from              that environmental justice analysis be
                                                 address violations, whether or not they                 uncontrolled toxic air emissions and are              performed as part of regulatory impact
                                                 are caused by malfunctions, if an                       majority Black and Brown residents.                   analysis, as appropriate, so that the
                                                 emissions event poses a significant                     Commenters stated that chemical                       public can have this information. As
                                                 health or environmental risk.                           manufacturing facilities are commonly                 noted above, the assessment of costs and
                                                    The EPA notes that the final                         located in communities of color and                   benefits described herein and in the
                                                 Petroleum Refinery Sector Rule                          low-income neighborhoods (especially                  RIA, including the environmental
                                                 included a conservative, screening-level                in Texas and Louisiana) and the                       justice analysis, is presented for the
                                                 assessment (not a refined risk                          emissions reductions from the proposed                purpose of providing the public with as
                                                 assessment) performed using available                   standards will help reduce the burden                 full as possible an understanding of the
                                                 information collection response (ICR)                   on disproportionately impacted                        potential impacts of this final action.
                                                 data to see the impacts of certain non-                 communities.                                          The EPA notes that analysis of such
                                                 routine emissions events from PRDs and                     Another commenter asserted that the                impacts is distinct from the
                                                 flares. [80 FR 75178, December 1, 2015]                 EPA should strengthen the proposed                    determinations finalized in this action
                                                 That assessment conservatively                          HON standards to further reduce HAP                   under CAA sections 111 and 112, which
                                                 combined routine and non-routine                        emissions with the goal of eliminating                are based solely on the statutory factors
                                                 emissions merely to define an upper                     racial disparities in exposure at all risk            the EPA is required to consider under
                                                 bound of combined risk, and the EPA                     levels. The commenter claimed that,                   those sections.
                                                 ultimately concluded that risks were not                even after adoption of the proposed                      The EPA evaluated the risks for
                                                 significantly different, given the                      rule, about 1.6 million people of color               various populations as described in the
                                                 uncertainties and conservative nature of                will still face serious cancer risk at the
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                                                                                                                                                               demographic analysis in the proposed
                                                 the screening. In this risk assessment,                 1-in-1 million level simply by living                 rule preamble and in the documents
                                                 the EPA did have information on EtO                     within 10 km (6.2 miles) of toxic air                 titled Analysis of Demographic Factors
                                                 emissions from PRD events at one                        emissions emitted by regulated sources                for Populations Living Near Hazardous
                                                 facility as they were reported to the                   from chemical manufacturing plants.                   Organic NESHAP (HON) Operations—
                                                 Texas Commission on Environmental                       The commenter contended that the EPA                  Final; Analysis of Demographic Factors
                                                 Quality (TCEQ). The modeling indicated                  succeeded at identifying environmental                for Populations Living Near Hazardous
                                                 that emissions from one single PRD                      justice concerns, however it failed to                Organic NESHAP (HON) Operations:


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                                                 Whole Facility Analysis—Final;                          individuals as follows: >100-in-1                     feasible. A commenter claimed that,
                                                 Analysis of Demographic Factors for                     million from 12,000 people to zero                    under the proposed rule, about 5.7
                                                 Populations Living Near Neoprene                        people; ≥50-in-1 million from 59,000 to               million people would still face serious
                                                 Production Operations—Final; Analysis                   4,000; and ≥1-in-1 million from 694,000               cancer risk at the 1-in-1 million level
                                                 of Demographic Factors for Populations                  to 692,000. The rule has the greatest                 simply by living within 50 km (31
                                                 Living Near Neoprene Production                         impact at the higher chronic cancer risk              miles) of toxic air emissions that are
                                                 Operations: Whole Facility Analysis—                    levels. Additionally, regarding concern               being emitted by regulated sources from
                                                 Final; and Analysis of Demographic                      about the unique susceptibility of                    chemical manufacturing plants. The
                                                 Factors for Populations Living Near                     people of color to the health impacts of              commenter further claimed that, by
                                                 Polymers and Resins I and Polymer and                   toxic air pollutants, the EPA is currently            living within 10 km (6.2 miles), there is
                                                 Resins II Facilities, which are available               exploring data and methods to make it                 only a 10 percent reduction of total
                                                 in the docket for this rulemaking. The                  possible to more explicitly evaluate the              people at this risk level. The commenter
                                                 EPA used its Environmental Justice Risk                 role of non-chemical stressors in an                  contended that the EPA has done more
                                                 and Proximity Analysis Tool (‘‘EJ Tool’’)               environmental justice analysis.                       in the past, specifically when 99 percent
                                                 to link HEM/AERMOD modeling results                     iii. Community-Based Risk Assessment                  of the population living within 50 km
                                                 for the HON and P&R sources with                                                                              had cancer risk reduced to 1-in-1
                                                 detailed census data, in order to                          Comment: Commenters said that they                 million through the Benzene NESHAP
                                                 evaluate the distribution of cancer and                 supported the addition of the EPA’s                   rule.
                                                 noncancer risks for different                           community-based risk assessment in the                   On the contrary, a commenter argued
                                                 demographic factors (including racial,                  rulemaking proposal given that it
                                                                                                                                                               that the EPA’s ‘‘whole-facility’’ and
                                                 ethnic, age, economic, educational, and                 reflects a commitment to evidence-
                                                                                                                                                               ‘‘community-based’’ risk assessments
                                                 linguistically isolated population                      based decision-making and the well-
                                                                                                                                                               are irrelevant to the proposed rule
                                                 categories). In addition to evaluating                  being of communities affected by these
                                                                                                                                                               because the EPA is limited to
                                                 risk distribution, this analysis also                   facilities, and implored the EPA to
                                                                                                                                                               considering only risks associated with
                                                 presents the demographic composition                    continue to employ rigorous community
                                                                                                                                                               the source category that is the subject of
                                                 of the population located within close                  risk assessments in future rulemakings.
                                                                                                                                                               the risk assessment. The commenter
                                                 proximity (10 km) and within the                        A commenter remarked that in addition
                                                                                                                                                               added these broader risk analyses are
                                                 overall HEM/AERMOD model domain                         to the communities’ benefit, workers
                                                                                                                                                               less reliable due to uncertainties in the
                                                                                                         within chemical plants would benefit as
                                                 (50 km) of the source category emissions                                                                      data used.
                                                                                                         well.
                                                 (irrespective of risk). The following                                                                            Response: We appreciate the
                                                                                                            Some commenters supported the EPA
                                                 demographic groups were included in                     expanding the community-based risk                    commenters’ support of the community-
                                                 this risk and proximity analysis:                       assessment to include air toxics-related              based risk assessment. In response to
                                                    Total population;                                                                                          reducing the number of people exposed
                                                                                                         cancer risks from all large facilities in
                                                    White;                                                                                                     at or above 1-in-1 million cancer risk to
                                                    Black (or African American);                         communities in the vicinity, including
                                                                                                         sources that would not be covered by                  the maximum extent feasible, the EPA’s
                                                    American Indian or Alaska Native;                                                                          ample margin-of-safety determinations
                                                    Other races and multiracial;                         the rule. The commenters explained that
                                                    Hispanic or Latino;                                  since the public’s exposure is not                    are conducted in accord with the two-
                                                    Children 17 years of age and under;                  limited to one chemical or source                     step framework set forth in the Benzene
                                                    Adults 18 to 64 years of age;                        category at a time, this is a step in the             NESHAP. When making its ample
                                                    Adults 65 years of age and over;                     right direction. The commenters                       margin of safety determination, the EPA
                                                    Adults without a high school                         suggested these expanded community-                   does consider health risks and their
                                                 diploma;                                                based risk assessments be standard                    associated uncertainties, but also
                                                    People living below the poverty level,               practice. Other commenters proposed to                considers costs, technical feasibility,
                                                 and                                                     expand the community-based risk                       and other factors. For the SOCMI source
                                                    Linguistically isolated people.                      assessment to not only include all large              category, in Step 1 of the Benzene
                                                    The total population statistics near                 facilities in the area, but also include              NESHAP framework, the risks were
                                                 facilities in the source category,                      other types of sources (e.g., mobile                  determined to be unacceptable given all
                                                 irrespective of risk (i.e., at all risk levels)         sources), include non-cancer endpoints                of the health information. Standards
                                                 are in the Analysis of Demographic                      (e.g., miscarriages, birth defects,                   were proposed to bring the risk down to
                                                 memorandum. These results indicate                      neurodevelopmental impacts), and                      acceptable levels, not considering costs.
                                                 that the demographic composition of the                 explore other routes of exposure beyond               Once the risks were determined to be at
                                                 population located within close                         inhalation. Commenters claimed this                   acceptable levels, Step 2 of the Benzene
                                                 proximity (10 km) and within the                        could be accomplished if the EPA went                 NESHAP framework requires the EPA to
                                                 overall HEM/AERMOD model domain                         a step further than the community risk                again consider health risks, but also
                                                 (50 km) of the source category emissions                assessment and performed a cumulative                 cost, technical feasibility, and other
                                                 are the same or lower than the                          risk assessment. The commenter                        factors, in determining if any additional
                                                 nationwide average for all communities                  explained that a cumulative risk                      controls should be required to achieve
                                                 of environmental justice concern.                       assessment would take into account                    an ample margin of safety. For the
                                                    Considering risk, the post-control                   chemical and non-chemical stressors,                  SOCMI source category, the EPA
                                                 scenario is expected to reduce cancer                   and how these stressors interact to                   proposed that it was not appropriate to
                                                 incidence across all demographic                                                                              require additional controls (either based
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                                                                                                         promote adverse health effects.
                                                 groups including communities of                            Other commenters asserted that the                 on costs, feasibility, or availability)
                                                 environmental justice concern.                          EPA should strengthen the proposed                    beyond what were proposed to achieve
                                                 Regarding the commenter’s concern                       HON standards to further reduce HAP                   acceptable risks, regardless of health
                                                 about the post-control risk exposure of                 emissions with the goal of eliminating                risks, thus we concluded that the
                                                 people of color, the requirements for the               or reducing the number of people                      proposed standards to address
                                                 HON/SOCMI facilities reduce the                         exposed at or above 1-in-1 million                    unacceptable risks also achieved an
                                                 chronic cancer risks for Black                          cancer risk to the maximum extent                     ample margin of safety.


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                                                    Comment: Some commenters asserted                    unacceptable risk posed by emissions                  costs only in initially determining
                                                 that the community-based risk                           from the SOCMI source category also                   acceptable risk, but in setting an ample
                                                 assessments should be used when                         achieved an ample margin of safety.                   margin of safety, costs are to be
                                                 making regulatory decisions, although                     The development of community-                       considered. The commenters contended
                                                 there may be implementation challenges                  based estimates provides additional                   that if the EPA has authority to conduct
                                                 due to potential limitations in the EPA’s               information about the potential                       subsequent residual risk findings
                                                 statutory authority. A commenter                        cumulative risks in the vicinity of the               (which the commenters dispute), then
                                                 explained that the CAA requires the                     RTR sources, as one means of informing                the entire exercise is a secondary one
                                                 EPA to investigate whether its                          potential risk-based decisions about the              that must take cost into consideration. A
                                                 regulations provide an ‘‘ample margin of                RTR source category in question. We                   commenter explained that under most
                                                 safety’’ to protect public health, and if               recognize that, because these risk                    circumstances under CAA section 112,
                                                 a community risk assessment                             estimates were derived from facility-                 even when as an initial step,
                                                 demonstrates that a proposed rule does                  wide emissions estimates which have                   consideration of cost may be prohibited,
                                                 not provide an ‘‘ample margin of safety’’               not generally been subjected to the same              the CAA requires consideration of cost
                                                 (because of other health stressors in the               level of engineering review as the source             in subsequent steps and Congress has
                                                 community not captured by other risk                    category emission estimates, they may                 constrained circumstances under which
                                                 assessments), then the EPA should                       be less certain than our risk estimates               cost cannot be considered; therefore, the
                                                 revise the proposed rule.                               for the source category in question, but              EPA is acting contrary to Congressional
                                                    Response: Section 112(f)(2) of the                   they remain important for providing                   intent by attempting to expand its
                                                 CAA expressly preserves our use of the                  context as long as their uncertainty is               authority to conduct a risk review more
                                                 two-step process for developing                         taken into consideration in the process.              than once, which is the only way in
                                                 standards to address residual risk and                                                                        which the EPA could attempt to revise
                                                                                                         iv. Statutory Authority To Conduct Risk
                                                 interpret ‘‘acceptable risk’’ and ‘‘ample                                                                     the NESHAP without considering costs.
                                                                                                         Assessment
                                                 margin of safety’’ as developed in the                                                                           Commenters cited the following court
                                                 Benzene NESHAP (54 FR 38044,                               Comment: Commenters argued that                    rulings and other references to support
                                                 September 14, 1989). In the Benzene                     the EPA is obligated to consider costs as             their view that the EPA is obligated to
                                                 NESHAP, the EPA concluded that                          part of their optional second residual                consider costs as part of their optional
                                                 ‘‘With respect to considering other                     risk review. Some commenters said that                second residual risk review:
                                                 sources of risk from benzene exposure                   the EPA’s refusal to consider costs of the               • White Stallion Energy Center, LLC
                                                 and determining the acceptable risk                     controls proposed to reduce EtO                       v. E.P.A., 748 F.3d 1222 (2014)
                                                 level for all exposures to benzene, EPA                 emissions is beyond the EPA’s statutory               (Kavanaugh concurring in part and
                                                 considered this inappropriate because                   authority, and is arbitrary and                       dissenting in part) (citing and quoting
                                                 only the risk associated with the                       capricious. The commenters said that                  RICHARD L. REVESZ & MICHAEL A.
                                                 emissions under consideration are                       unless specifically instructed otherwise,             LIVERMORE, RETAKING
                                                 relevant to the regulation being                        rational decision making requires the                 RATIONALITY 12 (2008) (‘‘For certain
                                                 established and, consequently, the                      consideration of cost. The commenters                 kinds of governmental programs, the use
                                                 decisions being made.’’ (54 FR 38044,                   contended that unless a statute                       of cost-benefit analysis is a requirement
                                                 September 14, 1989). Our authority to                   precludes consideration of costs,                     of basic rationality.’’).
                                                 use the two-step process set forth in the               ‘‘[c]onsideration of cost reflects the                   • Richard J. Pierce, Jr., The
                                                 Benzene NESHAP, and to consider a                       understanding that reasonable                         Appropriate Role of Costs in
                                                 variety of measures of risk to public                   regulation ordinarily requires paying                 Environmental Regulation, 54 ADMIN.
                                                 health, is discussed more thoroughly in                 attention to the advantages and the                   L.REV. 1237, 1247 (2002) (‘‘All
                                                 the preamble to the proposed rule (see                  disadvantages of agency decisions.’’                  individuals and institutions naturally
                                                 88 FR 25080, April 25, 2023). Nothing                   Michigan v. EPA, 576 U.S. 743, 754                    and instinctively consider costs in
                                                 in the CAA or the Benzene NESHAP in                     (2015). Some commenters added that                    making any important decision . . . . [I]t
                                                 any way forecloses us from considering                  the Supreme Court has before held that                is often impossible for a regulatory
                                                 facility-wide risks in making a                         consideration of costs must occur when                agency to make a rational decision
                                                 determination under CAA section                         the EPA finds that it is ‘‘appropriate and            without considering costs in some
                                                 112(f)(2), as such information can                      necessary’’ to regulate emissions under               way.’’)
                                                 constitute relevant health information.                 the CAA. Michigan v. EPA., 576 U.S.                      • the Supreme Court pointed out in
                                                    Although not appropriate for                         743, (2015) (holding costs must be                    Entergy Corp. v. Riverkeeper, Inc., 556
                                                 consideration in the determination of                   considered when determining whether                   U.S. 208, 224 (2009), that the EPA had
                                                 acceptable risk presented by just source                it is ‘‘appropriate and necessary’’ to                long determined that it was
                                                 category emissions, we note that                        regulate stationary sources of fossil-fuel            unreasonable to interpret a statute in a
                                                 contributions to risk from sources                      fired power plants under CAA section                  way ‘‘as requiring use of technology
                                                 outside the source category under                       7412(n)). A commenter opined that                     whose cost is wholly disproportionate
                                                 review could be one of the relevant                     because it would be ‘‘unreasonable to                 to the environmental benefit to be
                                                 factors considered in the ample margin                  read an instruction to an administrative              gained.’’ (quoting In re Public Service
                                                 of safety determination, along with cost                agency to determine whether ‘regulation               Co. of New Hampshire, 1 E.A.D. 332,
                                                 and economic factors, technological                     is appropriate and necessary’ as an                   340 (1977)). While Entergy Corp. was in
                                                 feasibility and other factors. For the                  invitation to ignore costs,’’ similarly, it           the context of the Clean Water Act, the
                                                                                                                                                               same logic applies equally here. Justice
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                                                 SOCMI source category, the EPA                          would be unreasonable here for the EPA
                                                 proposed that it was not appropriate to                 to ignore costs after it discretionally               Breyer reiterated in Entergy Corp.,
                                                 require additional controls (either based               determined that it was ‘‘necessary’’ to               agencies should not read statutes in a
                                                 on costs, feasibility, or availability)                 ‘‘revisit and revise’’ the residual risk              way that forbids cost-benefit
                                                 beyond what were proposed to achieve                    threshold.                                            comparisons when the language does
                                                 acceptable risks, regardless of health                     The commenters said the residual risk              not require doing so. As Justice Breyer
                                                 risks, thus we concluded that the                       provisions, by reference to the Benzene               explained, not only would that be
                                                 proposed standards to address                           NESHAP, allow the EPA to exclude                      ‘‘difficult to enforce’’ because ‘‘every


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                                                 real choice requires a decisionmaker to                 Production (within the P&R I NESHAP)                  consideration costs, energy, safety, and
                                                 weigh advantages against disadvantages,                 source categories and therefore                       other relevant factors, an adverse
                                                 and disadvantages can be seen in terms                  prompted the EPA to reevaluate residual               environmental effect.
                                                 of (often quantifiable) costs,’’ but such               cancer risks caused by EtO and                           It is true that CAA section 112(f)(2)
                                                 ‘‘absolute prohibition would bring about                chloroprene emissions.                                does not contain words declaring that
                                                 irrational results.’’                                      This reevaluation meant that                       consideration of costs in assessing risk
                                                    • the Supreme Court has concluded                    reconsideration of our original decisions             acceptability is prohibited. However,
                                                 that ‘‘[n]o regulation is ‘appropriate’ if it           under CAA section 112(f)(2) for the                   this Benzene NESHAP approach was
                                                 does significantly more harm than                       SOCMI and Neoprene Production                         incorporated by Congress into CAA
                                                 good,’’ and reminds agencies that                       source categories is warranted,                       section 112(f)(2) in the 1990 CAA
                                                 ‘‘[c]onsideration of cost reflects the                  beginning with whether the existing                   amendments and was upheld by the
                                                 understanding that reasonable                           standards reduce risks to acceptable                  United States Court of Appeals for the
                                                 regulation ordinarily requires paying                   levels under the Benzene NESHAP.                      District of Columbia Circuit. See NRDC
                                                 attention to the advantages and the                     Under the Benzene NESHAP, this meant                  v. EPA, 529 F.3d 1077, 1083 (D.C. Cir.
                                                 disadvantages of agency decisions                       going through both the (1) acceptability              2008); Proposed Rule, 88 FR at 25,089.
                                                 [reflecting] the reality that too much                  and (2) ample margin of safety steps of               The approach is both rational and
                                                 wasteful expenditure devoted to one                     the section 112(f)(2) analysis. Only by               reasonable. While the statute does not
                                                 problem may well mean considerably                      going through both analytical steps                   expressly forbid consideration of costs
                                                 fewer resources available to deal                       anew could the EPA account for the                    at step (1), the Benzene NESHAP which
                                                 effectively with other (perhaps more                    corrected scientific understanding of                 the EPA promulgated in response to the
                                                 serious) problems.’’ Michigan v. EPA at                 risks from these HAP and conduct the                  D.C. Circuit’s ruling in NRDC v. EPA,
                                                 752–53 (internal quotations omitted);                   appropriately updated residual risk                   824 F.2d 1146 (D.C. Cir. 1987) (Vinyl
                                                 see also id. (Kagan, J. dissenting) (‘‘Cost             reviews.                                              Chloride),38 and Congress’s
                                                 is almost always a relevant—and                            Under the approach outlined in the                 endorsement of that approach in
                                                 usually, a highly important—factor in                   Benzene NESHAP, National Emissions                    enacting the 1990 Amendments to
                                                 regulation’’)                                           Standards for Hazardous Air Pollutants:               section 112, have long been understood
                                                    Response: The EPA disagrees that it                  Benzene Emissions from Maleic                         to prohibit consideration of costs at step
                                                 was unconditionally obligated to                        Anhydride Plants, Ethylbenzene/                       (1).
                                                 consider costs in this CAA section                      Styrene Plants, Benzene Storage Vessels,                 The new information gained by the
                                                 112(f)(2) risk review. As explained in                  Benzene Equipment Leaks, and Coke                     2010 chloroprene and 2016 EtO IRIS
                                                 response to a comment in section 1.5 of                 By-Product Recovery Plants (54 FR                     inhalation UREs warranted a complete
                                                 the document titled Summary of Public                   38,044, September 14, 1989), the EPA                  re-analysis of both steps for the HON
                                                 Comments and Responses for New                          evaluates residual risk and develops                  and Neoprene Production rules. The
                                                 Source Performance Standards for the                    standards under CAA section 112(f)(2)                 EPA therefore started back at step (1),
                                                 Synthetic Organic Chemical                              in two steps, as some commenters                      acceptability, in which costs are not
                                                 Manufacturing Industry and National                     correctly stated. See Proposed Rule, 88               considered. Starting back at step (1) was
                                                 Emission Standards for Hazardous Air                    FR at 25,089. In step (1), the EPA                    essential to ensure that the risks due to
                                                 Pollutants for the Synthetic Organic                    determines whether risks are acceptable               EtO and chloroprene were being
                                                 Chemical Manufacturing Industry and                     ‘‘consider[ing] all health information,               adequately addressed given the EPA’s
                                                 Group I & II Polymers and Resins                        including risk estimation uncertainty,                new understanding that exposure to EtO
                                                 Industry, which is available in the                     and includes a presumptive limit on                   and chloroprene poses greater risk than
                                                 docket for this rulemaking, the EPA has                 maximum individual lifetime [cancer]                  was previously known. The EPA could
                                                 the authority to conduct an additional                  risk (MIR) of approximately 1 in 10                   not simply adjust the risk review at the
                                                 risk review, particularly where new                     thousand.’’ 54 FR at 38,045. If risks are             step (2) ample margin of safety analysis
                                                 information has come to light making a                  unacceptable, the EPA must determine                  to correct any errors and account for the
                                                 prior risk review unreliable. New                       the emissions standards required to                   new understanding. As explained
                                                 information became available about                      reduce risk to an acceptable level                    elsewhere in this preamble, the EPA has
                                                 both chloroprene and EtO in 2010 36 and                 without considering costs. In step (2),
                                                                                                                                                               analyzed acceptability of risks from
                                                 2016,37 respectively. After the EPA                     the EPA considers whether the
                                                                                                                                                               HON and Neoprene Production
                                                 completed development of the IRIS                       emissions standards provide an ‘‘ample
                                                                                                                                                               processes under step (1) and identified
                                                 inhalation URE for chloroprene in 2010                  margin of safety’’ to protect public
                                                                                                                                                               controls necessary to achieve
                                                 and updated the IRIS inhalation URE for                 health ‘‘in consideration of all health
                                                                                                                                                               acceptability. Moreover, the EtO and
                                                 EtO in 2016, the EPA learned that                       information, including the number of
                                                                                                                                                               chloroprene emission standards for
                                                 chloroprene and EtO were more toxic                     persons at risk levels higher than
                                                                                                                                                               HON and Neoprene Production
                                                 than previously known. These updates                    approximately 1 in 1 million, as well as
                                                                                                                                                               processes that the EPA is promulgating
                                                 came after the first risk reviews were                  other relevant factors, including costs
                                                                                                                                                               are all necessary to reduce risks from
                                                 conducted for the SOCMI and Neoprene                    and economic impacts, technological
                                                                                                         feasibility, and other factors relevant to            HAP emissions from the SOCMI and
                                                                                                         each particular decision.’’ Id. (emphasis             Neoprene Production source categories
                                                   36 U.S. EPA. Toxicological Review of Chloroprene

                                                 (CASRN 126–99–8) In Support of Summary                  added). The EPA must then promulgate                  to acceptable levels, and the EPA is not
                                                 Information on the Integrated Risk Information          or revise emission standards necessary                adopting further source category-
                                                 System (IRIS). September 2010. EPA/635/R–09/
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                                                 010F. Available at: https://iris.epa.gov/static/pdfs/
                                                                                                         to provide an ample margin of safety to                  38 The Vinyl Chloride decision required the EPA
                                                 1021tr.pdf                                              protect public health or determine that               to exercise its section 112 authority (under the pre-
                                                   37 U.S. EPA. Evaluation of the Inhalation             the standards being reviewed provide an               1990 Amendments then in effect) in two steps: first,
                                                 Carcinogenicity of Ethylene Oxide (CASRN 75–21–         ample margin of safety without any                    by determining a ‘‘safe’’ or ‘‘acceptable’’ level of
                                                 8) In Support of Summary Information on the             revisions. After conducting the ample                 risk considering only health factors; and, second, by
                                                 Integrated Risk Information System (IRIS).                                                                    setting a standard that provides an ‘‘ample margin
                                                 December 2016. EPA/635/R–16/350Fa. Available at:
                                                                                                         margin of safety analysis, we consider                of safety,’’ in which costs, feasibility, and other
                                                 https://cfpub.epa.gov/ncea/iris/iris_documents/         whether a more stringent standard is                  relevant factors also may be considered. 824 F.2d
                                                 documents/toxreviews/1025tr.pdf.                        necessary to prevent, taking into                     at 1164–65.



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                                                 specific emission standards under CAA                   process by which it reaches that result               CAA section 112(d)(6) and imposes
                                                 section 112(f)(2) under step (2) of the                 must be logical and rational.’’                       additional controls or work practice
                                                 Benzene NESHAP. Consequently, the                          • It follows that agency action is                 standards that lead to HAP emission
                                                 EPA does not agree that the cases                       lawful only if it rests ‘‘on a                        reductions, risk from those HAP
                                                 commenters cited require that the EPA                   consideration of the relevant factors.’’              emission reductions is inherently
                                                 must or even can consider costs in                      State Farm 463 U.S. at 43, (internal                  addressed to some degree given that
                                                 determining these risk acceptability-                   quotation marks omitted).’’ Michigan,                 reduced emissions will correlate to
                                                 based standards for process emissions                   576 U.S. at 750. Commenters argue one                 some degree of reduced risk. While the
                                                 from these source categories.                           of those factors is cost.                             EPA does not have to directly consider
                                                    Comment: A commenter argued that                        Response: As explained above, cost is              risk in the CAA section 112(d)(6)
                                                 the EPA should not be carrying out a                    considered in one of the two steps that               analysis, risks are lowered when
                                                 cost-blind residual risk review for                     the EPA undertakes during a residual                  additional emission controls are
                                                 chloroprene when other options to                       risk review under 112(f)(2). The residual             imposed as a result of those standards.
                                                 address air toxics risks are available that             risk review is not ‘‘cost-blind.’’                       However, in the case of the SOCMI
                                                 do take costs into consideration. The                      The commenter quotes specific                      and Neoprene Production standards, the
                                                 commenter pointed out that on May 6,                    portions of OAR’s response to OIG,                    risks were so significantly affected by
                                                 2021, the EPA’s Office of Inspector                     which may not give the full picture of                the IRIS values for EtO and chloroprene
                                                 General (OIG) issued Report No. 21–P–                   OAR’s position in its response. For                   that it became clear that a full risk
                                                 0129: EPA Should Conduct New                            completion, the response stated:                      review under CAA section 112(f)(2) was
                                                 Residual and Technology Reviews for                        [I]n those situations where we are                 warranted, rather than relying on
                                                 Chloroprene- and Ethylene July 7, 2023,                 reviewing a NESHAP and there is new                   ancillary risk benefits that might result
                                                 61 Oxide-Emitting Source Categories to                  information on the toxicity of a given                from conducting only a CAA section
                                                 protect Human Health (‘‘OIG Report’’).                  chemical of interest (and the statutorily-            112(d)(6) technology review.
                                                 The commenter said that the EPA’s                       required residual risk review has                     Consequently, under the Benzene
                                                 Office of Air and Radiation (OAR)                       already been completed for that source                NESHAP approach incorporated by
                                                 submitted three responses to the OIG                    category), we will determine how to best              CAA section 112(f), as explained above,
                                                 Report in which they reiterated: (1) That               consider the new risk information in the              we had to re-assess whether the existing
                                                 they are not statutorily required to                    current review. As described in the                   standards were sufficiently protective,
                                                 conduct another residual risk review of                 roadmaps discussed in our response to
                                                 chloroprene and (2) that they have                                                                            and we determined that they did not
                                                                                                         Recommendation 2, we will evaluate                    reduce risks to acceptable levels. The
                                                 multiple options to address risks                       the multiple tools available under the
                                                 associated with chloroprene that do not                                                                       standards adopted in the final
                                                                                                         CAA for addressing risk from emissions                rulemaking are based on what is
                                                 require a cost-blind residual risk review.              of air toxics. Those tools include
                                                 The commenter stated that OAR                                                                                 necessary to reduce risks to acceptable
                                                                                                         conducting a discretionary residual risk              levels under the Benzene NESHAP, and
                                                 explained to OIG that it can consider                   assessment under CAA section 112(f)(2),
                                                 risks during a technology review and                                                                          therefore may not be based on
                                                                                                         conducting a review under CAA section                 consideration of costs. However, our
                                                 that the EPA has ‘‘multiple tools                       112(d)(6), and/or establishing new
                                                 available under the CAA for addressing                                                                        rulemaking analyses do estimate the
                                                                                                         standards for unregulated pollutants if               costs that will result from compliance
                                                 risk from emissions of air toxics’’                     the original NESHAP did not regulate
                                                 besides discretionary residual risk                                                                           with the standards, even if that
                                                                                                         all HAP. We intend to use these tools to              information did not drive regulatory
                                                 reviews under CAA section 112(f).                       reduce risk—consistent with the law
                                                    Other commenters cited various court                                                                       decisions. For details on the
                                                                                                         and in a sequence that provides an                    assumptions and methodologies used in
                                                 rulings to support their view that the                  ample margin of safety to protect public
                                                 EPA should withdraw the risk review                                                                           the costs and impacts analyses, see the
                                                                                                         health.                                               technical documents titled Analysis of
                                                 requirements and repropose with cost                       (Emphasis in original.)39
                                                 consideration under the technology                                                                            Control Options for Process Vents and
                                                                                                            As OAR stated in the above response,               Storage Vessels to Reduce Residual Risk
                                                 review provisions of the CAA:
                                                                                                         there are multiple tools available to
                                                    • As Justice Kagan noted: ‘‘Unless                                                                         of Ethylene Oxide in the SOCMI Source
                                                                                                         ‘‘address’’ risk from emissions of air                Category for Processes Subject to HON;
                                                 Congress provides otherwise, an agency
                                                 acts unreasonably in establishing ‘a                    toxics, and OAR said it would evaluate                Analysis of Control Options for
                                                 standard-setting process that ignore[s]                 those tools, which may include a CAA                  Equipment Leaks to Reduce Residual
                                                 economic considerations.’ ’’ Id. (Kagan,                section 112(d)(6) review. But the EPA                 Risk of Ethylene Oxide in the SOCMI
                                                 J. dissenting) (quoting Industrial Union                did not say that it commonly                          Source Category for Processes Subject to
                                                 Dep’t v. American Petroleum Institute,                  ‘‘considers’’ risk in a CAA section                   HON; Analysis of Control Options for
                                                 448 U.S. 607, 670 (1980) (Powell, J.,                   112(d)(6) review, or that risk is a factor            Heat Exchange Systems to Reduce
                                                 concurring in part and concurring in                    that must drive a regulatory decision                 Residual Risk of Ethylene Oxide in the
                                                 judgment)).’’ Commenters argue that the                 under CAA section 112(d)(6). The EPA                  SOCMI Source Category for Processes
                                                 approach that Justice Kagan warned                      considers the public health and                       Subject to HON; Analysis of Control
                                                 against is exactly what the EPA has                     environmental risks from HAP                          Options for Wastewater Streams to
                                                 done here.                                              emissions during the CAA section 112(f)               Reduce Residual Risk of Ethylene Oxide
                                                    • the EPA has acted unreasonably,                    phase of regulation, when the EPA                     in the SOCMI Source Category for
                                                 particularly as ‘‘Federal administrative                considers any residual risk after                     Processes Subject to HON; Analysis of
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                                                 agencies are required to engage in                      technology-based CAA section 112(d)(2)                Control Options for Flares to Reduce
                                                 ‘‘reasoned decision-making.’’ Allentown                 standards are implemented. However,                   Residual Risk of Ethylene Oxide in the
                                                 Mack Sales & Service, Inc. v. NLRB, 522                 when the EPA revises standards under                  SOCMI Source Category for Processes
                                                 U.S. 359, 374(1998) (internal quotation                   39 EPA OAR, Response #3 to OIG Final Report at
                                                                                                                                                               Subject to HON; Analysis of Control
                                                 marks omitted). ‘‘Not only must an                      2–3 (June 1, 2022) (available at: https://
                                                                                                                                                               Options for Process Vents and Storage
                                                 agency’s decreed result be within the                   www.epa.gov/system/files/documents/2022-06/_          Vessels to Reduce Residual Risk of
                                                 scope of its lawful authority, but the                  epaoig_21-P-0129_Agency_Response2.pdf).               Chloroprene Emissions at P&R I


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                                                 Affected Sources Producing Neoprene;                    the EPA analyzing other HAP during                    amendments to the HON also address
                                                 and Analysis of Control Options for                     this risk review. We have concluded                   the EPA review of additional control
                                                 Wastewater Streams to Reduce Residual                   that unacceptable risk posed by                       technologies, beyond those analyzed in
                                                 Risk of Chloroprene From Neoprene                       emissions from these source categories                the technology review conducted for the
                                                 Production Processes Subject to P&R I                   is driven by emissions of EtO and                     HON, focusing on emissions sources
                                                 (see Docket Item No. EPA–HQ–OAR–                        chloroprene and we imposed additional                 emitting EtO that contribute to
                                                 2022–0730–0074, –0003, –0071, –0087,                    standards under CAA section 112(f)(2)                 unacceptable risk.’’ 88 FR at 25084.
                                                 –0070, –0083 and –0092, respectively).                  to reduce emissions of EtO and                           The EPA also explained that ‘‘even
                                                    Comment: A commenter argued that                     chloroprene to an acceptable level.                   though we do not have a mandatory
                                                 the Agency arbitrarily fails to properly                   Comment: A commenter argued that                   duty to conduct repeated residual risk
                                                 implement the authority it claims to                    given the EPA’s failure to articulate a               reviews under CAA section 112(f)(2), we
                                                 possess. The commenter pointed out                      legal basis for its position to conduct a             have the authority to revisit any
                                                 that the EPA does not limit its review                  second risk review violates the Agency’s              rulemaking if there is sufficient
                                                 to chloroprene and EtO (e.g., in                        obligation to set forth in a proposed rule            evidence that changes within the
                                                 presenting the results of its risk                      ‘‘the major legal interpretations and                 affected industry or significant new
                                                 assessment, the EPA concludes that                      policy considerations underlying the                  scientific information suggesting the
                                                 maleic anhydride, chlorine, acrylic acid,               proposed rule’’ according to CAA                      public is exposed to significant
                                                 and acrylonitrile present the highest                   section 307(d)(3)(c), the commenter did               increases in risk as compared to the
                                                 acute inhalation risks for the SOCMI                    not have adequate notice or an                        previous risk assessments prepared for
                                                 source category) even though the EPA                    opportunity to comment on this key                    earlier rulemakings.’’ 88 FR at 25090.
                                                 claims a second residual risk review is                 issue, which plainly is of central                    See also 88 FR at 25111 (‘‘Considering
                                                 only warranted for chloroprene and EtO                  relevance to the rule. The commenter                  all of the health risk information and
                                                 because of the IRIS reassessments. The                  asserted that the EPA must supplement                 factors discussed above, particularly the
                                                 commenter claimed that the EPA’s                        the current proposal to provide the                   high MIR for both the SOCMI and
                                                 approach is arbitrary and unfounded                     required legal analysis and provide a                 Neoprene Production source categories,
                                                 because the Agency asserts no basis for                 reasonable opportunity for public                     the EPA proposes that the risks for both
                                                 conducting a new risk review for any                    comment.                                              source categories are unacceptable. . . .
                                                 pollutants other than chloroprene and                      Response: The EPA explained in the                 [W]hen risks are unacceptable, under
                                                 EtO.                                                    proposed rule that we were undertaking                the 1989 Benzene NESHAP approach
                                                    Response: As explained above in                      an updated residual risk review for the               and CAA section 112(f)(2)(A), the EPA
                                                 response to another comment in this                     SOCMI and Neoprene Production                         must first determine the emissions
                                                 section of this preamble, new                           (within the P&R I NESHAP) source                      standards necessary to reduce risk to an
                                                 information about risks of chloroprene                  categories ‘‘due to the development of                acceptable level, and then determine
                                                 and EtO exposure has come to light,                     the EPA’s Integrated Risk Information                 whether further HAP emissions
                                                 warranting an updated residual risk                     System (IRIS) inhalation unit risk                    reductions are necessary to provide an
                                                 review for the SOCMI and Neoprene                       estimate (URE) for chloroprene in 2010’’              ample margin of safety to protect public
                                                 Production (within the P&R I NESHAP)                    and because ‘‘in 2016, the EPA updated                health or to prevent, taking into
                                                 source categories. This risk review was                 the IRIS inhalation URE for EtO.’’ 88 FR              consideration costs, energy, safety, and
                                                 conducted in accordance with                            at 25083–84.                                          other relevant factors, an adverse
                                                 longstanding, congressionally and                          The EPA explained that, due to the                 environmental effect.’’).
                                                 judicially approved steps laid out in the               updated chloroprene information, ‘‘the                   Finally, the scientific and technical
                                                 1989 Benzene NESHAP. Those steps                        EPA conducted a CAA section 112(f)                    bases for the EPA’s proposed action are
                                                 account for the risk due to emissions of                risk review for the SOCMI source                      voluminously presented in the
                                                 all HAP from a source category and the                  category and Neoprene Production                      numerous supporting memoranda
                                                 risk review is not limited to one or two                source category. In the first step of the             contained in the public docket for the
                                                 HAP solely because updated risk                         CAA section 112(f)(2) determination of                proposed rulemaking. See, e.g., the
                                                 information is available for only two                   risk acceptability for this rulemaking,               documents titled Residual Risk
                                                 HAP. Therefore, in order to make risk                   the use of the 2010 chloroprene risk                  Assessment for the SOCMI Source
                                                 acceptability and ample margin of safety                value resulted in the EPA identifying                 Category in Support of the 2023 Risk
                                                 determinations for each source category,                unacceptable residual cancer risk                     and Technology Review Proposed Rule;
                                                 we assessed risks for all HAP emitted by                caused by chloroprene emissions from                  Residual Risk Assessment for the
                                                 the SOCMI and Neoprene Production                       affected sources producing neoprene                   Polymers & Resins I Neoprene
                                                 source categories.                                      subject to P&R I[.] Consequently, the                 Production Source Category in Support
                                                    Importantly, though, the EPA is only                 proposed amendments to P&R I address                  of the 2023 Risk and Technology Review
                                                 imposing new standards under CAA                        the EPA review of additional control                  Proposed Rule; Analysis of Control
                                                 section 112(f)(2) to control EtO and                    technologies, beyond those analyzed in                Options for Process Vents and Storage
                                                 chloroprene emissions. The EPA is not                   the technology review conducted for                   Vessels to Reduce Residual Risk of
                                                 imposing CAA section 112(f)(2)                          P&R I, for one affected source producing              Ethylene Oxide in the SOCMI Source
                                                 standards to control maleic anhydride,                  neoprene and contributing to                          Category for Processes Subject to HON;
                                                 chlorine, acrylic acid, or acrylonitrile in             unacceptable risk.’’ 88 FR at 25083–84.               Analysis of Control Options for
                                                 this rulemaking and we found no new                        Similarly, the EPA explained that,                 Equipment Leaks to Reduce Residual
                                                 information regarding the health effects                due to updated EtO information, ‘‘In the
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                                                                                                                                                               Risk of Ethylene Oxide in the SOCMI
                                                 associated with these pollutants (like                  first step of the CAA section 112(f)(2)               Source Category for Processes Subject to
                                                 the new information on chloroprene and                  determination of risk acceptability for               HON; Analysis of Control Options for
                                                 EtO) that would lead us to amend                        this rulemaking, the use of the updated               Heat Exchange Systems to Reduce
                                                 standards for these pollutants under                    2016 EtO risk value resulted in the EPA               Residual Risk of Ethylene Oxide in the
                                                 CAA section 112(f)(2). Commenters do                    identifying unacceptable residual cancer              SOCMI Source Category for Processes
                                                 not provide any explanation, therefore,                 risk driven by EtO emissions from HON                 Subject to HON; Analysis of Control
                                                 of how they are affected or harmed by                   processes. Consequently, the proposed                 Options for Wastewater Streams to


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                                                 Reduce Residual Risk of Ethylene Oxide                  d. HON Rule Changes Related To EtO                    or in streams at the inlet to control
                                                 in the SOCMI Source Category for                        i. Process Vents and Storage Vessels in               devices.
                                                 Processes Subject to HON; Analysis of                                                                            Response: We acknowledge a
                                                                                                         EtO Service
                                                 Control Options for Flares to Reduce                                                                          commenter’s support of the definition
                                                 Residual Risk of Ethylene Oxide in the                     Comment: A commenter said that                     for ‘‘in ethylene oxide service’’ for
                                                 SOCMI Source Category for Processes                     they supported the EPA’s proposed                     process vents and the procedures for
                                                 Subject to HON; Analysis of Control                     definition for ‘‘in ethylene oxide                    owners and operators to demonstrate
                                                 Options for Process Vents and Storage                   service’’ for process vents and the                   that process vent does, or does not, meet
                                                 Vessels to Reduce Residual Risk of                      sampling and analysis procedures for                  the definition. However, we are not
                                                 Chloroprene Emissions at P&R I                          owners and operators to demonstrate                   revising the definition in the final rule
                                                 Affected Sources Producing Neoprene;                    that each process vent does, or does not,             as requested by other commenters such
                                                 Analysis of Control Options for                         meet the definition. However, other                   that it applies on an annual average
                                                 Wastewater Streams to Reduce Residual                   commenters requested the following                    basis. We also disagree with the
                                                 Risk of Chloroprene From Neoprene                       clarifications or revisions to the                    commenters’ request to revise the
                                                 Production Processes Subject to P&R I;                  proposed text:                                        concentration threshold for process
                                                 and Analysis of Demographic Factors                        • the EPA should revise the                        vents from 1 ppmv to 3 ppmv or greater
                                                 for Populations Living Near Polymers                    definition of ‘‘in ethylene oxide service’’           and only require additional control of
                                                 and Resins I and Polymer and Resins II                  and the corresponding procedures in 40                process vents that total 100 pounds per
                                                 Facilities (see Docket Item No. EPA–                    CFR 63.109(a) for determining whether                 year or more on an affected source basis.
                                                 HQ–OAR–2022–0730–0085, –0095,                           a process vent is in EtO service so that                 While we agree that the EtO
                                                 –0074, –0003, –0071, –0087, –0070,                      the corresponding 1 ppmv cut-off for                  concentration in the process or the vent
                                                 –0083, –0092, and –0060, respectively).                 process vents in the definition of ‘‘in               stream can vary over time depending on
                                                 Also see the documents titled Analysis                  ethylene oxide service’’ applies on an                what material is being produced, we
                                                 of Demographic Factors for Populations                  annual average basis. The commenter                   consider the corresponding 1 ppmv EtO
                                                 Living Near Hazardous Organic                           provided numerous examples showing                    cut-off for process vents reasonable in
                                                 NESHAP (HON) Operations—Final;                          that EtO concentration in the process or              terms of being measurable and
                                                 Analysis of Demographic Factors for                     the vent stream can vary over time                    quantifiable, and also appropriate for
                                                 Populations Living Near Hazardous                       depending on what material is being                   the vent stream characteristics we
                                                 Organic NESHAP (HON) Operations:                        produced.                                             intended to regulate that resulted in risk
                                                                                                                                                               reductions. We acknowledge every
                                                 Whole Facility Analysis—Final;                             • the EPA should clarify that the 5 lb/
                                                                                                                                                               facility is different. Some facilities may
                                                 Analysis of Demographic Factors for                     yr EtO mass emission rate limit for
                                                                                                                                                               pose less risks than others, but in a
                                                 Populations Living Near Neoprene                        combined process vents as specified in
                                                                                                                                                               densely populated area with a nearby
                                                 Production Operations—Final; and                        40 CFR 63.113(j)(2), 40 CFR 63.124(a)(4)
                                                                                                                                                               receptor and under specific conditions,
                                                 Analysis of Demographic Factors for                     and (a)(4)(iii), and within the definition
                                                                                                                                                               the risks could none-the-less be
                                                 Populations Living Near Neoprene                        of ‘‘in ethylene oxide service’’ should be
                                                                                                                                                               unacceptable. In order to be protective
                                                 Production Operations: Whole Facility                   on a CMPU-by-CMPU basis.
                                                                                                                                                               of public health, we took a conservative
                                                 Analysis—Final, which are available in                     • the EPA should clarify at 40 CFR                 approach.
                                                 the docket for this rulemaking.                         63.109(a) that the location to measure                   We note that several facilities
                                                   The EPA clearly did articulate its                    the EtO concentration for process vents               reported (in response to our CAA
                                                 legal position in a manner that was                     should be after the last recovery device              section 114 request) EtO measurements
                                                 sufficient to provide the public a                      (if any recovery devices are present) but             below 1 ppm; one of these
                                                 meaningful opportunity to comment on                    prior to the inlet of any control device              measurements is equivalent to greater
                                                 the basis for its action, as evidenced by               that is present and prior to release to the           than 0.5 lb/hr and all other
                                                 the EPA’s receipt of comments from                      atmosphere to be consistent with                      measurements below 1 ppm exhibited
                                                 several commenters discussing the                       requirements elsewhere in the HON                     mass rates less (sometimes much less)
                                                 EPA’s use of its CAA section 112(f)(2)                  (e.g., see 40 CFR 63.115(a)).                         than 0.02 lb/hr. Given that there do not
                                                 authority to conduct an updated                            Commenters requested that the EPA                  appear to be detection limit challenges
                                                 residual risk review and discussing the                 revise the concentration threshold for                based on this recent stack test data, we
                                                 merits of the risk review. As explained                 process vents from 1 ppmv to 3 ppmv                   disagree with the commenters’ assertion
                                                 in this section, commenters argued on                   or greater and only require additional                that there is a need to alleviate detection
                                                 both sides: that the EPA did not have                   control of process vents that total 100               limit challenges. Additionally, the 1
                                                 authority to conduct the risk review in                 pounds per year or more on an affected                ppmv undiluted EtO threshold is also
                                                 this rule, or that the EPA must conduct                 source basis. The commenters argued                   used in the Miscellaneous Organic
                                                 additional risk reviews during every                    these thresholds would alleviate                      Chemical Manufacturing NESHAP
                                                 112(d)(6) technology review. (See other                 detection limit challenges; and that                  (MON) and we are not aware of any
                                                 responses above in this section of this                 process vents with concentrations and                 detection limit issues within that source
                                                 preamble.) While comments may not                       mass emissions rates below these                      category.
                                                 provide the only evidence that a point                  thresholds do not significantly                          With regard to a commenter’s request
                                                 was adequately noticed, ‘‘insightful                    contribute to unacceptable risk. A                    that the 5 lb/yr EtO mass threshold for
                                                 comments may be reflective of notice                    commenter pointed out that moisture                   combined process vents be on a CMPU-
                                                 and may be adduced as evidence of its                   and interferents will prevent obtaining               by-CMPU basis, we agree that this was
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                                                 adequacy.’’ Horsehead Dev. Co. v.                       measurements down to 1 ppmv in                        our intent; therefore, we have clarified
                                                 Browner, 16 F.3d 1246 (D.C. Cir. 1994);                 certain streams such as those associated              this in the final rule at 40 CFR
                                                 Nat’l Rest. Ass’n v. Solis, 870 F. Supp.                with vacuum distillation operations                   63.113(j)(2), 40 CFR 63.124(a)(4) and
                                                 2d 42, 52–53 & n.6 (D.D.C. 2012). With                  where motive force is provided by steam               (a)(4)(iii), and within the definition of
                                                 thoughtful comments from both sides of                  jet exhaust, and the emission point                   ‘‘in ethylene oxide service.’’ Finally, as
                                                 the issue received here, the EPA has met                contains primarily steam with                         requested by a commenter, we have
                                                 this test.                                              potentially trace levels of organic HAP,              clarified at 40 CFR 63.109(a)(3) that the


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                                                 sampling site shall be after the last                   ‘‘storage vessel’’ in this section does not           docket item EPA–HQ–OAR–2022–0730–
                                                 recovery device (if any recovery devices                apply for storage vessels that may be in              0074 is an error. In other words, we are
                                                 are present) but prior to the inlet of any              ethylene oxide service.’’ Commenters                  finalizing the red-line strike-out version
                                                 control device that is present and prior                added that the EPA should properly                    of the proposed rule text such that the
                                                 to release to the atmosphere.                           justify the 0.1 percent by weight                     definition does include the phrase: ‘‘The
                                                    Comment: Commenters said that they                   threshold, or revise the threshold to                 exemption for ‘‘vessels storing organic
                                                 supported the EPA’s proposed                            eliminate unnecessary additional                      liquids that contain organic hazardous
                                                 definition for ‘‘in ethylene oxide                      control of sources that do not pose                   air pollutants only as impurities’’ listed
                                                 service’’ for storage vessels and the                   unacceptable risk. The commenters                     in the definition of ‘‘storage vessel’’ in
                                                 sampling and analysis procedures for                    asserted that the risks attributable to               this section does not apply for storage
                                                 owners and operators to demonstrate                     storage vessels are those storing high                vessels that may be in ethylene oxide
                                                 that each storage vessel does, or does                  concentrations of EtO, not vessels                    service.’’ While we believe that
                                                 not, meet the definition. However, some                 storing low concentration materials,                  emissions from vessels storing impurity
                                                 commenters requested the following                      making the EPA’s proposed 0.1 percent                 levels of EtO are very low and do not
                                                 clarifications or revisions to the                      by weight threshold arbitrary. To                     result in additional risk, we are not
                                                 proposed text:                                          address the unnecessary burden                        providing additional constraints or
                                                    • the EPA should revise the                          imposed by the EPA’s proposal, the                    clarifications on the determination of
                                                 definition of ‘‘in ethylene oxide service’’             commenters requested the EPA revise                   the threshold (e.g., providing averaging
                                                 so that the corresponding the 0.1                       its analysis such that only those storage             times) because we anticipate that the
                                                 percent by weight threshold for storage                 vessels that significantly contribute to              Emergency Planning and Community
                                                 vessels in the definition of ‘‘in ethylene              risk (i.e., those storing 100 percent EtO)            Right-to-Know Act and supplier
                                                 oxide service’’ applies on an annual                    be subject to additional control                      notifications will generally be the basis
                                                 average basis. The commenter pointed                    requirements for EtO.                                 for applicability determinations.
                                                 out that this is already allowed for                       Response: The EPA acknowledges a                      Also, we disagree with the
                                                 equipment leaks at 40 CFR 63.109(c)(1);                 commenter’s support of the definition                 commenters’ request to add more
                                                 therefore, the EPA could amend the                      for ‘‘in ethylene oxide service’’ for                 flexibility to the alternative approach in
                                                 language in 40 CFR 63.109(b) to                         storage vessels and the procedures for                40 CFR 63.109(b)(2) for storage vessels
                                                 consistent with 40 CFR 63.109(c).                       owners and operators to demonstrate                   to be consistent with the equipment
                                                    • the EPA should add more flexibility                that each storage vessel does, or does                leaks provision at 40 CFR 63.109(c). We
                                                 to the alternative approach in 40 CFR                   not, meet the definition. However, we                 believe the rule is already clear
                                                 63.109(b)(2) to allow for good                          are not revising the definition in the                regarding determining whether storage
                                                 engineering judgment and process                        final rule as requested by other                      vessels are ‘‘in ethylene oxide service.’’
                                                 knowledge similar to the language in 40                 commenters such that it applies on an                 In order to determine the requirements
                                                 CFR 63.109(c)(2) for equipment leaks.                   annual average basis; these commenters                for storage vessels in EtO service,
                                                    • the EPA should revise the                          did not provide justification for why                 facilities must look at both the
                                                 definition to refer to ‘‘the procedures                 this revision is needed. We are                       definition of ‘‘in ethylene oxide service’’
                                                 specified in § 63.109’’ instead of                      finalizing the definition as proposed                 and the requirements in 40 CFR 63.109
                                                 ‘‘sampling and analysis’’ to reduce                     such that a storage vessel is considered              together. The definition of ‘‘in ethylene
                                                 confusion and eliminate the potential                   in EtO service anytime it is storing a                oxide service’’ lets the owner or
                                                 safety risks/costs of unnecessary                       liquid that is at least 0.1 percent by                operator designate a storage vessel based
                                                 sampling; it is not until proposed 40                   weight of (or 1,000 ppmw) EtO. We                     on process knowledge; however, if an
                                                 CFR 63.109(b)(2) that the reader is                     consider the 0.1 percent by weight of                 owner or operator wants to say a storage
                                                 informed that one is allowed to use                     EtO threshold reasonable in terms of                  vessel is not in EtO service, they must
                                                 information specific to the stored fluid                being measurable and quantifiable, and                use the procedures in 40 CFR 63.109(b).
                                                 to calculate the concentration of E.O.,                 also appropriate for the vent stream                  The rule at 40 CFR 63.109(b)(2) already
                                                 which does not necessitate sampling.                    characteristics we intended to regulate               explicitly allows an avenue for an
                                                    A commenter also pointed out that                    that resulted in risk reductions. We                  owner or operator to calculate the
                                                 the EPA’s proposed definition does not                  acknowledge every facility is different.              concentration of EtO of the fluid stored
                                                 comport with the definition discussed                   Some facilities may pose less risks than              in the storage vessels if information
                                                 in the Agency’s memorandum which                        others, but in a densely populated area               specific to the fluid stored is available
                                                 states: ‘‘For storage vessels of any                    with a nearby receptor and under                      which includes data based on safety
                                                 capacity and vapor pressure, ‘‘in                       specific conditions, the risks could                  data sheets.
                                                 ethylene oxide service’’ means that the                 none-the-less be unacceptable. In order                  With regard to a commenter’s request
                                                 concentration of ethylene oxide within                  to be protective of public health, we                 to change the phrasing of ‘‘sampling and
                                                 the tank liquid is greater than or equal                took a conservative approach. We note                 analysis is performed as specified in
                                                 to 1 ppmw. These definitions exclude                    that a 1,000 ppmw threshold                           § 63.109’’ to ‘‘the procedures specified
                                                 ethylene oxide that is present as an                    corresponds to the chemical inventory                 in § 63.109 are performed’’ within the
                                                 impurity . . .’’ (see Docket Item No.                   reporting requirements under the                      definition of ‘‘in ethylene oxide service’’
                                                 EPA–HQ–OAR–2022–0730–0074). The                         Emergency Planning and Community                      for storage vessels, we agree this
                                                 commenter requested that the EPA                        Right-to-Know Act and other supplier                  suggested language is more clear and
                                                 confirm the threshold for storage vessels               notification requirements, so facilities              have revised it in the final rule.
                                                 is 0.1 percent by weight, as stated in the                                                                       Comment: A commenter said they
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                                                                                                         should have knowledge of the amount
                                                 red-line strike-out version of the                      of EtO stored from these sources.                     support the EPA’s proposed rule text at
                                                 proposed rule text, and that the                           Regarding the inconsistency between                40 CFR 63.113(j) that requires owners
                                                 proposed definition should not include                  language used in docket item EPA–HQ–                  and operators to reduce emissions of
                                                 the phrase: ‘‘The exemption for ‘‘vessels               OAR–2022–0730–0074 versus language                    EtO from process vents in EtO service
                                                 storing organic liquids that contain                    used in the red-line strike-out version of            by either: (1) Venting emissions through
                                                 organic hazardous air pollutants only as                the proposed rule text, we have                       a closed-vent system to a control device
                                                 impurities’’ listed in the definition of                determined that the language used in                  that reduces EtO by greater than or


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                                                 equal to 99.9 percent by weight, to a                   chloroprene by 99.9 percent. The                        98 percent 41 (i.e., we prohibit the use of
                                                 concentration less than 1 ppmv for each                 commenters asserted that if the EPA                     flares to control chloroprene in the
                                                 process vent, or to less than 5 lb/yr for               were to finalize its proposal to allow                  Neoprene Production source category)
                                                 all combined process vents; or (2)                      HON sources to use flares to reduce EtO                 because dioxins and furans can be
                                                 venting emissions through a closed-vent                 from process vents and storage vessels                  formed when chlorinated compounds
                                                 system to a flare meeting the proposed                  (and thus allow destruction efficiencies                (i.e., chloroprene) are present and
                                                 operating and monitoring requirements                   lower than 99.9 percent), this differing                combusted, and the more consistent
                                                 for flares in NESHAP subpart F. The                     treatment of risk-driving HAPs from                     combustion of non-flare controls such as
                                                 commenter also said they support the                    HON and P&R I vents and storage                         thermal oxidizers is more appropriate
                                                 EPA’s proposed rule text at 40 CFR                      vessels would render the Agency’s final                 than flares to reduce dioxin and furan
                                                 63.119(a)(5) that requires owners and                   rule arbitrary and capricious.40                        formation. Dioxin and furan formation
                                                 operators to reduce emissions of EtO                                                                            is not a concern when combusting EtO
                                                                                                            Response: We acknowledge a
                                                 from storage vessels in EtO service by                                                                          in a flare.
                                                 either: (1) Venting emissions through a                 commenter’s support for 40 CFR
                                                 closed-vent system to a control device                  63.113(j) and 40 CFR 63.119(a)(5). We                   ii. Equipment Leaks in EtO Service
                                                 that reduces EtO by greater than or                     also disagree with other commenters’
                                                                                                                                                                    Comment: A commenter said that
                                                 equal to 99.9 percent by weight or to a                 assertions that the EPA must prohibit
                                                                                                                                                                 they supported the EPA’s proposed
                                                 concentration less than 1 ppmv for each                 the use of flares to control EtO from
                                                                                                                                                                 definition for ‘‘in ethylene oxide
                                                 storage vessel vent; or (2) venting                     process vents and storage vessels. In the
                                                                                                                                                                 service’’ for equipment leaks and the
                                                 emissions through a closed-vent system                  proposed rule, we recognized flares
                                                                                                                                                                 sampling and analysis procedures for
                                                 to a flare meeting the proposed                         cannot achieve 99.9 percent EtO
                                                                                                                                                                 owners and operators to demonstrate
                                                 operating and monitoring requirements                   reduction and proposed an EtO flare
                                                                                                                                                                 that process equipment does, or does
                                                 for flares in NESHAP subpart F.                         load limit. We also noted that as part of               not, meet the definition. However, some
                                                    However, other commenters argued                     the CAA section 114 request, six                        commenters requested the EPA revise
                                                 that the EPA should disallow the use of                 facilities measured EtO emissions from                  the 0.1 percent by weight threshold to
                                                 flares to control EtO from process vents                their EtO emission points and none of                   5.0 percent by weight.
                                                 and storage vessels given that flares can               these six facilities currently use a flare
                                                                                                                                                                    A commenter argued that most of EtO
                                                 only reduce EtO emissions by, at most,                  to control EtO emissions from process
                                                                                                                                                                 emissions from equipment leaks come
                                                 98.6 percent; and therefore, cannot meet                vents or storage vessels. Even so, our
                                                                                                                                                                 from piping that has an EtO
                                                 the proposed 99.9 percent by weight                     modeling file does include several other
                                                                                                                                                                 concentration of 5.0 percent by weight
                                                 EtO reduction requirement. The                          HON facilities that do use flares to                    or higher. The commenter contended
                                                 commenters contended that the EPA                       control process vents and storage                       that expanding the new regulatory
                                                 arbitrarily and unlawfully assumes HON                  vessels that emit EtO. Therefore, we                    provisions to streams containing EtO
                                                 sources will use non-flare control                      accounted for these flares operating at                 between 0.1 and 5.0 percent by weight
                                                 devices instead of flares to reduce EtO                 98 percent EtO reduction in our risk                    will result in a much more stringent
                                                 from process vents and storage vessels.                 assessment, proposed an EtO flare load                  LDAR program for components that are
                                                 The commenters added that the                           limit, and determined that it is not                    primarily in ethylene, methane,
                                                 Agency’s supposition that it is ‘‘likely’’              necessary for flares to achieve 99.9                    nitrogen, and carbon dioxide (CO2)
                                                 that sources will not use flares given the              percent EtO reduction in order to reduce                service, and will have a minimal to
                                                 flare cap provides no rational or                       risk to an acceptable level and provide                 negligible impact on reducing the
                                                 substantial basis for assuming 99.9                     an ample margin of safety to protect                    fugitive emissions of EtO and the
                                                 percent destruction of EtO from process                 public health (provided that owners and                 resulting residual risk. The commenter
                                                 vents and storage vessels. A commenter                  operators still comply with the entire                  also recommended that the EPA revise
                                                 contended that the difference between                   suite of EtO control requirements that                  40 CFR 63.109(c)(1) and (2) to reflect the
                                                 using a flare and a non-flare control                   we are finalizing in the rule). However,
                                                 device to reduce emissions of EtO from                                                                          5.0 percent by weight threshold instead
                                                                                                         in response to a comment addressed in                   of the 0.1 percent by weight threshold.
                                                 process vents and storage vessels could                 section IV.A.3.d.v of this preamble we
                                                 be significant, and provided an example                                                                            Other commenters asserted that the
                                                                                                         are not including an EtO flare load limit               EPA does not explain why a 0.1 percent
                                                 using an emissions inventory from 2021                  in the final rule; and we determined that
                                                 for Indorama’s Port Neches plant                                                                                by weight threshold of EtO in
                                                                                                         risks are acceptable for flares operating               equipment presents unacceptable risk;
                                                 showing this. A commenter asserted                      at 98 percent EtO reduction and flares
                                                 that requiring HON sources to use non-                                                                          the commenters said based on their
                                                                                                         operating at 98 percent EtO reduction                   revised risk modeling assessment
                                                 flare controls (and disallowing the use                 provide an ample margin of safety to
                                                 of flares) to control EtO from process                                                                          (including their recommended revisions
                                                                                                         protect public health, without the need                 to the HEM4 modeling file inputs such
                                                 vents and storage vessels would not                     for an EtO flare load limit.
                                                 result in additional costs beyond those                                                                         as revised flare parameterization,
                                                 that the EPA has already predicted,                        Also, to the commenter’s assertion                   updates provided by companies, and
                                                 since the EPA’s cost-effectiveness                      that the EPA is giving differing                        removal of one time/infrequent release
                                                 analysis assumed that all 12 HON                        treatment between HON process vents                     events), equipment containing less than
                                                 facilities that need to control EtO from                and storage vessels and P&R I process                   5 percent EtO does not significantly
                                                 process vents and storage vessels to                    vents and storage vessels, we note that                 contribute to risk, nor is it cost-effective
                                                                                                         in the final rule, we require use of non-               when considered in the context of an
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                                                 reduce risk to acceptable levels would
                                                 install thermal oxidizers.                              flare controls to reduce chloroprene by                 ample margin of safety analysis.
                                                    The commenters added that unlike
                                                 the HON, the EPA in its risk proposal                     40 The commenter cited Transactive Corp. v.             41 In response to a comment in section IV.A.3.e.i

                                                 for Neoprene Production processes                       United States, 91 F.3d 232, 237 (D.C. Cir. 1996) (‘‘A   of this preamble, we are revising the performance
                                                                                                         long line of precedent has established that an          standard for process vents and storage vessels in
                                                 subject to the P&R I NESHAP                             agency action is arbitrary when the agency offered      chloroprene service (from a 99.9 percent by weight
                                                 (appropriately) proposes to require use                 insufficient reasons for treating similar situations    reduction requirement as proposed to a 98 percent
                                                 of non-flare controls that reduce                       differently.’’).                                        by weight reduction requirement in the final rule).



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                                                    A commenter added that the EPA                       analysis in identifying what standards                   Commenters also noted additional
                                                 should revise the definition to refer to                are needed to reduce unacceptable risk                consequences of more frequent
                                                 ‘‘the procedures specified in § 63.109’’                to an acceptable level, and at proposal,              shutdowns including additional wear
                                                 instead of ‘‘sampling and analysis’’ to                 and in the final rule, we determined that             on rotating equipment, and reduced
                                                 reduce confusion and eliminate the                      prior to application of the control                   catalyst life which could result in
                                                 potential safety risks/costs of                         requirements being finalized, the risk                emission increases and waste
                                                 unnecessary sampling; it is not until                   was unacceptable. It is only if the EPA               generation.
                                                 proposed 40 CFR 63.109(c)(2) that the                   adopts more stringent standards to                       A commenter argued that eliminating
                                                 reader is informed that one is allowed                  further reduce emissions and reduce                   delay of repair would generally require
                                                 to use engineering judgment to                          risks below acceptable levels if needed               a first repair attempt within 5 days of
                                                 determine the EtO concentration of the                  to provide an ample margin of safety to               detection, which is an infeasibly short
                                                 process fluid, which does not                           protect public health, at the second step             amount of time to safely shutdown one
                                                 necessitate sampling.                                   of the residual risk analysis, that costs             process unit, much less multiple
                                                    Response: The EPA acknowledges a                     may be considered among other relevant                integrated units. The commenter stated
                                                 commenter’s support of the definition                   factors.                                              that delay of repair provides facilities
                                                 for ‘‘in ethylene oxide service’’ for                      With regard to a commenter’s request               with time needed to plan and prepare
                                                 equipment leaks and the procedures for                  to change the phrasing of ‘‘sampling and              for a shutdown, which minimizes the
                                                 owners and operators to demonstrate                     analysis is performed as specified in                 safety risks that inevitably accompany
                                                 that process equipment does, or does                    § 63.109’’ to ‘‘the procedures specified              shutdowns and startups. The
                                                 not, meet the definition. However, we                   in § 63.109 are performed’’ within the                commenter added that being required to
                                                 reject other commenters’ requests to                    definition of ‘‘in ethylene oxide service’’           shutdown abruptly and more frequently
                                                 revise the 0.1 percent by weight                        for equipment leaks, we agree this                    will unnecessarily increase safety risks
                                                 threshold to 5.0 percent by weight. As                  suggested language is more clear and                  to employees with minimal
                                                 discussed in the preamble to the                        have revised it in the final rule.                    environmental benefit. The commenter
                                                 proposed rule (see 88 FR 25080, April                      Comment: Several commenters                        said that they follow standard industry
                                                 25, 2023), results from our risk                        objected to the EPA’s proposal at 40                  procedures in preparing for a scheduled
                                                 assessment indicate that, for the source                CFR 63.171(f) that does not allow delay               shutdown, which involves adequate
                                                 category MIR of 2,000-in-1 million,                     of repair for equipment in EtO service.               preparation time and personnel to
                                                 approximately 20 percent is from                           Commenters contended that the EPA                  completely purge of all lines containing
                                                 emissions of EtO related to HON                         did not consider the cost associated                  EtO, using appropriate controls, before
                                                 equipment leaks. We also note that the                  with more frequent and/or longer outage               shutdown. The commenter said that
                                                 risk from EtO from HON equipment                        times due to removal of the delay of                  stagnant EtO polymerizes, creating heat
                                                 leaks at seven facilities (including the                repair option. Commenters stated that                 that can cause explosions.
                                                 facility driving the MIR) is ≥100-in-1                  most valves and connectors are not                       Commenters argued that an increase
                                                 million. To help reduce the risk from                   configured with in-line spares; and if a              in number of shutdowns due to the EPA
                                                 the SOCMI source category to an                         repair requires replacement of a leaking              eliminating delay of repair for
                                                 acceptable level, for EtO emissions from                component, the equipment must be                      equipment in EtO service could also
                                                 HON equipment leaks, we performed a                     isolated, and in certain instances the                result in impact to supply chain. A
                                                 review of available measures for                        entire process unit must be shutdown.                 commenter said that supply chain
                                                 reducing EtO emissions from                             Commenters contended that additional                  disruptions pose significant economic,
                                                 components that are most likely to be in                shutdowns directly increase the                       security and health risks. Another
                                                 EtO service, which include connectors                   likelihood of future leaks given that                 commenter added that impacts on
                                                 (in gas and vapor service or light liquid               each shutdown and startup cycle                       supply could well impact broader EPA
                                                 service), pumps (in light liquid service),              subjects equipment to pressure and                    and Administration priorities such as
                                                 and valves (in gas or light liquid                      temperature changes that could                        the EPA’s recent proposal to electrify
                                                 service). Almost all EtO emissions                      negatively impact equipment reliability.              motor vehicles which is dependent
                                                 related to equipment leaks come from                       Commenters added that, often, valves               upon EV battery production (and such
                                                 these three pieces of equipment.                        or other connectors may not be ‘‘off the              battery production is currently generally
                                                    We considered the proposed 0.1                       shelf’’ so that a facility would be                   dependent upon ethylene carbonate,
                                                 percent by weight threshold reasonable                  required to special order and wait on                 which is produced by reacting EtO with
                                                 in terms of being measurable and                        the equipment to arrive while                         CO2).
                                                 quantifiable, and also appropriate for                  shutdown. A commenter stated that lead                   Commenters contended that the EPA
                                                 the vent stream characteristics we                      up times to shutdowns typically provide               failed to explain how eliminating delay
                                                 intended to regulate that resulted in risk              adequate time for facilities to order and             of repair for equipment in EtO service
                                                 reductions. We acknowledge every                        test components; however, if the delay                would reduce EtO emissions or risks.
                                                 facility is different. Some facilities may              of repair provisions are eliminated,                  Commenters argued that eliminating the
                                                 pose less risks than others, but in a                   required lead times for these activities              delay of repair provisions results in an
                                                 densely populated area with a nearby                    will result in extended shutdowns. The                increase in emissions due to more
                                                 receptor and under specific conditions,                 commenter also said that facilities must              frequent shutdowns. Commenters
                                                 the risks could none-the-less be                        often carefully evaluate the safety                   contended that without the ability to
                                                 unacceptable. In order to be protective                 considerations of ‘‘boxing in’’ leaking               delay repair, it will result in unplanned
                                                                                                         EtO equipment due to the tendency of
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                                                 of public health, we took a conservative                                                                      shutdowns which will result in greater
                                                 approach. Regarding comments that                       stagnant EtO to polymerize which can                  emissions as emissions are expected to
                                                 there is no justification for adding                    render equipment such as control valves               be higher during shutdown than
                                                 additional controls for low risk sources                inoperable. The commenter continued                   emissions from components on delay of
                                                 given the cost, in codifying the Benzene                that it is often necessary to evaluate and            repair. A commenter said EtO emissions
                                                 NESHAP approach CAA section                             engineer a clamp style solution, a                    can range from approximately 5 to 340
                                                 112(f)(2) does not allow us to consider                 process that can take more than the                   lbs per shutdown event and provided
                                                 cost at the first step of the residual risk             allotted 15-day repair time.                          calculations showing that a repair of a


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                                                 leaking valve would have to be delayed                  result, facilities must be in compliance              be used in conjunction with an annual
                                                 for over 10 years before the emissions                  with the rule requirements at all times               connector monitoring program for
                                                 exceeded those generated by a CMPU                      and must control EtO emissions at all                 connectors in EtO service. Another
                                                 shutdown that resulted in 85 lbs of EtO                 times. Therefore, while there may be                  commenter contended that the EPA
                                                 emissions. Some commenters pointed                      additional EtO entering the control                   failed to include LDAR alternatives for
                                                 out that delay of repair provisions allow               device as a result of SSM, the finalized              use of OGI despite the agency’s
                                                 facilities to assess whether allowing a                 control provisions ensure risk remains                recognition of its efficacy in the recent
                                                 small leak to continue poses less risk                  acceptable. Second, we are finalizing                 NSPS subpart OOOOb and EG subpart
                                                 and concern than the emissions                          maintenance vent requirements which                   OOOOc proposed rules and
                                                 necessarily associated with a shutdown.                 are intended to address equipment                     development of Appendix K, which
                                                    A commenter argued that they would                   openings that result from startup,                    specifically states it is the methodology
                                                 expect only a small number of                           shutdown, maintenance, or inspection                  that the EPA plans to incorporate by
                                                 component(s) in EtO service to use the                  of equipment where equipment is                       reference in the different NSPS/
                                                 delay of repair provisions at 40 CFR                    emptied, depressurized, degassed, or                  NESHAP subparts to enable
                                                 63.171 given that HON CMPUs that                        placed into service. We are finalizing                implementation of this technology. The
                                                 produce and use EtO as a raw material                   that owners and operators may not                     commenter contended that the EPA
                                                 will typically have a planned process                   release more than 1.0 ton of EtO from                 should correct this inconsistency. A
                                                 shutdown every 2 to 3 years depending                   all maintenance vents combined per any                commenter recommended that if the
                                                 on the specific process.                                consecutive 12-month period. An owner                 EPA determines OGI is an appropriate
                                                    Another commenter suggested that                     or operator may designate any process                 option to include in the final rule, the
                                                 the EPA adopt the TCEQ delay of repair                  vent as a maintenance vent if the vent                EPA model the specific OGI
                                                 program as described in 30 Texas                        is only used as a result of startup,                  requirements after those contained in
                                                 Administrative Code (TAC) 115.352(2):                   shutdown, maintenance, or inspection                  NSPS subpart OOOOa at 40 CFR
                                                 If the repair of a component within 15                  of equipment where equipment is                       60.5397a(c)(7) and (d)(1) that address
                                                 days after the leak is detected would                   emptied, depressurized, degassed, or                  fugitive emissions monitoring plans
                                                 require a process unit shutdown that                    placed into service. Thus, shutdowns                  where OGI is used and the requirements
                                                 would create more emissions than the                    resulting from the identification of leaks            in 40 CFR 60.5397a(h)(4)(iv) that
                                                 repair would eliminate, the repair may                  could be included under the 1.0 tpy EtO               address resurveying equipment to verify
                                                 be delayed until the next scheduled                     limit. It is the responsibility of the                repair. The commenter noted that some
                                                 process unit shutdown. The commenter                    owner or operator to plan accordingly                 of the requirements in NSPS subpart
                                                 argued that the TCEQ requirement is                     for equipment replacement and                         OOOOa relative to OGI monitoring will
                                                 reasonable given that it allows                         minimizing safety risks during                        need to be adjusted to account for
                                                 companies to choose the lowest-                                                                               application of OGI to a CMPU and not
                                                                                                         shutdowns. Third, using the
                                                 emitting option and attain the goal of                                                                        an oil and gas production site, as there
                                                                                                         commenters’ estimates of EtO emissions
                                                 minimizing emissions.                                                                                         are more potential interferences in a
                                                    Response: Regarding commenters’                      ranging from 5 to 340 lbs per shutdown
                                                                                                         event, the number of shutdowns that                   CMPU.
                                                 assertions about cost and timing of                                                                              Another commenter contended that
                                                 repair, with one exception, we are                      could fall under the 1 tpy limit could
                                                                                                         range from almost 6 to 400. Given the                 the EPA has not clearly addressed the
                                                 finalizing the proposed requirements for                                                                      use of any alternative work practices for
                                                 delay of repair for equipment in EtO                    typical leak rates seen by industry (as
                                                                                                                                                               fugitive monitoring such as OGI but is
                                                 service pursuant to CAA section                         discussed in our responses to comments
                                                                                                                                                               soliciting technical justification to
                                                 112(f)(2), on the basis of risks being                  in section 2.2 of the document titled
                                                                                                                                                               include or exclude OGI as an option for
                                                 unacceptable. Where we find risks are                   Summary of Public Comments and
                                                                                                                                                               the proposed low (100 ppmv) detection
                                                 unacceptable, the EPA must determine                    Responses for New Source Performance
                                                                                                                                                               levels using EPA Method 21. The
                                                 the emissions standards necessary to                    Standards for the Synthetic Organic
                                                                                                                                                               commenter added that this low
                                                 reduce risk to an acceptable level. The                 Chemical Manufacturing Industry and
                                                                                                                                                               concentration has not been evaluated as
                                                 largest contributor to risk from EtO                    National Emission Standards for
                                                                                                                                                               a level which can be observed reliably
                                                 facilities is due to emissions from                     Hazardous Air Pollutants for the
                                                                                                                                                               and consistently with an OGI camera.
                                                 equipment leaks. Because emissions of                   Synthetic Organic Chemical                            The commenter requested that any
                                                 EtO from the SOCMI source category                      Manufacturing Industry and Group I &                  technical evaluation and proposed
                                                 result in unacceptable risks, we                        II Polymers and Resins Industry, which                outcome be re-published as a proposal
                                                 proposed and are finalizing                             is available in the docket for this                   to ensure comprehensive evaluation by
                                                 requirements that would reduce risks to                 rulemaking) and the variety of process                all potentially affected parties and
                                                 an acceptable level, including                          conditions, the EPA believes that it                  authorities. The commenter concluded
                                                 provisions not allowing a delay of repair               would be unlikely for a facility to                   that the EPA should not collect
                                                 for equipment in EtO service. Allowing                  develop 5 leaks at the maximum                        comments, complete a review, and make
                                                 delay of repair would allow increased                   estimated EtO levels warranting                       a final rule change without further
                                                 emissions of EtO and increased risk.                    shutdown events. We note that even if                 opportunity for comment.
                                                 The one exception is that we are                        a facility were to reach the 1.0 tpy                     A commenter stated that based on
                                                 revising 40 CFR 63.171(b) to allow a                    maintenance vent limit, they may still                publicized research, including the
                                                 delay of repair for equipment if the                    shutdown to repair leaking equipment                  EPA’s Optical Gas Imaging Appendix K
                                                                                                         so long as the emissions are controlled.
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                                                 equipment is isolated from the process                                                                        Technical Support Document, there is a
                                                 and does not remain in organic HAP                         Comment: In response to the EPA                    known variability of response factors
                                                 service.                                                soliciting comments on alternative                    within chemical plant gas streams and
                                                    To the commenters’ assertions that                   monitoring technologies, a commenter                  the detection/sensitivity ranges of OGI
                                                 increased startup and shutdown events                   supported optical gas imaging (OGI) be                technology versus legacy technologies.
                                                 will lead to additional EtO emissions,                  used as an option to find larger                      The commenter noted that case-by-case
                                                 we disagree. First, we have removed the                 equipment leak air emissions and to                   permits have been issued with an OGI
                                                 exemptions for periods of SSM. As a                     repair leaks, and that perhaps it could               alternative; however, each of these


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                                                 permits has incorporated an annual EPA                  appendix K,42 which are the procedures                service,’’ and this prohibition negates
                                                 Method 21 survey to ensure that all                     for using OGI in leak detection, leaks                the cost savings and flexibility allowed
                                                 components have been properly                           below 500 ppm (or even higher in some                 by the use of good engineering judgment
                                                 evaluated for leaks, and the commenter                  circumstances) could not be reliably                  for equipment leaks because facilities
                                                 recommended adding this requirement                     detected even in a laboratory setting                 will be required to conduct sampling
                                                 for any OGI alternative for these sites.                except under the most ideal conditions.               and analysis on the same process
                                                    A commenter noted that the results                   We also agree with the commenter who                  streams regardless under the heat
                                                 obtained using OGI for leak detection                   noted that leak detection with an OGI                 exchange system provisions. The
                                                 can be heavily influenced by instrument                 camera is heavily influenced by                       commenters added that sampling and
                                                 performance, environmental conditions,                  environmental conditions and human                    analyzing process fluids subject to the
                                                 and human factors. The commenter                        factors. Additionally, as explained more              monitoring requirements for heat
                                                 explained that weather conditions such                  fully in response to a comment in                     exchange systems presents the same
                                                 as ambient temperature, wind speed, or                  section IV.B.3.b.ii of this preamble, OGI             issues and difficulties that the EPA
                                                 wind direction relative to the observer                 cameras, especially in the most common                identified as the basis for allowing
                                                 may affect the apparent concentration of                filter bandwidths, are not sensitive to               engineering judgment under the MON
                                                 any leak when viewed with OGI. The                      some of the chemicals found at SOCMI                  RTR.
                                                 commenter stated that a study of OGI for                facilities, which can make leaks difficult               • the EPA should consider allowing
                                                 detection of natural gas leaks found that               or even impossible to see, even for large             facilities to account for site-specific
                                                 only 51 percent of leaks were detected                  leaks. In promulgating NSPS subpart                   conversion of EtO to ethylene glycol in
                                                 at wind speeds above 21 miles per hour.                 OOOOb and EG subpart OOOOc, the                       water in heat exchange systems based
                                                 The commenter opined that higher                        EPA considered the level of control                   on the characteristics (e.g., temperature
                                                 concentrations of gas streams may be                    required for fugitive emissions in the oil            and pH) of the heat exchange system in
                                                 needed for detection to occur with OGI                  and natural gas sector, as well as the                determining the threshold definition.
                                                 technology, especially as it applies to                 chemical make-up of the expected                         Some commenters requested the
                                                 OGI surveys within the chemical sector,                 fugitive emissions. Based on those                    revise the 0.1 percent by weight
                                                 whereas the annual EPA Method 21                        considerations, we determined that OGI                threshold to at least 0.5 percent by
                                                 survey ensures a quantitative                           was a viable option for facilities subject            weight. These commenters argued that a
                                                 measurement and more appropriately                      to regulation under those subparts                    heat exchanger with an industry-average
                                                 demonstrates compliance. The                            through our BSER analysis. However,                   flow rate with a leak rate of 3.6 ppmw
                                                 commenter requested the EPA clarify if                  for the reasons outlined in this                      and a process fluid concentration of 0.5
                                                 it plans to include the proposed                        response, while the use of OGI is                     percent EtO would not pose
                                                 Appendix K or another monitoring                        appropriate for the oil and natural gas               unacceptable risk if the leak were to
                                                                                                         sector, it would not be appropriate to                occur for 135 days as allowed by the
                                                 protocol for OGI to be followed so that
                                                                                                         rely exclusively upon OGI for the                     existing heat exchange system
                                                 there are clear and consistent
                                                                                                         SOCMI source category.                                monitoring provisions (i.e., quarterly
                                                 expectations of field experience for
                                                                                                                                                               sampling plus a 45-day repair period). A
                                                 camera operators including operator                     iii. Heat Exchange Systems in EtO                     commenter asserted that the EPA does
                                                 training, component dwell time,                         Service                                               not explain why a 0.1 percent by weight
                                                 required operator breaks, and other
                                                                                                            Comment: A commenter said that                     threshold of EtO in process fluid
                                                 criteria which are not addressed in 40                  they supported the EPA’s proposed                     presents unacceptable risk.
                                                 CFR 63.11.                                              definition for ‘‘in ethylene oxide                       Response: We acknowledge the
                                                    Response: We disagree with the                       service’’ for heat exchange systems and               commenter’s support of the definition
                                                 commenters that stated the rules should                 the sampling and analysis procedures                  for ‘‘in ethylene oxide service’’ for heat
                                                 have required the use of OGI. The                       for owners and operators to demonstrate               exchange systems and the procedures
                                                 SOCMI has been complying with                           that each heat exchange system does, or               for owners and operators to demonstrate
                                                 equipment leak regulations since the                    does not, meet the definition. However,               that each heat exchange system does, or
                                                 early 1980s, and leaks are much smaller                 commenters requested the following                    does not, meet the definition. However,
                                                 than those found in the oil and gas                     clarifications or revisions to the                    we disagree with other commenters’
                                                 industry. As a result, the leak                         proposed text:                                        requests to revise the 0.1 percent by
                                                 definitions that SOCMI facilities are                      • the EPA should add into the                      weight threshold to at least 0.5 percent
                                                 complying with are in the area of 500                   definition an exclusion for EtO present               by weight. We consider the 0.1 percent
                                                 to 1000 ppm for most equipment, and                     as an impurity consistent with the                    by weight threshold reasonable in terms
                                                 the proposed and final rule lowers leak                 Agency’s memorandum which states:                     of being measurable and quantifiable,
                                                 definitions to 100 ppm for valves and                   ‘‘This definition excludes ethylene                   and also appropriate for heat exchange
                                                 connectors in EtO service. We                           oxide that is present as an impurity.’’               system leak characteristics we intended
                                                 acknowledge that OGI is effective at                    (see Docket Item No. EPA–HQ–OAR–                      to regulate that resulted in risk
                                                 finding large leaks quickly for many                    2022–0730–0074).                                      reductions. We acknowledge every
                                                 compounds. OGI is less effective at                        • the EPA should revise 40 CFR                     facility is different. Some facilities may
                                                 finding low-level leaks, especially in the              63.109(e) to allow the ability to use good            pose less risks than others, but in a
                                                 environmental conditions that generally                 engineering judgment to determine the                 densely populated area with a nearby
                                                 exist during a field survey. As a                       percent of EtO in the process fluid as                receptor and under specific conditions,
                                                 commenter indicated, the low leak
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                                                                                                         they have for equipment leaks in 40 CFR               the risks could none-the-less be
                                                 concentrations that were proposed and                   63.109(c)(2). The commenters said that                unacceptable. In order to be protective
                                                 which we are finalizing (100 ppm) have                  process fluids serviced by heat exchange              of public health, we took a conservative
                                                 not been evaluated at a level which can                 systems are the same process fluids                   approach.
                                                 be observed reliably and consistently                   contained in equipment that must be                      We agree to the commenter’s request
                                                 with an OGI camera. In feasibility                      evaluated for ‘‘in ethylene oxide                     to allow the ability to use good
                                                 studies conducted as part of the                                                                              engineering judgment at 40 CFR
                                                 development of 40 CFR part 60                            42 See 89 FR 16820 (March 8, 2024).                  63.109(e) to determine the percent of


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                                                 EtO of the process fluid cooled by the                  other process areas that are subject to                  Response: We acknowledge the
                                                 heat exchange system similar to what                    the other rules such as the Ethylene                  commenter’s support of the rule text at
                                                 we have allowed for equipment leaks in                  MACT and the MON rule; therefore, a                   40 CFR 63.104(g)(6) and (h)(6) that
                                                 40 CFR 63.109(c)(2). We are making this                 requirement to conduct this type of                   requires owners and operators to
                                                 change in the final rule due to the                     monitoring on a weekly basis will limit               conduct more frequent leak monitoring
                                                 difficulty and issues with sampling and                 the flexibility to move the monitoring                (weekly instead of quarterly) for heat
                                                 testing fluid in process lines,                         skid at the site.                                     exchange systems in EtO service and
                                                 particularly if the fluid contains EtO.                    The commenters suggested that the                  repair leaks within 15 days from the
                                                 Also, we believe the use of site-specific               monthly Modified El Paso Method                       sampling date (in lieu of the current 45-
                                                 conversion calculations of EtO to                       monitoring could be combined with                     day repair requirement after receiving
                                                 ethylene glycol in heat exchange                        weekly analysis of a surrogate parameter              results of monitoring indicating a leak
                                                 systems already qualifies as good                       as an alternative to conducting weekly                in the HON), and delay of repair would
                                                 engineering judgment using calculations                 sampling using the Modified El Paso                   not be allowed.
                                                 based on process stoichiometry;                         Method. The commenters said that the                     However, we disagree with other
                                                 however, due to its relation to risk as                 surrogate parameter could be something                commenters’ request to require monthly
                                                 previously discussed, the threshold for                 like monitoring weekly using a water                  (in lieu of weekly) sampling via the
                                                 determining if equipment is ‘‘in                        analytical method to indicate the                     Modified El Paso Method. As we stated
                                                 ethylene oxide service’’ is not being                   presence of a leak or monitoring other                in the document titled Analysis of
                                                 revised per the commenter’s request.                    parameters that would indicate the                    Control Options for Heat Exchange
                                                    Regarding the language used in docket                presence of a leak; and if a surrogate                Systems to Reduce Residual Risk of
                                                 item EPA–HQ–OAR–2022–0730–0074                          measurement indicates a leak, the                     Ethylene Oxide in the SOCMI Source
                                                 versus it not being included in the red-                facility would be required to confirm                 Category for Processes Subject to HON
                                                 line strike-out version of the proposed                 the presence of the leak using the                    (see Docket Item No. EPA–HQ–OAR–
                                                 rule text, we have determined that the                  Modified El Paso Method and repair as                 2022–0730–0071), we determined
                                                 language used in docket item EPA–HQ–                    required by the proposed provisions.                  baseline EtO emissions and emissions
                                                 OAR–2022–0730–0074 is an error. In                                                                            reductions using information the EPA
                                                                                                            A commenter requested that the EPA
                                                 other words, we are finalizing the red-                                                                       received from Union Carbide
                                                                                                         not eliminate the option that allows
                                                 line strike-out version of the proposed                                                                       Corporation-Seadrift, TX about an EtO
                                                                                                         facilities to delay the repair provided
                                                 rule text and are not including an                                                                            emissions event (Incident 293911) that
                                                                                                         emissions from the process shutdown
                                                 exclusion for EtO present as an                                                                               was reported to the TCEQ on October
                                                                                                         needed to repair the leak are greater
                                                 impurity. The 0.1 percent by weight                                                                           21, 2018. Using information provided,
                                                                                                         than the potential emissions of delaying.
                                                 threshold already accounts for                                                                                we calculated different sampling and
                                                                                                         The commenter said that this option
                                                 impurities.                                                                                                   repair periods required to reduce risks
                                                    Comment: A commenter said they                       essentially allows facilities to repair the
                                                                                                                                                               to an acceptable level. Because at least
                                                 support the EPA’s proposed rule text at                 leak with as little emissions and                     a 90+ percent reduction in EtO
                                                 40 CFR 63.104(g)(6) and (h)(6) that                     environmental impact as possible by                   emissions is needed to get to this level
                                                 requires owners and operators to                        requiring the facility to evaluate the                (as the risk posed by this large leak is
                                                 conduct more frequent leak monitoring                   emissions of a continued leak against                 at least 400-in-1-million based on
                                                 (weekly instead of quarterly) for heat                  the emissions from an entire process                  current the HON standards and Union
                                                 exchange systems in EtO service and                     shutdown. The commenter claimed that                  Carbide’s best case emissions estimates
                                                 repair leaks within 15 days from the                    allowing a repair to be delayed until the             and because other emission sources also
                                                 sampling date (in lieu of the current 45-               next process unit shutdown, if                        contribute to risks), we determined that
                                                 day repair requirement after receiving                  emissions from the delay would be less                if the facility identifies and repairs an
                                                 results of monitoring indicating a leak                 than those from the unplanned                         EtO leak (from a heat exchange system)
                                                 in the HON), and delay of repair would                  shutdown itself, has been a                           within 15 days from a weekly sampling
                                                 not be allowed.                                         longstanding concept in several                       event, the facility would achieve a 6.06
                                                    However, other commenters raised                     chemical sector rules (see for example                tpy EtO emission reduction (i.e., 93
                                                 the following concerns with regard to                   40 CFR 60.482–9(c), 63.104(e)(2)(i),                  percent reduction in EtO emissions).
                                                 sampling frequency and delay of repair.                 63.171(c), 63.1024(d)(3), and                         Less frequent sampling (e.g., monthly)
                                                 Commenters recommended that the EPA                     63.105(d)(3)). The commenter                          and more time to repair the leak from
                                                 modify the proposed 40 CFR                              contended that by forcing facilities to               the sampling period does not get to the
                                                 63.104(g)(6) to require monthly (in lieu                repair leaks solely based on a                        level of reduction needed to bring
                                                 of weekly) sampling via the Modified El                 concentration-based threshold, facilities             facility risk to below 100-in-1 million.
                                                 Paso Method. A commenter contended                      with a smaller recirculation rate will                We also noted that the facility indicated
                                                 that weekly monitoring of each heat                     likely emit greater amounts of HAP than               they are currently conducting weekly
                                                 exchange system will require either                     if they were allowed to assess the                    sampling for leaks of EtO already and
                                                 multiple sampling apparatuses or                        overall mass emissions from the leak                  have implemented this type of sampling
                                                 frequent movement of the sampling                       versus shutdown and choose the option                 across all their facilities that have heat
                                                 apparatus from one system to another.                   that minimizes emissions.                             exchange systems cooling process
                                                 Similarly, another commenter argued                        The commenter also said that it is                 streams with EtO.
                                                 that weekly sampling presents some                      unclear why the EPA is proposing to not                  In addition, we also reject the
                                                 logistical problems as typically a                      allow facilities to delay a repair by
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                                                                                                                                                               commenters’ request to use a weekly
                                                 contractor brings in the monitoring                     isolating the equipment such that it is               analysis of a surrogate parameter as an
                                                 device, which is a skid mounted unit;                   no longer in EtO service. The                         alternative to conducting weekly
                                                 the contractor will then move the device                commenter said that in certain                        sampling using the Modified El Paso
                                                 from one sampling location to                           instances, a facility may be able to                  Method. Surrogate methods via water
                                                 additional sampling locations at the site.              isolate a leaking heat exchanger but                  analysis are less sensitive than the
                                                 In some cases, the commenter said that                  cannot open the equipment until a                     Modified El Paso Method. Therefore,
                                                 the monitoring skid must be moved to                    process unit shutdown.                                though weekly monitoring via a


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                                                 surrogate would catch the largest of                    an ample margin of safety, or why                     as the risk due to wastewater is as high
                                                 leaks, there would still be the potential               Group 1 streams should be classified                  as 200-in-1-million, which contributes
                                                 for leaks to go uncaptured until the next               based solely on this concentration                    to unacceptable risk. Additionally, the
                                                 monthly check via the Modified El Paso                  threshold. The commenters                             data from our CAA section 114 request
                                                 Method. As a result, to keep risk at an                 recommended the EtO concentration                     shows that introducing a flowrate
                                                 acceptable level, we maintain that                      threshold for wastewater control should               threshold, as one commenter suggested,
                                                 weekly monitoring via the Modified El                   be changed to an annual average                       would leave wastewater streams with
                                                 Paso Method is appropriate.                             concentration of either 25 or 27 ppmw                 large amounts of EtO uncontrolled, and
                                                   Similarly, we reject a commenter’s                    EtO with an annual average flow rate of               could contribute to increased risk at
                                                 request to allow delay of repair at 40                  10 liters per minute or higher (in lieu of            some facilities over 100-in-1-million.
                                                 CFR 63.104(h)(6) for heat exchange                      proposing a no flow rate threshold).                     Similarly, we disagree with the
                                                 systems in EtO service. As previously                      Additionally, commenters requested                 commenters’ suggestion to include a
                                                 discussed, our leak analysis is based on                the EPA establish a mass threshold for                mass threshold. We calculated the
                                                 reducing the delay of repair to achieve                 wastewater as a ‘‘de minimis’’ value to               maximum amount of EtO emissions
                                                 a cancer risk incidence at or below 100-                prevent having to control very small or               from wastewater streams that would
                                                 in-1 million. Given that EtO is a major                 low flow intermittent wastewater                      push a facility over the 100-in-1-million
                                                 cancer driver, leaks need to be                         streams that provide little risk                      mark, and found the lowest amount of
                                                 addressed quickly to keep risk at an                    reduction, and to raise the concentration             excess EtO emissions to be 0.06 tpy.
                                                 acceptable level. Having said this, we                  commensurate with other rules. A                      This is well under the commenters’
                                                 agree with the commenter that owners                    commenter recommended the cutoff for                  suggestions for a mass threshold.
                                                 and operators should be allowed to                      each wastewater stream be a total                        Comment: A commenter said that
                                                 delay a repair by isolating the                         annual average mass flow rate of EtO to               they support the proposed provisions at
                                                 equipment (e.g., a heat exchanger) such                 the sewer of at least 0.01 lb/min (0.6 lb/            40 CFR 63.132(c)(1)(iii) and (d)(1)(ii) to
                                                 that it is no longer in EtO service. It was             hr). Other commenters requested the                   revise the Group 1 wastewater stream
                                                 our intent to allow this type of delay of               EPA add a cutoff such that none of a                  threshold to include wastewater streams
                                                 repair which has always been allowed                    facility’s process wastewater streams                 in EtO service (i.e., wastewater streams
                                                 in the HON at 63.104(e). In this                        should be considered in EtO service if                with total annual average concentration
                                                 scenario, the owner and operator may                    the entire collection of EtO-containing               of EtO greater than or equal to 1 ppmw
                                                 delay repair indefinitely as there is no                process wastewater streams from HON                   at any flow rate). However, at least one
                                                 longer an active EtO leak once the                      CMPUs contain no more than 0.24 tpy                   commenter claimed that there is no
                                                 equipment is isolated and not in EtO                    of EtO. Commenters pointed out that                   need for the proposed provisions at 40
                                                 service. For this reason, we are revising               when reviewing the responses to the                   CFR 63.132(c)(1)(iii) and (d)(1)(ii)
                                                 40 CFR 63.104(h)(6) in the final rule to                EPA’s CAA section 114 request,                        because the current treatment options
                                                 include the following allowance: ‘‘Delay                typically only one existing Group 2                   for process wastewater streams in EtO
                                                 of repair of heat exchange systems in                   wastewater stream contributes the                     service are already adequate to meet the
                                                 ethylene oxide service for which leaks                  majority of the EtO baseload flow to the              ample margin of safety provided the
                                                 have been detected is allowed if the                    sewer system; and there are other                     EPA made one edit to 40 CFR
                                                 equipment is isolated from the process                  process wastewater streams in which                   63.138(e)(1) and (2) when controlling
                                                 such that it is no longer in ethylene                   the EtO concentration is between 1 and                streams with lower concentrations of
                                                 oxide service.’’                                        15 ppmw, and the flowrate of the stream               EtO than previously regulated by the
                                                                                                         is very low or very intermittent,                     EPA. The commenter recommended that
                                                 iv. Wastewater in EtO Service                                                                                 the EPA add an option to both 40 CFR
                                                                                                         resulting in flows to the sewer systems
                                                    Comment: A commenter said that                       that are in some cases less than 0.1 lb/              63.138(e)(1) and (2) that allows the
                                                 they supported the EPA’s proposed                       hr or even much lower. The commenters                 owner or operator to demonstrate
                                                 definition for ‘‘in ethylene oxide                      argued that it does not make sense to                 compliance with the performance
                                                 service’’ for wastewater and the                        require Group 1 controls for these low                standard for EtO if the outlet
                                                 sampling and analysis procedures for                    volume streams as one is essentially                  concentration of EtO is less than 1
                                                 owners and operators to demonstrate                     treating almost pure water at this point.             ppmw on an annual average basis. The
                                                 that each wastewater stream does, or                       Response: The EPA acknowledges                     commenter argued that based on the
                                                 does not, meet the definition. However,                 commenters’ support and opposition to                 EPA’s proposed definition of ‘‘in
                                                 other commenters requested the EPA                      revise the Group 1 wastewater stream                  ethylene oxide service’’ for wastewater
                                                 reevaluate the 1 ppmw EtO                               threshold to include wastewater streams               streams it may be difficult to
                                                 concentration threshold for wastewater                  in EtO service (i.e. wastewater streams               demonstrate a 98- or 99-percent mass
                                                 control. These commenters contended                     with total annual average concentration               removal efficiency for EtO especially if
                                                 that the EPA should make the EtO                        of EtO greater than or equal to 1 ppmw                the concentration flowing into the
                                                 concentration threshold less stringent                  at any flowrate). We are finalizing the               treatment device is a very low
                                                 (i.e., a value >1ppmw EtO) primarily on                 definition of ‘‘in ethylene oxide service’’           concentration; for example, if the inlet
                                                 the basis that wastewater should not be                 definition for wastewater as proposed.                flow is 0.1 lb/hr then it may be difficult
                                                 regulated more strictly than process                    With regard to the commenters’                        to demonstrate that the outlet flow is
                                                 vents, there is negligible additional                   assertion that the 1 ppmw threshold was               0.002 lb/hr (98 percent efficiency) or
                                                 benefit for excessive complexity                        not explained, the document titled                    0.001 lb/hr (99 percent efficiency).
                                                 controlling down to 1 ppmw, and the
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                                                                                                         Analysis of Control Options for                          The commenter argued that EtO
                                                 majority of wastewater collection and                   Wastewater Streams to Reduce Residual                 should only be included on Table 9 to
                                                 treatment emissions will be captured                    Risk of Ethylene Oxide in the SOCMI                   NESHAP subpart G and removed from
                                                 even with a less stringent EtO                          Source Category for Processes Subject to              Table 8 to NESHAP subpart G for the
                                                 concentration threshold for wastewater                  HON (see Docket Item No. EPA–HQ–                      following reasons:
                                                 control. The commenters said the EPA                    OAR–2022–0730–0087) states that a 1                      • The EPA provides no basis for
                                                 does not state why a 1 ppmw threshold                   ppmw threshold is necessary to reduce                 adding EtO to Table 8 in the document
                                                 is necessary to reduce risks or provide                 risk of EtO emissions from wastewater,                titled Analysis of Control Options for


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                                                 Wastewater Streams to Reduce Residual                    meet the Group 1 criteria at 40 CFR                   average concentration of EtO in the
                                                 Risk of Ethylene Oxide in the SOCMI                      63.132(c)(1)(iii) and (d)(1)(ii), provided            wastewater streams (i.e., EPA Method
                                                 Source Category for Processes Subject to                 it does not meet the criteria at 40 CFR               624.1 of 40 CFR part 136, appendix A,
                                                 HON (see Docket Item No. EPA–HQ–                         63.132(c)(1)(i) and (ii), and (d)(1)(i)               or preparation by either EPA Method
                                                 OAR–2022–0730–0087).                                     either.                                               5031 or EPA Method 5030B and
                                                    • The original basis for the                             The EPA does not agree with the                    analysis by EPA Method 8260D in the
                                                 compounds listed on Table 8 was that                     commenter that EtO should be removed                  SW–846 Compendium), without the
                                                 this subset of compounds are very                        from Table 8 to NESHAP subpart G.                     additional cost and effort required to
                                                 volatile compounds. All the compounds                    Simply put, the compounds in Table 8                  prepare sampling plans and validate the
                                                 listed on Table 8 have a fraction                        do not biodegrade well and will need to               test methods per 40 CFR 63.144(b)(5)(ii)
                                                 removed (Fr) value 43 equal to 0.99 as                   be stripped, while the compounds in                   and (iii), these methods listed in 40 CFR
                                                 stated in 40 CFR 63.138(e)(2); and the Fr                Table 9 to NESHAP subpart G can be                    63.109(d) for EtO need to either be
                                                 value for EtO as stated in Table 9 is                    treated using a biological treatment                  added to the list of acceptable methods
                                                 equal to 0.98. Pages 4–9 to 4–10 of the                  process. While we acknowledge EtO can                 under 40 CFR 63.144(b)(5)(i) or a cross-
                                                 HON Background Information                               be biodegraded (and is included in                    reference to 40 CFR 63.109(d) needs to
                                                 Document (see EPA–453/R–94–003b)                         Table 9), its low Fe value (0.5) suggests             be added to 40 CFR 63.144(b)(5)(i).
                                                 provides the original basis for which                    that it can only be reduced by half when                 In addition, the commenter claimed
                                                 compounds are included on Table 8                        using a standard biological treatment                 that depending upon what treatment
                                                 versus Table 9.                                          method, and the remainder would need                  option is selected in 40 CFR 63.138 to
                                                    • The fraction emitted (Fe) value 44                  to be stripped out of the wastewater in               meet the requirements for wastewater
                                                 for the compounds listed on Table 8                      order to meet the 1 ppmw threshold.                   streams in EtO service, the test methods
                                                 range from 0.79 to 1. A value of 1                       Since we are building on the existing                 and procedures in 40 CFR 63.145(b) for
                                                 represents 100 percent of the compound                   HON standards, we believe it is                       determining compliance with
                                                 in the wastewater is volatized to the                    appropriate to restrict the treatment                 concentration limit standards for non-
                                                 atmosphere; and EtO has a Fe value of                    options given the risk associated with                combustion treatment processes in 40
                                                 0.5 or only 50 percent is volatilized.                   EtO, and have determined facilities will              CFR 63.138(b)(1) and (c)(1) cross-
                                                    • For new sources, 40 CFR                             have to use steam stripping to comply                 reference the methods specified in 40
                                                 63.132(b)(2) already requires a                          with the proposed standards. For these                CFR 63.144(b)(5)(i). The commenter
                                                 determination as to whether each                         reasons, it is not appropriate to add an              asserted that by adding the methods
                                                 wastewater stream requires control for                   option, as requested by the commenter,                specified in 40 CFR 63.109(d) for
                                                 Table 9 compounds by complying with                      to both 40 CFR 63.138(e)(1) and (e)(2)                determining the EtO concentration to
                                                 40 CFR 63.132(c). 40 CFR                                 that allows the owner or operator to                  the list of acceptable test methods in 40
                                                 63.132(c)(1)(iii) (as proposed) specifies                demonstrate compliance with the                       CFR 63.144(b)(5)(i), the EPA would be
                                                 that a wastewater stream is a Group 1                    performance standard for EtO if the                   also fixing other cross-referencing issues
                                                 wastewater stream for Table 9                            outlet concentration of EtO is less than              in 40 CFR 63.145 at the same time.
                                                                                                          1 ppmw on an annual average basis                        Response: We are revising the final
                                                 compounds if the wastewater stream
                                                                                                          regardless of the control method.                     rule in response to the commenter’s
                                                 contains EtO such that it is considered
                                                                                                             However, we agree with the                         request to add the test methods
                                                 to be in EtO service.
                                                                                                          commenter that verifying mass                         specified in 40 CFR 63.109(d) for
                                                    The commenter argued that the way
                                                                                                          reductions of 99 percent for wastewater               analysis of EtO in wastewater to 40 CFR
                                                 the group determination procedures are
                                                                                                          streams containing small amounts of                   63.144(b)(5)(i). We agree that these test
                                                 structured, adding EtO to Table 8 (when                  EtO may be difficult. As a result, we are             methods are relevant to calculate the
                                                 it is already included as a Table 9                      providing language in the final rule at               annual average concentration of EtO
                                                 compound) is not going to change the                     40 CFR 63.138(b)(3) and (c)(3) that                   needed to determine Group status, and,
                                                 fact that a stream containing more than                  allows owners or operators to reduce, by              by including them, we should create
                                                 1 ppmw EtO is considered to be in EtO                    removal or destruction, the                           consistency between 40 CFR 63.109(d),
                                                 service and subject to further treatment                 concentration of EtO to less than 1                   40 CFR 63.144(b)(5)(i), and 40 CFR
                                                 and control regardless of whether the                    ppmw as determined by the procedures                  63.145.
                                                 source is existing or new.                               specified at 40 CFR 63.145(b). We                        Comment: A commenter said that
                                                    Response: The EPA acknowledges the                    believe these revisions add clarity that              they support the proposed provisions at
                                                 commenters’ support for and opposition                   streams less than 1 ppmw EtO are no                   40 CFR 63.104(k) to prohibit owners and
                                                 of the proposed wastewater provisions                    longer considered to be ‘‘in ethylene                 operators from injecting wastewater into
                                                 at 40 CFR 63.132(c)(1)(iii) and (d)(1)(ii).              oxide service’’ per the definition and                or disposing of water through any heat
                                                 We are finalizing these provisions as                    provides unity with the finalized                     exchange system in a CMPU meeting the
                                                 proposed. We believe the rule is clear                   addition of EtO to Table 8 to NESHAP                  conditions of 40 CFR 63.100(b)(1)
                                                 with regard to demonstrating                             subpart G.                                            through (3) if the water contains any
                                                 compliance with these provisions. A                         Comment: A commenter                               amount of EtO, has been in contact with
                                                 wastewater stream that is less than 1                    recommended that the EPA incorporate                  any process stream containing EtO, or
                                                 ppmw EtO is not considered a Group 1                     the test methods specified in 40 CFR                  the water is considered wastewater as
                                                 wastewater stream, since it would not                    63.109(d) for analysis of EtO in                      defined in 40 CFR 63.101. On the
                                                                                                          wastewater directly into 40 CFR                       contrary, other commenters provided
                                                    43 The Fr is the fraction of a HAP that is stripped
                                                                                                          63.144(b)(5)(i) to provide consistency                suggestions for this prohibition. At least
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                                                 from wastewater and is an indicator of the extent
                                                 to which a HAP is effectively removed during the         and clarity with the regulation and to                one of these commenters contended that
                                                 stream-stripping process.                                avoid the need to prepare additional                  the EPA has not identified any risk
                                                    44 The Fe is the mass fraction of a HAP that is       sampling plans and method validation                  associated with EtO-free wastewaters,
                                                 emitted from the wastewater collection and               under 40 CFR 63.144(b)(5)(ii) and (iii).              nor has the EPA otherwise justified why
                                                 downstream biological treatment system and is an
                                                 indicator of the fraction of a compound expected to
                                                                                                          The commenter argued that in order to                 EtO-free wastewaters are prohibited
                                                 be an air emission out of wastewater in typical          use the test methods specified in 40 CFR              from injection. This commenter said
                                                 chemical sector collection and treatment systems.        63.109(d) for determining the annual                  they generally support not allowing


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                                                 waters containing EtO or chloroprene to                 provisions at 40 CFR 63.104(k) as                     to the flare using a continuous emission
                                                 be added to the cooling loop of a heat                  proposed. We disagree with                            monitoring system; (ii) continuously
                                                 exchange system. However, the                           commenters’ requests to allow                         measuring the EtO concentration in the
                                                 commenter noted that in the case of the                 stormwater or treated wastewater that                 waste gas, also by a continuous
                                                 HON and P&R I rules, a wastewater is                    may contain EtO but qualify for                       emission monitoring system; and (iii)
                                                 ‘‘water that is discarded’’ from a CMPU                 discharge under the NPDES. We note                    using the data from (i) and (ii) to
                                                 or an EPPU, respectively; therefore,                    that in a 1980 document titled Water                  calculate the actual EtO mass that is
                                                 wastewater that is injected into a                      Quality Requirements of the Organic                   sent to the flare over a given time
                                                 cooling loop is not discarded water.                    Chemicals Industry for Recycle/Reuse                  period. The commenters added that this
                                                    Commenters argued the proposed                       Applications, which is available in the               calculation can be done every minute if
                                                 language prohibiting the use of                         docket for this rulemaking, the potential             needed or on an hourly average basis, to
                                                 ‘‘wastewater’’ in heat exchange systems                 for increased recycle/reuse for process               provide an accurate mass estimate of the
                                                 is a significant barrier to, if not total               water in the EtO industry was                         flared EtO.
                                                 prohibition on, water reuse projects that               evaluated. It was found that significant                 Numerous other commenters opposed
                                                 are under consideration at various                      evaporation losses occur from process                 the EtO flare load limit for at least one
                                                 member facilities. The commenter                        cooling towers. Any amount of EtO in                  or more of the following reasons:
                                                 requested that the EPA modify the                       wastewater sent to cooling towers will                   • it is unwarranted to impose
                                                 prohibition on using ‘‘wastewater’’ in                  inevitably be stripped out and lead to a              expensive and stringent EtO limitations
                                                 heat exchange systems to make clear                     direct emission event. This is further                on flaring on the entire SOCMI source
                                                 that stormwater collected in process                    expanded upon in the preamble to the                  category subject to the HON when
                                                 areas and treated wastewater from                       proposed rule (see 88 FR 25080, April                 unacceptable risk from EtO flaring is
                                                 process areas that may include EtO but                  25, 2023), where we cite emissions                    driven by a single facility.
                                                 still qualify for discharge in accordance               events from two HON-subject facilities                   • the proposed cap would be
                                                 with a national pollutant discharge                     that reported EtO emissions from heat                 problematic for more than just the flares
                                                 elimination system (NPDES) permit may                   exchange systems. This was due to                     that the EPA identified given that many
                                                 be used in heat exchange systems.                       combining EtO entrained water with                    owners and operators are currently
                                                    A commenter said that the EPA                        heat exchange water and not due to any                applying a 99 percent EtO control
                                                 should add the requirements into the                    heat exchange system leaks, and                       efficiency to their existing flare
                                                 process wastewater prohibition                          resulted in ∼3 tpy of EtO total emitted.              operations.45 TCEQ’s control efficiency
                                                 language that already exists in 40 CFR                  Given the current total risk associated               value for EtO (99 percent) combined
                                                 63.132(f) (rather than include new                      with EtO, allowing any EtO in cooling                 with the EPA’s determination that EtO
                                                 provisions at 40 CFR 63.104(k)). The                    towers would be unacceptable.                         emissions of 0.4 tpy would be
                                                 commenter claimed that the intent of
                                                                                                         v. EtO Flare Load Limit                               acceptable (see Docket Item No. EPA–
                                                 the prohibition language in 40 CFR
                                                                                                            Comment: A commenter said that                     HQ–OAR–2022–0730–0070) would
                                                 63.132(f) is to prevent discarding a
                                                                                                         they support the proposed requirement                 yield a 40 tpy (not 20 tpy) EtO flare load
                                                 liquid or solid material containing
                                                 greater than 10,000 ppmw of a Table 9                   at 40 CFR 63.108(p) that prohibits                    limit.
                                                 (to NESHAP subpart G) HAP to water or                   owners and operators from sending                        • when conducting its dispersion
                                                 wastewater unless it is controlled as a                 more than 20 tons of EtO to all of their              modeling for EtO emissions from flares,
                                                 Group 1 wastewater; and as currently                    flares combined in any consecutive 12-                the EPA did not use the modeling
                                                 proposed, a liquid or solid material that               month period. Other commenters                        approach used by TCEQ which takes
                                                 is in EtO service, could be discarded to                asserted that the EPA must strengthen                 into account the heat release associated
                                                 a wastewater stream without control.                    the monitoring needed to ensure                       with combustion in a flare; TCEQ’s
                                                 The commenter urged the EPA to add                      compliance with the EtO flare load limit              modeling approach results in lower off-
                                                 the following sentence to the beginning                 proposed at 40 CFR 63.108(p). The                     site impacts from flares, which calls into
                                                 of 40 CFR 63.132(f): ‘‘Owners or                        commenters stated that the requirement                question whether a cap of flaring is
                                                 operators of each source as defined in                  that ‘‘the owner or operator must keep                necessary.
                                                 § 63.101, beginning no later than the                   monthly records of the quantity in tons                  • flares have been used to control
                                                 compliance dates specified in                           of ethylene oxide sent to each flare at               emissions of HAP for decades.
                                                 § 63.100(k)(11), shall not discard liquid               the affected source and include a                        • the combination of the proposed 20
                                                 or solid stream containing EtO such that                description of the method used to                     tpy flare cap along with the removal of
                                                 it is considered to be in EtO service, as               estimate this quantity’’ is left                      the delay of repair provisions and the
                                                 defined in § 63.101 from a chemical                     completely up to HON sources to                       proposed PRD provisions may have
                                                 manufacturing process unit to water or                  determine how to calculate the amount                 unintended consequences leaving
                                                 wastewater, unless the receiving stream                 of EtO sent to their flares. The                      owners and operators with very few
                                                 is managed and treated as a Group 1                     commenters contended that this cannot                 options for compliance if additional
                                                 wastewater stream.’’ Alternatively, the                 ensure compliance with the EtO flare                  shutdowns and start-ups are needed to
                                                 commenter suggested the EPA could                       load limit, and thus, cannot ensure that              address a leaking component and/or if
                                                 revise the proposed rule text in 40 CFR                 risk is reduced to an acceptable level or             a PRD discharge to a flare occurs.
                                                 63.104(k) in lieu of adding their request               that the standards provide an ample
                                                 sentence to the beginning of 40 CFR                     margin of safety to protect public health.              45 The commenters cited TCEQ’s ‘‘New Source

                                                                                                                                                               Review (NSR) Emission Calculation’’ guidance
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                                                 63.132(f).                                              The commenters asserted that this
                                                                                                                                                               (available at: https://www.tceq.texas.gov/assets/
                                                    Response: The EPA acknowledges the                   monitoring requirement is arbitrary and               public/permitting/air/Guidance/NewSourceReview/
                                                 commenters’ support for and opposition                  capricious and contrary to CAA sections               emiss_calc_flares.pdf) and said that Texas allows
                                                 to the proposed provisions that prohibit                112(f) and 114(a)(3). The commenters                  owners and operators to apply a 99 percent
                                                 the injection or disposal of wastewater                 suggested that the EPA require HON                    destruction efficiency for flaring compounds
                                                                                                                                                               containing no more than 3 carbons that contain no
                                                 containing or that has come in contact                  sources to calculate the amount of EtO                elements other than carbon and hydrogen in
                                                 with EtO, through heat exchange                         sent to their flares by: (i) Continuously             additional to a select number of compounds,
                                                 systems. We are finalizing these                        measuring the flow rate of the waste gas              including EtO.



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                                                    • the EPA’s proposed solution to                     is not in service, the vent gas from the              EtO load to flares is about 143.5 tpy
                                                 replace flares with thermal oxidizers is                tank vents and loading/unloading                      (pre-control). Based on the revised
                                                 not practical from a timing or cost                     operations would need to be routed to                 modeling, a flare controlling 143.5 tpy
                                                 perspective.                                            the existing logistics flares. In other               (far higher than the proposed 20 tpy
                                                    • thermal oxidizers are generally not                words, the commenters contended that                  flare cap) is not a significant risk driver.
                                                 suitable destruction devices for PRD                    the amount of EtO that would be routed                Using the TCEQ modeling guidelines for
                                                 effluents; therefore, plants would need a               to these flares in the future is a function           flares, we have determined that risk for
                                                 new thermal oxidizer along with a flare                 of the operating time of the production               the SOCMI source category remains
                                                 operating for unplanned discharges like                 plant.                                                below 100-in-1 million without the need
                                                 PRD vents, and the EPA’s cost estimates                    In summary, commenters said they                   of an EtO flare load limit, but only after
                                                 are not reflective of the actual costs that             are concerned that projects that would                implementation of the standards we are
                                                 would incur in the 2023–2026                            be needed in order to meet the 20 tpy                 finalizing for: (1) Process vents, (2)
                                                 timeframe to install a new thermal                      EtO flare load limit could not be                     storage vessels, (3) equipment leaks, (4)
                                                 oxidizer system. It is common practice                  implemented within 2 years as                         heat exchange systems, and (5)
                                                 to size a thermal oxidizer for a normal                 proposed in 40 CFR 63.100(k)(11), nor                 wastewater ‘‘in ethylene oxide service,’’
                                                 range of VOC concentrations and                         would the EPA’s proposed control                      as well as implementation of the final
                                                 normal flow and have an emergency                       option achieve the intended reductions                requirements to reduce EtO emissions
                                                 flare to accommodate a higher                           and may actually result in an increase                from maintenance vents and PRDs. We
                                                 concentration and flow from an event.                   in secondary emissions. Thus, these                   note that by not finalizing an EtO flare
                                                 Using a thermal oxidizer in lieu of a                   commenters requested that the EPA                     load limit we also obviate the
                                                 flare to manage EtO emissions would                     either refrain from finalizing the                    inconsistency we unintentionally
                                                 necessitate designing the oxidizer to                   proposed flare cap or increase the flare              created in the proposed rule by
                                                 accommodate these larger intermittent                   cap based on a 99 percent control                     requiring owners and operators to
                                                 flows and higher inlet concentrations of                efficiency and provide 3 years for                    comply with an EtO flare load limit
                                                 VOC; however, such a design might not                   facilities to comply with the revision.               while also requiring owners and
                                                 be feasible because normal operation                       Response: We are not finalizing the                operators to minimize emissions from
                                                 might represent too much of a                           requirement at 40 CFR 63.108(p) that                  PRDs by routing them to flares instead
                                                 ‘‘turndown’’ from emergency operation.                  prohibits owners and operators from                   of venting to the atmosphere.
                                                    • lead/delivery time for a new                       sending more than 20 tons of EtO to all
                                                 thermal oxidizer system could exceed                    of their flares combined in any                       vi. PRDs in EtO Service
                                                 52 weeks, but 12 months is a best                       consecutive 12-month period. In other                    Comment: Commenters argued that
                                                 estimate.                                               words, we are not including an EtO flare              the requirement at 40 CFR
                                                    • replacing flares with a thermal                    load limit in the final rule. In response             63.165(e)(3)(v)(D) that considers any
                                                 oxidizer essentially maintains                          to a comment discussed in section 1.1                 atmospheric release from a PRD in EtO
                                                 greenhouse gas emissions at the same                    of the document titled Summary of                     service a violation will not reduce risk
                                                 level since EtO is combusted in both                    Public Comments and Responses for                     given that PRD releases are non-routine
                                                 applications.                                           New Source Performance Standards for                  events that take place to prevent
                                                    • there may be safety and reliability                the Synthetic Organic Chemical                        catastrophic equipment failure. The
                                                 considerations not addressed by the                     Manufacturing Industry and National                   commenters contended that deeming
                                                 EPA with the use of a thermal oxidizer,                 Emission Standards for Hazardous Air                  atmospheric PRD releases a violation
                                                 which would require design and process                  Pollutants for the Synthetic Organic                  will not reduce their occurrence. The
                                                 safety features due to the reactive and                 Chemical Manufacturing Industry and                   commenters stated that the proposed
                                                 flammable nature of EtO.                                Group I & II Polymers and Resins                      work practice standards at 40 CFR
                                                    Commenters said that instead of                      Industry, which is available in the                   63.165(e) (including the deviation
                                                 replacing flares with thermal oxidizers                 docket for this rulemaking, we have                   determination criteria at 40 CFR
                                                 to meet the EPA’s proposed EtO flare                    determined that it is appropriate to use              63.165(e)(3)(v)(A) through (C)) already
                                                 load limit, owners and operators could                  a different modeling approach for the                 provide an effective framework for
                                                 potentially add a water scrubber                        final rule than the approach we used for              addressing PRD releases.
                                                 between vent sources like storage                       the proposed rule (i.e., we used the                     The commenters added it is not cost-
                                                 vessels and railcar loading/unloading                   TCEQ modeling guidelines to calculate                 effective to route all PRDs to control
                                                 operations and the existing flares;                     effective flare stack parameters for the              devices; and the EPA wrongly assumes
                                                 however, this option would likely still                 final rule in lieu of modeling all flare              that all releases from PRDs in EtO
                                                 need a larger EtO flare load limit than                 releases as standard point sources with               service can and will be controlled as
                                                 the 20 tpy limit the EPA has proposed.                  temperatures less than 1,000 Kelvin and               process vents as a result of the
                                                 The commenters said that water from                     velocities less than one meter per                    prohibition on such releases. The
                                                 the scrubber could then be routed to the                second for the proposed rule). As                     commenters provided numerous
                                                 EtO manufacturing processes at these                    explained in that response, modeling                  examples of why certain PRDs cannot be
                                                 sites where the EtO could be recovered                  flare emissions using effective stack                 safely routed to a control device and/or
                                                 as a product stream. However, the                       parameters accounts for heat release of               would be technically infeasible in many
                                                 commenters pointed out that during                      the flare and better characterizes plume              process designs such as hydraulic
                                                 times when the EtO manufacturing                        rise. After applying this approach for                limitations of flare systems or other
                                                 process unit is not in service, the                                                                           controls, PRD backpressure, EtO
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                                                                                                         the final rule, we have determined the
                                                 internal scrubber systems would need to                 EtO flare load limit is no longer                     incompatibility with other collected
                                                 be turned off as there is no viable                     necessary as flares controlling EtO are               compounds, and polymerization of
                                                 location to recover the EtO out of the                  no longer significant contributors to                 ethylene in closed vent systems.
                                                 scrubber water stream. Thus, during                     risk. Using the reported EtO emissions                Commenters argued that because PRD
                                                 times when storage vessels and railcar                  of 2.87 tpy (post-control) from the                   releases are usually non-routine,
                                                 loading/unloading operations would                      highest-emitting facility, we estimate                infrequent, and episodic, piping and the
                                                 need to occur but the production plant                  that the facility’s current combined total            control device would have to be sized


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                                                 to accommodate significantly larger                     Huntsman Geismar facilities would be                  unreasonably in imposing controls
                                                 flow than normal process vents, and the                 heavily burdened by the proposed HON                  across the entire SOCMI source category
                                                 control device would be required to                     EtO control requirements even though                  (note the commenter used the phrase
                                                 operate in an indefinite ‘‘stand-by’’                   the EPA found that neither facility poses             ‘‘HON source category;’’ however, the
                                                 mode to accommodate unexpected and                      unacceptable risk.                                    source category covered by the HON is
                                                 emergency releases. A commenter said                       These commenters said that the EPA’s               actually the SOCMI source category).
                                                 ‘‘stand-by’’ mode may also require                      proposed response to 8 facilities with                We also disagree with the commenters
                                                 significant amounts of fuel and generate                EtO risk above the presumptive limit is               that our action to impose the same EtO
                                                 secondary combustion emissions on a                     a one-size-fits-all approach to                       requirements on each owner and
                                                 continuous basis for a release that may                 addressing risk from the source category              operator is arbitrary and capricious.
                                                 or may not occur.                                       that unreasonably imposes stringent                      As stated in the preamble to the
                                                    Response: We are finalizing these                    control requirements across all                       proposed rule (see 88 FR 25080, April
                                                 requirements for PRDs in EtO service                    emissions sources at every facility,                  25, 2023), we identified EtO as the
                                                 pursuant to CAA section 112(f)(2), on                   rather than addressing the residual risks             cancer risk driver from HON sources;
                                                 the basis of risks being unacceptable.                  that were actually identified. The                    and we are aware of 15 HON facilities
                                                 Where we find risks are unacceptable,                   commenters said the approach is                       reporting more than 0.1 tpy of EtO
                                                 the EPA must determine the emissions                    inconsistent with CAA section 112(f)                  emissions in their emissions inventories
                                                 standards necessary to reduce risk to an                because half of the facilities affected by            from HON processes and two other
                                                 acceptable level. Because emissions of                  the proposed EtO standards do not                     facilities that are new or under
                                                 EtO from the SOCMI source category                      present unacceptable risk to                          construction with HON processes that
                                                 result in unacceptable risks, we                        surrounding areas, yet the EPA proposes               we expect will exceed this threshold
                                                 proposed and are finalizing                             to impose emissions standards on these                (but for which we do not yet have
                                                 requirements that would reduce risks to                 facilities that were derived without                  emissions inventory information). Of
                                                 an acceptable level, including                          consideration of cost. A commenter                    these 17 facilities, 12 facilities produce
                                                 provisions that would make all PRD                      pointed out that Congress explicitly                  and emit EtO, which is a process subject
                                                 releases of EtO directly to the                         granted the EPA the authority to                      to the HON MACT standards. In
                                                 atmosphere a violation of the standard.                 consider variations among sources in                  addition, all 17 of these facilities have
                                                 As explained in response to a comment                   promulgating emission standards under                 additional HON processes that use and
                                                 in section 1.1 of the document titled                   CAA section 112 through                               emit EtO in the production of glycols,
                                                 Summary of Public Comments and                          subcategorization; yet, the EPA has                   glycol ethers, or ethanolamines.
                                                 Responses for New Source Performance                    failed to utilize this statutorily available          Therefore, we are not imposing EtO
                                                 Standards for the Synthetic Organic                     tool here. Commenters said that even if               controls across the entire SOCMI source
                                                 Chemical Manufacturing Industry and                     the Agency chooses not to                             category. Rather, in order to reduce
                                                 National Emission Standards for                         subcategorize, the EPA has recognized                 emissions of EtO from HON processes,
                                                 Hazardous Air Pollutants for the                        that it is unreasonable to require                    the EPA is finalizing more stringent
                                                 Synthetic Organic Chemical                              controls on all facilities when a more                control requirements for process vents,
                                                 Manufacturing Industry and Group I &                    targeted and less costly option may                   storage vessels, equipment leaks, heat
                                                 II Polymers and Resins Industry, which                  achieve an acceptable level of risk. The              exchange systems, wastewater,
                                                 is available in the docket for this                     commenters pointed out that the EPA                   maintenance vents, and PRDs that emit
                                                 rulemaking, the EPA modeled certain                     used a tailored approach in the RTR for               or have the potential to emit EtO. While
                                                 PRD releases of EtO during maintenance                  sterilization facilities (see 88 FR 22790,            it is true from our residual risk
                                                 events which resulted in very high risk                 22826–28) and the proposed MON rule                   assessment that eight of the 17 facilities
                                                 from one facility (i.e., EtO risk from                  (see 84 FR 69182) which applied                       with emissions of EtO from various
                                                 process vent emission sources emitted                   different levels of stringency in                     HON processes have cancer risks above
                                                 through PRDs is approximately 75                        accordance with the different facilities’             100-in-1 million, the standards are
                                                 percent of the Port Neches facility’s total             MIRs (in other words, the EPA tailored                national standards that apply to specific
                                                 SOCMI source category risk of 2000-in-                  its acceptability analysis to address risk            types of sources rather than specific
                                                 1 million). There is no reason for not                  from the highest risk sources).                       facilities, and the revisions ensure that
                                                 considering the impact of these events                     A commenter added that the EPA’s                   risks from the source category are
                                                 in our risk modeling and rulemaking. In                 approach is not sufficiently targeted                 acceptable and that the standards
                                                 response, we proposed and are                           because the applicability of the new EtO              provide an ample margin of safety to
                                                 finalizing a requirement that releases                  emissions standards would be governed                 protect public health. As such, we
                                                 from PRDs in EtO service are a violation                by the definition of ‘‘in ethylene oxide              disagree with the commenter that we
                                                 of the emission standard.                               service’’ that the EPA adopted in the                 should target additional controls on
                                                                                                         MON, which was not derived with any                   only facilities that pose unacceptable
                                                 vii. Other EtO Related Requirements                     consideration of the emissions                        risk.
                                                    Comment: Commenters asserted that                    characteristics of the SOCMI source                      For these same reasons, we also
                                                 the EPA acted unreasonably in imposing                  category or the risk profile determined               disagree with the commenter that
                                                 controls across the entire ‘‘HON source                 by the EPA’s risk assessment of the                   adopting the MON definition of ‘‘in
                                                 category.’’ The commenters contended                    SOCMI source category. The commenter                  ethylene oxide service’’ results in new
                                                 that the EPA may require those facilities               contended that adopting the MON                       EtO emissions standards that apply to
                                                 that pose unacceptable risk to
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                                                                                                         definition of ‘‘in ethylene oxide service’’           approximately twice as many affected
                                                 implement targeted additional controls,                 results in new EtO emissions standards                facilities as needed to address the risk
                                                 but it is arbitrary and capricious to                   that apply to approximately twice as                  that the EPA determines to be
                                                 attempt to impose those same                            many affected facilities as needed to                 actionable. Although, as noted in our
                                                 requirements everywhere despite the                     address the risk that the EPA determines              proposal, similar emission sources and
                                                 absence of risk. A commenter provided                   to be actionable.                                     standards exist between the HON and
                                                 an example where under the proposed                        Response: We disagree with the                     MON, we disagree with the commenter
                                                 rule, both Huntsman Conroe and                          commenters that the EPA acted                         that we did not give any consideration


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                                                 of the emissions characteristics of the                 The commenter made the following                      ‘‘install and operate . . . a Regenerative
                                                 SOCMI source category or the risk                       points regarding these installations:                 Thermal Oxidizer (RTO)’’ capable of
                                                 profile determined by the EPA’s risk                       During the first six months of 2016,               ‘‘achiev[ing] at least a 98 percent
                                                 assessment of the SOCMI source                          the facility engaged in numerous                      [destruction or removal efficiency].’’
                                                 category. The scientific and technical                  meetings with both the EPA and the                    The facility also agreed to install the
                                                 bases for the EPA’s proposed action are                 LDEQ to discuss options for reducing                  MERP and to achieve an 85 percent
                                                 voluminously presented in the                           chloroprene emissions, including                      reduction in total chloroprene emissions
                                                 numerous supporting memoranda                           different types of control devices.                   from the facility, principally from the
                                                 contained in the public docket for the                  Records of these discussions show that,               ‘‘Chloroprene’’ Unit, to the facility’s
                                                 proposed rulemaking. See, e.g., the                     in October 2016, the facility presented               halogen acid production furnace.
                                                 documents titled Residual Risk                          slides to the EPA and the LDEQ that                      The commenter claimed that these
                                                 Assessment for the SOCMI Source                         summarized control device options,                    projects reduced facility chloroprene
                                                 Category in Support of the 2023 Risk                    including a direct-fired thermal oxidizer             emissions by 85 percent at a capital cost
                                                 and Technology Review Proposed Rule;                    (the only option that could achieve a                 of $35 million, plus a significant
                                                 Analysis of Control Options for Process                 chloroprene destruction efficiency of                 increase in annual operating costs; and
                                                 Vents and Storage Vessels to Reduce                     99.9 percent) and an RTO, which was                   of the $35 million, the MERP cost
                                                 Residual Risk of Ethylene Oxide in the                  expected to have a chloroprene                        approximately $9 million. The
                                                 SOCMI Source Category for Processes                     destruction efficiency of 98 percent. As              commenter requested that the EPA take
                                                 Subject to HON; Analysis of Control                     the slide indicated, however, the cost of             this history into account as it develops
                                                 Options for Equipment Leaks to Reduce                   operating a direct-fired thermal oxidizer             the final rule given that it is
                                                                                                         would be very high because it would                   unreasonable to ignore the investments
                                                 Residual Risk of Ethylene Oxide in the
                                                                                                         burn enormous amounts of natural gas.                 that the facility recently made to reduce
                                                 SOCMI Source Category for Processes
                                                                                                         This is why in June 2016, the facility                chloroprene emissions when they were
                                                 Subject to HON; Analysis of Control
                                                                                                         proposed to install an RTO, which                     made under the oversight of the LDEQ
                                                 Options for Heat Exchange Systems to
                                                                                                         would have similar up-front capital                   and the EPA, and with the EPA’s full
                                                 Reduce Residual Risk of Ethylene Oxide                  costs but would have much lower                       knowledge of the 2010 IRIS inhalation
                                                 in the SOCMI Source Category for                        operating costs (and much lower CO2                   URE value for chloroprene. The
                                                 Processes Subject to HON; Analysis of                   emissions) because it would require                   commenter contended that the very
                                                 Control Options for Wastewater Streams                  much less natural gas to operate.                     small emission reductions that would be
                                                 to Reduce Residual Risk of Ethylene                        In December 2016, the LDEQ held a                  achieved by increasing the chloroprene
                                                 Oxide in the SOCMI Source Category for                  large public meeting at its headquarters,             destruction efficiency to 99.9 percent
                                                 Processes Subject to HON; (see Docket                   with the EPA and the Department of                    are enormously expensive, more than
                                                 Item No. EPA–HQ–OAR–2022–0730–                          Justice in attendance. Before this                    $21 million per ton annually. The
                                                 0085, –0074, –0003, –0071, and –0087,                   meeting, an EPA researcher advised                    commenter said the current chloroprene
                                                 respectively).                                          EPA officials that, to achieve a risk-level           emissions from the existing RTO are
                                                 e. P&R I NESHAP Rule Changes Related                    of 1-in-10,000, ambient concentrations                approximately 0.84 tpy; therefore, if all
                                                 to Chloroprene                                          of chloroprene in the community could                 the emission streams currently routed to
                                                                                                         be no higher than 0.2 ug/m3. His                      the existing RTO were instead routed to
                                                 i. Process Vents and Storage Vessels in                 memorandum making this assertion was                  a new direct-fired thermal oxidizer with
                                                 Chloroprene Service                                     also released publicly. At this meeting,              a chloroprene destruction efficiency to
                                                                                                         the facility presented results of an air              99.9 percent, chloroprene emissions
                                                    Comment: A commenter argued that                     dispersion modeling study, which                      would be reduced from 0.84 tpy to 0.04
                                                 the EPA’s proposal at 40 CFR 63.484(u),                 showed then-existing (2016) ambient                   tpy (an annual reduction of 0.79 tons).
                                                 40 CFR 63.485(y), and 40 CFR 63.487(j)                  concentrations and the concentrations                 The commenter claimed that the
                                                 to require a control device that reduces                that would be expected if the facility                annualized cost of achieving this is
                                                 chloroprene by greater than or equal to                 implemented the emission reduction                    almost $3.7 million, and the cost-per-
                                                 99.9 percent by weight is unreasonable                  projects it had proposed, including the               ton of chloroprene emission reduction
                                                 in light of the EPA’s involvement in the                installation of an RTO with a                         would be more than $4.6 million. The
                                                 decision to install a regenerative                      chloroprene destruction efficiency of 98              commenter submitted a similar analysis
                                                 thermal oxidizer (RTO) at one facility                  percent. The modeling results presented               for their MERP system and claimed that
                                                 with a chloroprene destruction                          to the EPA, the LDEQ, and the public                  if all the vent streams currently
                                                 efficiency of 98 percent and the                        showed that offsite concentrations                    controlled by the MERP were instead
                                                 ‘‘monomer emission reduction project’’                  would be significantly reduced but                    routed to a control device with a
                                                 (MERP) system 46 with a chloroprene                     would still be higher than 0.2 ug/m3.                 chloroprene destruction efficiency of
                                                 destruction efficiency of 99.3 percent.                    Following the public hearing, the                  99.9 percent (testing has demonstrated
                                                                                                         facility, the EPA, and the LDEQ                       that the MERP achieves a destruction or
                                                    46 The commenter stated that the MERP was            finalized the terms of a voluntary                    removal efficiency of 99.3 percent on an
                                                 installed to route vent emissions from the monomer      Administrative Order on Consent,
                                                 process unit to the facility’s halogen acid
                                                                                                                                                               overall basis), the reduction in annual
                                                 production furnace. The MERP is essentially a
                                                                                                         which the facility and the LDEQ signed                chloroprene emissions would be 50–60
                                                 complex of vent headers (with condensate                on January 6, 2017. The EPA and                       pounds, depending on production.
                                                 collection posts) to route emissions predominately      lawyers from the Department of Justice                   The commenter said that they hired
                                                 from the Monomer area of the Neoprene Facility, as
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                                                                                                         were present for all significant                      consultants to evaluate multiple options
                                                 well as emissions from nine permitted hazardous
                                                 waste tanks (containing liquid hazardous wastes) to
                                                                                                         discussions, and the EPA was heavily                  for control device configuration that
                                                 the facility’s halogen acid production furnace. The     involved in the Administrative Order on               would achieve a chloroprene
                                                 MERP conveys approximately 300 to 600 CFM of            Consent’s development, providing                      destruction efficiency of 99.9 percent as
                                                 chloroprene vent emissions from currently ‘‘Group       numerous comments and making a                        required by the proposed rule. The
                                                 2’’ classified emission units under the HON subpart
                                                 G. Stack tests have demonstrated a 99.3 percent
                                                                                                         number of demands reflected in the                    commenter said that modifying their
                                                 destruction or removal efficiency for the halogen       order. Under the Administrative Order                 existing RTO to achieve a chloroprene
                                                 acid production furnace.                                on Consent, the facility agreed to                    destruction efficiency of 99.9 percent is


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                                                 not possible given that high levels of                  option of installing a direct-fired                   equal to 99.9 percent by weight, to a
                                                 chlorine in their exhaust streams would                 thermal oxidizer was discussed in 2016,               concentration less than 1 ppmv for each
                                                 poison the catalyst. The commenter                      at no point did the EPA suggest that an               process vent, or to less than 5 lb/yr for
                                                 added that even if their existing RTO                   RTO would not be sufficient or that a                 all combined process vents. The
                                                 could achieve a chloroprene destruction                 direct-fired thermal oxidizer might be                commenter said they also support the
                                                 efficiency of 99.9 percent, it does not                 required. The commenter asserted that                 EPA’s proposed rule text at 40 CFR
                                                 have capacity to accommodate the                        there has been no change since 2016 in                63.487(j) to add these same chloroprene
                                                 additional streams that would have to                   either (1) the EPA’s views about the risk             standards for batch front-end process
                                                 be routed to it under the proposed rule;                of chloroprene exposure or (2) its                    vents at affected sources producing
                                                 thus, the proposed rule would require                   understanding of the offsite                          neoprene. However, another commenter
                                                 the installation of one or more new                     concentrations that would be achieved                 argued that the EPA’s oversimplification
                                                 control devices that could accommodate                  under the Administrative Order on                     of the design configurations necessary to
                                                 very high air flows containing very low                 Consent.                                              comply with these proposed
                                                 concentrations of VOC, including                           Response: We reevaluated whether we                performance standards (which the EPA
                                                 chloroprene. The commenter provided                     could change the proposed 99.9 percent                presented in Docket Item No. EPA–HQ–
                                                 specific details of other control options               by weight reduction standard to 98                    OAR–2022–0730–0083) results in cost
                                                 and acknowledged that the destruction                   percent by weight given the                           estimates that are much too low. The
                                                 efficiency of an RTO can be increased to                commenter’s arguments that their                      commenter asserted the EPA did not
                                                 99.9 percent by adding an additional                    existing RTO and MERP cannot achieve                  consider in their analysis the following
                                                 oxidation step (which involves the                      a chloroprene reduction of 99.9 percent               technical and process safety challenges:
                                                 installation of a polishing catalyst bed                by weight. In our reevaluation for the                   • The EPA assumed that all the
                                                 in the stack that reheats the treated gas);             final rule, we determined that revising               sources at this commenter’s facility are
                                                 however, the commenter asserted that                    the performance standard for process                  to be enclosed and routed to a new
                                                 all other options that they evaluated                   vents and storage vessels in chloroprene              direct fired thermal oxidizer are in close
                                                 (e.g., installing new RTOs and/or direct                service (from a 99.9 percent by weight                proximity to each other, but the wash
                                                 fired thermal oxidizers) would require                  reduction requirement as proposed to a                belts are actually located in the
                                                 enormous amounts of fuel consumption,                   98 percent by weight reduction                        Finishing building, which is separate
                                                 quench water, and power consumption                     requirement in the final rule) will still             from the Poly building.
                                                 only to achieve minimum reductions.                     maintain the MIR at 100-in-1 million for                 • The EPA did not account for
                                                    The commenter asserted that the                      the Neoprene Production source                        complicated duct and piping (e.g.,
                                                 EPA’s cost estimate to install a new                    category and thereby result in the source             unique pipe lengths, diameters, number
                                                 direct fired thermal oxidizer is ‘‘far from             category chloroprene emissions being
                                                                                                                                                               of bends), which also impacts pump
                                                 realistic’’ given that their consultant                 reduced to acceptable levels. We have
                                                                                                                                                               specifications and other equipment such
                                                 estimated the equipment purchase costs                  made this change in the final rule at 40
                                                                                                                                                               as the blower.
                                                 for a new direct fired thermal oxidizer                 CFR 63.484(u)(1), 40 CFR 63.485(y)(1),
                                                                                                                                                                  • The existing thermal oxidizer
                                                 with recuperative heat exchange                         40 CFR 63.487(j)(1), and 40 CFR
                                                                                                                                                               cannot accommodate the additional
                                                 capabilities would be approximately                     63.510(a)(2). While considering the
                                                                                                                                                               vent streams from the wash belts (at
                                                 $12 million and total annual costs of                   current chloroprene emissions from
                                                 $39 million. The commenter said the                     both the existing RTO (0.84 tpy) and                  current flow rates). Each wash belt vent
                                                 EPA assumed a slightly smaller direct                   MERP (0.02 tpy based on our review of                 hood operates at approximately 28,000
                                                 fired thermal oxidizer than what they                   the emissions inventory calculations),                standard cubic feet per minute (scfm),
                                                 believe would be necessary and the EPA                  we have determined the revised                        and total chloroprene emissions for both
                                                 estimated an equipment purchase cost                    performance requirements for the final                wash belt vents combined is
                                                 of $5 million and total annual costs of                 rule will still reduce risk from Neoprene             approximately 3.3 tpy (2022 reported
                                                 $10.1 million; however, the commenter                   Production source category emissions to               value).
                                                 asserted that it is not clear if the EPA’s              an acceptable level and also provide an                  • Installing an enclosure around the
                                                 estimate includes the additional                        ample margin of safety to protect public              wash belts creates safety concerns given
                                                 scrubber capacity or the high nickel                    health (as was proposed) for the                      that the wash belt blower motors are
                                                 alloy materials that would be needed for                Neoprene Production source category.                  equipped with variable frequency drives
                                                 certain components. The commenter                       We also have determined that no                       which can change air flow through the
                                                 added that the EPA has not estimated                    additional requirements are needed to                 vent hoods; the potential variability in
                                                 the costs that would be required to                     prevent an adverse environmental effect               air flows would need to be evaluated by
                                                 upgrade the electrical and natural gas                  (as was proposed). In light of this, we               an industrial hygienist to ensure
                                                 infrastructure, or expand the wastewater                believe the commenter’s existing RTO                  compliance with personnel exposure
                                                 treatment plant (WWTP), which are all                   and MERP can be used to meet the                      requirements, or to make
                                                 actions that would be necessary to                      revised requirements for the final rule               recommendations for additional
                                                 install a new direct fired thermal                      and would no longer be considered a                   protective equipment.
                                                 oxidizer.                                               stranded investment as the commenter                     • Wash belts require frequent, manual
                                                    In summary, the commenter claimed                    has claimed.                                          intervention from area personnel to
                                                 that given that it is not possible to                      Comment: A commenter said they                     ensure stable operation; workers must
                                                 modify their existing RTO and MERP to                   support the EPA’s proposed rule text at               have physical access to the wash belt
                                                                                                                                                               area to perform routine maintenance
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                                                 achieve a chloroprene destruction                       40 CFR 63.485(y) that requires owners
                                                 efficiency of 99.9 percent, the proposed                and operators to reduce emissions of                  and repairs.
                                                 rule would leave the facility with $35                  chloroprene from continuous front-end                    • Wash belt enclosures would need to
                                                 million of stranded investment which                    process vents in chloroprene service at               be transparent to allow visual
                                                 was made fewer than 6 years ago to                      affected sources producing neoprene by                inspection of the process without entry
                                                 reduce chloroprene emissions in                         venting emissions through a closed-vent               and would also need to be durable
                                                 consultation with the EPA. The                          system to a non-flare control device that             enough to withstand frequent
                                                 commenter said that even though the                     reduces chloroprene by greater than or                disassembly and reassembly.


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                                                    • Any changes in airflows or                         storage vessels, strainers, and wash belt             actuality they are considered back-end
                                                 pressures, such as those that will occur                dryers and route the vapors to a thermal              process vents according to NESHAP
                                                 when installing enclosures and                          oxidizer (and thereby reduce                          subpart U. As such, we are clarifying in
                                                 adjusting blower speeds (for the wash                   chloroprene emissions from these                      the final rule that the requirements we
                                                 belts), will need to be evaluated to                    sources, which are fugitive in nature);               are finalizing for controlling
                                                 ensure that product quality standards                   and the result of this control option                 chloroprene from process vents in the
                                                 are achievable and to ensure that                       would reduce chloroprene emissions                    Neoprene Production source category,
                                                 production rates are not negatively                     from the polymer building, unstripped                 not only applies to continuous front-end
                                                 impacted. The finishing process is                      resin emulsion storage vessels, and                   process vents in chloroprene service
                                                 designed to supply very precise air                     wash belt dryers by 11.3 tpy (from 12                 and batch front-end process vents in
                                                 flows and pressure differentials                        tpy to 0.7 tpy). Although we continue to              chloroprene service, but also back-end
                                                 throughout in order to maintain                         stand by our analysis that chloroprene                process vents in chloroprene service. In
                                                 adhesion of the web (Neoprene product                   emissions from these emission sources                 other words, we are finalizing at 40 CFR
                                                 film) to the girt (flexible sheeting that               must be reduced to decrease risk posed                63.494(a)(7) a requirement that owners
                                                 guides the web through the process).                    by emissions from neoprene production                 and operators reduce emissions of
                                                    The commenter submitted a cost                       processes to an acceptable level, we                  chloroprene from back-end process
                                                 estimate of $3.6 million for the purchase               reevaluated whether we could change                   vents in chloroprene service at affected
                                                 of a direct fired thermal oxidizer with a               the 99.9 percent by weight reduction                  sources producing neoprene by venting
                                                 chloroprene destruction efficiency of                   standard to 98 percent by weight given                emissions through a closed-vent system
                                                 99.9 percent that would be sized to                     a commenter’s arguments (as discussed                 to a non-flare control device that
                                                 accommodate waste gas from the wash                     in section 3.1 of the document titled                 reduces chloroprene by greater than or
                                                 belts. The commenter estimated the                      Summary of Public Comments and                        equal to 98 percent by weight, to a
                                                 total cost for installing and operating the             Responses for New Source Performance                  concentration less than 1 ppmv for each
                                                 thermal oxidizer would be about $18                     Standards for the Synthetic Organic                   process vent, or to less than 5 lb/yr for
                                                 million. The commenter asserted that                    Chemical Manufacturing Industry and                   all combined process vents. We
                                                 because of the low VOC content in the                   National Emission Standards for                       anticipate that the facility will still need
                                                 exhaust stream, natural gas                             Hazardous Air Pollutants for the                      to install an additional thermal oxidizer
                                                 consumption would be high, and the                      Synthetic Organic Chemical                            in order to comply with the final
                                                 total annualized costs would be almost                  Manufacturing Industry and Group I &                  performance standard for process vents
                                                 $3.0 million (not including the capital                 II Polymers and Resins Industry, which
                                                 costs for the enclosure and associated                                                                        and storage vessels in chloroprene
                                                                                                         is available in the docket for this                   service. We also note that while the
                                                 infrastructure). The commenter stated                   rulemaking) that their existing thermal
                                                 that the cost-per-ton of chloroprene                                                                          commenter claims that the 3.3 tpy
                                                                                                         oxidizer cannot achieve a chloroprene                 chloroprene emissions from the wash
                                                 emission reduction would be                             reduction of 99.9 percent by weight. In
                                                 approximately $0.9 million (based on                                                                          belt dryers were reported in their 2022
                                                                                                         our reevaluation for the final rule, we               inventory, we stand by our decision to
                                                 the 3.3 tpy of chloroprene emissions                    determined that revising the
                                                 reported in their 2022 inventory). The                                                                        use the facility’s 2019 emissions
                                                                                                         performance standard for process vents                inventory which shows 3.9 tpy
                                                 commenter added that operating the                      and storage vessels in chloroprene
                                                 new thermal oxidizer would contribute                                                                         chloroprene emissions from the wash
                                                                                                         service (from a 99.9 percent by weight                belt dryers. As previously mentioned,
                                                 to environmental harm including 16,200
                                                                                                         reduction requirement as proposed to a                the facility’s emissions inventory was
                                                 metric tons a year of carbon dioxide
                                                                                                         98 percent by weight reduction                        provided to the EPA pursuant to our
                                                 equivalents (CO2e).
                                                    Response: We acknowledge                             requirement in the final rule) will still             CAA section 114 request. In particular,
                                                 commenters’ support and opposition for                  maintain the MIR at 100-in-1 million for              the EPA requested emission inventories
                                                 the provision at 40 CFR 63.485(y) that                  the Neoprene Production source                        from the past 5 years (i.e., 2016–2020)
                                                 requires owners and operators to reduce                 category. The result of this revision in              from the facility’s operations as part of
                                                 emissions of chloroprene from                           the final rule will reduce chloroprene                this request. As 2017 NEI data did not
                                                 continuous front-end process vents in                   emissions from the polymer building,                  represent current controls being
                                                 chloroprene service at affected sources                 unstripped resin emulsion storage                     employed at Denka Performance
                                                 producing neoprene by venting                           vessels, and the wash belt dryers from                Elastomers, LLC, the EPA chose to use
                                                 emissions through a closed-vent system                  12 tpy to 0.9 tpy (i.e., a reduction of 11.1          the most current data it had available
                                                 to a non-flare control device that                      tpy chloroprene in lieu of 11.3 tpy as                and that is reflective of current
                                                 reduces chloroprene by greater than or                  proposed). We have determined these                   operations and emissions. Given
                                                 equal to 99 percent by weight, to a                     revised performance requirements for                  concerns about decreased production
                                                 concentration less than 1 ppmv for each                 the final rule will still reduce risk to an           and emissions in 2020 from the COVID–
                                                 process vent, or to less than 5 lb/yr for               acceptable level and also provide an                  19 pandemic, the EPA elected to use
                                                 all combined process vents. We also                     ample margin of safety to protect public              Denka Performance Elastomer, LLC’s
                                                 acknowledge commenters’ support and                     health (as was proposed) from P&R I                   2019 emissions inventory submitted as
                                                 opposition for the provision at 40 CFR                  emission sources. We also have                        part of the CAA section 114 request in
                                                 63.487(j) to add these same chloroprene                 determined that no additional                         its risk assessment for the SOCMI and
                                                 standards for batch front-end process                   requirements are needed to prevent an                 Neoprene Production source categories
                                                                                                         adverse environmental effect (as was                  in lieu of the 2017 NEI data. Even if we
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                                                 vents at affected sources producing
                                                 neoprene.                                               proposed).                                            were to revise emissions based on the
                                                    As discussed in the preamble to the                     We also acknowledge that the wash                  facility’s 2022 emissions inventory, we
                                                 proposed rule (see 88 FR 25080, April                   belt dryers are located in the finishing              continue to believe our cost estimate to
                                                 25, 2023), we had determined that the                   building, which is separate from the                  install permanent total enclosures, a
                                                 only viable way to meet these proposed                  polymer building; and at proposal, we                 thermal oxidizer, and ductwork and
                                                 standards is to enclose all of the                      incorrectly assumed these process vents               associated support equipment (using the
                                                 polymer batch reactors, emulsion                        were front-end process vents when in                  procedures in the EPA’s 2002 Control


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                                                 Cost Manual) is reasonable, and note                    has several major flaws. The commenter                EPA, the maximum fraction of the mass
                                                 that cost does not play a role in setting               said the EPA’s analysis suggests that the             of chloroprene that could end up as an
                                                 standards that are necessary to reduce                  proposed control requirements for                     air emission is about 4 tpy before
                                                 risk to an acceptable level under step                  wastewater would reduce chloroprene                   biological control. Applying the 80
                                                 one of the Benzene NESHAP approach                      emissions by 17.7 tpy, when in fact the               percent estimated biological control
                                                 codified in CAA section 112(f).                         emission reductions would be closer to                removal rate, current emissions are
                                                 Furthermore, with regard to a                           1 tpy; therefore, the EPA’s analysis                  approximately 0.8 tpy from the air
                                                 commenter’s specific objections to                      substantially overstates the emission                 stripper rundown streams. Even if the
                                                 installing a permanent total enclosure                  reductions that would be achieved, and                EPA’s assumption of a 99 percent
                                                 around their wash belts/dryers, we note                 the efficacy and cost-effectiveness of the            removal efficiency for steam stripping is
                                                 that even though we costed out                          proposed requirements at 40 CFR                       accurate, it would reduce emissions by
                                                 permanent total enclosures for these                    63.501(a)(10)(iv). The commenter                      about 0.8 tpy from the stripper rundown
                                                 emission sources in our proposal, there                 provided the following critiques of the               streams.
                                                 is no explicit requirement in the                       EPA’s analysis:                                          The commenter concluded that when
                                                 proposed rule, or final rule, to install                   • there are approximately 13.5 tpy of              adding the 0.8 tpy from the stripper
                                                 permanent total enclosures around these                 wastewater in chloroprene service that                rundown streams to the 0.1 tpy
                                                 emission sources. We opted for this                     pass through the WWTP, not 26.3,                      reduction from the decanter and kettle
                                                 option as the most conservative way to                  which the EPA incorrectly used in their               line wastewater streams, the EPA’s
                                                 collect the fugitive chloroprene                        analysis.                                             proposed steam stripping requirement is
                                                 emissions from the wash belts/dryers                       • although the EPA acknowledges                    likely to reduce current chloroprene
                                                 and route them to a control device such                 that some controls may already be in                  emissions by about 1 tpy (not by 17.7
                                                 as a thermal oxidizer. Nothing in the                   place, their analysis goes on to analyze              tpy as the EPA had determined). The
                                                 proposed rule, or final rule, prevents the              the effectiveness of the proposed                     commenter added that there is also
                                                 facility from doing something different                 requirements based on the assumption                  uncertainty as to whether steam
                                                 than installing a permanent total                       that there are no such controls;                      stripping would actually achieve 99
                                                 enclosure around their wash belts/                      however, the facility already employs an              percent removal of the low
                                                 dryers so long as the owner or operator                 air stripping system to treat the decanter            concentrations of chloroprene in
                                                 can achieve the emission standard we                    and kettle line wastewater streams. The               wastewater given that chloroprene is a
                                                 are finalizing at 40 CFR 63.494(a)(7) for               air stripping occurs in the air sparging              halogenated alkane, and no information
                                                 back-end process vents (i.e., the                       tank, which is routed to the onsite RTO.              has been presented that is specific to
                                                 requirement that owners and operators                   Testing suggests that the air sparging                steam stripping of chloroprene from
                                                 reduce emissions of chloroprene from                    tank achieves a control efficiency of                 wastewater at the concentrations
                                                 back-end process vents in chloroprene                   approximately 95 percent. Thus, of the                present in wastewater at the facility.
                                                 service at affected sources producing                   7.5 tpy of chloroprene contained in                   The commenter deduced that when
                                                 neoprene by venting emissions through                   these 2 streams, all but ∼0.4 tpy are                 using their expected actual emissions
                                                 a closed-vent system to a non-flare                     removed via air stripping and directed                reductions of about 1 tpy, the cost
                                                 control device that reduces chloroprene                 to RTO. This amount, ∼0.4 tpy, then                   effectiveness would be closer to $7.5
                                                 by greater than or equal to 98 percent by               goes to the WWTP, which includes a                    million per ton removed (without
                                                 weight, to a concentration less than 1                  biological treatment system that reduces              considering the cost of installing and
                                                 ppmv for each process vent, or to less                  it by approximately 80 percent, meaning               operating a thermal oxidizer that would
                                                 than 5 lb/yr for all combined process                   that chloroprene emissions from the                   be required under the EPA’s proposal to
                                                 vents).                                                 decanter and kettle line streams are                  handle the chloroprene from the steam
                                                    Even so, we anticipate cost to be less               likely less than 0.1 tpy. Thus,                       stripper unit), and not $426,900 per ton
                                                 of a concern for the final rule given that              accounting for the control efficiency of              as the EPA has estimated.
                                                 the facility should be able to use their                the air sparging tank and the biologic                   Response: The EPA acknowledges the
                                                 existing thermal oxidizer to meet the                   treatment system, almost 99 percent of                commenters’ support for and opposition
                                                 revised performance standard (reduce                    the 7.5 tpy contained in the decanter                 of the proposed wastewater provisions
                                                 chloroprene by greater than or equal to                 and kettle line wastewater streams is                 at 40 CFR 63.501(a)(10)(iv). We are
                                                 98 percent by weight) for at least some                 already controlled. Even if steam                     finalizing these provisions as proposed.
                                                 of their process vents and storage                      stripping achieves a 99 percent capture               We disagree with the commenter’s
                                                 vessels in chloroprene service.                         efficiency in these streams, it would                 assertion that 13.5 tpy of wastewater in
                                                                                                         only reduce emissions by about 0.025                  chloroprene service pass through the
                                                 ii. Wastewater in Chloroprene Service                   tpy (to 0.075 tpy as compared to 0.1 tpy              WWTP. We also disagree that our
                                                    Comment: A commenter said that                       today).                                               emissions reductions were
                                                 they support the proposed provision at                     • based on limited testing of the air              overestimated. We believe 26.3 tpy of
                                                 40 CFR 63.501(a)(10)(iv) to revise the                  stripper rundown streams, they contain                wastewater in chloroprene service pass
                                                 Group 1 wastewater stream threshold to                  approximately 6.0 tpy of chloroprene.                 through the WWTP (i.e., the amount of
                                                 include wastewater streams in                           These streams are routed to the outdoor               chloroprene entering the air sparging
                                                 chloroprene service (i.e., wastewater                   brine pit, which then discharges to the               tank) based on our review of emissions
                                                 streams with total annual average                       WWTP. The EPA did not consider that                   inventory calculations for wastewater
                                                 concentration of chloroprene greater                    the WWTP includes biological control                  entering the WWTP. We maintain that
                                                 than or equal to 10 ppmw at any flow                    that currently reduces chloroprene
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                                                                                                                                                               17.7 tpy of emissions reductions is
                                                 rate). However, another commenter said                  emissions by approximately 80 percent.                appropriate, based on a mass balance of
                                                 the EPA’s analysis of the costs and                     It is true that some emissions to air                 the information provided in the
                                                 emission reductions associated with                     occur as the wastewater is conveyed                   emissions inventory calculations. The
                                                 reducing chloroprene emissions from                     through the outdoor brine pit and to the              results of our mass balance suggest that
                                                 wastewater streams at neoprene                          WWTP, but it is incorrect for the EPA                 our initial analysis is appropriate.
                                                 production processes (see Docket Item                   to consider it ‘‘uncontrolled.’’ Assuming                We also disagree with the commenter
                                                 No. EPA–HQ–OAR–2022–0730–0092)                          the Fe of 68 percent suggested by the                 and maintain it was appropriate to


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                                                 assume no controls during our initial                   40 CFR 63.483(a)(10) that requires                    using an unpermitted brine pit to allow
                                                 analysis such that a steam stripper                     owners and operators to comply with a                 poly-kettle waste to off-gas
                                                 would be placed before the air sparging                 facility-wide chloroprene emissions cap               chloroprene).
                                                 tank. Simply put, the P&R I NESHAP                      of 3.8 tpy in any consecutive 12-month                   Response: We are not finalizing the
                                                 (which references the HON wastewater                    period for all neoprene production                    proposed requirement at 40 CFR
                                                 requirements) requires all wastewater                   emission sources. However, another                    63.483(a)(10) that would have required
                                                 collection system components (tanks,                    commenter argued that it is impossible                owners and operators to comply with a
                                                 surface impoundments, containers,                       to know whether the chloroprene                       chloroprene emissions cap of 3.8 tpy in
                                                 individual drain systems, and oil-water                 emissions cap of 3.8 tpy is simply a                  any consecutive 12-month period for all
                                                 separators) to be covered and upstream                  ‘‘backstop’’ or an additional requirement             neoprene production emission sources.
                                                 of the wastewater treatment process.                    that goes beyond the proposed                         The proposed facility-wide chloroprene
                                                 However, the facility’s wastewater                      requirements to control emissions of                  emissions cap was intended to address
                                                 treatment system is configured with an                  chloroprene from maintenance vents                    unknown or uncertain emission sources
                                                 air sparging tank (air stripper), followed              and PRDs, and process vents, storage                  in the Neoprene Production source
                                                 by an outdoor brine pit (open to the                    vessels, and wastewater ‘‘in chloroprene              category, including emissions from
                                                 atmosphere), followed by biological                     service.’’ The commenter asserted that                back-end process operations. However,
                                                 treatment. Furthermore, the commenter                   the EPA does not appear to have                       we agree with a commenter that the
                                                 claims their air stripper achieves                      determined whether full compliance                    proposed facility-wide chloroprene
                                                 approximately 95 percent control, but                   with the proposed requirements to                     emissions cap is confusing on how it
                                                 did not provide any data to corroborate                 control chloroprene from maintenance                  would be applied beyond the proposed
                                                 this control efficiency. When taking the                vents and PRDs, and process vents,                    requirements for emission sources in
                                                 configuration of the facility’s                         storage vessels, and wastewater ‘‘in                  chloroprene service. Instead, we believe
                                                 wastewater treatment system into                        chloroprene service’’ would reduce the                the fenceline monitoring requirements
                                                 account, we assumed no controls, since                  facility-wide emissions below the                     that we are finalizing will serve as a
                                                 wastewater streams flow through a                       proposed chloroprene emissions cap of                 reasonable backstop for limiting
                                                 control device with an unknown control                  3.8 tpy. The commenter also asserted                  emissions and addressing fugitive and
                                                 efficiency directly into an open brine                  that the EPA has not estimated the costs              any unknown emission sources in the
                                                 pit.                                                    of reducing facility-wide emissions                   Neoprene Production source category as
                                                    Also, contrary to the commenter’s                    below this cap, nor does the EPA                      well as whole-facility chloroprene
                                                 remark regarding steam stripper                         provide any details about the type of                 emissions. We are also clarifying in the
                                                 performance, we believe the use of 99                   monitoring that would be required to                  final rule that the requirements we
                                                 percent removal of chloroprene from                     demonstrate compliance with it. The                   proposed for controlling chloroprene
                                                 steam stripping is appropriate based on                 commenter argued that given the EPA’s                 from process vents in the Neoprene
                                                 its Fr value. In the document titled                    determination that the chloroprene                    Production source category apply not
                                                 Analysis of Control Options for                         emissions cap of 3.8 tpy would protect                only to continuous front-end process
                                                 Wastewater Streams to Reduce Residual                   public health with an ample margin of                 vents in chloroprene service and batch
                                                 Risk of Chloroprene from Neoprene                       safety, the proposed requirements to                  front-end process vents in chloroprene
                                                 Production Processes Subject to P&R I                   control chloroprene from maintenance                  service, but also to back-end process
                                                 (see Docket Item No. EPA–HQ–OAR–                                                                              vents in chloroprene service. For more
                                                                                                         vents and PRDs, and process vents,
                                                 2022–0730–0092), we explain that the                                                                          details about this, see our responses to
                                                                                                         storage vessels, and wastewater ‘‘in
                                                 EPA calculated the Fr values for a                                                                            comments in section IV.A.3.e.i of this
                                                                                                         chloroprene service’’ are unlawful if
                                                 variety of HAP during the original                                                                            preamble.
                                                                                                         they would force the facility to reduce
                                                 rulemaking of the HON. The Fr is the
                                                                                                         emissions appreciably below 3.8 tpy.                  iv. Other Chloroprene Related
                                                 fraction of a HAP that is stripped from
                                                                                                         The commenter said that the EPA does                  Requirements
                                                 wastewater and is an indicator of the
                                                                                                         not have authority to require emission                   Comment: A commenter said they
                                                 extent to which a HAP is effectively
                                                                                                         reductions that go beyond what is                     supported the EPA’s proposed rule text
                                                 removed during the steam stripping
                                                                                                         necessary to protect public health with               at 40 CFR 63.509 sampling and analysis
                                                 process. For chloroprene, the Fr has
                                                                                                         an ample margin of safety, unless they                procedures for owners and operators of
                                                 always been 99 percent in Table 9 to
                                                                                                         are based on cost-effective                           affected sources producing neoprene to
                                                 NESHAP subpart G and we maintain
                                                                                                         improvements in control technology                    demonstrate that process equipment
                                                 this is reflective of the current
                                                                                                         under CAA section 112(d)(6).                          does, or does not, meet the proposed
                                                 technology.
                                                    Finally, we remind the commenter                        Another commenter provided several                 definition of being ‘‘in chloroprene
                                                 that, due to the risk associated with                   reasons why the chloroprene emissions                 service.’’
                                                 chloroprene, cost does not play a role in               cap of 3.8 tpy is inappropriate,                         Response: The EPA acknowledges the
                                                 setting standards that are necessary to                 including: (1) The EPA back-calculated                commenter’s support of the sampling
                                                 reduce risk to an acceptable level under                this cap from a flawed risk assessment;               and analysis procedures used to
                                                 step one of the Benzene NESHAP                          (2) the cap is unverifiable and therefore             determine whether process equipment
                                                 approach codified in CAA section                        not enforceable, particularly here where              is ‘‘in chloroprene service.’’ We are
                                                 112(f). Regardless of whether or not                    it encompasses not only non-flare point               making the following minor changes in
                                                 emissions reductions were                               sources (which can, with some effort, be              the final rule to clarify our intent: (1)
                                                                                                         properly monitored) but also flare and                For process vents, we have clarified
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                                                 underestimated (which we disagree
                                                 with), a higher cost-effectiveness is not               numerous fugitive sources (whose                      within the definition of ‘‘in chloroprene
                                                 grounds for reevaluating the proposed                   emissions simply cannot be tested,                    service’’ that the 5 lb/yr chloroprene
                                                 provisions at 40 CFR 63.501(a)(10)(iv).                 monitored, and verified); and (3) there               mass threshold for combined process
                                                                                                         have recently been large problems with                vents be on a EPPU-by-EPPU basis; (2)
                                                 iii. Chloroprene Facility-Wide Cap                      ‘‘unknown’’ and therefore unreported                  For storage vessels, we are revising the
                                                    Comment: A commenter said they                       emissions at the facility (e.g., in 2022,             phrasing of ‘‘sampling and analysis is
                                                 support the EPA’s proposed rule text at                 the EPA discovered that the facility was              performed as specified in § 63.509’’


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                                                 within the definition of ‘‘in chloroprene               were submitted. Because the detection                 112(f)(2) using ‘‘a two-step standard-
                                                 service’’ to ‘‘the procedures specified in              capabilities of OGI cameras are highly                setting approach, with an analytical first
                                                 § 63.509 are performed’’; and (3) we                    influenced by environmental                           step to determine an ‘acceptable risk’
                                                 have clarified at 40 CFR 63.509(a) that                 conditions, this is important data to                 that considers all health information,
                                                 the sampling site shall be after the last               understand, and it is unlikely that a                 including risk estimation uncertainty,
                                                 recovery device (if any recovery devices                one-day study would provide                           and includes a presumptive benchmark
                                                 are present) but prior to the inlet of any              information on the capabilities of the                on maximum individual lifetime risk
                                                 control device that is present and prior                camera in the range of environmental                  (MIR) of approximately 1-in-10
                                                 to release to the atmosphere.                           conditions under which field surveys                  thousand’’ (88 FR 25080, April 25, 2023;
                                                    Comment: A commenter (0172)                          would normally be conducted.                          see also 54 FR 38045, September 9,
                                                 requested that the EPA recognize in the                    Although the EPA recently finalized a              1989.) 47 We weigh all health risk factors
                                                 final rule that OGI is effective for                    protocol for using OGI in the detection               in our risk acceptability determination,
                                                 detecting chloroprene leaks and work                    of VOC and methane leaks (40 CFR part                 including the cancer MIR, cancer
                                                 with their facility to develop a protocol               60 appendix K), we note that the                      incidence, the maximum TOSHI, the
                                                 for LDAR that could be included as a                    protocol is geared towards midwave                    maximum acute HQ, the extent and
                                                 compliance option. The commenter                        OGI cameras that operate with a filter in             distribution of cancer and noncancer
                                                 claimed that the LDAR requirement in                    a particular spectral range (around 3.3               risks in the exposed population,
                                                 the proposed rule would require them to                 microns) where methane and many VOC                   multipathway risks, and the risk
                                                 hire additional technicians (likely 3                   compounds have a spectral peak. The                   estimation uncertainties.
                                                 additional workers) and purchase                        type of OGI camera the protocol is                       Since proposal, our determinations
                                                 additional equipment. The commenter                     geared towards is not suited to finding               regarding risk acceptability, ample
                                                 said that they spoke to leak detection                  leaks of chloroprene because                          margin of safety, or adverse
                                                 experts at Montrose Environmental who                   chloroprene does not have a strong peak               environmental effects have not changed.
                                                 said that a forward looking infrared                    in the spectral range of these cameras,               However, after proposal, commenters
                                                 cooled G304 camera would likely be an                   which means that only very high leaks                 provided updated information on their
                                                 effective tool for monitoring and                       of chloroprene would be visible to these              facilities, including specific information
                                                 detecting chloroprene leaks. The                        cameras. The OGI camera mentioned by                  regarding use of the TCEQ modeling
                                                 commenter stated that they completed a                  the commenter has a filter in a different             guidelines to calculate effective flare
                                                 one-day field test with such a camera                   spectral range. The EPA has not studied               stack parameters. We updated the risk
                                                 and found that it was effective for                     this camera to understand its detection               assessment for the SOCMI and
                                                 detecting chloroprene leaks.                            capabilities, especially in regard to                 Neoprene Production source categories
                                                    Response: We did not propose control                 chloroprene, which is a risk driver for               considering the comments received on
                                                 options for equipment leaks to reduce                   the source category, nor could the EPA                modeling flares. The revised risk
                                                 chloroprene risk from the Neoprene                      readily find information on the ability of            assessment (see the risk reports,
                                                 Production source category. To reduce                   this OGI camera to see leaks of                       Residual Risk Assessment for the
                                                 risk from the Neoprene Production                       chloroprene. Because the leak                         SOCMI Source Category in Support of
                                                 source category to an acceptable level,                 definitions for the source category are               the 2024 Risk and Technology Review
                                                 we proposed to require control of                       low, on the order of 500 to 1000 ppm                  Final Rule and Residual Risk
                                                 chloroprene for: (1) Process vents, (2)                 for most equipment, it is extremely                   Assessment for the Polymers & Resins I
                                                 storage vessels, and (3) wastewater ‘‘in                important to understand the detection                 Neoprene Production Source Category
                                                 chloroprene service.’’ We also proposed                 capability of an OGI camera being used                in Support of the 2024 Risk and
                                                 requirements to reduce chloroprene                      at these sources, especially considering              Technology Review Final Rule, which
                                                 emissions from maintenance vents and                    that while the OGI cameras the EPA has                are available in the docket for this
                                                 PRDs. See section III.B.2.b of the                      studied are effective at finding large                rulemaking) shows that, after
                                                 preamble to the proposed rule for more                  leaks for many compounds, OGI                         application of controls finalized in this
                                                 details (88 FR 25080, April 25, 2023).                  cameras tend to be less effective at                  rulemaking, the MIR for each of the
                                                 However, we did make an error in the                    finding low-level leaks.                              source categories is 100-in-1 million.
                                                 document titled Proposed Regulation                        Even so, P&R I facilities currently                Therefore, after application of the EtO-
                                                 Edits for 40 CFR part 63 Subpart U:                     have an option to use OGI through an                  specific controls for process vents,
                                                 National Emission Standards for                         alternative work practice to detect leaks             storage vessels, equipment leaks, heat
                                                 Hazardous Air Pollutant Emissions:                      from equipment at 40 CFR 63.11(c), (d),               exchange systems, and wastewater, and
                                                 Group I Polymers and Resins (see                        and (e). This alternative work practice               the requirements to reduce EtO
                                                 Docket Item No. EPA–HQ–OAR–2022–                        includes provisions for using OGI in                  emissions from maintenance vents and
                                                 0730–0066) that suggests at 40 CFR                      combination with annual monitoring                    PRDs, we find that the risks are
                                                 63.502(a)(6) we were proposing to                       using EPA Method 21 (and not as an                    acceptable for the SOCMI source
                                                 regulate certain equipment in                           alternative). The alternative work
                                                 chloroprene service.                                    practice is not geared towards a                         47 We generally draw no ‘‘bright lines’’ of

                                                    The EPA has not provided an OGI-                     particular type of OGI camera, and                    acceptability regarding cancer or noncancer risks
                                                 only option for detection for                                                                                 from source category HAP emissions, and it is
                                                                                                         instead, requires owners and operators                always important to consider the specific
                                                 chloroprene leaks. Although the                         to perform daily instrument checks                    uncertainties of the emissions and health effects
                                                 commenter mentions a one-day study                      based on the detection levels and                     information regarding the source category in
                                                 performed by Montrose Environmental
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                                                                                                         concentration of detectable chemicals in              question when deciding exactly what level of
                                                 on the effectiveness of a particular OGI                                                                      cancer and noncancer risk should be considered
                                                                                                         the equipment being surveyed.                         acceptable. In addition, the source category-specific
                                                 camera’s ability to see chloroprene                                                                           decision of what constitutes an acceptable level of
                                                 emissions, no information from that                     4. What is the rationale for our final                risk should be a holistic one; that is, it should
                                                 study was submitted. Additionally, no                   approach and final decisions for the risk             simultaneously consider all potential health
                                                 information on the detection level                      review?                                               impacts—chronic and acute, cancer and noncancer,
                                                                                                                                                               and multipathway—along with their uncertainties,
                                                 determined during the study or the                         As noted in our proposal, the EPA                  when determining the acceptable level of source
                                                 environmental conditions of the study                   sets standards under CAA section                      category risk.



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                                                 category and that the final HON                         heat exchange systems. We determined                     For a detailed discussion of the EPA’s
                                                 standards will achieve an ample margin                  that this method is more effective in                 findings, refer to the document titled
                                                 of safety to protect human health from                  identifying leaks and measures a larger               Clean Air Act Section 112(d)(6)
                                                 risks presented by HON emission                         number of compounds than the methods                  Technology Review for Heat Exchange
                                                 sources. Also, after application of the                 previously required in the HON and the                Systems Located in the SOCMI Source
                                                 chloroprene-specific controls for                       P&R I NESHAP. After evaluating state                  Category that are Associated with
                                                 process vents, storage vessels, and                     and Federal regulations requiring the                 Processes Subject to HON and for Heat
                                                 wastewater, and the requirements to                     Modified El Paso Method, as well as                   Exchange Systems that are Associated
                                                 reduce chloroprene emissions from                       emission data collected for the Ethylene              with Processes Subject to Group I
                                                 maintenance vents and PRDs, we find                     Production RTR (refer to section II.D of              Polymers and Resins NESHAP; and
                                                 that the risks are acceptable for the                   the proposal preamble (88 FR 25080,                   Control Option Impacts for Heat
                                                 Neoprene Production source category                     April 25, 2023) and the Ethylene                      Exchange Systems that are Associated
                                                 and that the final P&R I standards will                 Production RTR rulemaking docket,                     with Processes Subject to Group II
                                                 achieve an ample margin of safety to                    Docket ID No. EPA–HQ–OAR–2017–                        Polymers and Resins NESHAP (see
                                                 protect human health from risks                         0357), we proposed pursuant to CAA                    Docket Item No. EPA–HQ–OAR–2022–
                                                 presented by neoprene production                        section 112(d)(6) to require use of the               0730–0075).
                                                 emission sources.                                       Modified El Paso Method with a leak                   ii. Storage Vessels
                                                                                                         definition of 6.2 ppmv of total
                                                 B. Technology Review for the SOCMI,                                                                              In our technology review for the
                                                                                                         strippable hydrocarbon concentration
                                                 P&R I, and P&R II Source Categories                                                                           SOCMI, P&R I, and P&R II source
                                                                                                         (as methane) in the stripping gas to
                                                 NESHAP and NSPS Review for the                                                                                categories, we identified three options
                                                                                                         further reduce HAP emissions from both
                                                 SOCMI Source Category                                                                                         for reducing emissions from HON and
                                                                                                         new and existing heat exchange
                                                 1. What did we propose pursuant to                      systems, as well as to disallow delay of              P&R I storage vessels. Refer to section
                                                 CAA section 112(d)(6) for SOCMI, P&R                    repair of leaks if the measured                       III.C.2 of the proposal preamble (88 FR
                                                 I, and P&R II source categories and CAA                 concentration meets or exceeds 62                     25080, April 25, 2023) for a summary of
                                                 section 111(b)(1)(B) for the SOCMI                      ppmv. Based on an evaluation of                       the three options. Based on our
                                                 source category?                                        incremental HAP cost effectiveness to                 evaluation of the costs and emission
                                                                                                         increase the monitoring frequency, we                 reductions of each of the three options,
                                                 a. NESHAP                                                                                                     we proposed pursuant to CAA section
                                                                                                         proposed no changes to the monitoring
                                                    Based on our technology review for                                                                         112(d)(6) to: (1) Revise the Group 1
                                                                                                         frequency previously required under the
                                                 the SOCMI, P&R I, and P&R II source                                                                           HON and P&R I storage vessel capacity
                                                                                                         HON and the P&R I NESHAP for
                                                 categories, we proposed under CAA                                                                             and MTVP thresholds to reflect the
                                                                                                         monitoring for leaks from heat exchange
                                                 section 112(d)(6) changes to the HON                                                                          MON existing source threshold, which
                                                                                                         systems, which continues to be monthly
                                                 and P&R I standards for heat exchange                                                                         requires existing storage vessels
                                                                                                         monitoring in the first 6 months
                                                 systems, storage vessels, and process                                                                         between 38 m3 and 151 m3 with a vapor
                                                                                                         following startup of a source and
                                                 vents and we proposed no change under                                                                         pressure greater than or equal to 6.9
                                                                                                         quarterly monitoring thereafter. We also
                                                 CAA section 112(d)(6) to the P&R II                                                                           kilopascals to reduce emissions of
                                                                                                         proposed to require re-monitoring at the
                                                 standards for storage vessels and                                                                             organic HAP by 95 percent utilizing a
                                                                                                         monitoring location where a leak is
                                                 process vents. The P&R II NESHAP                                                                              closed vent system and control device,
                                                                                                         identified to ensure that any leaks found
                                                 currently does not regulate HAP                                                                               or reduce organic HAP emissions by
                                                                                                         are fixed. Further, we proposed that
                                                 emissions from heat exchange systems,                                                                         utilizing either an IFR, or an EFR, by
                                                                                                         none of these proposed requirements for
                                                 but we are finalizing, as proposed,                                                                           routing the emissions to a process or a
                                                                                                         heat exchange systems apply to heat
                                                 requirements in the P&R II NESHAP for                                                                         fuel gas system, or by vapor balancing;
                                                                                                         exchange systems that have a maximum
                                                 heat exchange systems pursuant to CAA                                                                         and (2) in addition to requirements
                                                                                                         cooling water flow rate of 10 gallons per
                                                 section 112(d)(2) and (3). In addition,                                                                       specified in option 1, require upgraded
                                                                                                         minute or less. Finally, we proposed
                                                 we proposed no change under CAA                                                                               deck fittings49 and controls for
                                                                                                         that owners and operators may use the
                                                 section 112(d)(6) for transfer racks,                                                                         guidepoles for all storage vessels
                                                                                                         current leak monitoring requirements
                                                 wastewater streams, and equipment                                                                             equipped with an IFR as already
                                                                                                         for heat exchange systems at 40 CFR
                                                 leaks. We also proposed fenceline                                                                             required in 40 CR 63, subpart WW.
                                                                                                         63.104(b) in lieu of using the Modified
                                                 monitoring requirements under CAA                                                                                For a detailed discussion of the EPA’s
                                                                                                         El Paso Method provided that 99
                                                 section 112(d)(6). We provide a                                                                               findings, refer to the document titled
                                                                                                         percent by weight or more of the organic
                                                 summary of our findings, as proposed,                                                                         Clean Air Act Section 112(d)(6)
                                                                                                         compounds that could leak into the heat
                                                 in this section.                                                                                              Technology Review for Storage Vessels
                                                                                                         exchange system are water soluble and
                                                                                                                                                               Located in the SOCMI Source Category
                                                 i. Heat Exchange Systems                                have a Henry’s Law Constant less than
                                                                                                                                                               that are Associated with Processes
                                                                                                         5.0E–6 atmospheres-cubic meters/mol at
                                                    In our technology review for the                                                                           Subject to HON, Storage Vessels
                                                                                                         25 degrees Celsius. Refer to section
                                                 SOCMI, P&R I, and P&R II source                                                                               Associated with Processes Subject to
                                                                                                         III.C.1 of the proposal preamble (88 FR
                                                 categories, we identified one                                                                                 Group I Polymers and Resins NESHAP,
                                                                                                         25080, April 25, 2023) for a summary of
                                                 development in practices and processes                                                                        and Storage Vessels Associated with
                                                                                                         our rationale for selecting the proposed
                                                 for HON and P&R I heat exchange                                                                               Processes Subject to Group II Polymers
                                                                                                         leak method, leak definition, and
                                                 systems, the use of the Modified El Paso                                                                      and Resins NESHAP (see Docket Item
                                                                                                         limitation on delay of repairs, as well as
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                                                 Method48 for monitoring for leaks from                                                                        No. EPA–HQ–OAR–2022–0730–0073).
                                                                                                         our rationale for retaining the previous
                                                   48 The Modified El Paso Method uses a dynamic         monitoring schedule.                                    49 This means that we require all openings in an

                                                 or flow-through system for air stripping a sample of                                                          IFR (except those for automatic bleeder vents
                                                 the water and analyzing the resultant off-gases for     Paso Method) for Determination of Volatile Organic    (vacuum breaker vents), rim space vents, leg
                                                 VOC using a common flame ionization detector            Compound (VOC) Emissions from Water Sources.          sleeves, and deck drains) to be equipped with a
                                                 analyzer. The method is described in detail in          Appendix P is included in the docket for this         deck cover, and the deck cover would be required
                                                 Appendix P of the TCEQ’s Sampling Procedures            rulemaking (see Docket Item No. EPA–HQ–OAR–           to be equipped with a gasket between the cover and
                                                 Manual: The Air Stripping Method (Modified El           2022–0730–0032).                                      the deck.



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                                                 iii. Process Vents                                      b. NSPS                                               monitoring requirements for adsorbers
                                                                                                         i. Process Vents                                      that cannot be regenerated and
                                                    In our technology review for the                                                                           regenerative adsorbers that are
                                                 SOCMI, P&R I, and P&R II source                            In our review of NSPS subparts III,                regenerated offsite. For a detailed
                                                 categories, we identified three options                 NNN, and RRR (for SOCMI air oxidation                 discussion of the EPA’s findings, refer to
                                                 for reducing emissions from HON                         units, distillation operations, and                   the document titled CAA 111(b)(1)(B)
                                                 process vents and P&R I continuous                      reactor processes, respectively), we                  review for the SOCMI air oxidation unit
                                                 front-end process vents. Refer to section               identified certain advances in process                processes, distillation operations, and
                                                 III.C.3.a of the proposal preamble (88 FR               operations that were not identified or                reactor processes NSPS subparts III,
                                                 25080, April 25, 2023) for a summary of                 considered during development of the                  NNN, and RRR (see Docket Item No.
                                                 the three options. Based on our                         original NSPS. Refer to section III.C.3.b             EPA–HQ–OAR–2022–0730–0011).
                                                                                                         of the proposal preamble (88 FR 25080,
                                                 evaluation of the costs and emission                                                                          ii. Equipment Leaks
                                                                                                         April 25, 2023) for a detailed summary
                                                 reductions of each of the three options,
                                                                                                         of these advances in process operations.                 In our review of NSPS subpart VVa
                                                 we proposed pursuant to CAA section                     Based on our evaluation of statutory                  (for SOCMI equipment leaks), we
                                                 112(d)(6) to revise the process vent                    factors, including costs and emission                 identified emission reduction measures
                                                 applicability threshold to redefine a                   reductions, we proposed pursuant to                   used in practice related to LDAR of
                                                 HON Group 1 process vent and P&R I                      CAA section 111(b)(1)(B) revised NSPS                 certain equipment that achieve greater
                                                 Group 1 continuous front-end process                    subparts IIIa, NNNa, and RRRa (which                  emission reductions than those
                                                 vent (requiring control) as any process                 are applicable to affected facilities for             currently required by NSPS subpart
                                                 vent that emits greater than or equal to                which construction, reconstruction, or                VVa. Refer to section III.C.6.b of the
                                                 1.0 lb/hr of total organic HAP. We also                 modification commences after April 25,                proposal preamble (88 FR 25080, April
                                                 proposed removing the TRE concept in                    2023). We proposed that the revised                   25, 2023) for a summary of these
                                                 its entirety and removing the 50 ppmv                   NSPS subparts encompass a suite of                    measures. Based on our evaluation of
                                                 and 0.005 scmm Group 1 process vent                     process vent requirements, which                      statutory factors, including costs and
                                                 thresholds. In addition, we identified                  include: (1) Removing the TRE index                   emission reductions, we proposed
                                                 one option for reducing emissions from                  value concept in its entirety and instead             pursuant to CAA section 111(b)(1)(B) a
                                                 P&R I batch front-end process vents and                 requiring owners and operators to                     revised NSPS subpart VVb applicable to
                                                 we proposed pursuant to CAA section                     reduce emissions of TOC (minus                        affected facilities for which
                                                 112(d)(6) to revise the process vent                    methane and ethane) from all vent                     construction, reconstruction, or
                                                 applicability threshold to redefine a                   streams of an affected facility (i.e.,                modification commences after April 25,
                                                 P&R I Group 1 batch front-end process                   SOCMI air oxidation unit processes,                   2023. The revised NSPS VVb includes
                                                 vent as a process vent that releases total              distillation operations, and reactor                  the same requirements as in NSPS
                                                 annual organic HAP emissions greater                    processes for which construction,                     subpart VVa plus a requirement that all
                                                 than or equal to 4,536 kg/yr (10,000 lb/                reconstruction, or modification                       gas/vapor and light liquid valves be
                                                 yr) from all batch front-end process                    commences after April 25, 2023) by 98                 monitored monthly at a leak definition
                                                 vents combined.                                         percent by weight or to a concentration               of 100 ppm and all connectors be
                                                                                                         of 20 ppmv on a dry basis corrected to                monitored once every 12 months at a
                                                    For a detailed discussion of the EPA’s               3 percent oxygen, or combust the                      leak definition of 500 ppm.
                                                 findings, refer to the document titled                  emissions in a flare meeting the same                    For a detailed discussion of the EPA’s
                                                 Clean Air Act Section 112(d)(6)                         operating and monitoring requirements                 findings, refer to the document titled
                                                 Technology Review for Continuous                        for flares that we are finalizing for flares          CAA 111(b)(1)(B) review for the SOCMI
                                                 Process Vents Located in the SOCMI                      subject to the HON; (2) eliminating the               Equipment Leaks NSPS Subpart VVa
                                                 Source Category that are Associated                     relief valve discharge exemption from                 (see Docket Item No. EPA–HQ–OAR–
                                                 with Processes Subject to HON,                          the definition of ‘‘vent stream’’ such that           2022–0730–0096).
                                                 Continuous Front-end and Batch Front-                   any relief valve discharge to the
                                                                                                         atmosphere of a vent stream is a                      2. How did the technology review
                                                 end Process Vents Associated with
                                                                                                         violation of the emissions standard; (3)              change for the SOCMI, P&R I, and P&R
                                                 Processes Subject to Group I Polymers
                                                                                                         prohibiting an owner or operator from                 II source categories, and NSPS review
                                                 and Resins NESHAP, and Process Vents
                                                                                                         bypassing the APCD at any time, and                   change for the SOCMI source category?
                                                 Associated with Processes Subject to
                                                 Group II Polymers and Resins NESHAP                     requiring the owner or operator to report                We are finalizing the results of the
                                                 (see Docket Item No. EPA–HQ–OAR–                        any such violation (including the                     NSPS review under CAA section
                                                 2022–0730–0094).                                        quantity of TOC released to the                       111(b)(1)(B) for the SOCMI source
                                                                                                         atmosphere); (4) requiring that flares                category as proposed (88 FR 25080,
                                                 iv. Fenceline Monitoring                                used to reduce emissions comply with                  April 25, 2023), with a change to the
                                                                                                         the same flare operating and monitoring               definition of ‘‘capital expenditure’’ in
                                                    We proposed a fenceline monitoring                   requirements as those we have                         NSPS subpart VVb to use a formula that
                                                 standard for the SOCMI and P&R I                        promulgated for flares used in SOCMI-                 better reflects the trajectory of inflation.
                                                 source categories requiring owners and                  related NESHAP; (5) requiring work                    We are also finalizing the results of the
                                                 operators to monitor for any of six                     practice standards for maintenance                    technology review pursuant to CAA
                                                 specific HAP (i.e., benzene, 1,3-                       vents during startup, shutdown,                       section 112(d)(6) for the SOCMI, P&R I,
                                                 butadiene, ethylene dichloride, vinyl                   maintenance, or inspection of any of the              and P&R II source categories as
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                                                 chloride, EtO, and chloroprene) if their                air oxidation units, distillation                     proposed (88 FR 25080, April 25, 2023),
                                                 site uses, produces, stores, or emits any               operations, and reactor processes                     with some changes to the fenceline
                                                 of them, and conduct root cause                         affected facilities under the applicable              monitoring requirements that we
                                                 analysis and corrective action upon                     NSPS where the affected facility is                   proposed under the technology review
                                                 exceeding the annual average                            emptied, depressurized, degassed, or                  for the SOCMI and P&R I source
                                                 concentration action level set forth for                placed into service; and (6) adding                   categories, and also a minor change to
                                                 each HAP.                                               control device operational and                        clarify that, with regard to the storage


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                                                 vessel portion of the technology review,                Synthetic Organic Chemical                            at 40 CFR 63.113(a)(4) and 40 CFR
                                                 the Group 1 HON and P&R I storage                       Manufacturing Industry and National                   63.485(l)(6), (o)(6), (p)(5), and (x) that
                                                 vessel capacity and MTVP thresholds                     Emission Standards for Hazardous Air                  removes the TRE concept in its entirety
                                                 apply to both new and existing sources.                 Pollutants for the Synthetic Organic                  from both the HON and P&R I NESHAP.
                                                 For fenceline monitoring requirements,                  Chemical Manufacturing Industry and                   However, numerous commenters
                                                 the final rule establishes two action                   Group I & II Polymers and Resins                      opposed removal and provided the
                                                 levels for chloroprene (i.e., one action                Industry, which is available in the                   following arguments to reinforce their
                                                 level under CAA section 112(d)(6) and                   docket for this rulemaking. Based on                  opposition:
                                                 another action level under CAA section                  these comments, we are finalizing                        • The EPA lacks the statutory
                                                 112(f)) in lieu of only one action level                revisions to require the Modified El                  authority to remove the TRE index value
                                                 for this HAP, as proposed. We are also                  Paso Method for heat exchange systems,                concept because it has offered no
                                                 finalizing: (1) Burden reduction                        and we are finalizing revisions to the                supportable basis as to why removal
                                                 measures to allow owners and operators                  Group 1 HON and P&R I storage vessel                  would constitute a development in
                                                 to skip fenceline measurement periods                   capacity and MTVP thresholds to reflect               practices, processes, or technologies
                                                 for specific monitors with a history of                 the MON existing source threshold for                 under CAA section 112(d)(6).
                                                 measurements that are at or below                       both new and existing sources.                           • The fact that another source
                                                 certain action levels; (2) a clarification                 We did not receive any comment with                category’s standards do not include the
                                                 that fenceline monitoring is required for               regard to the technology review for                   TRE index value concept is not a
                                                 owners and operators with affected                      transfer racks and wastewater streams.                development in practice, and the EPA
                                                 sources that produce, store, or emit one                Furthermore, for equipment leaks, the                 offered no argument as to how it could
                                                 or more of the target analytes; (3) a                   comments were generally either                        possibly fit within that box.
                                                 reduction in the requirements for the                   supportive of the determination that no                  • The fact that some facilities choose
                                                 minimum detection limit of alternative                  cost-effective developments from the                  to control process vents that would be
                                                 measurement approaches; (4)                             technology review were found, or that                 exempt using the TRE index value does
                                                 clarifications on establishing the                      the Agency should re-open and                         not indicate that removing the TRE
                                                 monitoring perimeter for both sorbent                   reevaluate the MACT standards for new                 concept is a development in practices,
                                                 tubes and canisters; (5) clarifications on              technologies. Based on our review of the              processes, or technologies. Electing not
                                                 the calculation of Dc when a site-                      comments received for equipment leaks,                to use the TRE is a business choice, not
                                                 specific monitoring plan is used to                     we are finalizing our determination that              a technological development.
                                                                                                         no cost-effective developments exist and
                                                 correct monitoring location                                                                                      • Complexity of an established
                                                 concentrations due to offsite impacts;                  that it is not necessary to revise these
                                                                                                                                                               compliance tool is not a technological
                                                 (6) a change in the required method                     emission standards under CAA section
                                                                                                                                                               development.
                                                                                                         112(d)(6). For process vents, the EPA
                                                 detection limit for alternative test                                                                             • The EPA has not adequately
                                                 methods from an order of magnitude                      received additional information from
                                                                                                                                                               supported its proposal to remove the
                                                 below the action level to one-third of                  commenters on costs necessary for
                                                                                                                                                               TRE concept.
                                                                                                         control of process vents that emit greater
                                                 the action level; and (7) with the
                                                                                                         than or equal to 1.0 lb/hr of total organic              • While it is true that certain facilities
                                                 exception of fenceline monitoring of                                                                          may have designated process vents with
                                                 chloroprene at P&R I affected sources                   HAP. We also received several
                                                                                                         comments regarding the fenceline                      a TRE index value above 1.0 as a Group
                                                 producing neoprene, a change in the                                                                           1 process vent, the reason behind this
                                                                                                         monitoring requirements that we
                                                 compliance date in the final rule to                                                                          may not necessarily be voluntary or
                                                                                                         proposed under the technology review.
                                                 begin fenceline monitoring 2 years                                                                            driven by the desire to avoid the TRE
                                                                                                         This section provides summaries of and
                                                 (instead of 1 year, as proposed) after the                                                                    calculation, but rather facilities may be
                                                                                                         responses to the key comments received
                                                 effective date of the final rule. For P&R                                                                     controlling these process vents to
                                                                                                         regarding: (1) The technology review
                                                 I affected sources producing neoprene,                                                                        comply with state or local regulations
                                                                                                         amendments we proposed for HON
                                                 we have changed the compliance date                                                                           regarding VOCs or to meet a best
                                                                                                         process vents and P&R I continuous
                                                 for fenceline monitoring of chloroprene                                                                       available control technology (BACT)
                                                                                                         front-end process vents, and (2) the
                                                 to begin no later than October 15, 2024,                                                                      limit.
                                                                                                         proposed fenceline monitoring
                                                 or upon startup, whichever is later,                    requirements. Comment summaries and                      • The EPA’s rationale for eliminating
                                                 subject to the owner or operator seeking                the EPA’s responses for additional                    the TRE index value from the HON rule
                                                 the EPA’s authorization of an extension                 issues raised regarding the proposed                  due to variations in other MACT rules
                                                 of up to 2 years from July 15, 2024.                    requirements resulting from our                       is flawed given that the EPA did not
                                                 3. What key comments did we receive                     technology review for the SOCMI, P&R                  remove the TRE index value during the
                                                 on the technology review and NSPS                       I, and P&R II source categories are in the            revision of the MON rule and
                                                 review, and what are our responses?                     document titled Summary of Public                     distinguishing between Group 1 and
                                                                                                         Comments and Responses for New                        Group 2 process vents in the Ethylene
                                                 a. NESHAP                                                                                                     Production source category is irrelevant.
                                                                                                         Source Performance Standards for the
                                                    The EPA received comments in                         Synthetic Organic Chemical                               • Even though some process vents
                                                 support of and against the proposed                     Manufacturing Industry and National                   with a TRE index value above 1.0 are
                                                 technology review. We received only                     Emission Standards for Hazardous Air                  controlled at certain facilities, that does
                                                 minor comments requesting                               Pollutants for the Synthetic Organic                  not imply that controlling all process
                                                 clarifications associated with our                                                                            vents with TRE index values above 1.0
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                                                                                                         Chemical Manufacturing Industry and
                                                 technology review for heat exchange                     Group I & II Polymers and Resins                      is appropriate or cost-effective.
                                                 systems and storage vessels. The                        Industry, which is available in the                      • Facilities often use source test
                                                 comments and our specific responses to                  docket for this rulemaking.                           results to determine TRE calculation
                                                 these issues can be found in the                                                                              inputs (even for vent streams with a
                                                 document titled Summary of Public                       i. Process Vents                                      TRE index value greater than 4.0), and
                                                 Comments and Responses for New                             Comment: A commenter said they                     this approach is neither complex nor
                                                 Source Performance Standards for the                    supported the EPA’s proposed rule text                uncertain to interpret.


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                                                    • Despite the EPA’s assertion that                   negligible emissions reductions.                      a theoretical characterization tool, it can
                                                 enforcing the TRE index value ‘‘can be’’                Moreover, it would likely necessitate                 be very difficult to enforce.
                                                 arduous due to its theoretical nature, no               the addition of significant amounts of                   We disagree with commenters that the
                                                 instances have been provided where                      supplemental fuel to combust this type                removal of the TRE concept does not
                                                 verifying a TRE index value calculation                 of stream and consequently result in                  constitute a development in practices,
                                                 posed challenges for an agency or                       additional emissions of carbon                        processes, or technologies under CAA
                                                 contradicted actual cost effectiveness at               monoxide (CO), nitrogen oxides (NOX),                 section 112(d)(6). We noted in the
                                                 a facility. The number of inputs to the                 and CO2 to control a relatively small                 preamble to the proposed rule (88 FR
                                                 TRE index value calculation is                          quantity of HAP or VOC emissions.                     25080, April 25, 2023) that some owners
                                                 proportional to the number of                              • It is not clear how the emissions                and operators do not use the TRE index
                                                 measurable organic compounds in the                     averaging program, as it is currently                 value to determine whether a vent
                                                 vent stream; and some facilities have                   applied under the HON, can continue to                stream is a Group 1 or Group 2 process
                                                 very few organic compounds in process                   exist with the requirement to control                 vent. While we agree with commenters
                                                 vents, so the inputs are minimal, and if                process vents that are currently                      that owners and operators control Group
                                                 those inputs are determined by other                    designated as Group 2 vents. The                      2 vent streams for reasons other than the
                                                 allowed methods (e.g., source tests,                    burden of over-control to generate                    desire to avoid the TRE calculation, the
                                                 permit limits), then verification of these              ‘‘credits’’ will effectively render the               fact is that owners and operators are
                                                 inputs is clearly not problematic.                      provisions unattainable or useless.                   controlling HON and P&R I Group 2
                                                    • Perceived complexity is not a basis                   • Many facilities will still be required           process vents (possibly to comply with
                                                 for removing the option.                                to comply with TRE-based                              state or local regulations regarding
                                                    • The TRE index value has been an                    determinations according to their title V             VOCs or to meet a BACT limit), which
                                                 integral part of many technology-based                  operating permits and requirements                    we consider a development under CAA
                                                 air standards since its initial                                                                               section 112(d)(6). Given that the TRE
                                                                                                         under NSPS subparts NNN and RRR.
                                                 development, serving as a mechanism                                                                           concept, as some commenters pointed
                                                                                                            Many of the commenters who
                                                 for determining cost effectiveness and                                                                        out, has been used since the original
                                                                                                         opposed removing the TRE index value
                                                 triggering the requirements for process                                                                       1994 HON adoption (and even in the
                                                                                                         in its entirety suggested that the EPA
                                                 vent control (see, e.g., the preamble to                                                                      1992 proposed HON rule), we consider
                                                 the 1994 HON adoption, which states                     could potentially consider raising the
                                                                                                                                                               owners and operators controlling HON
                                                 that the TRE concept is appropriate                     TRE index value threshold, such as by
                                                                                                                                                               and P&R I Group 2 process vents to be
                                                 because it ‘‘can be used to reflect all                 aligning it with the value in the MON
                                                                                                                                                               an operational procedure that was not
                                                 possible combinations of various factors                rule or the value indicated in Option 3
                                                                                                                                                               identified or considered during
                                                 that affect emission rates and likelihood               of the proposed rule, or by setting it at
                                                                                                                                                               development of the original MACT
                                                 of current control’’ (59 FR 19416) and                  a level agreed upon as cost-effective by
                                                                                                                                                               standards. Additionally, the removal of
                                                 ‘‘would provide consistency between                     the industry. Other commenters                        the TRE concept simplifies the
                                                 the HON[,] the recently issued [control                 opposed this suggestion.                              determination as to whether owners and
                                                 techniques guidelines] for SOCMI                           Response: The EPA acknowledges                     operators must control a vent stream
                                                 process vents. . .[and] the applicability               commenters’ support for and opposition                and thus the applicability process is
                                                 criteria for the three SOCMI process                    to the removal of the TRE concept from                easier to implement.
                                                 vents NSPS’’ (59 FR 19418)).                            the HON at 40 CFR 63.113(a)(4) and                       We disagree with commenters’
                                                    • By considering the TRE index                       from the P&R I NESHAP at 40 CFR                       assertion that the EPA did not provide
                                                 value, an owner or operator can allocate                63.485(l)(6), (o)(6), (p)(5), and (x). We             evidence that the TRE concept is largely
                                                 their resources more efficiently and                    are finalizing the removal of the TRE                 theoretical and, as a result, difficult to
                                                 concentrate efforts and resources on the                concept as proposed. We stand by the                  verify. As identified in the document
                                                 vents that have the greatest potential for              rationale we provided in the preamble                 titled Clean Air Act Section 112(d)(6)
                                                 emission reduction, maximizing the                      to the proposed rule (88 FR 25080, April              Technology Review for Continuous
                                                 overall environmental benefit. The TRE                  25, 2023) for removing the TRE concept:               Process Vents Located in the SOCMI
                                                 considers not only the organic HAP                      (1) We identified at least one more                   Source Category that are Associated
                                                 emissions but also the volumetric flow                  recent (than the HON and the P&R I                    with Processes Subject to HON,
                                                 and net heating value of the vent gas                   NESHAP) chemical manufacturing                        Continuous Front-end and Batch Front-
                                                 stream, and thus it takes into                          NESHAP (i.e., ethylene production) that               end Process Vents Associated with
                                                 consideration the practicality of                       does not use the TRE index value as                   Processes Subject to Group I Polymers
                                                 controlling relatively small organic HAP                criteria for determining whether a                    and Resins NESHAP, and Process Vents
                                                 emission streams using control devices                  process vent should be controlled; (2)                Associated with Processes Subject to
                                                 like a flare or a vapor incinerator.                    based on the responses to our CAA                     Group II Polymers and Resins NESHAP
                                                    • Use of the TRE index value is a                    section 114 request, we observed that                 (Docket Item ID No. EPA–HQ–OAR–
                                                 holistic approach that ensures that the                 some facilities are controlling                       2022–0730–0094), one facility that
                                                 most significant emission sources are                   continuous process vents that are not                 received the CAA section 114 request
                                                 targeted for control, leading to more                   required by the HON and the P&R I                     provided over 300 pages of modeled
                                                 effective pollution reduction.                          NESHAP to be controlled per the results               runs used to determine certain
                                                    • Uncontrolled Group 2 process vent                  of the TRE index value calculation; (3)               characteristics of their continuous
                                                 gas streams typically exhibit minimal                   based on the responses to our CAA                     process vents to be utilized as part of
                                                 emissions of HAP and VOC, possess a                     section 114 request, we observed that
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                                                                                                                                                               the TRE index value calculations.
                                                 low net heating value, may contain                      facilities are routing multiple                       Reviewing this information revealed
                                                 steam or water vapor, and have varying                  continuous process vents to a single                  that in many cases the facility struggled
                                                 volumetric flow rates. Directing these                  APCD; (4) determining a TRE index                     to unify the modeled runs with actual
                                                 streams to an emission control device, if               value for certain process vent streams is             conditions at the facility and in some
                                                 available in the CMPU capable of                        often theoretical, can be extremely                   cases made arbitrary decisions to allow
                                                 handling them, is a complex                             complicated, and is uncertain; and (5)                the model to function. While we agree
                                                 engineering problem and would yield                     because the TRE index value is largely                with commenters that the TRE index


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                                                 value can be derived from less                          scenario when compared to how                         removing the TRE concept. The only
                                                 theoretical methods, other responses to                 chemical manufacturing facilities                     explicit references to the TRE concept as
                                                 the CAA section 114 request did not                     actually control their process vents; and             part of the emissions averaging
                                                 indicate how parameters used in the                     it is much more likely that a facility                provisions are at 40 CFR
                                                 TRE index value calculations were                       routes numerous process vents to the                  63.150(g)(2)(iii)(B)(2) with respect to a
                                                 determined, and commenters did not                      same APCD (and this is evident from                   vent transitioning from a Group 1
                                                 provide sufficient information to show                  observing the responses to our CAA                    process vent to a Group 2 process vent
                                                 which methods were most common                          section 114 request).                                 and at 40 CFR 63.150(m)(2)(i) related to
                                                 throughout industry. Given the                             We agree with commenters that the                  obligations associated with carbon
                                                 theoretical nature of the TRE index                     removal of the TRE concept may lead to                absorbers, adsorbers, or condensers not
                                                 value, the EPA maintains that verifying                 emissions increases due to the use of                 equipped with a control device. Both of
                                                 TRE index values is arduous because it                  supplemental fuel in new APCDs that                   these references are captured as no
                                                 can involve relying on significant                      are potentially needed to control Group               longer being required at 40 CFR
                                                 process knowledge in order to confirm                   2 streams that are currently                          63.113(a)(4)(xii) and 40 CFR
                                                 HAP compositions of vent streams, vent                  uncontrolled; and we acknowledged                     63.113(a)(4)(xiii), respectively, and do
                                                 stream flowrates, vent stream net                       this in our preamble to the proposed                  not affect applicability. Emissions
                                                 heating values, and hourly emissions. It                rule (88 FR 25080, April 25, 2023) as                 averaging has always been an optional
                                                 may also require verification of other                  well as in the RIA accompanying the                   provision with its burden falling on
                                                 facility assumptions (e.g., operational                 proposal. However, based on other                     owners or operators to decide if it was
                                                 conditions and constraints) especially if               comments received and discussed                       appropriate or cost-effective to over-
                                                 modeling was used.                                      elsewhere in this section of this                     control certain streams while under-
                                                    We agree with commenters that the                    document (regarding the use of low                    controlling other streams. This does not
                                                 TRE index value has been an integral                    volumetric flow rates in our original                 change as a result of redefining Group
                                                 part of many technology-based air                       proposed cost estimate), we revised our               2 process vents to be those streams
                                                 standards since its initial development.                cost analysis to account for higher flow              containing less than 1.0 lb/hr of HAP. In
                                                 In fact, we said as much in the                         rates to the APCD. As a result of this                addition, we note that credits may be
                                                 document titled Clean Air Act Section                   flow rate adjustment, additional                      generated from controlling Group 1
                                                 112(d)(6) Technology Review for                         supplemental fuel was needed to                       process vents at a higher nominal
                                                 Continuous Process Vents Located in                     control Group 2 vent streams that                     efficiency than the reference technology
                                                 the SOCMI Source Category that are                      exhibit minimal emissions of HAP and                  and from utilizing pollution prevention
                                                 Associated with Processes Subject to                    VOC, possess a low net heating value,                 measures either independently or in
                                                 HON, Continuous Front-end and Batch                     and may contain steam or water vapor.                 combination with Group 1 process vents
                                                 Front-end Process Vents Associated                      Even so, at proposal, we overestimated                as specified at 40 CFR 63.150(c). Thus,
                                                 with Processes Subject to Group I                       the amount of supplemental fuel that                  even if a facility determines that
                                                 Polymers and Resins NESHAP, and                         would be needed nationwide (168                       controlling Group 2 process vents is
                                                 Process Vents Associated with Processes                 MMscf/yr) to control Group 2 vent                     infeasible, there are other avenues to
                                                 Subject to Group II Polymers and Resins                 streams that exhibit minimal emissions                pursuing the emission averaging
                                                 NESHAP (Docket Item ID No. EPA–HQ–                      of HAP and VOC, and we continue to                    provisions.
                                                 OAR–2022–0730–0094). The TRE                            believe this estimate is conservatively
                                                 concept is almost 40 years old as it was                high even after revising our cost                        Finally, we disagree with the
                                                 first introduced in a December 1984                     analysis. For this reason, we are not                 commenters’ suggestion to raise the TRE
                                                 EPA document (EPA–450/3–84–015; see                     revising our estimate of secondary                    index value threshold. Regarding a
                                                 attachment to Docket Item No. EPA–                      impacts (including emissions of CO,                   commenter’s assertion that removing the
                                                 HQ–OAR–2022–0730–0094). However,                        CO2, NOX (including nitrous oxide                     TRE concept is flawed given that no
                                                 even if it has been integral, certain                   (N2O)), particulate matter, and sulfur                action was taken on the TRE concept in
                                                 aspects of its underlying development                   dioxide (SO2)).                                       the MON RTR, we note that we did not
                                                 are clearly no longer applicable or                        With regard to the commenters’                     have data related to Group 2 process
                                                 appropriate. For example, the EPA                       assertion that many facilities will still             vents while developing revisions to the
                                                 stated in the 1984 supporting materials                 be required to comply with TRE-based                  MON. Setting an emission threshold
                                                 (EPA–450/3–84–015) that the Agency                      determinations according to their title V             with no knowledge as to which Group
                                                 attempted to make the TRE index                         operating permits and requirements                    2 MON vent streams would be impacted
                                                 independent of inflation (e.g., the EPA                 under NSPS subparts NNN and RRR, we                   and without knowing the potential cost
                                                 assumed fixed relative costs of various                 note that we are simplifying the HON                  or reductions associated with that
                                                 resources, such as carbon steel and                     overlap provisions for NSPS subparts                  revision would not have been
                                                 electricity), yet it is impossible to ignore            III, NNN, and RRR in the final rule (i.e.,            appropriate. Thus, we did not identify
                                                 inflation in the TRE calculations due to                we are finalizing, as proposed, that                  any cost-effective developments in
                                                 the time that has passed since it was                   pursuant to 40 CFR 63.110(d)(1), (d)(4),              practices, processes, or control
                                                 developed (e.g., costs of carbon steel                  (d)(7), and (d)(10) process vents subject             technologies for process vents.
                                                 and electricity have undoubtedly                        to the emission standards in HON that                 However, as part of this rulemaking, the
                                                 increased since the development of the                  are also subject to the NSPS subpart III,             Group 2 process vent data was collected
                                                 TRE index).                                             NNN, and/or RRR are only required to                  via a CAA section 114 request. Our
                                                                                                                                                               analysis of the Group 2 process vent
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                                                    Although the TRE index value may                     comply with the HON). Also, facilities
                                                 allow owners and operators to allocate                  already have general obligations under                data shows that removing the TRE
                                                 resources efficiently and ensure that the               title V reopening for cause and 5-year                concept and installing a 1.0 lb/hr of
                                                 most significant emission sources are                   renewals to ensure that permits include               HAP emission threshold is of a similar
                                                 targeted for control, the current use of                all requirements applicable to a facility.            cost effectiveness to raising the TRE
                                                 the TRE index value is only based on                       Concerning emissions averaging, we                 index value to 5.0. However, for the
                                                 controlling a single process vent with a                note that the provisions experienced no               reasons stated earlier in this document,
                                                 single APCD. This is an unrealistic                     significant changes as a result of                    removing the TRE concept was selected.


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                                                 Given that we determined that a TRE                     that emit greater than or equal to 1.0 lb/            would be impacted if we implemented
                                                 index value of 5.0 was cost effective but               hr of total organic HAP.                              a 1.0 lb/hr total organic HAP mass flow
                                                 opted to remove the TRE concept                            We disagree with the commenters’                   rate threshold. We then estimated costs
                                                 instead, it would be unreasonable to                    contention that the 1.0 lb/hr of total                to control each Group 2 continuous
                                                 finalize a TRE index value of 3.0 based                 organic HAP threshold is arbitrary and                process vent scenario and ultimately
                                                 on the considerations discussed above                   capricious. As stated in the preamble to              concluded that only those streams with
                                                 and the decreased potential impact.                     the proposed rule (88 FR 25080, April                 greater than or equal to 1.0 lb/hr of total
                                                    Comment: Commenters said they                        25, 2023), we arrived at the 1.0 lb/hr of             organic HAP would be cost-effective to
                                                 opposed the EPA’s proposed rule text at                 total organic HAP threshold using                     control. The details of this analysis are
                                                 40 CFR 63.101 and 40 CFR 63.113(a)(1)                   detailed information for 50 Group 2                   discussed in the document titled Clean
                                                 and (2) that would remove the 50 ppmv                   continuous process vents that was                     Air Act Section 112(d)(6) Technology
                                                 and 0.005 scmm Group 1 process vent                     provided by 9 of the 13 HON facilities                Review for Continuous Process Vents
                                                 thresholds from the Group 1 process                     (including 1 P&R I facility collocated                Located in the SOCMI Source Category
                                                 vent definition and that would instead                  with a HON facility) that received the                that are Associated with Processes
                                                 require owners and operators of process                 CAA section 114 request.                              Subject to HON, Continuous Front-end
                                                 vents that emit greater than or equal to                   We started by performing an analysis               and Batch Front-end Process Vents
                                                 1.0 lb/hr of total organic HAP to either                of the 50 Group 2 continuous process                  Associated with Processes Subject to
                                                 reduce emissions of organic HAP using                   vents for a simple control scenario.                  Group I Polymers and Resins NESHAP,
                                                 a flare meeting the proposed operating                  Using vent stream flowrates, vent stream              and Process Vents Associated with
                                                 and monitoring requirements for flares                  net heating values, VOC and HAP                       Processes Subject to Group II Polymers
                                                 in NESHAP subpart F or reduce                           emission rates (which we obtained from                and Resins NESHAP (Docket Item ID
                                                 emissions of total organic HAP or TOC                   TRE index value calculations that                     No. EPA–HQ–OAR–2022–0730–0094).
                                                 by 98 percent by weight or to an exit                   facilities provided in their response to                 We also disagree with the commenter
                                                 concentration of 20 ppmv.                               the CAA section 114 request), and the                 that the 1.0 lb/hr of total organic HAP
                                                    A commenter requested that the EPA                   methodology from the sixth edition of                 threshold should apply only to new
                                                 explain how it arrived at a 1 lb/hr                     the EPA Air Pollution Control Cost                    sources in the HON. In response to
                                                 control threshold. The commenter said                   Manual; we calculated a cost for                      another comment reflected elsewhere in
                                                 that while the simplicity of a 1 lb/hr                  installing ductwork and a blower on                   this section of this preamble, we have
                                                 threshold is admittedly appealing, it is                each vent, assuming each of these vents               determined that the threshold is cost-
                                                 overly simplistic, and because the EPA                  could be routed to an existing control                effective for existing sources.
                                                 did not supply any justification for the                device achieving 98 percent by weight                    Finally, with regard to comments
                                                 choice of 1 lb/hr, it appears to be an                  emission reduction. Given that many of                suggesting that additional controls
                                                 arbitrary and capricious threshold                      the Group 2 continuous process vents                  would have virtually no effect on
                                                 value.                                                  have a very low flow rate and/or                      improving ample margin of safety or
                                                    Another commenter requested that if                  emission rate, we found that even                     additional protection of public health,
                                                 the EPA decides to keep the proposed                    installing simple ductwork and a blower               we note that these provisions are
                                                 Group 1 process vent definition with the                would not be cost-effective for the                   finalized under the authority of the
                                                 1.0 lb/hr total organic HAP mass flow                   majority of these vents. However, we                  technology review pursuant to CAA
                                                 rate threshold, then these proposed                     did identify 23 of these Group 2                      section 112(d)(6), which requires us to
                                                 revisions should apply only to new                      continuous process vents (a subset of                 revise standards as necessary and does
                                                 sources in the HON. The commenter                       the 50 Group 2 process vents from                     not obligate us to consider health
                                                 asserted that facilities with new sources               responses to our CAA section 114                      impacts or generate an ample margin of
                                                 will have greater flexibility in selecting              request) for which we found this                      safety.
                                                 cost-effective control options during the               scenario to be cost-effective (i.e., $1,100              Comment: Commenters suggested that
                                                 design and construction phase than the                  per ton of VOC/HAP or less).                          the EPA significantly underestimated
                                                 very limited, and climate impacting,                       We then reviewed mass flow rates of                the cost of installing an additional
                                                 options available to retrofit existing                  total organic HAP within this subset of               thermal oxidizer and that therefore the
                                                 sources. The commenter added that                       Group 2 continuous process vents to                   cost effectiveness evaluation for
                                                 additional controls would have virtually                develop two different thresholds (i.e.,               removing the TRE concept is not
                                                 no effect on improving ample margin of                  0.10 lb/hr and 1.0 lb/hr) for                         correct. Many of these commenters
                                                 safety or additional protection of public               consideration. We estimated that 48                   contended that the fact that a control
                                                 health.                                                 HON facilities operating 287 HON                      device has the capability to control
                                                    Response: Commenters did not                         Group 2 process vents (96 of which are                multiple process vents does not
                                                 provide sufficient information detailing                already voluntarily controlled and 191                automatically imply that controlling all
                                                 why requiring the control of process                    that are not currently controlled) and 3              vents together is cost-effective in every
                                                 vents that emit greater than 1.0 lb/hr of               P&R I facilities operating 30 P&R II                  scenario; if the cumulative emissions
                                                 total organic HAP would be infeasible                   Group 2 continuous front-end process                  from the Group 2 process vents are
                                                 beyond the arguments related to the                     vents (in which all 30 are not currently              relatively low, it would not be
                                                 removal of the TRE concept which are                    controlled) would be impacted if we                   economically viable to control all of
                                                 addressed in response to another                        implemented a 0.10 lb/hr total organic                them using a single control device. A
                                                 comment in this section of this                         HAP mass flow rate threshold.                         commenter said that although it is
                                                 preamble. Consequently, we are                          Conversely, only 16 HON facilities                    reasonable to assume that a single new
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                                                 finalizing rule text, as proposed at 40                 operating 48 HON Group 2 process                      control device will be installed for
                                                 CFR 63.101 and 40 CFR 63.113(a)(1) and                  vents (32 of which are already                        facilities that will be controlling existing
                                                 (2), that removes the 50 ppmv and 0.005                 voluntarily controlled and 16 that are                Group 2 process vents with emissions
                                                 scmm Group 1 process vent thresholds                    not currently controlled) and 3 P&R I                 greater than 1.0 lb/hr, the use of 10 scfm
                                                 from the Group 1 process vent                           facilities operating 9 P&R I Group 2                  for determining a total capital
                                                 definition and instead requires owners                  continuous front-end process vents (in                investment (TCI) for the new control
                                                 and operators to control process vents                  which all 9 are not currently controlled)             device is not representative. The


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                                                 commenter contended that although                          However, we do agree with                          HON facilities operating 48 HON Group
                                                 these vents are expected to have lower                  commenters that our proposed cost                     2 process vents (32 of which are already
                                                 volumetric flow rates than many                         estimate underestimated flow rates                    controlled by an existing APCD and 16
                                                 existing Group 1 vents, there are                       needed to route Group 2 continuous                    that are not currently controlled) and 3
                                                 logistical and safety concerns that must                process vents with greater than or equal              P&R I facilities operating 9 P&R I Group
                                                 be considered when designing a closed                   to 1.0 lb/hr of total organic HAP to                  2 continuous front-end process vents (in
                                                 vent system and thermal oxidizer that                   APCDs. Although we still believe the                  which all 9 are not currently controlled)
                                                 necessitate higher flow rates. The                      use of the EPA’s control cost template                would be impacted by the 1.0 lb/hr total
                                                 commenter added that there are                          to estimate the cost of installing a new              organic HAP mass flow rate threshold.
                                                 multiple facilities with more than one of               recuperative thermal oxidizer is                      We estimated these impacts using the
                                                 these types of vents per facility; thus,                appropriate (to control a Group 2                     Group 2 process vent data from
                                                 multiple vents will need to be collected                continuous process vent with greater                  responses to our CAA section 114
                                                 into a common system which will                         than or equal to 1.0 lb/hr of total organic           request. As part of our reevaluation, we
                                                 correspond to a higher flow rate. The                   HAP), we revised our estimates to                     also revised our HAP emissions
                                                 commenter said that a reasonable low-                   reflect the limitations of the correlations           reduction estimate for the HON and P&R
                                                 end estimate for a new single thermal                   associated with the EPA’s control cost                I process vents that are not currently
                                                 oxidizer for controlling these process                  template which starts with a flow rate                controlled to reflect the average HAP
                                                 vents is closer to a $1,000,000 TCI. The                of 500 scfm. With these corrections, we               emissions reductions from the three
                                                 commenter also noted that capital costs                 estimate the average TCI to install a new             HON Group 2 process vents and five
                                                 could range from $5,000,000 to                          recuperative thermal oxidizer (for both               P&R I Group 2 process vents that would
                                                 $15,000,000. The commenter added that                   the HON and the P&R I NESHAP) is                      be impacted by the 1.0 lb/hr total
                                                 for facilities that produce chlorinated                 about $167,000 (as opposed to the                     organic HAP mass flow rate threshold
                                                 compounds, this cost would be higher                    $66,000 that we proposed); however,                   (based on data from responses to our
                                                 because any new thermal oxidizer will                   our estimate is still much lower than the             CAA section 114 request). In our
                                                 need to be equipped with acid gas and                   wide range of cost estimates provided                 proposal, we took the lowest HAP
                                                 dioxin/furan controls. Another                          by commenters. One possible                           emission reduction based on a single
                                                 commenter agreed that facilities that                   explanation for this difference in cost               HON process vent and did not
                                                 produce chlorinated compounds would                     estimates is that commenters may have                 appropriately account for the other HON
                                                 incur higher costs but contended that                   used a much higher flow rate (e.g., 5,000             process vents for which we had data.
                                                 additional controls for a facility’s Group              scfm as opposed to 500 scfm) and a                    We corrected a similar issue for the P&R
                                                 2 process vents would cost at least                     ‘‘Regenerative Thermal Oxidizer’’ in                  I NESHAP. Therefore, our final
                                                 $50,000,000 in engineering and design,                  their cost analysis instead of a                      calculation for estimating the cost
                                                 equipment, and installation costs.                      ‘‘Recuperative Thermal Oxidizer.’’                    effectiveness for removing the TRE
                                                    Another commenter said that for their                Moreover, commenters did not provide                  concept in its entirety from the HON
                                                 facility, the addition of a single control              supporting information for their                      includes a total HAP and VOC reduction
                                                 device, associated piping,                              estimated capital costs, so we do not                 of 538 tpy (and not 436 tpy as proposed)
                                                 instrumentation, engineering, and                       have a way to corroborate this possible               and for the P&R I NESHAP, a total HAP
                                                 installation to control 11 process vents                explanation.                                          and VOC reduction of 130 tpy (and not
                                                 (that are currently considered Group 2                                                                        51 tpy as proposed). It is also possible
                                                 under the HON) will cost $55,000,000,                      In light of the fact that commenters
                                                                                                         were generally concerned about the cost               that the actual emissions reductions
                                                 or approximately $925,000/ton of HAPs.
                                                                                                         estimate, we performed additional                     may be higher than our estimate because
                                                 Another commenter argued that
                                                                                                         analyses to evaluate the cost                         the higher capital costs provided by
                                                 emission sources that are long distances
                                                                                                         effectiveness of removing the TRE                     industry are likely to be for thermal
                                                 away from existing control devices (e.g.,
                                                                                                         concept from the HON and the P&R I                    oxidizers that are sized to control higher
                                                 a tank in a remote tank farm) and
                                                                                                         NESHAP. Using a TCI of $1,000,000 as                  flow streams with more HAP emissions.
                                                 streams not compatible with a facility’s
                                                                                                         provided by the commenter, and the                    For further details on how we revised
                                                 existing control equipment are no more
                                                                                                         EPA’s control cost template (for                      our estimates of cost and HAP emissions
                                                 economically feasible for additional
                                                                                                         installing a new recuperative thermal                 reductions, see the document titled
                                                 controls now than when the HON was
                                                                                                         oxidizer with 70 percent energy                       Clean Air Act Section 112(d)(6)
                                                 originally promulgated.
                                                    Response: Several commenters                         recovery), we estimated an annual cost                Technology Review for Continuous
                                                 provided us with their own capital cost                 of approximately $330,000 (for the                    Process Vents Located in the SOCMI
                                                 estimates for controlling Group 2                       HON) and $318,000 (for the P&R I                      Source Category that are Associated
                                                 continuous process vents with greater                   NESHAP). Applying this annual cost to                 with Processes Subject to HON,
                                                 than or equal to 1.0 lb/hr of total organic             our estimated number of HON facilities                Continuous Front-end and Batch Front-
                                                 HAP, resulting in a very wide range of                  that would need to install a thermal                  end Process Vents Associated with
                                                 capital costs (i.e., $1,000,000 to                      oxidizer and to our estimated HAP                     Processes Subject to Group I Polymers
                                                 $55,000,000). However, the commenters                   emissions reductions for the HON of                   and Resins NESHAP, and Process Vents
                                                 did not provide information to fully                    538 tpy, we calculated a cost                         Associated with Processes Subject to
                                                 support these capital costs. For                        effectiveness of about $9,830 per ton,                Group II Polymers and Resins
                                                 example, commenters did not provide                     which we consider to be cost-effective.               NESHAP—FINAL, which is available in
                                                                                                         Applying this annual cost to our                      the docket for this rulemaking.
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                                                 the number of streams nor the flow rate
                                                 for the new streams needing control, did                estimated number of P&R I facilities that                Absent additional detailed
                                                 not provide any related emissions                       would need to install a thermal oxidizer              information from commenters, we are
                                                 reductions from controlling these                       and to our estimated HAP emissions                    finalizing the removal of the TRE
                                                 streams, and did not provide the annual                 reductions for the P&R I NESHAP of 130                concept as proposed and are requiring
                                                 cost for their scenario. As such, it was                tpy, we calculated a cost effectiveness of            control for process vents that emit
                                                 not possible to fully evaluate the                      about $7,440 per ton. It is important to              greater than or equal to 1.0 lb/hr of total
                                                 commenters’ provided capital cost data.                 note that our analysis considers that 16              organic HAP. We also believe this is


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                                                 reasonable given that a 1.0 lb/hr total                 hr of HAP, the allowable emissions are                not necessary where an owner or
                                                 organic HAP mass flow rate threshold                    restricted, resulting in the 366 tpy of               operator has engineering calculations or
                                                 for continuous HON and P&R I process                    emission reductions that the EPA                      process knowledge to demonstrate that
                                                 vents aligns more closely with the batch                utilized to determine the cost                        a vent stream is a Group 2 process vent;
                                                 process vent control threshold in the                   effectiveness of removing the TRE                     and historically, under the group
                                                 MON and the NESHAP for Chemical                         concept and redefining Group 1 process                determination procedures for process
                                                 Manufacturing Area Sources. In each of                  vents. We note that we updated our total              vents, the owner or operator of a Group
                                                 these NESHAP, the applicability                         HAP reductions and annual cost                        2 process vent with a TRE index value
                                                 threshold of 10,000 lb/yr per process is                estimates in response to a comment                    greater than 4.0 could use
                                                 used for batch process vents.                           reflected elsewhere in this section of                measurements, engineering assessments,
                                                    Comment: Commenters observed that                    this preamble. For details on how we                  and calculations to determine the TRE
                                                 the EPA’s favorable cost-effectiveness                  revised our estimate of cost and HAP                  index value of the vent stream. The
                                                 outcome is based on emissions                           emissions reductions, see the document                commenter also said that one of their
                                                 reductions that have already occurred                   titled Clean Air Act Section 112(d)(6)                facilities continuously monitors vent
                                                 and that will not occur as a result of the              Technology Review for Continuous                      flow and HAP concentration from two
                                                 proposed standards (and thus should                     Process Vents Located in the SOCMI                    HON process vents when they are
                                                 not be used in the calculus). The                       Source Category that are Associated                   routed to atmosphere and uses the
                                                 commenters remarked that the EPA’s                      with Processes Subject to HON,                        calculated TRE index value to
                                                 final calculation for estimating the cost               Continuous Front-end and Batch Front-                 demonstrate that the vents remain
                                                 effectiveness for removing the TRE                      end Process Vents Associated with                     Group 2 on an ongoing basis. The
                                                 concept in its entirety included a total                Processes Subject to Group I Polymers                 commenter said that this alternative
                                                 annual cost of $3,150,000 and a HAP                     and Resins NESHAP, and Process Vents                  monitoring approach was requested and
                                                 and VOC reduction of 436 tpy. The                       Associated with Processes Subject to                  approved due to the variability of HAP
                                                 commenters pointed out that process                     Group II Polymers and Resins                          emissions from those vents; and
                                                 vents that are already voluntarily                      NESHAP—FINAL, which is available in                   generally, the calculated TRE index
                                                 controlled account for 366 tpy of the                   the docket for this rulemaking.                       value remains well above 5.0. The
                                                 total reduction even though they will                      We also disagree with commenters                   commenter claimed that this alternative
                                                 not have emissions reductions as a                      that annual operating costs should be                 monitoring is used when the site
                                                 result of implementing the new                          considered for the control devices that               thermal oxidizer is down for preventive
                                                 proposed definition of a Group 1                        are controlling the voluntarily                       maintenance; and meeting the proposed
                                                 process vent. The commenters argued                     controlled streams. These existing                    new process vent requirements would
                                                 that if the EPA determines that the                     control devices are controlling other                 require either a significant investment
                                                 emissions reductions from these vents                   streams that are regulated (e.g.,                     in new control equipment or shutdown
                                                 should be included in the analysis, the                 controlling HON Group 1 process                       of the process during thermal oxidizer
                                                 Agency must account for the entire cost                 vents), thus the control devices would                maintenance.
                                                 associated with controlling these                       continue operating regardless of
                                                 emissions (i.e., annual costs associated                whether the Group 2 streams are sent to                  Response: We are revising the final
                                                 with operating a thermal oxidizer)                      them or not.                                          rule based on the commenter’s request
                                                 rather than only the costs associated                      Comment: Commenters requested that                 to add EPA Method 320 to 40 CFR
                                                 with the installation and operation of                  the EPA add EPA Method 320 to 40 CFR                  63.115(g)(2) and (3) and allow for
                                                 ductwork and blowers. The commenters                    63.115(g)(2) and (3) and allow                        certain previously conducted
                                                 added that if there are no emissions                    companies to use measurements or                      performance tests to be exempt from the
                                                 reductions expected from process vents                  testing conducted within the last 5 years             Group 2 demonstration requirements at
                                                 that are already voluntarily controlled,                to initially demonstrate that a process               40 CFR 63.115(g) provided the owner or
                                                 then the cost effectiveness analysis                    vent is a Group 2 process vent under 40               operator can demonstrate: (1) No
                                                 should be revised such that it does not                 CFR 63.115(g) provided that: (1) The                  changes have been made to the process
                                                 include reductions from these vents.                    prior measurement or test was                         since the time of the previously
                                                    Response: The EPA maintains that the                 conducted using the same methods                      conducted measurement or emission
                                                 emission reductions associated with                     specified in 40 CFR 63.115(g), and (2)                test; (2) the previously conducted
                                                 removing the TRE concept and                            either no process changes have been                   measurement or emission test was
                                                 redefining Group 1 process vents to                     made since the test, or the owner or                  conducted using the same methods
                                                 include process vents emitting greater                  operator can demonstrate that the                     specified in 40 CFR 63.115(g); and (3)
                                                 than 1.0 lb/hr of HAP are reasonable,                   results of the measurement or test, with              the previously conducted measurement
                                                 and the EPA is not making any revisions                 or without adjustments, reliably                      or emission test was completed within
                                                 as a result of this comment. Commenters                 demonstrate compliance with 40 CFR                    the last 60 months. However, we
                                                 are correct in stating that 366 tpy of                  63.115(a) despite process changes.                    disagree with the commenters’ request
                                                 HAP emitted by HON process vents                           A commenter also requested that the                to allow companies to use engineering
                                                 exceeding 1.0 lb/hr of HAP are already                  EPA allow companies to use                            calculations or process knowledge to
                                                 voluntarily controlled. However, the                    engineering calculations or process                   initially demonstrate that a process vent
                                                 emission reductions are presented on a                  knowledge to initially demonstrate that               is a Group 2 process vent under 40 CFR
                                                 basis of allowable emissions.                           a process vent is a Group 2 process vent              63.115(g). As with our concerns relative
                                                                                                         under 40 CFR 63.115(g). The commenter                 to the TRE index value, the ability to
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                                                 Previously, there were no requirements
                                                 for process vents exceeding 1.0 lb/hr of                pointed out that they already conducted               use assessments leads to greater
                                                 HAP. Therefore, under the previous                      testing and sampling procedures on                    uncertainty with regard to
                                                 rulemaking, all emissions from these                    their emission points corresponding to                characterization of vent streams and
                                                 vents were allowable, regardless of                     the EPA’s CAA section 114 request                     their emission potential. We note that as
                                                 whether some facilities were voluntarily                which cost $20,000 to $30,000 for a                   explained in section IV.C.3.e of this
                                                 controlling these emissions or not. By                  single process vent. The commenter                    preamble, we are finalizing language in
                                                 setting the emission threshold of 1.0 lb/               added that testing every vent stream is               the ‘‘C’’ and ‘‘Q’’ terms of the equations


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                                                 at 40 CFR 63.115(g)(3)(ii) and (g)(4)(iv)               diagnosis or know someone, such as an                    • The EPA does not adequately
                                                 allowing the use of engineering                         immediate family, diagnosed with                      explain how monitoring methods are a
                                                 calculations to determine concentration                 cancer; and asthma rates and                          development nor does the EPA explain
                                                 or flow rate only in situations where                   hospitalizations from asthma are ever-                what development category fenceline
                                                 measurements cannot be taken with                       increasing, especially amongst children.              monitoring allegedly falls into (i.e., a
                                                 EPA reference methods.                                  The commenter also said the area is                   work practice standard that was not
                                                                                                         facing increased weather events brought               considered previously).
                                                 ii. Fenceline Monitoring                                                                                         • According to the proposed rule, at
                                                                                                         about by climate change. Citing an
                                                    Comment: Numerous commenters                         analysis by the Times Picayune and                    least in places, fenceline monitoring
                                                 supported the EPA’s proposal to require                 Advocate newspapers, the commenter                    (coupled with root cause analysis and
                                                 fenceline monitoring at facilities in the               said that 740 toxic sites are at risk from            corrective action) is a work practice
                                                 SOCMI and P&R I source categories that                  storms, with most of those plants                     standard ‘‘that is a development in
                                                 use, produce, store, or emit benzene,                   concentrated in the area the commenters               practices considered under CAA section
                                                 1,3-butadiene, chloroprene, EtO,                        refer to as Cancer Alley. The commenter               112(d)(6) for the purposes of managing
                                                 ethylene dichloride, or vinyl chloride.                 said that after experiencing numerous                 fugitive emissions’’; however, the EPA
                                                 These commenters also said they                         storms, they personally witnessed the                 considered two monitoring methods—
                                                 support the requirement to conduct root                 flaring of surrounding plants, including              not action levels, root cause analysis, or
                                                 cause analysis and corrective action. In                the plants that produce EtO, and are                  corrective action—as developments in
                                                 addition, some commenters voiced their                  concerned about the increase of                       practices, and it is unclear how
                                                 support for requiring monitoring data to                pollution before, during, and after                   monitoring methods fall under any
                                                 be made available to the public in the                  weather events.                                       other of the broad categories of
                                                 WebFIRE database, allowing                                 On the contrary, other commenters                  developments previously defined by the
                                                 communities to have access to                           opposed the EPA’s proposal to require                 EPA.
                                                 information that impacts them. Some                     fenceline monitoring at facilities in the                • If the root cause analysis and the
                                                 commenters said the fenceline                           SOCMI and P&R I source categories that                corrective action requirements are the
                                                 monitoring technology has proven to be                  use, produce, store, or emit benzene,                 work practice standards—as the EPA
                                                 a valuable tool for petroleum refineries                1,3-butadiene, chloroprene, EtO,                      stated in the proposed NESHAP for EtO
                                                 to timely detect problems and to address                ethylene dichloride, or vinyl chloride.               commercial sterilization and fumigation
                                                 them more quickly, substantially                        These commenters primarily argued that                operations—then how are monitoring
                                                 reducing emissions from leaks and other                 the EPA exceeded its authority under                  methods a work practice standard? (And
                                                 fugitives. At least one commenter said                  CAA section 112(d)(6) because fenceline               if they are not, they are not a
                                                 fenceline monitoring can provide                        monitoring is not a ‘‘development[] in                development that can be considered
                                                 numerous benefits, including assisting                  practices, processes, and control                     under CAA section 112(d)(6)?).
                                                 in identifying an accidental release, and               technologies’’ for fugitive EtO                          • Adding data quality requirements
                                                 in the event of an accidental release,                  emissions. Commenters in opposition of                and existing best practices does not
                                                 give the community immediate notice of                  fenceline monitoring made the                         render EPA Method 327 a new
                                                 the emergency and any necessary                         following points about the EPA’s                      development, nor does it remedy the
                                                 mitigation responses they should                        assertion of authority to require                     concerns about facilities’ ability to
                                                 employ (shelter in place, close                         fenceline monitoring:                                 accurately measure fenceline EtO
                                                 windows, evacuate, etc.). This                             • Fenceline monitoring has been in                 concentrations (i.e., there are still no
                                                 commenter added that fenceline                          existence for years, but as recently as               reliable methods that can measure to the
                                                 monitoring can also: help communities                   2020 the EPA concluded (in the MON                    level of precision required).
                                                 advocate for vigorous enforcement of                    in response to Comment 40 in the                         • Coupling fenceline monitoring with
                                                 regulatory requirements; push                           document titled Summary of Public                     a canister monitoring network and a so-
                                                 companies to use safer chemicals; alert                 Comments and Responses for the Risk                   called ‘‘new’’ reference method does not
                                                 and educate friends, family members,                    and Technology Review for                             transform the fenceline monitoring as
                                                 and community members; and                              Miscellaneous Organic Chemical                        proposed into a new technology that is
                                                 encourage the media to report on                        Manufacturing, see Docket Item No.                    within the CAA section 112(d)(6)
                                                 polluting facilities in their areas. The                EPA–HQ–OAR–2018–0746–0200) that                       authority.
                                                 commenter also suggested that facilities                they were ‘‘not aware of any                             Some of these commenters contended
                                                 can use fenceline monitoring data to                    methodology or technology with the                    that even if the proposed fenceline
                                                 take the initiative to improve safety at                necessary accuracy, precision, and                    monitoring requirements were within
                                                 their operations. Other commenters                      detection sensitivity to require fenceline            the scope of CAA section 112(d)(6)
                                                 requested that EtO emissions be                         monitoring for EtO.’’                                 authority, the EPA failed to adequately
                                                 required to be monitored by third-party                    • It is unclear what standard the EPA              consider/quantify a level of emission
                                                 companies. The commenters explained                     is reviewing or how fenceline                         reduction from the proposed fenceline
                                                 that current laws in some states allow                  monitoring constitutes a review of the                monitoring and did not account for any
                                                 facilities to monitor their own                         existing standards with respect to                    of the potential costs associated with
                                                 emissions, which could cause                            ‘‘developments in practices, processes,               achieving such emission reductions
                                                 underreported emissions.                                and control technologies.’’                           (i.e., the EPA only considered the costs
                                                    A commenter argued that fenceline                       • The EPA does not explain how                     of the actual monitoring and not the root
                                                 monitoring requirements are crucial in                                                                        cause and corrective action
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                                                                                                         fenceline monitoring, which by itself
                                                 protecting the communities referred to                  does not reduce emissions, is a                       requirements). A commenter asserted
                                                 by the commenter as Cancer Alley,                       development.                                          that had the EPA appropriately
                                                 especially in St. John the Baptist Parish,                 • The EPA does not provide any                     accounted for costs, it would have
                                                 which the commenter claimed has the                     analysis as to how ‘‘root cause analysis              concluded that the proposed fenceline
                                                 highest cancer rates in the country. The                and corrective action’’ are developments              monitoring requirements are not cost-
                                                 commenter stated that more and more                     with respect to any particular unit/unit              effective, consistent with the Agency’s
                                                 residents are either facing a cancer                    type.                                                 determination for the options


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                                                 considered for equipment leaks, PRDs,                   practice standards authorized under                   given the unique circumstances
                                                 and storage vessel breathing losses. The                CAA sections 112(h) and (d). We note                  presented by these source categories, to
                                                 commenter argued that the EPA failed to                 that the sources addressed by the                     require these lower action levels. First,
                                                 quantify the additional HAP emissions                   fenceline monitoring standard—fugitive                for EtO, the lower action level reflects
                                                 reductions for EtO and chloroprene that                 emissions sources such as wastewater                  concentrations that all HON-subject
                                                 the Agency indicates will be required                   collection and treatment operations,                  facilities, except for one, are currently
                                                 for compliance or to consider the cost of               equipment leaks, heat exchange systems                meeting and are therefore cost-effective
                                                 these additional reductions (in addition                and storage vessels—are already subject               under CAA section 112(d)(6). Second,
                                                 to the cost of the required root cause                  to work practice standards. Our review                consistent with the second step of the
                                                 and corrective action analyses) as is                   of these requirements indicates that this             risk review under the Benzene NESHAP
                                                 required to meet the Agency’s obligation                fenceline monitoring work practice                    approach addressing whole-facility
                                                 under CAA section 112(d)(2). The                        standard would be a further                           risks, for chloroprene the lower action
                                                 commenter stated that the EPA has not                   improvement in the way fugitive                       level reflects concentrations what will
                                                 assigned emissions reductions of                        emissions are managed and would, by                   result in whole facility risks from this
                                                 benzene, 1,3-butadiene, ethylene                        providing such further assurance of                   HAP dropping to 100-in-1 million.
                                                 dichloride, or vinyl chloride as a result               compliance with emission standards                    Further whole-facility reductions in EtO
                                                 of implementing the proposed fenceline                  and work practice standards, also                     and chloroprene emissions from other
                                                 monitoring work practice requirements;                  provide an extra measure of protection                sources located at major source facilities
                                                 and with the exception of EtO and                       for surrounding communities.                          subject to these standards, including
                                                 chloroprene, the Agency implies that                    Consistent with the criteria in CAA                   sources outside the source category, will
                                                 additional reductions beyond those the                  section 112(h)(2), we determined and                  help reduce risks from the whole-
                                                 EPA proposed elsewhere in the                           established that work practice standards              facility emissions of EtO and
                                                 rulemaking will be unnecessary to meet                  are appropriate for fugitive emissions at             chloroprene from facilities with sources
                                                 the fenceline action levels. The                        the time we established the initial                   in the SOCMI and Neoprene Production
                                                 commenter attested that the EPA                         MACT standards. Today, we reaffirm                    source categories.
                                                 proposed additional requirements on                     that it is impracticable to directly                     To reduce risk in the final rule we are
                                                 top of those already required by the                    measure all fugitive emission sources at              making an adjustment from what was
                                                 existing rules, or that will be required as             a given source but do not consider it                 proposed. First, we are establishing
                                                 part of the other proposed revisions                    necessary to reiterate these findings as              under CAA section 112(d)(6), for all six
                                                 (e.g., the proposed flare standards, the                part of this action to add the fenceline              of the monitored pollutants, action
                                                 existing and proposed monitoring                        monitoring provisions for these sources               levels that correspond to the fenceline
                                                 requirements for process vents, and                     under CAA sections 112(d)(6) and (f)(2).              concentrations expected to result from
                                                 equipment leaks and PRDs), without                      We note that the commenters do not                    compliance with the final rule’s
                                                 identifying deficiencies in the current                 provide any grounds to support a                      standards and work practices applicable
                                                 and proposed requirements. Similarly,                   reevaluation as to whether these fugitive             to HON and P&R I processes and which
                                                 other commenters stated that the EPA                    emission sources are appropriately                    reflect concentrations that HON and
                                                 has not demonstrated that fenceline                     regulated by a work practice standard.                P&R I sources are largely already
                                                 monitoring is necessary to reduce HAP                                                                         achieving, such that these action levels
                                                                                                            The EPA, in establishing action levels             function to provide further assurance of
                                                 emissions or to provide an ample                        for the fenceline monitoring work                     such compliance of the emission
                                                 margin of safety; and the lack of                       practice standard, relied on the                      standards and provide for corrective
                                                 emissions reductions associated with                    authority provided in CAA section                     action when action levels are exceeded.
                                                 the proposed requirements shows that                    112(d)(6) to set action levels at the                 For benzene, 1,3-butadiene, ethylene
                                                 such requirements are unnecessary to                    highest concentration anticipated,                    dichloride, EtO and vinyl chloride,
                                                 the ultimate goals of CAA section 112.                  considering the emission reductions                   these are the same action levels as
                                                    Response: We disagree with the                       anticipated under the additional                      proposed. For chloroprene, instead, the
                                                 commenters’ assertion that the proposed                 standards we are adopting under CAA                   action level has been adjusted upward
                                                 fenceline monitoring work practice                      sections 112(d)(6) and 112(f)(2). Again,              to 0.8 ug/m3 (see Docket Item No. EPA–
                                                 standard is not authorized under CAA                    the section 112(d)(6)-based action levels             HQ–OAR–2022–0730–0091, page 24) to
                                                 section 112(d)(6), but we are making                    function to verify the expected                       reflect the modeled expected fenceline
                                                 certain changes to the fenceline                        emissions reductions resulting from                   concentration resulting from the other
                                                 monitoring program in the final rule in                 compliance with the final emission                    final standards and work practices
                                                 response to comments, including                         standards, and reflect concentration                  chloroprene. This first action level is,
                                                 adopting a second action level for just                 levels that are largely already resulting             therefore, consistent with how we
                                                 chloroprene under CAA section                           from sources subject to the rules and are             established fenceline monitoring
                                                 112(f)(2). Contrary to the commenter’s                  therefore cost-effective. Further, in the             requirements under CAA section
                                                 claims, we specifically proposed the                    proposal the EPA acknowledged that the                112(d)(6) in the petroleum refineries
                                                 fenceline monitoring standard under                     proposed action levels for EtO and                    NESHAP and how we represent the
                                                 CAA section 112(d)(6) to be a work                      chloroprene of 0.2 ug/m3 and 0.3 ug/m3,               primary CAA section 112(d)(6)-based
                                                 practice standard that is applied broadly               respectively, were lower than the                     fenceline monitoring program under the
                                                 to target fugitive emissions sources                    fenceline modeled concentrations for                  final rule.
                                                 located at HON and P&R I facilities. The
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                                                                                                         EtO and chloroprene from facilities in                   Although the EtO action level of 0.2
                                                 proposed standard does more than                        the SOCMI and Neoprene Production                     ug/m3 is lower than what the EPA’s
                                                 impose monitoring as some commenters                    source categories after implementation                modeling shows will result from
                                                 suggested; it also limits emissions from                of the proposed emission standards, and               compliance with the final CAA section
                                                 sources because it requires the owner or                we took comment on whether we                         112(d) and 112(f) SOCMI source
                                                 operator to identify and reduce HAP                     should require these lower action levels              category emission standards in the final
                                                 emissions through a monitoring and                      under CAA section 112(f)(2). In this                  HON, as we discussed in the proposed
                                                 repair program, as do many work                         final rule, we believe it is reasonable,              rule, we expect that major sources with


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                                                 HON processes will be able to employ                    secondary, CAA section 112(f)-based                   resulted in a significant reduction in
                                                 additional facility-wide measures,                      action level.                                         benzene emissions. The action levels for
                                                 including those at other EtO-emitting                      In the case of chloroprene emitted by              the primary fenceline work practice
                                                 processes outside of the SOCMI source                   the Denka Performance Elastomer, LLC                  standard, by contrast, are not based on
                                                 category, to obtain additional cost-                    facility (subject to both the P&R I                   the best performers but rather on the
                                                 effective EtO reductions via                            NESHAP and the HON), we do not                        highest value expected on the fenceline
                                                 improvements in maintenance and                         anticipate taking further source-                     from any source, based largely on the
                                                 operations and enable compliance with                   category-wide rulemaking action that                  modeling of emission inventories
                                                 the CAA section 112(d)(6) EtO action                    could re-set CAA section 112(d)(6)-                   expected to result from compliance with
                                                 level. This is already being                            based lower action levels to reflect                  the final emission standards and work
                                                 demonstrated by the fact that all HON-                  future additional chloroprene                         practices under the rules.
                                                 subject facilities, except for one, are                 reductions from additional source                        Lastly, we acknowledge commenters’
                                                 already showing concentrations at or                    category processes. Consequently, for                 support for fenceline monitoring.
                                                                                                         Denka Performance Elastomer, LLC’s                    However, with respect to the commenter
                                                 below the final action level. Moreover,
                                                                                                         chloroprene emissions, this rulemaking                requesting that a third party be required
                                                 this is reasonable due to the integrated
                                                                                                         is the final opportunity for us to                    to monitor the fenceline concentrations,
                                                 nature of chemical plant operations,
                                                                                                         establish an action level with the goal of            the EPA disagrees. Fenceline monitoring
                                                 where multiple process units may be                     assuring that whole-facility chloroprene              requires a level of access to the facility
                                                 subject to NESHAP for more than one                     emissions are reduced to a level that                 and measurement devices that would be
                                                 source category and products of units in                provides an ample margin of safety to                 burdensome to accommodate for
                                                 some categories may also be feedstocks                  protect public health.50 This is                      facilities. Fenceline monitoring is
                                                 for units in other source categories.                   consistent with the statute because                   intended to address concerns with
                                                 Accordingly, the source category                        under the CAA section 112(f)(2) ample                 underreported emission inventories and
                                                 designations, while part of the NESHAP                  margin of safety second step, the                     works based on timely root cause
                                                 program, are somewhat of an artificial                  Benzene NESHAP approach that is                       analysis. Adding a third-party
                                                 distinction in these highly integrated                  incorporated into the CAA allows the                  requirement would slow a facility’s
                                                 chemical manufacturing facilities. For                  EPA to consider quantified or                         ability to respond to fugitive emissions
                                                 example, there are emission sources that                unquantified health effects, effects due              in a timely manner.
                                                 often serve the entire facility, such as                to co-location of facilities, and co-                    Comment: A commenter argued that
                                                 wastewater treatment systems and heat                   emission of pollutants.                               fenceline monitoring is not an emissions
                                                 exchange systems, but they are typically                   We disagree that the fenceline                     standard or work practice within the
                                                 assigned to a single source category or                 monitoring standards we are finalizing                meaning of CAA section 112. Citing
                                                 subcategory. Because of the propensity                  in this rule are redundant with MACT                  CAA section 302(k), the commenter said
                                                 for large integrated chemical plants to                 emissions standards for fugitive HAP                  that, by itself, fenceline monitoring does
                                                 contain numerous source categories,                     emissions sources. The MACT standards                 not reduce emissions, rather all that
                                                 and also to contain units that span                     impose requirements on fugitive HAP                   fenceline monitoring does is identify
                                                 multiple source categories, we are                      emissions sources consistent with the                 ambient concentrations of a specific
                                                 finalizing fenceline work practice                      requirements in CAA section 112(d)(2)                 chemical; it does not even identify
                                                 standards with an EtO action level that                 and (3), and the fenceline monitoring                 whether the chemical is from a
                                                 relies on achieving reductions across the               requirement is not a replacement for                  regulated source, let alone identify a
                                                 whole HON facility, even if that                        those requirements. Rather, based on                  specific regulated unit at such source.
                                                 includes non-HON EtO-emitting                           our review of these standards, we                     The commenter said that fenceline
                                                 processes.                                              concluded that the primary CAA section                monitoring can only potentially reduce
                                                                                                         112(d)(6)-based fenceline monitoring                  emissions when coupled with
                                                    Second, in light of the very high risk
                                                                                                         program is a development in practices,                additional requirements, but, at least in
                                                 presented by chloroprene emissions, we
                                                                                                         processes or control technologies that is             this instance, the EPA does not appear
                                                 have concluded it is appropriate, in                    a necessary revision to the previous                  to claim associated reductions from the
                                                 addition to adopting the primary CAA                    standard, as it would improve                         source category. The commenter added
                                                 section 112(d)(6)-based action levels                   management of fugitive emissions in a                 that while the EPA is proposing ‘‘action
                                                 and monitoring program for all six                      cost-effective manner and help assure                 levels,’’ again, these levels alone do not
                                                 subject HAP, to supplement the program                  compliance with applicable process                    ‘‘limit the quantity, rate, or
                                                 with a secondary action level for this                  emission standards under the HON and                  concentration of emissions.’’ The
                                                 pollutant. This secondary action level,                 the P&R I NESHAP. Requiring sources to                commenter said that according to the
                                                 equivalent to that proposed, reflects                   establish a fenceline monitoring                      preamble, if the emissions inventories
                                                 fenceline concentrations for this                       program that identifies HAP emission                  are accurate, ‘‘all facilities should be
                                                 pollutant that increase the margin of                   sources that cause elevated pollutant                 able to meet the fenceline concentration
                                                 safety and advances the objectives of                   concentrations at the fenceline, and                  action levels considering the controls
                                                 CAA section 112(f)(2). Although our                     correcting high emissions through a                   [EPA is] proposing’’; therefore, even
                                                 modeling indicates that compliance                      more focused effort, augments but does                when coupled with action levels, the
                                                 with the other emission standards and                   not replace the existing requirements.                EPA’s proposal does not claim that
                                                 work practices promulgated for                          We found that, through early                          fenceline monitoring will result in any
                                                 Neoprene Production sources may not
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                                                                                                         identification of significant fugitive                meaningful emissions reductions from
                                                 produce this secondary level, we                        HAP releases through fenceline                        the source category. The commenter
                                                 anticipate—as explained in the                          monitoring, compliance with the                       also stated that while exceedance of an
                                                 proposal—that major sources will be                     Refinery MACT fenceline work practice                 action level may trigger further
                                                 able to employ additional facility-wide                 standard for these similar emissions                  requirements, the action level does not,
                                                 measures, such as maintenance                           sources in these source categories has                by itself or combined with fenceline
                                                 measures, to achieve further                                                                                  monitoring, limit emissions—additional
                                                 chloroprene reductions to reach this                     50 See footnote 47.                                  actions are required; and, because the


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                                                 EPA’s proposal measures ambient                         established under section 112(d)(6) for               emissions reductions is unjustified
                                                 concentrations, an exceedance of a                      benzene, butadiene, vinyl chloride,                   under CAA section 112(d)(6) and
                                                 proposed action level is not necessarily                ethylene dichloride, chloroprene, and                 unnecessary under CAA section 112(f).
                                                 the result of emissions from the facility               EtO, and has set action levels according              The commenter added that they
                                                 in question or from an exceedance of a                  to the annual average concentrations                  acknowledge that the EPA found EtO
                                                 standard.                                               modeled at the facility fenceline for any             and chloroprene to be risk drivers as
                                                    The commenter noted that while the                   facility after compliance with process                part of their voluntary assessment
                                                 EPA states that it is proposing fenceline               unit emission standards applicable to                 supporting this proposed rulemaking
                                                 monitoring as a work practice standard,                 HON and P&R I sources and that reflect                and are claiming unquantified
                                                 which could fall within the meaning of                  levels sources are largely already                    emissions reductions as a result of
                                                 ‘‘any design, equipment, work practice                  achieving. However, as discussed                      implementing fenceline monitoring;
                                                 or operational standard promulgated                     elsewhere in this section of the                      however, according to the commenter,
                                                 under [the CAA],’’ the EPA does not                     preamble, we are also setting a                       the Agency determined that these
                                                 explain how fenceline monitoring meets                  secondary action level of 0.3 ug/m3 for               additional reductions are unnecessary
                                                 the requirements for a work practice                    chloroprene under CAA section                         under CAA section 112(f) when it
                                                 standard. The commenter added that                      112(f)(2), because this standard will                 proposed to find acceptable risk and an
                                                 work practice standards are authorized                  further reduce risks from the whole-                  ample margin of safety after
                                                 only in limited circumstances under                     facilities consistent with the goal to                implementation of the controls detailed
                                                 CAA section 112(h)(1) when it is not                    provide an ample margin of safety to                  in section III.B.2.a of the proposal
                                                 feasible to prescribe or enforce an                     protect public health).                               preamble (88 FR 25080, April 25, 2023).
                                                 emission standard for control of HAPs,                                                                           The commenter argued that it would
                                                                                                            Comment: A commenter argued that
                                                 and the EPA has not adequately                                                                                be inappropriate to consider fenceline
                                                                                                         the EPA’s explanation for the basis of
                                                 explained what elements of the proposal                                                                       monitoring in context of the CAA
                                                                                                         selecting the six compounds for
                                                 are work practice standards.                                                                                  section 112(f) review. The commenter
                                                    Response: Section 112(d)(6) of the                   fenceline monitoring is inadequate
                                                                                                                                                               stated that the EPA has already
                                                 CAA requires the EPA to review and                      when compared against the rulemaking
                                                                                                                                                               concluded that the controls that it has
                                                 revise the MACT standards, as                           record. The commenter said that the
                                                                                                                                                               proposed to impose protect human
                                                 necessary, taking into account                          EPA appears to base its selection of
                                                                                                                                                               health and the environment with an
                                                 developments in ‘‘practices, processes                  compounds on previous and current                     ample margin of safety. The commenter
                                                 and control technologies.’’ Consistent                  risk drivers because the EPA indicates                added that the EPA has not identified
                                                 with our long standing practice for the                 that ‘‘[s]everal of these compounds were              any additional emission reductions from
                                                 technology review of MACT standards,                    identified as cancer risk drivers in the              the source category that would be
                                                 in section II.G.1 of the proposal                       prior risk and technology reviews for                 necessary to reduce risk from the source
                                                 preamble, we list five types of                         the HON and P&R I NESHAP conducted                    category and that the EPA has failed to
                                                 ‘‘developments’’ we consider.                           in 2006 (HON) and 2008 and 2011 (P&R                  demonstrate that any such controls are
                                                    Fenceline monitoring fits squarely                   I). . ..’’ The commenter contended that,              cost-effective, which would be included
                                                 within two of those five types of                       with the exception of EtO, the                        as any ample of safety analysis. The
                                                 developments (emphasis added):                          maximum risk previously found by the                  commenter also said that the action
                                                    • Any add-on control technology or                   EPA in its reviews for the HON and P&R                level is not tied in a meaningful way to
                                                 other equipment that was not identified                 I NESHAP were well below 100-in-1                     reducing risk to an acceptable level.
                                                 and considered during development of                    million (or not identified as a risk driver              Response: The EPA implemented a
                                                 the original MACT standards.                            at all); the commenter provided a table               fenceline monitoring standard to
                                                    • Any work practice or operational                   showing the EPA’s determinations of                   address emissions of pollutants that it
                                                 procedure that was not identified or                    2006 HON, 2008 P&R I and 2011 P&R                     determined could cause unacceptable
                                                 considered during development of the                    I MIR for benzene, 1,3-butadiene,                     risk, based on risk modeling of emission
                                                 original MACT standards.                                chloroprene, EtO, ethylene dichloride,                inventories and accounting for the range
                                                    As used here, ‘‘other equipment’’ is                 and vinyl chloride. The commenter                     of uncertainty associated with these
                                                 clearly separate from and in addition to                pointed out that in each of these                     estimates. When the EPA promulgated
                                                 ‘‘add-on control’’ technology and is                    previous assessments, the EPA found                   the Refinery MACT fenceline work
                                                 broad enough to include monitoring                      risks acceptable and did not adopt                    practice standard, the EPA
                                                 equipment. In this case, fenceline                      additional standards to address residual              acknowledged that emissions of
                                                 monitoring includes equipment that we                   risk or to ensure an ample margin of                  benzene and indeed, of all other HAP in
                                                 did not identify and consider during                    safety. The commenter said the EPA                    the source category, did not pose
                                                 development of the original MACT                        also did not identify benzene, 1,3-                   unacceptable risk when emissions from
                                                 standards. Additionally, the primary                    butadiene, ethylene dichloride, or vinyl              refineries were modeled, but that the
                                                 fenceline standard is a work practice                   chloride as driving unacceptable risk                 work practice standard was put in place
                                                 standard, involving monitoring, root                    under the current assessment; thus,                   to address the uncertainty associated
                                                 cause analysis, and corrective action not               while the EPA’s selection of benzene,                 with emission estimates from fugitive
                                                 identified at the time of the original                  1,3-butadiene, ethylene dichloride, and               sources and to preserve the decisions
                                                 MACT standards. Therefore, the                          vinyl chloride based on risk is                       regarding the findings of acceptable risk
                                                 primary fenceline requirements are a                    questionable under the EPA’s framing of               and ample margin of safety (79 FR
                                                 development in practices that will                      the option as part of its CAA section
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                                                                                                                                                               36290, June 30, 2014). The same
                                                 improve how facilities manage fugitive                  112(d)(6) technology review, a closer                 uncertainty exists here for the SOCMI
                                                 emissions, and the EPA appropriately                    inspection of the EPA’s previous risk                 and P&R I source categories. As
                                                 relied on CAA section 112(d)(6) in                      assessments indicates that in fact, these             explained in the April 25, 2023
                                                 requiring this standard. (Note: The EPA                 compounds did not drive any                           proposal, we collected fenceline
                                                 is not relying on CAA section 112(f)(2)                 unacceptable risk. The commenter                      measurements in addition to modeling
                                                 as the basis for the primary fenceline                  stated that the EPA’s proposal to require             inventories, and our fenceline
                                                 monitoring work practice standard                       millions of dollars of monitoring for no              measurements indicate that


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                                                 concentrations at the fenceline almost                  reductions anticipated from                           methanol, and formaldehyde
                                                 always exceed modeled concentrations,                   implementation of controls used to meet               constituents to the list of pollutants
                                                 indicating the potential for significant                the proposed standards and to achieve                 requiring fenceline monitoring. The
                                                 uncertainty with regard to our risk                     additional chloroprene emission                       commenter pointed out that based on
                                                 analysis and findings of acceptable risk.               reductions are achievable. Reductions to              TRI data, the inclusion of formaldehyde
                                                 As discussed earlier in this document,                  achieve this action level will likely                 to the list of pollutants requiring
                                                 the EPA is not relying on CAA section                   come from controlling additional                      fenceline monitoring would add another
                                                 112(f)(2) as the basis for the primary                  emission sources at the one Neoprene                  28 facilities, the inclusion of methanol
                                                 fenceline monitoring work practice                      Production facility that might not be                 would add another 13 facilities, and the
                                                 standard established under CAA section                  considered part of the source category.               inclusion of BTEX/n-hexane would add
                                                 112(d)(6) for benzene, butadiene, vinyl                 Controlling these sources reduces                     another 3 facilities. The commenter also
                                                 chloride, ethylene dichloride,                          emissions from the entire facility, not               pointed out that it is no surprise that
                                                 chloroprene, and EtO and has set action                 just the source category, and makes it                information gathered from only HON
                                                 levels according to the annual average                  possible for operators to achieve the                 and P&R I sources resulted in
                                                 concentrations modeled at the facility                  lower action level. Thus, in this final               constituents most representative of
                                                 fenceline for any facility after                        rule, and based on the unique                         those sources and not representative of
                                                 compliance with process unit emission                   circumstances presented here, we                      P&R II sources; and had the EPA
                                                 standards applicable to HON and P&R I                   consider facility-wide risk as an                     included P&R II data in the information
                                                 sources and that are reflective of                      additional factor we may consider under               it gathered for the purpose of fenceline
                                                 concentrations subject sources are                      CAA section 112(f)(2) and, in addition                monitoring constituents, the EPA would
                                                 already achieving. Further, we disagree                 to the primary CAA section 112(d)(6)-                 have found that all five P&R II sources
                                                 with the commenters who suggest that                    based fenceline monitoring program                    emit epichlorohydrin and that several of
                                                 the EPA may not require fenceline                       addressing all six subject HAP, we are                them emit the non-benzene BTEX
                                                 monitoring pursuant to CAA section                      promulgating a separate and secondary                 constituents. Commenters requested
                                                 112(d)(6) because the EPA has not                       lower action levels for just chloroprene              that the EPA add formaldehyde to the
                                                 determined that fenceline monitoring is                 under CAA section 112(f)(2).                          list of pollutants requiring fenceline
                                                 necessary to ensure an acceptable level                    Comment: Many commenters                           monitoring because the IRIS data
                                                 of risk or to provide an ample margin of                requested that the EPA expand the                     indicates that as a carcinogen,
                                                 safety. CAA section 112(d)(6) does not                  fenceline monitoring requirements to                  formaldehyde is even more potent than
                                                 require the EPA to factor in the health                 every facility in the SOCMI, P&R I, and               benzene. A commenter said evidence
                                                 considerations provided in CAA section                  P&R II source categories so owners and                from emission reports suggests that
                                                 112(f)(2) when making a determination                   operators of these facilities can                     some facilities may be underreporting or
                                                 whether it is ‘‘necessary’’ to revise the               demonstrate, by representative                        only sporadically reporting
                                                 previous emission standard.                             monitoring data, that pollution from                  formaldehyde emissions (e.g., the
                                                                                                         these facilities poses minimal levels of              Conoco-Phillips/Shell Wood River
                                                    For chloroprene, we are finalizing in                harm to fenceline communities. Some of
                                                 the primary CAA section 112(d)(6)-                                                                            manufacturing site in Illinois reported
                                                                                                         these commenters pointed out that, as                 very large formaldehyde emissions to
                                                 based program the action level of 0.8 ug/               proposed, only about 60 percent of the
                                                 m3 that reflects compliance with the                                                                          the NEI in 2017 and even larger
                                                                                                         facilities in these source categories                 amounts to the 2020 NEI but has not
                                                 source category-specific emissions                      would have to conduct fenceline
                                                 limits for the Neoprene Production                                                                            disclosed formaldehyde emissions in
                                                                                                         monitoring. Other commenters
                                                 source category in the P&R I NESHAP.                                                                          any of the TRI reports for the facility for
                                                                                                         contended that, as proposed, 90
                                                 Separately, we are also setting a                                                                             the 5 years between 2017 and 2020). A
                                                                                                         facilities would have no fenceline
                                                 secondary action level of 0.3 ug/m3 for                                                                       commenter recommended that the EPA
                                                                                                         monitoring requirements. A commenter
                                                 chloroprene under CAA section                                                                                 require each facility to select the
                                                                                                         contended that there is no reason or
                                                 112(f)(2), because this standard further                                                                      constituents to be monitored via tailored
                                                                                                         need for the EPA to have selected just
                                                 reduces from the whole-facility risk                                                                          fenceline monitoring plans that are
                                                                                                         six toxic pollutants and used them as
                                                 from sources emitting chloroprene to                                                                          specific to each facility’s emissions and
                                                                                                         basis to omit facilities from fenceline
                                                 levels that are consistent with the goals                                                                     risk drivers. Additionally, at least one
                                                                                                         monitoring, given that CAA section
                                                 of CAA section 112(f)(2). As discussed                  112(d)(6) requires making any changes                 commenter said they hope that EPA will
                                                 earlier, in the proposal, we                            that are ‘‘necessary’’ to bring standards             replicate this multi-pollutant
                                                 acknowledged that the proposed action                   into full compliance with the CAA, such               monitoring in other rules, including as
                                                 level of 0.3 ug/m3 for chloroprene is                   as setting limits on uncontrolled and                 a supplement to the ethylene
                                                 lower than the fenceline modeled                        inadequately controlled emissions. The                production rules.
                                                 concentrations from facilities in the                   commenter pointed out that the EPA set                   On the contrary, some commenters
                                                 Neoprene Production source category                     fenceline monitoring requirements that                argued that the proposed fenceline
                                                 after implementation of our proposed                    applied to all refineries subject to                  monitoring requirements would
                                                 standards under CAA section 112(f)(2);                  NESHAP subpart CC and did not omit                    impermissibly regulate emissions from
                                                 however, considering whole-facility                     sources based on the selected                         non-HON sources. Citing the proposal at
                                                 risks, and in light of the configuration                constituents to be monitored.                         88 FR 25145–46, some of these
                                                 of the emission sources subject to these                   Some commenters suggested that the                 commenters pointed out that the EPA
                                                 rules that contribute to whole-facility                                                                       expressly notes that facilities are not
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                                                                                                         EPA could add more toxic pollutants to
                                                 risk that remain for the impacted                       its current list of six fenceline                     permitted to exclude non-HON sources
                                                 communities after the imposition of                     monitoring constituents, in order to                  of the target pollutants that are within
                                                 controls, we are setting the additional                 ensure that each facility has at least one            facility property boundaries when
                                                 second action level for chloroprene at                  or more sentinel chemicals that can be                determining whether monitored
                                                 facility boundaries as low as possible                  monitored. A commenter recommended                    concentrations exceed action levels. The
                                                 (considering method detection                           that the EPA include benzene, toluene,                commenters said that regulating
                                                 limitations) to ensure that the emission                ethylbenzene, and xylenes (BTEX),                     emissions from sources outside of the


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                                                 source category is incompatible with the                evaluating such controls in the context               Industrial Site, and both emit EtO (and
                                                 EPA’s statutory mandate to ‘‘review and                 of the applicable CAA section 112                     Facilities B and C are not subject to the
                                                 revise’’ the ‘‘emissions standards                      standard. The commenter asserted that                 HON but are subject to 40 CFR 63,
                                                 promulgated under this section,’’ which                 such use of a source-specific technology              subpart PPP). The commenter said that
                                                 refers to the source-category MACT                      review to promulgate requirements that                Facilities B and C send miniscule liquid
                                                 standards promulgated under CAA                         affect an unknown number of other                     EtO emissions to the WWTP for
                                                 section 112(d). The commenters stated                   source categories is arbitrary and                    disposal; and reported emissions by
                                                 that the EPA may only regulate HON                      capricious and circumvents statutory                  Facility A of EtO from their WWTP,
                                                 sources under its technology review                     design. The commenter added that the                  since taking over the Industrial Site, are
                                                 authority in accordance with the                        EPA has not assessed the cost that                    less than 1 lb/yr. Using this example,
                                                 statutory language and structure of the                 would fall on other source categories                 the commenter contested that it is
                                                 CAA. The commenters reiterated that                     and that the EPA’s proposal failed to                 inappropriate to require Facility A to
                                                 when enacting CAA section 112,                          properly provide notice or provide a                  perform EtO fenceline monitoring and
                                                 Congress instructed the EPA to                          meaningful opportunity to comment to                  conduct a root cause analysis with
                                                 promulgate a list of specific source                    all interested stakeholders.                          subsequent corrective action because
                                                 categories and that Congress then                          Some commenters said that they                     Facility A does not use, store, or emit
                                                 instructed the EPA to establish emission                support the EPA’s proposal to allow                   EtO from any of their own production
                                                 standards ‘‘[f]or the categories and                    facilities to account for offsite, upwind             processes (i.e., Facility A only has EtO
                                                 subcategories the Administrator lists                   sources through the use of near-field                 wastewater emissions from treating EtO
                                                 under subsection (d)’’ of CAA section                   source correction under 40 CFR                        wastewater from Facility B and Facility
                                                 112. At least one of these commenters                   63.184(g); however, these commenters                  C as the site owner). The commenter
                                                 cited CAA sections 112(c), (d)(1),                      said they disagree with the EPA’s                     made the following additional points:
                                                 (d)(3)(A), (d)(6), and (f) as examples of               assertion that this option should not be              (1) The amount of EtO emitted to the air
                                                 how the CAA authorizes the EPA to                       provided for onsite, non-source category              from wastewater obtained and treated
                                                 impose emissions standards only on                      emissions. These commenters asserted                  by other facilities from Facility A has
                                                 particular source categories or                         that the EPA cannot regulate sources                  been less than a pound for the past 3
                                                 subcategories. The commenter asserted                   beyond those subject to the technology                years; (2) the WWTP is located outside
                                                 that none of these provisions expressly                 review; thus, the commenters said, the                the fenceline of the Industrial Site; (3)
                                                 authorize or reasonably can be                          EPA should add provisions in the final                Facility A does not have the authority
                                                 construed to allow the EPA to develop                   rule similar to those at 40 CFR 63.658(i)             to perform root cause analysis or
                                                 and impose an emissions standard that                   from the 2015 Petroleum Refinery                      corrective actions on facilities they do
                                                 applies across multiple source                          Sector Rule to address onsite sources                 not have operational control over; and
                                                 categories. The commenter contended                     that are not part of the affected source              (4) if action level concentrations are
                                                 that for this reason, the EPA’s proposal                under the HON and P&R I NESHAP.                       found, it is not possible to determine
                                                 to apply fenceline monitoring to site-                  However, at least one commenter                       whether the EtO comes from Facility B
                                                 wide emissions, including emissions                     objected to adding provisions in the                  and/or Facility C, nor their individual
                                                 from source categories beyond the                       final rule similar to those at 40 CFR                 contributions. For the Facility A WWTP,
                                                 SOCMI source categories addressed in                    63.658(i) and stated that inclusion of                there is not a logical corrective action
                                                                                                         facility-wide emissions in the action                 for emissions of less than 1 lb/yr that
                                                 this rulemaking, is legally unfounded;
                                                                                                         level is appropriate because it will                  would change the EtO concentrations
                                                 and if the EPA decides to impose a
                                                                                                         support the control of toxic air                      found in the ambient air. Other
                                                 fenceline monitoring program in the
                                                                                                         pollutants emitted from all sources                   commenters provided similar examples
                                                 final rule, it must be limited such that
                                                                                                         within the facility, all of which affect              and expressed similar concerns.
                                                 it applies only to emissions from
                                                                                                         fenceline communities, and also avoids                   Response: The EPA considered the
                                                 particular source categories. Other
                                                                                                         the development of complex and                        potential applicability of fenceline
                                                 commenters said they were concerned
                                                                                                         uncertain processes to attribute                      monitoring as part of this proposed
                                                 that the proposed approach results in
                                                                                                         emissions from collocated sources and                 technology review. Generally, the EPA
                                                 the EPA’s establishing the emission
                                                                                                         equipment that may be used in                         has found fenceline monitoring to be an
                                                 point as the facility boundary, thereby                 processes associated with multiple                    effective tool when fugitive or ground-
                                                 expanding the definition of an affected                 source categories. This commenter                     level releases are significant or where
                                                 source. The commenters provided an                      pointed out that only a small number of               we have identified considerable
                                                 example saying that the proposed rule                   refineries (13) have approved site-                   uncertainties in HAP emissions
                                                 does not contain provisions that would                  specific monitoring plans, and only five              estimates from fugitive emission sources
                                                 exclude a site from fenceline monitoring                of those plans include procedures for                 such that they affect our decisions
                                                 for benzene due to the presence of a                    excluding onsite sources owned by the                 relative to whether there exists residual
                                                 gasoline storage tank onsite that is used               refinery but that do not fall within the              risk, for example. Other considerations
                                                 to refuel mobile equipment and is not                   refinery source category.                             include the types of pollutants that are
                                                 even part of the HON process.                              Another commenter provided a real-                 emitted, the availability of fenceline
                                                    Some of the commenters stated that                   life example of the difficulty of dealing             monitoring measurement methods for
                                                 the imposition of fenceline monitoring                  with onsite, non-source category                      the key pollutants, proximity of
                                                 requirements to non-HON sources is                      emissions where Facility A, which is                  residences or other areas where people
                                                 unreasonable, arbitrary, and capricious.
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                                                                                                         subject to the HON, owns and operates                 could be exposed to emissions at or near
                                                 One of these commenters said the EPA                    an Industrial Site that supplies services             facility fencelines, and the other types
                                                 is conducting the technology review for                 to other tenants, including wastewater                of monitoring that are already required
                                                 the SOCMI category and not for other                    treatment. The commenter said that                    or are being considered.
                                                 collocated categories; and despite this,                Facility A does not use, produce, or                     Regarding the question of including
                                                 the EPA is using this action as a vehicle               emit EtO from any of its own processes;               onsite, non-source category emissions in
                                                 to impose requirements on other source                  however, two tenants—Facility B and                   the fenceline monitoring work practice
                                                 categories through the HON rather than                  Facility C—are located inside the                     standard, we proposed not to allow


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                                                 corrections to monitoring for onsite non-               fenceline monitoring because it does                  sources. These commenters said that
                                                 source category sources, as they were                   use, produce, and emit EtO, and it is                 background concentrations threaten a
                                                 included in emissions sources modeled                   subject to the HON, as the commenter                  potentially endless cycle of
                                                 to develop the action levels. In other                  indicates that it treats wastewater from              investigations for the source of
                                                 words, the action levels in the primary                 Facilities B and C in its wastewater                  emissions which are beyond the EPA’s
                                                 fenceline monitoring program are based                  treatment process. In this case, Facility             regulatory authority or the facility’s
                                                 on expected facility-wide emissions and                 A could correct monitoring readings for               control; and the proposed fenceline
                                                 account for contributions from these                    offsite impacts using a site-specific                 monitoring requirements improperly
                                                 non-source category sources. For more                   monitoring plan. Depending on the                     attempt to turn facilities into mini
                                                 details, see the document titled Clean                  orientation of Facilities B and C, this               ambient air quality regulators, requiring
                                                 Air Act Section 112(d)(6) Technology                    approach would require real-time                      them to investigate and analyze
                                                 Review for Fenceline Monitoring located                 monitoring of portions of the fenceline               fenceline exceedances that could be
                                                 in the SOCMI Source Category that are                   bordering Facilities B and/or C and is                caused by another facility, background
                                                 Associated with Processes Subject to                    allowed by the proposed and final rule                EtO levels, or simply an error in
                                                 HON and for Fenceline Monitoring that                   (see 40 CFR 63.184(g)). The commenter                 sampling due to the inability to
                                                 are Associated with Processes Subject to                presumes that the amount of EtO                       accurately measure EtO at the incredibly
                                                 Group I Polymers and Resins NESHAP                      emitted by the treatment process is                   low levels proposed.
                                                 (Docket Item No. EPA–HQ–OAR–2022–                       miniscule, but that is precisely the                     Some of these commenters
                                                 0730–0091) and the residual risk                        question that fenceline monitoring is                 acknowledged that the EPA’s proposed
                                                 technical support document titled                       envisioned to address and to ensure that              sampling protocol attempts to address
                                                 Residual Risk Assessment for the                        emissions are maintained at low levels.               background concentrations by taking the
                                                 SOCMI Source Category in Support of                     We believe even in this situation, the                highest sample and subtracting the
                                                 the 2023 Risk and Technology Review                     fenceline monitoring standard is                      lowest sample from it; however, these
                                                 Proposed Rule (Docket Item No. EPA–                     reasonable and provides for an approach               commenters said it is not clear how the
                                                 HQ–OAR–2022–0730–0085). The                             to address the commenter’s concerns.                  proposed protocol fully addresses
                                                 secondary action level for chloroprene                  Further, we reject the notion that our                background concentrations and other
                                                 adopted under CAA section 112(f)(2)                     proposal failed to properly provide                   questions that remain regarding high
                                                 appropriately anticipates the need for                  notice or to provide a meaningful                     background concentrations that have
                                                 additional reductions of this pollutant                 opportunity to comment for all                        been present in sampling conducted by
                                                 in order to further the goal to protect                 interested stakeholders. The major                    other states, including at National Air
                                                 public health from whole-facility                       source to which these standards apply                 Toxic Trends Station (NATTS) sites.
                                                 chloroprene emissions. Further, in most                 is by definition under common control.                These commenters as well as others said
                                                 cases, sources with HON or P&R I                        Unless the sources are subject to the                 that background monitors in many cases
                                                 source categories also account for a                    HON and P&R I standards, there is no                  show higher concentrations than
                                                 significant portion of the action level at              requirement for operators of other                    monitors located within or nearby EtO-
                                                 the fenceline such that the option to                   source categories to comply with these                emitting facilities. Some of these
                                                 attribute and correct monitors for                      requirements. Therefore, we reject the                commenters provided additional
                                                                                                         notion that this proposal is arbitrary and            information about background EtO
                                                 emissions from collocated sources and
                                                                                                                                                               concentration data available from two
                                                 equipment that may be used in                           capricious and circumvents statutory
                                                                                                                                                               studies conducted by state agencies:
                                                 processes associated with multiple                      design.
                                                                                                                                                                  • A 2022 study conducted by the
                                                 source categories becomes a very                           Comment: With regard to the EPA’s                  Georgia Department of Natural
                                                 complex and unnecessary process. In                     proposed fenceline monitoring                         Resources, Environmental Protection
                                                 the Petroleum Refinery example, we                      requirements, numerous commenters                     Division titled ‘‘Ethylene Oxide
                                                 note that the option to correct monitors                contended that background                             Monitoring Report’’ included EtO
                                                 for non-source category sources within                  concentrations need to be accounted for               monitors near known emitters in
                                                 the fenceline was found to be very                      when calculating the incremental                      addition to areas designated as
                                                 difficult to implement practically and                  contributions from EtO-emitting                       ‘‘background’’ locations away from any
                                                 that the option was subsequently                        facilities. A commenter said that                     known emitters of EtO. The 2020
                                                 removed from most site-specific                         without understanding the significance                concentration data for one of the
                                                 monitoring plans.                                       of high ambient background levels, it is              background monitors located in South
                                                    We agree that the circumstance                       not possible to determine a facility’s                DeKalb showed that background
                                                 described by the commenter, although                    true impact on ambient concentrations                 concentrations ranged from a low of
                                                 uncommon, might result in a situation                   above the background level or the risk                0.10 mg/m3 to a high of 3.7 mg/m3 and
                                                 where the most significant contribution                 of EtO exposure. This commenter added                 that the monthly difference between the
                                                 would not be from the portions of the                   that implementation of fenceline                      highest and lowest reported
                                                 facility that are subject to the process                monitoring when background is                         concentration value ranged from 0.22
                                                 limits established for the HON or P&R                   unknown has the potential to generate                 mg/m3 to 3.2 mg/m3, with an average
                                                 I source itself. In this case we would                  data that will not represent what is                  monthly difference of 0.88 mg/m3.
                                                 apply the requirements based on how                     intended, will require follow up action                  • A 2022 study conducted by the
                                                 the source has been defined for the                     to correct problems that do not exist,                West Virginia Department of
                                                 purposes of applicability of CAA section                and has the potential to frighten
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                                                                                                                                                               Environmental Protection in the
                                                 112 standards, which is any stationary                  communities near facilities in the                    Kanawha Valley, collecting background
                                                 source or group of stationary sources                   absence of elevated risk. Similarly, other            concentration data in Guthrie and
                                                 located within a contiguous area and                    commenters asserted that facilities are               Buffalo, West Virginia, revealed that EtO
                                                 under common control. The commenter                     likely to show exceedances attributable               background measurements were made
                                                 indicates that these facilities are not                 not only to their own emissions, but                  in Guthrie that ranged from 0.059 mg/m3
                                                 under common control, therefore                         also from background levels of EtO and                to 1.74 mg/m3 and in Buffalo that ranged
                                                 Facility A would have to conduct                        emissions of EtO sources from offsite                 from 0.20 mg/m3 to 1.31 mg/m3.


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                                                    Commenters claimed that the reports                  initiate root cause analysis is the annual            unjustifiably broad, rendering it
                                                 published by the Georgia Department of                  average Dc value; a root cause analysis               arbitrary and capricious. The
                                                 Natural Resources, Environmental                        is required whenever the annual average               commenters requested that the EPA
                                                 Protection Division, and by the West                    Dc value is higher than the action level.             provide a de minimis level that would
                                                 Virginia Department of Environmental                    For EtO, the annual average Dc is the                 trigger fenceline monitoring
                                                 Protection indicate that background                     average of the most recent 73 individual              requirements; and several of the
                                                 concentrations of EtO can vary                          sampling period Dc measurements. The                  commenters also requested that the
                                                 significantly, including up to more than                sampling period Dc is calculated as the               applicability be limited to regulated
                                                 an order of magnitude greater than                      sampling period’s highest sample result               HON CMPUs. Some of the commenters
                                                 EPA’s proposed action level of 0.20 mg/                 minus the sampling period’s lowest                    requested that the EPA create exclusions
                                                 m3. Other commenters noted that the                     sample result. If background EtO levels               for predetermined de minimis activities
                                                 EPA’s AirToxScreen presents EtO                         are persistent in the area, this will be              such as: housekeeping or building
                                                 background levels as zero (so risks                     captured by both the high and low                     maintenance, lab and research activities,
                                                 associated with background levels of                    concentration measurements used to                    combustion emissions, transportation
                                                 EtO are not included in AirToxScreen                    develop the Dc values and the                         emissions, and incidental by-products
                                                 maps and reports); however, according                   subtraction will result in only the                   or impurities. Similarly, a commenter
                                                 to commenters, this is highly unlikely to               facility’s contributions to the EtO                   asserted that the EPA uses the phrase
                                                 be the case, as shown by data in the                    concentrations at the fenceline. As such,             ‘‘use, emit, or process’’ without any
                                                 EPA’s NATTS sites, which are designed                   background levels are accounted for in                other criteria or definition of what this
                                                 to be representative of community air                   the determination of each sampling                    language means.
                                                 toxics concentrations. Another                          period’s Dc value, and subsequently the                  A commenter pointed out that
                                                 commenter cited the West Virginia final                 annual average Dc value.                              according to the EPA’s AP–42
                                                 report titled ‘‘Ethylene Oxide                             If, as commenters indicate,                        Compilation of Air Emission Factors,
                                                 Monitoring—Characterization of South                    background EtO levels are inconsistent,               the combustion of fuels is likely to
                                                 Charleston and Institute, West Virginia                 the annual average Dc value must still                generate emissions of benzene and 1,3-
                                                 and Surrounding Areas February 21,                      shift above the action level before root              butadiene (see AP–42, Tables 1.3–9,
                                                 2023’’ and made the following                           cause analysis must be performed. The                 1.4–3, 3.1–3, 3.3–2, and 3.4–3). The
                                                 observations of the measured EtO                        power of a single Dc value to cause                   commenter added that since nearly all
                                                 background concentrations from year                     undue root cause analysis is mitigated                HON and NSPS III/NNN/RRR sources
                                                 2018 through November 2021 at various                   when it is averaged with the other                    are expected to contain natural gas
                                                 monitoring points across the United                     measurements. Single events where                     piping, and natural gas contains
                                                 States:                                                 background EtO levels are elevated will               benzene, and the applicability of the
                                                    • There is not even a single data point              be insufficient to cause the annual                   fenceline monitoring requirement is
                                                 below the EPA’s 100-in-1 million                        average Dc to exceed the action level. If             based on site emissions, it is reasonable
                                                 threshold of 0.01 parts per billion by                  a single Dc value is large enough to skew             to conclude that nearly all HON and
                                                 volume (ppbv).                                          the annual average derived from 72                    NSPS III/NNN/RRR sites are expected to
                                                    • The average concentration is 0.122                 other datapoints above the action level,              be subject to the fenceline monitoring
                                                 ppbv which is 12 times higher than the                  the EPA expects that an emission event                requirement regardless of whether the
                                                 EPA’s 100-in-1 million threshold of 0.01                occurred and root cause analysis is                   SOCMI processes at the site emit
                                                 ppbv.                                                   appropriate.                                          benzene or 1,3-butadiene. Another
                                                    • Several monitoring sites have an                      Lastly, with respect to commenters’                commenter said that implementing a
                                                 annual average concentration of 0.15                    concerns that offsite facilities may                  fenceline monitoring program for any
                                                 ppbv (0.27 ug/m3 or higher).                            contribute to EtO measurements at their               by-product/impurity that is
                                                    • Many of these values are measured                  facility, we note that owners and                     intentionally minimized by the owner
                                                 at sites that are not close to industrial               operators may submit site-specific                    or operator is not cost-effective or
                                                 sites where EtO is manufactured or                      monitoring plans to subtract background               environmentally beneficial, and as such,
                                                 used, thus further calling into question                EtO concentrations from upwind                        warrants additional consideration. The
                                                 whether the EPA really has the correct                  emitters from impacted monitors                       commenter stated that chloroprene is a
                                                 residual risk value.                                    pursuant to 40 CFR 63.184(g)(1) through               by-product/impurity produced in their
                                                    Citing the EPA produced document                     (4).                                                  vinyl chloride monomer production
                                                 titled ‘‘EPA’s Work to Understand                          The questions posed by the                         process and would be emitted at much
                                                 Background Levels of Ethylene Oxide’’                   commenter about unpermitted sites                     lower quantities than ethylene
                                                 (most recently updated in October                       emitting EtO or whether unknown                       dichloride or vinyl chloride; and as
                                                 2021), another commenter presented the                  sources are developing EtO are out of                 described in the HON RTR Proposal, if
                                                 following questions that they claimed to                scope for this rulemaking. Section                    the purpose of the fenceline program is
                                                 be unanswered: (1) Is EtO in use by                     IV.A.3.a of this preamble addresses the               to determine equipment leaks, the leaks
                                                 unpermitted sites that are causing these                EtO IRIS URE value.                                   would be more readily detected with
                                                 levels?; (2) is EtO coming from other                      Comment: Several commenters                        vinyl chloride monomer or ethylene
                                                 activities/sources such as mobile                       requested that the EPA clarify that very              dichloride rather than through
                                                 sources, biogenic sources?; and (3) when                small amounts of the six compounds                    monitoring for a contaminant that may
                                                 the IRIS inhalation URE value was                       (i.e., benzene, 1,3-butadiene,                        or may not be present in the process
                                                                                                         chloroprene, ethylene dichloride, EtO,
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                                                 developed, did the analysis include                                                                           fluid.
                                                 consideration of the background dosing?                 and vinyl chloride) that may be                          Commenters suggested that to avoid
                                                    Response: We disagree with the                       produced, used, or stored at trace levels,            trace levels of these compounds
                                                 commenters’ assertions that background                  as incidental by-products, and as                     triggering the monitoring programs, the
                                                 concentrations of EtO are not accounted                 impurities, should not trigger long-term              EPA should establish additional
                                                 for in the proposed fenceline monitoring                fenceline monitoring requirements.                    applicability criteria for triggering the
                                                 provisions. The primary driving force                   Some of these commenters contended                    monitoring requirements given that the
                                                 for determining when a facility must                    that the proposed applicability is                    proposed fenceline air monitoring


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                                                 provisions are complex, take significant                broad. Per 40 CFR 63.184, the fenceline               40 CFR 63.184(b)(1)(i) and (ii) to state
                                                 time to implement, and appear to be                     monitoring provisions are applicable                  that owners and operators with an
                                                 required for an infinite period. The                    ‘‘for each source as defined in § 63.101,             affected source that uses, produces,
                                                 commenters said the economic burden                     and for each source as defined in                     stores, or emits one or more of the target
                                                 for fenceline monitoring is not justified               § 63.191.’’ The definitions of source at              analytes must conduct fenceline
                                                 for facilities with low levels of                       40 CFR 63.101 and 40 CFR 63.191 point                 monitoring for the analyte(s) at their
                                                 emissions (below de minimis                             to 40 CFR 63.100 and 40 CFR 63.190,                   site. At proposal, we inadvertently used
                                                 thresholds) for any proposed fenceline                  respectively, where applicability is                  the word site in these sections instead
                                                 compound. Some of these commenters                      stated. For the HON, only those sources               of affected source, which may have led
                                                 recommended that the EPA clarify that                   manufacturing as a primary product one                to confusion that non-HON or P&R I
                                                 when the EPA uses the phrase ‘‘if the                   or more of the chemicals in Table 1 to                processes could have triggered fenceline
                                                 site uses, produces, stores, or emits’’ one             NESHAP subpart F, or                                  monitoring obligations when there were
                                                 of the covered chemicals, this means                    tetrahydrobenzaldehyde, or                            no HON or P&R I processes at the site
                                                 that greater than 25,000 lb/yr of a                     crotonaldehyde; or using as a reactant or             that use, produce, store, or emit
                                                 chemical must be used, produced, or                     manufacturing as a product, or co-                    benzene, 1,3 butadiene, ethylene
                                                 stored in HON CMPUs at the source.                      product, one or more of the HAP listed                dichloride, vinyl chloride, EtO, or
                                                 Commenters added that in order to                       in Table 2 to NESHAP subpart F are                    chloroprene. We believe this change
                                                 trigger fenceline monitoring, the air                   subject to the provisions. For NESHAP                 clarifies our original intent and helps to
                                                 emissions for a covered chemical should                 subpart I, only those emissions specified             more clearly target those facilities that
                                                 also be greater than 1 tpy (∼ 0.23 lb/hr                from the processes subject to 40 CFR                  were identified as needing fenceline
                                                 annual average) from HON CMPUs at                       63.190(b)(1) through (6) are subject to               monitoring as part of our original
                                                 the source. Commenters said that the                    the fenceline provisions. Therefore, any              analysis (see Docket Item No. EPA–HQ–
                                                 rationale for using 25,000 lb/yr aligns                 concerns about obligations to meet                    OAR–2022–0730–0091).
                                                 with other EPA regulations such as 40                   fenceline monitoring requirements for                    To address concerns with facilities
                                                 CFR 372.25(a) which is threshold for                    pollutants developed as impurities or                 producing, using, storing, or emitting
                                                 reporting of air emissions under the                    found in feedstock in trace amounts are               only low levels of benzene, 1,3-
                                                 EPA’s Superfund Amendments and                          unfounded, as these materials are not
                                                                                                                                                               butadiene, ethylene dichloride, or vinyl
                                                 Reauthorization Act Section 313                         ‘‘products,’’ which, by definition,
                                                                                                                                                               chloride, we are finalizing burden
                                                 program; and a 1 tpy emission threshold                 exclude by-products, isolated
                                                                                                                                                               reduction measures at 40 CFR
                                                 (<0.25 lb/hr) is a low threshold for then               intermediates, impurities, wastes, and
                                                                                                                                                               63.184(a)(3)(iii) and (b)(2)(iii). These
                                                 triggering the fenceline air monitoring                 trace contaminants per the definition at
                                                                                                                                                               provisions, similar to those provided at
                                                 program. Another commenter said that,                   40 CFR 63.101 or, in the case of
                                                                                                                                                               40 CFR 63.658(e)(3) of NESHAP subpart
                                                 given that the Agency selected the                      NESHAP subpart I, are not the specified
                                                                                                                                                               CC for benzene, will allow facilities to
                                                 fenceline action levels by modeling                     pollutants from the processes to which
                                                                                                                                                               skip fenceline measurement periods for
                                                 emissions from the post-control                         the subpart applies. For P&R I sources
                                                                                                                                                               specific monitors once a certain number
                                                 emissions file in the residual risk                     subject to NESHAP subpart U, we note
                                                 assessment and selecting the maximum                    that the fenceline monitoring                         of fenceline measurements are recorded
                                                 annual average fenceline concentration,                 requirements reference 40 CFR 63.101                  to be one tenth or less than the finalized
                                                 one potential option for adopting a                     and the same logic can be applied.                    action levels. We believe the addition of
                                                 trigger threshold for fenceline                            To the commenter’s assertion about                 these provisions will unify the finalized
                                                 monitoring would be to set emission                     emissions from boilers, housekeeping,                 fenceline monitoring provisions
                                                 thresholds at 50 percent of the source                  building maintenance, or lab and                      between NESHAP subpart H and
                                                 category emissions for the facilities that              research activities triggering fenceline              NESHAP subpart CC so that collocated
                                                 were used to set the proposed action                    monitoring requirements, we note that                 refinery processes will not become
                                                 level. The commenter said that this                     these are not considered within SOCMI                 subject to additional monitoring if they
                                                 approach should also be applied for EtO                 or P&R I sources per the applicability of             have already demonstrated levels of
                                                 and chloroprene because the Agency                      the term at 40 CFR 63.100. Thus, there                benzene at the fenceline that allow the
                                                 proposed to find acceptable risk and an                 would be no need to implement                         owner or operator to qualify for a
                                                 ample margin of safety for these                        fenceline monitoring if these are the                 reduced sampling frequency and
                                                 pollutants after implementation of the                  only sources emitting benzene, 1,3                    support facilities producing, using,
                                                 controls, thus making additional                        butadiene, ethylene dichloride, vinyl                 storing, or emitting only low levels of
                                                 reductions of EtO and chloroprene                       chloride, EtO, or chloroprene at a                    the targeted pollutants from their
                                                 unnecessary and unsupported by any                      facility. Therefore, for the reasons                  affected sources. We note that these
                                                 rulemaking authority.                                   previously stated, there is no need to set            provisions are not being provided for
                                                    A commenter suggested that if the                    a minimum threshold for fenceline                     EtO and chloroprene due to their
                                                 EPA does not establish de minimis                       monitoring as the rule already provides               associated risk and the finalized
                                                 applicability thresholds, then the final                criteria targeting only SOCMI or P&R I                secondary actions levels having been set
                                                 rule should include a provision that                    sources using, producing, storing, or                 at three times the representative
                                                 allows for fenceline monitoring to be                   emitting one or more of the six                       detection limit (RDL), and thus
                                                 discontinued at a site after 2 years of                 considered pollutants and will not be                 demonstrating sufficiently low fenceline
                                                 non-detect fenceline monitoring                         triggered by low-level emissions from                 concentrations to allow skipping
                                                                                                                                                               monitoring periods is not possible.
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                                                 concentrations for a compound. The                      non-source category processes.
                                                 commenter said that a site with non-                       However, we agree with the                         Additionally, for both EtO and
                                                 detect fenceline concentrations does not                commenter that the proposed language                  chloroprene, even for the primary action
                                                 drive the risk assessment for that                      could be interpreted such that emissions              levels, one-tenth of the action level
                                                 compound.                                               from non-HON or P&R I processes could                 would be below the method detection
                                                    Response: The EPA disagrees with                     trigger the fenceline monitoring                      limit (MDL), and as such, skipping
                                                 commenters that the fenceline                           requirement. As such, we are revising                 monitoring periods would not be
                                                 monitoring provisions are unjustly                      40 CFR 63.184(a)(1)(i) through (iv) and               possible for these pollutants. We also


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                                                 note that for vinyl chloride, this option               7 in the document titled Clean Air Act                NYSDEC’s EtO results were well within
                                                 is limited to small sites with perimeters               Section 112(d)(6) Technology Review for               the 20 percent acceptability range and
                                                 less than or equal to 5,000 meters. We                  Fenceline Monitoring located in the                   outperformed the referee laboratory. The
                                                 have chosen to limit the reduced                        SOCMI Source Category that are                        commenter said proposed EPA Method
                                                 sampling frequency to these smaller                     Associated with Processes Subject to                  327 does not adequately address the
                                                 sites because these are the only sites                  HON and for Fenceline Monitoring that                 issues that lead to inaccurate EtO
                                                 where the canister samples are taken at                 are Associated with Processes Subject to              measurements including, but are not
                                                 the same sampling location each                         Group I Polymers and Resins NESHAP                    limited to, the following:
                                                 sampling period; owners and operators                   (see Docket Item No. EPA–HQ–OAR–                         • The preconcentration system must
                                                 of sites with a perimeter larger than                   2022–0730–0091). Fugitive emissions                   be optimized for the elimination of
                                                 5,000 meters are required to rotate the                 are, by nature, difficult to measure and              excess CO2 and water.
                                                 sampling locations between sampling                     record and the data collected via the                    • Slip-lining the transfer line in the
                                                 periods. As such, this complicates the                  CAA section 114 request indicates that                gas chromatography (GC) oven with the
                                                 determination as to whether a larger site               modeling is insufficient to anticipate                analytical column to minimize contact
                                                 has consistently low fenceline readings                 fenceline concentrations of the six target            between the concentrated slug and
                                                 at a particular monitoring location.                    pollutants considered. Therefore, we                  transfer line ensures that all or most of
                                                    Comment: A commenter pointed out                     maintain that it is reasonable to require             the transfer takes place directly onto the
                                                 that when fenceline monitoring was                      monitoring if a facility whose SOCMI or               analytical column, which maximizes
                                                 established for refineries, the EPA stated              P&R I affected sources use, produce,                  performance.
                                                 that benzene was specifically chosen as                 store, or emit any of the pollutants                     • Ion 44 should be used for
                                                 the target analyte for petroleum                        specified at 40 CFR 63.184 to verify that             quantitation. Use of ions 15 or 29 did
                                                 refineries with the understanding that a                actual concentrations at fenceline are                not produce acceptable results in the
                                                 single HAP served as a surrogate for all                below the finalized action levels. No                 NYSDEC laboratory. Ion 15 was too
                                                 fugitive HAP, further stating that a                    changes are being made as a result of                 noisy and ion 29 suffered from
                                                 single HAP simplified the determination                 this comment.                                         interference due to background
                                                 of compliance and set a clear action                       Comment: Commenters said that they                 contributions from nitrogen. For
                                                 level. The commenter contested that it                  have concerns regarding equipment and                 NYSDEC, interference from trans 2-
                                                 is unclear why benzene cannot be the                    lab analytical capabilities on whether                butene for ion 44 was not found to be
                                                 surrogate for the species listed under the              any laboratory is capable of performing               an issue for normal ambient air samples
                                                 proposed EPA Method 325 fenceline                       proposed EPA Method 327. The                          due to the relatively low concentration
                                                 monitoring requirements. Moreover, the                  commenters asserted that they were                    of that substance in those samples.
                                                 commenter added that a site should                      only able to identify one lab in North                However, trans-2-butene can interfere
                                                 only have to do the chlorinated species                 America that could meet all                           with quantitation using ions 15 or 19,
                                                 or EtO monitoring if it is present in                   requirements of proposed EPA Method                   because, unlike ion 44, those are
                                                 sufficient quantities such that their                   327. A commenter suggested that to the                prominent masses in the mass spectrum
                                                 emissions would create a concentration                  extent that fenceline monitoring for EtO              of trans-2-butene.
                                                 higher than MDL at the perimeter; the                   is required, the EPA should allow for                    • NYSDEC does not agree that
                                                 commenter asserted that the EPA set                     the use of EPA Method TO 15 for initial               bromofluorobenzene should be
                                                 their action levels based on modeling of                monitoring for at least one (1) year until            mandated as a tuning agent. NYSDEC
                                                 site emission inventories but did not                   lab capabilities are further established;             has had success tuning prior to each run
                                                 incorporate any rationale for why sites                 or alternatively, the initiation of                   using perfluorotributylamine, per the
                                                 with less emissions must do such                        fenceline monitoring be moved to at                   manufacturer’s recommendation, and
                                                 expensive monitoring. The commenter                     least two (2) years after the effective               has found that tuning to meet the
                                                 suggested that sites should have the                    date of the final rule. Another                       bromofluorobenzene criteria can
                                                 option to model or demonstrate that                     commenter encouraged the EPA to                       actually lower the sensitivity of the
                                                 their emissions would not be expected                   actively engage in dialogue with                      instrument.
                                                 to exceed the action levels without                     commercial air laboratories in the                       • The use of internal standards for
                                                 embarking on a costly monitoring                        method review process to ensure that                  quantitation should not be mandated,
                                                 program that will just be reporting                     the procedures meet the EPA’s quality                 especially for reactive chemicals like
                                                 below detection level values.                           objectives of the program and also can                EtO and acrolein, as that procedure can
                                                    Response: Benzene was selected as a                  be supported on a production scale,                   produce biased results when the
                                                 surrogate for all HAP as part of the                    both of which will be critical for the                internal standard is not as sensitive to
                                                 fenceline monitoring provisions of                      successful implementation of the                      instrumental conditions as the target
                                                 NESHAP subpart CC due to its near                       canister fenceline monitoring network.                chemical. A better approach would be to
                                                 universal presence in process streams.                  Another commenter requested that the                  use isotope dilution for the quantitation
                                                 HON and P&R I processes are more                        EPA provide a list of laboratories able to            of these compounds, as the doped
                                                 diverse and there is no single chemical                 perform proposed EPA Method 327.                      compounds would presumably react the
                                                 that is found with the same frequency                      A commenter recommended that the                   same way in the analytical system.
                                                 in process streams as benzene in                        EPA work with the New York State                      Given the anticipated very costly
                                                 petroleum refineries. Setting one                       Department of Environmental                           procurement of such internal standards,
                                                 surrogate chemical to represent the                     Conservation (NYSDEC) to improve                      this should not be mandated, but
                                                                                                                                                               instead suggested as a means to improve
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                                                 variety of HON and P&R I processes                      proposed EPA Method 327 given that
                                                 considered as part of this rulemaking                   NYSDEC analyzes VOCs in-house and                     analytical performance for these reactive
                                                 would not produce effective standards                   has devoted considerable resources into               compounds. NYSDEC calibrates before,
                                                 limiting fugitive emissions.                            refining its EtO measurement                          during, and after each analysis using the
                                                    To the commenter’s request to be able                procedures over a seven year period.                  external standard approach and has
                                                 to model concentrations at the fenceline                The commenter claimed that in a recent                complete confidence that the instrument
                                                 to show that action levels will not be                  EPA performance audit of the NYSDEC                   is producing the best data within the
                                                 met, we point to table 2 through table                  laboratory required for NATTS sites,                  confines of the system.


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                                                    The commenter added that they                        limits and lower the action levels at the             for measuring compounds like EtO, and
                                                 strongly believe that any method                        fenceline. A commenter remarked that                  enhanced QA/QC required for a method
                                                 refinements that enable more accurate                   in Louisiana, the typical residential                 to be used for numerical compliance
                                                 EtO measurements should be                              location is not set at some safe distance             purposes.
                                                 implemented in all ambient sampling                     from emissions; therefore, it is proper                  We acknowledge the comment
                                                 for that pollutant, including samples                   for the EPA to set minimum detection                  regarding real-time monitoring, and
                                                 collected at NATTS sites, because this                  levels at the fenceline of the facility’s             efforts are ongoing to evaluate different
                                                 would allow for comparison of fenceline                 property line, and not set the minimum                real-time monitoring approaches for EtO
                                                 and background sites without                            detection level scalable to the duration              which could be applied to fenceline
                                                 methodological considerations.                          of dispersion from the facility to the                monitoring; however, we did not find
                                                    Response: The EPA recognizes the                     residential receptor location. Another                these approaches to currently be
                                                 commenters’ concerns that laboratories                  commenter argued that developments in                 technically or economically feasible.
                                                 may not currently have the capacity to                  monitoring technology that lower the                  The EPA disagrees with the commenters
                                                 conduct EPA Method 327 according to                     detection levels for listed HAP must be               that these real-time monitoring
                                                 the timeline we proposed. Therefore, we                 considered technological developments                 approaches are currently sensitive
                                                 are revising the final rulemaking at 40                 under CAA section 112(d)(6). This                     enough to currently be applied to
                                                 CFR 63.100(k)(12) (for HON) and 40                      commenter contended that new                          fenceline monitoring; however, the EPA
                                                 CFR 63.481(p) (for the P&R I NESHAP)                    technological developments, such as the               has a pathway for the use of these
                                                 such that with the exception of                         use of proton transfer reaction-mass                  potential approaches through the
                                                 fenceline monitoring of chloroprene at                  spectrometers and the use of Picarro                  alternative test method provisions in 40
                                                 P&R I affected sources producing                        products that use cavity ring-down                    CFR 63.7(f) when the required
                                                 neoprene, owners and operators are not                  spectrometers should be adopted by the                sensitivity is met, which is outlined in
                                                 required to initiate fenceline monitoring               EPA in its efforts to lower emissions in              40 CFR 63.184(i). We note that based on
                                                 until 2 years after the effective date of               these source categories with the                      response to another comment, we are
                                                 the final rulemaking. This expanded                     proposed fenceline monitoring efforts in              revising the entry for 40 CFR 63.7(f) in
                                                 timeline is necessary to allow                          the rules.                                            the General Provisions table to NESHAP
                                                 commercial labs to conduct the needed                     Another commenter declared that it is               subpart F (Table 3) such that 40 CFR
                                                 method development, to expand                           important to note that the method                     63.7(f) applies.
                                                 capacity, and to develop the logistics                  detection limit is nearly the same as the                Comment: Many commenters
                                                 needed to meet the requirements in the                  concentration that is representative of               expressed concerns that the proposed
                                                 final rule. For P&R I affected sources                  100-in-1 million risk; therefore, any                 provisions for an alternative test method
                                                 producing neoprene, we have changed                     detection corresponds to an                           at 40 CFR 63.184(i)(3) require the
                                                 the compliance date for fenceline                       unacceptable level of risk. On the                    method detection limit of the alternative
                                                 monitoring of chloroprene to begin no                   contrary, a commenter said that given                 method to be at least an order of
                                                 later than October 15, 2024, or upon                    ambient air measurements made using                   magnitude (i.e., ten-fold) below the
                                                 startup, whichever is later subject to the              the EPA’s TO–15/TO–15A summa                          action level for the compound(s) that
                                                 owner or operator seeking the EPA’s                     canister method have a detection limit                will be monitored. A commenter
                                                 authorization of an extension of up to 2                for EtO higher than 0.02 ug/m3, it is                 indicated the proposed action level of
                                                 years from July 15, 2024. We note that                  possible that the actual level could be               0.2 ug/m3 for EtO will prohibit some
                                                 that all affected sources producing                     above the EPA’s 100-in-1 million risk                 otherwise potentially viable alternative
                                                 neoprene (there is only one) already                    level even if a regulated source or an                monitoring methods, including the
                                                 have a fenceline monitoring network in                  agency were to obtain non-detect                      Picarro air monitoring system and many
                                                 place for chloroprene as well as a lab                  results. This commenter said that they                open-path technologies. Commenters
                                                 contracted to provide analysis.                         are very concerned that the EPA has                   recommended that the EPA remove 40
                                                    We developed EPA Method 327 based                    established ambient air targets that                  CFR 63.184(i)(3) in its entirety.
                                                 on the requirements in EPA Method                       neither an industrial source nor a                    Commenters indicated that this
                                                 TO–15A, best practices for measuring                    regulatory agency can demonstrate that                requirement limits flexibility and the
                                                 compounds like EtO, and enhanced QA/                    they are meeting with current air                     ability for evaluation of alternate
                                                 QC required for a method that is to be                  sampling methods; this raises practical               methods via the EPA’s current alternate
                                                 used for compliance purposes.                           questions about how one demonstrates                  methods processes.
                                                 Regarding the specific recommendations                  compliance with these air quality                        A commenter further indicated that
                                                 made by the commenter, the EPA has                      targets.                                              the proposed action levels for EtO and
                                                 made EPA Method 327 as performance-                       Response: The EPA recognizes the                    chloroprene are three times the RDL for
                                                 based as possible and considers it                      feedback from the commenters. We                      each compound and, according to the
                                                 important, when possible, to avoid                      evaluated multiple measurement                        EPA’s technical memorandum, three
                                                 prescriptive requirements to allow                      approaches that could be used for                     times the RDL represents the level
                                                 commercial laboratories to develop their                fenceline measurement, and there                      where a test method performs with
                                                 own approaches for analysis.                            currently is not a measurement                        acceptable precision. However, the
                                                    Comment: Some commenters said that                   approach with reliable sensitivity at the             commenter recommended that the EPA
                                                 the EPA’s proposed 300 parts per                        level representative of 100-in-1 million              increase the multiplier to 5 for EtO for
                                                 trillion (ppt) detection limit for EtO (and             cancer risk. The EPA found the only                   consistency with proposed EPA Method
                                                 900 ppt fenceline action threshold) are
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                                                                                                         technically feasible approach to                      327. The commenter argued that the
                                                 inadequate given that carcinogenic                      measure EtO at the fenceline is a                     requirement at 40 CFR 63.184(i)(3) for a
                                                 effects can be persistent and cumulative.               canister measurement approach and                     ten-fold reduction in MDL for
                                                 These commenters claimed that EtO is                    analysis via gas chromatography/mass                  alternative test methods is so restrictive
                                                 toxic at 11 ppt in the ambient air;                     spectrometry (GC/MS). We developed                    as to potentially eliminate the flexibility
                                                 therefore, the EPA should mandate the                   EPA Method 327 based on the                           of real-time monitoring because the
                                                 use of advanced monitoring                              requirements in TO–15A, the EPA’s                     MDL was only five times lower than an
                                                 technologies to achieve lower detection                 existing canister method, Best Practices              already very low action level. The


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                                                 commenter suggested the EPA revise the                  and reactor processes. Comment                        than 1.0 may be cost effective, the EPA’s
                                                 language at 40 CFR 63.184(i)(3) to                      summaries and the EPA’s responses to                  cost analysis for controlling such vents
                                                 require methodologies with detection                    additional issues raised regarding the                significantly understates the cost of
                                                 limits at or below those of the reference               proposed requirements resulting from                  installing additional controls such as a
                                                 standard (i.e., EPA Method 325A/B,                      our NSPS review are in the document                   thermal oxidizer.
                                                 EPA Method 327).                                        titled Summary of Public Comments                        • The fact that a control device at one
                                                    Response: The EPA agrees with the                    and Responses for New Source                          stationary source controls multiple
                                                 commenters that the proposed                            Performance Standards for the                         process vents (as opposed to a single
                                                 requirement that the MDL of the                         Synthetic Organic Chemical                            process vent) does not mean that in all
                                                 alternative method be at least an order                 Manufacturing Industry and National                   cases control of multiple process vents
                                                 of magnitude less than the action level                 Emission Standards for Hazardous Air                  is cost-effective. If the cumulative
                                                 is too restrictive, and, therefore, in the              Pollutants for the Synthetic Organic                  emissions from the process vents are
                                                 final rule we have revised the                          Chemical Manufacturing Industry and                   small, then even controlling all of them
                                                 requirement at 40 CFR 63.184(i)(3) that                 Group I & II Polymers and Resins                      with one control device is not cost
                                                 the method detection limit of an                        Industry, which is available in the                   effective.
                                                 alternative test method must be at least                docket for this rulemaking.                              • The EPA’s conclusion that the TRE
                                                 one-third of the action level for the                                                                         index value calculation is theoretical,
                                                 compound(s) that will be monitored                      i. Process Vents                                      complex, uncertain, and difficult to
                                                 with the alternative method. The EPA                       Comment: Several commenters said                   enforce is overly broad and cannot be
                                                 considers three times the MDL to                        that they opposed the EPA’s proposal to               applied to the regulated industry as a
                                                 describe the limit of quantification of a               eliminate the TRE index value concept                 whole. The issues the EPA cites related
                                                 method, or the point at which we have                   in the new NSPS subparts IIIa, NNNa,                  to calculation of the TRE index value do
                                                 confidence in the accuracy and                          and RRRa. The commenters provided                     apply in instances with few organic
                                                 precision of a method. We note this                     the following arguments:                              compounds in the stream, and in
                                                 requirement is also consistent with the                    • The TRE index value has been an                  instances where facilities have readily
                                                 EPA’s approach for setting emission                     integral part of many technology-based                available process data obtained from
                                                 limits that are at least three times the                air standards since its initial                       source testing, other direct
                                                 RDL. Such an approach ensures that the                  development, serving as a mechanism                   measurements, or permit limits.
                                                 standard is at a level that addresses                   for determining cost effectiveness and                Observations from one facility’s TRE
                                                 measurement variability and is in a                     triggering the requirements for process               index value calculation approach
                                                 range that can be measured with                         vent control (see, e.g., the preamble to              should not be construed as
                                                 reasonable precision. Requiring the                     the 1994 HON adoption, which states                   representative of 284 facilities.
                                                 detection limit of alternative                          that the TRE concept is appropriate                      • The EPA’s cost analysis (see Docket
                                                 measurement approaches to be at least                   because it ‘‘can be used to reflect all               Item No. EPA–HQ–OAR–2022–0730–
                                                 one-third of the action level will ensure               possible combinations of various factors              0011) is not well supported and
                                                 that measurements made near the action                  that affect emission rates and likelihood             significantly underestimates the cost of
                                                 level are of reasonable precision.                      of current control’’ (citing 59 FR 19416)             installing and operating a thermal
                                                    We note that while the EPA has                       and ‘‘would provide consistency                       oxidizer. The EPA presents a total
                                                 reduced the requirements for the                        between the HON[,] the recently issued                annual cost of $98,429 and a VOC
                                                 minimum detection limit of alternative                  [control techniques guidelines] for                   emissions reduction of 9.1 tpy from the
                                                 measurement approaches, when                            SOCMI process vents. . .[and] the                     elimination of the TRE concept and the
                                                 calculating the sampling period Dc, an                  applicability criteria for the three                  imposition of control requirements for
                                                 owner or operator must still use zero as                SOCMI process vents NSPS’’ (59 FR                     all process vents. The EPA references
                                                 the lowest sample result when a                         19418)). The EPA determined that BSER                 the HON technology review
                                                 measurement is below the MDL and                        was 98 percent control (or an outlet                  memorandum in support of the cost
                                                 must still use the MDL as the highest                   concentration of 20 ppmvd at 3 percent                calculations; however, that
                                                 sample result if all sample results are                 O2) of sources with a TRE less than or                memorandum does not include a cost
                                                 below the MDL. The use of this                          equal to 1.0 when it promulgated these                analysis of emission reduction
                                                 approach in determining Dc incentivizes                 rules.                                                calculations for NSPS sources.
                                                 the use of technology capable of                           • While the EPA discusses its basis                Furthermore, the EPA’s proposed
                                                 measuring the lowest possible                           for removing the TRE index value > 1.0                capital cost of $65,577 for a thermal
                                                 concentration for the target compound.                  alternative emission standard, it                     oxidizer sized to control a 10 scfm
                                                                                                         provides no discussion for why the                    stream is unrealistic; and it is also
                                                 b. NSPS                                                 limited applicability exemption in the                unrealistic to assume that a facility
                                                    The EPA received comments in                         NSPS (TRE > 4.0 for NSPS subpart III                  would install a thermal oxidizer simply
                                                 support of and against the proposed                     and TRE > 8.0 for NSPS subparts NNN                   for a 10 scfm stream. The EPA’s cost
                                                 NSPS review, including our                              and RRR) is proposed to be removed.                   algorithm significantly underestimates
                                                 determination to include more stringent                 The EPA must explain why this                         the costs associated with design and
                                                 requirements for SOCMI equipment                        exemption should be removed and                       engineering of such projects. A
                                                 leaks, air oxidation unit processes,                    provide an opportunity for the public to              commenter provided an example at one
                                                 distillation operations, and reactor                    comment before taking final action to                 of their existing affected facilities where
                                                                                                                                                               if NSPS NNNa is triggered via
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                                                 processes in the new NSPS subparts                      modify or remove it.
                                                 (i.e., NSPS subparts VVb, IIIa, NNNa,                      • Voluntary control of some process                modification or reconstruction, the
                                                 and RRRa, respectively).                                vents with a TRE index value greater                  facility would need to install control
                                                    This section provides summaries of                   than 1.0 does not imply that controlling              equipment estimated at a conservative
                                                 and responses to the key comments                       all process vents with a TRE index value              amount of $500,000 in order to control
                                                 received regarding the NSPS review for                  greater than 1.0 constitutes the BSER.                0.07 tpy of VOC result from vents from
                                                 SOCMI equipment leaks, air oxidation                    While controlling a subset of process                 recovery scrubbers, or about $7.14M per
                                                 unit processes, distillation operations,                vents with a TRE index value greater                  ton of VOC removed. The commenter


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                                                 suggested that if the EPA is going to                   emission standard of 98 percent                          • Pollution control measures,
                                                 eliminate the TRE concept, that the EPA                 reduction of TOC (minus methane and                   including advances in control
                                                 consider a cost effectiveness cut-off that              ethane) or reduction of TOC (minus                    technologies, process operations, design
                                                 is scaled to inflation that could avoid                 methane and ethane) to an outlet                      or efficiency improvements, or other
                                                 absurd results such as this.                            concentration of 20 ppmv on a dry basis               systems of emission reduction, that are
                                                    • The EPA has ignored the fact that                  corrected to 3 percent oxygen continues               ‘‘adequately demonstrated’’ in the
                                                 facilities that would now be required to                to reflect the BSER.                                  regulated industry.
                                                 control Group 2 halogenated streams                       While we found no change in the                        • Available information from the
                                                 would not only have to control organic                  BSER for reducing VOC emissions from                  implementation and enforcement of
                                                 HAPs using a thermal oxidizer, but                      air oxidation units, distillation                     current requirements indicating that
                                                 would also have to incur costs to design,               operations, and reactor processes, we                 emission limitations and percent
                                                 engineer, and install controls for acid                 are finalizing the removal of the entire              reductions beyond those required by the
                                                 gas and dioxin/furan emissions.                         TRE concept, including the alternative                current standards are achieved in
                                                    A commenter questioned why                           of maintaining a TRE index value                      practice.
                                                 removing the TRE concept for the                        greater than 1 without the use of control                As previously stated, some owners
                                                 SOCMI sector is not arbitrary given that                device and the limited applicability                  and operators do not use the TRE index
                                                 no action was taken on the TRE concept                  exemptions (i.e., TRE > 4.0 for NSPS                  value to determine whether a vent
                                                 in the recent RTR of the MON,                           subpart III and TRE > 8.0 for NSPS                    stream is required to be controlled.
                                                 conducted just 3 years ago.                             subparts NNN and RRR) for purposes of                 While we agree with commenters that
                                                    Some commenters suggested that the                   NSPS subparts IIIa, NNNa, and RRRa.                   owners and operators control vent
                                                 EPA could keep the TRE index value                      We stand by the rationale we provided                 streams that have a TRE index value
                                                 concept but raise the threshold, or                                                                           greater than 1.0 for reasons other than
                                                                                                         in the preamble to the proposed rule for
                                                 establish a mass-based criterion below                                                                        the desire to avoid the TRE calculation,
                                                                                                         not including the TRE concept in NSPS
                                                 which emission controls are not                                                                               the fact is that owners and operators are
                                                                                                         subparts IIIa, NNNa, and RRRa, which is
                                                 required such that the rules would only                                                                       controlling vent streams that have a TRE
                                                                                                         summarized as follows: (1) Based on the
                                                 require control where it is cost-effective                                                                    index value greater than 1.0 (possibly to
                                                                                                         responses to our CAA section 114
                                                 (e.g., limit applicability of the NSPS to                                                                     comply with state or local regulations
                                                                                                         request, we observed that some facilities
                                                 affected facilities at a site whose                                                                           regarding VOCs or to meet a BACT
                                                                                                         are controlling continuous process vents
                                                 cumulative VOC emissions are greater                                                                          limit), which is information relevant to
                                                                                                         that are not required by the NSPS
                                                 than 25 tpy). A commenter pointed out                                                                         our CAA section 111(b)(1)(B) review of
                                                                                                         subparts III, NNN, or RRR to be
                                                 that the proposed HON rulemaking                                                                              the standards. Given that the TRE
                                                 requires control of process vents that                  controlled per the results of the TRE
                                                                                                                                                               concept has been used since each
                                                 emit greater than 1.0 lb/hr of total                    index value calculation; (2) based on the
                                                                                                                                                               original NSPS adoption, we consider
                                                 organic HAP, and suggested that a                       responses to our CAA section 114
                                                                                                                                                               owners and operators controlling vent
                                                 similar mass-based VOC emissions                        request, we observed that facilities are
                                                                                                                                                               streams that have a TRE index value
                                                 threshold below which control is not                    routing multiple continuous process
                                                                                                                                                               greater than 1.0 to be a pollution control
                                                 required be added to the SOCMI NSPS                     vents to a single APCD; (3) determining
                                                                                                                                                               measure (i.e., an advance in process
                                                 rules to avoid control being required for               a TRE index value for certain process                 operations) in our analysis.
                                                 vent streams with very negligible VOC                   vent streams is often theoretical, can be             Additionally, the removal of the TRE
                                                 emissions. The commenter pointed out                    extremely complicated, and is                         concept simplifies the determination as
                                                 that the EPA included a mass-based                      uncertain; and (4) because the TRE                    to whether owners and operators must
                                                 emission threshold in NSPS subpart                      index value is largely a theoretical                  control a vent stream and thus, the
                                                 DDD at 40 CFR 60.560(g). The                            characterization tool, it can be very                 applicability process is easier to
                                                 commenter provided an example of one                    difficult to enforce.                                 implement.
                                                 of their distillation columns where the                   As stated in the preamble to the                       We disagree with commenters’
                                                 vacuum jet system vent emits very low                   proposed rule (88 FR 25080, April 25,                 assertions that the EPA did not provide
                                                 amounts of VOC emissions (<0.0001 lb/                   2023), in reviewing an NSPS to                        evidence that the TRE concept is largely
                                                 hr uncontrolled), the net heating value                 determine whether it is ‘‘appropriate’’ to            theoretical and, as a result, difficult to
                                                 is very low or negligible, and the vent                 revise the standards of performance that              verify. As identified in the document
                                                 stream contains primarily nitrogen and/                 reflects the degree of emission                       titled Clean Air Act Section 112(d)(6)
                                                 or water vapor. The commenter said that                 limitation achievable through                         Technology Review for Continuous
                                                 they would have to then build an                        application of BSER, the EPA considers                Process Vents Located in the SOCMI
                                                 emission control device to manage this                  the following information:                            Source Category that are Associated
                                                 stream.                                                   • Costs (including capital and annual               with Processes Subject to HON,
                                                    Response: As stated in the preamble                  costs) associated with implementation                 Continuous Front-end and Batch Front-
                                                 to the proposed rule (88 FR 25080, April                of the available pollution control                    end Process Vents Associated with
                                                 25, 2023), the statutory review of these                measures.                                             Processes Subject to Group I Polymers
                                                 process vent NSPS (subparts III, NNN,                     • The amount of emission reductions                 and Resins NESHAP, and Process Vents
                                                 and RRR) focused on whether there are                   achievable through application of such                Associated with Processes Subject to
                                                 any emission reduction techniques used                  pollution control measures.                           Group II Polymers and Resins NESHAP
                                                 in practice that achieve greater emission                 • Any non-air quality health and                    (Docket Item ID No. EPA–HQ–OAR–
                                                 reductions than those currently required                environmental impact and energy                       2022–0730–0094), one facility that
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                                                 by the current NSPS and whether any                     requirements associated with those                    received the CAA section 114 request
                                                 such practices have become the BSER.                    control measures.                                     provided over 300 pages of modeled
                                                 Based on this review, we have                             • Expected growth for the source                    runs used to determine certain
                                                 determined that the BSER for reducing                   category, including how many new                      characteristics of their continuous
                                                 VOC emissions from these SOCMI                          facilities, reconstructions, and                      process vents to be utilized as part of
                                                 processes remains combustion (e.g.,                     modifications may trigger NSPS in the                 the TRE index value calculations.
                                                 incineration, flares), and that the current             future.                                               Reviewing this information revealed


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                                                 that in many cases, the facility struggled              resources efficiently and ensure that the             along with the suite of process vent
                                                 to unify the modeled runs with actual                   most significant emission sources are                 requirements evaluated as a whole
                                                 conditions at the facility and in some                  targeted for control, the current use of              under our NSPS review. As stated in the
                                                 cases made arbitrary decisions to allow                 the TRE index value is only based on                  preamble to the proposed rule (88 FR
                                                 the model to function. While we agree                   controlling a single vent stream with a               25080, April 25, 2023), we considered
                                                 with commenters that the TRE index                      single APCD. This is an unrealistic                   four different NSPS-triggering scenarios
                                                 value can be derived from less                          scenario when compared to how                         and a suite of proposed process vent
                                                 theoretical methods, other responses to                 affected facilities actually control their            requirements combined together
                                                 the CAA section 114 request did not                     vent streams; it is much more likely that             (including not only revising the
                                                 indicate how parameters used in the                     a facility routes numerous vent streams               standard from a TRE calculation to
                                                 TRE index value calculations were                       to the same APCD (which is evident                    control of all vent streams, but also new
                                                 determined and commenters did not                       from observing the responses to our                   operating and monitoring requirements
                                                 provide sufficient information to show                  CAA section 114 request).                             for flares, the addition of maintenance
                                                 which methods were most common                             We do agree with commenters that                   vent requirements, and the addition of
                                                 throughout industry. Given the                          our cost estimate for installing a new                adsorber monitoring requirements). In
                                                 theoretical nature of the TRE index                     recuperative thermal oxidizer (to control             this context, we conclude that, even
                                                 value, the EPA maintains that verifying                 vent streams subject to the NSPS)                     with our reevaluation of TCI for
                                                 TRE index values is arduous because it                  included in the proposed rule is                      installing a new recuperative thermal
                                                 can involve relying on significant                      unrealistic (e.g., we severely                        oxidizer, the cost-effectiveness value of
                                                 process knowledge in order to confirm                   underestimated flow rates needed to                   the suite of process vent requirements
                                                 compositions of vent streams, vent                      route vent streams with low flow to                   evaluated under our NSPS review is
                                                 stream flowrates, vent stream net                       APCDs). Although we still believe the                 $4,890 per ton VOC (instead of $4,570
                                                 heating values, and hourly emissions. It                use of the EPA’s control cost template                per ton VOC as proposed), which we
                                                 may also require verification of other                  is appropriate to estimate the cost of                consider to be reasonable.51 For further
                                                 facility assumptions (e.g., operational                 installing a new recuperative thermal                 details on how we estimated cost and
                                                 conditions and constraints), especially if              oxidizer (to control vent streams subject             VOC emissions reductions, see the
                                                 modeling was used. This logic applies                   to the NSPS), we revised our estimates                document titled CAA 111(b)(1)(B)
                                                 equally to existing, new, and modified                  to reflect the limitations of the                     review for the SOCMI air oxidation unit
                                                 sources and thus is one of the reasons                  correlations associated with the EPA’s                processes, distillation operations, and
                                                 why the EPA is not including the TRE                    control cost template, which starts with              reactor processes NSPS subparts III,
                                                 concept in NSPS subparts IIIa, NNNa,                    a flow rate of 500 scfm. With these                   NNN, and RRR—FINAL, which is
                                                 and RRRa as part of this rulemaking.                    corrections, we estimate that the average             available in the docket for this
                                                    We agree with commenters that the                    TCI to install a new recuperative                     rulemaking.
                                                 TRE index value has been an integral                    thermal oxidizer is about $167,000 (as                   We disagree with the commenters’
                                                 part of many technology-based air                       opposed to the $66,000 estimate                       suggestion to include the TRE concept
                                                 standards since its initial development.                provided in the proposed rule).                       in the new NSPS subparts NNNa, IIIa,
                                                 In fact, we said as much in the                         However, our estimate is still much less              and RRRa but raise the TRE index value
                                                 document titled CAA 111(b)(1)(B)                        than the $500,000 estimate provided by                threshold to something greater than 1.0
                                                 review for the SOCMI air oxidation unit                 commenters. One explanation for this is               (as opposed to not including the TRE
                                                 processes, distillation operations, and                 that commenters may have used a much                  concept in its entirety, as proposed).
                                                 reactor processes NSPS subparts III,                    higher flow rate (e.g., 5,000 scfm as                 Regarding a commenter’s assertion that
                                                 NNN, and RRR (see Docket Item No.                       opposed to 500 scfm) and a                            removing the TRE concept is arbitrary
                                                 EPA–HQ–OAR–2022–0730–0011). The                         ‘‘Regenerative Thermal Oxidizer’’ in                  given no action was taken on the TRE
                                                 TRE concept is almost 40 years old; it                  their cost analysis instead of a                      concept in the MON RTR, we note that
                                                 was first introduced in a December 1984                 ‘‘Recuperative Thermal Oxidizer.’’                    we did not have data related to Group
                                                 EPA document (EPA–450/3–84–015; see                     Moreover, commenters did not provide                  2 process vents while developing
                                                 attachment to Docket Item No. EPA–                      supporting information for their                      revisions to the MON. Setting an
                                                 HQ–OAR–2022–0730–0011). However,                        estimated capital costs, so the EPA                   emission threshold with no knowledge
                                                 even if it has been used in the past, we                cannot corroborate their assertions                   of which Group 2 MON vent streams
                                                 believe that for purposes of the new                    regarding cost.                                       would be impacted and the potential
                                                 NSPS subparts NNNa, IIIa, and RRRa,                        In light of the fact that commenters               cost or reductions associated with that
                                                 certain aspects of its underlying                       were generally concerned about the cost               revision would not have been
                                                 development are clearly no longer                       estimate for installing a new                         appropriate.
                                                 applicable or appropriate. For example,                 recuperative thermal oxidizer (to control                Finally, we agree with the
                                                 the EPA stated in the 1984 supporting                   vent streams subject to the NSPS), we                 commenter’s request to include a mass-
                                                 materials (EPA–450/3–84–015) that the                   performed additional analyses to                      based criterion below which emission
                                                 Agency attempted to make the TRE                        evaluate the cost effectiveness of not                controls are not required, but only for
                                                 index independent of inflation (e.g., the               including the TRE concept in the new                  NSPS subparts IIIa and NNNa (not NSPS
                                                 EPA assumed fixed relative costs of                     NSPS IIIa, NNNa, and RRRa. Instead of
                                                 various resources, such as carbon steel                 using $500,000 as suggested by a                         51 This cost effectiveness value is within the range

                                                 and electricity), yet it is impossible to               commenter, we used a TCI of $1,000,000                of what the EPA has considered reasonable for the
                                                                                                                                                               control of VOC emissions in other recent NSPS
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                                                 ignore inflation in the TRE calculations                and the EPA’s control cost template (for
                                                                                                                                                               rulemakings. See, e.g., 88 FR 29982 (May 9, 2023)
                                                 due to the time that has passed since it                installing a new recuperative thermal                 (finding a value of $6,800/ton of VOC emissions
                                                 was developed (e.g., costs of carbon                    oxidizer with 70 percent energy                       reductions cost-effective for automobile and light
                                                 steel and electricity have undoubtedly                  recovery). Even with this change in our               duty truck surface coating operations) (NSPS
                                                 increased since the development of the                  analysis, we continue to believe that                 subpart MMa); see 89 FR 16820 (March 8, 2024)
                                                                                                                                                               (finding value of $5,540 per ton of VOC reduction
                                                 TRE index).                                             revising the standard from a TRE                      reasonable for controls identified as BSER in Oil
                                                    Although the TRE index value may                     calculation to control of all vent streams            and Natural Gas NSPS subpart OOOOb and
                                                 allow owners and operators to allocate                  is still cost effective when considered               Emission Guidelines subpart OOOOc).



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                                                 subpart RRRa). We believe a mass-based                  subparts IIIa (at 40 CFR 60.612a(b)),                    • It is not technically or economically
                                                 exemption criterion is not needed for                   NNNa (at 40 CFR 60.662a(b)), and RRRa                 feasible to install a new large flare
                                                 NSPS subpart RRRa given that we are                     (at 40 CFR 60.702a(b)) regarding the                  system to capture the discharge from a
                                                 finalizing, as proposed, a volumetric                   prohibition of relief valve discharges                small number of new PRDs from a new,
                                                 flowrate-based exemption (0.011 scm/                    (e.g., PRD releases to the atmosphere)                reconstructed, or especially a modified
                                                 min at 40 CFR 60.700a(c)(3)) as well as                 and use of bypass lines. In addition, the             SOCMI source regulated under NSPS
                                                 a concentration-based exemption (300                    commenters requested that the EPA add                 subparts IIIa, NNNa, and RRRa.
                                                 ppmv TOC as measured by EPA Method                      the same PRD work practice standard                      • Any chemical manufacturing
                                                 18 or 150 ppmv TOC as measured by                       that the EPA has finalized in the MON                 facility with the potential to release high
                                                 EPA Method 25A at 40 CFR                                (at 40 CFR 63.2480(e)(3)- (8)) and                    volumes of chlorinated (halogenated)
                                                 60.700a(c)(7)) in NSPS subpart RRRa. It                 Ethylene MACT (at 40 CFR                              material from a PRD release would be
                                                 is clear from supporting documents that                 63.1107(h)(3)–(8)), and proposed in the               required to install and operate an
                                                 the EPA included the concentration-                     HON (at 40 CFR 63.165(e)), into NSPS                  oversized thermal oxidizer equipped
                                                 based exemption in NSPS subpart RRR                     subparts IIIa, NNNa, and RRRa at 40                   with acid gas controls that would be
                                                 with the intent to relieve owners and                   CFR 60.612a(d), 60.662a(d), and                       operated on stand-by anytime the
                                                 operators of controlling vent streams                   60.702a(d), respectively. The                         facility is in operation; and this
                                                 with very low amounts of VOC                            commenters argued that the proposed                   operating mode results in the facility
                                                 emissions (see 58 FR 45948, August 31,                  regulatory approach regarding                         also emitting large amounts of
                                                 1993, as well as the document titled                    eliminating the relief valve discharge                secondary emissions such as greenhouse
                                                 Selection of the Low Concentration                      exemption does not represent BSER for                 gases, VOCs, NOX, and CO.
                                                 Cutoff, which is available in the docket                the SOCMI source category given that                     • PRDs prevent catastrophic breaches
                                                 for this rulemaking). Even so, we                       relief valve discharges that are routed to            of process equipment that could
                                                 recognize that NSPS subparts IIIa and                   the atmosphere are necessary at times                 endanger both the lives of plant
                                                 NNNa do not contain these same                          for at least the following reasons:                   employees and nearby communities,
                                                 exemptions. Therefore, we are finalizing                   • Hazardous oxidation products: A                  and result in damage to property; these
                                                 a mass-based exemption criterion of                     discharge to a flare would result in                  catastrophic breaches would result in
                                                 0.001 lb/hr TOC (for which emission                     combustion products that are not                      much greater emissions than those
                                                 controls are not required) for NSPS                     desirable.                                            resulting from a PRD release. PRDs
                                                                                                                                                               minimize the loss of process materials
                                                 subparts IIIa and NNNa at 40 CFR                           • Chemical reactivity within flare
                                                 60.610a(c)(1) and 40 CFR 60.660a(c)(6),                                                                       to the surrounding environment.
                                                                                                         system: Some affected facilities may use                 Commenters also argued that it is not
                                                 respectively. We based this criterion on                a single large flare for emission control             cost-effective to route all PRDs to
                                                 the combination of both the volumetric                  for a given process area or group of                  control devices. Some commenters
                                                 flowrate- and concentration-based                       process areas.                                        pointed out that given that the EPA
                                                 exemptions that are included in NSPS                       • Physical obstruction within flare                concluded it is not cost-effective to
                                                 subparts RRR and the final RRRa. In                     header system: In some cases, there is a              route all PRDs to control for HON and
                                                 other words, the 0.001 lb/hr TOC mass-                  potential for certain compounds to                    P&R (and instead proposed a work
                                                 based exemption criterion which we are                  block or restrict portions of the flare               practice standard for PRDs that vent to
                                                 finalizing in NSPS subparts IIIa and                    header.                                               the atmosphere), it is unclear how the
                                                 NNNa is roughly equal to a vent stream                     • Streams containing oxygen: Some                  Agency could presume such a
                                                 with a volumetric flowrate of 0.011 scm/                process streams and equipment that                    requirement would be cost-effective as
                                                 min and a TOC concentration of 300                      PRDs protect contain mixtures of                      BSER and appropriate to establish as an
                                                 ppmv (assuming a TOC molecular                          organic compounds and oxygen                          NSPS requirement. Additionally, the
                                                 weight of 80 grams per mole) included                   especially in air oxidation processes.                commenters asserted that the only
                                                 in NSPS subparts RRR and the final                      Some air oxidation reactors have                      analysis the EPA uses to justify the
                                                 RRRa. We also note that new affected                    rupture discs as PRDs, and swings in air              proposed change is the identification of
                                                 facilities should have greater flexibility              supply can cause a rupture disc to fail.              a single lowest achievable emissions
                                                 in selecting cost-effective control                        • Intolerable backpressure on the                  rate (LAER) condition in the reasonably
                                                 options during the design and                           PRD: The operating pressure in a large                available control technology (RACT)/
                                                 construction phase (e.g., owners and                    flare header system could increase from               BACT/LAER clearinghouse database.
                                                 operators at greenfield sources are likely              just slightly over atmospheric pressure               The commenters argued that by
                                                 to have more flexibility in spatial                     to a pressure in the 10–20 psig range or              equating a single LAER determination
                                                 considerations compared to those at an                  higher for certain periods of time when               (based on the EPA’s RACT/BACT/LAER
                                                 existing source leading to a potential                  upset venting occurs or another highly                clearinghouse database search regarding
                                                 reduction in the amount of complex                      intermittent flow occurs.                             ID TX–0813171 for the ‘‘Linear Alpha
                                                 piping and construction materials                          • Intolerable liquid load on the flare             Olefins Plant,’’ which is operated by
                                                 needed to install an APCD).                             Knock Out (KO) drum: If the PRD is in                 INEOS Oligomers USA, LLC) to BSER
                                                    Comment: A commenter said they                       liquid service, it is not acceptable to add           and not performing any additional
                                                 support the EPA’s proposal to eliminate                 a high-volume liquid discharge from a                 analysis, the EPA has ignored the
                                                 the relief valve discharge exemption                    PRD into a flare header. Flare KO drums               statutory requirements of CAA Section
                                                 from the definition of ‘‘vent stream’’ in               have a finite liquid capacity. If the                 111(a)(1) in that the Agency did not
                                                 NSPS, subparts IIIa, NNNa, and RRRa                     liquid is highly volatile, severe pipe
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                                                                                                                                                               adequately account for the cost of
                                                 such that any relief valve discharge to                 contraction (due to auto-refrigeration)               achieving reductions, nor did the
                                                 the atmosphere of a vent stream is a                    can potentially cause a loss-of-                      Agency consider non-air quality health
                                                 violation of the emissions standard.                    containment failure of the flare header               and environmental impacts and more
                                                 However, several other commenters                       piping.                                               specifically, energy requirements.
                                                 opposed this proposal. Commenters                          • Technically impossible to collect                   A commenter added that PRDs serve
                                                 requested that the EPA revise the term                  discharges from PRDs on portable/                     a vitally important role as the last line
                                                 ‘‘violation’’ to ‘‘deviation’’ in NSPS                  mobile containers.                                    of defense to protect vessels and


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                                                 equipment from mechanical failure                       and as a result, any fugitive emissions               most appropriate considering, among
                                                 should an overpressure situation occur;                 are reduced. Exceptions may be made if                other factors, the composition of the
                                                 therefore, it is important that they work               venting relief valve to control will result           release, location of the equipment, and
                                                 correctly. The commenter asserted that                  in a safety concern, but this does not                overall safety. We note that facilities
                                                 in the unlikely event that a pressure                   exempt the company from controls such                 with new sources that choose to route
                                                 relief event occurs, it is important to                 as equipping the valve with a rupture                 PRD emissions to an APCD will have
                                                 have the opportunity to analyze such                    disk and pressure sensing-device.’’ The               the flexibility in the design and
                                                 situations and implement corrective                     EPA maintains that between the                        construction phase to select options
                                                 actions to further minimize the chance                  guidance provided by the TCEQ and                     they consider to be cost-effective and
                                                 that such an event will occur in the                    ability of the two identified facilities to           plan based on key criteria like
                                                 future.                                                 meet the requirements, prohibiting PRD                placement of the equipment. For
                                                    Response: We disagree with the                       releases to atmosphere is adequately                  existing sources that trigger the NSPS
                                                 commenters that the removal of the                      demonstrated for purposes of                          subpart IIIa, NNNa, or RRRa via a
                                                 exemption for PRD releases to                           determining BSER.                                     modification or reconstruction, it is the
                                                 atmosphere is not BSER for NSPS                            We also disagree with commenters’                  responsibility of the owner or operator
                                                 subparts IIIa, NNNa, and RRRa and that                  descriptions of why PRDs releasing to                 to make the determination if retrofitting
                                                 the EPA has ignored its obligations to                  atmosphere are necessary. We note that                PRDs to release to an APCD is feasible,
                                                 CAA section 111. For a thorough                         owners and operators are not obligated                cost-effective, and necessary against the
                                                 explanation of our BSER analysis and                    to route PRDs to an APCD. In fact, we                 potential to incur violations as a result
                                                 the ways in which the EPA complied                      agree with commenters that PRDs act as                of atmospheric release or if alternative
                                                 with the statutory requirements of CAA                  a last line of defense in uncommon                    process controls or operational practices
                                                 section 111, refer to the document titled               process conditions. Therefore, the EPA                are more appropriate. Any cost, non-air
                                                 CAA 111(b)(1)(B) review for the SOCMI                   expects that a well-controlled and                    quality health, environmental, or energy
                                                 air oxidation unit processes, distillation              rigorously designed process will not                  impacts associated with the owner or
                                                 operations, and reactor processes NSPS                  experience PRD releases regularly, if at              operator controlling PRD emissions,
                                                 subparts III, NNN, and RRR (see Docket                  all. In those situations, as described by             including those from halogenated
                                                 Item No. EPA–HQ–OAR–2022–0730–                          the commenter, where PRD releases are                 streams as identified by the commenter,
                                                 0011) and section III.C.3.b of the                      necessary to prevent further                          were not considered as part of the BSER
                                                 proposal preamble (88 FR 25080, April                   catastrophic failure, we agree with the               analysis because they are only incurred
                                                 25, 2023). No changes are being made to                 commenter that safety is a priority and               at the discretion of an owner or operator
                                                 the final rule as a result of this                      PRD releases may be necessary.                        if they choose to go beyond the
                                                 comment.                                                However, we note that we are not                      requirements of this rulemaking and
                                                    While commenters state that only one                 prohibiting the release of PRDs in                    pursue control of emissions. For the
                                                 facility was identified as part of the                  totality, just to atmosphere, or their use            above reasons, the EPA has met its
                                                 RACT/BACT/LAER clearinghouse                            in general and that process conditions                obligations under CAA section
                                                 database, we note that one additional                   leading to catastrophic failure should be             111(a)(1).
                                                 facility was also identified as having                  well outside regular operating                           We disagree with the commenter that
                                                 prohibitions on PRDs releasing to the                   conditions. Therefore, the EPA expects                the use of the term ‘‘violation’’ should
                                                 atmosphere and were thus choosing to                    that PRDs used to prevent catastrophic                be replaced with ‘‘deviation’’ in NSPS
                                                 route those pieces of equipment to an                   failure can continue to function without              subparts IIIa (at 40 CFR 60.612a(b)),
                                                 APCD. The Lyondell Chemical Bayport                     reasonable concern for release to                     NNNa (at 40 CFR 60.662a(b)), and RRRa
                                                 Choate Plant in Harris, TX (permit                      atmosphere during regular operating                   (at 40 CFR 60.702a(b)). We used the
                                                 number 137789) was identified as part                   conditions. If the facility is concerned              term ‘‘violation’’ in the SOCMI NSPS
                                                 of our RACT/BACT/LAER clearinghouse                     about a PRD releasing to atmosphere                   (subparts IIIa, NNNa, and RRRa) to be
                                                 database search, but did not properly                   during a catastrophic failure event,                  consistent with the HON standards that
                                                 state that they were also under                         which should be exceptionally rare to                 also regulate the SOCMI source
                                                 restrictions for PRD releases to                        begin with, they may choose to route                  category.
                                                 atmosphere for streams containing more                  those emissions to an APCD to avoid
                                                 than 1 percent VOC. See the updated                                                                           ii. Equipment Leaks
                                                                                                         incurring a violation. The EPA
                                                 document titled CAA 111(b)(1)(B)                        maintains that releasing uncontrolled                    Comment: A commenter contended
                                                 review for the SOCMI air oxidation unit                 volumes of emissions to atmosphere as                 the EPA’s BSER analysis was
                                                 processes, distillation operations, and                 a result of preventable process upsets is             insufficient because it failed to consider
                                                 reactor processes NSPS subparts III,                    characteristic of a violation.                        key equipment leak control
                                                 NNN, and RRR—FINAL, which is                               To that point, we are not requiring                technologies, such as OGI, leak
                                                 available in the docket for this                        owners or operators to route PRD                      detection sensor networks (LDSNs), and
                                                 rulemaking. Lyondell and the Linear                     releases to an APCD, and there are no                 even options that the EPA previously
                                                 Alpha Olefins Plant were placed under                   cost, non-air quality health,                         considered in 2007 when developing
                                                 these restrictions by the state of Texas                environmental, or energy requirements                 NSPS subpart VVa. The commenter
                                                 in 2017 and 2015, respectively. In fact,                as a result of this change. The EPA                   asserted that the EPA must consider
                                                 the TCEQ published the document titled                  expects no additional equipment will be               these developments when evaluating
                                                 Air Permit Technical Guidance for                       needed for facilities to meet the                     and establishing the BSER for new,
                                                                                                                                                               reconstructed, and modified SOCMI
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                                                 Chemical Sources Fugitive Guidance in                   finalized provisions given our
                                                 June 2018, which is available in the                    agreement with commenters that PRD                    process units. The commenter stated
                                                 docket for this rulemaking. Section III of              releases are unlikely to occur at all                 that the EPA’s review of the LDAR
                                                 the document states that ‘‘the following                assuming a process is rigorously                      requirements in NSPS subpart VVa is
                                                 practices are generally considered to be                designed, maintained, and controlled. If              inconsistent with other reviews of NSPS
                                                 the minimum for BACT . . . . New                        the owner or operator chooses to control              equipment leak standards. In particular,
                                                 relief valves are required to vent to a                 PRD emissions, it is their responsibility             the commenter noted that in its
                                                 control device for any potential releases               to select whichever control method is                 November 15, 2021 proposal for the


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                                                 Crude Oil and Natural Gas source                        acetaldehyde have very weak peaks in                     Comment: A commenter stated that
                                                 category, the EPA evaluated several                     the spectral range common to OGI                      the EPA’s focus on lowering the leak
                                                 monitoring techniques, and                              camera filters, making it extremely                   definition for valves from 500 ppm to
                                                 combinations of techniques, to                          difficult to see these compounds with                 100 ppm is inconsistent with recent
                                                 determine if the BSER for equipment                     an OGI camera. For those compounds                    EPA focus on targeting large emissions
                                                 leaks at natural gas processing plants                  that can be observed with an OGI                      sources, as was done for the oil and gas
                                                 should be revised, including bimonthly                  camera, the detection range of the                    industry. The commenter stated that
                                                 and quarterly OGI monitoring in                         camera varies, and some compounds                     rulemaking targeted finding large leaks
                                                 combination with annual EPA Method                      must be emitted in high quantities                    faster, while in the review for NSPS
                                                 21 monitoring at a leak definition of                   before being observed. For example, it is             subpart VVa, the EPA focused on
                                                 10,000 ppm, and bimonthly OGI                           expected that twice as much styrene                   reducing a small population of small
                                                 monitoring on all equipment with the                    must be emitted as xylene (any isomer)                leaks by lowering the leak definition for
                                                 potential for VOC emissions. The                        before the emissions are visible with an              valves from 500 ppm to 100 ppm. The
                                                 commenter asserted that the EPA’s                       OGI camera.52 For these reasons, the use              commenter added that the EPA’s
                                                 failure to consider OGI is erroneous                    of OGI is not appropriate for the SOCMI               analysis for NSPS subpart VVa
                                                 considering the EPA has established an                  source category.53                                    demonstrates this proposed change only
                                                 Alternative Work Practice at 40 CFR                       Regarding LDSNs, which use an array                 results in reducing 0.64 tpy of VOC
                                                 60.18(g) through (i) that allows sources                of continuous sensors to find leaks, we               emissions per affected facility beyond
                                                 subject to NSPS subparts VV and VVa                     agree that these systems can effectively              the baseline. The commenter also stated
                                                 to conduct bimonthly OGI monitoring                     be used to trigger and target EPA                     that the facility-level leak inspection
                                                 with annual EPA Method 21 surveys at                    Method 21 or OGI monitoring and leak                  data that the EPA has available shows
                                                 500 ppm as an alternative to conducting                 repair, but an effective system depends               that leaks between 100 ppm and 500
                                                 EPA Method 21 monitoring at the leak                    on the sensitivity of the sensors, the                ppm are not very common. The
                                                 definitions and frequencies in those                    spacing of the sensors, and the trigger               commenter specified that the EPA has
                                                 subparts. The commenter added that at                   used to deploy a ground monitoring                    access to at least one data set containing
                                                 a minimum, the EPA should evaluate                      crew. It is difficult to develop vendor-              leak inspection results for nearly 3,000
                                                 whether this alternative work practice                  agnostic monitoring requirements that                 components at a chemical
                                                 now represents the BSER for NSPS                        can be incorporated generically within a              manufacturing facility. The commenter
                                                 subpart VVb.                                            rule, and we do not have the necessary                added that the average EPA Method 21
                                                    Response: For the reasons explained                  information to do so at this time. While              reading was over 25,000 ppm, with the
                                                 below, we find that none of the control                 we are continuing to look at how to                   minimum reading for valves was 747
                                                 options raised in the comment above                     develop a standardized approach for                   ppm and minimum reading for
                                                 (i.e., OGI, LDSN and options considered                 sensor networks, we are not prepared to               connectors was 1,000 ppm,
                                                 in the last review) is BSER for                         include provisions for a continuous                   underscoring the importance of entirely
                                                 equipment leaks from new, modified,                     sensor network for the SOCMI source                   preventing significant leaks (as well as
                                                 and reconstructed SOCMI process units.                  category at this time. However, owners                quickly identifying and remediating
                                                    Regarding OGI, we do not believe it                  or operators can elect to submit a                    others). The commenter recommended,
                                                 replaces EPA Method 21 as BSER for                      request for an alternative means of                   in addition to strengthening the
                                                 equipment leaks from SOCMI process                      emission limitation for using a site-                 standards as it has proposed, that the
                                                 units for the following reasons. First, as              specific sensor network monitoring
                                                                                                                                                               EPA evaluate the use of additional
                                                 shown by our equipment leaks                            plan.
                                                                                                                                                               technology, such as low emission valves
                                                 regulations for the SOCMI industry                        Finally, the commenter claims that
                                                 since the early 1980s, leaks in the area                the EPA must evaluate options that we                 and valve packing and connectors less
                                                 of 500 to 1000 ppm can be detected                      had previously considered while                       likely to leak, in order to prevent the
                                                 using EPA Method 21 and repaired for                    promulgating NSPS subpart VVa in                      presence of these large emissions. The
                                                 most equipment in this industry. The                    2007. The EPA does not have                           commenter concluded that this
                                                 EPA acknowledges that OGI is effective                  information, nor has the commenter                    evaluation would allow the EPA to take
                                                 at finding large leaks quickly for many                 provided any, indicating that there has               action on preventing emissions from
                                                 compounds, but, while OGI is capable                    been development since the last review                occurring at these high rates and
                                                 of detecting low-level leaks under                      to any such previously rejected option                potentially result in the determination
                                                 certain conditions, it is difficult for a               that warrants evaluation in the present               that a combined program of low-
                                                 camera operator to find low level-leaks                 review.                                               emissions technology with regular EPA
                                                 with OGI under the range of conditions                                                                        Method 21 monitoring and leak repairs
                                                 that leak surveys are generally                           52 See Technical Support Document, Optical Gas      is the BSER for SOCMI equipment leaks.
                                                 conducted, including variable ambient                   Imaging Protocol (40 CFR part 60, Appendix K),           Response: The EPA disagrees that the
                                                                                                         September 2023 for more information related to
                                                 and equipment temperatures, complex                     detection of compounds with OGI.
                                                                                                                                                               actions taken in this NSPS rulemaking
                                                 backgrounds, and elevated wind speeds.                    53 In contrast, the majority of VOC emissions at    are inconsistent with the actions taken
                                                 Additionally, the compounds that can                    onshore natural gas processing plants are expected    in other recent NSPS rulemakings,
                                                 be detected by an OGI camera are                        to be comprised of compounds such as butane,          specifically the oil and gas NSPS (see 89
                                                                                                         pentane, hexane, benzene, toluene, xylenes, and
                                                 limited to the compounds that have a                    ethylbenzene; the type of compounds emitted are
                                                                                                                                                               FR 16820 (March 8, 2024)). The
                                                 peak in the spectral range of the filter on             expected to be fairly uniform from all onshore        rulemaking for the oil and gas sector are
                                                                                                                                                               focused on finding large leaks faster
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                                                 the OGI camera (generally around 3.2–                   natural gas processing plants. In addition to VOC,
                                                 3.4 micron for cameras used to detect                   leaks at onshore natural gas processing plants        while the leak regulation for SOCMI
                                                                                                         generally contain methane. All of these compounds
                                                 hydrocarbons). While many compounds                     can be identified with an OGI camera. For this        does not, because there are key
                                                 of interest do have a peak in this range,               reason, OGI is effective in detecting leaks from      differences between the oil and gas and
                                                 the variety of chemicals found at SOCMI                 onshore natural gas processing plants, as the         the SOCMI source category. The SOCMI
                                                                                                         commenter observes, but may not be effective for      industry has been complying with
                                                 facilities is very broad, and not all of                certain SOCMI process units, where makeup of
                                                 these chemicals can be observed with an                 VOC emissions varies widely across the source         equipment leak regulations since the
                                                 OGI camera. For example, ethylene and                   category.                                             early 1980s, and leaks are expected to be


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                                                 much lower in SOCMI than for the oil                    dates. The commenter added that the                   alternative method, an inflation index is
                                                 and gas industry. As a result, the leak                 EPA should first evaluate more recent                 applied to the replacement cost to
                                                 definitions that SOCMI facilities must                  developments on the definition of                     approximate the original cost basis of
                                                 comply with are already very low, 500                   ‘‘capital expenditure’’ inclusion in the              the affected facility. The relationship
                                                 to 1000 ppm for most equipment, and                     final NSPS subpart VVb. The                           between the replacement and original
                                                 the proposed and final rule lowers leak                 commenter also opposed the proposed                   cost ultimately ended up in the
                                                 definitions to 100 ppm for valves to gain               change of ‘‘X’’ for sources constructed in            formulas contained in the definitions of
                                                 even more emissions reductions.                         the year 2023 in order for X to not be                ‘‘capital expenditure’’ in NSPS subparts
                                                    Additionally, the data set referenced                equal to zero, which results in an                    VV and VVa.55
                                                 by the commenter was collected over                     equation that cannot be solved. The                      The formulas for ‘‘Y’’ in the
                                                 several years. The chemical facility                    commenter noted that the EPA has                      definitions of ‘‘capital expenditure’’ in
                                                 associated with the data set conducted                  addressed this same issue recently                    NSPS subparts VV and VVa were
                                                 an OGI survey and then recorded the                     through specific changes to the                       intended to adjust the replacement cost
                                                 EPA Method 21 reading for any leaks                     definition of capital expenditure                     for inflation to approximate the original
                                                 found by OGI. However, the data set                     promulgated in the technical                          cost basis; however, the formulas were
                                                 does not include any information                        amendments to NSPS subpart OOOOa                      based on analysis of inflation between
                                                 related to leaks that could have been                   for equipment leaks at onshore natural                the years 1947 and 1982 and do not
                                                 found with EPA Method 21 but not OGI.                   gas processing plants. The commenter                  necessarily reflect current economic
                                                 Therefore, the EPA cannot conclude that                 explained that in those amendments,                   conditions. In the 2020 amendments to
                                                 there are few leaks between 100 ppm                     the EPA revised the equation used to                  NSPS subpart OOOOa, which covers the
                                                 and 500 ppm at chemical plants based                    determine ‘‘Y’’ (the percent of                       oil and natural gas sector, the EPA
                                                 on this data set. What this data set does               replacement costs) to remove the                      determined that using a CPI-based ratio
                                                 demonstrate is that there is no evidence                variable ‘‘X’’ (and logarithmic function)             is more appropriate under current
                                                 that OGI can find low-level leaks at                    and instead the EPA specifically defined              economic conditions.56 Similarly, the
                                                 chemical plants.                                        ‘‘Y’’ as ‘‘the Consumer Price Index (CPI)             EPA has determined the CPI-based ratio
                                                    In the final rule (NSPS subpart VVb),                of the date of construction divided by                better reflects the inflation of chemical
                                                 we are not requiring specific types of                  the most recently available CPI of the                process facility construction costs over
                                                 equipment be used to meet the 100 ppm                   date of the project, or ‘‘CPIN/CPIPD’’.               time and thus is more appropriate for
                                                 leak definition for valves. However, in                 The commenter contended that at a                     use in determining capital expenditure
                                                 order to meet the 100 ppm leak                          minimum, the EPA must consider this                   for the SOCMI source category in NSPS
                                                 definition for valves, we anticipate that               calculation of ‘‘Y’’ when defining                    subpart VVb. There are several versions
                                                 facilities will need to use low-emission                ‘‘capital expenditure’’ in NSPS subpart               of the CPI published by the U.S. Bureau
                                                 valves or packings. The average cost-                                                                         of Labor Statistics; for simplicity, the
                                                                                                         VVb and discuss why the use of the CPI-
                                                 effectiveness (with recovery credits) of                                                                      EPA is requiring the use of ‘‘CPI–U, U.S.
                                                                                                         based ratio is not appropriate for
                                                 lowering the leak definition for valves                                                                       city average, all items’’ (CPI for all urban
                                                                                                         affected facilities before finalizing the
                                                 in gas/vapor or light liquid service from                                                                     consumers) for both CPI values.
                                                                                                         proposed definition with the
                                                 500 ppm to 100 ppm, is $2,780 per ton
                                                                                                         appropriate revisions to close loopholes.             4. What is the rationale for our final
                                                 of VOC reduced, and the EPA estimates                      Response: We agree with the
                                                 this provision could result in reductions                                                                     approach and final decisions for the
                                                                                                         commenter that in the proposed                        technology review and NSPS review?
                                                 of more than 20 tpy of VOC.                             definition of ‘‘capital expenditure’’ in
                                                    Comment: A commenter contended                                                                             a. NESHAP
                                                                                                         NSPS subpart VVb, the value of ‘‘X’’
                                                 that the EPA’s proposed definition for
                                                                                                         should not be bounded by the NSPS                        Our technology review focused on the
                                                 capital expenditures in NSPS subpart
                                                 VVb narrows the reach of modification                   subpart VV date of January 6, 1982. We                identification and evaluation of
                                                 and would result in the exclusion of                    also agree with the commenter that we                 developments in practices, processes,
                                                 certain process units from applicability                should update the definition of ‘‘capital             and control technologies that have
                                                 to the subpart through modification. For                expenditure’’ to use the CPI in the                   occurred since the previous technology
                                                 NSPS subpart VVb, the commenter                         equation for ‘‘Y’’ in NSPS subpart VVb.               reviews for the HON and the P&R I and
                                                 opposed the two proposed calculations                   For the reasons discussed below, the                  P&R II NESHAP were promulgated (see
                                                 for ‘‘X’’. The commenter explained that                 EPA is finalizing the capital expenditure             71 FR 76603, December 21, 2006; 73 FR
                                                 by proposing a value for ‘‘X’’ to be                    definition in NSPS subpart VVb to state               76220, December 16, 2008; and 77 FR
                                                 ‘‘2023 minus the year of construction’’                 in part that the value of ‘‘Y’’ is                    22566, April 21, 2011 for additional
                                                 for sources with a construction date                    calculated using the CPI of the date of               details). Specifically, we focused our
                                                 after January 6, 1982 and before January                original construction of the process unit             technology review on all existing MACT
                                                 1, 2023, the EPA has categorically                      divided by the most recently available                standards for the various emission
                                                 exempted any process unit from ever                     CPI of the date of the project.                       sources in the SOCMI, P&R I, and P&R
                                                 becoming subject to NSPS subpart VVb                       In the early 1980s, some facilities
                                                 through modification if its date of                     were having trouble determining capital                 55 See Office of Air Quality Planning & Standards,

                                                                                                         expenditure because records for costs                 U.S. Environmental Protection Agency. EPA–450/
                                                 construction is prior to January 6, 1982.                                                                     3–83–015B, Petroleum Fugitive Emissions—
                                                 The commenter contended that this                       were not available for determining the                Background Information For Promulgated
                                                 error must be addressed in the final rule               original basis of the affected facility.54            Standards at 4–3 to 4–7 (Oct. 1983), which is
                                                 to not create a loophole exempting the                  The EPA developed an alternative                      available in the docket for this rulemaking.
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                                                 oldest of these SOCMI process units                     method to NSPS subpart A which                          56 See Office of Air Quality Planning & Standards,

                                                                                                         enabled companies to use replacement                  U.S. Environmental Protection Agency. Docket Item
                                                 from ever becoming subject to NSPS                                                                            No. EPA–HQ–OAR–2017–0483–2291, EPA
                                                 subpart VVb through modification. The                   cost rather than original cost. In the                Responses to Public Comments on Reconsideration
                                                 commenter suggested revising the value                                                                        of New Source Performance Standards (NSPS) Oil
                                                                                                            54 Pursuant to the NSPS subpart A definition of    and Natural Gas Sector: Emission Standards for
                                                 for ‘‘X’’ to mean ‘‘2023 minus the year                 ‘‘capital expenditure’’ companies would need to       New, Reconstructed, and Modified Sources
                                                 of construction’’ without the need to                   know the original cost of the affected facility to    Reconsideration 40 CFR part 60, subpart OOOOa at
                                                 bookend this definition with specific                   determine capital expenditure.                        11–2 (Sep. 2020).



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                                                 II source categories, including, heat                   submitted by commenters on the                        authorization of an extension of up to 2
                                                 exchange systems, storage vessels,                      proposed revisions for HON process                    years from July 15, 2024.
                                                 process vents, transfer racks,                          vents and P&R I continuous front-end                  b. NSPS
                                                 wastewater, and equipment leaks.                        process vents. Based on these
                                                 Under CAA section 112(d)(6), we also                    comments, we have updated our cost                       For NSPS subparts IIIa, NNNa, and
                                                 proposed a fenceline monitoring work                    analysis, but continue to believe our                 RRRa, we are finalizing the suite of
                                                 practice standard requiring owners and                  revisions for HON process vents and                   process vent requirements, as
                                                 operators to monitor for any of six                     P&R I continuous front-end process                    proposed.57 As described in the
                                                 specific HAP (i.e., benzene, 1,3-                       vents, as proposed, are still cost-                   proposal (88 FR 25080, April 25, 2023)
                                                 butadiene, ethylene dichloride, vinyl                   effective. Therefore, for HON process                 and in consideration of comments
                                                 chloride, EtO, and chloroprene) if their                vents and P&R I continuous front-end                  received about these new requirements
                                                 site uses, produces, stores, or emits any               process vents, we are finalizing, as                  (see section IV.B.3.b.i of this preamble
                                                 of them, and conduct root cause                         proposed the: (1) Removal of the TRE                  for further detail), we found the
                                                 analysis and corrective action upon                     concept in its entirety; (2) removal of               requirements to be cost-effective for
                                                 exceeding the annual average                            the 50 ppmv and 0.005 scmm Group 1                    VOC emission reductions at new,
                                                 concentration action level set forth for                process vent thresholds; and (3)                      modified, and reconstructed affected
                                                 each HAP. In the proposal, we                           redefining of a Group 1 process vent                  facilities.
                                                 identified cost-effective developments                  (require control) as any process vent                    For NSPS subpart VVb, we are
                                                 only for HON and P&R I heat exchange                    that emits ≥1.0 lb/hr of total organic                finalizing, as proposed, the same
                                                 systems, storage vessels, and process                                                                         requirements in NSPS subpart VVa with
                                                                                                         HAP. Finally, based on comments
                                                 vents, and we proposed to revise the                                                                          the updated requirement that all gas/
                                                                                                         received on the proposed fenceline
                                                 standards for these three emissions                                                                           vapor and light liquid valves be
                                                                                                         monitoring requirements, we have
                                                 sources under the technology review.                                                                          monitored monthly at a leak definition
                                                                                                         established two action levels in the final
                                                 We did not identify developments in                                                                           of 100 ppm instead of 500 ppm, and an
                                                                                                         rule for chloroprene (i.e., one action
                                                 practices, processes, or control                                                                              additional requirement that all
                                                                                                         level under CAA section 112(d)(6) for                 connectors be monitored once every 12
                                                 technologies (beyond the fenceline
                                                                                                         this HAP and another action level under               months at a leak definition of 500 ppm,
                                                 monitoring work practice standard) for
                                                                                                         CAA section 112(f)) in lieu of only one               as described in the proposal (88 FR
                                                 transfer racks, wastewater, and
                                                                                                         action level, as proposed). In addition,              25080, April 25, 2023).
                                                 equipment leaks. Further information
                                                                                                         based on comments received, we are: (1)
                                                 regarding the technology review can be                                                                        C. Amendments Pursuant to CAA
                                                 found in the proposed rule (88 FR                       Finalizing burden reduction measures to
                                                                                                         allow owners and operators to skip                    Section 112(d)(2) and (3) and 112(h) for
                                                 25080, April 25, 2023) and in the                                                                             the SOCMI, P&R I, and P&R II Source
                                                 supporting materials in the rulemaking                  fenceline measurement periods for
                                                                                                         specific monitors with a history of                   Categories NESHAP
                                                 docket at Docket ID No. EPA–HQ–OAR–
                                                 2022–0730.                                              measurements that are at or below                     1. What did we propose pursuant to
                                                                                                         certain action levels; (2) clarifying that            CAA section 112(d)(2) and (3) and
                                                    During the public comment period,
                                                                                                         fenceline monitoring is required for                  112(h) for the SOCMI, P&R I, and P&R
                                                 we received several comments on our
                                                                                                         owners and operators with affected                    II source categories?
                                                 proposed determinations for the
                                                                                                         sources that produce, store, or emit one
                                                 technology review. The comments and                                                                              Under CAA sections 112(d)(2) and (3),
                                                                                                         or more of the target analytes; (3)
                                                 our specific responses and rationale for                                                                      we proposed to amend the operating
                                                 our final decisions can be found in                     reducing the requirements for the
                                                                                                                                                               and monitoring requirements for a
                                                 section IV.B.3 of this preamble and in                  minimum detection limit of alternative
                                                                                                                                                               subset of flares in the SOCMI and P&R
                                                 the document titled Summary of Public                   measurement approaches; (4) clarifying
                                                                                                                                                               I source categories. We proposed at 40
                                                 Comments and Responses for New                          how owners and operators establish the
                                                                                                                                                               CFR 63.108 (for HON) and 40 CFR
                                                 Source Performance Standards for the                    monitoring perimeter for both sorbent
                                                                                                                                                               63.508 (for the P&R I NESHAP) to
                                                 Synthetic Organic Chemical                              tubes and canisters; (5) clarifying the               directly apply the petroleum refinery
                                                 Manufacturing Industry and National                     calculation of Dc when a site-specific                flare rule requirements in 40 CFR part
                                                 Emission Standards for Hazardous Air                    monitoring plan is used to correct                    63, subpart CC, to the HON and P&R I
                                                 Pollutants for the Synthetic Organic                    monitoring location concentrations due                flares with clarifications, including, but
                                                 Chemical Manufacturing Industry and                     to offsite impacts; (6) changing the                  not limited to, specifying that several
                                                 Group I & II Polymers and Resins                        required method detection limit for                   definitions in 40 CFR part 63, subpart
                                                 Industry, which is available in the                     alternative test methods from an order                CC, that apply to petroleum refinery
                                                 docket for this rulemaking. No                          of magnitude below the action level to                flares also apply to the flares in the
                                                 information presented by commenters                     one-third of the action level; and (4)                specified subset, adding a definition and
                                                 has led us to change our proposed                       with the exception of fenceline                       requirements for pressure-assisted
                                                 determination under CAA section                         monitoring of chloroprene at P&R I                    multi-point flares, and specifying
                                                 112(d)(6) for transfer racks, wastewater,               affected sources producing neoprene,                  additional requirements when a gas
                                                 and equipment leaks, and we are                         we are changing the compliance date in                chromatograph or mass spectrometer is
                                                 finalizing our determination that no                    the final rule to begin fenceline                     used for compositional analysis.
                                                 changes to these standards are                          monitoring 2 years (instead of 1 year, as             Specifically, we proposed to retain the
                                                 warranted. However, based on                            proposed) after the effective date of the
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                                                                                                                                                               General Provisions requirements of 40
                                                 comments received on the proposed                       final rule. For P&R I affected sources                CFR 63.11(b) and 40 CFR 60.18(b) such
                                                 revisions for the Group 1 HON and P&R                   producing neoprene, we have changed                   that HON and P&R I flares operate pilot
                                                 I storage vessels, we are clarifying that               the compliance date for fenceline                     flame systems continuously and that
                                                 the capacity and MTVP thresholds in                     monitoring of chloroprene to begin no                 these flares operate with no visible
                                                 the final rule apply to both new and                    later than October 15, 2024, or upon                  emissions (except for periods not to
                                                 existing sources. In addition, some                     startup, whichever is later, subject to the
                                                 additional cost information was                         owner or operator seeking the EPA’s                     57 See section IV.B.1.b.i of this preamble.




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                                                 exceed a total of 5 minutes during any                  where the initial PRD discharges to a                 LEL; (2) be opened and vented to the
                                                 2 consecutive hours) when the flare vent                control system.) We proposed that PRDs                atmosphere only if the 10-percent LEL
                                                 gas flow rate is below the smokeless                    in EtO service (for HON) and PRDs in                  cannot be demonstrated and the
                                                 capacity of the flare. We also proposed                 chloroprene service (for Neoprene                     pressure is less than or equal to 5 psig,
                                                 to consolidate measures related to flare                Production processes subject to the P&R               provided there is no active purging of
                                                 tip velocity and new operational and                    I NESHAP) may not vent directly to                    the equipment to the atmosphere until
                                                 monitoring requirements related to the                  atmosphere. We also proposed to                       the LEL criterion is met; (3) be opened
                                                 combustion zone gas for HON and P&R                     require that sources monitor PRDs that                when there is less than 50 lbs of VOC
                                                 I flares. Further, in keeping with the                  vent to atmosphere using a system that                that may be emitted to the atmosphere;
                                                 elimination of the SSM exemption, we                    is capable of identifying and recording               or (4) for installing or removing an
                                                 proposed a work practice standard                       the time and duration of each pressure                equipment blind, depressurize the
                                                 related to the visible emissions limits                 release and of notifying operators that a             equipment to 2 psig or less and
                                                 during periods when a HON or P&R I                      pressure release has occurred. We                     maintain pressure of the equipment
                                                 flare is operated above its smokeless                   proposed at 40 CFR 63.165(e)(4) that                  where purge gas enters the equipment at
                                                 capacity (e.g., periods of emergency                    PRDs that vent through a closed vent                  or below 2 psig during the blind flange
                                                 flaring). We proposed eliminating the                   system to a control device or to a                    installation, provided none of the other
                                                 cross-references to the General                         process, fuel gas system, or drain system             proposed work practice standards can
                                                 Provisions and instead specifying all                   must meet minimum requirements for                    be met.
                                                 operational and monitoring                              the applicable control system. In                        Also under CAA section 112(h), we
                                                 requirements that are intended to apply                 addition, we proposed at 40 CFR                       proposed a work practice standard for
                                                 to HON and P&R I flares in the                          63.165(e)(5) that the following types of              storage vessel degassing at 40 CFR
                                                 applicable subparts.                                    PRDs would not be subject to the work                 63.119(a)(6) (for HON) and 40 CFR
                                                    In addition, we proposed provisions                  practice standard for PRDs that vent to               63.484(a) and (t) (which references 40
                                                 and clarifications in the HON and P&R                   the atmosphere: (1) PRDs in heavy                     CFR 63.119, for the P&R I NESHAP) to
                                                 I and P&R II NESHAP for periods of                      liquid service; (2) PRDs that are                     allow storage vessels to be vented to the
                                                 SSM and bypasses, including PRD                         designed solely to release due to liquid              atmosphere once a storage vessel
                                                 releases, bypass lines on closed vent                   thermal expansion; (3) PRDs on mobile                 degassing concentration threshold is
                                                 systems, maintenance vents and                          equipment; and (4) pilot-operated and                 met (i.e., once the vapor space
                                                 equipment openings, storage vessel                      balanced bellows PRDs if the primary                  concentration is less than 10 percent of
                                                 degassing, and planned routine                          release valve associated with the PRD is              the LEL) and all standing liquid has
                                                 maintenance for storage vessels to                      vented through a control system.                      been removed from the vessel to the
                                                 ensure that CAA section 112 standards                   Finally, we proposed at 40 CFR                        extent practicable. In addition, we
                                                 apply continuously, consistent with                     63.165(e)(8) to require future                        proposed at 40 CFR 63.119(e)(7) that
                                                 Sierra Club v. EPA 551 F. 3d 1019 (D.C.                 installation and operation of non-                    owners and operators would not be
                                                 Cir. 2008).                                             flowing pilot-operated PRDs at all                    permitted to fill the storage vessel
                                                    For PRD releases, we proposed                        affected sources.                                     during these periods (such that the
                                                 revisions to the definition of ‘‘pressure                  For bypass lines on closed vent                    vessel would emit HAP to the
                                                 relief device’’ for the HON and P&R I                   systems, we proposed at 40 CFR                        atmosphere for a limited amount of time
                                                 NESHAP, a definition of ‘‘relief valve’’                63.114(d)(3), 40 CFR 63.127(d)(3), 40                 due to breathing losses only).
                                                 for the HON and P&R I NESHAP, and                       CFR 63.148(f)(4), and 40 CFR                             To address regulatory gaps, we
                                                 a definition in the P&R II NESHAP for                   63.172(j)(4) (for HON), and 40 CFR                    proposed:
                                                                                                         63.485(x), 40 CFR 63.489(d)(3), and 40                   Emission limits for dioxins and furans
                                                 ‘‘pressure relief device.’’ Under CAA
                                                                                                         CFR 63.502(a)(2) (for the P&R I                       at 40 CFR 63.113(a)(5) (for HON), 40
                                                 section 112(h), we proposed a work
                                                                                                         NESHAP) that an owner or operator may                 CFR 63.485(x) and 40 CFR 63.487(a)(3)
                                                 practice standard for PRDs at 40 CFR
                                                                                                         not bypass the APCD at any time, that                 and (b)(3) (for the P&R I NESHAP), and
                                                 63.165(e) (for HON) and 40 CFR
                                                                                                         a bypass is a violation (at 40 CFR                    40 CFR 63.523(e), 40 CFR 63.524(a)(3),
                                                 63.502(a)(1) and (a)(2) (which references
                                                                                                         63.118(a)(5) and (f)(7), 40 CFR                       and 40 CFR 63.524(b)(3) (for the P&R II
                                                 40 CFR 63.165, for the P&R I NESHAP)
                                                                                                         63.130(a)(2)(iv), (b)(3), and (d)(7), 40              NESHAP).
                                                 that consists of using at least three                                                                            To define pressure vessel at 40 CFR
                                                 prevention measures and performing                      CFR 63.148(i)(3)(iii) and (j)(4), Tables 3,
                                                                                                         7, and 20 to 40 CFR 63, subpart G, 40                 63.101 (for HON) and 40 CFR 63.482
                                                 root cause analysis and corrective action                                                                     (for the P&R I NESHAP) to mean ‘‘a
                                                 in the event that a PRD does release                    CFR 63.181(g)(3)(iii), and 40 CFR
                                                                                                         63.182(d)(xix) (for HON), and 40 CFR                  storage vessel that is used to store
                                                 emissions directly to the atmosphere.58                                                                       liquids or gases and is designed not to
                                                 (Examples of prevention measures                        63.485(x), 40 CFR 63.489(d)(3), and 40
                                                                                                         CFR 63.502(a)(2) (for the P&R I                       vent to the atmosphere as a result of
                                                 include flow indicators, level indicators,                                                                    compression of the vapor headspace in
                                                                                                         NESHAP)), and the owner or operator
                                                 temperature indicators, pressure                                                                              the pressure vessel during filling of the
                                                                                                         must estimate and report the quantity of
                                                 indicators, routine inspection and                                                                            pressure vessel to its design capacity,’’
                                                                                                         organic HAP released.
                                                 maintenance programs or operator                           Under CAA section 112(h), we                       and to remove the exemption for
                                                 training, inherently safer designs or                   proposed a work practice standard for                 ‘‘pressure vessels designed to operate in
                                                 safety instrumentation systems, deluge                  maintenance vents and equipment                       excess of 204.9 kilopascals and without
                                                 systems, and staged relief systems                      openings at 40 CFR 63.113(k)(1)(i) (for               emissions to the atmosphere’’ from the
                                                                                                                                                               definition of storage vessel. We
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                                                    58 The P&R II NESHAP is different from the HON
                                                                                                         HON), and at 40 CFR 63.485(x) and 40
                                                 and the P&R I NESHAP because the P&R II NESHAP
                                                                                                         CFR 63.487(i)(1)(i) (for the P&R I                    proposed LDAR requirements at 40 CFR
                                                 defines a process vent as a ‘‘a point of emission       NESHAP) requiring that, prior to                      63.119(a)(7) (for HON) and 40 CFR
                                                 from a unit operation. Typical process vents            opening process equipment to the                      63.484(t) (for the P&R I NESHAP)
                                                 include condenser vents, vacuum pumps, steam            atmosphere, the equipment must either                 requiring no detectable emissions at all
                                                 ejectors, and atmospheric vents from reactors and
                                                 other process vessels.’’ As such, the P&R II NESHAP
                                                                                                         (1) be drained and purged to a closed                 times (i.e., would be required to meet a
                                                 does not exclude PRD releases from its production-      system so that the hydrocarbon content                leak definition of 500 ppm at each point
                                                 based emission rate MACT standard.                      is less than or equal to 10 percent of the            on the pressure vessel where total


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                                                 organic HAP could potentially be                           A requirement at 40 CFR 63.524(a)(3)               concentration’’ of the vapors as a
                                                 emitted); initial and annual leak                       and (b)(3) that owners and operators of               percent of the LEL. We are also revising
                                                 monitoring using EPA Method 21 of 40                    existing, new, or reconstructed affected              the final rule at 40 CFR 63.119(a)(6) to
                                                 CFR part 60, Appendix A–7; and routing                  WSR sources subject to the P&R II                     include storage vessels in EtO service
                                                 organic HAP through a closed vent                       NESHAP comply with both the                           subject to 40 CFR 63.119(a)(5).
                                                 system to a control device (i.e., no                    equipment leak standards in the HON                      The EPA is finalizing the revisions to
                                                 releases to the atmosphere through a                    and the HAP emissions limitation for                  the work practice standard for planned
                                                 pressure vessel’s PRD).                                 process vents, storage tanks, and                     routine maintenance of storage vessels,
                                                    A requirement at 40 CFR 63.170(b)                    wastewater systems (i.e., we proposed                 as proposed, except that we are
                                                 (for HON) and 40 CFR 63.485(d) (for the                 that the alternative standard is no longer            clarifying in the final rule at 40 CFR
                                                 P&R I NESHAP) that owners and                           optional). For the P&R II NESHAP, we                  63.119(f)(3) that the 240-hour planned
                                                 operators of all surge control vessels and              also proposed to include valves in the                routine maintenance provisions also
                                                 bottoms receivers that emit greater than                definition of ‘‘equipment leaks’’ at 40               apply for breathing losses for fixed rood
                                                 or equal to 1.0 lb/hr of total organic                  CFR 63.522 such that owners and                       roof vessels routed to a fuel gas system
                                                 HAP would be required to reduce                         operators of an existing, new, or                     or to a process.
                                                 emissions of organic HAP using a flare                  reconstructed affected BLR or WSR                        The EPA is finalizing the
                                                 meeting the proposed operating and                      source would be required to comply                    requirements for pressure vessels, as
                                                 monitoring requirements for flares; or                  with the same LDAR program that                       proposed, except that we are: (1)
                                                 reduce emissions of total organic HAP                   already exists in the HON and the P&R                 Clarifying that the pressure vessel
                                                 or TOC by 98 percent by weight or to                    I NESHAP for valves that contain or                   requirements at 40 CFR 63.119(a)(7)
                                                 an exit concentration of 20 ppmv.                       contact material that is 5 percent by                 only apply to pressure vessels that are
                                                    Removing the exemption for transfer                  weight or more of organic HAP, operate                considered Group 1 storage vessels; (2)
                                                 operations that load ‘‘at an operating                  300 hours per year or more, and are not               clarifying that if the equipment is not a
                                                 pressure greater than 204.9 kilopascals’’               in vacuum service.                                    connector, gas/vapor or light liquid
                                                                                                            A requirement at 40 CFR 63.119(b)(7),              valve, light liquid pump, or PRD in EtO
                                                 from the definition of transfer operation
                                                                                                         that owners and operators that use a                  service and the equipment is on a
                                                 at 40 CFR 63.101 (for HON) such that
                                                                                                         sweep, purge, or inert blanket between                pressure vessel located at a HON or P&R
                                                 owners and operators would be required
                                                                                                         the IFR and fixed roof of a storage vessel            I facility, then that particular equipment
                                                 to equip each transfer rack with an
                                                                                                         would be required to route emissions                  is not subject to HON subpart H, but
                                                 operating pressure greater than 204.9
                                                                                                         through a closed vent system and
                                                 kilopascals with a vapor collection                                                                           rather the equipment is subject to the
                                                                                                         control device.
                                                 system and control device to reduce                                                                           pressure vessel requirements we
                                                                                                            We proposed that all of these
                                                 total organic HAP emissions by 98                       requirements (proposed for the purpose                proposed and are finalizing in 40 CFR
                                                 percent by weight or to an exit                         of addressing regulatory gaps) are                    63.119(a)(7); (3) clarifying that unsafe
                                                 concentration of 20 ppmv.                               consistent with CAA section 112(d)                    and difficult/inaccessible to monitor
                                                    Requirements at 40 CFR 63.523(d) (for                controls and reflect the MACT floor, and              provisions in 40 CFR 63.168(h) and (i)
                                                 BLR manufacturers subject to the P&R II                 we did not identify any additional                    (for valves in gas/vapor service and in
                                                 NESHAP) and 40 CFR 63.524(c) (for                       options beyond these (i.e., beyond-the-               light liquid service) and in 40 CFR
                                                 WSR manufacturers subject to the P&R                    floor options) for controlling emissions              63.174(f) and (h) (for connectors in gas/
                                                 II NESHAP) that owners and operators                    from these emission sources. More                     vapor service and in light liquid service)
                                                 of each affected source comply with the                 information concerning our proposed                   still apply to valves and connectors
                                                 requirements of 40 CFR 63.104 for heat                  requirements under CAA section                        when complying with 40 CFR
                                                 exchange systems, including quarterly                   112(d)(2) and (3) and 112(h) can be                   63.119(a)(7); and (4) replacing the word
                                                 monitoring for existing and new heat                    found in sections III.D and III.E of the              ‘‘deviation’’ with ‘‘violation’’ in the final
                                                 exchange systems (after an initial 6                    proposal preamble (88 FR 25080, April                 rule text at 40 CFR 63.119(a)(7).
                                                 months of monthly monitoring) using                     25, 2023).                                               The EPA is finalizing the
                                                 the Modified El Paso Method and a leak                                                                        requirements for surge control vessels
                                                 definition of 6.2 ppmv of total                         2. How did the revisions pursuant to                  and bottoms receivers, as proposed,
                                                 strippable hydrocarbon concentration                    CAA section 112(d)(2) and (3) and                     except that we are adding language in
                                                 (as methane) in the stripping gas. We                   112(h) change since proposal?                         the ‘‘C’’ and ‘‘Q’’ terms of the equations
                                                 also proposed at 40 CFR 63.104(j)(3) a                     The EPA is finalizing the work                     at 40 CFR 63.115(g)(3)(ii) and (g)(4)(iv)
                                                 delay of repair action level of total                   practice standard for storage vessel                  to allow the use of engineering
                                                 strippable hydrocarbon concentration                    degassing, as proposed, except that we                calculations to determine concentration
                                                 (as methane) in the stripping gas of 62                 are adding an option at 40 CFR                        or flow rate only in situations where
                                                 ppmv, that if exceeded during leak                      63.119(a)(6) to allow owners and                      measurements cannot be taken with
                                                 monitoring, would require immediate                     operators to degas a storage vessel to the            EPA reference methods. We are also
                                                 repair (i.e., the leak found cannot be put              atmosphere once a vapor space organic                 adding reference methods for measuring
                                                 on delay of repair and would be                         HAP concentration of less than 5,000                  flow rate at 40 CFR 63.115(g)(3)(ii) and
                                                 required to be repaired within 30 days                  ppmv as methane is met (in lieu of                    40 CFR 63.115(g)(4)(iv).
                                                 of the monitoring event). In addition, we               having to meet a vapor space                             Also, we are clarifying in the final
                                                 proposed at 40 CFR 63.104(h) and (i) re-                concentration threshold of less than 10               rule that the requirements for sweep,
                                                 monitoring at the monitoring location                   percent of the LEL). We are also                      purge, and inert blankets from IFRs at
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                                                 where a leak is identified to ensure that               correcting our use of the term ‘‘LEL’’                40 CFR 63.119(b)(7) applies only if a
                                                 any leaks found are fixed. Finally, we                  versus our use of the term                            continuous sweep, purge, or inert
                                                 proposed that none of these                             ‘‘concentration’’ in 40 CFR 63.119(a)(6)              blanket is used between the IFR and
                                                 requirements would apply to heat                        in that ‘‘the concentration’’ of the vapors           fixed roof that causes a pressure/
                                                 exchange systems that have a maximum                    in storage vessels be less than 10                    vacuum vent to remain continuously
                                                 cooling water flow rate of 10 gallons per               percent of the LEL and that owners and                open to the atmosphere where
                                                 minute or less.                                         operators are required to measure ‘‘the               uncontrolled emissions are greater than


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                                                 or equal to 1.0 lb/hr of total organic                  The commenter suggested that these                    be vented to the atmosphere once a
                                                 HAP.                                                    changes should be made to 40 CFR                      storage vessel degassing organic HAP
                                                                                                         63.113(k), 40 CFR 63.118(f) and (m), 40               concentration of 5,000 ppmv as methane
                                                 3. What key comments did we receive
                                                                                                         CFR 63.119(a)(6), 40 CFR 63.486(i), 40                is met, or until the vapor space
                                                 on the proposal revisions pursuant to
                                                                                                         CFR 63.491(h), and 40 CFR 63.492(g).                  concentration is less than 10 percent of
                                                 CAA section 112(d)(2) and (3) and
                                                                                                         The commenter provided an example                     the LEL. We stated in the preamble to
                                                 112(h), and what are our responses?
                                                                                                         saying that in proposed 40 CFR                        the proposed rule (88 FR 25080, April
                                                    This section provides summaries of                   63.119(a)(6), the second instance of                  25, 2023) that we are aware of three
                                                 and responses to the key comments                       ‘‘LEL’’ should be corrected to read ‘‘The             regulations regarding storage vessel
                                                 received regarding our proposed                         owner or operator must determine the                  degassing, two in the state of Texas and
                                                 revisions for periods of SSM, including                 concentration using process                           the third for the South Coast Air Quality
                                                 maintenance vents and equipment                         instrumentation or portable                           Management District (SCAQMD) in
                                                 openings, storage vessel degassing,                     measurement devices . . .’’.                          California. Texas has degassing
                                                 planned routine maintenance of storage                     Response: We agree with the                        provisions in the TAC and through
                                                 vessels, pressure vessels, surge control                commenters that our proposed use of                   permit conditions, while Rule 1149
                                                 vessels and bottoms receivers, and the                  the term LEL improperly implies that                  contains the SCAQMD degassing
                                                 requirements for sweep, purge, and inert                operators have the ability to change the              provisions. The TAC requirements are
                                                 blankets from IFRs. Other comment                       LEL of a vapor by purging or otherwise                the least stringent and require control of
                                                 summaries and the EPA’s responses for                   removing portions of the vapor from                   degassing emissions until the vapor
                                                 additional issues raised regarding these                equipment. In the final rule, we are                  space concentration is less than 35,000
                                                 activities, as well as issues raised                    revising 40 CFR 63.113(k)(1)(i) and (ii)              ppmv as methane or 50 percent of the
                                                 regarding our proposed revisions for                    and (k)(2), 40 CFR 63.119(a)(6), 40 CFR               LEL. The Texas permit conditions
                                                 flares, PRDs, bypass lines on closed vent               63.118(f)(9)(iii) and (m)(2), (3), and (5),           require control of degassing emissions
                                                 systems, emission limits for dioxins and                40 CFR 63.486(i)(1)(i) and (ii) and (i)(2),           until the vapor space concentration is
                                                 furans, transfer operations (for HON),                  40 CFR 63.491(h)(2), (3), and (5), and 40             less than 10 percent of the LEL or until
                                                 heat exchange systems (for the P&R II                   CFR 63.492(g)(3) to clarify that ‘‘the                the VOC concentration is less than
                                                 NESHAP), and equipment leaks (for the                   concentration’’ of the vapors in                      10,000 ppmv, and SCAQMD Rule 1149
                                                 P&R II NESHAP) can be found in the                      equipment and storage vessels be less                 requires control of degassing emissions
                                                 document titled Summary of Public                       than 10 percent of the LEL and that                   until the vapor space concentration is
                                                 Comments and Responses for New                          facilities are to measure ‘‘the                       less than 5,000 ppmv as methane. The
                                                 Source Performance Standards for the                    concentration’’ of the vapors as a                    Texas permit conditions requiring
                                                 Synthetic Organic Chemical                              percent of the LEL.                                   compliance with 10 percent of the LEL
                                                 Manufacturing Industry and National                                                                           and SCAQMD Rule 1149 control
                                                 Emission Standards for Hazardous Air                    b. Storage Vessel Degassing
                                                                                                                                                               requirements are considered equivalent
                                                 Pollutants for the Synthetic Organic                       Comment: Several commenters                        because 5,000 ppmv as methane equals
                                                 Chemical Manufacturing Industry and                     supported the proposed degassing                      10 percent of the LEL for methane.
                                                 Group I & II Polymers and Resins                        provisions at 40 CFR 63.119(a)(6).                       Comment: A commenter remarked
                                                 Industry, which is available in the                     However, some commenters requested                    that the work practice standard
                                                 docket for this rulemaking.                             the EPA also add a concentration limit                proposed in 40 CFR 63.119(a)(6) should
                                                                                                         as an alternative to LEL measurements.                not only apply to degassing Group 1
                                                 a. Maintenance Vents                                    The commenters explained that some                    storage vessels, but should also be
                                                    Comment: Commenters contended                        nonflammable chemicals do not exhibit                 applicable for degassing storage vessels
                                                 that the EPA misuses the term LEL for                   an LEL, or through the use of an inert                in EtO service. The commenter
                                                 the maintenance vents and storage                       blanket, the storage vessel atmosphere                explained that a storage vessel in EtO
                                                 vessel degassing provisions. A                          would not have an LEL, so owners and                  service (subject to 40 CFR 63.119(a)(5))
                                                 commenter said that the regulatory                      operators of storage vessels under these              may also need to be degassed during
                                                 language implies that operators have the                conditions would be unable to comply                  storage vessel shutdown operations, but
                                                 ability to change the LEL of a vapor by                 with the proposed 10 percent LEL                      the way the proposed language is
                                                 purging or otherwise removing portions                  threshold. These commenters requested                 currently written, the storage vessel
                                                 of the vapor from equipment. This                       that the EPA allow the storage vessel to              degassing provisions only apply to
                                                 commenter said that the concentration                   be opened after the vapor space organic               storage vessels subject to 40 CFR
                                                 of a flammable gas or mixture can be                    HAP content has been reduced below                    63.119(a)(1) and (a)(2). The commenter
                                                 lowered (e.g., by dilution or                           5,000 ppmv, based on the Agency’s                     requested the EPA amend the language
                                                 displacement) to a level that is less than              assertion that this level is equivalent to            in 40 CFR 63.119(a)(6) to include
                                                 the LEL; thus, they requested that the                  10 percent of the LEL. A commenter                    storage vessels in EtO service subject to
                                                 EPA clarify that concentration of the                   pointed out that 5,000 ppmv as methane                40 CFR 63.119(a)(5).
                                                 vapors in equipment be less than 10                     equals 10 percent of the LEL for                         Response: It was not our intent to
                                                 percent of the LEL and that facilities are              methane.                                              exclude storage vessels in EtO service
                                                 to measure the vapor concentration, not                    Response: We agree with commenters                 from the work practice standard in 40
                                                 the LEL. Similarly, another commenter                   that some nonflammable chemicals do                   CFR 63.119(a)(6); therefore, we are
                                                 requested that the EPA clarify that the                 not exhibit an LEL, or through the use                revising the final rule at 40 CFR
                                                 concentration of the vapors in                          of an inert blanket, the storage vessel
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                                                                                                                                                               63.119(a)(6) to include storage vessels in
                                                 equipment and storage vessels be less                   atmosphere would not have an LEL, so                  EtO service subject to 40 CFR
                                                 than 10 percent of the LEL and that                     owners and operators of storage vessels               63.119(a)(5). However, owners and
                                                 facilities are to measure the                           under these conditions would be unable                operators are still prohibited from
                                                 concentration of the vapors as a percent                to comply with the proposed 10 percent                releasing more than 1.0 ton of EtO from
                                                 of the LEL (i.e., with a hand-held                      LEL threshold. Therefore, we are                      all maintenance vents combined in any
                                                 analyzer that reports concentration as a                revising the final rule at 40 CFR                     consecutive 12-month period at 40 CFR
                                                 percent of LEL, and not the LEL itself).                63.119(a)(6) to allow storage vessels to              63.113(k)(4). In other words, we still


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                                                 consider degassing a storage vessel a                   accordance with the schedule specified                will need to be evaluated before routing
                                                 type of maintenance vent. As stated in                  in 40 CFR 63.100(k)(10), and to include               PRDs associated with specific pressure
                                                 the final rule (as proposed), an owner or               a new paragraph at § 63.119(f)(3)(iv). We             vessels to a collection system and
                                                 operator may designate any vent stream                  are also revising the final rule at 40 CFR            control device, such as the potential for
                                                 as a maintenance vent if the vent is only               63.123(h)(3) to reference                             back-pressure on the collection header if
                                                 used as a result of startup, shutdown,                  ‘‘§ 63.119(f)(3)(iv)’’ instead of                     multiple pressure vessels are included,
                                                 maintenance, or inspection of                           ‘‘§ 63.119(f)(3)(iii).’’ Additionally, we             and the potential for rapidly changing
                                                 equipment where equipment is emptied,                   are revising 40 CFR 63.100(k)(10) to                  pressures and temperatures that may
                                                 depressurized, degassed, or placed into                 reference ‘‘§ 63.119(f)(3)(iv)’’ as well as           warrant special designs for the
                                                 service.                                                the introductory text in 40 CFR                       collection header and emission control
                                                                                                         63.119(f)(3) to properly reference the                equipment.
                                                 c. Planned Routine Maintenance for                                                                               Response: It was our intent that if the
                                                                                                         new paragraph at ‘‘§ 63.119(f)(3)(iv).’’
                                                 Storage Vessels                                                                                               equipment is not a connector, gas/vapor
                                                                                                         The new paragraph at 40 CFR
                                                    Comment: A commenter said they                       63.119(f)(3)(iv) reads: ‘‘For each source             or light liquid valve, light liquid pump,
                                                 supported the proposed work practice                    as defined in § 63.101, beginning no                  or PRD in EtO service and the
                                                 standard for periods of planned routine                 later than the compliance dates                       equipment is on a pressure vessel
                                                 maintenance for storage vessels                         specified in § 63.100(k)(10), paragraph               located at a HON or P&R I facility, then
                                                 including the proposed requirement that                 (f)(3)(iii) of this section no longer                 that particular equipment is not subject
                                                 owners and operators would not be                       applies. Instead, if you elect to route               to HON subpart H, but rather the
                                                 permitted to fill storage vessels during                emissions from storage vessels to a fuel              equipment is subject to the pressure
                                                 these periods. However, another                         gas system or to a process to comply                  vessel requirements we proposed and
                                                 commenter pointed out that the 240-                     with the requirements of paragraph                    are finalizing in 40 CFR 63.119(a)(7).
                                                 hour planned routine maintenance                        (a)(1), (a)(2), or (a)(5) of this section, the        Connectors, gas/vapor or light liquid
                                                 provisions at 40 CFR 63.119(f)(3) (for                  fuel gas system or process may only be                valves, light liquid pumps, and PRDs in
                                                 fixed rood roof vessels routed to a fuel                bypassed when the planned routine                     EtO service located on a pressure vessel
                                                 gas system or to a process) is                          maintenance cannot be performed                       at a HON facility are still subject to
                                                 inconsistent with the parallel                          during periods that storage vessel                    HON subpart H; and we are clarifying
                                                 requirement at 40 CFR 63.119(e)(7) for                  emissions are vented to the fuel gas                  this in the final rule at 40 CFR
                                                 fixed rood roof vessels routed to a                     system or process, and the total                      63.119(a)(7). As we stated in the
                                                 control device. The commenter                           aggregate amount of time during which                 preamble to the proposed rule (88 FR
                                                 requested the EPA make 40 CFR                           the breathing loss emissions bypass the               25080, April 25, 2023), the LDAR
                                                 63.119(f)(3)(iii) no longer apply on or                 fuel gas system or process during the                 requirements at 40 CFR 63.119(a)(7) (for
                                                 after the compliance dates specified in                 calendar year without being routed to a               HON) and 40 CFR 63.484(t) (for the P&R
                                                 40 CFR 63.100(k)(10) and allow for, in                  control device must not exceed 240                    I NESHAP) are based on similar no-
                                                 a new paragraph at 40 CFR                               hours. The level of material in the                   detectable emission requirements
                                                 63.119(f)(3)(iv), the 240-hour planned                  storage vessel shall not be increased                 required for closed vent systems in most
                                                 routine maintenance provisions for                      during periods that the fuel gas system               chemical sector NESHAP. The intent of
                                                 breathing losses for fixed rood roof                    or process is bypassed to perform                     this language is to impose a standard
                                                 vessels routed to a fuel gas system or to               routine maintenance.’’                                that requires no detectable emissions at
                                                 a process. Citing page 25161 of the                                                                           all times (i.e., would be required to meet
                                                 preamble to the proposed rule (88 FR                    d. Pressure Vessels                                   a leak definition of 500 ppm at each
                                                 25080, April 25, 2023), the commenter                      Comment: Some commenters                           point on the pressure vessel where total
                                                 contended that this recommended                         requested that the EPA clarify what is                organic HAP could potentially be
                                                 change for fixed rood roof vessels routed               meant by the requirement to monitor                   emitted); require initial and annual leak
                                                 to a fuel gas system or to a process                    ‘‘each point on a pressure vessel at                  monitoring using EPA Method 21; and
                                                 would be consistent with the proposed                   § 63.119(a)(7)(ii).’’ These commenters                require routing organic HAP through a
                                                 rule text at 40 CFR 63.119(e)(7) for fixed              contested that components such as                     closed vent system to a control device
                                                 rood roof vessels routed to a control                   valves, pumps, and flanges servicing a                (i.e., no releases to the atmosphere
                                                 device. The commenter added that their                  pressure vessel and that are already                  through a pressure vessel’s PRD). Most
                                                 recommendation is also similar to the                   subject to LDAR program requirements                  pressure vessels have relief devices that
                                                 approach that the EPA used in the                       should be excluded from these                         allow for venting when pressure
                                                 Organic Liquids Distribution MACT                       provisions.                                           exceeds setpoints. There are also
                                                 (NESHAP subpart EEEE) under 40 CFR                         A commenter added that PRDs                        instances where other components in
                                                 63.2378(d) and (e)(4). The commenter                    associated with pressure vessels should               pressure systems may allow for fugitive
                                                 pointed out that the associated                         be eligible to comply with the EPA’s                  releases because of leaks from fittings or
                                                 recordkeeping requirement in 40 CFR                     proposed PRD work practice standards                  cooling systems.
                                                 63.123(h) would also need to be                         in 40 CFR 63.165(e) and a release of                     We note that our use of the term
                                                 amended slightly to reference the new                   total organic HAP to the atmosphere                   ‘‘deviation’’ in the preamble to the
                                                 recommended paragraph at 40 CFR                         through a pressure vessel’s PRD should                proposed rule and in 40 CFR
                                                 63.119(f)(3)(iv).                                       not be considered a deviation per 40                  63.119(a)(7) was an error. While the
                                                    Response: We agree with the                          CFR 63.119(a)(7)(v). The commenter                    MON rule text uses the MON-defined
                                                 commenter that the 240-hour planned                     explained that PRDs associated with
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                                                                                                                                                               term ‘‘deviation’’ to describe emissions
                                                 routine maintenance provisions should                   larger pressure vessels, such a pressure              events, the current HON rule text uses
                                                 apply for breathing losses for fixed rood               sphere, are typically designed for very               the term ‘‘violation.’’ There are no uses
                                                 roof vessels routed to a fuel gas system                rare scenarios like a fire protection case,           of the term ‘‘deviation’’ to describe an
                                                 or to a process given this would parallel               and thus venting flammable vapors                     emissions event in the current HON rule
                                                 the requirement at 40 CFR 63.119(e)(7).                 vertically upward to the atmosphere is                text, nor any definition of that term in
                                                 Therefore, we are revising the final rule               a safety feature. The commenter said                  the HON. Therefore, given that we are
                                                 to sunset 40 CFR 63.119(f)(3)(iii) in                   that many engineering design issues                   building off the existing HON standards,


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                                                 we believe it is more appropriate to                    in the final rule at 40 CFR                              Response: As we stated in the
                                                 continue to use the term ‘‘violation’’ (in              63.119(a)(7)(ii).                                     preamble to the proposed rule (88 FR
                                                 lieu of the undefined term ‘‘deviation’’)                  Comment: A commenter pointed out                   25080, April 25, 2023), emissions from
                                                 in all of the HON rule text. We have                    that the proposed pressure vessel                     surge control vessels and bottoms
                                                 replaced ‘‘deviation’’ with ‘‘violation’’               requirements in 40 CFR 63.119(a)(7)                   receivers are characteristic of process
                                                 in the final rule text at 40 CFR                        appear to apply to any pressure vessel                vents, not emissions from storage
                                                 63.119(a)(7).                                           to which NESHAP subpart G applies.                    vessels. Our rationale for making this
                                                    Comment: Some commenters                             The commenter argued that these                       determination is that these vessels
                                                 contended that the pressure vessel                      requirements should only apply to                     operate at process temperatures, not
                                                 monitoring provisions in 40 CFR                         Group 1 storage vessels that are pressure             ambient storage temperatures; typically
                                                 63.119(a)(7) are not feasible for some                  vessels. The commenter explained that                 do not undergo level changes that larger
                                                 tanks because the pressure vessel is not                with the removal of the pressure vessel               storage vessels undergo; and are most
                                                 accessible to monitoring personnel. The                 exclusion from the storage vessel                     often operated under pressure with and
                                                 commenter explained that some                           definition in 40 CFR 63.101 and the                   without non-condensable gases flowing
                                                 pressure vessels that store regulated                   addition of the pressure vessel                       into and out of them. The size of these
                                                 chemicals are located inside                            requirements in 40 CFR 63.119(a)(7), the              vessels is also typically not correlated
                                                 containment areas or are partially                      EPA may have inadvertently applied the                with emissions, as are storage vessels.
                                                 buried such that monitoring of the                      proposed pressure vessel requirements                 The 1.0 lb/hr total organic HAP
                                                 vessel surface per EPA Method 21 is not                 to all pressure vessels, regardless of                threshold is based on any continuous
                                                 possible. The commenter added that                      whether the pressure vessel is Group 1                emissions that exceed the 1.0 lb/hr
                                                 some pressure vessels are double walled                 or Group 2 or whether the storage vessel              emission standard. This is true for all
                                                 tanks designed such that there is an                    is exempt for another reason. The                     Group 1 process vents. We are finalizing
                                                 additional external shell outside of the                commenter contended that there is no                  this threshold as proposed given that we
                                                 pressure vessel shell (i.e., a tank within              reason that a Group 2 storage vessel (i.e.,           found this threshold to be cost-effective
                                                 a tank shell). The commenter suggested:                 one not requiring control) or any other               for process vents (see our response to
                                                 (1) Pressure monitoring of the gas space                vessel that meets an exclusion in the                 comments in section IV.B.3.a.i of this
                                                 (typically nitrogen) between the                        storage vessel definition should be                   preamble for further details).
                                                 pressure vessel wall and the second                     subject to the proposed operating                        Comment: A commenter requested
                                                                                                         standards for pressure vessels in 40 CFR              that the EPA provide the option to use
                                                 exterior wall be conducted to detect a
                                                                                                         63.119(a)(7).                                         engineering calculations if
                                                 potential leak, and if a pressure increase
                                                                                                            Response: We agree with the                        measurements cannot be made using
                                                 occurs, then the owner or operator                      commenter that 40 CFR 63.119(a)(7)                    EPA reference methods to determine
                                                 should be allowed to follow a work                      should only apply to pressure vessels                 whether surge control vessels and
                                                 practice that requires that the leak be                 that are considered Group 1 storage                   bottoms receivers are required to be
                                                 repaired as soon as practical; and (2) for              vessels (as defined in Table 5 to                     controlled. The commenter said that the
                                                 situations where a pressure vessel is                   NESHAP subpart G for existing sources                 vents from surge control vessels and
                                                 located inside a containment area or                    and Table 6 to NESHAP subpart G for                   bottoms receivers are configured more
                                                 partially buried, the owner or operator                 new sources). Given that we removed                   like small tanks than process vents and
                                                 should only be required to conduct EPA                  the exemption for ‘‘pressure vessels                  that these vents could be configured in
                                                 Method 21 monitoring on potential leak                  designed to operate in excess of 204.9                a variety of ways. The commenter
                                                 sources that are accessible and are not                 kilopascals and without emissions to                  provided an example where the vent
                                                 unsafe-to-monitor. The commenter                        the atmosphere’’ from the definition of               may be configured as a pressure/
                                                 provided suggested rule text edits in                   storage vessel in the final rule, all                 vacuum vent for which venting occurs
                                                 order to accommodate this request.                      pressure vessels (not just pressure                   on an intermittent basis, making it
                                                 Similarly, another commenter suggested                  vessels operating less than or equal to               difficult to measure volumetric flow rate
                                                 the EPA incorporate ‘‘unsafe-to-                        204.9 kilopascals) are now considered                 since the measurements are not made
                                                 monitor’’ and ‘‘inaccessible’’ provisions               storage vessels in the HON. For this                  from a straight discharge pipe where the
                                                 at 40 CFR 63.119(a)(7) similar to those                 reason, we are clarifying in the final rule           flow measurement device (e.g., a pitot
                                                 in other sections of NESHAP subpart H                   that ‘‘for each pressure vessel as defined            tube) can be inserted.
                                                 and in NESHAP subpart UU because                        in § 63.101 that is considered a Group                   Response: The EPA agrees with the
                                                 some pressure vessels are located in                    1 storage vessel (as defined in Table 5               commenter that in certain situations, as
                                                 concrete containment areas, are partially               of this subpart for existing sources and              a result of how surge vessels and
                                                 buried, or are otherwise inaccessible for               Table 6 of the subpart for new sources),              bottoms receivers are configured, taking
                                                 safety purposes. This commenter                         you must operate and maintain the                     measurements utilizing EPA reference
                                                 pointed out that the EPA did not                        pressure vessel’’ as specified in                     methods may not be possible. As a
                                                 consider costs for facilities to relocate or            paragraphs 40 CFR 63.119(a)(7)(i)                     result, we are finalizing language in the
                                                 install new pressure vessels to make                    through (v).                                          ‘‘C’’ and ‘‘Q’’ terms of the equations at
                                                 them accessible in order to comply with                                                                       40 CFR 63.115(g)(3)(ii) and (g)(4)(iv)
                                                 the proposed requirements.                              e. Surge Control Vessels and Bottoms                  allowing the use of engineering
                                                    Response: It was our intent that                     Receivers                                             calculations to determine concentration
                                                 unsafe and difficult/inaccessible to                       Comment: A commenter requested                     or flow rate only in situations where
                                                 monitor provisions in 40 CFR 63.168(h)                  that the EPA clarify whether the
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                                                                                                                                                               measurements cannot be taken with
                                                 and (i) (for valves in gas/vapor service                proposed threshold criteria for                       EPA reference methods. We anticipate
                                                 and in light liquid service) and in 40                  controlling surge control vessels and                 that in most situations, as evidenced by
                                                 CFR 63.174(f) and (h) (for connectors in                bottoms receivers (i.e., the 1.0 lb/hr total          one facility’s responses to the CAA
                                                 gas/vapor service and in light liquid                   organic HAP threshold) is on an annual                section 114 request, facilities will be
                                                 service) still apply to valves and                      average basis or based on any                         able to take measurements from surge
                                                 connectors when complying with 40                       intermittent emissions that exceed the                vessels and bottoms receivers as if they
                                                 CFR 63.119(a)(7). We are clarifying this                1.0 lb/hr emission standard.                          were process vents. In addition, the EPA


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                                                 notes that while the commenter                          the commenters requested that the EPA                  closed vent system and control device to
                                                 expressed concern about measuring                       also consider the secondary emissions                  reduce inlet emissions of total organic
                                                 flow rate, the proposed reference                       (i.e., CO, NOX, and CO2) that would                    HAP by 95 percent or greater, or reduce
                                                 methods (EPA Method 25A or EPA                          result from the additional fuel required               organic HAP by utilizing a fixed roof
                                                 Method 18) are utilized to measure                      to treat a stream largely comprised of                 and IFR, an EFR, an EFR converted to
                                                 concentration. Given it was the EPA’s                   inert gas. A commenter said that adding                an IFR, route the emissions to a process
                                                 intent to provide methodology for                       downstream abatement measures to IFR                   or a fuel gas system, or vapor balance).
                                                 measuring both flow rate and                            vessels will require significant                       As such, the use of a floating roof that
                                                 concentration as part of the proposal,                  structural foundations to and from, or                 meets the requirements in 40 CFR
                                                 we are adding reference methods for                     between, as applicable, emission                       63.119(b) is one of the control options
                                                 measuring flow rate at 40 CFR                           sources, air abatement controls, utilities,            owners or operators may choose for
                                                 63.115(g)(3)(ii) and 40 CFR                             and control systems for tanks already                  control of emissions during normal
                                                 63.115(g)(4)(iv) by adding the following                located at relatively remote locations,                storage vessel operations.
                                                 text to the definition of, Q, the flow rate             making them more costly than                              Section 7.1 of the EPA’s AP–42, Fifth
                                                 term to remedy the lack of clarity:                     otherwise similar ancillary equipment at               Edition suggests a default reduction of
                                                 ‘‘determined using Method 2, 2A, 2C, or                 locations closer to manufacturing                      5 percent on total estimated emissions
                                                 2D of 40 CFR part 60, appendix A, as                    operations. Finally, the commenter                     to account for the use of closed vents on
                                                 appropriate.’’                                          requested that the EPA clarify whether                 an IFR. This recommendation is based
                                                                                                         the proposed requirements apply to all                 on API Technical Report 2569 which we
                                                 f. Control of Sweep, Purge, and Inert                                                                          have determined assumes gas blanketing
                                                                                                         vessels with a sweep, purge, or blanket,
                                                 Blankets From IFRs                                                                                             or another method is used (for IFR
                                                                                                         or only a subset, as vessels with IFRs are
                                                    Comment: Several commenters                          generally not designed to hold pressure,               vessels vented only through a pressure/
                                                 objected to the proposed requirements                   and would need to vent to avoid                        vacuum vent in the fixed roof) to
                                                 at 40 CFR 63.119(b)(7) that would                       negative pressure. The commenter                       prevent the development of a
                                                 require owners and operators that use                   added that the space between the IFR                   combustible gas mixture within the
                                                 sweep, purge, or inert blankets between                 and the fixed roof must vent somewhere                 vessel. However, we believe that neither
                                                 the IFR and fixed roof of storage vessels               when the vessel is being filled and                    AP–42 or API Technical Report 2569
                                                 to route emissions through a closed vent                conversely there must be a mechanism                   addresses the scenario where the use of
                                                 system and control device. Some                         to avoid a vacuum in the tank when the                 a sweep, purge, or inert blanket between
                                                 commenters explained that the EPA did                   vessel is being emptied to prevent a tank              the IFR and fixed roof would cause a
                                                 not consider the cost-effectiveness of                  failure.                                               pressure/vacuum vent to remain
                                                 controls under CAA section 112(d)(2)                       Response: Installing a floating roof                continuously open to the atmosphere;
                                                 when considering this proposal. A                       minimizes evaporative losses of the                    and this scenario was certainly not
                                                 commenter said that most IFR storage                    stored liquid. Both contact and                        considered during the development of
                                                 vessels are equipped with a sweep,                      noncontact decks incorporate rim seals                 the HON MACT standard for storage
                                                 purge, or blanket and the proposed                      and deck fittings to reduce evaporative                vessels. A pressure/vacuum vent that
                                                 requirements would render these                         loss of the stored liquid. Evaporative                 remains continuously open to the
                                                 storage vessels obsolete, given that                    losses from floating roofs may come                    atmosphere while using a sweep, purge,
                                                 facilities could remove the IFR and                     from deck fittings, nonwelded deck                     or inert blanket between the IFR and
                                                 route all emissions to a control device                 seams, and the annular space between                   fixed roof is effectively a continuous
                                                 while remaining in compliance with the                  the deck and vessel wall. In addition,                 process vent.
                                                 rule. The commenter acknowledged that                   IFRs are freely vented by circulation                     We note that in a 2021 site-specific
                                                 a continuous purge of an inert blanket                  vents at the top of the fixed roof. The                monitoring plan submitted to the EPA
                                                 will result in higher emissions from an                 vents minimize the possibility of                      for approval for fenceline monitoring at
                                                 IFR than no purge; however, the                         organic vapor accumulation in the tank                 a refinery located in Corpus Christi,
                                                 commenter added that IFR storage                        vapor space in concentrations                          Texas (see Site-Specific Benzene
                                                 vessels are normally not designed to                    approaching the flammable range. An                    Fenceline Monitoring Plan Corpus
                                                 hold pressure, and the space between                    IFR vessel not freely vented is                        Christi Refinery East Plant Revision 2,
                                                 the IFR and the fixed roof must vent                    considered an IFR vessel with a closed                 CITGO Petroleum Corporation,
                                                 somewhere when the vessel is being                      vent system. Sections 7.1.3 and 7.1.3.8.2              December 1, 2021, which is available in
                                                 filled, and conversely there must be a                  of EPA’s AP–42, Fifth Edition,59 provide               the docket for this rulemaking), the
                                                 mechanism to avoid a vacuum in the                      emission estimation methods for freely                 company identified a slow rise in
                                                 vessel when the vessel is being emptied                 vented IFR vessels and IFR vessels                     benzene concentration over the course
                                                 to prevent a vessel failure. To support                 vented only through a pressure/vacuum                  of about a year. During this period, the
                                                 their objection to the proposed                         vent in the fixed roof (i.e., no open                  company said they investigated the area
                                                 requirements at 40 CFR 63.119(b)(7), the                vents), respectively.                                  for potential sources of the elevated
                                                 commenter provided a cost analysis for                     The HON allows owners or operators                  benzene concentrations and completed
                                                 this level of control that resulted in                  to choose from different options to                    a root cause analysis that identified a
                                                 emissions reductions of 0.1 lb/hr of                    control emissions from storage vessels                 HON IFR storage vessel as the primary
                                                 HAP per vessel, which they estimated                    and comply with the MACT standards                     cause. The particular HON IFR storage
                                                 would cost $190,000/yr to control and                   (i.e., owners and operators can use a                  vessel uses a nitrogen blanket between
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                                                 would not be cost-effective. Other                                                                             the IFR and the fixed roof to protect the
                                                 commenters agreed with this cost                          59 Compilation of Air Pollutant Emission Factors.    storage contents from being
                                                 analysis and stated the cost would not                  Volume 1: Stationary Point and Area Sources. AP–       contaminated with oxygen. During the
                                                 justify the additional amount of                        42, Fifth Edition. Chapter 7: Liquid Storage Tanks.    investigation, the company found that
                                                 emissions reductions. These                             Office of Air Quality Planning and Standards,          the nitrogen regulator was
                                                                                                         Research Triangle Park, NC. See https://
                                                 commenters suggested the EPA revise                     www.epa.gov/air-emissions-factors-and-
                                                                                                                                                                malfunctioning which increased the
                                                 their analysis, and if the proposed level               quantification/ap-42-fifth-edition-volume-i-chapter-   pressure within the tank and ultimately
                                                 of control was found to be cost-effective,              7-liquid-storage-0.                                    released emissions to the atmosphere


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                                                 (due to a small operating set point range               clarifications for periods of SSM and                 vents and equipment openings, storage
                                                 for the nitrogen regulator and relief                   bypasses, including PRDs, bypass lines                vessel degassing, emission limits for
                                                 vent). Ultimately, the company                          on closed vent systems, and planned                   dioxins and furans, pressure vessels,
                                                 addressed the elevated benzene                          routine maintenance of storage vessels,               surge control vessels and bottoms
                                                 concentrations by replacing the nitrogen                and requirements for maintenance vents                receivers, sweep, purge, and inert
                                                 regulator on the HON IFR storage vessel                 and equipment openings, storage vessel                blankets from IFRs, transfer operations
                                                 and routing the emissions to a liquid                   degassing, emission limits for dioxins                (for HON), heat exchange systems (for
                                                 scrubber, carbon absorption system, and                 and furans, pressure vessels, surge                   the P&R II NESHAP), and equipment
                                                 a vapor combustion unit. We have also                   control vessels and bottoms receivers,                leaks (for the P&R II NESHAP).
                                                 seen other companies acknowledge                        sweep, purge, and inert blankets from
                                                 similar fenceline monitoring scenarios                                                                        D. Amendments Addressing Emissions
                                                                                                         IFRs, transfer operations (for HON), heat             During Periods of SSM
                                                 where HON IFR storage vessels (with                     exchange systems (for the P&R II
                                                 sweep, purge, or inert blanket between                  NESHAP), and equipment leaks (for the                 1. What amendments did we propose to
                                                 the IFR and the fixed roof of the vessel)               P&R II NESHAP). For the reasons                       address emissions during periods of
                                                 are contributing to elevated benzene                    explained in section III.D of the                     SSM?
                                                 concentrations (see Site Specific                       proposal preamble (88 FR 25080, April                    We proposed amendments to the
                                                 Monitoring Plan, ExxonMobil Baton                       25, 2023), we find that the flare                     HON and the P&R I and P&R II NESHAP
                                                 Rouge Refinery, September 27, 2019,                     amendments are needed to ensure that                  to remove and revise provisions related
                                                 which is available in the docket for this               flares used as APCDs achieve the                      to startup, shutdown, and maintenance
                                                 rulemaking).                                            required level of MACT control and
                                                    As such, we believe the use of a                                                                           (SSM) that are not consistent with the
                                                                                                         meet 98-percent destruction efficiency                requirement that the standards apply at
                                                 sweep, purge, or inert blanket between
                                                                                                         at all times as well as to ensure that                all times. In a few instances, we are
                                                 the IFR and fixed roof that would cause
                                                                                                         CAA section 112 standards apply at all                finalizing alternative standards for
                                                 a pressure/vacuum vent to remain
                                                                                                         times. Similarly, the clarifications for              certain emission points (i.e., emergency
                                                 continuously open to the atmosphere is
                                                                                                         periods of SSM and bypasses, including                flaring, PRDs, maintenance activities,
                                                 a regulatory gap. Given that continuous
                                                                                                         PRDs, bypass lines on closed vent                     and tank degassing) to minimize
                                                 sweeping, purging, or blanketing
                                                                                                         systems, and planned routine                          emissions during periods of SSM to
                                                 between the IFR and the fixed roof of
                                                                                                         maintenance of storage vessels, and                   ensure a continuous CAA section 112
                                                 the vessel effectively creates a
                                                 continuous process vent, we proposed                    requirements for maintenance vents and                standard applies ‘‘at all times’’ (see
                                                 to address this regulatory gap pursuant                 equipment openings, storage vessel                    section IV.C of this preamble); however
                                                 to CAA section 112(d)(2) and (3), by                    degassing, emission limits for dioxins                for the majority of emission points in
                                                 requiring owners and operators that use                 and furans, pressure vessels, surge                   the SOCMI, P&R I, and P&R II source
                                                 a sweep, purge, or inert blanket between                control vessels and bottoms receivers,                categories, we proposed eliminating the
                                                 the IFR and fixed roof of a storage vessel              sweep, purge, and inert blankets from                 SSM exemptions and to have the
                                                 to route emissions through a closed vent                IFRs, transfer operations (for HON), heat             emission standards apply at all times.
                                                 system and control device (see 40 CFR                   exchange systems (for the P&R II                      We note that on April 21, 2011 (see 77
                                                 63.119(b)(7)). In light of the comments                 NESHAP), and equipment leaks (for the                 FR 22566), the EPA finalized
                                                 received, we are clarifying in the final                P&R II NESHAP) are needed to be                       amendments to eliminate the SSM
                                                 rule at 40 CFR 63.119(b)(7) that owners                 consistent with Sierra Club v. EPA, 551               exemption in the P&R I NESHAP;
                                                 and operators must route emissions                      F.3d 1019 (D.C. Cir. 2008) to ensure that             however, for consistency with the SSM
                                                 through a closed vent system and                        CAA section 112 standards apply at all                related amendments that we proposed
                                                 control device if they use a continuous                 times. More information and rationale                 for the HON and P&R II NESHAP, we
                                                 sweep, purge, or inert blanket between                  concerning all the amendments we are                  also proposed additional amendments
                                                 the IFR and fixed roof that causes a                    finalizing pursuant to CAA sections                   to the P&R I NESHAP related to the SSM
                                                 pressure/vacuum vent to remain                          112(d)(2) and (3) is in the preamble to               exemption that were not addressed in
                                                 continuously open to the atmosphere                     the proposed rule (88 FR 25080, April                 the April 21, 2011, P&R I rule. More
                                                 where uncontrolled emissions are                        25, 2023), in section IV.C.3 of this                  information concerning the elimination
                                                 greater than or equal to 1.0 lb/hr of total             preamble, and in the comments and our                 of SSM provisions is in section III.E.1 of
                                                 organic HAP. This threshold is                          specific responses to the comments in                 the proposal preamble (88 FR 25080,
                                                 consistent with the definition we                       the document titled Summary of Public                 April 25, 2023).
                                                 proposed and are finalizing for Group 1                 Comments and Responses for New                           We also proposed to remove the
                                                 process vents. These requirements are                   Source Performance Standards for the                  affirmative defense provisions at 40 CFR
                                                 consistent with CAA section 112(d)                      Synthetic Organic Chemical                            63.480(j)(4) (for the P&R I NESHAP) to
                                                 controls and reflect the MACT floor.                    Manufacturing Industry and National                   comply with the holding in NRDC v.
                                                 With regard to cost, the MACT floor is                  Emission Standards for Hazardous Air                  EPA, 749 F.3d 1055 (D.C. Cir., 2014).
                                                 the minimum control level allowed for                   Pollutants for the Synthetic Organic                  More information concerning the
                                                 MACT standards promulgated under                        Chemical Manufacturing Industry and                   removal of the affirmative defense
                                                 CAA section 112(d)(3), not CAA section                  Group I & II Polymers and Resins                      provisions is in section III.E.2 of the
                                                 112(d)(2), and may not be based on cost                 Industry, which is available in the                   proposal preamble (88 FR 25080, April
                                                 considerations.                                         docket for this rulemaking. Therefore,                25, 2023).
                                                                                                         we are finalizing the proposed                           We proposed standards in the NSPS
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                                                 4. What is the rationale for our final                  provisions for flares, finalizing the                 subparts VVb, IIIa, NNNa, and RRRa
                                                 approach and final decisions for the                    proposed clarifications for periods of                that apply at all times. For NSPS VVb,
                                                 revisions pursuant to CAA section                       SSM and bypasses, including PRD                       we proposed that the work practice
                                                 112(d)(2) and (3)?                                      releases, bypass lines on closed vent                 standards will apply at all times,
                                                    We evaluated all of the comments on                  systems, and planned routine                          including during SSM. For NSPS
                                                 the EPA’s proposed amendments to                        maintenance of storage vessels, and                   subparts IIIa, NNNa, and RRRa, we
                                                 revisions for flares used as APCDs,                     finalizing standards for maintenance                  proposed performance standards and


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                                                 work practice standards that will apply                 Industry, which is available in the                   each of which the D.C. Circuit has found
                                                 during periods of startup and shutdown                  docket for this rulemaking.                           unlawful under CAA sections 302(k),
                                                 (including when maintenance and                            Comment: Several commenters                        304, 113, 112(d), and 112(f).
                                                 inspection activities are being                         generally supported removal of the SSM                   • the EPA’s creation of these
                                                 conducted). Although the NSPS general                   exemptions in the rules given it is                   exemptions (at 40 CFR 63.165(e)(3)(v)(B)
                                                 provisions in 40 CFR 60.8(c) contain an                 consistent with Sierra Club v. EPA, 551               and (C) and 40 CFR 63.670(o)(7)(ii) and
                                                 exemption from non-opacity standards,                   F.3d 1019, 1028 (D.C. Cir. 2008). A                   (iv)) runs directly contrary to its own
                                                 we proposed in NSPS subparts IIIa,                      commenter said that they agreed with                  recognition in prior administrative
                                                 NNNa, and RRRa specific requirements                    the approach the EPA has taken to                     practice citing the EPA’s brief defending
                                                 at 40 CFR 40 CFR 60.612a, 40 CFR                        amend language throughout the HON to                  the boiler rule.
                                                 60.662a, and 40 CFR 60.702a,                            indicate which paragraphs or phrases no                  • even though the EPA included
                                                 respectively, that override the general                 longer apply as a result of the proposed              reporting and root cause analysis
                                                 provisions for SSM. Accordingly, we                     SSM revisions.                                        requirements, the work practice
                                                 proposed NSPS subparts VVb, IIIa,                          Other commenters suggested that the                standards still constitute a total
                                                 NNNa, and RRRa would include                            EPA also close proposed loopholes for                 exemption from the core requirements
                                                 standards that apply at all times,                      releases from PRDs at 40 CFR                          for PRDs and flares during malfunctions
                                                 including during periods of startup and                 63.165(e)(3)(v)(B) and (C) and smoking                of unlimited HAP release in amount and
                                                 shutdown.                                               flares at 40 CFR 63.670(o)(7)(ii) and (iv)            duration (in other words, there is no
                                                                                                         during malfunctions. Some of these                    limit on the amount of HAPs emitted
                                                 2. How did the SSM provisions change                    commenters said that according to
                                                 since proposal?                                                                                               that applies during those releases
                                                                                                         facilities’ self-reported data, SSM                   allowed at 40 CFR 63.165(e)(3)(v)(B) and
                                                                                                         emissions are often of the same                       (C) and 40 CFR 63.670(o)(7)(ii) and (iv));
                                                   We are finalizing the SSM provisions
                                                                                                         magnitude as the facilities’ reported                 and the EPA attempted to justify its
                                                 as proposed. We are also finalizing, as
                                                                                                         routine emissions, and SSM emissions                  original SSM exemption on similar
                                                 proposed, the removal of the provisions
                                                                                                         tend to spike during severe weather
                                                 to assert an affirmative defense to civil                                                                     grounds in Sierra Club v. EPA, 551 F.3d
                                                                                                         events. A commenter pointed out
                                                 penalties in the P&R I NESHAP at 40                                                                           1019, 1028 (D.C. Cir. 2008), stating that
                                                                                                         specific reportable quantities of
                                                 CFR 63.480(j)(4). See 88 FR 25080, April                                                                      reporting and other requirements still
                                                                                                         emissions resulting from unplanned
                                                 25, 2023.                                                                                                     applied, but that argument failed.
                                                                                                         emissions events and planned SSM
                                                                                                                                                                  • the PRD and flare loopholes (at 40
                                                 3. What key comments did we receive                     activities via the State of Texas
                                                                                                         Environmental Electronic Reporting                    CFR 63.165(e)(3)(v)(B) and (C) and 40
                                                 on the SSM revisions and what are our
                                                                                                         System (STEERS). The commenters                       CFR 63.670(o)(7)(ii) and (iv)) are not
                                                 responses?
                                                                                                         argued that with the properly installed               lawful work practice standards under
                                                    To ensure a continuous CAA section                   and executed emission control systems,                CAA section 112(h); and even if the EPA
                                                 112 standard applies ‘‘at all times’’ (see              fail safes, backup power, maintenance                 could set work practice standards, CAA
                                                 section IV.C of this preamble), we are                  procedures and risk management plans,                 section 112(h) does not allow the EPA
                                                 finalizing, as proposed, the elimination                emissions associated with both extreme                to avoid its obligation to enact standards
                                                 of the SSM exemptions for the SOCMI,                    weather and routine operations are                    that restrict emissions of HAPs at all
                                                 P&R I, and P&R II source categories. To                 preventable and should not be                         times.
                                                 ensure a continuous CAA section 111                     exempted from legally permitted                          • the EPA has required and
                                                 standard applies ‘‘at all times,’’ we are               emission limits. The commenters argued                recognized the necessity of control for
                                                 finalizing, as proposed, the requirement                that the EPA erroneously concludes that               HON, P&R I, and MON PRDs in EtO
                                                 that the standards in NSPS subparts                     the malfunction loopholes at 40 CFR                   service, P&R I PRDs in chloroprene
                                                 VVb, IIIa, NNNa, and RRRa ‘‘apply at all                63.165(e)(3)(v)(B) and (C) and smoking                service, and all Organic Liquid
                                                 times, including periods of startup,                    flares at 40 CFR 63.670(o)(7)(ii) and (iv)            Distribution and P&R II PRDs, but has
                                                 shutdown and malfunction.’’ We are                      are reasonable.                                       not applied equal controls to other PRDs
                                                 also finalizing some alternative                           Commenters contended that these                    or to flares above their smokeless
                                                 standards in this final rule for certain                malfunction loopholes have real-world,                capacity. This underscores the
                                                 emission points during periods of SSM.                  harmful effects on the health of                      unlawfulness of the exemptions (at 40
                                                 This section provides summaries of and                  communities surrounding these                         CFR 63.165(e)(3)(v)(B) and (C) and 40
                                                 responses to the key comments received                  facilities. The commenters pointed out                CFR 63.670(o)(7)(ii) and (iv)), and
                                                 regarding our proposed requirements for                 that the EPA readily admits, ‘‘[p]ressure             treating these releases so differently is
                                                 PRDs at 40 CFR 63.165(e)(3)(v)(B) and                   relief events from PRDs that vent to the              arbitrary and capricious.
                                                 (C) and smoking flares at 40 CFR                        atmosphere have the potential to emit                    Specifically, with regards to 40 CFR
                                                 63.670(o)(7)(ii) and (iv) during                        large quantities of HAPs’’ and the EPA                63.670(o)(7)(ii) and (iv), several
                                                 malfunctions. Other comment                             also noted that the majority of the                   commenters said that smoking flares
                                                 summaries and the EPA’s responses for                   Indorama Port Neches Plant’s excess                   produce significant amounts of ‘soot’;
                                                 additional issues raised regarding other                cancer risk is ‘‘driven by EtO emissions              and beyond the health risks of
                                                 SSM issues raised regarding our                         from PRDs (74 percent).’’ A commenter                 particulate matter, smoking flares
                                                 proposed revisions can be found in the                  added that the EPA similarly found a                  increase production of ozone, especially
                                                 document titled Summary of Public                       ‘‘high potential risk posed by                        in the presence of greater environmental
                                                 Comments and Responses for New                                                                                heat. A supporter of 40 CFR
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                                                                                                         chloroprene from PRD releases.’’ The
                                                 Source Performance Standards for the                    commenter also argued that:                           63.670(o)(7)(ii) and (iv) reiterated that
                                                 Synthetic Organic Chemical                                 • the PRD and smoking flare                        the provisions are necessary because the
                                                 Manufacturing Industry and National                     loopholes (at 40 CFR 63.165(e)(3)(v)(B)               EPA is removing the SSM provisions.
                                                 Emission Standards for Hazardous Air                    and (C) and 40 CFR 63.670(o)(7)(ii) and               The commenter also said that they
                                                 Pollutants for the Synthetic Organic                    (iv)) are just another variation on the               supported the proposal to operate in
                                                 Chemical Manufacturing Industry and                     original malfunction exemption and the                accordance with a flare management
                                                 Group I & II Polymers and Resins                        affirmative defense to civil penalties,               plan during periods when the flow to


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                                                 the flare exceeds the smokeless capacity                (88 FR 25167). We further explained                   Industry, which is available in the
                                                 of the flare.                                           that ‘‘[t]he EPA will consider whether                docket for this rulemaking.
                                                    Other supporters of 40 CFR                           circumstances warrant setting work                       We disagree with the comments
                                                 63.165(e)(3)(v)(B) and (C) argued that                  practice standards for a particular type              regarding the exemptions being arbitrary
                                                 there should be no limit on the number                  of malfunction in the SOCMI, P&R I,                   and capricious. We modeled the
                                                 of PRD releases allowed to the                          and P&R II source categories, and, if so,             applicability of the PRD provisions after
                                                 atmosphere. A commenter cited MACT                      whether the EPA has sufficient                        the SCAQMD rule, based on a MACT
                                                 standards, such as LDAR programs, and                   information to identify the relevant best             floor analysis and considering the
                                                 contended that generally these programs                 performing sources and establish a                    appropriate requirements for these types
                                                 do not limit the number of leaks                        standard for such malfunctions.’’ (88 FR              of PRDs. With regard to PRDs in EtO or
                                                 allowed. The commenter also added                       25168.) It is very difficult to guard                 chloroprene service, we stated in the
                                                 that if the EPA proceeded with the                      perfectly against acts of God and acts of             preamble to the proposed rule (88 FR
                                                 proposed work practice standard, then                   terrorism. The EPA does not believe it                25080, April 25, 2023) that any release
                                                 they agreed with the EPA’s decision to                  can develop measures that would                       event from a PRD in EtO (from the
                                                 allow one or two releases under the                     effectively limit emissions during all                SOCMI source category) or chloroprene
                                                 conditions set forth in 40 CFR                          such acts.                                            service (from the Neoprene Production
                                                 63.165(e)(3)(v)(B) and (C). Commenters                     Regardless, the PRD work practice                  source category) is a violation of the
                                                 also requested that the EPA clarify that                standard requires redundant prevention                standard in order to help reduce risk
                                                 the start date for the initial three-year                                                                     from these source categories to an
                                                                                                         measures, which are designed to limit
                                                 period for the limit on PRD releases to                                                                       acceptable level.
                                                                                                         the duration and quantity of releases
                                                 the atmosphere is the first full calendar                                                                        With regard to the request that we
                                                                                                         from all atmospheric PRDs regardless of               clarify the start date for the work
                                                 year after the compliance date for the
                                                                                                         the cause. Flares are required to comply              practice standards, the regulatory text at
                                                 PRD work practice standard. The
                                                                                                         with the requirements for a                           40 CFR 63.165(e)(3)(iv), 40 CFR
                                                 commenters further requested that the
                                                                                                         continuously lit pilot flame and                      63.165(e)(3)(v)(B) and (C) (for PRDs) and
                                                 EPA include provisions that would not
                                                                                                         combustion efficiency standards (i.e.,                at 40 CFR 63.670(o)(7(ii) and (iv) (for
                                                 count the second event from the same
                                                                                                         limits on the NHVcz) at all times,                    smoking flares), states that the time
                                                 equipment and same root cause within
                                                                                                         including during periods of emergency                 period is based on a 3-calendar-year
                                                 a 3-year period as a deviation where a)
                                                                                                         flaring caused by a force majeure event.              period. We consider 2023 to be 1
                                                 the root cause investigation from the
                                                 first incident is not yet complete; and/                These requirements apply at all times;                calendar year. A 3-calendar-year period
                                                 or b) where the corrective action                       thus, the final work practice standards               in 2023 would include events that
                                                 resulting from the root cause                           do have requirements that apply to                    occurred in 2021, 2022, and 2023. It is
                                                 investigation requires a capital                        PRDs and flares at all times and they are             a rolling average to the extent that, in
                                                 expenditure and such has been initiated                 not contrary to the CAA requirements in               2024, one would consider events that
                                                 and is being timely pursued.                            CAA section 112. In addition, the work                occurred in 2022, 2023, and 2024. As
                                                    Response: The EPA acknowledges the                   practice standard for PRDs requires                   indicated in 40 CFR
                                                 commenters’ support for removing the                    installation and operation of continuous              63.182(d)(2)(xviii)(C), each pressure
                                                 SSM exemptions in the rules. As we                      monitoring device(s) to identify when a               release to the atmosphere, including the
                                                 explained in the preamble to the                        PRD release has occurred. We also note                duration of the release, the estimated
                                                 proposed rule (88 FR 25080, April 25,                   that facilities are required to initiate a            quantity of each organic HAP released,
                                                 2023), in Sierra Club v. EPA, 551 F.3d                  root cause analysis to assess the cause               and the results of the root cause analysis
                                                 1019 (D.C. Cir. 2008), the Court                        of a release, including releases                      and corrective action analysis
                                                 determined that the SSM exemption                       determined to be caused by a force                    completed during the reporting period
                                                 violates the CAA. Specifically, the court               majeure event. The count of events at 40              must be included as part of the
                                                 vacated the SSM exemption contained                     CFR 63.165(e)(3)(v)(B) and (C) and                    reporting obligation. We disagree with
                                                 in 40 CFR 63.6(f)(1) and 40 CFR                         smoking flares at 40 CFR 63.670(o)(7)(ii)             the comment regarding meeting certain
                                                 63.6(h)(1), holding that under CAA                      and (iv) includes events for which the                criteria and not counting the second
                                                 section 302(k), emissions standards or                  root cause is determined to be force                  event from the same equipment and
                                                 limitations must be continuous in                       majeure. In other words, there is no                  same root cause as a deviation. First, we
                                                 nature and that the SSM exemption                       categorization or interpretation related              want to clarify that we mean violation,
                                                 violates the CAA’s requirement that                     to the root cause of the event; and the               not deviation. Our use of the term
                                                 some section 112 standards apply                        corrective action component of the work               ‘‘deviation’’ in the preamble to the
                                                 continuously. With the issuance of the                  practice standards applies to all events              proposed rule was an error (however,
                                                 mandate in Sierra Club v. EPA, the                      regardless of the root cause and all                  we did use ‘‘violation’’ in the proposed
                                                 exemption language in 63.6(f)(1) and                    events would count towards the                        rule text in 40 CFR 63.165). While the
                                                 (h)(1) is null and void and any cross                   violation criteria set forth in the                   MON rule text uses the MON-defined
                                                 reference to those provisions has no                    standard. We note that further                        term ‘‘deviation’’ to describe emissions
                                                 effect.                                                 comments on the concept of ‘‘force                    events, the current (and proposed) HON
                                                    However, we disagree with other                      majeure’’ and our responses to these                  rule text uses the term ‘‘violation.’’
                                                 commenters suggesting that the EPA                      comments can be found in section 7.2                  There are no uses of the term
                                                 created loopholes for releases from                     of the document titled Summary of                     ‘‘deviation’’ to describe an emissions
                                                 PRDs at 40 CFR 63.165(e)(3)(v)(B) and                   Public Comments and Responses for
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                                                                                                                                                               event in the current HON rule text, nor
                                                 (C) and smoking flares at 40 CFR                        New Source Performance Standards for                  any definition in the HON of that term.
                                                 63.670(o)(7)(ii) and (iv) during                        the Synthetic Organic Chemical                        Therefore, given that we are building off
                                                 malfunctions. At proposal, the EPA                      Manufacturing Industry and National                   the existing HON standards, we believe
                                                 explained that ‘‘[a]lthough no statutory                Emission Standards for Hazardous Air                  it is more appropriate to continue to use
                                                 language compels the EPA to set                         Pollutants for the Synthetic Organic                  the term ‘‘violation’’ (in lieu of the
                                                 standards for malfunctions, the EPA has                 Chemical Manufacturing Industry and                   undefined ‘‘deviation’’) in all of the
                                                 the discretion to do so where feasible.’’               Group I & II Polymers and Resins                      HON rule text. Second, at proposal, we


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                                                 explained that two release events with                  during the stay of the 2007 amendments                 are finalizing the ‘‘capital expenditure’’
                                                 the same root cause from a single PRD                   to this definition in both NSPS subparts               definition in NSPS subpart VVa in place
                                                 in a 3-year period is a violation from the              VV and VVa; (2) to remove the                          during the stay of the definition for
                                                 MACT standard. 88 FR 25157. The                         requirements in 40 CFR 60.482–1(g) (for                facilities that underwent a physical or
                                                 commenter requested that if a corrective                NSPS subpart VV) and 40 CFR 60.482–                    operational change prior to November
                                                 action has not been implemented to                      1a(g) (for NSPS subpart VVa) that are                  16, 2007. We recognize, depending on
                                                 resolve an issue, then related PRD                      related to a method for assigning shared               the year a modification took place, this
                                                 releases should not be counted towards                  storage vessels to specific process units;             definition may potentially leave an
                                                 the violation; however, this result is                  (3) to remove the connector monitoring                 indeterminant outcome (e.g., log (X)
                                                 exactly what the EPA wants to prevent                   provisions from NSPS subpart VVa at 40                 where X is a negative value) for
                                                 by having a lower release threshold for                 CFR 60.482–11a in their entirety; and                  calculation of the adjusted annual asset
                                                 violations when a PRD release results                   (4) to revise the ‘‘capital expenditure’’              guideline repair allowance. However, to
                                                 from the same root cause.                               definition in NSPS subpart VVa at 40                   the extent there were sources that
                                                                                                         CFR 60.481a such that for owners or                    encountered this scenario (where a
                                                 4. What is the rationale for our final
                                                                                                         operators that start a new,                            physical or operational change between
                                                 approach and final decisions to address
                                                                                                         reconstructed, or modified affected                    November 7, 2006 and November 16,
                                                 emissions during periods of SSM?
                                                                                                         source prior to November 16, 2007,61                   2007 triggered an evaluation of whether
                                                    We evaluated all of the comments on                  the variable Y (i.e., the percent of a                 the capital expenditure was above the
                                                 the EPA’s proposed amendments to the                    facility’s replacement cost used in                    threshold to be considered a
                                                 SSM provisions. For the reasons                         determining an adjusted annual asset                   modification), the NSPS subpart VVa
                                                 explained in the proposed rule (88 FR                   guideline repair allowance) is                         applicability determination would have
                                                 25080, April 25, 2023), we determined                   determined from the following equation:                been resolved a long time ago; thus,
                                                 that these amendments, which remove                     Y = 1.0 ¥ 0.575 log X, where the value                 finalizing the same definition as applied
                                                 and revise provisions related to SSM,                   of ‘‘X’’ is 1982;62 for owners or operators            during the stay would avoid upending
                                                 are necessary to be consistent with the                 that start a new, reconstructed, or                    any long-standing determinations.
                                                 requirement that the standards apply at                 modified affected source on or after                   Therefore, in the final rule, we are
                                                 all times. More information concerning                  November 16, 2007,63 for which the                     finalizing the definition that was in
                                                 the amendments we are finalizing for                    NSPS subpart VVa definition of ‘‘capital               place during the stay, which include
                                                 SSM is in the preamble to the proposed                  expenditure’’ was not stayed, we                       correcting several errors made in our
                                                 rule (88 FR 25080, April 25, 2023) and                  proposed to continue to apply the                      proposed definition and noted by
                                                 in the comments and our specific                        definition in NSPS subpart VVa (i.e., the              commenters. Specifically, the proposed
                                                 responses to the comments in the                        value of ‘‘X’’ is 2006 minus the year of               definition erroneously attached the
                                                 document titled Summary of Public                       construction).64                                       value of ‘‘X’’ in the percent Y equation
                                                 Comments and Responses for New                                                                                 to the date of construction,
                                                 Source Performance Standards for the                    2. How did the revisions addressing the                reconstruction, and modification (as
                                                 Synthetic Organic Chemical                              NSPS subparts VV and VVa                               opposed to date of physical or
                                                 Manufacturing Industry and National                     reconsideration change since proposal?                 operational change); in the final rule, we
                                                 Emission Standards for Hazardous Air                       We are finalizing the changes                       have replaced that phrasing with a
                                                 Pollutants for the Synthetic Organic                    described in section IV.E.1 of this                    reference to physical and operation
                                                 Chemical Manufacturing Industry and                     preamble as proposed, except for certain               change. In addition, we revised the
                                                 Group I & II Polymers and Resins                        changes related to the ‘‘capital                       value of ‘‘X’’ from ‘‘1982’’ to ‘‘1982
                                                 Industry, which is available in the                     expenditure’’ definition in NSPS                       minus the year of construction.’’
                                                 docket for this rulemaking. Therefore,                  subpart VVa. For NSPS subpart VVa, we                  Accordingly, in the final rule, we are
                                                 we are finalizing our approach for the                                                                         revising the ‘‘capital expenditure’’
                                                 SSM provisions as proposed.                                61 As explained later in section IV.E.3 of this     definition in NSPS subpart VVa at 40
                                                                                                         preamble, the proposed definition erroneously          CFR 60.481a such that for owners or
                                                 E. Amendments Addressing NSPS                           refers to ‘‘owners or operators that start a new,      operators that made a physical or
                                                 Subparts VV and VVa Reconsideration                     reconstructed, or modified affected source prior to
                                                                                                         November 16, 2007’’ instead of sources that
                                                                                                                                                                operational change to their existing
                                                 1. What amendments did we propose to                    underwent physical or operational change prior to      facility prior to November 16, 2007, the
                                                 address the NSPS subparts VV and VVa                    November 16, 2007 (but after November 7, 2006, the     percent Y is determined from the
                                                 reconsideration?                                        NSPS subpart VVa proposal date).                       following equation: Y = 1.0 ¥ 0.575 log
                                                                                                            62 ‘‘1982’’ is the X value presented in our
                                                    In response to the January 2008                                                                             X, where the value of ‘‘X’’ is 1982 minus
                                                                                                         proposed regulatory text. We note that in the
                                                 petition for reconsideration, we                        preamble to the proposal, we had expressed an          the year of construction; for owners or
                                                 proposed: (1) Definitions for ‘‘process                 intent to define ‘‘X’’ as ‘‘1982 minus the year of     operators that made a physical or
                                                 unit’’ for NSPS subparts VV and VVa
                                                                                                         construction,’’ which reflects the equation for Y in   operational change to their existing
                                                                                                         the definition in NSPS subpart VV at 40 CFR 60.481     facility on or after November 16, 2007,
                                                 that are the same or essentially the                    and which applied during the stay of the ‘‘capital
                                                 same60 as the definition of ‘‘process                   expenditure’’ definition in NSPS subpart VVa. See
                                                                                                                                                                the percent Y is determined from the
                                                 unit’’ that was first promulgated in                    40 CFR 60.480a(f)(1) (‘‘Stay of standards’’).          following equation: Y = 1.0 ¥ 0.575 log
                                                 NSPS subpart VV (see 48 FR 48307,
                                                                                                            63 As explained later in section IV.E.3 of this     X, where the value of ‘‘X’’ is 2006 minus
                                                 October 18, 1983) and that applied
                                                                                                         preamble, the proposed definition erroneously          the year of construction.
                                                                                                         refers to ‘‘owners or operators that start a new,
                                                                                                         reconstructed, or modified affected source on or       3. What key comments did we receive
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                                                   60 The proposed ‘‘process unit’’ definition in        after November 16, 2007’’ instead of sources that      on the revisions addressing the NSPS
                                                 NSPS subpart VV is the same as that initially           underwent physical or operational change on or
                                                                                                         after November 16, 2007.
                                                                                                                                                                subparts VV and VVa reconsideration
                                                 promogulated in NSPS subpart VV in 1983 (i.e.,
                                                 ‘‘components assembled to produce, as                      64 See the document titled Proposed Regulation      and what are our responses?
                                                 intermediate or final products, one or more of the      Edits for 40 CFR part 60 Subparts VV, VVa, and            This section provides summaries of
                                                 chemicals listed in § 60.489 of this part’’). The       VVb: Standards of Performance for Equipment
                                                 proposed ‘‘process unit’’ definition in NSPS subpart    Leaks of VOC in the Synthetic Organic Chemicals
                                                                                                                                                                and responses to the key comments
                                                 VVa is the same except that it refers to the            Manufacturing Industry (see Docket Item No. EPA–       received regarding our proposed
                                                 chemicals listed in § 60.489a instead of § 60.489.      HQ–OAR–2022–0730–0067).                                requirements for connectors and


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                                                 proposed revisions to the requirements                  promulgated connector monitoring                      VVa in November 2007. In light of the
                                                 in NSPS subpart VVa for capital                         requirements were: (1) Common                         fact that the connector requirements
                                                 expenditure. Except for these comments                  practice at many chemical                             have not been part of NSPS subpart
                                                 related to the proposed requirements for                manufacturing facilities, including                   VVa’s long implementation history, the
                                                 connectors and capital expenditure, we                  through regulations such as HON, MON,                 EPA does not think it is appropriate to
                                                 did not receive many substantive                        Ethylene MACT, and the Generic MACT                   amend NSPS subpart VVa now to add
                                                 comments on the other amendments                        (40 CFR 63, subpart UU), (2) resulted in              a new requirement for new equipment
                                                 related the NSPS subparts VV and VVa                    greater emission reductions (230 tpy                  (i.e., connectors) for sources
                                                 reconsideration. The comments we                        VOC) than the changes the EPA                         constructed, reconstructed or modified
                                                 received regarding other amendments                     implemented for pumps and valves (94                  between November 7, 2006 and April
                                                 generally include issues related to the                 tpy VOC) in NSPS subpart VVa, and (3)                 26, 2023, which are existing sources for
                                                 definition of ‘‘process unit.’’ The                     were achieved at a cost $2,500 per ton                purposes of the newly promulgated
                                                 comments and our specific responses to                  of VOC reduced.                                       NSPS subpart VVb. The EPA believes
                                                 these issues can be found in the                           • The EPA must justify why the same                that standards for previously
                                                 document titled Summary of Public                       requirements it is proposing to remove                unregulated sources such as the
                                                 Comments and Responses for New                          from NSPS subpart VVa are only                        connectors are better suited moving
                                                 Source Performance Standards for the                    appropriate for NSPS subpart VVb.                     forward for new and modified sources
                                                 Synthetic Organic Chemical                                 The commenter asserted that the EPA                under NSPS subpart VVb. For the
                                                 Manufacturing Industry and National                     can and must lift the stay as it relates              reasons stated above, the EPA is
                                                 Emission Standards for Hazardous Air                    to connector monitoring in 40 CFR                     finalizing the removal of the connector
                                                 Pollutants for the Synthetic Organic                    60.482–11a and require compliance                     requirements in NSPS subpart VVa, as
                                                 Chemical Manufacturing Industry and                     with that section from that date forward              proposed.
                                                 Group I & II Polymers and Resins                        in order to ensure the critical (and cost-               Comment: Commenters requested the
                                                 Industry, which is available in the                     effective) environmental protections are              EPA correct the formula for calculating
                                                 docket for this rulemaking.                             implemented, while avoiding concerns                  the value of ‘‘X’’ in the definition of
                                                    Comment: A commenter objected to                     of retroactive application of standards.              ‘‘Capital Expenditure’’ in the proposed
                                                 the EPA removing the connector                          The EPA could do this through                         NSPS subpart VVa. A commenter
                                                 monitoring provisions from NSPS                         providing language that the standards                 explained that the EPA proposed a
                                                 subpart VVa and only proposing them                     were stayed from June 2, 2008, until the              value of ‘‘1982’’ for ‘‘X’’ for owners or
                                                 in NSPS subpart VVb. The commenter                      date of the final rule, but are in effect             operators ‘‘that start a new,
                                                 contended that the EPA did not provide                  moving forward.                                       reconstructed, or modified affected
                                                 sufficient justification for this change,                  Response: As previously discussed in               source prior to November 16, 2007.’’
                                                 given that the EPA’s rationale was only                 the preamble to the proposed rule (88                 The commenter contended that this
                                                 that they agreed with Petitioners that it               FR 25080, April 25, 2023), we proposed                results in a negative value for ‘‘Y’’ (that
                                                 had not included those requirements in                  to remove the connector monitoring                    is, ¥0.89, or 1.0–0.575log(1982)), being
                                                 the November 7, 2006, proposal (72 FR                   requirements in NSPS subpart VVa that                 effectively an indeterminant outcome
                                                 64860) but then established connector                   have been stayed since 2008. The EPA                  for calculation of the adjusted annual
                                                 monitoring requirements in the                          disagrees with the comment that, having               asset guideline repair allowance.
                                                 November 16, 2007 final rule without                    granted reconsideration of these                      Another commenter recommended that
                                                 notice and an opportunity to comment.                   requirements because they were                        the EPA revise ‘‘X’’ from ‘‘1982’’ to
                                                 The commenter added that the EPA                        finalized without proposal and an                     ‘‘1982—the year of construction’’ for
                                                 must also justify why it is not                         opportunity for comment, the EPA must                 owners or operators ‘‘that start a new,
                                                 appropriate to lift the stay and require                now propose to remove the stay and                    reconstructed, or modified affected
                                                 connector monitoring at sources subject                 provide the public an opportunity to                  source prior to November 16, 2007.’’
                                                 to NSPS subpart VVa from this point                     comment on the connector                                 Another commenter contended that
                                                 forward. The commenter listed several                   requirements. While CAA section                       the EPA’s proposed definition for
                                                 issues with the EPA’s decision:                         307(d)(7)(B) requires that the EPA grant              capital expenditures in NSPS subpart
                                                    • The EPA must propose and provide                   reconsideration in this situation (where              VVa narrows the reach of modification
                                                 opportunity for comment on requiring                    the grounds for objecting to the standard             and would result in the exclusion of
                                                 connector monitoring at sources subject                 arose after the period for public                     certain process units from applicability
                                                 to NSPS subpart VVa. The basis of the                   comment, in this case when the final                  to the subpart through modification. For
                                                 reconsideration was a lack of notice and                rule was promulgated), nothing in CAA                 NSPS subpart VVa, the commenter
                                                 comment, and the EPA is currently in                    section 307(d)(7)(B) or elsewhere in the              contended the EPA has made significant
                                                 the position to provide an opportunity                  CAA dictates what actions the EPA                     errors in defining how sources would
                                                 for comment on those requirements yet                   must take in a reconsideration                        determine if modification has occurred
                                                 fails to do so with no explanation.                     proceeding, much less requiring that the              and went beyond addressing the issues
                                                    • The EPA must justify why                           EPA propose the connector                             raised by the petitioners requesting
                                                 additional emissions reductions for                     requirements for comment; nor has the                 reconsideration of the capital
                                                 sources subject to NSPS subpart VVa are                 commenter cited any legal authority                   expenditure definition. The commenter
                                                 no longer appropriate before simply                     requiring such action from the EPA in                 asserted that it is inappropriate to
                                                 removing the requirements in their                      an administrative reconsideration                     include a definition for modification
                                                 entirety. The EPA found connector
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                                                                                                         proceeding under CAA section                          related to a date of construction,
                                                 monitoring as the ‘‘best system of                      307(d)(7)(B).                                         reconstruction, or modification that
                                                 emission reduction’’ in the November                       In its reconsideration of the connector            operates apart from the applicability of
                                                 16, 2007, preamble, and the EPA has not                 requirements in NSPS subpart VVa, the                 the individual subpart. The commenter
                                                 explained why that determination was                    EPA took into account that these                      explained that a source that is
                                                 inappropriate or no longer valid. In                    requirements have been stayed since                   constructed or reconstructed after the
                                                 EPA’s analysis supporting the final                     June 2008, over 15 years ago and shortly              applicability date of the subpart
                                                 NSPS subpart VVa, it found that the                     after the promulgation of NSPS subpart                (November 7, 2006, for NSPS subpart


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                                                 VVa) is automatically subject to the                    reconstruction, or modification date for              definition of ‘‘capital expenditure’’ in
                                                 standards of that subpart and                           calculating capital expenditure to                    NSPS subpart VVa as follows:
                                                 modification has no relevance unless a                  determine whether modification has                      (2) The percent Y is determined from
                                                 subpart with a later applicability date is              been triggered for that source. Sources               the following equation: Y = 1.0 ¥ 0.575
                                                 promulgated. The commenter added                        constructed, modified, or reconstructed               log X, where X is:
                                                 that a source is not defined as modified                after November 7, 2006, are affected                    (i) 2006 minus the year of
                                                 unless it undergoes a physical or                       facilities under NSPS subpart VVa (i.e.,              construction if the physical or
                                                 operational change that results in an                   they are subject to the standards of                  operational change to the existing
                                                 increase in emissions. The commenter                    NSPS subpart VVa); whether any such                   facility was on or after November 16,
                                                 contended that a definition of capital                  NSPS subpart VVa affected facility has                2007, or
                                                 expenditure that is reliant on the dates                subsequently incurred capital                           (ii) 1982 minus the year of
                                                 of ‘‘construction, reconstruction, or                   expenditure that would constitute                     construction if the physical or
                                                 modification’’ is not relevant to and has               ‘‘modification’’ is irrelevant as the only            operational change to the existing
                                                 no bearing on whether a source has been                 purpose for that capital expenditure                  facility was prior to November 16, 2007.
                                                 modified. The commenter concluded                       calculation is to determine NSPS
                                                 that the EPA must redefine capital                      subpart VVa applicability, which we                   4. What is the rationale for our final
                                                 expenditure without specifying                          already know it does. The commenter                   approach and final decisions to address
                                                 construction, reconstruction, or                        also correctly notes that modification is             the NSPS subparts VV and VVa
                                                 modification dates. The commenter                       determined by whether there is a                      reconsideration?
                                                 recommended that the EPA should seek                    physical or operational change that                      The amendments address the
                                                 to address the definition of capital                    results in an increase in emissions. See              following issues raised in the January
                                                 expenditure as it applies to the subset                 40 CFR 60.2 and CAA section 111(a)(4).                2008 petition for reconsideration: (1)
                                                 of physical and operational changes that                For the reasons stated above, in the final            The clarification of the definition of
                                                 occurred specifically between                           rule, we have revised the proposed                    process unit in NSPS subparts VV and
                                                 November 7, 2006, and November 16,                      ‘‘capital expenditure’’ definition by                 VVa; (2) the assignment of shared
                                                 2007. The commenter added that for                      referencing the date of a physical or                 storage vessels to specific process units
                                                 those sources that would have utilized                  operational change to a source instead                in NSPS subparts VV and VVa; (3) the
                                                 the capital expenditure equation in                     its construction, modification and                    monitoring of connectors in NSPS
                                                 NSPS subpart VV, it is appropriate to                   reconstruction date.                                  subpart VVa; and (4) the definition of
                                                 define the value of ‘‘X’’ as ‘‘1982 minus                  Regarding the value of ‘‘X’’ for owners            capital expenditure in NSPS subpart
                                                 the year of construction’’ or simply                    and operators that made a physical or                 VVa. More information concerning the
                                                 cross-reference the capital expenditure                 operation change to their existing                    amendments we are finalizing to
                                                 definition at 40 CFR 60.481. The                        facility prior to November 16, 2007,                  address these issues is in the preamble
                                                 commenter stated that the definition of                 commenters are correct that the value of              to the proposed rule and in the
                                                 capital expenditure as it relates to                    ‘‘X’’ being 1982 results in a negative                comments and our specific responses to
                                                 physical and operational changes that                   value for the variable ‘‘Y’’; the proposed            the comments in the document titled
                                                 take place after November 16, 2007 (the                 regulation edits (see Docket Item No.                 Summary of Public Comments and
                                                 promulgation date of NSPS subpart                       EPA–HQ–OAR–2022–0730–0067)                            Responses for New Source Performance
                                                 VVa), was not under reconsideration                     mistakenly required the value of ‘‘X’’ be             Standards for the Synthetic Organic
                                                 and should remain as promulgated such                   1982 instead of the intended equation.                Chemical Manufacturing Industry and
                                                 that the EPA define ‘‘X’’ based on the                  The intended equation for ‘‘X’’ was 1982              National Emission Standards for
                                                 dates of ‘‘physical or operational                      minus the year of construction; this                  Hazardous Air Pollutants for the
                                                 changes’’ regardless of the date of                     equation was described in the proposal                Synthetic Organic Chemical
                                                 construction, reconstruction, or                        preamble (88 FR 25172) and aligns with                Manufacturing Industry and Group I &
                                                 modification, and specifically, for                     the commenters’ recommendation,                       II Polymers and Resins Industry, which
                                                 physical or operational changes that                    which we acknowledge could still result               is available in the docket for this
                                                 take place after November 16, 2007, ‘‘X’’               in a nonsensical value for the variable               rulemaking.
                                                 should remain defined as ‘‘2006 minus                   ‘‘Y’’ for certain scenarios. However, the
                                                 the year of construction.’’                             impact of this issue is unclear, as it                F. Other Amendments to the NESHAP
                                                    Response: We agree that errors were                  would affect only sources that made a                 and NSPS
                                                 made in the proposed ‘‘capital                          physical or operational change within                 1. What other amendments did we
                                                 expenditure’’ definition in NSPS                        the relevant one-year period (after                   propose for the SOCMI, P&R I, and P&R
                                                 subpart VVa. The proposed definition,                   November 7, 2006 but before November                  II source categories?
                                                 in relevant part, stated that                           16, 2007). To the extent there were such
                                                    ‘‘(2) The percent Y is determined from               sources, we believe that they had long                   We proposed a requirement that
                                                 the following equation: Y = 1.0 ¥ 0.575                 ago found ways to resolve the issue and               owners or operators submit electronic
                                                 log X, where X is:                                      determine NSPS subpart VVa                            copies of certain required performance
                                                    (i) 2006 minus the year of                           applicability, perhaps in consultation                test reports, flare management plans,
                                                 construction for owners or operators                    with the relevant EPA region or                       and periodic reports (including
                                                 that start a new, reconstructed, or                     delegated State agencies; thus, finalizing            fenceline monitoring reports for HON
                                                 modified affected source on or after                    the same definition as that which was                 and the P&R I NESHAP) through the
                                                                                                                                                               EPA’s CDX using the CEDRI (at 40 CFR
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                                                 November 16, 2007, or                                   in effect during the relevant one-year
                                                    (ii) 1982 for owners or operators that               period would avoid upending any such                  63.108(e), 40 CFR 63.152(c) and (h), and
                                                 start a new, reconstructed, or modified                 long-standing resolutions or                          40 CFR 63.182(d) and (e) (for HON), 40
                                                 affected source prior to November 16,                   determinations by owners/operators                    CFR 63.506(e)(6), and (i)(3) (for the P&R
                                                 2007;’’                                                 and/or EPA or delegated State agencies.               I NESHAP), and 40 CFR 63.528(a) and
                                                    We agree with the comment that the                      For the reasons described above, we                (d) (for the P&R II NESHAP), 40 CFR
                                                 proposed definition erroneously relies                  are finalizing the equation for                       60.486(l), and 60.487(a) and (g) through
                                                 on a sources’ construction,                             calculating the variable ‘‘Y’’ in the                 (i) (for NSPS subpart VV), 40 CFR


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                                                 60.486a(l), and 60.487a(a) and (g)                      average algebraic difference between the              we have clarified the proposed rule text
                                                 through (i) (for NSPS subpart VVa), 40                  three meter readings and the most                     in this final action that the monitoring
                                                 CFR 60.486b(l), and 60.487b(a) and (g)                  recent readings and the most recent                   plan provisions in 40 CFR 63.120(d)(2)
                                                 through (i) (for NSPS subpart VVb), 40                  calibration value.’’; (3) providing clarity           and (3) do not apply to HON sources
                                                 CFR 60.615(b), (j), (k), and (m) through                in the mathematical step of the                       subject to the monitoring provisions in
                                                 (o) (for NSPS subpart III), 40 CFR                      assessment by replacing the sentence                  40 CFR 63.120(d)(1)(iii); and the
                                                 60.615a(b), (h) through (l), and (n), and               ‘‘Divide this algebraic difference by the             monitoring plan provisions in 40 CFR
                                                 40 CFR 619a(e) (for NSPS subpart IIIa),                 initial calibration value and multiply by             63.120(d)(2) and (3) do not apply to P&R
                                                 40 CFR 60.665(b), (l), (m), and (q)                     100 to express the calibration drift as a             I sources subject to the monitoring
                                                 through (s) (for NSPS subpart NNN), 40                  percentage.’’ with ‘‘Divide the                       provisions in 40 CFR 63.120(d)(1)(iii)
                                                 CFR 60.665a(b), (h), (k) through (n), and               arithmetic difference of the initial and
                                                                                                                                                               (via 40 CFR 63.484(t) and 40 CFR
                                                 (p), and 40 CFR 669a(e) (for NSPS                       post-test calibration response by the
                                                 subpart NNNa), 40 CFR 60.705(b), (l),                   corresponding calibration gas value for               63.485(x)).
                                                 (m), and (u) through (w) (for NSPS                      each scale and multiply by 100 to                        With regard to overlap provisions, we
                                                 subpart RRR), and 40 CFR 60.705a(b),                    express the calibration drift as a                    are: (1) Revising 40 CFR 63.160(b)(1)
                                                 (k) through (o), and (v), and 40 CFR                    percentage.’’; and (4) providing clarity              and (c)(1) in the final rule such that
                                                 709a(e) (for NSPS subpart RRRa)). We                    by making other minor textural changes                compliance with HON subpart H
                                                 also proposed two narrow                                to the provisions related to the                      constitutes compliance with NSPS
                                                 circumstances in which owners or                        procedures for when a calibration drift               subpart VVa provided the owner or
                                                 operators may seek extensions to the                    assessment shows negative or positive                 operator continues to comply with 40
                                                 deadline if they are prevented from                     drift of more than 10 percent.                        CFR 60.480a(e)(2)(i); and (2) revising 40
                                                 reporting by conditions outside of their                   We also proposed at 40 CFR                         CFR 63.160(b)(1) and (c)(1) in the final
                                                 control within five business days of the                63.103(b)(1) (for HON), 40 CFR                        rule such that compliance with HON
                                                 reporting deadline. We proposed that an                 63.490(g) and 40 CFR 63.504(a) (for the               subpart H constitutes compliance with
                                                 extension may be warranted due to                       P&R I NESHAP), and 40 CFR 64.525(a),
                                                                                                                                                               NSPS subpart VVb provided the owner
                                                 outages of the EPA’s CDX or CEDRI that                  (e), and (m) (for the P&R II NESHAP)
                                                                                                                                                               or operator continues to comply with 40
                                                 precludes an owner or operator from                     that owners and operators would be
                                                 accessing the system and submitting                     required to conduct subsequent                        CFR 60.480b(e)(2)(i). We have also
                                                 required reports. We also proposed that                 performance testing on non-flare control              revised 40 CFR 60.480b(e)(2)(i) in the
                                                 an extension may be warranted due to                    devices no later than 60 calendar                     final rule to require compliance with 40
                                                 a force majeure event, such as an act of                months after the previous performance                 CFR 60.482–7b (i.e., the standards for
                                                 nature, act of war or terrorism, or                     test.                                                 gas and light liquid valves in NSPS
                                                 equipment failure or safety hazards                        We also proposed to: (1) Remove the                subpart VVb) in addition to the
                                                 beyond the control of the facility.                     provisions at 40 CFR 63.110(h) that                   requirements of 40 CFR 60.485b(d), (e),
                                                    In addition, we proposed the                         allow compliance with certain portions                and (f), and 40 CFR 60.486b(i) and (j).
                                                 restructuring of all HON definitions                    of 40 CFR part 264, subpart AA or CC
                                                 from NESHAP subparts G and H (i.e., 40                                                                        3. What key comments did we receive
                                                                                                         in lieu of portions of NESHAP subpart
                                                 CFR 63.111 and 40 CFR 63.161,                                                                                 on the other amendments for the
                                                                                                         G; and (2) remove the provisions at 40
                                                 respectively) into the definition section               CFR 63.110(i) and 40 CFR 60.160(g) that               SOCMI, P&R I, and P&R II source
                                                 of NESHAP subpart F (i.e., 40 CFR                       allow compliance with certain portions                categories and what are our responses?
                                                 63.101); and we proposed to consolidate                 of 40 CFR part 65 in lieu of portions of                We did not receive many substantive
                                                 differences between certain definitions                 NESHAP subparts G and H.                              comments on the other amendments
                                                 in these subparts.                                         Finally, we proposed revisions to
                                                    We proposed adding monitoring                                                                              discussed in this section IV.F of this
                                                                                                         clarify text or correct typographical
                                                 requirements at 40 CFR 63.114(a)(5)(v),                 errors, grammatical errors, and cross-                preamble. The comments we received
                                                 40 CFR 63.120(d)(1)(iii), 40 CFR                        reference errors. These editorial                     regarding other amendments generally
                                                 63.127(b)(4), and 40 CFR 63.139(d)(5)                   corrections and clarifications are                    include issues related to electronic
                                                 (for HON), and 40 CFR 63.484(t), 40 CFR                 discussed in section III.E.5.f of the                 reporting, the restructuring of all HON
                                                 63.485(x), and 40 CFR 63.489(b)(10) (for                proposal preamble (see 88 FR 25080,                   definitions, adsorbers that cannot be
                                                 the P&R I NESHAP) for owners or                         April 25, 2023).                                      regenerated and regenerative adsorbers
                                                 operators using adsorbers that cannot be                                                                      that are regenerated offsite, overlap
                                                 regenerated and regenerative adsorbers                  2. How did the other amendments for                   provisions, and revisions that we
                                                 that are regenerated offsite. We also                   the SOCMI, P&R I, and P&R II source                   proposed for clarifying text or correcting
                                                 proposed that owners or operators of                    categories change since proposal?                     typographical errors, grammatical
                                                 this type of APCD use dual (two or                         Based on comments received on the                  errors, and cross-reference errors. The
                                                 more) adsorbent beds in series and                      proposed rulemaking, we are making                    comments and our specific responses to
                                                 conduct monitoring of HAP or TOC on                     some changes to the amendments                        these issues can be found in the
                                                 the outlet of the first adsorber bed in                 described in section IV.F.1 of this                   document titled Summary of Public
                                                 series using a sample port and a                        preamble.                                             Comments and Responses for New
                                                 portable analyzer or chromatographic                       With regard to electronic reporting,               Source Performance Standards for the
                                                 analysis.                                               we are making several minor clarifying
                                                    In addition, we proposed several                                                                           Synthetic Organic Chemical
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                                                                                                         edits to the spreadsheet reporting
                                                 corrections to the calibration drift                                                                          Manufacturing Industry and National
                                                                                                         templates (the final versions of the
                                                 assessment requirements in NSPS                         templates will be located on the CEDRI                Emission Standards for Hazardous Air
                                                 subpart VVa at 40 CFR 60.485a(b)(2)                     website). We are also making only                     Pollutants for the Synthetic Organic
                                                 including: (1) Correcting a regulatory                  minor changes to the HON definitions.                 Chemical Manufacturing Industry and
                                                 citation to read ‘‘§ 60.486a(e)(8)’’ instead               In addition, for adsorbers that cannot             Group I & II Polymers and Resins
                                                 of ‘‘§ 60.486a(e)(7)’’; (2) removing the                be regenerated and regenerative                       Industry, which is available in the
                                                 extraneous sentence ‘‘Calculate the                     adsorbers that are regenerated offsite,               docket for this rulemaking.


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                                                 4. What is the rationale for our final                  NSPS subpart VVa reconstruction                       (including 5.3 tpy of N2O); 12.7 tpy of
                                                 approach and final decisions regarding                  requirements).                                        particulate matter; and 1.0 tpy of SO2.
                                                 the other amendments for the SOCMI,                                                                           More information about the estimated
                                                                                                         B. What are the air quality impacts?
                                                 P&R I, and P&R II source categories?                                                                          emission reductions and secondary
                                                                                                            This final action will reduce HAP                  impacts of this final action for the HON
                                                   Based on the comments received for                    emissions by at least 1,372 tpy and VOC               can be found in the RIA accompanying
                                                 these other amendments, we are                          emissions by 3,820 tpy from HON, P&R                  this rulemaking, the documents
                                                 generally finalizing all proposed                       I, and P&R II emission sources as well                referenced in sections III.B through III.D
                                                 requirements. In a few instances, we                    as the NSPS SOCMI air oxidation unit                  of the preamble to the proposed rule (88
                                                 received comments that led to                           processes, distillation operations,                   FR 25080, April 25, 2023), and in the
                                                 additional minor editorial corrections                  reactor processes, and equipment leaks                document titled Clean Air Act Section
                                                 and technical clarifications being made                 sources. These emission reductions are                112(d)(6) Technology Review for
                                                 in the final rule, and our rationale for                broken down by rule as follows.                       Continuous Process Vents Located in
                                                 these corrections and technical                         Considering reported emissions                        the SOCMI Source Category that are
                                                 clarifications can be found in section                  inventories for EtO and chloroprene, we               Associated with Processes Subject to
                                                 IV.F.3 of this preamble and in the                      estimate that the final amendments to                 HON, Continuous Front-end and Batch
                                                 document titled Summary of Public                       the NESHAP will reduce overall HAP                    Front-end Process Vents Associated
                                                 Comments and Responses for New                          emissions from the SOCMI source                       with Processes Subject to Group I
                                                 Source Performance Standards for the                    category by approximately 1,107 tpy                   Polymers and Resins NESHAP, and
                                                 Synthetic Organic Chemical                              (and 1,919 tpy of VOC), reduce overall                Process Vents Associated with Processes
                                                 Manufacturing Industry and National                     HAP emissions from the P&R I source                   Subject to Group II Polymers and Resins
                                                 Emission Standards for Hazardous Air                    categories by approximately 264 tpy                   NESHAP—FINAL, which is available in
                                                 Pollutants for the Synthetic Organic                    (and 278 tpy of VOC), and reduce                      the docket for this rulemaking.
                                                 Chemical Manufacturing Industry and                     overall HAP and VOC emissions from
                                                 Group I & II Polymers and Resins                        the P&R II source categories by                       2. P&R I NESHAP
                                                 Industry, which is available in the                     approximately 1 tpy. We note that these                  For the P&R I NESHAP, the EPA
                                                 docket for this rulemaking.                             emissions reductions do not consider                  estimates HAP and VOC emission
                                                                                                         the potential excess emissions                        reductions of approximately 264 and
                                                 V. Summary of Cost, Environmental,                      reductions from flares that could result              278 tpy, respectively. The EPA
                                                 and Economic Impacts and Additional                     from the final monitoring requirements;               estimates these reductions include an
                                                 Analyses Conducted                                      we estimate flare excess emissions                    approximate 14 tpy reduction in
                                                 A. What are the affected sources?                       reductions of 4,858 tpy HAP and 19,889                chloroprene emissions (from reported
                                                                                                         tpy VOC. Based on our analysis of the                 emissions inventories); and a reduction
                                                    There are approximately 207 facilities               finalized actions described in sections               of 2,018 tpy of methane emissions. The
                                                 subject to the HON, 19 P&R I facilities                 III.B.2, III.D.2, and III.E of this preamble          EPA also estimates that the final action
                                                 (and 10 of these P&R I facilities are                   for the NSPS, we estimate that the final              would result in additional emissions of
                                                 collocated with HON processes), and 5                   amendments to the NSPS would reduce                   110 tpy of CO; 115,975 tpy of CO2; 75
                                                 P&R II facilities (and 3 of these P&R II                VOC emissions from the SOCMI source                   tpy of NOX (including 1.5 tpy of N2O);
                                                 facilities are collocated with HON                      category by approximately 1,622 tpy.                  4.8 tpy of particulate matter; and 0.4 tpy
                                                 processes). We also estimate that two                   The Agency was unable to estimate HAP                 of SO2. More information about the
                                                 additional HON facilities will be newly                 emission reductions for the final                     estimated emission reductions and
                                                 constructed over the next 3 years. The                  amendments to the NSPS in this                        secondary impacts of this final action
                                                 Office of Enforcement and Compliance                    rulemaking. Emission reductions and                   for the P&R I NESHAP can be found in
                                                 Assurance’s ECHO (Enforcement and                       secondary impacts (e.g., emission                     the RIA accompanying this rulemaking,
                                                 Compliance History Online) tool                         increases associated with supplemental                the documents referenced in sections
                                                 (https://echo.epa.gov) indicates there                  fuel or additional electricity) by rule are           III.B through III.D of the preamble to the
                                                 are currently 592 SOCMI facilities                      listed below. The only change in air                  proposed rule (88 FR 25080, April 25,
                                                 subject to subpart VV or VVa; and 284                   impacts since proposal stems from our                 2023), and in the document titled Clean
                                                 SOCMI facilities subject to at least one                reevaluation related to the TRE removal               Air Act Section 112(d)(6) Technology
                                                 of the process vent NSPS subparts III,                  for HON and the P&R I NESHAP, and                     Review for Continuous Process Vents
                                                 NNN, and/or RRR. The list of facilities                 its discontinued use in the new NSPS                  Located in the SOCMI Source Category
                                                 is available in the document titled Lists               subparts IIIa, NNNa, and RRRa (based                  that are Associated with Processes
                                                 of Facilities Subject to the HON, Group                 on comments received as discussed in                  Subject to HON, Continuous Front-end
                                                 I and Group II Polymers and Resins                      sections IV.B.3.a.i and IV.B.3.b.i of this            and Batch Front-end Process Vents
                                                 NESHAPs, and NSPS subparts VV, VVa,                     preamble).                                            Associated with Processes Subject to
                                                 III, NNN, and RRR (see Docket Item No.                                                                        Group I Polymers and Resins NESHAP,
                                                 EPA–HQ–OAR–2022–0730–0069). We                          1. HON
                                                                                                                                                               and Process Vents Associated with
                                                 estimate that there will be one new                        For the HON, the EPA estimates HAP                 Processes Subject to Group II Polymers
                                                 greenfield facility, six new affected                   and VOC emission reductions of                        and Resins NESHAP—FINAL, which is
                                                 facilities constructed at existing plant                approximately 1,107 and 1,919 tpy,                    available in the docket for this
                                                 sites, and 12 modified/reconstructed                    respectively. The EPA estimates these                 rulemaking.
                                                 facilities subject to NSPS subpart IIIa,                reductions include an approximate 54
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                                                 NNNa, and/or RRRa in the next 5 years.                  tpy reduction in EtO emissions (from                  3. P&R II NESHAP
                                                 We estimate there will be one new                       reported emissions inventories) and a                    For the P&R II NESHAP, the EPA
                                                 greenfield facility, 34 new affected                    reduction of 20,177 tpy of methane                    estimates 1 tpy of HAP and VOC
                                                 facilities constructed at existing plant                emissions. The EPA also estimates that                emission reductions. The EPA also
                                                 sites, and one modified facility subject                the final action would result in                      estimates that the final action would not
                                                 to NSPS subpart VVb in the next 5 years                 additional emissions of 714 tpy of CO;                have any secondary pollutant impacts.
                                                 (and no affected facilities will trigger                609,761 tpy of CO2; 277 tpy of NOX                    More information about the estimated


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                                                 emission reductions and secondary                       final action result in additional                       RRRa (based on comments received as
                                                 impacts of this final action for the P&R                emissions of 21.5 tpy of CO; 15,370 tpy                 discussed in sections IV.B.3.a.i and
                                                 II NESHAP can be found in the RIA                       of CO2; and 4.0 tpy of NOX (including                   IV.B.3.b.i of this preamble).
                                                 accompanying this rulemaking and the                    0.1 tpy of N2O). More information about
                                                                                                                                                                 1. HON
                                                 documents referenced in sections III.B                  the estimated emission reductions and
                                                 through III.D of the preamble to the                    secondary impacts of this final action                     For the HON, the EPA estimates this
                                                 proposed rule (88 FR 25080, April 25,                   for NSPS subparts IIIa, NNNa, and RRRa                  final action will cost approximately
                                                 2023).                                                  can be found in the RIA accompanying                    $455 million in total capital costs and
                                                                                                         this rulemaking and in the document                     $169 million per year in total
                                                 4. NSPS Subpart VVb                                                                                             annualized costs (including product
                                                                                                         titled CAA 111(b)(1)(B) review for the
                                                   For the final NSPS subpart VVb, the                   SOCMI air oxidation unit processes,                     recovery). More information about the
                                                 EPA estimates VOC emission reductions                   distillation operations, and reactor                    estimated cost of this final action for the
                                                 of approximately 340 tpy. The EPA                       processes NSPS subparts III, NNN, and                   HON can be found in the documents
                                                 estimates that the final action would not               RRR—FINAL, which is available in the                    referenced in sections III.B through III.D
                                                 have any secondary pollutant impacts.                   docket for this rulemaking.                             of the preamble to the proposed rule (88
                                                 More information about the estimated                                                                            FR 25080, April 25, 2023), and in the
                                                 emission reductions and secondary                       C. What are the cost impacts?                           document titled Clean Air Act Section
                                                 impacts of this final action for NSPS                      This final action will cumulatively                  112(d)(6) Technology Review for
                                                 subpart VVb can be found in the RIA                     cost (in 2021 dollars) approximately                    Continuous Process Vents Located in
                                                 accompanying this rulemaking and, in                    $522 million in total capital costs and                 the SOCMI Source Category that are
                                                 the document titled CAA 111(b)(1)(B)                    $194 million per year in total                          Associated with Processes Subject to
                                                 review for the SOCMI Equipment Leaks                    annualized costs (including product                     HON, Continuous Front-end and Batch
                                                 NSPS Subpart VVa (see Docket Item No.                   recovery),65 based on our analysis of the               Front-end Process Vents Associated
                                                 EPA–HQ–OAR–2022–0730–0096).                             final action described in sections III and              with Processes Subject to Group I
                                                                                                         IV of this preamble (see table 6 in                     Polymers and Resins NESHAP, and
                                                 5. NSPS Subparts IIIa, NNNa, and RRRa                                                                           Process Vents Associated with Processes
                                                                                                         section V.C.1 of this preamble).66 Costs
                                                   For the final NSPS subparts IIIa,                     by rule are listed below. The only                      Subject to Group II Polymers and Resins
                                                 NNNa, and RRRa, the EPA estimates                       change in cost impacts since proposal                   NESHAP—FINAL, which is available in
                                                 VOC emission reductions of                              stems from our reevaluation related to                  the docket for this rulemaking. The
                                                 approximately 1,281 tpy and a                           the TRE removal for HON and the P&R                     HON represents the majority of total
                                                 reduction of 757 tpy of methane                         I NESHAP, and its discontinued use in                   estimated costs for this action (see Table
                                                 emissions. The EPA estimates that the                   the new NSPS subparts IIIa, NNNa, and                   6 of this preamble).

                                                         Table 6. Summary of the Total Costs by Final Rule ($2021)
                                                                                               Total Annual     Total Annual
                                                                                               Cost Without       Cost With
                                                                               Total Capital     Recovery         Recovery    Annual Recovery
                                                                                   Cost           Credits          Credits         Credits
                                                                  Rule              ($)            ($/yr)           ($/yr)          ($/yr)
                                                          HON                455,557,700     169,250,100       168,273,200   983,900
                                                           P&RINESHAP                        ~8,198,300                15,227,100                  15,198,000                29,200
                                                           P&R II NESHAP                     2,932,500                 1,667,200                   1,667,200                  0
                                                           NSPS Subpart VVb                  7,706,600                 1,434,200                   1,127,200                  307,000
                                                           NSPS Subparts Illa, ~7,844,000                             6,269,000                    6,269,000                  0
                                                           NNNa, and RRRa
                                                           Total               522,239,100                             193,847,600                 192,534,600                1,320,100


                                                 2. P&R I NESHAP                                         capital costs and $15 million per year in               found in the documents referenced in
                                                                                                         total annualized costs (including                       sections III.B through III.D of the
                                                   For the P&R I NESHAP, the EPA                         product recovery). More information                     preamble to the proposed rule (88 FR
                                                 estimates this final action will cost
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                                                                                                         about the estimated cost of this final                  25080, April 25, 2023), and in the
                                                 approximately $28 million in total                      action for the P&R I NESHAP can be                      document titled Clean Air Act Section
                                                   65 Recovered chemical product affected by this        historically been used by the EPA to represent the      monitoring, recordkeeping, and reporting.
                                                 rulemaking is related to LDAR control options for       variety of chemicals that are used as reactants and     Recordkeeping and reporting costs for each final
                                                 equipment leaks and heat exchange systems, and is       produced at SOCMI facilities.                           rule are presented separately in section VI.B of this
                                                 monetized as recovery credits by multiplying VOC          66 The annualized costs for each final rule include   preamble.
                                                 emissions reductions by a VOC credit of $900 per
                                                                                                         the costs of compliance, including those for
                                                                                                                                                                                                                         ER16MY24.009</GPH>




                                                 ton (2021 dollars). This recovery credit has



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                                                 112(d)(6) Technology Review for                         document titled Regulatory Impact                     For the HON, chemical product prices
                                                 Continuous Process Vents Located in                     Analysis for the Final New Source                     are estimated to increase from less than
                                                 the SOCMI Source Category that are                      Performance Standards for the                         0.01 percent to 0.61 percent, and output
                                                 Associated with Processes Subject to                    Synthetic Organic Chemical                            by product is estimated to decrease by
                                                 HON, Continuous Front-end and Batch                     Manufacturing Industry and National                   less than 0.01 percent to 0.54 percent.
                                                 Front-end Process Vents Associated                      Emission Standards for Hazardous Air                  For the two P&R NESHAP, chemical
                                                 with Processes Subject to Group I                       Pollutants for the Synthetic Organic                  product prices are estimated to increase
                                                 Polymers and Resins NESHAP, and                         Chemical Manufacturing Industry and                   by less than 0.01 percent to 0.05
                                                 Process Vents Associated with Processes                 Group I & II Polymers and Resins                      percent, and output by product is
                                                 Subject to Group II Polymers and Resins                 Industry, which is available in the                   estimated to decrease by less than 0.01
                                                 NESHAP—FINAL, which is available in                     docket for this action. The economic                  percent to 0.09 percent. More
                                                 the docket for this rulemaking.                         impact analyses contain two parts. The                explanation of these economic impacts
                                                                                                         economic impacts of the final                         can be found in the Regulatory
                                                 3. P&R II NESHAP                                        rulemaking on small entities are                      Flexibility Act (RFA) section later in
                                                   For the P&R II NESHAP, the EPA                        calculated as the percentage of total                 this preamble and in the economic
                                                 estimates this final action will cost                   annualized costs incurred by affected                 impact analysis that is included in the
                                                 approximately $2.9 million in total                     ultimate parent owners to their                       RIA for this final rulemaking.
                                                 capital costs and $1.7 million per year                 revenues. This ratio provides a measure
                                                 in total annualized costs (including                    of the direct economic impact to                      E. What are the benefits?
                                                 product recovery). More information                     ultimate parent owners of HON, P&R I,
                                                 about the estimated cost of this final                  and P&R II facilities and NSPS subpart                   The emissions controls required by
                                                 action for the P&R II NESHAP can be                     VVb, IIIa, NNNa, and RRRa facilities                  these rules are expected to reduce
                                                 found in the documents referenced in                    while presuming no impact on                          emissions of a number of HAP. As
                                                 sections III.B through III.D of the                     consumers. We estimate the average                    stated in section V.B of this preamble,
                                                 preamble to the proposed rule (88 FR                    small entity impacted by this final                   this final action will reduce HAP
                                                 25080, April 25, 2023).                                 action will incur total annualized costs              emissions by at least 1,372 tpy and VOC
                                                                                                         of 0.5 percent of their revenue, with                 emissions by 3,820 tpy from HON, P&R
                                                 4. NSPS Subpart VVb                                     none exceeding 1.3 percent, not                       I, and P&R II emission sources as well
                                                   For the final NSPS subpart VVb, the                   considering product recovery from                     as the NSPS SOCMI air oxidation unit
                                                 EPA estimates this final action will cost               compliance. With product recovery, the                processes, distillation operations,
                                                 approximately $7.7 million in total                     EPA estimates that the average small                  reactor processes, and equipment leaks
                                                 capital costs and $1.1 million per year                 entity impacted by the rulemaking will                sources (see Table 7 of this preamble).
                                                 in total annualized costs (including                    incur total annualized costs of 0.49                  The health effects associated with the
                                                 product recovery). More information                     percent of their revenue, with none                   main HAP of concern from SOCMI
                                                 about the estimated cost of this final                  exceeding 1.4 percent. We estimate that               (found within the HON), P&R I, and P&R
                                                 action for NSPS subpart VVb can be                      25 percent (2 in total) of impacted small             II source categories are discussed fully
                                                 found in the document titled CAA                        entities will incur total annualized costs            in Chapter 4 of the RIA: EtO (Section
                                                 111(b)(1)(B) review for the SOCMI                       greater than 1 percent of their revenue,              4.1.1), chloroprene (Section 4.1.2),
                                                 Equipment Leaks NSPS Subpart VVa                        and none will incur total annualized                  benzene (Section 4.1.3), 1,3-butadiene
                                                 (see Docket Item No. EPA–HQ–OAR–                        costs greater than 3 percent of their                 (Section 4.1.4), vinyl chloride (Section
                                                 2022–0730–0096).                                        revenue. These estimates are unchanged                4.1.5), ethylene dichloride (Section
                                                                                                         when including product recovery. This                 4.1.6), chlorine (Section 4.1.7), maleic
                                                 5. NSPS Subparts IIIa, NNNa, and RRRa                   is based on a conservative estimate of                anhydride (Section 4.1.8) and acrolein
                                                   For the final NSPS subparts IIIa,                     costs imposed on ultimate parent                      (Section 4.1.9). This final action is
                                                 NNNa, and RRRa, the EPA estimates                       companies, where total annualized costs               projected to reduce EtO emissions from
                                                 this final action will cost approximately               are imposed on a facility are at the                  HON processes by approximately 54 tpy
                                                 $27.8 million in total capital costs and                upper bound of what is possible under                 and reduce chloroprene emissions from
                                                 $6.3 million per year in total annualized               the rule and do not include product                   Neoprene Production processes subject
                                                 costs (including product recovery).                     recovery as an offset to the annualized               to the P&R I NESHAP by approximately
                                                 More information about the estimated                    costs.                                                14 tpy. We also estimate that the final
                                                 cost of this final action for NSPS                         In addition, we provide a fuller                   amendments to the NESHAP will
                                                 subparts IIIa, NNNa, and RRRa can be                    economic impact analysis using costs of               reduce other HAP emissions (excluding
                                                 found in the document titled CAA                        the HON and P&R I and II NESHAP that                  EtO and chloroprene) from the SOCMI,
                                                 111(b)(1)(B) review for the SOCMI air                   estimates changes in affected chemical                P&R I, and P&R II source categories by
                                                 oxidation unit processes, distillation                  product price and output related to the               approximately 1,304 tpy. We also
                                                 operations, and reactor processes NSPS                  impact of the compliance costs on                     estimate that the final amendments to
                                                 subparts III, NNN, and RRR—FINAL,                       producers and consumers of such                       the NESHAP will reduce excess
                                                 which is available in the docket for this               chemical products for each of these final             emissions of HAP from flares in the
                                                 rulemaking.                                             rules. There are seven chemical                       SOCMI and P&R I source categories by
                                                                                                         products included in the economic                     an additional 4,858 tpy. The Agency
                                                 D. What are the economic impacts?                       impact analysis—butadiene, styrene,                   was unable to estimate HAP emission
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                                                   The EPA conducted economic impact                     acetone, acrylonitrile, ethylene                      reductions for the final amendments to
                                                 analyses for this rulemaking, in a                      dichloride, ethylene glycol, and EtO.                 the NSPS in this rulemaking.




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                                                         Table 7. Summary of the HAP and voe Emission Reductions per Year by Rule

                                                                                                                             HAP Emission                               voe Emission
                                                                                                                              Reductions                                  Reductions
                                                                                  Rule                                          (tov)                                       (tov)
                                                           HON                                                      1,107                                      1,919
                                                           P&RINESHAP                                               264                                        278
                                                           P&R II NESHAP                                            1                                          1
                                                           NSPS Subpart VVb                                         N/A1                                       340
                                                           NSPS Subparts Illa, NNNa, and                            NIA                                        1,281
                                                           RRRa
                                                           Flare Excess Reductions                                  4,858                                      19,889
                                                           Total                                                    6,230                                      23,708
                                                            1 N/A - not available. No HAP reductions are estimated for the final NSPS included in this

                                                         rulemaking.

                                                    Quantifying and monetizing the                       summarized in the Technical Support                    respiratory mortality, and a ‘‘suggestive
                                                 economic value of reducing the risk of                  Document for the Final Revised Cross                   of, but not sufficient to infer, a causal
                                                 cancer and non-cancer effects is made                   State Air Pollution Rule Update.68 This                relationship’’ for cardiovascular effects,
                                                 difficult by the lack of a central estimate             document synthesizes the toxicological,                reproductive effects, central nervous
                                                 of cancer and non-cancer risk and                       clinical, and epidemiological evidence                 system effects, metabolic effects, and
                                                 estimates of the value of an avoided case               to determine whether each pollutant is                 total mortality.
                                                 of cancer (fatal and non-fatal) and                     causally related to an array of adverse                   The combined total present value (PV)
                                                 morbidity effects. Due to methodology                   human health outcomes associated with                  of the monetized human health benefits
                                                 and data limitations, we did not attempt                either acute (i.e., hours or days-long) or
                                                                                                                                                                for this final action are $77 million and
                                                 to monetize the health benefits of                      chronic (i.e., years-long) exposure. For
                                                                                                                                                                $690 million at a 3 percent discount rate
                                                 reductions in HAP in this analysis.                     each outcome, the Ozone ISA reports
                                                                                                                                                                and $53 million and $475 million at a
                                                 Instead, we are providing a qualitative                 this relationship to be causal, likely to
                                                                                                                                                                7 percent discount rate. The combined
                                                 discussion in the RIA of the health                     be causal, suggestive of a causal
                                                                                                                                                                total PV of the net monetized benefits
                                                 effects associated with HAP emitted                     relationship, inadequate to infer a
                                                                                                                                                                (monetized health benefits plus
                                                 from sources subject to control under                   causal relationship, or not likely to be
                                                                                                                                                                monetized climate benefits minus
                                                 the final action. Health effects from                   a causal relationship.
                                                                                                            In brief, the Ozone ISA found short-                climate disbenefits) for the final
                                                 reduced exposure to EtO, chloroprene,
                                                                                                         term (less than one month) exposures to                amendments are negative $89 million at
                                                 benzene, 1,3-butadiene, vinyl chloride,
                                                                                                         ozone to be causally related to                        the 3 percent discount rate to negative
                                                 ethylene dichloride, chlorine,
                                                                                                         respiratory effects, a ‘‘likely to be                  $110 million at the 7 percent discount
                                                 maleicanhydride, and acrolein are all
                                                                                                         causal’’ relationship with metabolic                   rate and $480 million at the 3 percent
                                                 HAP emissions expected to be reduced
                                                                                                         effects and a ‘‘suggestive of, but not                 discount rate to $270 million at the 7
                                                 by this rule. These pollutants all have
                                                                                                         sufficient to infer, a causal relationship’’           percent discount rate. The combined
                                                 been associated with cancer risk is
                                                                                                         for central nervous system effects,                    total equivalent annual value (EAV) of
                                                 human among other acute health effects.
                                                    The emission controls installed to                   cardiovascular effects, and total                      the benefits for the final amendments
                                                 comply with these final rules are also                  mortality. The Ozone ISA reported that                 are negative $7 million at the 3 percent
                                                 expected to reduce VOC emissions                        long-term exposures (one month or                      discount rate to negative $7.7 million at
                                                 which, in conjunction with NOX and in                   longer) to ozone are ‘‘likely to be                    the 7 percent discount rate and $40
                                                 the presence of sunlight, form ground-                  causal’’ for respiratory effects including             million at the 3 percent discount rate to
                                                 level ozone (O3). This section reports                                                                         negative $34 million at the 7 percent
                                                 the estimated ozone-related benefits of                 Oxidants. U.S. Environmental Protection Agency.        discount rate. See Table 18 in section
                                                 reducing VOC emissions in terms of the                  Washington, DC. Office of Research and                 VI.A of this preamble for additional
                                                 number and value of avoided ozone-
                                                                                                         Development. EPA/600/R–20/012. Available at:           details. For all estimates, we
                                                                                                         https://www.epa.gov/isa/integrated-science-            summarized the monetized ozone-
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                                                 attributable deaths and illnesses.                      assessment-isa-ozone-and-related-photochemical-
                                                    As a first step in quantifying O3-                   oxidants.                                              related health benefits using discount
                                                 related human health impacts, the EPA                      68 U.S. EPA. 2021. Technical Support Document       rates of 3 percent and 7 percent for the
                                                 consults the Integrated Science                         (TSD) for the Final Revised Cross-State Air            15-year analysis period of these rules
                                                                                                         Pollution Rule Update for the 2008 Ozone Season        discounted back to 2023 rounded to 2
                                                 Assessment for Ozone (Ozone ISA)67 as                   NAAQS Estimating PM2.5- and Ozone-Attributable
                                                                                                         Health Benefits. https://www.epa.gov/sites/default/
                                                                                                                                                                significant figures. We present two
                                                   67 U.S. EPA (2020). Integrated Science                files/2021-03/documents/estimating_pm2.5-_and_         benefits estimates that are separated by
                                                                                                                                                                                                             ER16MY24.010</GPH>




                                                 Assessment for Ozone and Related Photochemical          ozone-attributable_health_benefits_tsd.pdf.            the word ‘‘and’’ to signify that they are


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                                                 two separate estimates. The estimates do                $1.5 million at a 7 percent discount rate.            5. NSPS Subpart IIIa, NNNa, and RRRa
                                                 not represent lower- and upper-bound                    The PV of the net monetized benefits
                                                 estimates. For a full explanation of why                (monetized health benefits plus                          For the final NSPS subparts IIIa,
                                                 we present monetized benefits estimates                 monetized climate benefits minus                      NNNa, and RRRa, the EPA elected to
                                                 in this way, please refer to Chapter 4 of               monetized climate disbenefits) for the                use the BPT approach because we
                                                 the RIA. For the full set of underlying                 final amendments for the P&R I                        cannot be confident of the location of
                                                 calculations see the benefits workbook                  NESHAP are negative $22 million at the                new facilities that would be subject to
                                                 in the RIA, which is available in the                   3 percent discount rate to negative $22               these final NSPS. BPT estimates provide
                                                 docket for this rulemaking. In addition,                million at the 7 percent discount rate                the total monetized human health
                                                 we include the monetized disbenefits 69                 and negative $24 million at the 3                     benefits (the sum of premature mortality
                                                 (i.e., negative effects) from additional                percent discount rate to negative $24                 and premature morbidity) of reducing
                                                 CO2 and NOX emissions, which occur                      million at the 7 percent discount rate.               one ton of the VOC precursor for ozone
                                                 with the HON, the P&R I NESHAP, and                     The EAV of the benefits for the final                 from a specified source. Specifically, in
                                                 NSPS IIIa, NNNa, and RRRa, but not the                  amendments for the P&R I NESHAP are                   this analysis, we multiplied the
                                                 P&R II NESHAP or NSPS subpart VVb                       negative $1.7 million at the 3 percent                estimates from the SOCMI sector by the
                                                 since there are no additional CO2                       discount rate to negative $1.7 million at             corresponding emission reductions. The
                                                 emissions as a result of these two final                the 7 percent discount rate and negative              PV of the monetized human health
                                                 rules.                                                  $1.8 million at the 3 percent discount                benefits from these three subparts are $6
                                                                                                         rate to negative $1.8 million at the 7                million and $54 million at a 3 percent
                                                 1. HON                                                                                                        discount rate and $5.3 million and $47
                                                                                                         percent discount rate. In addition, this
                                                    The PV of the monetized human                        rule will provide unmonetized benefits                million at a 7 percent discount rate.
                                                 health benefits for the HON are $70                     from 264 tpy of HAP reductions,                          We then add these monetized human
                                                 million and $630 million at a 3 percent                 including an approximate 14 tpy                       health benefits to the monetized climate
                                                 discount rate and $48 million and $420                  reduction in chloroprene emissions.                   benefits and disbenefits to provide a
                                                 million at a 7 percent discount rate. The                                                                     total estimate of monetized benefits for
                                                 PV of the net monetized benefits                        3. P&R II NESHAP
                                                                                                                                                               these final NSPS. The PV of the net
                                                 (monetized health benefits plus                            The PV of the net monetized benefits               monetized benefits (monetized health
                                                 monetized climate benefits minus                        (monetized health benefits plus                       benefits plus monetized climate benefits
                                                 climate disbenefits)70 for the final                    monetized climate benefits minus                      minus monetized climate disbenefits)
                                                 amendments for the HON are negative                     monetized climate disbenefits) for the
                                                                                                                                                               for the final NSPS subparts IIIa, NNNa,
                                                 $70 million at the 3 percent discount                   final amendments for the P&R II
                                                                                                                                                               and RRRa are negative $8 million and
                                                 rate to negative $92 million at the 7                   NESHAP are zero since there are
                                                                                                                                                               negative 56 million at the 3 percent
                                                 percent discount rate and $490 million                  minimal VOC emission reductions (no
                                                                                                                                                               discount rate and negative $4 million
                                                 at the 3 percent discount rate to $280                  more than 1 tpy), and there are no
                                                                                                                                                               and negative $46 million at the 7
                                                 million at the 7 percent discount rate.                 changes in climate-related emissions
                                                                                                                                                               percent discount rate. The EAV of the
                                                 The EAV of the benefits for the final                   (CO2, methane, N2O).
                                                                                                                                                               benefits for the final NSPS subparts IIIa,
                                                 amendments for the HON are negative                     4. NSPS Subpart VVb                                   NNNa, and RRRa are negative $0.6
                                                 $5.1 million at the 3 percent discount                                                                        million at the 3 percent discount rate
                                                 rate to negative $5.8 million at the 7                     For the final NSPS subpart VVb, the
                                                                                                         EPA the EPA elected to use the benefit                and negative $0.3 million at the 7
                                                 percent discount rate and $42 million at                                                                      percent discount rate and negative $4.7
                                                 the 3 percent discount rate to negative                 per-ton (BPT) approach because we
                                                                                                         cannot be confident of the location of                million at the 3 percent discount rate
                                                 $35 million at the 7 percent discount                                                                         and negative $4.9 million at the 7
                                                 rate. In addition, this rule will provide               new facilities that would be subject to
                                                                                                         these final NSPS, the EPA elected to use              percent discount rate.
                                                 unmonetized benefits from the
                                                 reduction of 1,107 tons of HAP emission                 the BPT approach. BPT estimates                       F. What analysis of environmental
                                                 reductions. This includes positive                      provide the total monetized human                     justice did we conduct?
                                                 health effects from reduced exposure to                 health benefits (the sum of premature
                                                 EtO, chloroprene, benzene, 1,3-                         mortality and premature morbidity) of                   For purposes of analyzing regulatory
                                                 butadiene, vinyl chloride, ethylene                     reducing one ton of the VOC precursor                 impacts, the EPA relies upon its June
                                                 dichloride, chlorine, maleicanhydride,                  for ozone from a specified source.                    2016 ‘‘Technical Guidance for Assessing
                                                 and acrolein.                                           Specifically, in this analysis, we                    Environmental Justice in Regulatory
                                                                                                         multiplied the estimates from the                     Analysis,’’ which provides
                                                 2. P&R I NESHAP                                         SOCMI sector by the corresponding                     recommendations that encourage
                                                    The PV of the monetized human                        emission reductions. Also, there are no               analysts to conduct the highest quality
                                                 health benefits for the P&R I NESHAP                    climate benefits or disbenefits                       analysis feasible, recognizing that data
                                                 are negative $0.2 million and negative                  associated with this final NSPS. Thus,                limitations, time, resource constraints,
                                                 $1.7 million at a 3 percent discount rate               all monetized benefits are human health               and analytical challenges will vary by
                                                 and negative $0.2 million and negative                  benefits from VOC reductions. The PV                  media and circumstance. The Technical
                                                                                                         of the monetized human health benefits                Guidance states that a regulatory action
                                                   69 Monetized climate benefits and disbenefits are     from this subpart is $1.3 million and                 may involve potential EJ concerns if it
                                                 based on changes (increases) in CO2 and N2O             $12 million at a 3 percent discount rate              could: (1) create new disproportionate
                                                 emissions and decreases in CH4 emissions and are        and $0.9 million and $7.9 million at a                impacts on communities with EJ
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                                                 calculated using three different estimates of the
                                                 social cost of each greenhouse gas (SC–GHG) (2.5        7 percent discount rate. The EAV of the               concerns; (2) exacerbate existing
                                                 percent, 2 percent, and 1.5 percent discount rates).    benefits for the final NSPS subpart VVb               disproportionate impacts on
                                                 For the presentational purposes, we show the            are $0.10 million at the 3 percent                    communities with EJ concerns; or (3)
                                                 benefits and disbenefits associated with the SC–        discount rate to $0.09 million at the 7               present opportunities to address
                                                 GHG at a 2 percent discount rate.
                                                   70 Climate disbenefit estimates include CO and        percent discount rate and $0.93 million               existing disproportionate impacts on
                                                                                               2
                                                 N2O increases in emissions. Climate benefit             at the 3 percent discount rate to $0.82               communities with EJ concerns through
                                                 estimates include methane decreases in emissions.       million at the 7 percent discount rate.               this action under development.


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                                                   The EPA’s EJ technical guidance                       miles) and 50 km (∼31 miles) of the                   living within 10 km of HON facilities is
                                                 states that ‘‘[t]he analysis of potential EJ            facilities. The baseline risk-based                   similar to or below the national average.
                                                 concerns for regulatory actions should                  demographic analysis is an assessment                    The baseline cancer risk-based
                                                 address three questions: (A) Are there                  of risks to individual demographic                    demographic analysis, which focuses on
                                                 potential EJ concerns associated with                   groups in the population living within                populations that have higher cancer
                                                 environmental stressors affected by the                 10 km and 50 km of the facilities prior               risks, suggests that Hispanic/Latino
                                                 regulatory action for population groups                 to the implementation of any controls                 individuals and Black individuals living
                                                 of concern in the baseline? (B) Are there               required by this final action                         near the facilities are overrepresented
                                                 potential EJ concerns associated with                   (‘‘baseline’’). The post-control risk-based           with respect to the national average at
                                                 environmental stressors affected by the                 demographic analysis is an assessment                 all cancer risk levels greater than 1-in-
                                                 regulatory action for population groups                 of risks to individual demographic                    1 million. In addition, the percent of
                                                 of concern for the regulatory option(s)                 groups in the population living within                households with linguistic isolation (in
                                                 under consideration? (C) For the                        10 km and 50 km of the facilities after               which all household members over the
                                                 regulatory option(s) under                              implementation of the controls required               age of 14 only have limited English
                                                 consideration, are potential EJ concerns                by this final action (‘‘post-control’’). In           proficiency) increases as the Hispanic/
                                                 created or mitigated compared to the                    this preamble, we focus on the results                Latino population increases. At all risk
                                                 baseline?’’ 71                                          from the demographic analyses using a                 levels greater than or equal to 1-in-1-
                                                   The environmental justice analysis is                 10 km radius because this buffer                      million, in cases where the percentage
                                                 presented for the purpose of providing                  distance encompasses all the facility                 of the population below the poverty
                                                 the public with as full as possible an                  maximum individual risk (MIR)                         level is 1.5 to 2 times the national
                                                 understanding of the potential impacts                  locations, captures 97 percent of the                 average, these populations are also
                                                 of this final action. The EPA notes that                population with baseline cancer risks                 above the national averages for Black,
                                                 analysis of such impacts is distinct from               greater than or equal to 50-in-1 million              American Indian or Alaska Native,
                                                 the determinations finalized in this                    from SOCMI source category emissions,                 Hispanic/Latino, or Other Race/
                                                 action under CAA sections 111 and 112,                  and captures 100 percent of the                       Multiracial populations.
                                                 which are based solely on the statutory                 population with such baseline risks                      The post-control risk-based
                                                 factors the EPA is required to consider                 greater than 100-in-1 million. The                    demographic analysis shows that the
                                                 under those sections.                                   results of the demographic analyses for               controls required by this final action
                                                                                                         populations living within 50 km of                    will notably reduce the number of
                                                 1. SOCMI Source Category                                                                                      people who are exposed to cancer risks
                                                                                                         facilities are included in the document
                                                 Demographics                                                                                                  resulting from SOCMI source category
                                                                                                         titled Analysis of Demographic Factors
                                                    For the SOCMI source category, the                                                                         emissions at all risk levels. At greater
                                                                                                         for Populations Living Near Hazardous
                                                 EPA examined the potential for the 195                                                                        than or equal to a cancer risk of 1-in-1
                                                                                                         Organic NESHAP (HON) Operations—
                                                 HON facilities (for which the EPA had                                                                         million, the number of individuals
                                                                                                         Final, which is available in the docket
                                                 HAP emissions inventories) to pose                                                                            exposed will decrease from 2.8 million
                                                                                                         for this rulemaking.
                                                 concerns to communities living in                                                                             to 2.7 million. At greater than or equal
                                                                                                            For all three demographic analyses,                to a cancer risk of 50-in-1 million, the
                                                 proximity to facilities, both in the                    the affected populations (i.e., those
                                                 baseline and under the control option                                                                         number of individuals exposed will
                                                                                                         living within 10 km of the facilities) are            decrease from 300,000 to 30,000. And
                                                 established in this final action.                       compared to the national population.
                                                 Specifically, the EPA analyzed how                                                                            after the control is implemented, there
                                                                                                         The total population, population                      will be no people who are exposed to
                                                 demographics and risk are distributed                   percentages, and population count for                 cancer risks greater than 100-in-1
                                                 both pre- and post-control. The                         each demographic group for the entire                 million resulting from SOCMI source
                                                 methodology and detailed results of the                 U.S. population are shown in the                      category emissions. Although all
                                                 demographic analysis are presented in                   column titled ‘‘Nationwide Average for                demographic populations will see
                                                 the document titled Analysis of                         Reference’’ in Tables 8 through 10 of                 reductions in the number of individuals
                                                 Demographic Factors for Populations                     this preamble. These national data are                exposed at each level of risk, there will
                                                 Living Near Hazardous Organic                           provided as a frame of reference to                   be individuals who still remain at a
                                                 NESHAP (HON) Operations—Final,                          compare the results of the baseline                   cancer risk greater than or equal to 1-in-
                                                 which is available in the docket for this               proximity analysis, the baseline cancer               1 million or greater than or equal to 50-
                                                 rulemaking.                                             risk-based analysis, and the post-control             in-1 million risk post-control. The
                                                    To examine the potential for                         cancer risk-based analysis.                           demographic composition of those
                                                 environmental justice concerns, the EPA                    The results of the baseline proximity              individuals still exposed to risk greater
                                                 conducted three different demographic                   analysis indicate that a total of 9.3                 than or equal to 1-in-1 million will be
                                                 analyses: a baseline proximity analysis,                million people live within 10 km of the               similar to the demographic composition
                                                 baseline cancer risk-based analysis (i.e.,              195 HON facilities. The percent of the                of the individuals exposed at baseline.
                                                 before implementation of any controls                   population that is Black (25 percent) is              At the greater than or equal to 50-in-1
                                                 required by this final action), and post-               more than double the national average                 million risk level, the percentages of
                                                 control cancer risk-based analysis (i.e.,               (12 percent), and the percent of the                  most demographic populations will be
                                                 after implementation of the controls                    population that is Hispanic or Latino                 similar to the national average
                                                 required by this final action). The                     (22 percent) is also higher than the                  percentages with the exception of the
                                                 baseline proximity demographic                          national average (19 percent). The
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                                                                                                                                                               Hispanic/Latino population, which will
                                                 analysis is an assessment of individual                 percent of people living below the                    still be overrepresented with respect to
                                                 demographic groups in the total                         poverty level and the percent of people               the national average. At the greater than
                                                 population living within 10 km (∼6.2                    over the age of 25 without a high school              100-in-1 million risk level, there will be
                                                   71 ‘‘Technical Guidance for Assessing
                                                                                                         diploma are higher than the national                  no individuals exposed to cancer risk
                                                 Environmental Justice in Regulatory Analysis’’, U.S.
                                                                                                         averages. The results of the baseline                 post-control, so there will be no
                                                 EPA, June 2016. Quote is from Section 3—Key             proximity analysis indicate that the                  disparities among demographic groups
                                                 Analytic Considerations, page 11.                       proportion of other demographic groups                at this risk level. The actions of this


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                                                 final rulemaking will improve human                     with a cancer risk greater than or equal              SOCMI source category emissions
                                                 health of current and future populations                to 1-in-1 million resulting from SOCMI                greater than or equal to 1-in-1 million
                                                 that live near these facilities. For more               source category emissions. The 111                    have a percent American Indian or
                                                 details see the remainder of this section.              HON facilities are located across 17                  Alaska Native population that is more
                                                                                                         states, but two-thirds of them are                    than 2 times the national average. These
                                                 a. Baseline Proximity Analysis
                                                                                                         located in Texas and Louisiana (50 in                 facilities are located in Texas (3),
                                                    The column titled ‘‘Baseline                         Texas and 33 in Louisiana). Ninety                    Louisiana, Montana, Illinois, and
                                                 Proximity Analysis for Pop. Living                      percent of the people with risks greater              Kansas.
                                                 within 10 km of HON Facilities’’ in                     than or equal to 1-in-1 million are living               The percent of the population below
                                                 Tables 8 through 10 of this preamble                    around 29 of the 111 HON facilities. All              the poverty level with cancer risks
                                                 shows the share and count of people for                 but three of these 29 facilities are                  greater than or equal to 1-in-1 million
                                                 each of the demographic categories for                  located in Texas and Louisiana. The                   resulting from SOCMI source category
                                                 the total population living within 10 km                percent of the baseline population with               emissions (18 percent, 513,000 people)
                                                 (∼6.2 miles) of HON facilities. These are               estimated cancer risks greater than or                is above the national average (13
                                                 the results of the baseline proximity                   equal to 1-in-1 million who are Black                 percent). The percent of the population
                                                 analysis and are repeated in Tables 8                   (25 percent, 692,000 people) is well                  living below the poverty level within 10
                                                 through 10 of this preamble for easy                    above the average percentage of the                   km of 19 facilities is twice the national
                                                 comparison to the risk-based analyses                   national population that is Black (12                 average. The percent of the population
                                                 discussed later.                                        percent). The Black population living                 over 25 years old without a high school
                                                    Approximately 9.3 million people live                within 10 km of two facilities in                     diploma with cancer risks greater than
                                                 within 10 km of the 195 HON facilities                  Louisiana account for about a quarter of              or equal to 1-in-1 million resulting from
                                                 assessed. The results of the proximity                  the total Black population with risks                 SOCMI source category emissions (20
                                                 demographic analysis indicate that the                  greater than or equal to 1-in-1 million               percent, 561,000 people) is greater than
                                                 percent of the population that is Black                 resulting from SOCMI source category                  the national average (13 percent) as well
                                                 (25 percent, 2.35M people) is more than                 emissions.                                            as greater than the overall percent of the
                                                 double the national average (12                            The percent of the population with                 population living near HON facilities
                                                 percent). The percent of the population                 cancer risks greater than or equal to 1-              who are over 25 years old without a
                                                 that is Hispanic or Latino (22 percent,                 in-1 million resulting from SOCMI                     high school diploma (16 percent, 1.5
                                                 2M people) is higher than the national                  source category emissions prior to the                million people).
                                                 average (19 percent). The percent of                    controls required in this final action that              In the baseline, there are 322,000
                                                 people living below the poverty level                   is Hispanic or Latino (34 percent,                    people living around 21 HON facilities
                                                 (19 percent, 1.75M people) and percent                  958,000 people) is significantly higher               with a cancer risk greater than or equal
                                                 of people over the age of 25 without a                  than that in the baseline proximity                   to 50-in-1 million resulting from SOCMI
                                                 high school diploma (16 percent, 1.5M                   analysis (22 percent, 2 million people)               source category emissions. The 21 HON
                                                 people) are higher than the national                    and well above the national average (19               facilities are located across 6 states, but
                                                 averages (13 percent and 12 percent,                    percent). The population around an                    two-thirds of them are located in Texas
                                                 respectively). The baseline proximity                   Illinois facility is over 75 percent                  and Louisiana. Ninety-six percent of the
                                                 analysis indicates that the proportion of               Hispanic or Latino, and accounts for a                people with risks greater than or equal
                                                 other demographic groups living within                  quarter of the Hispanic/Latino                        to 50-in-1 million resulting from SOCMI
                                                 10 km of HON facilities is similar to or                population with risks greater than or                 source category emissions live around 5
                                                 below the national average.                             equal to 1-in-1 million resulting from                HON facilities, which are located in
                                                                                                         SOCMI source category emissions.                      Texas or Louisiana. The percent of the
                                                 b. Baseline Risk-Based Demographics
                                                                                                         Another group of 5 facilities in the                  population that is Black with baseline
                                                    The baseline risk-based demographic                  Houston/Channelview Texas area have                   cancer risk greater than or equal to 50-
                                                 analysis results are shown in the                       local populations that are between 60                 in-1 million resulting from SOCMI
                                                 ‘‘baseline’’ column of Tables 8 through                 and 90 percent Hispanic/Latino, and                   source category emissions (18 percent,
                                                 10 of this preamble. This analysis                      those communities account for 31                      59,000 people) is above the national
                                                 focused on the populations living                       percent of the Hispanic/Latino                        average (12 percent) but is significantly
                                                 within 10 km (∼6.2 miles) of the HON                    population with risks greater than or                 lower than the percent of the population
                                                 facilities with estimated cancer risks                  equal to 1-in-1 million resulting from                that is Black with risks greater than or
                                                 greater than or equal to 1-in-1 million                 SOCMI source category emissions. The                  equal to 1-in-1 million resulting from
                                                 resulting from SOCMI source category                    percent of the population that is                     SOCMI source category emissions (25
                                                 emissions (Table 8 of this preamble),                   linguistically isolated in the baseline               percent, 692,000 people). The
                                                 greater than or equal to 50-in-1 million                with cancer risks greater than or equal               percentage of Black individuals is
                                                 (Table 9 of this preamble), and greater                 to 1-in-1 million (8 percent, 228,000                 greater than the national average near
                                                 than 100-in-1 million (Table 10 of this                 people) is higher than the percentage in              over half of the facilities (12 facilities)
                                                 preamble). The risk analysis indicated                  the baseline proximity analysis (5                    where cancer risk is greater than 50-in-
                                                 that emissions from the source category,                percent, 510,000 people). The areas with              1 million resulting from HON source
                                                 prior to the controls required in this                  the highest Hispanic/Latino population                category emissions. The populations
                                                 final action, expose 2.8 million people                 are some of those with the highest                    near two facilities in Texas account for
                                                 living near 111 facilities to a cancer risk             percent linguistic isolation.                         about 70 percent of the number of Black
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                                                 greater than or equal to 1-in-1 million,                   Overall, the percent of the baseline               individuals with risks greater than or
                                                 322,000 people living near 21 facilities                population that is American Indian or                 equal to 50-in-1 million resulting from
                                                 to a cancer risk greater than or equal to               Alaska Native with risks greater than or              SOCMI source category emissions.
                                                 50-in-1 million, and 83,000 people                      equal to 1-in-1 million resulting from                   The percentage of the population that
                                                 living near 8 facilities to a cancer risk               SOCMI source category emissions (0.2                  is Hispanic/Latino with risks greater
                                                 greater than 100-in-1 million.                          percent) is well below the national                   than or equal to 50-in-1 million
                                                    In the baseline, there are 2.8 million               average (0.7 percent). The population                 resulting from SOCMI source category
                                                 people living around 111 HON facilities                 with baseline risks resulting from                    emissions (25 percent, 81,000 people) is


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                                                 similar to the percentage of the                           The percentage of the population that              percentage of the population that is
                                                 population that is Hispanic/Latino in                   is Hispanic/Latino with risks greater                 Black, American Indian or Alaska
                                                 the total population living within 10 km                than 100-in-1 million resulting from                  Native, Hispanic/Latino, or Other/
                                                 of the facilities (22 percent). The percent             SOCMI source category emissions (26                   Multiracial is above the national
                                                 of population that is Hispanic/Latino                   percent, 22,000 people) is above the                  average.
                                                 with cancer risks greater than or equal                 national average (19 percent) and is
                                                                                                                                                               c. Post-Control Risk-Based
                                                 to 50-in-1 million resulting from SOCMI                 similar to the share of the population
                                                                                                                                                               Demographics
                                                 source category emissions is above the                  that is Hispanic/Latino with cancer risks
                                                 national average at over half of the                    greater than or equal to 50-in-1 million                 This analysis focused on the
                                                 facilities (13 facilities). The population              resulting from SOCMI source category                  populations living within 10 km (∼6.2
                                                 near three facilities in Texas accounts                 emissions (25 percent, 81,000 people).                miles) of the facilities with estimated
                                                 for about 80 percent of the number of                   The share of the Hispanic and Latino                  cancer risks greater than or equal to 1-
                                                 Latino/Hispanic people with risks                       population with cancer risks greater                  in-1 million (Table 8 of this preamble),
                                                 greater than or equal to 50-in-1 million                than 100-in-1 million resulting from                  greater than or equal to 50-in-1 million
                                                 resulting from SOCMI source category                    SOCMI source category emissions is                    (Table 9 of this preamble), and greater
                                                 emissions.                                              between 2 to 3 times greater than the                 than 100-in-1 million (Table 10 of this
                                                    Overall, the percent of the population               national average at five facilities in                preamble) resulting from SOCMI source
                                                 that is American Indian or Alaska                       Texas and one in Louisiana.                           category emissions after implementation
                                                 Native with risks greater than or equal                    Overall, the percent of the baseline               of the control options for HON sources
                                                 to 50-in-1 million resulting from SOCMI                 population that is American Indian or                 investigated under the residual risk
                                                 source category emissions (0.2 percent)                 Alaska Native with risks greater than or              analysis as described in section III.B.2.a
                                                 is below the national average (0.7                      equal to 100-in-1 million resulting from              of this preamble (‘‘post-control’’). The
                                                 percent). Populations near four facilities              SOCMI source category emissions (0.2                  results of the post-control risk-based
                                                 with baseline risks greater than or equal               percent) is well below the National                   demographics analysis are in the
                                                 to 50-in-1 million resulting from SOCMI                 Average (0.7 percent).                                columns titled ‘‘Post-Control’’ of Tables
                                                 source category emissions have a                           The percentage of the population with              8 through 10 of this preamble. In this
                                                 percent American Indian or Alaska                       cancer risks greater than 100-in-1                    analysis, we evaluated how all of the
                                                 Native population that is more than 2                   million resulting from SOCMI source                   controls required by this final action
                                                 times the national average. These                       category emissions that are below the                 and emission reductions for HON
                                                 facilities are located in Texas (3) and                 poverty level (14 percent), over 25                   processes described in this action affect
                                                 Louisiana.                                              without a high school diploma (14                     the distribution of risks. This makes it
                                                    The percentage of the population with                percent), or linguistically isolated (5               possible to characterize the post-control
                                                 cancer risks resulting from SOCMI                       percent) are similar or slightly above the            risks and to evaluate whether the final
                                                 source category emissions greater than                  respective national averages. The                     action creates or mitigates potential
                                                 or equal to 50-in-1 million that are                    percent of the population below the                   environmental justice concerns as
                                                 below the poverty level (15 percent),                   poverty level is 1.5 times the national               compared to the baseline.
                                                 over 25 years old without a high school                 average at five facilities. The population               The risk analysis indicated that the
                                                 diploma (15 percent), or are                            living around three of these facilities is            number of people within 10 km of a
                                                 linguistically isolated (5 percent) are                 also 1.5 times the national average for at            facility exposed to risks greater than or
                                                 similar to or slightly above the                        least one race/ethnic demographic                     equal to 1-in-1 million resulting from
                                                 respective national averages. Of the                    category.                                             SOCMI source category emissions
                                                 population with risks greater than or                      In summary, the baseline risk-based                (Table 8 of this preamble) is reduced
                                                 equal to 50-in-1 million resulting from                 demographic analysis, which focuses on                from 2.8 million people in the baseline
                                                 SOCMI source category emissions, the                    populations that are expected to have                 to approximately 2.7 million people
                                                 percentage of the population below the                  higher cancer risks resulting from                    after implementation of the HON
                                                 poverty level is twice the national                     SOCMI source category emissions,                      controls required by this final action.
                                                 average near five facilities. For all 5 of              suggests that Hispanic or Latino                      The populations with a cancer risk
                                                 these facilities, the percentage of the                 individuals are disproportionally                     greater than or equal to 1-in-1 million
                                                 population is also 2 times the national                 overrepresented at all cancer risk levels.            resulting from SOCMI source category
                                                 average percentage for at least one race/               Specifically, the percentage of the                   emissions are located around 111
                                                 ethnic demographic category.                            population that is Hispanic/Latino is                 facilities for both the baseline and post-
                                                    In the baseline, there are 83,000                    almost twice the national average at a                control.
                                                 people living around 8 HON facilities                   cancer risk equal to or greater than 1-in-               The post-control population living
                                                 with a cancer risk resulting from SOCMI                 1 million and almost 1.5 times the                    within 10 km of a facility with
                                                 source category emissions greater than                  national average at the 50-in-1-million               estimated cancer risks greater than or
                                                 100-in-1 million. These 8 HON facilities                and 100-in-1-million risk levels.                     equal to 1-in-1 million resulting from
                                                 are located in Texas and Louisiana. The                 Similarly, the Black population is                    SOCMI source category emissions
                                                 percent of the population that is Black                 disproportionately overrepresented at                 (Table 8 of this preamble) has similar
                                                 with baseline cancer risk greater than                  all cancer risk levels in the baseline risk           demographic percentages to the baseline
                                                 100-in-1 million resulting from SOCMI                   analysis. The percentage of Black                     population with risks greater than or
                                                 source category emissions (14 percent)                  individuals with risks greater than or                equal to 1-in-1 million. However, the
                                                 is just above the national average (12                  equal to 1-in-1 million resulting from                number of individuals with risks greater
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                                                 percent). The percentage of the Black                   SOCMI source category emissions is                    than or equal to 1-in-1 million resulting
                                                 population with cancer risks greater                    twice the national average and 1.5 times              from SOCMI source category emissions
                                                 than 100-in-1 million resulting from                    the national average at the 50-in-1-                  is reduced in each demographic.
                                                 SOCMI source category emissions is                      million risk level. In most cases, when               Specifically, the percentage of the
                                                 between 2 to 4 times greater than the                   the percentage of the population below                population with risks greater than or
                                                 national average at three facilities in                 the poverty level is greater than 1.5                 equal to 1-in-1 million resulting from
                                                 Texas and one in Louisiana.                             times the national average, the                       SOCMI source category emissions that is


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                                                 Black remains high at 25 percent in the                 than or equal to 50-in-1 million                         The percent of the population with
                                                 post-control scenario, but the number of                resulting from SOCMI source category                  risks greater than or equal to 50-in-1
                                                 Black individuals with risks at or above                emissions (Table 9 of this preamble) is               million resulting from SOCMI source
                                                 1-in-1 million is reduced by over 25,000                reduced significantly from 322,000                    category emissions whose income is
                                                 people from 692,000 in the baseline to                  people in the baseline to 29,000 after                below the poverty level (11 percent) is
                                                 664,000 in the post-control scenario.                   implementation of the controls required               reduced from the baseline (15 percent)
                                                    Similarly, the percentage of the                     by this final action. This represents                 post-control. In addition, the number of
                                                 population with risks greater than or                   more than a 90 percent reduction in the               individuals with risks greater than or
                                                 equal to 1-in-1 million resulting from                  number of individuals with risk greater               equal to 50-in-1 million resulting from
                                                 SOCMI source category emissions that is                 than or equal to 50-in-1 million when                 SOCMI source category emissions who
                                                 Hispanic/Latino is almost twice the                     compared to the baseline. The                         are below the poverty level is reduced
                                                 national average in the post-control                    populations living within 10 km of a                  from 47,000 to 3,000. The number of
                                                 scenario (35 percent versus 19 percent),                facility and with a cancer risk greater               individuals with risks greater than or
                                                 but the number of Hispanic/Latino                       than or equal to 50-in-1 million                      equal to 50-in-1 million resulting from
                                                 individuals with risks at or above 1-in-                resulting from SOCMI source category                  SOCMI source category emissions that
                                                 1 million is reduced by about 24,000                    emissions are located around 13                       are over 25 years old without a high
                                                 people from 958,000 in the baseline to                  facilities in the post-control scenario, 8            school diploma or are linguistically
                                                 934,000 in the post-control scenario.                   fewer facilities than in the baseline.                isolated are also greatly reduced post-
                                                    The percent of the population that is                These 13 facilities are located in                    control.
                                                 American Indian or Alaska Native with                   Alabama, Arkansas, Illinois, Kentucky,
                                                                                                                                                                  The risk analysis indicated that the
                                                 risks greater than or equal to 1-in-1                   Louisiana (5 facilities), and Texas (4
                                                                                                                                                               number of people living within 10 km
                                                 million resulting from SOCMI source                     facilities). The communities within 10
                                                                                                                                                               of a facility with risks greater than 100-
                                                 category emissions (0.2 percent) is                     km of five of those facilities (in Texas
                                                                                                                                                               in-1 million resulting from SOCMI
                                                 below the national average (0.7 percent)                (3 facilities), Alabama, and Illinois)
                                                                                                                                                               source category emissions (Table 10 of
                                                 in the post-control analysis.                           comprise 95 percent of the population
                                                                                                                                                               this preamble) is reduced from 83,000
                                                 Nevertheless, there are seven facilities                with risks greater than or equal to 50-
                                                                                                                                                               individuals in the baseline to zero
                                                 post-control with risks greater than or                 in-1 million resulting from SOCMI
                                                                                                                                                               individuals after application of the
                                                 equal to 1-in-1 million with a percent                  source category emissions.
                                                                                                            The number of individuals with risks               SOCMI controls required by this final
                                                 American Indian or Alaska Native
                                                                                                         greater than or equal to 50-in-1 million              action. Therefore, for the post-control
                                                 population that is more than 2 times the
                                                                                                         is reduced significantly for each                     risk-based demographic results, there
                                                 national average. However, the number
                                                                                                         demographic category in the post-                     are no greater than 100-in-1 million
                                                 of American Indians or Alaska Natives
                                                                                                         control scenario. Specifically, the                   demographic results to discuss.
                                                 with risks greater than or equal to 1-in-
                                                 1 million resulting from SOCMI source                   percentage of the population with risks                  In summary, as shown in the post-
                                                 category emissions is reduced from                      greater than or equal to 50-in-1 million              control risk-based demographic
                                                 6,000 in the baseline to 5,000 in the                   resulting from SOCMI source category                  analysis, the controls required by this
                                                 post-control scenario.                                  emissions that is Black decreased in the              final action significantly reduce the
                                                    The percent of the population below                  post-control scenario and is equal to the             number of people expected to have
                                                 the poverty level is the same in the post-              national average (12 percent). The                    cancer risks greater than or equal to 1-
                                                 control scenario as in the baseline (18                 number of Black individuals with risks                in-1 million, greater than or equal to 50-
                                                 percent), but the number of individuals                 at or above 50-in-1 million is reduced                in-1 million, and greater than 100-in-1
                                                 with risks greater than or equal to 1-in-               from 59,000 in the baseline to 4,000                  million resulting from SOCMI source
                                                 1 million resulting from SOCMI source                   post-control. The percentage of the                   category emissions. Although the
                                                 category emissions that are below the                   population with risks greater than or                 number of individuals with risks greater
                                                 poverty level is reduced by 20,000, from                equal to 50-in-1 million resulting from               than or equal to 1-in-1 million is
                                                 513,000 to 493,000. The percent of                      SOCMI source category emissions that is               reduced in the post-control scenario
                                                 individuals over 25 years old without a                 Hispanic/Latino increased from 25                     (reduced from 2.8 million people to 2.7
                                                 high school diploma is the same in the                  percent in the baseline to 29 percent                 million people), populations of Black
                                                 post-control scenario as in the baseline                post-control, but the number of                       individuals, Hispanic/Latino
                                                 (20 percent), but the number of                         Hispanic/Latino individuals with risks                individuals, those living below the
                                                 individuals with risks greater than or                  at or above 50-in-1 million is reduced                poverty level, and those over 25 without
                                                 equal to 1-in-1 million resulting from                  from 81,000 in the baseline to 9,000                  a high school diploma remain
                                                 SOCMI source category emissions is                      post-control.                                         disproportionately represented.
                                                 reduced by almost 23,000, from 561,000                     Overall, the percent of the population             Similarly, the number of individuals
                                                 to 538,000. The percentage of the                       that is American Indian or Alaska                     with risks greater than or equal to 50-
                                                 population that is in linguistic isolation              Native with risks greater than or equal               in-1 million is reduced significantly in
                                                 with risks greater than or equal to 1-in-               to 50-in-1 million resulting from SOCMI               the post-control scenario (reduced from
                                                 1 million resulting from SOCMI source                   source category emissions (0.3 percent)               322,000 to 29,000), but the population
                                                 category emissions is the same in the                   is well below the national average (0.7               of Black individuals remains
                                                 post-control scenario (8 percent), but the              percent) in the post-control scenario. In             disproportionately represented. Post-
                                                 number of individuals is reduced by                     addition, the number of American                      control, there are no individuals with
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                                                 almost 8,000 compared to the baseline,                  Indians or Alaska Natives with risks                  risks greater than 100-in-1 million
                                                 from 228,000 to 220,000.                                greater than or equal to 50-in-1 million              resulting from SOCMI source category
                                                    The risk analysis indicated that the                 resulting from SOCMI source category                  emissions (reduced from 83,000 people
                                                 number of people living within 10 km                    emissions is reduced from 600 in the                  to 0 people).
                                                 of a facility and exposed to risks greater              baseline to less than 100 post-control.               BILLING CODE 6560–50–P




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                                                         Table 8. Source Category: Comparison of Baseline and Post-Control Demographics of
                                                         Populations with Cancer Risk Greater than or Equal to 1-in-1 Million Resulting from
                                                         SOCMI Source Category Emissions Living Within 10 km of Facilities to the National
                                                         Average and Proximity Demographics
                                                                                                         Baseline          Cancer Risk ~l-in-1
                                                                                                        Proximity        Million within 10 km of
                                                                                                    Analysis for Pop.        HON Facilities
                                                                                    Nationwide      Living within 10
                                                                                    Average for        kmofHON                            Post-
                                                          Demographic Group          Reference          Facilities       Baseline       Control
                                                         Total Population        328M              9,271,798           2,798,319     2,675,266
                                                          Number of Facilities                      -                            195                           111               111
                                                          Race and Ethnicity by Percent [number of people]
                                                          White                      60 percent         47 percent                                             37 percent        37 percent
                                                                                     [197M]             [4.4M]                                                 [1.04M]           [976K]
                                                          Black                      12 percent         25 percent                                             25 percent        25 percent
                                                                                     [40M]              [2.35M]                                                [692K]            [664K]
                                                          American Indian or         0.7 percent        0.2 percent                                            0.2 percent       0.2 percent
                                                          Alaska Native              [2M]               [20K]                                                  [6K]              [5K]
                                                          Hispanic or Latino         19 percent         22 percent                                             34 percent        35 percent
                                                          (includes white and        [62M]              [2M]                                                   [958K]            [934K]
                                                          nonwhite)
                                                          Other and Multiracial      8 percent          5 percent                                              4 percent         4 percent
                                                                                     [27M]              [493K]                                                 [101K]            [96K]
                                                          Income by Percent [Number of People]
                                                          Below Poverty Level        13 percent         19 percent                                             18 percent        18 percent
                                                                                     [44M]              [1.75M]                                                [513K]            [493K]
                                                          Above Poverty Level        87 percent         81 percent                                             82 percent        82 percent
                                                                                     [284M]             [7.5M]                                                 [2.3M]            [2.2M]
                                                          Education by Percent [Number of People]
                                                          Over 25 and without a      12 percent         16 percent                                             20 percent        20 percent
                                                          High School Diploma        [40M]              [1.5M]                                                 [561K]            [538K]
                                                          Over 25 and with a High 88 percent            84 percent                                             80 percent        80 percent
                                                          School Diploma             [288M]             [7.8M]                                                 [2.2M]            [2M]
                                                          Linguistically Isolated by Percent [Number of People]
                                                          Linguistically Isolated    5 percent          5 percent                                              8 percent         8 percent
                                                                                     [18M]              [510K]                                                 [228K]            [220K]
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                                                          Notes:
                                                             • There are 207 HON facilities; however, only 195 of these facilities are included in the
                                                                 proximity analysis based on available data, which corresponds to 222 EIS facility IDs.
                                                             • Nationwide population and demographic percentages are based on Census' 2015-2019
                                                                 American Community Survey (ACS) 5-year block group averages. Total population
                                                                 count within 10 km is based on 2010 Decennial Census block population.
                                                             • To avoid double counting, the "Hispanic or Latino" category is treated as a distinct
                                                                 demographic category. A person who identifies as Hispanic or Latino is counted as
                                                                 Hispanic or Latino, regardless of race.
                                                             • The number of facilities represents facilities with a cancer MIR above level
                                                                 indicated. When the MIR was located at a user assigned receptor at an individual
                                                                 residence and not at a census block centroid, we were unable to estimate population and
                                                                 demographics for that facility.
                                                             • The sum of individual populations with a demographic category may not add up to total
                                                                 due to rounding.
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                                                                                                                                                                                 ER16MY24.012</GPH>




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                                                                     Federal Register / Vol. 89, No. 96 / Thursday, May 16, 2024 / Rules and Regulations                                       43041

                                                         Table 9. Source Category: Comparison of Baseline and Post-Control Demographics of
                                                         Populations with Cancer Risk Greater than or Equal to 50-in-1 Million Resulting from
                                                         SOCMI Source Category Emissions Living Within 10 km of Facilities to the National
                                                         Average and Proximity Demographics
                                                                                                         Baseline         Cancer Risk ~50-in-1
                                                                                                        Proximity        million within 10 km of
                                                                                                    Analysis for Pop.        HON Facilities
                                                                                    Nationwide      Living within 10
                                                                                    Average for        kmofHON                           Post-
                                                          Demographic Group          Reference          Facilities       Baseline       Control
                                                         Total Population        328M              9,271,798           322,429       29,482
                                                          Number of Facilities                      -                            195                           21                13
                                                          Race and Ethnicity by Percent [number of people]
                                                          White                    60 percent          47 percent                                              51 percent        54 percent
                                                                                   [197M]              [4.4M]                                                  [165K]            [16K]
                                                          Black                    12 percent          25 percent                                              18 percent        12 percent
                                                                                   [40M]               [2.35M]                                                 [59K]             [4K]
                                                          American Indian or       0.7 percent         0.2 percent                                             0.2 percent       0.3 percent
                                                          Alaska Native            [2M]                [20K]                                                   [630]             [85]
                                                          Hispanic or Latino       19 percent          22 percent                                              25 percent        29 percent
                                                          (includes white and      [62M]               [2M]                                                    [81K]             [9K]
                                                          nonwhite)
                                                          Other and Multiracial    8 percent           5 percent                                               5 percent         4 percent
                                                                                   [27M]               [493K]                                                  [16K]             [1.2K]
                                                          Income by Percent [Number of People]
                                                          Below Poverty Level    13 percent                                      19 percent                    15 percent        11 percent
                                                                                 [44M]                                           [1.75M]                       [47K]             [3.3K]
                                                          Above Poverty Level    87 percent                                      81 percent                    85 percent        89 percent
                                                                                 [284M]                                          [7.5M]                        [276K]            [26K]
                                                          Education by Percent [Number of People]
                                                          Over 25 and without a   12 percent                                     16 percent                    15 percent        12 percent
                                                          High School Diploma     [40M]                                          [1.5M]                        [48K]             [4K]
                                                          Over 25 and with a High 88 percent                                     84 percent                    85 percent        88 percent
                                                          School Diploma          [288M]                                         [7.8M]                        [274K]            [26K]
                                                          Linguistically Isolated by Percent [Number of People]
                                                          Linguistically Isolated    5 percent          5 percent                                              5 percent         3 percent
                                                                                     [18M]              [510K]                                                 [15K]             [767]
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                                                         Notes:
                                                            • There are 207 HON facilities; however, only 195 of these facilities are included in the
                                                                proximity analysis based on available data, which corresponds to 222 EIS facility IDs.
                                                            • Nationwide population and demographic percentages are based on Census' 2015-2019
                                                                ACS 5-year block group averages. Total population count within 10 km is based on 2010
                                                                Decennial Census block population.
                                                            • To avoid double counting, the "Hispanic or Latino" category is treated as a distinct
                                                                demographic category. A person who identifies as Hispanic or Latino is counted as
                                                                Hispanic or Latino, regardless of race.
                                                            • The number of facilities represents facilities with a cancer MIR above level
                                                                indicated. When the MIR was located at a user assigned receptor at an individual
                                                                residence and not at a census block centroid, we were unable to estimate population and
                                                                demographics for that facility.
                                                            • The sum of individual populations with a demographic category may not add up to total
                                                                due to rounding.
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                                                                     Federal Register / Vol. 89, No. 96 / Thursday, May 16, 2024 / Rules and Regulations                             43043

                                                         Table 10. Source Category: Comparison of Baseline and Post-Control Demographics of
                                                         Populations with Cancer Risk Greater than 100-in-1 Million Resulting from SOCMI
                                                         Source Category Emissions Living Within 10 km of Facilities to the National Average and
                                                         Proximity Demoe:raphics
                                                                                                        Baseline          Cancer Risk> 100-in-1
                                                                                                       Proximity          million within 10 km of
                                                                                                    Analysis for Pop.          HON facilities
                                                                                    Nationwide      Living within 10
                                                                                    Average for       kmofHON
                                                          Demographic Group          Reference          Facilities        Baseline    Post-Control
                                                         Total Population        328M              9,271,798            82,792        0
                                                          Number of Facilities                      -                            195                           8                 0
                                                          Race and Ethnicity by Percent [number of people]
                                                          White                    60 percent          47 percent                                              53 percent        -
                                                                                   [197M]              [4.4M]                                                  [44K]             -
                                                          Black                    12 percent          25 percent                                              14 percent        -
                                                                                   [40M]               [2.35M]                                                 [12K]             -
                                                          American Indian or       0.7 percent         0.2 percent                                             0.2 percent       -
                                                          Alaska Native            [2M]                [20K]                                                   [150]             -
                                                          Hispanic or Latino       19 percent          22 percent                                              26 percent        -
                                                          (includes white and      [62M]               [2M]                                                    [22K]             -
                                                          nonwhite)
                                                          Other and Multiracial    8 percent           5 percent                                               7 percent         -
                                                                                   [27M]               [493K]                                                  [5.5K]            -
                                                          Income by Percent [Number of People]
                                                          Below Poverty Level    13 percent                                      19 percent                    14 percent        -
                                                                                 [44M]                                           [1.75M]                       [12K]             -
                                                          Above Poverty Level    87 percent                                      81 percent                    86 percent        -
                                                                                 [284M]                                          [7.5M]                        [71K]             -
                                                          Education by Percent [Number of People]
                                                          Over 25 and without a   12 percent                                     16 percent                    14 percent        -
                                                          High School Diploma     [40M]                                          [1.5M]                        [12K]             -
                                                          Over 25 and with a High 88 percent                                     84 percent                    86 percent        -
                                                          School Diploma          [288M]                                         [7.8M]                        [71K]             -
                                                          Linguistically Isolated by Percent [Number of People]
                                                          Linguistically Isolated    5 percent          5 percent                                              5 percent         -
                                                                                     [18M]              [510K]                                                 [4K]              -
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                                                                                                                                                                                             ER16MY24.015</GPH>




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                                                         Notes:
                                                            • There are 207 HON facilities; however, only 195 of these facilities are included in the
                                                                proximity analysis based on available data, which corresponds to 222 EIS facility IDs
                                                            • Nationwide population and demographic percentages are based on Census' 2015-2019
                                                                ACS 5-year block group averages. Total population count within 10 km is based on 2010
                                                                Decennial Census block population.
                                                            • To avoid double counting, the "Hispanic or Latino" category is treated as a distinct
                                                                demographic category. A person who identifies as Hispanic or Latino is counted as
                                                                Hispanic or Latino, regardless of race.
                                                            • The number of facilities represents facilities with a cancer MIR above level
                                                                indicated. When the MIR was located at a user assigned receptor at an individual
                                                                residence and not at a census block centroid, we were unable to estimate population and
                                                                demographics for that facility.
                                                            • The sum of individual populations with a demographic category may not add up to total due
                                                                to rounding.

                                                 BILLING CODE 6560–50–C                                  living within 50 km are included in the               population with risks greater than or
                                                 2. HON Whole-Facility Demographics                      document titled Analysis of                           equal to 1-in-1 million in the post-
                                                                                                         Demographic Factors for Populations                   control scenario. The population with
                                                    As described in Section III.A.5 of this              Living Near Hazardous Organic                         risks greater than or equal to 50-in-1
                                                 preamble, we assessed the facility-wide                 NESHAP (HON) Operations: Whole                        million in the whole-facility analysis
                                                 (or ‘‘whole-facility’’) risks for 195 HON               Facility Analysis—Final, which is                     has a lower percent of Hispanic/Latino
                                                 facilities in order to compare the SOCMI                available in the docket for this                      individuals than the category
                                                 source category risk to the whole-facility              rulemaking.                                           population with risks greater than or
                                                 risks, accounting for HAP emissions                        The whole-facility demographic                     equal to 50-in-1 million (25 percent
                                                 from the entire major source and not                    analysis post-control results are shown               versus 29 percent). The percentage of
                                                 just those resulting from SOCMI source                  in Table 11 of this preamble. This                    the population with risks greater than or
                                                 category emissions at the major source                  analysis focused on the populations                   equal to 50-in-1 million that is below
                                                 as discussed in the previous section.                   living within 10 km of the HON                        the poverty level or over 25 years old
                                                 The whole-facility risk analysis includes               facilities with estimated whole-facility              without a high school diploma is higher
                                                 all sources of HAP emissions at each                    post-control cancer risks greater than or             for the whole-facility post-control
                                                 facility as reported in the NEI (described              equal to 1-in-1 million, greater than or              population than for the category post-
                                                 in section III.C of the preamble to the                 equal to 50-in-1 million, and greater                 control population (14 percent versus 11
                                                 proposed rule). Since HON facilities                    than 100-in-1 million. The risk analysis              percent). The SOCMI source category
                                                 tend to include HAP emissions sources                   indicated that all emissions from the                 emissions analysis indicated that there
                                                 from many source categories, the EPA                    HON facilities, after the reductions                  are no people with post-control risks
                                                 conducted a whole-facility demographic                  imposed by the final rule, expose a total             greater than 100-in-1 million. Based on
                                                 analysis focused on post-control risks.                 of about 3 million people living around               results from the whole-facility
                                                 This whole-facility demographic                         140 facilities to a cancer risk greater               emissions analysis, there are 2,900
                                                 analysis characterizes the remaining                    than or equal to 1-in-1 million, 79,000               people with post-control risks greater
                                                 risks communities face after                            people living around 24 facilities to a               than 100-in-million. The increased
                                                 implementation of the controls required                 cancer risk greater than or equal to 50-              cancer risk for most of these 2,900
                                                 in this final action for both the SOCMI                 in-1 million, and 2,900 people living                 people is driven by EtO emissions from
                                                 source category and the Neoprene                        around 4 facilities to a cancer risk                  non-HON processes and whole-facility
                                                 Production source category.                             greater than 100-in-1 million.                        emissions from the neoprene production
                                                    The whole-facility demographic                          When the HON whole-facility                        facility (a combination of the remaining
                                                 analysis is an assessment of individual                 populations are compared to the SOCMI                 SOCMI category risk and Neoprene
                                                 demographic groups in the total                         source category populations in the post-              Production category risk at this facility).
                                                 population living within 10 km (∼6.2                    control scenarios, we see 400,000                     The percent of the population in the
                                                 miles) and 50 km (∼31 miles) of the                     additional people with risks greater than             whole-facility analysis with post-control
                                                 facilities. In this preamble, we focus on               or equal to 1-in-1 million, 50,000                    risks greater than 100-in-1 million that
                                                 the 10 km radius for the demographic                    additional people with risks greater than             is Black (25 percent, 700 individuals) is
                                                 analysis because, based on SOCMI                        or equal to 50-in-1 million, and 2,900                well above the national average (12
                                                 category emissions, this distance                       additional people with risks greater than             percent). In addition, the percent of the
                                                 includes all the facility MIR locations,                100-in-1 million. With the exception of
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                                                                                                                                                               population in the whole-facility analysis
                                                 includes 97 percent of the population                   a smaller percentage of affected                      with a post control risk greater than 100-
                                                 with cancer risks greater than or equal                 Hispanic/Latino individuals (35 percent               in-1 million that is below the poverty
                                                 to 50-in-1 million, and includes 100                    for category versus 33 percent whole-                 level (22 percent, 600 individuals), and
                                                 percent of the population with risks                    facility), the demographic distribution               the percent of the population that is
                                                 greater than 100-in-1 million. The                      of the whole-facility population with                 over 25 years old without a high school
                                                 results of the whole-facility                           risks greater than or equal to 1-in-                  diploma (27 percent, 800 individuals)
                                                                                                                                                                                                             ER16MY24.016</GPH>




                                                 demographic analysis for populations                    million is similar to the source category             are above the national average (13


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                                                 percent and 12 percent, respectively).                  0.2 mg/m3 for EtO for the whole-facility.             lower and the number of people
                                                 We note that as further discussed in                    As such, we believe that once fenceline               presented in Table 11 of this preamble
                                                 section IV.B of this preamble, the EPA                  monitoring is fully implemented, that                 at each risk threshold will be lower.
                                                 is finalizing a fenceline action level of               whole-facility post-control risks will be             BILLING CODE 6560–50–P
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                                                 43046               Federal Register / Vol. 89, No. 96 / Thursday, May 16, 2024 / Rules and Regulations

                                                           Table 11. Whole-Facility: Whole-Facility Post-Control Demographics for HON Facilities
                                                           by Risk Level for Populations Living Within 10 km of Facilities
                                                                                                                                      Post-Control Cancer Risk for Populations
                                                                                                                                                   within 10 km
                                                                                                                                    :::l-in-1              :::50-in-1           >100-in-1
                                                             Demographic Group                         Nationwide                   million                 million              million
                                                            Total Population                        328M                         3,112,097              79,071              2,868
                                                            Number of Facilities                    -                            140                    24                  4
                                                            Race and Ethnicity by Percent [number of people]
                                                            White                    60 percent          39 percent                                     57 percent          53 percent
                                                                                     [197M]              [1.2M]                                         [45K]               [1.5K]
                                                            Black                                   12 percent                   24 percent             14 percent          25 percent
                                                                                                    [40M]                        [760K]                 [llK]               [729]
                                                            American Indian or                      0.7 percent                  0.2 percent            0.2 percent         0.0 percent
                                                            Alaska Native                           [2M]                         [6.5K]                 [173]               [1]
                                                            Hispanic or Latino                      19 percent                   33 percent             25 percent          21 percent
                                                            (includes white and                     [62M]                        [lM]                   [20K]               [598]
                                                            nonwhite)
                                                            Other and Multiracial                   8 percent                    4 percent              4 percent            1 percent
                                                                                                    [27M]                        [112K]                 [3K]                [32]
                                                            Income by Percent [Number of People]
                                                            Below Poverty Level    13 percent                                    18 percent             14 percent          22 percent
                                                                                   [44M]                                         [575K]                 [llK]               [631]
                                                            Above Poverty Level                     87 percent                   82 percent             86 percent          78 percent
                                                                                                    [284M]                       [2.5M]                 [68K]               [2K]
                                                            Education by Percent [Number of People]
                                                            Over 25 and without a   12 percent                                   20 percent             16 percent          27 percent
                                                            High School Diploma     [40M]                                        [613K]                 [13K]               [765]
                                                            Over 25 and with a High 88 percent                                   80 percent             84 percent          73 percent
                                                            School Diploma          [288M]                                       [2.5M]                 [66K]               [2K]
                                                            Linguistically Isolated by Percent [Number of People]
                                                            Linguistically Isolated    5 percent          8 percent                                     3 percent           2 percent
                                                                                       [18M]              [235K]                                        [3K]                [54]
                                                           Notes:
                                                               • Nationwide population and demographic percentages are based on Census' 2015-2019 ACS 5-year block
                                                                   group averages. Total population count within 10 km is based on 2010 Decennial Census block population.
                                                               • To avoid double counting, the "Hispanic or Latino" category is treated as a distinct demographic category. A
                                                                   person who identifies as Hispanic or Latino is counted as Hispanic or Latino, regardless of race.
                                                               • The number of facilities represents facilities with a cancer MIR above level indicated. When the MIR was
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                                                                   located at a user assigned receptor at an individual residence and not at a census block centroid, we were
                                                                   unable to estimate population and demographics for that facility.
                                                               • The sum of individual populations with a demographic category may not add up to total due to rounding.

                                                 BILLING CODE 6560–50–C
                                                                                                                                                                                            ER16MY24.017</GPH>




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                                                 3. Neoprene Production Source Category                    The post-control risk-based                         the absence of the reductions we are
                                                 Demographics                                            demographic analysis indicates that the               finalizing in this action.
                                                                                                         controls required for Neoprene                           In the baseline, emissions from the
                                                    For the Neoprene Production source                   Production source category in this final              Neoprene Production source category
                                                 category subject to the P&R I NESHAP,                   action do not reduce the number of                    expose all individuals within 5 km of
                                                 the EPA examined the potential for the                  people with cancer risks resulting from               the facility (29,000 people) to a cancer
                                                 one neoprene production facility to pose                Neoprene Production source category                   risk greater than or equal to 1-in-1
                                                 environmental justice concerns to                       emissions greater than or equal to 1-in-              million. Since the entire population
                                                 communities both in the baseline and                    1 million at the 5 km distance. However,              within 5 km are exposed to risks greater
                                                 under the control option required in this               the controls do significantly reduce the              than or equal to 1-in-1 million, the
                                                 final action. Specifically, the EPA                     number of people with risks resulting                 demographics of the baseline at-risk
                                                 analyzed how demographics and risk                      from Neoprene Production source                       population are the same as the total
                                                 are distributed both pre- and post-                     category emissions greater than or equal              baseline population. Specifically, a high
                                                 controls. The methodology and detailed                  to 1-in-1 million within 50 km. The                   percentage of the population is Black
                                                 results of the demographic analysis are                 populations with risks resulting from                 (56 percent versus 12 percent
                                                 presented in a technical report, Analysis               Neoprene Production source category                   nationally), below the poverty line (23
                                                 of Demographic Factors for Populations                  emissions greater than or equal to 50-in-             percent versus 13 percent nationally),
                                                 Living Near Neoprene Production                         1 million and greater than 100-in-1                   and over the age of 25 without a high
                                                 Operations—Final, which is available in                 million are reduced at all distances by               school diploma (16 percent versus 12
                                                 the docket for this rulemaking.                         more than 88 percent by the controls for              percent nationally). The percentages of
                                                    To examine the potential for                         the Neoprene Production source                        other demographic groups within the
                                                 environmental justice concerns in the                   category under consideration. In the                  population with risks resulting from
                                                 pre-control baseline, the EPA conducted                 post-control scenario, there are no                   Neoprene Production source category
                                                 three different demographic analyses: a                 people with risks resulting from                      emissions greater than or equal to 1-in-
                                                 baseline proximity analysis, baseline                   Neoprene Production source category                   1 million living within 5 km of the
                                                 cancer risk-based analysis, and post-                   emissions greater than 100-in-1 million.              neoprene facility are similar to or below
                                                 control cancer risk-based analysis.                                                                           the national average. Within 50 km (∼31
                                                 These analyses (total baseline, baseline                a. Baseline Proximity Analysis                        miles) of the facility, about 70 percent
                                                 risk, and post-control risks) assessed the                                                                    of the population (687,000 people of the
                                                                                                           The column titled ‘‘Total Population
                                                 demographic groups in the populations                                                                         1 million total within 50 km) is exposed
                                                                                                         Living within 5 km of Neoprene
                                                 living within 5 km (∼3.1 miles) and 50                                                                        to a cancer risk resulting from Neoprene
                                                                                                         Facility’’ in Tables 12 through 14 of this
                                                 km (∼31 miles) of the facility. For the                                                                       Production source category emissions
                                                                                                         preamble shows the demographics for
                                                 Neoprene Production source category,                                                                          greater than or equal to 1-in-1 million.
                                                                                                         the total population living within 5 km
                                                 we focus on the 5 km radius for the                                                                           Additional details on the 50 km results
                                                                                                         (∼3.1 miles) of the neoprene facility. A
                                                 demographic analysis because it                                                                               can be found in the demographics report
                                                                                                         total of about 29,000 people lives within
                                                 encompasses the facility MIR location                                                                         located in the docket.
                                                                                                         5 km of the one neoprene facility. The                   The risk-based demographics analysis
                                                 and captures 100 percent of the                         results of the proximity demographic
                                                 population with cancer risks resulting                                                                        indicates that emissions from the source
                                                                                                         analysis indicate that the percentage of              category, prior to the reductions we are
                                                 from Neoprene Production source                         the population that is Black (56 percent,
                                                 category emissions greater than or equal                                                                      finalizing in this action, expose about
                                                                                                         16,000 people) is more than four times                13,000 individuals within 5 km of the
                                                 to 50-in-1 million and greater than 100-                the national average (12 percent). The
                                                 in-1 million. The results of the                                                                              facility to a cancer risk greater than or
                                                                                                         percentage of people living below the                 equal to 50-in-1 million (about half of
                                                 proximity analysis for populations                      poverty level (23 percent, 6,500 people)
                                                 living within 50 km are included in the                                                                       the total population within 5 km). As
                                                                                                         and those over the age of 25 without a                seen at the lower risk level of greater
                                                 technical report included in the docket                 high school diploma (16 percent, 4,500
                                                 for this final action. Nationwide average                                                                     than or equal to 1-in-1 million, the
                                                                                                         people) are higher than the national                  population with risks greater than or
                                                 demographics data are provided as a                     averages (13 percent and 12 percent,
                                                 frame of reference.                                                                                           equal to 50-in-1 million has a very high
                                                                                                         respectively). The baseline proximity                 percentage of Black individuals; that
                                                    The results of the proximity                         analysis indicates that the proportion of             percent is almost 6 times the national
                                                 demographic analysis indicate that a                    other demographic groups living within                average (68 percent versus 12 percent
                                                 total of about 29,000 people live within                5 km of the neoprene facility is similar              nationally). The percentage of the
                                                 5 km of the Neoprene facility. The                      to or below the national average.                     population that is below the poverty
                                                 percent of the population that is Black                                                                       line is more than double the national
                                                 is more than four times the national                    b. Baseline Risk-Based Demographics
                                                                                                                                                               average (27 percent versus 13 percent
                                                 average. The percent of people living                      The baseline risk-based demographic                nationally), and the percentage of the
                                                 below the poverty level is almost double                analysis results are shown in the                     population that is over the age of 25
                                                 the national average.                                   ‘‘baseline’’ column of Tables 12 through              without a high school diploma is 1.5
                                                    The baseline risk-based demographic                  14 of this preamble. This analysis                    times the national average (18 percent
                                                 analysis indicates that Black individuals               focused on the populations living                     versus 12 percent nationally). The
                                                 are disproportionally overrepresented at                within 5 km (∼3.1 miles) of the                       percentages of other demographic
                                                 all cancer risk levels resulting from                   neoprene facility with estimated cancer
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                                                                                                                                                               groups within the population with risks
                                                 Neoprene Production source category                     risks resulting from Neoprene                         resulting from Neoprene Production
                                                 emissions (percent of Black individuals                 Production source category emissions                  source category emissions greater than
                                                 range from 5 to 7 times the national                    greater than or equal to 1-in-1 million               or equal to 50-in-1 million living within
                                                 average percent). The percent of the                    (Table 12 of this preamble), greater than             5 km of the Neoprene facility are similar
                                                 population that is below the poverty                    or equal to 50-in-1 million (Table 13 of              to or below the national average.
                                                 level is twice the national average                     this preamble), and greater than 100-in-                 In the baseline, there are 2,000 people
                                                 within 5 km of the Neoprene facility.                   1 million (Table 14 of this preamble) in              living within 5 km of the Neoprene


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                                                 facility with a cancer risk greater than                baseline (29,000 people). Therefore, the              risk-based demographics, there are no
                                                 100-in-1 million resulting from                         population living within 5 km of the                  people with risks above 100-in-1 million
                                                 Neoprene Production source category                     facility with estimated cancer risks                  resulting from Neoprene Production
                                                 emissions. The percent of the                           greater than or equal to 1-in-1 million in            source category emissions.
                                                 population that is Black with baseline                  the post-control scenario (Table 12 of                   In summary, as shown in the post-
                                                 cancer risk greater than 100-in-1 million               this preamble) has the same                           control risk-based demographic
                                                 (85 percent, 1,750 people) is over 7                    demographic percentages as the total                  analysis, the controls required by this
                                                 times the national average (12 percent).                population in the proximity analysis                  final action do not reduce the number
                                                 The percentage of the population with                   and the population with risks greater                 of people expected to have cancer risks
                                                 cancer risks greater than 100-in-1                      than or equal to 1-in-1 million in the                resulting from Neoprene Production
                                                 million that is below the poverty level                 baseline risk analysis. Specifically, the             source category emissions greater than
                                                 (31 percent, 600 people) is about 2.5                   percentage of the population with risks               or equal to 1-in-1 million at the 5 km
                                                 times the national average (13 percent).                resulting from Neoprene Production                    distance. The controls do significantly
                                                 The percent of the population that is                   source category emissions in the post-                reduce the number of people with risks
                                                 over 25 without a high school diploma                   control analysis that is greater than or              resulting from Neoprene Production
                                                 (14 percent, 300 people) is just above                  equal to 1-in-1 million and is Black (56              source category emissions greater than
                                                 the national average (12 percent).                      percent) is almost 5 times the national               or equal to 1-in-1 million within 50 km.
                                                    In summary, the baseline risk-based                  average (12 percent), and the percent                 In the post-control population with risks
                                                 demographic analysis, which focuses on                  below the poverty level (23 percent) is               greater than or equal to 1-in-1 million,
                                                 those specific locations that are                       almost 2 times the national average (13               Black individuals and those living
                                                 expected to have higher cancer risks in                 percent). However, after control, the                 below the poverty level remain
                                                 the baseline, indicates that Black                      number of people exposed to risk                      disproportionately represented. For the
                                                 individuals are disproportionally                       greater than or equal to 1-in-1 million               populations with risks greater than or
                                                 overrepresented at all cancer risk levels.              within 50 km (∼31 miles) of the facility              equal to 50-in-1 million and greater than
                                                 Specifically, at all risk levels, the                   is significantly reduced from 687,000 to              100-in-1 million, the controls under
                                                 percent of the population that is Black                 58,000.                                               consideration reduce the at-risk
                                                 is 5 to 7 times the national average and                   The risk analysis indicated that the               populations by more than 88 percent at
                                                 the percent of the population that is                   number of people living within 5 km of                all distances. In the post-control
                                                 below the poverty level is twice the                    the facility and exposed to risks greater             population with risks greater than or
                                                 national average within 5 km of the                     than or equal to 50-in-1 million                      equal to 50-in-1 million, Black
                                                 neoprene production facility.                           resulting from Neoprene Production                    individuals and those living below the
                                                                                                         source category emissions (Table 13 of                poverty level remain disproportionately
                                                 c. Post-Control Risk-Based
                                                                                                         this preamble) is reduced significantly               represented. Post-control, there are no
                                                 Demographics
                                                                                                         from about 13,000 people in the                       people with risks resulting from
                                                    This analysis focused on the                         baseline to 1,450 people after                        Neoprene Production source category
                                                 populations living within 5 km (∼3.1                    implementation of the controls required               emissions greater than 100-in-1 million.
                                                 miles) of the facility with estimated                   by this final action. This represents
                                                 cancer risks resulting from Neoprene                                                                          4. Neoprene Production Whole-Facility
                                                                                                         more than an 88 percent reduction in
                                                 Production source category emissions                                                                          Demographics
                                                                                                         the size of the populations at risk when
                                                 greater than or equal to 1-in-1 million                 compared to the baseline population.                     We also evaluated the whole-facility
                                                 (Table 12 of this preamble), greater than               The post-control population living                    post-control risks at the neoprene
                                                 or equal to 50-in-1 million (Table 13 of                within 5 km of the facility with                      production facility. The whole-facility
                                                 this preamble), and greater than 100-in-                estimated cancer risks greater than or                post-control risks include all known
                                                 1 million (Table 14 of this preamble)                   equal to 50-in-1 million for post-control             sources of HAP emissions at the
                                                 after implementation of the Neoprene                    (Table 13 of this preamble) is almost                 neoprene production facility, not just
                                                 Production source category control                      entirely Black (92 percent). The number               those from neoprene production
                                                 options as described in section III.B.2.b               of Black individuals with risks greater               processes. This whole-facility
                                                 of this preamble. The results of the post-              than or equal to 50-in-1 million is                   demographic analysis provides a more
                                                 control risk-based demographics                         reduced from about 9,000 in the                       complete picture of the remaining risks
                                                 analysis are in the columns titled ‘‘Post-              baseline to 1,350 people post-control.                at the facility after implementation of
                                                 Control’’ of Tables 12 through 14 of this               Similarly, the post-control population                the controls required by this final action
                                                 preamble. In this analysis, we evaluated                with risks greater than or equal to 50-               and the populations exposed to
                                                 how all of the controls required by this                in-1 million has a high percent of                    emissions resulting from them. The
                                                 final action and emission reductions for                people below poverty (33 percent). The                post-control whole-facility emissions at
                                                 the Neoprene Production source                          number of people with risks greater than              the neoprene production facility are a
                                                 category described in this action affect                or equal 50-in-1 million that are below               combination of the remaining SOCMI
                                                 the distribution of risks. This makes it                the poverty level is reduced from 3,400               source category risk and Neoprene
                                                 possible to characterize the post-control               in the baseline to 500 people post-                   Production source category risk at this
                                                 risks and to evaluate whether the final                 control.                                              facility. Based on whole-facility
                                                 action creates or mitigates potential                      The risk analysis indicated that the               emissions, there are a total of about
                                                 environmental justice concerns as                       number of people living within 5 km of                29,000 people living within 5 km (∼3.1
                                                                                                                                                               miles) with risks greater than or equal
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                                                 compared to the baseline.                               the facility and exposed to risks greater
                                                    The risk analysis indicated that the                 than 100-in-1 million resulting from                  to 1-in-1 million after controls, which is
                                                 number of people exposed to risks                       Neoprene Production source category                   unchanged from the baseline. There are
                                                 resulting from Neoprene Production                      emissions (Table 14 of this preamble) is              87,000 people within 50 km of the
                                                 source category emissions greater than                  reduced from over 2,000 people in the                 neoprene facility with post-control
                                                 or equal to 1-in-1 million within 5 km                  baseline to zero people after application             whole-facility risks greater than or equal
                                                 of the facility (Table 12 of this                       of the controls required by this final                to 1-in-1 million, which is a 90 percent
                                                 preamble) is unchanged from the                         action. Therefore, for the post-control               reduction of the 891,000 people in the


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                                                 baseline. The population within 5 km                    million remain after controls are                     people (rather than the approximate 300
                                                 with post-control whole-facility risks of               implemented living within 5 km and 50                 people as shown in this analysis) will
                                                 greater than or equal to 1-in-1 million is              km of the neoprene production facility                have lifetime cancer risks greater than
                                                 56 percent Black, and 23 percent are                    (a reduction of 86 percent from the                   100-in-1 million post-control.
                                                 below the poverty level. Based on                       baseline of 2,300 people). This
                                                                                                                                                                  The results of the whole-facility
                                                 whole-facility emissions there are a total              population is 99 percent Black, and 33
                                                                                                                                                               demographic analysis for populations
                                                 of about 3,000 people remaining after                   percent are below the poverty level. We
                                                 controls living within 5 km and 50 km                   note that as further discussed in section             living within 50 km are included in the
                                                 of the neoprene facility with risks                     IV.B of this preamble, the EPA is                     document titled Analysis of
                                                 greater than or equal to 50-in-1 million                finalizing a secondary fenceline action               Demographic Factors for Populations
                                                 (a reduction of 82 percent from the                     level of 0.3 mg/m3 for chloroprene for                Living Near Neoprene Production
                                                 baseline of 16,000 people). This                        the whole-facility. As such, we believe               Operations: Whole Facility Analysis—
                                                 population is 81 percent Black and 30                   once fenceline monitoring is fully                    Final, which is available in the docket
                                                 percent below the poverty level. Based                  implemented, that whole-facility post-                for this rulemaking.
                                                 on whole-facility emissions, about 300                  control risks will be reduced to at or                BILLING CODE 6560–50–P
                                                 people with risks greater than 100-in-1                 below 100-in-1 million and that 0
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                                                                   Table 12. Source Category: Comparison of Baseline and Post-Control Demographics of
                                                                   Populations with Cancer Risk Greater than or Equal to 1-in-1 Million Living Within 5 km
                                                                   of the Neoprene Production Facility to the National Average and the Proximity
                                                                   Demoe:raphics
                                                                                                                                     Cancer Risk ~l-in-1
                                                                                                                Total Population    million within 5 km of
                                                                                                                  living within 5     Neoprene Facility
                                                                                                                 km of Neoprene                     Post-
                                                                     Demographic Group         Nationwide             Facility      Baseline      Control
                                                                   Total Population        328M                 28,590            28,590        28,590
                                                                    Number of Facilities               -                          1                        1                1
                                                                    Race and Ethnicity by Percent [number of people]
                                                                    White                    60 percent           35 percent                               35 percent       35 percent
                                                                                                       [197M]                     [l0K]                    [lOK]            [l0K]
                                                                    Black                              12 percent                 56 percent               56 percent       56 percent
                                                                                                       [40M]                      [16K]                    [16K]            [16K]
                                                                    American Indian or                 0.7 percent                0.0 percent              0.0 percent      0.0 percent
                                                                    Alaska Native                      [2M]                       0                        0                0
                                                                    Hispanic or Latino                 19 percent                 5 percent                5 percent        5 percent
                                                                    (includes white and                [62M]                      [1.5K]                   [1.5K]           [1.5K]
                                                                    nonwhite)
                                                                    Other and Multiracial   8 percent                             3 percent                3 percent        3 percent
                                                                                            [27M]                                 [900]                    [900]            [900]
                                                                    Income by Percent [Number of People]
                                                                    Below Poverty Level     13 percent                            23 percent               23 percent       23 percent
                                                                                            [44M]                                 [6.5K]                   [6.5K]           [6.5K]
                                                                    Above Poverty Level     87 percent                            77 percent               77 percent       77 percent
                                                                                            [284M]                                [22K]                    [22K]            [22K]
                                                                    Education by Percent [Number of People]
                                                                    Over 25 and without a   12 percent                            16 percent               16 percent       16 percent
                                                                    High School Diploma     [40M]                    [4.6K]             [4.6K]        [4.6K]
                                                                    Over 25 and with a High 88 percent               84 percent        84 percent     84 percent
                                                                    School Diploma          [288M]                   [24K]              [24K]         [24K]
                                                                   Linguistically Isolated by Percent [Number of People]
                                                                   Linguistically Isolated    5 percent              1 percent          1 percent     1 percent
                                                                                              [18M]                  [300]              [300]         [300]
                                                                   Notes:
                                                                      • Nationwide population and demographic percentages are based on Census' 2015-2019
                                                                          ACS 5-year block group averages. Total population count within 5 km is based on 2010
                                                                          Decennial Census block population.
                                                                      • To avoid double counting, the "Hispanic or Latino" category is treated as a distinct
                                                                          demographic category. A person who identifies as Hispanic or Latino is counted as
                                                                          Hispanic or Latino, regardless of race.
                                                                      • The number of facilities represents facilities with a cancer MIR above level
                                                                          indicated. When the MIR was located at a user assigned receptor at an individual
                                                                          residence and not at a census block centroid, we were unable to estimate population and
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                                                                          demographics for that facility.
                                                                      • The sum of individual populations with a demographic category may not add up to total
                                                                          due to rounding.
                                                                                                                                                                                          ER16MY24.018</GPH>




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                                                                    Table 13. Source Category: Comparison of Baseline and Post-Control Demographics of
                                                                    Populations with Cancer Risk Greater than or Equal to 50-in-1 Million Living Within 5 km
                                                                    of the Neoprene Facility to the National Average and the Proximity Demographics
                                                                                                                                                       Cancer Risk :::50-in-1
                                                                                                                                  Total Population million within 5 km of the
                                                                                                                                 living within 5 km     Neoprene Facility
                                                                                                                                   of the Neoprene                    Post-
                                                                      Demographic Group                   Nationwide                    Facility      Baseline      Control
                                                                     Total Population                  328M                      28,590             16,282       2,996
                                                                     Number of Facilities              -                         1                  1            1
                                                                     Race and Ethnicity by Percent [number of people]
                                                                     White                    60 percent          35 percent                               29 percent       14 percent
                                                                                              [197M]              [lOK]                                    [4.7K]           [400]
                                                                     Black                             12 percent                56 percent                63 percent       81 percent
                                                                                                       [40M]                     [16K]                     [l0K]            [2.5K]
                                                                     American Indian or                0.7 percent               0.0 percent               0.0 percent      0.0 percent
                                                                     Alaska Native                     [2M]                      0                         [0]              [0]
                                                                     Hispanic or Latino                19 percent                5 percent                 5 percent        4 percent
                                                                     (includes white and               [62M]                     [1.5K]                    [800]            [100]
                                                                     nonwhite)
                                                                     Other and Multiracial             8 percent                 3 percent                 3 percent        0.3 percent
                                                                                                       [27M]                     [900]                     [500]            [10]
                                                                     Income by Percent [Number of People]
                                                                     Below Poverty Level    13 percent                           23 percent                26 percent       30 percent
                                                                                            [44M]                                [6.5K]                    [4.2K]           [900]
                                                                     Above Poverty Level    87 percent                           77 percent                74 percent       70 percent
                                                                                            [284M]                               [22K]                     [12K]            [2.lK]
                                                                     Education by Percent [Number of People]
                                                                     Over 25 and without a   12 percent                          16 percent                18 percent       16 percent
                                                                     High School Diploma     [40M]                               [4.6K]                    [3.0K]           [500]
                                                                     Over 25 and with a High 88 percent                          84 percent                82 percent       84 percent
                                                                     School Diploma          [288M]                              [24K]                     [13K}            [2.5K]
                                                                    Linguistically Isolated by Percent [Number of People]
                                                                    Linguistically Isolated    5 percent             1 percent           1 percent     0.2 percent
                                                                                               [18M]                 [300]               [200]         6
                                                                    Notes:
                                                                       • Nationwide population and demographic percentages are based on Census' 2015-2019
                                                                           ACS 5-year block group averages. Total population count within 5 km is based on 2010
                                                                           Decennial Census block population.
                                                                       • To avoid double counting, the "Hispanic or Latino" category is treated as a distinct
                                                                           demographic category. A person who identifies as Hispanic or Latino is counted as
                                                                           Hispanic or Latino, regardless of race.
                                                                       • The number of facilities represents facilities with a cancer MIR above level
                                                                           indicated. When the MIR was located at a user assigned receptor at an individual
                                                                           residence and not at a census block centroid, we were unable to estimate population and
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                                                                           demographics for that facility.
                                                                       • The sum of individual populations with a demographic category may not add up to total
                                                                           due to rounding.
                                                                                                                                                                                                  ER16MY24.019</GPH>




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                                                                  Table 14. Source Category: Comparison of Baseline and Post-Control Demographics of
                                                                  Populations with Cancer Risk Greater than 100-in-1 Million Living Within 5 km of the
                                                                  Neoprene Facility to the National Average and the Proximity Demographics
                                                                                                                                                     Cancer Risk >100-in-1
                                                                                                                                 Total Population  million within 5 km of the
                                                                                                                                   living within 5     Neoprene   Facility
                                                                                                                                      km of the                      Post-
                                                                    Demographic Group                     Nationwide             Neoprene Facility   Baseline       Control
                                                                   Total Population                    328M                      28,590            2,332         326
                                                                   Number of Facilities                -                         1                 1             1
                                                                   Race and Ethnicity by Percent [number of people]
                                                                   White                    60 percent          35 percent                                 13 percent        1 percent
                                                                                            [197M]              [lOK]                                      [300]             [3]
                                                                   Black                    12 percent          56 percent                                 83 percent        99 percent
                                                                                            [40M]               [16K]                                      [1.9K]            [300]
                                                                   American Indian or       0.7 percent         0.0 percent                                0.0 percent       0.0 percent
                                                                   Alaska Native            [2M]                0                                          [0]               [0]
                                                                   Hispanic or Latino       19 percent          5 percent                                  4 percent         0 percent
                                                                   (includes white and      [62M]               [1.5K]                                     [100]             [0]
                                                                   nonwhite)
                                                                   Other and Multiracial    8 percent           3 percent                                  0.2 percent       0 percent
                                                                                            [27M]               [900]                                      [6]               [0]
                                                                   Income by Percent [Number of People]
                                                                   Below Poverty Level      13 percent          23 percent                                 30 percent        33 percent
                                                                                            [44M]               [6.5K]                                     [700]             [100]
                                                                   Above Poverty Level      87 percent          77 percent                                 70 percent        67 percent
                                                                                            [284M]              [22K]                                      [1.6K]            [200]
                                                                   Education by Percent [Number of People]
                                                                   Over 25 and without a      12 percent         16 percent                                15 percent        12 percent
                                                                   High School Diploma        [40M]              [4.6K]                                    [350]             [40]
                                                                   Over 25 and with a High 88 percent            84 percent                                86 percent        88 percent
                                                                   School Diploma             [288M]             [24K]                                     [2.0K]            [300]
                                                                   Linguistically Isolated by Percent [Number of People]
                                                                   Linguistically Isolated    5 percent          1 percent                                 0.1 percent       0 percent
                                                                                             [18M]                 [300]               [3]            [0]
                                                                  Notes:
                                                                     • Nationwide population and demographic percentages are based on Census' 2015-2019
                                                                         ACS 5-year block group averages. Total population count within 5 km is based on 2010
                                                                         Decennial Census block population.
                                                                     • To avoid double counting, the "Hispanic or Latino" category is treated as a distinct
                                                                         demographic category. A person who identifies as Hispanic or Latino is counted as
                                                                         Hispanic or Latino, regardless of race.
                                                                     • The number of facilities represents facilities with a cancer MIR above level indicated.
                                                                         When the MIR was located at a user assigned receptor at an individual residence and not
                                                                         at a census block centroid, we were unable to estimate population and demographics for
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                                                                         that facility.
                                                                     • The sum of individual populations with a demographic category may not add up to total
                                                                         due to rounding.
                                                                                                                                                                                           ER16MY24.020</GPH>




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                                                 5. P&R I and P&R II Source Categories                   living within 50 km are included in the                 The results show that for populations
                                                 Demographics                                            document titled Analysis of                           within 5 km of the 5 P&R II facilities (2
                                                    As stated above, for the P&R I and                   Demographic Factors for Populations                   in Texas, one each in Alabama,
                                                 P&R II NESHAP, other than the                           Living Near Polymers and Resins I and                 Arkansas, Oregon), the following
                                                 Neoprene Production source category                     Polymer and Resins II Facilities (see                 demographic groups were above the
                                                 within the P&R I NESHAP, we have not                    Docket Item No. EPA–HQ–OAR–2022–                      national average: American Indian or
                                                 conducted a risk analysis for this final                0730–0060).                                           Alaska Native individuals (0.9 percent
                                                 action. Therefore, to examine the                          The results show that for populations              versus 0.7 percent nationally), Hispanic/
                                                 potential for any environmental justice                 within 5 km of the 18 P&R I facilities (5             Latino individuals (27 percent versus 19
                                                 concerns that might be associated with                  in Louisiana, 6 in Texas, 2 in Kentucky,              percent nationally), and people over the
                                                 P&R I (excluding neoprene) or P&R II                    one each in Georgia, Minnesota,                       age of 25 without a high school diploma
                                                 facilities, we performed a proximity                    Mississippi, Ohio, Michigan), the                     (13 percent versus 12 percent
                                                 demographic analysis, which is an                       following demographic groups were                     nationally).
                                                 assessment of individual demographic                    above the national average: Black                       A summary of the proximity
                                                 groups of the populations living within                 individuals (37 percent versus 12                     demographic assessment performed is
                                                 5 km (∼3.1 miles) and 50 km (∼31 miles)                 percent nationally), Hispanic/Latino                  included as Table 15 of this preamble.
                                                 of the facilities. The EPA then compared                individuals (24 percent versus 19                     The methodology and the results of the
                                                 the data from this analysis to the                      percent nationally), people living below              demographic analysis are presented in
                                                 national average for each of the                        the poverty level (24 percent versus 13               the document titled Analysis of
                                                 demographic groups. In this preamble,                   percent nationally), people over the age              Demographic Factors for Populations
                                                 we focus on the proximity results for the               of 25 without a high school diploma (21               Living Near Polymers and Resins I and
                                                 populations living within 5 km (∼3.1                    percent versus 12 percent nationally),                Polymer and Resins II Facilities (see
                                                 miles) of the facilities. The results of the            and linguistically isolated households (7             Docket Item No. EPA–HQ–OAR–2022–
                                                 proximity analysis for populations                      percent versus 5 percent nationally).                 0730–0060).
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                                                         Table 15. Proximity Demographic Assessment Results for Polymers and Resins I and II
                                                         Facilities
                                                                                                           Nationwide                           P&RI:               P&RII:
                                                                                                           Average for                    Population within 5 Population within 5
                                                             Demographic Group                              Reference                      km of 18 Facilities  km of 5 Facilities
                                                          Total Population                              328M                              627,823              124,050
                                                         Race and Ethnicity by Percent [number of people]
                                                         White                         60 percent           35 percent              62 percent
                                                                                       [197M]               [218K]                  [76K]
                                                         Black                         12 percent           37 percent              5 percent
                                                                                       [40M]                [234K]                  [7K]
                                                         American Indian or Alaska 0.7 percent              0.2 percent             0.9 percent
                                                         Native                        [2M]                 [lK]                    [lK]
                                                         Hispanic or Latino (includes 19 percent            24 percent              27 percent
                                                         white and nonwhite)           [62M]                [150K]                  [34K]
                                                         Other and Multiracial         8 percent            4 percent               5 percent
                                                                                       [27M]                [24K]                   [6K]
                                                         Income by Percent [Number of People]
                                                         Below Poverty Level            13 percent          24 percent              13 percent
                                                                                       [44M]                [150K]                  [16K]
                                                         Above Poverty Level           87 percent           76 percent              87 percent
                                                                                       [284M]               [478K]                  [108K]
                                                         Education by Percent [Number of People]
                                                         Over 25 and without a High 12 percent              21 percent              13 percent
                                                         School Diploma                [40M]                [130K]                  [16K]
                                                         Over 25 and with a High       88 percent           79 percent              87 percent
                                                         School Diploma                [288M]               [498K]                  [108K]
                                                         Linguistically Isolated by Percent [Number of People]
                                                         Linguistically Isolated       5 percent            7 percent               2 percent
                                                                                       [18M]                [43K]                   [3K]
                                                         Notes:
                                                            • Nationwide population and demographic percentages are based on Census' 2015-2019
                                                                ACS 5-year block group averages. Total population count within 10 km is based on 2010
                                                                Decennial Census block population.
                                                            • To avoid double counting, the "Hispanic or Latino" category is treated as a distinct
                                                                demographic category. A person who identifies as Hispanic or Latino is counted as
                                                                Hispanic or Latino, regardless of race.
                                                            • The sum of individual populations with a demographic category may not add up to total
                                                                due to rounding.

                                                 6. Proximity Demographics Analysis for                  covers VOC emissions from certain                     are not known. Therefore, to provide
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                                                 NSPS Subpart VVb                                        equipment leaks in the SOCMI from                     information on the potential for any
                                                                                                         sources that are constructed,                         environmental justice issues that might
                                                   In addition, to provide information for
                                                                                                         reconstructed, or modified after April                be associated with the final NSPS
                                                 the public’s understanding, the Agency
                                                 conducted an analysis of the impacts of                 25, 2023.                                             subpart VVb, we performed a proximity
                                                 the final NSPS subpart VVb on                             The locations of the new, modified,                 demographic analysis for 575 existing
                                                 communities with environmental justice                  and reconstructed sources that will                   facilities that are currently subject to
                                                                                                                                                               NSPS subparts VV or VVa. These
                                                                                                                                                                                                          ER16MY24.021</GPH>




                                                 concerns. The final NSPS subpart VVb                    become subject to NSPS subpart VVb


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                                                 represent facilities that might modify or                 The proximity demographic analysis                  the national average (17 percent versus
                                                 reconstruct in the future and become                    shows that, within 5 km of the facilities,            12 percent). The proximity
                                                 subject to the NSPS subpart VVb                         the percent of the population that is                 demographics analysis shows that
                                                 requirements. This proximity                            Black is double the national average (24              within 50 km of the facilities, the
                                                 demographic analysis characterized the                  percent versus 12 percent) (Table 16 of               percent of the population that is Black
                                                 individual demographic groups of the                    this preamble). The percent of people                 is above the national average (15 percent
                                                 populations living within 5 km and                      within 5 km living below the poverty                  versus 12 percent). At 50 km, the
                                                 within 50 km (∼31 miles) of the existing                level is significantly higher than the                remaining percentages for the
                                                 facilities. The EPA then compared the                   national average (20 percent versus 13                demographics are similar to or below
                                                 data from this analysis to the national                 percent). The percent of people living
                                                                                                                                                               the national average.
                                                 average for each of the demographic                     within 5 km that are over 25 without a
                                                 groups.                                                 high school diploma is also higher than
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                                                         Table 16. Proximity Demographic Assessment Results for Existing Facilities Subject to
                                                         NSPS Subparts VV and VVa
                                                                                                                                           Population within              Population within
                                                                                                                                              50 km of575                     5 km of575
                                                            Demographic Group                               Nationwide                          Facilities                     Facilities
                                                          Total Population                               328,016,242                       140,946,443                    8,084,246
                                                          Race and Ethnicity by Percent
                                                          White                        60 percent                                          62 percent                     50 percent
                                                          Black                                          12 percent                        15 percent                     24 percent
                                                          American Indian or Alaska                      0.7 percent                       0.4 percent                    0.4 percent
                                                          Native
                                                          Hispanic or Latino                             19 percent                        15 percent                     20 percent
                                                          (includes white and
                                                          nonwhite)
                                                          Other and Multiracial                          8 percent                         8 percent                      5 percent
                                                          Income by Percent
                                                          Below Poverty Level                            13 percent                        14 percent                     20 percent
                                                          Above Poverty Level                            87 percent                        86 percent                     80 percent
                                                          Education by Percent
                                                          Over 25 and without a                          12 percent                        12 percent                     17 percent
                                                          High School Diploma
                                                          Over 25 and with a High                        88 percent                        88 percent                     83 percent
                                                          School Diploma
                                                          Linguistically Isolated by Percent
                                                          Linguistically Isolated         5 percent            5 percent              6 percent
                                                         Notes:
                                                            • The nationwide population count and all demographic percentages are based on the
                                                                Census' 2015-2019 ACS five-year block group averages and include Puerto Rico.
                                                                Demographic percentages based on different averages may differ. The total population
                                                                counts are based on the 2010 Decennial Census block populations.
                                                            • To avoid double counting, the "Hispanic or Latino" category is treated as a distinct
                                                                demographic category for these analyses. A person is identified as one of five
                                                                racial/ethnic categories above: White, Black, American Indian or Alaska Native, Other
                                                                and Multiracial, or Hispanic/Latino. A person who identifies as Hispanic or Latino is
                                                                counted as Hispanic/Latino for this analysis, regardless of what race this person may have
                                                                also identified as in the Census.

                                                 BILLING CODE 6560–50–C
                                                                                                         7. Proximity Demographics Analysis for                become subject to NSPS subparts IIIa,
                                                    The methodology and the results                      NSPS Subparts IIIa, NNNa, and RRRa                    NNNa, and RRRa are not known.
                                                 (including facility-specific results) of                  The final NSPS subparts IIIa, NNNa,                 Therefore, to assess the potential for any
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                                                 the demographic analysis are presented                  and RRRa cover VOC emissions from                     environmental justice issues that might
                                                 in the document titled Analysis of                      certain process vents in the SOCMI from               be associated with the final subparts, we
                                                 Demographic Factors for Populations                     sources that are constructed,                         performed a proximity demographic
                                                 Living Near Existing Facilities Subject to              reconstructed, or modified after April                analysis for 266 existing facilities that
                                                 NSPS Subparts VV or VVa (see Docket                     25, 2023.                                             are currently subject to NSPS subpart
                                                 Item No. EPA–HQ–OAR–2022–0730–                            The locations of the new, modified,                 III, NNN, or RRR. These facilities
                                                 0058).                                                                                                        represent facilities that might modify or
                                                                                                                                                                                                            ER16MY24.022</GPH>




                                                                                                         and reconstructed sources that will


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                                                 reconstruct in the future and thus                      the percent of the population that is                 that are over 25 without a high school
                                                 become subject to the final NSPS                        Black is almost double the national                   diploma is also higher than the national
                                                 requirements. This proximity                            average (23 percent versus 12 percent)                average (17 percent versus 12 percent).
                                                 demographic analysis characterized the                  (Table 17 of this preamble). In addition,             The proximity demographics analysis
                                                 individual demographic groups of the                    the percentage of the population within               also shows that within 50 km of the
                                                 populations living within 5 km (∼3.1                    5 km of the facilities that is Hispanic or            facilities, the percentage of the
                                                 miles) and within 50 km (∼31 miles) of                  Latino is also above the national average             population that is Black is above the
                                                 the existing facilities. The EPA then                   (23 percent versus 19 percent). The                   national average (18 percent versus 12
                                                 compared the data from this analysis to                 percentage of people within 5 km living               percent). At 50 km, the remaining
                                                 the national average for each of the                    below the poverty level is significantly              percentages for the demographics are
                                                 demographic groups.                                     higher than the national average (20
                                                                                                                                                               similar to or below the national average.
                                                   The proximity demographic analysis                    percent versus 13 percent). The
                                                                                                                                                               BILLING CODE 6560–50–P
                                                 shows that, within 5 km of the facilities,              percentage of people living within 5 km
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                                                         Table 17. Proximity Demographic Assessment Results for Existing Facilities Subject to
                                                         NSPS Subparts III, NNN, or RRR
                                                                                                                                           Population within              Population within
                                                                                                                                              50 km of266                     5 km of266
                                                             Demographic Group                              Nationwide                          Facilities                     Facilities
                                                           Total Population                              328,016,242                       96,017,770                     4,624,154
                                                           Race and Ethnicity by Percent
                                                           White                        60 percent                                         59 percent                     48 percent
                                                           Black                                         12 percent                        18 percent                     23 percent
                                                           American Indian or Alaska                     0.7 percent                       0.4 percent                    0.4 percent
                                                           Native
                                                           Hispanic or Latino                            19 percent                        15 percent                     23 percent
                                                           (includes white and
                                                           nonwhite)
                                                           Other and Multiracial                         8 percent                         7 percent                      5 percent
                                                           Income by Percent
                                                           Below Poverty Level                           13 percent                        14 percent                     20 percent
                                                           Above Poverty Level                           87 percent                        86 percent                     80 percent
                                                           Education by Percent
                                                           Over 25 and without a                         12 percent                        12 percent                     17 percent
                                                           High School Diploma
                                                           Over 25 and with a High                       88 percent                        88 percent                     83 percent
                                                           School Diploma
                                                          Linguistically Isolated by Percent
                                                          Linguistically Isolated         5 percent            5 percent              6 percent
                                                         Notes:
                                                            • The nationwide population count and all demographic percentages are based on the
                                                                Census' 2015-2019 ACS five-year block group averages and include Puerto Rico.
                                                                Demographic percentages based on different averages may differ. The total population
                                                                counts are based on the 2010 Decennial Census block populations.
                                                            • To avoid double counting, the "Hispanic or Latino" category is treated as a distinct
                                                                demographic category for these analyses. A person is identified as one of five
                                                                racial/ethnic categories above: White, Black, American Indian or Alaska Native, Other
                                                                and Multiracial, or Hispanic/Latino. A person who identifies as Hispanic or Latino is
                                                                counted as Hispanic/Latino for this analysis, regardless of what race this person may have
                                                                also identified as in the Census.

                                                    The methodology and the results                      G. Children’s Environmental Health                     or safety effects of EtO and chloroprene
                                                 (including facility-specific results) of                                                                       emissions and exposures on children.
                                                                                                           This action finalizes standards to
                                                 the demographic analysis are presented                  address risk from, among other HAP,                      Because EtO and chloroprene are
                                                 in the document titled Analysis of
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                                                                                                         EtO and chloroprene. In addition, the                  mutagenic (i.e., it can damage DNA),
                                                 Demographic Factors for Populations                     EPA’s Policy on Children’s Health 72                   children are expected to be more
                                                 Living Near Existing Facilities Subject to              also applies to this action. Accordingly,              susceptible to their harmful effects. To
                                                 NSPS Subparts III, NNN, or RRR (see                     we evaluated the environmental health                  take this into account, as part of the risk
                                                 Docket Item No. EPA–HQ–OAR–2022–                                                                               assessments in support of this
                                                 0730–0059).                                               72 Children’s Health Policy Available at: https://   rulemaking, the EPA followed its
                                                                                                         www.epa.gov/children/childrens-health-policy-and-
                                                                                                                                                                                                              ER16MY24.023</GPH>




                                                                                                         plan.



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                                                 guidelines 73 and applied age-dependent                 Neoprene Production Source Category                   (OMB) for Executive Order 12866
                                                 adjustment factors (ADAFs) for                          in Support of the 2024 Risk and                       review. Documentation of any changes
                                                 childhood exposures (from birth up to                   Technology Review Final Rule, which                   made in response to the Executive Order
                                                 16 years of age). It should be noted that,              are available in the docket.                          12866 review is available in the docket.
                                                 because EtO and chloroprene are                                                                               The EPA prepared an economic analysis
                                                                                                         VI. Statutory and Executive Order
                                                 mutagenic, emission reductions                                                                                of the potential impacts associated with
                                                                                                         Reviews
                                                 finalized in this action will be                                                                              this action. This analysis, titled
                                                 particularly beneficial to children. The                  Additional information about these                  Regulatory Impact Analysis for the Final
                                                 results of this evaluation are contained                statutes and Executive Orders can be                  New Source Performance Standards for
                                                 in section IV.A of this preamble and                    found at https://www.epa.gov/laws-                    the Synthetic Organic Chemical
                                                 further documented in the risk reports,                 regulations/laws-and-executive-orders.                Manufacturing Industry and National
                                                 Residual Risk Assessment for the                        A. Executive Order 12866: Regulatory                  Emission Standards for Hazardous Air
                                                 SOCMI Source Category in Support of                     Planning and Review and Executive                     Pollutants for the Synthetic Organic
                                                 the 2024 Risk and Technology Review                     Order 14094: Modernizing Regulatory                   Chemical Manufacturing Industry and
                                                 Final Rule and Residual Risk                                                                                  Group I & II Polymers and Resins
                                                                                                         Review
                                                 Assessment for the Polymers & Resins I                                                                        Industry (EPA–452/R–24–001), is also
                                                                                                           This action is a ‘‘significant regulatory
                                                   73 U.S. EPA. 2005. Supplemental Guidance for          action’’ as defined under section 3(f)(1)             available in the docket. Table 18 of this
                                                 Assessing Susceptibility from Early-Life Exposure       of Executive Order 12866, as amended                  preamble summarizes the PV and EAV
                                                 to Carcinogens. U.S. Environmental Protection
                                                                                                         by Executive Order 14094. Accordingly,                of total costs and benefits for the final
                                                 Agency, Washington, DC, EPA/630/R–03/003F.                                                                    action.
                                                 https://www.epa.gov/sites/default/files/2013-09/        the EPA submitted this action to the
                                                 documents/childrens_supplement_final.pdf.               Office of Management and Budget                       BILLING CODE 6560–50–C
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                                                         Table 18. Total Monetized Benefits, Compliance Costs, Emission Reductions, and Net
                                                         Benefits for the Final Action (dollars in million 2021$) 1

                                                                                               3 Percent Discount Rate                                     7 Percent Discount Rate

                                                                                       [PV                          EAV                           PV                         EAV
                                                           Monetized                   77 and 690                   6.5 and 58                    53 and 475                 5.9 and 52
                                                           Health
                                                           Benefits2
                                                           Climate                     160                          13                             160                       13
                                                           Disbenefits3
                                                           Net Compliance 1,770                                     150                            1,370                     150
                                                           Costs4
                                                                  Compliance 1,790                                  150                            1,380                     150
                                                                       Costs
                                                                  Value of 16                                       1.3                            12                        1.3
                                                                  Product
                                                                 Recovery
                                                           Net Benefits    (1,900) and                              (160) and (110)               (1,500) and                (160) and (110)
                                                                           (1,200)                                                                (1,100)
                                                           N onmonetized    6,230 tons/year of HAP
                                                           Benefits         Health effects ofreduced exposure to EtO, chloroprene, benzene, 1,3-
                                                                             butadiene, vinyl chloride, ethylene dichloride, chlorine, maleic anhydride and
                                                                            acrolein
                                                           1 Totals may not sum due to independent rounding. Numbers rounded to two significant digits
                                                         unless otherwise noted. A number in parentheses denotes a negative value. Estimates are impacts
                                                         for the 15 year analytic period from 2024-2038 (inclusive). PV and EAV estimates are
                                                         discounted to 2024.
                                                           2Monetized health benefits include ozone related health benefits associated with reductions in
                                                         VOC emissions in the ozone season. The health benefits are associated with several point
                                                         estimates and are presented at real discount rates of 3 and 7 percent. The two benefits estimates
                                                         are separated by the word "and" to signify that they are two separate estimates. The estimates do
                                                         not represent lower- and upper-bound estimates. Benefits from HAP reductions and VOC
                                                         reductions outside of the ozone season remain unmonetized and are thus not reflected in the
                                                         table. The unmonetized effects also include disbenefits resulting from the secondary impact of an
                                                         increase in CO emissions.
                                                           3 Monetized climate benefits and disbenefits are based on increases in CO2 and N2O emissions
                                                         and decreases in CH4 emissions and are calculated using three different estimates of the social
                                                         cost of each greenhouse gas (SC-GHG) (under 1.5 percent, 2.0 percent, and 2.5 percent near-
                                                         term Ramsey discount rates). For the presentational purposes of this table, we show the net
                                                         disbenefits associated with the SC-GHG at a 2 percent near-term Ramsey discount rate.
                                                           4Net compliance costs are the engineering control costs minus the value of recovered product.
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                                                         A negative net compliance costs occurs when the value of the recovered product exceeds the
                                                         compliance costs.
                                                                                                                                                                                               ER16MY24.024</GPH>




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                                                 B. Paperwork Reduction Act (PRA)                        OMB approves this ICR, the Agency will                  An agency may not conduct or
                                                                                                         announce that approval in the Federal                 sponsor, and a person is not required to
                                                 1. HON
                                                                                                         Register and publish a technical                      respond to, a collection of information
                                                    The information collection activities                amendment to 40 CFR part 9 to display                 unless it displays a currently valid OMB
                                                 in this rule have been submitted for                    the OMB control number for the                        control number. The OMB control
                                                 approval to OMB under the PRA. The                      approved information collection                       numbers for the EPA’s regulations in 40
                                                 information collection request (ICR)                    activities in this final rule.                        CFR are listed in 40 CFR part 9. When
                                                 document that the EPA prepared has                                                                            OMB approves this ICR, the Agency will
                                                 been assigned EPA ICR number 2753.02.                   2. P&R I NESHAP
                                                                                                                                                               announce that approval in the Federal
                                                 You can find a copy of the ICR in the                      The information collection activities              Register and publish a technical
                                                 docket for this rule, and it is briefly                 in this rule have been submitted for                  amendment to 40 CFR part 9 to display
                                                 summarized here. The information                        approval to OMB under the PRA. The                    the OMB control number for the
                                                 collection requirements are not                         ICR document that the EPA prepared                    approved information collection
                                                 enforceable until OMB approves them.                    has been assigned EPA ICR number                      activities in this final rule.
                                                    The EPA is finalizing amendments to                  2410.07. You can find a copy of the ICR
                                                 the HON that revise provisions                          in the docket for this rule, and it is                3. P&R II NESHAP
                                                 pertaining to emissions from flares,                    briefly summarized here. The                             The information collection activities
                                                 PRDs, process vents, storage vessels,                   information collection requirements are               in this rule have been submitted for
                                                 pressure vessels, storage vessel                        not enforceable until OMB approves                    approval to OMB under the PRA. The
                                                 degassing, heat exchange systems,                       them.                                                 ICR document that the EPA prepared
                                                 maintenance vents, wastewater, and                         The EPA is finalizing amendments to                has been assigned EPA ICR number
                                                 equipment leaks. The EPA is also                        the P&R I NESHAP that revise                          1681.12. The OMB Control Number is
                                                 finalizing additional requirements                      provisions pertaining to emissions from               2060–0290. You can find a copy of the
                                                 pertaining to EtO emissions from                        flares, PRDs, continuous process vents,               ICR in the docket for this rule, and it is
                                                 process vents, storage vessels, heat                    batch process vents, storage vessels,                 briefly summarized here. The
                                                 exchange systems, equipment leaks, and                  pressure vessels, storage vessel                      information collection requirements are
                                                 wastewater; and dioxins and furans                      degassing, heat exchange systems,                     not enforceable until OMB approves
                                                 emissions from process vents. In                        maintenance vents, wastewater, and                    them.
                                                 addition, the EPA is finalizing                         equipment leaks. The EPA is also                         The EPA is finalizing amendments to
                                                 amendments to the HON that revise                       finalizing requirements pertaining to:                the P&R II NESHAP to add requirements
                                                 provisions pertaining to emissions                      chloroprene emissions from process                    pertaining to: heat exchange systems,
                                                 during periods of SSM, add                              vents, storage vessels, and wastewater;               PRDs, dioxins and furans emissions
                                                 requirements for electronic reporting of                and dioxins and furans emissions from                 from process vents, and maintenance
                                                 periodic reports and performance test                   continuous process vents and batch                    vents. In addition, the EPA is finalizing
                                                 results, fenceline monitoring, carbon                   process vents. In addition, the EPA is                amendments to the P&R II NESHAP that
                                                 adsorbers, and bypass monitoring, and                   finalizing amendments to the P&R I                    revise provisions pertaining to
                                                 make other minor clarifications and                     NESHAP that revise provisions                         emissions during periods of SSM, add
                                                 corrections. This information will be                   pertaining to emissions during periods                requirements for electronic reporting of
                                                 collected to assure compliance with the                 of SSM, add requirements for electronic               periodic reports and performance test
                                                 HON.                                                    reporting of periodic reports and                     results, and make other minor
                                                    Respondents/affected entities:                       performance test results, fenceline                   clarifications and corrections. This
                                                 Owners or operators of HON facilities.                  monitoring, carbon adsorbers, and                     information will be collected to assure
                                                    Respondent’s obligation to respond:                  bypass monitoring, and make other                     compliance with the P&R II NESHAP.
                                                 Mandatory (40 CFR part 63, subparts F,                  minor clarifications and corrections.                    Respondents/affected entities:
                                                 G, H, and I).                                           This information will be collected to                 Owners or operators of P&R II facilities.
                                                    Estimated number of respondents:                                                                              Respondent’s obligation to respond:
                                                                                                         assure compliance with the P&R I
                                                 209 (assumes two new respondents over                                                                         Mandatory (40 CFR part 63, subpart W).
                                                                                                         NESHAP.
                                                 the next 3 years).                                                                                               Estimated number of respondents: 5
                                                    Frequency of response: Initially,                       Respondents/affected entities:
                                                                                                                                                               (assumes no new respondents over the
                                                 quarterly, semiannually, and annually.                  Owners or operators of P&R I facilities.
                                                                                                                                                               next 3 years).
                                                    Total estimated burden: average                         Respondent’s obligation to respond:                   Frequency of response: Initially,
                                                 annual recordkeeping and reporting                      Mandatory (40 CFR part 63, subpart U).                semiannually, and annually.
                                                 burden is 83,500 hours (per year) to                       Estimated number of respondents: 19                   Total estimated burden: average
                                                 comply with the final amendments in                     (assumes no new respondents over the                  annual recordkeeping and reporting
                                                 HON. Burden is defined at 5 CFR                         next 3 years).                                        burden is 202 hours (per year) to
                                                 1320.3(b).                                                 Frequency of response: Initially,                  comply with the final amendments in
                                                    Total estimated cost: average annual                 quarterly, semiannually, and annually.                the P&R II NESHAP. Burden is defined
                                                 cost is $66,000,000 (per year) which                       Total estimated burden: average                    at 5 CFR 1320.3(b).
                                                 includes $57,500,000 annualized capital                 annual recordkeeping and reporting                       Total estimated cost: average annual
                                                 and operations and maintenance costs,                   burden is 8,126 hours (per year) to                   cost is $1,780,000 (per year) which
                                                 to comply with the final amendments in                  comply with the final amendments in                   includes $1,760,000 annualized capital
                                                                                                         the P&R I NESHAP. Burden is defined
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                                                 HON.                                                                                                          and operations and maintenance costs,
                                                    An agency may not conduct or                         at 5 CFR 1320.3(b).                                   to comply with the final amendments in
                                                 sponsor, and a person is not required to                   Total estimated cost: average annual               the P&R II NESHAP.
                                                 respond to, a collection of information                 cost is $3,200,000 (per year) which                      An agency may not conduct or
                                                 unless it displays a currently valid OMB                includes $2,370,000 annualized capital                sponsor, and a person is not required to
                                                 control number. The OMB control                         and operations and maintenance costs,                 respond to, a collection of information
                                                 numbers for the EPA’s regulations in 40                 to comply with the final amendments in                unless it displays a currently valid OMB
                                                 CFR are listed in 40 CFR part 9. When                   the P&R I NESHAP.                                     control number. The OMB control


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                                                 numbers for the EPA’s regulations in 40                   Estimated number of respondents: 36                    Respondents/affected entities:
                                                 CFR are listed in 40 CFR part 9. When                   (assumes 36 new respondents over the                  Owners or operators of air oxidation
                                                 OMB approves this ICR, the Agency will                  next 3 years).                                        unit processes in the SOCMI.
                                                 announce that approval in the Federal                     Frequency of response: Initially,                      Respondent’s obligation to respond:
                                                 Register and publish a technical                        occasionally, and annually.                           Mandatory (40 CFR part 60, subpart
                                                 amendment to 40 CFR part 9 to display                     Total estimated burden: average                     IIIa).
                                                 the OMB control number for the                          annual recordkeeping and reporting                       Estimated number of respondents: 6
                                                 approved information collection                         burden is 5,414 hours (per year) to                   (assumes 6 new respondents over the
                                                 activities in this final rule.                          comply with all of the requirements in                next 3 years).
                                                                                                         the NSPS. Burden is defined at 5 CFR                     Frequency of response: Initially,
                                                 4. NSPS Subparts VV, VVa, III, NNN,                                                                           semiannually, and annually.
                                                 and RRR                                                 1320.3(b).
                                                                                                                                                                  Total estimated burden: average
                                                                                                           Total estimated cost: average annual
                                                    This action does not impose any new                                                                        annual recordkeeping and reporting
                                                                                                         cost is $3,600,000 (per year) which
                                                 information collection burden under the                                                                       burden is 275 hours (per year) to
                                                                                                         includes $3,050,000 annualized capital
                                                 PRA for NSPS subparts VV, VVa, III,                                                                           comply with all of the requirements in
                                                                                                         and operations and maintenance costs,
                                                 NNN, and RRR. OMB has previously                                                                              NSPS subpart IIIa. Burden is defined at
                                                                                                         to comply with all of the requirements
                                                 approved the information collection                                                                           5 CFR 1320.3(b).
                                                                                                         in the NSPS.                                             Total estimated cost: average annual
                                                 activities contained in the existing
                                                                                                           An agency may not conduct or                        cost is $4,280,000 (per year) which
                                                 regulations and has assigned OMB
                                                 Control number 2060–0443 for 40 CFR                     sponsor, and a person is not required to              includes $4,250,000 annualized capital
                                                 part 60 subparts VV, VVa, III, NNN, and                 respond to, a collection of information               and operations and maintenance costs,
                                                 RRR (this one OMB Control number is                     unless it displays a currently valid OMB              to comply with all of the requirements
                                                 for the Consolidated Federal Air Rule in                control number. The OMB control                       in NSPS subpart IIIa.
                                                 40 CFR part 65 which presents the                       numbers for the EPA’s regulations in 40                  An agency may not conduct or
                                                 burden for complying with 40 CFR part                   CFR are listed in 40 CFR part 9. When                 sponsor, and a person is not required to
                                                 65, but also presents the burden for                    OMB approves this ICR, the Agency will                respond to, a collection of information
                                                 facilities complying with each                          announce that approval in the Federal                 unless it displays a currently valid OMB
                                                 individual subpart). This action is                     Register and publish a technical                      control number. The OMB control
                                                 believed to result in no changes to the                 amendment to 40 CFR part 9 to display                 numbers for the EPA’s regulations in 40
                                                 information collection requirements of                  the OMB control number for the                        CFR are listed in 40 CFR part 9. When
                                                 these NSPS, so that the information                     approved information collection                       OMB approves this ICR, the Agency will
                                                 collection estimate of project cost and                 activities in this final rule.                        announce that approval in the Federal
                                                 hour burden from these NSPS have not                    6. NSPS Subpart IIIa                                  Register and publish a technical
                                                 been revised.                                                                                                 amendment to 40 CFR part 9 to display
                                                                                                            The information collection activities              the OMB control number for the
                                                 5. NSPS Subpart VVb                                     in this rule have been submitted for                  approved information collection
                                                    The information collection activities                approval to OMB under the PRA. The                    activities in this final rule.
                                                 in this rule have been submitted for                    ICR document that the EPA prepared
                                                                                                         has been assigned EPA ICR number                      7. NSPS Subpart NNNa
                                                 approval to OMB under the PRA. The
                                                 ICR document that the EPA prepared                      2756.02. You can find a copy of the ICR                  The information collection activities
                                                 has been assigned EPA ICR number                        in the docket for this rule, and it is                in this rule have been submitted for
                                                 2755.02. You can find a copy of the ICR                 briefly summarized here. The                          approval to OMB under the PRA. The
                                                 in the docket for this rule, and it is                  information collection requirements are               ICR document that the EPA prepared
                                                 briefly summarized here. The                            not enforceable until OMB approves                    has been assigned EPA ICR number
                                                 information collection requirements are                 them.                                                 2757.02. You can find a copy of the ICR
                                                 not enforceable until OMB approves                         The EPA is finalizing requirements for             in the docket for this rule, and it is
                                                 them.                                                   new, modified, or reconstructed sources               briefly summarized here. The
                                                    The EPA is finalizing in a new NSPS                  as follows: require owners and operators              information collection requirements are
                                                 subpart VVb the same requirements in                    reduce emissions of TOC (minus                        not enforceable until OMB approves
                                                 NSPS subpart VVa plus requiring that                    methane and ethane) from all vent                     them.
                                                 all gas/vapor and light liquid valves be                streams of an affected facility (and not                 The EPA is finalizing requirements for
                                                 monitored monthly at a leak definition                  including the alternative of maintaining              new, modified, or reconstructed sources
                                                 of 100 ppm and all connectors be                        a TRE index value greater than 1                      as follows: require owners and operators
                                                 monitored once every 12 months at a                     without the use of a control device);                 reduce emissions of TOC (minus
                                                 leak definition of 500 ppm. In addition,                require standards apply at all times                  methane and ethane) from all vent
                                                 the EPA is finalizing the removal of                    (including during SSM periods); revise                streams of an affected facility (and not
                                                 SSM provisions (the standards apply at                  monitoring requirements for flares; add               including the alternative of maintaining
                                                 all times), additional requirements for                 maintenance vent requirements; revise                 a TRE index value greater than 1
                                                 electronic reporting of periodic reports,               requirements for adsorber monitoring;                 without the use of a control device);
                                                 and other minor clarifications and                      exclude the relief valve discharge                    require the standards apply at all times
                                                 corrections. This information will be                   exemption such that any relief valve                  (including during SSM periods); revise
                                                                                                         discharge to the atmosphere of a vent                 monitoring requirements for flares; add
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                                                 collected to assure compliance with the
                                                 NSPS subpart VVb.                                       stream is a violation of the emissions                maintenance vent requirements; revise
                                                    Respondents/affected entities:                       standard; and prohibit an owner or                    requirements for adsorber monitoring;
                                                 Owners or operators of certain                          operator from bypassing the control                   exclude the relief valve discharge
                                                 equipment leaks in the SOCMI.                           device at any time, and to report any                 exemption such that any relief valve
                                                    Respondent’s obligation to respond:                  such violation. This information will be              discharge to the atmosphere of a vent
                                                 Mandatory (40 CFR part 60, subpart                      collected to assure compliance with the               stream is a violation of the emissions
                                                 VVb).                                                   NSPS subpart IIIa.                                    standard; and prohibit an owner or


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                                                 operator from bypassing the control                     exclude the relief valve discharge                    final amendments to the P&R I
                                                 device at any time, and to report any                   exemption such that any relief valve                  NESHAP, one small entity is impacted
                                                 such violation. This information will be                discharge to the atmosphere of a vent                 and its impact is costs less than 0.5
                                                 collected to assure compliance with the                 stream is a violation of the emissions                percent of revenues. For the final
                                                 NSPS subpart NNNa.                                      standard; and prohibit an owner or                    amendments to the P&R II NESHAP, no
                                                    Respondents/affected entities:                       operator from bypassing the control                   small entities are impacted. Details of
                                                 Owners or operators of distillation                     device at any time, and to report any                 the analysis for each final rule including
                                                 operations in the SOCMI.                                such violation. This information will be              the NSPS that are included in this final
                                                    Respondent’s obligation to respond:                  collected to assure compliance with the               action are presented in the RIA for this
                                                 Mandatory (40 CFR part 60, subpart                      NSPS subpart RRRa.                                    action, which is found in the docket.
                                                 NNNa).                                                     Respondents/affected entities:
                                                    Estimated number of respondents: 7                   Owners or operators of reactor processes              D. Unfunded Mandates Reform Act
                                                 (assumes 7 new respondents over the                     in the SOCMI.                                         (UMRA)
                                                 next 3 years).                                             Respondent’s obligation to respond:                  This action does not contain an
                                                    Frequency of response: Initially,                    Mandatory (40 CFR part 60, subpart                    unfunded mandate of $100 million or
                                                 semiannually, and annually.                             RRRa).                                                more (adjusted for inflation) as
                                                    Total estimated burden: average                         Estimated number of respondents: 6                 described in UMRA, 2 U.S.C. 1531–
                                                 annual recordkeeping and reporting                      (assumes 6 new respondents over the                   1538, and does not significantly or
                                                 burden is 320 hours (per year) to                       next 3 years).                                        uniquely affect small governments. The
                                                 comply with all of the requirements in                     Frequency of response: Initially,                  costs involved in this action are
                                                 NSPS subpart NNNa. Burden is defined                    semiannually, and annually.                           estimated not to exceed $100 million or
                                                 at 5 CFR 1320.3(b).                                        Total estimated burden: average                    more (adjusted for inflation) in any one
                                                    Total estimated cost: average annual                 annual recordkeeping and reporting                    year.
                                                 cost is $4,990,000 (per year) which                     burden is 275 hours (per year) to
                                                 includes $4,960,000 annualized capital                  comply with all of the requirements in                E. Executive Order 13132: Federalism
                                                 and operations and maintenance costs,                   NSPS subpart RRRa. Burden is defined                    This action does not have federalism
                                                 to comply with all of the requirements                  at 5 CFR 1320.3(b).                                   implications. It will not have substantial
                                                 in NSPS subpart NNNa.                                      Total estimated cost: average annual               direct effects on the states, on the
                                                    An agency may not conduct or                         cost is $4,280,000 (per year) which                   relationship between the national
                                                 sponsor, and a person is not required to                includes $4,250,000 annualized capital                government and the states, or on the
                                                 respond to, a collection of information                 and operations and maintenance costs,                 distribution of power and
                                                 unless it displays a currently valid OMB                to comply with all of the requirements                responsibilities among the various
                                                 control number. The OMB control                         in NSPS subpart RRRa.                                 levels of government.
                                                 numbers for the EPA’s regulations in 40                    An agency may not conduct or
                                                 CFR are listed in 40 CFR part 9. When                   sponsor, and a person is not required to              F. Executive Order 13175: Consultation
                                                 OMB approves this ICR, the Agency will                  respond to, a collection of information               and Coordination With Indian Tribal
                                                 announce that approval in the Federal                   unless it displays a currently valid OMB              Governments
                                                 Register and publish a technical                        control number. The OMB control                          This action does not have tribal
                                                 amendment to 40 CFR part 9 to display                   numbers for the EPA’s regulations in 40               implications as specified in Executive
                                                 the OMB control number for the                          CFR are listed in 40 CFR part 9. When                 Order 13175. None of the facilities that
                                                 approved information collection                         OMB approves this ICR, the Agency will                have been identified as being affected by
                                                 activities in this final rule.                          announce that approval in the Federal                 this action are owned or operated by
                                                                                                         Register and publish a technical                      tribal governments or located within
                                                 8. NSPS Subpart RRRa                                                                                          tribal lands. Thus, Executive Order
                                                                                                         amendment to 40 CFR part 9 to display
                                                    The information collection activities                the OMB control number for the                        13175 does not apply to this action.
                                                 in this rule have been submitted for                    approved information collection
                                                 approval to OMB under the PRA. The                                                                            G. Executive Order 13045: Protection of
                                                                                                         activities in this final rule.
                                                 ICR document that the EPA prepared                                                                            Children From Environmental Health
                                                 has been assigned EPA ICR number                        C. Regulatory Flexibility Act (RFA)                   Risks and Safety Risks
                                                 2759.02. You can find a copy of the ICR                   I certify that each of the final rules in              Executive Order 13045 directs federal
                                                 in the docket for this rule, and it is                  this action will not have a significant               agencies to include an evaluation of the
                                                 briefly summarized here. The                            economic impact on a substantial                      health and safety effects of the planned
                                                 information collection requirements are                 number of small entities under the RFA.               regulation on children in federal health
                                                 not enforceable until OMB approves                      The small entities subject to the                     and safety standards and explain why
                                                 them.                                                   requirements of this action are small                 the regulation is preferable to
                                                    The EPA is finalizing requirements for               businesses. For the final amendments to               potentially effective and reasonably
                                                 new, modified, or reconstructed sources                 the HON, the Agency has determined                    feasible alternatives. This action is
                                                 as follows: require owners and operators                that all small entities affected by this              subject to Executive Order 13045
                                                 reduce emissions of TOC (minus                          action, estimated to be 9, may                        because it is a significant regulatory
                                                 methane and ethane) from all vent                       experience an average impact of costs                 action under section 3(f)(1) of Executive
                                                 streams of an affected facility (and not                being less than 0.5 percent of revenues,              Order 12866, and the EPA believes that
                                                 including the alternative of maintaining                not including product recovery, or about              the environmental health or safety risk
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                                                 a TRE index value greater than 1                        0.43 percent, including product                       addressed by this action may have a
                                                 without the use of a control device);                   recovery from compliance. Two of these                disproportionate effect on children. This
                                                 require the standards apply at all times                nine entities experienced costs above                 is because EtO and chloroprene, which
                                                 (including during SSM periods); revise                  one percent of revenues, neither had                  are HAP emitted by sources subject to
                                                 monitoring requirements for flares; add                 costs exceeding three percent of                      this action, are mutagenic (i.e., it can
                                                 maintenance vent requirements; revise                   revenues and represent a small total                  damage DNA), and children are
                                                 requirements for adsorber monitoring;                   number of impacted entities. For the                  presented with higher risks based on the


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                                                 EPA’s ADAFs for these HAP.                              the EPA conducted searches for the                    Engineers (ASME), Three Park Avenue,
                                                 Accordingly, we have evaluated the                      HON and the P&R I and P&R II NESHAP                   New York, NY 10016–5990; telephone
                                                 environmental health or safety effects of               through the Enhanced National                         number: 1–800–843–5990; and email
                                                 EtO and chloroprene emissions on                        Standards Systems Network Database                    address: customercare@asme.org. See
                                                 children.                                               managed by the American National                      https://wwww.ansi.org and https://
                                                    The protection offered by these                      Standards Institute (ANSI). We also                   www.asme.org. The standard is
                                                 standards to reduce emissions of EtO                    conducted a review of voluntary                       available to everyone at a cost
                                                 and chloroprene accounts for childhood                  consensus standards (VCS)                             determined by ANSI/ASME ($96).
                                                 exposures by applying ADAFs to                          organizations and accessed and                        ANSI/ASME also offer memberships or
                                                 account for greater susceptibility of                   searched their databases. We conducted                subscriptions for reduced costs. The
                                                 children to these HAP. The results of                   searches for EPA Methods 1, 1A, 2, 2A,                cost of obtaining these methods is not a
                                                 this evaluation are contained in section                2C, 2D, 2F, 2G, 3B, 4, 18, 21, 22, 25A,               significant financial burden, making the
                                                 IV.A of this preamble and further                       25D, 26, 26A, 27 of 40 CFR part 60,                   methods reasonably available.
                                                 documented in the risk reports,                         Appendix A, 301, 305, 316 and 320 of                     The EPA incorporates by reference
                                                 Residual Risk Assessment for the                        40 CFR part 63, Appendix A, 624, 625,                 VCS ASTM D6420–18, ‘‘Standard Test
                                                 SOCMI Source Category in Support of                     1624, and 1625 of 40 CFR part 136                     Method for Determination of Gaseous
                                                 the 2024 Risk and Technology Review                     Appendix A, 624.1 of 40 CFR part 163,                 Organic Compounds by Direct Interface
                                                 Final Rule and Residual Risk                            Appendix A. During the EPA’s VCS                      Gas Chromatography-Mass
                                                 Assessment for the Polymers & Resins I                  search, if the title or abstract (if                  Spectrometry’’ as an acceptable
                                                 Neoprene Production Source Category                     provided) of the VCS described                        alternative to EPA Method 18
                                                 in Support of the 2024 Risk and                         technical sampling and analytical                     (referenced in NSPS subparts VV, VVa,
                                                 Technology Review Final Rule, which                     procedures that are similar to the EPA’s              VVb, III, IIIa, NNN, NNNa, RRR, and
                                                 are available in the docket. This action                reference method, the EPA ordered a                   RRRa, and NESHAP subparts F, G, H, I,
                                                 is preferred over other regulatory                      copy of the standard and reviewed it as               U, and W) with the following caveats.
                                                 options because a residual risk                         a potential equivalent method. We                     This ASTM procedure uses a direct
                                                 assessment was performed and options                    reviewed all potential standards to                   interface gas chromatograph/mass
                                                 were assessed and finalized to reduce                   determine the practicality of the VCS for             spectrometer to identify and quantify
                                                 emissions of EtO and chloroprene,                       this rule. This review requires                       VOC and has been approved by the EPA
                                                 which will be extremely beneficial to                   significant method validation data that               as an alternative to EPA Method 18 only
                                                 children. Furthermore, EPA’s Policy on                  meet the requirements of EPA Method                   when the target compounds are all
                                                 Children’s Health also applies to this                  301 for accepting alternative methods or              known and the target compounds are all
                                                 action. Information on how the Policy                   scientific, engineering, and policy                   listed in ASTM D6420 as measurable.
                                                 was applied is available under                          equivalence to procedures in the EPA                  ASTM D6420–18 should not be used for
                                                 ‘‘Children’s Environmental Health’’ in                  referenced methods. The EPA may                       methane and ethane because the atomic
                                                 the Supplementary Information section                   reconsider determinations of                          mass is less than 35; and ASTM D6420
                                                 of this preamble.                                       impracticality when additional                        should never be specified as a total VOC
                                                                                                         information is available for particular               method. The ASTM D6420–18 test
                                                 H. Executive Order 13211: Actions
                                                                                                         VCS. No applicable voluntary consensus                method employs a direct interface gas
                                                 Concerning Regulations That
                                                                                                         standards were identified for EPA                     chromatograph/mass spectrometer to
                                                 Significantly Affect Energy Supply,
                                                                                                                                                               measure 36 VOC. The test method
                                                 Distribution, or Use                                    Methods 1, 1A, 2, 2A, 2C, 2D, 2F, 2G,
                                                                                                                                                               provides onsite analysis of extracted,
                                                    This action is not a ‘‘significant                   21, 22, 25D, 27, 305, 316, 624, 624.1,
                                                                                                                                                               unconditioned, and unsaturated (at the
                                                 energy action’’ because it is not likely to             625, 1624 and 1625.
                                                                                                                                                               instrument) gas samples from stationary
                                                 have a significant adverse effect on the                   The EPA incorporates by reference                  sources.
                                                 supply, distribution, or use of energy.                 VCS ANSI/ASME PTC 19.10–1981—                            The EPA incorporates by reference
                                                 The EPA expects this final action would                 Part 10, ‘‘Flue and Exhaust Gas                       VCS ASTM D6348–12 (Reapproved
                                                 not reduce crude oil supply, fuel                       Analyses’’ as an acceptable alternative               2020), ‘‘Standard Test Method for
                                                 production, coal production, natural gas                to EPA Method 3B (referenced in NSPS                  Determination of Gaseous Compounds
                                                 production, or electricity production.                  subparts IIIa, NNNa, RRR, and RRRa,                   by Extractive Direct Interface Fourier
                                                 We estimate that this final action would                and NESHAP subpart G) for the manual                  Transform Infrared (FTIR)
                                                 have minimal impact on the amount of                    procedures only and not the                           Spectroscopy’’ as an acceptable
                                                 imports or exports of crude oils,                       instrumental procedures. This method                  alternative to EPA Method 320
                                                 condensates, or other organic liquids                   is used to quantitatively determine the               (referenced in NESHAP subparts F and
                                                 used in the energy supply industries.                   gaseous constituents of exhausts                      U) with caveats requiring inclusion of
                                                 Given the minimal impacts on energy                     including oxygen, CO2, carbon                         selected annexes to the standard as
                                                 supply, distribution, and use as a whole                monoxide, nitrogen, sulfur dioxide,                   mandatory. This ASTM procedure uses
                                                 nationally, no significant adverse energy               sulfur trioxide, nitric oxide, nitrogen               an extractive sampling system that
                                                 effects are expected to occur. For more                 dioxide, hydrogen sulfide, and                        routes stationary source effluent to an
                                                 information on these estimates of energy                hydrocarbons. The ANSI/ASME PTC                       FTIR spectrometer for the identification
                                                 effects, please refer to the economic                   19.10–1981—Part 10 method                             and quantification of gaseous
                                                 impact analysis contained in the RIA for                incorporates both manual and                          compounds. We note that we proposed
                                                                                                         instrumental methodologies for the
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                                                 this final rulemaking.                                                                                        VCS ASTM D6348–12e1 as an
                                                                                                         determination of oxygen content. The                  alternative to EPA Method 320;
                                                 I. National Technology Transfer and                     manual method segment of the oxygen                   however, since proposal, a newer
                                                 Advancement Act (NTTAA) and 1 CFR                       determination is performed through the                version of the method (VCS ASTM
                                                 Part 51                                                 absorption of oxygen. This method is                  D6348–12 (Reapproved 2020)) is now
                                                    This action involves technical                       available at the ANSI, 1899 L Street NW,              available and we have determined it to
                                                 standards. As discussed in the proposal                 11th Floor, Washington, DC 20036 and                  be equivalent to EPA Method 320 with
                                                 preamble (88 FR 25080, April 25, 2023),                 the American Society of Mechanical                    caveats. The VCS ASTM D6348–12


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                                                 (Reapproved 2020) method is an                          The cost of obtaining these methods is                to identify organic HAP in water;
                                                 extractive FTIR Spectroscopy-based                      not a significant financial burden,                   however, SW–846–5031, SW–846–
                                                 field test method and is used to quantify               making the methods reasonably                         8260D, and SW–846–5030B use water
                                                 gas phase concentrations of multiple                    available to stakeholders.                            sampling techniques and the Modified
                                                 target compounds in emission streams                       While the EPA identified 13 other                  El Paso Method uses an air stripping
                                                 from stationary sources. When using                     VCS as being potentially applicable, the              sampling technique. The SW–846
                                                 ASTM D6348–12 (Reapproved 2020),                        Agency decided not to use them because                methods are reasonably available from
                                                 the following conditions must be met:                   these methods are impractical as                      the EPA at https://www.epa.gov/hw-
                                                 (1) Annexes Al through A8 to ASTM                       alternatives because of the lack of                   sw846 while the Modified El Paso
                                                 D6348–12 (Reapproved 2020) are                          equivalency, documentation, validation                Method is reasonably available from
                                                 mandatory; and (2) in ASTM D6348–12                     date, and other important technical and               TCEQ at https://www.tceq.texas.gov/
                                                 (Reapproved 2020) Annex A5 (Analyte                     policy considerations. The search and                 assets/public/compliance/field_ops/
                                                 Spiking Technique), the percent (%) R                   review results have been documented                   guidance/samplingappp.pdf.
                                                 must be determined for each target                      and are in the memorandum, Voluntary                     In addition, because we are moving
                                                 analyte (Equation A5.5). In order for the               Consensus Standard Results for                        all HON definitions from NESHAP
                                                 test data to be acceptable for a                        National Emission Standards for                       subparts G and H (i.e., 40 CFR 63.111
                                                 compound, %R must be 70% ≥ R ≤                          Hazardous Air Pollutants From the                     and 40 CFR 63.161, respectively) into
                                                 130%. If the %R value does not meet                     Synthetic Organic Chemical                            the definition section of NESHAP
                                                 this criterion for a target compound, the               Manufacturing Industry (see Docket                    subpart F (i.e., 40 CFR 63.101), we are
                                                 test data is not acceptable for that                    Item No. EPA–HQ–OAR–2022–0730–                        incorporating by reference, API Manual
                                                 compound and the test must be repeated                  0008).                                                of Petroleum Measurement
                                                 for that analyte (i.e., the sampling and/                  Under 40 CFR 63.7(f) and 40 CFR                    Specifications (MPMS) Chapter 19.2
                                                 or analytical procedure should be                       63.8(f), subpart A—General Provisions,                (API MPMS 19.2), ‘‘Evaporative Loss
                                                 adjusted before a retest). The %R value                 a source may apply to the EPA for                     From Floating-Roof Tanks,’’ Fourth
                                                 for each compound must be reported in                   permission to use alternative test                    Edition, August 2020 and ‘‘Standard
                                                 the test report, and all field                          methods or alternative monitoring                     Test Method for Vapor Pressure-
                                                 measurements must be corrected with                     requirements in place of any required                 Temperature Relationship and Initial
                                                 the calculated %R value for that                        testing methods, performance                          Decomposition Temperature of Liquids
                                                 compound by using the following                         specifications, or procedures in the final            by Isoteniscope’’ (ASTM D2879–23) into
                                                 equation:                                               rule or any amendments.                               40 CFR 63.101 (for HON). The API
                                                                                                            Also, although not considered a VCS,               method (API MPMS 19.2) 74 contains
                                                 Reported Results = ((Measured
                                                                                                         the EPA incorporates by reference,
                                                      Concentration in Stack))/(%R) ×                                                                          methodologies for estimating the total
                                                                                                         ‘‘Purge-And-Trap For Aqueous                          evaporative losses of hydrocarbons from
                                                      100.
                                                                                                         Samples’’ (SW–846–5030B), ‘‘Volatile,                 various types of floating-roof tanks. The
                                                    The EPA is also incorporating by                     Nonpurgeable, Water-Soluble                           ASTM method (ASTM D2879–23)
                                                 reference Quality Assurance Handbook                    Compounds by Azeotropic Distillation’’                addresses the determination of the
                                                 for Air Pollution Measurement Systems,                  (SW–846–5031), and ‘‘Volatile Organic                 vapor pressure of one or more organic
                                                 Volume IV: Meteorological                               Compounds by Gas Chromatography/                      components in a gas stream. In addition,
                                                 Measurements, Version 2.0 (Final),                      Mass Spectrometry (GC/MS)’’ (SW–846–                  the EPA is adding new NSPS subpart
                                                 March 2008 (EPA–454/B–08–002). The                      8260D) into 40 CFR 63.109(b)(1), (c)(1),              VVb to part 60 and is allowing the use
                                                 Quality Assurance Handbook for Air                      (d), and (e) (for HON) and 40 CFR                     of:
                                                 Pollution Measurement Systems;                          63.510(b)(1) and (c) (for the P&R I                      ASTM D240–19, Standard Test
                                                 Volume IV: Meteorological                               NESHAP); and ‘‘Air Stripping Method                   Method for Heat of Combustion of
                                                 Measurements is an EPA developed                        (Modified El Paso Method) for                         Liquid Hydrocarbon Fuels by Bomb
                                                 guidance manual for the installation,                   Determination of Volatile Organic                     Calorimeter and ASTM D4809–18,
                                                 operation, maintenance and calibration                  Compound Emissions from Water                         Standard Test Method for Heat of
                                                 of meteorological systems including the                 Sources,’’ into 40 CFR 63.104(g)(3)(i)                Combustion of Liquid Hydrocarbon
                                                 wind speed and direction using                          and (ii), and 40 CFR                                  Fuels by Bomb Calorimeter (Precision
                                                 anemometers, temperature using                          63.104(f)(3)(iv)(D)(1). Method SW–846–                Method). The ASTM D240–19 method
                                                 thermistors, and atmospheric pressure                   5030B can be used as a purge-and-trap                 addresses the determination of net heat
                                                 using aneroid barometers, as well as the                procedure for the analysis of volatile                of combustion of components of liquid
                                                 calculations for wind vector data for on-               organic compounds in aqueous samples                  hydrocarbon fuels ranging in volatility
                                                 site meteorological measurements. This                  and water miscible liquid samples.                    from that of light distillates to that of
                                                 VCS may be obtained from the EPA’s                      Method SW–846–5031 can be used for                    residual fuels. The ASTM D4809–18
                                                 National Service Center for                             separation of nonpurgeable, water-                    method is similar to that of ASTM
                                                 Environmental Publications                              soluble, and volatile organic compounds               D240–19, though it specifically
                                                 (www.epa.gov/nscep).                                    in aqueous samples or leachates from                  addresses the determination of net heat
                                                    The two ASTM methods (ASTM                           solid matrices using azeotropic                       of combustion of aviation fuels with
                                                 D6420–18 and ASTM D6348–12                              distillation. Method SW–846–8260D can                 high precision. In addition, ASTM
                                                 (Reapproved 2020)) are available at                     be used to determine VOCs in a variety
                                                                                                                                                               D4809–18 can also be used to address
                                                 ASTM International, 1850 M Street NW,                   of solid waste matrices and is applicable
                                                                                                                                                               the determination of net heat of
                                                 Suite 1030, Washington, DC 20036;                       to nearly all types of samples, regardless
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                                                                                                                                                               combustion for a wide range of volatile
                                                 telephone number: 1–610–832–9500.                       of water content. The Modified El Paso
                                                                                                                                                               and non-volatile materials. The EPA
                                                 See https://www.astm.org/. These                        Method utilizes dynamic or flow-
                                                                                                                                                               currently allows for the use of previous
                                                 standards are available to everyone at a                through system for air stripping a
                                                                                                                                                               versions of these methods in NSPS
                                                 cost determined by the ASTM ($57 and                    sample of water and analyzing the
                                                 $76, respectively). The ASTM also offers                resultant off-gases for VOCs using a                    74 API MPMS 19.2 is a replacement for API
                                                 memberships or subscriptions that                       common flame ionization detector (FID)                publication 2517, which was previously referenced
                                                 allow unlimited access to their methods.                analyzer. Each of these methods is used               in the HON.



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                                                 subparts VV and VVa for the                             these methods for this same purpose in                percent) is substantially higher than the
                                                 determination of net heat of combustion                 NSPS subpart VVb.                                     national average. The proportion of
                                                 of components in a gas stream;                             All of the ASTM methods that we are                other demographic groups living within
                                                 therefore, we are allowing the use of the               adding into the HON, the P&R I                        10 km of HON facilities is similar or
                                                 most recent versions of these methods                   NESHAP, and NSPS subpart VVb are                      lower than the national average. The
                                                 for this same purpose in NSPS subpart                   available at the same address and                     EPA also conducted a risk assessment of
                                                 VVb.                                                    contact information provided earlier in               possible cancer risks and other adverse
                                                    ASTM D1945–14 (Reapproved 2019),                     this section of this preamble. The API                health effects, and found that prior to
                                                 Standard Test Method for Analysis of                    method that we are adding into the                    this final rule, cancer risks were above
                                                 Natural Gas by Gas Chromatography.                      HON is available at 200 Massachusetts                 acceptable levels for a number of areas
                                                 This method addresses the                               Avenue NW, Suite 1100, Washington,                    in which these demographic groups live
                                                 determination of the concentration of a                 DC 20001–5571; telephone number: 1–                   for the SOCMI and Neoprene
                                                 component in a gas stream. The EPA                      202–682–8000. See https://                            Production source categories. See
                                                 currently allows for the use of previous                www.apiwebstore.org/standards/19_2.                   section V.F for an analysis that
                                                 versions of this method in NSPS                         These standards are available to                      characterizes populations living in
                                                 subparts VV and VVa for the                             everyone at a cost determined by the                  proximity of facilities and risks prior to
                                                 determination of the concentration of a                 ASTM or API. The ASTM also offers                     the final rule.
                                                 component in a gas stream; therefore,                   memberships or subscriptions that                        The EPA believes that this action is
                                                 we are allowing the use of the most                     allow unlimited access to their methods.              likely to reduce existing
                                                 recent version of this method for this                  The cost of obtaining these methods is                disproportionate and adverse effects on
                                                 same purpose in NSPS subpart VVb.                       not a significant financial burden,                   communities with environmental justice
                                                    ASTM D2879–23, Standard Test                         making the methods reasonably                         concerns. This action establishes
                                                 Method for Vapor Pressure-Temperature                   available to stakeholders.                            standards for EtO emission sources at
                                                                                                            We are also finalizing amendments to               HON processes and chloroprene
                                                 Relationship and Initial Decomposition
                                                                                                         40 CFR part 60, subpart A and 40 CFR                  emission sources at neoprene
                                                 Temperature of Liquids by Isoteniscope.
                                                                                                         part 63, subpart A to address                         production processes. This action also
                                                 This method addresses the
                                                                                                         incorporations by reference. We are                   corrects and clarifies regulatory
                                                 determination of the vapor pressure of                  amending 40 CFR 60.17 and 40 CFR
                                                 one or more organic components in a                                                                           provisions related to emissions during
                                                                                                         63.14 to reflect the ANSI, ASTM, EPA                  periods of SSM, including removing
                                                 gas stream. The EPA currently allows                    SW, and TCEQ methods incorporated by
                                                 for the use of previous versions of this                                                                      general exemptions for periods of SSM
                                                                                                         reference. We are also adding 40 CFR                  and adding work practice standards for
                                                 method in NSPS subparts VV and VVa                      60.485(g)(5) and 40 CFR 60.485a(g)(5) to
                                                 for the determination of the vapor                                                                            periods of SSM where appropriate,
                                                                                                         40 CFR 60.17—‘‘Incorporations by                      addressing flare combustion efficiency,
                                                 pressure of one or more organic                         Reference’’ paragraph (h)(195) since
                                                 components in a gas stream; therefore,                                                                        and requiring fenceline monitoring for
                                                                                                         they were mistakenly not added to 40                  pollutants that drive cancer risks for
                                                 we are allowing the use of the most                     CFR 60.17 during the last amendment to
                                                 recent version of this method for this                                                                        HON and neoprene production sources.
                                                                                                         this rule.                                            As a result of these changes, we expect
                                                 same purpose in NSPS subpart VVb.
                                                    ASTM E168–16 (Reapproved 2023),                      J. Executive Order 12898: Federal                     zero people to be exposed to risk levels
                                                 Standard Practices for General                          Actions To Address Environmental                      above 100-in-1 million due to emissions
                                                 Techniques of Infrared Quantitative                     Justice in Minority Populations and                   from each of these source categories. See
                                                 Analysis, ASTM E169–16 (Reapproved                      Low-Income Populations and Executive                  section IV.A of this preamble for more
                                                 2022): Standard Practices for General                   Order 14096: Revitalizing Our Nation’s                information about the control
                                                 Techniques of Ultraviolet-Visible                       Commitment to Environmental Justice                   requirements of the regulation and the
                                                 Quantitative Analysis, and ASTM E260–                   for All                                               resulting reduction in cancer risks.
                                                                                                                                                                  The EPA additionally identified and
                                                 96 (Reapproved 2019), Standard                             The EPA believes that the human
                                                                                                                                                               addressed environmental justice
                                                 Practice for Packed Column Gas                          health or environmental conditions that
                                                                                                                                                               concerns by engaging in outreach
                                                 Chromatography. The ASTM E168–16                        exist prior to this action result in or
                                                                                                                                                               activities to communities we expect to
                                                 method addresses the determination of                   have the potential to result in
                                                                                                                                                               be impacted by chemical plants that
                                                 the percent VOC content in the process                  disproportionate and adverse human
                                                                                                                                                               emit EtO.75
                                                 fluid that is contained in or contacts a                health or environmental effects on
                                                                                                                                                                  For additional information on
                                                 piece of equipment using infrared                       communities with environmental justice
                                                                                                                                                               potential impacts, see the document
                                                 analysis. The ASTM E169–16 is similar                   concerns. For the HON, a total of 9.3
                                                                                                                                                               titled Analysis of Demographic Factors
                                                 to ASTM E168–16, though it uses                         million people live within 10 km (∼6.2
                                                                                                                                                               for Populations Living Near Hazardous
                                                 ultraviolet-visible spectrum analysis                   miles) of the 195 HON facilities that
                                                                                                                                                               Organic NESHAP (HON) Operations—
                                                 rather than infrared analysis. Lastly,                  were assessed for risk. The percentages
                                                                                                                                                               Final; Analysis of Demographic Factors
                                                 ASTM E260–96 is similar to ASTM                         of the population that are Black (25
                                                                                                                                                               for Populations Living Near Hazardous
                                                 E168–16 and ASTM E169–16, though it                     percent versus 12 percent) and Hispanic
                                                                                                                                                               Organic NESHAP (HON) Operations:
                                                 uses gas chromatography rather than                     or Latino (22 percent versus 19 percent)
                                                                                                                                                               Whole Facility Analysis—Final;
                                                 infrared or ultraviolet-visible spectrum                are higher than the national averages.
                                                                                                                                                               Analysis of Demographic Factors for
                                                 analysis, respectively. The EPA                         The proportion of other demographic
                                                                                                                                                               Populations Living Near Neoprene
                                                 currently allows for the use of previous                groups living within 10 km of HON
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                                                                                                                                                               Production Operations—Final; Analysis
                                                 versions of these methods in NSPS                       facilities is similar or lower than the
                                                                                                                                                               of Demographic Factors for Populations
                                                 subparts VV and VVa for the                             national average. For the Neoprene
                                                                                                                                                               Living Near Neoprene Production
                                                 determination of the percent VOC                        Production source category, a total of
                                                                                                                                                               Operations: Whole Facility Analysis—
                                                 content in the process fluid that is                    29,000 people live within 5 km of the
                                                 contained in or contacts a piece of                     one neoprene production facility in the                 75 https://www.epa.gov/hazardous-air-pollutants-
                                                 equipment; therefore, we are allowing                   country. The percent of the population                ethylene-oxide/inspector-general-follow-ethylene-
                                                 the use of these most recent versions of                that is Black (56 percent versus 12                   oxide-0.



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                                                 Final, which are available in the docket                ■ v. Revising newly redesignated                      Fourth Floor, New York, NY 10036–
                                                 for this rulemaking. Also see the                       paragraphs (h)(217) and (221), and                    7417; phone: (212) 642–4980; email:
                                                 document titled Analysis of                             ■ vi. Adding new paragraph (h)(225);                  info@ansi.org; website: www.ansi.org.
                                                 Demographic Factors for Populations                     and                                                   *      *     *      *    *
                                                 Living Near Polymers and Resins I and                   ■ c. Revising and republishing                           (e) American Petroleum Institute
                                                 Polymer and Resins II Facilities (Docket                paragraph (j); and                                    (API), 200 Massachusetts Ave. NW,
                                                 Item No. EPA–HQ–OAR–2022–0730–                          ■ d. Removing note 1 to paragraph (k).                Suite 1100, Washington, DC 20001;
                                                 0060).                                                    The revisions and additions read as                 phone: (202) 682–8000; website:
                                                 K. Congressional Review Act (CRA)                       follows:                                              www.api.org.
                                                   This action is subject to the CRA, and                § 60.17   Incorporations by reference.                *      *     *      *    *
                                                 the EPA will submit a rule report to                                                                             (g) * * *
                                                                                                            (a)(1) Certain material is incorporated
                                                 each House of the Congress and to the                                                                            (14) ASME/ANSI PTC 19.10–1981,
                                                                                                         by reference into this part with the
                                                 Comptroller General of the United                                                                             Flue and Exhaust Gas Analyses [Part 10,
                                                                                                         approval of the Director of the Federal
                                                 States. This action meets the criteria set                                                                    Instruments and Apparatus], Issued
                                                                                                         Register under 5 U.S.C. 552(a) and 1
                                                 forth in 5 U.S.C. 804(2).                                                                                     August 31, 1981; IBR approved for
                                                                                                         CFR part 51. To enforce any edition
                                                                                                                                                               §§ 60.56c(b); 60.63(f); 60.106(e);
                                                 List of Subjects                                        other than that specified in this section,
                                                                                                                                                               60.104a(d), (h), (i), and (j); 60.105a(b),
                                                                                                         the U.S. Environmental Protection
                                                 40 CFR Part 60                                                                                                (d), (f), and (g); 60.106a(a); 60.107a(a),
                                                                                                         Agency (EPA) must publish a document
                                                                                                                                                               (c), and (d); 60.275(e); 60.275a(e);
                                                   Environmental protection,                             in the Federal Register and the material
                                                                                                                                                               60.275b(e); tables 1 and 3 to subpart
                                                 Administrative practice and procedure,                  must be available to the public. All
                                                                                                                                                               EEEE; tables 2 and 4 to subpart FFFF;
                                                 Air pollution control, Incorporation by                 approved incorporation by reference
                                                                                                                                                               table 2 to subpart JJJJ; §§ 60.285a(f);
                                                 reference, Intergovernmental relations,                 (IBR) material is available for inspection
                                                                                                                                                               60.396(a); 60.614a(b); 60.664a(b);
                                                 Reporting and recordkeeping                             at the EPA and at the National Archives
                                                                                                                                                               60.704(b); 60.704a(b); 60.2145(s) and (t);
                                                 requirements.                                           and Records Administration (NARA).
                                                                                                                                                               60.2710(s) and (t); 60.2730(q);
                                                                                                         Contact the EPA at: EPA Docket Center,
                                                 40 CFR Part 63                                                                                                60.4415(a); 60.4900(b); 60.5220(b);
                                                                                                         Public Reading Room, EPA WJC West,
                                                   Environmental protection, Air                                                                               tables 1 and 2 to subpart LLLL; tables 2
                                                                                                         Room 3334, 1301 Constitution Ave. NW,
                                                 pollution control, Hazardous                                                                                  and 3 to subpart MMMM; §§ 60.5406(c);
                                                                                                         Washington, DC; phone: (202) 566–
                                                 substances, Incorporation by reference,                                                                       60.5406a(c); 60.5406b(c); 60.5407a(g);
                                                                                                         1744. For information on the availability
                                                 Intergovernmental relations, Reporting                                                                        60.5407b(g); 60.5413(b); 60.5413a(b) and
                                                                                                         of this material at NARA, visit
                                                 and recordkeeping requirements.                                                                               (d); 60.5413b(d) and (d); 60.5413c(b)
                                                                                                         www.archives.gov/federal-register/cfr/
                                                                                                                                                               and (d).
                                                 Michael S. Regan,                                       ibr-locations or email fr.inspection@
                                                                                                         nara.gov.                                             *      *     *      *    *
                                                 Administrator.                                                                                                   (h) * * *
                                                                                                            (2) The IBR material may be obtained
                                                   For the reasons set out in the                        from the sources in the following                        (28) ASTM D240–19, Standard Test
                                                 preamble, the Environmental Protection                  paragraphs of this section or from one                Method for Heat of Combustion of
                                                 Agency amends title 40, chapter I, part                 or more private resellers listed in this              Liquid Hydrocarbon Fuels by Bomb
                                                 60 of the Code of Federal Regulations as                paragraph (a)(2). For material that is no             Calorimeter, approved November 1,
                                                 follows:                                                longer commercially available, contact:               2019; IBR approved for § 60.485b(g).
                                                                                                         the EPA (see paragraph (a)(1) of this                 *      *     *      *    *
                                                 PART 60—STANDARDS OF                                                                                             (78) ASTM D1945–14 (Reapproved
                                                                                                         section).
                                                 PERFORMANCE FOR NEW                                                                                           2019), Standard Test Method for
                                                                                                            (i) Accuris Standards Store, 321
                                                 STATIONARY SOURCES                                                                                            Analysis of Natural Gas by Gas
                                                                                                         Inverness Drive, South Englewood, CO
                                                 ■ 1. The authority citation for part 60                 80112; phone: (800) 332–6077; website:                Chromatography, approved December 1,
                                                 continues to read as follows:                           https://store.accuristech.com.                        2019; IBR approved for § 60.485b(g).
                                                                                                            (ii) American National Standards                   *      *     *      *    *
                                                    Authority: 42 U.S.C. 7401 et seq.
                                                                                                         Institute (ANSI), see paragraph (d) of                   (116) ASTM D2879–23, Standard Test
                                                 Subpart A—General Provisions                            this section.                                         Method for Vapor Pressure-Temperature
                                                                                                            (iii) GlobalSpec, 257 Fuller Road,                 Relationship and Initial Decomposition
                                                 ■ 2. Amend § 60.17 by:                                  Suite NFE 1100, Albany, NY 12203–                     Temperature of Liquids by Isoteniscope,
                                                 ■ a. Revising paragraph (a), paragraphs                 3621; phone: (800) 261–2052; website:                 approved December 1, 2019; IBR
                                                 (c) introductory text, (d) introductory                 https://standards.globalspec.com.                     approved for § 60.485b(e).
                                                 text, and (e) introductory text, and                       (iv) Nimonik Document Center, 401                  *      *     *      *    *
                                                 paragraph (g)(14);                                      Roland Way, Suite 224, Oakland, CA                       (173) ASTM D4809–18, Standard Test
                                                 ■ b. In paragraph (h):                                  94624; phone (650) 591–7600; email:                   Method for Heat of Combustion of
                                                 ■ i. Redesignating paragraphs (h)(221)                  info@document-center.com; website:                    Liquid Hydrocarbon Fuels by Bomb
                                                 through (228) as (h)(226) through (233),                www.document-center.com.                              Calorimeter (Precision Method),
                                                 (h)(196) through (220) as (h)(200)                         (v) Techstreet, phone: (855) 999–9870;             approved July 1, 2018; IBR approved for
                                                 through (224), (h)(171) through (195) as                email: store@techstreet.com; website:
                                                 (h)(174) through (198), (h)(115) through                                                                      § 60.485b(g).
                                                                                                         www.techstreet.com.
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                                                 (170) as (h)(117) through (172), and                                                                          *      *     *      *    *
                                                 (h)(28) through (114) as (h)(29) through                *       *    *    *     *                                (199) ASTM D6420–18, Standard Test
                                                 (115);                                                     (c) American Hospital Association                  Method for Determination of Gaseous
                                                 ■ ii. Adding new paragraph (h)(28);
                                                                                                         (AHA) Service, Inc., Post Office Box                  Organic Compounds by Direct Interface
                                                 ■ iii. Revising newly redesignated                      92683, Chicago, Illinois 60675–2683.                  Gas Chromatography-Mass
                                                 paragraph (h)(78);                                      *       *    *    *     *                             Spectrometry, approved November 1,
                                                 ■ iv Adding new paragraphs (h)(116),                       (d) American National Standards                    2018, IBR approved for §§ 60.485(g);
                                                 (173), and (199);                                       Institute (ANSI), 25 West 43rd Street,                60.485a(g); 60.485b(g); 60.611a;


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                                                 60.614(b) and (e); 60.614a(b) and (e),                    (i) SW–846–6010D, Inductively                         (iii) ASTM D6420–18 may not be used
                                                 60.664(b) and (e); 60.664a(b) and (f);                  Coupled Plasma-Optical Emission                       as a total VOC method.
                                                 60.700(c); 60.704(b) (d), and (h);                      Spectrometry, Revision 5, July 2018; IBR              *      *    *     *    *
                                                 60.705(l); 60.704a(b) and (f).                          approved for appendix A–5 to this part.               ■ 7. Amend § 60.486 by adding
                                                 *     *     *     *    *                                  (ii) SW–846–6020B, Inductively                      paragraph (l) as follows:
                                                   (217) ASTM E168–16 (Reapproved                        Coupled Plasma-Mass Spectrometry,
                                                 2023), Standard Practices for General                   Revision 2, July 2014; IBR approved for               § 60.486   Recordkeeping requirements.
                                                 Techniques of Infrared Quantitative                     appendix A–5 to this part.                            *      *     *    *    *
                                                 Analysis, approved January 1, 2023; IBR                 *      *   *      *    *                                (l) Any records required to be
                                                 approved for § 60.485b(d).                                                                                    maintained by this subpart that are
                                                                                                         ■ 3. Amend § 60.480 by revising
                                                 *     *     *     *    *                                                                                      submitted electronically via the EPA’s
                                                                                                         paragraph (f) to read as follows:
                                                   (221) ASTM E169–16 (Reapproved                                                                              Compliance and Emissions Data
                                                 2022), Standard Practices for General                   § 60.480 Applicability and designation of             Reporting Interface (CEDRI) may be
                                                 Techniques of Ultraviolet-Visible                       affected facility.                                    maintained in electronic format. This
                                                 Quantitative Analysis, approved                         *      *     *    *     *                             ability to maintain electronic copies
                                                 November 1, 2022; IBR approved for                         (f) Overlap with other regulations for             does not affect the requirement for
                                                 § 60.485b(d).                                           flares. Owners and operators of flares                facilities to make records, data, and
                                                                                                         that are subject to the flare related                 reports available upon request to a
                                                 *     *     *     *    *                                                                                      delegated air agency or the EPA as part
                                                   (225) ASTM E260–96 (Reapproved                        requirements of this subpart and flare
                                                                                                         related requirements of any other                     of an on-site compliance evaluation.
                                                 2019), Standard Practice for Packed
                                                                                                         regulation in this part or 40 CFR 61 or               ■ 8. Amend § 60.487 by revising
                                                 Column Gas Chromatography, approved
                                                                                                         63, may elect to comply with the                      paragraphs (a) and (f) and adding
                                                 September 1, 2029; IBR approved for
                                                                                                         requirements in § 60.619a, § 60.669a, or              paragraphs (g), (h), and (i) to read as
                                                 § 60.485b(d).
                                                                                                         § 60.709a, in lieu of all flare related               follows:
                                                 *     *     *     *    *                                requirements in any other regulation in
                                                   (j) U.S. Environmental Protection                                                                           § 60.487   Reporting requirements.
                                                                                                         this part or 40 CFR part 61 or 63.
                                                 Agency (EPA), 1200 Pennsylvania                                                                                  (a) Each owner or operator subject to
                                                                                                         ■ 4. Amend § 60.481 by revising the
                                                 Avenue NW, Washington, DC 20460;                                                                              the provisions of this subpart shall
                                                 phone: (202) 272–0167; website:                         definition of ‘‘Process unit’’ to read as             submit semiannual reports to the
                                                 www.epa.gov/aboutepa/forms/contact-                     follows:                                              Administrator beginning six months
                                                 epa.                                                    § 60.481   Definitions.                               after the initial startup date. Beginning
                                                   (1) EPA–453/R–08–002, Protocol for                    *     *     *     *     *                             on July 15, 2025, or once the report
                                                 Determining the Daily Volatile Organic                                                                        template for this subpart has been
                                                                                                           Process unit means components
                                                 Compound Emission Rate of                                                                                     available on the CEDRI website (https://
                                                                                                         assembled to produce, as intermediate
                                                 Automobile and Light-Duty Truck                                                                               www.epa.gov/electronic-reporting-air-
                                                                                                         or final products, one or more of the
                                                 Primer-Surfacer and Topcoat                                                                                   emissions/cedri) for 1 year, whichever
                                                                                                         chemicals listed in § 60.489 of this part.
                                                 Operations, September 2008, Office of                                                                         date is later, submit all subsequent
                                                                                                         A process unit can operate
                                                 Air Quality Planning and Standards                                                                            reports using the appropriate electronic
                                                                                                         independently if supplied with
                                                 (OAQPS); IBR approved for                                                                                     report template on the CEDRI website
                                                                                                         sufficient feed or raw materials and
                                                 §§ 60.393a(e) and (h); 60.395a(k);                                                                            for this subpart and following the
                                                                                                         sufficient storage facilities for the
                                                 60.397a(e); appendix A to subpart MMa.                                                                        procedure specified in paragraph (g) of
                                                                                                         product.
                                                   (2) EPA–454/B–08–002, Quality                                                                               this section. The date report templates
                                                 Assurance Handbook for Air Pollution                    *     *     *     *     *                             become available will be listed on the
                                                 Measurement Systems; Volume IV:                         § 60.482–1    [Amended]                               CEDRI website. Unless the
                                                 Meteorological Measurements, Version                                                                          Administrator or delegated state agency
                                                 2.0 (Final), March 2008; IBR approved                   ■ 5. Amend § 60.482–1 by removing                     or other authority has approved a
                                                 for appendix K to this part.                            paragraph (g).                                        different schedule for submission of
                                                   (3) EPA–454/R–98–015, Office of Air                   ■ 6. Amend § 60.485 by revising                       reports, the report must be submitted by
                                                 Quality Planning and Standards                          paragraph (g)(5) to read as follows:                  the deadline specified in this subpart,
                                                 (OAQPS), Fabric Filter Bag Leak                                                                               regardless of the method in which the
                                                                                                         § 60.485   Test methods and procedures.               report is submitted.
                                                 Detection Guidance, September 1997;
                                                 IBR approved for §§ 60.124(f);                          *       *     *     *    *                            *      *     *     *     *
                                                 60.124a(f); 60.273(e); 60.273a(e);                         (g) * * *                                             (f) The requirements of paragraphs (a)
                                                 60.273b(e); 60.373a(b); 60.2145(r);                        (5) Method 18 of appendix A–6 to this              through (c) of this section remain in
                                                 60.2710(r); 60.4905(b); 60.5225(b).                     part and ASTM D2504–67, 77 or 88                      force until and unless EPA, in
                                                 (Available from: https://nepis.epa.gov/                 (Reapproved 1993) (incorporated by                    delegating enforcement authority to a
                                                 Exe/ZyPDF.cgi?Dockey=2000D5T6.pdf).                     reference, see § 60.17) shall be used to              State under section 111(c) of the Act,
                                                   (4) EPA–600/R–12/531, EPA                             determine the concentration of sample                 approves reporting requirements or an
                                                 Traceability Protocol for Assay and                     component ‘‘i.’’ ASTM D6420–18                        alternative means of compliance
                                                 Certification of Gaseous Calibration                    (incorporated by reference, see § 60.17)              surveillance adopted by such State. In
                                                 Standards, May 2012; IBR approved for                   may be used in lieu of Method 18, under               that event, affected sources within the
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                                                 §§ 60.5413(d); 60.5413a(d); 60.5413b(d);                the conditions specified in paragraphs                State will be relieved of the obligation
                                                 60.5413c(d).                                            (g)(5)(i) through (iii) of this section.              to comply with the requirements of
                                                   (5) In EPA Publication No. SW–846,                       (i) If the target compounds are all                paragraphs (a) through (c) of this
                                                 Test Methods for Evaluating Solid                       known and are all listed in Section 1.1               section, provided that they comply with
                                                 Waste, Physical/Chemical Methods                        of ASTM D6420–18 as measurable.                       the requirements established by the
                                                 (Available from: www.epa.gov/hw-                           (ii) ASTM D6420–18 may not be used                 State. The EPA will not approve a
                                                 sw846/sw-846-compendium):                               for methane and ethane.                               waiver of electronic reporting to the


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                                                 EPA in delegating enforcement                           Lead. Owners and operators who do not                 reporting requirement at the time of the
                                                 authority. Thus, electronic reporting to                have their own file sharing service and               notification, the date the report was
                                                 the EPA cannot be waived, and as such,                  who require assistance with submitting                submitted.
                                                 the provisions of this paragraph cannot                 large electronic files that exceed the file             (6) The decision to accept the claim
                                                 be used to relieve owners or operators                  size limit for email attachments should               of EPA system outage and allow an
                                                 of affected facilities of the requirement               email oaqpscbi@epa.gov to request a file              extension to the reporting deadline is
                                                 to submit the electronic reports required               transfer link.                                        solely within the discretion of the
                                                 in this section to the EPA.                                (2) If an owner or operator cannot                 Administrator.
                                                    (g) If an owner or operator is required              transmit the file electronically, the                   (7) In any circumstance, the report
                                                 to submit notifications or reports                      owner or operator may send CBI                        must be submitted electronically as
                                                 following the procedure specified in                    information through the postal service                soon as possible after the outage is
                                                 this paragraph (g), the owner or operator               to the following address: OAQPS                       resolved.
                                                 must submit notifications or reports to                 Document Control Officer (C404–02),                     (i) Owners and operators required to
                                                 the EPA via CEDRI, which can be                         OAQPS, U.S. Environmental Protection                  electronically submit notifications or
                                                 accessed through the EPA’s Central Data                 Agency, 109 T.W. Alexander Drive, P.O.                reports through CEDRI in the EPA’s
                                                 Exchange (CDX) (https://cdx.epa.gov/).                  Box 12055, Research Triangle Park,                    CDX may assert a claim of force majeure
                                                 The EPA will make all the information                   North Carolina 27711. ERT files should                for failure to timely comply with that
                                                 submitted through CEDRI available to                    be sent to the attention of the Group                 reporting requirement. To assert a claim
                                                 the public without further notice to the                Leader, Measurement Policy Group, and                 of force majeure, owners and operators
                                                 owner or operator. Do not use CEDRI to                  all other files should be sent to the                 must meet the requirements outlined in
                                                 submit information the owner or                         attention of the SOCMI NSPS Sector                    paragraphs (i)(1) through (5) of this
                                                 operator claims as CBI. Although the                    Lead. The mailed CBI material should                  section.
                                                 EPA does not expect persons to assert a                 be double wrapped and clearly marked.                   (1) The owner or operator may submit
                                                 claim of CBI, if an owner or operator                   Any CBI markings should not show                      a claim if a force majeure event is about
                                                 wishes to assert a CBI claim for some of                through the outer envelope.                           to occur, occurs, or has occurred or
                                                 the information in the report or                           (h) Owners and operators required to               there are lingering effects from such an
                                                 notification, the owner or operator must                electronically submit notifications or                event within the period of time
                                                 submit a complete file in the format                    reports through CEDRI in the EPA’s                    beginning five business days prior to the
                                                 specified in this subpart, including                    CDX may assert a claim of EPA system                  date the submission is due. For the
                                                 information claimed to be CBI, to the                   outage for failure to timely comply with              purposes of this section, a force majeure
                                                 EPA following the procedures in                         that reporting requirement. To assert a               event is defined as an event that will be
                                                 paragraphs (g)(1) and (2) of this section.              claim of EPA system outage, owner and                 or has been caused by circumstances
                                                 Clearly mark the part or all of the                     operator must meet the requirements                   beyond the control of the affected
                                                 information claimed to be CBI.                          outlined in paragraphs (h)(1) through (7)             facility, its contractors, or any entity
                                                 Information not marked as CBI may be                    of this section.                                      controlled by the affected facility that
                                                 authorized for public release without                      (1) The owner or operator must have                prevents the owner or operator from
                                                 prior notice. Information marked as CBI                 been or will be precluded from                        complying with the requirement to
                                                 will not be disclosed except in                         accessing CEDRI and submitting a                      submit a report electronically within the
                                                 accordance with procedures set forth in                 required report within the time                       time period prescribed. Examples of
                                                 40 CFR part 2. All CBI claims must be                   prescribed due to an outage of either the             such events are acts of nature (e.g.,
                                                 asserted at the time of submission.                     EPA’s CEDRI or CDX systems.                           hurricanes, earthquakes, or floods), acts
                                                 Anything submitted using CEDRI cannot                      (2) The outage must have occurred
                                                 later be claimed CBI. Furthermore,                                                                            of war or terrorism, or equipment failure
                                                                                                         within the period of time beginning five              or safety hazard beyond the control of
                                                 under CAA section 114(c), emissions                     business days prior to the date that the
                                                 data is not entitled to confidential                                                                          the affected facility (e.g., large scale
                                                                                                         submission is due.                                    power outage).
                                                 treatment, and the EPA is required to                      (3) The outage may be planned or
                                                 make emissions data available to the                                                                            (2) The owner or operator must
                                                                                                         unplanned.
                                                 public. Thus, emissions data will not be                                                                      submit notification to the Administrator
                                                                                                            (4) The owner or operator must
                                                 protected as CBI and will be made                                                                             in writing as soon as possible following
                                                                                                         submit notification to the Administrator
                                                 publicly available. The owner or                                                                              the date the owner or operator first
                                                                                                         in writing as soon as possible following
                                                 operator must submit the same file                                                                            knew, or through due diligence should
                                                                                                         the date the owner or operator first
                                                 submitted to the CBI office with the CBI                                                                      have known, that the event may cause
                                                                                                         knew, or through due diligence should
                                                 omitted to the EPA via the EPA’s CDX                                                                          or has caused a delay in reporting.
                                                                                                         have known, that the event may cause
                                                 as described earlier in this paragraph                  or has caused a delay in reporting.                     (3) The owner or operator must
                                                 (g).                                                       (5) The owner or operator must                     provide to the Administrator:
                                                    (1) The preferred method to receive                  provide to the Administrator a written                  (i) A written description of the force
                                                 CBI is for it to be transmitted                         description identifying:                              majeure event;
                                                 electronically using email attachments,                    (i) The date(s) and time(s) when CDX                 (ii) A rationale for attributing the
                                                 File Transfer Protocol, or other online                 or CEDRI was accessed and the system                  delay in reporting beyond the regulatory
                                                 file sharing services. Electronic                       was unavailable;                                      deadline to the force majeure event;
                                                 submissions must be transmitted                            (ii) A rationale for attributing the                 (iii) A description of measures taken
                                                                                                                                                               or to be taken to minimize the delay in
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                                                 directly to the OAQPS CBI Office at the                 delay in reporting beyond the regulatory
                                                 email address oaqpscbi@epa.gov, and as                  deadline to EPA system outage;                        reporting; and
                                                 described above, should include clear                      (iii) A description of measures taken                (iv) The date by which the owner or
                                                 CBI markings. ERT files should be                       or to be taken to minimize the delay in               operator proposes to report, or if the
                                                 flagged to the attention of the Group                   reporting; and                                        owner or operator has already met the
                                                 Leader, Measurement Policy Group; all                      (iv) The date by which the owner or                reporting requirement at the time of the
                                                 other files should be flagged to the                    operator proposes to report, or if the                notification, the date the report was
                                                 attention of the SOCMI NSPS Sector                      owner or operator has already met the                 submitted.


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                                                   (4) The decision to accept the claim                                      operator shall maintain records as                                           expenditure for a physical or
                                                 of force majeure and allow an extension                                     required in § 60.486a(i).                                                    operational change to an existing facility
                                                 to the reporting deadline is solely                                            (2) Any affected facility that has the                                    that:
                                                 within the discretion of the                                                design capacity to produce less than                                            (1) Exceeds P, the product of the
                                                 Administrator.                                                              1,000 Mg/yr (1,102 ton/yr) of a chemical                                     facility’s replacement cost, R, and an
                                                   (5) In any circumstance, the reporting                                    listed in § 60.489 is exempt from                                            adjusted annual asset guideline repair
                                                 must occur as soon as possible after the                                    §§ 60.482–1a through 60.482–10a.                                             allowance, A, as reflected by the
                                                 force majeure event occurs.                                                    (3) If an affected facility produces                                      following equation: P = R × A, where:
                                                 ■ 9. Revise the heading of subpart VVa                                      heavy liquid chemicals only from heavy
                                                 to read as follows:                                                         liquid feed or raw materials, then it is                                        (i) The adjusted annual asset
                                                                                                                             exempt from §§ 60.482–1a through                                             guideline repair allowance, A, is the
                                                 Subpart VVa—Standards of                                                    60.482–10a.                                                                  product of the percent of the
                                                 Performance for Equipment Leaks of                                             (4) Any affected facility that produces                                   replacement cost, Y, and the applicable
                                                 VOC in the Synthetic Organic                                                beverage alcohol is exempt from                                              basic annual asset guideline repair
                                                 Chemicals Manufacturing Industry for                                        §§ 60.482–1a through 60.482–10a.                                             allowance, B, divided by 100 as
                                                 Which Construction, Reconstruction,                                            (5) Any affected facility that has no                                     reflected by the following equation:
                                                 or Modification Commenced After                                             equipment in volatile organic                                                Equation 1 to Capital Expenditure
                                                 November 7, 2006, and on or Before                                          compounds (VOC) service is exempt                                            Paragraph (1)(i)
                                                 April 25, 2023                                                              from §§ 60.482–1a through 60.482–10a.
                                                                                                                             *      *      *     *    *                                                   A = Y × (B ÷ 100);
                                                 ■ 10. Amend § 60.480a by revising
                                                 paragraphs (b), revising and                                                   (f) Owners and operators of flares that                                     (ii) The percent Y is determined from
                                                 republishing paragraph (d), and revising                                    are subject to the flare related                                             the following equation: Y = 1.0 ¥ 0.575
                                                 paragraph (f) to read as follows:                                           requirements of this subpart and flare                                       log X, where X is:
                                                                                                                             related requirements of any other                                              (A) 2006 minus the year of
                                                 § 60.480a Applicability and designation of                                  regulation in this part or 40 CFR part 61
                                                 affected facility.                                                                                                                                       construction if the physical or
                                                                                                                             or 63, may elect to comply with the                                          operational change to the existing
                                                 *     *      *   *     *                                                    requirements in § 60.619a, § 60.669a, or                                     facility was on or after November 16,
                                                   (b) Any affected facility under                                           § 60.709a, in lieu of all flare related
                                                 paragraph (a) of this section that                                                                                                                       2007, or
                                                                                                                             requirements in any other regulation in
                                                 commences construction,                                                     this part or 40 CFR part 61 or 63.                                             (B) 1982 minus the year of
                                                 reconstruction, or modification after                                                                                                                    construction if the physical or
                                                                                                                             ■ 11. Amend § 60.481a by revising the
                                                 November 7, 2006, and on or before                                                                                                                       operational change to the existing
                                                                                                                             definitions of ‘‘Capital expenditure’’ and
                                                 April 25, 2023, shall be subject to the                                                                                                                  facility was prior to November 16, 2007;
                                                                                                                             ‘‘Process Unit’’ to read as follows:
                                                 requirements of this subpart.                                                                                                                            and
                                                 *     *      *   *     *                                                    § 60.481a          Definitions.                                                (iii) The applicable basic annual asset
                                                   (d)(1) If an owner or operator applies                                    *    *     *     *     *                                                     guideline repair allowance, B, is
                                                 for one or more of the exemptions in                                          Capital expenditure means, in                                              selected from the following table
                                                 this paragraph, then the owner or                                           addition to the definition in § 60.2, an                                     consistent with the applicable subpart:

                                                                        TABLE 1 TO CAPITAL EXPENDITURE PARAGRAPH (1)(iii)—DETERMINING APPLICABLE VALUE FOR B
                                                                                                                                                                                                                                                    Value of B to be
                                                                                                                           Subpart applicable to facility                                                                                           used in equation

                                                 (A) VVa ........................................................................................................................................................................................                12.5
                                                 (B) GGGa .....................................................................................................................................................................................                   7.0



                                                 *     *     *    *     *                                                    through 60.482–10a if it is identified as                                      (1) Method 21 shall be used to
                                                   Process unit means components                                             required in § 60.486a(e)(6) and it meets                                     determine the presence of leaking
                                                 assembled to produce, as intermediate                                       any of the conditions specified in                                           sources. The instrument shall be
                                                 or final products, one or more of the                                       paragraphs (e)(1) through (3) of this                                        calibrated before use each day of its use
                                                 chemicals listed in § 60.489a. A process                                    section.                                                                     by the procedures specified in Method
                                                 unit can operate independently if                                           *     *     *    *    *                                                      21 of appendix A–7 of this part. The
                                                 supplied with sufficient feed or raw                                                                                                                     following calibration gases shall be
                                                 materials and sufficient storage facilities                                 § 60.482–11a             [Removed]                                           used:
                                                 for the product.                                                                                                                                           (i) Zero air (less than 10 ppm of
                                                                                                                             ■ 13. Remove § 60.482–11a.
                                                 *     *     *    *     *                                                                                                                                 hydrocarbon in air); and
                                                 ■ 12. Amend § 60.482–1a by revising
                                                                                                                             ■ 14. Amend § 60.485a by revising                                              (ii) A mixture of methane or n-hexane
                                                 paragraph (e) introductory text and                                         paragraphs (b) and (g)(5) to read as                                         and air at a concentration no more than
                                                 removing paragraph (g).                                                     follows:                                                                     2,000 ppm greater than the leak
                                                                                                                                                                                                          definition concentration of the
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                                                   The revision reads as follows:                                            § 60.485a          Test methods and procedures.                              equipment monitored. If the monitoring
                                                 § 60.482–1a           Standards: General.                                   *     *    *     *    *                                                      instrument’s design allows for multiple
                                                 *      *    *    *     *                                                      (b) The owner or operator shall                                            calibration scales, then the lower scale
                                                    (e) Equipment that an owner or                                           determine compliance with the                                                shall be calibrated with a calibration gas
                                                 operator designates as being in VOC                                         standards in §§ 60.482–1a through                                            that is no higher than 2,000 ppm above
                                                 service less than 300 hr/yr is excluded                                     60.482–10a, 60.483a, and 60.484a as                                          the concentration specified as a leak,
                                                 from the requirements of §§ 60.482–2a                                       follows:                                                                     and the highest scale shall be calibrated


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                                                 with a calibration gas that is                          ■ a. Revising paragraphs (a)(3)                       ■ d. Removing and reserving paragraphs
                                                 approximately equal to 10,000 ppm. If                   introductory text and (b) introductory                (c)(2)(vii) and (viii):
                                                 only one scale on an instrument will be                 text;                                                 ■ e. Revising paragraph (f); and
                                                 used during monitoring, the owner or                    ■ b. Removing and reserving paragraph                 ■ f. Adding paragraphs (g), (h) and (i).
                                                 operator need not calibrate the scales                  (b)(3);                                                 The revisions and additions read as
                                                 that will not be used during that day’s                 ■ c. Revising paragraphs (c)                          follows:
                                                 monitoring.                                             introductory text and (e) introductory
                                                                                                         text;                                                 § 60.487a   Reporting requirements.
                                                    (2) A calibration drift assessment shall
                                                 be performed, at a minimum, at the end                  ■ d. Removing and reserving paragraph                    (a) Each owner or operator subject to
                                                 of each monitoring day. Check the                       (e)(9);                                               the provisions of this subpart shall
                                                 instrument using the same calibration                   ■ e. Revising paragraph (f) introductory              submit semiannual reports to the
                                                 gas(es) that were used to calibrate the                 text; and                                             Administrator beginning 6 months after
                                                 instrument before use. Follow the                       ■ f. Adding paragraph (l).                            the initial startup date. Beginning on
                                                 procedures specified in Method 21 of                       The revisions and addition read as                 July 15, 2025, or once the report
                                                 appendix A–7 to this part, section 10.1,                follows:                                              template for this subpart has been
                                                 except do not adjust the meter readout                                                                        available on the CEDRI website (https://
                                                                                                         § 60.486a    Recordkeeping requirements.
                                                 to correspond to the calibration gas                                                                          www.epa.gov/electronic-reporting-air-
                                                                                                            (a) * * *                                          emissions/cedri) for 1 year, whichever
                                                 value. Record the instrument reading for                   (3) The owner or operator shall record
                                                 each scale used as specified in                                                                               date is later, submit all subsequent
                                                                                                         the information specified in paragraphs               reports using the appropriate electronic
                                                 § 60.486a(e)(8). Divide the arithmetic                  (a)(3)(i) through (v) of this section for
                                                 difference of the initial and post-test                                                                       report template on the CEDRI website
                                                                                                         each monitoring event required by                     for this subpart and following the
                                                 calibration response by the                             §§ 60.482–2a, 60.482–3a, 60.482–7a,
                                                 corresponding calibration gas value for                                                                       procedure specified in paragraph (g) of
                                                                                                         60.482–8a, and 60.483–2a.                             this section. The date report templates
                                                 each scale and multiply by 100 to
                                                                                                         *      *     *     *     *                            become available will be listed on the
                                                 express the calibration drift as a
                                                                                                            (b) When each leak is detected as                  CEDRI website. Unless the
                                                 percentage.
                                                                                                         specified in §§ 60.482–2a, 60.482–3a,                 Administrator or delegated state agency
                                                    (i) If a calibration drift assessment                60.482–7a, 60.482–8a, and 60.483–2a,
                                                 shows a negative drift of more than 10                                                                        or other authority has approved a
                                                                                                         the following requirements apply:                     different schedule for submission of
                                                 percent, then all equipment with
                                                 instrument readings between the                         *      *     *     *     *                            reports, the report must be submitted by
                                                 appropriate leak definition and the leak                   (c) When each leak is detected as                  the deadline specified in this subpart,
                                                 definition multiplied by (100 minus the                 specified in §§ 60.482–2a, 60.482–3a,                 regardless of the method in which the
                                                 percent of negative drift/divided by 100)               60.482–7a, 60.482–8a, and 60.483–2a,                  report is submitted.
                                                 that was monitored since the last                       the following information shall be                    *      *      *    *     *
                                                 calibration must be re-monitored.                       recorded in a log and shall be kept for                  (c) * * *
                                                                                                         2 years in a readily accessible location:                (2) * * *
                                                    (ii) If any calibration drift assessment
                                                 shows a positive drift of more than 10                  *      *     *     *     *                               (vi) Number of compressors for which
                                                 percent from the initial calibration                       (e) The following information                      leaks were not repaired as required in
                                                 value, then, at the owner/operator’s                    pertaining to all equipment subject to                § 60.482–3a(g)(1), and
                                                 discretion, all equipment with                          the requirements in §§ 60.482–1a to                   *      *      *    *     *
                                                 instrument readings above the                           60.482–10a shall be recorded in a log                    (f) The requirements of paragraphs (a)
                                                 appropriate leak definition and below                   that is kept in a readily accessible                  through (c) of this section remain in
                                                 the leak definition multiplied by (100                  location:                                             force until and unless EPA, in
                                                 plus the percent of positive drift/                     *      *     *     *     *                            delegating enforcement authority to a
                                                 divided by 100) monitored since the last                   (f) The following information                      state under section 111(c) of the CAA,
                                                 calibration may be re-monitored.                        pertaining to all valves subject to the               approves reporting requirements or an
                                                 *       *     *      *    *                             requirements of § 60.482–7a(g) and (h),               alternative means of compliance
                                                                                                         and all pumps subject to the                          surveillance adopted by such state. In
                                                    (g) * * *
                                                                                                         requirements of § 60.482–2a(g) shall be               that event, affected sources within the
                                                    (5) Method 18 of appendix A–6 to this
                                                                                                         recorded in a log that is kept in a readily           state will be relieved of the obligation to
                                                 part and ASTM D2504–67, 77, or 88
                                                                                                         accessible location:                                  comply with the requirements of
                                                 (Reapproved 1993) (incorporated by
                                                 reference, see § 60.17) shall be used to                *      *     *     *     *                            paragraphs (a) through (c) of this
                                                 determine the concentration of sample                      (l) Any records required to be                     section, provided that they comply with
                                                 component ‘‘i.’’ ASTM D6420–18                          maintained by this subpart that are                   the requirements established by the
                                                 (incorporated by reference, see § 60.17)                submitted electronically via the EPA’s                state. The EPA will not approve a
                                                 may be used in lieu of Method 18, under                 Compliance and Emissions Data                         waiver of electronic reporting to the
                                                 the conditions specified in paragraphs                  Reporting Interface (CEDRI) may be                    EPA in delegating enforcement
                                                 (g)(5)(i) through (iii) of this section.                maintained in electronic format. This                 authority. Thus, electronic reporting to
                                                                                                         ability to maintain electronic copies                 the EPA cannot be waived, and as such,
                                                    (i) If the target compounds are all
                                                                                                         does not affect the requirement for                   the provisions of this paragraph cannot
                                                 known and are all listed in Section 1.1
                                                                                                         facilities to make records, data, and                 be used to relieve owners or operators
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                                                 of ASTM D6420–18 as measurable.
                                                                                                         reports available upon request to a                   of affected facilities of the requirement
                                                    (ii) ASTM D6420–18 may not be used
                                                                                                         delegated air agency or the EPA as part               to submit the electronic reports required
                                                 for methane and ethane.
                                                                                                         of an on-site compliance evaluation.                  in this section to the EPA.
                                                    (iii) ASTM D6420–18 may not be used
                                                                                                         ■ 16. Amend § 60.487a by:                                (g) If an owner or operator is required
                                                 as a total VOC method.
                                                                                                         ■ a. Revising paragraph (a);                          to submit notifications or reports
                                                 *       *     *      *    *                             ■ b. Removing paragraph (b)(5);                       following the procedure specified in
                                                 ■ 15. Amend § 60.486a by:                               ■ c. Revising paragraph (c)(2)(vi);                   this paragraph (g), the owner or operator


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                                                 must submit notifications or reports to                 Document Control Officer (C404–02),                     (i) Owners and operators required to
                                                 the EPA via CEDRI, which can be                         OAQPS, U.S. Environmental Protection                  electronically submit notifications or
                                                 accessed through the EPA’s Central Data                 Agency, 109 T.W. Alexander Drive, P.O.                reports through CEDRI in the EPA’s
                                                 Exchange (CDX) (https://cdx.epa.gov/).                  Box 12055, Research Triangle Park,                    CDX may assert a claim of force majeure
                                                 The EPA will make all the information                   North Carolina 27711. ERT files should                for failure to timely comply with that
                                                 submitted through CEDRI available to                    be sent to the attention of the Group                 reporting requirement. To assert a claim
                                                 the public without further notice to the                Leader, Measurement Policy Group, and                 of force majeure, owners and operators
                                                 owner or operator. Do not use CEDRI to                  all other files should be sent to the                 must meet the requirements outlined in
                                                 submit information the owner or                         attention of the SOCMI NSPS Sector                    paragraphs (i)(1) through (5) of this
                                                 operator claims as CBI. Although the                    Lead. The mailed CBI material should                  section.
                                                 EPA does not expect persons to assert a                 be double wrapped and clearly marked.                   (1) An owner or operator may submit
                                                 claim of CBI, if you an owner or                        Any CBI markings should not show                      a claim if a force majeure event is about
                                                 operator wishes to assert a CBI claim for               through the outer envelope.                           to occur, occurs, or has occurred or
                                                 some of the information in the report or                   (h) Owners and operators required to               there are lingering effects from such an
                                                 notification, the owner or operator must                electronically submit notifications or                event within the period of time
                                                 submit a complete file in the format                    reports through CEDRI in the EPA’s                    beginning five business days prior to the
                                                 specified in this subpart, including                    CDX may assert a claim of EPA system                  date the submission is due. For the
                                                 information claimed to be CBI, to the                   outage for failure to timely comply with              purposes of this section, a force majeure
                                                 EPA following the procedures in                         that reporting requirement. To assert a               event is defined as an event that will be
                                                 paragraphs (g)(1) and (2) of this section.              claim of EPA system outage, owners and                or has been caused by circumstances
                                                 Clearly mark the part or all of the                     operators must meet the requirements                  beyond the control of the affected
                                                 information claimed to be CBI.                          outlined in paragraphs (h)(1) through (7)             facility, its contractors, or any entity
                                                 Information not marked as CBI may be                    of this section.                                      controlled by the affected facility that
                                                 authorized for public release without                      (1) The owner or operator must have                prevents the owner or operator from
                                                 prior notice. Information marked as CBI                 been or will be precluded from                        complying with the requirement to
                                                 will not be disclosed except in                         accessing CEDRI and submitting a                      submit a report electronically within the
                                                 accordance with procedures set forth in                 required report within the time                       time period prescribed. Examples of
                                                 40 CFR part 2. All CBI claims must be                   prescribed due to an outage of either the             such events are acts of nature (e.g.,
                                                 asserted at the time of submission.                     EPA’s CEDRI or CDX systems.                           hurricanes, earthquakes, or floods), acts
                                                 Anything submitted using CEDRI cannot                      (2) The outage must have occurred                  of war or terrorism, or equipment failure
                                                 later be claimed CBI. Furthermore,                      within the period of time beginning five              or safety hazard beyond the control of
                                                 under CAA section 114(c), emissions                     business days prior to the date that the              the affected facility (e.g., large scale
                                                 data is not entitled to confidential                    submission is due.                                    power outage).
                                                 treatment, and the EPA is required to                      (3) The outage may be planned or
                                                 make emissions data available to the                    unplanned.                                              (2) The owner or operator must
                                                 public. Thus, emissions data will not be                   (4) The owner or operator must                     submit notification to the Administrator
                                                 protected as CBI and will be made                       submit notification to the Administrator              in writing as soon as possible following
                                                 publicly available. The owner or                        in writing as soon as possible following              the date the owner or operator first
                                                 operator must submit the same file                      the date the owner or operator first                  knew, or through due diligence should
                                                 submitted to the CBI office with the CBI                knew, or through due diligence should                 have known, that the event may cause
                                                 omitted to the EPA via the EPA’s CDX                    have known, that the event may cause                  or has caused a delay in reporting.
                                                 as described earlier in this paragraph                  or has caused a delay in reporting.                     (3) The owner or operator must
                                                 (g).                                                       (5) The owner or operator must                     provide to the Administrator:
                                                    (1) The preferred method to receive                  provide to the Administrator a written                  (i) A written description of the force
                                                 CBI is for it to be transmitted                         description identifying:                              majeure event;
                                                 electronically using email attachments,                    (i) The date(s) and time(s) when CDX
                                                                                                                                                                 (ii) A rationale for attributing the
                                                 File Transfer Protocol, or other online                 or CEDRI was accessed and the system
                                                                                                                                                               delay in reporting beyond the regulatory
                                                 file sharing services. Electronic                       was unavailable;
                                                                                                            (ii) A rationale for attributing the               deadline to the force majeure event;
                                                 submissions must be transmitted
                                                 directly to the OAQPS CBI Office at the                 delay in reporting beyond the regulatory                (iii) A description of measures taken
                                                 email address oaqpscbi@epa.gov, and as                  deadline to EPA system outage;                        or to be taken to minimize the delay in
                                                 described above, should include clear                      (iii) A description of measures taken              reporting; and
                                                 CBI markings. ERT files should be                       or to be taken to minimize the delay in                 (iv) The date by which the owner or
                                                 flagged to the attention of the Group                   reporting; and                                        operator proposes to report, or if the
                                                 Leader, Measurement Policy Group; all                      (iv) The date by which the owner or                owner or operator has already met the
                                                 other files should be flagged to the                    operator proposes to report, or if the                reporting requirement at the time of the
                                                 attention of the SOCMI NSPS Sector                      owner or operator has already met the                 notification, the date the report was
                                                 Lead. Owners and operators who do not                   reporting requirement at the time of the              submitted.
                                                 have their own file sharing service and                 notification, the date the report was                   (4) The decision to accept the claim
                                                 who require assistance with submitting                  submitted.                                            of force majeure and allow an extension
                                                 large electronic files that exceed the file                (6) The decision to accept the claim               to the reporting deadline is solely
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                                                 size limit for email attachments should                 of EPA system outage and allow an                     within the discretion of the
                                                 email oaqpscbi@epa.gov to request a file                extension to the reporting deadline is                Administrator.
                                                 transfer link.                                          solely within the discretion of the
                                                    (2) If an owner or operator cannot                                                                           (5) In any circumstance, the reporting
                                                                                                         Administrator.
                                                 transmit the file electronically, the                      (7) In any circumstance, the report                must occur as soon as possible after the
                                                 owner or operator may send CBI                          must be submitted electronically as                   force majeure event occurs.
                                                 information through the postal service                  soon as possible after the outage is                  ■ 17. Add subpart VVb to read as
                                                 to the following address: OAQPS                         resolved.                                             follows:


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                                                 Subpart VVb—Standards of Performance                    by itself be considered a modification                sections and paragraphs that are not
                                                 for Equipment Leaks of VOC in the                       under this subpart.                                   mentioned in this paragraph (e)(2)(ii) do
                                                 Synthetic Organic Chemicals Manufacturing                  (d)(1) If an owner or operator applies             not apply to owners or operators of
                                                 Industry for Which Construction,                        for one or more of the exemptions in                  equipment subject to this subpart
                                                 Reconstruction, or Modification                         this paragraph, then the owner or
                                                 Commenced After April 25, 2023
                                                                                                                                                               complying with 40 CFR part 63, subpart
                                                                                                         operator shall maintain records as                    H, except that provisions required to be
                                                 Sec.                                                    required in § 60.486b(i).                             met prior to implementing 40 CFR part
                                                 60.480b Applicability and designation of                   (2) Any affected facility that has the
                                                      affected facility.
                                                                                                                                                               63 still apply. Owners and operators
                                                                                                         design capacity to produce less than                  who choose to comply with 40 CFR part
                                                 60.481b Definitions.
                                                 60.482–1b Standards: General.
                                                                                                         1,000 Mg/yr (1,102 ton/yr) of a chemical              63, subpart H, must comply with 40
                                                 60.482–2b Standards: Pumps in light liquid              listed in § 60.489 is exempt from                     CFR part 63, subpart A.
                                                      service.                                           §§ 60.482–1b through 60.482–11b.                        (f) Owners and operators of flares that
                                                 60.482–3b Standards: Compressors.                          (3) If an affected facility produces               are subject to the flare related
                                                 60.482–4b Standards: Pressure relief                    heavy liquid chemicals only from heavy                requirements of this subpart and flare
                                                      devices in gas/vapor service.                      liquid feed or raw materials, then it is              related requirements of any other
                                                 60.482–5b Standards: Sampling connection                exempt from §§ 60.482–1b through                      regulation in this part or 40 CFR part 61
                                                      systems.                                           60.482–11b.                                           or 63, may elect to comply with the
                                                 60.482–6b Standards: Open-ended valves or                  (4) Any affected facility that produces
                                                      lines.                                                                                                   requirements in § 60.619a, § 60.669a, or
                                                                                                         beverage alcohol is exempt from                       § 60.709a, in lieu of all flare related
                                                 60.482–7b Standards: Valves in gas/vapor                §§ 60.482–1b through 60.482–11b.
                                                      service and in light liquid service.                                                                     requirements in any other regulation in
                                                                                                            (5) Any affected facility that has no              this part or 40 CFR part 61 or 63.
                                                 60.482–8b Standards: Pumps, valves, and
                                                      connectors in heavy liquid service and             equipment in volatile organic
                                                      pressure relief devices in light liquid or         compounds (VOC) service is exempt                     § 60.481b   Definitions.
                                                      heavy liquid service.                              from §§ 60.482–1b through 60.482–11b.                    As used in this subpart, all terms not
                                                 60.482–9b Standards: Delay of repair.                      (e)(1) Option to comply with 40 CFR                defined herein shall have the meaning
                                                 60.482–10b Standards: Closed vent systems               part 65. (i) Owners or operators may                  given them in the Clean Air Act (CAA)
                                                      and control devices.                               choose to comply with the provisions of               or in subpart A of this part, and the
                                                 60.482–11b Standards: Connectors in gas/                40 CFR part 65, subpart F, to satisfy the             following terms shall have the specific
                                                      vapor service and in light liquid service.         requirements of §§ 60.482–1b through
                                                 60.483–1b Alternative standards for
                                                                                                                                                               meanings given them.
                                                                                                         60.487b for an affected facility. When                   Capital expenditure means, in
                                                      valves—allowable percentage of valves
                                                                                                         choosing to comply with 40 CFR part                   addition to the definition in § 60.2, an
                                                      leaking.
                                                 60.483–2b Alternative standards for                     65, subpart F, the requirements of                    expenditure for a physical or
                                                      valves—skip period leak detection and              §§ 60.485b(d), (e), and (f), and 60.486b(i)           operational change to an existing facility
                                                      repair.                                            and (j) still apply. Other provisions                 that:
                                                 60.484b Equivalence of means of emission                applying to an owner or operator who                     (1) Exceeds P, the product of the
                                                      limitation.                                        chooses to comply with 40 CFR part 65                 facility’s replacement cost, R, and an
                                                 60.485b Test methods and procedures.                    are provided in 40 CFR 65.1.                          adjusted annual asset guideline repair
                                                 60.486b Recordkeeping requirements.                        (ii) Owners or operators who choose                allowance, A, as reflected by the
                                                 60.487b Reporting requirements.                         to comply with 40 CFR part 65, subpart                following equation: P = R × A, where:
                                                 60.488b Reconstruction.                                 F must also comply with §§ 60.1, 60.2,
                                                 60.489b List of chemicals produced by
                                                                                                                                                                  (i) The adjusted annual asset
                                                      affected facilities.
                                                                                                         60.5, 60.6, 60.7(a)(1) and (4), 60.14,                guideline repair allowance, A, is the
                                                                                                         60.15, and 60.16 for that equipment. All              product of the percent of the
                                                 Subpart VVb—Standards of                                sections and paragraphs that are not                  replacement cost, Y, and the applicable
                                                 Performance for Equipment Leaks of                      mentioned in this paragraph (e)(1)(ii) do             basic annual asset guideline repair
                                                 VOC in the Synthetic Organic                            not apply to owners or operators of                   allowance, B, divided by 100 as
                                                 Chemicals Manufacturing Industry for                    equipment subject to this subpart                     reflected by the following equation:
                                                 Which Construction, Reconstruction,                     complying with 40 CFR part 65, subpart
                                                                                                         F, except that provisions required to be              Equation 1 to Capital Expenditure
                                                 or Modification Commenced After April                                                                         Paragraph (1)(i)
                                                 25, 2023                                                met prior to implementing 40 CFR part
                                                                                                         65 still apply. Owners and operators                  A = Y × (B ÷ 100);
                                                 § 60.480b Applicability and designation of              who choose to comply with 40 CFR part                    (ii) The percent Y is determined from
                                                      affected facility.                                 65, subpart F, must comply with 40 CFR                the following equation: Y = (CPI of date
                                                   (a)(1) The provisions of this subpart                 part 65, subpart A.                                   of construction/most recently available
                                                 apply to affected facilities in the                        (2) Option to comply with 40 CFR part              CPI of date of project), where the ‘‘CPI–
                                                 synthetic organic chemicals                             63, subpart H. (i) Owners or operators                U, U.S. city average, all items’’ must be
                                                 manufacturing industry.                                 may choose to comply with the                         used for each CPI value; and
                                                   (2) The group of all equipment                        provisions of 40 CFR part 63, subpart H,                 (iii) The applicable basic annual asset
                                                 (defined in § 60.481b) within a process                 to satisfy the requirements of §§ 60.482–             guideline repair allowance, B, is 12.5.
                                                 unit is an affected facility.                           1b through 60.487b for an affected                       Closed-loop system means an
                                                   (b) Any affected facility under                       facility. When choosing to comply with                enclosed system that returns process
                                                 paragraph (a) of this section that                      40 CFR part 63, subpart H, the                        fluid to the process.
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                                                 commences construction,                                 requirements of § 60.482–7b,                             Closed-purge system means a system
                                                 reconstruction, or modification after                   § 60.485b(d), (e), and (f), and                       or combination of systems and portable
                                                 April 25, 2023, shall be subject to the                 § 60.486b(i) and (j) still apply.                     containers to capture purged liquids.
                                                 requirements of this subpart.                              (ii) Owners or operators who choose                Containers for purged liquids must be
                                                   (c) Addition or replacement of                        to comply with 40 CFR part 63, subpart                covered or closed when not being filled
                                                 equipment for the purpose of process                    H must also comply with §§ 60.1, 60.2,                or emptied.
                                                 improvement which is accomplished                       60.5, 60.6, 60.7(a)(1) and (4), 60.14,                   Closed vent system means a system
                                                 without a capital expenditure shall not                 60.15, and 60.16 for that equipment. All              that is not open to the atmosphere and


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                                                 that is composed of hard-piping,                           In heavy liquid service means that the             can be accomplished. The following are
                                                 ductwork, connections, and, if                          piece of equipment is not in gas/vapor                not considered process unit shutdowns:
                                                 necessary, flow-inducing devices that                   service or in light liquid service.                      (1) An unscheduled work practice or
                                                 transport gas or vapor from a piece or                     In light liquid service means that the             operational procedure that stops
                                                 pieces of equipment to a control device                 piece of equipment contains a liquid                  production from a process unit or part
                                                 or back to a process.                                   that meets the conditions specified in                of a process unit for less than 24 hours.
                                                    Connector means flanged, screwed, or                 § 60.485b(e).                                            (2) An unscheduled work practice or
                                                 other joined fittings used to connect two                  In-situ sampling systems means                     operational procedure that would stop
                                                 pipe lines or a pipe line and a piece of                nonextractive samplers or in-line                     production from a process unit or part
                                                 process equipment or that close an                      samplers.                                             of a process unit for a shorter period of
                                                 opening in a pipe that could be                            In vacuum service means that                       time than would be required to clear the
                                                 connected to another pipe. Joined                       equipment is operating at an internal                 process unit or part of the process unit
                                                 fittings welded completely around the                   pressure which is at least 5 kilopascals              of materials and start up the unit and
                                                 circumference of the interface are not                  (kPa) (0.7 psia) below ambient pressure.              would result in greater emissions than
                                                 considered connectors for the purpose                      In VOC service means that the piece                delay of repair of leaking components
                                                 of this regulation.                                     of equipment contains or contacts a                   until the next scheduled process unit
                                                    Control device means an enclosed                     process fluid that is at least 10 percent             shutdown.
                                                 combustion device, vapor recovery                       VOC by weight. (The provisions of                        (3) The use of spare equipment and
                                                 system, or flare.                                       § 60.485b(d) specify how to determine                 technically feasible bypassing of
                                                    Distance piece means an open or                      that a piece of equipment is not in VOC               equipment without stopping
                                                 enclosed casing through which the                       service.)                                             production.
                                                 piston rod travels, separating the                         Initial calibration value means the                   Quarter means a 3-month period; the
                                                 compressor cylinder from the crankcase.                 concentration measured during the                     first quarter concludes on the last day of
                                                    Double block and bleed system means                  initial calibration at the beginning of               the last full month during the 180 days
                                                 two block valves connected in series                    each day required in § 60.485b(b)(1), or              following initial startup.
                                                 with a bleed valve or line that can vent                the most recent calibration if the                       Repaired means that equipment is
                                                 the line between the two block valves.                  instrument is recalibrated during the                 adjusted, or otherwise altered, in order
                                                    Duct work means a conveyance
                                                                                                         day (i.e., the calibration is adjusted)               to eliminate a leak as defined in the
                                                 system such as those commonly used
                                                                                                         after a calibration drift assessment.                 applicable sections of this subpart and,
                                                 for heating and ventilation systems. It is
                                                                                                            Liquids dripping means any visible                 except for leaks identified in accordance
                                                 often made of sheet metal and often has
                                                                                                         leakage from the seal including                       with §§ 60.482–2b(b)(2)(ii) and (d)(6)(ii)
                                                 sections connected by screws or
                                                                                                         spraying, misting, clouding, and ice                  and (iii), 60.482–3b(f), and 60.482–
                                                 crimping. Hard-piping is not ductwork.
                                                                                                         formation.                                            10b(f)(1)(ii), is re-monitored as specified
                                                    Equipment means each pump,
                                                                                                            Open-ended valve or line means any                 in § 60.485b(b) to verify that emissions
                                                 compressor, pressure relief device,
                                                                                                         valve, except safety relief valves, having            from the equipment are below the
                                                 sampling connection system, open-
                                                                                                         one side of the valve seat in contact                 applicable leak definition.
                                                 ended valve or line, valve, and flange or
                                                 other connector in VOC service and any                  with process fluid and one side open to                  Replacement cost means the capital
                                                 devices or systems required by this                     the atmosphere, either directly or                    needed to purchase all the depreciable
                                                 subpart.                                                through open piping.                                  components in a facility.
                                                    First attempt at repair means to take                   Pressure release means the emission                   Sampling connection system means
                                                 action for the purpose of stopping or                   of materials resulting from system                    an assembly of equipment within a
                                                 reducing leakage of organic material to                 pressure being greater than set pressure              process unit used during periods of
                                                 the atmosphere using best practices.                    of the pressure relief device.                        representative operation to take samples
                                                    Fuel gas means gases that are                           Process improvement means routine                  of the process fluid. Equipment used to
                                                 combusted to derive useful work or                      changes made for safety and                           take nonroutine grab samples is not
                                                 heat.                                                   occupational health requirements, for                 considered a sampling connection
                                                    Fuel gas system means the offsite and                energy savings, for better utility, for ease          system.
                                                 onsite piping and flow and pressure                     of maintenance and operation, for                        Sensor means a device that measures
                                                 control system that gathers gaseous                     correction of design deficiencies, for                a physical quantity or the change in a
                                                 stream(s) generated by onsite                           bottleneck removal, for changing                      physical quantity such as temperature,
                                                 operations, may blend them with other                   product requirements, or for                          pressure, flow rate, pH, or liquid level.
                                                 sources of gas, and transports the                      environmental control.                                   Storage vessel means a tank or other
                                                 gaseous stream for use as fuel gas in                      Process unit means components                      vessel that is used to store organic
                                                 combustion devices or in-process                        assembled to produce, as intermediate                 liquids that are used in the process as
                                                 combustion equipment, such as                           or final products, one or more of the                 raw material feedstocks, produced as
                                                 furnaces and gas turbines, either singly                chemicals listed in § 60.489. A process               intermediates or final products, or
                                                 or in combination.                                      unit can operate independently if                     generated as wastes. Storage vessel does
                                                    Hard-piping means pipe or tubing that                supplied with sufficient feed or raw                  not include vessels permanently
                                                 is manufactured and properly installed                  materials and sufficient storage facilities           attached to motor vehicles, such as
                                                 using good engineering judgment and                     for the product.                                      trucks, railcars, barges or ships.
                                                                                                            Process unit shutdown means a work                    Synthetic organic chemicals
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                                                 standards such as ASME B31.3, Process
                                                 Piping (available from the American                     practice or operational procedure that                manufacturing industry means the
                                                 Society of Mechanical Engineers, P.O.                   stops production from a process unit or               industry that produces, as intermediates
                                                 Box 2300, Fairfield, NJ 07007–2300).                    part of a process unit during which it is             or final products, one or more of the
                                                    In gas/vapor service means that the                  technically feasible to clear process                 chemicals listed in § 60.489.
                                                 piece of equipment contains process                     material from a process unit or part of                  Transfer rack means the collection of
                                                 fluid that is in the gaseous state at                   a process unit consistent with safety                 loading arms and loading hoses, at a
                                                 operating conditions.                                   constraints and during which repairs                  single loading rack, that are used to fill


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                                                 tank trucks and/or railcars with organic                                  requirements of §§ 60.482–2b, 60.482–                                 paragraphs (e)(1) through (3) of this
                                                 liquids.                                                                  3b, 60.482–5b, 60.482–6b, 60.482–7b,                                  section.
                                                    Volatile organic compounds or VOC                                      60.482–8b, and 60.482–10b as provided                                    (1) The equipment is in VOC service
                                                 means, for the purposes of this subpart,                                  in § 60.484b.                                                         only during startup and shutdown,
                                                 any reactive organic compounds as                                           (2) If the Administrator makes a                                    excluding startup and shutdown
                                                 defined in § 60.2.                                                        determination that a means of emission                                between batches of the same campaign
                                                                                                                           limitation is at least equivalent to the                              for a batch process.
                                                 § 60.482–1b          Standards: General.                                  requirements of § 60.482–2b, § 60.482–
                                                   (a) Each owner or operator subject to                                                                                                            (2) The equipment is in VOC service
                                                                                                                           3b, § 60.482–5b, § 60.482–6b, § 60.482–
                                                 the provisions of this subpart shall                                                                                                            only during process malfunctions or
                                                                                                                           7b, § 60.482–8b, or § 60.482–10b, an
                                                 demonstrate compliance with the                                                                                                                 other emergencies.
                                                                                                                           owner or operator shall comply with the
                                                 requirements of §§ 60.482–1b through                                      requirements of that determination.                                      (3) The equipment is backup
                                                 60.482–11b or § 60.480b(e) for all                                          (d) Equipment that is in vacuum                                     equipment that is in VOC service only
                                                 equipment within 180 days of initial                                      service is excluded from the                                          when the primary equipment is out of
                                                 startup.                                                                  requirements of §§ 60.482–2b through                                  service.
                                                   (b) Compliance with §§ 60.482–1b                                        60.482–11b if it is identified as required                               (f)(1) If a dedicated batch process unit
                                                 through 60.482–11b will be determined                                     in § 60.486b(e)(5).                                                   operates less than 365 days during a
                                                 by review of records and reports, review                                    (e) Equipment that an owner or                                      year, an owner or operator may monitor
                                                 of performance test results, and                                          operator designates as being in VOC                                   to detect leaks from pumps, valves, and
                                                 inspection using the methods and                                          service less than 300 hr/yr is excluded                               open-ended valves or lines at the
                                                 procedures specified in § 60.485b.                                        from the requirements of §§ 60.482–2b                                 frequency specified in the following
                                                   (c)(1) An owner or operator may                                         through 60.482–11b if it is identified as                             table instead of monitoring as specified
                                                 request a determination of equivalence                                    required in § 60.486b(e)(6) and it meets                              in §§ 60.482–2b, 60.482–7b, and
                                                 of a means of emission limitation to the                                  any of the conditions specified in                                    60.483.2a:

                                                                                                                                   TABLE 1 TO PARAGRAPH (f)(1)
                                                                                                                                                                        Equivalent monitoring frequency time in use
                                                                              Operating time
                                                                       (percent of hours during year)                                                        Monthly                                    Quarterly                        Semiannually

                                                 0 to <25 .................................................................................   Quarterly ...............................   Annually ................................   Annually.
                                                 25 to <50 ...............................................................................    Quarterly ...............................   Semiannually ........................       Annually.
                                                 50 to <75 ...............................................................................    Bimonthly ..............................    Three quarters ......................       Semiannually.
                                                 75 to 100 ...............................................................................    Monthly .................................   Quarterly ...............................   Semiannually.



                                                    (2) Pumps and valves that are shared                                     (iv) When monitoring is conducted                                   liquids dripping from the pump seal,
                                                 among two or more batch process units                                     annually, monitoring events must be                                   except as provided in § 60.482–1b(f).
                                                 that are subject to this subpart may be                                   separated by at least 120 calendar days.                                 (b)(1) The instrument reading that
                                                 monitored at the frequencies specified                                      (g) The standards in §§ 60.482–1b                                   defines a leak is specified in paragraphs
                                                 in paragraph (f)(1) of this section,                                      through 60.482–11b apply at all times,                                (b)(1)(i) and (ii) of this section.
                                                 provided the operating time of all such                                   including periods of startup, shutdown,                                  (i) 5,000 parts per million (ppm) or
                                                 process units is considered.                                              and malfunction. As provided in                                       greater for pumps handling
                                                    (3) The monitoring frequencies                                         § 60.11(f), this provision supersedes the                             polymerizing monomers;
                                                 specified in paragraph (f)(1) of this                                     exemptions for periods of startup,                                       (ii) 2,000 ppm or greater for all other
                                                 section are not requirements for                                          shutdown, and malfunction in the                                      pumps.
                                                                                                                           general provisions in subpart A of this                                  (2) If there are indications of liquids
                                                 monitoring at specific intervals and can
                                                                                                                           part.                                                                 dripping from the pump seal, the owner
                                                 be adjusted to accommodate process
                                                                                                                                                                                                 or operator shall follow the procedure
                                                 operations. An owner or operator may                                      § 60.482–2b Standards: Pumps in light                                 specified in either paragraph (b)(2)(i) or
                                                 monitor at any time during the specified                                  liquid service.                                                       (ii) of this section. This requirement
                                                 monitoring period (e.g., month, quarter,
                                                                                                                             (a)(1) Each pump in light liquid                                    does not apply to a pump that was
                                                 year), provided the monitoring is
                                                                                                                           service shall be monitored monthly to                                 monitored after a previous weekly
                                                 conducted at a reasonable interval after
                                                                                                                           detect leaks by the methods specified in                              inspection and the instrument reading
                                                 completion of the last monitoring
                                                                                                                           § 60.485b(b), except as provided in                                   was less than the concentration
                                                 campaign. Reasonable intervals are
                                                                                                                           § 60.482–1b(c) and (f) and paragraphs                                 specified in paragraph (b)(1)(i) or (ii) of
                                                 defined in paragraphs (f)(3)(i) through
                                                                                                                           (d), (e), and (f) of this section. A pump                             this section, whichever is applicable.
                                                 (iv) of this section.
                                                                                                                           that begins operation in light liquid                                    (i) Monitor the pump within 5 days as
                                                    (i) When monitoring is conducted                                       service after the initial startup date for                            specified in § 60.485b(b). A leak is
                                                 quarterly, monitoring events must be                                      the process unit must be monitored for                                detected if the instrument reading
                                                 separated by at least 30 calendar days.                                   the first time within 30 days after the                               measured during monitoring indicates a
                                                    (ii) When monitoring is conducted
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                                                                                                                           end of its startup period, except for a                               leak as specified in paragraph (b)(1)(i) or
                                                 semiannually (i.e., once every 2                                          pump that replaces a leaking pump and                                 (ii) of this section, whichever is
                                                 quarters), monitoring events must be                                      except as provided in § 60.482–1b(c)                                  applicable. The leak shall be repaired
                                                 separated by at least 60 calendar days.                                   and paragraphs (d), (e), and (f) of this                              using the procedures in paragraph (c) of
                                                    (iii) When monitoring is conducted in                                  section.                                                              this section.
                                                 3 quarters per year, monitoring events                                      (2) Each pump in light liquid service                                  (ii) Designate the visual indications of
                                                 must be separated by at least 90                                          shall be checked by visual inspection                                 liquids dripping as a leak, and repair the
                                                 calendar days.                                                            each calendar week for indications of                                 leak using either the procedures in


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                                                 paragraph (c) of this section or by                       (ii) The owner or operator determines,              practicable during safe-to-monitor
                                                 eliminating the visual indications of                   based on design considerations and                    times, but not more frequently than the
                                                 liquids dripping.                                       operating experience, a criterion that                periodic monitoring schedule otherwise
                                                    (c)(1) When a leak is detected, it shall             indicates failure of the seal system, the             applicable, and repair of the equipment
                                                 be repaired as soon as practicable, but                 barrier fluid system, or both.                        according to the procedures in
                                                 not later than 15 calendar days after it                  (iii) If the sensor indicates failure of            paragraph (c) of this section if a leak is
                                                 is detected, except as provided in                      the seal system, the barrier fluid system,            detected.
                                                 § 60.482–9b.                                            or both, based on the criterion                          (h) Any pump that is located within
                                                    (2) A first attempt at repair shall be               established in paragraph (d)(5)(ii) of this           the boundary of an unmanned plant site
                                                 made no later than 5 calendar days after                section, a leak is detected.                          is exempt from the weekly visual
                                                 each leak is detected. First attempts at                  (6)(i) When a leak is detected                      inspection requirement of paragraphs
                                                 repair include, but are not limited to,                 pursuant to paragraph (d)(4)(ii)(A) of                (a)(2) and (d)(4) of this section, and the
                                                 the practices described in paragraphs                   this section, it shall be repaired as                 daily requirements of paragraph (d)(5) of
                                                 (c)(2)(i) and (ii) of this section, where               specified in paragraph (c) of this                    this section, provided that each pump is
                                                 practicable.                                            section.                                              visually inspected as often as
                                                    (i) Tightening the packing gland nuts;                 (ii) A leak detected pursuant to                    practicable and at least monthly.
                                                    (ii) Ensuring that the seal flush is                 paragraph (d)(5)(iii) of this section shall
                                                 operating at design pressure and                        be repaired within 15 days of detection               § 60.482–3b   Standards: Compressors.
                                                 temperature.                                            by eliminating the conditions that                       (a) Each compressor shall be equipped
                                                    (d) Each pump equipped with a dual                   activated the sensor.                                 with a seal system that includes a
                                                 mechanical seal system that includes a                    (iii) A designated leak pursuant to                 barrier fluid system and that prevents
                                                 barrier fluid system is exempt from the                 paragraph (d)(4)(ii)(B) of this section               leakage of VOC to the atmosphere,
                                                 requirements of paragraph (a) of this                   shall be repaired within 15 days of                   except as provided in § 60.482–1b(c)
                                                 section, provided the requirements                      detection by eliminating visual                       and paragraphs (h), (i), and (j) of this
                                                 specified in paragraphs (d)(1) through                  indications of liquids dripping.                      section.
                                                 (6) of this section are met.                              (e) Any pump that is designated, as                    (b) Each compressor seal system as
                                                    (1) Each dual mechanical seal system                 described in § 60.486b(e)(1) and (2), for             required in paragraph (a) of this section
                                                 is:                                                     no detectable emissions, as indicated by              shall be:
                                                    (i) Operated with the barrier fluid at               an instrument reading of less than 500                   (1) Operated with the barrier fluid at
                                                 a pressure that is at all times greater                 ppm above background, is exempt from                  a pressure that is greater than the
                                                 than the pump stuffing box pressure; or                 the requirements of paragraphs (a), (c),              compressor stuffing box pressure; or
                                                    (ii) Equipped with a barrier fluid                                                                            (2) Equipped with a barrier fluid
                                                                                                         and (d) of this section if the pump:
                                                 degassing reservoir that is routed to a                                                                       system degassing reservoir that is routed
                                                                                                           (1) Has no externally actuated shaft
                                                 process or fuel gas system or connected                                                                       to a process or fuel gas system or
                                                                                                         penetrating the pump housing;
                                                 by a closed vent system to a control                      (2) Is demonstrated to be operating                 connected by a closed vent system to a
                                                 device that complies with the                           with no detectable emissions as                       control device that complies with the
                                                 requirements of § 60.482–10b; or                        indicated by an instrument reading of
                                                    (iii) Equipped with a system that                                                                          requirements of § 60.482–10b; or
                                                                                                         less than 500 ppm above background as                    (3) Equipped with a system that
                                                 purges the barrier fluid into a process
                                                                                                         measured by the methods specified in                  purges the barrier fluid into a process
                                                 stream with zero VOC emissions to the
                                                                                                         § 60.485b(c); and                                     stream with zero VOC emissions to the
                                                 atmosphere.
                                                                                                           (3) Is tested for compliance with                   atmosphere.
                                                    (2) The barrier fluid system is in
                                                 heavy liquid service or is not in VOC                   paragraph (e)(2) of this section initially               (c) The barrier fluid system shall be in
                                                 service.                                                upon designation, annually, and at other              heavy liquid service or shall not be in
                                                    (3) Each barrier fluid system is                     times requested by the Administrator.                 VOC service.
                                                 equipped with a sensor that will detect                   (f) If any pump is equipped with a                     (d) Each barrier fluid system as
                                                 failure of the seal system, the barrier                 closed vent system capable of capturing               described in paragraph (a) of this
                                                 fluid system, or both.                                  and transporting any leakage from the                 section shall be equipped with a sensor
                                                    (4)(i) Each pump is checked by visual                seal or seals to a process or to a fuel gas           that will detect failure of the seal
                                                 inspection, each calendar week, for                     system or to a control device that                    system, barrier fluid system, or both.
                                                 indications of liquids dripping from the                complies with the requirements of                        (e)(1) Each sensor as required in
                                                 pump seals.                                             § 60.482–10b, it is exempt from                       paragraph (d) of this section shall be
                                                    (ii) If there are indications of liquids             paragraphs (a) through (e) of this                    checked daily or shall be equipped with
                                                 dripping from the pump seal at the time                 section.                                              an audible alarm.
                                                 of the weekly inspection, the owner or                    (g) Any pump that is designated, as                    (2) The owner or operator shall
                                                 operator shall follow the procedure                     described in § 60.486b(f)(1), as an                   determine, based on design
                                                 specified in either paragraph                           unsafe-to-monitor pump is exempt from                 considerations and operating
                                                 (d)(4)(ii)(A) or (B) of this section prior              the monitoring and inspection                         experience, a criterion that indicates
                                                 to the next required inspection.                        requirements of paragraphs (a) and                    failure of the seal system, the barrier
                                                    (A) Monitor the pump within 5 days                   (d)(4) through (6) of this section if:                fluid system, or both.
                                                 as specified in § 60.485b(b) to determine                 (1) The owner or operator of the pump                  (f) If the sensor indicates failure of the
                                                 if there is a leak of VOC in the barrier                demonstrates that the pump is unsafe-                 seal system, the barrier system, or both
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                                                 fluid. If an instrument reading of 2,000                to-monitor because monitoring                         based on the criterion determined under
                                                 ppm or greater is measured, a leak is                   personnel would be exposed to an                      paragraph (e)(2) of this section, a leak is
                                                 detected.                                               immediate danger as a consequence of                  detected.
                                                    (B) Designate the visual indications of              complying with paragraph (a) of this                     (g)(1) When a leak is detected, it shall
                                                 liquids dripping as a leak.                             section; and                                          be repaired as soon as practicable, but
                                                    (5)(i) Each sensor as described in                     (2) The owner or operator of the pump               not later than 15 calendar days after it
                                                 paragraph (d)(3) is checked daily or is                 has a written plan that requires                      is detected, except as provided in
                                                 equipped with an audible alarm.                         monitoring of the pump as frequently as               § 60.482–9b.


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                                                    (2) A first attempt at repair shall be               less than 500 ppm above background, by                management unit is subject to and
                                                 made no later than 5 calendar days after                the methods specified in § 60.485b(c).                operated in compliance with the
                                                 each leak is detected.                                     (c) Any pressure relief device that is             provisions of 40 CFR part 63, subpart G,
                                                    (h) A compressor is exempt from the                  routed to a process or fuel gas system or             applicable to Group 1 wastewater
                                                 requirements of paragraphs (a) and (b) of               equipped with a closed vent system                    streams;
                                                 this section, if it is equipped with a                  capable of capturing and transporting                    (B) A treatment, storage, or disposal
                                                 closed vent system to capture and                       leakage through the pressure relief                   facility subject to regulation under 40
                                                 transport leakage from the compressor                   device to a control device as described               CFR part 262, 264, 265, or 266;
                                                 drive shaft back to a process or fuel gas               in § 60.482–10b is exempted from the                     (C) A facility permitted, licensed, or
                                                 system or to a control device that                      requirements of paragraphs (a) and (b) of             registered by a state to manage
                                                 complies with the requirements of                       this section.                                         municipal or industrial solid waste, if
                                                 § 60.482–10b, except as provided in                        (d)(1) Any pressure relief device that             the process fluids are not hazardous
                                                 paragraph (i) of this section.                          is equipped with a rupture disk                       waste as defined in 40 CFR part 261;
                                                    (i) Any compressor that is designated,               upstream of the pressure relief device is                (D) A waste management unit subject
                                                 as described in § 60.486b(e)(1) and (2),                exempt from the requirements of                       to and operated in compliance with the
                                                 for no detectable emissions, as indicated               paragraphs (a) and (b) of this section,               treatment requirements of 40 CFR
                                                 by an instrument reading of less than                   provided the owner or operator                        61.348(a), provided all waste
                                                 500 ppm above background, is exempt                     complies with the requirements in                     management units that collect, store, or
                                                 from the requirements of paragraphs (a)                 paragraph (d)(2) of this section.                     transport the purged process fluid to the
                                                 through (h) of this section if the                         (2) After each pressure release, a new             treatment unit are subject to and
                                                 compressor:                                             rupture disk shall be installed upstream              operated in compliance with the
                                                    (1) Is demonstrated to be operating                  of the pressure relief device as soon as              management requirements of 40 CFR
                                                 with no detectable emissions, as                        practicable, but no later than 5 calendar             61.343 through 40 CFR 61.347; or
                                                 indicated by an instrument reading of                   days after each pressure release, except                 (E) A device used to burn off-
                                                 less than 500 ppm above background, as                  as provided in § 60.482–9b.                           specification used oil for energy
                                                 measured by the methods specified in                                                                          recovery in accordance with 40 CFR
                                                                                                         § 60.482–5b Standards: Sampling                       part 279, subpart G, provided the
                                                 § 60.485b(c); and                                       connection systems.
                                                                                                                                                               purged process fluid is not hazardous
                                                    (2) Is tested for compliance with                       (a) Each sampling connection system                waste as defined in 40 CFR part 261.
                                                 paragraph (i)(1) of this section initially              shall be equipped with a closed-purge,                   (c) In-situ sampling systems and
                                                 upon designation, annually, and at other                closed-loop, or closed-vent system,                   sampling systems without purges are
                                                 times requested by the Administrator.                   except as provided in § 60.482–1b(c)                  exempt from the requirements of
                                                    (j) Any existing reciprocating                       and paragraph (c) of this section.                    paragraphs (a) and (b) of this section.
                                                 compressor in a process unit which                         (b) Each closed-purge, closed-loop, or
                                                 becomes an affected facility under                      closed-vent system as required in                     § 60.482–6b Standards: Open-ended
                                                 provisions of § 60.14 or § 60.15 is                     paragraph (a) of this section shall                   valves or lines.
                                                 exempt from paragraphs (a) through (e)                  comply with the requirements specified                   (a)(1) Each open-ended valve or line
                                                 and (h) of this section, provided the                   in paragraphs (b)(1) through (4) of this              shall be equipped with a cap, blind
                                                 owner or operator demonstrates that                     section.                                              flange, plug, or a second valve, except
                                                 recasting the distance piece or replacing                  (1) Gases displaced during filling of              as provided in § 60.482–1b(c) and
                                                 the compressor are the only options                     the sample container are not required to              paragraphs (d) and (e) of this section.
                                                 available to bring the compressor into                  be collected or captured.                                (2) The cap, blind flange, plug, or
                                                 compliance with the provisions of                          (2) Containers that are part of a                  second valve shall seal the open end at
                                                 paragraphs (a) through (e) and (h) of this              closed-purge system must be covered or                all times except during operations
                                                 section.                                                closed when not being filled or emptied.              requiring process fluid flow through the
                                                                                                            (3) Gases remaining in the tubing or               open-ended valve or line.
                                                 § 60.482–4b Standards: Pressure relief                                                                           (b) Each open-ended valve or line
                                                 devices in gas/vapor service.
                                                                                                         piping between the closed-purge system
                                                                                                         valve(s) and sample container valve(s)                equipped with a second valve shall be
                                                   (a) Except during pressure releases,                  after the valves are closed and the                   operated in a manner such that the
                                                 each pressure relief device in gas/vapor                sample container is disconnected are                  valve on the process fluid end is closed
                                                 service shall be operated with no                       not required to be collected or captured.             before the second valve is closed.
                                                 detectable emissions, as indicated by an                   (4) Each closed-purge, closed-loop, or                (c) When a double block-and-bleed
                                                 instrument reading of less than 500 ppm                 closed-vent system shall be designed                  system is being used, the bleed valve or
                                                 above background, as determined by the                  and operated to meet requirements in                  line may remain open during operations
                                                 methods specified in § 60.485b(c).                      either paragraph (b)(4)(i), (ii), (iii), or           that require venting the line between the
                                                   (b)(1) After each pressure release, the               (iv) of this section.                                 block valves but shall comply with
                                                 pressure relief device shall be returned                   (i) Return the purged process fluid                paragraph (a) of this section at all other
                                                 to a condition of no detectable                         directly to the process line.                         times.
                                                 emissions, as indicated by an                              (ii) Collect and recycle the purged                   (d) Open-ended valves or lines in an
                                                 instrument reading of less than 500 ppm                 process fluid to a process.                           emergency shutdown system which are
                                                 above background, as soon as                               (iii) Capture and transport all the                designed to open automatically in the
                                                 practicable, but no later than 5 calendar
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                                                                                                         purged process fluid to a control device              event of a process upset are exempt
                                                 days after the pressure release, except as              that complies with the requirements of                from the requirements of paragraphs (a),
                                                 provided in § 60.482–9b.                                § 60.482–10b.                                         (b), and (c) of this section.
                                                   (2) No later than 5 calendar days after                  (iv) Collect, store, and transport the                (e) Open-ended valves or lines
                                                 the pressure release, the pressure relief               purged process fluid to any of the                    containing materials which would
                                                 device shall be monitored to confirm the                following systems or facilities:                      autocatalytically polymerize or would
                                                 conditions of no detectable emissions,                     (A) A waste management unit as                     present an explosion, serious
                                                 as indicated by an instrument reading of                defined in 40 CFR 63.111, if the waste                overpressure, or other safety hazard if


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                                                 capped or equipped with a double block                  no later than 15 calendar days after the              monitoring of the valve at least once per
                                                 and bleed system as specified in                        leak is detected, except as provided in               calendar year.
                                                 paragraphs (a) through (c) of this section              § 60.482–9b.
                                                                                                            (2) A first attempt at repair shall be             § 60.482–8b Standards: Pumps, valves,
                                                 are exempt from the requirements of
                                                                                                                                                               and connectors in heavy liquid service and
                                                 paragraphs (a) through (c) of this                      made no later than 5 calendar days after
                                                                                                                                                               pressure relief devices in light liquid or
                                                 section.                                                each leak is detected.                                heavy liquid service.
                                                                                                            (e) First attempts at repair include,
                                                 § 60.482–7b Standards: Valves in gas/                   but are not limited to, the following best               (a) If evidence of a potential leak is
                                                 vapor service and in light liquid service.              practices where practicable:                          found by visual, audible, olfactory, or
                                                    (a)(1) Each valve shall be monitored                    (1) Tightening of bonnet bolts;                    any other detection method at pumps,
                                                 monthly to detect leaks by the methods                     (2) Replacement of bonnet bolts;                   valves, and connectors in heavy liquid
                                                 specified in § 60.485b(b) and shall                        (3) Tightening of packing gland nuts;              service and pressure relief devices in
                                                 comply with paragraphs (b) through (e)                     (4) Injection of lubricant into                    light liquid or heavy liquid service, the
                                                 of this section, except as provided in                  lubricated packing.                                   owner or operator shall follow either
                                                 paragraphs (f), (g), and (h) of this                       (f) Any valve that is designated, as               one of the following procedures:
                                                 section, § 60.482–1b(c) and (f), and                    described in § 60.486b(e)(2), for no                     (1) The owner or operator shall
                                                 §§ 60.483–1b and 60.483–2b.                             detectable emissions, as indicated by an              monitor the equipment within 5 days by
                                                    (2) A valve that begins operation in                 instrument reading of less than 100 ppm               the method specified in § 60.485b(b)
                                                 gas/vapor service or light liquid service               above background, is exempt from the                  and shall comply with the requirements
                                                 after the initial startup date for the                  requirements of paragraph (a) of this                 of paragraphs (b) through (d) of this
                                                 process unit must be monitored                          section if the valve:                                 section.
                                                 according to paragraphs (a)(2)(i) or (ii),                 (1) Has no external actuating                         (2) The owner or operator shall
                                                 except for a valve that replaces a leaking              mechanism in contact with the process                 eliminate the visual, audible, olfactory,
                                                 valve and except as provided in                         fluid,                                                or other indication of a potential leak
                                                                                                            (2) Is operated with emissions less                within 5 calendar days of detection.
                                                 paragraphs (f), (g), and (h) of this
                                                                                                         than 100 ppm above background as                         (b) If an instrument reading of 10,000
                                                 section, § 60.482–1b(c), and §§ 60.483–
                                                                                                         determined by the method specified in                 ppm or greater is measured, a leak is
                                                 1b and 60.483–2b.
                                                    (i) Monitor the valve as in paragraph                § 60.485b(c), and                                     detected.
                                                                                                            (3) Is tested for compliance with                     (c)(1) When a leak is detected, it shall
                                                 (a)(1) of this section. The valve must be
                                                                                                         paragraph (f)(2) of this section initially            be repaired as soon as practicable, but
                                                 monitored for the first time within 30
                                                                                                         upon designation, annually, and at other              not later than 15 calendar days after it
                                                 days after the end of its startup period
                                                                                                         times requested by the Administrator.                 is detected, except as provided in
                                                 to ensure proper installation.                             (g) Any valve that is designated, as
                                                    (ii) If the existing valves in the                                                                         § 60.482–9b.
                                                                                                         described in § 60.486b(f)(1), as an                      (2) The first attempt at repair shall be
                                                 process unit are monitored in                           unsafe-to-monitor valve is exempt from                made no later than 5 calendar days after
                                                 accordance with § 60.483–1b or                          the requirements of paragraph (a) of this             each leak is detected.
                                                 § 60.483–2b, count the new valve as                     section if:                                              (d) First attempts at repair include,
                                                 leaking when calculating the percentage                    (1) The owner or operator of the valve             but are not limited to, the best practices
                                                 of valves leaking as described in                       demonstrates that the valve is unsafe to              described under §§ 60.482–2b(c)(2) and
                                                 § 60.483–2b(b)(5). If less than 2.0                     monitor because monitoring personnel                  60.482–7b(e).
                                                 percent of the valves are leaking for that              would be exposed to an immediate
                                                 process unit, the valve must be                         danger as a consequence of complying                  § 60.482–9b   Standards: Delay of repair.
                                                 monitored for the first time during the                 with paragraph (a) of this section, and                  (a) Delay of repair of equipment for
                                                 next scheduled monitoring event for                        (2) The owner or operator of the valve             which leaks have been detected will be
                                                 existing valves in the process unit or                  adheres to a written plan that requires               allowed if repair within 15 days is
                                                 within 90 days, whichever comes first.                  monitoring of the valve as frequently as              technically infeasible without a process
                                                    (b) If an instrument reading of 100                  practicable during safe-to-monitor                    unit shutdown. Repair of this
                                                 ppm or greater is measured, a leak is                   times.                                                equipment shall occur before the end of
                                                 detected.                                                  (h) Any valve that is designated, as               the next process unit shutdown.
                                                    (c)(1)(i) Any valve for which a leak is              described in § 60.486b(f)(2), as a                    Monitoring to verify repair must occur
                                                 not detected for 2 successive months                    difficult-to-monitor valve is exempt                  within 15 days after startup of the
                                                 may be monitored the first month of                     from the requirements of paragraph (a)                process unit.
                                                 every quarter, beginning with the next                  of this section if:                                      (b) Delay of repair of equipment will
                                                 quarter, until a leak is detected.                         (1) The owner or operator of the valve             be allowed for equipment which is
                                                    (ii) As an alternative to monitoring all             demonstrates that the valve cannot be                 isolated from the process and which
                                                 of the valves in the first month of a                   monitored without elevating the                       does not remain in VOC service.
                                                 quarter, an owner or operator may elect                 monitoring personnel more than 2                         (c) Delay of repair for valves and
                                                 to subdivide the process unit into two                  meters above a support surface.                       connectors will be allowed if:
                                                 or three subgroups of valves and                           (2) The process unit within which the                 (1) The owner or operator
                                                 monitor each subgroup in a different                    valve is located either:                              demonstrates that emissions of purged
                                                 month during the quarter, provided                         (i) Becomes an affected facility                   material resulting from immediate
                                                 each subgroup is monitored every 3                      through § 60.14 or § 60.15 and was                    repair are greater than the fugitive
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                                                 months. The owner or operator must                      constructed on or before January 5,                   emissions likely to result from delay of
                                                 keep records of the valves assigned to                  1981; or                                              repair, and
                                                 each subgroup.                                             (ii) Has less than 3.0 percent of its                 (2) When repair procedures are
                                                    (2) If a leak is detected, the valve shall           total number of valves designated as                  effected, the purged material is collected
                                                 be monitored monthly until a leak is not                difficult-to-monitor by the owner or                  and destroyed or recovered in a control
                                                 detected for 2 successive months.                       operator.                                             device complying with § 60.482–10b.
                                                    (d)(1) When a leak is detected, it shall                (3) The owner or operator of the valve                (d) Delay of repair for pumps will be
                                                 be repaired as soon as practicable, but                 follows a written plan that requires                  allowed if:


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                                                    (1) Repair requires the use of a dual                   (1) Conduct an initial inspection                  without elevating the inspecting
                                                 mechanical seal system that includes a                  according to the procedures in                        personnel more than 2 meters above a
                                                 barrier fluid system, and                               § 60.485b(b); and                                     support surface; and
                                                    (2) Repair is completed as soon as                      (2) Conduct annual inspections                        (2) The process unit within which the
                                                 practicable, but not later than 6 months                according to the procedures in                        closed vent system is located becomes
                                                 after the leak was detected.                            § 60.485b(b).                                         an affected facility through §§ 60.14 or
                                                    (e) Delay of repair beyond a process                    (3) Conduct annual visual inspections              60.15, or the owner or operator
                                                 unit shutdown will be allowed for a                     for visible, audible, or olfactory                    designates less than 3.0 percent of the
                                                 valve, if valve assembly replacement is                 indications of leaks.                                 total number of closed vent system
                                                 necessary during the process unit                          (g) Leaks, as indicated by an                      equipment as difficult to inspect; and
                                                 shutdown, valve assembly supplies                       instrument reading greater than 500                      (3) The owner or operator has a
                                                 have been depleted, and valve assembly                  ppmv above background or by visual                    written plan that requires inspection of
                                                 supplies had been sufficiently stocked                  inspections, shall be repaired as soon as             the equipment at least once every 5
                                                 before the supplies were depleted. Delay                practicable except as provided in                     years. A closed vent system is exempt
                                                 of repair beyond the next process unit                  paragraph (h) of this section.                        from inspection if it is operated under
                                                 shutdown will not be allowed unless                        (1) A first attempt at repair shall be             a vacuum.
                                                 the next process unit shutdown occurs                   made no later than 5 calendar days after                 (l) The owner or operator shall record
                                                 sooner than 6 months after the first                    the leak is detected.                                 the information specified in paragraphs
                                                 process unit shutdown.                                     (2) Repair shall be completed no later             (l)(1) through (5) of this section.
                                                    (f) When delay of repair is allowed for              than 15 calendar days after the leak is                  (1) Identification of all parts of the
                                                 a leaking pump, valve, or connector that                detected.                                             closed vent system that are designated
                                                 remains in service, the pump, valve, or                    (h) Delay of repair of a closed vent               as unsafe to inspect, an explanation of
                                                 connector may be considered to be                       system for which leaks have been                      why the equipment is unsafe to inspect,
                                                 repaired and no longer subject to delay                 detected is allowed if the repair is                  and the plan for inspecting the
                                                 of repair requirements if two                           technically infeasible without a process              equipment.
                                                 consecutive monthly monitoring                          unit shutdown or if the owner or                         (2) Identification of all parts of the
                                                 instrument readings are below the leak                  operator determines that emissions                    closed vent system that are designated
                                                 definition.                                             resulting from immediate repair would                 as difficult to inspect, an explanation of
                                                                                                         be greater than the fugitive emissions                why the equipment is difficult to
                                                 § 60.482–10b Standards: Closed vent                     likely to result from delay of repair.                inspect, and the plan for inspecting the
                                                 systems and control devices.                            Repair of such equipment shall be                     equipment.
                                                    (a) Owners or operators of closed vent               complete by the end of the next process                  (3) For each inspection during which
                                                 systems and control devices used to                     unit shutdown.                                        a leak is detected, a record of the
                                                 comply with provisions of this subpart                     (i) If a vapor collection system or                information specified in § 60.486b(c).
                                                 shall comply with the provisions of this                closed vent system is operated under a                   (4) For each inspection conducted in
                                                 section.                                                vacuum, it is exempt from the                         accordance with § 60.485b(b) during
                                                    (b) Vapor recovery systems (for                      inspection requirements of paragraphs                 which no leaks are detected, a record
                                                 example, condensers and absorbers)                      (f)(1) and (2) of this section.                       that the inspection was performed, the
                                                 shall be designed and operated to                          (j) Any parts of the closed vent system            date of the inspection, and a statement
                                                 recover the VOC emissions vented to                     that are designated, as described in                  that no leaks were detected.
                                                 them with an efficiency of 95 percent or                paragraph (l)(1) of this section, as unsafe              (5) For each visual inspection
                                                 greater, or to an exit concentration of 20              to inspect are exempt from the                        conducted in accordance with
                                                 parts per million by volume (ppmv),                     inspection requirements of paragraphs                 paragraph (f)(3) of this section during
                                                 whichever is less stringent.                            (f)(1) and (2) of this section if they                which no leaks are detected, a record
                                                    (c) Enclosed combustion devices shall                comply with the requirements specified                that the inspection was performed, the
                                                 be designed and operated to reduce the                  in paragraphs (j)(1) and (2) of this                  date of the inspection, and a statement
                                                 VOC emissions vented to them with an                    section:                                              that no leaks were detected.
                                                 efficiency of 95 percent or greater, or to                 (1) The owner or operator determines                  (m) Closed vent systems and control
                                                 an exit concentration of 20 ppmv, on a                  that the equipment is unsafe to inspect               devices used to comply with provisions
                                                 dry basis, corrected to 3 percent oxygen,               because inspecting personnel would be                 of this subpart shall be operated at all
                                                 whichever is less stringent or to provide               exposed to an imminent or potential                   times when emissions may be vented to
                                                 a minimum residence time of 0.75                        danger as a consequence of complying                  them.
                                                 seconds at a minimum temperature of                     with paragraphs (f)(1) and (2) of this
                                                 816 °C.                                                 section; and                                          § 60.482–11b Standards: Connectors in
                                                    (d) Flares used to comply with this                     (2) The owner or operator has a                    gas/vapor service and in light liquid service.
                                                 subpart shall comply with the                           written plan that requires inspection of                 (a) The owner or operator shall
                                                 requirements of § 60.18.                                the equipment as frequently as                        initially monitor all connectors in the
                                                    (e) Owners or operators of control                   practicable during safe-to-inspect times.             process unit for leaks by the later of
                                                 devices used to comply with the                            (k) Any parts of the closed vent                   either 12 months after the compliance
                                                 provisions of this subpart shall monitor                system that are designated, as described              date or 12 months after initial startup.
                                                 these control devices to ensure that they               in paragraph (l)(2) of this section, as               If all connectors in the process unit have
                                                                                                                                                               been monitored for leaks prior to the
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                                                 are operated and maintained in                          difficult to inspect are exempt from the
                                                 conformance with their designs.                         inspection requirements of paragraphs                 compliance date, no initial monitoring
                                                    (f) Except as provided in paragraphs                 (f)(1) and (2) of this section if they                is required provided either no process
                                                 (i) through (k) of this section, each                   comply with the requirements specified                changes have been made since the
                                                 closed vent system shall be inspected                   in paragraphs (k)(1) through (3) of this              monitoring or the owner or operator can
                                                 according to the procedures and                         section:                                              determine that the results of the
                                                 schedule specified in paragraphs (f)(1)                    (1) The owner or operator determines               monitoring, with or without
                                                 through (3) of this section.                            that the equipment cannot be inspected                adjustments, reliably demonstrate


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                                                 compliance despite process changes. If                  all connectors that have not yet been                 paragraphs (a) and (b) of this section;
                                                 required to monitor because of a process                monitored during the monitoring                       and
                                                 change, the owner or operator is                        period. At the conclusion of monitoring,                 (2) The owner or operator of the
                                                 required to monitor only those                          a new monitoring period shall be started              connector has a written plan that
                                                 connectors involved in the process                      pursuant to paragraph (b)(3) of this                  requires monitoring of the connector as
                                                 change.                                                 section, based on the percent of leaking              frequently as practicable during safe-to-
                                                    (b) Except as allowed in § 60.482–                   connectors within the total monitored                 monitor times but not more frequently
                                                 1b(c), § 60.482–10b, or as specified in                 connectors.                                           than the periodic monitoring schedule
                                                 paragraph (e) of this section, the owner                   (C) If the percent of leaking                      otherwise applicable, and repair of the
                                                 or operator shall monitor all connectors                connectors calculated from the                        equipment according to the procedures
                                                 in gas and vapor and light liquid service               monitoring results in paragraph                       in paragraph (d) of this section if a leak
                                                 as specified in paragraphs (a) and (b)(3)               (b)(3)(iii)(A) of this section is less than           is detected.
                                                 of this section.                                        0.35 percent of the monitored                            (f)(1) Any connector that is
                                                    (1) The connectors shall be monitored                connectors, the owner or operator shall               inaccessible or that is ceramic or
                                                 to detect leaks by the method specified                 monitor all connectors that have not yet              ceramic-lined (e.g., porcelain, glass, or
                                                 in § 60.485b(b) and, as applicable,                     been monitored within 8 years of the                  glass-lined), is exempt from the
                                                 § 60.485b(c).                                           start of the monitoring period.                       monitoring requirements of paragraphs
                                                    (2) If an instrument reading greater                    (iv) If, during the monitoring                     (a) and (b) of this section, from the leak
                                                 than or equal to 500 ppm is measured,                   conducted pursuant to paragraphs                      repair requirements of paragraph (d) of
                                                 a leak is detected.                                     (b)(3)(i) through (iii) of this section, a            this section, and from the recordkeeping
                                                    (3) The owner or operator shall                                                                            and reporting requirements of
                                                                                                         connector is found to be leaking, it shall
                                                 perform monitoring, subsequent to the                                                                         §§ 63.1038 and 63.1039. An inaccessible
                                                                                                         be re-monitored once within 90 days
                                                 initial monitoring required in paragraph                                                                      connector is one that meets any of the
                                                                                                         after repair to confirm that it is not
                                                 (a) of this section, as specified in                                                                          provisions specified in paragraphs
                                                                                                         leaking.
                                                 paragraphs (b)(3)(i) through (iii) of this                                                                    (f)(1)(i) through (vi) of this section, as
                                                                                                            (v) The owner or operator shall keep
                                                 section, and shall comply with the                                                                            applicable:
                                                                                                         a record of the start date and end date
                                                 requirements of paragraphs (b)(3)(iv)                                                                            (i) Buried;
                                                                                                         of each monitoring period under this
                                                 and (v) of this section. The required                                                                            (ii) Insulated in a manner that
                                                                                                         section for each process unit.
                                                 period in which monitoring must be                                                                            prevents access to the connector by a
                                                 conducted shall be determined from                         (c) For use in determining the
                                                                                                                                                               monitor probe;
                                                 paragraphs (b)(3)(i) through (iii) of this              monitoring frequency, as specified in                    (iii) Obstructed by equipment or
                                                 section using the monitoring results                    paragraphs (a) and (b)(3) of this section,            piping that prevents access to the
                                                 from the preceding monitoring period.                   the percent leaking connectors as used                connector by a monitor probe;
                                                 The percent leaking connectors shall be                 in paragraphs (a) and (b)(3) of this                     (iv) Unable to be reached from a
                                                 calculated as specified in paragraph (c)                section shall be calculated by using the              wheeled scissor-lift or hydraulic-type
                                                 of this section.                                        following equation:                                   scaffold that would allow access to
                                                    (i) If the percent leaking connectors in             Equation 1 to Paragraph (c)                           connectors up to 7.6 meters (25 feet)
                                                 the process unit was greater than or                                                                          above the ground;
                                                 equal to 0.5 percent, then monitor                      %CL = CL/Ct * 100                                        (v) Inaccessible because it would
                                                 within 12 months (1 year).                              Where:                                                require elevating the monitoring
                                                    (ii) If the percent leaking connectors               %CL = Percent of leaking connectors as                personnel more than 2 meters (7 feet)
                                                 in the process unit was greater than or                      determined through periodic monitoring           above a permanent support surface or
                                                 equal to 0.25 percent but less than 0.5                      required in paragraphs (a) and (b)(3)(i)         would require the erection of scaffold;
                                                 percent, then monitor within 4 years.                        through (iii) of this section.                   or
                                                 An owner or operator may comply with                    CL = Number of connectors measured at 500                (vi) Not able to be accessed at any
                                                                                                              ppm or greater, by the method specified          time in a safe manner to perform
                                                 the requirements of this paragraph by
                                                                                                              in § 60.485b(b).
                                                 monitoring at least 40 percent of the                   Ct = Total number of monitored connectors
                                                                                                                                                               monitoring. Unsafe access includes, but
                                                 connectors within 2 years of the start of                    in the process unit or affected facility.        is not limited to, the use of a wheeled
                                                 the monitoring period, provided all                                                                           scissor-lift on unstable or uneven
                                                 connectors have been monitored by the                      (d) When a leak is detected pursuant               terrain, the use of a motorized man-lift
                                                 end of the 4-year monitoring period.                    to paragraphs (a) and (b) of this section,            basket in areas where an ignition
                                                    (iii) If the percent leaking connectors              it shall be repaired as soon as                       potential exists, or access would require
                                                 in the process unit was less than 0.25                  practicable, but not later than 15                    near proximity to hazards such as
                                                 percent, then monitor as provided in                    calendar days after it is detected, except            electrical lines, or would risk damage to
                                                 paragraph (b)(3)(iii)(A) of this section                as provided in § 60.482–9b. A first                   equipment.
                                                 and either paragraph (b)(3)(iii)(B) or (C)              attempt at repair as defined in this                     (2) If any inaccessible, ceramic, or
                                                 of this section, as appropriate.                        subpart shall be made no later than 5                 ceramic-lined connector is observed by
                                                    (A) An owner or operator shall                       calendar days after the leak is detected.             visual, audible, olfactory, or other
                                                 monitor at least 50 percent of the                         (e) Any connector that is designated,              means to be leaking, the visual, audible,
                                                 connectors within 4 years of the start of               as described in § 60.486b(f)(1), as an                olfactory, or other indications of a leak
                                                 the monitoring period.                                  unsafe-to-monitor connector is exempt                 to the atmosphere shall be eliminated as
                                                    (B) If the percent of leaking                        from the requirements of paragraphs (a)
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                                                                                                                                                               soon as practical.
                                                 connectors calculated from the                          and (b) of this section if:                              (g) Except for instrumentation systems
                                                 monitoring results in paragraph                            (1) The owner or operator of the                   and inaccessible, ceramic, or ceramic-
                                                 (b)(3)(iii)(A) of this section is greater               connector demonstrates that the                       lined connectors meeting the provisions
                                                 than or equal to 0.35 percent of the                    connector is unsafe-to-monitor because                of paragraph (f) of this section, identify
                                                 monitored connectors, the owner or                      monitoring personnel would be exposed                 the connectors subject to the
                                                 operator shall monitor as soon as                       to an immediate danger as a                           requirements of this subpart. Connectors
                                                 practical, but within the next 6 months,                consequence of complying with                         need not be individually identified if all


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                                                 connectors in a designated area or                         (2) After 2 consecutive quarterly leak               (c) Determination of equivalence to
                                                 length of pipe subject to the provisions                detection periods with the percent of                 the required work practices in this
                                                 of this subpart are identified as a group,              valves leaking equal to or less than 2.0,             subpart will be evaluated by the
                                                 and the number of connectors subject is                 an owner or operator may begin to skip                following guidelines:
                                                 indicated.                                              1 of the quarterly leak detection periods               (1) Each owner or operator applying
                                                                                                         for the valves in gas/vapor and light                 for a determination of equivalence shall
                                                 § 60.483–1b Alternative standards for                   liquid service.                                       be responsible for collecting and
                                                 valves—allowable percentage of valves
                                                                                                            (3) After 5 consecutive quarterly leak             verifying test data to demonstrate
                                                 leaking.
                                                                                                         detection periods with the percent of                 equivalence of an equivalent means of
                                                    (a) An owner or operator may elect to                                                                      emission limitation.
                                                                                                         valves leaking equal to or less than 2.0,
                                                 comply with an allowable percentage of                                                                          (2) For each affected facility for which
                                                                                                         an owner or operator may begin to skip
                                                 valves leaking of equal to or less than                                                                       a determination of equivalence is
                                                                                                         3 of the quarterly leak detection periods
                                                 2.0 percent.                                                                                                  requested, the emission reduction
                                                    (b) The following requirements shall                 for the valves in gas/vapor and light
                                                                                                         liquid service.                                       achieved by the required work practice
                                                 be met if an owner or operator wishes                                                                         shall be demonstrated.
                                                 to comply with an allowable percentage                     (4) If the percent of valves leaking is
                                                                                                         greater than 2.0, the owner or operator                 (3) For each affected facility, for
                                                 of valves leaking:                                                                                            which a determination of equivalence is
                                                    (1) An owner or operator must notify                 shall comply with the requirements as
                                                                                                         described in § 60.482–7b but can again                requested, the emission reduction
                                                 the Administrator that the owner or                                                                           achieved by the equivalent means of
                                                 operator has elected to comply with the                 elect to use this section.
                                                                                                            (5) The percent of valves leaking shall            emission limitation shall be
                                                 allowable percentage of valves leaking                                                                        demonstrated.
                                                 before implementing this alternative                    be determined as described in
                                                                                                                                                                 (4) Each owner or operator applying
                                                 standard, as specified in § 60.487b(d).                 § 60.485b(h).
                                                                                                                                                               for a determination of equivalence shall
                                                    (2) A performance test as specified in                  (6) An owner or operator must keep
                                                                                                                                                               commit in writing to work practice(s)
                                                 paragraph (c) of this section shall be                  a record of the percent of valves found
                                                                                                                                                               that provide for emission reductions
                                                 conducted initially upon designation,                   leaking during each leak detection
                                                                                                                                                               equal to or greater than the emission
                                                 annually, and at other times requested                  period.
                                                                                                                                                               reductions achieved by the required
                                                 by the Administrator.                                      (7) A valve that begins operation in               work practice.
                                                    (3) If a valve leak is detected, it shall            gas/vapor service or light liquid service               (5) The Administrator will compare
                                                 be repaired in accordance with                          after the initial startup date for a process          the demonstrated emission reduction for
                                                 § 60.482–7b(d) and (e).                                 unit following one of the alternative                 the equivalent means of emission
                                                    (c) Performance tests shall be                       standards in this section must be                     limitation to the demonstrated emission
                                                 conducted in the following manner:                      monitored in accordance with § 60.482–
                                                    (1) All valves in gas/vapor and light                                                                      reduction for the required work
                                                                                                         7b(a)(2)(i) or (ii) before the provisions of          practices and will consider the
                                                 liquid service within the affected                      this section can be applied to that valve.
                                                 facility shall be monitored within 1                                                                          commitment in paragraph (c)(4) of this
                                                 week by the methods specified in                        § 60.484b Equivalence of means of                     section.
                                                                                                         emission limitation.                                    (6) The Administrator may condition
                                                 § 60.485b(b).
                                                    (2) If an instrument reading of 500                                                                        the approval of equivalence on
                                                                                                           (a) Each owner or operator subject to
                                                 ppm or greater is measured, a leak is                                                                         requirements that may be necessary to
                                                                                                         the provisions of this subpart may apply
                                                 detected.                                                                                                     assure operation and maintenance to
                                                                                                         to the Administrator for determination
                                                    (3) The leak percentage shall be                                                                           achieve the same emission reduction as
                                                                                                         of equivalence for any means of
                                                 determined by dividing the number of                                                                          the required work practice.
                                                                                                         emission limitation that achieves a
                                                 valves for which leaks are detected by                                                                          (d) An owner or operator may offer a
                                                                                                         reduction in emissions of VOC at least
                                                 the number of valves in gas/vapor and                                                                         unique approach to demonstrate the
                                                                                                         equivalent to the reduction in emissions
                                                 light liquid service within the affected                                                                      equivalence of any equivalent means of
                                                                                                         of VOC achieved by the controls
                                                 facility.                                                                                                     emission limitation.
                                                                                                         required in this subpart.                               (e)(1) After a request for
                                                    (d) Owners and operators who elect to                  (b) Determination of equivalence to
                                                 comply with this alternative standard                                                                         determination of equivalence is
                                                                                                         the equipment, design, and operational                received, the Administrator will publish
                                                 shall not have an affected facility with                requirements of this subpart will be
                                                 a leak percentage greater than 2.0                                                                            a notice in the Federal Register and
                                                                                                         evaluated by the following guidelines:                provide the opportunity for public
                                                 percent, determined as described in                       (1) Each owner or operator applying
                                                 § 60.485b(h).                                                                                                 hearing if the Administrator judges that
                                                                                                         for an equivalence determination shall                the request may be approved.
                                                 § 60.483–2b Alternative standards for                   be responsible for collecting and                       (2) After notice and opportunity for
                                                 valves—skip period leak detection and                   verifying test data to demonstrate                    public hearing, the Administrator will
                                                 repair.                                                 equivalence of means of emission                      determine the equivalence of a means of
                                                   (a)(1) An owner or operator may elect                 limitation.                                           emission limitation and will publish the
                                                 to comply with one of the alternative                     (2) The Administrator will compare                  determination in the Federal Register.
                                                 work practices specified in paragraphs                  test data for demonstrating equivalence                 (3) Any equivalent means of emission
                                                 (b)(2) and (3) of this section.                         of the means of emission limitation to                limitations approved under this section
                                                   (2) An owner or operator must notify                  test data for the equipment, design, and              shall constitute a required work
                                                                                                         operational requirements.
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                                                 the Administrator before implementing                                                                         practice, equipment, design, or
                                                 one of the alternative work practices, as                 (3) The Administrator may condition                 operational standard within the
                                                 specified in § 60.487a(d).                              the approval of equivalence on                        meaning of section 111(h)(1) of the
                                                   (b)(1) An owner or operator shall                     requirements that may be necessary to                 CAA.
                                                 comply initially with the requirements                  assure operation and maintenance to                     (f)(1) Manufacturers of equipment
                                                 for valves in gas/vapor service and                     achieve the same emission reduction as                used to control equipment leaks of VOC
                                                 valves in light liquid service, as                      the equipment, design, and operational                may apply to the Administrator for
                                                 described in § 60.482–7b.                               requirements.                                         determination of equivalence for any


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                                                 equivalent means of emission limitation                 calibration response by the                           organic compounds in determining the
                                                 that achieves a reduction in emissions                  corresponding calibration gas value for               VOC content of the process fluid.
                                                 of VOC achieved by the equipment,                       each scale and multiply by 100 to                        (3) Engineering judgment may be used
                                                 design, and operational requirements of                 express the calibration drift as a                    to estimate the VOC content, if a piece
                                                 this subpart.                                           percentage.                                           of equipment had not been shown
                                                    (2) The Administrator will make an                     (i) If a calibration drift assessment               previously to be in service. If the
                                                 equivalence determination according to                  shows a negative drift of more than 10                Administrator disagrees with the
                                                 the provisions of paragraphs (b) through                percent, then all equipment with                      judgment, paragraphs (d)(1) and (2) of
                                                 (e) of this section.                                    instrument readings between the                       this section shall be used to resolve the
                                                                                                         appropriate leak definition and the leak              disagreement.
                                                 § 60.485b    Test methods and procedures.               definition multiplied by (100 minus the                  (e) The owner or operator shall
                                                   (a) In conducting the performance                     percent of negative drift/divided by 100)             demonstrate that a piece of equipment
                                                 tests required in § 60.8, the owner or                  that was monitored since the last                     is in light liquid service by showing that
                                                 operator shall use as reference methods                 calibration must be re-monitored.                     all the following conditions apply:
                                                 and procedures the test methods in                        (ii) If any calibration drift assessment
                                                 appendix A to this part or other                                                                                 (1) The vapor pressure of one or more
                                                                                                         shows a positive drift of more than 10
                                                 methods and procedures as specified in                                                                        of the organic components is greater
                                                                                                         percent from the initial calibration
                                                 this section, except as provided in                                                                           than 0.3 kPa at 20 °C (1.2 in. H2O at
                                                                                                         value, then, at the owner/operator’s
                                                 § 60.8(b).                                                                                                    68 °F). Standard reference texts or
                                                                                                         discretion, all equipment with
                                                   (b) The owner or operator shall                                                                             ASTM D2879–23 (incorporated by
                                                                                                         instrument readings above the
                                                 determine compliance with the                                                                                 reference, see § 60.17) shall be used to
                                                                                                         appropriate leak definition and below
                                                 standards in §§ 60.482–1b through                                                                             determine the vapor pressures.
                                                                                                         the leak definition multiplied by (100
                                                 60.482–11b, 60.483a, and 60.484b as                     plus the percent of positive drift/                      (2) The total concentration of the pure
                                                 follows:                                                divided by 100) monitored since the last              organic components having a vapor
                                                   (1) Method 21 of appendix A–7 to this                 calibration may be re-monitored.                      pressure greater than 0.3 kPa at 20 °C
                                                 part shall be used to determine the                       (c) The owner or operator shall                     (1.2 in. H2O at 68 °F) is equal to or
                                                 presence of leaking sources. The                        determine compliance with the no-                     greater than 20 percent by weight.
                                                 instrument shall be calibrated before use               detectable-emission standards in                         (3) The fluid is a liquid at operating
                                                 each day of its use by the procedures                   §§ 60.482–2b(e), 60.482–3b(i), 60.482–                conditions.
                                                 specified in Method 21. The following                   4b, 60.482–7b(f), and 60.482–10b(e) as                   (f) Samples used in conjunction with
                                                 calibration gases shall be used:                        follows:                                              paragraphs (d), (e), and (g) of this
                                                   (i) Zero air (less than 10 ppm of                       (1) The requirements of paragraph (b)               section shall be representative of the
                                                 hydrocarbon in air); and                                shall apply.                                          process fluid that is contained in or
                                                   (ii) A mixture of methane or n-hexane                   (2) Method 21 of appendix A–7 to this               contacts the equipment or the gas being
                                                 and air at a concentration no more than                 part shall be used to determine the                   combusted in the flare.
                                                 2,000 ppm greater than the leak                         background level. All potential leak                     (g) The owner or operator shall
                                                 definition concentration of the                         interfaces shall be traversed as close to             determine compliance with the
                                                 equipment monitored. If the monitoring                  the interface as possible. The arithmetic             standards of flares as follows:
                                                 instrument’s design allows for multiple                 difference between the maximum                           (1) Method 22 of appendix A–7 to this
                                                 calibration scales, then the lower scale                concentration indicated by the                        part shall be used to determine visible
                                                 shall be calibrated with a calibration gas              instrument and the background level is                emissions.
                                                 that is no higher than 2,000 ppm above                  compared with 500 ppm for                                (2) A thermocouple or any other
                                                 the concentration specified as a leak,                  determining compliance.                               equivalent device shall be used to
                                                 and the highest scale shall be calibrated                 (d) The owner or operator shall test                monitor the presence of a pilot flame in
                                                 with a calibration gas that is                          each piece of equipment unless they                   the flare.
                                                 approximately equal to 10,000 ppm. If                   demonstrate that a process unit is not in
                                                 only one scale on an instrument will be                                                                          (3) The maximum permitted velocity
                                                                                                         VOC service, i.e., that the VOC content
                                                 used during monitoring, the owner or                                                                          for air assisted flares shall be computed
                                                                                                         would never be reasonably expected to
                                                 operator need not calibrate the scales                                                                        using the following equation:
                                                                                                         exceed 10 percent by weight. For
                                                 that will not be used during that day’s                 purposes of this demonstration, the                   Equation 1 to Paragraph (g)(3)
                                                 monitoring.                                             following methods and procedures shall
                                                   (2) A calibration drift assessment shall                                                                    Vmax = K1 + K2HT
                                                                                                         be used:
                                                 be performed, at a minimum, at the end                                                                        Where:
                                                                                                           (1) Procedures that conform to the
                                                 of each monitoring day. Check the                       general methods in ASTM E168–16                       Vmax = Maximum permitted velocity, m/sec
                                                 instrument using the same calibration                                                                             (ft/sec).
                                                                                                         (Reapproved 2023), E169–16                            HT = Net heating value of the gas being
                                                 gas(es) that were used to calibrate the                 (Reapproved 2022), or E260–96                             combusted, MJ/scm (Btu/scf).
                                                 instrument before use. Follow the                       (Reapproved 2019) (incorporated by                    K1 = 8.706 m/sec (metric units) = 28.56 ft/sec
                                                 procedures specified in Method 21 of                    reference, see § 60.17) shall be used to                  (English units).
                                                 appendix A–7 to this part, section 10.1,                determine the percent VOC content in                  K2 = 0.7084 m4/(MJ-sec) (metric units) =
                                                 except do not adjust the meter readout                  the process fluid that is contained in or                 0.087 ft4/(Btu-sec) (English units).
                                                 to correspond to the calibration gas                    contacts a piece of equipment.                          (4) The net heating value (HT) of the
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                                                 value. Record the instrument reading for                  (2) Organic compounds that are
                                                                                                                                                               gas being combusted in a flare shall be
                                                 each scale used as specified in                         considered by the Administrator to have
                                                                                                                                                               computed using the following equation:
                                                 § 60.486b(e)(8). Divide the arithmetic                  negligible photochemical reactivity may
                                                 difference of the initial and post-test                 be excluded from the total quantity of                Equation 2 to Paragraph (g)(4)




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                                                 Where:                                                  placed in service shall be included in                kept for 2 years in a readily accessible
                                                 K = Conversion constant, 1.740 × 10¥7 (g-               the number of valves leaking and the                  location:
                                                      mole)(MJ)/(ppm-scm-kcal) (metric units)            total number of valves monitored for the                 (1) The instrument and operator
                                                      = 4.674 × 10¥6 [(g-mole)(Btu)/(ppm-scf-            monitoring period in which the valve is               identification numbers and the
                                                      kcal)] (English units).                            placed in service.                                    equipment identification number,
                                                 Ci = Concentration of sample component ‘‘i,’’             (5) If the process unit has been                    except when indications of liquids
                                                      ppm
                                                                                                         subdivided in accordance with                         dripping from a pump are designated as
                                                 Hi = net heat of combustion of sample
                                                      component ‘‘i’’ at 25 °C and 760 mm Hg             § 60.482–7b(c)(1)(ii), the sum of valves              a leak.
                                                      (77 °F and 14.7 psi), kcal/g-mole.                 found leaking during a monitoring                        (2) The date the leak was detected and
                                                                                                         period includes all subgroups.                        the dates of each attempt to repair the
                                                    (5) Method 18 of appendix A–6 to this                  (6) The total number of valves                      leak.
                                                 part and ASTM D1945–14 (Reapproved                      monitored does not include a valve                       (3) Repair methods applied in each
                                                 2019) (incorporated by reference, see                   monitored to verify repair.                           attempt to repair the leak.
                                                 § 60.17) shall be used to determine the                                                                          (4) Maximum instrument reading
                                                 concentration of sample component ‘‘i.’’                § 60.486b    Recordkeeping requirements.              measured by Method 21 of appendix A–
                                                 ASTM D6420–18 (incorporated by                             (a)(1) Each owner or operator subject              7 of this part at the time the leak is
                                                 reference, see § 60.17) may be used in                  to the provisions of this subpart shall               successfully repaired or determined to
                                                 lieu of Method 18, under the conditions                 comply with the recordkeeping                         be nonrepairable, except when a pump
                                                 specified in paragraphs (g)(5)(i) through               requirements of this section.                         is repaired by eliminating indications of
                                                 (iii) of this section.                                     (2) An owner or operator of more than              liquids dripping.
                                                    (i) If the target compounds are all                  one affected facility subject to the                     (5) ‘‘Repair delayed’’ and the reason
                                                 known and are all listed in Section 1.1                 provisions of this subpart may comply                 for the delay if a leak is not repaired
                                                 of ASTM D6420–18 as measurable.                         with the recordkeeping requirements for               within 15 calendar days after discovery
                                                    (ii) ASTM D6420–18 may not be used                   these facilities in one recordkeeping                 of the leak.
                                                 for methane and ethane.                                 system if the system identifies each                     (6) The signature of the owner or
                                                    (iii) ASTM D6420–18 may not be used                  record by each facility.                              operator (or designate) whose decision it
                                                 as a total VOC method.                                     (3) The owner or operator shall record             was that repair could not be effected
                                                    (6) ASTM D240–19 or D4809–18                         the information specified in paragraphs               without a process shutdown.
                                                 (incorporated by reference, see § 60.17)                (a)(3)(i) through (v) of this section for                (7) The expected date of successful
                                                 shall be used to determine the net heat                 each monitoring event required by                     repair of the leak if a leak is not repaired
                                                 of combustion of component ‘‘i’’ if                     §§ 60.482–2b, 60.482–3b, 60.482–7b,                   within 15 days.
                                                 published values are not available or                   60.482–8b, 60.482–11b, and 60.483–2b.                    (8) Dates of process unit shutdowns
                                                 cannot be calculated.                                      (i) Monitoring instrument                          that occur while the equipment is
                                                    (7) Method 2, 2A, 2C, or 2D of                       identification.                                       unrepaired.
                                                 appendix A–7 to this part, as                              (ii) Operator identification.                         (9) The date of successful repair of the
                                                 appropriate, shall be used to determine                    (iii) Equipment identification.                    leak.
                                                 the actual exit velocity of a flare. If                    (iv) Date of monitoring.                              (d) The following information
                                                 needed, the unobstructed (free) cross-                     (v) Instrument reading.                            pertaining to the design requirements
                                                 sectional area of the flare tip shall be                   (b) When each leak is detected as                  for closed vent systems and control
                                                 used.                                                   specified in §§ 60.482–2b, 60.482–3b,                 devices described in § 60.482–10b shall
                                                    (h) The owner or operator shall                      60.482–7b, 60.482–8b, 60.482–11b, and                 be recorded and kept in a readily
                                                 determine compliance with § 60.483–1b                   60.483–2b, the following requirements                 accessible location:
                                                 or § 60.483–2b as follows:                              apply:                                                   (1) Detailed schematics, design
                                                    (1) The percent of valves leaking shall                 (1) A weatherproof and readily visible             specifications, and piping and
                                                 be determined using the following                       identification, marked with the                       instrumentation diagrams.
                                                 equation:                                               equipment identification number, shall                   (2) The dates and descriptions of any
                                                                                                         be attached to the leaking equipment.                 changes in the design specifications.
                                                 Equation 3 to Paragraph (h)(1)                             (2) The identification on a valve may                 (3) A description of the parameter or
                                                 %VL = (VL/VT) * 100                                     be removed after it has been monitored                parameters monitored, as required in
                                                                                                         for 2 successive months as specified in               § 60.482–10b(e), to ensure that control
                                                 Where:                                                  § 60.482–7b(c) and no leak has been                   devices are operated and maintained in
                                                 %VL = Percent leaking valves.                           detected during those 2 months.                       conformance with their design and an
                                                 VL = Number of valves found leaking.                       (3) The identification on a connector              explanation of why that parameter (or
                                                 VT = The sum of the total number of valves
                                                                                                         may be removed after it has been                      parameters) was selected for the
                                                     monitored.
                                                                                                         monitored as specified in § 60.482–                   monitoring.
                                                   (2) The total number of valves                        11b(b)(3)(iv) and no leak has been                       (4) Periods when the closed vent
                                                 monitored shall include difficult-to-                   detected during that monitoring.                      systems and control devices required in
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                                                 monitor and unsafe-to-monitor valves                       (4) The identification on equipment,               §§ 60.482–2b, 60.482–3b, 60.482–4b,
                                                 only during the monitoring period in                    except on a valve or connector, may be                and 60.482–5b are not operated as
                                                 which those valves are monitored.                       removed after it has been repaired.                   designed, including periods when a
                                                   (3) The number of valves leaking shall                   (c) When each leak is detected as                  flare pilot light does not have a flame.
                                                 include valves for which repair has been                specified in §§ 60.482–2b, 60.482–3b,                    (5) Dates of startups and shutdowns of
                                                 delayed.                                                60.482–7b, 60.482–8b, 60.482–11b, and                 the closed vent systems and control
                                                   (4) Any new valve that is not                         60.483–2b, the following information                  devices required in §§ 60.482–2b,
                                                                                                                                                                                                              ER16MY24.025</GPH>




                                                 monitored within 30 days of being                       shall be recorded in a log and shall be               60.482–3b, 60.482–4b, and 60.482–5b.


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                                                    (e) The following information                        (i.e., instrument reading for calibration               (k) The provisions of § 60.7(b) and (d)
                                                 pertaining to all equipment subject to                  at end of monitoring day and the                      do not apply to affected facilities subject
                                                 the requirements in §§ 60.482–1b to                     calculated percent difference from the                to this subpart.
                                                 60.482–11b shall be recorded in a log                   initial calibration value).                             (l) Any records required to be
                                                 that is kept in a readily accessible                       (vi) If an owner or operator makes                 maintained by this subpart that are
                                                 location:                                               their own calibration gas, a description              submitted electronically via the EPA’s
                                                    (1) A list of identification numbers for             of the procedure used.                                Compliance and Emissions Data
                                                 equipment subject to the requirements                      (9) The connector monitoring                       Reporting Interface (CEDRI) may be
                                                 of this subpart.                                        schedule for each process unit as                     maintained in electronic format. This
                                                    (2)(i) A list of identification numbers              specified in § 60.482–11b(b)(3)(v).                   ability to maintain electronic copies
                                                 for equipment that are designated for no                   (10) Records of each release from a                does not affect the requirement for
                                                 detectable emissions under the                          pressure relief device subject to                     facilities to make records, data, and
                                                 provisions of §§ 60.482–2b(e), 60.482–                  § 60.482–4b.                                          reports available upon request to a
                                                 3b(i), and 60.482–7b(f).                                   (f) The following information                      delegated air agency or the EPA as part
                                                    (ii) The designation of equipment as                 pertaining to all valves subject to the               of an on-site compliance evaluation.
                                                 subject to the requirements of § 60.482–                requirements of § 60.482–7b(g) and (h),
                                                 2b(e), § 60.482–3b(i), or § 60.482–7b(f)                all pumps subject to the requirements of              § 60.487b   Reporting requirements.
                                                 shall be signed by the owner or                         § 60.482–2b(g), and all connectors                      (a) Each owner or operator subject to
                                                 operator. Alternatively, the owner or                   subject to the requirements of § 60.482–              the provisions of this subpart shall
                                                 operator may establish a mechanism                      11b(e) shall be recorded in a log that is             submit semiannual reports to the
                                                 with their permitting authority that                    kept in a readily accessible location:                Administrator beginning 6 months after
                                                 satisfies this requirement.                                (1) A list of identification numbers for           the initial startup date. Beginning on
                                                    (3) A list of equipment identification               valves, pumps, and connectors that are                July 15, 2024, or once the report
                                                 numbers for pressure relief devices                     designated as unsafe-to-monitor, an                   template for this subpart has been
                                                 required to comply with § 60.482–4b.                    explanation for each valve, pump, or                  available on the CEDRI website (https://
                                                    (4)(i) The dates of each compliance                  connector stating why the valve, pump,                www.epa.gov/electronic-reporting-air-
                                                 test as required in §§ 60.482–2b(e),                    or connector is unsafe-to-monitor, and                emissions/cedri) for 1 year, whichever
                                                 60.482–3b(i), 60.482–4b, and 60.482–                    the plan for monitoring each valve,                   date is later, submit all subsequent
                                                 7b(f).                                                  pump, or connector.                                   reports using the appropriate electronic
                                                    (ii) The background level measured                      (2) A list of identification numbers for           report template on the CEDRI website
                                                 during each compliance test.                            valves that are designated as difficult-to-           for this subpart and following the
                                                    (iii) The maximum instrument                                                                               procedure specified in paragraph (g) of
                                                                                                         monitor, an explanation for each valve
                                                 reading measured at the equipment                                                                             this section. The date report templates
                                                                                                         stating why the valve is difficult-to-
                                                 during each compliance test.                                                                                  become available will be listed on the
                                                    (5) A list of identification numbers for             monitor, and the schedule for
                                                                                                         monitoring each valve.                                CEDRI website. Unless the
                                                 equipment in vacuum service.
                                                    (6) A list of identification numbers for                (g) The following information shall be             Administrator or delegated state agency
                                                 equipment that the owner or operator                    recorded for valves complying with                    or other authority has approved a
                                                 designates as operating in VOC service                  § 60.483–2b:                                          different schedule for submission of
                                                 less than 300 hr/yr in accordance with                     (1) A schedule of monitoring.                      reports, the report must be submitted by
                                                 § 60.482–1b(e), a description of the                       (2) The percent of valves found                    the deadline specified in this subpart,
                                                 conditions under which the equipment                    leaking during each monitoring period.                regardless of the method in which the
                                                                                                            (h) The following information shall be             report is submitted. All semiannual
                                                 is in VOC service, and rationale
                                                 supporting the designation that it is in                recorded in a log that is kept in a readily           reports must include the following
                                                 VOC service less than 300 hr/yr.                        accessible location:                                  general information: company name,
                                                    (7) The date and results of the weekly                  (1) Design criterion required in                   address (including county), and
                                                 visual inspection for indications of                    §§ 60.482–2b(d)(5) and 60.482–3b(e)(2)                beginning and ending dates of the
                                                 liquids dripping from pumps in light                    and explanation of the design criterion;              reporting period.
                                                 liquid service.                                         and                                                     (b) The initial semiannual report to
                                                    (8) Records of the information                          (2) Any changes to this criterion and              the Administrator shall include the
                                                 specified in paragraphs (e)(8)(i) through               the reasons for the changes.                          following information:
                                                 (vi) of this section for monitoring                        (i) The following information shall be               (1) Process unit identification.
                                                 instrument calibrations conducted                       recorded in a log that is kept in a readily             (2) Number of valves subject to the
                                                 according to sections 8.1.2 and 10 of                   accessible location for use in                        requirements of § 60.482–7b, excluding
                                                 Method 21 of appendix A–7 of this part                  determining exemptions as provided in                 those valves designated for no
                                                 and § 60.485b(b).                                       § 60.480b(d):                                         detectable emissions under the
                                                    (i) Date of calibration and initials of                 (1) An analysis demonstrating the                  provisions of § 60.482–7b(f).
                                                 operator performing the calibration.                    design capacity of the affected facility,               (3) Number of pumps subject to the
                                                    (ii) Calibration gas cylinder                           (2) A statement listing the feed or raw            requirements of § 60.482–2b, excluding
                                                 identification, certification date, and                 materials and products from the affected              those pumps designated for no
                                                 certified concentration.                                facilities and an analysis demonstrating              detectable emissions under the
                                                    (iii) Instrument scale(s) used.                      whether these chemicals are heavy                     provisions of § 60.482–2b(e) and those
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                                                    (iv) A description of any corrective                 liquids or beverage alcohol, and                      pumps complying with § 60.482–2b(f).
                                                 action taken if the meter readout could                    (3) An analysis demonstrating that                   (4) Number of compressors subject to
                                                 not be adjusted to correspond to the                    equipment is not in VOC service.                      the requirements of § 60.482–3b,
                                                 calibration gas value in accordance with                   (j) Information and data used to                   excluding those compressors designated
                                                 section 10.1 of Method 21 of appendix                   demonstrate that a piece of equipment                 for no detectable emissions under the
                                                 A–7 of this part.                                       is not in VOC service shall be recorded               provisions of § 60.482–3b(i) and those
                                                    (v) Results of each calibration drift                in a log that is kept in a readily                    compressors complying with § 60.482–
                                                 assessment required by § 60.485b(b)(2)                  accessible location.                                  3b(h).


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                                                    (5) Number of connectors subject to                  surveillance adopted by such state. In                CBI markings. ERT files should be
                                                 the requirements of § 60.482–11b.                       that event, affected sources within the               flagged to the attention of the Group
                                                    (c) All semiannual reports to the                    state will be relieved of the obligation to           Leader, Measurement Policy Group; all
                                                 Administrator shall include the                         comply with the requirements of                       other files should be flagged to the
                                                 following information, summarized                       paragraphs (a) through (c) of this                    attention of the SOCMI NSPS Sector
                                                 from the information in § 60.486b:                      section, provided that they comply with               Lead. If assistance is needed with
                                                    (1) Process unit identification.                     the requirements established by the                   submitting large electronic files that
                                                    (2) For each month during the                        state. The EPA will not approve a                     exceed the file size limit for email
                                                 semiannual reporting period,                            waiver of electronic reporting to the                 attachments, and if you do not have
                                                    (i) Number of valves for which leaks                 EPA in delegating enforcement                         your own file sharing service, please
                                                 were detected as described in § 60.482–                 authority. Thus, electronic reporting to              email oaqpscbi@epa.gov to request a file
                                                 7b(b) or § 60.483–2b,                                   the EPA cannot be waived, and as such,                transfer link.
                                                    (ii) Number of valves for which leaks                the provisions of this paragraph cannot                  (2) If you cannot transmit the file
                                                 were not repaired as required in                        be used to relieve owners or operators                electronically, you may send CBI
                                                 § 60.482–7b(d)(1),                                      of affected facilities of the requirement             information through the postal service
                                                    (iii) Number of pumps for which leaks                to submit the electronic reports required             to the following address: OAQPS
                                                 were detected as described in § 60.482–                 in this section to the EPA.                           Document Control Officer (C404–02),
                                                 2b(b), (d)(4)(ii)(A) or (B), or (d)(5)(iii),               (g) If you are required to submit                  OAQPS, U.S. Environmental Protection
                                                    (iv) Number of pumps for which leaks                 notifications or reports following the                Agency, 109 T.W. Alexander Drive, P.O.
                                                 were not repaired as required in                        procedure specified in this paragraph                 Box 12055, Research Triangle Park,
                                                 § 60.482–2b(c)(1) and (d)(6),                           (g), you must submit notifications or                 North Carolina 27711. ERT files should
                                                    (v) Number of compressors for which                  reports to the EPA via CEDRI, which can               be sent to the attention of the Group
                                                 leaks were detected as described in                     be accessed through the EPA’s Central                 Leader, Measurement Policy Group, and
                                                 § 60.482–3b(f),                                         Data Exchange (CDX) (https://                         all other files should be sent to the
                                                    (vi) Number of compressors for which                 cdx.epa.gov/). The EPA will make all                  attention of the SOCMI NSPS Sector
                                                 leaks were not repaired as required in                  the information submitted through                     Lead. The mailed CBI material should
                                                 § 60.482–3b(g)(1),                                      CEDRI available to the public without                 be double wrapped and clearly marked.
                                                    (vii) Number of connectors for which                 further notice to you. Do not use CEDRI               Any CBI markings should not show
                                                 leaks were detected as described in                     to submit information you claim as CBI.               through the outer envelope.
                                                 § 60.482–11b(b)                                         Although we do not expect persons to
                                                    (viii) Number of connectors for which                                                                         (h) If you are required to
                                                                                                         assert a claim of CBI, if you wish to                 electronically submit notifications or
                                                 leaks were not repaired as required in                  assert a CBI claim for some of the
                                                 § 60.482–11b(d), and                                                                                          reports through CEDRI in the EPA’s
                                                                                                         information in the report or notification,            CDX, you may assert a claim of EPA
                                                    (ix)–(x) [Reserved]                                  you must submit a complete file in the
                                                    (xi) The facts that explain each delay                                                                     system outage for failure to timely
                                                                                                         format specified in this subpart,                     comply with that reporting requirement.
                                                 of repair and, where appropriate, why a                 including information claimed to be
                                                 process unit shutdown was technically                                                                         To assert a claim of EPA system outage,
                                                                                                         CBI, to the EPA following the
                                                 infeasible.                                                                                                   you must meet the requirements
                                                                                                         procedures in paragraphs (g)(1) and (2)
                                                    (3) Dates of process unit shutdowns                                                                        outlined in paragraphs (h)(1) through (7)
                                                                                                         of this section. Clearly mark the part or
                                                 which occurred within the semiannual                                                                          of this section.
                                                                                                         all of the information that you claim to
                                                 reporting period.                                                                                                (1) You must have been or will be
                                                                                                         be CBI. Information not marked as CBI
                                                    (4) Revisions to items reported                                                                            precluded from accessing CEDRI and
                                                                                                         may be authorized for public release
                                                 according to paragraph (b) of this                                                                            submitting a required report within the
                                                                                                         without prior notice. Information
                                                 section if changes have occurred since                  marked as CBI will not be disclosed                   time prescribed due to an outage of
                                                 the initial report or subsequent revisions              except in accordance with procedures                  either the EPA’s CEDRI or CDX systems.
                                                 to the initial report.                                  set forth in 40 CFR part 2. All CBI                      (2) The outage must have occurred
                                                    (d) An owner or operator electing to                 claims must be asserted at the time of                within the period of time beginning five
                                                 comply with the provisions of                           submission. Anything submitted using                  business days prior to the date that the
                                                 §§ 60.483–1b or 60.483–2b shall notify                  CEDRI cannot later be claimed CBI.                    submission is due.
                                                 the Administrator of the alternative                    Furthermore, under CAA section 114(c),                   (3) The outage may be planned or
                                                 standard selected 90 days before                        emissions data is not entitled to                     unplanned.
                                                 implementing either of the provisions.                  confidential treatment, and the EPA is                   (4) You must submit notification to
                                                    (e) An owner or operator shall report                required to make emissions data                       the Administrator in writing as soon as
                                                 the results of all performance tests in                 available to the public. Thus, emissions              possible following the date you first
                                                 accordance with § 60.8. The provisions                  data will not be protected as CBI and                 knew, or through due diligence should
                                                 of § 60.8(d) do not apply to affected                   will be made publicly available. You                  have known, that the event may cause
                                                 facilities subject to the provisions of this            must submit the same file submitted to                or has caused a delay in reporting.
                                                 subpart except that an owner or operator                the CBI office with the CBI omitted to                   (5) You must provide to the
                                                 must notify the Administrator of the                    the EPA via the EPA’s CDX as described                Administrator a written description
                                                 schedule for the initial performance                    earlier in this paragraph (g).                        identifying:
                                                 tests at least 30 days before the initial                  (1) The preferred method to receive                   (i) The date(s) and time(s) when CDX
                                                                                                                                                               or CEDRI was accessed and the system
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                                                 performance tests.                                      CBI is for it to be transmitted
                                                    (f) The requirements of paragraphs (a)               electronically using email attachments,               was unavailable;
                                                 through (c) of this section remain in                   File Transfer Protocol, or other online                  (ii) A rationale for attributing the
                                                 force until and unless EPA, in                          file sharing services. Electronic                     delay in reporting beyond the regulatory
                                                 delegating enforcement authority to a                   submissions must be transmitted                       deadline to EPA system outage;
                                                 state under section 111(c) of the CAA,                  directly to the OAQPS CBI Office at the                  (iii) A description of measures taken
                                                 approves reporting requirements or an                   email address oaqpscbi@epa.gov, and as                or to be taken to minimize the delay in
                                                 alternative means of compliance                         described above, should include clear                 reporting; and


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                                                    (iv) The date by which you propose to                  (5) In any circumstance, the reporting              commenced after October 21, 1983, and
                                                 report, or if you have already met the                  must occur as soon as possible after the              on or before April 25, 2023:
                                                 reporting requirement at the time of the                force majeure event occurs.                           *      *    *     *     *
                                                 notification, the date you reported.                                                                             (e) Owners and operators of flares that
                                                    (6) The decision to accept the claim                 § 60.488b    Reconstruction.
                                                                                                                                                               are subject to the flare related
                                                 of EPA system outage and allow an                          For the purposes of this subpart:                  requirements of this subpart and flare
                                                 extension to the reporting deadline is                     (a) The cost of the following                      related requirements of any other
                                                 solely within the discretion of the                     frequently replaced components of the                 regulation in this part or 40 CFR part 61
                                                 Administrator.                                          facility shall not be considered in                   or 63, may elect to comply with the
                                                    (7) In any circumstance, the report                  calculating either the ‘‘fixed capital cost           requirements in § 60.619a in lieu of all
                                                 must be submitted electronically as                     of the new components’’ or the ‘‘fixed                flare related requirements in any other
                                                 soon as possible after the outage is                    capital costs that would be required to               regulation in this part or 40 CFR part 61
                                                 resolved.                                               construct a comparable new facility’’                 or 63.
                                                    (i) If you are required to electronically            under § 60.15: Pump seals, nuts and
                                                 submit notifications or reports through                                                                       ■ 20. Amend § 60.611 by revising the
                                                                                                         bolts, rupture disks, and packings.
                                                 CEDRI in the EPA’s CDX, you may                                                                               definition of ‘‘Flame zone’’ to read as
                                                 assert a claim of force majeure for                        (b) Under § 60.15, the ‘‘fixed capital             follows:
                                                 failure to timely comply with that                      cost of new components’’ includes the
                                                                                                         fixed capital cost of all depreciable                 § 60.611   Definitions.
                                                 reporting requirement. To assert a claim
                                                 of force majeure, you must meet the                     components (except components                         *     *     *    *      *
                                                 requirements outlined in paragraphs                     specified in § 60.488b(a)) which are or                 Flame zone means the portion of the
                                                 (i)(1) through (5) of this section.                     will be replaced pursuant to all                      combustion chamber in a boiler or
                                                    (1) You may submit a claim if a force                continuous programs of component                      process heater occupied by the flame
                                                 majeure event is about to occur, occurs,                replacement which are commenced                       envelope.
                                                 or has occurred or there are lingering                  within any 2-year period following the                *     *     *    *      *
                                                 effects from such an event within the                   applicability date for the appropriate
                                                                                                         subpart. (See the ‘‘Applicability and                 ■ 21. Amend § 60.613 by revising
                                                 period of time beginning five business                                                                        paragraphs (e)(1)(i), (e)(2)(i), and (e)(3)(i)
                                                 days prior to the date the submission is                designation of affected facility’’ section
                                                                                                         of the appropriate subpart.) For                      to read as follows:
                                                 due. For the purposes of this section, a
                                                 force majeure event is defined as an                    purposes of this paragraph,                           § 60.613 Monitoring of emissions and
                                                 event that will be or has been caused by                ‘‘commenced’’ means that an owner or                  operations.
                                                 circumstances beyond the control of the                 operator has undertaken a continuous                  *      *     *     *    *
                                                 affected facility, its contractors, or any              program of component replacement or
                                                                                                                                                                  (e) * * *
                                                 entity controlled by the affected facility              that an owner or operator has entered
                                                                                                                                                                  (1) * * *
                                                 that prevents you from complying with                   into a contractual obligation to
                                                                                                         undertake and complete, within a                         (i) A scrubbing liquid temperature
                                                 the requirement to submit a report                                                                            monitoring device having an accuracy of
                                                 electronically within the time period                   reasonable time, a continuous program
                                                                                                         of component replacement.                             ±1 percent of the temperature being
                                                 prescribed. Examples of such events are                                                                       monitored expressed in degrees Celsius
                                                 acts of nature (e.g., hurricanes,                       § 60.489b List of chemicals produced by               or 0.5 °C, whichever is greater, and a
                                                 earthquakes, or floods), acts of war or                 affected facilities.                                  specific gravity monitoring device
                                                 terrorism, or equipment failure or safety                                                                     having an accuracy of 0.02 specific
                                                                                                           Process units that produce, as
                                                 hazard beyond the control of the                                                                              gravity units, each equipped with a
                                                                                                         intermediates or final products,
                                                 affected facility (e.g., large scale power                                                                    continuous recorder; or
                                                                                                         chemicals listed in § 60.489 are covered
                                                 outage).
                                                                                                         under this subpart. The applicability                 *      *     *     *    *
                                                    (2) You must submit notification to
                                                 the Administrator in writing as soon as                 date for process units producing one or                  (2) * * *
                                                 possible following the date you first                   more of these chemicals is April 25,                     (i) A condenser exit (product side)
                                                 knew, or through due diligence should                   2023.                                                 temperature monitoring device
                                                 have known, that the event may cause                    ■ 18. Revise the heading of subpart III               equipped with a continuous recorder
                                                 or has caused a delay in reporting.                     to read as follows:                                   and having an accuracy of ±1 percent of
                                                    (3) You must provide to the                                                                                the temperature being monitored
                                                 Administrator:                                          Subpart III—Standards of Performance                  expressed in degrees Celsius or 0.5 °C,
                                                    (i) A written description of the force               for Volatile Organic Compound (VOC)                   whichever is greater; or
                                                 majeure event;                                          Emissions From the Synthetic Organic                  *      *     *     *    *
                                                    (ii) A rationale for attributing the                 Chemical Manufacturing Industry                          (3) * * *
                                                 delay in reporting beyond the regulatory                (SOCMI) Air Oxidation Unit Processes                     (i) An integrating steam flow
                                                 deadline to the force majeure event;                    After October 21, 1983, and on or                     monitoring device having an accuracy of
                                                    (iii) A description of measures taken                Before April 25, 2023                                 10 percent, and a carbon bed
                                                 or to be taken to minimize the delay in                                                                       temperature monitoring device having
                                                 reporting; and                                          ■ 19. Amend § 60.610 by revising
                                                                                                                                                               an accuracy of ±1 percent of the
                                                    (iv) The date by which you propose to                paragraph (b) introductory text and                   temperature being monitored expressed
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                                                 report, or if you have already met the                  adding paragraph (e) to read as follows:              in degrees Celsius or ±0.5 °C, whichever
                                                 reporting requirement at the time of the                                                                      is greater, both equipped with a
                                                 notification, the date you reported.                    § 60.610 Applicability and designation of
                                                                                                         affected facility.                                    continuous recorder; or
                                                    (4) The decision to accept the claim
                                                 of force majeure and allow an extension                 *     *    *     *     *                              *      *     *     *    *
                                                 to the reporting deadline is solely                       (b) The affected facility is any of the             ■ 22. Amend § 60.614 by revising
                                                 within the discretion of the                            following for which construction,                     paragraphs (b)(4) introductory text and
                                                 Administrator.                                          modification, or reconstruction                       (e) to read as follows:


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                                                 § 60.614   Test methods and procedures.                 § 60.614(e)(2) and (3) shall be, except for           the final recovery device and prior to
                                                 *      *    *      *    *                               the situations outlined in paragraph                  the introduction of the nonair oxidation
                                                    (b) * * *                                            (e)(1)(ii) of this section, prior to the inlet        stream to determine the concentration of
                                                    (4) Method 18 of appendix A–6 to this                of any control device, prior to any post-             TOC in the air oxidation stream from
                                                 part to determine concentration of TOC                  reactor dilution of the stream with air,              the final recovery device. This
                                                 in the control device outlet and the                    and prior to any post-reactor                         concentration of TOC is then used to
                                                 concentration of TOC in the inlet when                  introduction of halogenated compounds                 perform the calculations outlined in
                                                 the reduction efficiency of the control                 into the vent stream. No transverse site              § 60.614(e)(4) and (5).
                                                 device is to be determined. ASTM                        selection method is needed for vents                     (2) The molar composition of the
                                                 D6420–18 (incorporated by reference,                    smaller than 10 centimeters (4 inches)                process vent stream shall be determined
                                                 see § 60.17) may be used in lieu of                     in diameter.                                          as follows:
                                                 Method 18, if the target compounds are                     (ii) If any gas stream other than the air             (i) Method 18 of appendix A–6 to this
                                                 all known and are all listed in Section                 oxidation vent stream from the affected               part, or ASTM D6420–18 (incorporated
                                                 1.1 of ASTM D6420–18 as measurable;                     facility is normally conducted through                by reference, see § 60.17) as specified in
                                                 ASTM D6420–18 may not be used for                       the final recovery device.                            paragraph (b)(4) of this section, to
                                                 methane and ethane; and ASTM D6420–                        (A) The sampling site for vent stream              measure the concentration of TOC
                                                 18 may not be used as a total VOC                       flow rate and molar composition shall                 including those containing halogens.
                                                 method.                                                 be prior to the final recovery device and                (ii) D1946–77 or 90 (Reapproved
                                                 *      *    *      *    *                               prior to the point at which the nonair                1994) (incorporation by reference, see
                                                    (e) The following test methods, except               oxidation stream is introduced.                       § 60.17) to measure the concentration of
                                                 as provided under § 60.8(b), shall be                      (B) The efficiency of the final recovery           carbon monoxide and hydrogen.
                                                 used for determining the net heating                    device is determined by measuring the                    (iii) Method 4 of appendix A to this
                                                 value of the gas combusted to determine                 TOC concentration using Method 18 of                  part to measure the content of water
                                                 compliance under § 60.612(b) and for                    appendix A–6 to this part, or ASTM                    vapor.
                                                 determining the process vent stream                     D6420–18 (incorporated by reference,                     (3) The volumetric flow rate shall be
                                                 TRE index value to determine                            see § 60.17) as specified in paragraph                determined using Method 2, 2A, 2C, or
                                                 compliance under § 60.612(c).                           (b)(4) of this section, at the inlet to the           2D of appendix A–1 to this part, as
                                                    (1)(i) Method 1 or 1A of appendix A–                 final recovery device after the                       appropriate.
                                                 1 to this part, as appropriate, for                     introduction of any nonair oxidation
                                                                                                                                                                  (4) The net heating value of the vent
                                                 selection of the sampling site. The                     vent stream and at the outlet of the final
                                                                                                                                                               stream shall be calculated using the
                                                 sampling site for the vent stream flow                  recovery device.
                                                                                                                                                               following equation:
                                                 rate and molar composition                                 (C) This efficiency is applied to the
                                                 determination prescribed in                             TOC concentration measured prior to                   Equation 6 to Paragraph (e)(4)




                                                 Where:                                                  = 1.03 × 10¥11 (1/ppm)(lb-mole/scf)(Btu/kcal)             § 60.17) as indicated in paragraph (e)(2)
                                                 HT = Net heating value of the sample, MJ/scm                 (English units) where standard                       of this section.
                                                     (Btu/scf), where the net enthalpy per                    temperature for (lb/mole/scf) is 68 °F.          Hj = Net heat of combustion of compound j,
                                                     mole of vent stream is based on                     Cj = Concentration on a wet basis of                      kcal/(g-mole) [kcal/(lb-mole)], based on
                                                     combustion at 25 °C and 760 mm Hg                        compound j in ppm, as measured for                   combustion at 25 °C and 760 mm Hg
                                                     (77 °F and 30 in. Hg), but the standard                  organics by Method 18 of appendix A–                 (77 °F and 30 in. Hg).
                                                     temperature for determining the volume                   6 to this part, or ASTM D6420–18
                                                     corresponding to one mole is 20 °C                       (incorporated by reference, see § 60.17)           (5) The emission rate of TOC in the
                                                     (68 °F).                                                 as specified in paragraph (b)(4) of this         process vent stream shall be calculated
                                                 K1 = 1.74 × 10¥7 (1/ppm)(g-mole/scm)(MJ/                     section, and measured for hydrogen and           using the following equation:
                                                     kcal) (metric units), where standard                     carbon monoxide by ASTM D1946–77,
                                                     temperature for (g-mole/scm) is 20 °C.                   90, or 94 (incorporation by reference, see       Equation 7 to Paragraph (e)(5)




                                                 Where:                                                      Method 18 of appendix A–6 to this part,             (6) The total process vent stream
                                                 ETOC = Measured emission rate of TOC, kg/                   or ASTM D6420–18 (incorporated by                 concentration (by volume) of
                                                      hr (lb/hr).                                            reference, see § 60.17) as specified in           compounds containing halogens (ppmv,
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                                                 K2 = 2.494 × 10¥6 (1/ppm)(g-mole/scm)(kg/                   paragraph (b)(4) of this section, as              by compound) shall be summed from
                                                      g)(min/hr) (metric units), where standard              indicated in paragraph (e)(2) of this             the individual concentrations of
                                                                                                                                                                                                               ER16MY24.027</GPH>




                                                      temperature for (g-mole/scm) is 20 °C.                 section.
                                                 = 1.557 × 10¥7 (1/ppm)(lb-mole/scf)(min/hr)                                                                   compounds containing halogens which
                                                                                                         Mj = Molecular weight of sample j, g/g-mole
                                                      (English units), where standard                                                                          were measured by Method 18 of
                                                                                                             (lb/lb-mole).
                                                      temperature for (lb-mole/scf) is 68 °F.            Qs = Vent stream flow rate, scm/hr (scf/hr),
                                                                                                                                                               appendix A–6 to this part, or ASTM
                                                 Cj = Concentration on a wet basis of                        at a temperature of 20 °C (68 °F).                D6420–18 (incorporated by reference,
                                                                                                                                                                                                               ER16MY24.026</GPH>




                                                      compound j in ppm, as measured by



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                                                 see § 60.17) as specified in paragraph                  available on the Compliance and                       of this section. Clearly mark the part or
                                                 (b)(4) of this section.                                 Emissions Data Reporting Interface                    all of the information claimed to be CBI.
                                                 *     *      *     *    *                               (CEDRI) website (https://www.epa.gov/                 Information not marked as CBI may be
                                                 ■ 23. Amend § 60.615 by revising
                                                                                                         electronic-reporting-air-emissions/cedri)             authorized for public release without
                                                 paragraphs (b) introductory text, (j)                   for 1 year, whichever date is later,                  prior notice. Information marked as CBI
                                                 introductory text, and (k) and adding                   owners and operators must submit all                  will not be disclosed except in
                                                 paragraphs (m), (n), and (o) to read as                 subsequent reports using the                          accordance with procedures set forth in
                                                 follows:                                                appropriate electronic report template                40 CFR part 2. All CBI claims must be
                                                                                                         on the CEDRI website for this subpart                 asserted at the time of submission.
                                                 § 60.615 Reporting and recordkeeping                    and following the procedure specified                 Anything submitted using CEDRI cannot
                                                 requirements.                                           in paragraph (m) of this section. The                 later be claimed CBI. Furthermore,
                                                 *       *    *    *     *                               date report templates become available                under CAA section 114(c), emissions
                                                    (b) Each owner or operator subject to                will be listed on the CEDRI website.                  data is not entitled to confidential
                                                 the provisions of this subpart shall keep               Unless the Administrator or delegated                 treatment, and the EPA is required to
                                                 up-to-date, readily accessible records of               state agency or other authority has                   make emissions data available to the
                                                 the following data measured during                      approved a different schedule for                     public. Thus, emissions data will not be
                                                 each performance test, and also include                 submission of reports, the report must                protected as CBI and will be made
                                                 the following data in the report of the                 be submitted by the deadline specified                publicly available. The owner or
                                                 initial performance test required under                 in this subpart, regardless of the method             operator must submit the same file
                                                 § 60.8. Where a boiler or process heater                in which the report is submitted.                     submitted to the CBI office with the CBI
                                                 with a design heat input capacity of 44                 *      *     *    *     *                             omitted to the EPA via the EPA’s CDX
                                                 MW (150 million Btu/hour) or greater is                    (k) The requirements of § 60.615(j)                as described earlier in this paragraph
                                                 used to comply with § 60.612(a), a                      remain in force until and unless EPA, in              (m).
                                                 report containing performance test data                 delegating enforcement authority to a                    (1) The preferred method to receive
                                                 need not be submitted, but a report                     State under section 111(c) of the Act,                CBI is for it to be transmitted
                                                 containing the information of                           approves reporting requirements or an                 electronically using email attachments,
                                                 § 60.615(b)(2)(i) is required. The same                 alternative means of compliance                       File Transfer Protocol, or other online
                                                 data specified in this section shall be                 surveillance adopted by such State. In                file sharing services. Electronic
                                                 submitted in the reports of all                                                                               submissions must be transmitted
                                                                                                         that event, affected sources within the
                                                 subsequently required performance tests                                                                       directly to the OAQPS CBI Office at the
                                                                                                         State will be relieved of the obligation
                                                 where either the emission control                                                                             email address oaqpscbi@epa.gov, and as
                                                                                                         to comply with § 60.615(j), provided
                                                 efficiency of a control device, outlet                                                                        described above, should include clear
                                                                                                         that they comply with the requirements
                                                 concentration of TOC, or the TRE index                                                                        CBI markings. ERT files should be
                                                                                                         established by the State. The EPA will
                                                 value of a vent stream from a recovery                                                                        flagged to the attention of the Group
                                                                                                         not approve a waiver of electronic
                                                                                                                                                               Leader, Measurement Policy Group; all
                                                 system is determined. Beginning on July                 reporting to the EPA in delegating
                                                                                                                                                               other files should be flagged to the
                                                 15, 2024, owners and operators must                     enforcement authority. Thus, electronic
                                                                                                                                                               attention of the SOCMI NSPS Sector
                                                 submit the performance test report                      reporting to the EPA cannot be waived,
                                                                                                                                                               Lead. Owners and operators who do not
                                                 following the procedures specified in                   and as such, the provisions of this                   have their own file sharing service and
                                                 paragraph (m) of this section. Data                     paragraph cannot be used to relieve                   who require assistance with submitting
                                                 collected using test methods that are                   owners or operators of affected facilities            large electronic files that exceed the file
                                                 supported by the EPA’s Electronic                       of the requirement to submit the                      size limit for email attachments should
                                                 Reporting Tool (ERT) as listed on the                   electronic reports required in this                   email oaqpscbi@epa.gov to request a file
                                                 EPA’s ERT website (https://                             section to the EPA.                                   transfer link.
                                                 www.epa.gov/electronic-reporting-air-                   *      *     *    *     *                                (2) If an owner or operator cannot
                                                 emissions/electronic-reporting-tool-ert)                   (m) If an owner or operator is required            transmit the file electronically, the
                                                 at the time of the test must be submitted               to submit notifications or reports                    owner or operator may send CBI
                                                 in a file format generated using the                    following the procedure specified in                  information through the postal service
                                                 EPA’s ERT. Alternatively, the owner or                  this paragraph (m), the owner or                      to the following address: OAQPS
                                                 operator may submit an electronic file                  operator must submit notifications or                 Document Control Officer (C404–02),
                                                 consistent with the extensible markup                   reports to the EPA via CEDRI, which can               OAQPS, U.S. Environmental Protection
                                                 language (XML) schema listed on the                     be accessed through the EPA’s Central                 Agency, 109 T.W. Alexander Drive, P.O.
                                                 EPA’s ERT website. Data collected using                 Data Exchange (CDX) (https://                         Box 12055, Research Triangle Park,
                                                 test methods that are not supported by                  cdx.epa.gov/). The EPA will make all                  North Carolina 27711. ERT files should
                                                 the EPA’s ERT as listed on the EPA’s                    the information submitted through                     be sent to the attention of the Group
                                                 ERT website at the time of the test must                CEDRI available to the public without                 Leader, Measurement Policy Group, and
                                                 be included as an attachment in the ERT                 further notice to the owner or operator.              all other files should be sent to the
                                                 or an alternate electronic file.                        Do not use CEDRI to submit information                attention of the SOCMI NSPS Sector
                                                 *       *    *    *     *                               the owner or operator claims as CBI.                  Lead. The mailed CBI material should
                                                    (j) Each owner or operator that seeks                Although the EPA does not expect                      be double wrapped and clearly marked.
                                                 to comply with the requirements of this                 persons to assert a claim of CBI, if an               Any CBI markings should not show
                                                 subpart by complying with the                           owner or operator wishes to assert a CBI
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                                                                                                                                                               through the outer envelope.
                                                 requirements of § 60.612 shall submit to                claim for some of the information in the                 (n) Owners and operators required to
                                                 the Administrator semiannual reports of                 report or notification, the owner or                  electronically submit notifications or
                                                 the following information. The initial                  operator must submit a complete file in               reports through CEDRI in the EPA’s
                                                 report shall be submitted within 6                      the format specified in this subpart,                 CDX may assert a claim of EPA system
                                                 months after the initial start-up-date. On              including information claimed to be                   outage for failure to timely comply with
                                                 and after July 15, 2025 or once the                     CBI, to the EPA following the                         the electronic submittal requirement. To
                                                 report template for this subpart has been               procedures in paragraphs (m)(1) and (2)               assert a claim of EPA system outage,


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                                                 owners and operators must meet the                      beyond the control of the affected                    60.613a What are my monitoring,
                                                 requirements outlined in paragraphs                     facility, its contractors, or any entity                  installation, operation, and maintenance
                                                 (n)(1) through (7) of this section.                     controlled by the affected facility that                  requirements?
                                                   (1) The owner or operator must have                                                                         60.614a What test methods and procedures
                                                                                                         prevents the owner or operator from                       must I use to determine compliance with
                                                 been or will be precluded from                          complying with the requirement to                         the standards?
                                                 accessing CEDRI and submitting a                        submit a report electronically within the             60.615a What records must I keep and what
                                                 required report within the time                         time period prescribed. Examples of                       reports must I submit?
                                                 prescribed due to an outage of either the               such events are acts of nature (e.g.,                 60.616a What do the terms associated with
                                                 EPA’s CEDRI or CDX systems.                             hurricanes, earthquakes, or floods), acts                 reconstruction mean for this subpart?
                                                   (2) The outage must have occurred                     of war or terrorism, or equipment failure             60.617a What are the chemicals that I must
                                                 within the period of time beginning five                                                                          produce to be affected by subpart IIIa?
                                                                                                         or safety hazard beyond the control of
                                                 business days prior to the date that the                                                                      60.618a [Reserved]
                                                                                                         the affected facility (e.g., large scale              60.619a What are my requirements if I use
                                                 submission is due.                                      power outage).                                            a flare to comply with this subpart?
                                                   (3) The outage may be planned or                        (2) The owner or operator must                      60.620a What are my requirements for
                                                 unplanned.                                              submit notification to the Administrator                  closed vent systems?
                                                   (4) The owner or operator must                        in writing as soon as possible following              Table 1 to Subpart IIIa of Part 60—Emission
                                                 submit notification to the Administrator                the date the owner or operator first                      Limits and Standards for Vent Streams
                                                 in writing as soon as possible following                                                                      Table 2 to Subpart IIIa of Part 60—
                                                                                                         knew, or through due diligence should
                                                 the date the owner or operator first                                                                              Monitoring Requirements for Complying
                                                                                                         have known, that the event may cause                      With 98 Weight-Percent Reduction of
                                                 knew, or through due diligence should                   or has caused a delay in reporting.                       Total Organic Compounds Emissions or
                                                 have known, that the event may cause                      (3) The owner or operator must                          a Limit of 20 Parts Per Million by
                                                 or has caused a delay in reporting.                     provide to the Administrator:                             Volume
                                                   (5) The owner or operator must                                                                              Table 3 to Subpart IIIa of Part 60—Operating
                                                                                                           (i) A written description of the force
                                                 provide to the Administrator a written                                                                            Parameters, Operating Parameter Limits
                                                                                                         majeure event;
                                                 description identifying:                                                                                          and Data Monitoring, Recordkeeping and
                                                   (i) The date(s) and time(s) when CDX                    (ii) A rationale for attributing the                    Compliance Frequencies
                                                 or CEDRI was accessed and the system                    delay in reporting beyond the regulatory              Table 4 to Subpart IIIa of Part 60—Calibration
                                                 was unavailable;                                        deadline to the force majeure event;                      and Quality Control Requirements for
                                                   (ii) A rationale for attributing the                    (iii) A description of measures taken                   Continuous Parameter Monitoring
                                                 delay in reporting beyond the regulatory                or to be taken to minimize the delay in                   System (CPMS)
                                                 deadline to EPA system outage;                          reporting; and
                                                                                                           (iv) The date by which the owner or                 Subpart IIIa—Standards of
                                                   (iii) A description of measures taken
                                                                                                         operator proposes to report, or if the                Performance for Volatile Organic
                                                 or to be taken to minimize the delay in
                                                                                                         owner or operator has already met the                 Compound (VOC) Emissions From the
                                                 reporting; and
                                                                                                         reporting requirement at the time of the              Synthetic Organic Chemical
                                                   (iv) The date by which the owner or
                                                                                                         notification, the date the report was                 Manufacturing Industry (SOCMI) Air
                                                 operator proposes to report, or if the
                                                                                                         submitted.                                            Oxidation Unit Processes for Which
                                                 owner or operator has already met the
                                                                                                           (4) The decision to accept the claim                Construction, Reconstruction, or
                                                 reporting requirement at the time of the
                                                                                                         of force majeure and allow an extension               Modification Commenced After April
                                                 notification, the date the report was
                                                                                                         to the reporting deadline is solely                   25, 2023
                                                 submitted.
                                                   (6) The decision to accept the claim                  within the discretion of the                          § 60.610a   Am I subject to this subpart?
                                                 of EPA system outage and allow an                       Administrator.                                           (a) You are subject to this subpart if
                                                 extension to the reporting deadline is                    (5) In any circumstance, the reporting              you operate an affected facility
                                                 solely within the discretion of the                     must occur as soon as possible after the              designated in paragraph (b) of this
                                                 Administrator.                                          force majeure event occurs.                           section that produces any of the
                                                   (7) In any circumstance, the report                   ■ 24. Amend § 60.618 by revising                      chemicals listed in § 60.617a as a
                                                 must be submitted electronically as                     paragraph (b) to read as follows:                     product, co-product, by-product, or
                                                 soon as possible after the outage is                                                                          intermediate, except as provided in
                                                 resolved.                                               § 60.618   Delegation of authority.
                                                                                                                                                               paragraph (c) of this section.
                                                   (o) Owners and operators required to                  *     *     *    *      *                                (b) The affected facility is any of the
                                                 electronically submit notifications or                    (b) Authorities which will not be                   following for which construction,
                                                 reports through CEDRI in the EPA’s                      delegated to States: § 60.613(e) and                  modification, or reconstruction
                                                 CDX, owners and operators may assert                    approval of an alternative to any                     commenced after April 25, 2023:
                                                 a claim of force majeure for failure to                 electronic reporting to the EPA required                 (1) Each air oxidation reactor not
                                                 timely comply with the electronic                       by this subpart.                                      discharging its vent stream into a
                                                 submittal requirement. To assert a claim                ■ 25. Add subpart IIIa to read as follows:            recovery system.
                                                 of force majeure, you must meet the                                                                              (2) Each combination of an air
                                                 requirements outlined in paragraphs                     Subpart IIIa—Standards of Performance for             oxidation reactor and the recovery
                                                 (o)(1) through (5) of this section.                     Volatile Organic Compound (VOC)
                                                                                                                                                               system into which its vent stream is
                                                   (1) An owner or operator may submit                   Emissions From the Synthetic Organic
                                                                                                         Chemical Manufacturing Industry (SOCMI)               discharged.
                                                 a claim if a force majeure event is about                                                                        (3) Each combination of two or more
                                                                                                         Air Oxidation Unit Processes for Which
                                                 to occur, occurs, or has occurred or
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                                                                                                         Construction, Reconstruction, or                      air oxidation reactors and the common
                                                 there are lingering effects from such an                Modification Commenced After April 25,                recovery system into which their vent
                                                 event within the period of time                         2023                                                  streams are discharged.
                                                 beginning five business days prior to the               Sec.                                                     (c) Exemptions from the provisions of
                                                 date the submission is due. For the                     60.610a Am I subject to this subpart?                 paragraph (a) of this section are as
                                                 purposes of this section, a force majeure               60.611a What definitions must I know?                 follows:
                                                 event is defined as an event that will be               60.612a What standards and associated                    (1) Each affected facility operated
                                                 or has been caused by circumstances                          requirements must I meet?                        with a vent stream flow rate less than


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                                                 0.001 pound per hour (lb/hr) of TOC is                     Fuel gas system means the offsite and                Recovery system means an individual
                                                 exempt from all provisions of this                      onsite piping and flow and pressure                   recovery device or series of such devices
                                                 subpart except for the test method and                  control system that gathers gaseous                   applied to the same process stream.
                                                 procedure and the recordkeeping and                     stream(s) generated by onsite                           Relief valve means a valve used only
                                                 reporting requirements in § 60.614a(e)                  operations, may blend them with other                 to release an unplanned, nonroutine
                                                 and § 60.615a(h), (i)(8), and (n).                      sources of gas, and transports the                    discharge. A relief valve discharge
                                                   (2) A vent stream going to a fuel gas                 gaseous stream for use as fuel gas in                 results from an operator error, a
                                                 system as defined in § 63.611a.                         combustion devices or in in-process                   malfunction such as a power failure or
                                                                                                         combustion equipment such as furnaces                 equipment failure, or other unexpected
                                                 § 60.611a   What definitions must I know?
                                                                                                         and gas turbines either singly or in                  cause that requires immediate venting of
                                                    As used in this subpart, all terms not               combination.                                          gas from process equipment in order to
                                                 defined herein have the meaning given                      Halogenated vent stream means any                  avoid safety hazards or equipment
                                                 them in the Clean Air Act and subpart                   vent stream determined to have a total                damage.
                                                 A of this part.                                         concentration (by volume) of                            Total organic compounds (TOC)
                                                    Air Oxidation Reactor means any                      compounds containing halogens of 20                   means those compounds measured
                                                 device or process vessel in which one or                ppmv (by compound) or greater.                        according to the procedures of Method
                                                 more organic reactants are combined                        Incinerator means any enclosed                     18 of appendix A–6 to this part or
                                                 with air, or a combination of air and                   combustion device that is used for                    ASTM D6420–18 (incorporated by
                                                 oxygen, to produce one or more organic                  destroying organic compounds and does                 reference, see § 60.17) as specified in
                                                 compounds. Ammoxidation and                             not extract energy in the form of steam               § 60.614a(b)(4) or the concentration of
                                                 oxychlorination reactions are included                  or process heat.                                      organic compounds measured according
                                                 in this definition.                                        Pressure-assisted multi-point flare                to the procedures in Method 21 or
                                                    Air Oxidation Reactor Recovery Train                 means a flare system consisting of                    Method 25A of appendix A–7 to this
                                                 means an individual recovery system                     multiple flare burners in staged arrays
                                                 receiving the vent stream from at least                                                                       part.
                                                                                                         whereby the vent stream pressure is                     Vent stream means any gas stream,
                                                 one air oxidation reactor, along with all               used to promote mixing and smokeless                  containing nitrogen which was
                                                 air oxidation reactors feeding vent                     operation at the flare burner tips.                   introduced as air to the air oxidation
                                                 streams into this system.                               Pressure-assisted multi-point flares are
                                                    Air Oxidation Unit Process means a                                                                         reactor, released to the atmosphere
                                                                                                         designed for smokeless operation at                   directly from any air oxidation reactor
                                                 unit process, including ammoxidation                    velocities up to Mach = 1 conditions
                                                 and oxychlorination unit process, that                                                                        recovery train or indirectly, after
                                                                                                         (i.e., sonic conditions), can be elevated             diversion through other process
                                                 uses air, or a combination of air and
                                                                                                         or at ground level, and typically use                 equipment. The vent stream excludes
                                                 oxygen, as an oxygen source in
                                                                                                         cross-lighting for flame propagation to               equipment leaks including, but not
                                                 combination with one or more organic
                                                                                                         combust any flare vent gases sent to a                limited to, pumps, compressors, and
                                                 reactants to produce one or more
                                                                                                         particular stage of flare burners.                    valves.
                                                 organic compounds.                                         Primary fuel means the fuel fired
                                                    Boilers means any enclosed                                                                                 § 60.612a What standards and associated
                                                                                                         through a burner or a number of similar
                                                 combustion device that extracts useful                                                                        requirements must I meet?
                                                                                                         burners. The primary fuel provides the
                                                 energy in the form of steam.                                                                                     (a) You must comply with the
                                                    Breakthrough means the time when                     principal heat input to the device, and
                                                                                                         the amount of fuel is sufficient to                   emission limits and standards specified
                                                 the level of TOC, measured at the outlet
                                                                                                         sustain operation without the addition                in Table 1 to this subpart and the
                                                 of the first bed, has been detected is at
                                                                                                         of other fuels.                                       requirements specified paragraphs (b)
                                                 the highest concentration allowed to be
                                                                                                            Process heater means a device that                 and (c) of this section for each vent
                                                 discharged from the adsorber system
                                                                                                         transfers heat liberated by burning fuel              stream on and after the date on which
                                                 and indicates that the adsorber bed
                                                 should be replaced.                                     to fluids contained in tubes, including               the initial performance test required by
                                                    By Compound means by individual                      all fluids except water that is heated to             §§ 60.8 and 60.614a is completed, but
                                                 stream components, not carbon                           produce steam.                                        not later than 60 days after achieving
                                                 equivalents.                                               Process unit means equipment                       the maximum production rate at which
                                                    Closed vent system means a system                    assembled and connected by pipes or                   the affected facility will be operated, or
                                                 that is not open to the atmosphere and                  ducts to produce, as intermediates or                 180 days after the initial start-up,
                                                 is composed of piping, ductwork,                        final products, one or more of the                    whichever date comes first. The
                                                 connections, and, if necessary, flow                    chemicals in § 60.617a. A process unit                standards in this section apply at all
                                                 inducing devices that transport gas or                  can operate independently if supplied                 times, including periods of startup,
                                                 vapor from an emission point to a                       with sufficient fuel or raw materials and             shutdown and malfunction. As
                                                 control device.                                         sufficient product storage facilities.                provided in § 60.11(f), this provision
                                                    Continuous recorder means a data                        Product means any compound or                      supersedes the exemptions for periods
                                                 recording device recording an                           chemical listed in § 60.617a that is                  of startup, shutdown and malfunction in
                                                 instantaneous data value at least once                  produced for sale as a final product as               the general provisions in subpart A of
                                                 every 15 minutes.                                       that chemical or is produced for use in               this part.
                                                    Flame zone means the portion of the                  a process that needs that chemical for                   (b) The following release events from
                                                 combustion chamber in a boiler or                       the production of other chemicals in                  an affected facility are a violation of the
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                                                 process heater occupied by the flame                    another facility. By-products, co-                    emission limits and standards specified
                                                 envelope.                                               products, and intermediates are                       in table 1 to this subpart.
                                                    Flow indicator means a device which                  considered to be products.                               (1) Any relief valve discharge to the
                                                 indicates whether gas flow is present in                   Recovery device means an individual                atmosphere of a vent stream.
                                                 a vent stream.                                          unit of equipment, such as an absorber,                  (2) The use of a bypass line at any
                                                    Fuel gas means gases that are                        condenser, and carbon adsorber, capable               time on a closed vent system to divert
                                                 combusted to derive useful work or                      of and used to recover chemicals for                  emissions to the atmosphere, or to a
                                                 heat.                                                   use, reuse, or sale.                                  control device or recovery device not


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                                                 meeting the requirements specified in                   must determine the LEL or, if                         minimum frequencies specified in Table
                                                 § 60.613a.                                              applicable, equipment pressure using                  3 to this subpart or established
                                                    (c) You may designate a vent stream                  process instrumentation or portable                   according to paragraph (c) of this
                                                 as a maintenance vent if the vent is only               measurement devices and follow                        section.
                                                 used as a result of startup, shutdown,                  procedures for calibration and                           (4) Comply with the calibration and
                                                 maintenance, or inspection of                           maintenance according to                              quality control requirements as
                                                 equipment where equipment is emptied,                   manufacturer’s specifications.                        specified in Table 4 to this subpart or
                                                 depressurized, degassed, or placed into                    (3) For maintenance vents complying                established according to paragraph (c) of
                                                 service. You must comply with the                       with the alternative in paragraph                     this section that are applicable to the
                                                 applicable requirements in paragraphs                   (c)(1)(iii) of this section, you must                 CPMS used.
                                                 (c)(1) through (3) of this section for each             determine mass of VOC in the                             (5) Any vent stream introduced with
                                                 maintenance vent. Any vent stream                       equipment served by the maintenance                   primary fuel into a boiler or process
                                                 designated as a maintenance vent is                     vent based on the equipment size and                  heater is exempt from the requirements
                                                 only subject to the maintenance vent                    contents after considering any contents               specified in paragraphs (a)(1) through
                                                 provisions in this paragraph (c) and the                drained or purged from the equipment.                 (4) of this section.
                                                 associated recordkeeping and reporting                  Equipment size may be determined from                    (6) If you vent emissions through a
                                                 requirements in § 60.615a(g),                           equipment design specifications.                      closed vent system to an adsorber(s) that
                                                 respectively.                                           Equipment contents may be determined                  cannot be regenerated or a regenerative
                                                    (1) Prior to venting to the atmosphere,              using process knowledge.                              adsorber(s) that is regenerated offsite,
                                                 remove process liquids from the                                                                               then you must install a system of two or
                                                 equipment as much as practical and                      § 60.613a What are my monitoring,                     more adsorber units in series and
                                                 depressurize the equipment to either: A                 installation, operation, and maintenance              comply with the requirements specified
                                                 flare meeting the requirements of                       requirements?                                         in paragraphs (a)(6)(i) through (iii) of
                                                 § 60.619a, as applicable, or using any                     (a) Except as specified in paragraphs              this section in addition to the
                                                 combination of a non-flare control                      (a)(5) through (7) of this section, if you            requirements specified in paragraphs
                                                 device or recovery device meeting the                   use a non-flare control device or                     (a)(1) through (4) of this section.
                                                 requirements in Table 1 to this subpart                 recovery system to comply with the                       (i) Conduct an initial performance test
                                                 until one of the following conditions, as               TOC emission limit specified in Table 1               or design evaluation of the adsorber and
                                                 applicable, is met.                                     to this subpart, then you must comply                 establish the breakthrough limit and
                                                    (i) The vapor in the equipment served                with paragraphs (a)(1) through (4), (b),              adsorber bed life.
                                                 by the maintenance vent has a lower                     and (c) of this section.                                 (ii) Monitor the TOC concentration
                                                 explosive limit (LEL) of less than 10                      (1) Install a continuous parameter                 through a sample port at the outlet of
                                                 percent.                                                monitoring system(s) (CPMS) and                       the first adsorber bed in series according
                                                    (ii) If there is no ability to measure the           monitor the operating parameter(s)                    to the schedule in paragraph
                                                 LEL of the vapor in the equipment based                 applicable to the control device or                   (a)(6)(iii)(B) of this section. You must
                                                 on the design of the equipment, the                     recovery system as specified in Table 2               measure the concentration of TOC using
                                                 pressure in the equipment served by the                 to this subpart or established according              either a portable analyzer, in accordance
                                                 maintenance vent is reduced to 5                        to paragraph (c) of this section.                     with Method 21 of appendix A–7 of this
                                                 pounds per square inch gauge (psig) or                     (2) Establish the applicable minimum,              part using methane, propane, or
                                                 less. Upon opening the maintenance                      maximum, or range for the operating                   isobutylene as the calibration gas or
                                                 vent, active purging of the equipment                   parameter limit as specified in Table 3               Method 25A of appendix A–7 of this
                                                 cannot be used until the LEL of the                     to this subpart or established according              part using methane or propane as the
                                                 vapors in the maintenance vent (or                      to paragraph (c) of this section by                   calibration gas.
                                                 inside the equipment if the maintenance                 calculating the value(s) as the arithmetic               (iii) Comply with paragraph
                                                 is a hatch or similar type of opening) is               average of operating parameter                        (a)(6)(iii)(A) of this section, and comply
                                                 less than 10 percent.                                   measurements recorded during the three                with the monitoring frequency
                                                    (iii) The equipment served by the                    test runs conducted for the most recent               according to paragraph (a)(6)(iii)(B) of
                                                 maintenance vent contains less than 50                  performance test. You may operate                     this section.
                                                 pounds of total VOC.                                    outside of the established operating                     (A) The first adsorber in series must
                                                    (iv) If, after applying best practices to            parameter limit(s) during subsequent                  be replaced immediately when
                                                 isolate and purge equipment served by                   performance tests in order to establish               breakthrough, as defined in § 60.611a, is
                                                 a maintenance vent, none of the                         new operating limits. You must include                detected between the first and second
                                                 applicable criterion in paragraphs                      the updated operating limits with the                 adsorber. The original second adsorber
                                                 (c)(1)(i) through (iii) of this section can             performance test results submitted to                 (or a fresh canister) will become the new
                                                 be met prior to installing or removing a                the Administrator pursuant to                         first adsorber and a fresh adsorber will
                                                 blind flange or similar equipment blind,                § 60.615a(b). Upon establishment of a                 become the second adsorber. For
                                                 then the pressure in the equipment                      new operating limit, you must thereafter              purposes of this paragraph (a)(6)(iii)(A),
                                                 served by the maintenance vent must be                  operate under the new operating limit.                ‘‘immediately’’ means within 8 hours of
                                                 reduced to 2 psig or less before                        If the Administrator determines that you              the detection of a breakthrough for
                                                 installing or removing the equipment                    did not conduct the performance test in               adsorbers of 55 gallons or less, and
                                                 blind. During installation or removal of                accordance with the applicable                        within 24 hours of the detection of a
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                                                 the equipment blind, active purging of                  requirements or that the operating limit              breakthrough for adsorbers greater than
                                                 the equipment may be used provided                      established during the performance test               55 gallons. You must monitor at the
                                                 the equipment pressure at the location                  does not correspond to the conditions                 outlet of the first adsorber within 3 days
                                                 where purge gas is introduced remains                   specified in § 60.614a(a), then you must              of replacement to confirm it is
                                                 at 2 psig or less.                                      conduct a new performance test and                    performing properly.
                                                    (2) Except for maintenance vents                     establish a new operating limit.                         (B) Based on the adsorber bed life
                                                 complying with the alternative in                          (3) Monitor, record, and demonstrate               established according to paragraph
                                                 paragraph (c)(1)(iii) of this section, you              continuous compliance using the                       (a)(6)(i) of this section and the date the


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                                                 adsorbent was last replaced, conduct                    indicative of control of TOC emissions.               table 1 to this subpart for non-flare
                                                 monitoring to detect breakthrough at                    The Administrator may request further                 control devices and/or recovery
                                                 least monthly if the adsorbent has more                 information and will specify                          systems.
                                                 than 2 months of life remaining, at least               appropriate monitoring procedures or                     (1) Method 1 or 1A of appendix A–1
                                                 weekly if the adsorbent has between 2                   requirements, including operating                     to this part, as appropriate, for selection
                                                 months and 2 weeks of life remaining,                   parameters to be monitored, averaging                 of the sampling sites. The inlet sampling
                                                 and at least daily if the adsorbent has 2               times for determining compliance with                 site for determination of vent stream
                                                 weeks or less of life remaining.                        the operating parameter limits, and                   molar composition or TOC (less
                                                    (7) If you install a continuous                      ongoing calibration and quality control               methane and ethane) reduction
                                                 emissions monitoring system (CEMS) to                   requirements.                                         efficiency shall be prior to the inlet of
                                                 demonstrate compliance with the TOC
                                                                                                         § 60.614a What test methods and                       the control device or, if equipped with
                                                 standard in Table 1 of this subpart, you
                                                                                                         procedures must I use to determine                    a recovery system, then prior to the inlet
                                                 must comply with the requirements
                                                                                                         compliance with the standards?                        of the first recovery device in the
                                                 specified in § 60.614a(f) in lieu of the
                                                                                                            (a) For the purpose of demonstrating               recovery system.
                                                 requirements specified in paragraphs
                                                 (a)(1) through (4) and (c) of this section.             compliance with the emission limits                      (2) Method 2, 2A, 2C, or 2D of
                                                    (b) If you vent emissions through a                  and standards specified in table 1 to this            appendix A–1 to this part, as
                                                 closed vent system to a boiler or process               subpart, all affected facilities must be              appropriate, for determination of the
                                                 heater, then the vent stream must be                    run at full operating conditions and                  volumetric flow rates.
                                                 introduced into the flame zone of the                   flow rates during any performance test.                  (3) Method 3A of appendix A–2 to
                                                 boiler or process heater.                               Performance tests are not required if you             this part or the manual method in ANSI/
                                                    (c) If you seek to demonstrate                       determine compliance using a CEMS                     ASME PTC 19.10–1981 (incorporated by
                                                 compliance with the standards specified                 that meets the requirements outlined in               reference, see § 60.17) must be used to
                                                 under § 60.612a with control devices                    paragraph (f) of this section.                        determine the oxygen concentration
                                                 other than an incinerator, boiler, process                 (1) Conduct initial performance tests              (%O2d) for the purposes of determining
                                                 heater, or flare; or recovery devices                   no later than the date required by                    compliance with the 20 ppmv limit. The
                                                 other than an absorber, condenser, or                   § 60.8(a).                                            sampling site must be the same as that
                                                 carbon adsorber, you shall provide to                      (2) Conduct subsequent performance                 of the TOC samples and the samples
                                                 the Administrator prior to conducting                   tests no later than 60 calendar months                must be taken during the same time that
                                                 the initial performance test information                after the previous performance test.                  the TOC samples are taken. The TOC
                                                 describing the operation of the control                    (b) The following methods, except as
                                                                                                                                                               concentration corrected to 3 percent O2
                                                 device or recovery device and the                       provided in § 60.8(b) must be used as
                                                                                                                                                               (Cc) must be computed using the
                                                 parameter(s) which would indicate                       reference methods to determine
                                                                                                                                                               following equation:
                                                 proper operation and maintenance of                     compliance with the emission limit or
                                                 the device and how the parameter(s) are                 percent reduction efficiency specified in             Equation 1 to Paragraph (b)(3)




                                                 Where:                                                  concentration of TOC in the inlet when                   (i) The sampling time for each run
                                                 Cc = Concentration of TOC corrected to 3                the reduction efficiency of the control               must be 1 hour in which either an
                                                     percent O2, dry basis, ppm by volume.               device or recovery system is to be                    integrated sample or at least four grab
                                                 CTOC = Concentration of TOC (minus                      determined. ASTM D6420–18                             samples must be taken. If grab sampling
                                                     methane and ethane), dry basis, ppm by
                                                     volume.                                             (incorporated by reference, see § 60.17)              is used then the samples must be taken
                                                 %O2d = Concentration of O2, dry basis,                  may be used in lieu of Method 18, if the              at 15-minute intervals.
                                                     percent by volume.                                  target compounds are all known and are                   (ii) The emission reduction (R) of TOC
                                                   (4) Method 18 of appendix A–6 to this                 all listed in Section 1.1 of ASTM                     (minus methane and ethane) must be
                                                 part to determine concentration of TOC                  D6420–18 as measurable; ASTM D6420–                   determined using the following
                                                 in the control device outlet or in the                  18 must not be used for methane and                   equation:
                                                 outlet of the final recovery device in a                ethane; and ASTM D6420–18 may not
                                                 recovery system, and to determine the                   be used as a total VOC method.                        Equation 2 to Paragraph (b)(4)(ii)


                                                                                                                             B;-E, xlOO
                                                                                                                      R=        E,

                                                 Where:                                                  Eo = Mass rate of TOC discharged to the                 (iii) The mass rates of TOC (Ei, Eo)
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                                                 R = Emission reduction, percent by weight.                  atmosphere, kg/hr (lb/hr).                        must be computed using the following
                                                 Ei = Mass rate of TOC entering the control                                                                    equations:
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                                                      device or recovery system, kg/hr (lb/hr).
                                                                                                                                                               Equations 3 and 4 to Paragraph (b)(4)(iii)
                                                                                                                                                                                                             ER16MY24.028</GPH>




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                                                                                                                   ~= K2 (:±crM,)Q
                                                                                                                               J.;J.



                                                                                                                  E,= K,(tc,.M9 )Q,


                                                 Where:                                                       recovery system, respectively, g/g-mole           = 1.557 × 10¥7 (1/ppm)(lb-mole/scf)(min/hr)
                                                 Cij, Coj = Concentration of sample component                 (lb/lb-mole).                                          (English units), where standard
                                                       ‘‘j’’ of the gas stream at the inlet and          Qi, Qo = Flow rate of gas stream at the inlet               temperature for (lb-mole/scf) is 68 °F.
                                                       outlet of the control device or recovery               and outlet of the control device or                 (iv) The TOC concentration (CTOC) is
                                                       system, respectively, dry basis ppm by                 recovery system, respectively, dscm/min           the sum of the individual components
                                                       volume.                                                (dscf/min).                                       and must be computed for each run
                                                 Mij, Moj = Molecular weight of sample                   K2 = 2.494 × 10¥6 (1/ppm)(g-mole/scm)(kg/
                                                                                                                                                                using the following equation:
                                                       component ‘‘j’’ of the gas stream at the               g)(min/hr) (metric units), where standard
                                                       inlet and outlet of the control device or              temperature for (g-mole/scm) is 20 °C.            Equation 5 to Paragraph (b)(4)(iv)




                                                 Where:                                                  and complies with the requirements of                     (1) Method 1 or 1A of appendix A–1
                                                 CTOC = Concentration of TOC (minus                      40 CFR part 63, subpart EEE; or                        to this part, as appropriate.
                                                      methane and ethane), dry basis, ppm by                (iv) Complies with 40 CFR part 63,                     (2) Method 2, 2A, 2C, or 2D of
                                                      volume.                                            subpart EEE and will submit a
                                                 Cj = Concentration of sample components in                                                                     appendix A–1 to this part, as
                                                                                                         Notification of Compliance under 40
                                                      the sample.                                                                                               appropriate, for determination of the gas
                                                                                                         CFR 63.1207(j) by the date the owner or
                                                 n = Number of components in the sample.                                                                        volumetric flow rates.
                                                                                                         operator would have been required to
                                                    (c) The requirement for initial and                  submit the initial performance test                       (3) Method 18 of appendix A–6 to this
                                                 subsequent performance tests are                        report for this subpart.                               part to determine the concentration of
                                                 waived, in accordance with § 60.8(b), for                  (4) The Administrator reserves the                  TOC. ASTM D6420–18 (incorporated by
                                                 the following:                                          option to require testing at such other                reference, see § 60.17) may be used in
                                                    (1) When a boiler or process heater                  times as may be required, as provided                  lieu of Method 18, if the target
                                                 with a design heat input capacity of 44                 for in section 114 of the Act.                         compounds are all known and are all
                                                 MW (150 million Btu/hour) or greater is                    (d) For purposes of complying with                  listed in Section 1.1 of ASTM D6420–
                                                 used to seek compliance with the                        the 98 weight-percent reduction in                     18 as measurable; ASTM D6420–18 may
                                                 emission limit or percent reduction                     § 60.612a(a), if the vent stream entering              not be used for methane and ethane; and
                                                 efficiency specified in table 1 to this                 a boiler or process heater with a design               ASTM D6420–18 must not be used as a
                                                 subpart.                                                capacity less than 44 MW (150 million                  total VOC method.
                                                    (2) When a vent stream is introduced                 Btu/hour) is introduced with the
                                                                                                                                                                   (i) The sampling site must be at a
                                                 into a boiler or process heater with the                combustion air or as secondary fuel, the
                                                                                                                                                                location that provides a representative
                                                 primary fuel.                                           weight-percent reduction of TOC (minus
                                                                                                         methane and ethane) across the                         sample of the vent stream.
                                                    (3) When a boiler or process heater
                                                 burning hazardous waste is used for                     combustion device shall be determined                     (ii) Perform three test runs. The
                                                 which the owner or operator:                            by comparing the TOC (minus methane                    sampling time for each run must be 1
                                                    (i) Has been issued a final permit                   and ethane) in all combusted vent                      hour in which either an integrated
                                                 under 40 CFR part 270 and complies                      streams, primary fuels, and secondary                  sample or at least four grab samples
                                                 with the requirements of 40 CFR part                    fuels with the TOC (minus methane and                  must be taken. If grab sampling is used
                                                 266, subpart H;                                         ethane) exiting the combustion device.                 then the samples must be taken at 15-
                                                    (ii) Has certified compliance with the                  (e) Any owner or operator subject to                minute intervals.
                                                 interim status requirements of 40 CFR                   the provisions of this subpart seeking to                 (iii) The mass rate of TOC (E) must be
                                                 part 266, subpart H;                                    demonstrate compliance with                            computed using the following equation:
                                                    (iii) Has submitted a Notification of                § 60.610a(c)(1) must use the following
                                                 Compliance under 40 CFR 63.1207(j)                      methods:                                               Equation 6 to Paragraph (e)(3)(ii)
                                                                                                                                                                                                                    ER16MY24.031</GPH> ER16MY24.032</GPH>
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                                                 Where:                                                        sampling location, dry basis, ppm by             Mj = Molecular weight of sample component
                                                 Cj = Concentration of sample component ‘‘j’’                  volume.                                              ‘‘j’’ of the gas stream at the representative
                                                                                                                                                                    sampling location, g/g-mole (lb/lb-mole).
                                                                                                                                                                                                                    ER16MY24.030</GPH>




                                                      of the gas stream at the representative



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                                                 Q = Flow rate of gas stream at the                      TOC must represent 98 percent of the                  equipment components and the span of
                                                      representative sampling location, dscm/            expected mass of TOC present in the                   the analyzer.
                                                      min (dscf/min).                                    stream. Report the results of TOC as                    (iii) Routine quality control and
                                                 K = 2.494 × 10¥6 (1/ppm)(g-mole/scm) (kg/               equivalent to carbon (C1).                            assurance procedures.
                                                      g) (min/hr) (metric units), where                     (ii) For CEMS meeting the                            (iv) Conditions that would trigger a
                                                      standard temperature for (g-mole/scm) is
                                                                                                         requirements of Performance                           CEMS performance evaluation, which
                                                      20 °C.
                                                 = 1.557 × 10¥7 (1/ppm) (lb-mole/scf) (min/              Specification 9 of appendix B to this                 must include, at a minimum, a newly
                                                      hr) (English units), where standard                part, determine the target analyte(s) for             installed CEMS; a process change that is
                                                      temperature for (lb-mole/scf) is 68 °F.            calibration using either process                      expected to affect the performance of
                                                                                                         knowledge of the control device inlet                 the CEMS; and the Administrator’s
                                                    (f) If you use a CEMS to demonstrate
                                                                                                         stream or the screening procedures of                 request for a performance evaluation
                                                 initial and continuous compliance with
                                                                                                         Method 18 of appendix A–6 to this part                under section 114 of the Clean Air Act.
                                                 the TOC standard in table 1 of this                     on the control device inlet stream. The                 (v) Ongoing operation and
                                                 subpart, each CEMS must be installed,                   individual analytes used to quantify                  maintenance procedures.
                                                 operated and maintained according to                    TOC must represent 98 percent of the                    (vi) Ongoing recordkeeping and
                                                 the requirements in § 60.13 and                         expected mass of TOC present in the                   reporting procedures.
                                                 paragraphs (f)(1) through (5) of this                   stream. Report the results of TOC as
                                                 section.                                                equivalent to carbon (C1).                            § 60.615a What records must I keep and
                                                    (1) You must use a CEMS that is                                                                            what reports must I submit?
                                                                                                            (iii) For CEMS meeting the
                                                 capable of measuring the target                         requirements of Performance                              (a) You must notify the Administrator
                                                 analyte(s) as demonstrated using either                 Specification 8 of appendix B to this                 of the specific provisions of table 1 to
                                                 process knowledge of the control device                 part used to monitor performance of a                 this subpart or § 60.612a(c) with which
                                                 inlet stream or the screening procedures                combustion device, calibrate the                      you have elected to comply. Notification
                                                 of Method 18 of appendix A–6 to this                    instrument on the predominant organic                 must be submitted with the notification
                                                 part on the control device inlet stream.                HAP and report the results as carbon                  of initial start-up required by
                                                 If your CEMS is located after a                         (C1), and use Method 25A of appendix                  § 60.7(a)(3). If you elect at a later date
                                                 combustion device and inlet stream to                   A–7 to this part as the reference method              to use an alternative provision of table
                                                 that device includes methanol or                        for the relative accuracy tests. You must             1 to this subpart with which you will
                                                 formaldehyde, you must use a CEMS                       also comply with procedure 1 of                       comply, then you must notify the
                                                 which meets the requirements in                         appendix F to this part.                              Administrator 90 days before
                                                 Performance Specification 9 or 15 of                       (iv) For CEMS meeting the                          implementing a change and, upon
                                                 appendix B to this part.                                requirements of Performance                           implementing the change, you must
                                                    (2) Each CEMS must be installed,                     Specification 8 of appendix B to this                 conduct a performance test as specified
                                                 operated, and maintained according to                   part used to monitor performance of a                 by § 60.614a within 180 days.
                                                 the applicable performance                              noncombustion device, determine the                      (b) If you use a non-flare control
                                                 specification of appendix B to this part                predominant organic compound using                    device or recovery system to comply
                                                 and the applicable quality assurance                    either process knowledge or the                       with the TOC emission limit specified
                                                 procedures of appendix F to this part.                  screening procedures of Method 18 of                  in table 1 to this subpart, then you must
                                                 Locate the sampling probe or other                      appendix A–6 to this part on the control              keep up-to-date, readily accessible
                                                 interface at a measurement location                     device inlet stream. Calibrate the                    records of the data measured during
                                                 such that you obtain representative                     monitor on the predominant organic                    each performance test to show
                                                 measurements of emissions from the                      compound and report the results as C1.                compliance with the TOC emission
                                                 affected facility.                                      Use Method 25A of appendix A–7 to                     limit. You must also include all of the
                                                    (3) Conduct a performance evaluation                 this part as the reference method for the             data you use to comply with
                                                 of each CEMS within 180 days of                         relative accuracy tests. You must also                § 60.613a(a)(2). The same data specified
                                                 installation of the monitoring system.                  comply with procedure 1 of appendix F                 in this paragraph must also be
                                                 Conduct subsequent performance                          to this part.                                         submitted in the initial performance test
                                                 evaluations of the CEMS no later than                      (5) You must determine stack oxygen                required in § 60.8 and the reports of all
                                                 12 calendar months after the previous                   concentration at the same location                    subsequently required performance tests
                                                 performance evaluation. The results                     where you monitor TOC concentration                   where either the emission reduction
                                                 each performance evaluation must be                     with a CEMS that meets the                            efficiency of a control device or
                                                 submitted in accordance with                            requirements of Performance                           recovery system or outlet concentration
                                                 § 60.615a(b)(1).                                        Specification 3 of appendix B to this                 of TOC is determined. Alternatively,
                                                    (4) You must determine TOC                           part. The span value of the oxygen                    you must keep records of each CEMS
                                                 concentration according to one of the                   CEMS must be approximately 25                         performance evaluation.
                                                 following options. The span value of the                percent oxygen. Use Method 3A of                         (1) Within 60 days after the date of
                                                 TOC CEMS must be approximately 2                        appendix A–2 to this part as the                      completing each performance test or
                                                 times the emission standard specified in                reference method for the relative                     CEMS performance evaluation required
                                                 table 1 of this subpart.                                accuracy tests.                                       by this subpart, you must submit the
                                                    (i) For CEMS meeting the                                (6) You must maintain written                      results of the performance test or
                                                 requirements of Performance                             procedures for your CEMS. At a                        performance evaluation following the
                                                 Specification 15 of appendix B to this                                                                        procedures specified in paragraph (j) of
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                                                                                                         minimum, the procedures must include
                                                 part, determine the target analyte(s) for               the information in paragraphs (f)(6)(i)               this section. Data collected using test
                                                 calibration using either process                        through (vi) of this section:                         methods and performance evaluations
                                                 knowledge of the control device inlet                      (i) Description of CEMS installation               of CEMS measuring relative accuracy
                                                 stream or the screening procedures of                   location.                                             test audit (RATA) pollutants supported
                                                 Method 18 of appendix A–6 to this part                     (ii) Description of the monitoring                 by the EPA’s Electronic Reporting Tool
                                                 on the control device inlet stream. The                 equipment, including the manufacturer                 (ERT) as listed on the EPA’s ERT
                                                 individual analytes used to quantify                    and model number for all monitoring                   website (https://www.epa.gov/


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                                                 electronic-reporting-air-emissions/                     introduced into the flame zone as                        (8) For all other control devices, all
                                                 electronic-reporting-tool-ert) at the time              required under § 60.613a(b).                          periods (for the averaging time specified
                                                 of the test or performance evaluation                      (ii) If the boiler or process heater has           by the Administrator) when the
                                                 must be submitted in a file format                      a design heat input capacity of less than             operating parameter(s) established
                                                 generated through the use of the EPA’s                  44 MW (150 million Btu/hr), then all 3-               under § 60.613a(c) exceeded the
                                                 ERT. Alternatively, owners and                          hour periods of operation during which                operating limit established during the
                                                 operators may submit an electronic file                 the average firebox temperature was                   most recent performance test.
                                                 consistent with the extensible markup                   below the minimum firebox temperature                    (d) You must keep up-to-date, readily
                                                 language (XML) schema listed on the                     during the most recent performance test.              accessible continuous records of the
                                                 EPA’s ERT website. Data collected using                    (3) For catalytic incinerators:                    flow indication specified in Table 2 to
                                                 test methods and performance                               (i) All 3-hour periods of operation                this subpart, as well as up-to-date,
                                                 evaluations of CEMS measuring RATA                      during which the average temperature of               readily accessible records of all periods
                                                 pollutants that are not supported by the                the vent stream immediately before the                when the vent stream is diverted from
                                                 EPA’s ERT as listed on the EPA’s ERT                    catalyst bed is below the minimum                     the control device or recovery device or
                                                 website at the time of the test must be                 temperature of the vent stream                        has no flow rate, including the records
                                                 included as an attachment in the ERT or                 established during the most recent                    as specified in paragraphs (d)(1) and (2)
                                                 alternate electronic file.                              performance test.                                     of this section.
                                                    (2) If you use a boiler or process                      (ii) All 3-hour periods of operation                  (1) For each flow event from a relief
                                                 heater with a design heat input capacity                during which the average temperature                  valve discharge subject to the
                                                 of 44 MW (150 million Btu/hour) or                      difference across the catalyst bed is less            requirements in § 60.612a(b)(1), you
                                                 greater to comply with the TOC                          than the average temperature difference               must include an estimate of the volume
                                                 emission limit specified in Table 1 to                  of the device established during the                  of gas, the concentration of TOC in the
                                                 this subpart, then you are not required                 most recent performance test.                         gas and the resulting emissions of TOC
                                                 to submit a report containing                              (4) For carbon adsorbers:                          that released to the atmosphere using
                                                 performance test data; however, you                        (i) All carbon bed regeneration cycles
                                                                                                                                                               process knowledge and engineering
                                                 must submit a description of the                        during which the total mass stream flow
                                                                                                                                                               estimates.
                                                 location at which the vent stream is                    or the total volumetric stream flow was
                                                                                                                                                                  (2) For each flow event from a bypass
                                                 introduced into the boiler or process                   below the minimum flow established
                                                                                                                                                               line subject to the requirements in
                                                 heater.                                                 during the most recent performance test.
                                                                                                            (ii) All carbon bed regeneration cycles            §§ 60.612a(b)(2) and 60.620a(e), you
                                                    (c) If you use a non-flare control
                                                                                                         during which the temperature of the                   must maintain records sufficient to
                                                 device or recovery system to comply
                                                                                                         carbon bed after regeneration (and after              determine whether or not the detected
                                                 with the TOC emission limit specified
                                                                                                         completion of any cooling cycle(s)) was               flow included flow requiring control.
                                                 in table 1 to this subpart, then you must
                                                                                                         greater than the maximum carbon bed                   For each flow event from a bypass line
                                                 keep up-to-date, readily accessible
                                                                                                         temperature (in degrees Celsius)                      requiring control that is released either
                                                 records of periods of operation during
                                                                                                         established during the most recent                    directly to the atmosphere or to a
                                                 which the operating parameter limits
                                                                                                         performance test.                                     control device or recovery device not
                                                 established during the most recent
                                                                                                            (5) For condensers, all 3-hour periods             meeting the requirements in this
                                                 performance test are exceeded or
                                                                                                         of operation during which the average                 subpart, you must include an estimate
                                                 periods of operation where the TOC
                                                                                                         exit (product side) condenser operating               of the volume of gas, the concentration
                                                 CEMS, averaged on a 3-hour block basis,
                                                                                                         temperature was above the maximum                     of TOC in the gas and the resulting
                                                 indicate an exceedance of the emission
                                                                                                         exit (product side) operating                         emissions of TOC that bypassed the
                                                 standard in table 1 of this subpart.
                                                                                                         temperature established during the most               control device or recovery device using
                                                 Additionally, you must record all
                                                                                                         recent performance test.                              process knowledge and engineering
                                                 periods when the TOC CEMS is
                                                                                                            (6) For scrubbers used to control                  estimates.
                                                 inoperable. The Administrator may at
                                                                                                         halogenated vent streams:                                (e) If you use a boiler or process
                                                 any time require a report of these data.
                                                                                                            (i) All 3-hour periods of operation                heater with a design heat input capacity
                                                 Periods of operation during which the
                                                                                                         during which the average pH of the                    of 44 MW (150 million Btu/hour) or
                                                 operating parameter limits established
                                                                                                         scrubber effluent is below the minimum                greater to comply with the TOC
                                                 during the most recent performance
                                                                                                         pH of the scrubber effluent established               emission limit specified in Table 1 to
                                                 tests are exceeded are defined as
                                                                                                         during the most recent performance test.              this subpart, then you must keep an up-
                                                 follows:
                                                    (1) For absorbers:                                      (ii) All 3-hour periods of operation               to-date, readily accessible record of all
                                                    (i) All 3-hour periods of operation                  during which the average influent liquid              periods of operation of the boiler or
                                                 during which the average absorbing                      flow to the scrubber is below the                     process heater. (Examples of such
                                                 liquid temperature was above the                        minimum influent liquid flow to the                   records could include records of steam
                                                 maximum absorbing liquid temperature                    scrubber established during the most                  use, fuel use, or monitoring data
                                                 established during the most recent                      recent performance test.                              collected pursuant to other State or
                                                 performance test.                                          (iii) All 3-hour periods of operation              Federal regulatory requirements).
                                                    (ii) All 3-hour periods of operation                 during which the average liquid-to-gas                   (f) If you use a flare to comply with
                                                 during which the average absorbing                      ratio flow of the scrubber is below the               the TOC emission standard specified in
                                                 liquid specific gravity was outside the                 minimum liquid-to-gas ratio of the                    Table 1 to this subpart, then you must
                                                                                                                                                               keep up-to-date, readily accessible
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                                                 exit specific gravity range (i.e., more                 scrubber established during the most
                                                 than 0.1 unit above, or more than 0.1                   recent performance test.                              records of all visible emission readings,
                                                 unit below, the average absorbing liquid                   (7) For thermal incinerators, all 3-               heat content determinations, flow rate
                                                 specific gravity) established during the                hour periods of operation during which                measurements, and exit velocity
                                                 most recent performance test.                           the average firebox temperature was                   determinations made during the initial
                                                    (2) For boilers or process heaters:                  below the minimum firebox temperature                 visible emissions demonstration
                                                    (i) Whenever there is a change in the                established during the most recent                    required by § 63.670(h) of this chapter,
                                                 location at which the vent stream is                    performance test.                                     as applicable; and all periods during the


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                                                 compliance determination when the                       maintenance vent was opened to the                    be listed on the CEDRI website. Unless
                                                 pilot flame or flare flame is absent.                   atmosphere.                                           the Administrator or delegated state
                                                    (g) For each maintenance vent                           (5) If complying with the                          agency or other authority has approved
                                                 opening subject to the requirements of                  requirements of § 60.612a(c)(1)(iv),                  a different schedule for submission of
                                                 § 60.612a(c), you must keep the                         identification of the maintenance vent,               reports, the report must be submitted by
                                                 applicable records specified in                         the process units or equipment                        the deadline specified in this subpart,
                                                 paragraphs (g)(1) through (5) of this                   associated with the maintenance vent,                 regardless of the method in which the
                                                 section.                                                records documenting actions taken to                  report is submitted. All semiannual
                                                    (1) You must maintain standard site                  comply with other applicable                          reports must include the following
                                                 procedures used to deinventory                          alternatives and why utilization of this              general information: company name,
                                                 equipment for safety purposes (e.g., hot                alternative was required, the date of                 address (including county), and
                                                 work or vessel entry procedures) to                     maintenance vent opening, the                         beginning and ending dates of the
                                                 document the procedures used to meet                    equipment pressure and lower explosive                reporting period.
                                                 the requirements in § 60.612a(c). The                   limit of the vapors in the equipment at                  (1) Exceedances of monitored
                                                 current copy of the procedures must be                  the time of discharge, an indication of               parameters recorded under paragraph
                                                 retained and available on-site at all                   whether active purging was performed                  (c) of this section. For each exceedance,
                                                 times. Previous versions of the standard                and the pressure of the equipment                     the report must include a list of the
                                                 site procedures, as applicable, must be                 during the installation or removal of the             affected facilities or equipment, the
                                                 retained for five years.                                blind if active purging was used, the                 monitored parameter that was exceeded,
                                                    (2) If complying with the                            duration the maintenance vent was                     the start date and time of the
                                                 requirements of § 60.612a(c)(1)(i), and                 open during the blind installation or                 exceedance, the duration (in hours) of
                                                 the lower explosive limit at the time of                removal process, and records used to                  the exceedance, an estimate of the
                                                 the vessel opening exceeds 10 percent,                  estimate the total quantity of VOC in the             quantity in pounds of each regulated
                                                 identification of the maintenance vent,                 equipment at the time the maintenance                 pollutant emitted over any emission
                                                 the process units or equipment                          vent was opened to the atmosphere for                 limit, a description of the method used
                                                 associated with the maintenance vent,                   each applicable maintenance vent                      to estimate the emissions, the cause of
                                                                                                         opening.                                              the exceedance (including unknown
                                                 the date of maintenance vent opening,
                                                                                                            (h) If you seek to comply with the                 cause, if applicable), as applicable, and
                                                 and the lower explosive limit at the time
                                                                                                         requirements of this subpart by                       the corrective action taken.
                                                 of the vessel opening.                                  complying with the flow rate cutoff in                   (2) All periods recorded under
                                                    (3) If complying with the                            § 60.610a(c)(1) you must keep up-to-                  paragraph (d) of this section when the
                                                 requirements of § 60.612a(c)(1)(ii), and                date, readily accessible records to                   vent stream is diverted from the control
                                                 either the vessel pressure at the time of               indicate that the vent stream flow rate               device or recovery device, or has no
                                                 the vessel opening exceeds 5 psig or the                is less than 0.001 lb/hr, and of any                  flow rate, including the information
                                                 lower explosive limit at the time of the                change in equipment or process                        specified in paragraphs (i)(2)(i) through
                                                 active purging was initiated exceeds 10                 operation that increases the operating                (iii) of this section.
                                                 percent, identification of the                          vent stream flow rate, including a                       (i) For periods when the flow
                                                 maintenance vent, the process units or                  measurement of the new vent stream                    indicator is not operating, the
                                                 equipment associated with the                           flow rate.                                            identification of the flow indicator and
                                                 maintenance vent, the date of                              (i) You must submit to the                         report the start date, start time, and
                                                 maintenance vent opening, the pressure                  Administrator semiannual reports of the               duration in hours.
                                                 of the vessel or equipment at the time                  information specified in paragraphs                      (ii) For each flow event from a relief
                                                 of discharge to the atmosphere and, if                  (i)(1) through (7) of this section. You are           valve discharge subject to the
                                                 applicable, the lower explosive limit of                exempt from the reporting requirements                requirements in § 60.612a(b)(1), the
                                                 the vapors in the equipment when                        specified in § 60.7(c). If there are no               semiannual report must include the
                                                 active purging was initiated.                           exceedances, periods, or events                       identification of the relief valve, the
                                                    (4) If complying with the                            specified in paragraphs (i)(1) through (7)            start date, start time, duration in hours,
                                                 requirements of § 60.612a(c)(1)(iii),                   of this section that occurred during the              estimate of the volume of gas in
                                                 records of the estimating procedures                    reporting period, then you must include               standard cubic feet, the concentration of
                                                 used to determine the total quantity of                 a statement in your report that no                    TOC in the gas in parts per million by
                                                 VOC in the equipment and the type and                   exceedances, periods, and events                      volume and the resulting mass
                                                 size limits of equipment that contain                   specified in paragraphs (i)(1) through (7)            emissions of TOC in pounds that
                                                 less than 50 pounds of VOC at the time                  of this section occurred during the                   released to the atmosphere.
                                                 of maintenance vent opening. For each                   reporting period. The initial report must                (iii) For each flow event from a bypass
                                                 maintenance vent opening that contains                  be submitted within 6 months after the                line subject to the requirements in
                                                 greater than 50 pounds of VOC for                       initial start-up-date. On and after July              § 60.612a(b)(2) and § 620a(e)(2), the
                                                 which the deinventory procedures                        15, 2024 or once the report template for              semiannual report must include the
                                                 specified in paragraph (g)(1) of this                   this subpart has been available on the                identification of the bypass line, the
                                                 section are not followed or for which                   Compliance and Emissions Data                         start date, start time, duration in hours,
                                                 the equipment opened exceeds the type                   Reporting Interface (CEDRI) website                   estimate of the volume of gas in
                                                 and size limits established in the                      (https://www.epa.gov/electronic-                      standard cubic feet, the concentration of
                                                 records specified in this paragraph                     reporting-air-emissions/cedri) for 1 year,
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                                                                                                                                                               TOC in the gas in parts per million by
                                                 (g)(4), records that identify the                       whichever date is later, you must                     volume and the resulting mass
                                                 maintenance vent, the process units or                  submit all subsequent reports using the               emissions of TOC in pounds that bypass
                                                 equipment associated with the                           appropriate electronic report template                a control device or recovery device.
                                                 maintenance vent, the date of                           on the CEDRI website for this subpart                    (3) All periods when a boiler or
                                                 maintenance vent opening, and records                   and following the procedure specified                 process heater was not operating
                                                 used to estimate the total quantity of                  in paragraph (j) of this section. The date            (considering the records recorded under
                                                 VOC in the equipment at the time the                    report templates become available will                paragraph (e) of this section), including


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                                                 the start date, start time, and duration in             cdx.epa.gov/). The EPA will make all                  attention of the SOCMI NSPS Sector
                                                 hours of each period.                                   the information submitted through                     Lead. The mailed CBI material should
                                                    (4) For each flare subject to the                    CEDRI available to the public without                 be double wrapped and clearly marked.
                                                 requirements in § 60.619a, the                          further notice to you. Do not use CEDRI               Any CBI markings should not show
                                                 semiannual report must include an                       to submit information you claim as CBI.               through the outer envelope.
                                                 identification of the flare and the items               Although we do not expect persons to                     (k) If you are required to
                                                 specified in § 60.619a(l)(2).                           assert a claim of CBI, if you wish to                 electronically submit notifications or
                                                    (5) For each closed vent system                      assert a CBI claim for some of the                    reports through CEDRI in the EPA’s
                                                 subject to the requirements in § 60.620a,               information in the report or notification,            CDX, you may assert a claim of EPA
                                                 the semiannual report must include an                   you must submit a complete file in the                system outage for failure to timely
                                                 identification of the closed vent system                format specified in this subpart,                     comply with the electronic submittal
                                                 and the items specified in § 60.620a(i).                including information claimed to be                   requirement. To assert a claim of EPA
                                                    (6) Exceedances of the emission                      CBI, to the EPA following the                         system outage, you must meet the
                                                 standard in table 1 to this subpart as                  procedures in paragraphs (j)(1) and (2)               requirements outlined in paragraphs
                                                 indicated by a 3-hour average of the                    of this section. Clearly mark the part or             (k)(1) through (7) of this section.
                                                 TOC CEMS and recorded under                             all of the information that you claim to                 (1) You must have been or will be
                                                 paragraph (c) of this section. For each                 be CBI. Information not marked as CBI                 precluded from accessing CEDRI and
                                                 exceedance, the report must include a                   may be authorized for public release                  submitting a required report within the
                                                 list of the affected facilities or                      without prior notice. Information                     time prescribed due to an outage of
                                                 equipment, the start date and time of the               marked as CBI will not be disclosed                   either the EPA’s CEDRI or CDX systems.
                                                 exceedance, the duration (in hours) of                  except in accordance with procedures                     (2) The outage must have occurred
                                                 the exceedance, an estimate of the                      set forth in 40 CFR part 2. All CBI                   within the period of time beginning five
                                                 quantity in pounds of each regulated                    claims must be asserted at the time of                business days prior to the date that the
                                                 pollutant emitted over the emission                     submission. Anything submitted using                  submission is due.
                                                 limit, a description of the method used                 CEDRI cannot later be claimed CBI.                       (3) The outage may be planned or
                                                 to estimate the emissions, the cause of                 Furthermore, under CAA section 114(c),                unplanned.
                                                 the exceedance (including unknown                       emissions data is not entitled to                        (4) You must submit notification to
                                                 cause, if applicable), as applicable, and               confidential treatment, and the EPA is                the Administrator in writing as soon as
                                                 the corrective action taken.                            required to make emissions data                       possible following the date you first
                                                    (7) Periods when the TOC CEMS was                    available to the public. Thus, emissions              knew, or through due diligence should
                                                 inoperative. For each period, the report                data will not be protected as CBI and                 have known, that the event may cause
                                                 must include a list of the affected                     will be made publicly available. You                  or has caused a delay in reporting.
                                                 facilities or equipment, the start date                 must submit the same file submitted to                   (5) You must provide to the
                                                 and time of the period, the duration (in                the CBI office with the CBI omitted to                Administrator a written description
                                                 hours) of the period, the cause of the                  the EPA via the EPA’s CDX as described                identifying:
                                                 inoperability (including unknown                        earlier in this paragraph (j).                           (i) The date(s) and time(s) when CDX
                                                 cause, if applicable), as applicable, and                  (1) The preferred method to receive                or CEDRI was accessed and the system
                                                 the corrective action taken.                            CBI is for it to be transmitted                       was unavailable;
                                                    (8) Any change in equipment or                       electronically using email attachments,                  (ii) A rationale for attributing the
                                                 process operation that increases the                    File Transfer Protocol, or other online               delay in reporting beyond the regulatory
                                                 operating vent stream flow rate above                   file sharing services. Electronic                     deadline to EPA system outage;
                                                 the low flow exemption level in                         submissions must be transmitted                          (iii) A description of measures taken
                                                 § 60.610a(c)(1), including a                            directly to the OAQPS CBI Office at the               or to be taken to minimize the delay in
                                                 measurement of the new vent stream                      email address oaqpscbi@epa.gov, and as                reporting; and
                                                 flow rate, as recorded under paragraph                  described above, should include clear                    (iv) The date by which you propose to
                                                 (h) of this section. These must be                      CBI markings. ERT files should be                     report, or if you have already met the
                                                 reported as soon as possible after the                  flagged to the attention of the Group                 reporting requirement at the time of the
                                                 change and no later than 180 days after                 Leader, Measurement Policy Group; all                 notification, the date you reported.
                                                 the change. These reports may be                        other files should be flagged to the                     (6) The decision to accept the claim
                                                 submitted either in conjunction with                    attention of the SOCMI NSPS Sector                    of EPA system outage and allow an
                                                 semiannual reports or as a single                       Lead. If assistance is needed with                    extension to the reporting deadline is
                                                 separate report. A performance test must                submitting large electronic files that                solely within the discretion of the
                                                 be completed with the same time period                  exceed the file size limit for email                  Administrator.
                                                 to verify the recalculated flow value.                  attachments, and if you do not have                      (7) In any circumstance, the report
                                                 The performance test is subject to the                  your own file sharing service, please                 must be submitted electronically as
                                                 requirements of § 60.8 of the General                   email oaqpscbi@epa.gov to request a file              soon as possible after the outage is
                                                 Provisions and must be submitted                        transfer link.                                        resolved.
                                                 according to paragraph (b)(1) of this                      (2) If you cannot transmit the file                   (l) If you are required to electronically
                                                 section. Unless the facility qualifies for              electronically, you may send CBI                      submit notifications or reports through
                                                 an exemption under § 60.610a(c), the                    information through the postal service                CEDRI in the EPA’s CDX, you may
                                                 facility must begin compliance with the                 to the following address: OAQPS                       assert a claim of force majeure for
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                                                 requirements set forth in § 60.612a.                    Document Control Officer (C404–02),                   failure to timely comply with the
                                                    (j) If you are required to submit                    OAQPS, U.S. Environmental Protection                  electronic submittal requirement. To
                                                 notifications or reports following the                  Agency, 109 T.W. Alexander Drive, P.O.                assert a claim of force majeure, you
                                                 procedure specified in this paragraph                   Box 12055, Research Triangle Park,                    must meet the requirements outlined in
                                                 (j), you must submit notifications or                   North Carolina 27711. ERT files should                paragraphs (l)(1) through (5) of this
                                                 reports to the EPA via the CEDRI, which                 be sent to the attention of the Group                 section.
                                                 can be accessed through the EPA’s                       Leader, Measurement Policy Group, and                    (1) You may submit a claim if a force
                                                 Central Data Exchange (CDX) (https://                   all other files should be sent to the                 majeure event is about to occur, occurs,


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                                                 or has occurred or there are lingering                  electronic reports required in this                                      Chemical name                         CAS No.*
                                                 effects from such an event within the                   section to the EPA.
                                                 period of time beginning five business                    (n) If you seek to demonstrate                              Cyclohexanol ............................        108–93–0
                                                 days prior to the date the submission is                compliance with § 60.610(c)(1), then                          Cyclohexanone .........................          108–94–1
                                                 due. For the purposes of this section, a                you must submit to the Administrator,                         Dimethyl terephthalate ..............            120–61–6
                                                 force majeure event is defined as an                    following the procedures in paragraph                         Ethylene dichloride ...................          107–06–2
                                                                                                                                                                       Ethylene oxide ..........................         75–21–8
                                                 event that will be or has been caused by                (b)(1) of this section, an initial report                     Formaldehyde ...........................          50–00–0
                                                 circumstances beyond the control of the                 including a flow rate measurement                             Formic acid ...............................       64–18–6
                                                 affected facility, its contractors, or any              using the test methods specified in                           Glyoxal ......................................   107–22–2
                                                 entity controlled by the affected facility              § 60.614a.                                                    Hydrogen cyanide .....................            74–90–8
                                                 that prevents you from complying with                     (o) The Administrator will specify                          Isobutyric acid ...........................       79–31–2
                                                 the requirement to submit a report                      appropriate reporting and recordkeeping                       Isophthalic acid .........................       121–91–5
                                                 electronically within the time period                   requirements where the owner or                               Maleic anhydride ......................          108–31–6
                                                 prescribed. Examples of such events are                 operator of an affected facility seeks to                     Methyl ethyl ketone ..................            78–93–3
                                                 acts of nature (e.g., hurricanes,                       demonstrate compliance with the                               a-Methyl styrene .......................          98–83–9
                                                 earthquakes, or floods), acts of war or                                                                               Phenol .......................................   108–95–2
                                                                                                         standards specified under § 60.612a
                                                                                                                                                                       Phthalic anhydride ....................           85–44–9
                                                 terrorism, or equipment failure or safety               other than as provided under § 60.613a.                       Propionic acid ...........................        79–09–4
                                                 hazard beyond the control of the                          (p) Any records required to be                              Propylene oxide ........................          75–56–9
                                                 affected facility (e.g., large scale power              maintained by this subpart that are                           Styrene .....................................    100–42–5
                                                 outage).                                                submitted electronically via the EPA’s                        Terephthalic acid ......................         100–21–0
                                                    (2) You must submit notification to                  CEDRI may be maintained in electronic
                                                 the Administrator in writing as soon as                                                                                  * CAS numbers refer to the Chemical Ab-
                                                                                                         format. This ability to maintain                              stracts Registry numbers assigned to specific
                                                 possible following the date you first                   electronic copies does not affect the                         chemicals, isomers, or mixtures of chemicals.
                                                 knew, or through due diligence should                   requirement for facilities to make                            Some isomers or mixtures that are covered by
                                                 have known, that the event may cause                    records, data, and reports available                          the standards do not have CAS numbers as-
                                                 or has caused a delay in reporting.                                                                                   signed to them. The standards apply to all of
                                                                                                         upon request to a delegated air agency                        the chemicals listed, whether CAS numbers
                                                    (3) You must provide to the                          or the EPA as part of an on-site                              have been assigned or not.
                                                 Administrator:                                          compliance evaluation.
                                                    (i) A written description of the force                                                                             § 60.618a        [Reserved]
                                                 majeure event;                                          § 60.616a What do the terms associated
                                                    (ii) A rationale for attributing the                 with reconstruction mean for this subpart?                    § 60.619a What are my requirements if I
                                                 delay in reporting beyond the regulatory                                                                              use a flare to comply with this subpart?
                                                                                                            For purposes of this subpart ‘‘fixed
                                                 deadline to the force majeure event;                    capital cost of the new components,’’ as                         (a) If you use a flare to comply with
                                                    (iii) A description of measures taken                used in § 60.15, includes the fixed                           the TOC emission standard specified in
                                                 or to be taken to minimize the delay in                 capital cost of all depreciable                               Table 1 to this subpart, then you must
                                                 reporting; and                                          components which are or will be                               meet the applicable requirements for
                                                    (iv) The date by which you propose to                replaced pursuant to all continuous                           flares as specified in §§ 63.670 and
                                                 report, or if you have already met the                  programs of component replacement                             63.671 of this chapter, including the
                                                 reporting requirement at the time of the                which are commenced within any 2-                             provisions in tables 12 and 13 to part
                                                 notification, the date you reported.                    year period following April 25, 2023.                         63, subpart CC, of this chapter, except
                                                    (4) The decision to accept the claim                 For purposes of this section,                                 as specified in paragraphs (b) through
                                                 of force majeure and allow an extension                 ‘‘commenced’’ means that you have                             (o) of this section. This requirement also
                                                 to the reporting deadline is solely                     undertaken a continuous program of                            applies to any flare using fuel gas from
                                                 within the discretion of the                            component replacement or that you                             a fuel gas system, of which 50 percent
                                                 Administrator.                                          have entered into a contractual                               or more of the fuel gas is derived from
                                                    (5) In any circumstance, the reporting               obligation to undertake and complete,                         an affected facility, as determined on an
                                                 must occur as soon as possible after the                within a reasonable time, a continuous                        annual average basis. For purposes of
                                                 force majeure event occurs.                             program of component replacement.                             compliance with this paragraph (a), the
                                                    (m) The requirements of paragraph (i)                                                                              following terms are defined in § 63.641
                                                 of this section remain in force until and               § 60.617a What are the chemicals that I                       of this chapter: Assist air, assist steam,
                                                 unless EPA, in delegating enforcement                   must produce to be affected by subpart                        center steam, combustion zone,
                                                 authority to a State under section 111(c)               IIIa?                                                         combustion zone gas, flare, flare purge
                                                 of the Act, approves reporting                                                                                        gas, flare supplemental gas, flare sweep
                                                 requirements or an alternative means of                            Chemical name                         CAS No.*     gas, flare vent gas, lower steam, net
                                                 compliance surveillance adopted by                                                                                    heating value, perimeter assist air, pilot
                                                                                                         Acetaldehyde ............................          75–07–0
                                                 such State. In that event, affected                     Acetic acid ................................       64–19–7    gas, premix assist air, total steam, and
                                                 sources within the State will be relieved               Acetone .....................................      67–64–1    upper steam.
                                                 of the obligation to comply with                        Acetonitrile ................................      75–05–8       (b) When determining compliance
                                                 paragraph (i) of this section, provided                 Acetophenone ...........................           98–86–2    with the pilot flame requirements
                                                 that they comply with the requirements                  Acrolein .....................................    107–02–8    specified in § 63.670(b) and (g) of this
                                                 established by the State. The EPA will                  Acrylic acid ...............................       79–10–7    chapter, substitute ‘‘pilot flame or flare
                                                 not approve a waiver of electronic                      Acrylonitrile ...............................     107–13–1
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                                                                                                                                                                       flame’’ for each occurrence of ‘‘pilot
                                                 reporting to the EPA in delegating                      Anthraquinone ..........................           84–65–1    flame.’’
                                                                                                         Benzaldehyde ...........................          100–52–7       (c) When determining compliance
                                                 enforcement authority. Thus, electronic
                                                                                                         Benzoic acid, tech ....................            65–85–0
                                                 reporting to the EPA cannot be waived,                  1,3-Butadiene ...........................         106–99–0
                                                                                                                                                                       with the flare tip velocity and
                                                 and as such, the provisions of this                     p-t-Butyl benzoic acid ...............             98–73–7    combustion zone operating limits
                                                 paragraph cannot be used to relieve                     N-Butyric acid ...........................        107–92–6    specified in § 63.670(d) and (e) of this
                                                 owners or operators of affected facilities              Crotonic acid .............................      3724–65–0    chapter, the requirement effectively
                                                 of the requirement to submit the                        Cumene hydroperoxide ............                  80–15–9    applies starting with the 15-minute


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                                                 block that includes a full 15 minutes of                standard. Deviations in different 15-                 either continue to comply with the
                                                 the flaring event. You are required to                  minute blocks from the same event are                 terms of the alternative means of
                                                 demonstrate compliance with the                         considered separate deviations. The                   emission limitations or comply with the
                                                 velocity and NHVcz requirements                         pilot flame(s) on each stage of burners               provisions in paragraphs (i)(1) through
                                                 starting with the block that contains the               that use cross-lighting must be                       (6) of this section.
                                                 fifteenth minute of a flaring event. You                continuously monitored by a                              (j) If you choose to determine
                                                 are not required to demonstrate                         thermocouple or any other equivalent                  compositional analysis for net heating
                                                 compliance for the previous 15-minute                   device used to detect the presence of a               value with a continuous process mass
                                                 block in which the event started and                    flame;                                                spectrometer, then you must comply
                                                 contained only a fraction of flow.                         (5) Unless you choose to conduct a                 with the requirements specified in
                                                    (d) Instead of complying with                        cross-light performance demonstration                 paragraphs (j)(1) through (7) of this
                                                 § 63.670(o)(2)(i) of this chapter, you                  as specified in this paragraph (i)(5), you            section.
                                                 must develop and implement the flare                    must ensure that if a stage of burners on                (1) You must meet the requirements
                                                 management plan no later than startup                   the flare uses cross-lighting, that the               in § 63.671(e)(2) of this chapter. You
                                                 for a new flare that commenced                          distance between any two burners in                   may augment the minimum list of
                                                 construction on or after April 25, 2023.                series on that stage is no more than 6                calibration gas components found in
                                                    (e) Instead of complying with                        feet when measured from the center of                 § 63.671(e)(2) with compounds found
                                                 § 63.670(o)(2)(iii) of this chapter, if                 one burner to the next burner. A                      during a pre-survey or known to be in
                                                 required to develop a flare management                  distance greater than 6 feet between any              the gas through process knowledge.
                                                 plan and submit it to the Administrator,                two burners in series may be used                        (2) Calibration gas cylinders must be
                                                 then you must also submit all versions                  provided you conduct a performance                    certified to an accuracy of 2 percent and
                                                 of the plan in portable document format                 demonstration that confirms the                       traceable to National Institute of
                                                 (PDF) following the procedures                          pressure-assisted multi-point flare will              Standards and Technology (NIST)
                                                 specified in § 60.615a(j).                              cross-light a minimum of three burners                standards.
                                                    (f) Section 63.670(o)(3)(ii) of this                 and the spacing between the burners                      (3) For unknown gas components that
                                                 chapter and all references to it do not                 and location of the pilot flame must be               have similar analytical mass fragments
                                                 apply. Instead, you must comply with                    representative of the projected                       to calibration compounds, you may
                                                 the maximum flare tip velocity                          installation. The compliance                          report the unknowns as an increase in
                                                 operating limit at all times.                           demonstration must be approved by the                 the overlapped calibration gas
                                                    (g) Substitute ‘‘affected facility’’ for             permitting authority and a copy of this               compound. For unknown compounds
                                                 each occurrence of ‘‘petroleum                          approval must be maintained onsite.                   that produce mass fragments that do not
                                                 refinery.’’                                             The compliance demonstration report                   overlap calibration compounds, you
                                                    (h) Each occurrence of ‘‘refinery’’ does             must include: a protocol describing the               may use the response factor for the
                                                 not apply.                                              test methodology used, associated test                nearest molecular weight hydrocarbon
                                                    (i) If a pressure-assisted multi-point               method QA/QC parameters, the waste                    in the calibration mix to quantify the
                                                 flare is used as a control device, then                 gas composition and NHVcz of the gas                  unknown component’s NHVvg.
                                                 you must meet the following conditions:                 tested, the velocity of the waste gas                    (4) You may use the response factor
                                                    (1) You are not required to comply                   tested, the pressure-assisted multi-point             for n-pentane to quantify any unknown
                                                 with the flare tip velocity requirements                flare burner tip pressure, the time,                  components detected with a higher
                                                 in of § 63.670(d) and (k) of this chapter;              length, and duration of the test, records             molecular weight than n-pentane.
                                                    (2) The NHVcz for pressure-assisted                  of whether a successful cross-light was                  (5) You must perform an initial
                                                 mulit-point flares is 800 Btu/scf;                      observed over all of the burners and the              calibration to identify mass fragment
                                                    (3) You must determine the 15-minute                 length of time it took for the burners to             overlap and response factors for the
                                                 block average NHVvg using only the                      cross-light, records of maintaining a                 target compounds.
                                                 direct calculation method specified in                  stable flame after a successful cross-light              (6) You must meet applicable
                                                 in § 63.670 (l)(5)(ii) of this chapter;                 and the duration for which this was                   requirements in Performance
                                                    (4) Instead of complying with                        observed, records of any smoking events               Specification 9 of appendix B of this
                                                 § 63.670(b) and (g) of this chapter, if a               during the cross-light, waste gas                     part, for continuous monitoring system
                                                 pressure-assisted multi-point flare uses                temperature, meteorological conditions                acceptance including, but not limited to,
                                                 cross-lighting on a stage of burners                    (e.g., ambient temperature, barometric                performing an initial multi-point
                                                 rather than having an individual pilot                  pressure, wind speed and direction, and               calibration check at three concentrations
                                                 flame on each burner, then you must                     relative humidity), and whether there                 following the procedure in section 10.1
                                                 operate each stage of the pressure-                     were any observed flare flameouts; and                and performing the periodic calibration
                                                 assisted multi-point flare with a flame                    (6) You must install and operate                   requirements listed for gas
                                                 present at all times when regulated                     pressure monitor(s) on the main flare                 chromatographs in table 13 to part 63,
                                                 material is routed to that stage of                     header, as well as a valve position                   subpart CC of this chapter, for the
                                                 burners. Each stage of burners that                     indicator monitoring system for each                  process mass spectrometer. You may
                                                 cross-lights in the pressure-assisted                   staging valve to ensure that the flare                use the alternative sampling line
                                                 multi-point flare must have at least two                operates within the proper range of                   temperature allowed under Net Heating
                                                 pilots with at least one continuously lit               conditions as specified by the                        Value by Gas Chromatograph in table 13
                                                 and capable of igniting all regulated                   manufacturer. The pressure monitor                    to part 63, subpart CC.
                                                 material that is routed to that stage of                                                                         (7) The average instrument calibration
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                                                                                                         must meet the requirements in table 13
                                                 burners. Each 15-minute block during                    to part 63, subpart CC of this chapter.               error (CE) for each calibration
                                                 which there is at least one minute where                   (7) If a pressure-assisted multi-point             compound at any calibration
                                                 no pilot flame is present on a stage of                 flare is operating under the                          concentration must not differ by more
                                                 burners when regulated material is                      requirements of an approved alternative               than 10 percent from the certified
                                                 routed to the flare is a deviation of the               means of emission limitations, you must               cylinder gas value. The CE for each




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                                                 component in the calibration blend                      must be calculated using equation 1 to                 Equation 1 to Paragraph (j)(7)
                                                                                                         this paragraph (j)(7).


                                                                                                               CE =        Cm- Ca X 100 (Eq. 1)
                                                                                                                            Ca


                                                 Where:                                                  may choose to use the CE of NHVmeasured                level must not differ by more than 10
                                                 Cm = Average instrument response (ppm)                  versus the cylinder tag value NHV as the               percent from the certified cylinder gas
                                                 Ca = Certified cylinder gas value (ppm)                 measure of agreement for daily                         value. The CE must be calculated using
                                                   (k) If you use a gas chromatograph or                 calibration and quarterly audits in lieu               equation 2 to this paragraph (k).
                                                 mass spectrometer for compositional                     of determining the compound-specific
                                                                                                                                                                Equation 2 to Paragraph (k)
                                                 analysis for net heating value, then you                CE. The CE for NHV at any calibration


                                                                                                      CE= NHVmeasurer NHVa X 100 (Eq. 2)
                                                                                                                           NHVa


                                                 Where:                                                  determined using the methods in                        there was at least one minute that no
                                                 NHVmeasured = Average instrument response               § 63.670(d)(2) of this chapter and the                 pilot flame is present on each stage
                                                    (Btu/scf)                                            maximum 15-minute block average flare                  when regulated material is routed to a
                                                 NHVa = Certified cylinder gas value (Btu/scf)           tip velocity in ft/sec recorded during the             flare for a minimum of 5 years. You may
                                                    (l) Instead of complying with                        event.                                                 reduce the collected minute-by-minute
                                                 § 63.670(q) of this chapter, you must                      (D) Results of the root cause and                   data to a 15-minute block basis with an
                                                 comply with the reporting requirements                  corrective actions analysis completed                  indication of whether there was at least
                                                 specified in paragraphs (l)(1) and (2) of               during the reporting period, including                 one minute where no pilot flame or flare
                                                 this section.                                           the corrective actions implemented                     flame was present.
                                                    (1) The notification requirements                    during the reporting period and, if                       (2) Retain records of daily visible
                                                 specified in § 60.615a(a).                              applicable, the implementation                         emissions observations as specified in
                                                    (2) The semiannual report specified in               schedule for planned corrective actions                paragraphs (m)(2)(i) through (iv) of this
                                                 § 60.615a(i)(4) must include the items                  to be implemented subsequent to the                    section, as applicable, for a minimum of
                                                 specified in paragraphs (l)(2)(i) through               reporting period.                                      3 years.
                                                 (vi) of this section.                                      (v) For pressure-assisted multi-point                  (i) To determine when visible
                                                    (i) Records as specified in paragraph                flares, the periods of time when the                   emissions observations are required, the
                                                 (m)(1) of this section for each 15-minute               pressure monitor(s) on the main flare                  record must identify all periods when
                                                 block during which there was at least                   header show the burners operating                      regulated material is vented to the flare.
                                                 one minute when regulated material is                   outside the range of the manufacturer’s                   (ii) If visible emissions observations
                                                 routed to a flare and no pilot flame or                 specifications. Indicate the date and                  are performed using Method 22 of
                                                 flare flame is present. Include the start               start and end times for each period.                   appendix A–7 of this part, then the
                                                 and stop time and date of each 15-                         (vi) For pressure-assisted multi-point              record must identify whether the visible
                                                 minute block.                                           flares, the periods of time when the                   emissions observation was performed,
                                                    (ii) Visible emission records as                     staging valve position indicator                       the results of each observation, total
                                                 specified in paragraph (m)(2)(iv) of this               monitoring system indicates a stage                    duration of observed visible emissions,
                                                 section for each period of 2 consecutive                should not be in operation and is or                   and whether it was a 5-minute or 2-hour
                                                 hours during which visible emissions                    when a stage should be in operation and                observation. Record the date and start
                                                 exceeded a total of 5 minutes.                          is not. Indicate the date and start and                time of each visible emissions
                                                    (iii) The periods specified in                       end times for each period.                             observation.
                                                 paragraph (m)(6) of this section. Indicate                 (m) Instead of complying with                          (iii) If a video surveillance camera is
                                                 the date and start and end times for each               § 63.670(p) of this chapter, you must                  used pursuant to § 63.670(h)(2) of this
                                                 period, and the net heating value                       keep the flare monitoring records                      chapter, then the record must include
                                                 operating parameter(s) determined                       specified in paragraphs (m)(1) through                 all video surveillance images recorded,
                                                 following the methods in § 63.670(k)                    (14) of this section.                                  with time and date stamps.
                                                 through (n) of part 63, subpart CC of this                 (1) Retain records of the output of the                (iv) For each 2-hour period for which
                                                 chapter as applicable.                                  monitoring device used to detect the                   visible emissions are observed for more
                                                    (iv) For flaring events meeting the                  presence of a pilot flame or flare flame               than 5 minutes in 2 consecutive hours,
                                                 criteria in § 63.670(o)(3) of this chapter              as required in § 63.670(b) of this chapter             then the record must include the date
                                                 and paragraph (f) of this section:                      and the presence of a pilot flame as                   and start and end time of the 2-hour
                                                    (A) The start and stop time and date                 required in paragraph (i)(4) of this                   period and an estimate of the
                                                 of the flaring event.                                   section for a minimum of 2 years. Retain               cumulative number of minutes in the 2
                                                                                                         records of each 15-minute block during
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                                                    (B) The length of time in minutes for                                                                       hour period for which emissions were
                                                 which emissions were visible from the                   which there was at least one minute that               visible.
                                                 flare during the event.                                 no pilot flame or flare flame is present                  (3) The 15-minute block average
                                                                                                                                                                                                              ER16MY24.034</GPH>




                                                    (C) For steam-assisted, air-assisted,                when regulated material is routed to a                 cumulative flows for flare vent gas and,
                                                 and non-assisted flares, the start date,                flare for a minimum of 5 years. For a                  if applicable, total steam, perimeter
                                                 start time, and duration in minutes for                 pressure-assisted multi-point flare that               assist air, and premix assist air specified
                                                 periods of time that the flare tip velocity             uses cross-lighting, retain records of                 to be monitored under § 63.670(i) of this
                                                                                                                                                                                                              ER16MY24.033</GPH>




                                                 exceeds the maximum flare tip velocity                  each 15-minute block during which                      chapter, along with the date and time


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                                                 interval for the 15-minute block. If                    should be in operation and is not.                      (3) The phrase ‘‘that were not caused
                                                 multiple monitoring locations are used                  Indicate the date and time for each                   by a force majeure event’’ in
                                                 to determine cumulative vent gas flow,                  period, whether the stage was supposed                § 63.670(o)(7)(ii) of this chapter.
                                                 total steam, perimeter assist air, and                  to be open, but was closed or vice versa,               (4) The phrase ‘‘that were not caused
                                                 premix assist air, then retain records of               and the stage(s) and number of burners                by a force majeure event’’ in
                                                 the 15-minute block average flows for                   affected.                                             § 63.670(o)(7)(iv) of this chapter.
                                                 each monitoring location for a minimum                     (11) Records of periods when there is
                                                 of 2 years and retain the 15-minute                                                                           § 60.620a What are my requirements for
                                                                                                         flow of vent gas to the flare, but when               closed vent systems?
                                                 block average cumulative flows that are                 there is no flow of regulated material to
                                                 used in subsequent calculations for a                                                                            (a) Except as provided in paragraphs
                                                                                                         the flare, including the start and stop
                                                 minimum of 5 years. If pressure and                                                                           (f) and (g) of this section, you must
                                                                                                         time and dates of periods of no
                                                 temperature monitoring is used, then                                                                          inspect each closed vent system
                                                                                                         regulated material flow.
                                                 retain records of the 15-minute block                                                                         according to the procedures and
                                                                                                            (12) Records when the flow of vent                 schedule specified in paragraphs (a)(1)
                                                 average temperature, pressure, and                      gas exceeds the smokeless capacity of
                                                 molecular weight of the flare vent gas or                                                                     through (3) of this section.
                                                                                                         the flare, including start and stop time                 (1) Conduct an initial inspection
                                                 assist gas stream for each measurement                  and dates of the flaring event.
                                                 location used to determine the 15-                                                                            according to the procedures in
                                                 minute block average cumulative flows                      (13) Records of the root cause analysis            paragraph (b) of this section unless the
                                                 for a minimum of 2 years, and retain the                and corrective action analysis                        closed vent system is operated and
                                                 15-minute block average cumulative                      conducted as required in § 63.670(o)(3)               maintained under negative pressure,
                                                 flows that are used in subsequent                       of this chapter and paragraph (f) of this                (2) Conduct annual inspections
                                                 calculations for a minimum of 5 years.                  section, including an identification of               according to the procedures in
                                                    (4) The flare vent gas compositions                  the affected flare, the date and duration             paragraph (b) of this section unless the
                                                 specified to be monitored under                         of the event, a statement noting whether              closed vent system is operated and
                                                 § 63.670(j) of this chapter. Retain                     the event resulted from the same root                 maintained under negative pressure,
                                                 records of individual component                         cause(s) identified in a previous                     and
                                                 concentrations from each compositional                  analysis and either a description of the                 (3) Conduct annual inspections for
                                                 analysis for a minimum of 2 years. If an                recommended corrective action(s) or an                visible, audible, or olfactory indications
                                                 NHVvg analyzer is used, retain records                  explanation of why corrective action is               of leaks.
                                                 of the 15-minute block average values                   not necessary under § 63.670(o)(5)(i) of                 (b) You must inspect each closed vent
                                                 for a minimum of 5 years.                               this chapter.                                         system according to the procedures
                                                    (5) Each 15-minute block average                        (14) For any corrective action analysis            specified in paragraphs (b)(1) through
                                                 operating parameter calculated                          for which implementation of corrective                (6) of this section.
                                                 following the methods specified in                      actions are required in § 63.670(o)(5) of                (1) Inspections must be conducted in
                                                 § 63.670(k) through (n) of this chapter,                this chapter, a description of the                    accordance with Method 21 of appendix
                                                 as applicable.                                          corrective action(s) completed within                 A of this part.
                                                    (6) All periods during which                         the first 45 days following the discharge                (2)(i) Except as provided in paragraph
                                                 operating values are outside of the                     and, for action(s) not already completed,             (b)(2)(ii) of this section, the detection
                                                 applicable operating limits specified in                a schedule for implementation,                        instrument must meet the performance
                                                 § 63.670(d) through (f) of this chapter                 including proposed commencement and                   criteria of Method 21 of appendix A of
                                                 and paragraph (i) of this section when                  completion dates.                                     this part, except the instrument
                                                 regulated material is being routed to the                  (n) You may elect to comply with the               response factor criteria in section
                                                 flare.                                                  alternative means of emissions                        3.1.2(a) of Method 21 must be for the
                                                    (7) All periods during which you do                  limitation requirements specified in                  average composition of the process fluid
                                                 not perform flare monitoring according                  paragraph (r) of § 63.670 of this chapter             not each individual volatile organic
                                                 to the procedures in § 63.670(g) through                in lieu of the requirements in                        compound in the stream. For process
                                                 (j) of this chapter.                                    § 63.670(d) through (f) of this chapter, as           streams that contain nitrogen, air, or
                                                    (8) For pressure-assisted multi-point                applicable. However, instead of                       other inerts which are not organic
                                                 flares, if a stage of burners on the flare              complying with § 63.670(r)(3)(iii) of this            hazardous air pollutants or volatile
                                                 uses cross-lighting, then a record of any               chapter, you must also submit the                     organic compounds, the average stream
                                                 changes made to the distance between                    alternative means of emissions                        response factor must be calculated on an
                                                 burners.                                                limitation request to the following                   inert-free basis.
                                                    (9) For pressure-assisted multi-point                                                                         (ii) If no instrument is available at the
                                                                                                         address: U.S. Environmental Protection
                                                 flares, all periods when the pressure                                                                         plant site that will meet the
                                                                                                         Agency, Office of Air Quality Planning
                                                 monitor(s) on the main flare header                                                                           performance criteria specified in
                                                                                                         and Standards, Sector Policies and
                                                 show burners are operating outside the                                                                        paragraph (b)(2)(i) of this section, the
                                                                                                         Programs Division, U.S. EPA Mailroom
                                                 range of the manufacturer’s                                                                                   instrument readings may be adjusted by
                                                                                                         (C404–02), Attention: SOCMI NSPS
                                                 specifications. Indicate the date and                                                                         multiplying by the average response
                                                                                                         Sector Lead, 4930 Old Page Rd.,
                                                 time for each period, the pressure                                                                            factor of the process fluid, calculated on
                                                                                                         Durham, NC 27703.
                                                 measurement, the stage(s) and number                                                                          an inert-free basis as described in
                                                 of burners affected, and the range of                      (o) The referenced provisions                      paragraph (b)(2)(i) of this section.
                                                                                                         specified in paragraphs (o)(1) through
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                                                 manufacturer’s specifications.                                                                                   (3) The detection instrument must be
                                                    (10) For pressure-assisted multi-point               (4) of this section do not apply when                 calibrated before use on each day of its
                                                 flares, all periods when the staging                    demonstrating compliance with this                    use by the procedures specified in
                                                 valve position indicator monitoring                     section.                                              Method 21 of appendix A of this part.
                                                 system indicates a stage of the pressure-                  (1) Section 63.670(o)(4)(iv) of this                  (4) Calibration gases must be as
                                                 assisted multi-point flare should not be                chapter.                                              follows:
                                                 in operation and when a stage of the                       (2) The last sentence of § 63.670(o)(6)               (i) Zero air (less than 10 parts per
                                                 pressure-assisted multi-point flare                     of this chapter.                                      million hydrocarbon in air); and


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                                                    (ii) Mixtures of methane in air at a                 indicator was operating and whether a                 inspect, and the plan for inspecting the
                                                 concentration less than 2,000 parts per                 diversion was detected at any time                    equipment.
                                                 million. A calibration gas other than                   during the hour, as well as records of                   (3) For each closed vent system that
                                                 methane in air may be used if the                       the times and durations of all periods                contains bypass lines that could divert
                                                 instrument does not respond to methane                  when the vent stream is diverted to the               a vent stream away from the control
                                                 or if the instrument does not meet the                  atmosphere or the flow indicator is not               device and to the atmosphere, you must
                                                 performance criteria specified in                       operating. The flow indicator must be                 keep a record of the information
                                                 paragraph (b)(2)(i) of this section. In                 installed at the entrance to any bypass               specified in either paragraph (h)(3)(i) or
                                                 such cases, the calibration gas may be a                line; or                                              (ii) of this section in addition to the
                                                 mixture of one or more of the                              (2) Secure the bypass line valve in the            information specified in paragraph
                                                 compounds to be measured in air.                        closed position with a car-seal or a lock-            (h)(3)(iii) of this section.
                                                    (5) You may elect to adjust or not                   and-key type configuration. A visual                     (i) Hourly records of whether the flow
                                                 adjust instrument readings for                          inspection of the seal or closure                     indicator specified under paragraph
                                                 background. If you elect to not adjust                  mechanism must be performed at least                  (e)(1) of this section was operating and
                                                 readings for background, all such                       once every month to ensure the valve is               whether a diversion was detected at any
                                                 instrument readings must be compared                    maintained in the closed position and                 time during the hour, as well as records
                                                 directly to the applicable leak definition              the vent stream is not diverted through               of the times of all periods when the vent
                                                 to determine whether there is a leak.                   the bypass line.                                      stream is diverted from the control
                                                    (6) If you elect to adjust instrument                   (3) Open-ended valves or lines that                device or the flow indicator is not
                                                 readings for background, you must                       use a cap, blind flange, plug, or second              operating.
                                                 determine the background concentration                  valve and follow the requirements                        (ii) Where a seal mechanism is used
                                                 using Method 21 of appendix A of this                   specified in § 60.482–6(a)(2), (b), and (c)           to comply with paragraph (e)(2) of this
                                                 part. After monitoring each potential                   or follow requirements codified in                    section, hourly records of flow are not
                                                 leak interface, subtract the background                 another regulation that are the same as               required. In such cases, you must record
                                                 reading from the maximum                                § 60.482–6(a)(2), (b), and (c) are not                whether the monthly visual inspection
                                                 concentration indicated by the                          subject to this paragraph (e).                        of the seals or closure mechanisms has
                                                 instrument. The arithmetic difference                      (f) Any parts of the closed vent system            been done, and you must record the
                                                 between the maximum concentration                       that are designated, as described in                  occurrence of all periods when the seal
                                                 indicated by the instrument and the                     paragraph (h)(1) of this section, as                  mechanism is broken, the bypass line
                                                 background level must be compared                       unsafe to inspect are exempt from the                 valve position has changed, or the key
                                                 with 500 parts per million for                          inspection requirements of paragraphs                 for a lock-and-key type configuration
                                                 determining compliance.                                 (a)(1) and (2) of this section if:                    has been checked out, and records of
                                                    (c) Leaks, as indicated by an                           (1) You determine that the equipment               any car-seal that has broken.
                                                 instrument reading greater than 500                     is unsafe to inspect because inspecting                  (iii) For each flow event from a bypass
                                                 parts per million above background or                   personnel would be exposed to an                      line subject to the requirements in
                                                 by visual, audio, or olfactory                          imminent or potential danger as a                     paragraph (e) of this section, you must
                                                 inspections, must be repaired as soon as                consequence of complying with                         maintain records sufficient to determine
                                                 practicable, except as provided in                      paragraphs (a)(1) and (2) of this section;            whether or not the detected flow
                                                 paragraph (d) of this section.                          and                                                   included flow requiring control. For
                                                    (1) A first attempt at repair must be                   (2) You have a written plan that                   each flow event from a bypass line
                                                 made no later than 5 calendar days after                requires inspection of the equipment as               requiring control that is released either
                                                 the leak is detected.                                   frequently as practicable during safe-to-             directly to the atmosphere or to a
                                                    (2) Repair must be completed no later                inspect times.                                        control device not meeting the
                                                 than 15 calendar days after the leak is                    (g) Any parts of the closed vent                   requirements in this subpart, you must
                                                 detected.                                               system are designated, as described in                include an estimate of the volume of
                                                    (d) Delay of repair of a closed vent                 paragraph (h)(2) of this section, as                  gas, the concentration of VOC in the gas
                                                 system for which leaks have been                        difficult to inspect are exempt from the              and the resulting emissions of VOC that
                                                 detected is allowed if the repair is                    inspection requirements of paragraphs                 bypassed the control device using
                                                 technically infeasible without a                        (a)(1) and (2) of this section if:                    process knowledge and engineering
                                                 shutdown, as defined in § 60.2, or if you                  (1) You determine that the equipment               estimates.
                                                 determine that emissions resulting from                 cannot be inspected without elevating                    (4) For each inspection during which
                                                 immediate repair would be greater than                  the inspecting personnel more than 2                  a leak is detected, a record of the
                                                 the fugitive emissions likely to result                 meters above a support surface; and                   information specified in paragraphs
                                                 from delay of repair. Repair of such                       (2) You have a written plan that                   (h)(4)(i) through (viii) of this section.
                                                 equipment must be complete by the end                   requires inspection of the equipment at                  (i) The instrument identification
                                                 of the next shutdown.                                   least once every 5 years.                             numbers; operator name or initials; and
                                                    (e) For each closed vent system that                    (h) You must record the information                identification of the equipment.
                                                 contains bypass lines that could divert                 specified in paragraphs (h)(1) through                   (ii) The date the leak was detected
                                                 a vent stream away from the control                     (5) of this section.                                  and the date of the first attempt to repair
                                                 device and to the atmosphere, you must                     (1) Identification of all parts of the             the leak.
                                                 comply with the provisions of either                    closed vent system that are designated                   (iii) Maximum instrument reading
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                                                 paragraph (e)(1) or (2), except as                      as unsafe to inspect, an explanation of               measured by the method specified in
                                                 specified in paragraph (e)(3) of this                   why the equipment is unsafe to inspect,               paragraph (c) of this section after the
                                                 section.                                                and the plan for inspecting the                       leak is successfully repaired or
                                                    (1) Install, calibrate, maintain, and                equipment.                                            determined to be nonrepairable.
                                                 operate a flow indicator that determines                   (2) Identification of all parts of the                (iv) ‘‘Repair delayed’’ and the reason
                                                 whether vent stream flow is present at                  closed vent system that are designated                for the delay if a leak is not repaired
                                                 least once every 15 minutes. You must                   as difficult to inspect, an explanation of            within 15 calendar days after discovery
                                                 keep hourly records of whether the flow                 why the equipment is difficult to                     of the leak.


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                                                   (v) The name, initials, or other form                                    (6) For each inspection conducted in                        in which the seal mechanism is broken,
                                                 of identification of the owner or                                        accordance with paragraph (a)(3) of this                      the bypass line valve position has
                                                 operator (or designee) whose decision it                                 section during which no leaks are                             changed, or the key to unlock the bypass
                                                 was that repair could not be effected                                    detected, a record that the inspection                        line valve was checked out. Include the
                                                 without a shutdown.                                                      was performed, the date of the                                start date, start time, and duration in
                                                   (vi) The expected date of successful                                   inspection, and a statement that no                           hours of each period.
                                                 repair of the leak if a leak is not repaired                             leaks were detected.
                                                                                                                            (i) The semiannual report specified in                         (3) For bypass lines subject to the
                                                 within 15 calendar days.                                                                                                               requirements in paragraph (e) of this
                                                                                                                          § 60.615a(i)(5) must include the items
                                                   (vii) Dates of shutdowns that occur                                                                                                  section, the semiannual reports must
                                                                                                                          specified in paragraphs (i)(1) through (3)
                                                 while the equipment is unrepaired.                                                                                                     include the start date, start time,
                                                                                                                          of this section.
                                                   (viii) The date of successful repair of                                  (1) Reports of the times of all periods                     duration in hours, estimate of the
                                                 the leak.                                                                recorded under paragraph (h)(3)(i) of                         volume of gas in standard cubic feet, the
                                                   (5) For each inspection conducted in                                   this section when the vent stream is                          concentration of VOC in the gas in parts
                                                 accordance with paragraph (b) of this                                    diverted from the control device                              per million by volume and the resulting
                                                 section during which no leaks are                                        through a bypass line. Include the start                      mass emissions of VOC in pounds that
                                                 detected, a record that the inspection                                   date, start time, and duration in hours                       bypass a control device. For periods
                                                 was performed, the date of the                                           of each period.                                               when the flow indicator is not
                                                 inspection, and a statement that no                                        (2) Reports of all periods recorded                         operating, report the start date, start
                                                 leaks were detected.                                                     under paragraph (h)(3)(ii) of this section                    time, and duration in hours.

                                                                        TABLE 1 TO SUBPART IIIa OF PART 60—EMISSION LIMITS AND STANDARDS FOR VENT STREAMS
                                                 For each. . .                                                                                                 You must. . .

                                                 1. Vent stream ..........................................................................................     a. Reduce emissions of TOC (minus methane and ethane) by 98
                                                                                                                                                                 weight-percent, or to a TOC (minus methane and ethane) concentra-
                                                                                                                                                                 tion of 20 ppmv on a dry basis corrected to 3 percent oxygen by
                                                                                                                                                                 venting emissions through a closed vent system to any combination
                                                                                                                                                                 of non-flare control devices and/or recovery system and meet the re-
                                                                                                                                                                 quirements specified in § 60.613a and § 60.620a; or
                                                                                                                                                               b. Reduce emissions of TOC (minus methane and ethane) by venting
                                                                                                                                                                 emissions through a closed vent system to a flare and meet the re-
                                                                                                                                                                 quirements specified in § 60.619a and § 60.620a.


                                                       TABLE 2 TO SUBPART IIIa OF PART 60—MONITORING REQUIREMENTS FOR COMPLYING WITH 98 WEIGHT-PERCENT
                                                         REDUCTION OF TOTAL ORGANIC COMPOUNDS EMISSIONS OR A LIMIT OF 20 PARTS PER MILLION BY VOLUME
                                                                      Non-flare control device or recovery device                                                                    Parameters to be monitored

                                                 1. All control and recovery devices ..........................................................                a. Presence of flow diverted to the atmosphere from the control and re-
                                                                                                                                                                  covery device; or
                                                                                                                                                               b. Monthly inspections of sealed valves.
                                                 2. Absorber ...............................................................................................   a. Exit temperature of the absorbing liquid; and
                                                                                                                                                               b. Exit specific gravity.
                                                 3. Boiler or process heater with a design heat input capacity less than                                       Firebox temperature.a
                                                   44 megawatts and vent stream is not introduced with or as the pri-
                                                   mary fuel.
                                                 4. Catalytic incinerator ..............................................................................       Temperature upstream and downstream of the catalyst bed.
                                                 5. Carbon adsorber, regenerative ............................................................                 a. Total regeneration stream mass or volumetric flow during carbon
                                                                                                                                                                  bed regeneration cycle(s); and
                                                                                                                                                               b. Temperature of the carbon bed after regeneration [and within 15
                                                                                                                                                                  minutes of completing any cooling cycle(s)].
                                                 6. Carbon adsorber, non-regenerative or regenerated offsite .................                                 Breakthrough.
                                                 7. Condenser ............................................................................................     Exit (product side) temperature.
                                                 8. Scrubber for halogenated vent streams ...............................................                      a. pH of scrubber effluent; and
                                                                                                                                                               b. Scrubber liquid and gas flow rates.
                                                 9. Thermal incinerator ..............................................................................         Firebox temperature.a
                                                 10. Control devices other than an incinerator, boiler, process heater, or                                     As specified by the Administrator.
                                                   flare; or recovery devices other than an absorber, condenser, or car-
                                                   bon adsorber.
                                                   a Monitor may be installed in the firebox or in the ductwork immediately downstream of the firebox before any substantial heat exchange is
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                                                 encountered.




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                                                           TABLE 3 TO SUBPART IIIa OF PART 60—OPERATING PARAMETERS, OPERATING PARAMETER LIMITS AND DATA
                                                                               MONITORING, RECORDKEEPING AND COMPLIANCE FREQUENCIES
                                                                                                                                     And you must monitor, record, and demonstrate continuous compliance using these minimum fre-
                                                                                                                                     quencies. . .
                                                 For the operating parameter                You must establish the fol-
                                                 applicable to you, as specified            lowing operating parameter                                                                                                                                    Data averaging
                                                 in Table 2. . .                            limit. . .                                                  Data measurement                                              Data recording                     period for compli-
                                                                                                                                                                                                                                                               ance
                                                                                                                                                                                                         I                                           I
                                                                                                                                                    Absorbers

                                                 1. Exit temperature of the ab-             Maximum temperature ............         Continuous ......................................................       Every 15 minutes ....................       3-hour block aver-
                                                   sorbing liquid.                                                                                                                                                                                         age.
                                                 2. Exit specific gravity .............     Exit specific gravity range .......      Continuous ......................................................       Every 15 minutes ....................       3-hour block aver-
                                                                                                                                                                                                                                                           age.

                                                                                                                                Boilers or process heaters
                                                                                          (with a design heat input capacity <44MW and vent stream is not introduced with or as the primary fuel)

                                                 3. Firebox temperature ...........         Minimum firebox temperature              Continuous ......................................................       Every 15 minutes ....................       3-hour block aver-
                                                                                                                                                                                                                                                           age.

                                                                                                                                            Catalytic incinerators

                                                 4. Temperature in gas stream               Minimum temperature .............        Continuous ......................................................       Every 15 minutes ....................       3-hour block aver-
                                                   immediately before the cata-                                                                                                                                                                            age.
                                                   lyst bed.
                                                 5. Temperature difference be-              Minimum temperature dif-                 Continuous ......................................................       Every 15 minutes ....................       3-hour block aver-
                                                   tween the catalyst bed inlet               ference.                                                                                                                                                     age.
                                                   and the catalyst bed outlet.

                                                                                                                                               Carbon adsorbers

                                                 6. Total regeneration stream               Minimum mass flow during                 Continuously during regeneration ...................                    Every 15 minutes during re-                 Total flow for
                                                   mass flow during carbon                    carbon bed regeneration                                                                                          generation cycle.                           each regenera-
                                                   bed regeneration cycle(s).                 cycle(s).                                                                                                                                                    tion cycle.
                                                 7. Total regeneration stream               Minimum volumetric flow dur-             Continuously during regeneration ...................                    Every 15 minutes during re-                 Total flow for
                                                   volumetric flow during car-                ing carbon bed regeneration                                                                                      generation cycle.                           each regenera-
                                                   bon bed regeneration                       cycle(s).                                                                                                                                                    tion cycle.
                                                   cycle(s).
                                                 8. Temperature of the carbon               Maximum temperature of the               Continuously during regeneration and for 15                             Every 15 minutes during re-                 Average of regen-
                                                   bed after regeneration [and               carbon bed after regenera-                minutes after completing any cooling                                    generation cycle (including                 eration cycle.
                                                   within 15 minutes of com-                 tion.                                     cycle(s).                                                               any cooling cycle).
                                                   pleting any cooling cycle(s)].
                                                 9. Breakthrough ......................     As defined in § 60.611a ..........       As required by § 60.613a(a)(6)(iii)(B) ..............                   Each monitoring event ............          N/A

                                                                                                                                                   Condensers

                                                 10. Exit (product side) tem-               Maximum temperature ............         Continuous ......................................................       Every 15 minutes ....................       3-hour block aver-
                                                   perature.                                                                                                                                                                                               age.

                                                                                                                              Scrubbers for halogenated vent streams

                                                 11. pH of scrubber effluent .....          Minimum pH ...........................   Continuous ......................................................       Every 15 minutes ....................       3-hour block aver-
                                                                                                                                                                                                                                                           age.
                                                 12. Influent liquid flow .............     Minimum inlet liquid flow ........       Continuous ......................................................       Every 15 minutes ....................       3-hour block aver-
                                                                                                                                                                                                                                                           age.
                                                 13. Influent liquid flow rate and          Minimum influent liquid-to-gas           Continuous ......................................................       Every 15 minutes ....................       3-hour block aver-
                                                   gas stream flow rate.                      ratio.                                                                                                                                                       age.

                                                                                                                                             Thermal incinerators

                                                 14. Firebox temperature .........          Minimum firebox temperature              Continuous ......................................................       Every 15 minutes ....................       3-hour block aver-
                                                                                                                                                                                                                                                           age.

                                                    Control devices other than an incinerator, boiler, process heater, or flare; or recovery devices other than an absorber, condenser, or carbon adsorber

                                                 15. As specified by the Admin-             As specified by the Adminis-             As specified by the Administrator ...................                   As specified by the Adminis-                As specified by
                                                   istrator.                                  trator.                                                                                                          trator.                                     the Adminis-
                                                                                                                                                                                                                                                           trator.
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                                                          TABLE 4 TO SUBPART IIIa OF PART 60—CALIBRATION AND QUALITY CONTROL REQUIREMENTS FOR CONTINUOUS
                                                                                         PARAMETER MONITORING SYSTEM (CPMS)
                                                 If you monitor this param-                   Your accuracy requirements are. . .                                               And your calibration requirements are. . .
                                                 eter. . .

                                                 1. Temperature ....................          a. ±1 percent over the normal range of temperature                                c. Performance evaluation annually and following any period of more than 24
                                                                                                 measured or 2.8 degrees Celsius (5 degrees Fahr-                                  hours throughout which the temperature exceeded the maximum rated
                                                                                                 enheit), whichever is greater, for non-cryogenic tem-                             temperature of the sensor, or the data recorder was off scale.
                                                                                                 perature ranges.                                                               d. Visual inspections and checks of CPMS operation every 3 months, unless
                                                                                              b. ±2.5 percent over the normal range of temperature                                 the CPMS has a redundant temperature sensor.
                                                                                                 measured or 2.8 degrees Celsius (5 degrees Fahr-                               e. Selection of a representative measurement location.
                                                                                                 enheit), whichever is greater, for cryogenic tempera-
                                                                                                 ture ranges.
                                                 2. Flow Rate ........................        a. ±5 percent over the normal range of flow measured                              d. Performance evaluation annually and following any period of more than 24
                                                                                                 or 1.9 liters per minute (0.5 gallons per minute),                                hours throughout which the flow rate exceeded the maximum rated flow
                                                                                                 whichever is greater, for liquid flow rate.                                       rate of the sensor, or the data recorder was off scale.
                                                                                              b. ±5 percent over the normal range of flow measured                              e. Checks of all mechanical connections for leakage monthly.
                                                                                                 or 280 liters per minute (10 cubic feet per minute),                           f. Visual inspections and checks of CPMS operation every 3 months, unless
                                                                                                 whichever is greater, for gas flow rate.                                          the CPMS has a redundant flow sensor.
                                                                                              c. ±5 percent over the normal range measured for                                  g. Selection of a representative measurement location where swirling flow or
                                                                                                 mass flow rate.                                                                   abnormal velocity distributions due to upstream and downstream disturb-
                                                                                                                                                                                   ances at the point of measurement are minimized.
                                                 3. pH ....................................   a. ±0.2 pH units ..............................................................   b. Performance evaluation annually. Conduct a two-point calibration with one
                                                                                                                                                                                   of the two buffer solutions having a pH within 1 of the pH of the operating
                                                                                                                                                                                   limit.
                                                                                                                                                                                c. Visual inspections and checks of CPMS operation every 3 months, unless
                                                                                                                                                                                   the CPMS has a redundant pH sensor.
                                                                                                                                                                                d. Select a measurement location that provides a representative sample of
                                                                                                                                                                                   scrubber effluent and that ensures the fluid is properly mixed.
                                                 4. Specific Gravity ................         a. ±0.02 specific gravity units .........................................         b. Performance evaluation annually.
                                                                                                                                                                                c. Visual inspections and checks of CPMS operation every 3 months, unless
                                                                                                                                                                                   the CPMS has a redundant specific gravity sensor.
                                                                                                                                                                                d. Select a measurement location that provides a representative sample of
                                                                                                                                                                                   specific gravity of the absorbing liquid effluent and that ensures the fluid is
                                                                                                                                                                                   properly mixed.



                                                 ■ 26. Revise the heading of subpart                                                (e) Owners and operators of flares that                              all known and are all listed in Section
                                                 NNN to read as follows:                                                         are subject to the flare related                                        1.1 of ASTM D6420–18 as measurable;
                                                                                                                                 requirements of this subpart and flare                                  ASTM D6420–18 may not be used for
                                                 Subpart NNN—Standards of                                                        related requirements of any other                                       methane and ethane; and ASTM D6420–
                                                 Performance for Volatile Organic                                                regulation in this part or 40 CFR part 61                               18 may not be used as a total VOC
                                                 Compound (VOC) Emissions From                                                   or 63, may elect to comply with the                                     method.
                                                 Synthetic Organic Chemical                                                      requirements in § 60.669a in lieu of all                                *       *     *     *    *
                                                 Manufacturing Industry (SOCMI)                                                  flare related requirements in any other
                                                 Distillation Operations After December                                                                                                                     (e) The following test methods, except
                                                                                                                                 regulation in this part or 40 CFR part 61                               as provided under § 60.8(b), shall be
                                                 30, 1983, and on or Before April 25,                                            or 63.
                                                 2023                                                                                                                                                    used for determining the net heating
                                                                                                                                 ■ 28. Amend § 60.661 by revising the                                    value of the gas combusted to determine
                                                                                                                                 definition of ‘‘Flame zone’’ to read as                                 compliance under § 60.662(b) and for
                                                 ■ 27. Amend § 60.660 by revising                                                follows:                                                                determining the process vent stream
                                                 paragraphs (b) introductory text and
                                                                                                                                 § 60.661          Definitions.                                          TRE index value to determine
                                                 (c)(6) and adding paragraph (e) to read
                                                                                                                                                                                                         compliance under § 60.662(c).
                                                 as follows:                                                                     *      *    *      *    *
                                                                                                                                    Flame zone means the portion of the                                     (1)(i) Method 1 or 1A of appendix A–
                                                 § 60.660 Applicability and designation of                                       combustion chamber in a boiler or                                       1 to this part, as appropriate, for
                                                 affected facility.                                                                                                                                      selection of the sampling site. The
                                                                                                                                 process heater occupied by the flame
                                                 *     *     *      *     *                                                      envelope.                                                               sampling site for the vent stream flow
                                                   (b) The affected facility is any of the                                       *      *    *      *    *                                               rate and molar composition
                                                 following for which construction,                                                                                                                       determination prescribed in paragraphs
                                                                                                                                 ■ 29. Amend § 60.664 by revising
                                                 modification, or reconstruction                                                                                                                         (e)(2) and (3) of this section shall be,
                                                                                                                                 paragraphs (b)(4) introductory text and                                 except for the situations outlined in
                                                 commenced after December 30, 1983,                                              (e) to read as follows:
                                                 and on or before April 25, 2023:                                                                                                                        paragraph (e)(1)(ii) of this section, prior
                                                                                                                                 § 60.664          Test methods and procedures.                          to the inlet of any control device, prior
                                                 *     *     *      *     *
                                                                                                                                 *     *     *    *     *                                                to any post-distillation dilution of the
                                                   (c) * * *                                                                                                                                             stream with air, and prior to any post-
                                                                                                                                   (b) * * *
                                                   (6) Each affected facility operated                                             (4) Method 18 of appendix A–6 to this                                 distillation introduction of halogenated
                                                 with a vent stream flow rate less than                                          part to determine the concentration of                                  compounds into the process vent
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                                                 0.008 scm/min is exempt from all                                                TOC in the control device outlet and the                                stream. No transverse site selection
                                                 provisions of this subpart except for the                                       concentration of TOC in the inlet when                                  method is needed for vents smaller than
                                                 test method and procedure and the                                               the reduction efficiency of the control                                 10 centimeters (4 inches) in diameter.
                                                 recordkeeping and reporting                                                     device is to be determined. ASTM                                           (ii) If any gas stream other than the
                                                 requirements in §§ 60.664(h) and                                                D6420–18 (incorporated by reference,                                    distillation vent stream from the
                                                 60.665(i), (l)(5), and (o).                                                     see § 60.17) may be used in lieu of                                     affected facility is normally conducted
                                                 *     *     *      *     *                                                      Method 18, if the target compounds are                                  through the final recovery device.


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                                                    (A) The sampling site for vent stream                   (C) This efficiency is applied to the              measure the concentration of TOC
                                                 flow rate and molar composition shall                   TOC concentration measured prior to                   including those containing halogens.
                                                 be prior to the final recovery device and               the final recovery device and prior to                   (ii) ASTM D1946–77 or 90
                                                 prior to the point at which the                         the introduction of the nondistillation               (Reapproved 1994) (incorporation by
                                                 nondistillation stream is introduced.                   stream to determine the concentration of              reference as specified in § 60.17 of this
                                                                                                         TOC in the distillation vent stream from              part) to measure the concentration of
                                                    (B) The efficiency of the final recovery
                                                                                                         the final recovery device. This                       carbon monoxide and hydrogen.
                                                 device is determined by measuring the
                                                                                                         concentration of TOC is then used to                     (iii) Method 4 of appendix A–3 to this
                                                 TOC concentration using Method 18 of                    perform the calculations outlined in                  part to measure the content of water
                                                 appendix A–6 to this part, or ASTM                      § 60.664(e)(4) and (5).                               vapor.
                                                 D6420–18 (incorporated by reference,                       (2) The molar composition of the                      (3) The volumetric flow rate shall be
                                                 see § 60.17) as specified in paragraph                  process vent stream shall be determined               determined using Method 2, 2A, 2C, or
                                                 (b)(4) of this section, at the inlet to the             as follows:                                           2D of appendix A–1 to this part, as
                                                 final recovery device after the                            (i) Method 18 of appendix A–6 to this              appropriate.
                                                 introduction of any nondistillation vent                part, or ASTM D6420–18 (incorporated                     (4)(i) The net heating value of the vent
                                                 stream and at the outlet of the final                   by reference, see § 60.17) as specified in            stream shall be calculated using the
                                                 recovery device.                                        paragraph (b)(4) of this section, to                  following equation:




                                                 Where:                                                  Cj = Concentration on a wet basis of                     (ii) The heats of combustion of vent
                                                 HT = Net heating value of the sample, MJ/scm                 compound j in ppm, as measured for               stream components would be required
                                                      (Btu/scf), where the net enthalpy per                   organics by Method 18 of appendix A–             to be determined using ASTM D2382–
                                                      mole of vent stream is based on                         6 to this part, or ASTM D6420–18
                                                                                                                                                               76 (incorporated by reference as
                                                      combustion at 25 °C and 760 mm Hg                       (incorporated by reference, see § 60.17)
                                                      (77 °F and 30 in. Hg), but the standard                 as specified in paragraph (b)(4) of this         specified in § 60.17) if published values
                                                      temperature for determining the volume                  section, and measured for hydrogen and           are not available or cannot be
                                                      corresponding to one mole is 20 °C                      carbon monoxide by ASTM D1946–77 or              calculated.
                                                      (68 °F).                                                90 (Reapproved 1994) (incorporated by
                                                                                                                                                                  (5) The emission rate of TOC in the
                                                 K1 = 1.74 × 10¥7 (1/ppm) (g-mole/scm) (MJ/                   reference, see § 60.17) as indicated in
                                                      kcal) (metric units), where standard                    paragraph (e)(2) of this section.                vent stream shall be calculated using the
                                                      temperature for (g-mole/scm) is 20 °C.             Hj = Net heat of combustion of compound j,            following equation:
                                                 = 1.03 × 10¥11 (1/ppm) (lb-mole/scf) (Btu/                   kcal/(g-mole) [kcal/(lb-mole)], based on
                                                      kcal) (English units) where standard                    combustion at 25 °C and 760 mm Hg
                                                      temperature for (lb/mole/scf) is 68 °F.                 (77 °F and 30 in. Hg).




                                                 Where:                                                  by compound) shall be summed from                     the following data in the report of the
                                                 ETOC = Measured emission rate of TOC, kg/               the individual concentrations of                      initial performance test required under
                                                      hr (lb/hr).                                        compounds containing halogens which                   § 60.8. Where a boiler or process heater
                                                 K2 = 2.494 × 10¥6 (1/ppm) (g-mole/scm) (kg/             were measured by Method 18 of                         with a design heat input capacity of 44
                                                      g) (min/hr) (metric units), where                  appendix A–6 to this part, or ASTM                    MW (150 million Btu/hour) or greater is
                                                      standard temperature for (g-mole/scm) is           D6420–18 (incorporated by reference,
                                                      20 °C.                                                                                                   used to comply with § 60.662(a), a
                                                 = 1.557 × 10¥7 (1/ppm) (lb-mole/scf) (min/
                                                                                                         see § 60.17) as specified in paragraph                report containing performance test data
                                                      hr) (English units), where standard                (b)(4) of this section.                               need not be submitted, but a report
                                                      temperature for (lb-mole/scf) is 68 °F.            *     *      *     *    *                             containing the information in
                                                 Cj = Concentration on a wet basis of                                                                          § 60.665(b)(2)(i) is required. The same
                                                                                                         ■ 30. Amend § 60.665 by revising
                                                      compound j in ppm, as measured by                                                                        data specified in this section shall be
                                                      Method 18 of appendix A–6 to this part,            paragraphs (b) introductory text, (l)
                                                                                                         introductory text, (l)(5) and (6), and (m)            submitted in the reports of all
                                                      or ASTM D6420–18 (incorporated by
                                                      reference, see § 60.17) as specified in            and adding paragraphs (q), (r), and (s) as            subsequently required performance tests
                                                      paragraph (b)(4) of this section, as               follows:                                              where either the emission control
                                                      indicated in paragraph (e)(2) of this                                                                    efficiency of a control device, outlet
                                                      section.                                           § 60.665 Reporting and recordkeeping                  concentration of TOC, or the TRE index
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                                                 Mj = Molecular weight of sample j, g/g-mole             requirements.                                         value of a vent stream from a recovery
                                                      (lb/lb-mole).                                      *     *     *    *     *                              system is determined. Beginning on July
                                                                                                                                                                                                             ER16MY24.036</GPH>




                                                 Qs = Vent stream flow rate, scm/min (scf/                 (b) Each owner or operator subject to               15, 2024, owners and operators must
                                                      min), at a temperature of 20 °C (68 °F).
                                                                                                         the provisions of this subpart shall keep             submit the performance test report
                                                   (6) The total process vent stream                     an up-to-date, readily accessible record              following the procedures specified in
                                                 concentration (by volume) of                            of the following data measured during                 paragraph (q) of this section. Data
                                                                                                                                                                                                             ER16MY24.035</GPH>




                                                 compounds containing halogens (ppmv,                    each performance test, and also include               collected using test methods that are


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                                                 supported by the EPA’s Electronic                       requirements of § 60.8, and the                       The EPA will make all the information
                                                 Reporting Tool (ERT) as listed on the                   performance test must be reported                     submitted through CEDRI available to
                                                 EPA’s ERT website (https://                             according to paragraph (b) of this                    the public without further notice to the
                                                 www.epa.gov/electronic-reporting-air-                   section. Unless the facility qualifies for            owner or operator. Do not use CEDRI to
                                                 emissions/electronic-reporting-tool-ert)                an exemption under the low capacity                   submit information the owner or
                                                 at the time of the test must be submitted               exemption status in § 60.660(c)(5), the               operator claims as CBI. Although the
                                                 in a file format generated using the                    facility must begin compliance with the               EPA does not expect persons to assert a
                                                 EPA’s ERT. Alternatively, the owner or                  requirements set forth in § 60.662.                   claim of CBI, if an owner or operator
                                                 operator may submit an electronic file                     (6) Any change in equipment or                     wishes to assert a CBI claim for some of
                                                 consistent with the extensible markup                   process operation, as recorded under                  the information in the report or
                                                 language (XML) schema listed on the                     paragraph (j) of this section, that                   notification, the owner or operator must
                                                 EPA’s ERT website. Data collected using                 increases the design production                       submit a complete file in the format
                                                 test methods that are not supported by                  capacity above the low capacity                       specified in this subpart, including
                                                 the EPA’s ERT as listed on the EPA’s                    exemption level in § 60.660(c)(5) and                 information claimed to be CBI, to the
                                                 ERT website at the time of the test must                the new capacity resulting from the                   EPA following the procedures in
                                                 be included as an attachment in the ERT                 change for the distillation process unit              paragraphs (q)(1) and (2) of this section.
                                                 or an alternate electronic file.                        containing the affected facility. These               Clearly mark the part or all of the
                                                 *      *     *    *     *                               must be reported as soon as possible                  information that claimed to be CBI.
                                                    (l) Each owner or operator that seeks                after the change and no later than 180                Information not marked as CBI may be
                                                 to comply with the requirements of this                 days after the change. These reports may              authorized for public release without
                                                 subpart by complying with the                           be submitted either in conjunction with               prior notice. Information marked as CBI
                                                 requirements of § 60.660 (c)(4), (c)(5), or             semiannual reports or as a single                     will not be disclosed except in
                                                 (c)(6) or § 60.662 shall submit to the                  separate report. A performance test must              accordance with procedures set forth in
                                                 Administrator semiannual reports of the                 be completed within the same time                     40 CFR part 2. All CBI claims must be
                                                 following recorded information. The                     period to obtain the vent stream flow                 asserted at the time of submission.
                                                 initial report shall be submitted within                rate, heating value, and ETOC. The                    Anything submitted using CEDRI cannot
                                                 6 months after the initial start-up date.               performance test is subject to the                    later be claimed CBI. Furthermore,
                                                 On and after July 15, 2025 or once the                  requirements of § 60.8, and the                       under CAA section 114(c), emissions
                                                 report template for this subpart has been               performance test must be reported                     data is not entitled to confidential
                                                 available on the Compliance and                         according to paragraph (b) of this                    treatment, and the EPA is required to
                                                 Emissions Data Reporting Interface                      section. The facility must begin                      make emissions data available to the
                                                 (CEDRI) website (https://www.epa.gov/                   compliance with the requirements set                  public. Thus, emissions data will not be
                                                 electronic-reporting-air-emissions/cedri)               forth in § 60.660(d) or § 60.662. If the              protected as CBI and will be made
                                                 for 1 year, whichever date is later,                    facility chooses to comply with                       publicly available. The owner or
                                                 owners and operators must submit all                    § 60.662, the facility may qualify for an             operator must submit the same file
                                                                                                         exemption in § 60.660(c)(4) or (6).                   submitted to the CBI office with the CBI
                                                 subsequent reports using the
                                                                                                                                                               omitted to the EPA via the EPA’s CDX
                                                 appropriate electronic report template                  *      *     *    *     *
                                                                                                            (m) The requirements of § 60.665(l)                as described earlier in this paragraph
                                                 on the CEDRI website for this subpart
                                                                                                         remain in force until and unless EPA, in              (q).
                                                 and following the procedure specified                                                                            (1) The preferred method to receive
                                                 in paragraph (q) of this section. The date              delegating enforcement authority to a
                                                                                                                                                               CBI is for it to be transmitted
                                                 report templates become available will                  State under section 111(c) of the Act,
                                                                                                                                                               electronically using email attachments,
                                                 be listed on the CEDRI website. Unless                  approves reporting requirements or an                 File Transfer Protocol, or other online
                                                 the Administrator or delegated state                    alternative means of compliance                       file sharing services. Electronic
                                                 agency or other authority has approved                  surveillance adopted by such State. In                submissions must be transmitted
                                                 a different schedule for submission of                  that event, affected sources within the               directly to the OAQPS CBI Office at the
                                                 reports, the report must be submitted by                State will be relieved of the obligation              email address oaqpscbi@epa.gov, and as
                                                 the deadline specified in this subpart,                 to comply with § 60.665(l), provided                  described above, should include clear
                                                 regardless of the method in which the                   that they comply with the requirements                CBI markings. ERT files should be
                                                 report is submitted.                                    established by the State. The EPA will                flagged to the attention of the Group
                                                 *      *     *    *     *                               not approve a waiver of electronic                    Leader, Measurement Policy Group; all
                                                    (5) Any change in equipment or                       reporting to the EPA in delegating                    other files should be flagged to the
                                                 process operation that increases the                    enforcement authority. Thus, electronic               attention of the SOCMI NSPS Sector
                                                 operating vent stream flow rate above                   reporting to the EPA cannot be waived,                Lead. Owners and operators who do not
                                                 the low flow exemption level in                         and as such, the provisions of this                   have their own file sharing service and
                                                 § 60.660(c)(6), including a measurement                 paragraph cannot be used to relieve                   who require assistance with submitting
                                                 of the new vent stream flow rate, as                    owners or operators of affected facilities            large electronic files that exceed the file
                                                 recorded under § 60.665(i). These must                  of the requirement to submit the                      size limit for email attachments should
                                                 be reported as soon as possible after the               electronic reports required in this                   email oaqpscbi@epa.gov to request a file
                                                 change and no later than 180 days after                 section to the EPA.                                   transfer link.
                                                 the change. These reports may be                        *      *     *    *     *                                (2) If an owner or operator cannot
                                                 submitted either in conjunction with                       (q) If an owner or operator is required
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                                                                                                                                                               transmit the file electronically, the
                                                 semiannual reports or as a single                       to submit notifications or reports                    owner or operator may send CBI
                                                 separate report. A performance test must                following the procedure specified in                  information through the postal service
                                                 be completed with the same time period                  this paragraph (q), the owner or operator             to the following address: OAQPS
                                                 to verify the recalculated flow value and               must submit notifications or reports to               Document Control Officer (C404–02),
                                                 to obtain the vent stream characteristics               the EPA via CEDRI, which can be                       OAQPS, U.S. Environmental Protection
                                                 of heating value and ETOC. The                          accessed through the EPA’s Central Data               Agency, 109 T.W. Alexander Drive, P.O.
                                                 performance test is subject to the                      Exchange (CDX) (https://cdx.epa.gov/).                Box 12055, Research Triangle Park,


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                                                 North Carolina 27711. ERT files should                  for failure to timely comply with the                 electronic reporting to the EPA required
                                                 be sent to the attention of the Group                   electronic submittal requirement. To                  by this subpart.
                                                 Leader, Measurement Policy Group, and                   assert a claim of force majeure, owners               ■ 32. Add subpart NNNa to read as
                                                 all other files should be sent to the                   and operators must meet the                           follows:
                                                 attention of the SOCMI NSPS Sector                      requirements outlined in paragraphs
                                                 Lead. The mailed CBI material should                    (s)(1) through (5) of this section.                   Subpart NNNa—Standards of
                                                 be double wrapped and clearly marked.                      (1) An owner or operator may submit                Performance for Volatile Organic
                                                 Any CBI markings should not show                        a claim if a force majeure event is about             Compound (VOC) Emissions From
                                                 through the outer envelope.                             to occur, occurs, or has occurred or                  Synthetic Organic Chemical
                                                    (r) Owners and operators required to                 there are lingering effects from such an              Manufacturing Industry (SOCMI)
                                                 electronically submit notifications or                  event within the period of time                       Distillation Operations for Which
                                                 reports through CEDRI in the EPA’s                      beginning five business days prior to the             Construction, Reconstruction, or
                                                 CDX may assert a claim of EPA system                    date the submission is due. For the                   Modification Commenced After April
                                                 outage for failure to timely comply with                purposes of this section, a force majeure             25, 2023
                                                 the electronic submittal requirement. To                event is defined as an event that will be
                                                 assert a claim of EPA system outage,                                                                          Sec.
                                                                                                         or has been caused by circumstances                   60.660a Am I subject to this subpart?
                                                 owners and operators must meet the                      beyond the control of the affected                    60.661a What definitions must I know?
                                                 requirements outlined in paragraphs                     facility, its contractors, or any entity              60.662a What standards and associated
                                                 (r)(1) through (7) of this section.                     controlled by the affected facility that                   requirements must I meet?
                                                    (1) The owner or operator must have                  prevents the owner or operator from                   60.663a What are my monitoring,
                                                 been or will be precluded from                          complying with the requirement to                          installation, operation, and maintenance
                                                 accessing CEDRI and submitting a                        submit a report electronically within the                  requirements?
                                                 required report within the time                         time period prescribed. Examples of                   60.664a What test methods and procedures
                                                 prescribed due to an outage of either the               such events are acts of nature (e.g.,                      must I use to determine compliance with
                                                 EPA’s CEDRI or CDX systems.                                                                                        the standards?
                                                                                                         hurricanes, earthquakes, or floods), acts             60.665a What records must I keep and what
                                                    (2) The outage must have occurred                    of war or terrorism, or equipment failure                  reports must I submit?
                                                 within the period of time beginning five                or safety hazard beyond the control of                60.666a What do the terms associated with
                                                 business days prior to the date that the                the affected facility (e.g., large scale                   reconstruction mean for this subpart?
                                                 submission is due.                                      power outage).                                        60.667a What are the chemicals that I must
                                                    (3) The outage may be planned or                        (2) The owner or operator must                          produce to be affected by subpart NNNa?
                                                 unplanned.                                              submit notification to the Administrator              60.668a [Reserved]
                                                    (4) The owner or operator must                       in writing as soon as possible following              60.669a What are my requirements if I use
                                                 submit notification to the Administrator                the date the owner or operator first                       a flare to comply with this subpart?
                                                 in writing as soon as possible following                                                                      60.670a What are my requirements for
                                                                                                         knew, or through due diligence should                      closed vent systems?
                                                 the date the owner or operator first                    have known, that the event may cause
                                                 knew, or through due diligence should                                                                         Table 1 to Subpart NNNa of Part 60—
                                                                                                         or has caused a delay in reporting.                        Emission Limits and Standards for Vent
                                                 have known, that the event may cause                       (3) An owner or operator must                           Streams
                                                 or has caused a delay in reporting.                     provide to the Administrator:                         Table 2 to Subpart NNNa of Part 60—
                                                    (5) The owner or operator must                          (i) A written description of the force                  Monitoring Requirements for Complying
                                                 provide to the Administrator a written                  majeure event;                                             With 98 Weight-Percent Reduction of
                                                 description identifying:                                                                                           Total Organic Compounds Emissions or
                                                                                                            (ii) A rationale for attributing the
                                                    (i) The date(s) and time(s) when CDX                                                                            a Limit of 20 Parts Per Million by
                                                                                                         delay in reporting beyond the regulatory
                                                 or CEDRI was accessed and the system                                                                               Volume
                                                                                                         deadline to the force majeure event;                  Table 3 to Subpart NNNa of Part 60—
                                                 was unavailable;
                                                    (ii) A rationale for attributing the                    (iii) A description of measures taken                   Operating Parameters, Operating
                                                 delay in reporting beyond the regulatory                or to be taken to minimize the delay in                    Parameter Limits and Data Monitoring,
                                                 deadline to EPA system outage;                          reporting; and                                             Recordkeeping and Compliance
                                                    (iii) A description of measures taken                   (iv) The date by which the owner or                     Frequencies
                                                                                                         operator proposes to report, or if the                Table 4 to Subpart NNNa of Part 60—
                                                 or to be taken to minimize the delay in                                                                            Calibration and Quality Control
                                                 reporting; and                                          owner or operator has already met the
                                                                                                         reporting requirement at the time of the                   Requirements for Continuous Parameter
                                                    (iv) The date by which the owner or                                                                             Monitoring System (CPMS)
                                                 operator proposes to report, or if the                  notification, the date the report was
                                                 owner or operator has already met the                   submitted.                                            Subpart NNNa—Standards of
                                                 reporting requirement at the time of the                   (4) The decision to accept the claim               Performance for Volatile Organic
                                                 notification, the date the report was                   of force majeure and allow an extension               Compound (VOC) Emissions From
                                                 submitted.                                              to the reporting deadline is solely                   Synthetic Organic Chemical
                                                    (6) The decision to accept the claim                 within the discretion of the                          Manufacturing Industry (SOCMI)
                                                 of EPA system outage and allow an                       Administrator.                                        Distillation Operations for Which
                                                 extension to the reporting deadline is                     (5) In any circumstance, the reporting             Construction, Reconstruction, or
                                                 solely within the discretion of the                     must occur as soon as possible after the              Modification Commenced After April
                                                 Administrator.                                          force majeure event occurs.                           25, 2023
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                                                    (7) In any circumstance, the report                  ■ 31. Amend § 60.668 by revising
                                                 must be submitted electronically as                     paragraph (b) to read as follows:                     § 60.660a   Am I subject to this subpart?
                                                 soon as possible after the outage is                                                                            (a) You are subject to this subpart if
                                                 resolved.                                               § 60.668   Delegation of authority.                   you operate an affected facility
                                                    (s) Owners and operators required to                 *     *    *     *      *                             designated in paragraph (b) of this
                                                 electronically submit notifications or                    (b) Authorities which will not be                   section that produces any of the
                                                 reports through CEDRI in the EPA’s                      delegated to States: § 60.663(e) and                  chemicals listed in § 60.667a as a
                                                 CDX may assert a claim of force majeure                 approval of an alternative to any                     product, co-product, by-product, or


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                                                 intermediate, except as provided in                     additional liquid is added during the                 compounds containing halogens of 20
                                                 paragraph (c) of this section.                          distillation operation.                               ppmv (by compound) or greater.
                                                    (b) The affected facility is any of the                 Breakthrough means the time when                      Incinerator means any enclosed
                                                 following for which construction,                       the level of TOC, measured at the outlet              combustion device that is used for
                                                 modification, or reconstruction                         of the first bed, has been detected is at             destroying organic compounds and does
                                                 commenced after April 25, 2023:                         the highest concentration allowed to be               not extract energy in the form of steam
                                                    (1) Each distillation unit not                       discharged from the adsorber system                   or process heat.
                                                 discharging its vent stream into a                      and indicates that the adsorber bed                      Pressure-assisted multi-point flare
                                                 recovery system.                                        should be replaced.                                   means a flare system consisting of
                                                    (2) Each combination of a distillation                  Boiler means any enclosed                          multiple flare burners in staged arrays
                                                 unit and the recovery system into which                 combustion device that extracts useful                whereby the vent stream pressure is
                                                 its vent stream is discharged.                          energy in the form of steam.                          used to promote mixing and smokeless
                                                    (3) Each combination of two or more                     By compound means by individual                    operation at the flare burner tips.
                                                 distillation units and the common                       stream components, not carbon                         Pressure-assisted multi-point flares are
                                                 recovery system into which their vent                   equivalents.                                          designed for smokeless operation at
                                                 streams are discharged.                                    Closed vent system means a system                  velocities up to Mach = 1 conditions
                                                    (c) Exemptions from the provisions of                that is not open to the atmosphere and                (i.e., sonic conditions), can be elevated
                                                 paragraph (a) of this section are as                    is composed of piping, ductwork,                      or at ground level, and typically use
                                                 follows:                                                connections, and, if necessary, flow                  cross-lighting for flame propagation to
                                                    (1) Any distillation unit operating as               inducing devices that transport gas or                combust any flare vent gases sent to a
                                                 part of a process unit which produces                   vapor from an emission point to a                     particular stage of flare burners.
                                                 coal tar or beverage alcohols, or which                 control device.                                          Primary fuel means the fuel fired
                                                 uses, contains, and produces no VOC is                     Continuous recorder means a data                   through a burner or a number of similar
                                                 not an affected facility.                               recording device recording an                         burners. The primary fuel provides the
                                                    (2) Any distillation unit that is subject            instantaneous data value at least once                principal heat input to the device, and
                                                 to the provisions of subpart DDD is not                 every 15 minutes.                                     the amount of fuel is sufficient to
                                                 an affected facility.                                      Distillation operation means an                    sustain operation without the addition
                                                    (3) Any distillation unit that is                                                                          of other fuels.
                                                                                                         operation separating one or more feed
                                                 designed and operated as a batch                                                                                 Process heater means a device that
                                                                                                         stream(s) into two or more exit
                                                 operation is not an affected facility.                                                                        transfers heat liberated by burning fuel
                                                                                                         stream(s), each exit stream having
                                                    (4) Each affected facility in a process
                                                                                                         component concentrations different                    to fluids contained in tubes, including
                                                 unit with a total design capacity for all
                                                                                                         from those in the feed stream(s). The                 all fluids except water that is heated to
                                                 chemicals produced within that unit of
                                                                                                         separation is achieved by the                         produce steam.
                                                 less than one gigagram per year is
                                                                                                         redistribution of the components                         Process unit means equipment
                                                 exempt from all provisions of this
                                                                                                         between the liquid and vapor-phase as                 assembled and connected by pipes or
                                                 subpart except for the recordkeeping
                                                                                                         they approach equilibrium within the                  ducts to produce, as intermediates or
                                                 and reporting requirements in
                                                                                                         distillation unit.                                    final products, one or more of the
                                                 § 60.665a(h), (j)(6), and (o).
                                                                                                            Distillation unit means a device or                chemicals in § 60.667a. A process unit
                                                    (5) Each affected facility operated
                                                                                                         vessel in which distillation operations               can operate independently if supplied
                                                 with a vent stream flow rate less than
                                                                                                         occur, including all associated internals             with sufficient fuel or raw materials and
                                                 0.008 standard cubic meter per minute
                                                                                                         (such as trays or packing) and                        sufficient product storage facilities.
                                                 (scm/min) is exempt from all provisions
                                                 of this subpart except for the test                     accessories (such as reboiler, condenser,                Product means any compound or
                                                 method and procedure and the                            vacuum pump, steam jet, etc.), plus any               chemical listed in § 60.667a that is
                                                 recordkeeping and reporting                             associated recovery system.                           produced for sale as a final product as
                                                 requirements in § 60.664a(e) and                           Flame zone means the portion of the                that chemical, or for use in the
                                                 § 60.665a(i), (j)(7), and (p).                          combustion chamber in a boiler or                     production of other chemicals or
                                                    (6) Each affected facility operated                  process heater occupied by the flame                  compounds. By-products, co-products,
                                                 with a vent stream flow rate less than                  envelope.                                             and intermediates are considered to be
                                                 0.001 pound per hour (lb/hr) of TOC is                     Flow indicator means a device which                products.
                                                 exempt from all provisions of this                      indicates whether gas flow is present in                 Recovery device means an individual
                                                 subpart except for the test method and                  a vent stream.                                        unit of equipment, such as an absorber,
                                                 procedure and the recordkeeping and                        Fuel gas means gases that are                      carbon adsorber, or condenser, capable
                                                 reporting requirements in §§ 60.664a(f)                 combusted to derive useful work or                    of and used for the purpose of
                                                 and 60.665a(i), (j)(7), and (p).                        heat.                                                 recovering chemicals for use, reuse, or
                                                    (7) A vent stream going to a fuel gas                   Fuel gas system means the offsite and              sale.
                                                 system as defined in § 63.661a.                         onsite piping and flow and pressure                      Recovery system means an individual
                                                                                                         control system that gathers gaseous                   recovery device or series of such devices
                                                 § 60.661a   What definitions must I know?               stream(s) generated by onsite                         applied to the same vent stream.
                                                    As used in this subpart, all terms not               operations, may blend them with other                    Relief valve means a valve used only
                                                 defined herein have the meaning given                   sources of gas, and transports the                    to release an unplanned, nonroutine
                                                                                                         gaseous stream for use as fuel gas in                 discharge. A relief valve discharge
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                                                 them in the Clean Air Act and subpart
                                                 A of this part.                                         combustion devices or in in-process                   results from an operator error, a
                                                    Batch distillation operation means a                 combustion equipment such as furnaces                 malfunction such as a power failure or
                                                 noncontinuous distillation operation in                 and gas turbines either singly or in                  equipment failure, or other unexpected
                                                 which a discrete quantity or batch of                   combination.                                          cause that requires immediate venting of
                                                 liquid feed is charged into a distillation                 Halogenated vent stream means any                  gas from process equipment in order to
                                                 unit and distilled at one time. After the               vent stream determined to have a total                avoid safety hazards or equipment
                                                 initial charging of the liquid feed, no                 concentration (by volume) of                          damage.


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                                                   Total organic compounds (TOC)                            (1) Prior to venting to the atmosphere,            Equipment contents may be determined
                                                 means those compounds measured                          remove process liquids from the                       using process knowledge.
                                                 according to the procedures in Method                   equipment as much as practical and
                                                 18 of appendix A–6 of this part or the                  depressurize the equipment to either: A               § 60.663a What are my monitoring,
                                                                                                                                                               installation, operation, and maintenance
                                                 concentration of organic compounds                      flare meeting the requirements of                     requirements?
                                                 measured according to the procedures                    § 60.669a, as applicable, or using any
                                                                                                                                                                  (a) Except as specified in paragraphs
                                                 in Method 21 or Method 25A of                           combination of a non-flare control
                                                                                                                                                               (a)(5) through (7) of this section, if you
                                                 appendix A–7 of this part.                              device or recovery device meeting the
                                                                                                                                                               use a non-flare control device or
                                                   Vent stream means any gas stream                      requirements in table 1 to this subpart
                                                                                                                                                               recovery system to comply with the
                                                 discharged directly from a distillation                 until one of the following conditions, as
                                                                                                                                                               TOC emission limit specified in table 1
                                                 facility to the atmosphere or indirectly                applicable, is met.
                                                                                                                                                               to this subpart, then you must comply
                                                 to the atmosphere after diversion                          (i) The vapor in the equipment served
                                                                                                                                                               with paragraphs (a)(1) through (4), (b),
                                                 through other process equipment. The                    by the maintenance vent has a lower
                                                                                                                                                               and (c) of this section.
                                                 vent stream excludes equipment leaks                    explosive limit (LEL) of less than 10                    (1) Install a continuous parameter
                                                 including, but not limited to, pumps,                   percent.                                              monitoring system(s) (CPMS) and
                                                 compressors, and valves.                                   (ii) If there is no ability to measure the         monitor the operating parameter(s)
                                                                                                         LEL of the vapor in the equipment based               applicable to the control device or
                                                 § 60.662a What standards and associated                 on the design of the equipment, the
                                                 requirements must I meet?                                                                                     recovery system as specified in table 2
                                                                                                         pressure in the equipment served by the               to this subpart or established according
                                                    (a) You must comply with the                         maintenance vent is reduced to 5
                                                 emission limits and standards specified                                                                       to paragraph (c) of this section.
                                                                                                         pounds per square inch gauge (psig) or                   (2) Establish the applicable minimum,
                                                 in table 1 to this subpart and the                      less. Upon opening the maintenance                    maximum, or range for the operating
                                                 requirements specified in paragraphs (b)                vent, active purging of the equipment                 parameter limit as specified in table 3 to
                                                 and (c) of this section for each vent                   cannot be used until the LEL of the                   this subpart or established according to
                                                 stream on and after the date on which                   vapors in the maintenance vent (or                    paragraph (c) of this section by
                                                 the initial performance test required by                inside the equipment if the maintenance               calculating the value(s) as the arithmetic
                                                 §§ 60.8 and 60.664a is completed, but                   vent is a hatch or similar type of                    average of operating parameter
                                                 not later than 60 days after achieving                  opening) is less than 10 percent.                     measurements recorded during the three
                                                 the maximum production rate at which                       (iii) The equipment served by the                  test runs conducted for the most recent
                                                 the affected facility will be operated, or              maintenance vent contains less than 50                performance test. You may operate
                                                 180 days after the initial start-up,                    pounds of total VOC.                                  outside of the established operating
                                                 whichever date comes first. The                            (iv) If, after applying best practices to          parameter limit(s) during subsequent
                                                 standards in this section apply at all                  isolate and purge equipment served by                 performance tests in order to establish
                                                 times, including periods of startup,                    a maintenance vent, none of the                       new operating limits. You must include
                                                 shutdown and malfunction. As                            applicable criterion in paragraphs                    the updated operating limits with the
                                                 provided in § 60.11(f), this provision                  (c)(1)(i) through (iii) of this section can           performance test results submitted to
                                                 supersedes the exemptions for periods                   be met prior to installing or removing a              the Administrator pursuant to
                                                 of startup, shutdown and malfunction in                 blind flange or similar equipment blind,              § 60.665a(b). Upon establishment of a
                                                 the general provisions in subpart A of                  then the pressure in the equipment                    new operating limit, you must thereafter
                                                 this part.                                              served by the maintenance vent must be                operate under the new operating limit.
                                                    (b) The following release events from                reduced to 2 psig or less before                      If the Administrator determines that you
                                                 an affected facility are a violation of the             installing or removing the equipment                  did not conduct the performance test in
                                                 emission limits and standards specified                 blind. During installation or removal of              accordance with the applicable
                                                 in table 1 to this subpart.                             the equipment blind, active purging of                requirements or that the operating limit
                                                    (1) Any relief valve discharge to the                the equipment may be used provided                    established during the performance test
                                                 atmosphere of a vent stream.                            the equipment pressure at the location                does not correspond to the conditions
                                                    (2) The use of a bypass line at any                  where purge gas is introduced remains                 specified in § 60.664a(a), then you must
                                                 time on a closed vent system to divert                  at 2 psig or less.                                    conduct a new performance test and
                                                 emissions to the atmosphere, or to a                       (2) Except for maintenance vents                   establish a new operating limit.
                                                 control device or recovery device not                   complying with the alternative in                        (3) Monitor, record, and demonstrate
                                                 meeting the requirements specified in                   paragraph (c)(1)(iii) of this section, you            continuous compliance using the
                                                 § 60.663a.                                              must determine the LEL or, if                         minimum frequencies specified in table
                                                    (c) You may designate a vent stream                  applicable, equipment pressure using                  3 to this subpart or established
                                                 as a maintenance vent if the vent is only               process instrumentation or portable                   according to paragraph (c) of this
                                                 used as a result of startup, shutdown,                  measurement devices and follow                        section.
                                                 maintenance, or inspection of                           procedures for calibration and                           (4) Comply with the calibration and
                                                 equipment where equipment is emptied,                   maintenance according to                              quality control requirements as
                                                 depressurized, degassed, or placed into                 manufacturer’s specifications.                        specified in table 4 to this subpart or
                                                 service. You must comply with the                          (3) For maintenance vents complying                established according to paragraph (c) of
                                                 applicable requirements in paragraphs                   with the alternative in paragraph                     this section that are applicable to the
                                                 (c)(1) through (3) of this section for each             (c)(1)(iii) of this section, you must
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                                                                                                                                                               CPMS used.
                                                 maintenance vent. Any vent stream                       determine mass of VOC in the                             (5) Any vent stream introduced with
                                                 designated as a maintenance vent is                     equipment served by the maintenance                   primary fuel into a boiler or process
                                                 only subject to the maintenance vent                    vent based on the equipment size and                  heater is exempt from the requirements
                                                 provisions in this paragraph (c) and the                contents after considering any contents               specified in paragraphs (a)(1) through
                                                 associated recordkeeping and reporting                  drained or purged from the equipment.                 (4) of this section.
                                                 requirements in § 60.665a(g),                           Equipment size may be determined from                    (6) If you vent emissions through a
                                                 respectively.                                           equipment design specifications.                      closed vent system to an adsorber(s) that


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                                                 cannot be regenerated or a regenerative                 adsorbent was last replaced, conduct                  subpart, all affected facilities must be
                                                 adsorber(s) that is regenerated offsite,                monitoring to detect breakthrough at                  run at full operating conditions and
                                                 then you must install a system of two or                least monthly if the adsorbent has more               flow rates during any performance test.
                                                 more adsorber units in series and                       than 2 months of life remaining, at least             Performance tests are not required if you
                                                 comply with the requirements specified                  weekly if the adsorbent has between 2                 determine compliance using a CEMS
                                                 in paragraphs (a)(6)(i) through (iii) of                months and 2 weeks of life remaining,                 that meets the requirements outlined in
                                                 this section in addition to the                         and at least daily if the adsorbent has 2             paragraph (g) of this section.
                                                 requirements specified in paragraphs                    weeks or less of life remaining.                         (1) Conduct initial performance tests
                                                 (a)(1) through (4) of this section.                        (7) If you install a continuous                    no later than the date required by
                                                    (i) Conduct an initial performance test              emissions monitoring system (CEMS) to                 § 60.8(a).
                                                 or design evaluation of the adsorber and                demonstrate compliance with the TOC                      (2) Conduct subsequent performance
                                                 establish the breakthrough limit and                    standard in table 1 of this subpart, you              tests no later than 60 calendar months
                                                 adsorber bed life.                                      must comply with the requirements                     after the previous performance test.
                                                    (ii) Monitor the TOC concentration                   specified in § 60.664a(g) in lieu of the                 (b) The following methods, except as
                                                 through a sample port at the outlet of                  requirements specified in paragraphs                  provided in § 60.8(b) must, must be
                                                 the first adsorber bed in series according              (a)(1) through (4) and (c) of this section.           used as reference methods to determine
                                                 to the schedule in paragraph                               (b) If you vent emissions through a                compliance with the emission limit or
                                                 (a)(6)(iii)(B) of this section. You must                closed vent system to a boiler or process             percent reduction efficiency specified in
                                                 measure the concentration of TOC using                  heater, then the vent stream must be                  table 1 to this subpart for non-flare
                                                 either a portable analyzer, in accordance               introduced into the flame zone of the                 control devices and/or recovery
                                                 with Method 21 of appendix A–7 of this                  boiler or process heater.                             systems.
                                                 part using methane, propane, or                            (c) If you seek to demonstrate                        (1) Method 1 or 1A of appendix A–1
                                                 isobutylene as the calibration gas or                   compliance with the standards specified               to this part, as appropriate, for selection
                                                 Method 25A of appendix A–7 of this                      under § 60.662a with control devices                  of the sampling sites. The inlet sampling
                                                 part using methane or propane as the                    other than an incinerator, boiler, process            site for determination of vent stream
                                                 calibration gas.                                        heater, or flare; or recovery devices                 molar composition or TOC (less
                                                    (iii) Comply with paragraph                          other than an absorber, condenser, or                 methane and ethane) reduction
                                                 (a)(6)(iii)(A) of this section and comply               carbon adsorber, you shall provide to                 efficiency shall be prior to the inlet of
                                                 with the monitoring frequency                           the Administrator prior to conducting                 the control device or, if equipped with
                                                 according to paragraph (a)(6)(iii)(B) of                the initial performance test information              a recovery system, then prior to the inlet
                                                 this section.                                           describing the operation of the control               of the first recovery device in the
                                                    (A) The first adsorber in series must                device or recovery device and the                     recovery system.
                                                 be replaced immediately when                            parameter(s) which would indicate                        (2) Method 2, 2A, 2C, or 2D of
                                                 breakthrough, as defined in § 60.661a, is               proper operation and maintenance of                   appendix A–1 to this part, as
                                                 detected between the first and second                   the device and how the parameter(s) are               appropriate, for determination of the gas
                                                 adsorber. The original second adsorber                  indicative of control of TOC emissions.               volumetric flow rates.
                                                 (or a fresh canister) will become the new               The Administrator may request further                    (3) Method 3A of appendix A–2 to
                                                 first adsorber and a fresh adsorber will                information and will specify                          this part or the manual method in ANSI/
                                                 become the second adsorber. For                         appropriate monitoring procedures or                  ASME PTC 19.10–1981 (incorporated by
                                                 purposes of this paragraph (a)(6)(iii)(A),              requirements, including operating                     reference, see § 60.17) must be used to
                                                 ‘‘immediately’’ means within 8 hours of                 parameters to be monitored, averaging                 determine the oxygen concentration
                                                 the detection of a breakthrough for                     times for determining compliance with                 (%O2d) for the purposes of determining
                                                 adsorbers of 55 gallons or less, and                    the operating parameter limits, and                   compliance with the 20 ppmv limit. The
                                                 within 24 hours of the detection of a                   ongoing calibration and quality control               sampling site must be the same as that
                                                 breakthrough for adsorbers greater than                 requirements.                                         of the TOC samples, and the samples
                                                 55 gallons. You must monitor at the                                                                           must be taken during the same time that
                                                 outlet of the first adsorber within 3 days              § 60.664a What test methods and
                                                                                                                                                               the TOC samples are taken. The TOC
                                                 of replacement to confirm it is                         procedures must I use to determine
                                                                                                         compliance with the standards?                        concentration corrected to 3 percent O2
                                                 performing properly.                                                                                          (Cc) must be computed using the
                                                    (B) Based on the adsorber bed life                     (a) For the purpose of demonstrating
                                                                                                                                                               following equation:
                                                 established according to paragraph                      compliance with the emission limits
                                                 (a)(6)(i) of this section and the date the              and standards specified in table 1 to this            Equation 1 to Paragraph (b)(3)




                                                 Where:                                                  TOC in the control device outlet or in                all listed in section 1.1 of ASTM D6420–
                                                 Cc = Concentration of TOC corrected to 3                the outlet of the final recovery device in            18 as measurable; ASTM D6420–18 may
                                                     percent O2, dry basis, ppm by volume.
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                                                                                                         a recovery system, and to determine the               not be used for methane and ethane; and
                                                 CTOC = Concentration of TOC (minus                      concentration of TOC in the inlet when                ASTM D6420–18 must not be used as a
                                                     methane and ethane), dry basis, ppm by              the reduction efficiency of the control
                                                     volume.
                                                                                                                                                               total VOC method.
                                                                                                         device or recovery system is to be
                                                 %O2d = Concentration of O2, dry basis,                                                                           (i) The sampling time for each run
                                                     percent by volume.
                                                                                                         determined. ASTM D6420–18
                                                                                                                                                               must be 1 hour in which either an
                                                                                                         (incorporated by reference, see § 60.17)
                                                   (4) Method 18 of appendix A–6 to this                 may be used in lieu of Method 18, if the              integrated sample or at least four grab
                                                                                                                                                               samples must be taken. If grab sampling
                                                                                                                                                                                                             ER16MY24.037</GPH>




                                                 part to determine the concentration of                  target compounds are all known and are


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                                                 is used then the samples must be taken                    (ii) The emission reduction (R) of TOC              determined using the following
                                                 at 15-minute intervals.                                 (minus methane and ethane) must be                    equation:
                                                                                                                                                               Equation 2 to Paragraph (b)(4)(ii)




                                                 Where:                                                  Eo = Mass rate of TOC discharged to the                 (iii) The mass rates of TOC (Ei, Eo)
                                                 R = Emission reduction, percent by weight.                  atmosphere, kg/hr (lb/hr).                        must be computed using the following
                                                 Ei = Mass rate of TOC entering the control                                                                    equations:
                                                      device or recovery system, kg/hr (lb/hr).
                                                                                                                                                               Equations 3 and 4 to Paragraph (b)(4)(iii)



                                                                                                                  Ii;= K,   (tCvM,}.i
                                                                                                                  Eo=K.(tc.,M.., )Q0

                                                 Where:                                                       recovery system, respectively, g/g-mole          = 1.557 × 10–7 (1/ppm) (lb-mole/scf) (min/hr)
                                                 Cij, Coj = Concentration of sample component                 (lb/lb-mole).                                         (English units), where standard
                                                       ‘‘j’’ of the gas stream at the inlet and          Qi, Qo = Flow rate of gas stream at the inlet              temperature for (lb-mole/scf) is 68 °F.
                                                                                                              and outlet of the control device or
                                                       outlet of the control device or recovery                                                                  (iv) The TOC concentration (CTOC) is
                                                                                                              recovery system, respectively, dscm/min
                                                       system, respectively, dry basis, ppm by                (dscf/min).                                      the sum of the individual components
                                                       volume.                                           K2 = 2.494 × 10–6 (1/ppm)(g-mole/scm) (kg/            and must be computed for each run
                                                 Mij, Moj = Molecular weight of sample                        g) (min/hr) (metric units), where                using the following equation:
                                                       component ‘‘j’’ of the gas stream at the               standard temperature for (g-mole/scm) is
                                                       inlet and outlet of the control device or              20 °C.                                           Equation 5 to Paragraph (b)(4)(iv)




                                                 Where:                                                  with the requirements of 40 CFR part                  weight-percent reduction of TOC (minus
                                                 CTOC = Concentration of TOC (minus                      266, subpart H;                                       methane and ethane) across the
                                                      methane and ethane), dry basis, ppm by               (ii) Has certified compliance with the              combustion device shall be determined
                                                      volume.                                            interim status requirements of 40 CFR                 by comparing the TOC (minus methane
                                                 Cj = Concentration of sample components                 part 266, subpart H;                                  and ethane) in all combusted vent
                                                      ‘‘j’’, dry basis, ppm by volume.                                                                         streams, primary fuels, and secondary
                                                 n = Number of components in the sample.
                                                                                                           (iii) Has submitted a Notification of
                                                                                                         Compliance under 40 CFR 63.1207(j)                    fuels with the TOC (minus methane and
                                                    (c) The requirement for initial and                  and complies with the requirements of                 ethane) exiting the combustion device.
                                                 subsequent performance tests are                        40 CFR part 63, subpart EEE; or                          (e) Any owner or operator subject to
                                                 waived, in accordance with § 60.8(b), for                 (iv) Complies with 40 CFR part 63,                  the provisions of this subpart seeking to
                                                 the following:                                          subpart EEE and will submit a                         demonstrate compliance with
                                                    (1) When a boiler or process heater                  Notification of Compliance under 40                   § 60.660a(c)(5) must use Method 2, 2A,
                                                 with a design heat input capacity of 44                 CFR 63.1207(j) by the date the owner or               2C, or 2D of appendix A–1 to this part
                                                 MW (150 million Btu/hour) or greater is                 operator would have been required to                  as appropriate, for determination of
                                                 used to seek to comply with the                         submit the initial performance test                   volumetric flow rate. The owner or
                                                 emission limit or percent reduction                     report for this subpart.                              operator must conduct three velocity
                                                 efficiency specified in table 1 to this                   (4) The Administrator reserves the                  traverses and determine the volumetric
                                                                                                                                                                                                               ER16MY24.039</GPH> ER16MY24.040</GPH>




                                                 subpart.                                                option to require testing at such other               flow rate for each traverse. If the pipe or
                                                                                                         times as may be required, as provided                 duct is smaller than four inches in
                                                    (2) When a vent stream is introduced
                                                                                                         for in section 114 of the Act.                        diameter, the owner operator may
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                                                 into a boiler or process heater with the
                                                                                                           (d) For purposes of complying with                  conduct the measurement at the
                                                 primary fuel.
                                                                                                         the 98 weight-percent reduction in                    centroid of the duct instead of
                                                    (3) When a boiler or process heater                  § 60.702a(a), if the vent stream entering             conducting a traverse; the measurement
                                                 burning hazardous waste is used for                     a boiler or process heater with a design              period must be at least five minutes long
                                                 which the owner or operator:                            capacity less than 44 MW (150 million                 and data must be recorded at least once
                                                    (i) Has been issued a final permit                   Btu/hour) is introduced with the                      every 30 seconds. Owners and operators
                                                                                                                                                                                                               ER16MY24.038</GPH>




                                                 under 40 CFR part 270 and complies                      combustion air or as secondary fuel, the              who conduct the determination with


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                                                 Method 2A or 2D must record                             appropriate, for determination of the gas               (i) The sampling site must be at a
                                                 volumetric flow rate every 30 seconds                   volumetric flow rates.                                location that provides a representative
                                                 for at least five minutes.                                 (3) Method 18 of appendix A–6 to this              sample of the vent stream.
                                                   (f) Any owner or operator subject to                  part to determine the concentration of                  (ii) Perform three test runs. The
                                                 the provisions of this subpart seeking to               TOC. ASTM D6420–18 (incorporated by                   sampling time for each run must be 1
                                                                                                         reference, see § 60.17) may be used in                hour in which either an integrated
                                                 demonstrate compliance with
                                                                                                         lieu of Method 18, if the target                      sample or at least four grab samples
                                                 § 60.660a(c)(6) must use the following
                                                                                                         compounds are all known and are all                   must be taken. If grab sampling is used
                                                 methods:                                                                                                      then the samples must be taken at 15-
                                                   (1) Method 1 or 1A of appendix A–1                    listed in Section 1.1 of ASTM D6420–
                                                                                                                                                               minute intervals.
                                                                                                         18 as measurable; ASTM D6420–18 may
                                                 to this part, as appropriate.                                                                                   (iii) The mass rate of TOC (E) must be
                                                                                                         not be used for methane and ethane; and
                                                   (2) Method 2, 2A, 2C, or 2D of                                                                              computed using the following equation:
                                                                                                         ASTM D6420–18 must not be used as a
                                                 appendix A–1 to this part, as                           total VOC method.                                     Equation 6 to Paragraph (f)(3)(iii)




                                                 Where:                                                  measurements of emissions from the                       (iii) For CEMS meeting the
                                                 Cj = Concentration of sample component ‘‘j’’            affected facility.                                    requirements of Performance
                                                      of the gas stream at the representative               (3) Conduct a performance evaluation               Specification 8 of appendix B to this
                                                      sampling location, dry basis, ppm by               of each CEMS within 180 days of                       part used to monitor performance of a
                                                      volume.                                                                                                  combustion device, calibrate the
                                                 Mj = Molecular weight of sample component
                                                                                                         installation of the monitoring system.
                                                                                                         Conduct subsequent performance                        instrument on the predominant organic
                                                      ‘‘j’’ of the gas stream at the representative
                                                      sampling location, g/g-mole (lb/lb-mole).          evaluations of the CEMS no later than                 HAP and report the results as carbon
                                                 Q = Flow rate of gas stream at the                      12 calendar months after the previous                 (C1), and use Method 25A of appendix
                                                      representative sampling location, dscm/            performance evaluation. The results                   A–7 to this part as the reference method
                                                      min (dscf/min).                                    each performance evaluation must be                   for the relative accuracy tests. You must
                                                 K = 2.494 × 10–6 (1/ppm)(g-mole/scm) (kg/g)             submitted in accordance with                          also comply with procedure 1 of
                                                      (min/hr) (metric units), where standard            § 60.665a(b)(1).                                      appendix F to this part.
                                                      temperature for (g-mole/scm) is 20 °C.                                                                      (iv) For CEMS meeting the
                                                 = 1.557 × 10–7 (1/ppm) (lb-mole/scf) (min/hr)              (4) You must determine TOC
                                                                                                                                                               requirements of Performance
                                                      (English units), where standard                    concentration according to one of the
                                                                                                                                                               Specification 8 of appendix B to this
                                                      temperature for (lb-mole/scf) is 68 °F.            following options. The span value of the
                                                                                                                                                               part used to monitor performance of a
                                                                                                         TOC CEMS must be approximately 2
                                                    (g) If you use a CEMS to demonstrate                                                                       noncombustion device, determine the
                                                                                                         times the emission standard specified in
                                                 initial and continuous compliance with                                                                        predominant organic compound using
                                                                                                         table 1 of this subpart.
                                                 the TOC standard in table 1 of this                                                                           either process knowledge or the
                                                 subpart, each CEMS must be installed,                      (i) For CEMS meeting the                           screening procedures of Method 18 on
                                                 operated and maintained according to                    requirements of Performance                           the control device inlet stream. Calibrate
                                                 the requirements in § 60.13 and                         Specification 15 of appendix B to this                the monitor on the predominant organic
                                                 paragraphs (g)(1) through (5) of this                   part, determine the target analyte(s) for             compound and report the results as C1.
                                                 section.                                                calibration using either process                      Use Method 25A of appendix A–7 to
                                                    (1) You must use a CEMS that is                      knowledge of the control device inlet                 this part as the reference method for the
                                                 capable of measuring the target                         stream or the screening procedures of                 relative accuracy tests. You must also
                                                 analyte(s) as demonstrated using either                 Method 18 of appendix A–6 to this part                comply with procedure 1 of appendix F
                                                 process knowledge of the control device                 on the control device inlet stream. The               to this part.
                                                 inlet stream or the screening procedures                individual analytes used to quantify                     (5) You must determine stack oxygen
                                                 of Method 18 of appendix A–6 to this                    TOC must represent 98 percent of the                  concentration at the same location
                                                 part on the control device inlet stream.                expected mass of TOC present in the                   where you monitor TOC concentration
                                                 If your CEMS is located after a                         stream. Report the results of TOC as                  with a CEMS that meets the
                                                 combustion device and inlet stream to                   equivalent to carbon (C1).                            requirements of Performance
                                                 that device includes methanol or                           (ii) For CEMS meeting the                          Specification 3 of appendix B to this
                                                 formaldehyde, you must use a CEMS                       requirements of Performance                           part. The span value of the oxygen
                                                 which meets the requirements in                         Specification 9 of appendix B of this                 CEMS must be approximately 25
                                                 Performance Specification 9 or 15 of                    part, determine the target analyte(s) for             percent oxygen. Use Method 3A of
                                                 appendix B to this part.                                calibration using either process                      appendix A–2 to this part as the
                                                    (2) Each CEMS must be installed,                     knowledge of the control device inlet                 reference method for the relative
                                                 operated, and maintained according to                   stream or the screening procedures of
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                                                                                                                                                               accuracy tests.
                                                 the applicable performance                              Method 18 of appendix A–6 to this part                   (6) You must maintain written
                                                 specification of appendix B to this part                on the control device inlet stream. The               procedures for your CEMS. At a
                                                 and the applicable quality assurance                    individual analytes used to quantify                  minimum, the procedures must include
                                                 procedures of appendix F to this part.                  TOC must represent 98 percent of the                  the information in paragraph (g)(6)(i)
                                                 Locate the sampling probe or other                      expected mass of TOC present in the                   through (vi) of this section:
                                                 interface at a measurement location                     stream. Report the results of TOC as                     (i) Description of CEMS installation
                                                                                                                                                                                                             ER16MY24.041</GPH>




                                                 such that you obtain representative                     equivalent to carbon (C1).                            location.


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                                                   (ii) Description of the monitoring                    by the EPA’s Electronic Reporting Tool                   (2) For boilers or process heaters:
                                                 equipment, including the manufacturer                   (ERT) as listed on the EPA’s ERT                         (i) Whenever there is a change in the
                                                 and model number for all monitoring                     website (https://www.epa.gov/                         location at which the vent stream is
                                                 equipment components and the span of                    electronic-reporting-air-emissions/                   introduced into the flame zone as
                                                 the analyzer.                                           electronic-reporting-tool-ert) at the time            required under § 60.663a(b).
                                                   (iii) Routine quality control and                     of the test or performance evaluation                    (ii) If the boiler or process heater has
                                                 assurance procedures.                                   must be submitted in a file format                    a design heat input capacity of less than
                                                   (iv) Conditions that would trigger a                  generated through the use of the EPA’s                44 MW (150 million Btu/hr), then all 3-
                                                 CEMS performance evaluation, which                      ERT. Alternatively, owners and                        hour periods of operation during which
                                                 must include, at a minimum, a newly                     operators may submit an electronic file               the average firebox temperature was
                                                 installed CEMS; a process change that is                consistent with the extensible markup                 below the minimum firebox temperature
                                                 expected to affect the performance of                   language (XML) schema listed on the                   during the most recent performance test.
                                                 the CEMS; and the Administrator’s                       EPA’s ERT website. Data collected using                  (3) For catalytic incinerators:
                                                 request for a performance evaluation                    test methods and performance                             (i) All 3-hour periods of operation
                                                 under section 114 of the Clean Air Act.                 evaluations of CEMS measuring RATA                    during which the average temperature of
                                                   (v) Ongoing operation and                             pollutants that are not supported by the              the vent stream immediately before the
                                                 maintenance procedures.                                 EPA’s ERT as listed on the EPA’s ERT                  catalyst bed is below the minimum
                                                   (vi) Ongoing recordkeeping and                        website at the time of the test must be               temperature of the vent stream
                                                 reporting procedures.                                   included as an attachment in the ERT or               established during the most recent
                                                                                                         alternate electronic file.                            performance test.
                                                 § 60.665a What records must I keep and                                                                           (ii) All 3-hour periods of operation
                                                                                                            (2) If you use a boiler or process
                                                 what reports must I submit?
                                                                                                         heater with a design heat input capacity              during which the average temperature
                                                    (a) You must notify the Administrator                of 44 MW (150 million Btu/hour) or                    difference across the catalyst bed is less
                                                 of the specific provisions of table 1 of                greater to comply with the TOC                        than the average temperature difference
                                                 this subpart or § 60.662a(c) with which                 emission limit specified in table 1 to                of the device established during the
                                                 you have elected to comply. Notification                this subpart, then you are not required               most recent performance test.
                                                 must be submitted with the notification                 to submit a report containing                            (4) For carbon adsorbers:
                                                 of initial start-up required by                         performance test data; however, you                      (i) All carbon bed regeneration cycles
                                                 § 60.7(a)(3). If you elect at a later date              must submit a description of the                      during which the total mass stream flow
                                                 to use an alternative provision of table                location at which the vent stream is                  or the total volumetric stream flow was
                                                 1 to this subpart with which you will                   introduced into the boiler or process                 below the minimum flow established
                                                 comply, then you must notify the                        heater.                                               during the most recent performance test.
                                                 Administrator 90 days before                               (c) If you use a non-flare control                    (ii) All carbon bed regeneration cycles
                                                 implementing a change and, upon                         device or recovery system to comply                   during which the temperature of the
                                                 implementing the change, you must                       with the TOC emission limit specified                 carbon bed after regeneration (and after
                                                 conduct a performance test as specified                 in Table 1 to this subpart, then you must             completion of any cooling cycle(s)) was
                                                 by § 60.664a within 180 days.                           keep up-to-date, readily accessible                   greater than the maximum carbon bed
                                                    (b) If you use a non-flare control                   records of periods of operation during                temperature (in degrees Celsius)
                                                 device or recovery system to comply                     which the operating parameter limits                  established during the most recent
                                                 with the TOC emission limit specified                   established during the most recent                    performance test.
                                                 in table 1 to this subpart, then you must               performance test are exceeded or                         (5) For condensers, all 3-hour periods
                                                 keep an up-to-date, readily accessible                  periods of operation where the TOC                    of operation during which the average
                                                 record of the data measured during each                 CEMS, averaged on a 3-hour block basis,               exit (product side) condenser operating
                                                 performance test to show compliance                     indicate an exceedance of the emission                temperature was above the maximum
                                                 with the TOC emission limit. You must                   standard in table 1 to this subpart.                  exit (product side) operating
                                                 also include all of the data you use to                 Additionally, you must record all                     temperature established during the most
                                                 comply with § 60.663a(a)(2). The same                   periods when the TOC CEMS is                          recent performance test.
                                                 data specified in this paragraph must                   inoperable. The Administrator may at                     (6) For scrubbers used to control
                                                 also be submitted in the initial                        any time require a report of these data.              halogenated vent streams:
                                                 performance test required in § 60.8 and                 Periods of operation during which the                    (i) All 3-hour periods of operation
                                                 the reports of all subsequently required                operating parameter limits established                during which the average pH of the
                                                 performance tests where either the                      during the most recent performance                    scrubber effluent is below the minimum
                                                 emission reduction efficiency of a                      tests are exceeded are defined as                     pH of the scrubber effluent established
                                                 control device or recovery system or                    follows:                                              during the most recent performance test.
                                                 outlet concentration of TOC is                             (1) For absorbers:                                    (ii) All 3-hour periods of operation
                                                 determined. Alternatively, you must                        (i) All 3-hour periods of operation                during which the average influent liquid
                                                 keep records of each CEMS performance                   during which the average absorbing                    flow to the scrubber is below the
                                                 evaluation.                                             liquid temperature was above the                      minimum influent liquid flow to the
                                                    (1) Within 60 days after the date of                 maximum absorbing liquid temperature                  scrubber established during the most
                                                 completing each performance test or                     established during the most recent                    recent performance test.
                                                 CEMS performance evaluation required                    performance test.                                        (iii) All 3-hour periods of operation
                                                 by this subpart, you must submit the                       (ii) All 3-hour periods of operation
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                                                                                                                                                               during which the average liquid-to-gas
                                                 results of the performance test or                      during which the average absorbing                    ratio flow of the scrubber is below the
                                                 performance evaluation following the                    liquid specific gravity was outside the               minimum liquid-to-gas ratio of the
                                                 procedures specified in paragraph (k) of                exit specific gravity range (i.e., more               scrubber established during the most
                                                 this section. Data collected using test                 than 0.1 unit above, or more than 0.1                 recent performance test.
                                                 methods and performance evaluations                     unit below, the average absorbing liquid                 (7) For thermal incinerators, all 3-
                                                 of CEMS measuring relative accuracy                     specific gravity) established during the              hour periods of operation during which
                                                 test audit (RATA) pollutants supported                  most recent performance test.                         the average firebox temperature was


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                                                 below the minimum firebox temperature                   required by § 63.670(h) of this chapter,              VOC in the equipment at the time the
                                                 established during the most recent                      as applicable; and all periods during the             maintenance vent was opened to the
                                                 performance test.                                       compliance determination when the                     atmosphere.
                                                    (8) For all other control devices, all               pilot flame or flare flame is absent.                    (5) If complying with the
                                                 periods (for the averaging time specified                  (g) For each maintenance vent                      requirements of § 60.662a(c)(1)(iv),
                                                 by the Administrator) when the                          opening subject to the requirements of                identification of the maintenance vent,
                                                 operating parameter(s) established                      § 60.662a(c), you must keep the                       the process units or equipment
                                                 under § 60.663a(c) exceeded the                         applicable records specified in                       associated with the maintenance vent,
                                                 operating limit established during the                  paragraphs (g)(1) through (5) of this                 records documenting actions taken to
                                                 most recent performance test.                           section.                                              comply with other applicable
                                                    (d) You must keep up to date, readily                   (1) You must maintain standard site                alternatives and why utilization of this
                                                 accessible continuous records of the                    procedures used to inventory equipment                alternative was required, the date of
                                                 flow indication specified in table 2 to                 for safety purposes (e.g., hot work or                maintenance vent opening, the
                                                 this subpart, as well as up-to-date,                    vessel entry procedures) to document                  equipment pressure and lower explosive
                                                 readily accessible records of all periods               the procedures used to meet the                       limit of the vapors in the equipment at
                                                 when the vent stream is diverted from                   requirements in § 60.662a(c). The                     the time of discharge, an indication of
                                                 the control device or recovery device or                current copy of the procedures must be                whether active purging was performed
                                                 has no flow rate, including the records                 retained and available on-site at all                 and the pressure of the equipment
                                                 as specified in paragraphs (d)(1) and (2)               times. Previous versions of the standard              during the installation or removal of the
                                                 of this section.                                        site procedures, as applicable, must be               blind if active purging was used, the
                                                    (1) For each flow event from a relief                retained for five years.                              duration the maintenance vent was
                                                 valve discharge subject to the                             (2) If complying with the                          open during the blind installation or
                                                 requirements in § 60.662a(b)(1), you                    requirements of § 60.662a(c)(1)(i), and               removal process, and records used to
                                                 must include an estimate of the volume                  the lower explosive limit at the time of              estimate the total quantity of VOC in the
                                                 of gas, the concentration of TOC in the                 the vessel opening exceeds 10 percent,                equipment at the time the maintenance
                                                 gas and the resulting emissions of TOC                  identification of the maintenance vent,               vent was opened to the atmosphere for
                                                 that released to the atmosphere using                   the process units or equipment                        each applicable maintenance vent
                                                 process knowledge and engineering                       associated with the maintenance vent,                 opening.
                                                 estimates.                                              the date of maintenance vent opening,                    (h) If you seek to comply with the
                                                    (2) For each flow event from a bypass                and the lower explosive limit at the time             requirements of this subpart by
                                                 line subject to the requirements in                     of the vessel opening.                                complying with the design production
                                                 §§ 60.662a(b)(2) and 60.670a(e), you                       (3) If complying with the                          capacity provision in § 60.660a(c)(4) you
                                                 must maintain records sufficient to                     requirements of § 60.662a(c)(1)(ii), and              must keep up-to-date, readily accessible
                                                 determine whether or not the detected                   either the vessel pressure at the time of             records of any change in equipment or
                                                 flow included flow requiring control.                   the vessel opening exceeds 5 psig or the              process operation that increases the
                                                 For each flow event from a bypass line                  lower explosive limit at the time of the              design production capacity of the
                                                 requiring control that is released either               active purging was initiated exceeds 10               process unit in which the affected
                                                 directly to the atmosphere or to a                      percent, identification of the                        facility is located.
                                                 control device or recovery device not                   maintenance vent, the process units or                   (i) If you seek to comply with the
                                                 meeting the requirements in this                        equipment associated with the                         requirements of this subpart by
                                                 subpart, you must include an estimate                   maintenance vent, the date of                         complying with the flow rate cutoff in
                                                 of the volume of gas, the concentration                 maintenance vent opening, the pressure                § 60.660a(c)(5) or (6) you must keep up-
                                                 of TOC in the gas and the resulting                     of the vessel or equipment at the time                to-date, readily accessible records to
                                                 emissions of TOC that bypassed the                      of discharge to the atmosphere and, if                indicate that the vent stream flow rate
                                                 control device or recovery device using                 applicable, the lower explosive limit of              is less than 0.008 scm/min (0.3 scf/min)
                                                 process knowledge and engineering                       the vapors in the equipment when                      or less than 0.001 lb/hr, and of any
                                                 estimates.                                              active purging was initiated.                         change in equipment or process
                                                    (e) If you use a boiler or process                      (4) If complying with the                          operation that increases the operating
                                                 heater with a design heat input capacity                requirements of § 60.662a(c)(1)(iii),                 vent stream flow rate, including a
                                                 of 44 MW (150 million Btu/hour) or                      records of the estimating procedures                  measurement of the new vent stream
                                                 greater to comply with the TOC                          used to determine the total quantity of               flow rate.
                                                 emission limit specified in Table 1 to                  VOC in the equipment and the type and                    (j) You must submit to the
                                                 this subpart, then you must keep an up-                 size limits of equipment that contain                 Administrator semiannual reports of the
                                                 to-date, readily accessible record of all               less than 50 pounds of VOC at the time                information specified in paragraphs
                                                 periods of operation of the boiler or                   of maintenance vent opening. For each                 (j)(1) through (9) of this section. You are
                                                 process heater. (Examples of such                       maintenance vent opening that contains                exempt from the reporting requirements
                                                 records could include records of steam                  greater than 50 pounds of VOC for                     specified in § 60.7(c). If there are no
                                                 use, fuel use, or monitoring data                       which the inventory procedures                        exceedances, periods, or events
                                                 collected pursuant to other State or                    specified in paragraph (g)(1) of this                 specified in paragraphs (j)(1) through (9)
                                                 Federal regulatory requirements.)                       section are not followed or for which                 of this section that occurred during the
                                                    (f) If you use a flare to comply with                the equipment opened exceeds the type                 reporting period, then you must include
                                                 the TOC emission standard specified in                  and size limits established in the                    a statement in your report that no
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                                                 Table 1 to this subpart, then you must                  records specified in this paragraph                   exceedances, periods, and events
                                                 keep up-to-date, readily accessible                     (g)(4), records that identify the                     specified in paragraphs (j)(1) through (9)
                                                 records of all visible emission readings,               maintenance vent, the process units or                of this section occurred during the
                                                 heat content determinations, flow rate                  equipment associated with the                         reporting period. The initial report must
                                                 measurements, and exit velocity                         maintenance vent, the date of                         be submitted within 6 months after the
                                                 determinations made during the initial                  maintenance vent opening, and records                 initial start-up-date. On and after July
                                                 visible emissions demonstration                         used to estimate the total quantity of                15, 2024 or once the report template for


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                                                 this subpart has been available on the                  identification of the bypass line, the                indicated by a 3-hour average of the
                                                 Compliance and Emissions Data                           start date, start time, duration in hours,            TOC CEMS and recorded under
                                                 Reporting Interface (CEDRI) website                     estimate of the volume of gas in                      paragraph (c) of this section. For each
                                                 (https://www.epa.gov/electronic-                        standard cubic feet, the concentration of             exceedance, the report must include a
                                                 reporting-air-emissions/cedri) for 1 year,              TOC in the gas in parts per million by                list of the affected facilities or
                                                 whichever date is later, you must                       volume and the resulting mass                         equipment, the start date and time of the
                                                 submit all subsequent reports using the                 emissions of TOC in pounds that bypass                exceedance, the duration (in hours) of
                                                 appropriate electronic report template                  a control device or recovery device.                  the exceedance, an estimate of the
                                                 on the CEDRI website for this subpart                      (3) All periods when a boiler or                   quantity in pounds of each regulated
                                                 and following the procedure specified                   process heater was not operating                      pollutant emitted over the emission
                                                 in paragraph (k) of this section. The date              (considering the records recorded under               limit, a description of the method used
                                                 report templates become available will                  paragraph (e) of this section), including             to estimate the emissions, the cause of
                                                 be listed on the CEDRI website. Unless                  the start date, start time, and duration in           the exceedance (including unknown
                                                 the Administrator or delegated state                    hours of each period.                                 cause, if applicable), as applicable, and
                                                 agency or other authority has approved                     (4) For each flare subject to the                  the corrective action taken.
                                                 a different schedule for submission of                  requirements in § 60.669a, the                           (9) Periods when the TOC CEMS was
                                                 reports, the report must be submitted by                semiannual report must include an                     inoperative. For each period, the report
                                                 the deadline specified in this subpart,                 identification of the flare and the items             must include a list of the affected
                                                 regardless of the method in which the                   specified in § 60.669a(l)(2).                         facilities or equipment, the start date
                                                 report is submitted. All semiannual                        (5) For each closed vent system                    and time of the period, the duration (in
                                                 reports must include the following                      subject to the requirements in § 60.670a,             hours) of the period, the cause of the
                                                 general information: company name,                      the semiannual report must include an                 inoperability (including unknown
                                                 address (including county), and                         identification of the closed vent system              cause, if applicable), as applicable, and
                                                 beginning and ending dates of the                       and the items specified in § 60.670a(i).              the corrective action taken.
                                                 reporting period.                                          (6) Any change in equipment or                        (k) If you are required to submit
                                                    (1) Exceedances of monitored                         process operation, as recorded under                  notifications or reports following the
                                                 parameters recorded under paragraph                     paragraph (h) of this section, that                   procedure specified in this paragraph
                                                 (c) of this section. For each exceedance,               increases the design production                       (k), you must submit notifications or
                                                 the report must include a list of the                   capacity above the low capacity                       reports to the EPA via CEDRI, which can
                                                 affected facilities or equipment, the                   exemption level in § 60.660a(c)(4) and                be accessed through the EPA’s Central
                                                 monitored parameter that was exceeded,                  the new capacity resulting from the                   Data Exchange (CDX) (https://
                                                 the start date and time of the                          change for the distillation process unit              cdx.epa.gov/). The EPA will make all
                                                 exceedance, the duration (in hours) of                  containing the affected facility. These               the information submitted through
                                                 the exceedance, an estimate of the                      must be reported as soon as possible                  CEDRI available to the public without
                                                 quantity in pounds of each regulated                    after the change and no later than 180                further notice to you. Do not use CEDRI
                                                 pollutant emitted over any emission                     days after the change. These reports may              to submit information you claim as CBI.
                                                 limit, a description of the method used                 be submitted either in conjunction with               Although we do not expect persons to
                                                 to estimate the emissions, the cause of                 semiannual reports or as a single                     assert a claim of CBI, if you wish to
                                                 the exceedance (including unknown                       separate report. Unless the facility                  assert a CBI claim for some of the
                                                 cause, if applicable), as applicable, and               qualifies for an exemption under                      information in the report or notification,
                                                 the corrective action taken.                            § 60.660a(c), the facility must begin                 you must submit a complete file in the
                                                    (2) All periods recorded under                       compliance with the requirements set                  format specified in this subpart,
                                                 paragraph (d) of this section when the                  forth in § 60.662a.                                   including information claimed to be
                                                 vent stream is diverted from the control                   (7) Any change in equipment or                     CBI, to the EPA following the
                                                 device or recovery device, or has no                    process operation that increases the                  procedures in paragraphs (k)(1) and (2)
                                                 flow rate, including the information                    operating vent stream flow rate above                 of this section. Clearly mark the part or
                                                 specified in paragraphs (j)(2)(i) through               the low flow exemption level in                       all of the information that you claim to
                                                 (iii) of this section.                                  § 60.660a(c)(5) or (6), including a                   be CBI. Information not marked as CBI
                                                    (i) For periods when the flow                        measurement of the new vent stream                    may be authorized for public release
                                                 indicator is not operating, report the                  flow rate, as recorded under paragraph                without prior notice. Information
                                                 identification of the flow indicator and                (i) of this section. These must be                    marked as CBI will not be disclosed
                                                 the start date, start time, and duration in             reported as soon as possible after the                except in accordance with procedures
                                                 hours.                                                  change and no later than 180 days after               set forth in 40 CFR part 2. All CBI
                                                    (ii) For each flow event from a relief               the change. These reports may be                      claims must be asserted at the time of
                                                 valve discharge subject to the                          submitted either in conjunction with                  submission. Anything submitted using
                                                 requirements in § 60.662a(b)(1), the                    semiannual reports or as a single                     CEDRI cannot later be claimed CBI.
                                                 semiannual report must include the                      separate report. A performance test must              Furthermore, under CAA section 114(c),
                                                 identification of the relief valve, the                 be completed with the same time period                emissions data is not entitled to
                                                 start date, start time, duration in hours,              to verify the recalculated flow value.                confidential treatment, and the EPA is
                                                 estimate of the volume of gas in                        The performance test is subject to the                required to make emissions data
                                                 standard cubic feet, the concentration of               requirements of § 60.8 and must be                    available to the public. Thus, emissions
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                                                 TOC in the gas in parts per million by                  submitted according to paragraph (b)(1)               data will not be protected as CBI and
                                                 volume and the resulting mass                           of this section. Unless the facility                  will be made publicly available. You
                                                 emissions of TOC in pounds that                         qualifies for an exemption under                      must submit the same file submitted to
                                                 released to the atmosphere.                             § 60.660a(c), the facility must begin                 the CBI office with the CBI omitted to
                                                    (iii) For each flow event from a bypass              compliance with the requirements set                  the EPA via the EPA’s CDX as described
                                                 line subject to the requirements in                     forth in § 60.662a.                                   earlier in this paragraph (k).
                                                 § 60.662a(b)(2) and § 670a(e)(2), the                      (8) Exceedances of the emission                       (1) The preferred method to receive
                                                 semiannual report must include the                      standard in Table 1 of this subpart as                CBI is for it to be transmitted


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                                                 electronically using email attachments,                    (ii) A rationale for attributing the               reporting requirement at the time of the
                                                 File Transfer Protocol, or other online                 delay in reporting beyond the regulatory              notification, the date you reported.
                                                 file sharing services. Electronic                       deadline to EPA system outage;                          (4) The decision to accept the claim
                                                 submissions must be transmitted                            (iii) A description of measures taken              of force majeure and allow an extension
                                                 directly to the OAQPS CBI Office at the                 or to be taken to minimize the delay in               to the reporting deadline is solely
                                                 email address oaqpscbi@epa.gov, and as                  reporting; and                                        within the discretion of the
                                                 described above, should include clear                      (iv) The date by which you propose to              Administrator.
                                                 CBI markings. ERT files should be                       report, or if you have already met the                  (5) In any circumstance, the reporting
                                                 flagged to the attention of the Group                   reporting requirement at the time of the              must occur as soon as possible after the
                                                 Leader, Measurement Policy Group; all                   notification, the date you reported.                  force majeure event occurs.
                                                 other files should be flagged to the                       (6) The decision to accept the claim                 (n) The requirements of paragraph (j)
                                                 attention of the SOCMI NSPS Sector                      of EPA system outage and allow an                     of this section remain in force until and
                                                 Lead. If assistance is needed with                      extension to the reporting deadline is                unless EPA, in delegating enforcement
                                                 submitting large electronic files that                  solely within the discretion of the                   authority to a State under section 111(c)
                                                 exceed the file size limit for email                    Administrator.                                        of the Act, approves reporting
                                                 attachments, and if you do not have                        (7) In any circumstance, the report                requirements or an alternative means of
                                                 your own file sharing service, please                   must be submitted electronically as                   compliance surveillance adopted by
                                                 email oaqpscbi@epa.gov to request a file                soon as possible after the outage is                  such State. In that event, affected
                                                 transfer link.                                          resolved.                                             sources within the State will be relieved
                                                    (2) If you cannot transmit the file                     (m) If you are required to                         of the obligation to comply with
                                                 electronically, you may send CBI                        electronically submit notifications or                paragraph (j) of this section, provided
                                                 information through the postal service                  reports through CEDRI in the EPA’s                    that they comply with the requirements
                                                 to the following address: OAQPS                         CDX, you may assert a claim of force                  established by the State. The EPA will
                                                 Document Control Officer (C404–02),                     majeure for failure to timely comply                  not approve a waiver of electronic
                                                 OAQPS, U.S. Environmental Protection                    with the electronic submittal                         reporting to the EPA in delegating
                                                 Agency, 109 T.W. Alexander Drive, P.O.                  requirement. To assert a claim of force               enforcement authority. Thus, electronic
                                                 Box 12055, Research Triangle Park,                      majeure, you must meet the                            reporting to the EPA cannot be waived,
                                                 North Carolina 27711. ERT files should                  requirements outlined in paragraphs                   and as such, the provisions of this
                                                 be sent to the attention of the Group                   (m)(1) through (5) of this section.                   paragraph cannot be used to relieve
                                                 Leader, Measurement Policy Group, and                      (1) You may submit a claim if a force              owners or operators of affected facilities
                                                 all other files should be sent to the                   majeure event is about to occur, occurs,              of the requirement to submit the
                                                 attention of the SOCMI NSPS Sector                      or has occurred or there are lingering                electronic reports required in this
                                                 Lead. The mailed CBI material should                    effects from such an event within the                 section to the EPA.
                                                 be double wrapped and clearly marked.                   period of time beginning five business                  (o) If you seek to demonstrate
                                                 Any CBI markings should not show                        days prior to the date the submission is              compliance with § 60.660(c)(4), then
                                                 through the outer envelope.                             due. For the purposes of this section, a              you must submit to the Administrator
                                                    (l) If you are required to electronically            force majeure event is defined as an                  an initial report detailing the design
                                                 submit notifications or reports through                 event that will be or has been caused by              production capacity of the process unit.
                                                 CEDRI in the EPA’s CDX, you may                         circumstances beyond the control of the                 (p) If you seek to demonstrate
                                                 assert a claim of EPA system outage for                 affected facility, its contractors, or any            compliance with § 60.660(c)(5) or (6),
                                                 failure to timely comply with the                       entity controlled by the affected facility            then you must submit to the
                                                 electronic submittal requirement. To                    that prevents you from complying with                 Administrator, following the procedures
                                                 assert a claim of EPA system outage, you                the requirement to submit a report                    in paragraph (b)(1) of this section, an
                                                 must meet the requirements outlined in                  electronically within the time period                 initial report including a flow rate
                                                 paragraphs (l)(1) through (7) of this                   prescribed. Examples of such events are               measurement using the test methods
                                                 section.                                                acts of nature (e.g., hurricanes,                     specified in § 60.664a.
                                                    (1) You must have been or will be                    earthquakes, or floods), acts of war or                 (q) The Administrator will specify
                                                 precluded from accessing CEDRI and                      terrorism, or equipment failure or safety             appropriate reporting and recordkeeping
                                                 submitting a required report within the                 hazard beyond the control of the                      requirements where the owner or
                                                 time prescribed due to an outage of                     affected facility (e.g., large scale power            operator of an affected facility complies
                                                 either the EPA’s CEDRI or CDX systems.                  outage).                                              with the standards specified under
                                                    (2) The outage must have occurred                       (2) You must submit notification to                § 60.662a other than as provided under
                                                 within the period of time beginning five                the Administrator in writing as soon as               § 60.663a.
                                                 business days prior to the date that the                possible following the date you first                   (r) Any records required to be
                                                 submission is due.                                      knew, or through due diligence should                 maintained by this subpart that are
                                                    (3) The outage may be planned or                     have known, that the event may cause                  submitted electronically via the EPA’s
                                                 unplanned.                                              or has caused a delay in reporting.                   CEDRI may be maintained in electronic
                                                    (4) You must submit notification to                     (3) You must provide to the                        format. This ability to maintain
                                                 the Administrator in writing as soon as                 Administrator:                                        electronic copies does not affect the
                                                 possible following the date you first                      (i) A written description of the force             requirement for facilities to make
                                                 knew, or through due diligence should                   majeure event;                                        records, data, and reports available
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                                                 have known, that the event may cause                       (ii) A rationale for attributing the               upon request to a delegated air agency
                                                 or has caused a delay in reporting.                     delay in reporting beyond the regulatory              or the EPA as part of an on-site
                                                    (5) You must provide to the                          deadline to the force majeure event;                  compliance evaluation.
                                                 Administrator a written description                        (iii) A description of measures taken
                                                 identifying:                                            or to be taken to minimize the delay in               § 60.666a What do the terms associated
                                                    (i) The date(s) and time(s) when CDX                 reporting; and                                        with reconstruction mean for this subpart?
                                                 or CEDRI was accessed and the system                       (iv) The date by which you propose to                For purposes of this subpart ‘‘fixed
                                                 was unavailable;                                        report, or if you have already met the                capital cost of the new components,’’ as


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                                                 used in § 60.15, includes the fixed                                          year period following April 25, 2023.                                         obligation to undertake and complete,
                                                 capital cost of all depreciable                                              For purposes of this paragraph,                                               within a reasonable time, a continuous
                                                 components which are or will be                                              ‘‘commenced’’ means that you have                                             program of component replacement.
                                                 replaced pursuant to all continuous                                          undertaken a continuous program of
                                                                                                                                                                                                            § 60.667a What are the chemicals that I
                                                 programs of component replacement                                            component replacement or that you                                             must produce to be affected by subpart
                                                 which are commenced within any 2-                                            have entered into a contractual                                               NNNa?

                                                                                                                                      Chemical name                                                                                                            CAS No.*

                                                 Acetaldehyde .................................................................................................................................................................................                         75–07–0
                                                 Acetaldol ........................................................................................................................................................................................                   107–89–1
                                                 Acetic acid .....................................................................................................................................................................................                      64–19–7
                                                 Acetic anhydride ............................................................................................................................................................................                        108–24–7
                                                 Acetone ..........................................................................................................................................................................................                     67–64–1
                                                 Acetone cyanohydrin .....................................................................................................................................................................                              75–86–5
                                                 Acetylene .......................................................................................................................................................................................                      74–86–2
                                                 Acrylic acid .....................................................................................................................................................................................                     79–10–7
                                                 Acrylonitrile ....................................................................................................................................................................................                   107–13–1
                                                 Adipic acid .....................................................................................................................................................................................                    124–04–9
                                                 Adiponitrile .....................................................................................................................................................................................                   111–69–3
                                                 Alcohols, C-11 or lower, mixtures .................................................................................................................................................                    ..............................
                                                 Alcohols, C-12 or higher, mixtures ................................................................................................................................................                    ..............................
                                                 Allyl chloride ...................................................................................................................................................................................                   107–05–1
                                                 Amylene .........................................................................................................................................................................................                    513–35–9
                                                 Amylenes, mixed ...........................................................................................................................................................................            ..............................
                                                 Aniline ............................................................................................................................................................................................                   62–53–3
                                                 Benzene .........................................................................................................................................................................................                      71–43–2
                                                 Benzenesulfonic acid .....................................................................................................................................................................                             98–11–3
                                                 Benzenesulfonic acid C10-16-alkyl derivatives, sodium salts .........................................................................................................                                            68081–81–2
                                                 Benzoic acid, tech .........................................................................................................................................................................                           65–85–0
                                                 Benzyl chloride ..............................................................................................................................................................................                       100–44–7
                                                 Biphenyl .........................................................................................................................................................................................                     92–52–4
                                                 Bisphenol A ....................................................................................................................................................................................                       80–05–7
                                                 Brometone .....................................................................................................................................................................................                        76–08–4
                                                 1,3-Butadiene .................................................................................................................................................................................                      106–99–0
                                                 Butadiene and butene fractions .....................................................................................................................................................                   ..............................
                                                 n-Butane ........................................................................................................................................................................................                    106–97–8
                                                 1,4-Butanediol ................................................................................................................................................................................                      110–63–4
                                                 Butanes, mixed ..............................................................................................................................................................................          ..............................
                                                 1-Butene ........................................................................................................................................................................................                    106–98–9
                                                 2-Butene ........................................................................................................................................................................................                25167–67–3
                                                 Butenes, mixed ..............................................................................................................................................................................          ..............................
                                                 n-Butyl acetate ...............................................................................................................................................................................                      123–86–4
                                                 Butyl acrylate .................................................................................................................................................................................                     141–32–2
                                                 n-Butyl alcohol ...............................................................................................................................................................................                        71–36–3
                                                 sec-Butyl alcohol ............................................................................................................................................................................                         78–92–2
                                                 tert-Butyl alcohol ............................................................................................................................................................................                        75–65–0
                                                 Butylbenzyl phthalate .....................................................................................................................................................................                            85–68–7
                                                 Butylene glycol ...............................................................................................................................................................................                      107–88–0
                                                 tert-Butyl hydroperoxide .................................................................................................................................................................                             75–91–2
                                                 2-Butyne-1,4-diol ............................................................................................................................................................................                       110–65–6
                                                 Butyraldehyde ................................................................................................................................................................................                       123–72–8
                                                 Butyric anhydride ...........................................................................................................................................................................                        106–31–0
                                                 Caprolactam ...................................................................................................................................................................................                      105–60–2
                                                 Carbon disulfide .............................................................................................................................................................................                         75–15–0
                                                 Carbon tetrabromide ......................................................................................................................................................................                           558–13–4
                                                 Carbon tetrachloride ......................................................................................................................................................................                            56–23–5
                                                 Chlorobenzene ...............................................................................................................................................................................                        108–90–7
                                                 2-Chloro-4-(ethylamino)-6-(isopropylamino)-s-triazine ..................................................................................................................                                           1912–24–9
                                                 Chloroform .....................................................................................................................................................................................                       67–66–3
                                                 p-Chloronitrobenzene ....................................................................................................................................................................                            100–00–5
                                                 Chloroprene ...................................................................................................................................................................................                      126–99–8
                                                 Citric acid .......................................................................................................................................................................................                    77–92–9
                                                 Crotonaldehyde ..............................................................................................................................................................................                      4170–30–0
                                                 Crotonic acid ..................................................................................................................................................................................                   3724–65–0
                                                 Cumene .........................................................................................................................................................................................                       98–82–8
                                                 Cumene hydroperoxide .................................................................................................................................................................                                 80–15–9
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                                                 Cyanuric chloride ...........................................................................................................................................................................                        108–77–0
                                                 Cyclohexane ..................................................................................................................................................................................                       110–82–7
                                                 Cyclohexane, oxidized ...................................................................................................................................................................                        68512–15–2
                                                 Cyclohexanol .................................................................................................................................................................................                       108–93–0
                                                 Cyclohexanone ..............................................................................................................................................................................                         108–94–1
                                                 Cyclohexanone oxime ...................................................................................................................................................................                              100–64–1
                                                 Cyclohexene ..................................................................................................................................................................................                       110–83–8
                                                 1,3-Cyclopentadiene ......................................................................................................................................................................                           542–92–7



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                                                                                                                                      Chemical name                                                                                                           CAS No.*

                                                 Cyclopropane .................................................................................................................................................................................                        75–19–4
                                                 Diacetone alcohol ..........................................................................................................................................................................                        123–42–2
                                                 Dibutanized aromatic concentrate .................................................................................................................................................                    ..............................
                                                 1,4-Dichlorobutene .........................................................................................................................................................................                        110–57–6
                                                 3,4-Dichloro-1-butene ....................................................................................................................................................................                      64037–54–3
                                                 Dichlorodifluoromethane ................................................................................................................................................................                              75–71–8
                                                 Dichlorodimethylsilane ...................................................................................................................................................................                            75–78–5
                                                 Dichlorofluoromethane ...................................................................................................................................................................                             75–43–4
                                                 Dichlorohydrin ................................................................................................................................................................................                       96–23–1
                                                 Diethanolamine ..............................................................................................................................................................................                       111–42–2
                                                 Diethylbenzene ..............................................................................................................................................................................                   25340–17–4
                                                 Diethylene glycol ............................................................................................................................................................................                      111–46–6
                                                 Di-n-heptyl-n-nonyl undecyl phthalate ...........................................................................................................................................                                     85–68–7
                                                 Di-isodecyl phthalate .....................................................................................................................................................................                     26761–40–0
                                                 Diisononyl phthalate ......................................................................................................................................................................                     28553–12–0
                                                 Dimethylamine ...............................................................................................................................................................................                       124–40–3
                                                 Dimethyl terephthalate ...................................................................................................................................................................                          120–61–6
                                                 2,4-Dinitrotoluene ...........................................................................................................................................................................                      121–14–2
                                                 2,4-(and 2,6)-dinitrotoluene ...........................................................................................................................................................                            121–14–2
                                                                                                                                                                                                                                                                     606–20–2
                                                 Dioctyl phthalate ............................................................................................................................................................................                      117–81–7
                                                 Dodecene .......................................................................................................................................................................................                25378–22–7
                                                 Dodecylbenzene, non linear ..........................................................................................................................................................                 ..............................
                                                 Dodecylbenzenesulfonic acid ........................................................................................................................................................                            27176–87–0
                                                 Dodecylbenzenesulfonic acid, sodium salt ....................................................................................................................................                                   25155–30–0
                                                 Epichlorohydrin ..............................................................................................................................................................................                      106–89–8
                                                 Ethanol ...........................................................................................................................................................................................                   64–17–5
                                                 Ethanolamine .................................................................................................................................................................................                      141–43–5
                                                 Ethyl acetate ..................................................................................................................................................................................                    141–78–6
                                                 Ethyl acrylate .................................................................................................................................................................................                    140–88–5
                                                 Ethylbenzene .................................................................................................................................................................................                      100–41–4
                                                 Ethyl chloride .................................................................................................................................................................................                      75–00–3
                                                 Ethyl cyanide .................................................................................................................................................................................                     107–12–0
                                                 Ethylene .........................................................................................................................................................................................                    74–85–1
                                                 Ethylene dibromide ........................................................................................................................................................................                         106–93–4
                                                 Ethylene dichloride ........................................................................................................................................................................                        107–06–2
                                                 Ethylene glycol ...............................................................................................................................................................................                     107–21–1
                                                 Ethylene glycol monobutyl .............................................................................................................................................................                             111–76–2
                                                 Ethylene glycol monoethyl ether ...................................................................................................................................................                                 110–80–5
                                                 Ethylene glycol monoethyl ether acetate ......................................................................................................................................                                      111–15–9
                                                 Ethylene glycol monomethyl ether ................................................................................................................................................                                   109–86–4
                                                 Ethylene oxide ...............................................................................................................................................................................                        75–21–8
                                                 2-Ethylhexanal ...............................................................................................................................................................................                  26266–68–2
                                                 2-Ethylhexyl alcohol .......................................................................................................................................................................                        104–76–7
                                                 (2-Ethylhexyl) amine ......................................................................................................................................................................                         104–75–6
                                                 Ethylmethylbenzene .......................................................................................................................................................................                      25550–14–5
                                                 6-Ethyl-1,2,3,4-tetrahydro 9,10-anthracenedione ..........................................................................................................................                                      15547–17–8
                                                 Formaldehyde ................................................................................................................................................................................                         50–00–0
                                                 Glycerol ..........................................................................................................................................................................................                   56–81–5
                                                 n-Heptane ......................................................................................................................................................................................                    142–82–5
                                                 Heptenes (mixed) ..........................................................................................................................................................................           ..............................
                                                 Hexadecyl chloride ........................................................................................................................................................................           ..............................
                                                 Hexamethylene diamine ................................................................................................................................................................                              124–09–4
                                                 Hexamethylene diamine adipate ...................................................................................................................................................                                 3323–53–3
                                                 Hexamethylenetetramine ...............................................................................................................................................................                              100–97–0
                                                 Hexane ...........................................................................................................................................................................................                  110–54–3
                                                 2-Hexenedinitrile ............................................................................................................................................................................                  13042–02–9
                                                 3-Hexenedinitrile ............................................................................................................................................................................                    1119–85–3
                                                 Hydrogen cyanide ..........................................................................................................................................................................                           74–90–8
                                                 Isobutane .......................................................................................................................................................................................                     75–28–5
                                                 Isobutanol ......................................................................................................................................................................................                     78–83–1
                                                 Isobutylene .....................................................................................................................................................................................                   115–11–7
                                                 Isobutyraldehyde ............................................................................................................................................................................                         78–84–2
                                                 Isodecyl alcohol .............................................................................................................................................................................                  25339–17–7
                                                 Isooctyl alcohol ..............................................................................................................................................................................                 26952–21–6
                                                 Isopentane .....................................................................................................................................................................................                      78–78–4
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                                                 Isophthalic acid ..............................................................................................................................................................................                     121–91–5
                                                 Isoprene .........................................................................................................................................................................................                    78–79–5
                                                 Isopropanol ....................................................................................................................................................................................                      67–63–0
                                                 Ketene ............................................................................................................................................................................................                 463–51–4
                                                 Linear alcohols, ethoxylated, mixed ..............................................................................................................................................                    ..............................
                                                 Linear alcohols, ethoxylated, and sulfated, sodium salt, mixed ....................................................................................................                                   ..............................
                                                 Linear alcohols, sulfated, sodium salt, mixed ...............................................................................................................................                         ..............................
                                                 Linear alkylbenzene .......................................................................................................................................................................                         123–01–3



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                                                                                                                                      Chemical name                                                                                                            CAS No.*

                                                 Magnesium acetate .......................................................................................................................................................................                            142–72–3
                                                 Maleic anhydride ............................................................................................................................................................................                        108–31–6
                                                 Melamine .......................................................................................................................................................................................                     108–78–1
                                                 Mesityl oxide ..................................................................................................................................................................................                     141–79–7
                                                 Methacrylonitrile .............................................................................................................................................................................                      126–98–7
                                                 Methanol ........................................................................................................................................................................................                      67–56–1
                                                 Methylamine ...................................................................................................................................................................................                        74–89–5
                                                 ar-Methylbenzenediamine ..............................................................................................................................................................                           25376–45–8
                                                 Methyl chloride ...............................................................................................................................................................................                        74–87–3
                                                 Methylene chloride .........................................................................................................................................................................                           75–09–2
                                                 Methyl ethyl ketone ........................................................................................................................................................................                           78–93–3
                                                 Methyl iodide ..................................................................................................................................................................................                       74–88–4
                                                 Methyl isobutyl ketone ...................................................................................................................................................................                           108–10–1
                                                 Methyl methacrylate .......................................................................................................................................................................                            80–62–6
                                                 2-Methylpentane ............................................................................................................................................................................                         107–83–5
                                                 1-Methyl-2-pyrrolidone ...................................................................................................................................................................                           872–50–4
                                                 Methyl tert-butyl ether ....................................................................................................................................................................           ..............................
                                                 Naphthalene ...................................................................................................................................................................................                        91–20–3
                                                 Nitrobenzene ..................................................................................................................................................................................                        98–95–3
                                                 1-Nonene .......................................................................................................................................................................................                 27215–95–8
                                                 Nonyl alcohol .................................................................................................................................................................................                      143–08–8
                                                 Nonylphenol ...................................................................................................................................................................................                  25154–52–3
                                                 Nonylphenol, ethoxylated ..............................................................................................................................................................                            9016–45–9
                                                 Octene ...........................................................................................................................................................................................               25377–83–7
                                                 Oil-soluble petroleum sulfonate, calcium salt ................................................................................................................................                         ..............................
                                                 Oil-soluble petroleum sulfonate, sodium salt ................................................................................................................................                          ..............................
                                                 Pentaerythritol ................................................................................................................................................................................                     115–77–5
                                                 n-Pentane ......................................................................................................................................................................................                     109–66–0
                                                 3-Pentenenitrile ..............................................................................................................................................................................                    4635–87–4
                                                 Pentenes, mixed ............................................................................................................................................................................                         109–67–1
                                                 Perchloroethylene ..........................................................................................................................................................................                         127–18–4
                                                 Phenol ............................................................................................................................................................................................                  108–95–2
                                                 1-Phenylethyl hydroperoxide .........................................................................................................................................................                              3071–32–7
                                                 Phenylpropane ...............................................................................................................................................................................                        103–65–1
                                                 Phosgene .......................................................................................................................................................................................                       75–44–5
                                                 Phthalic anhydride .........................................................................................................................................................................                           85–44–9
                                                 Propane .........................................................................................................................................................................................                      74–98–6
                                                 Propionaldehyde ............................................................................................................................................................................                         123–38–6
                                                 Propionic acid ................................................................................................................................................................................                        79–09–4
                                                 Propyl alcohol ................................................................................................................................................................................                        71–23–8
                                                 Propylene .......................................................................................................................................................................................                    115–07–1
                                                 Propylene chlorohydrin ..................................................................................................................................................................                              78–89–7
                                                 Propylene glycol ............................................................................................................................................................................                          57–55–6
                                                 Propylene oxide .............................................................................................................................................................................                          75–56–9
                                                 Sodium cyanide .............................................................................................................................................................................                         143–33–9
                                                 Sorbitol ...........................................................................................................................................................................................                   50–70–4
                                                 Styrene ...........................................................................................................................................................................................                  100–42–5
                                                 Terephthalic acid ...........................................................................................................................................................................                        100–21–0
                                                 1,1,2,2-Tetrachloroethane ..............................................................................................................................................................                               79–34–5
                                                 Tetraethyl lead ...............................................................................................................................................................................                        78–00–2
                                                 Tetrahydrofuran .............................................................................................................................................................................                        109–99–9
                                                 Tetra (methyl-ethyl) lead ................................................................................................................................................................             ..............................
                                                 Tetramethyl lead ............................................................................................................................................................................                          75–74–1
                                                 Toluene ..........................................................................................................................................................................................                   108–88–3
                                                 Toluene-2,4-diamine ......................................................................................................................................................................                             95–80–7
                                                 Toluene-2,4-(and, 2,6)-diisocyanate (80/20 mixture) ....................................................................................................................                                         26471–62–5
                                                 Tribromomethane ...........................................................................................................................................................................                            75–25–2
                                                 1,1,1-Trichloroethane .....................................................................................................................................................................                            71–55–6
                                                 1,1,2-Trichloroethane .....................................................................................................................................................................                            79–00–5
                                                 Trichloroethylene ...........................................................................................................................................................................                          79–01–6
                                                 Trichlorofluoromethane ..................................................................................................................................................................                              75–69–4
                                                 1,1,2-Trichloro-1,2,2-trifluoroethane ..............................................................................................................................................                                   76–13–1
                                                 Triethanolamine .............................................................................................................................................................................                        102–71–6
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                                                 Triethylene glycol ...........................................................................................................................................................................                       112–27–6
                                                 Vinyl acetate ..................................................................................................................................................................................                     108–05–4
                                                 Vinyl chloride .................................................................................................................................................................................                       75–01–4
                                                 Vinylidene chloride .........................................................................................................................................................................                          75–35–4
                                                 m-Xylene ........................................................................................................................................................................................                    108–38–3
                                                 o-Xylene .........................................................................................................................................................................................                     95–47–6
                                                 p-Xylene .........................................................................................................................................................................................                   106–42–3
                                                 Xylenes (mixed) .............................................................................................................................................................................                      1330–20–7



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                                                                                                                                     Chemical name                                                                                                   CAS No.*

                                                 m-Xylenol .......................................................................................................................................................................................      576–26–1
                                                   * CAS numbers refer to the Chemical Abstracts Registry numbers assigned to specific chemicals, isomers, or mixtures of chemicals. Some iso-
                                                 mers or mixtures that are covered by the standards do not have CAS numbers assigned to them. The standards apply to all of the chemicals list-
                                                 ed, whether CAS numbers have been assigned or not.


                                                 § 60.668a         [Reserved]                                                then you must also submit all versions                                       distance between any two burners in
                                                                                                                             of the plan in portable document format                                      series on that stage is no more than 6
                                                 § 60.669a What are my requirements if I
                                                 use a flare to comply with this subpart?
                                                                                                                             (PDF) following the procedures                                               feet when measured from the center of
                                                                                                                             specified in § 60.665a(k).                                                   one burner to the next burner. A
                                                    (a) If you use a flare to comply with                                       (f) Section 63.670(o)(3)(ii) of this                                      distance greater than 6 feet between any
                                                 the TOC emission standard specified in                                      chapter and all references to it do not                                      two burners in series may be used
                                                 Table 1 to this subpart, then you must                                      apply. Instead, you must comply with                                         provided you conduct a performance
                                                 meet the applicable requirements for                                        the maximum flare tip velocity                                               demonstration that confirms the
                                                 flares as specified in §§ 63.670 and                                        operating limit at all times.                                                pressure-assisted multi-point flare will
                                                 63.671 of this chapter, including the                                          (g) Substitute ‘‘affected facility’’ for                                  cross-light a minimum of three burners
                                                 provisions in tables 12 and 13 to part                                      each occurrence of ‘‘petroleum                                               and the spacing between the burners
                                                 63, subpart CC, of this chapter, except                                     refinery.’’                                                                  and location of the pilot flame must be
                                                 as specified in paragraphs (b) through                                         (h) Each occurrence of ‘‘refinery’’ does                                  representative of the projected
                                                 (o) of this section. This requirement also                                  not apply.                                                                   installation. The compliance
                                                 applies to any flare using fuel gas from                                       (i) If a pressure-assisted multi-point                                    demonstration must be approved by the
                                                 a fuel gas system, of which 50 percent                                      flare is used as a control device, then                                      permitting authority and a copy of this
                                                 or more of the fuel gas is derived from                                     you must meet the following conditions:                                      approval must be maintained onsite.
                                                 an affected facility, as determined on an                                      (1) You are not required to comply                                        The compliance demonstration report
                                                 annual average basis. For purposes of                                       with the flare tip velocity requirements                                     must include: a protocol describing the
                                                 compliance with this paragraph (a), the                                     in § 63.670(d) and (k) of this chapter;                                      test methodology used, associated test
                                                 following terms are defined in § 63.641                                        (2) The NHVcz for pressure-assisted                                       method QA/QC parameters, the waste
                                                 of this chapter: Assist air, assist steam,                                  mulit-point flares is 800 Btu/scf;                                           gas composition and NHVcz of the gas
                                                 center steam, combustion zone,                                                 (3) You must determine the 15-minute                                      tested, the velocity of the waste gas
                                                 combustion zone gas, flare, flare purge                                     block average NHVvg using only the                                           tested, the pressure-assisted multi-point
                                                 gas, flare supplemental gas, flare sweep                                    direct calculation method specified in                                       flare burner tip pressure, the time,
                                                 gas, flare vent gas, lower steam, net                                       in § 63.670(l)(5)(ii) of this chapter;                                       length, and duration of the test, records
                                                 heating value, perimeter assist air, pilot                                     (4) Instead of complying with                                             of whether a successful cross-light was
                                                 gas, premix assist air, total steam, and                                    § 63.670(b) and (g) of this chapter, if a                                    observed over all of the burners and the
                                                 upper steam.                                                                pressure-assisted multi-point flare uses                                     length of time it took for the burners to
                                                    (b) When determining compliance                                          cross-lighting on a stage of burners                                         cross-light, records of maintaining a
                                                 with the pilot flame requirements                                           rather than having an individual pilot                                       stable flame after a successful cross-light
                                                 specified in § 63.670(b) and (g) of this                                    flame on each burner, then you must                                          and the duration for which this was
                                                 chapter, substitute ‘‘pilot flame or flare                                  operate each stage of the pressure-                                          observed, records of any smoking events
                                                 flame’’ for each occurrence of ‘‘pilot                                      assisted multi-point flare with a flame                                      during the cross-light, waste gas
                                                 flame.’’                                                                    present at all times when regulated                                          temperature, meteorological conditions
                                                    (c) When determining compliance                                          material is routed to that stage of                                          (e.g., ambient temperature, barometric
                                                 with the flare tip velocity and                                             burners. Each stage of burners that                                          pressure, wind speed and direction, and
                                                 combustion zone operating limits                                            cross-lights in the pressure-assisted                                        relative humidity), and whether there
                                                 specified in § 63.670(d) and (e) of this                                    multi-point flare must have at least two                                     were any observed flare flameouts; and
                                                 chapter, the requirement effectively                                        pilots with at least one continuously lit                                       (6) You must install and operate
                                                 applies starting with the 15-minute                                         and capable of igniting all regulated                                        pressure monitor(s) on the main flare
                                                 block that includes a full 15 minutes of                                    material that is routed to that stage of                                     header, as well as a valve position
                                                 the flaring event. You are required to                                      burners. Each 15-minute block during                                         indicator monitoring system for each
                                                 demonstrate compliance with the                                             which there is at least one minute where                                     staging valve to ensure that the flare
                                                 velocity and NHVcz requirements                                             no pilot flame is present on a stage of                                      operates within the proper range of
                                                 starting with the block that contains the                                   burners when regulated material is                                           conditions as specified by the
                                                 fifteenth minute of a flaring event. You                                    routed to the flare is a deviation of the                                    manufacturer. The pressure monitor
                                                 are not required to demonstrate                                             standard. Deviations in different 15-                                        must meet the requirements in table 13
                                                 compliance for the previous 15-minute                                       minute blocks from the same event are                                        to part 63, subpart CC, of this chapter.
                                                 block in which the event started and                                        considered separate deviations. The                                             (7) If a pressure-assisted multi-point
                                                 contained only a fraction of flow.                                          pilot flame(s) on each stage of burners                                      flare is operating under the
                                                    (d) Instead of complying with                                            that use cross-lighting must be                                              requirements of an approved alternative
                                                 § 63.670(o)(2)(i) of this chapter, you                                      continuously monitored by a                                                  means of emission limitations, you must
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                                                 must develop and implement the flare                                        thermocouple or any other equivalent                                         either continue to comply with the
                                                 management plan no later than startup                                       device used to detect the presence of a                                      terms of the alternative means of
                                                 for a new flare that commenced                                              flame;                                                                       emission limitations or comply with the
                                                 construction on or after April 25, 2023.                                       (5) Unless you choose to conduct a                                        provisions in paragraphs (i)(1) through
                                                    (e) Instead of complying with                                            cross-light performance demonstration                                        (6) of this section.
                                                 § 63.670(o)(2)(iii) of this chapter, if                                     as specified in this paragraph (i)(5), you                                      (j) If you choose to determine
                                                 required to develop a flare management                                      must ensure that if a stage of burners on                                    compositional analysis for net heating
                                                 plan and submit it to the Administrator,                                    the flare uses cross-lighting, that the                                      value with a continuous process mass


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                                                 spectrometer, then you must comply                      compound. For unknown compounds                       calibration check at three concentrations
                                                 with the requirements specified in                      that produce mass fragments that do not               following the procedure in Section 10.1
                                                 paragraphs (j)(1) through (7) of this                   overlap calibration compounds, you                    and performing the periodic calibration
                                                 section.                                                may use the response factor for the                   requirements listed for gas
                                                    (1) You must meet the requirements                   nearest molecular weight hydrocarbon                  chromatographs in table 13 to part 63,
                                                 in § 63.671(e)(2) of this chapter. You                  in the calibration mix to quantify the                subpart CC, of this chapter, for the
                                                 may augment the minimum list of                         unknown component’s NHVvg.                            process mass spectrometer. You may
                                                 calibration gas components found in                       (4) You may use the response factor                 use the alternative sampling line
                                                 § 63.671(e)(2) with compounds found                     for n-pentane to quantify any unknown                 temperature allowed under Net Heating
                                                 during a pre-survey or known to be in                   components detected with a higher                     Value by Gas Chromatograph in table 13
                                                 the gas through process knowledge.                      molecular weight than n-pentane.                      to part 63, subpart CC, of this chapter.
                                                    (2) Calibration gas cylinders must be                  (5) You must perform an initial                       (7) The average instrument calibration
                                                 certified to an accuracy of 2 percent and               calibration to identify mass fragment                 error (CE) for each calibration
                                                 traceable to National Institute of                      overlap and response factors for the                  compound at any calibration
                                                 Standards and Technology (NIST)                         target compounds.                                     concentration must not differ by more
                                                 standards.                                                                                                    than 10 percent from the certified
                                                                                                           (6) You must meet applicable
                                                                                                                                                               cylinder gas value. The CE for each
                                                    (3) For unknown gas components that                  requirements in Performance
                                                                                                                                                               component in the calibration blend
                                                 have similar analytical mass fragments                  Specification 9 of appendix B of this
                                                                                                                                                               must be calculated using equation 1 to
                                                 to calibration compounds, you may                       part, for continuous monitoring system
                                                                                                                                                               this paragraph (j)(7).
                                                 report the unknowns as an increase in                   acceptance including, but not limited to,
                                                 the overlapped calibration gas                          performing an initial multi-point                     Equation 1 to Paragraph (j)(7)


                                                                                                               CE = Cm- Ca X 100 (Eq. 1)
                                                                                                                            Ca


                                                 Where:                                                  may choose to use the CE of NHVmeasured               level must not differ by more than 10
                                                 Cm = Average instrument response (ppm)                  versus the cylinder tag value NHV as the              percent from the certified cylinder gas
                                                 Ca = Certified cylinder gas value (ppm)                 measure of agreement for daily                        value. The CE must be calculated using
                                                   (k) If you use a gas chromatograph or                 calibration and quarterly audits in lieu              equation 2 to this paragraph (k).
                                                 mass spectrometer for compositional                     of determining the compound-specific
                                                                                                                                                               Equation 2 to Paragraph (k)
                                                 analysis for net heating value, then you                CE. The CE for NHV at any calibration


                                                                                                      CE = NHVmeasured- NHVa X 100 (Eq. 2)
                                                                                                                           NHVa


                                                 Where:                                                     (iii) The periods specified in                     during the reporting period and, if
                                                 NHVmeasured = Average instrument response               paragraph (m)(6) of this section. Indicate            applicable, the implementation
                                                    (Btu/scf)                                            the date and start and end times for each             schedule for planned corrective actions
                                                 NHVa = Certified cylinder gas value (Btu/scf)           period, and the net heating value                     to be implemented subsequent to the
                                                    (l) Instead of complying with                        operating parameter(s) determined                     reporting period.
                                                 § 63.670(q) of this chapter, you must                   following the methods in § 63.670(k)                     (v) For pressure-assisted multi-point
                                                 comply with the reporting requirements                  through (n) of this chapter as applicable.            flares, the periods of time when the
                                                 specified in paragraphs (l)(1) and (2) of                  (iv) For flaring events meeting the                pressure monitor(s) on the main flare
                                                 this section.                                           criteria in § 63.670(o)(3) of this chapter            header show the burners operating
                                                                                                         and paragraph (f) of this section:                    outside the range of the manufacturer’s
                                                    (1) The notification requirements                                                                          specifications. Indicate the date and
                                                                                                            (A) The start and stop time and date
                                                 specified in § 60.665a(a).                                                                                    start and end times for each period.
                                                                                                         of the flaring event.
                                                    (2) The semiannual report specified in                  (B) The length of time in minutes for                 (vi) For pressure-assisted multi-point
                                                 § 60.665a(j)(4) must include the items                  which emissions were visible from the                 flares, the periods of time when the
                                                 specified in paragraphs (l)(2)(i) through               flare during the event.                               staging valve position indicator
                                                 (vi) of this section.                                      (C) For steam-assisted, air-assisted,              monitoring system indicates a stage
                                                    (i) Records as specified in paragraph                and non-assisted flares, the start date,              should not be in operation and is or
                                                 (m)(1) of this section for each 15-minute               start time, and duration in minutes for               when a stage should be in operation and
                                                 block during which there was at least                   periods of time that the flare tip velocity           is not. Indicate the date and start and
                                                 one minute when regulated material is                   exceeds the maximum flare tip velocity                end times for each period.
                                                 routed to a flare and no pilot flame or                 determined using the methods in                          (m) Instead of complying with
                                                 flare flame is present. Include the start               § 63.670(d)(2) of this chapter and the                § 63.670(p) of this chapter, you must
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                                                 and stop time and date of each 15-                      maximum 15-minute block average flare                 keep the flare monitoring records
                                                 minute block.                                           tip velocity in ft/sec recorded during the            specified in paragraphs (m)(1) through
                                                                                                                                                                                                            ER16MY24.043</GPH>




                                                    (ii) Visible emission records as                     event.                                                (14) of this section.
                                                 specified in paragraph (m)(2)(iv) of this                  (D) Results of the root cause and                     (1) Retain records of the output of the
                                                 section for each period of 2 consecutive                corrective actions analysis completed                 monitoring device used to detect the
                                                 hours during which visible emissions                    during the reporting period, including                presence of a pilot flame or flare flame
                                                                                                                                                                                                            ER16MY24.042</GPH>




                                                 exceeded a total of 5 minutes.                          the corrective actions implemented                    as required in § 63.670(b) of this chapter


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                                                 and the presence of a pilot flame as                    used in subsequent calculations for a                 the flare, including the start and stop
                                                 required in paragraph (i)(4) of this                    minimum of 5 years. If pressure and                   time and dates of periods of no
                                                 section for a minimum of 2 years. Retain                temperature monitoring is used, then                  regulated material flow.
                                                 records of each 15-minute block during                  retain records of the 15-minute block                    (12) Records when the flow of vent
                                                 which there was at least one minute that                average temperature, pressure, and                    gas exceeds the smokeless capacity of
                                                 no pilot flame or flare flame is present                molecular weight of the flare vent gas or             the flare, including start and stop time
                                                 when regulated material is routed to a                  assist gas stream for each measurement                and dates of the flaring event.
                                                 flare for a minimum of 5 years. For a                   location used to determine the 15-                       (13) Records of the root cause analysis
                                                 pressure-assisted multi-point flare that                minute block average cumulative flows                 and corrective action analysis
                                                 uses cross-lighting, retain records of                  for a minimum of 2 years, and retain the              conducted as required in § 63.670(o)(3)
                                                 each 15-minute block during which                       15-minute block average cumulative                    of this chapter and paragraph (f) of this
                                                 there was at least one minute that no                   flows that are used in subsequent                     section, including an identification of
                                                 pilot flame is present on each stage                    calculations for a minimum of 5 years.                the affected flare, the date and duration
                                                 when regulated material is routed to a                     (4) The flare vent gas compositions                of the event, a statement noting whether
                                                 flare for a minimum of 5 years. You may                 specified to be monitored under                       the event resulted from the same root
                                                 reduce the collected minute-by-minute                   § 63.670(j) of this chapter. Retain                   cause(s) identified in a previous
                                                 data to a 15-minute block basis with an                 records of individual component                       analysis and either a description of the
                                                 indication of whether there was at least                concentrations from each compositional                recommended corrective action(s) or an
                                                 one minute where no pilot flame or flare                analysis for a minimum of 2 years. If an              explanation of why corrective action is
                                                 flame was present.                                      NHVvg analyzer is used, retain records                not necessary under § 63.670(o)(5)(i) of
                                                    (2) Retain records of daily visible                  of the 15-minute block average values                 this chapter.
                                                 emissions observations as specified in                  for a minimum of 5 years.                                (14) For any corrective action analysis
                                                 paragraphs (m)(2)(i) through (iv) of this                  (5) Each 15-minute block average                   for which implementation of corrective
                                                 section, as applicable, for a minimum of                operating parameter calculated                        actions are required in § 63.670(o)(5) of
                                                 3 years.                                                following the methods specified in                    this chapter, a description of the
                                                    (i) To determine when visible                        § 63.670(k) through (n) this chapter, as              corrective action(s) completed within
                                                 emissions observations are required, the                applicable.                                           the first 45 days following the discharge
                                                 record must identify all periods when                      (6) All periods during which                       and, for action(s) not already completed,
                                                 regulated material is vented to the flare.              operating values are outside of the                   a schedule for implementation,
                                                    (ii) If visible emissions observations               applicable operating limits specified in              including proposed commencement and
                                                 are performed using Method 22 of                        § 63.670(d) through (f) of this chapter               completion dates.
                                                 appendix A–7 of this part, then the                     and paragraph (i) of this section when                   (n) You may elect to comply with the
                                                 record must identify whether the visible                regulated material is being routed to the             alternative means of emissions
                                                 emissions observation was performed,                    flare.                                                limitation requirements specified in
                                                 the results of each observation, total                     (7) All periods during which you do                § 63.670(r) of this chapter in lieu of the
                                                 duration of observed visible emissions,                 not perform flare monitoring according                requirements in § 63.670(d) through (f)
                                                 and whether it was a 5-minute or 2-hour                 to the procedures in § 63.670(g) through              of this chapter, as applicable. However,
                                                 observation. Record the date and start                  (j) of this chapter.                                  instead of complying with
                                                 time of each visible emissions                             (8) For pressure-assisted multi-point              § 63.670(r)(3)(iii) of this chapter, you
                                                 observation.                                            flares, if a stage of burners on the flare            must also submit the alternative means
                                                    (iii) If a video surveillance camera is              uses cross-lighting, then a record of any             of emissions limitation request to the
                                                 used pursuant to § 63.670(h)(2) of this                 changes made to the distance between                  following address: U.S. Environmental
                                                 chapter, then the record must include                   burners.                                              Protection Agency, Office of Air Quality
                                                 all video surveillance images recorded,                    (9) For pressure-assisted multi-point              Planning and Standards, Sector Policies
                                                 with time and date stamps.                              flares, all periods when the pressure                 and Programs Division, U.S. EPA
                                                    (iv) For each 2-hour period for which                monitor(s) on the main flare header                   Mailroom (C404–02), Attention: SOCMI
                                                 visible emissions are observed for more                 show burners are operating outside the                NSPS Sector Lead, 4930 Old Page Rd.,
                                                 than 5 minutes in 2 consecutive hours,                  range of the manufacturer’s                           Durham, NC 27703.
                                                 then the record must include the date                   specifications. Indicate the date and                    (o) The referenced provisions
                                                 and start and end time of the 2-hour                    time for each period, the pressure                    specified in paragraphs (o)(1) through
                                                 period and an estimate of the                           measurement, the stage(s) and number                  (4) of this section do not apply when
                                                 cumulative number of minutes in the 2-                  of burners affected, and the range of                 demonstrating compliance with this
                                                 hour period for which emissions were                    manufacturer’s specifications.                        section.
                                                 visible.                                                   (10) For pressure-assisted multi-point                (1) Section 63.670(o)(4)(iv) of this
                                                    (3) The 15-minute block average                      flares, all periods when the staging                  chapter.
                                                 cumulative flows for flare vent gas and,                valve position indicator monitoring                      (2) The last sentence of § 63.670(o)(6)
                                                 if applicable, total steam, perimeter                   system indicates a stage of the pressure-             of this chapter.
                                                 assist air, and premix assist air specified             assisted multi-point flare should not be                 (3) The phrase ‘‘that were not caused
                                                 to be monitored under § 63.670(i) of this               in operation and when a stage of the                  by a force majeure event’’ in
                                                 chapter, along with the date and time                   pressure-assisted multi-point flare                   § 63.670(o)(7)(ii) of this chapter.
                                                 interval for the 15-minute block. If                    should be in operation and is not.                       (4) The phrase ‘‘that were not caused
                                                 multiple monitoring locations are used
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                                                                                                         Indicate the date and time for each                   by a force majeure event’’ in
                                                 to determine cumulative vent gas flow,                  period, whether the stage was supposed                § 63.670(o)(7)(iv) of this chapter.
                                                 total steam, perimeter assist air, and                  to be open, but was closed or vice versa,
                                                 premix assist air, then retain records of               and the stage(s) and number of burners                § 60.670a What are my requirements for
                                                 the 15-minute block average flows for                   affected.                                             closed vent systems?
                                                 each monitoring location for a minimum                     (11) Records of periods when there is                 (a) Except as provided in paragraphs
                                                 of 2 years, and retain the 15-minute                    flow of vent gas to the flare, but when               (f) and (g) of this section, you must
                                                 block average cumulative flows that are                 there is no flow of regulated material to             inspect each closed vent system


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                                                 according to the procedures and                            (5) You may elect to adjust or not                 and-key type configuration. A visual
                                                 schedule specified in paragraphs (a)(1)                 adjust instrument readings for                        inspection of the seal or closure
                                                 through (3) of this section.                            background. If you elect to not adjust                mechanism must be performed at least
                                                    (1) Conduct an initial inspection                    readings for background, all such                     once every month to ensure the valve is
                                                 according to the procedures in                          instrument readings must be compared                  maintained in the closed position and
                                                 paragraph (b) of this section unless the                directly to the applicable leak definition            the vent stream is not diverted through
                                                 closed vent system is operated and                      to determine whether there is a leak.                 the bypass line.
                                                 maintained under negative pressure;                        (6) If you elect to adjust instrument                 (3) Open-ended valves or lines that
                                                    (2) Conduct annual inspections                       readings for background, you must                     use a cap, blind flange, plug, or second
                                                 according to the procedures in                          determine the background concentration                valve and follow the requirements
                                                 paragraph (b) of this section unless the                using Method 21 of appendix A of this                 specified in § 60.482–6(a)(2), (b), and (c)
                                                 closed vent system is operated and                      part. After monitoring each potential                 or follow requirements codified in
                                                 maintained under negative pressure;                     leak interface, subtract the background               another regulation that are the same as
                                                 and                                                     reading from the maximum                              § 60.482–6(a)(2), (b), and (c) are not
                                                    (3) Conduct annual inspections for                   concentration indicated by the                        subject to this paragraph (e) of this
                                                 visible, audible, or olfactory indications              instrument. The arithmetic difference                 section.
                                                 of leaks.                                               between the maximum concentration                        (f) Any parts of the closed vent system
                                                    (b) You must inspect each closed vent                indicated by the instrument and the                   that are designated, as described in
                                                 system according to the procedures                      background level must be compared                     paragraph (h)(1) of this section, as
                                                 specified in paragraphs (b)(1) through                  with 500 parts per million for                        unsafe to inspect are exempt from the
                                                 (6) of this section.                                    determining compliance.                               inspection requirements of paragraphs
                                                    (1) Inspections must be conducted in                    (c) Leaks, as indicated by an                      (a)(1) and (2) of this section if:
                                                 accordance with Method 21 of appendix                   instrument reading greater than 500                      (1) You determine that the equipment
                                                 A of this part.                                         parts per million above background or                 is unsafe to inspect because inspecting
                                                    (2)(i) Except as provided in paragraph               by visual, audio, or olfactory                        personnel would be exposed to an
                                                 (b)(2)(ii) of this section, the detection               inspections, must be repaired as soon as              imminent or potential danger as a
                                                 instrument must meet the performance                    practicable, except as provided in                    consequence of complying with
                                                 criteria of Method 21 of appendix A of                  paragraph (d) of this section.                        paragraphs (a)(1) and (2) of this section;
                                                                                                            (1) A first attempt at repair must be
                                                 this part, except the instrument                                                                              and
                                                                                                         made no later than 5 calendar days after
                                                 response factor criteria in section                                                                              (2) You have a written plan that
                                                                                                         the leak is detected.
                                                 3.1.2(a) of Method 21 must be for the                      (2) Repair must be completed no later              requires inspection of the equipment as
                                                 average composition of the process fluid                than 15 calendar days after the leak is               frequently as practicable during safe-to-
                                                 not each individual volatile organic                    detected.                                             inspect times.
                                                 compound in the stream. For process                        (d) Delay of repair of a closed vent                  (g) Any parts of the closed vent
                                                 streams that contain nitrogen, air, or                  system for which leaks have been                      system are designated, as described in
                                                 other inerts which are not organic                      detected is allowed if the repair is                  paragraph (h)(2) of this section, as
                                                 hazardous air pollutants or volatile                    technically infeasible without a                      difficult to inspect are exempt from the
                                                 organic compounds, the average stream                   shutdown, as defined in § 60.2, or if you             inspection requirements of paragraphs
                                                 response factor must be calculated on an                determine that emissions resulting from               (a)(1) and (2) of this section if:
                                                 inert-free basis.                                       immediate repair would be greater than                   (1) You determine that the equipment
                                                    (ii) If no instrument is available at the            the fugitive emissions likely to result               cannot be inspected without elevating
                                                 plant site that will meet the                           from delay of repair. Repair of such                  the inspecting personnel more than 2
                                                 performance criteria specified in                       equipment must be complete by the end                 meters above a support surface; and
                                                 paragraph (b)(2)(i) of this section, the                of the next shutdown.                                    (2) You have a written plan that
                                                 instrument readings may be adjusted by                     (e) For each closed vent system that               requires inspection of the equipment at
                                                 multiplying by the average response                     contains bypass lines that could divert               least once every 5 years.
                                                 factor of the process fluid, calculated on              a vent stream away from the control                      (h) You must record the information
                                                 an inert-free basis as described in                     device and to the atmosphere, you must                specified in paragraphs (h)(1) through
                                                 paragraph (b)(2)(i).                                    comply with the provisions of either                  (5) of this section.
                                                    (3) The detection instrument must be                 paragraph (e)(1) or (2), except as                       (1) Identification of all parts of the
                                                 calibrated before use on each day of its                specified in paragraph (e)(3) of this                 closed vent system that are designated
                                                 use by the procedures specified in                      section.                                              as unsafe to inspect, an explanation of
                                                 Method 21 of appendix A of this part.                      (1) Install, calibrate, maintain, and              why the equipment is unsafe to inspect,
                                                    (4) Calibration gases must be as                     operate a flow indicator that determines              and the plan for inspecting the
                                                 follows:                                                whether vent stream flow is present at                equipment.
                                                    (i) Zero air (less than 10 parts per                 least once every 15 minutes. You must                    (2) Identification of all parts of the
                                                 million hydrocarbon in air); and                        keep hourly records of whether the flow               closed vent system that are designated
                                                    (ii) Mixtures of methane in air at a                 indicator was operating and whether a                 as difficult to inspect, an explanation of
                                                 concentration less than 2,000 parts per                 diversion was detected at any time                    why the equipment is difficult to
                                                 million. A calibration gas other than                   during the hour, as well as records of                inspect, and the plan for inspecting the
                                                 methane in air may be used if the                                                                             equipment.
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                                                                                                         the times and durations of all periods
                                                 instrument does not respond to methane                  when the vent stream is diverted to the                  (3) For each closed vent system that
                                                 or if the instrument does not meet the                  atmosphere or the flow indicator is not               contains bypass lines that could divert
                                                 performance criteria specified in                       operating. The flow indicator must be                 a vent stream away from the control
                                                 paragraph (b)(2)(i) of this section. In                 installed at the entrance to any bypass               device and to the atmosphere, you must
                                                 such cases, the calibration gas may be a                line; or                                              keep a record of the information
                                                 mixture of one or more of the                              (2) Secure the bypass line valve in the            specified in either paragraph (h)(3)(i) or
                                                 compounds to be measured in air.                        closed position with a car-seal or a lock-            (ii) of this section in addition to the


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                                                 information specified in paragraph                                       process knowledge and engineering                                (6) For each inspection conducted in
                                                 (h)(3)(iii) of this section.                                             estimates.                                                    accordance with paragraph (a)(3) of this
                                                    (i) Hourly records of whether the flow                                   (4) For each inspection during which                       section during which no leaks are
                                                 indicator specified under paragraph                                      a leak is detected, a record of the                           detected, a record that the inspection
                                                 (e)(1) of this section was operating and                                 information specified in paragraphs                           was performed, the date of the
                                                 whether a diversion was detected at any                                  (h)(4)(i) through (viii) of this section.                     inspection, and a statement that no
                                                 time during the hour, as well as records                                    (i) The instrument identification                          leaks were detected.
                                                 of the times of all periods when the vent                                numbers; operator name or initials; and                          (i) The semiannual report specified in
                                                 stream is diverted from the control                                      identification of the equipment.                              § 60.665a(j)(5) must include the items
                                                 device or the flow indicator is not                                         (ii) The date the leak was detected                        specified in paragraphs (i)(1) through (3)
                                                 operating.                                                               and the date of the first attempt to repair                   of this section.
                                                                                                                          the leak.                                                        (1) Reports of the times of all periods
                                                    (ii) Where a seal mechanism is used
                                                                                                                             (iii) Maximum instrument reading
                                                 to comply with paragraph (e)(2) of this                                                                                                recorded under paragraph (h)(3)(i) of
                                                                                                                          measured by the method specified in
                                                 section, hourly records of flow are not                                                                                                this section when the vent stream is
                                                                                                                          paragraph (c) of this section after the
                                                 required. In such cases, you must record                                                                                               diverted from the control device
                                                                                                                          leak is successfully repaired or
                                                 whether the monthly visual inspection                                                                                                  through a bypass line. Include the start
                                                                                                                          determined to be nonrepairable.
                                                 of the seals or closure mechanisms has                                                                                                 date, start time, and duration in hours
                                                                                                                             (iv) ‘‘Repair delayed’’ and the reason
                                                 been done, and you must record the                                                                                                     of each period.
                                                                                                                          for the delay if a leak is not repaired
                                                 occurrence of all periods when the seal                                  within 15 calendar days after discovery                          (2) Reports of all periods recorded
                                                 mechanism is broken, the bypass line                                     of the leak.                                                  under paragraph (h)(3)(ii) of this section
                                                 valve position has changed, or the key                                      (v) The name, initials, or other form                      in which the seal mechanism is broken,
                                                 for a lock-and-key type configuration                                    of identification of the owner or                             the bypass line valve position has
                                                 has been checked out, and records of                                     operator (or designee) whose decision it                      changed, or the key to unlock the bypass
                                                 any car-seal that has broken.                                            was that repair could not be effected                         line valve was checked out. Include the
                                                    (iii) For each flow event from a bypass                               without a shutdown.                                           start date, start time, and duration in
                                                 line subject to the requirements in                                         (vi) The expected date of successful                       hours of each period.
                                                 paragraph (e) of this section, you must                                  repair of the leak if a leak is not repaired                     (3) For bypass lines subject to the
                                                 maintain records sufficient to determine                                 within 15 calendar days.                                      requirements in paragraph (e) of this
                                                 whether or not the detected flow                                            (vii) Dates of shutdowns that occur                        section, the semiannual reports must
                                                 included flow requiring control. For                                     while the equipment is unrepaired.                            include the start date, start time,
                                                 each flow event from a bypass line                                          (viii) The date of successful repair of                    duration in hours, estimate of the
                                                 requiring control that is released either                                the leak.                                                     volume of gas in standard cubic feet, the
                                                 directly to the atmosphere or to a                                          (5) For each inspection conducted in                       concentration of VOC in the gas in parts
                                                 control device not meeting the                                           accordance with paragraph (b) of this                         per million by volume and the resulting
                                                 requirements in this subpart, you must                                   section during which no leaks are                             mass emissions of VOC in pounds that
                                                 include an estimate of the volume of                                     detected, a record that the inspection                        bypass a control device. For periods
                                                 gas, the concentration of VOC in the gas                                 was performed, the date of the                                when the flow indicator is not
                                                 and the resulting emissions of VOC that                                  inspection, and a statement that no                           operating, report the start date, start
                                                 bypassed the control device using                                        leaks were detected.                                          time, and duration in hours.

                                                                     TABLE 1 TO SUBPART NNNa OF PART 60—EMISSION LIMITS AND STANDARDS FOR VENT STREAMS
                                                 For each . . .                                           You must . . .

                                                 1. Vent stream ................................          a. Reduce emissions of TOC (minus methane and ethane) by 98 weight-percent, or to a TOC (minus
                                                                                                            methane and ethane) concentration of 20 ppmv on a dry basis corrected to 3 percent oxygen by venting
                                                                                                            emissions through a closed vent system to any combination of non-flare control devices and/or recovery
                                                                                                            system and meet the requirements specified in § 60.663a and § 60.670a; or
                                                                                                          b. Reduce emissions of TOC (minus methane and ethane) by venting emissions through a closed vent
                                                                                                            system to a flare and meet the requirements specified in § 60.669a and § 60.670a.


                                                    TABLE 2 TO SUBPART NNNa OF PART 60—MONITORING REQUIREMENTS FOR COMPLYING WITH 98 WEIGHT-PERCENT
                                                        REDUCTION OF TOTAL ORGANIC COMPOUNDS EMISSIONS OR A LIMIT OF 20 PARTS PER MILLION BY VOLUME
                                                                                  Non-flare control device or                                                                             Parameters to be
                                                                                       recovery device                                                                                       monitored

                                                 1. All control and recovery devices ..........................................................                a. Presence of flow diverted to the atmosphere from the control and re-
                                                                                                                                                                  covery device; or
                                                                                                                                                               b. Monthly inspections of sealed valves
                                                 2. Absorber ...............................................................................................   a. Exit temperature of the absorbing liquid; and
                                                                                                                                                               b. Exit specific gravity
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                                                 3. Boiler or process heater with a design heat input capacity less than                                       Firebox temperature a
                                                   44 megawatts and vent stream is not introduced with or as the pri-
                                                   mary fuel.
                                                 4. Catalytic incinerator ..............................................................................       Temperature upstream and downstream of the catalyst bed
                                                 5. Carbon adsorber, regenerative ............................................................                 a. Total regeneration stream mass or volumetric flow during carbon
                                                                                                                                                                 bed regeneration cycle(s); and
                                                                                                                                                               b. Temperature of the carbon bed after regeneration [and within 15
                                                                                                                                                                 minutes of completing any cooling cycle(s)]



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                                                   TABLE 2 TO SUBPART NNNa OF PART 60—MONITORING REQUIREMENTS FOR COMPLYING WITH 98 WEIGHT-PERCENT
                                                  REDUCTION OF TOTAL ORGANIC COMPOUNDS EMISSIONS OR A LIMIT OF 20 PARTS PER MILLION BY VOLUME—Continued
                                                                                  Non-flare control device or                                                                                   Parameters to be
                                                                                       recovery device                                                                                             monitored

                                                 6. Carbon adsorber, non-regenerative or regenerated offsite .................                               Breakthrough
                                                 7. Condenser ............................................................................................   Exit (product side) temperature
                                                 8. Scrubber for halogenated vent streams ...............................................                    a. pH of scrubber effluent; and
                                                                                                                                                             b. Scrubber liquid and gas flow rates
                                                 9. Thermal incinerator ..............................................................................       Firebox temperature a
                                                 10. Control devices other than an incinerator, boiler, process heater, or                                   As specified by the Administrator
                                                   flare; or recovery devices other than an absorber, condenser, or car-
                                                   bon adsorber.
                                                   a Monitor may be installed in the firebox or in the ductwork immediately downstream of the firebox before any substantial heat exchange is
                                                 encountered.

                                                         TABLE 3 TO SUBPART NNNA OF PART 60—OPERATING PARAMETERS, OPERATING PARAMETER LIMITS AND DATA
                                                                             MONITORING, RECORDKEEPING AND COMPLIANCE FREQUENCIES
                                                           For the                                                                                 And you must monitor, record, and demonstrate continuous
                                                                                               You must
                                                         operating                                                                                     compliance using these minimum frequencies . . .
                                                                                               establish
                                                         parameter                           the following
                                                        applicable to                          operating                                                                                                                         Data
                                                           you, as                                                                                                                                    Data
                                                                                              parameter                                      Data measurement                                                                 averaging
                                                          specified                                                                                                                                 recording
                                                                                               limit . . .                                                                                                              period for compliance
                                                         in table 2

                                                                                                                                                   Absorbers

                                                 1. Exit temperature of              Maximum temperature                  Continuous .....................................................   Every 15 minutes .......   3-hour block average.
                                                   the absorbing liquid.
                                                 2. Exit specific gravity            Exit specific gravity                Continuous .....................................................   Every 15 minutes .......   3-hour block average.
                                                                                       range.

                                                                                                               Boilers or process heaters
                                                                         (with a design heat input capacity <44MW and vent stream is not introduced with or as the primary fuel)

                                                 3. Firebox tempera-                 Minimum firebox tem-                 Continuous .....................................................   Every 15 minutes .......   3-hour block average.
                                                   ture.                               perature.

                                                                                                                                          Catalytic incinerators

                                                 4. Temperature in gas               Minimum temperature                  Continuous .....................................................   Every 15 minutes .......   3-hour block average.
                                                   stream immediately
                                                   before the catalyst
                                                   bed.
                                                 5. Temperature dif-                 Minimum temperature                  Continuous .....................................................   Every 15 minutes .......   3-hour block average.
                                                   ference between the                 difference.
                                                   catalyst bed inlet
                                                   and the catalyst bed
                                                   outlet.

                                                                                                                                             Carbon adsorbers

                                                 6. Total regeneration               Minimum mass flow                    Continuously during regeneration ..................                Every 15 minutes dur-      Total flow for each re-
                                                   stream mass flow                    during carbon bed                                                                                       ing regeneration           generation cycle.
                                                   during carbon bed                   regeneration                                                                                            cycle.
                                                   regeneration                        cycle(s).
                                                   cycle(s).
                                                 7. Total regeneration               Minimum volumetric                   Continuously during regeneration ..................                Every 15 minutes dur-      Total flow for each re-
                                                   stream volumetric                   flow during carbon                                                                                      ing regeneration           generation cycle.
                                                   flow during carbon                  bed regeneration                                                                                        cycle.
                                                   bed regeneration                    cycle(s).
                                                   cycle(s).
                                                 8. Temperature of the               Maximum temperature                  Continuously during regeneration and for 15                        Every 15 minutes dur-      Average of regenera-
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                                                   carbon bed after re-               of the carbon bed                     minutes after completing any cooling                               ing regeneration           tion cycle.
                                                   generation [and                    after regeneration.                   cycle(s).                                                          cycle (including any
                                                   within 15 minutes of                                                                                                                        cooling cycle).
                                                   completing any
                                                   cooling cycle(s)].
                                                 9. Breakthrough .........           As defined in                        As required by § 60.663a(a)(6)(iii)(B) .............               Each monitoring event      N/A.
                                                                                       § 60.661a.




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                                                        TABLE 3 TO SUBPART NNNA OF PART 60—OPERATING PARAMETERS, OPERATING PARAMETER LIMITS AND DATA
                                                                       MONITORING, RECORDKEEPING AND COMPLIANCE FREQUENCIES—Continued
                                                           For the                                                                                And you must monitor, record, and demonstrate continuous
                                                                                                You must
                                                         operating                                                                                    compliance using these minimum frequencies . . .
                                                                                                establish
                                                         parameter                            the following
                                                        applicable to                           operating                                                                                                                       Data
                                                           you, as                                                                                                                                   Data
                                                                                               parameter                                    Data measurement                                                                 averaging
                                                          specified                                                                                                                                recording
                                                                                                limit . . .                                                                                                            period for compliance
                                                         in table 2

                                                                                                                                                Condensers

                                                 10. Exit (product side)             Maximum temperature                 Continuous .....................................................   Every 15 minutes .......   3-hour block average.
                                                   temperature.

                                                                                                                          Scrubbers for halogenated vent streams

                                                 11. pH of scrubber ef-              Minimum pH ...............          Continuous .....................................................   Every 15 minutes .......   3-hour block average.
                                                   fluent.
                                                 12. Influent liquid flow            Minimum inlet liquid                Continuous .....................................................   Every 15 minutes .......   3-hour block average.
                                                                                       flow.
                                                 13. Influent liquid flow            Minimum influent liq-               Continuous .....................................................   Every 15 minutes .......   3-hour block average.
                                                   rate and gas stream                 uid-to-gas ratio.
                                                   flow rate.

                                                                                                                                         Thermal incinerators

                                                 14. Firebox tempera-                Minimum firebox tem-                Continuous .....................................................   Every 15 minutes .......   3-hour block average.
                                                   ture.                               perature.

                                                   Control devices other than an incinerator, boiler, process heater, or flare; or recovery devices other than an absorber, condenser, or
                                                                                                              carbon adsorber

                                                 15. As specified by                 15. As specified by                 15. As specified by the Administrator ............                 15. As specified by        15. As specified by
                                                   the Administrator.                  the Administrator.                                                                                     the Administrator.         the Administrator.


                                                      TABLE 4 TO SUBPART NNNa OF PART 60—CALIBRATION AND QUALITY CONTROL REQUIREMENTS FOR CONTINUOUS
                                                                                   PARAMETER MONITORING SYSTEM (CPMS)
                                                 If you monitor this                           Your accuracy requirements                                                        And your calibration requirements
                                                 parameter . . .                               are . . .                                                                         are . . .

                                                 1. Temperature ....................           a. ± 1 percent over the normal range of temperature                               c. Performance evaluation annually and following any
                                                                                                 measured or 2.8 degrees Celsius (5 degrees Fahr-                                   period of more than 24 hours throughout which the
                                                                                                 enheit), whichever is greater, for non-cryogenic tem-                              temperature exceeded the maximum rated tempera-
                                                                                                 perature ranges.                                                                   ture of the sensor, or the data recorder was off scale.
                                                                                               b. ± 2.5 percent over the normal range of temperature                             d. Visual inspections and checks of CPMS operation
                                                                                                 measured or 2.8 degrees Celsius (5 degrees Fahr-                                   every 3 months, unless the CPMS has a redundant
                                                                                                 enheit), whichever is greater, for cryogenic tempera-                              temperature sensor.
                                                                                                 ture ranges.                                                                    e. Selection of a representative measurement location.
                                                 2. Flow Rate .........................        a. ± 5 percent over the normal range of flow measured                             d. Performance evaluation annually and following any
                                                                                                 or 1.9 liters per minute (0.5 gallons per minute),                                 period of more than 24 hours throughout which the
                                                                                                 whichever is greater, for liquid flow rate.                                        flow rate exceeded the maximum rated flow rate of
                                                                                               b. ± 5 percent over the normal range of flow measured                                the sensor, or the data recorder was off scale.
                                                                                                 or 280 liters per minute (10 cubic feet per minute),                            e. Checks of all mechanical connections for leakage
                                                                                                 whichever is greater, for gas flow rate.                                           monthly.
                                                                                               c. ± 5 percent over the normal range measured for                                 f. Visual inspections and checks of CPMS operation
                                                                                                 mass flow rate.                                                                    every 3 months, unless the CPMS has a redundant
                                                                                                                                                                                    flow sensor.
                                                                                                                                                                                 g. Selection of a representative measurement location
                                                                                                                                                                                    where swirling flow or abnormal velocity distributions
                                                                                                                                                                                    due to upstream and downstream disturbances at the
                                                                                                                                                                                    point of measurement are minimized.
                                                 3. pH ....................................    a. ± 0.2 pH units .............................................................   b. Performance evaluation annually. Conduct a two-
                                                                                                                                                                                    point calibration with one of the two buffer solutions
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                                                                                                                                                                                    having a pH within 1 of the pH of the operating limit.
                                                                                                                                                                                 c. Visual inspections and checks of CPMS operation
                                                                                                                                                                                    every 3 months, unless the CPMS has a redundant
                                                                                                                                                                                    pH sensor.
                                                                                                                                                                                 d. Select a measurement location that provides a rep-
                                                                                                                                                                                    resentative sample of scrubber effluent and that en-
                                                                                                                                                                                    sures the fluid is properly mixed.




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                                                     TABLE 4 TO SUBPART NNNa OF PART 60—CALIBRATION AND QUALITY CONTROL REQUIREMENTS FOR CONTINUOUS
                                                                             PARAMETER MONITORING SYSTEM (CPMS)—Continued
                                                 If you monitor this                    Your accuracy requirements                                                  And your calibration requirements
                                                 parameter . . .                        are . . .                                                                   are . . .

                                                 4. Specific Gravity ................   a. ± 0.02 specific gravity units ........................................   b. Performance evaluation annually.
                                                                                                                                                                    c. Visual inspections and checks of CPMS operation
                                                                                                                                                                      every 3 months, unless the CPMS has a redundant
                                                                                                                                                                      specific gravity sensor.
                                                                                                                                                                    d. Select a measurement location that provides a rep-
                                                                                                                                                                      resentative sample of specific gravity of the absorb-
                                                                                                                                                                      ing liquid effluent and that ensures the fluid is prop-
                                                                                                                                                                      erly mixed.



                                                 ■ 33. Revise the heading for subpart                             (8) Each affected facility operated                        § 60.701   Definitions.
                                                 RRR to read as follows:                                       with a concentration of total organic                         *    *    *     *    *
                                                                                                               compounds (TOC) (less methane and
                                                 Subpart RRR—Standards of                                                                                                      Flame zone means the portion of the
                                                                                                               ethane) in the vent stream less than 300
                                                 Performance for Volatile Organic                                                                                            combustion chamber in a boiler or
                                                                                                               ppmv as measured by Method 18 of
                                                 Compound Emissions From Synthetic                                                                                           process heater occupied by the flame
                                                                                                               appendix A–6 to this part or ASTM
                                                 Organic Chemical Manufacturing                                                                                              envelope.
                                                                                                               D6420–18 (incorporated by reference,
                                                 Industry (SOCMI) Reactor Processes                            see § 60.17) as specified in                                  *    *    *     *    *
                                                 After June 29, 1990, and on or Before                         § 60.704(b)(4), or a concentration of TOC                     ■ 36. Amend § 60.704 by revising
                                                 April 25, 2023                                                in the vent stream less than 150 ppmv                         paragraphs (b)(3), (b)(4) introductory
                                                 ■ 34. Amend § 60.700 by revising
                                                                                                               as measured by Method 25A of                                  text, (d), and (h)(2) and (3) to read as
                                                 paragraphs (b) introductory text and                          appendix A–7 to this part is exempt                           follows:
                                                 (c)(5) and (8) and adding paragraph (e)                       from all provisions of this subpart
                                                 to read as follows:                                           except for the test method and                                § 60.704   Test methods and procedures.
                                                                                                               procedure and the reporting and                               *     *     *     *     *
                                                 § 60.700 Applicability and designation of                     recordkeeping requirements in
                                                 affected facility.                                            §§ 60.704(h) and 60.705(j), (l)(8), and                         (b) * * *
                                                 *      *     *    *      *                                    (p).                                                            (3) The emission rate correction
                                                   (b) The affected facility is any of the                     *      *    *     *     *                                     factor, integrated sampling and analysis
                                                 following for which construction,                                                                                           procedures of Method 3B of appendix
                                                                                                                  (e) Owners and operators of flares that
                                                 modification, or reconstruction                                                                                             A–2 to this part, or the manual method
                                                                                                               are subject to the flare related
                                                 commenced after June 29, 1990, and on                                                                                       in ANSI/ASME PTC 19.10–1981
                                                                                                               requirements of this subpart and flare
                                                 or before April 25, 2023:                                                                                                   incorporated by reference, see § 60.17),
                                                   (c) * * *                                                   related requirements of any other
                                                                                                                                                                             shall be used to determine the oxygen
                                                   (5) If the vent stream from an affected                     regulation in this part or 40 CFR part 61
                                                                                                                                                                             concentration (%O2d) for the purposes
                                                 facility is routed to a distillation unit                     or 63, may elect to comply with the
                                                                                                                                                                             of determining compliance with the 20
                                                 subject to subpart NNN of this part or                        requirements in § 60.709a in lieu of all
                                                                                                                                                                             ppmv limit. The sampling site shall be
                                                 subpart NNNa of this part, and has no                         flare related requirements in any other
                                                                                                                                                                             the same as that of the TOC samples,
                                                 other releases to the air except for a                        regulation in this part or 40 CFR part 61
                                                                                                                                                                             and the samples shall be taken during
                                                 pressure relief valve, the facility is                        or 63.
                                                                                                                                                                             the same time that the TOC samples are
                                                 exempt from all provisions of this                            ■ 35. Amend § 60.701 by revising the                          taken. The TOC concentration corrected
                                                 subpart except for § 60.705(r).                               definition of ‘‘Flame zone’’ as follows to                    to 3 percent O2 (Cc) shall be computed
                                                 *      *     *    *      *                                    read as follows:                                              using the following equation:

                                                                                                                                     17.9
                                                                                                                        Cc = Croc 20.9- %02d

                                                 Where:                                                        D6420–18 (incorporated by reference,                          value of the gas combusted to determine
                                                 Cc = Concentration of TOC corrected to 3                      see § 60.17) may be used in lieu of                           compliance under § 60.702(b) and for
                                                     percent O2, dry basis, ppm by volume.                     Method 18 of appendix A–6 to this part,                       determining the process vent stream
                                                 CTOC = Concentration of TOC (minus                            if the target compounds are all known                         TRE index value to determine
                                                     methane and ethane), dry basis, ppm by                    and are all listed in Section 1.1 of
                                                     volume.
                                                                                                                                                                             compliance under §§ 60.700(c)(2) and
                                                 %O2d = Concentration of O2, dry basis,                        ASTM D6420–18 as measurable; ASTM                             60.702(c).
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                                                     percent by volume.                                        D6420–18 may not be used for methane                             (1)(i) Method 1 or 1A of appendix A–
                                                                                                               and ethane; and ASTM D6420–18 may
                                                   (4) Method 18 of appendix A–6 to this                                                                                     1 to this part, as appropriate, for
                                                                                                               not be used as a total VOC method.
                                                 part to determine the concentration of                                                                                      selection of the sampling site. The
                                                 TOC in the control device outlet and the                      *      *     *    *     *                                     sampling site for the vent stream flow
                                                 concentration of TOC in the inlet when                           (d) The following test methods, except                     rate and molar composition
                                                 the reduction efficiency of the control                       as provided under § 60.8(b), shall be                         determination prescribed in
                                                                                                                                                                                                                                ER16MY24.044</GPH>




                                                 device is to be determined. ASTM                              used for determining the net heating                          § 60.704(d)(2) and (3) shall be, except


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                                                 for the situations outlined in paragraph                appendix A–6 to this part, or ASTM                       (i) Method 18 of appendix A–6 to this
                                                 (d)(1)(ii) of this section, prior to the inlet          D6420–18 (incorporated by reference,                  part, or ASTM D6420–18 (incorporated
                                                 of any control device, prior to any                     see § 60.17) as specified in paragraph                by reference, see § 60.17) as specified in
                                                 postreactor dilution of the stream with                 (b)(4) of this section, at the inlet to the           paragraph (b)(4) of this section, to
                                                 air, and prior to any postreactor                       final recovery device after the                       measure the concentration of TOC
                                                 introduction of halogenated compounds                   introduction of any vent stream and at                including those containing halogens.
                                                 into the process vent stream. No traverse               the outlet of the final recovery device.
                                                                                                            (C) This efficiency of the final                      (ii) ASTM D1946–77 or 90
                                                 site selection method is needed for
                                                 vents smaller than 4 inches in diameter.                recovery device shall be applied to the               (Reapproved 1994) (incorporation by
                                                    (ii) If any gas stream other than the                TOC concentration measured prior to                   reference as specified in § 60.17 of this
                                                 reactor vent stream is normally                         the final recovery device and prior to                part) to measure the concentration of
                                                 conducted through the final recovery                    the introduction of any nonreactor                    carbon monoxide and hydrogen.
                                                 device:                                                 stream or stream from a nonaffected                      (iii) Method 4 of appendix A–3 to this
                                                    (A) The sampling site for vent stream                reactor process to determine the                      part to measure the content of water
                                                 flow rate and molar composition shall                   concentration of TOC in the reactor                   vapor.
                                                 be prior to the final recovery device and               process vent stream from the final
                                                                                                                                                                  (3) The volumetric flow rate shall be
                                                 prior to the point at which any                         recovery device. This concentration of
                                                                                                                                                               determined using Method 2, 2A, 2C, or
                                                 nonreactor stream or stream from a                      TOC is then used to perform the
                                                                                                                                                               2D of appendix A–1 to this part, as
                                                 nonaffected reactor process is                          calculations outlined in paragraphs
                                                 introduced.                                             (d)(4) and (5) of this section.                       appropriate.
                                                    (B) The efficiency of the final recovery                (2) The molar composition of the                      (4) The net heating value of the vent
                                                 device is determined by measuring the                   process vent stream shall be determined               stream shall be calculated using the
                                                 TOC concentration using Method 18 of                    as follows:                                           following equation:

                                                                                                                              n
                                                                                                               Hr = K 1     L CjHj 1- Bws
                                                                                                                             j=l


                                                 Where:                                                  Cj = Concentration on a dry basis of                      °C and 760 mm Hg. The heats of
                                                 HT = Net heating value of the sample, MJ/                    compound j in ppm, as measured for                   combustion of vent stream components
                                                     scm, where the net enthalpy per mole of                  organics by Method 18 of appendix A–                 would be required to be determined
                                                                                                              6 to this part, or ASTM D6420–18                     using ASTM D2382–76 or 88 or D4809–
                                                     vent stream is based on combustion at 25
                                                                                                              (incorporated by reference, see § 60.17)             95 (incorporated by reference, see
                                                     °C and 760 mm Hg, but the standard
                                                                                                              as specified in paragraph (b)(4) of this             § 60.17) if published values are not
                                                     temperature for determining the volume                   section, and measured for hydrogen and               available or cannot be calculated.
                                                     corresponding to one mole is 20 °C, as                   carbon monoxide by ASTM D1946–77 or              Bws = Water vapor content of the vent stream,
                                                     in the definition of Qs (vent stream flow                90 (Reapproved 1994) (incorporated by                proportion by volume.
                                                     rate).                                                   reference, see § 60.17) as indicated in
                                                 K1 = Constant, 1.740 × 10¥7 (l/ppm) (g-mole/                 paragraph (d)(2) of this section.                  (5) The emission rate of TOC in the
                                                     scm) (MJ/kcal), where standard                      Hj = Net heat of combustion of compound j,            vent stream shall be calculated using the
                                                     temperature for (g-mole/scm) is 20 °C.                   kcal/g-mole, based on combustion at 25           following equation:




                                                 Where:                                                  compounds containing halogens which                   section, is used to qualify for the low
                                                 ETOC = Emission rate of TOC in the sample,              were measured by Method 18 of                         concentration exclusion in
                                                      kg/hr.                                             appendix A–6 to this part, or ASTM                    § 60.700(c)(8), the procedures in
                                                 K2 = Constant, 2.494 × 10¥6 (l/ppm) (g-mole/            D6420–18 (incorporated by reference,                  paragraphs (b)(4)(i) and (iv) of this
                                                      scm) (kg/g) (min/hr), where standard               see § 60.17) as specified in paragraph
                                                      temperature for (g-mole/scm) is 20 °C.                                                                   section shall be used to measure TOC
                                                 Cj = Concentration on a dry basis of                    (b)(4) of this section.                               concentration, and the procedures of
                                                      compound j in ppm as measured by                   *      *     *     *    *                             paragraph (b)(3) of this section shall be
                                                      Method 18 of appendix A–6 to this part,               (h) * * *                                          used to correct the TOC concentration to
                                                      or ASTM D6420–18 (incorporated by                                                                        3 percent oxygen. To qualify for the
                                                                                                            (2) Method 18 of appendix A–6 or
                                                      reference, see § 60.17) as specified in
                                                      paragraph (b)(4) of this section, as               Method 25A of appendix A–7 to this                    exclusion, the results must demonstrate
                                                      indicated in paragraph (d)(2) of this              part shall be used to measure                         that the concentration of TOC, corrected
                                                      section.                                           concentration. ASTM D6420–18                          to 3 percent oxygen, is below 300 ppm
                                                 Mj = Molecular weight of sample j, g/g-mole.            (incorporated by reference, see § 60.17)              by volume.
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                                                 Qs = Vent stream flow rate (dscm/min) at a              may be used in lieu of Method 18 as                   *     *     *     *    *
                                                      temperature of 20 °C.                              specified in paragraph (b)(4) of this
                                                                                                                                                                                                               ER16MY24.046</GPH>




                                                   (6) The total vent stream                             section.                                              ■ 37. Amend § 60.705 by revising
                                                 concentration (by volume) of                               (3) Where Method 18 of appendix A–                 paragraphs (b) introductory text, (l), and
                                                 compounds containing halogens (ppmv,                    6 to this part, or ASTM D6420–18                      (m) and adding paragraphs (u), (v), and
                                                 by compound) shall be summed from                       (incorporated by reference, see § 60.17)              (w) to read as follows:
                                                                                                                                                                                                               ER16MY24.045</GPH>




                                                 the individual concentrations of                        as specified in paragraph (b)(4) of this


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                                                 § 60.705 Reporting and recordkeeping                    owners and operators must submit all                  separate report. A performance test must
                                                 requirements.                                           subsequent reports using the                          be completed within the same time
                                                 *      *      *     *    *                              appropriate electronic report template                period to obtain the vent stream flow
                                                    (b) Each owner or operator subject to                on the CEDRI website for this subpart                 rate, heating value, and ETOC. The
                                                 the provisions of this subpart shall keep               and following the procedure specified                 performance test is subject to the
                                                 an up-to-date, readily accessible record                in paragraph (u) of this section. The date            requirements of § 60.8, and the
                                                 of the following data measured during                   report templates become available will                performance test must be reported
                                                 each performance test, and also include                 be listed on the CEDRI website. Unless                according to paragraph (b) of this
                                                 the following data in the report of the                 the Administrator or delegated state                  section. The facility must begin
                                                 initial performance test required under                 agency or other authority has approved                compliance with the requirements set
                                                 § 60.8. Where a boiler or process heater                a different schedule for submission of                forth in § 60.702 or § 60.700(d). If the
                                                 with a design heat input capacity of 44                 reports, the report must be submitted by              facility chooses to comply with
                                                 MW (150 million Btu/hour) or greater is                 the deadline specified in this subpart,               § 60.702, the facility may qualify for an
                                                 used or where the reactor process vent                  regardless of the method in which the                 exemption under § 60.700(c)(2), (4), or
                                                 stream is introduced as the primary fuel                report is submitted.                                  (8).
                                                 to any size boiler or process heater to                    (1) Exceedances of monitored                          (6) Any recalculation of the TRE
                                                 comply with § 60.702(a), a report                       parameters recorded under paragraphs                  index value, as recorded under
                                                 containing performance test data need                   (c), (f), and (g) of this section.                    paragraph (g) of this section.
                                                 not be submitted, but a report                             (2) All periods and duration recorded                 (7) All periods recorded under
                                                 containing the information in paragraph                 under paragraph (d) of this section                   paragraph (d) of this section in which
                                                 (b)(2)(i) of this section is required. The              when the vent stream is diverted from                 the seal mechanism is broken or the by-
                                                 same data specified in this section shall               the control device to the atmosphere.                 pass line valve position has changed. A
                                                 be submitted in the reports of all                         (3) All periods recorded under                     record of the serial number of the car-
                                                 subsequently required performance tests                 paragraph (e) of this section in which                seal or a record to show that the key to
                                                                                                         the pilot flame of the flare was absent.              unlock the bypass line valve was
                                                 where either the emission control
                                                                                                            (4) Any change in equipment or                     checked out must be maintained to
                                                 efficiency of a combustion device, outlet
                                                                                                         process operation that increases the                  demonstrate the period, the duration,
                                                 concentration of TOC, or the TRE index                  operating vent stream flow rate above
                                                 value of a vent stream from a recovery                                                                        and frequency in which the bypass line
                                                                                                         the low flow exemption level in                       was operated.
                                                 system is determined. Beginning on July                 § 60.700(c)(4), including a measurement                  (8) Any change in equipment or
                                                 15, 2024, owners and operators must                     of the new vent stream flow rate, as                  process operation that increases the vent
                                                 submit the performance test report                      recorded under paragraph (i) of this                  stream concentration above the low
                                                 following the procedures specified in                   section. These must be reported as soon               concentration exemption level in
                                                 paragraph (u) of this section. Data                     as possible after the change and no later             § 60.700(c)(8), including a measurement
                                                 collected using test methods that are                   than 180 days after the change. These                 of the new vent stream concentration, as
                                                 supported by the EPA’s Electronic                       reports may be submitted either in                    recorded under paragraph (j) of this
                                                 Reporting Tool (ERT) as listed on the                   conjunction with semiannual reports or                section. These must be reported as soon
                                                 EPA’s ERT website (https://                             as a single separate report. A                        as possible after the change and no later
                                                 www.epa.gov/electronic-reporting-air-                   performance test must be completed                    than 180 days after the change. These
                                                 emissions/electronic-reporting-tool-ert)                within the same time period to verify                 reports may be submitted either in
                                                 at the time of the test must be submitted               the recalculated flow value and to                    conjunction with semiannual reports or
                                                 in a file format generated using the                    obtain the vent stream characteristics of             as a single separate report. If the vent
                                                 EPA’s ERT. Alternatively, the owner or                  heating value and ETOC. The                           stream concentration is above 300 ppmv
                                                 operator may submit an electronic file                  performance test is subject to the                    as measured using Method 18 of
                                                 consistent with the extensible markup                   requirements of § 60.8, and the                       appendix A–6 to this part, or ASTM
                                                 language (XML) schema listed on the                     performance test must be reported                     D6420–18 (incorporated by reference,
                                                 EPA’s ERT website. Data collected using                 according to paragraph (b) of this                    see § 60.17) as specified in
                                                 test methods that are not supported by                  section. Unless the facility qualifies for            § 60.704(b)(4), or above 150 ppmv as
                                                 the EPA’s ERT as listed on the EPA’s                    an exemption under any of the                         measured using Method 25A of
                                                 ERT website at the time of the test must                exemption provisions listed in                        appendix A–7 to this part, a
                                                 be included as an attachment in the ERT                 § 60.700(c), except for the total resource            performance test must be completed
                                                 or an alternate electronic file.                        effectiveness index greater than 8.0                  within the same time period to obtain
                                                 *      *      *     *    *                              exemption in § 60.700(c)(2), the facility             the vent stream flow rate, heating value,
                                                    (l) Each owner or operator that seeks                must begin compliance with the                        and ETOC. The performance test is
                                                 to comply with the requirements of this                 requirements set forth in § 60.702.                   subject to the requirements of § 60.8,
                                                 subpart by complying with the                              (5) Any change in equipment or                     and the performance test must be
                                                 requirements of § 60.700(c)(2), (3), or (4)             process operation, as recorded under                  reported according to paragraph (b) of
                                                 or § 60.702 shall submit to the                         paragraph (i) of this section, that                   this section. Unless the facility qualifies
                                                 Administrator semiannual reports of the                 increases the design production                       for an exemption under any of the
                                                 following recorded information. The                     capacity above the low capacity                       exemption provisions listed in
                                                 initial report shall be submitted within                exemption level in § 60.700(c)(3) and                 § 60.700(c), except for the TRE index
                                                 6 months after the initial start-up date.               the new capacity resulting from the
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                                                                                                                                                               greater than 8.0 exemption in
                                                 On and after July 15, 2025 or once the                  change for the reactor process unit                   § 60.700(c)(2), the facility must begin
                                                 report template for this subpart has been               containing the affected facility. These               compliance with the requirements set
                                                 available on the Compliance and                         must be reported as soon as possible                  forth in § 60.702.
                                                 Emissions Data Reporting Interface                      after the change and no later than 180                   (m) The requirements of paragraph (l)
                                                 (CEDRI) website (https://www.epa.gov/                   days after the change. These reports may              of this section remain in force until and
                                                 electronic-reporting-air-emissions/cedri)               be submitted either in conjunction with               unless EPA, in delegating enforcement
                                                 for 1 year, whichever date is later,                    semiannual reports or as a single                     authority to a State under section 111(c)


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                                                 of the Act, approves reporting                          electronically using email attachments,                 (i) The date(s) and time(s) when CDX
                                                 requirements or an alternative means of                 File Transfer Protocol, or other online               or CEDRI was accessed and the system
                                                 compliance surveillance adopted by                      file sharing services. Electronic                     was unavailable;
                                                 such State. In that event, affected                     submissions must be transmitted                         (ii) A rationale for attributing the
                                                 sources within the State will be relieved               directly to the OAQPS CBI Office at the               delay in reporting beyond the regulatory
                                                 of the obligation to comply with                        email address oaqpscbi@epa.gov, and as                deadline to EPA system outage;
                                                 paragraph (l), provided that they comply                described above, should include clear                   (iii) A description of measures taken
                                                 with the requirements established by                    CBI markings. ERT files should be                     or to be taken to minimize the delay in
                                                 the State. The EPA will not approve a                   flagged to the attention of the Group                 reporting; and
                                                 waiver of electronic reporting to the                   Leader, Measurement Policy Group; all                   (iv) The date by which the owner or
                                                 EPA in delegating enforcement                           other files should be flagged to the                  operator proposes to report, or if the
                                                 authority. Thus, electronic reporting to                attention of the SOCMI NSPS Sector                    owner or operator has already met the
                                                 the EPA cannot be waived, and as such,                  Lead. Owners and operators who do not                 reporting requirement at the time of the
                                                 the provisions of this paragraph cannot                 have their own file sharing service and               notification, the date the report was
                                                 be used to relieve owners or operators                  who require assistance with submitting                submitted.
                                                 of affected facilities of the requirement               large electronic files that exceed the file             (6) The decision to accept the claim
                                                 to submit the electronic reports required               size limit for email attachments should               of EPA system outage and allow an
                                                 in this section to the EPA.                             email oaqpscbi@epa.gov to request a file              extension to the reporting deadline is
                                                 *      *     *     *     *                              transfer link.                                        solely within the discretion of the
                                                                                                            (2) If an owner or operator cannot                 Administrator.
                                                    (u) If an owner or operator is required
                                                                                                         transmit the file electronically, the                   (7) In any circumstance, the report
                                                 to submit notifications or reports
                                                                                                         owner or operator may send CBI                        must be submitted electronically as
                                                 following the procedure specified in
                                                                                                         information through the postal service                soon as possible after the outage is
                                                 this paragraph (u), the owner or operator
                                                                                                         to the following address: OAQPS                       resolved.
                                                 must submit notifications or reports to
                                                                                                         Document Control Officer (C404–02),                     (w) Owners and operators required to
                                                 the EPA via CEDRI, which can be
                                                                                                         OAQPS, U.S. Environmental Protection                  electronically submit notifications or
                                                 accessed through the EPA’s Central Data
                                                                                                         Agency, 109 T.W. Alexander Drive, P.O.                reports through CEDRI in the EPA’s
                                                 Exchange (CDX) (https://cdx.epa.gov/).
                                                                                                         Box 12055, Research Triangle Park,                    CDX may assert a claim of force majeure
                                                 The EPA will make all the information
                                                                                                         North Carolina 27711. ERT files should                for failure to timely comply with the
                                                 submitted through CEDRI available to
                                                                                                         be sent to the attention of the Group                 electronic submittal requirement. To
                                                 the public without further notice to the
                                                                                                         Leader, Measurement Policy Group, and                 assert a claim of force majeure, owners
                                                 owner or operator. Do not use CEDRI to
                                                                                                         all other files should be sent to the                 and operators must meet the
                                                 submit information the owner or
                                                                                                         attention of the SOCMI NSPS Sector                    requirements outlined in paragraphs
                                                 operator claims as CBI. Although the
                                                                                                         Lead. The mailed CBI material should                  (w)(1) through (5) of this section.
                                                 EPA does not expect persons to assert a
                                                                                                         be double wrapped and clearly marked.
                                                 claim of CBI, if an owner or operator                                                                           (1) An owner or operator may submit
                                                                                                         Any CBI markings should not show
                                                 wishes to assert a CBI claim for some of                                                                      a claim if a force majeure event is about
                                                                                                         through the outer envelope.
                                                 the information in the report or                                                                              to occur, occurs, or has occurred or
                                                                                                            (v) Owners and operators required to
                                                 notification, the owner or operator must                                                                      there are lingering effects from such an
                                                                                                         electronically submit notifications or
                                                 submit a complete file in the format                                                                          event within the period of time
                                                                                                         reports through CEDRI in the EPA’s
                                                 specified in this subpart, including                                                                          beginning five business days prior to the
                                                                                                         CDX may assert a claim of EPA system
                                                 information claimed to be CBI, to the                                                                         date the submission is due. For the
                                                                                                         outage for failure to timely comply with
                                                 EPA following the procedures in                                                                               purposes of this section, a force majeure
                                                                                                         the electronic submittal requirement. To
                                                 paragraphs (u)(1) and (2) of this section.                                                                    event is defined as an event that will be
                                                                                                         assert a claim of EPA system outage,
                                                 Clearly mark the part or all of the                                                                           or has been caused by circumstances
                                                                                                         owners and operators must meet the
                                                 information claimed to be CBI.                                                                                beyond the control of the affected
                                                                                                         requirements outlined in paragraphs
                                                 Information not marked as CBI may be                                                                          facility, its contractors, or any entity
                                                                                                         (v)(1) through (7) of this section.
                                                 authorized for public release without                      (1) The owner or operator must have                controlled by the affected facility that
                                                 prior notice. Information marked as CBI                 been or will be precluded from                        prevents the owner or operator from
                                                 will not be disclosed except in                         accessing CEDRI and submitting a                      complying with the requirement to
                                                 accordance with procedures set forth in                 required report within the time                       submit a report electronically within the
                                                 40 CFR part 2. All CBI claims must be                   prescribed due to an outage of either the             time period prescribed. Examples of
                                                 asserted at the time of submission.                     EPA’s CEDRI or CDX systems.                           such events are acts of nature (e.g.,
                                                 Anything submitted using CEDRI cannot                      (2) The outage must have occurred                  hurricanes, earthquakes, or floods), acts
                                                 later be claimed CBI. Furthermore,                      within the period of time beginning five              of war or terrorism, or equipment failure
                                                 under CAA section 114(c), emissions                     business days prior to the date that the              or safety hazard beyond the control of
                                                 data is not entitled to confidential                    submission is due.                                    the affected facility (e.g., large scale
                                                 treatment, and the EPA is required to                      (3) The outage may be planned or                   power outage).
                                                 make emissions data available to the                    unplanned.                                              (2) The owner or operator must
                                                 public. Thus, emissions data will not be                   (4) The owner or operator must                     submit notification to the Administrator
                                                 protected as CBI and will be made                       submit notification to the Administrator              in writing as soon as possible following
                                                 publicly available. The owner or                                                                              the date the owner or operator first
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                                                                                                         in writing as soon as possible following
                                                 operator must submit the same file                      the date the owner or operator first                  knew, or through due diligence should
                                                 submitted to the CBI office with the CBI                knew, or through due diligence should                 have known, that the event may cause
                                                 omitted to the EPA via the EPA’s CDX                    have known, that the event may cause                  or has caused a delay in reporting.
                                                 as described earlier in this paragraph                  or has caused a delay in reporting.                     (3) The owner or operator must
                                                 (u).                                                       (5) The owner or operator must                     provide to the Administrator:
                                                    (1) The preferred method to receive                  provide to the Administrator a written                  (i) A written description of the force
                                                 CBI is for it to be transmitted                         description identifying:                              majeure event;


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                                                   (ii) A rationale for attributing the                  Table 3 to Subpart RRRa of Part 60—                     (6) Any reactor process that is subject
                                                 delay in reporting beyond the regulatory                    Operating Parameters, Operating                   to the provisions of subpart DDD is not
                                                 deadline to the force majeure event;                        Parameter Limits and Data Monitoring,             an affected facility.
                                                   (iii) A description of measures taken                     Recordkeeping and Compliance                        (7) Each affected facility operated
                                                 or to be taken to minimize the delay in                     Frequencies
                                                                                                                                                               with a concentration of total organic
                                                                                                         Table 4 to Subpart RRRa of Part 60—
                                                 reporting; and                                              Calibration and Quality Control                   compounds (TOC) (less methane and
                                                   (iv) The date by which the owner or                       Requirements for Continuous Parameter             ethane) in the vent stream less than 300
                                                 operator proposes to report, or if the                      Monitoring System (CPMS)                          ppmv as measured by Method 18 or a
                                                 owner or operator has already met the                                                                         concentration of TOC in the vent stream
                                                 reporting requirement at the time of the                § 60.700a    Am I subject to this subpart?            less than 150 ppmv as measured by
                                                 notification, the date the report was                      (a) You are subject to the provisions              Method 25A is exempt from all
                                                 submitted.                                              of this subpart if you operate an affected            provisions of this subpart except for the
                                                   (4) The decision to accept the claim                  facility designated in paragraph (b) of               test method and procedure and the
                                                 of force majeure and allow an extension                 this section that is part of a process unit           reporting and recordkeeping
                                                 to the reporting deadline is solely                     that produces any of the chemicals                    requirements in § 60.704a(f) and
                                                 within the discretion of the                            listed in § 60.707a as a product, co-                 § 60.705a(j), (k)(8), and (s).
                                                 Administrator.                                          product, by-product, or intermediate,                   (8) A vent stream going to a fuel gas
                                                   (5) In any circumstance, the reporting                except as provided in paragraph (c) of                system as defined in § 63.701a.
                                                 must occur as soon as possible after the                this section.
                                                 force majeure event occurs.                                (b) The affected facility is any of the
                                                                                                                                                               § 60.701a   What definitions must I know?
                                                 ■ 38. Amend § 60.708 by revising                        following for which construction,                        As used in this subpart, all terms not
                                                 paragraph (b) to read as follows:                       modification, or reconstruction                       defined herein have the meaning given
                                                                                                         commenced after April 25, 2023:                       them in the Clean Air Act and subpart
                                                 § 60.708   Delegation of authority.
                                                                                                            (1) Each reactor process not                       A of this part.
                                                 *     *     *    *      *                                                                                        Batch operation means any
                                                   (b) Authorities which will not be                     discharging its vent stream into a
                                                                                                         recovery system.                                      noncontinuous reactor process that is
                                                 delegated to States: § 60.703(e) and                                                                          not characterized by steady-state
                                                 approval of an alternative to any                          (2) Each combination of a reactor
                                                                                                         process and the recovery system into                  conditions and in which reactants are
                                                 electronic reporting to the EPA required                                                                      not added and products are not removed
                                                 by this subpart.                                        which its vent stream is discharged.
                                                                                                            (3) Each combination of two or more                simultaneously.
                                                 ■ 39. Add subpart RRRa to read as                                                                                Boiler means any enclosed
                                                 follows:                                                reactor processes and the common
                                                                                                                                                               combustion device that extracts useful
                                                                                                         recovery system into which their vent
                                                                                                                                                               energy in the form of steam and is not
                                                 Subpart RRRa—Standards of                               streams are discharged.
                                                                                                                                                               an incinerator.
                                                 Performance for Volatile Organic                           (c) Exemptions from the provisions of                 Breakthrough means the time when
                                                 Compound Emissions From Synthetic                       paragraph (a) of this section are as                  the level of TOC, measured at the outlet
                                                 Organic Chemical Manufacturing                          follows:                                              of the first bed, has been detected is at
                                                 Industry (SOCMI) Reactor Processes                         (1) Any reactor process that is                    the highest concentration allowed to be
                                                 for Which Construction,                                 designed and operated as a batch                      discharged from the adsorber system
                                                 Reconstruction, or Modification                         operation is not an affected facility.                and indicates that the adsorber bed
                                                 Commenced After April 25, 2023                             (2) Each affected facility in a process            should be replaced.
                                                                                                         unit with a total design capacity for all                By compound means by individual
                                                 Sec.                                                    chemicals produced within that unit of
                                                 60.700a Am I subject to this subpart?                                                                         stream components, not carbon
                                                 60.701a What definitions must I know?
                                                                                                         less than 1 gigagram per year (1,100 tons             equivalents.
                                                 60.702a What standards and associated                   per year) is exempt from all provisions                  Car-seal means a seal that is placed on
                                                      requirements must I meet?                          of this subpart except for the                        a device that is used to change the
                                                 60.703a What are my monitoring,                         recordkeeping and reporting                           position of a valve (e.g., from opened to
                                                      installation, operation, and maintenance           requirements in § 60.705a(h), (k)(6), and             closed) in such a way that the position
                                                      requirements?                                      (p).
                                                 60.704a What test methods and procedures
                                                                                                                                                               of the valve cannot be changed without
                                                                                                            (3) Each affected facility operated                breaking the seal.
                                                      must I use to determine compliance with
                                                      the standards?
                                                                                                         with a vent stream flow rate less than                   Closed vent system means a system
                                                 60.705a What records must I keep and what               0.011 scm/min is exempt from all                      that is not open to the atmosphere and
                                                      reports must I submit?                             provisions of this subpart except for the             is composed of piping, ductwork,
                                                 60.706a What do the terms associated with               test method and procedure and the                     connections, and, if necessary, flow
                                                      reconstruction mean for this subpart?              recordkeeping and reporting                           inducing devices that transport gas or
                                                 60.707a What are the chemicals that I must              requirements in §§ 60.704a(e) and                     vapor from an emission point to a
                                                      produce to be affected by subpart RRRa?            60.705a(i), (k)(7), and (q).
                                                 60.708a [Reserved]
                                                                                                                                                               control device.
                                                                                                            (4) If the vent stream from an affected               Combustion device means an
                                                 60.709a What are my requirements if I use
                                                      a flare to comply with this subpart?               facility is routed to a distillation unit             individual unit of equipment, such as
                                                 60.710a What are my requirements for                    subject to subpart NNNa of this part and              an incinerator, flare, boiler, or process
                                                      closed vent systems?                               has no other releases to the air except               heater, used for combustion of a vent
                                                                                                         for a pressure relief valve, the facility is
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                                                 Table 1 to Subpart RRRa of Part 60—                                                                           stream discharged from the process
                                                      Emission Limits and Standards for Vent             exempt from all provisions of this                    vent.
                                                      Streams                                            subpart except for § 60.705a(r).                         Continuous recorder means a data
                                                 Table 2 to Subpart RRRa of Part 60—                        (5) Any reactor process operating as
                                                      Monitoring Requirements for Complying
                                                                                                                                                               recording device recording an
                                                      With 98 Weight-Percent Reduction of                part of a process unit which produces                 instantaneous data value at least once
                                                      Total Organic Compounds Emissions or               beverage alcohols, or which uses,                     every 15 minutes.
                                                      a Limit of 20 Parts per Million by                 contains, and produces no VOC is not                     Flame zone means the portion of the
                                                      Volume                                             an affected facility.                                 combustion chamber in a boiler or


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                                                 process heater occupied by the flame                      Product means any compound or                       180 days after the initial start-up,
                                                 envelope.                                               chemical listed in § 60.707a which is                 whichever date comes first. The
                                                    Flow indicator means a device which                  produced for sale as a final product as               standards in this section apply at all
                                                 indicates whether gas flow is present in                that chemical, or for use in the                      times, including periods of startup,
                                                 a line.                                                 production of other chemicals or                      shutdown and malfunction. As
                                                    Fuel gas means gases that are                        compounds. By-products, co-products,                  provided in § 60.11(f), this provision
                                                 combusted to derive useful work or                      and intermediates are considered to be                supersedes the exemptions for periods
                                                 heat.                                                   products.                                             of startup, shutdown and malfunction in
                                                    Fuel gas system means the offsite and                  Reactor processes are unit operations               the general provisions in subpart A of
                                                 onsite piping and flow and pressure                     in which one or more chemicals, or                    this part.
                                                 control system that gathers gaseous                     reactants other than air, are combined or                (b) The following release events from
                                                 stream(s) generated by onsite                           decomposed in such a way that their                   an affected facility are a violation of the
                                                 operations, may blend them with other                   molecular structures are altered and one              emission limits and standards specified
                                                 sources of gas, and transports the                      or more new organic compounds are                     in table 1 to this subpart.
                                                 gaseous stream for use as fuel gas in                   formed.                                                  (1) Any relief valve discharge to the
                                                 combustion devices or in in-process                       Recovery device means an individual                 atmosphere of a vent stream.
                                                 combustion equipment such as furnaces                   unit of equipment, such as an absorber,                  (2) The use of a bypass line at any
                                                                                                         carbon adsorber, or condenser, capable                time on a closed vent system to divert
                                                 and gas turbines either singly or in
                                                                                                         of and used for the purpose of                        emissions to the atmosphere, or to a
                                                 combination.
                                                                                                         recovering chemicals for use, reuse, or               control device or recovery device not
                                                    Halogenated vent stream means any
                                                                                                         sale.                                                 meeting the requirements specified in
                                                 vent stream determined to have a total
                                                                                                           Recovery system means an individual                 § 60.703a.
                                                 concentration (by volume) of                                                                                     (c) You may designate a vent stream
                                                 compounds containing halogens of 20                     recovery device or series of such devices
                                                                                                         applied to the same vent stream.                      as a maintenance vent if the vent is only
                                                 ppmv (by compound) or greater.                                                                                used as a result of startup, shutdown,
                                                    Incinerator means an enclosed                          Relief valve means a valve used only
                                                                                                         to release an unplanned, nonroutine                   maintenance, or inspection of
                                                 combustion device that is used for                                                                            equipment where equipment is emptied,
                                                 destroying organic compounds. If there                  discharge. A relief valve discharge
                                                                                                         results from an operator error, a                     depressurized, degassed, or placed into
                                                 is energy recovery, the energy recovery                                                                       service. You must comply with the
                                                 section and the combustion chambers                     malfunction such as a power failure or
                                                                                                         equipment failure, or other unexpected                applicable requirements in paragraphs
                                                 are not of integral design. That is, the                                                                      (c)(1) through (3) of this section for each
                                                 energy recovery section and the                         cause that requires immediate venting of
                                                                                                         gas from process equipment in order to                maintenance vent. Any vent stream
                                                 combustion section are not physically                                                                         designated as a maintenance vent is
                                                 formed into one manufactured or                         avoid safety hazards or equipment
                                                                                                         damage.                                               only subject to the maintenance vent
                                                 assembled unit but are joined by ducts                                                                        provisions in this paragraph (c) and the
                                                 or connections carrying flue gas.                         Secondary fuel means a fuel fired
                                                                                                         through a burner other than a primary                 associated recordkeeping and reporting
                                                    Pressure-assisted multi-point flare                                                                        requirements in § 60.705a(g),
                                                                                                         fuel burner. The secondary fuel may
                                                 means a flare system consisting of                                                                            respectively.
                                                                                                         provide supplementary heat in addition
                                                 multiple flare burners in staged arrays                                                                          (1) Prior to venting to the atmosphere,
                                                                                                         to the heat provided by the primary fuel.
                                                 whereby the vent stream pressure is                                                                           remove process liquids from the
                                                                                                           Total organic compounds or TOC
                                                 used to promote mixing and smokeless                                                                          equipment as much as practical and
                                                                                                         means those compounds measured
                                                 operation at the flare burner tips.                                                                           depressurize the equipment to either: A
                                                                                                         according to the procedures of Method
                                                 Pressure-assisted multi-point flares are                                                                      flare meeting the requirements of
                                                                                                         18 of appendix A–6 of this part or the
                                                 designed for smokeless operation at                                                                           § 60.709a, as applicable, or using any
                                                                                                         concentration of organic compounds
                                                 velocities up to Mach = 1 conditions                                                                          combination of a non-flare control
                                                                                                         measured according to the procedures
                                                 (i.e., sonic conditions), can be elevated                                                                     device or recovery device meeting the
                                                                                                         in Method 21 or Method 25A of
                                                 or at ground level, and typically use                                                                         requirements in table 1 to this subpart
                                                                                                         appendix A–7 of this part.
                                                 cross-lighting for flame propagation to                   Vent stream means any gas stream                    until one of the following conditions, as
                                                 combust any flare vent gases sent to a                  discharged directly from a reactor                    applicable, is met.
                                                 particular stage of flare burners.                      process to the atmosphere or indirectly                  (i) The vapor in the equipment served
                                                    Primary fuel means the fuel fired                    to the atmosphere after diversion                     by the maintenance vent has a lower
                                                 through a burner or a number of similar                 through other process equipment. The                  explosive limit (LEL) of less than 10
                                                 burners. The primary fuel provides the                  vent stream excludes and equipment                    percent.
                                                 principal heat input to the device, and                 leaks, including, but not limited to,                    (ii) If there is no ability to measure the
                                                 the amount of fuel is sufficient to                     pumps, compressors, and valves.                       LEL of the vapor in the equipment based
                                                 sustain operation without the addition                                                                        on the design of the equipment, the
                                                 of other fuels.                                         § 60.702a What standards and associated               pressure in the equipment served by the
                                                    Process heater means a device that                   requirements must I meet?                             maintenance vent is reduced to 5
                                                 transfers heat liberated by burning fuel                   (a) You must comply with the                       pounds per square inch gauge (psig) or
                                                 directly to process streams or to heat                  emission limits and standards specified               less. Upon opening the maintenance
                                                 transfer liquids other than water.                      in Table 1 to this subpart and the                    vent, active purging of the equipment
                                                    Process unit means equipment
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                                                                                                         requirements specified in paragraphs (b)              cannot be used until the LEL of the
                                                 assembled and connected by pipes or                     and (c) of this section for each vent                 vapors in the maintenance vent (or
                                                 ducts to produce, as intermediates or                   stream on and after the date on which                 inside the equipment if the maintenance
                                                 final products, one or more of the                      the initial performance test required by              is a hatch or similar type of opening) is
                                                 chemicals in § 60.707a. A process unit                  §§ 60.8 and 60.704a is completed, but                 less than 10 percent.
                                                 can operate independently if supplied                   not later than 60 days after achieving                   (iii) The equipment served by the
                                                 with sufficient feed or raw materials and               the maximum production rate at which                  maintenance vent contains less than 50
                                                 sufficient product storage facilities.                  the affected facility will be operated, or            pounds of total VOC.


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                                                    (iv) If, after applying best practices to            parameter limit(s) during subsequent                     (A) The first adsorber in series must
                                                 isolate and purge equipment served by                   performance tests in order to establish               be replaced immediately when
                                                 a maintenance vent, none of the                         new operating limits. You must include                breakthrough, as defined in § 60.611a, is
                                                 applicable criterion in paragraphs                      the updated operating limits with the                 detected between the first and second
                                                 (c)(1)(i) through (iii) of this section can             performance test results submitted to                 adsorber. The original second adsorber
                                                 be met prior to installing or removing a                the Administrator pursuant to                         (or a fresh canister) will become the new
                                                 blind flange or similar equipment blind,                § 60.705a(b). Upon establishment of a                 first adsorber and a fresh adsorber will
                                                 then the pressure in the equipment                      new operating limit, you must thereafter              become the second adsorber. For
                                                 served by the maintenance vent must be                  operate under the new operating limit.                purposes of this paragraph (a)(6)(iii)(A),
                                                 reduced to 2 psig or less before                        If the Administrator determines that you              ‘‘immediately’’ means within 8 hours of
                                                 installing or removing the equipment                    did not conduct the performance test in               the detection of a breakthrough for
                                                 blind. During installation or removal of                accordance with the applicable                        adsorbers of 55 gallons or less, and
                                                 the equipment blind, active purging of                  requirements or that the operating limit              within 24 hours of the detection of a
                                                 the equipment may be used provided                      established during the performance test               breakthrough for adsorbers greater than
                                                 the equipment pressure at the location                  does not correspond to the conditions                 55 gallons. You must monitor at the
                                                 where purge gas is introduced remains                   specified in § 60.704a(a), then you must              outlet of the first adsorber within 3 days
                                                 at 2 psig or less.                                      conduct a new performance test and                    of replacement to confirm it is
                                                    (2) Except for maintenance vents                     establish a new operating limit.                      performing properly.
                                                 complying with the alternative in                          (3) Monitor, record, and demonstrate
                                                 paragraph (c)(1)(iii) of this section, you              continuous compliance using the                          (B) Based on the adsorber bed life
                                                 must determine the LEL or, if                           minimum frequencies specified in Table                established according to paragraph
                                                 applicable, equipment pressure using                    3 to this subpart or established                      (a)(6)(i) of this section and the date the
                                                 process instrumentation or portable                     according to paragraph (c) of this                    adsorbent was last replaced, conduct
                                                 measurement devices and follow                          section.                                              monitoring to detect breakthrough at
                                                 procedures for calibration and                             (4) Comply with the calibration and                least monthly if the adsorbent has more
                                                 maintenance according to                                quality control requirements as                       than 2 months of life remaining, at least
                                                 manufacturer’s specifications.                          specified in table 4 to this subpart or               weekly if the adsorbent has between 2
                                                    (3) For maintenance vents complying                  established according to paragraph (c) of             months and 2 weeks of life remaining,
                                                 with the alternative in paragraph                       this section that are applicable to the               and at least daily if the adsorbent has 2
                                                 (c)(1)(iii) of this section, you must                   CPMS used.                                            weeks or less of life remaining.
                                                 determine mass of VOC in the                               (5) Any vent stream introduced with                   (7) If you install a continuous
                                                 equipment served by the maintenance                     primary fuel into a boiler or process                 emissions monitoring system (CEMS) to
                                                 vent based on the equipment size and                    heater is exempt from the requirements                demonstrate compliance with the TOC
                                                 contents after considering any contents                 specified in paragraphs (a)(1) through                standard in Table 1 of this subpart, you
                                                 drained or purged from the equipment.                   (4) of this section.                                  must comply with the requirements
                                                 Equipment size may be determined from                      (6) If you vent emissions through a                specified in § 60.704a(g) in lieu of the
                                                 equipment design specifications.                        closed vent system to an adsorber(s) that             requirements specified in paragraphs
                                                 Equipment contents may be determined                    cannot be regenerated or a regenerative               (a)(1) through (4) and (c) of this section.
                                                 using process knowledge.                                adsorber(s) that is regenerated offsite,
                                                                                                                                                                  (b) If you vent emissions through a
                                                 § 60.703a What are my monitoring,                       then you must install a system of two or
                                                                                                                                                               closed vent system to a boiler or process
                                                 installation, operation, and maintenance                more adsorber units in series and
                                                                                                                                                               heater, then the vent stream must be
                                                 requirements?                                           comply with the requirements specified
                                                                                                                                                               introduced into the flame zone of the
                                                    (a) Except as specified in paragraphs                in paragraphs (a)(6)(i) through (iii) of
                                                                                                                                                               boiler or process heater.
                                                 (a)(5) through (7) of this section, if you              this section in addition to the
                                                 use a non-flare control device or                       requirements specified in paragraphs                     (c) If you seek to demonstrate
                                                 recovery system to comply with the                      (a)(1) through (4) of this section.                   compliance with the standards specified
                                                 TOC emission limit specified in table 1                    (i) Conduct an initial performance test            under § 60.702a with control devices
                                                 to this subpart, then you must comply                   or design evaluation of the adsorber and              other than an incinerator, boiler, process
                                                 with paragraphs (a)(1) through (4), (b),                establish the breakthrough limit and                  heater, or flare; or recovery devices
                                                 and (c) of this section.                                adsorber bed life.                                    other than an absorber, condenser, or
                                                    (1) Install a continuous parameter                      (ii) Monitor the TOC concentration                 carbon adsorber, you shall provide to
                                                 monitoring system(s) (CPMS) and                         through a sample port at the outlet of                the Administrator prior to conducting
                                                 monitor the operating parameter(s)                      the first adsorber bed in series according            the initial performance test information
                                                 applicable to the control device or                     to the schedule in paragraph                          describing the operation of the control
                                                 recovery system as specified in table 2                 (a)(6)(iii)(B) of this section. You must              device or recovery device and the
                                                 to this subpart or established according                measure the concentration of TOC using                parameter(s) which would indicate
                                                 to paragraph (c) of this section.                       either a portable analyzer, in accordance             proper operation and maintenance of
                                                    (2) Establish the applicable minimum,                with Method 21 of appendix A–7 of this                the device and how the parameter(s) are
                                                 maximum, or range for the operating                     part using methane, propane, or                       indicative of control of TOC emissions.
                                                 parameter limit as specified in Table 3                 isobutylene as the calibration gas or                 The Administrator may request further
                                                 to this subpart or established according                Method 25A of appendix A–7 of this                    information and will specify
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                                                 to paragraph (c) of this section by                     part using methane or propane as the                  appropriate monitoring procedures or
                                                 calculating the value(s) as the arithmetic              calibration gas.                                      requirements, including operating
                                                 average of operating parameter                             (iii) Comply with paragraph                        parameters to be monitored, averaging
                                                 measurements recorded during the three                  (a)(6)(iii)(A) of this section and comply             times for determining compliance with
                                                 test runs conducted for the most recent                 with the monitoring frequency                         the operating parameter limits, and
                                                 performance test. You may operate                       according to paragraph (a)(6)(iii)(B) of              ongoing calibration and quality control
                                                 outside of the established operating                    this section.                                         requirements.


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                                                 § 60.704a What test methods and                            (b) The following methods in                          (2) Method 2, 2A, 2C, or 2D of
                                                 procedures must I use to determine                      appendix A to this part, except as                    appendix A–1 to this part, as
                                                 compliance with the standards?                          provided in § 60.8(b), must be used as                appropriate, for determination of the gas
                                                    (a) For the purpose of demonstrating                 reference methods to determine                        volumetric flow rates.
                                                 compliance with the emission limits                     compliance with the emission limit or                    (3) Method 3A of appendix A–2 to
                                                 and standards specified in table 1 to this              percent reduction efficiency specified in             this part or the manual method in ANSI/
                                                 subpart, all affected facilities must be                table 1 to this subpart for non-flare                 ASME PTC 19.10–1981—Part 10
                                                 run at full operating conditions and                    control devices and/or recovery                       (incorporated by reference, see § 60.17)
                                                 flow rates during any performance test.                 systems.                                              must be used to determine the oxygen
                                                 Performance tests are not required if you                  (1) Method 1 or 1A of appendix A–1
                                                                                                                                                               concentration (%O2d) for the purposes
                                                 determine compliance using a CEMS                       to this part, as appropriate, for selection
                                                                                                                                                               of determining compliance with the 20
                                                 that meets the requirements outlined in                 of the sampling sites. The inlet sampling
                                                                                                                                                               ppmv limit. The sampling site must be
                                                 paragraph (g) of this section.                          site for determination of vent stream
                                                                                                                                                               the same as that of the TOC samples,
                                                                                                         molar composition or TOC (less
                                                    (1) Conduct initial performance tests                                                                      and the samples must be taken during
                                                                                                         methane and ethane) reduction
                                                 no later than the date required by                                                                            the same time that the TOC samples are
                                                                                                         efficiency shall be prior to the inlet of
                                                 § 60.8(a).                                                                                                    taken. The TOC concentration corrected
                                                                                                         the control device or, if equipped with
                                                                                                                                                               to 3 percent O2 (Cc) must be computed
                                                    (2) Conduct subsequent performance                   a recovery system, then prior to the inlet
                                                                                                                                                               using the following equation:
                                                 tests no later than 60 calendar months                  of the first recovery device in the
                                                 after the previous performance test.                    recovery system.                                      Equation 1 to Paragraph (b)(3)


                                                                                                                 C -C        17.9
                                                                                                                  c - roe 20.9- %02d

                                                 Where:                                                  concentration of TOC in the inlet when                   (i) The minimum sampling time for
                                                 Cc = Concentration of TOC corrected to 3                the reduction efficiency of the control               each run must be 1 hour in which either
                                                     percent O2, dry basis, ppm by volume.               device or recovery system is to be                    an integrated sample or at least four grab
                                                 CTOC = Concentration of TOC (minus                      determined. ASTM D6420–18                             samples must be taken. If grab sampling
                                                     methane and ethane), dry basis, ppm by
                                                     volume.                                             (incorporated by reference, see § 60.17)              is used, then the samples must be taken
                                                 %O2d = Concentration of O2, dry basis,                  may be used in lieu of Method 18, if the              at approximately 15-minute intervals.
                                                     percent by volume.                                  target compounds are all known and are                   (ii) The emission reduction (R) of TOC
                                                    (4) Method 18 of appendix A–6 to this                all listed in section 1.1 of ASTM D6420–              (minus methane and ethane) must be
                                                 part to determine the concentration of                  18 as measurable; ASTM D6420–18 may                   determined using the following
                                                 TOC in the control device outlet or in                  not be used for methane and ethane; and               equation:
                                                 the outlet of the final recovery device in              ASTM D6420–18 must not be used as a
                                                 a recovery system, and to determine the                 total VOC method.                                     Equation 2 to Paragraph (b)(4)(ii)




                                                 Where:                                                  Eo = Mass rate of TOC discharged to the               Equations 3 and 4 to Paragraph
                                                 R = Emission reduction, percent by weight.                  atmosphere, kg TOC/hr.                            (b)(4)(iii)
                                                 Ei = Mass rate of TOC entering the control                (iii) The mass rates of TOC (Ei, Eo)
                                                      device or recovery system, kg TOC/hr.              must be computed using the following
                                                                                                         equations:


                                                                                                                          •
                                                                                                                   Bi= K2 L q,Mr Q
                                                                                                                               j-1

                                                                                                                                •
                                                                                                                   Bi = ~ L C#j.Mf Q.
                                                                                                                                                                                                                 ER16MY24.048</GPH> ER16MY24.049</GPH>




                                                                                                                               j-1
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                                                 Where:                                                       inlet and outlet of the control device or        K2 = Constant, 2.494 × 10 minus;6 (l/ppm)
                                                 Cij, Coj = Concentration of sample component                 recovery system, respectively, g/g-mole              (g-mole/scm) (kg/g) (min/hr), where
                                                       ‘‘j’’ of the gas stream at the inlet and               (lb/lb-mole).                                        standard temperature for (g-mole/scm) is
                                                       outlet of the control device or recovery          Qi, Qo = Flow rate of gas stream at the inlet             20 °C (metric units); or
                                                       system, respectively, dry basis, ppm by                and outlet of the control device or              = Constant, 1.557 × 10¥7 (1/ppm)(lb-mole/
                                                       volume.                                                recovery system, respectively, dscm/min              scf)(min/hr), where standard temperature
                                                 Mij, Moj = Molecular weight of sample                        (dscf/hr).                                           for (lb-mole/scf) is 68 °F (English units).
                                                                                                                                                                                                                 ER16MY24.047</GPH>




                                                       component ‘‘j’’ of the gas stream at the



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                                                   (iv) The TOC concentration (CTOC) is                  and must be computed for each run                     Equation 5 to Paragraph (b)(4)(iv)
                                                 the sum of the individual components                    using the following equation:




                                                 Where:                                                  demonstrate compliance with                           ppm by volume TOC concentration,
                                                 CTOC = Concentration of TOC (minus                      § 60.700a(c)(3) shall use Method 2, 2A,               corrected to 3 percent oxygen:
                                                      methane and ethane), dry basis, ppm by             2C, or 2D of appendix A–1 to this part,                 (i) Method 25A of appendix A–7 to
                                                      volume.                                            as appropriate, for determination of                  this part shall be used only if a single
                                                 Cj = Concentration of sample components                 volumetric flow rate. The owner or                    organic compound is greater than 50
                                                      ‘‘j’’, dry basis, ppm by volume.
                                                 n = Number of components in the sample.                 operator must conduct three velocity                  percent of total TOC, by volume, in the
                                                                                                         traverses and determine the volumetric                reactor process vent stream. This
                                                    (c) The requirement for initial and                  flow rate for each traverse. If the pipe or           compound shall be the principal organic
                                                 subsequent performance tests are                        duct is smaller than four inches in                   compound.
                                                 waived, in accordance with § 60.8(b), for               diameter, the owner operator may                        (ii) The principal organic compound
                                                 the following:                                          conduct the measurement at the                        may be determined by either process
                                                    (1) When a boiler or process heater                  centroid of the duct instead of                       knowledge or test data collected using
                                                 with a design heat input capacity of 44                 conducting a traverse; the measurement                an appropriate EPA Reference Method.
                                                 MW (150 million Btu/hour) or greater is                 period must be at least five minutes long             Examples of information that could
                                                 used to seek compliance with                            and data must be recorded at least once               constitute process knowledge include
                                                 § 60.702a(a).                                           every 30 seconds. Owners and operators                calculations based on material balances,
                                                    (2) When a vent stream is introduced                                                                       process stoichiometry, or previous test
                                                                                                         who conduct the determination with
                                                 into a boiler or process heater with the                                                                      results provided the results are still
                                                                                                         Method 2A or 2D must record
                                                 primary fuel.                                                                                                 relevant to the current reactor process
                                                    (3) When a boiler or process heater                  volumetric flow rate every 30 seconds
                                                                                                         for at least five minutes.                            vent stream conditions.
                                                 burning hazardous waste is used for
                                                                                                            (f) Each owner or operator seeking to                (iii) The principal organic compound
                                                 which the owner or operator:
                                                    (i) Has been issued a final permit                   demonstrate that a reactor process vent               shall be used as the calibration gas for
                                                 under 40 CFR part 270 and complies                      stream has a TOC concentration for                    Method 25A of appendix A–7 to this
                                                 with the requirements of 40 CFR part                    compliance with the low concentration                 part.
                                                                                                         exemption in § 60.700a(c)(7) shall                      (iv) The span value for Method 25A
                                                 266, subpart H;
                                                    (ii) Has certified compliance with the               conduct an initial test to measure TOC                of appendix A–7 to this part shall be
                                                 interim status requirements of 40 CFR                   concentration.                                        300 ppmv.
                                                 part 266, subpart H;                                                                                            (v) Use of Method 25A of appendix
                                                                                                            (1) The sampling site shall be selected
                                                    (iii) Has submitted a Notification of                                                                      A–7 to this part is acceptable if the
                                                                                                         as specified in paragraph (d)(1)(i) of this
                                                 Compliance under 40 CFR 63.1207(j)                                                                            response from the high-level calibration
                                                                                                         section.
                                                 and complies with the requirements of                                                                         gas is at least 20 times the standard
                                                                                                            (2) Method 18 of appendix A–6 or                   deviation of the response from the zero
                                                 40 CFR part 63, subpart EEE; or                         Method 25A of appendix A–7 to this
                                                    (iv) Complies with 40 CFR part 63,                                                                         calibration gas when the instrument is
                                                                                                         part shall be used to measure                         zeroed on the most sensitive scale.
                                                 subpart EEE, and will submit a                          concentration. ASTM D6420–18
                                                 Notification of Compliance under 40                                                                             (vi) The owner or operator shall
                                                                                                         (incorporated by reference, see § 60.17)              demonstrate that the concentration of
                                                 CFR 63.1207(j) by the date the owner or                 may be used in lieu of Method 18, if the
                                                 operator would have been required to                                                                          TOC including methane and ethane
                                                                                                         target compounds are all known and are                measured by Method 25A of appendix
                                                 submit the initial performance test
                                                                                                         all listed in Section 1.1 of ASTM                     A–7 to this part, corrected to 3 percent
                                                 report for this subpart.
                                                                                                         D6420–18 as measurable; ASTM D6420–                   oxygen, is below 150 ppm by volume to
                                                    (4) The Administrator reserves the
                                                 option to require testing at such other                 18 may not be used for methane and                    qualify for the low concentration
                                                 times as may be required, as provided                   ethane; and ASTM D6420–18 must not                    exclusion in § 60.700a(c)(7).
                                                 for in section 114 of the Act.                          be used as a total VOC method.                          (vii) The concentration of TOC shall
                                                    (d) For purposes of complying with                      (3) Where Method 18 of appendix A–                 be corrected to 3 percent oxygen using
                                                 the 98 weight-percent reduction in                      6 to this part is used to qualify for the             the procedures and equation in
                                                 § 60.702a(a), if the vent stream entering               low concentration exclusion in                        paragraph (b)(3) of this section.
                                                 a boiler or process heater with a design                § 60.700a(c)(7), the procedures in                      (g) If you use a CEMS to demonstrate
                                                 capacity less than 44 MW (150 million                   paragraphs (b)(4)(i) and (iv) of this                 initial and continuous compliance with
                                                 Btu/hour) is introduced with the                        section shall be used to measure TOC                  the TOC standard in table 1 of this
                                                 combustion air or as secondary fuel, the                concentration, and the procedures of                  subpart, each CEMS must be installed,
                                                 weight-percent reduction of TOC (minus                  paragraph (b)(3) of this section shall be             operated and maintained according to
                                                 methane and ethane) across the                          used to correct the TOC concentration to              the requirements in § 60.13 and
                                                                                                         3 percent oxygen. To qualify for the
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                                                 combustion device shall be determined                                                                         paragraphs (f)(1) through (5) of this
                                                 by comparing the TOC (minus methane                     exclusion, the results must demonstrate               section.
                                                 and ethane) in all combusted vent                       that the concentration of TOC, corrected                (1) You must use a CEMS that is
                                                 streams, primary fuels, and secondary                   to 3 percent oxygen, is below 300 ppm                 capable of measuring the target
                                                 fuels with the TOC (minus methane and                   by volume.                                            analyte(s) as demonstrated using either
                                                 ethane) exiting the combustion device.                     (4) Where Method 25A of appendix                   process knowledge of the control device
                                                    (e) Any owner or operator subject to                 A–7 to this part is used, the following               inlet stream or the screening procedures
                                                                                                                                                                                                          ER16MY24.050</GPH>




                                                 the provisions of this subpart seeking to               procedures shall be used to calculate                 of Method 18 of appendix A–6 to this


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                                                 part on the control device inlet stream.                HAP and report the results as carbon                  of initial start-up required by
                                                 If your CEMS is located after a                         (C1), and use Method 25A of appendix                  § 60.7(a)(3). If you elect at a later date
                                                 combustion device and inlet stream to                   A–7 to this part as the reference method              to comply with an alternative provision
                                                 that device includes methanol or                        for the relative accuracy tests. You must             of § 60.702a, then you must notify the
                                                 formaldehyde, you must use a CEMS                       also comply with procedure 1 of                       Administrator 90 days before
                                                 which meets the requirements in                         appendix F to this part.                              implementing a change and, upon
                                                 Performance Specifications 9 or 15 of                      (iv) For CEMS meeting the                          implementing the change, you must
                                                 appendix B to this part.                                requirements of Performance                           conduct a performance as specified by
                                                    (2) Each CEMS must be installed,                     Specification 8 of appendix B to this                 § 60.704a within 180 days.
                                                 operated, and maintained according to                   part used to monitor performance of a                    (b) If you use a non-flare control
                                                 the applicable performance                              noncombustion device, determine the                   device or recovery system to comply
                                                 specification of appendix B of this part                predominant organic compound using                    with the TOC emission limit specified
                                                 and the applicable quality assurance                    either process knowledge or the                       in table 1 to this subpart, then you must
                                                 procedures of appendix F to this part.                  screening procedures of Method 18 of                  keep an up-to-date, readily accessible
                                                 Locate the sampling probe or other                      appendix A–6 to this part on the control              record of the data measured during each
                                                 interface at a measurement location                     device inlet stream. Calibrate the                    performance test to show compliance
                                                 such that you obtain representative                     monitor on the predominant organic                    with the TOC emission limit. You must
                                                 measurements of emissions from the                      compound and report the results as C1.                also include all of the data you use to
                                                 affected facility.                                      Use Method 25A of appendix A–7 to                     comply with § 60.703a(a)(2). The same
                                                    (3) Conduct a performance evaluation                 this part as the reference method for the             data specified in this paragraph must
                                                 of each CEMS within 180 days of                         relative accuracy tests. You must also                also be submitted in the initial
                                                 installation of the monitoring system.                  comply with procedure 1 of appendix F                 performance test required in § 60.8 and
                                                 Conduct subsequent performance                          to this part.                                         the reports of all subsequently required
                                                 evaluations of the CEMS no later than                      (5) You must determine stack oxygen                performance tests where either the
                                                 12 calendar months after the previous                   concentration at the same location                    emission reduction efficiency of a
                                                 performance evaluation. The results                     where you monitor TOC concentration                   combustion device or recovery system
                                                 each performance evaluation must be                     with a CEMS that meets the                            or outlet concentration of TOC is
                                                 submitted in accordance with                            requirements of Performance                           determined. Alternatively, you must
                                                 § 60.705a(b)(1).                                        Specification 3 of appendix B of this                 keep records of each CEMS performance
                                                    (4) You must determine TOC                           part. The span value of the oxygen                    evaluation.
                                                 concentration according to one of the                   CEMS must be approximately 25                            (1) Within 60 days after the date of
                                                 following options. The span value of the                percent oxygen. Use Method 3A of                      completing each performance test or
                                                 TOC CEMS must be approximately 2                        appendix A–2 to this part as the                      CEMS performance evaluation required
                                                 times the emission standard specified in                reference method for the relative                     by this subpart, you must submit the
                                                 table 1 of this subpart.                                accuracy tests.                                       results of the performance test or
                                                    (i) For CEMS meeting the                                                                                   performance evaluation following the
                                                                                                            (6) You must maintain written
                                                 requirements of Performance                                                                                   procedures specified in paragraph (l) of
                                                                                                         procedures for your CEMS. At a
                                                 Specification 15 of appendix B to this                                                                        this section. Data collected using test
                                                                                                         minimum, the procedures must include
                                                 part, determine the target analyte(s) for                                                                     methods and performance evaluations
                                                                                                         the information in paragraph (f)(6)(i)
                                                 calibration using either process                                                                              of CEMS measuring relative accuracy
                                                                                                         through (vi) of this section:
                                                 knowledge of the control device inlet                      (i) Description of CEMS installation               test audit (RATA) pollutants supported
                                                 stream or the screening procedures of                   location.                                             by the EPA’s Electronic Reporting Tool
                                                 Method 18 of appendix A–6 to this part                     (ii) Description of the monitoring                 (ERT) as listed on the EPA’s ERT
                                                 on the control device inlet stream. The                 equipment, including the manufacturer                 website (https://www.epa.gov/
                                                 individual analytes used to quantify                    and model number for all monitoring                   electronic-reporting-air-emissions/
                                                 TOC must represent 98 percent of the                    equipment components and the span of                  electronic-reporting-tool-ert) at the time
                                                 expected mass of TOC present in the                     the analyzer.                                         of the test or performance evaluation
                                                 stream. Report the results of TOC as                       (iii) Routine quality control and                  must be submitted in a file format
                                                 equivalent to carbon (C1).                              assurance procedures.                                 generated through the use of the EPA’s
                                                    (ii) For CEMS meeting the                               (iv) Conditions that would trigger a               ERT. Alternatively, owners and
                                                 requirements of Performance                             CEMS performance evaluation, which                    operators may submit an electronic file
                                                 Specification 9 of appendix B to this                   must include, at a minimum, a newly                   consistent with the extensible markup
                                                 part, determine the target analyte(s) for               installed CEMS; a process change that is              language (XML) schema listed on the
                                                 calibration using either process                        expected to affect the performance of                 EPA’s ERT website. Data collected using
                                                 knowledge of the control device inlet                   the CEMS; and the Administrator’s                     test methods and performance
                                                 stream or the screening procedures of                   request for a performance evaluation                  evaluations of CEMS measuring RATA
                                                 Method 18 of appendix A–6 to this part                  under section 114 of the Clean Air Act.               pollutants that are not supported by the
                                                 on the control device inlet stream. The                    (v) Ongoing operation and                          EPA’s ERT as listed on the EPA’s ERT
                                                 individual analytes used to quantify                    maintenance procedures.                               website at the time of the test must be
                                                 TOC must represent 98 percent of the                       (vi) Ongoing recordkeeping and                     included as an attachment in the ERT or
                                                 expected mass of TOC present in the                     reporting procedures.                                 alternate electronic file.
                                                                                                                                                                  (2) If you use a boiler or process
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                                                 stream. Report the results of TOC as
                                                 equivalent to carbon (C1).                              § 60.705a What records must I keep and                heater with a design heat input capacity
                                                    (iii) For CEMS meeting the                           what reports must I submit?                           of 44 MW (150 million Btu/hour) or
                                                 requirements of Performance                               (a) You must notify the Administrator               greater to comply with the TOC
                                                 Specification 8 of appendix B to this                   of the specific provisions in table 1 to              emission limit specified in table 1 to
                                                 part used to monitor performance of a                   this subpart or § 60.702a(c) with which               this subpart, then you are not required
                                                 combustion device, calibrate the                        you have elected to comply. Notification              to submit a report containing
                                                 instrument on the predominant organic                   shall be submitted with the notification              performance test data; however, you


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                                                 must submit a description of the                           (i) All carbon bed regeneration cycles             that released to the atmosphere using
                                                 location at which the vent stream is                    during which the total mass stream flow               process knowledge and engineering
                                                 introduced into the boiler or process                   or the total volumetric stream flow was               estimates.
                                                 heater.                                                 below the minimum flow established                       (2) For each flow event from a bypass
                                                    (c) If you use a non-flare control                   during the most recent performance test,              line subject to the requirements in
                                                 device or recovery system to comply                     or                                                    §§ 60.702a(b)(2) and 60.710a(e), you
                                                 with the TOC emission limit specified                      (ii) All carbon bed regeneration cycles            must maintain records sufficient to
                                                 in table 1 to this subpart, then you must               during which the temperature of the                   determine whether or not the detected
                                                 keep up-to-date, readily accessible                     carbon bed after regeneration (and after              flow included flow requiring control.
                                                 records of periods of operation during                  completion of any cooling cycle(s)) was               For each flow event from a bypass line
                                                 which the operating parameter limits                    greater than the maximum carbon bed                   requiring control that is released either
                                                 established during the most recent                      temperature (in degrees Celsius)                      directly to the atmosphere or to a
                                                 performance test are exceeded or                        established during the most recent                    control device or recovery device not
                                                 periods of operation where the TOC                      performance test.                                     meeting the requirements in this
                                                 CEMS, averaged on a 3-hour block basis,                    (5) For condensers, all 3-hour periods             subpart, you must include an estimate
                                                 indicate an exceedance of the emission                  of operation during which the average                 of the volume of gas, the concentration
                                                 standard in table 1 of this subpart.                    exit (product side) condenser operating               of TOC in the gas and the resulting
                                                 Additionally, you must record all                       temperature was above the maximum                     emissions of TOC that bypassed the
                                                 periods when the TOC CEMS is                            exit (product side) operating                         control device or recovery device using
                                                 inoperable. The Administrator may at                    temperature established during the most               process knowledge and engineering
                                                 any time require a report of these data.                recent performance test.                              estimates.
                                                 Periods of operation during which the                      (6) For scrubbers used to control                     (e) If you use a boiler or process
                                                 operating parameter limits established                  halogenated vent streams:                             heater with a design heat input capacity
                                                 during the most recent performance                         (i) All 3-hour periods of operation                of 44 MW (150 million Btu/hour) or
                                                 tests are exceeded are defined as                       during which the average pH of the                    greater to comply with the TOC
                                                 follows:                                                scrubber effluent is below the minimum                emission limit specified in table 1 to
                                                                                                         pH of the scrubber effluent established               this subpart, then you must keep an up-
                                                    (1) For absorbers:
                                                                                                         during the most recent performance test,              to-date, readily accessible record of all
                                                    (i) All 3-hour periods of operation
                                                                                                            (ii) All 3-hour periods of operation               periods of operation of the boiler or
                                                 during which the average absorbing
                                                                                                         during which the average influent liquid              process heater. (Examples of such
                                                 liquid temperature was above the
                                                                                                         flow to the scrubber is below the                     records could include records of steam
                                                 maximum absorbing liquid temperature
                                                                                                         minimum influent liquid flow to the                   use, fuel use, or monitoring data
                                                 established during the most recent
                                                                                                         scrubber established during the most                  collected pursuant to other State or
                                                 performance test; and
                                                                                                         recent performance test, or                           Federal regulatory requirements).
                                                    (ii) All 3-hour periods of operation                    (iii) All 3-hour periods of operation                 (f) If you use a flare to comply with
                                                 during which the average absorbing                      during which the average liquid-to-gas                the TOC emission standard specified in
                                                 liquid specific gravity was outside the                 ratio flow of the scrubber is below the               table 1 to this subpart, then you must
                                                 exit specific gravity range (i.e., more                 minimum liquid-to-gas ratio of the                    keep up-to-date, readily accessible
                                                 than 0.1 unit above, or more than 0.1                   scrubber established during the most                  records of all visible emission readings,
                                                 unit below, the average absorbing liquid                recent performance test.                              heat content determinations, flow rate
                                                 specific gravity) established during the                   (7) For thermal incinerators, all 3-               measurements, and exit velocity
                                                 most recent performance test.                           hour periods of operation during which                determinations made during the initial
                                                    (2) For boilers or process heaters:                  the average firebox temperature was                   visible emissions demonstration
                                                    (i) Whenever there is a change in the                below the minimum firebox temperature                 required by § 63.670(h) of part 63,
                                                 location at which the vent stream is                    established during the most recent                    subpart CC of this chapter, as
                                                 introduced into the flame zone as                       performance test.                                     applicable; and all periods during the
                                                 required under § 60.703a(b); and                           (8) For all other control devices, all             compliance determination when the
                                                    (ii) If the boiler or process heater has             periods (for the averaging time specified             pilot flame or flare flame is absent.
                                                 a design heat input capacity of less than               by the Administrator) when the                           (g) For each maintenance vent
                                                 44 MW (150 million Btu/hr), then all 3-                 operating parameter(s) established                    opening subject to the requirements of
                                                 hour periods of operation during which                  under § 60.703a(c) exceeded the                       § 60.702a(c), you must keep the
                                                 the average firebox temperature was                     operating limit established during the                applicable records specified in
                                                 below the minimum firebox temperature                   most recent performance test.                         paragraphs (g)(1) through (5) of this
                                                 during the most recent performance test.                   (d) You must keep up-to-date, readily              section.
                                                    (3) For catalytic incinerators:                      accessible continuous records of the                     (1) You must maintain standard site
                                                    (i) All 3-hour periods of operation                  flow indication specified in table 2 to               procedures used to deinventory
                                                 during which the average temperature of                 this subpart, as well as up-to-date,                  equipment for safety purposes (e.g., hot
                                                 the vent stream immediately before the                  readily accessible records of all periods             work or vessel entry procedures) to
                                                 catalyst bed is below the minimum                       when the vent stream is diverted from                 document the procedures used to meet
                                                 temperature of the vent stream                          the control device or recovery device or              the requirements in § 60.702a(c). The
                                                 established during the most recent                      has no flow rate, including the records               current copy of the procedures must be
                                                 performance test.
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                                                                                                         as specified in paragraphs (d)(1) and (2)             retained and available on-site at all
                                                    (ii) All 3-hour periods of operation                 of this section.                                      times. Previous versions of the standard
                                                 during which the average temperature                       (1) For each flow event from a relief              site procedures, as applicable, must be
                                                 difference across the catalyst bed is less              valve discharge subject to the                        retained for five years.
                                                 than the average temperature difference                 requirements in § 60.702a(b)(1), you                     (2) If complying with the
                                                 of the device established during the                    must include an estimate of the volume                requirements of § 60.702a(c)(1)(i), and
                                                 most recent performance test.                           of gas, the concentration of TOC in the               the lower explosive limit at the time of
                                                    (4) For carbon adsorbers:                            gas and the resulting emissions of TOC                the vessel opening exceeds 10 percent,


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                                                 identification of the maintenance vent,                 vent was opened to the atmosphere for                 reports, the report must be submitted by
                                                 the process units or equipment                          each applicable maintenance vent                      the deadline specified in this subpart,
                                                 associated with the maintenance vent,                   opening.                                              regardless of the method in which the
                                                 the date of maintenance vent opening,                      (h) If you seek to comply with the                 report is submitted. All semiannual
                                                 and the lower explosive limit at the time               requirements of this subpart by                       reports must include the following
                                                 of the vessel opening.                                  complying with the design production                  general information: company name,
                                                    (3) If complying with the                            capacity provision in § 60.700a(c)(2) you             address (including county), and
                                                 requirements of § 60.702a(c)(1)(ii), and                must keep up-to-date, readily accessible              beginning and ending dates of the
                                                 either the vessel pressure at the time of               records of any change in equipment or                 reporting period.
                                                 the vessel opening exceeds 5 psig or the                process operation that increases the                     (1) Exceedances of monitored
                                                 lower explosive limit at the time of the                design production capacity of the                     parameters recorded under paragraph
                                                 active purging was initiated exceeds 10                 process unit in which the affected                    (c) of this section. For each exceedance,
                                                 percent, identification of the                          facility is located.                                  the report must include a list of the
                                                 maintenance vent, the process units or                     (i) If you seek to comply with the                 affected facilities or equipment, the
                                                 equipment associated with the                           requirements of this subpart by                       monitored parameter that was exceeded,
                                                 maintenance vent, the date of                           complying with the flow rate cutoff in                the start date and time of the
                                                 maintenance vent opening, the pressure                  § 60.700a(c)(3) you must keep up-to-                  exceedance, the duration (in hours) of
                                                 of the vessel or equipment at the time                  date, readily accessible records to                   the exceedance, an estimate of the
                                                 of discharge to the atmosphere and, if                  indicate that the vent stream flow rate               quantity in pounds of each regulated
                                                 applicable, the lower explosive limit of                is less than 0.011 scm/min and of any                 pollutant emitted over any emission
                                                 the vapors in the equipment when                        change in equipment or process                        limit, a description of the method used
                                                 active purging was initiated.                           operation that increases the operating                to estimate the emissions, the cause of
                                                    (4) If complying with the                            vent stream flow rate, including a                    the exceedance (including unknown
                                                 requirements of § 60.702a(c)(1)(iii),                   measurement of the new vent stream                    cause, if applicable), as applicable, and
                                                 records of the estimating procedures                    flow rate.                                            the corrective action taken.
                                                 used to determine the total quantity of                    (j) If you seek to comply with the                    (2) All periods recorded under
                                                 VOC in the equipment and the type and                   requirements of this subpart by                       paragraph (d) of this section when the
                                                 size limits of equipment that contain                   complying with the low concentration                  vent stream is diverted from the control
                                                 less than 50 pounds of VOC at the time                  exemption in § 60.700a(c)(7) you must                 device or recovery device, or has no
                                                 of maintenance vent opening. For each                   keep up-to-date, readily accessible                   flow rate, including the information
                                                 maintenance vent opening that contains                  records of any change in equipment or                 specified in paragraphs (k)(2)(i) through
                                                 greater than 50 pounds of VOC for                       process operation that increases the                  (iii) of this section.
                                                 which the inventory procedures                          concentration of the vent stream of the                  (i) For periods when the flow
                                                 specified in paragraph (g)(1) of this                   affected facility.                                    indicator is not operating, report the
                                                 section are not followed or for which                      (k) You must submit to the                         identification of the flow indicator and
                                                 the equipment opened exceeds the type                   Administrator semiannual reports of the               the start date, start time, and duration in
                                                 and size limits established in the                      information specified in paragraphs                   hours.
                                                 records specified in this paragraph                     (k)(1) through (10) of this section. You                 (ii) For each flow event from a relief
                                                 (g)(4), records that identify the                       are exempt from the reporting                         valve discharge subject to the
                                                 maintenance vent, the process units or                  requirements specified in § 60.7(c). If               requirements in § 60.702a(b)(1), the
                                                 equipment associated with the                           there are no exceedances, periods, or                 semiannual report must include the
                                                 maintenance vent, the date of                           events specified in paragraphs (k)(1)                 identification of the relief valve, the
                                                 maintenance vent opening, and records                   through (10) of this section that                     start date, start time, duration in hours,
                                                 used to estimate the total quantity of                  occurred during the reporting period,                 estimate of the volume of gas in
                                                 VOC in the equipment at the time the                    then you must include a statement in                  standard cubic feet, the concentration of
                                                 maintenance vent was opened to the                      your report that no exceedances,                      TOC in the gas in parts per million by
                                                 atmosphere.                                             periods, and events specified in                      volume and the resulting mass
                                                    (5) If complying with the                            paragraphs (k)(1) through (10) of this                emissions of TOC in pounds that
                                                 requirements of § 60.702a(c)(1)(iv),                    section occurred during the reporting                 released to the atmosphere.
                                                 identification of the maintenance vent,                 period. The initial report must be                       (iii) For each flow event from a bypass
                                                 the process units or equipment                          submitted within 6 months after the                   line subject to the requirements in
                                                 associated with the maintenance vent,                   initial start-up-date. On and after July              §§ 60.702a(b)(2) and 60.710a(e)(2), the
                                                 records documenting actions taken to                    15, 2024 or once the report template for              semiannual report must include the
                                                 comply with other applicable                            this subpart has been available on the                identification of the bypass line, the
                                                 alternatives and why utilization of this                Compliance and Emissions Data                         start date, start time, duration in hours,
                                                 alternative was required, the date of                   Reporting Interface (CEDRI) website                   estimate of the volume of gas in
                                                 maintenance vent opening, the                           (https://www.epa.gov/electronic-                      standard cubic feet, the concentration of
                                                 equipment pressure and lower explosive                  reporting-air-emissions/cedri) for 1 year,            TOC in the gas in parts per million by
                                                 limit of the vapors in the equipment at                 whichever date is later, you must                     volume and the resulting mass
                                                 the time of discharge, an indication of                 submit all subsequent reports using the               emissions of TOC in pounds that bypass
                                                 whether active purging was performed                    appropriate electronic report template                a control device or recovery device.
                                                 and the pressure of the equipment                       on the CEDRI website for this subpart
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                                                                                                                                                                  (3) All periods when a boiler or
                                                 during the installation or removal of the               and following the procedure specified                 process heater was not operating
                                                 blind if active purging was used, the                   in paragraph (l) of this section. The date            (considering the records recorded under
                                                 duration the maintenance vent was                       report templates become available will                paragraph (e) of this section), including
                                                 open during the blind installation or                   be listed on the CEDRI website. Unless                the start date, start time, and duration in
                                                 removal process, and records used to                    the Administrator or delegated state                  hours of each period.
                                                 estimate the total quantity of VOC in the               agency or other authority has approved                   (4) For each flare subject to the
                                                 equipment at the time the maintenance                   a different schedule for submission of                requirements in § 60.709a, the


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                                                 semiannual report must include an                       TOC CEMS and recorded under                           File Transfer Protocol, or other online
                                                 identification of the flare and the items               paragraph (c) of this section. For each               file sharing services. Electronic
                                                 specified in § 60.709a(l)(2).                           exceedance, the report must include a                 submissions must be transmitted
                                                    (5) For each closed vent system                      list of the affected facilities or                    directly to the OAQPS CBI Office at the
                                                 subject to the requirements in § 60.710a,               equipment, the start date and time of the             email address oaqpscbi@epa.gov, and as
                                                 the semiannual report must include an                   exceedance, the duration (in hours) of                described above, should include clear
                                                 identification of the closed vent system                the exceedance, an estimate of the                    CBI markings. ERT files should be
                                                 and the items specified in § 60.710a(i).                quantity in pounds of each regulated                  flagged to the attention of the Group
                                                    (6) Any change in equipment or                       pollutant emitted over the emission                   Leader, Measurement Policy Group; all
                                                 process operation, as recorded under                    limit, a description of the method used               other files should be flagged to the
                                                 paragraph (h) of this section, that                     to estimate the emissions, the cause of               attention of the SOCMI NSPS Sector
                                                 increases the design production                         the exceedance (including unknown                     Lead. If assistance is needed with
                                                 capacity above the low capacity                         cause, if applicable), as applicable, and             submitting large electronic files that
                                                 exemption level in § 60.700a(c)(2) and                  the corrective action taken.                          exceed the file size limit for email
                                                 the new capacity resulting from the                        (10) Periods when the TOC CEMS was                 attachments, and if you do not have
                                                 change for the reactor process unit                     inoperative. For each period, the report              your own file sharing service, please
                                                 containing the affected facility. These                 must include a list of the affected                   email oaqpscbi@epa.gov to request a file
                                                 must be reported as soon as possible                    facilities or equipment, the start date               transfer link.
                                                 after the change and no later than 180                  and time of the period, the duration (in                 (2) If you cannot transmit the file
                                                 days after the change. These reports may                hours) of the period, the cause of the                electronically, you may send CBI
                                                 be submitted either in conjunction with                 inoperability (including unknown                      information through the postal service
                                                 semiannual reports or as a single                       cause, if applicable), as applicable, and             to the following address: OAQPS
                                                 separate report. Unless the facility                    the corrective action taken.                          Document Control Officer (C404–02),
                                                 qualifies for an exemption under                           (l) If you are required to submit                  OAQPS, U.S. Environmental Protection
                                                 § 60.700a(c), the facility must begin                   notifications or reports following the                Agency, 109 T.W. Alexander Drive, P.O.
                                                 compliance with the requirements set                    procedure specified in this paragraph                 Box 12055, Research Triangle Park,
                                                 forth in § 60.702a.                                     (l), you must submit notifications or                 North Carolina 27711. ERT files should
                                                    (7) Any change in equipment or                       reports to the EPA via CEDRI, which can               be sent to the attention of the Group
                                                 process operation that increases the                    be accessed through the EPA’s Central                 Leader, Measurement Policy Group, and
                                                 operating vent stream flow rate above                   Data Exchange (CDX) (https://
                                                                                                                                                               all other files should be sent to the
                                                 the low flow exemption level in                         cdx.epa.gov/). The EPA will make all
                                                                                                                                                               attention of the SOCMI NSPS Sector
                                                 § 60.700a(c)(3), including a                            the information submitted through
                                                 measurement of the new vent stream                                                                            Lead. The mailed CBI material should
                                                                                                         CEDRI available to the public without
                                                 flow rate, as recorded under paragraph                                                                        be double wrapped and clearly marked.
                                                                                                         further notice to you. Do not use CEDRI
                                                 (i) of this section. These must be                                                                            Any CBI markings should not show
                                                                                                         to submit information you claim as CBI.
                                                 reported as soon as possible after the                                                                        through the outer envelope.
                                                                                                         Although we do not expect persons to
                                                 change and no later than 180 days after                 assert a claim of CBI, if you wish to                    (m) If you are required to
                                                 the change. These reports may be                        assert a CBI claim for some of the                    electronically submit notifications or
                                                 submitted either in conjunction with                    information in the report or notification,            reports through CEDRI in the EPA’s
                                                 semiannual reports or as a single                       you must submit a complete file in the                CDX, you may assert a claim of EPA
                                                 separate report. Unless the facility                    format specified in this subpart,                     system outage for failure to timely
                                                 qualifies for an exemption under                        including information claimed to be                   comply with the electronic submittal
                                                 § 60.700a(c), the facility must begin                   CBI, to the EPA following the                         requirement. To assert a claim of EPA
                                                 compliance with the requirements set                    procedures in paragraphs (l)(1) and (2)               system outage, you must meet the
                                                 forth in § 60.702a.                                     of this section. Clearly mark the part or             requirements outlined in paragraphs
                                                    (8) Any change in equipment or                       all of the information that you claim to              (m)(1) through (7) of this section.
                                                 process operation that increases the vent               be CBI. Information not marked as CBI                    (1) You must have been or will be
                                                 stream concentration above the low                      may be authorized for public release                  precluded from accessing CEDRI and
                                                 concentration exemption level in                        without prior notice. Information                     submitting a required report within the
                                                 § 60.700a(c)(7), including a                            marked as CBI will not be disclosed                   time prescribed due to an outage of
                                                 measurement of the new vent stream                      except in accordance with procedures                  either the EPA’s CEDRI or CDX systems.
                                                 concentration, as recorded under                        set forth in 40 CFR part 2. All CBI                      (2) The outage must have occurred
                                                 paragraph (j) of this section. These must               claims must be asserted at the time of                within the period of time beginning five
                                                 be reported as soon as possible after the               submission. Anything submitted using                  business days prior to the date that the
                                                 change and no later than 180 days after                 CEDRI cannot later be claimed CBI.                    submission is due.
                                                 the change. These reports may be                        Furthermore, under CAA section 114(c),                   (3) The outage may be planned or
                                                 submitted either in conjunction with                    emissions data is not entitled to                     unplanned.
                                                 semiannual reports or as a single                       confidential treatment, and the EPA is                   (4) You must submit notification to
                                                 separate report. The performance test is                required to make emissions data                       the Administrator in writing as soon as
                                                 subject to the requirements of § 60.8 and               available to the public. Thus, emissions              possible following the date you first
                                                 must be submitted according to                          data will not be protected as CBI and                 knew, or through due diligence should
                                                                                                                                                               have known, that the event may cause
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                                                 paragraph (b)(1) of this section. Unless                will be made publicly available. You
                                                 the facility qualifies for an exemption                 must submit the same file submitted to                or has caused a delay in reporting.
                                                 under § 60.700a(c), the facility must                   the CBI office with the CBI omitted to                   (5) You must provide to the
                                                 begin compliance with the requirements                  the EPA via the EPA’s CDX as described                Administrator a written description
                                                 set forth in § 60.702a.                                 earlier in this paragraph (l).                        identifying:
                                                    (9) Exceedances of the emission                         (1) The preferred method to receive                   (i) The date(s) and time(s) when CDX
                                                 standard in table 1 of this subpart as                  CBI is for it to be transmitted                       or CEDRI was accessed and the system
                                                 indicated by a 3-hour average of the                    electronically using email attachments,               was unavailable;


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                                                    (ii) A rationale for attributing the                                       (i) A written description of the force                                     of the process. No other records or
                                                 delay in reporting beyond the regulatory                                    majeure event;                                                               reports would be required unless
                                                 deadline to EPA system outage;                                                (ii) A rationale for attributing the                                       process changes are made.
                                                    (iii) A description of measures taken                                    delay in reporting beyond the regulatory                                        (s) If you seek to demonstrate
                                                 or to be taken to minimize the delay in                                     deadline to the force majeure event;                                         compliance with § 60.700a(c)(7), then
                                                 reporting; and                                                                (iii) A description of measures taken                                      you must submit to the Administrator
                                                    (iv) The date by which you propose to                                    or to be taken to minimize the delay in                                      an initial report including a
                                                 report, or if you have already met the                                      reporting; and                                                               concentration measurement using the
                                                 reporting requirement at the time of the                                      (iv) The date by which you propose to                                      test method specified in § 60.704a.
                                                 notification, the date you reported.                                        report, or if you have already met the                                          (t) The Administrator will specify
                                                    (6) The decision to accept the claim                                     reporting requirement at the time of the                                     appropriate reporting and recordkeeping
                                                 of EPA system outage and allow an                                           notification, the date you reported.                                         requirements where the owner or
                                                 extension to the reporting deadline is                                        (4) The decision to accept the claim                                       operator of an affected facility complies
                                                 solely within the discretion of the                                         of force majeure and allow an extension                                      with the standards specified under
                                                 Administrator.                                                              to the reporting deadline is solely                                          § 60.702a other than as provided under
                                                                                                                             within the discretion of the                                                 § 60.703a.
                                                    (7) In any circumstance, the report
                                                                                                                             Administrator.                                                                  (u) If you seek to demonstrate
                                                 must be submitted electronically as                                           (5) In any circumstance, the reporting
                                                 soon as possible after the outage is                                                                                                                     compliance with § 60.702a using a
                                                                                                                             must occur as soon as possible after the
                                                 resolved.                                                                                                                                                control device, then you must maintain
                                                                                                                             force majeure event occurs.
                                                    (n) If you are required to                                                 (o) The requirements of paragraph (k)                                      on file a schematic diagram of the
                                                 electronically submit notifications or                                      of this section remain in force until and                                    affected vent streams, collection
                                                 reports through CEDRI in the EPA’s                                          unless EPA, in delegating enforcement                                        system(s), fuel systems, control devices,
                                                 CDX, you may assert a claim of force                                        authority to a State under section 111(c)                                    and bypass systems as part of the initial
                                                 majeure for failure to timely comply                                        of the Act, approves reporting                                               report. This schematic diagram must be
                                                 with the electronic submittal                                               requirements or an alternative means of                                      retained for the life of the system.
                                                 requirement. To assert a claim of force                                     compliance surveillance adopted by                                              (v) Any records required to be
                                                 majeure, you must meet the                                                  such State. In that event, affected                                          maintained by this subpart that are
                                                 requirements outlined in paragraphs                                         sources within the State will be relieved                                    submitted electronically via the EPA’s
                                                 (n)(1) through (5) of this section.                                         of the obligation to comply with                                             CEDRI may be maintained in electronic
                                                    (1) You may submit a claim if a force                                    paragraph (k) of this section, provided                                      format. This ability to maintain
                                                 majeure event is about to occur, occurs,                                    that they comply with the requirements                                       electronic copies does not affect the
                                                 or has occurred or there are lingering                                      established by the State. The EPA will                                       requirement for facilities to make
                                                 effects from such an event within the                                       not approve a waiver of electronic                                           records, data, and reports available
                                                 period of time beginning five business                                      reporting to the EPA in delegating                                           upon request to a delegated air agency
                                                 days prior to the date the submission is                                    enforcement authority. Thus, electronic                                      or the EPA as part of an on-site
                                                 due. For the purposes of this section, a                                    reporting to the EPA cannot be waived,                                       compliance evaluation.
                                                 force majeure event is defined as an                                        and as such, the provisions of this                                          § 60.706a What do the terms associated
                                                 event that will be or has been caused by                                    paragraph cannot be used to relieve                                          with reconstruction mean for this subpart?
                                                 circumstances beyond the control of the                                     owners or operators of affected facilities
                                                 affected facility, its contractors, or any                                                                                                                  For purposes of this subpart ‘‘fixed
                                                                                                                             of the requirement to submit the                                             capital cost of the new components,’’ as
                                                 entity controlled by the affected facility                                  electronic reports required in this
                                                 that prevents you from complying with                                                                                                                    used in § 60.15, includes the fixed
                                                                                                                             section to the EPA.                                                          capital cost of all depreciable
                                                 the requirement to submit a report                                            (p) If you seek to demonstrate
                                                 electronically within the time period                                                                                                                    components which are or will be
                                                                                                                             compliance with § 60.700a(c)(2), then
                                                 prescribed. Examples of such events are                                                                                                                  replaced pursuant to all continuous
                                                                                                                             you must submit to the Administrator
                                                 acts of nature (e.g., hurricanes,                                                                                                                        programs of component replacement
                                                                                                                             an initial report detailing the design
                                                 earthquakes, or floods), acts of war or                                                                                                                  which are commenced within any 2-
                                                                                                                             production capacity of the process unit.
                                                 terrorism, or equipment failure or safety                                                                                                                year period following April 25, 2023.
                                                                                                                               (q) If you seek to demonstrate
                                                 hazard beyond the control of the                                                                                                                         For purposes of this paragraph,
                                                                                                                             compliance with § 60.700a(c)(3), then
                                                 affected facility (e.g., large scale power                                                                                                               ‘‘commenced’’ means that you have
                                                                                                                             you must submit to the Administrator
                                                 outage).                                                                                                                                                 undertaken a continuous program of
                                                                                                                             an initial report including a flow rate
                                                    (2) You must submit notification to                                                                                                                   component replacement or that you
                                                                                                                             measurement using the test methods
                                                 the Administrator in writing as soon as                                                                                                                  have entered into a contractual
                                                                                                                             specified in § 60.704a.
                                                 possible following the date you first                                         (r) If you seek to demonstrate                                             obligation to undertake and complete,
                                                 knew, or through due diligence should                                       compliance with § 60.700a(c)(4), then                                        within a reasonable time, a continuous
                                                 have known, that the event may cause                                        you must submit to the Administrator a                                       program of component replacement.
                                                 or has caused a delay in reporting.                                         process design description as part of the                                    § 60.707a What are the chemicals that I
                                                    (3) You must provide to the                                              initial report. This process design                                          must produce to be affected by subpart
                                                 Administrator:                                                              description must be retained for the life                                    RRRa?
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                                                                                                                                          Chemical                                                                                                    CAS No.1

                                                 Acetaldehyde .................................................................................................................................................................................           75–07–0
                                                 Acetic acid .....................................................................................................................................................................................        64–19–7
                                                 Acetic anhydride ............................................................................................................................................................................           108–24–7
                                                 Acetone ..........................................................................................................................................................................................       67–64–1
                                                 Acetone cyanohydrin .....................................................................................................................................................................                75–86–5
                                                 Acetylene .......................................................................................................................................................................................        74–86–2



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                                                                                                                                           Chemical                                                                                                     CAS No.1

                                                 Acrylic acid .....................................................................................................................................................................................         79–10–7
                                                 Acrylonitrile ....................................................................................................................................................................................        107–13–1
                                                 Adipic acid .....................................................................................................................................................................................         124–04–9
                                                 Adiponitrile .....................................................................................................................................................................................        111–69–3
                                                 Alcohols, C-11 or lower, mixtures.
                                                 Alcohols, C-12 or higher, mixtures.
                                                 Alcohols, C-12 or higher, unmixed.
                                                 Allyl chloride ...................................................................................................................................................................................        107–05–1
                                                 Amylene .........................................................................................................................................................................................         513–35–9
                                                 Amylenes, mixed.
                                                 Aniline ............................................................................................................................................................................................       62–53–3
                                                 Benzene .........................................................................................................................................................................................          71–43–2
                                                 Benzenesulfonic acid .....................................................................................................................................................................                 98–11–3
                                                 Benzenesulfonic acid C10-16-alkyl derivatives, sodium salts .........................................................................................................                                   68081–81–2
                                                 Benzyl chloride ..............................................................................................................................................................................            100–44–7
                                                 Bisphenol A ....................................................................................................................................................................................           80–05–7
                                                 Brometone .....................................................................................................................................................................................            76–08–4
                                                 1,3-Butadiene .................................................................................................................................................................................           106–99–0
                                                 Butadiene and butene fractions.
                                                 n-Butane ........................................................................................................................................................................................         106–97–8
                                                 1,4-Butanediol ................................................................................................................................................................................           110–63–4
                                                 Butanes, mixed.
                                                 1-Butene ........................................................................................................................................................................................         106–98–9
                                                 2-Butene ........................................................................................................................................................................................       25167–67–3
                                                 Butenes, mixed.
                                                 n-Butyl acetate ...............................................................................................................................................................................           123–86–4
                                                 Butyl acrylate .................................................................................................................................................................................          141–32–2
                                                 n-Butyl alcohol ...............................................................................................................................................................................            71–36–3
                                                 sec-Butyl alcohol ............................................................................................................................................................................             78–92–2
                                                 tert-Butyl alcohol ............................................................................................................................................................................            75–65–0
                                                 Butylbenzyl phthalate .....................................................................................................................................................................                85–68–7
                                                 tert-Butyl hydroperoxide .................................................................................................................................................................                 75–91–2
                                                 2-Butyne-1,4-diol ............................................................................................................................................................................            110–65–6
                                                 Butyraldehyde ................................................................................................................................................................................            123–72–8
                                                 Butyric anhydride ...........................................................................................................................................................................             106–31–0
                                                 Caprolactam ...................................................................................................................................................................................           105–60–2
                                                 Carbon disulfide .............................................................................................................................................................................             75–15–0
                                                 Carbon tetrachloride ......................................................................................................................................................................                56–23–5
                                                 Chloroacetic acid ...........................................................................................................................................................................              79–11–8
                                                 Chlorobenzene ...............................................................................................................................................................................             108–90–7
                                                 Chlorodifluoromethane ...................................................................................................................................................................                  75–45–6
                                                 Chloroform .....................................................................................................................................................................................           67–66–3
                                                 p-Chloronitrobenzene ....................................................................................................................................................................                 100–00–5
                                                 Citric acid .......................................................................................................................................................................................        77–92–9
                                                 Cumene .........................................................................................................................................................................................           98–82–8
                                                 Cumene hydroperoxide .................................................................................................................................................................                     80–15–9
                                                 Cyanuric chloride ...........................................................................................................................................................................             108–77–0
                                                 Cyclohexane ..................................................................................................................................................................................            110–82–7
                                                 Cyclohexane, oxidized ...................................................................................................................................................................               68512–15–2
                                                 Cyclohexanol .................................................................................................................................................................................            108–93–0
                                                 Cyclohexanone ..............................................................................................................................................................................              108–94–1
                                                 Cyclohexanone oxime ...................................................................................................................................................................                   100–64–1
                                                 Cyclohexene ..................................................................................................................................................................................            110–83–8
                                                 Cyclopropane .................................................................................................................................................................................             75–19–4
                                                 Diacetone alcohol ..........................................................................................................................................................................              123–42–2
                                                 1,4-Dichlorobutene .........................................................................................................................................................................              110–57–6
                                                 3,4-Dichloro-1-butene ....................................................................................................................................................................              64037–54–3
                                                 Dichlorodifluoromethane ................................................................................................................................................................                   75–71–8
                                                 Dichlorodimethylsilane ...................................................................................................................................................................                 75–78–5
                                                 Dichlorofluoromethane ...................................................................................................................................................................                  75–43–4
                                                 Diethanolamine ..............................................................................................................................................................................             111–42–2
                                                 Diethylbenzene ..............................................................................................................................................................................           25340–17–4
                                                 Diethylene glycol ............................................................................................................................................................................            111–46–6
                                                 Di-isodecyl phthalate .....................................................................................................................................................................             26761–40–0
                                                 Dimethyl terephthalate ...................................................................................................................................................................                120–61–6
                                                 2,4-(and 2,6)-dinitrotoluene ...........................................................................................................................................................                  121–14–2
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                                                                                                                                                                                                                                                           606–20–2
                                                 Dioctyl phthalate ............................................................................................................................................................................            117–81–7
                                                 Dodecene .......................................................................................................................................................................................        25378–22–7
                                                 Dodecylbenzene, nonlinear.
                                                 Dodecylbenzenesulfonic acid ........................................................................................................................................................                    27176–87–0
                                                 Dodecylbenzenesulfonic acid, sodium salt ....................................................................................................................................                           25155–30–0
                                                 Epichlorohydrin ..............................................................................................................................................................................            106–89–8
                                                 Ethanol ...........................................................................................................................................................................................        64–17–5



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                                                 Ethanolamine .................................................................................................................................................................................            141–43–5
                                                 Ethyl acetate ..................................................................................................................................................................................          141–78–6
                                                 Ethyl acrylate .................................................................................................................................................................................          140–88–5
                                                 Ethylbenzene .................................................................................................................................................................................            100–41–4
                                                 Ethyl chloride .................................................................................................................................................................................           75–00–3
                                                 Ethylene .........................................................................................................................................................................................         74–85–1
                                                 Ethylene dibromide ........................................................................................................................................................................               106–93–4
                                                 Ethylene dichloride ........................................................................................................................................................................              107–06–2
                                                 Ethylene glycol ...............................................................................................................................................................................           107–21–1
                                                 Ethylene glycol monobutyl ether ...................................................................................................................................................                       111–76–2
                                                 Ethylene glycol monoethyl ether acetate ......................................................................................................................................                            111–15–9
                                                 Ethylene glycol monomethyl ether ................................................................................................................................................                         109–86–4
                                                 Ethylene oxide ...............................................................................................................................................................................             75–21–8
                                                 2-Ethylhexyl alcohol .......................................................................................................................................................................              104–76–7
                                                 (2-Ethylhexyl) amine ......................................................................................................................................................................               104–75–6
                                                 6-Ethyl-1,2,3,4-tetrahydro 9,10-anthracenedione ..........................................................................................................................                              15547–17–8
                                                 Formaldehyde ................................................................................................................................................................................              50–00–0
                                                 Glycerol ..........................................................................................................................................................................................        56–81–5
                                                 n-Heptane ......................................................................................................................................................................................          142–82–5
                                                 Heptenes (mixed).
                                                 Hexamethylene diamine ................................................................................................................................................................                    124–09–4
                                                 Hexamethylene diamine adipate ...................................................................................................................................................                        3323–53–3
                                                 Hexamethylenetetramine ...............................................................................................................................................................                    100–97–0
                                                 Hexane ...........................................................................................................................................................................................        110–54–3
                                                 Isobutane .......................................................................................................................................................................................          75–28–5
                                                 Isobutanol ......................................................................................................................................................................................          78–83–1
                                                 Isobutylene .....................................................................................................................................................................................         115–11–7
                                                 Isobutyraldehyde ............................................................................................................................................................................              78–84–2
                                                 Isopentane .....................................................................................................................................................................................           78–78–4
                                                 Isoprene .........................................................................................................................................................................................         78–79–5
                                                 Isopropanol ....................................................................................................................................................................................           67–63–0
                                                 Ketene ............................................................................................................................................................................................       463–51–4
                                                 Linear alcohols, ethoxylated, mixed.
                                                 Linear alcohols, ethoxylated, and sulfated, sodium salt, mixed.
                                                 Linear alcohols, sulfated, sodium salt, mixed.
                                                 Linear alkylbenzene .......................................................................................................................................................................               123–01–3
                                                 Maleic anhydride ............................................................................................................................................................................             108–31–6
                                                 Mesityl oxide ..................................................................................................................................................................................          141–79–7
                                                 Methanol ........................................................................................................................................................................................          67–56–1
                                                 Methylamine ...................................................................................................................................................................................            74–39–5
                                                 ar-Methylbenzenediamine ..............................................................................................................................................................                  25376–45–8
                                                 Methyl chloride ...............................................................................................................................................................................            74–87–3
                                                 Methylene chloride .........................................................................................................................................................................               75–09–2
                                                 Methyl ethyl ketone ........................................................................................................................................................................               78–93–3
                                                 Methyl isobutyl ketone ...................................................................................................................................................................                108–10–1
                                                 Methyl methacrylate .......................................................................................................................................................................                80–62–6
                                                 1-Methyl-2-pyrrolidone ...................................................................................................................................................................                872–50–4
                                                 Methyl tert-butyl ether.
                                                 Naphthalene ...................................................................................................................................................................................            91–20–3
                                                 Nitrobenzene ..................................................................................................................................................................................            98–95–3
                                                 1-Nonene .......................................................................................................................................................................................        27215–95–8
                                                 Nonyl alcohol .................................................................................................................................................................................           143–08–8
                                                 Nonylphenol ...................................................................................................................................................................................         25154–52–3
                                                 Nonylphenol, ethoxylated ..............................................................................................................................................................                  9016–45–9
                                                 Octene ...........................................................................................................................................................................................      25377–83–7
                                                 Oil-soluble petroleum sulfonate, calcium salt.
                                                 Pentaerythritol ................................................................................................................................................................................          115–77–5
                                                 3-Pentenenitrile ..............................................................................................................................................................................          4635–87–4
                                                 Pentenes, mixed ............................................................................................................................................................................              109–67–1
                                                 Perchloroethylene ..........................................................................................................................................................................              127–18–4
                                                 Phenol ............................................................................................................................................................................................       108–95–2
                                                 1-Phenylethyl hydroperoxide .........................................................................................................................................................                    3071–32–7
                                                 Phenylpropane ...............................................................................................................................................................................             103–65–1
                                                 Phosgene .......................................................................................................................................................................................           75–44–5
                                                 Phthalic anhydride .........................................................................................................................................................................               85–44–9
                                                 Propane .........................................................................................................................................................................................          74–98–6
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                                                 Propionaldehyde ............................................................................................................................................................................              123–38–6
                                                 Propyl alcohol ................................................................................................................................................................................            71–23–8
                                                 Propylene .......................................................................................................................................................................................         115–07–1
                                                 Propylene glycol ............................................................................................................................................................................              57–55–6
                                                 Propylene oxide .............................................................................................................................................................................              75–56–9
                                                 Sorbitol ...........................................................................................................................................................................................       50–70–4
                                                 Styrene ...........................................................................................................................................................................................       100–42–5
                                                 Terephthalic acid ...........................................................................................................................................................................             100–21–0



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                                                 Tetraethyl lead ...............................................................................................................................................................................          78–00–2
                                                 Tetrahydrofuran .............................................................................................................................................................................           109–99–9
                                                 Tetra (methyl-ethyl) lead.
                                                 Tetramethyl lead ............................................................................................................................................................................            75–74–1
                                                 Toluene ..........................................................................................................................................................................................      108–88–3
                                                 Toluene-2,4-diamine ......................................................................................................................................................................               95–80–7
                                                 Toluene-2,4-(and, 2,6)-diisocyanate (80/20 mixture) ....................................................................................................................                              26471–62–5
                                                 1,1,1-Trichloroethane .....................................................................................................................................................................              71–55–6
                                                 1,1,2-Trichloroethane .....................................................................................................................................................................              79–00–5
                                                 Trichloroethylene ...........................................................................................................................................................................            79–01–6
                                                 Trichlorofluoromethane ..................................................................................................................................................................                75–69–4
                                                 1,1,2-Trichloro-1,2,2-trifluoroethane ..............................................................................................................................................                     76–13–1
                                                 Triethanolamine .............................................................................................................................................................................           102–71–6
                                                 Triethylene glycol ...........................................................................................................................................................................          112–27–6
                                                 Vinyl acetate ..................................................................................................................................................................................        108–05–4
                                                 Vinyl chloride .................................................................................................................................................................................         75–01–4
                                                 Vinylidene chloride .........................................................................................................................................................................            75–35–4
                                                 m-Xylene ........................................................................................................................................................................................       108–38–3
                                                 o-Xylene .........................................................................................................................................................................................       95–47–6
                                                 p-Xylene .........................................................................................................................................................................................      106–42–3
                                                 Xylenes (mixed) .............................................................................................................................................................................          1330–20–7
                                                   1 CAS numbers refer to the Chemical Abstracts Registry numbers assigned to specific chemicals, isomers, or mixtures of chemicals. Some iso-
                                                 mers or mixtures that are covered by the standards do not have CAS numbers assigned to them. The standards apply to all of the chemicals list-
                                                 ed, whether CAS numbers have been assigned or not.


                                                 § 60.708a         [Reserved]                                                demonstrate compliance with the                                              direct calculation method specified in
                                                                                                                             velocity and NHVcz requirements                                              § 63.670(l)(5)(ii) of this chapter;
                                                 § 60.709a What are my requirements if I
                                                                                                                             starting with the block that contains the                                       (4) Instead of complying with
                                                 use a flare to comply with this subpart?
                                                                                                                             fifteenth minute of a flaring event. You                                     § 63.670(b) and (g) of this chapter, if a
                                                    (a) If you use a flare to comply with                                    are not required to demonstrate                                              pressure-assisted multi-point flare uses
                                                 the TOC emission standard specified in                                      compliance for the previous 15-minute                                        cross-lighting on a stage of burners
                                                 table 1 to this subpart, then you must                                      block in which the event started and                                         rather than having an individual pilot
                                                 meet the applicable requirements for                                        contained only a fraction of flow.                                           flame on each burner, then you must
                                                 flares as specified in §§ 63.670 and                                                                                                                     operate each stage of the pressure-
                                                                                                                                (d) Instead of complying with
                                                 63.671 of this chapter, including the                                                                                                                    assisted multi-point flare with a flame
                                                                                                                             § 63.670(o)(2)(i) of this chapter, you
                                                 provisions in tables 12 and 13 to part                                                                                                                   present at all times when regulated
                                                                                                                             must develop and implement the flare
                                                 63, subpart CC, of this chapter, except                                                                                                                  material is routed to that stage of
                                                                                                                             management plan no later than startup
                                                 as specified in paragraphs (b) through                                                                                                                   burners. Each stage of burners that
                                                                                                                             for a new flare that commenced
                                                 (o) of this section. This requirement also                                                                                                               cross-lights in the pressure-assisted
                                                                                                                             construction on or after April 25, 2023.
                                                 applies to any flare using fuel gas from                                                                                                                 multi-point flare must have at least two
                                                 a fuel gas system, of which 50 percent                                         (e) Instead of complying with
                                                                                                                             § 63.670(o)(2)(iii) of this chapter, if                                      pilots with at least one continuously lit
                                                 or more of the fuel gas is derived from                                                                                                                  and capable of igniting all regulated
                                                 an affected facility, as determined on an                                   required to develop a flare management
                                                                                                                             plan and submit it to the Administrator,                                     material that is routed to that stage of
                                                 annual average basis. For purposes of                                                                                                                    burners. Each 15-minute block during
                                                 compliance with this paragraph (a), the                                     then you must also submit all versions
                                                                                                                             of the plan in portable document format                                      which there is at least one minute where
                                                 following terms are defined in § 63.641                                                                                                                  no pilot flame is present on a stage of
                                                 of this chapter: Assist air, assist steam,                                  (PDF) following the procedures
                                                                                                                             specified in § 60.705a(l).                                                   burners when regulated material is
                                                 center steam, combustion zone,                                                                                                                           routed to the flare is a deviation of the
                                                 combustion zone gas, flare, flare purge                                        (f) Section 63.670(o)(3)(ii) of this
                                                                                                                                                                                                          standard. Deviations in different 15-
                                                 gas, flare supplemental gas, flare sweep                                    chapter and all references to it do not
                                                                                                                                                                                                          minute blocks from the same event are
                                                 gas, flare vent gas, lower steam, net                                       apply. Instead, you must comply with
                                                                                                                                                                                                          considered separate deviations. The
                                                 heating value, perimeter assist air, pilot                                  the maximum flare tip velocity
                                                                                                                                                                                                          pilot flame(s) on each stage of burners
                                                 gas, premix assist air, total steam, and                                    operating limit at all times.
                                                                                                                                                                                                          that use cross-lighting must be
                                                 upper steam.                                                                   (g) Substitute ‘‘affected facility’’ for                                  continuously monitored by a
                                                    (b) When determining compliance                                          each occurrence of ‘‘petroleum                                               thermocouple or any other equivalent
                                                 with the pilot flame requirements                                           refinery.’’                                                                  device used to detect the presence of a
                                                 specified in § 63.670(b) and (g) of this                                       (h) Each occurrence of ‘‘refinery’’ does                                  flame;
                                                 chapter, substitute ‘‘pilot flame or flare                                  not apply.                                                                      (5) Unless you choose to conduct a
                                                 flame’’ for each occurrence of ‘‘pilot                                         (i) If a pressure-assisted multi-point                                    cross-light performance demonstration
                                                 flame.’’                                                                    flare is used as a control device, then                                      as specified in this paragraph (i)(5), you
                                                    (c) When determining compliance                                          you must meet the following conditions:
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                                                                                                                                                                                                          must ensure that if a stage of burners on
                                                 with the flare tip velocity and                                                (1) You are not required to comply                                        the flare uses cross-lighting, that the
                                                 combustion zone operating limits                                            with the flare tip velocity requirements                                     distance between any two burners in
                                                 specified in § 63.670(d) and (e) of this                                    in § 63.670(d) and (k) of this chapter;                                      series on that stage is no more than 6
                                                 chapter, the requirement effectively                                           (2) The NHVcz for pressure-assisted                                       feet when measured from the center of
                                                 applies starting with the 15-minute                                         mulit-point flares is 800 Btu/scf;                                           one burner to the next burner. A
                                                 block that includes a full 15 minutes of                                       (3) You must determine the 15-minute                                      distance greater than 6 feet between any
                                                 the flaring event. You are required to                                      block average NHVvg using only the                                           two burners in series may be used


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                                                 provided you conduct a performance                      manufacturer. The pressure monitor                    may use the response factor for the
                                                 demonstration that confirms the                         must meet the requirements in Table 13                nearest molecular weight hydrocarbon
                                                 pressure-assisted multi-point flare will                to part 63, subpart CC of this chapter.               in the calibration mix to quantify the
                                                 cross-light a minimum of three burners                     (7) If a pressure-assisted multi-point             unknown component’s NHVvg.
                                                 and the spacing between the burners                     flare is operating under the                            (4) You may use the response factor
                                                 and location of the pilot flame must be                 requirements of an approved alternative               for n-pentane to quantify any unknown
                                                 representative of the projected                         means of emission limitations, you must               components detected with a higher
                                                 installation. The compliance                            either continue to comply with the                    molecular weight than n-pentane.
                                                 demonstration must be approved by the                   terms of the alternative means of                       (5) You must perform an initial
                                                 permitting authority and a copy of this                 emission limitations or comply with the               calibration to identify mass fragment
                                                 approval must be maintained onsite.                     provisions in paragraphs (i)(1) through               overlap and response factors for the
                                                 The compliance demonstration report                     (6) of this section.                                  target compounds.
                                                 must include: a protocol describing the                    (j) If you choose to determine                       (6) You must meet applicable
                                                 test methodology used, associated test                  compositional analysis for net heating                requirements in Performance
                                                 method QA/QC parameters, the waste                      value with a continuous process mass                  Specification 9 of appendix B of this
                                                 gas composition and NHVcz of the gas                    spectrometer, then you must comply                    part, for continuous monitoring system
                                                 tested, the velocity of the waste gas                   with the requirements specified in                    acceptance including, but not limited to,
                                                 tested, the pressure-assisted multi-point               paragraphs (j)(1) through (7) of this                 performing an initial multi-point
                                                 flare burner tip pressure, the time,                    section.                                              calibration check at three concentrations
                                                 length, and duration of the test, records                  (1) You must meet the requirements                 following the procedure in section 10.1
                                                 of whether a successful cross-light was                 in § 63.671(e)(2) of this chapter. You                and performing the periodic calibration
                                                 observed over all of the burners and the                may augment the minimum list of                       requirements listed for gas
                                                 length of time it took for the burners to               calibration gas components found in                   chromatographs in table 13 to part 63,
                                                 cross-light, records of maintaining a                   § 63.671(e)(2) of this chapter with                   subpart CC, of this chapter, for the
                                                 stable flame after a successful cross-light             compounds found during a pre-survey                   process mass spectrometer. You may
                                                 and the duration for which this was                     or known to be in the gas through                     use the alternative sampling line
                                                 observed, records of any smoking events                 process knowledge.                                    temperature allowed under Net Heating
                                                 during the cross-light, waste gas                          (2) Calibration gas cylinders must be              Value by Gas Chromatograph in table 13
                                                 temperature, meteorological conditions                  certified to an accuracy of 2 percent and             to part 63, subpart CC, of this chapter.
                                                 (e.g., ambient temperature, barometric                  traceable to National Institute of
                                                                                                                                                                 (7) The average instrument calibration
                                                 pressure, wind speed and direction, and                 Standards and Technology (NIST)
                                                                                                                                                               error (CE) for each calibration
                                                 relative humidity), and whether there                   standards.
                                                                                                                                                               compound at any calibration
                                                 were any observed flare flameouts; and                     (3) For unknown gas components that
                                                                                                                                                               concentration must not differ by more
                                                    (6) You must install and operate                     have similar analytical mass fragments
                                                                                                                                                               than 10 percent from the certified
                                                 pressure monitor(s) on the main flare                   to calibration compounds, you may
                                                                                                                                                               cylinder gas value. The CE for each
                                                 header, as well as a valve position                     report the unknowns as an increase in
                                                                                                                                                               component in the calibration blend
                                                 indicator monitoring system for each                    the overlapped calibration gas
                                                                                                                                                               must be calculated using Equation 1 to
                                                 staging valve to ensure that the flare                  compound. For unknown compounds
                                                                                                                                                               this paragraph (j)(7).
                                                 operates within the proper range of                     that produce mass fragments that do not
                                                 conditions as specified by the                          overlap calibration compounds, you                    Equation 1 to Paragraph (j)(7)


                                                                                                               CE = Cm- Ca X 100 (Eq. 1)
                                                                                                                            Ca


                                                 Where:                                                  may choose to use the CE of NHVmeasured               level must not differ by more than 10
                                                 Cm = Average instrument response (ppm)                  versus the cylinder tag value NHV as the              percent from the certified cylinder gas
                                                 Ca = Certified cylinder gas value (ppm)                 measure of agreement for daily                        value. The CE must be calculated using
                                                   (k) If you use a gas chromatograph or                 calibration and quarterly audits in lieu              equation 2 to this paragraph (k).
                                                 mass spectrometer for compositional                     of determining the compound-specific
                                                                                                                                                               Equation 2 to Paragraph (k)
                                                 analysis for net heating value, then you                CE. The CE for NHV at any calibration


                                                                                                      CE= NHVmeasurer NHVa X 100 (Eq. 2)
                                                                                                                           NHVa


                                                 Where:                                                    (1) The notification requirements                   flare flame is present. Include the start
                                                 NHVmeasured = Average instrument response               specified in § 60.705a(a).                            and stop time and date of each 15-
                                                    (Btu/scf)                                              (2) The semiannual report specified in              minute block.
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                                                 NHVa = Certified cylinder gas value (Btu/scf)           § 60.705a(k)(4) must include the items                   (ii) Visible emission records as
                                                                                                         specified in paragraphs (l)(2)(i) through             specified in paragraph (m)(2)(iv) of this
                                                    (l) Instead of complying with                        (vi) of this section.                                 section for each period of 2 consecutive
                                                                                                                                                                                                            ER16MY24.052</GPH>




                                                 paragraph (q) of § 63.670 of this chapter,                (i) Records as specified in paragraph               hours during which visible emissions
                                                 you must comply with the reporting                      (m)(1) of this section for each 15-minute             exceeded a total of 5 minutes.
                                                 requirements specified in paragraphs                    block during which there was at least                    (iii) The periods specified in
                                                 (l)(1) and (2) of this section.                         one minute when regulated material is                 paragraph (m)(6) of this section. Indicate
                                                                                                                                                                                                            ER16MY24.051</GPH>




                                                                                                         routed to a flare and no pilot flame or               the date and start and end times for each


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                                                 period, and the net heating value                       when regulated material is routed to a                   (4) The flare vent gas compositions
                                                 operating parameter(s) determined                       flare for a minimum of 5 years. You may               specified to be monitored under
                                                 following the methods in § 63.670(k)                    reduce the collected minute-by-minute                 § 63.670(j) of this chapter. Retain
                                                 through (n) of part 63, subpart CC of this              data to a 15-minute block basis with an               records of individual component
                                                 chapter as applicable.                                  indication of whether there was at least              concentrations from each compositional
                                                    (iv) For flaring events meeting the                  one minute where no pilot flame or flare              analysis for a minimum of 2 years. If an
                                                 criteria in § 63.670(o)(3) of this chapter              flame was present.                                    NHVvg analyzer is used, retain records
                                                 and paragraph (f) of this section:                         (2) Retain records of daily visible                of the 15-minute block average values
                                                    (A) The start and stop time and date                 emissions observations as specified in                for a minimum of 5 years.
                                                 of the flaring event.                                   paragraphs (m)(2)(i) through (iv) of this                (5) Each 15-minute block average
                                                    (B) The length of time in minutes for                section, as applicable, for a minimum of              operating parameter calculated
                                                 which emissions were visible from the                   3 years.                                              following the methods specified in
                                                 flare during the event.                                    (i) To determine when visible                      § 63.670(k) through (n) of this chapter,
                                                    (C) For steam-assisted, air-assisted,                emissions observations are required, the              as applicable.
                                                 and non-assisted flares, the start date,                record must identify all periods when                    (6) All periods during which
                                                 start time, and duration in minutes for                 regulated material is vented to the flare.            operating values are outside of the
                                                 periods of time that the flare tip velocity                (ii) If visible emissions observations             applicable operating limits specified in
                                                 exceeds the maximum flare tip velocity                  are performed using Method 22 of                      § 63.670(d) through (f) of this chapter
                                                 determined using the methods in                         appendix A–7 of this part, then the                   and paragraph (i) of this section when
                                                 § 63.670(d)(2) of this chapter and the                  record must identify whether the visible              regulated material is being routed to the
                                                 maximum 15-minute block average flare                   emissions observation was performed,                  flare.
                                                 tip velocity in ft/sec recorded during the              the results of each observation, total                   (7) All periods during which you do
                                                 event.                                                  duration of observed visible emissions,               not perform flare monitoring according
                                                    (D) Results of the root cause and                    and whether it was a 5-minute or 2-hour               to the procedures in § 63.670(g) through
                                                 corrective actions analysis completed                   observation. Record the date and start                (j) of this chapter.
                                                 during the reporting period, including                  time of each visible emissions                           (8) For pressure-assisted multi-point
                                                 the corrective actions implemented                      observation.                                          flares, if a stage of burners on the flare
                                                 during the reporting period and, if                        (iii) If a video surveillance camera is            uses cross-lighting, then a record of any
                                                 applicable, the implementation                          used pursuant to § 63.670(h)(2) of this               changes made to the distance between
                                                 schedule for planned corrective actions                 chapter, then the record must include                 burners.
                                                 to be implemented subsequent to the                     all video surveillance images recorded,                  (9) For pressure-assisted multi-point
                                                 reporting period.                                       with time and date stamps.                            flares, all periods when the pressure
                                                    (v) For pressure-assisted multi-point                   (iv) For each 2-hour period for which              monitor(s) on the main flare header
                                                 flares, the periods of time when the                    visible emissions are observed for more               show burners are operating outside the
                                                 pressure monitor(s) on the main flare                   than 5 minutes in 2 consecutive hours,                range of the manufacturer’s
                                                 header show the burners operating                       then the record must include the date                 specifications. Indicate the date and
                                                 outside the range of the manufacturer’s                 and start and end time of the 2-hour                  time for each period, the pressure
                                                 specifications. Indicate the date and                   period and an estimate of the                         measurement, the stage(s) and number
                                                 start and end times for each period.                    cumulative number of minutes in the 2-                of burners affected, and the range of
                                                    (vi) For pressure-assisted multi-point               hour period for which emissions were                  manufacturer’s specifications.
                                                 flares, the periods of time when the                    visible.                                                 (10) For pressure-assisted multi-point
                                                 staging valve position indicator                           (3) The 15-minute block average                    flares, all periods when the staging
                                                 monitoring system indicates a stage                     cumulative flows for flare vent gas and,              valve position indicator monitoring
                                                 should not be in operation and is or                    if applicable, total steam, perimeter                 system indicates a stage of the pressure-
                                                 when a stage should be in operation and                 assist air, and premix assist air specified           assisted multi-point flare should not be
                                                 is not. Indicate the date and start and                 to be monitored under § 63.670(i) of this             in operation and when a stage of the
                                                 end times for each period.                              chapter, along with the date and time                 pressure-assisted multi-point flare
                                                    (m) Instead of complying with                        interval for the 15-minute block. If                  should be in operation and is not.
                                                 § 63.670(p) of this chapter, you must                   multiple monitoring locations are used                Indicate the date and time for each
                                                 keep the flare monitoring records                       to determine cumulative vent gas flow,                period, whether the stage was supposed
                                                 specified in paragraphs (m)(1) through                  total steam, perimeter assist air, and                to be open, but was closed or vice versa,
                                                 (14) of this section.                                   premix assist air, then retain records of             and the stage(s) and number of burners
                                                    (1) Retain records of the output of the              the 15-minute block average flows for                 affected.
                                                 monitoring device used to detect the                    each monitoring location for a minimum                   (11) Records of periods when there is
                                                 presence of a pilot flame or flare flame                of 2 years and retain the 15-minute                   flow of vent gas to the flare, but when
                                                 as required in § 63.670(b) of this chapter              block average cumulative flows that are               there is no flow of regulated material to
                                                 and the presence of a pilot flame as                    used in subsequent calculations for a                 the flare, including the start and stop
                                                 required in paragraph (i)(4) of this                    minimum of 5 years. If pressure and                   time and dates of periods of no
                                                 section for a minimum of 2 years. Retain                temperature monitoring is used, then                  regulated material flow.
                                                 records of each 15-minute block during                  retain records of the 15-minute block                    (12) Records when the flow of vent
                                                 which there was at least one minute that                average temperature, pressure, and                    gas exceeds the smokeless capacity of
                                                 no pilot flame or flare flame is present                molecular weight of the flare vent gas or
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                                                                                                                                                               the flare, including start and stop time
                                                 when regulated material is routed to a                  assist gas stream for each measurement                and dates of the flaring event.
                                                 flare for a minimum of 5 years. For a                   location used to determine the 15-                       (13) Records of the root cause analysis
                                                 pressure-assisted multi-point flare that                minute block average cumulative flows                 and corrective action analysis
                                                 uses cross-lighting, retain records of                  for a minimum of 2 years, and retain the              conducted as required in § 63.670(o)(3)
                                                 each 15-minute block during which                       15-minute block average cumulative                    of this chapter and paragraph (f) of this
                                                 there was at least one minute that no                   flows that are used in subsequent                     section, including an identification of
                                                 pilot flame is present on each stage                    calculations for a minimum of 5 years.                the affected flare, the date and duration


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                                                 of the event, a statement noting whether                maintained under negative pressure,                   reading from the maximum
                                                 the event resulted from the same root                   and                                                   concentration indicated by the
                                                 cause(s) identified in a previous                          (3) Conduct annual inspections for                 instrument. The arithmetic difference
                                                 analysis and either a description of the                visible, audible, or olfactory indications            between the maximum concentration
                                                 recommended corrective action(s) or an                  of leaks.                                             indicated by the instrument and the
                                                 explanation of why corrective action is                    (b) You must inspect each closed vent              background level must be compared
                                                 not necessary under § 63.670(o)(5)(i) of                system according to the procedures                    with 500 parts per million for
                                                 this chapter.                                           specified in paragraphs (b)(1) through                determining compliance.
                                                    (14) For any corrective action analysis              (6) of this section.                                     (c) Leaks, as indicated by an
                                                 for which implementation of corrective                     (1) Inspections must be conducted in               instrument reading greater than 500
                                                 actions are required in § 63.670(o)(5) of               accordance with Method 21 of appendix                 parts per million above background or
                                                 this chapter, a description of the                      A of this part.                                       by visual, audio, or olfactory
                                                 corrective action(s) completed within                      (2)(i) Except as provided in paragraph             inspections, must be repaired as soon as
                                                 the first 45 days following the discharge               (b)(2)(ii) of this section, the detection             practicable, except as provided in
                                                 and, for action(s) not already completed,               instrument must meet the performance                  paragraph (d) of this section.
                                                 a schedule for implementation,                          criteria of Method 21 of appendix A of                   (1) A first attempt at repair must be
                                                 including proposed commencement and                     this part, except the instrument                      made no later than 5 calendar days after
                                                 completion dates.                                       response factor criteria in section                   the leak is detected.
                                                                                                         3.1.2(a) of Method 21 must be for the                    (2) Repair must be completed no later
                                                    (n) You may elect to comply with the
                                                                                                         average composition of the process fluid              than 15 calendar days after the leak is
                                                 alternative means of emissions
                                                                                                         not each individual volatile organic                  detected.
                                                 limitation requirements specified in                                                                             (d) Delay of repair of a closed vent
                                                 § 63.670(r) of this chapter in lieu of the              compound in the stream. For process
                                                                                                         streams that contain nitrogen, air, or                system for which leaks have been
                                                 requirements in § 63.670(d) through (f)                                                                       detected is allowed if the repair is
                                                 of this chapter, as applicable. However,                other inerts which are not organic
                                                                                                         hazardous air pollutants or volatile                  technically infeasible without a
                                                 instead of complying with                                                                                     shutdown, as defined in § 60.2, or if you
                                                 § 63.670(r)(3)(iii) of this chapter, you                organic compounds, the average stream
                                                                                                         response factor must be calculated on an              determine that emissions resulting from
                                                 must also submit the alternative means                                                                        immediate repair would be greater than
                                                 of emissions limitation request to the                  inert-free basis.
                                                                                                            (ii) If no instrument is available at the          the fugitive emissions likely to result
                                                 following address: U.S. Environmental                                                                         from delay of repair. Repair of such
                                                                                                         plant site that will meet the
                                                 Protection Agency, Office of Air Quality                                                                      equipment must be complete by the end
                                                                                                         performance criteria specified in
                                                 Planning and Standards, Sector Policies                                                                       of the next shutdown.
                                                                                                         paragraph (b)(2)(i) of this section, the
                                                 and Programs Division, U.S. EPA                                                                                  (e) For each closed vent system that
                                                                                                         instrument readings may be adjusted by
                                                 Mailroom (C404–02), Attention: SOCMI                                                                          contains bypass lines that could divert
                                                                                                         multiplying by the average response
                                                 NSPS Sector Lead, 4930 Old Page Rd.,                                                                          a vent stream away from the control
                                                                                                         factor of the process fluid, calculated on
                                                 Durham, NC 27703.                                                                                             device and to the atmosphere, you must
                                                                                                         an inert-free basis as described in
                                                    (o) The referenced provisions                                                                              comply with the provisions of either
                                                                                                         paragraph (b)(2)(i) of this section.
                                                 specified in paragraphs (o)(1) through                     (3) The detection instrument must be               paragraph (e)(1) or (2), except as
                                                 (4) of this section do not apply when                   calibrated before use on each day of its              specified in paragraph (e)(3) of this
                                                 demonstrating compliance with this                      use by the procedures specified in                    section.
                                                 section.                                                Method 21 of appendix A of this part.                    (1) Install, calibrate, maintain, and
                                                    (1) Section 63.670(o)(4)(iv) of this                    (4) Calibration gases must be as                   operate a flow indicator that determines
                                                 chapter.                                                follows:                                              whether vent stream flow is present at
                                                    (2) The last sentence of § 63.670(o)(6)                 (i) Zero air (less than 10 parts per               least once every 15 minutes. You must
                                                 of this chapter.                                        million hydrocarbon in air); and                      keep hourly records of whether the flow
                                                    (3) The phrase ‘‘that were not caused                   (ii) Mixtures of methane in air at a               indicator was operating and whether a
                                                 by a force majeure event’’ in                           concentration less than 2,000 parts per               diversion was detected at any time
                                                 § 63.670(o)(7)(ii) of this chapter.                     million. A calibration gas other than                 during the hour, as well as records of
                                                    (4) The phrase ‘‘that were not caused                methane in air may be used if the                     the times and durations of all periods
                                                 by a force majeure event’’ in                           instrument does not respond to methane                when the vent stream is diverted to the
                                                 § 63.670(o)(7)(iv) of this chapter.                     or if the instrument does not meet the                atmosphere or the flow indicator is not
                                                                                                         performance criteria specified in                     operating. The flow indicator must be
                                                 § 60.710a What are my requirements for                  paragraph (b)(2)(i) of this section. In               installed at the entrance to any bypass
                                                 closed vent systems?
                                                                                                         such cases, the calibration gas may be a              line; or
                                                    (a) Except as provided in paragraphs                 mixture of one or more of the                            (2) Secure the bypass line valve in the
                                                 (f) and (g) of this section, you must                   compounds to be measured in air.                      closed position with a car-seal or a lock-
                                                 inspect each closed vent system                            (5) You may elect to adjust or not                 and-key type configuration. A visual
                                                 according to the procedures and                         adjust instrument readings for                        inspection of the seal or closure
                                                 schedule specified in paragraphs (a)(1)                 background. If you elect to not adjust                mechanism must be performed at least
                                                 through (3) of this section.                            readings for background, all such                     once every month to ensure the valve is
                                                    (1) Conduct an initial inspection                    instrument readings must be compared                  maintained in the closed position and
                                                 according to the procedures in
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                                                                                                         directly to the applicable leak definition            the vent stream is not diverted through
                                                 paragraph (b) of this section unless the                to determine whether there is a leak.                 the bypass line.
                                                 closed vent system is operated and                         (6) If you elect to adjust instrument                 (3) Open-ended valves or lines that
                                                 maintained under negative pressure,                     readings for background, you must                     use a cap, blind flange, plug, or second
                                                    (2) Conduct annual inspections                       determine the background concentration                valve and follow the requirements
                                                 according to the procedures in                          using Method 21 of appendix A of this                 specified in § 60.482–6(a)(2), (b), and (c)
                                                 paragraph (b) of this section unless the                part. After monitoring each potential                 or follow requirements codified in
                                                 closed vent system is operated and                      leak interface, subtract the background               another regulation that are the same as


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                                                 § 60.482–6(a)(2), (b), and (c) are not                       (e)(1) of this section was operating and              operator (or designee) whose decision it
                                                 subject to this paragraph (e) of this                        whether a diversion was detected at any               was that repair could not be effected
                                                 section.                                                     time during the hour, as well as records              without a shutdown.
                                                    (f) Any parts of the closed vent system                   of the times of all periods when the vent                (vi) The expected date of successful
                                                 that are designated, as described in                         stream is diverted from the control                   repair of the leak if a leak is not repaired
                                                 paragraph (h)(1) of this section, as                         device or the flow indicator is not                   within 15 calendar days.
                                                 unsafe to inspect are exempt from the                        operating.                                               (vii) Dates of shutdowns that occur
                                                 inspection requirements of paragraphs                           (ii) Where a seal mechanism is used                while the equipment is unrepaired.
                                                 (a)(1) and (2) of this section if:                           to comply with paragraph (e)(2) of this
                                                    (1) You determine that the equipment                      section, hourly records of flow are not                  (viii) The date of successful repair of
                                                 is unsafe to inspect because inspecting                      required. In such cases, you must record              the leak.
                                                 personnel would be exposed to an                             whether the monthly visual inspection                    (5) For each inspection conducted in
                                                 imminent or potential danger as a                            of the seals or closure mechanisms has                accordance with paragraph (b) of this
                                                 consequence of complying with                                been done, and you must record the                    section during which no leaks are
                                                 paragraphs (a)(1) and (2) of this section;                   occurrence of all periods when the seal               detected, a record that the inspection
                                                 and                                                          mechanism is broken, the bypass line                  was performed, the date of the
                                                    (2) You have a written plan that                          valve position has changed, or the key                inspection, and a statement that no
                                                 requires inspection of the equipment as                      for a lock-and-key type configuration                 leaks were detected.
                                                 frequently as practicable during safe-to-                    has been checked out, and records of                     (6) For each inspection conducted in
                                                 inspect times.                                               any car-seal that has broken.                         accordance with paragraph (a)(3) of this
                                                    (g) Any parts of the closed vent                             (iii) For each flow event from a bypass            section during which no leaks are
                                                 system are designated, as described in                       line subject to the requirements in                   detected, a record that the inspection
                                                 paragraph (h)(2) of this section, as                         paragraph (e) of this section, you must               was performed, the date of the
                                                 difficult to inspect are exempt from the                     maintain records sufficient to determine              inspection, and a statement that no
                                                 inspection requirements of paragraphs                        whether or not the detected flow                      leaks were detected.
                                                 (a)(1) and (2) of this section if:                           included flow requiring control. For
                                                    (1) You determine that the equipment                                                                               (i) The semiannual report specified in
                                                                                                              each flow event from a bypass line                    § 60.705a(k)(5) must include the items
                                                 cannot be inspected without elevating
                                                                                                              requiring control that is released either             specified in paragraphs (i)(1) through (3)
                                                 the inspecting personnel more than 2
                                                                                                              directly to the atmosphere or to a                    of this section.
                                                 meters above a support surface; and
                                                    (2) You have a written plan that                          control device not meeting the                           (1) Reports of the times of all periods
                                                 requires inspection of the equipment at                      requirements in this subpart, you must                recorded under paragraph (h)(3)(i) of
                                                 least once every 5 years.                                    include an estimate of the volume of                  this section when the vent stream is
                                                    (h) You must record the information                       gas, the concentration of VOC in the gas              diverted from the control device
                                                 specified in paragraphs (h)(1) through                       and the resulting emissions of VOC that               through a bypass line. Include the start
                                                 (5) of this section.                                         bypassed the control device using                     date, start time, and duration in hours
                                                    (1) Identification of all parts of the                    process knowledge and engineering                     of each period.
                                                 closed vent system that are designated                       estimates.
                                                                                                                 (4) For each inspection during which                  (2) Reports of all periods recorded
                                                 as unsafe to inspect, an explanation of                                                                            under paragraph (h)(3)(ii) of this section
                                                 why the equipment is unsafe to inspect,                      a leak is detected, a record of the
                                                                                                              information specified in paragraphs                   in which the seal mechanism is broken,
                                                 and the plan for inspecting the                                                                                    the bypass line valve position has
                                                 equipment.                                                   (h)(4)(i) through (viii) of this section.
                                                                                                                 (i) The instrument identification                  changed, or the key to unlock the bypass
                                                    (2) Identification of all parts of the
                                                                                                              numbers; operator name or initials; and               line valve was checked out. Include the
                                                 closed vent system that are designated
                                                                                                              identification of the equipment.                      start date, start time, and duration in
                                                 as difficult to inspect, an explanation of
                                                 why the equipment is difficult to                               (ii) The date the leak was detected                hours of each period.
                                                 inspect, and the plan for inspecting the                     and the date of the first attempt to repair              (3) For bypass lines subject to the
                                                 equipment.                                                   the leak.                                             requirements in paragraph (e) of this
                                                    (3) For each closed vent system that                         (iii) Maximum instrument reading                   section, the semiannual reports must
                                                 contains bypass lines that could divert                      measured by the method specified in                   include the start date, start time,
                                                 a vent stream away from the control                          paragraph (c) of this section after the               duration in hours, estimate of the
                                                 device and to the atmosphere, you must                       leak is successfully repaired or                      volume of gas in standard cubic feet, the
                                                 keep a record of the information                             determined to be nonrepairable.                       concentration of VOC in the gas in parts
                                                 specified in either paragraph (h)(3)(i) or                      (iv) ‘‘Repair delayed’’ and the reason             per million by volume and the resulting
                                                 (ii) of this section in addition to the                      for the delay if a leak is not repaired               mass emissions of VOC in pounds that
                                                 information specified in paragraph                           within 15 calendar days after discovery               bypass a control device. For periods
                                                 (h)(3)(iii) of this section.                                 of the leak.                                          when the flow indicator is not
                                                    (i) Hourly records of whether the flow                       (v) The name, initials, or other form              operating, report the start date, start
                                                 indicator specified under paragraph                          of identification of the owner or                     time, and duration in hours.

                                                                   TABLE 1 TO SUBPART RRRA OF PART 60—EMISSION LIMITS AND STANDARDS FOR VENT STREAMS
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                                                 For each. . .                                     You must. . .

                                                 1. Vent stream ................................   a. Reduce emissions of TOC (minus methane and ethane) by 98 weight-percent, or to a TOC (minus
                                                                                                     methane and ethane) concentration of 20 ppmv on a dry basis corrected to 3 percent oxygen by venting
                                                                                                     emissions through a closed vent system to any combination of non-flare control devices and/or recovery
                                                                                                     system and meet the requirements specified in § 60.703a and § 60.710a; or
                                                                                                   b. Reduce emissions of TOC (minus methane and ethane) by venting emissions through a closed vent
                                                                                                     system to a flare and meet the requirements specified in § 60.709a and § 60.710a.



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                                                    TABLE 2 TO SUBPART RRRa OF PART 60—MONITORING REQUIREMENTS FOR COMPLYING WITH 98 WEIGHT-PERCENT
                                                        REDUCTION OF TOTAL ORGANIC COMPOUNDS EMISSIONS OR A LIMIT OF 20 PARTS PER MILLION BY VOLUME
                                                                      Non-flare control device or recovery device                                                                             Parameters to be monitored

                                                 1. All control and recovery devices ..........................................................                a. Presence of flow diverted to the atmosphere from the control and re-
                                                                                                                                                                  covery device; or
                                                                                                                                                               b. Monthly inspections of sealed valves
                                                 2. Absorber ...............................................................................................   a. Exit temperature of the absorbing liquid; and
                                                                                                                                                               b. Exit specific gravity
                                                 3. Boiler or process heater with a design heat input capacity less than                                       Firebox temperature a
                                                   44 megawatts and vent stream is not introduced with or as the pri-
                                                   mary fuel.
                                                 4. Catalytic incinerator ..............................................................................       Temperature upstream and downstream of the catalyst bed
                                                 5. Carbon adsorber, regenerative ............................................................                 a. Total regeneration stream mass or volumetric flow during carbon
                                                                                                                                                                  bed regeneration cycle(s); and
                                                                                                                                                               b. Temperature of the carbon bed after regeneration [and within 15
                                                                                                                                                                  minutes of completing any cooling cycle(s)]
                                                 6. Carbon adsorber, non-regenerative or regenerated offsite .................                                 Breakthrough
                                                 7. Condenser ............................................................................................     Exit (product side) temperature
                                                 8. Scrubber for halogenated vent streams ...............................................                      a. pH of scrubber effluent;and
                                                                                                                                                               b. Scrubber liquid and gas flow rates
                                                 9. Thermal incinerator ..............................................................................         Firebox temperature a
                                                 10. Control devices other than an incinerator, boiler, process heater, or                                     As specified by the Administrator
                                                   flare; or recovery devices other than an absorber, condenser, or car-
                                                   bon adsorber.
                                                   a Monitor may be installed in the firebox or in the ductwork immediately downstream of the firebox before any substantial heat exchange is
                                                 encountered.

                                                         TABLE 3 TO SUBPART RRRa OF PART 60—OPERATING PARAMETERS, OPERATING PARAMETER LIMITS AND DATA
                                                                             MONITORING, RECORDKEEPING AND COMPLIANCE FREQUENCIES
                                                                                                                            And you must monitor, record, and demonstrate continuous compliance using these minimum
                                                         For the                                                                                                frequencies . . .
                                                  operating parameter                   You must establish
                                                  applicable to you, as               the following operating                                                                                                                     Data
                                                  specified in Table 2                  parameter limit . . .                                                                                           Data
                                                                                                                                               Data measurement                                                            averaging period for
                                                          . . .                                                                                                                                       recording                compliance

                                                                                                                                                     Absorbers

                                                 1. Exit temperature of               Maximum temperature                  Continuous .....................................................    Every 15 minutes .......   3-hour block average
                                                   the absorbing liquid.
                                                 2. Exit specific gravity             Exit specific gravity                Continuous .....................................................    Every 15 minutes .......   3-hour block average
                                                                                        range.

                                                                                                                Boilers or process heaters
                                                                          (with a design heat input capacity <44MW and vent stream is not introduced with or as the primary fuel)

                                                 3. Firebox tempera-                  Minimum firebox tem-                 Continuous .....................................................    Every 15 minutes .......   3-hour block average
                                                   ture.                                perature.

                                                                                                                                            Catalytic incinerators

                                                 4. Temperature in gas                Minimum temperature                  Continuous .....................................................    Every 15 minutes .......   3-hour block average
                                                   stream immediately
                                                   before the catalyst
                                                   bed.
                                                 5. Temperature dif-                  Minimum temperature                  Continuous .....................................................    Every 15 minutes .......   3-hour block average
                                                   ference between the                  difference.
                                                   catalyst bed inlet
                                                   and the catalyst bed
                                                   outlet.

                                                                                                                                               Carbon adsorbers
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                                                 6. Total regeneration                Minimum mass flow                    Continuously during regeneration ..................                 Every 15 minutes dur-      Total flow for each re-
                                                   stream mass flow                     during carbon bed                                                                                        ing regeneration           generation cycle
                                                   during carbon bed                    regeneration                                                                                             cycle.
                                                   regeneration                         cycle(s).
                                                   cycle(s).




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                                                       TABLE 3 TO SUBPART RRRa OF PART 60—OPERATING PARAMETERS, OPERATING PARAMETER LIMITS AND DATA
                                                                      MONITORING, RECORDKEEPING AND COMPLIANCE FREQUENCIES—Continued
                                                                                                            And you must monitor, record, and demonstrate continuous compliance using these minimum
                                                         For the                                                                                frequencies . . .
                                                  operating parameter            You must establish
                                                  applicable to you, as        the following operating                                                                                                            Data
                                                  specified in Table 2           parameter limit . . .                                                                                  Data
                                                                                                                              Data measurement                                                             averaging period for
                                                          . . .                                                                                                                       recording                compliance

                                                 7. Total regeneration         Minimum volumetric           Continuously during regeneration ..................                Every 15 minutes dur-      Total flow for each re-
                                                   stream volumetric             flow during carbon                                                                              ing regeneration           generation cycle
                                                   flow during carbon            bed regeneration                                                                                cycle.
                                                   bed regeneration              cycle(s).
                                                   cycle(s).
                                                 8. Temperature of the         Maximum temperature          Continuously during regeneration and for 15                        Every 15 minutes dur-      Average of regenera-
                                                   carbon bed after re-         of the carbon bed             minutes after completing any cooling                               ing regeneration           tion cycle
                                                   generation [and              after regeneration.           cycle(s).                                                          cycle (including any
                                                   within 15 minutes of                                                                                                          cooling cycle).
                                                   completing any
                                                   cooling cycle(s)].
                                                 9. Breakthrough .........     As defined in                As required by § 60.703a(a)(6)(iii)(B) .............               Each monitoring event      N/A
                                                                                 § 60.701a.

                                                                                                                                  Condensers

                                                 10. Exit (product side)       Maximum temperature          Continuous .....................................................   Every 15 minutes .......   3-hour block average
                                                   temperature.

                                                                                                             Scrubbers for halogenated vent streams

                                                 11. pH of scrubber ef-        Minimum pH ...............   Continuous .....................................................   Every 15 minutes .......   3-hour block average
                                                   fluent.
                                                 12. Influent liquid flow      Minimum inlet liquid         Continuous .....................................................   Every 15 minutes .......   3-hour block average
                                                                                 flow.
                                                 13. Influent liquid flow      Minimum influent liq-        Continuous .....................................................   Every 15 minutes .......   3-hour block average
                                                   rate and gas stream           uid-to-gas ratio.
                                                   flow rate.

                                                                                                                            Thermal incinerators

                                                 14. Firebox tempera-          Minimum firebox tem-         Continuous .....................................................   Every 15 minutes .......   3-hour block average
                                                   ture.                         perature.

                                                   Control devices other than an incinerator, boiler, process heater, or flare; or recovery devices other than an absorber, condenser, or
                                                                                                              carbon adsorber

                                                 15. As specified by           As specified by the          As specified by the Administrator ..................               As specified by the        As specified by the
                                                   the Administrator.            Administrator.                                                                                  Administrator.             Administrator


                                                     TABLE 4 TO SUBPART RRRa OF PART 60—CALIBRATION AND QUALITY CONTROL REQUIREMENTS FOR CONTINUOUS
                                                                                  PARAMETER MONITORING SYSTEM (CPMS)
                                                 If you monitor this parameter         Your accuracy requirements are . . .                                        And your calibration requirements are . . .
                                                 . . .

                                                 1. Temperature ....................   a. ±1 percent over the normal range of temperature                          c. Performance evaluation annually and following any
                                                                                         measured or 2.8 degrees Celsius (5 degrees Fahr-                            period of more than 24 hours throughout which the
                                                                                         enheit), whichever is greater, for non-cryogenic tem-                       temperature exceeded the maximum rated tempera-
                                                                                         perature ranges.                                                            ture of the sensor, or the data recorder was off scale.
                                                                                       b. ±2.5 percent over the normal range of temperature                        d. Visual inspections and checks of CPMS operation
                                                                                         measured or 2.8 degrees Celsius (5 degrees Fahr-                            every 3 months, unless the CPMS has a redundant
                                                                                         enheit), whichever is greater, for cryogenic tempera-                       temperature sensor.
                                                                                         ture ranges.                                                              e. Selection of a representative measurement location.
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                                                      TABLE 4 TO SUBPART RRRa OF PART 60—CALIBRATION AND QUALITY CONTROL REQUIREMENTS FOR CONTINUOUS
                                                                              PARAMETER MONITORING SYSTEM (CPMS)—Continued
                                                 If you monitor this parameter                  Your accuracy requirements are . . .                                               And your calibration requirements are . . .
                                                 . . .

                                                 2. Flow Rate .........................         a. ±5 percent over the normal range of flow measured                               d. Performance evaluation annually and following any
                                                                                                  or 1.9 liters per minute (0.5 gallons per minute),                                  period of more than 24 hours throughout which the
                                                                                                  whichever is greater, for liquid flow rate.                                         flow rate exceeded the maximum rated flow rate of
                                                                                                b. ±5 percent over the normal range of flow measured                                  the sensor, or the data recorder was off scale.
                                                                                                  or 280 liters per minute (10 cubic feet per minute),                             e. Checks of all mechanical connections for leakage
                                                                                                  whichever is greater, for gas flow rate.                                            monthly.
                                                                                                c. ±5 percent over the normal range measured for                                   f. Visual inspections and checks of CPMS operation
                                                                                                  mass flow rate.                                                                     every 3 months, unless the CPMS has a redundant
                                                                                                                                                                                      flow sensor.
                                                                                                                                                                                   g. Selection of a representative measurement location
                                                                                                                                                                                      where swirling flow or abnormal velocity distributions
                                                                                                                                                                                      due to upstream and downstream disturbances at the
                                                                                                                                                                                      point of measurement are minimized.
                                                 pH .........................................   a. ±0.2 pH units ...............................................................   b. Performance evaluation annually. Conduct a two-
                                                                                                                                                                                      point calibration with one of the two buffer solutions
                                                                                                                                                                                      having a pH within 1 of the pH of the operating limit.
                                                                                                                                                                                   c. Visual inspections and checks of CPMS operation
                                                                                                                                                                                      every 3 months, unless the CPMS has a redundant
                                                                                                                                                                                      pH sensor.
                                                                                                                                                                                   d. Select a measurement location that provides a rep-
                                                                                                                                                                                      resentative sample of scrubber effluent and that en-
                                                                                                                                                                                      sures the fluid is properly mixed.
                                                 4. Specific Gravity ................           a. ±0.02 specific gravity units .........................................          b. Performance evaluation annually.
                                                                                                                                                                                   c. Visual inspections and checks of CPMS operation
                                                                                                                                                                                      every 3 months, unless the CPMS has a redundant
                                                                                                                                                                                      specific gravity sensor.
                                                                                                                                                                                   d. Select a measurement location that provides a rep-
                                                                                                                                                                                      resentative sample of specific gravity of the absorb-
                                                                                                                                                                                      ing liquid effluent and that ensures the fluid is prop-
                                                                                                                                                                                      erly mixed.



                                                 PART 63—NATIONAL EMISSION                                               Agency (EPA) must publish a document                                 (iii) GlobalSpec, 257 Fuller Road,
                                                 STANDARDS FOR HAZARDOUS AIR                                             in the Federal Register and the material                           Suite NFE 1100, Albany, NY 12203–
                                                 POLLUTANTS FOR SOURCE                                                   must be available to the public. All                               3621; phone: (800) 261–2052; website:
                                                 CATEGORIES                                                              approved incorporation by reference                                https://standards.globalspec.com.
                                                                                                                         (IBR) material is available for inspection                           (iv) Nimonik Document Center, 401
                                                 ■ 40. The authority citation for part 63                                at the EPA and at the National Archives                            Roland Way, Suite 224, Oakland, CA,
                                                 continues to read as follows:                                           and Records Administration (NARA).                                 94624; phone (650) 591–7600; email:
                                                    Authority: 42 U.S.C. 7401 et seq.                                    Contact the EPA at: EPA Docket Center,                             info@document-center.com; website:
                                                                                                                         Public Reading Room, EPA WJC West,                                 www.document-center.com.
                                                 Subpart A—General Provisions                                            Room 3334, 1301 Constitution Ave. NW,                                (v) Techstreet, phone: (855) 999–9870;
                                                                                                                         Washington, DC; phone: (202) 566–                                  email: store@techstreet.com; website:
                                                 ■ 41. Amend § 63.14 by:                                                 1744. For information on the availability                          www.techstreet.com.
                                                 ■ a. Revising paragraphs (a), (c), and (f),                             of this material at NARA, visit                                    *      *    *    *     *
                                                 and (i) introductory text;                                              www.archives.gov/federal-register/cfr/                               (c) American Petroleum Institute
                                                 ■ b. Redesignating paragraphs (i)(33)
                                                                                                                         ibr-locations or email fr.inspection@                              (API), 200 Massachusetts Ave. NW,
                                                 through (91) as (i)(34) through (92);                                   nara.gov.
                                                 ■ c. Adding new paragraph (i)(33);
                                                                                                                                                                                            Suite 1100, Washington, DC 20001;
                                                                                                                            (2) The IBR material may be obtained                            phone: (202) 682–8000; website:
                                                 ■ d. Revising newly redesignated
                                                                                                                         from the sources in the following                                  www.api.org.
                                                 paragraphs (i)(89) and (96);
                                                                                                                         paragraphs of this section or from one                               (1) API Publication 2517, Evaporative
                                                 ■ e. Removing note 1 to paragraph (i);
                                                 ■ f. Revising and republishing
                                                                                                                         or more private resellers listed in this                           Loss from External Floating-Roof Tanks,
                                                 paragraph (o); and                                                      paragraph (a)(2). For material that is no                          Third Edition, February 1989; IBR
                                                 ■ g. Revising paragraph (u).
                                                                                                                         longer commercially available, contact:                            approved for §§ 63.111; 63.1402;
                                                   The revisions, addition, and                                          the EPA (see paragraph (a)(1) of this                              63.2406; 63.7944.
                                                 republication read as follows:                                          section).                                                            (2) API Publication 2518, Evaporative
                                                                                                                            (i) Accuris Standards Store, 321                                Loss from Fixed-roof Tanks, Second
                                                 § 63.14       Incorporations by reference.                              Inverness Drive, South Englewood, CO,                              Edition, October 1991; IBR approved for
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                                                   (a)(1) Certain material is incorporated                               80112; phone: (800) 332–6077; website:                             § 63.150(g).
                                                 by reference into this part with the                                    https://store.accuristech.com.                                       (3) API Manual of Petroleum
                                                 approval of the Director of the Federal                                    (ii) American National Standards                                Measurement Specifications (MPMS)
                                                 Register under 5 U.S.C. 552(a) and 1                                    Institute (ANSI), 25 West 43rd Street,                             Chapter 19.2 (API MPMS 19.2),
                                                 CFR part 51. To enforce any edition                                     Fourth Floor, New York, NY 10036–                                  Evaporative Loss From Floating-Roof
                                                 other than that specified in this section,                              7417; phone: (212) 642–4980; email:                                Tanks, First Edition, April 1997; IBR
                                                 the U.S. Environmental Protection                                       info@ansi.org; website: www.ansi.org.                              approved for §§ 63.1251; 63.12005.


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                                                    (4) API Manual of Petroleum                          63.150(g); 63.180(d); 63.482(b);                      IBR approved for table 6 to subpart
                                                 Measurement Specifications (MPMS)                       63.485(t); 63.488(b); 63.490(c) and (e);              DDDDD.
                                                 Chapter 19.2 (API MPMS 19.2),                           63.496(b); 63.500(c); 63.501(a); 63.502(j);              (9) EPA Method 200.8, Determination
                                                 Evaporative Loss From Floating-Roof                     63.503(a) and(g); 63.525(a) and (e);                  of Trace Elements in Waters and Wastes
                                                 Tanks, Fourth Edition, August 2020; IBR                 63.987(b); 63.997(e); 63.2354(b;, table 5             by Inductively Coupled Plasma—Mass
                                                 approved for § 63.101(b).                               to subpart EEEE; §§ 63.2450(j);                       Spectrometry, Revision 5.4, 1994; IBR
                                                 *      *    *     *      *                              63.8000(d).                                           approved for table 6 to subpart DDDDD.
                                                    (f) American Society of Mechanical                   *     *     *     *    *                                 (10) In EPA Publication No. SW–846,
                                                 Engineers (ASME), Two Park Avenue,                        (o) U.S. Environmental Protection                   Test Methods for Evaluating Solid
                                                 New York, NY 10016–5990; phone:                         Agency (EPA), 1200 Pennsylvania                       Waste, Physical/Chemical Methods
                                                 (800) 843–2763; email: CustomerCare@                    Avenue NW, Washington, DC 20460;                      (Available from: www.epa.gov/hw-
                                                 asme.org; website: www.asme.org.                        phone: (202) 272–0167; website:                       sw846/sw-846-compendium):
                                                    (1) ANSI/ASME PTC 19.10–1981,                        www.epa.gov/aboutepa/forms/contact-                      (i) SW–846–0011, Sampling for
                                                 Flue and Exhaust Gas Analyses [Part 10,                 epa.                                                  Selected Aldehyde and Ketone
                                                 Instruments and Apparatus], issued                        (1) EPA–453/R–08–002, Protocol for                  Emissions from Stationary Sources,
                                                 August 31, 1981, IBR approved for                       Determining the Daily Volatile Organic                Revision 0, December 1996; IBR
                                                 §§ 63.116(c) and (h); 63.128(a);                        Compound Emission Rate of                             approved for table 4 to subpart DDDD.
                                                 63.145(i); 63.309(k); 63.365(b);                        Automobile and Light-Duty Truck                          (ii) SW–846–3020A, Acid Digestion of
                                                 63.457(k); 63.490(g); 63.772(e) and (h);                Primer-Surfacer and Topcoat, published                Aqueous Samples And Extracts For
                                                 63.865(b); 63.997(e); 63.1282(d) and (g);               September 2008; IBR approved for                      Total Metals For Analysis By GFAA
                                                 63.1625(b); table 5 to subpart EEEE;                    §§ 63.3130(c); 63.3161(d) and (g);                    Spectroscopy, Revision 1, July 1992; IBR
                                                 §§ 63.3166(a); 63.3360(e); 63.3545(a);                  63.3165(e); appendix A to subpart IIII.               approved for table 6 to subpart DDDDD;
                                                 63.3555(a); 63.4166(a); 63.4362(a);                       (2) EPA–453/R–01–005, National                      table 5 to subpart JJJJJJ.
                                                 63.4766(a); 63.4965(a); 63.5160(d); table               Emission Standards for Hazardous Air                     (iii) SW–846–3050B, Acid Digestion
                                                 4 to subpart UUUU; table 3 to subpart                   Pollutants (NESHAP) for Integrated Iron               of Sediments, Sludges, and Soils,
                                                 YYYY; §§ 63.7822(b); 63.7824(e);                        and Steel Plants—Background                           Revision 2, December 1996; IBR
                                                 63.7825(b); 63.8000(d); 63.9307(c);                     Information for Proposed Standards,                   approved for table 6 to subpart DDDDD;
                                                 63.9323(a); 63.9621(b) and (c);                         Final Report, January 2001; IBR                       table 5 to subpart JJJJJJ.
                                                 63.11148(e); 63.11155(e); 63.11162(f);                  approved for § 63.7491(g).                               (iv) SW–846–5030B, Purge-And-Trap
                                                 63.11163(g); 63.11410(j); 63.11551(a);                    (3) EPA–454/B–08–002, Quality                       For Aqueous Samples, Revision 2,
                                                 63.11646(a); 63.11945; table 4 to subpart               Assurance Handbook for Air Pollution                  December 1996; IBR approved for
                                                 AAAAA; table 5 to subpart DDDDD;                        Measurement Systems; Volume IV:                       §§ 63.109(b), (c), (d), and (e); 63.509(b)
                                                 table 4 to subpart JJJJJ; table 4 to subpart            Meteorological Measurements, Version                  and (c); 63.2492(b) and (c).
                                                 KKKKK; table 4 to subpart SSSSS; tables                 2.0 (Final), Issued March 2008; IBR                      (v) SW–846–5031, Volatile,
                                                 4 and 5 to subpart UUUUU; table 1 to                    approved for §§ 63.184(c); 63.7792(b).                Nonpurgeable, Water-Soluble
                                                 subpart ZZZZZ; table 4 to subpart JJJJJJ.                 (4) EPA–454/R–98–015, Office of Air                 Compounds by Azeotropic Distillation,
                                                    (2) [Reserved]                                       Quality Planning and Standards                        Revision 0, December 1996; IBR
                                                 *      *    *     *      *                              (OAQPS), Fabric Filter Bag Leak                       approved for §§ 63.109(b), (c), (d), and
                                                    (i) ASTM International, 100 Barr                     Detection Guidance, September 1997;                   (e); 63.509(b) and (c); 63.2492(b) and (c).
                                                 Harbor Drive, P.O. Box CB700, West                      IBR approved for §§ 63.548(e); 63.864(e);                (vi) SW–846–7470A, Mercury In
                                                 Conshohocken, Pennsylvania 19428–                       63.7525(j); 63.8450(e); 63.8600(e);                   Liquid Waste (Manual Cold-Vapor
                                                 2959; phone: (800) 262–1373; website:                   63.9632(a); 63.9804(f); 63.11224(f);                  Technique), Revision 1, September
                                                 www.astm.org.                                           63.11423(e). (Available at: https://                  1994; IBR approved for table 6 to
                                                 *      *    *     *      *                              nepis.epa.gov/Exe/ZyPDF.cgi?Dockey=                   subpart DDDDD; table 5 to subpart JJJJJJ.
                                                    (33) ASTM D2879–23, Standard Test                    2000D5T6.pdf).                                           (vii) SW–846–7471B, Mercury In
                                                 Method for Vapor Pressure-Temperature                     (5) EPA–454/R–99–005, Office of Air                 Solid Or Semisolid Waste (Manual
                                                 Relationship and Initial Decomposition                  Quality Planning and Standards                        Cold-Vapor Technique), Revision 2,
                                                 Temperature of Liquids by Isoteniscope,                 (OAQPS), Meteorological Monitoring                    February 2007; IBR approved for table 6
                                                 approved December 1, 2023; IBR                          Guidance for Regulatory Modeling                      to subpart DDDDD; table 5 to subpart
                                                 approved for § 63.101(b).                               Applications, February 2000; IBR                      JJJJJJ.
                                                 *      *    *     *      *                              approved for appendix A to this part.                    (viii) SW–846–8015C,
                                                    (89) ASTM D6348–12 (Reapproved                         (6) EPA/600/R–12/531, EPA                           Nonhalogenated Organics by Gas
                                                 2020), Standard Test Method for                         Traceability Protocol for Assay and                   Chromatography, Revision 3, February
                                                 Determination of Gaseous Compounds                      Certification of Gaseous Calibration                  2007; IBR approved for §§ 63.11960;
                                                 by Extractive Direct Interface Fourier                  Standards, May 2012; IBR approved for                 63.11980; table 10 to subpart
                                                 Transform Infrared (FTIR) Spectroscopy,                 § 63.2163(b).                                         HHHHHHH.
                                                 approved December 1, 2020; IBR                            (7) EPA–625/3–89–016, Interim                          (ix) SW–846–8260B, Volatile Organic
                                                 approved for §§ 63.109(a); 63.365(b);                   Procedures for Estimating Risks                       Compounds by Gas Chromatography/
                                                 63.509(a); 63.7825(g) and (h).                          Associated with Exposures to Mixtures                 Mass Spectrometry (GC/MS), Revision
                                                 *      *    *     *      *                              of Chlorinated Dibenzo-p-Dioxins and                  2, December 1996; IBR approved for
                                                    (96) ASTM D6420–18, Standard Test                    –Dibenzofurans (CDDs and CDFs) and                    §§ 63.1107(a); 63.11960; 63.11980; table
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                                                 Method for Determination of Gaseous                     1989 Update, March 1989; IBR approved                 10 to subpart HHHHHHH.
                                                 Organic Compounds by Direct Interface                   for § 63.1513(d).                                        (x) SW–846–8260D, Volatile Organic
                                                 Gas Chromatography-Mass                                   (8) EPA–821–R–02–019, Method 1631                   Compounds By Gas Chromatography/
                                                 Spectrometry, approved November 1,                      Revision E, Mercury in Water by                       Mass Spectrometry, Revision 4, June
                                                 2018; IBR approved for §§ 63.101(b);                    Oxidation, Purge and Trap, and Cold                   2018; IBR approved for §§ 63.109(b), (c),
                                                 63.115(g); 63.116(c); 63.126(d);                        Vapor Atomic Absorption Fluorescence                  (d), and (e); 63.509(b) and (c); 63.2492(b)
                                                 63.128(a); 63.139(c); 63.145(d) and (i);                Spectrometry, Revision E, August 2002;                and (c).


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                                                    (xi) SW–846–8270D, Semivolatile                      63.2525(r); 63.11920. (Available from:                receivers within a source). If specific
                                                 Organic Compounds by Gas                                www.tceq.texas.gov/downloads/                         items of equipment, comprising part of
                                                 Chromatography/Mass Spectrometry                        compliance/investigations/assistance/                 a chemical manufacturing process unit
                                                 (GC/MS), Revision 4, February 2007;                     samplingappp.pdf).                                    subject to this subpart, are managed by
                                                 IBR approved for §§ 63.1107(a);                           (2) [Reserved]                                      different administrative organizations
                                                 63.11960; 63.11980; table 10 to subpart                 ■ 42. Revise the heading of subpart F to              (e.g., different companies, affiliates,
                                                 HHHHHHH.                                                read as follows:                                      departments, divisions, etc.), those
                                                    (xii) SW–846–8315A, Determination                                                                          items of equipment may be aggregated
                                                 of Carbonyl Compounds by High                           Subpart F—National Emission                           with any chemical manufacturing
                                                 Performance Liquid Chromatography                       Standards for Hazardous Air Pollutants                process unit within the source for all
                                                 (HPLC), Revision 1, December 1996; IBR                  From the Synthetic Organic Chemical                   purposes under subpart H, providing
                                                 approved for §§ 63.11960; 63.11980;                     Manufacturing Industry                                there is no delay in the applicable
                                                 table 10 to subpart HHHHHHH.                                                                                  compliance date in § 63.100(k).
                                                                                                         ■ 43. Amend § 63.100 by:
                                                    (xiii) SW–846–5050, Bomb                                                                                      (f) * * *
                                                                                                         ■ a. Revising paragraphs (a), (e)(1) and
                                                 Preparation Method for Solid Waste,                                                                              (8) Except for storage vessels in
                                                 Revision 0, September 1994; IBR                         (3), (f)(8) and (11), (j)(3), (k) introductory        ethylene oxide service, vessels storing
                                                 approved for table 6 to subpart DDDDD.                  text, (k)(4) introductory text, (k)(5)(ii),           organic liquids that contain organic
                                                    (xiv) SW–846–6010C, Inductively                      and (k)(6)(i);                                        hazardous air pollutants only as
                                                                                                         ■ b. Adding paragraphs (k)(10) through
                                                 Coupled Plasma-Atomic Emission                                                                                impurities;
                                                                                                         (12);
                                                 Spectrometry, Revision 3, February                                                                            *       *     *    *     *
                                                                                                         ■ c. Revising paragraphs (l)(1)(iii),
                                                 2007; IBR approved for table 6 to                                                                                (11) Equipment that is intended to
                                                                                                         (l)(4)(ii)(B), (m) introductory text, (q)
                                                 subpart DDDDD.                                                                                                operate in organic hazardous air
                                                                                                         introductory text, (q)(3), and (q)(4)(i)
                                                    (xv) SW–846–6020A, Inductively                                                                             pollutant service, as defined in § 63.101,
                                                                                                         introductory text;
                                                 Coupled Plasma-Mass Spectrometry,                       ■ d. Adding paragraph (q)(4)(iii); and                for less than 300 hours during the
                                                 Revision 1, February 2007; IBR                          ■ e. Revising paragraph (q)(5).                       calendar year.
                                                 approved for table 6 to subpart DDDDD.                     The revisions and additions read as                *       *     *    *     *
                                                    (xvi) SW–846–7060A, Arsenic                          follows:                                                 (j) * * *
                                                 (Atomic Absorption, Furnace                                                                                      (3) Ethylene production units,
                                                 Technique), Revision 1, September                       § 63.100   Applicability and designation of
                                                                                                         source.
                                                                                                                                                               regardless of whether the units supply
                                                 1994; IBR approved for table 6 to                                                                             feedstocks that include chemicals listed
                                                 subpart DDDDD.                                             (a) This subpart provides applicability            in table 1 of this subpart to chemical
                                                    (xvii) SW–846–7740, Selenium                         provisions, definitions, and other                    manufacturing process units that are
                                                 (Atomic Absorption, Furnace                             general provisions that are applicable to             subject to the provisions of subpart F, G,
                                                 Technique), Revision 0, September                       subparts G and H of this part. This                   or H of this part.
                                                 1986; IBR approved for table 6 to                       subpart also provides requirements for
                                                 subpart DDDDD.                                          certain heat exchange systems,                        *       *     *    *     *
                                                    (xviii) SW–846–9056, Determination                   maintenance wastewater, and flares.                      (k) Except as provided in paragraphs
                                                 of Inorganic Anions by Ion                                                                                    (l), (m), and (p) of this section, sources
                                                                                                         *      *     *     *    *                             subject to subpart F, G, or H of this part
                                                 Chromatography, Revision 1, February                       (e) * * *
                                                 2007; IBR approved for table 6 to                                                                             are required to achieve compliance on
                                                                                                            (1) This subpart applies to
                                                 subpart DDDDD.                                                                                                or before the dates specified in
                                                                                                         maintenance wastewater and heat
                                                    (xix) SW–846–9076, Test Method for                                                                         paragraphs (k)(1) through (8) and (10)
                                                                                                         exchange systems within a source that
                                                 Total Chlorine in New and Used                                                                                and (11) of this section.
                                                                                                         is subject to this subpart; and also
                                                 Petroleum Products by Oxidative                         applies to flares used to reduce organic              *       *     *    *     *
                                                 Combustion and Microcoulometry,                         HAP emissions from a source.                             (4) Existing chemical manufacturing
                                                 Revision 0, September 1994; IBR                                                                               process units in Groups I and II as
                                                                                                         *      *     *     *    *
                                                 approved for table 6 to subpart DDDDD.                     (3) This subpart and subpart H of this             identified in table 1 of this subpart shall
                                                    (xx) SW–846–9250, Chloride                           part apply to pumps, compressors,                     be in compliance with the requirements
                                                 (Colorimetric, Automated Ferricyanide                   agitators, pressure relief devices,                   of § 63.164 no later than May 10, 1995,
                                                 AAI), Revision 0, September 1986; IBR                   sampling connection systems, open-                    for any compressor meeting one or more
                                                 approved for table 6 to subpart DDDDD.                  ended valves or lines, valves,                        of the criteria in paragraphs (k)(4)(i)
                                                 *      *     *     *    *                               connectors, instrumentation systems,                  through (iv) of this section, if the work
                                                    (u) Texas Commission on                              surge control vessels, and bottoms                    can be accomplished without a process
                                                 Environmental Quality (TCEQ) Library,                   receivers within a source that is subject             unit shutdown, as defined in § 63.101.
                                                 Post Office Box 13087, Austin, Texas                    to this subpart. Subpart H also contains              *       *     *    *     *
                                                 78711–3087; phone: (512) 239–0028;                      fenceline monitoring requirements that                   (5) * * *
                                                 email: info@www.tceq.texas.gov;                         apply to all emission sources (i.e.,                     (ii) The work can be accomplished
                                                 website: www.tceq.texas.gov.                            maintenance wastewater, heat exchange                 without a process unit shutdown as
                                                    (1) ‘‘Air Stripping Method (Modified                 systems, process vents, storage vessels,              defined in § 63.101;
                                                 El Paso Method) for Determination of                    transfer racks, equipment identified in               *       *     *    *     *
                                                 Volatile Organic Compound Emissions                     § 63.149, wastewater streams and                         (6)(i) If compliance with the
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                                                 from Water Sources,’’ Revision Number                   associated treatment residuals within a               compressor provisions of § 63.164
                                                 One, dated January 2003, Sampling                       source, and pumps, compressors,                       cannot reasonably be achieved without
                                                 Procedures Manual, Appendix P:                          agitators, pressure relief devices,                   a process unit shutdown, as defined in
                                                 Cooling Tower Monitoring, January 31,                   sampling connection systems, open-                    § 63.101, the owner or operator shall
                                                 2003; IBR approved for §§ 63.104(f) and                 ended valves or lines, valves,                        achieve compliance no later than April
                                                 (g); 63.654(c) and (g); 63.655(i);                      connectors, instrumentation systems,                  22, 1996, except as provided for in
                                                 63.1086(e); 63.1089; 63.2490(d);                        surge control vessels, and bottoms                    paragraph (k)(6)(ii) of this section. The


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                                                 owner or operator who elects to use this                systems, and table 20 to subpart G of                 Administrator’s satisfaction, the owner
                                                 provision shall comply with the                         this part, item (8)(iii).                             or operator shall follow the procedures
                                                 requirements of § 63.103(g).                               (11) All affected sources that                     in paragraphs (m)(1) through (3) of this
                                                 *      *     *     *      *                             commenced construction or                             section to establish a compliance date.
                                                   (10) All affected sources that                        reconstruction on or before April 25,                 *      *      *     *     *
                                                 commenced construction or                               2023, must be in compliance with the                     (m) If a change that does not meet the
                                                 reconstruction on or before April 25,                   ethylene oxide requirements in                        criteria in paragraph (l)(4) of this section
                                                 2023, must be in compliance with the                    §§ 63.104(k), 63.109, 63.113(j),                      is made to a chemical manufacturing
                                                 requirements listed in paragraphs                       63.119(a)(5), 63.120(d)(9), 63.124,                   process unit subject to subparts F and G
                                                 (k)(10)(i) through (viii) of this section               63.163(a)(1)(iii), (b)(2)(iv), (c)(4), and            of this part, and the change causes a
                                                 upon initial startup or on July 15, 2027,               (e)(7), 63.168(b)(2)(iv) and (d)(5),                  Group 2 emission point to become a
                                                 whichever is later. All affected sources                63.171(f), and 63.174(a)(3), (b)(3)(vi),              Group 1 emission point (as defined in
                                                 that commenced construction or                          (b)(5), and (g)(3), upon initial startup or           § 63.101), then the owner or operator
                                                 reconstruction after April 25, 2023,                    on July 15, 2026, whichever is later. All             shall comply with the requirements of
                                                 must be in compliance with the                          affected sources that commenced                       subpart G of this part for the Group 1
                                                 requirements listed in paragraphs                       construction or reconstruction after                  emission point as expeditiously as
                                                 (k)(10)(i) through (viii) of this section               April 25, 2023, must be in compliance                 practicable, but in no event later than 3
                                                 upon initial startup, or on July 15, 2024,              with the ethylene oxide requirements                  years after the emission point becomes
                                                 whichever is later.                                     listed in §§ 63.104(k), 63.109, 63.113(j),            Group 1.
                                                   (i) The general requirements specified                63.119(a)(5), 63.120(d)(9), § 63.124,                 *      *      *     *     *
                                                 in paragraph (q)(4)(iii) of this section,               63.163(a)(1)(iii), (b)(2)(iv), (c)(4), and               (q) If the owner or operator of a
                                                 §§ 63.102(e) and (f), 63.103(b)(1),                     (e)(7), 63.168(b)(2)(iv) and (d)(5),                  process vent, or of a gas stream
                                                 (b)(3)(ii), and (c)(2)(iv), 63.107(j),                  § 63.171(f), and 63.174(a)(3), (b)(3)(vi),            transferred subject to § 63.113(i), is
                                                 63.108, 63.110(h)(2) and (j)(1), and                    (b)(5), and (g)(3), upon initial startup or           unable to comply with the provisions of
                                                 § 63.148(f)(4), (i)(3)(iii), and (j)(4).                on July 15, 2024, whichever is later.                 §§ 63.113 through 63.118 by the
                                                   (ii) For heat exchange systems, the                      (12) All affected sources that                     applicable compliance date specified in
                                                 requirements specified in § 63.104(a)(3)                commenced construction or                             paragraph (k), (l), or (m) of this section
                                                 and (a)(4)(v) (g), (h), (i), (j), and (l).              reconstruction on or before April 25,                 for the reasons stated in paragraph
                                                   (iii) For process vents, the                          2023, must commence fenceline                         (q)(1), (3), or (5) of this section, the
                                                 requirements specified in                               monitoring according to the                           owner or operator shall comply with the
                                                 §§ 63.113(a)(4) and (5), (k), and (l),                  requirements in § 63.184 by no later                  applicable provisions in §§ 63.113
                                                 63.114(a)(5)(v) and (d)(3), 63.115(g),                  than July 15, 2026, however                           through 63.118 as expeditiously as
                                                 63.116(g), 63.117(g), and 63.118(f)(7)                  requirements for corrective actions are               practicable, but in no event later than
                                                 and (n).                                                not required until on or after July 15,               the date approved by the Administrator
                                                   (iv) For storage vessels, the                         2027. All affected sources that                       pursuant to paragraph (q)(2), (4), or (6)
                                                 requirements specified in                               commenced construction or                             of this section, respectively. For
                                                 §§ 63.119(a)(6), 63.119(b)(5)(ix) through               reconstruction after April 25, 2023,                  requests under paragraph (q)(1) or (3) of
                                                 (xii), 63.119(b)(7), 63.119(f)(3)(iv),                  must be in compliance with the                        this section, the date approved by the
                                                 63.120(d)(1)(iii), and footnotes b and c                fenceline monitoring requirements                     Administrator may be earlier than, and
                                                 of tables 5 and 6 to subpart G of this                  listed in § 63.184 upon initial startup, or           shall not be later than, the later of
                                                 part. For pressure vessels, the                         on July 15, 2024, whichever is later.                 January 22, 2004, or 3 years after the
                                                 requirements specified in                                  (l) * * *                                          transferee’s refusal to accept the stream
                                                 §§ 63.119(a)(7), 63.122(j), and 63.123(b).                 (1) * * *                                          for disposal. For requests submitted
                                                   (v) For transfer operations, the                         (iii) The addition has the potential to            under paragraph (q)(5) of this section,
                                                 requirements specified in                               emit 10 tons per year or more of any                  the date approved by the Administrator
                                                 §§ 63.126(h)(1), 63.127(b)(4) and (d)(3),               HAP or 25 tons per year or more of any                may be earlier than, and shall not be
                                                 and 63.130(a)(2)(iv), (b)(3), and (d)(7).               combination of HAP’s, unless the                      later than, 3 years after the date of
                                                   (vi) For process wastewater, the                      Administrator establishes a lesser                    publication of the amendments to this
                                                 requirements specified in                               quantity.                                             subpart or to subpart G of this part
                                                 §§ 63.132(a)(2)(i)(C) and (b)(3)(i)(C),                 *       *    *     *      *                           which created the need for an extension
                                                 63.135(b)(4), 63.139(d)(5), and                            (4) * * *                                          of the compliance.
                                                 63.145(a)(10).                                             (ii) * * *                                         *      *      *     *     *
                                                   (vii) For equipment leaks and                            (B) If a deliberate operational process               (3) Except as specified in paragraph
                                                 pressure relief devices, the requirements               change to an existing chemical                        (q)(4)(iii) of this section, if the owner or
                                                 specified in §§ 63.165(a) and (e),                      manufacturing process unit causes a                   operator has been sending the gas
                                                 63.170(b), 63.172(j)(4), 63.181(g)(3)(iii),             Group 2 emission point to become a                    stream for disposal as described in
                                                 and 63.182(d)(2)(xix).                                  Group 1 emission point, if a surge                    § 63.113(i) to a transferee who had
                                                   (viii) The other notification, reports,               control vessel or bottoms receiver                    submitted a written certification as
                                                 and records requirements specified in                   becomes subject to § 63.170, or if a                  described in § 63.113(i)(2), and the
                                                 § 63.152(c)(2)(ii)(F), table 3 to subpart G             compressor becomes subject to § 63.164,               transferee revokes its written
                                                 of this part, item 3 in column 3 for                    the owner or operator shall be in                     certification, the owner or operator shall
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                                                 presence of flow and monthly                            compliance upon initial start-up or by 3              comply with paragraphs (q)(4)(i) and (ii)
                                                 inspections of sealed valves for all                    years after April 22, 1994, whichever is              of this section. During the period
                                                 control devices, table 7 to subpart G of                later, unless the owner or operator                   between the date when the owner or
                                                 this part, item 3 in column 3 for                       demonstrates to the Administrator that                operator receives notice of revocation of
                                                 presence of flow and monthly                            achieving compliance will take longer                 the transferee’s written certification and
                                                 inspections of sealed valves for all                    than making the change. If this                       the compliance date established under
                                                 control devices and vapor balancing                     demonstration is made to the                          paragraph (q)(4) of this section, the


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                                                 owner or operator shall implement, to                   source in combination with one or more                pumps, etc.) configured to produce a
                                                 the extent reasonably available,                        organic reactants to produce one or                   specific product or intermediate by a
                                                 measures to prevent or minimize excess                  more organic compounds. Air oxidation                 batch process.
                                                 emissions to the extent practical. For                  reactor includes the product separator                   Bench-scale batch process means a
                                                 purposes of this paragraph (q)(3), the                  and any associated vacuum pump or                     batch process (other than a research and
                                                 term ‘‘excess emissions’’ means                         steam jet.                                            development facility) that is operated on
                                                 emissions in excess of those that would                    Ancillary activities means boilers and             a small scale, such as one capable of
                                                 have occurred if the transferee had                     incinerators (not used to comply with                 being located on a laboratory bench top.
                                                 continued managing the gas stream in                    the emission limits of subparts F, G, and             This bench-scale equipment will
                                                 compliance with the requirements in                     H of this part), chillers and refrigeration           typically include reagent feed vessels, a
                                                 §§ 63.113 through 63.118. The measures                  systems, and other equipment and                      small reactor and associated product
                                                 to be taken shall be identified in the                  activities that are not directly involved             separator, recovery and holding
                                                 applicable startup, shutdown, and                       (i.e., they operate within a closed                   equipment. These processes are only
                                                 malfunction plan. If the measures that                  system and materials are not combined                 capable of producing small quantities of
                                                 can be reasonably taken will change                     with process fluids) in the processing of             product.
                                                 over time, so that a more effective                     raw materials or the manufacturing of a                  Boiler means any enclosed
                                                 measure which could not reasonably be                   product or isolated intermediate.                     combustion device that extracts useful
                                                 taken initially would be reasonable at a                   Annual average concentration, as                   energy in the form of steam and is not
                                                 later date, the Administrator may                       used in the wastewater provisions,                    an incinerator. Boiler also means any
                                                 require the more effective measure by a                 means the flow-weighted annual                        industrial furnace as defined in 40 CFR
                                                 specified date (in addition to or instead               average concentration, as determined                  260.10.
                                                 of any other measures taken sooner or                   according to the procedures specified in                 Bottoms receiver means a tank that
                                                 later than that date) as a condition of                 § 63.144(b).                                          collects distillation bottoms before the
                                                 approval of the compliance schedule.                       Annual average flow rate, as used in               stream is sent for storage or for further
                                                    (4) * * *                                            the wastewater provisions, means the                  downstream processing.
                                                    (i) An owner or operator directed to                 annual average flow rate, as determined                  Breakthrough means the time when
                                                 comply with this paragraph (q)(4) shall                 according to the procedures specified in              the level of HAP or TOC, measured at
                                                 submit to the Administrator for                         § 63.144(c).                                          the outlet of the first bed, has been
                                                 approval the documents specified in                        Automated monitoring and recording                 detected is at the highest concentration
                                                 paragraphs (q)(4)(i)(A) through (E) of                  system means any means of measuring                   allowed to be discharged from the
                                                 this section no later than 90 days after                values of monitored parameters and                    adsorber system and indicates that the
                                                 the owner or operator receives notice of                creating a hard copy or computer record               adsorber bed should be replaced.
                                                                                                         of the measured values that does not                     By compound means by individual
                                                 revocation of the transferee’s written
                                                                                                         require manual reading of monitoring                  stream components, not carbon
                                                 certification.
                                                                                                         instruments and manual transcription of               equivalents.
                                                 *       *     *    *     *                              data values. Automated monitoring and                    By-product means a chemical that is
                                                    (iii) For each source as defined in                  recording systems include, but are not                produced coincidentally during the
                                                 § 63.101, beginning no later than the                   limited to, computerized systems and                  production of another chemical.
                                                 compliance dates specified in                           strip charts.                                            Car-seal means a seal that is placed on
                                                 § 63.100(k)(10), paragraph (q)(3) of this                  Batch operation means a                            a device that is used to change the
                                                 section no longer applies.                              noncontinuous operation in which a                    position of a valve (e.g., from opened to
                                                    (5) If the owner’s or operator’s                     discrete quantity or batch of feed is                 closed) in such a way that the position
                                                 inability to meet otherwise applicable                  charged into a unit operation within a                of the valve cannot be changed without
                                                 compliance deadlines is due to                          chemical manufacturing process unit                   breaking the seal.
                                                 amendments of this subpart or of                        and processed at one time. Batch                         Chemical manufacturing process unit
                                                 subpart G of this part published on or                  operation includes noncontinuous                      or CMPU means the equipment
                                                 after January 22, 2001, and neither                     operations in which the equipment is                  assembled and connected by pipes or
                                                 condition specified in paragraph (q)(1)                 fed intermittently or discontinuously.                ducts to process raw materials and to
                                                 or (3) of this section is applicable, the               Addition of raw material and                          manufacture an intended product. A
                                                 owner or operator shall comply with                     withdrawal of product do not occur                    chemical manufacturing process unit
                                                 paragraph (q)(6) of this section.                       simultaneously in a batch operation.                  consists of more than one unit
                                                 *       *     *    *     *                              After each batch operation, the                       operation. For the purpose of this
                                                 ■ 44. Amend § 63.101 by revising                        equipment is generally emptied before a               subpart, chemical manufacturing
                                                 paragraph (b) to read as follows:                       fresh batch is started.                               process unit includes air oxidation
                                                                                                            Batch process means a process in                   reactors and their associated product
                                                 § 63.101   Definitions.                                 which the equipment is fed                            separators and recovery devices;
                                                 *      *    *     *     *                               intermittently or discontinuously.                    reactors and their associated product
                                                   (b) All other terms used in this                      Processing then occurs in this                        separators and recovery devices;
                                                 subpart and subparts G and H of this                    equipment after which the equipment is                distillation units and their associated
                                                 part shall have the meaning given them                  generally emptied. Examples of                        distillate receivers and recovery devices;
                                                 in the Act and in this section. If the                  industries that use batch processes                   associated unit operations; associated
                                                                                                                                                               recovery devices; and any feed,
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                                                 same term is defined in subpart A of                    include pharmaceutical production and
                                                 this part and in this section, it shall                 pesticide production.                                 intermediate and product storage
                                                 have the meaning given in this section                     Batch process vent means gaseous                   vessels and pressure vessels, product
                                                 for purposes of subparts F, G, and H of                 venting to the atmosphere from a batch                transfer racks, and connected ducts and
                                                 this part.                                              operation.                                            piping. A chemical manufacturing
                                                   Air oxidation reactor means a device                     Batch product-process equipment                    process unit includes pumps,
                                                 or vessel in which air, or a combination                train means the collection of equipment               compressors, agitators, pressure relief
                                                 of air and oxygen, is used as an oxygen                 (e.g., connectors, reactors, valves,                  devices, sampling connection systems,


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                                                 open-ended valves or lines, valves,                     glass, or glass-lined as described in                 supported enclosure installed over a
                                                 connectors, instrumentation systems,                    § 63.174(h).                                          waste management unit.
                                                 and control devices or systems. A                          Container, as used in the wastewater                  Dioxins and furans means total tetra-
                                                 chemical manufacturing process unit is                  provisions, means any portable waste                  through octachlorinated dibenzo-p-
                                                 identified by its primary product.                      management unit that has a capacity                   dioxins and dibenzofurans.
                                                 Ancillary activities are not considered a               greater than or equal to 0.1 m3 in which                 Distillate receiver means overhead
                                                 process or part of any process. Quality                 a material is stored, transported, treated,           receivers, overhead accumulators, reflux
                                                 assurance/quality control laboratories                  or otherwise handled. Examples of                     drums, and condenser(s) including
                                                 are not considered part of any process.                 containers are drums, barrels, tank                   ejector-condenser(s) associated with a
                                                    Closed biological treatment process                  trucks, barges, dumpsters, tank cars,                 distillation unit.
                                                 means a tank or surface impoundment                     dump trucks, and ships.                                  Distillation unit means a device or
                                                 where biological treatment occurs and                      Continuous record means                            vessel in which one or more feed
                                                 air emissions from the treatment process                documentation, either in hard copy or                 streams are separated into two or more
                                                 are routed to either a control device by                computer readable form, of data values                exit streams, each exit stream having
                                                 means of a closed vent system or to a                   measured at least once every 15 minutes               component concentrations different
                                                 fuel gas system by means of hard-                       and recorded at the frequency specified               from those in the feed stream(s). The
                                                 piping. The tank or surface                             in § 63.152(f) or (g).                                separation is achieved by the
                                                 impoundment has a fixed roof, as                                                                              redistribution of the components
                                                                                                            Continuous recorder means a data
                                                 defined in this section, or a floating                                                                        between the liquid and the vapor phases
                                                                                                         recording device that either records an
                                                 flexible membrane cover that meets the                                                                        by vaporization and condensation as
                                                                                                         instantaneous data value at least once
                                                 requirements specified in § 63.134.                                                                           they approach equilibrium within the
                                                                                                         every 15 minutes or records 15-minute
                                                                                                                                                               distillation unit. Distillation unit
                                                    Closed-loop system means an                          or more frequent block average values.
                                                                                                                                                               includes the distillate receiver, reboiler,
                                                 enclosed system that returns process                       Continuous seal means a seal that
                                                                                                                                                               and any associated vacuum pump or
                                                 fluid to the process and is not vented to               forms a continuous closure that
                                                                                                                                                               steam jet.
                                                 the atmosphere except through a closed-                 completely covers the space between                      Double block and bleed system means
                                                 vent system.                                            the wall of the storage vessel and the                two block valves connected in series
                                                    Closed-purge system means a system                   edge of the floating roof. A continuous               with a bleed valve or line that can vent
                                                 or combination of system and portable                   seal may be a vapor-mounted, liquid-                  the line between the two block valves.
                                                 containers, to capture purged liquids.                  mounted, or metallic shoe seal. A                        Duct work means a conveyance
                                                 Containers must be covered or closed                    continuous seal may be constructed of                 system such as those commonly used
                                                 when not being filled or emptied.                       fastened segments so as to form a                     for heating and ventilation systems. It is
                                                    Closed vent system means a system                    continuous seal.                                      often made of sheet metal and often has
                                                 that is not open to the atmosphere and                     Continuous vapor processing system                 sections connected by screws or
                                                 is composed of piping, ductwork,                        means a vapor processing system that                  crimping. Hard-piping is not ductwork.
                                                 connections, and, if necessary, flow                    treats total organic compound vapors                     Emission point means an individual
                                                 inducing devices that transport gas or                  collected from tank trucks or railcars on             process vent, storage vessel, transfer
                                                 vapor from an emission point to a                       a demand basis without intermediate                   rack, wastewater stream, or equipment
                                                 control device.                                         accumulation in a vapor holder.                       leak.
                                                    Combustion device means an                              Control device means any combustion                   Empty or emptying means the removal
                                                 individual unit of equipment, such as a                 device, recovery device, or recapture                 of the stored liquid from a storage
                                                 flare, incinerator, process heater, or                  device. Such equipment includes, but is               vessel. Storage vessels where stored
                                                 boiler, used for the combustion of                      not limited to, absorbers, carbon                     liquid is left on the walls, as bottom
                                                 organic hazardous air pollutant                         adsorbers, condensers, incinerators,                  clingage, or in pools due to bottom
                                                 emissions.                                              flares, boilers, and process heaters. For             irregularities are considered empty.
                                                    Compliance date means the dates                      process vents, recapture devices are                  Lowering of the stored liquid level, so
                                                 specified in § 63.100(k) or (l)(3) for                  considered control devices but recovery               that the floating roof is resting on its
                                                 process units subject to subpart F of this              devices are not considered control                    legs, as necessitated by normal vessel
                                                 part; the dates specified in § 63.190(e)                devices, and for a steam stripper, a                  operation (for example, when changing
                                                 for process units subject to subpart I of               primary condenser is not considered a                 stored material or when transferring
                                                 this part. For sources subject to other                 control device.                                       material out of the vessel for shipment)
                                                 subparts in this part that reference this                  Co-product means a chemical that is                is not considered emptying.
                                                 subpart, compliance date will be                        produced during the production of                        Enhanced biological treatment system
                                                 defined in those subparts. However, the                 another chemical.                                     or enhanced biological treatment
                                                 compliance date for § 63.170 shall be no                   Cover, as used in the wastewater                   process means an aerated, thoroughly
                                                 later than 3 years after the effective date             provisions, means a device or system                  mixed treatment unit(s) that contains
                                                 of those subparts unless otherwise                      which is placed on or over a waste                    biomass suspended in water followed
                                                 specified in such other subparts.                       management unit containing wastewater                 by a clarifier that removes biomass from
                                                    Connector means flanged, screwed, or                 or residuals so that the entire surface               the treated water and recycles recovered
                                                 other joined fittings used to connect two               area is enclosed to minimize air                      biomass to the aeration unit. The mixed
                                                 pipe lines or a pipe line and a piece of                emissions. A cover may have openings                  liquor volatile suspended solids
                                                 equipment. A common connector is a                      necessary for operation, inspection, and              (biomass) is greater than 1 kilogram per
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                                                 flange. Joined fittings welded                          maintenance of the waste management                   cubic meter throughout each aeration
                                                 completely around the circumference of                  unit such as access hatches, sampling                 unit. The biomass is suspended and
                                                 the interface are not considered                        ports, and gauge wells provided that                  aerated in the water of the aeration
                                                 connectors for the purpose of this                      each opening is closed when not in use.               unit(s) by either submerged air flow or
                                                 regulation. For the purpose of reporting                Examples of covers include a fixed roof               mechanical agitation. A thoroughly
                                                 and recordkeeping, connector means                      installed on a wastewater tank, a lid                 mixed treatment unit is a unit that is
                                                 joined fittings that are not inaccessible,              installed on a container, and an air-                 designed and operated to approach or


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                                                 achieve uniform biomass distribution                       Flexible operation unit means a                    for table 9 compounds and/or a
                                                 and organic compound concentration                      chemical manufacturing process unit                   wastewater stream consisting of process
                                                 throughout the aeration unit by quickly                 that manufactures different chemical                  wastewater at a new source that meets
                                                 dispersing the recycled biomass and the                 products periodically by alternating raw              the criteria for Group 1 status in
                                                 wastewater entering the unit.                           materials or operating conditions. These              § 63.132(d) for table 8 compounds.
                                                    Equipment leak means emissions of                    units are also referred to as campaign                   Group 2 process vent means, before
                                                 organic hazardous air pollutants from a                 plants or blocked operations.                         July 15, 2027, a process vent for which
                                                 connector, pump, compressor, agitator,                     Floating roof means a cover consisting             the vent stream flow rate is less than
                                                 pressure relief device, sampling                        of a double deck, pontoon single deck,                0.005 standard cubic meter per minute,
                                                 connection system, open-ended valve or                  internal floating cover or covered                    the total organic HAP concentration is
                                                 line, valve, surge control vessel, bottoms              floating roof, which rests upon and is                less than 50 parts per million by volume
                                                 receiver, or instrumentation system in                  supported by the liquid being                         or the total resource effectiveness index
                                                 organic hazardous air pollutant service                 contained, and is equipped with a                     value, calculated according to § 63.115,
                                                 as defined in this section.                             closure seal or seals to close the space              is greater than 1.0. On and after July 15,
                                                    Equipment means each pump,                           between the roof edge and waste                       2027, Group 2 process vent means a
                                                 compressor, agitator, pressure relief                   management unit or storage vessel wall.               process vent that emits less than 1.0
                                                 device, sampling connection system,                        Flow indicator means a device which                pound per hour of total organic HAP.
                                                 open-ended valve or line, valve,                        indicates whether gas flow is, or                        Group 2 storage vessel means a
                                                 connector, surge control vessel, bottoms                whether the valve position would allow                storage vessel that does not meet the
                                                 receiver, and instrumentation system in                 gas flow to be, present in a line.                    definition of a Group 1 storage vessel.
                                                                                                            Fuel gas means gases that are                         Group 2 transfer rack means a transfer
                                                 organic hazardous air pollutant service;
                                                                                                         combusted to derive useful work or                    rack that does not meet the definition of
                                                 and any control devices or systems
                                                                                                         heat.                                                 Group 1 transfer rack.
                                                 required by this subpart.
                                                                                                            Fuel gas system means the offsite and                 Group 2 wastewater stream means any
                                                    Ethylene production unit means a                     onsite piping and flow and pressure                   process wastewater stream that does not
                                                 chemical manufacturing process unit in                  control system that gathers gaseous                   meet the definition of a Group 1
                                                 which ethylene and/or propylene are                     stream(s) generated by onsite                         wastewater stream.
                                                 produced by separation from petroleum                   operations, may blend them with other                    Halogenated vent stream or
                                                 refining process streams or by subjecting               sources of gas, and transports the                    halogenated stream means a vent stream
                                                 hydrocarbons to high temperatures in                    gaseous stream for use as fuel gas in                 from a process vent or transfer operation
                                                 the presence of steam. The ethylene                     combustion devices or in in-process                   determined to have a mass emission rate
                                                 process unit includes the separation of                 combustion equipment such as furnaces                 of halogen atoms contained in organic
                                                 ethylene and/or propylene from                          and gas turbines either singly or in                  compounds of 0.45 kilograms per hour
                                                 associated streams such as a C4 product,                combination.                                          or greater determined by the procedures
                                                 pyrolysis gasoline, and pyrolysis fuel                     Group 1 process vent means, before                 presented in § 63.115(d)(2)(v).
                                                 oil. The ethylene process does not                      July 15, 2027, a process vent for which                  Halogens and hydrogen halides means
                                                 include the manufacture of SOCMI                        the vent stream flow rate is greater than             hydrogen chloride (HCl), chlorine (Cl2),
                                                 chemicals such as the production of                     or equal to 0.005 standard cubic meter                hydrogen bromide (HBr), bromine (Br2),
                                                 butadiene from the C4 stream and                        per minute, the total organic HAP                     and hydrogen fluoride (HF).
                                                 aromatics from pyrolysis gasoline.                      concentration is greater than or equal to                Hard-piping means pipe or tubing that
                                                    External floating roof means a                       50 parts per million by volume, and the               is manufactured and properly installed
                                                 pontoon-type or double-deck-type cover                  total resource effectiveness index value,             using good engineering judgment and
                                                 that rests on the liquid surface in a                   calculated according to § 63.115, is less             standards such as American National
                                                 storage vessel or waste management unit                 than or equal to 1.0. On and after July               Standards Institute (ANSI) B31–3 (see
                                                 with no fixed roof.                                     15, 2027, Group 1 process vent means                  § 63.14 for ANSI contact information).
                                                    Fill or filling means the introduction               a process vent that emits greater than or                Heat exchange system means a device
                                                 of organic hazardous air pollutant into                 equal to 1.0 pound per hour of total                  or collection of devices used to transfer
                                                 a storage vessel or the introduction of a               organic HAP.                                          heat from process fluids to water
                                                 wastewater stream or residual into a                       Group 1 storage vessel means a                     without intentional direct contact of the
                                                 waste management unit, but not                          storage vessel that meets the criteria for            process fluid with the water (i.e., non-
                                                 necessarily to complete capacity.                       design storage capacity and stored-                   contact heat exchanger) and to transport
                                                    First attempt at repair means to take                liquid maximum true vapor pressure                    and/or cool the water in a closed-loop
                                                 action for the purpose of stopping or                   specified in table 5 to subpart G of this             recirculation system (cooling tower
                                                 reducing leakage of organic material to                 part for storage vessels at existing                  system) or a once-through system (e.g.,
                                                 the atmosphere, followed by monitoring                  sources, and in table 6 to subpart G of               river or pond water). For closed-loop
                                                 as specified in § 63.180(b) and (c), as                 this part for storage vessels at new                  recirculation systems, the heat exchange
                                                 appropriate, to verify whether the leak                 sources.                                              system consists of a cooling tower, all
                                                 is repaired, unless the owner or operator                  Group 1 transfer rack means a transfer             CMPU heat exchangers that are in
                                                 determines by other means that the leak                 rack that annually loads greater than or              organic HAP service, as defined in this
                                                 is not repaired.                                        equal to 0.65 million liter of liquid                 subpart, serviced by that cooling tower,
                                                    Fixed roof means a cover that is                     products that contain organic hazardous               and all water lines to and from these
                                                 mounted on a waste management unit                                                                            process unit heat exchangers. For once-
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                                                                                                         air pollutants with a rack weighted
                                                 or storage vessel in a stationary manner                average vapor pressure greater than or                through systems, the heat exchange
                                                 and that does not move with                             equal to 10.3 kilopascals.                            system consists of all heat exchangers
                                                 fluctuations in liquid level.                              Group 1 wastewater stream means a                  that are in organic HAP service, as
                                                    Flame zone means the portion of the                  wastewater stream consisting of process               defined in this subpart, servicing an
                                                 combustion chamber in a boiler or                       wastewater as defined in this section at              individual CMPU and all water lines to
                                                 process heater occupied by the flame                    an existing or new source that meets the              and from these heat exchangers. Sample
                                                 envelope.                                               criteria for Group 1 status in § 63.132(c)            coolers or pump seal coolers are not


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                                                 considered heat exchangers for the                      process vent is considered to be ‘‘in                 regulated product where leakage of a
                                                 purpose of this definition and are not                  ethylene oxide service’’ unless an                    barrier fluid into the process stream
                                                 part of the heat exchange system.                       analysis is performed as specified in                 would cause any of the following:
                                                 Intentional direct contact with process                 § 63.109 to demonstrate that the Group                   (i) A dilution of product quality so
                                                 fluids results in the formation of a                    1 or Group 2 process vent does not meet               that the product would not meet written
                                                 wastewater.                                             the definition of being ‘‘in ethylene                 specifications,
                                                    Impurity means a substance that is                   oxide service’’. Examples of information                 (ii) An exothermic reaction which is
                                                 produced coincidentally with the                        that could suggest ethylene oxide could               a safety hazard,
                                                 primary product or is present in a raw                  be present in a Group 1 or Group 2                       (iii) The intended reaction to be
                                                 material. An impurity does not serve a                  process vent, include calculations based              slowed down or stopped, or
                                                 useful purpose in the production or use                 on safety data sheets, material balances,                (iv) An undesired side reaction to
                                                 of the primary product and is not                       process stoichiometry, or previous test               occur.
                                                 isolated.                                               results provided the results are still                   In gas/vapor service means that a
                                                    In ethylene oxide service means the                  relevant to the current operating                     piece of equipment in organic
                                                 following:                                              conditions.                                           hazardous air pollutant service contains
                                                    (i) For equipment leaks, any                            (iv) For storage vessels, storage vessels          a gas or vapor at operating conditions.
                                                 equipment that contains or contacts a                   of any capacity and vapor pressure                       In heavy liquid service means that a
                                                 fluid (liquid or gas) that is at least 0.1              storing a liquid that is at least 0.1                 piece of equipment in organic
                                                 percent by weight of ethylene oxide. If                 percent by weight of ethylene oxide. If               hazardous air pollutant service is not in
                                                 information exists that suggests ethylene               knowledge exists that suggests ethylene               gas/vapor service or in light liquid
                                                 oxide could be present in equipment,                    oxide could be present in a storage                   service.
                                                 the equipment is considered to be ‘‘in                  vessel, then the storage vessel is                       In light liquid service means that a
                                                 ethylene oxide service’’ unless the                     considered to be ‘‘in ethylene oxide                  piece of equipment in organic
                                                 procedures specified in § 63.109 are                    service’’ unless the procedures specified             hazardous air pollutant service contains
                                                 performed to demonstrate that the                       in § 63.109 are performed to                          a liquid that meets the following
                                                 equipment does not meet the definition                  demonstrate that the storage vessel does              conditions:
                                                 of being ‘‘in ethylene oxide service’’.                 not meet the definition of being ‘‘in                    (i) The vapor pressure of one or more
                                                 Examples of information that could                      ethylene oxide service’’. The exemption               of the organic compounds is greater
                                                 suggest ethylene oxide could be present                 for ‘‘vessels storing organic liquids that            than 0.3 kilopascals at 20 °C,
                                                 in equipment, include calculations                      contain organic hazardous air pollutants                 (ii) The total concentration of the pure
                                                 based on safety data sheets, material                   only as impurities’’ listed in the                    organic compounds constituents having
                                                 balances, process stoichiometry, or                     definition of ‘‘storage vessel’’ in this              a vapor pressure greater than 0.3
                                                 previous test results provided the                      section does not apply for storage                    kilopascals at 20 °C is equal to or greater
                                                 results are still relevant to the current               vessels that may be in ethylene oxide                 than 20 percent by weight of the total
                                                 operating conditions.                                   service. Examples of information that                 process stream, and
                                                    (ii) For heat exchange systems, any                  could suggest ethylene oxide could be                    (iii) The fluid is a liquid at operating
                                                 heat exchange system in a process that                  present in a storage vessel, include                  conditions.
                                                 cools process fluids (liquid or gas) that               calculations based on safety data sheets,                Note 1 to In light liquid service: Vapor
                                                 are 0.1 percent or greater by weight of                 material balances, process                            pressures may be determined by the
                                                 ethylene oxide. If knowledge exists that                stoichiometry, or previous test results               methods described in § 60.485(e)(1) of
                                                 suggests ethylene oxide could be                        provided the results are still relevant to            this chapter.
                                                 present in a heat exchange system, then                 the current operating conditions.                        In liquid service means that a piece of
                                                 the heat exchange system is considered                     (v) For wastewater streams, any                    equipment in organic hazardous air
                                                 to be ‘‘in ethylene oxide service’’ unless              wastewater stream that contains total                 pollutant service is not in gas/vapor
                                                 the procedures specified in § 63.109 are                annual average concentration of                       service.
                                                 performed to demonstrate that the heat                  ethylene oxide greater than or equal to                  In organic hazardous air pollutant or
                                                 exchange system does not meet the                       1 parts per million by weight at any                  in organic HAP service means that a
                                                 definition of being ‘‘in ethylene oxide                 flow rate. If knowledge exists that                   piece of equipment or heat exchange
                                                 service’’. Examples of information that                 suggests ethylene oxide could be                      system either contains or contacts a
                                                 could suggest ethylene oxide could be                   present in a wastewater stream, then the              fluid (liquid or gas) that is at least 5
                                                 present in a heat exchange system,                      wastewater stream is considered to be                 percent by weight of total organic HAP’s
                                                 include calculations based on safety                    ‘‘in ethylene oxide service’’ unless                  as determined according to the
                                                 data sheets, material balances, process                 sampling and analysis is performed as                 provisions of § 63.180(d). The
                                                 stoichiometry, or previous test results                 specified in § 63.109 to demonstrate that             provisions of § 63.180(d) also specify
                                                 provided the results are still relevant to              the wastewater stream does not meet the               how to determine that a piece of
                                                 the current operating conditions.                       definition of being ‘‘in ethylene oxide               equipment is not in organic HAP
                                                    (iii) For process vents, each Group 1                service’’. Examples of information that               service. For purposes of the definition of
                                                 and Group 2 process vent in a process                   could suggest ethylene oxide could be                 ‘‘heat exchange system’’, the term
                                                 that, when uncontrolled, contains a                     present in a wastewater stream, include               ‘‘equipment’’ in § 63.180(d) includes
                                                 concentration of greater than or equal to               calculations based on safety data sheets,             heat exchange systems.
                                                 1 ppmv undiluted ethylene oxide, and                    material balances, process                               In vacuum service means that
                                                 when combined, the sum of all these
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                                                                                                         stoichiometry, or previous test results               equipment is operating at an internal
                                                 process vents within the process would                  provided the results are still relevant to            pressure which is at least 5 kilopascals
                                                 emit uncontrolled, ethylene oxide                       the current operating conditions.                     below ambient pressure.
                                                 emissions greater than or equal to 5 lb/                   In food/medical service means that a                  In volatile organic compound or in
                                                 yr (2.27 kg/yr). If information exists that             piece of equipment in organic                         VOC service means, for the purposes of
                                                 suggests ethylene oxide could be                        hazardous air pollutant service contacts              subpart H of this part, that:
                                                 present in a Group 1 or Group 2 process                 a process stream used to manufacture a                   (i) The piece of equipment contains or
                                                 vent, then the Group 1 or Group 2                       Food and Drug Administration                          contacts a process fluid that is at least


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                                                 10 percent VOC by weight (see § 60.2 of                    Instrumentation system means a                        Maintenance wastewater means
                                                 this chapter for the definition of VOC,                 group of equipment components used to                 wastewater generated by the draining of
                                                 and § 60.485(d) of this chapter to                      condition and convey a sample of the                  process fluid from components in the
                                                 determine whether a piece of equipment                  process fluid to analyzers and                        chemical manufacturing process unit
                                                 is not in VOC service); and                             instruments for the purpose of                        into an individual drain system prior to
                                                    (ii) The piece of equipment is not in                determining process operating                         or during maintenance activities.
                                                 heavy liquid service as defined in                      conditions (e.g., composition, pressure,              Maintenance wastewater can be
                                                 § 60.481 of this chapter.                               flow, etc.). Valves and connectors are                generated during planned and
                                                    Incinerator means an enclosed                        the predominant type of equipment                     unplanned shutdowns and during
                                                 combustion device that is used for                      used in instrumentation systems;                      periods not associated with a shutdown.
                                                 destroying organic compounds.                           however, other types of equipment may                 Examples of activities that can generate
                                                 Auxiliary fuel may be used to heat                      also be included in these systems. Only               maintenance wastewaters include
                                                 waste gas to combustion temperatures.                   valves nominally 0.5 inches and                       descaling of heat exchanger tubing
                                                 Any energy recovery section present is                  smaller, and connectors nominally 0.75                bundles, cleaning of distillation column
                                                 not physically formed into one                          inches and smaller in diameter are                    traps, draining of low legs and high
                                                 manufactured or assembled unit with                     considered instrumentation systems for                point bleeds, draining of pumps into an
                                                 the combustion section; rather, the                     the purposes of subpart H of this part.               individual drain system, and draining of
                                                 energy recovery section is a separate                   Valves greater than nominally 0.5                     portions of the chemical manufacturing
                                                 section following the combustion                        inches and connectors greater than                    process unit for repair.
                                                 section and the two are joined by ducts                 nominally 0.75 inches associated with                    Maximum true vapor pressure means
                                                 or connections carrying flue gas. The                   instrumentation systems are not                       the equilibrium partial pressure exerted
                                                 above energy recovery section limitation                considered part of instrumentation                    by the total organic HAP’s in the stored
                                                 does not apply to an energy recovery                    systems and must be monitored                         or transferred liquid at the temperature
                                                 section used solely to preheat the                      individually.                                         equal to the highest calendar-month
                                                 incoming vent stream or combustion air.                    Intermittent vapor processing system               average of the liquid storage or transfer
                                                    Individual drain system means the                    means a vapor processing system that                  temperature for liquids stored or
                                                 stationary system used to convey                        employs an intermediate vapor holder                  transferred above or below the ambient
                                                 wastewater streams or residuals to a                    to accumulate total organic compound                  temperature or at the local maximum
                                                 waste management unit or to discharge                   vapors collected from tank trucks or                  monthly average temperature as
                                                 or disposal. The term includes hard-                    railcars, and treats the accumulated                  reported by the National Weather
                                                 piping, all process drains and junction                 vapors only during automatically                      Service for liquids stored or transferred
                                                 boxes, together with their associated                   controlled cycles.                                    at the ambient temperature, as
                                                 sewer lines and other junction boxes,                      Internal floating roof means a cover               determined:
                                                 manholes, sumps, and lift stations,                     that rests or floats on the liquid surface               (i) In accordance with methods
                                                 conveying wastewater streams or                         (but not necessarily in complete contact              described in API MPMS 19.2
                                                 residuals. A segregated stormwater                      with it) inside a storage vessel or waste             (incorporated by reference as specified
                                                 sewer system, which is a drain and                      management unit that has a                            in § 63.14); or
                                                                                                         permanently affixed roof.                                (ii) As obtained from standard
                                                 collection system designed and operated
                                                                                                            Junction box means a manhole or                    reference texts; or
                                                 for the sole purpose of collecting rainfall
                                                                                                                                                                  (iii) As determined by the ASTM
                                                 runoff at a facility, and which is                      access point to a wastewater sewer line
                                                                                                                                                               D2879–23 (incorporated by reference as
                                                 segregated from all other individual                    or a lift station.
                                                                                                                                                               specified in § 63.14); or
                                                 drain systems, is excluded from this                       Liquid-mounted seal means a foam- or                  (iv) Any other method approved by
                                                 definition.                                             liquid-filled seal mounted in contact                 the Administrator.
                                                    Initial start-up means the first time a              with the liquid between the wall of the                  Metallic shoe seal or mechanical shoe
                                                 new or reconstructed source begins                      storage vessel or waste management unit               seal means metal sheets that are held
                                                 production, or, for equipment added or                  and the floating roof. The seal is                    vertically against the wall of the storage
                                                 changed as described in § 63.100(l) or                  mounted continuously around the                       vessel by springs, weighted levers, or
                                                 (m), the first time the equipment is put                circumference of the vessel or unit.                  other mechanisms and connected to the
                                                 into operation. Initial start-up does not                  Liquids dripping means any visible                 floating roof by braces or other means.
                                                 include operation solely for testing                    leakage from the seal including                       A flexible coated fabric (envelope) spans
                                                 equipment. For purposes of subpart G of                 dripping, spraying, misting, clouding,                the annular space between the metal
                                                 this part, initial start-up does not                    and ice formation. Indications of liquid              sheet and the floating roof.
                                                 include subsequent start-ups (as defined                dripping include puddling or new stains                  Non-automated monitoring and
                                                 in this section) of chemical                            that are indicative of an existing                    recording system means manual reading
                                                 manufacturing process units following                   evaporated drip.                                      of values measured by monitoring
                                                 malfunctions or shutdowns or following                     Loading cycle means the time period                instruments and manual transcription of
                                                 changes in product for flexible                         from the beginning of filling a tank truck            those values to create a record. Non-
                                                 operation units or following recharging                 or railcar until flow to the control                  automated systems do not include strip
                                                 of equipment in batch operation. For                    device ceases, as measured by the flow                charts.
                                                 purposes of subpart H of this part,                     indicator.                                               Nonrepairable means that it is
                                                 initial start-up does not include                          Loading rack means a single system
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                                                                                                                                                               technically infeasible to repair a piece of
                                                 subsequent start-ups (as defined in this                used to fill tank trucks and railcars at a            equipment from which a leak has been
                                                 section) of process units (as defined in                single geographic site. Loading                       detected without a process unit
                                                 § this section) following malfunctions or               equipment and operations that are                     shutdown.
                                                 process unit shutdowns.                                 physically separate (i.e., do not share                  Oil-water separator or organic-water
                                                    In-situ sampling systems means                       common piping, valves, and other                      separator means a waste management
                                                 nonextractive samplers or in-line                       equipment) are considered to be                       unit, generally a tank used to separate
                                                 samplers.                                               separate loading racks.                               oil or organics from water. An oil-water


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                                                 or organic-water separator consists of                  control includes properties that are                  conventional, spring-actuated relief
                                                 not only the separation unit but also the               owned, leased, or operated by the same                valves, balanced bellows relief valves,
                                                 forebay and other separator basins,                     entity, parent entity, subsidiary, or any             pilot-operated relief valves, rupture
                                                 skimmers, weirs, grit chambers, sludge                  combination thereof.                                  disks, and breaking, buckling, or
                                                 hoppers, and bar screens that are                          Point of determination means each                  shearing pin devices. Devices that are
                                                 located directly after the individual                   point where process wastewater exits                  actuated either by a pressure of less than
                                                 drain system and prior to additional                    the chemical manufacturing process                    or equal to 2.5 pounds per square inch
                                                 treatment units such as an air flotation                unit. This subpart and subpart G of this              gauge or by a vacuum are not pressure
                                                 unit, clarifier, or biological treatment                part allows point of determination of the             relief devices.
                                                 unit. Examples of an oil-water or                       characteristics of a wastewater stream:                  Pressure-assisted multi-point flare
                                                 organic-water separator include, but are                   (i) At the point of determination or               means a flare system consisting of
                                                 not limited to, an American Petroleum                      (ii) Downstream of the point of                    multiple flare burners in staged arrays
                                                 Institute separator, parallel-plate                     determination if corrections are made                 whereby the vent stream pressure is
                                                 interceptor, and corrugated-plate                       for changes in flow rate and annual                   used to promote mixing and smokeless
                                                 interceptor with the associated ancillary               average concentration of table 8 or table             operation at the flare burner tips.
                                                 equipment.                                              9 compounds as determined in § 63.144.                Pressure-assisted multi-point flares are
                                                    On-site or On site means, with respect               Such changes include losses by air                    designed for smokeless operation at
                                                 to records required to be maintained by                 emissions; reduction of annual average                velocities up to Mach = 1 conditions
                                                 this subpart, that the records are stored               concentration or changes in flow rate by              (i.e., sonic conditions), can be elevated
                                                 at a location within a major source                     mixing with other water or wastewater                 or at ground level, and typically use
                                                 which encompasses the affected source.                  streams; and reduction in flow rate or                cross-lighting for flame propagation to
                                                 On-site includes, but is not limited to,                annual average concentration by treating              combust any flare vent gases sent to a
                                                 storage at the chemical manufacturing                   or otherwise handling the wastewater                  particular stage of flare burners.
                                                 process unit to which the records                       stream to remove or destroy hazardous                    Pressure vessel means a storage vessel
                                                 pertain, or storage in central files                    air pollutants.                                       that is used to store liquids or gases and
                                                 elsewhere at the major source.                             Point of transfer means:                           is designed not to vent to the
                                                    Open biological treatment process                       (i) If the transfer is to an off-site              atmosphere as a result of compression of
                                                 means a biological treatment process                    location for control, the point where the             the vapor headspace in the pressure
                                                 that is not a closed biological treatment               conveyance crosses the property line; or              vessel during filling of the pressure
                                                 process as defined in this section.                        (ii) If the transfer is to an on-site              vessel to its design capacity.
                                                    Open-ended valve or line means any                   location not owned or operated by the                    Primary fuel means the fuel that
                                                 valve, except pressure relief valves,                   owner or operator of the source, the                  provides the principal heat input to the
                                                 having one side of the valve seat in                    point where the conveyance enters the                 device. To be considered primary, the
                                                 contact with process fluid and one side                 operation or equipment of the                         fuel must be able to sustain operation
                                                 open to atmosphere, either directly or                  transferee.                                           without the addition of other fuels.
                                                 through open piping.                                       Polymerizing monomer means a                          Process heater means a device that
                                                    Operating permit means a permit                      molecule or compound usually                          transfers heat liberated by burning fuel
                                                 required by 40 CFR part 70 or 71.                       containing carbon and of relatively low               directly to process streams or to heat
                                                    Organic hazardous air pollutant or                   molecular weight and simple structure                 transfer liquids other than water.
                                                 organic HAP means one of the                            (e.g., hydrogen cyanide, acrylonitrile,                  Process unit means a chemical
                                                 chemicals listed in table 2 of this                     styrene), which is capable of conversion              manufacturing process unit as defined
                                                 subpart.                                                to polymers, synthetic resins, or                     in subpart F of this part, a process
                                                    Organic monitoring device means a                    elastomers by combination with itself                 subject to the provisions of subpart I of
                                                 unit of equipment used to indicate the                  due to heat generation caused by a                    this part, or a process subject to another
                                                 concentration level of organic                          pump mechanical seal surface,                         subpart in this part that references this
                                                 compounds exiting a recovery device                     contamination by a seal fluid (e.g.,                  subpart.
                                                 based on a detection principle such as                  organic peroxides or chemicals that will                 Process unit shutdown means a work
                                                 infra-red, photoionization, or thermal                  form organic peroxides), or a                         practice or operational procedure that
                                                 conductivity.                                           combination of both with the resultant                stops production from a process unit or
                                                    Petroleum refining process, also                     polymer buildup causing rapid                         part of a process unit during which it is
                                                 referred to as a petroleum refining                     mechanical seal failure.                              technically feasible to clear process
                                                 process unit, means a process that for                     Pressure release means the emission                material from a process unit or part of
                                                 the purpose of producing transportation                 of materials resulting from the system                a process unit consistent with safety
                                                 fuels (such as gasoline and diesel fuels),              pressure being greater than the set                   constraints and during which repairs
                                                 heating fuels (such as fuel gas, distillate,            pressure of the pressure relief device.               can be effected. An unscheduled work
                                                 and residual fuel oils), or lubricants                  This release can be one release or a                  practice or operational procedure that
                                                 separates petroleum or separates, cracks,               series of releases over a short time                  stops production from a process unit or
                                                 or reforms unfinished derivatives.                      period.                                               part of a process unit for less than 24
                                                 Examples of such units include, but are                    Pressure relief device or valve means              hours is not a process unit shutdown.
                                                 not limited to, alkylation units, catalytic             a valve, rupture disk, or similar device              An unscheduled work practice or
                                                 hydrotreating, catalytic hydrorefining,                 used only to release an unplanned,                    operational procedure that would stop
                                                                                                         nonroutine discharge of gas from                      production from a process unit or part
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                                                 catalytic hydrocracking, catalytic
                                                 reforming, catalytic cracking, crude                    process equipment in order to avoid                   of a process unit for a shorter period of
                                                 distillation, and thermal processes.                    safety hazards or equipment damage. A                 time than would be required to clear the
                                                    Plant site means all contiguous or                   pressure relief device discharge can                  process unit or part of the process unit
                                                 adjoining property that is under                        result from an operator error, a                      of materials and start up the unit, and
                                                 common control, including properties                    malfunction such as a power failure or                would result in greater emissions than
                                                 that are separated only by a road or                    equipment failure, or other unexpected                delay of repair of leaking components
                                                 other public right-of-way. Common                       cause. Such devices include                           until the next scheduled process unit


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                                                 shutdown, is not a process unit                         water formed during a chemical reaction               discharged from a product tank for the
                                                 shutdown. The use of spare equipment                    or used as a reactant; water used to                  purpose of removing water or other
                                                 and technically feasible bypassing of                   wash impurities from organic products                 contaminants from the product tank.
                                                 equipment without stopping production                   or reactants; water used to cool or                      Product tank, as used in the
                                                 are not process unit shutdowns.                         quench organic vapor streams through
                                                                                                                                                               wastewater provisions, means a
                                                    Process vent means the point of                      direct contact; and condensed steam
                                                                                                                                                               stationary unit that is designed to
                                                 discharge to the atmosphere (or the                     from jet ejector systems pulling vacuum
                                                                                                         on vessels containing organics.                       contain an accumulation of materials
                                                 point of entry into a control device, if                                                                      that are fed to or produced by a process
                                                 any) of a gas stream if the gas stream has                 Process wastewater stream means a
                                                                                                         stream that contains process                          unit, and is constructed primarily of
                                                 the characteristics specified in                                                                              non-earthen materials (e.g., wood,
                                                 § 63.107(b) through (h), or meets the                   wastewater.
                                                                                                            Product means a compound or                        concrete, steel, plastic) which provide
                                                 criteria specified in § 63.107(i). For
                                                                                                         chemical which is manufactured as the                 structural support. This term has the
                                                 purposes of §§ 63.113 through 63.118,
                                                                                                         intended product of the chemical                      same meaning as a product storage
                                                 all references to the characteristics of a
                                                                                                         manufacturing process unit. By-                       vessel.
                                                 process vent (e.g., flow rate, total HAP
                                                                                                         products, isolated intermediates,                        Rack-weighted average partial
                                                 concentration, or TRE index value) shall
                                                                                                         impurities, wastes, and trace
                                                 mean the characteristics of the gas                                                                           pressure means the throughput
                                                                                                         contaminants are not considered
                                                 stream.                                                                                                       weighted average of the average
                                                                                                         products.
                                                    Process wastewater means wastewater                     Product separator means phase                      maximum true vapor pressure of liquids
                                                 which, during manufacturing or                          separators, flash drums, knock-out                    containing organic HAP transferred at a
                                                 processing, comes into direct contact                   drums, decanters, degassers, and                      transfer rack. The rack-weighted average
                                                 with or results from the production or                  condenser(s) including ejector-                       partial pressure shall be calculated
                                                 use of any raw material, intermediate                   condenser(s) associated with a reactor or             using the equation below:
                                                 product, finished product, by-product,                  an air oxidation reactor.                             Equation 1 to Paragraph (b) Rack-
                                                 or waste product. Examples are product                     Product tank drawdown means any
                                                 tank drawdown or feed tank drawdown;                    material or mixture of materials                      Weighted Average Partial Pressure




                                                 Where:                                                  for sale for fuel value, use, or reuse.               device used to reduce organic hazardous
                                                 P = Rack-weighted average partial pressure,             Examples of equipment that may be                     air pollutants emissions by 98 percent,
                                                      kilopascals.                                       recovery devices include absorbers,                   or to an outlet concentration of 20 parts
                                                 Pi = Individual HAP maximum true vapor                  carbon adsorbers, condensers, oil-water               per million by volume; or a vapor
                                                      pressure, kilopascals, = Xi*P, where Xi is         separators or organic-water separators,               balancing system.
                                                      the mole fraction of compound i in the             or organic removal devices such as                       Reference control technology for
                                                      liquid.
                                                                                                         decanters, strippers, or thin-film                    wastewater means the use of:
                                                 Gi = Yearly volume of each liquid that
                                                      contains organic HAP that is transferred           evaporation units. For purposes of the                   (i) Controls specified in §§ 63.133
                                                      at the rack, liters.                               monitoring, recordkeeping, and                        through 63.137;
                                                 I = Each liquid that contains HAP that is               reporting requirements of subparts G                     (ii) A steam stripper meeting the
                                                      transferred at the rack.                           and H of this part, recapture devices are             specifications of § 63.138(d) or any of
                                                                                                         considered recovery devices.                          the other alternative control measures
                                                   Reactor means a device or vessel in                      Reference control technology for                   specified in § 63.138(b), (c), (e), (f), (g),
                                                 which one or more chemicals or                          process vents means a combustion                      or (h); and
                                                 reactants, other than air, are combined                 device or recapture device used to                       (iii) A control device to reduce by 95
                                                 or decomposed in such a way that their                  reduce organic hazardous air pollutant                percent (or to an outlet concentration of
                                                 molecular structures are altered and one                emissions by 98 percent, or to an outlet              20 parts per million by volume for
                                                 or more new organic compounds are                       concentration of 20 parts per million by              combustion devices or for
                                                 formed. Reactor includes the product                    volume.                                               noncombustion devices controlling air
                                                 separator and any associated vacuum                        Reference control technology for                   emissions from waste management units
                                                 pump or steam jet.                                      storage vessels means an internal                     other than surface impoundments or
                                                   Recapture device means an individual                  floating roof meeting the specifications              containers) the organic hazardous air
                                                 unit of equipment capable of and used                   of § 63.119(b), an external floating roof             pollutants emissions in the vapor
                                                 for the purpose of recovering chemicals,                meeting the specifications of § 63.119(c),            streams vented from wastewater tanks,
                                                 but not normally for use, reuse, or sale.               an external floating roof converted to an             oil-water separators, containers, surface
                                                 For example, a recapture device may                     internal floating roof meeting the                    impoundments, individual drain
                                                 recover chemicals primarily for                         specifications of § 63.119(d), or a closed-           systems, and treatment processes
                                                 disposal. Recapture devices include, but
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                                                                                                         vent system to a control device                       (including the design steam stripper)
                                                 are not limited to, absorbers, carbon                   achieving 95-percent reduction in                     managing wastewater.
                                                 adsorbers, and condensers.                              organic HAP emissions. For purposes of                   Relief valve means a type of pressure
                                                   Recovery device means an individual                   emissions averaging, these four                       relief device that is designed to re-close
                                                 unit of equipment capable of and                        technologies are considered equivalent.               after the pressure relief.
                                                 normally used for the purpose of                           Reference control technology for                      Repaired means that equipment:
                                                 recovering chemicals for fuel value (i.e.,              transfer racks means a combustion                        (i) Is adjusted, or otherwise altered, to
                                                                                                                                                                                                               ER16MY24.053</GPH>




                                                 net positive heating value), use, reuse or              device, recapture device, or recovery                 eliminate a leak as defined in the


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                                                 applicable sections of subpart H of this                   Sensor means a device that measures                conditions due to changes in product for
                                                 part, and                                               a physical quantity or the change in a                flexible operation units.
                                                    (ii) Unless otherwise specified in                   physical quantity, such as temperature,                  Start-up, shutdown, and malfunction
                                                 applicable provisions of subpart H of                   pressure, flow rate, pH, or liquid level.             plan means the plan required under
                                                 this part, is monitored as specified in                    Set pressure means the pressure at                 § 63.6(e)(3). This plan details the
                                                 § 63.180(b) and (c), as appropriate, to                 which a properly operating pressure                   procedures for operation and
                                                 verify that emissions from the                          relief device begins to open to relieve               maintenance of the source during
                                                 equipment are below the applicable leak                 atypical process system operating                     periods of start-up, shutdown, and
                                                 definition.                                             pressure.                                             malfunction. For each source as defined
                                                    Research and development facility                       Sewer line means a lateral, trunk line,            in this section, this definition no longer
                                                 means laboratory and pilot plant                        branch line, or other conduit including,              applies on and after July 15, 2027.
                                                 operations whose primary purpose is to                  but not limited to, grates, trenches, etc.,              Steam jet ejector means a steam
                                                 conduct research and development into                   used to convey wastewater streams or
                                                                                                                                                               nozzle which discharges a high-velocity
                                                 new processes and products, where the                   residuals to a downstream waste
                                                                                                                                                               jet across a suction chamber that is
                                                 operations are under the close                          management unit.
                                                                                                            Shutdown means for purposes                        connected to the equipment to be
                                                 supervision of technically trained
                                                                                                         including, but not limited to, periodic               evacuated.
                                                 personnel, and is not engaged in the
                                                 manufacture of products for commercial                  maintenance, replacement of                              Storage vessel means a tank or other
                                                 sale, except in a de minimis manner.                    equipment, or repair, the cessation of                vessel that is used to store organic
                                                    Residual means any liquid or solid                   operation of a chemical manufacturing                 liquids that contain one or more of the
                                                 material containing table 9 compounds                   process unit or a reactor, air oxidation              organic HAP’s listed in table 2 to this
                                                 that is removed from a wastewater                       reactor, distillation unit, waste                     subpart and that has been assigned,
                                                 stream by a waste management unit or                    management unit, equipment required                   according to the procedures in
                                                 treatment process that does not destroy                 or used to comply with this subpart,                  § 63.100(g), to a chemical manufacturing
                                                 organics (nondestructive unit).                         subpart G or H of this part, or the                   process unit that is subject to this
                                                 Examples of residuals from                              emptying and degassing of a storage                   subpart. Storage vessel does not include:
                                                 nondestructive wastewater management                    vessel. Shutdown does not include the                    (i) Vessels permanently attached to
                                                 units are: the organic layer and bottom                 routine rinsing or washing of equipment               motor vehicles such as trucks, railcars,
                                                 residue removed by a decanter or                        in batch operation between batches.                   barges, or ships;
                                                 organic-water separator and the                            Simultaneous loading means, for a                     (ii) Vessels with capacities smaller
                                                 overheads from a steam stripper or air                  shared control device, loading of                     than 38 cubic meters;
                                                 stripper. Examples of materials which                   organic HAP materials from more than                     (iii) Except for storage vessels in
                                                 are not residuals are: silt; mud; leaves;               one transfer arm at the same time such                ethylene oxide service, vessels storing
                                                 bottoms from a steam stripper or air                    that the beginning and ending times of                organic liquids that contain organic
                                                 stripper; and sludges, ash, or other                    loading cycles coincide or overlap and                hazardous air pollutants only as
                                                 materials removed from wastewater                       there is no interruption in vapor flow to             impurities;
                                                 being treated by destructive devices                    the shared control device.                               (iv) Bottoms receiver tanks;
                                                 such as biological treatment units and                     Single-seal system means a floating                   (v) Surge control vessels; or
                                                 incinerators.                                           roof having one continuous seal that
                                                                                                                                                                  (vi) Wastewater storage tanks.
                                                    Routed to a process or route to a                    completely covers the space between
                                                                                                                                                               Wastewater storage tanks are covered
                                                 process means the emissions are                         the wall of the storage vessel and the
                                                                                                                                                               under the wastewater provisions.
                                                 conveyed to any enclosed portion of a                   edge of the floating roof. This seal may
                                                                                                         be a vapor-mounted, liquid-mounted, or                   Surface impoundment means a waste
                                                 process unit where the emissions are
                                                                                                         metallic shoe seal.                                   management unit which is a natural
                                                 predominately recycled and/or
                                                                                                            Source means the collection of                     topographic depression, manmade
                                                 consumed in the same manner as a
                                                                                                         emission points to which this subpart                 excavation, or diked area formed
                                                 material that fulfills the same function
                                                                                                         applies as determined by the criteria in              primarily of earthen materials (although
                                                 in the process; and/or transformed by
                                                                                                         § 63.100. For purposes of subparts F, G,              it may be lined with manmade
                                                 chemical reaction into materials that are
                                                                                                         and H of this part, the term affected                 materials), which is designed to hold an
                                                 not organic hazardous air pollutants;
                                                                                                         source as used in subpart A of this part              accumulation of liquid wastes or waste
                                                 and/or incorporated into a product; and/
                                                                                                         has the same meaning as the term                      containing free liquids. A surface
                                                 or recovered.
                                                    Sampling connection system means                     source defined here.                                  impoundment is used for the purpose of
                                                 an assembly of equipment within a                          Specific gravity monitoring device                 treating, storing, or disposing of
                                                 process unit used during periods of                     means a unit of equipment used to                     wastewater or residuals, and is not an
                                                 representative operation to take samples                monitor specific gravity and having a                 injection well. Examples of surface
                                                 of the process fluid. Equipment used to                 minimum accuracy of ±0.02 specific                    impoundments are equalization,
                                                 take non-routine grab samples is not                    gravity units.                                        settling, and aeration pits, ponds, and
                                                 considered a sampling connection                           Start-up means the setting into                    lagoons.
                                                 system.                                                 operation of a chemical manufacturing                    Surge control vessel means feed
                                                    Screwed connector means a threaded                   process unit or a reactor, air oxidation              drums, recycle drums, and intermediate
                                                 pipe fitting where the threads are cut on               reactor, distillation unit, waste                     vessels. Surge control vessels are used
                                                                                                         management unit, or equipment                         within a chemical manufacturing
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                                                 the pipe wall and the fitting requires
                                                 only two pieces to make the connection                  required or used to comply with this                  process unit when in-process storage,
                                                 (i.e., the pipe and the fitting).                       subpart, subpart G or H of this part, or              mixing, or management of flow rates or
                                                    Secondary fuel means a fuel fired                    a storage vessel after emptying and                   volumes is needed to assist in
                                                 through a burner other than the primary                 degassing. Start-up includes initial start-           production of a product.
                                                 fuel burner that provides supplementary                 up, operation solely for testing                         Table 8 compound means a
                                                 heat in addition to the heat provided by                equipment, the recharging of equipment                compound listed in table 8 to subpart G
                                                 the primary fuel.                                       in batch operation, and transitional                  of this part.


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                                                    Table 9 compound means a                             the associated pumps, meters, shutoff                 management units include: Wastewater
                                                 compound listed in table 9 to subpart G                 valves, relief valves, and other piping               tanks, surface impoundments,
                                                 of this part.                                           and valves. Transfer rack does not                    individual drain systems, and biological
                                                    Temperature monitoring device                        include:                                              wastewater treatment units. Examples of
                                                 means a unit of equipment used to                          (i) Racks, arms, or hoses that only                equipment that may be waste
                                                 monitor temperature and having a                        transfer liquids containing organic                   management units include containers,
                                                 minimum accuracy of (a) ±1 percent of                   hazardous air pollutants as impurities;               air flotation units, oil-water separators
                                                 the temperature being monitored                         or                                                    or organic-water separators, or organic
                                                 expressed in degrees Celsius ((°C) or (b)                  (ii) Racks, arms, or hoses that vapor              removal devices such as decanters,
                                                 ±0.5 degrees (°C), whichever is greater.                balance during all loading operations.                strippers, or thin-film evaporation units.
                                                    The 33/50 program means a voluntary                     Treatment process means a specific                 If such equipment is used for recovery
                                                 pollution prevention initiative                         technique that removes or destroys the                then it is part of a chemical
                                                 established and administered by the                     organics in a wastewater or residual                  manufacturing process unit and is not a
                                                 EPA to encourage emissions reductions                   stream such as a steam stripping unit,                waste management unit.
                                                 of 17 chemicals emitted in large                        thin-film evaporation unit, waste                        Wastewater means water that:
                                                 volumes by industrial facilities. The                   incinerator, biological treatment unit, or               (i) Contains either:
                                                 EPA Document Number 741–K–92–001                        any other process applied to wastewater                  (A) An annual average concentration
                                                 provides more information about the 33/                 streams or residuals to comply with                   of table 9 compounds of at least 5 parts
                                                 50 program.                                             § 63.138. Most treatment processes are                per million by weight and has an annual
                                                    Total organic compounds (TOC), as                    conducted in tanks. Treatment                         average flow rate of 0.02 liter per minute
                                                 used in the process vents provisions,                   processes are a subset of waste                       or greater, or
                                                 means those compounds measured                          management units.                                        (B) An annual average concentration
                                                 according to the procedures of Method                      Unit operation means one or more                   of table 9 compounds of at least 10,000
                                                 18 of appendix A–6 to 40 CFR part 60,                   pieces of process equipment used to                   parts per million by weight at any flow
                                                 ASTM D6420–18 (incorporated by                          make a single change to the physical or               rate, and that
                                                 reference, see § 63.14) may be used in                  chemical characteristics of one or more                  (ii) Is discarded from a chemical
                                                 lieu of Method 18, if the target                        process streams. Unit operations                      manufacturing process unit that meets
                                                 compounds are all known and are all                     include, but are not limited to, reactors,            all of the criteria specified in § 63.100
                                                 listed in Section 1.1 of ASTM D6420–                    distillation units, extraction columns,               (b)(1) through (3). Wastewater is process
                                                 18 as measurable; ASTM D6420–18                         absorbers, decanters, dryers,                         wastewater or maintenance wastewater.
                                                 must not be used for methane and                        condensers, and filtration equipment.                    Wastewater stream means a stream
                                                 ethane; and ASTM D6420–18 may not                          Vapor balancing system means a                     that contains only wastewater.
                                                 be used as a total VOC method.                          piping system that is designed to collect                Wastewater tank means a stationary
                                                    Total resource effectiveness index                   organic hazardous air pollutants vapors               waste management unit that is designed
                                                 value or TRE index value means a                        displaced from tank trucks or railcars                to contain an accumulation of
                                                 measure of the supplemental total                       during loading; and to route the                      wastewater or residuals and is
                                                 resource requirement per unit reduction                 collected organic hazardous air                       constructed primarily of non-earthen
                                                 of organic HAP associated with a                        pollutants vapors to the storage vessel               materials (e.g., wood, concrete, steel,
                                                 process vent stream, based on vent                      from which the liquid being loaded                    plastic) which provide structural
                                                 stream flow rate, emission rate of                      originated, or to another storage vessel              support. Wastewater tanks used for flow
                                                 organic HAP, net heating value, and                     connected by a common header or to                    equalization are included in this
                                                 corrosion properties (whether or not the                compress and route to a process or a                  definition.
                                                 vent stream contains halogenated                        fuel gas system the collected organic                    Water seal controls means a seal pot,
                                                 compounds), as quantified by the                        hazardous air pollutants vapors.                      p-leg trap, or other type of trap filled
                                                 equations given under § 63.115.                            Vapor collection system, as used in                with water (e.g., flooded sewers that
                                                    Transfer operation means the loading,                the transfer provisions, means the                    maintain water levels adequate to
                                                 into a tank truck or railcar, of organic                equipment used to collect and transport               prevent air flow through the system)
                                                 liquids that contain one or more of the                 organic HAP vapors displaced during                   that creates a water barrier between the
                                                 organic hazardous air pollutants listed                 the loading of tank trucks or railcars.               sewer line and the atmosphere. The
                                                 in table 2 of this subpart from a transfer              This does not include the vapor                       water level of the seal must be
                                                 rack (as defined in this section).                      collection system that is part of any tank            maintained in the vertical leg of a drain
                                                 Transfer operations do not include                      truck or railcar vapor collection                     in order to be considered a water seal.
                                                 loading at an operating pressure greater                manifold system.                                      ■ 45. Revise and republish § 63.102 to
                                                 than 204.9 kilopascals. For each source                    Vapor-mounted seal means a                         read as follows:
                                                 as defined in this section, the greater                 continuous seal that completely covers
                                                 than 204.9 kilopascals exemption in this                the annular space between the wall of                 § 63.102   General standards.
                                                 definition no longer applies on and after               the storage vessel or waste management                   (a) Except as specified in paragraph
                                                 July 15, 2027.                                          unit and the edge of the floating roof                (e) of this section, owners and operators
                                                    Transfer rack means the collection of                and is mounted such that there is a                   of sources subject to this subpart shall
                                                 loading arms and loading hoses, at a                    vapor space between the stored liquid                 comply with the requirements of
                                                 single loading rack, that are assigned to               and the bottom of the seal.                           subparts G and H of this part as
                                                 a chemical manufacturing process unit
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                                                                                                            Vent stream, as used in the process                specified in paragraphs (a)(1) through
                                                 subject to this subpart according to the                vent provisions, means the gas stream                 (4) of this section.
                                                 procedures specified in § 63.100(h) and                 flowing through the process vent.                        (1) The provisions set forth in this
                                                 are used to fill tank trucks and/or                        Waste management unit means the                    subpart and subpart G of this part shall
                                                 railcars with organic liquids that                      equipment, structure(s), and/or                       apply at all times except during periods
                                                 contain one or more of the organic                      device(s) used to convey, store, treat, or            of start-up or shutdown (as defined in
                                                 hazardous air pollutants listed in table                dispose of wastewater streams or                      § 63.101 of this subpart), malfunction, or
                                                 2 to this subpart. Transfer rack includes               residuals. Examples of waste                          non-operation of the chemical


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                                                 manufacturing process unit (or specific                 by the applicable standard at other                      (d) The requirements in this subpart
                                                 portion thereof) resulting in cessation of              times if this is not consistent with safety           and subparts G and H of this part are
                                                 the emissions to which this subpart and                 and good air pollution control practices,             federally enforceable under section 112
                                                 subpart G of this part apply. However,                  nor does it require the owner or operator             of the Act on and after the dates
                                                 if a start-up, shutdown, malfunction or                 to make any further efforts to reduce                 specified in § 63.100(k) of this subpart.
                                                 period of non-operation of one portion                  emissions if levels required by the                      (e) For each source as defined in
                                                 of a chemical manufacturing process                     applicable standard have been achieved.               § 63.101, beginning no later than the
                                                 unit does not affect the ability of a                   Determination of whether such                         compliance dates specified in
                                                 particular emission point to comply                     operation and maintenance procedures                  § 63.100(k)(10), paragraph (a) of this
                                                 with the specific provisions to which it                are being used will be based on                       section does not apply. Instead, owners
                                                 is subject, then that emission point shall              information available to the                          and operators of sources as defined in
                                                 still be required to comply with the                    Administrator which may include, but                  § 63.101 shall comply with the
                                                 applicable provisions of this subpart                   is not limited to, monitoring results,                requirements in this subpart and
                                                 and subpart G of this part during the                   review of operation and maintenance                   subparts G and H of this part at all
                                                 start-up, shutdown, malfunction or                      procedures (including the startup,                    times, except during periods of
                                                 period of non-operation. For example, if                shutdown, and malfunction plan                        nonoperation of the source (or specific
                                                 there is an overpressure in the reactor                 required in § 63.6(e)(3)), review of                  portion thereof) resulting in cessation of
                                                 area, a storage vessel in the chemical                  operation and maintenance records, and                the emissions to which this subpart or
                                                 manufacturing process unit would still                  inspection of the source. The measures                subpart G or H of this part applies.
                                                 be required to be controlled in                         to be taken may include, but are not                     (f) For each source as defined in
                                                 accordance with § 63.119. Similarly, the                limited to, air pollution control                     § 63.101, beginning no later than the
                                                 degassing of a storage vessel would not                 technologies, recovery technologies,                  compliance dates specified in
                                                 affect the ability of a process vent to                 work practices, pollution prevention,                 § 63.100(k)(10), at all times, owners and
                                                 meet the requirements of § 63.113.                      monitoring, and/or changes in the                     operators must operate and maintain
                                                    (2) The provisions set forth in subpart              manner of operation of the source. Back-              any source, including associated air
                                                 H of this part shall apply at all times                 up control devices are not required but               pollution control equipment and
                                                 except during periods of start-up or                    may be used if available.                             monitoring equipment, in a manner
                                                 shutdown, malfunction, or process unit                     (b) If, in the judgment of the                     consistent with safety and good air
                                                 shutdown (as defined in § 63.101(b)), or                Administrator, an alternative means of                pollution control practices for
                                                 non-operation of the chemical                           emission limitation will achieve a                    minimizing emissions. The general duty
                                                 manufacturing process unit (or specific                 reduction in organic HAP emissions at                 to minimize emissions does not require
                                                 portion thereof) in which the lines are                 least equivalent to the reduction in                  owners and operators to make any
                                                 drained and depressurized resulting in                  organic HAP emissions from that source                further efforts to reduce emissions if
                                                 cessation of the emissions to which                     achieved under any design, equipment,                 levels required by the applicable
                                                 subpart H of this part applies.                         work practice, or operational standards               standard have been achieved.
                                                    (3) The owner or operator shall not                  in subpart G or H of this part, the                   Determination of whether a source is
                                                 shut down items of equipment that are                   Administrator will publish in the                     operating in compliance with operation
                                                 required or utilized for compliance with                Federal Register a notice permitting the              and maintenance requirements will be
                                                 the provisions of this subpart or subpart               use of the alternative means for                      based on information available to the
                                                 G or H of this part during times when                   purposes of compliance with that                      Administrator which may include, but
                                                 emissions (or, where applicable,                        requirement.                                          is not limited to, monitoring results,
                                                 wastewater streams or residuals) are                       (1) The notice may condition the                   review of operation and maintenance
                                                 being routed to such items of                           permission on requirements related to                 procedures, review of operation and
                                                 equipment, if the shutdown would                        the operation and maintenance of the                  maintenance records, and inspection of
                                                 contravene requirements of this subpart                 alternative means.                                    the source.
                                                 or subpart G or H of this part applicable                  (2) Any notice under this paragraph                ■ 46. Amend § 63.103 by revising
                                                 to such items of equipment. This                        (b) shall be published only after public              paragraphs (b) introductory text, (b)(1)
                                                 paragraph does not apply if the item of                 notice and an opportunity for a hearing.              and (3), adding paragraph (b)(3)(ii),
                                                 equipment is malfunctioning, or if the                     (3) Any person seeking permission to               revising and republishing paragraphs
                                                 owner or operator must shut down the                    use an alternative means of compliance                (c)(2) and (3), and revising paragraphs
                                                 equipment to avoid damage due to a                      under this section shall collect, verify,             (d) through (h) to read as follows:
                                                 contemporaneous start-up, shutdown, or                  and submit to the Administrator
                                                 malfunction of the chemical                             information showing that the alternative              § 63.103 General compliance, reporting,
                                                 manufacturing process unit or portion                   means achieves equivalent emission                    and recordkeeping provisions.
                                                 thereof.                                                reductions.                                           *     *     *     *    *
                                                    (4) During start-ups, shutdowns, and                    (c) Each owner or operator of a source               (b) Performance tests and initial
                                                 malfunctions when the requirements of                   subject to this subpart shall obtain a                compliance determinations shall be
                                                 this subpart and subparts G and/or H of                 permit under 40 CFR part 70 or part 71                required only as specified in subparts G
                                                 this part do not apply pursuant to                      from the appropriate permitting                       and H of this part.
                                                 paragraphs (a)(1) through (3) of this                   authority by the date determined by 40                  (1) Initial performance tests and
                                                 section, the owner or operator shall                    CFR part 70 or part 71, as appropriate.               compliance determinations shall be
                                                 implement, to the extent reasonably                                                                           conducted according to the schedule
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                                                                                                            (1) If the EPA has approved a State
                                                 available, measures to prevent or                       operating permit program under 40 CFR                 and procedures in § 63.7(a) and the
                                                 minimize excess emissions to the extent                 part 70, the permit shall be obtained                 applicable sections of subparts G and H
                                                 practical. The general duty to minimize                 from the State authority. If the State                of this part. Beginning no later than the
                                                 emissions during a period of startup,                   operating permit program has not been                 compliance dates specified in
                                                 shutdown, or malfunction does not                       approved, the source shall apply to the               § 63.100(k)(10), except as outlined in
                                                 require the owner or operator to achieve                EPA Regional Office.                                  subpart H of this part, conduct
                                                 emission levels that would be required                     (2) [Reserved]                                     subsequent performance tests no later


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                                                 than 60 calendar months after the                       followed, and documentation of actions                sent to the Administrator at the
                                                 previous performance test.                              taken that are not consistent with the                addresses listed in § 63.13, except that
                                                 *       *    *       *     *                            plan. For example, if a start-up,                     requests for permission to use an
                                                    (3) Performance tests shall be                       shutdown, and malfunction plan                        alternative means of compliance as
                                                 conducted as specified in paragraph                     includes procedures for routing a                     provided for in § 63.102(b) of this
                                                 (b)(3)(i) or (ii) of this section.                      control device to a backup control                    subpart and application for approval of
                                                    (i) Except as specified in paragraph                 device (e.g., the incinerator for a                   a nominal efficiency as provided for in
                                                 (b)(3)(ii) of this section, performance                 halogenated stream could be routed to a               § 63.150 (i)(1) through (6) must be
                                                 tests shall be conducted according to the               flare during periods when the primary                 submitted to the Director of the EPA
                                                 provisions of § 63.7(e), except that                    control device is out of service), records            Office of Air Quality Planning and
                                                 performance tests shall be conducted at                 must be kept of whether the plan was                  Standards rather than to the
                                                 maximum representative operating                        followed. These records may take the                  Administrator or delegated authority.
                                                 conditions for the process. During the                  form of a ‘‘checklist,’’ or other form of                (1) Wherever subpart A of this part
                                                 performance test, an owner or operator                  recordkeeping that confirms                           specifies ‘‘postmark’’ dates, submittals
                                                 may operate the control or recovery                     conformance with the start-up,                        may be sent by methods other than the
                                                 device at maximum or minimum                            shutdown, and malfunction plan for the                U.S. Mail (e.g., by fax or courier).
                                                 representative operating conditions for                 event. For each source as defined in                  Submittals shall be sent on or before the
                                                 monitored control or recovery device                    § 63.101, on and after July 15, 2027, this            specified date.
                                                                                                         paragraph (c)(2)(ii) no longer applies;                  (2) If acceptable to both the
                                                 parameters, whichever results in lower
                                                                                                         however, for historical compliance                    Administrator and the owner or
                                                 emission reduction.
                                                                                                         purposes, a copy of the plan and these                operator of a source, reports may be
                                                    (ii) For each source as defined in
                                                                                                         records must be retained and available                submitted on electronic media.
                                                 § 63.101, beginning no later than the
                                                                                                         on-site for 5 years after July 15, 2027.                 (e) The owner or operator of a
                                                 compliance dates specified in                                                                                 chemical manufacturing process unit
                                                 § 63.100(k)(10), paragraph (b)(3)(i) of                    (iii) For continuous monitoring
                                                                                                         systems used to comply with subpart G                 which meets the criteria of
                                                 this section no longer applies and                                                                            § 63.100(b)(1) and (3), but not the
                                                 instead the owner or operator may not                   of this part, records documenting the
                                                                                                         completion of calibration checks and                  criteria of § 63.100(b)(2), shall comply
                                                 conduct performance tests during                                                                              with the requirements of either
                                                                                                         maintenance of continuous monitoring
                                                 periods of malfunction. Owners and                                                                            paragraph (e)(1) or (2) of this section.
                                                                                                         systems that are specified in the
                                                 operators must record the process                                                                                (1) Retain information, data, and
                                                                                                         manufacturer’s instructions or other
                                                 information that is necessary to                                                                              analysis used to determine that the
                                                                                                         written procedures that provide
                                                 document operating conditions during                                                                          chemical manufacturing process unit
                                                                                                         adequate assurance that the equipment
                                                 the test and include in such record an                                                                        does not use as a reactant or
                                                                                                         would reasonably be expected to
                                                 explanation to support that such                                                                              manufacture as a product or co-product
                                                                                                         monitor accurately.
                                                 conditions represent normal operation.                     (iv) Beginning no later than the                   any organic hazardous air pollutant.
                                                 Upon request, owners and operators                      compliance dates specified in                         Examples of information that could
                                                 must make available to the                              § 63.100(k)(10), the manufacturer’s                   document this include, but are not
                                                 Administrator such records as may be                    specifications specified in paragraph                 limited to, records of chemicals
                                                 necessary to determine the conditions of                (c)(2)(iii) of this section must include a            purchased for the process, analyses of
                                                 performance tests.                                      schedule for calibrations, preventative               process stream composition,
                                                 *       *    *       *     *                            maintenance procedures, a schedule for                engineering calculations, or process
                                                    (c) * * *                                            preventative maintenance, and                         knowledge.
                                                    (2) The owner or operator subject to                 corrective actions to be taken if a                      (2) When requested by the
                                                 subparts F, G, and H of this part shall                 calibration fails. If a continuous                    Administrator, demonstrate that the
                                                 keep the records specified in this                      monitoring system calibration fails, the              chemical manufacturing process unit
                                                 paragraph, as well as records specified                 continuous monitoring system is                       does not use as a reactant or
                                                 in subparts G and H.                                    considered to be inoperative until the                manufacture as a product or co-product
                                                    (i) Records of the occurrence and                    owner or operator takes corrective                    any organic hazardous air pollutant.
                                                 duration of each start-up, shutdown,                    action and the system passes                             (f) To qualify for the exemption
                                                 and malfunction of operation of process                 calibration. The owner or operator must               specified in § 63.100(b)(4), the owner or
                                                 equipment or of air pollution control                   record the nature and cause of instances              operator shall maintain the
                                                 equipment or continuous monitoring                      when the continuous monitoring system                 documentation of the information
                                                 systems used to comply with this                        is inoperative and the corrective action              required pursuant to § 63.100(b)(4)(i),
                                                 subpart or subpart G or H of this part                  taken.                                                and documentation of any update of this
                                                 during which excess emissions (as                          (3) Records of start-up, shutdown and              information requested by the EPA
                                                 defined in § 63.102(a)(4)) occur. For                   malfunction and continuous monitoring                 Regional Office, and shall provide the
                                                 each source as defined in § 63.101, on                  system calibration and maintenance are                documentation to the EPA Regional
                                                 and after July 15, 2027, this paragraph                 not required if they pertain solely to                Office upon request. The EPA Regional
                                                 (c)(2)(i) no longer applies; however, for               Group 2 emission points, as defined in                Office will notify the owner or operator,
                                                 historical compliance purposes, a copy                  § 63.101, that are not included in an                 after reviewing such documentation, if
                                                 of these records must be retained and                   emissions average. For each source as                 the source does not qualify for the
                                                                                                                                                               exemption specified in § 63.100(b)(4). In
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                                                 available on-site for at least five years               defined in § 63.101, on and after July 15,
                                                 after the date of occurrence.                           2027, the phrase ‘‘start-up, shutdown                 such cases, compliance with subpart H
                                                    (ii) For each start-up, shutdown, and                and malfunction and’’ in this paragraph               shall be required no later than 90 days
                                                 malfunction during which excess                         (c)(3) no longer applies.                             after expiration of the applicable
                                                 emissions (as defined in § 63.102(a)(4))                   (d) Unless required to be submitted                compliance date in § 63.100(k)(3), but in
                                                 occur, records that the procedures                      electronically via the EPA’s CEDRI, all               no event earlier than 90 days after the
                                                 specified in the source’s start-up,                     reports required under this subpart and               date of such notification by the EPA
                                                 shutdown, and malfunction plan were                     subparts G and H of this part must be                 Regional Office. Compliance with this


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                                                 subpart and subpart G of this part shall                   (1) The heat exchange system is                       (iii) The dates of efforts to repair
                                                 be no later than April 22, 1997, or as                  operated with the minimum pressure on                 leaks; and
                                                 otherwise specified in § 63.100(k)(2)(ii),              the cooling water side at least 35                       (iv) The method or procedure used to
                                                 unless an extension has been granted by                 kilopascals greater than the maximum                  confirm repair of a leak and the date
                                                 the EPA Regional Office or permitting                   pressure on the process side.                         repair was confirmed.
                                                 authority as provided in § 63.6(i).                        (2) There is an intervening cooling                   (2) Reports. If an owner or operator
                                                   (g) An owner or operator who elects                   fluid, containing less than 5 percent by              invokes the delay of repair provisions
                                                 to use the compliance extension                         weight of total hazardous air pollutants              for a heat exchange system, the
                                                 provisions of § 63.100(k)(6)(i) or (ii)                 listed in table 4 of this subpart, between            following information shall be
                                                 shall submit a compliance extension                     the process and the cooling water. This               submitted in the next semi-annual
                                                 request to the appropriate EPA Regional                 intervening fluid serves to isolate the               periodic report required by § 63.152(c).
                                                 Office no later than 45 days before the                 cooling water from the process fluid and              If the leak remains unrepaired, the
                                                 applicable compliance date in                           the intervening fluid is not sent through             information shall also be submitted in
                                                 § 63.100(k)(3), but in no event is                      a cooling tower or discharged. For                    each subsequent periodic report, until
                                                 submittal required earlier than May 10,                 purposes of this section, discharge does              repair of the leak is reported. In
                                                 1995. The request shall contain the                     not include emptying for maintenance                  addition, if an owner or operator is
                                                 information specified in                                purposes.                                             complying with paragraph (g) or (l) of
                                                 § 63.100(k)(5)(iv) and the reason                          (3) The once-through heat exchange                 this section, then the semi-annual
                                                 compliance cannot reasonably be                         system is subject to a National Pollution             periodic report must include the
                                                 achieved without a process unit                         Discharge Elimination System (NPDES)                  information specified in paragraph
                                                 shutdown, as defined in 40 CFR 63.101                   permit with an allowable discharge                    (f)(2)(vi) of this section.
                                                 or without replacement of the                           limit of 1 part per million or less above                (i) The owner or operator shall report
                                                 compressor or recasting of the distance                 influent concentration or 10 percent or               the presence of the leak by identifying
                                                 piece.                                                  less above influent concentration,                    the heat exchange system and the date
                                                   (h) An owner or operator who elects                   whichever is greater. For each source as              that the leak was detected.
                                                 to use the compliance extension                         defined in § 63.101, beginning no later                  (ii) The owner or operator shall report
                                                 provisions of § 63.100(k)(8) shall submit               than the compliance dates specified in                whether or not the leak has been
                                                 to the appropriate EPA Regional Office                  § 63.100(k)(10), this paragraph (a)(3) no             repaired.
                                                 a brief description of the process                      longer applies.                                          (iii) The owner or operator shall
                                                 change, identify the HAP eliminated,                       (4) Except as specified in paragraph               report the reason(s) for delay of repair.
                                                 and the expected date of cessation of                   (a)(4)(v) of this section, the once-                  If delay of repair is invoked due to the
                                                 use or production of HAP. The                           through heat exchange system is subject               reasons described in paragraph (e)(2) of
                                                 description shall be submitted no later                                                                       this section, documentation of
                                                                                                         to an NPDES permit that:
                                                 than May 10, 1995, or with the Notice                                                                         emissions estimates must also be
                                                                                                            (i) Requires monitoring of a
                                                 of Compliance Status as required in                                                                           submitted.
                                                                                                         parameter(s) or condition(s) to detect a
                                                 § 63.182(c), whichever is later.                                                                                 (iv) If the leak remains unrepaired, the
                                                                                                         leak of process fluids into cooling water;
                                                 ■ 47. Amend § 63.104 by revising                                                                              owner or operator shall report the
                                                                                                            (ii) Specifies or includes the normal
                                                 paragraphs (a) and (f) and adding                                                                             expected date of repair.
                                                                                                         range of the parameter or condition;
                                                 paragraphs (g) through (l) to read as                                                                            (v) If the leak is repaired, the owner
                                                                                                            (iii) Requires monitoring for the
                                                 follows:                                                                                                      or operator shall report the date the leak
                                                                                                         parameters selected as leak indicators
                                                                                                                                                               was successfully repaired.
                                                 § 63.104 Heat exchange system                           no less frequently than monthly for the                  (vi) For each heat exchange system
                                                 requirements.                                           first six months and quarterly thereafter;            subject to paragraph (g) or (l) of this
                                                    (a) Unless one or more of the                        and                                                   section, the following information must
                                                 conditions specified in paragraphs (a)(1)                  (iv) Requires the owner or operator to             be submitted in each semi-annual
                                                 through (6) or paragraph (l) of this                    report and correct leaks to the cooling               periodic report required by § 63.152(c).
                                                 section are met, owners and operators of                water when the parameter or condition                    (A) The number of heat exchange
                                                 sources subject to this subpart shall                   exceeds the normal range.                             systems at the plant site subject to the
                                                 monitor each heat exchange system                          (v) For each source as defined in                  monitoring requirements in paragraph
                                                 used to cool process equipment in a                     § 63.101, beginning no later than the                 (g) or (l) of this section during the
                                                 chemical manufacturing process unit                     compliance dates specified in                         reporting period.
                                                 meeting the conditions of § 63.100(b)(1)                § 63.100(k)(10), this paragraph (a)(4) no                (B) The number of heat exchange
                                                 through (3), except for chemical                        longer applies.                                       systems subject to the monitoring
                                                 manufacturing process units meeting                     *       *    *     *     *                            requirements in paragraph (g) or (l) of
                                                 the condition specified in § 63.100(c),                    (f)(1) Required records. The owner or              this section at the plant site found to be
                                                 according to the provisions in either                   operator shall retain the records                     leaking during the reporting period.
                                                 paragraph (b) or (c) of this section, and               identified in paragraphs (f)(1)(i) through               (C) For each monitoring location
                                                 if applicable, paragraph (g) of this                    (iv) of this section, and if applicable,              where a leak was identified during the
                                                 section. Whenever a leak is detected, the               paragraph (f)(3) of this section, as                  reporting period, identification of the
                                                 owner or operator shall comply with the                 specified in § 63.103(c)(1).                          monitoring location (e.g., unique
                                                 requirements in paragraph (d) of this                      (i) Monitoring data required by this               monitoring location or heat exchange
                                                 section, and if applicable, paragraphs                  section indicating a leak and the date                system ID number), the measured total
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                                                 (h) through (j) of this section. Owners                 when the leak was detected, and if                    strippable hydrocarbon concentration
                                                 and operators of heat exchange systems                  demonstrated not to be a leak, the basis              (in ppmv as methane) or total
                                                 in a chemical manufacturing process                     for that determination;                               hydrocarbon mass emissions rate (in kg/
                                                 unit meeting the conditions of                             (ii) Records of any leaks detected by              hr as methane) (if complying with
                                                 § 63.100(b)(1) through (3) must also                    procedures subject to paragraph (c)(2) of             paragraph (g) of this section) or the
                                                 comply with paragraph (k) of this                       this section and the date the leak was                measured concentration of the
                                                 section.                                                discovered;                                           monitored substance(s) (in ppmv) (if


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                                                 complying with paragraph (l) of this                    the cooling water for leaks according to              emissions for the leaking heat exchange
                                                 section), the date the leak was first                   paragraph (g)(1) of this section) or                  system or heat exchanger for the final
                                                 identified, and, if applicable, the date                monitored substance(s) emissions (if                  delay of repair monitoring interval by
                                                 the source of the leak was identified;                  monitoring the cooling water for leaks                multiplying the duration of the final
                                                    (D) For leaks that were repaired                     according to paragraph (l) of this                    delay of repair monitoring interval by
                                                 during the reporting period (including                  section) from the leaking heat exchange               the mass emissions rate determined for
                                                 delayed repairs), identification of the                 system or heat exchanger for each                     the last monitoring event prior to the re-
                                                 monitoring location associated with the                 required delay of repair monitoring                   monitoring event used to verify the leak
                                                 repaired leak, the total strippable                     interval following the procedures in                  was repaired. The duration of the final
                                                 hydrocarbon concentration or total                      paragraphs (f)(3)(iv)(D)(1) through (4) of            delay of repair monitoring interval is the
                                                 hydrocarbon mass emissions rate (if                     this section.                                         time period starting at midnight of the
                                                 complying with paragraph (g) of this                       (1) If an owner or operator complies               day of the last monitoring event prior to
                                                 section) or the measured concentration                  with the total strippable hydrocarbon                 re-monitoring to verify the leak was
                                                 of the monitored substance(s) (if                       concentration leak action level, as                   repaired and ending at the time of the
                                                 complying with paragraph (l) of this                    specified in paragraph (g)(4) of this                 re-monitoring event that verified that
                                                 section) measured during re-monitoring                  section, then the owner or operator must              the leak was repaired.
                                                 to verify repair, and the re-monitoring                 calculate the mass emissions rate by                     (4) If an owner or operator monitors
                                                 date (i.e., the effective date of repair);              complying with the requirements of                    the cooling water for leaks according to
                                                 and                                                     paragraph (g)(3)(ii) of this section or by            paragraph (l) of this section, then the
                                                    (E) For each delayed repair,                         determining the mass flow rate of the                 owner or operator must calculate the
                                                 identification of the monitoring location               cooling water at the monitoring location              mass emissions rate by determining the
                                                 associated with the leak for which                      where the leak was detected. If the                   mass flow rate of the cooling water at
                                                 repair is delayed, the date when the                    monitoring location is an individual                  the monitoring location where the leak
                                                 delay of repair began, the date the repair              cooling tower riser, determine the total              was detected. Cooling water mass flow
                                                 was completed or is expected to be                      cooling water mass flow rate to the                   rates may be determined using direct
                                                 completed (if the leak is not repaired                  cooling tower. Cooling water mass flow                measurement, pump curves, heat
                                                 during the reporting period), the total                 rates may be determined using direct                  balance calculations, or other
                                                 strippable hydrocarbon concentration or                 measurement, pump curves, heat                        engineering methods. Once determined,
                                                 total hydrocarbon mass emissions rate                   balance calculations, or other                        multiply the mass flow rate of the
                                                 (if complying with paragraph (g) of this                engineering methods. If an owner or                   cooling water by the concentration of
                                                 section) or the measured concentration                  operator determines the mass flow rate                the measured substance(s).
                                                 of the monitored substance(s) (if                       of the cooling water, calculate the mass                 (g) For each source as defined in
                                                 complying with paragraph (l) of this                    emissions rate by converting the                      § 63.101, beginning no later than the
                                                 section) and date of each monitoring                    stripping gas leak concentration (in                  compliance dates specified in
                                                 event conducted on the delayed repair                   ppmv as methane) to an equivalent                     § 63.100(k)(10), owners and operators
                                                 during the reporting period, and an                     liquid concentration, in parts per                    must monitor the cooling water for the
                                                 estimate in pounds of the potential total               million by weight (ppmw), using                       presence of total strippable
                                                 hydrocarbon emissions or monitored                      equation 7–1 from ‘‘Air Stripping                     hydrocarbons that indicate a leak
                                                 substance(s) emissions over the                         Method (Modified El Paso Method) for                  according to paragraph (g)(1) of this
                                                 reporting period associated with the                    Determination of Volatile Organic                     section, and if an owner or operator
                                                 delayed repair.                                         Compound Emissions from Water                         detects a leak pursuant to the
                                                    (3) Additional records. For each heat                Sources’’ (incorporated by reference—                 procedures in this paragraph, then the
                                                 exchange system subject to paragraph                    see § 63.14) and multiply the equivalent              owner or operator must repair it
                                                 (g) or (l) of this section, owners and                  liquid concentration by the mass flow                 according to paragraphs (h) and (i) of
                                                 operators must also keep records in                     rate of the cooling water.                            this section, unless repair is delayed
                                                 paragraphs (f)(3)(i) through (iv) of this                  (2) For delay of repair monitoring                 according to paragraph (j) of this
                                                 section.                                                intervals prior to repair of the leak,                section. The requirements in this
                                                    (i) Monitoring data required by                      calculate the potential total hydrocarbon             paragraph do not apply to heat exchange
                                                 paragraph (g) or (l) of this section that               emissions or monitored substance(s)                   systems that have a maximum cooling
                                                 indicate a leak, the date the leak was                  emissions for the leaking heat exchange               water flow rate of 10 gallons per minute
                                                 detected, or, if applicable, the basis for              system or heat exchanger for the                      or less.
                                                 determining there is no leak.                           monitoring interval by multiplying the                   (1) For each recirculating heat
                                                    (ii) The dates of efforts to repair leaks.           mass emissions rate, determined in                    exchange system subject to the
                                                    (iii) The method or procedures used                  paragraph (g)(3)(ii) or (f)(3)(iv)(D)(1) or           requirements of paragraph (g) of this
                                                 to confirm repair of a leak and the date                (4) of this section, by the duration of the           section, owners and operators must
                                                 the repair was confirmed.                               delay of repair monitoring interval. The              collect and analyze a sample from the
                                                    (iv) Documentation of delay of repair                duration of the delay of repair                       location(s) described in either paragraph
                                                 as specified in paragraphs (f)(3)(iv)(A)                monitoring interval is the time period                (g)(1)(i) or (ii) of this section.
                                                 through (f)(3)(iv)(D) of this section.                  starting at midnight on the day of the                   (i) Each cooling tower return line or
                                                    (A) The reason(s) for delaying repair.               previous monitoring event or at                       any representative riser within the
                                                    (B) A schedule for completing the                    midnight on the day the repair would                  cooling tower prior to exposure to air for
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                                                 repair as soon as practical.                            have had to be completed if the repair                each heat exchange system.
                                                    (C) The date and concentration or                    had not been delayed, whichever is                       (ii) Selected heat exchanger exit
                                                 mass emissions rate of the leak as first                later, and ending at midnight of the day              line(s), so that each heat exchanger or
                                                 identified and the results of all                       the of the current monitoring event.                  group of heat exchangers within a heat
                                                 subsequent monitoring events during                        (3) For delay of repair monitoring                 exchange system is covered by the
                                                 the delay of repair.                                    intervals ending with a repaired leak,                selected monitoring location(s).
                                                    (D) An estimate of the potential total               calculate the potential total hydrocarbon                (2) For each once-through heat
                                                 hydrocarbon emissions (if monitoring                    emissions or monitored substance(s)                   exchange system, owners and operators


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                                                 must collect and analyze a sample from                     (4) Except as specified in paragraph               monitoring at the monitoring location
                                                 the location(s) described in paragraph                  (g)(6) of this section, for each heat                 where the leak was identified according
                                                 (g)(2)(i) of this section. The owner or                 exchange system, owners and operators                 to the method specified in paragraph
                                                 operator may also elect to collect and                  must initially monitor monthly for 6-                 (g)(3) of this section to verify that the
                                                 analyze an additional sample from the                   months beginning upon startup and                     total strippable hydrocarbon
                                                 location(s) described in paragraph                      monitor quarterly thereafter using a leak             concentration or total hydrocarbon mass
                                                 (g)(2)(ii) of this section.                             action level defined as a total strippable            emissions rate is below the applicable
                                                    (i) Selected heat exchanger exit                     hydrocarbon concentration (as methane)                leak action level. Repair may also
                                                 line(s), so that each heat exchanger or                 in the stripping gas of 6.2 ppmv or, for              include performing the additional
                                                 group of heat exchangers within a heat                  heat exchange systems with a                          monitoring in paragraph (i) of this
                                                 exchange system is covered by the                       recirculation rate of 10,000 gallons per              section to verify that the total strippable
                                                 selected monitoring location(s). The                    minute or less, the owner or operator                 hydrocarbon concentration or total
                                                 selected monitoring location may be at                  may monitor quarterly using a leak                    hydrocarbon mass emissions rate is
                                                 a point where discharges from multiple                  action level defined as a total                       below the applicable leak action level.
                                                 heat exchange systems are combined                      hydrocarbon mass emissions rate from                  Actions that can be taken to achieve
                                                 provided that the combined cooling                      the heat exchange system (as methane)                 repair include but are not limited to:
                                                 water flow rate at the monitoring                       of 0.18 kg/hr. If a leak is detected as                  (1) Physical modifications to the
                                                 location does not exceed 40,000 gallons                 specified in paragraph (g)(5) of this                 leaking heat exchanger, such as welding
                                                 per minute.                                             section, then owners and operators must               the leak or replacing a tube;
                                                    (ii) The inlet water feed line for a                 monitor monthly until the leak has been                  (2) Blocking the leaking tube within
                                                 once-through heat exchange system                       repaired according to the requirements                the heat exchanger;
                                                 prior to any heat exchanger. If multiple                in paragraph (h) or (i) of this section.                 (3) Changing the pressure so that
                                                 heat exchange systems use the same                      Once the leak has been repaired                       water flows into the process fluid;
                                                 water feed (i.e., inlet water from the                  according to the requirements in                         (4) Replacing the heat exchanger or
                                                 same primary water source), the owner                   paragraph (h) or (i) of this section,                 heat exchanger bundle; or
                                                 or operator may monitor at one                          quarterly monitoring for the heat                        (5) Isolating, bypassing, or otherwise
                                                 representative location and use the                     exchange system may resume. The                       removing the leaking heat exchanger
                                                 monitoring results for that sampling                    monitoring frequencies specified in this              from service until it is otherwise
                                                 location for all heat exchange systems                  paragraph also apply to the inlet water               repaired.
                                                 that use that same water feed.                          feed line for a once-through heat                        (6) For heat exchange systems in
                                                    (3) If an owner or operator complies                 exchange system, if monitoring of the                 ethylene oxide service, as defined in
                                                 with the total strippable hydrocarbon                   inlet water feed is elected as provided               § 63.101, paragraph (j) of this section
                                                 concentration leak action level as                      in paragraph (g)(2)(ii) of this section.              does not apply, and owners and
                                                 specified in paragraph (g)(4) of this                      (5) A leak is defined as described in              operators must repair the leak to reduce
                                                 section, then the owner or operator must                paragraph (g)(5)(i) or (ii) of this section,          the concentration or mass emissions rate
                                                 comply with the requirements in                         as applicable.                                        to below the applicable leak action level
                                                 paragraph (g)(3)(i) of this section. If an                 (i) For once-through heat exchange                 as soon as practicable, but no later than
                                                 owner or operator complies with the                     systems for which the inlet water feed                15 days after the sample was collected.
                                                 total hydrocarbon mass emissions rate                   is monitored as described in paragraph                Delay of repair of heat exchange systems
                                                 leak action level as specified in                       (g)(2)(ii) of this section, a leak is                 in ethylene oxide service for which
                                                 paragraph (g)(4) of this section, then the              detected if the difference in the                     leaks have been detected is allowed if
                                                 owner or operator must comply with the                  measurement value of the sample taken                 the equipment is isolated from the
                                                 requirements in paragraphs (g)(3)(i) and                from a location specified in paragraph                process such that it is no longer in
                                                 (ii) of this section.                                   (g)(2)(i) of this section and the                     ethylene oxide service.
                                                    (i) Owners and operators must                        measurement value of the                                 (i) If an owner or operator detects a
                                                 determine the total strippable                          corresponding sample taken from the                   leak when monitoring a cooling tower
                                                 hydrocarbon concentration (in parts per                 location specified in paragraph (g)(2)(ii)            return line under paragraph (g)(1)(i) of
                                                 million by volume (ppmv) as methane)                    of this section equals or exceeds the leak            this section, then the owner or operator
                                                 at each monitoring location using the                   action level.                                         may conduct additional monitoring of
                                                 ‘‘Air Stripping Method (Modified El                        (ii) For all other heat exchange                   each heat exchanger or group of heat
                                                 Paso Method) for Determination of                       systems, a leak is detected if a                      exchangers associated with the heat
                                                 Volatile Organic Compound Emissions                     measurement value of the sample taken                 exchange system for which the leak was
                                                 from Water Sources’’ (incorporated by                   from a location specified in paragraph                detected, as provided in paragraph
                                                 reference—see § 63.14) using a flame                    (g)(1)(i) or (ii) or (g)(2)(i) of this section        (g)(1)(ii) of this section. If no leaks are
                                                 ionization detector (FID) analyzer for                  equals or exceeds the leak action level.              detected when monitoring according to
                                                 on-site determination as described in                      (6) For heat exchange systems in                   the requirements of paragraph (g)(1)(ii)
                                                 Section 6.1 of the Modified El Paso                     ethylene oxide service, as defined in                 of this section, the heat exchange system
                                                 Method.                                                 § 63.101, the monitoring frequency is                 is considered to have met the repair
                                                    (ii) Owners and operators must                       weekly.                                               requirements through re-monitoring of
                                                 convert the total strippable hydrocarbon                   (h) If a leak is detected using the                the heat exchange system, as provided
                                                 concentration (in ppmv as methane) to                   methods described in paragraph (g) of                 in paragraph (h) of this section.
                                                 a total hydrocarbon mass emissions rate                 this section, owners and operators must                  (j) Owners and operators may delay
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                                                 (as methane) using the calculations in                  repair the leak to reduce the                         repair when one of the conditions in
                                                 Section 7.0 of ‘‘Air Stripping Method                   concentration or mass emissions rate to               paragraph (j)(1) or (2) of this section is
                                                 (Modified El Paso Method) for                           below the applicable leak action level as             met and the leak is less than the delay
                                                 Determination of Volatile Organic                       soon as practicable, but no later than 45             of repair action level specified in
                                                 Compound Emissions from Water                           days after identifying the leak, except as            paragraph (j)(3) of this section. Owners
                                                 Sources’’ (incorporated by reference—                   specified in paragraph (h)(6) or (j) of this          and operators must determine if a delay
                                                 see § 63.14).                                           section. Repair must include re-                      of repair is necessary as soon as


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                                                 practicable, but no later than 45 days                  (2)(i) of this section equals or exceeds              § 63.105 Maintenance wastewater
                                                 after first identifying the leak.                       the delay of repair action level.                     requirements.
                                                    (1) If the repair is technically                        (k) For each source as defined in                  *      *     *     *     *
                                                 infeasible without a shutdown and the                   § 63.101, beginning no later than the                    (d) The owner or operator shall
                                                 total strippable hydrocarbon                            compliance dates specified in                         incorporate the procedures described in
                                                 concentration or total hydrocarbon mass                 § 63.100(k)(11), owners and operators                 paragraphs (b) and (c) of this section as
                                                 emissions rate is initially and remains                 must not inject water into or dispose of              part of the startup, shutdown, and
                                                 less than the delay of repair action level              water through any heat exchange system                malfunction plan required under
                                                 for all monitoring periods during the                   in a chemical manufacturing process                   § 63.6(e)(3). For each source as defined
                                                 delay of repair, then the owner or                      unit meeting the conditions of                        in § 63.101, on and after July 15, 2027,
                                                 operator may delay repair until the next                § 63.100(b)(1) through (3) if the water               this paragraph no longer applies.
                                                 scheduled shutdown of the heat                          contains any amount of ethylene oxide,                   (e) The owner or operator shall
                                                 exchange system. If, during subsequent                  has been in contact with any process                  maintain a record of the information
                                                 monitoring, the delay of repair action                  stream containing ethylene oxide, or the              required by paragraphs (b) and (c) of
                                                 level is exceeded, then owners and                      water is considered wastewater as                     this section as part of the start-up,
                                                 operators must repair the leak within 30                defined in § 63.101.                                  shutdown, and malfunction plan
                                                 days of the monitoring event in which                      (l) If 99 percent by weight or more of             required under § 63.6(e)(3). For each
                                                 the leak was equal to or exceeded the                   the organic compounds that could leak                 source as defined in § 63.101, on and
                                                 delay of repair action level.                           into the heat exchange system are water               after July 15, 2027, the phrase ‘‘as part
                                                    (2) If the necessary equipment, parts,                                                                     of the start-up, shutdown, and
                                                                                                         soluble and have a Henry’s Law
                                                 or personnel are not available and the                                                                        malfunction plan required under
                                                                                                         Constant less than 5.0E–6 atmospheres-
                                                 total strippable hydrocarbon                                                                                  § 63.6(e)(3)’’ in this paragraph no longer
                                                 concentration or total hydrocarbon mass                 cubic meters/mol at 25 degrees Celsius,
                                                                                                         beginning no later than the compliance                applies.
                                                 emissions rate is initially and remains                                                                       ■ 49. Amend § 63.107 by revising
                                                 less than the delay of repair action level              dates specified in § 63.100(k)(10),
                                                                                                         owners and operators may monitor the                  paragraph (i) and adding paragraph (j) to
                                                 for all monitoring periods during the                                                                         read as follows:
                                                 delay of repair, then the owner or                      cooling water for leaks according to the
                                                 operator may delay the repair for a                     requirements in paragraph (b) of this                 § 63.107 Identification of process vents
                                                 maximum of 120 calendar days. Owners                    section in lieu of using the Modified El              subject to this subpart.
                                                 and operators must demonstrate that the                 Paso Method. If an owner or operator                  *       *    *     *    *
                                                 necessary equipment, parts, or                          detects a leak according to paragraph (b)                (i) Except as specified in paragraph (j)
                                                 personnel were not available. If, during                of this section, then the owner or                    of this section, the gas stream would
                                                 subsequent monitoring, the delay of                     operator must repair it according to                  meet the characteristics specified in
                                                 repair action level is exceeded, then                   paragraph (l)(1) of this section, unless              paragraphs (b) through (g) of this
                                                 owners and operators must repair the                    repair is delayed according to paragraph              section, but, for purposes of avoiding
                                                 leak within 30 days of the monitoring                   (l)(2) of this section.                               applicability, has been deliberately
                                                 event in which the leak was equal to or                    (1) If a leak is detected using the                interrupted, temporarily liquefied,
                                                 exceeded the delay of repair action                     methods described in paragraph (l) of                 routed through any item of equipment
                                                 level.                                                  this section, the owner or operator must              for no process purpose, or disposed of
                                                    (3) The delay of repair action level is              repair the leak as soon as practicable,               in a flare that does not meet the criteria
                                                 a total strippable hydrocarbon                          but no later than 45 days after                       in § 63.11(b), or an incinerator that does
                                                 concentration (as methane) in the                       identifying the leak, except as specified             not reduce emissions of organic HAP by
                                                 stripping gas of 62 ppmv or, for heat                   in paragraph (l)(2) of this section. Repair           98 percent or to a concentration of 20
                                                 exchange systems with a recirculation                   must include re-monitoring at the                     parts per million by volume, whichever
                                                 rate of 10,000 gallons per minute or less,              monitoring location where the leak was                is less stringent.
                                                 the delay of repair action level is a total             identified to verify that the criteria in                (j) For each source as defined in
                                                 hydrocarbon mass emissions rate (as                     paragraph (b)(6) of this section is no                § 63.101, beginning no later than the
                                                 methane) of 1.8 kg/hr. The delay of                     longer met. Actions that can be taken to              compliance dates specified in
                                                 repair action level is assessed as                      achieve repair include but are not                    § 63.100(k)(10), the phrase ‘‘disposed of
                                                 described in paragraph (j)(3)(i) or (ii) of             limited to:                                           in a flare that does not meet the criteria
                                                 this section, as applicable.                               (i) Physical modifications to the                  in § 63.11(b)’’ in paragraph (i) of this
                                                    (i) For once-through heat exchange                   leaking heat exchanger, such as welding               section is replaced with ‘‘disposed of in
                                                 systems for which the inlet water feed                  the leak or replacing a tube;                         a flare that does not meet the criteria in
                                                 is monitored as described in paragraph                     (ii) Blocking the leaking tube within              § 63.108’’.
                                                 (g)(2)(ii) of this section, the delay of                the heat exchanger;                                   ■ 50. Add § 63.108 to read as follows:
                                                 repair action level is exceeded if the                     (iii) Changing the pressure so that
                                                 difference in the measurement value of                                                                        § 63.108   Flare requirements.
                                                                                                         water flows into the process fluid;
                                                 the sample taken from a location                                                                                (a) For any flare that is used to reduce
                                                                                                            (iv) Replacing the heat exchanger or
                                                 specified in paragraph (g)(2)(i) of this                                                                      organic HAP emissions from a chemical
                                                                                                         heat exchanger bundle; or
                                                 section and the measurement value of                                                                          manufacturing process unit, the owner
                                                                                                            (v) Isolating, bypassing, or otherwise             or operator may elect to comply with
                                                 the corresponding sample taken from
                                                                                                         removing the leaking heat exchanger
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                                                 the location specified in paragraph                                                                           the requirements in this section in lieu
                                                                                                         from service until it is otherwise                    of the requirements of § 63.11(b) and the
                                                 (g)(2)(ii) of this section equals or
                                                                                                         repaired.                                             requirements referenced therein. The
                                                 exceeds the delay of repair action level.
                                                    (ii) For all other heat exchange                        (2) The owner or operator may delay                owner or operator may also elect to
                                                 systems, the delay of repair action level               repair when the conditions in paragraph               comply with the requirements in this
                                                 is exceeded if a measurement value of                   (e) of this section are met.                          section pursuant to the overlap
                                                 the sample taken from a location                        ■ 48. Amend § 63.105 by revising                      provisions provided in § 63.110(j).
                                                 specified in paragraph (g)(1)(i), (1)(ii), or           paragraphs (d) and (e) to read as follows:            However, for each source as defined in


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                                                 § 63.101 and for each source as defined                 substitute ‘‘pilot flame or flare flame’’             all times when regulated material is
                                                 in § 63.191, beginning no later than the                for each occurrence of ‘‘pilot flame.’’               routed to that stage of burners. Each
                                                 compliance dates specified in                              (c) When determining compliance                    stage of burners that cross-lights in the
                                                 § 63.100(k)(10), the provisions specified               with the flare tip velocity and                       pressure-assisted multi-point flare must
                                                 in paragraphs (a)(1) through (22) of this               combustion zone operating limits                      have at least two pilots with at least one
                                                 section no longer apply. Instead, if an                 specified in § 63.670(d) and (e), the                 continuously lit and capable of igniting
                                                 owner or operator reduces organic HAP                   requirement effectively applies starting              all regulated material that is routed to
                                                 emissions from a chemical                               with the 15-minute block that includes                that stage of burners. Each 15-minute
                                                 manufacturing process unit by venting                   a full 15 minutes of the flaring event.               block during which there is at least one
                                                 emissions through a closed-vent system                  The owner or operator is required to                  minute where no pilot flame is present
                                                 to a steam-assisted, air-assisted, non-                 demonstrate compliance with the                       on a stage of burners when regulated
                                                 assisted, or pressure-assisted multi-                   velocity and NHVcz requirements                       material is routed to the flare is a
                                                 point flare, then the owner or operator                 starting with the block that contains the             violation of the standard. Violations in
                                                 must meet the applicable requirements                   fifteenth minute of a flaring event. The              different 15-minute blocks from the
                                                 for flares as specified in §§ 63.670 and                owner or operator is not required to                  same event are considered separate
                                                 63.671, including the provisions in                     demonstrate compliance for the                        violations. The pilot flame(s) on each
                                                 tables 12 and 13 to subpart CC of this                  previous 15-minute block in which the                 stage of burners that use cross-lighting
                                                 part, except as specified in paragraphs                 event started and contained only a                    must be continuously monitored by a
                                                 (b) through (o) of this section. This                   fraction of flow.                                     thermocouple or any other equivalent
                                                 requirement also applies to any flare                      (d) Instead of complying with                      device used to detect the presence of a
                                                 using fuel gas from a fuel gas system, of               § 63.670(o)(2)(i), owners and operators               flame;
                                                 which 50 percent or more of the fuel gas                must develop and implement the flare                     (5) Unless the owner or operator
                                                 is derived from a chemical                              management plan no later than the                     chooses to conduct a cross-light
                                                 manufacturing process unit, as                          compliance dates specified in                         performance demonstration as specified
                                                 determined on an annual average basis.                  § 63.100(k)(10).                                      in this paragraph, owners and operators
                                                 For purposes of compliance with this                       (e) Instead of complying with                      must ensure that if a stage of burners on
                                                 paragraph, the following terms are                      § 63.670(o)(2)(iii), if required to develop           the flare uses cross-lighting, that the
                                                 defined in § 63.641: Assist air, assist                 a flare management plan and submit it                 distance between any two burners in
                                                 steam, center steam, combustion zone,                   to the Administrator, then owners and                 series on that stage is no more than 6
                                                 combustion zone gas, flare, flare purge                 operators must also submit all versions               feet when measured from the center of
                                                 gas, flare supplemental gas, flare sweep                of the plan in portable document format               one burner to the next burner. A
                                                 gas, flare vent gas, lower steam, net                   (PDF) to the EPA following the                        distance greater than 6 feet between any
                                                 heating value, perimeter assist air, pilot              procedure specified in § 63.9(k), except              two burners in series may be used
                                                 gas, premix assist air, total steam, and                any medium submitted through mail                     provided the owner or operator
                                                 upper steam.                                            must be sent to the attention of the                  conducts a performance demonstration
                                                    (1) Section 63.107(i) related to criteria            Hazardous Organic Chemical                            that confirms the pressure-assisted
                                                 in § 63.11(b);                                          Manufacturing Sector Lead.                            multi-point flare will cross-light a
                                                    (2) Section 63.113(a)(1);                               (f) Section 63.670(o)(3)(ii) and all               minimum of three burners and the
                                                    (3) Section 63.114(a)(2);                            references to it do not apply. Instead,               spacing between the burners and
                                                    (4) Section 63.116(a)(1) through (3);                the owner or operator must comply with                location of the pilot flame must be
                                                    (5) Section 63.117(a)(5)(i) through                  the maximum flare tip velocity                        representative of the projected
                                                 (iii);                                                  operating limit at all times.                         installation. The compliance
                                                    (6) Section 63.118(f)(5);                               (g) Substitute ‘‘chemical                          demonstration must be approved by the
                                                    (7) The last sentence in § 63.119(e)(1)              manufacturing process unit’’ for each                 permitting authority and a copy of this
                                                 related to flares;                                      occurrence of ‘‘petroleum refinery.’’                 approval must be maintained onsite.
                                                    (8) Section 63.120(e)(1) through (6);                   (h) Each occurrence of ‘‘refinery’’ does           The compliance demonstration report
                                                    (9) Section 63.122(c)(2) and (g)(3);                 not apply.                                            must include: a protocol describing the
                                                    (10) Section 63.126(b)(2)(i);                           (i) If a pressure-assisted multi-point             test methodology used, associated test
                                                    (11) Section 63.127(a)(2);                           flare is used as a control device, then               method QA/QC parameters, the waste
                                                    (12) Section 63.128(b)(1) through (3);               owners and operators must meet the                    gas composition and NHVcz of the gas
                                                    (13) Section 63.129(a)(5)(i) through                 following conditions:                                 tested, the velocity of the waste gas
                                                 (iii);                                                     (1) The owner or operator is not                   tested, the pressure-assisted multi-point
                                                    (14) Section 63.130(a)(2)(i), (c), and               required to comply with the flare tip                 flare burner tip pressure, the time,
                                                 (d)(5);                                                 velocity requirements in § 63.670(d) and              length, and duration of the test, records
                                                    (15) Section 63.139(c)(3) and (d)(3);                (k);                                                  of whether a successful cross-light was
                                                    (16) Section 63.145(j)(1) through (3);                  (2) The NHVcz for pressure-assisted                observed over all of the burners and the
                                                    (17) Section 63.146(b)(7)(i)(A) through              mulit-point flares is 800 Btu/scf;                    length of time it took for the burners to
                                                 (C);                                                       (3) Owners and operators must                      cross-light, records of maintaining a
                                                    (18) V63.147(d)(1);                                  determine the 15-minute block average                 stable flame after a successful cross-light
                                                    (19) Section 63.172(d);                              NHVvg using only the direct calculation               and the duration for which this was
                                                    (20) Section 63.180(e)(1) through (3);               method specified in § 63.670(l)(5)(ii);               observed, records of any smoking events
                                                                                                            (4) Instead of complying with
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                                                    (21) Section 63.181(g)(1)(iii); and                                                                        during the cross-light, waste gas
                                                    (22) The phrase ‘‘including periods                  § 63.670(b) and (g), if a pressure-assisted           temperature, meteorological conditions
                                                 when a flare pilot light system does not                multi-point flare uses cross-lighting on              (e.g., ambient temperature, barometric
                                                 have a flame’’ in § 63.181(g)(2)(i) of                  a stage of burners rather than having an              pressure, wind speed and direction, and
                                                 subpart H of this part.                                 individual pilot flame on each burner,                relative humidity), and whether there
                                                    (b) When determining compliance                      then owners and operators must operate                were any observed flare flameouts; and
                                                 with the pilot flame requirements                       each stage of the pressure-assisted                      (6) Owners and operators must install
                                                 specified in § 63.670(b) and (g),                       multi-point flare with a flame present at             and operate pressure monitor(s) on the


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                                                 main flare header, as well as a valve                   compounds found during a pre-survey                     (6) Owners and operators must meet
                                                 position indicator monitoring system for                or known to be in the gas through                     applicable requirements in Performance
                                                 each staging valve to ensure that the                   process knowledge.                                    Specification 9 in appendix B to part 60
                                                 flare operates within the proper range of                  (2) Calibration gas cylinders must be              of this chapter for continuous
                                                 conditions as specified by the                          certified to an accuracy of 2 percent and             monitoring system acceptance
                                                 manufacturer. The pressure monitor                      traceable to National Institute of                    including, but not limited to,
                                                 must meet the requirements in table 13                  Standards and Technology (NIST)                       performing an initial multi-point
                                                 to subpart CC of this part.                             standards.                                            calibration check at three concentrations
                                                    (7) If a pressure-assisted multi-point                  (3) For unknown gas components that
                                                                                                         have similar analytical mass fragments                following the procedure in section 10.1
                                                 flare is operating under the                                                                                  and performing the periodic calibration
                                                 requirements of an approved alternative                 to calibration compounds, the owner or
                                                                                                         operator may report the unknowns as an                requirements listed for gas
                                                 means of emission limitations, owners                                                                         chromatographs in table 13 to subpart
                                                 and operators must either continue to                   increase in the overlapped calibration
                                                                                                         gas compound. For unknown                             CC of this part, for the process mass
                                                 comply with the terms of the alternative                                                                      spectrometer. The owner or operator
                                                 means of emission limitations or                        compounds that produce mass
                                                                                                         fragments that do not overlap                         may use the alternative sampling line
                                                 comply with the provisions in                                                                                 temperature allowed under Net Heating
                                                                                                         calibration compounds, the owner or
                                                 paragraphs (i)(1) through (6) of this
                                                                                                         operator may use the response factor for              Value by Gas Chromatograph in table 13
                                                 section.
                                                                                                         the nearest molecular weight                          to subpart CC of this part.
                                                    (j) If an owner or operator chooses to               hydrocarbon in the calibration mix to
                                                 determine compositional analysis for                                                                            (7) The average instrument calibration
                                                                                                         quantify the unknown component’s                      error (CE) for each calibration
                                                 net heating value with a continuous                     NHVvg.
                                                 process mass spectrometer, then the                                                                           compound at any calibration
                                                                                                            (4) The owner or operator may use the
                                                 owner or operator must comply with the                  response factor for n-pentane to quantify             concentration must not differ by more
                                                 requirements specified in paragraphs                    any unknown components detected                       than 10 percent from the certified
                                                 (j)(1) through (7) of this section.                     with a higher molecular weight than n-                cylinder gas value. The CE for each
                                                    (1) Owners and operators must meet                   pentane.                                              component in the calibration blend
                                                 the requirements in § 63.671(e)(2). The                    (5) Owners and operators must                      must be calculated using equation 1 to
                                                 owner or operator may augment the                       perform an initial calibration to identify            this paragraph.
                                                 minimum list of calibration gas                         mass fragment overlap and response
                                                                                                                                                               Equation 1 to Paragraph (j)(7)
                                                 components found in § 63.671(e)(2) with                 factors for the target compounds.


                                                                                                               CE = Cm- Ca X 100 (Eq. 1)
                                                                                                                            Ca


                                                 Where:                                                  value, then the owner or operator may                 CE. The CE for NHV at any calibration
                                                 Cm = Average instrument response (ppm)                  choose to use the CE of NHVmeasured                   level must not differ by more than 10
                                                 Ca = Certified cylinder gas value (ppm)                 versus the cylinder tag value NHV as the              percent from the certified cylinder gas
                                                                                                         measure of agreement for daily                        value. The CE for must be calculated
                                                   (k) If an owner or operator use a gas
                                                                                                         calibration and quarterly audits in lieu              using equation 2 to this paragraph.
                                                 chromatograph or mass spectrometer for
                                                 compositional analysis for net heating                  of determining the compound-specific                  Equation 2 to Paragraph (k)


                                                                                                      CE = NHVmeasured- NHVa X 100 (Eq. 2)
                                                                                                                           NHVa


                                                 Where:                                                  flare flame is present. Include the start                (A) The start and stop time and date
                                                 NHVmeasured = Average instrument response               and stop time and date of each 15-                    of the flaring event.
                                                    (Btu/scf)                                            minute block.                                            (B) The length of time in minutes for
                                                 NHVa = Certified cylinder gas value (Btu/scf)              (ii) Visible emission records as                   which emissions were visible from the
                                                   (l) Instead of complying with                         specified in paragraph (m)(2)(iv) of this             flare during the event.
                                                 § 63.670(q), owners and operators must                  section for each period of 2 consecutive                 (C) For steam-assisted, air-assisted,
                                                 comply with the reporting requirements                  hours during which visible emissions                  and non-assisted flares, the start date,
                                                 specified in paragraphs (l)(1) and (2) of               exceeded a total of 5 minutes. Indicate               start time, and duration in minutes for
                                                 this section.                                           the date and start and end times for each             periods of time that the flare tip velocity
                                                   (1) The initial notification                          period.                                               exceeds the maximum flare tip velocity
                                                 requirements specified in § 63.152(b)(7).                  (iii) The periods specified in                     determined using the methods in
                                                   (2) The Periodic Report required by                   paragraph (m)(6) of this section. Indicate            § 63.670(d)(2) and the maximum 15-
                                                                                                         the date and start and end times for each             minute block average flare tip velocity
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                                                 § 63.152(c) must include the items
                                                 specified in paragraphs (l)(2)(i) through               period, and the net heating value                     in ft/sec recorded during the event.
                                                 (vi) of this section.                                   operating parameter(s) determined                        (D) Results of the root cause and
                                                                                                                                                                                                             ER16MY24.055</GPH>




                                                   (i) Records as specified in paragraph                 following the methods in § 63.670(k)                  corrective actions analysis completed
                                                 (m)(1) of this section for each 15-minute               through (n) as applicable.                            during the reporting period, including
                                                 block during which there was at least                      (iv) For flaring events meeting the                the corrective actions implemented
                                                 one minute when regulated material is                   criteria in § 63.670(o)(3) and paragraph              during the reporting period and, if
                                                                                                                                                                                                             ER16MY24.054</GPH>




                                                 routed to a flare and no pilot flame or                 (f) of this section:                                  applicable, the implementation


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                                                 schedule for planned corrective actions                    (iii) If a video surveillance camera is            changes made to the distance between
                                                 to be implemented subsequent to the                     used pursuant to § 63.670(h)(2), then the             burners.
                                                 reporting period.                                       record must include all video                            (9) For pressure-assisted multi-point
                                                    (v) For pressure-assisted multi-point                surveillance images recorded, with time               flares, all periods when the pressure
                                                 flares, the periods of time when the                    and date stamps.                                      monitor(s) on the main flare header
                                                 pressure monitor(s) on the main flare                      (iv) For each 2-hour period for which              show burners are operating outside the
                                                 header show the burners operating                       visible emissions are observed for more               range of the manufacturer’s
                                                 outside the range of the manufacturer’s                 than 5 minutes in 2 consecutive hours,                specifications. Indicate the date and
                                                 specifications. Indicate the date and                   then the record must include the date                 time for each period, the pressure
                                                 start and end times for each period.                    and start and end time of the 2-hour                  measurement, the stage(s) and number
                                                    (vi) For pressure-assisted multi-point               period and an estimate of the                         of burners affected, and the range of
                                                 flares, the periods of time when the                    cumulative number of minutes in the 2-                manufacturer’s specifications.
                                                 staging valve position indicator                        hour period for which emissions were                     (10) For pressure-assisted multi-point
                                                 monitoring system indicates a stage                     visible.                                              flares, all periods when the staging
                                                 should not be in operation and is or                       (3) The 15-minute block average                    valve position indicator monitoring
                                                 when a stage should be in operation and                 cumulative flows for flare vent gas and,              system indicates a stage of the pressure-
                                                 is not. Indicate the date and start and                 if applicable, total steam, perimeter                 assisted multi-point flare should not be
                                                 end times for each period.                              assist air, and premix assist air specified           in operation and when a stage of the
                                                    (m) Instead of complying with                        to be monitored under § 63.670(i), along              pressure-assisted multi-point flare
                                                 § 63.670(p), owners and operators must                  with the date and time interval for the               should be in operation and is not.
                                                 keep the flare monitoring records                       15-minute block. If multiple monitoring               Indicate the date and time for each
                                                                                                         locations are used to determine                       period, whether the stage was supposed
                                                 specified in paragraphs (m)(1) through
                                                                                                         cumulative vent gas flow, total steam,                to be open, but was closed or vice versa,
                                                 (14) of this section.
                                                                                                         perimeter assist air, and premix assist               and the stage(s) and number of burners
                                                    (1) Retain records of the output of the
                                                                                                         air, then retain records of the 15-minute             affected.
                                                 monitoring device used to detect the                                                                             (11) Records of periods when there is
                                                 presence of a pilot flame or flare flame                block average flows for each monitoring
                                                                                                                                                               flow of vent gas to the flare, but when
                                                 as required in § 63.670(b) and the                      location for a minimum of 2 years and
                                                                                                                                                               there is no flow of regulated material to
                                                 presence of a pilot flame as required in                retain the 15-minute block average
                                                                                                                                                               the flare, including the start and stop
                                                 paragraph (i)(4) of this section for a                  cumulative flows that are used in
                                                                                                                                                               time and dates of periods of no
                                                 minimum of 2 years. Retain records of                   subsequent calculations for a minimum
                                                                                                                                                               regulated material flow.
                                                 each 15-minute block during which                       of 5 years. If pressure and temperature                  (12) Records when the flow of vent
                                                 there was at least one minute that no                   monitoring is used, then retain records               gas exceeds the smokeless capacity of
                                                 pilot flame or flare flame is present                   of the 15-minute block average                        the flare, including start and stop time
                                                 when regulated material is routed to a                  temperature, pressure, and molecular                  and dates of the flaring event.
                                                 flare for a minimum of 5 years. For a                   weight of the flare vent gas or assist gas               (13) Records of the root cause analysis
                                                 pressure-assisted multi-point flare that                stream for each measurement location                  and corrective action analysis
                                                 uses cross-lighting, retain records of                  used to determine the 15-minute block                 conducted as required in § 63.670(o)(3)
                                                 each 15-minute block during which                       average cumulative flows for a                        and paragraph (f) of this section,
                                                 there was at least one minute that no                   minimum of 2 years, and retain the 15-                including an identification of the
                                                 pilot flame is present on each stage                    minute block average cumulative flows                 affected flare, the date and duration of
                                                 when regulated material is routed to a                  that are used in subsequent calculations              the event, a statement noting whether
                                                 flare for a minimum of 5 years. The                     for a minimum of 5 years.                             the event resulted from the same root
                                                 owner or operator may reduce the                           (4) The flare vent gas compositions                cause(s) identified in a previous
                                                 collected minute-by-minute data to a 15-                specified to be monitored under                       analysis and either a description of the
                                                 minute block basis with an indication of                § 63.670(j). Retain records of individual             recommended corrective action(s) or an
                                                 whether there was at least one minute                   component concentrations from each                    explanation of why corrective action is
                                                 where no pilot flame or flare flame was                 compositional analysis for a minimum                  not necessary under § 63.670(o)(5)(i).
                                                 present.                                                of 2 years. If an NHVvg analyzer is used,                (14) For any corrective action analysis
                                                    (2) Retain records of daily visible                  retain records of the 15-minute block                 for which implementation of corrective
                                                 emissions observations as specified in                  average values for a minimum of 5                     actions are required in § 63.670(o)(5), a
                                                 paragraphs (m)(2)(i) through (iv) of this               years.                                                description of the corrective action(s)
                                                 section, as applicable, for a minimum of                   (5) Each 15-minute block average                   completed within the first 45 days
                                                 3 years.                                                operating parameter calculated                        following the discharge and, for
                                                    (i) To determine when visible                        following the methods specified in                    action(s) not already completed, a
                                                 emissions observations are required, the                § 63.670(k) through (n) as applicable.                schedule for implementation, including
                                                 record must identify all periods when                      (6) All periods during which                       proposed commencement and
                                                 regulated material is vented to the flare.              operating values are outside of the                   completion dates.
                                                    (ii) If visible emissions observations               applicable operating limits specified in                 (n) The owner or operator may elect
                                                 are performed using Method 22 in                        § 63.670(d) through (f) and paragraph (i)             to comply with the alternative means of
                                                 appendix A–7 to part 60 of this chapter,                of this section when regulated material               emissions limitation requirements
                                                 then the record must identify whether                   is being routed to the flare.                         specified in § 63.670(r) in lieu of the
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                                                 the visible emissions observation was                      (7) All periods during which the                   requirements in § 63.670(d) through (f),
                                                 performed, the results of each                          owner or operator does not perform flare              as applicable. However, instead of
                                                 observation, total duration in minutes of               monitoring according to the procedures                complying with § 63.670(r)(3)(iii),
                                                 observed visible emissions, and whether                 in § 63.670(g) through (j).                           owners and operators must also submit
                                                 it was a 5-minute or 2-hour observation.                   (8) For pressure-assisted multi-point              the alternative means of emissions
                                                 Record the date and start time of each                  flares, if a stage of burners on the flare            limitation request to the following
                                                 visible emissions observation.                          uses cross-lighting, then a record of any             address: U.S. Environmental Protection


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                                                 Agency, Office of Air Quality Planning                     (5) Except as specified in paragraph               complying with the requirements in
                                                 and Standards, Sector Policies and                      (a)(6) of this section, the concentration             paragraph (b)(1) or (2) of this section.
                                                 Programs Division, U.S. EPA Mailroom                    of ethylene oxide must be determined                     (1) The owner or operator must
                                                 (C404–02), Attention: Hazardous                         using Method 18 of appendix A–6 to                    measure concentration of ethylene oxide
                                                 Organic Chemical Manufacturing Sector                   part 60 of this chapter, or Method 320                of the fluid stored in the storage vessel
                                                 Lead, 4930 Old Page Rd., Durham, NC                     of appendix A to this part.                           using Method 624.1 of appendix A to 40
                                                 27703.                                                     (6) You may elect to use ASTM                      CFR part 136, or preparation by Method
                                                   (o) The referenced provisions                         D6348–12 (Reapproved 2020)                            SW–846–5031 or SW–846–5030B and
                                                 specified in paragraphs (o)(1) through                  (incorporated by reference, § 63.14) in               analysis by Method SW–846–8260D
                                                 (4) of this section do not apply when                   lieu of Method 320 of appendix A to                   (incorporated by reference, see § 63.14).
                                                 demonstrating compliance with this                      this part as specified in paragraph (a)(5)            The owner or operator may not use a
                                                 section.                                                of this section. To comply with this                  preservative in the collected sample; the
                                                   (1) Section 63.670(o)(4)(iv) of subpart               paragraph, annexes Al through A8 to                   owner or operator must store the sample
                                                 CC of this part.                                        ASTM D6348–12 (Reapproved 2020) are                   with minimal headspace as cold as
                                                   (2) The last sentence of § 63.670(o)(6).              mandatory; the percent (%) R must be                  possible and at least below 4 degrees C;
                                                   (3) The phrase ‘‘that were not caused                 determined for each target analyte using              and the owner or operator must analyze
                                                 by a force majeure event’’ in                           Equation A5.5 of ASTM D6348–12                        the sample as soon as possible, but in
                                                 § 63.670(o)(7)(ii).                                     (Reapproved 2020) Annex A5 (Analyte                   no case longer than 7 days from the time
                                                   (4) The phrase ‘‘that were not caused                 Spiking Technique); and in order for the              the sample was collected. If owners and
                                                 by a force majeure event’’ in                           test data to be acceptable for a                      operators collect a sample from a
                                                 § 63.670(o)(7)(iv).                                     compound, the %R must be 70% ≥ R ≤                    pressure vessel, then the owner or
                                                 ■ 51. Add § 63.109 to read as follows:                  130%. If the %R value does not meet                   operator must maintain the sample
                                                                                                         this criterion for a target compound,                 under pressure both during and
                                                 § 63.109 Procedures for determining                     then the test data is not acceptable for              following sampling.
                                                 whether process vents, storage vessels,                 that compound and the test must be                       (2) Unless specified by the
                                                 equipment, wastewater, and heat exchange                repeated for that analyte (i.e., the                  Administrator, the owner or operator
                                                 systems are in ethylene oxide service.                                                                        may calculate the concentration of
                                                                                                         sampling and/or analytical procedure
                                                    This section applies beginning no                    should be adjusted before a retest). The              ethylene oxide of the fluid stored in the
                                                 later than the compliance dates                         %R value for each compound must be                    storage vessels if information specific to
                                                 specified in § 63.100(k)(11). To                        reported in the test report, and all field            the fluid stored is available. Information
                                                 determine if process vents, storage                     measurements must be corrected with                   specific to the fluid stored includes
                                                 vessels, equipment leaks, wastewater,                   the calculated %R value for that                      concentration data from safety data
                                                 and heat exchange systems are in                        compound by using the following                       sheets.
                                                 ethylene oxide service, as defined in                   equation:                                                (c) For equipment leaks, owners and
                                                 § 63.101, owners and operators must                                                                           operators must comply with the
                                                 comply with the requirements in                         Equation 1 to Paragraph (a)(6)                        requirements in paragraphs (c)(1)
                                                 paragraphs (a) through (e) of this                      Reported Results = (Measured                          through (4) of this section.
                                                 section, as applicable.                                       Concentration in the Stack × 100)/                 (1) Each piece of equipment within a
                                                    (a) Except as specified in paragraph                       %R.                                             chemical manufacturing process unit
                                                 (a)(7) of this section, for each Group 1                   (7) The requirements specified in                  that can reasonably be expected to
                                                 and Group 2 process vent stream,                        paragraphs (a)(1) through (6) of this                 contain equipment in ethylene oxide
                                                 owners and operators must measure the                   section for an initial measurement or                 service is presumed to be in ethylene
                                                 flow rate and concentration of ethylene                 initial performance test do not apply if              oxide service unless the owner or
                                                 oxide of each process vent as specified                 the conditions specified in paragraphs                operator demonstrates that the piece of
                                                 in paragraphs (a)(1) through (6) of this                (a)(7)(i) through (iv) of this section are            equipment is not in ethylene oxide
                                                 section.                                                met for a previously conducted                        service. For a piece of equipment to be
                                                    (1) Measurements must be made prior                  measurement or performance test.                      considered not in ethylene oxide
                                                 to any dilution of the vent streams.                       (i) No changes have been made to the               service, it must be determined that the
                                                    (2) Measurements may be made on the                  process since the time of the                         percent ethylene oxide content of the
                                                 combined vent streams at a chemical                     measurement or performance test;                      process fluid that is contained in or
                                                 manufacturing process unit or for each                     (ii) The operating conditions and test             contacts equipment can be reasonably
                                                 separate vent stream.                                   methods used during measurement or                    expected to not exceed 0.1 percent by
                                                    (3) The sampling site shall be after the             performance test conform to the                       weight on an annual average basis. For
                                                 last recovery device (if any recovery                   ethylene oxide related requirements of                purposes of determining the percent
                                                 devices are present) but prior to the                   this subpart;                                         ethylene oxide content of the process
                                                 inlet of any control device that is                        (iii) The control device and process               fluid, owners and operators must use
                                                 present and prior to release to the                     parameter values established during the               Method 18 of appendix A–6 to part 60
                                                 atmosphere. Method 1 or 1A of                           previously conducted measurement or                   of this chapter, for gaseous process
                                                 appendix A–1 to part 60 of this chapter,                performance test are used to                          fluid, and Method 624.1 of appendix A
                                                 as appropriate, must be used for the                    demonstrate continuous compliance                     to part 136 of this chapter, or
                                                 selection of the sampling sites. For vents              with the ethylene oxide related                       preparation by Method SW–846–5031
                                                                                                                                                               and analysis by Method SW–846–8260D
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                                                 smaller than 0.10 meter in diameter,                    requirements of this subpart; and
                                                 sample at one point at the center of the                   (iv) The previously conducted                      (both incorporated by reference, see
                                                 duct.                                                   measurement or performance test was                   § 63.14) for liquid process fluid. In lieu
                                                    (4) The gas volumetric flow rate must                completed within the last 60 months.                  of preparation by Method SW–846–
                                                 be determined using Method 2, 2A, 2C,                      (b) For storage vessels, owners and                5031, owners and operators may use
                                                 2D, 2F, or 2G of appendices A–1 and A–                  operators must determine the                          Method SW–846–5030B (incorporated
                                                 2 to part 60 of this chapter                            concentration of ethylene oxide of the                by reference, see § 63.14), as long as: the
                                                 (respectively), as appropriate.                         fluid stored in the storage vessels by                owner or operator does not use a


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                                                 preservative in the collected sample; the                               of appendix A to part 136 of this                                 case longer than 7 days from the time
                                                 owner or operator stores the sample                                     chapter, or preparation by either                                 the sample was collected. soon as
                                                 with minimal headspace as cold as                                       Method SW–846–5031 or SW–846–                                     possible, but in no case longer than 7
                                                 possible and at least below 4 degrees C;                                5030B and analysis by Method SW–                                  days from the time the sample was
                                                 and the owner or operator analyzes the                                  846–8260D (incorporated by reference,                             collected.
                                                 sample as soon as possible, but in no                                   see § 63.14). The owner or operator may                              (2) Unless specified by the
                                                 case longer than 7 days from the time                                   not use a preservative in the collected                           Administrator, owners and operators
                                                 the sample was collected.                                               sample; the owner or operator must                                may use good engineering judgment
                                                    (2) Unless specified by the                                          store the sample with minimal                                     rather than the procedures specified in
                                                 Administrator, owners and operators                                     headspace as cold as possible and at                              paragraph (e)(1) of this section to
                                                 may use good engineering judgment                                       least below 4 degrees C; and the owner                            determine that the percent ethylene
                                                 rather than the procedures specified in                                 or operator must analyze the sample as                            oxide content of the process fluid
                                                 paragraph (c)(1) of this section to                                     soon as possible, but in no case longer                           cooled by the heat exchange system
                                                 determine that the percent ethylene                                     than 7 days from the time the sample                              does not exceed 0.1 percent by weight.
                                                 oxide content of the process fluid that                                 was collected.                                                    ■ 52. Amend table 3 to subpart F by:
                                                 is contained in or contacts equipment                                     (e) For heat exchange systems, owners                           ■ a. Revising entries ‘‘63.6(d)’’,
                                                 does not exceed 0.1 percent by weight.                                  and operators must comply with the                                ‘‘63.6(e)’’, ‘‘63.6(e)(1)(i)’’,
                                                    (3) Owners and operators may revise                                  requirements in paragraph (e)(1) or (2)                           ‘‘63.6(e)(1)(ii)’’, ‘‘63.6(e)(2)’’,
                                                 a determination for whether a piece of                                  of this section.                                                  ‘‘63.6(e)(3)(i)’’, ‘‘63.6(e)(3)(i)(B)’’,
                                                 equipment is in ethylene oxide service                                    (1) Determine the concentration of                              ‘‘63.6(e)(3)(i)(C)’’, ‘‘63.6(e)(3)(ii)’’,
                                                 by following the procedures in                                          ethylene oxide of the process fluid                               ‘‘63.6(e)(3)(vi)’’ and ‘‘63.6(e)(3)(vii)’’;
                                                 paragraph (c)(1) of this section, or by                                 cooled by the heat exchange system                                ■ b. Removing entries
                                                 documenting that a change in the                                        using Method 624.1 of appendix A to                               ‘‘63.6(e)(3)(vii)(A)’’, ‘‘63.6(e)(3)(vii)(B)’’
                                                 process or raw materials no longer                                      part 136 of this chapter, or preparation                          and ‘‘63.6(e)(3)(vii)(C)’’;
                                                 causes the equipment to be in ethylene                                  by either Method SW–846–5031 or SW–                               ■ c. Revising entries ‘‘63.6(e)(3)(viii)’’,
                                                 oxide service.                                                          846–5030B and analysis by Method                                  ‘‘63.6(e)(3)(ix)’’ and ‘‘63.6(f)(1)’’,
                                                    (4) Samples used in determining the                                  SW–846–8260D (incorporated by                                     ■ d. Adding the entry for ‘‘63.7(a)(4)’’;
                                                 ethylene oxide content must be                                          reference, see § 63.14). The owner or                             and
                                                 representative of the process fluid that                                operator may not use a preservative in                            ■ e. Revising entries ‘‘63.7(e)(1)’’,
                                                 is contained in or contacts the                                         the collected sample; the owner or                                ‘‘63.7(f)’’, ‘‘63.8(a)(3)’’, ‘‘63.8(a)(4)’’,
                                                 equipment.                                                              operator must store the sample with                               ‘‘63.8(c)(1)(i)’’, ‘‘63.8(c)(1)(iii)’’,
                                                    (d) For wastewater, owners and                                       minimal headspace as cold as possible                             ‘‘63.9(k)’’, ‘‘63.10(d)(5)’’ and ‘‘63.11–
                                                 operators must determine the                                            and at least below 4 degrees C; and the                           63.15’’.
                                                 concentration of ethylene oxide of each                                 owner or operator must analyze the                                   The revisions and additions read as
                                                 wastewater stream using Method 624.1                                    sample as soon as possible, but in no                             follows:

                                                  TABLE 3 TO SUBPART F OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPARTS F, G, AND H A TO SUBPART F
                                                           Reference                                  Applies to subparts F, G, and H                                                               Comment


                                                           *                              *                               *                                 *                        *                      *                   *
                                                 63.6(d) ............................   [Reserved].
                                                 63.6(e) ............................   Yes c .......................................................................    Except as otherwise specified for individual paragraphs. Does
                                                                                                                                                                           not apply to Group 2 emission points unless they are included
                                                                                                                                                                           in an emissions average.b c
                                                 63.6(e)(1)(i) ....................     No ...........................................................................   This is addressed by § 63.102(a)(4) and (f) of subpart F.
                                                 63.6(e)(1)(ii) ...................     Yes, before July 15, 2027. No, beginning on and
                                                                                          after July 15, 2027.

                                                           *                              *                    *                    *                                                *                      *                   *
                                                 63.6(e)(2) .......................     [Reserved].
                                                 63.6(e)(3)(i) ....................     Yes, before July 15, 2027. No, beginning on and
                                                                                          after July 15, 2027.

                                                           *                              *                    *                    *                                                *                      *                   *
                                                 63.6(e)(3)(i)(B) ...............       Yes, before July 15, 2027. No, beginning on and
                                                                                          after July 15, 2027.
                                                 63.6(e)(3)(i)(C) ...............       Yes, before July 15, 2027. No, beginning on and
                                                                                          after July 15, 2027.
                                                 63.6(e)(3)(ii) ...................     [Reserved].

                                                           *                              *                    *                    *                                                *                      *                   *
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                                                 63.6(e)(3)(vi) ..................      Yes, before July 15, 2027. No, beginning on and
                                                                                          after July 15, 2027.
                                                 63.6(e)(3)(vii) .................      Yes, before July 15, 2027. No, beginning on and
                                                                                          after July 15, 2027.
                                                 63.6(e)(3)(viii) .................     Yes, before July 15, 2027. No, beginning on and
                                                                                          after July 15, 2027.
                                                 63.6(e)(3)(ix) ..................      Yes, before July 15, 2027. No, beginning on and
                                                                                          after July 15, 2027.



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                                                    TABLE 3 TO SUBPART F OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPARTS F, G, AND H A TO SUBPART
                                                                                              F—Continued
                                                           Reference                                   Applies to subparts F, G, and H                                                               Comment

                                                 63.6(f)(1) ........................     No ...........................................................................   § 63.102(a) and (e) of subpart F specifies when the standards
                                                                                                                                                                             apply.

                                                           *                               *                                  *                               *                       *                      *                  *
                                                 63.7(a)(4) .......................      Yes.

                                                           *                               *                    *                    *                                                *                      *                  *
                                                 63.7(e)(1) .......................      Yes, before July 15, 2027. No, beginning on and                                  See § 63.103(b)(3).
                                                                                           after July 15, 2027.

                                                            *                              *                                  *                               *                       *                      *                  *
                                                 63.7(f) .............................   Yes.

                                                           *                               *                     *                                            *                       *                      *                  *
                                                 63.8(a)(3) .......................      [Reserved].
                                                 63.8(a)(4) .......................      Yes, except for flares subject to § 63.108.

                                                           *                               *                    *                    *                                                *                      *                  *
                                                 63.8(c)(1)(i) ....................      Yes, before July 15, 2027. No, beginning on and
                                                                                           after July 15, 2027.

                                                           *                               *                    *                    *                                                *                      *                  *
                                                 63.8(c)(1)(iii) ...................     Yes, before July 15, 2027. No, beginning on and
                                                                                           after July 15, 2027.

                                                           *                               *                                  *                               *                       *                      *                  *
                                                 63.9(k) ............................    Yes.

                                                          *                                *                    *                    *                                                 *                    *                     *
                                                 63.10(d)(5) .....................       Yes, before July 15, 2027. No, beginning on and                                  Except that, before July 15, 2027, reports required by
                                                                                           after July 15, 2027.                                                             § 63.10(d)(5) shall be submitted at the time specified in
                                                                                                                                                                            § 63.152(d) of subpart G and in § 63.182(d) of subpart H.

                                                         *                                  *                   *                     *                                               *                      *                  *
                                                 63.11–63.15 ...................         Yes, except 63.11(b) does not apply to flares sub-
                                                                                           ject to § 63.108.
                                                    a Wherever subpart A specifies ‘‘postmark’’ dates, submittals may be sent by methods other than the U.S. Mail (e.g., by fax or courier). Submit-
                                                 tals shall be sent by the specified dates, but a postmark is not necessarily required.
                                                    b Except as specified in footnote c of this table, the plan, and any records or reports of start-up, shutdown, and malfunction do not apply to
                                                 Group 2 emission points unless they are included in an emissions average.
                                                    c On and after July 15, 2027, footnote b of this table does not apply and the row for the ‘‘63.6(e)’’ entry of this table is no longer applicable.




                                                 Table 4 to Subpart F of Part 63                                          text, (f)(3), (f)(4) introductory text and                          (i) Except as provided in paragraph (j)
                                                 [Amended]                                                                (h);                                                              of this section, if the transfer rack is
                                                                                                                          ■ d. Revising paragraphs (i)                                      subject to the control requirements
                                                 ■ 53. Amend table 4 to subpart F by                                      introductory text, and (i)(1)(iv); and                            specified in § 61.302 of this chapter,
                                                 removing the entry for ‘‘Ethylene glycol                                 ■ e. Adding paragraph (j).                                        then the transfer rack is required to
                                                 monobutyl ether’’.                                                         The revisions and addition read as                              comply with the control requirements of
                                                 ■ 54. Revise the heading to subpart G to                                 follows:                                                          § 61.302. The owner or operator may
                                                 read as follows:                                                                                                                           elect to comply with either the
                                                                                                                          § 63.110         Applicability.
                                                                                                                                                                                            associated testing, monitoring,
                                                 Subpart G—National Emission                                              *      *    *     *      *                                        reporting, and recordkeeping
                                                 Standards for Hazardous Air Pollutants                                      (b) * * *                                                      requirements of part 61, subpart BB, of
                                                 From the Synthetic Organic Chemical                                         (3) Except as specified in paragraph (j)                       this chapter or with the testing,
                                                 Manufacturing Industry for Process                                       of this section, after the compliance                             monitoring, recordkeeping, and
                                                 Vents, Storage Vessels, Transfer                                         dates specified in § 63.100, a Group 2                            reporting requirements specified in this
                                                 Operations, and Wastewater                                               storage vessel that is also subject to the                        subpart for Group 1 transfer racks. The
                                                                                                                          provisions of 40 CFR part 61, subpart Y                           owner or operator shall indicate this
                                                 ■ 55. Amend § 63.110 by:                                                 is required to comply only with the
                                                 ■ a. Revising paragraphs (b)(3) and
                                                                                                                                                                                            decision in either the Notification of
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                                                                                                                          provisions of part 61, subpart Y, of this                         Compliance Status specified in
                                                 (c)(2)(i);                                                               chapter. The recordkeeping and                                    § 63.152(b) or in an operating permit
                                                 ■ b. Revising paragraphs (d)(2)                                          reporting requirements of part 61,                                application or amendment.
                                                 introductory text, (d)(3), (d)(5)                                        subpart Y, will be accepted as
                                                 introductory text, (d)(6), (d)(8)                                        compliance with the recordkeeping and                             *     *     *      *     *
                                                 introductory text, and (d)(9);                                           reporting requirements of this subpart.                             (d) * * *
                                                 ■ c. Revising paragraphs (e)(1)                                             (c) * * *                                                        (2) After the compliance dates
                                                 introductory text, (f)(2) introductory                                      (2) * * *                                                      specified in § 63.100, the owner or


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                                                 operator of a Group 2 process vent that                 paragraphs (d)(8)(i) and (ii) of this                 monitoring, reporting, and
                                                 is also subject to the provisions of part               section. For each source as defined in                recordkeeping provisions of part 61,
                                                 60, subpart III, of this chapter shall                  § 63.101, on and after July 15, 2027, this            subpart F. For each source as defined in
                                                 determine requirements according to                     paragraph no longer applies.                          § 63.101, on and after July 15, 2027, this
                                                 paragraphs (d)(2)(i) and (ii) of this                   *      *     *      *     *                           paragraph no longer applies.
                                                 section. For each source as defined in                     (9) After the compliance dates                        (4) Except as specified in paragraph (j)
                                                 § 63.101, on and after July 15, 2027, this              specified in § 63.100, if an owner or                 of this section, after the compliance
                                                 paragraph no longer applies.                            operator of a process vent subject to this            dates specified in § 63.100, the owner or
                                                 *      *     *     *     *                              subpart that is also subject to the                   operator of a Group 1 or Group 2
                                                    (3) After the compliance dates                       provisions of part 60, subpart RRR, of                wastewater stream that is also subject to
                                                 specified in 63.100, if an owner or                     this chapter elects to control the process            the provisions of 40 CFR part 61,
                                                 operator of a process vent subject to this              vent to the levels required in                        subpart F shall comply with the
                                                 subpart that is also subject to the                     § 63.113(a)(1) or (2) without calculating             provisions of either paragraph (f)(4)(i) or
                                                 provisions of part 60, subpart III, of this             the TRE index value for the vent                      (ii) of this section.
                                                 chapter elects to control the process                   according to the procedures specified in              *      *      *    *     *
                                                 vent to the levels required in                          § 63.115(d), then the owner or operator                  (h) Overlap with other regulations for
                                                 § 63.113(a)(1) or (2) without calculating               shall comply with the testing,                        monitoring, recordkeeping, or reporting
                                                 the TRE index value for the vent                        monitoring, reporting, and                            with respect to combustion devices,
                                                 according to the procedures specified in                recordkeeping provisions of this subpart              recovery devices, or recapture devices.
                                                 § 63.115(d), then the owner or operator                 and shall be exempt from the testing,                 (1) Except as specified in paragraph
                                                 shall comply with the testing,                          monitoring, reporting, and                            (h)(2) of this section, after the
                                                 monitoring, reporting, and                              recordkeeping provisions of part 60,                  compliance dates specified in § 63.100,
                                                 recordkeeping provisions of this subpart                subpart RRR. For each source as defined               if any combustion device, recovery
                                                 and shall be exempt from the testing,                   in § 63.101, on and after July 15, 2027,              device, or recapture device subject to
                                                 monitoring, reporting, and                              this paragraph no longer applies.                     this subpart is also subject to
                                                 recordkeeping provisions of part 60,                    *      *     *      *     *                           monitoring, recordkeeping, and
                                                 subpart III. For each source as defined                    (e) * * *                                          reporting requirements in part 264,
                                                 in § 63.101, on and after July 15, 2027,                   (1) Except as specified in paragraph (j)           subpart AA or CC, of this chapter or is
                                                 this paragraph no longer applies.                       of this section, after the compliance                 subject to monitoring and recordkeeping
                                                 *      *     *     *     *                              dates specified in § 63.100, the owner or             requirements in part 265, subpart AA or
                                                    (5) After the compliance dates                       operator of a Group 1 or Group 2                      CC, of this chapter and the owner or
                                                 specified in § 63.100, the owner or                     wastewater stream that is also subject to             operator complies with the periodic
                                                 operator of a Group 2 process vent that                 the provisions of part 61, subpart FF, of             reporting requirements under 40 CFR
                                                 is also subject to the provisions of 40                 this chapter is required to comply with               part 264, subpart AA or CC that would
                                                 CFR part 60, subpart NNN shall                          the provisions of both this subpart and               apply to the device if the facility had
                                                 determine requirements according to                     part 61, subpart FF. Alternatively, the               final-permitted status, the owner or
                                                 paragraphs (d)(5)(i) and (ii) of this                   owner or operator may elect to comply                 operator may elect to comply either
                                                 section. For each source as defined in                  with the provisions of paragraphs                     with the monitoring, recordkeeping, and
                                                 § 63.101, on and after July 15, 2027, this              (e)(1)(i) and (ii) of this section, which             reporting requirements of this subpart,
                                                 paragraph no longer applies.                            shall constitute compliance with the                  or with the monitoring, recordkeeping,
                                                 *      *     *     *     *                              provisions of part 61, subpart FF.                    and reporting requirements in parts 264
                                                    (6) After the compliance dates                       *      *     *      *     *                           and/or 265, as described in this
                                                 specified in § 63.100, if an owner or                      (f) * * *                                          paragraph, which shall constitute
                                                 operator of a process vent subject to this                 (2) Except as specified in paragraph (j)           compliance with the monitoring,
                                                 subpart that is also subject to the                     of this section, after the compliance                 recordkeeping, and reporting
                                                 provisions of part 60, subpart NNN, of                  dates specified in § 63.100, the owner or             requirements of this subpart. The owner
                                                 this chapter elects to control the process              operator of any Group 2 process vent                  or operator shall identify which option
                                                 vent to the levels required in                          that is also subject to the provisions of             has been selected in the Notification of
                                                 § 63.113(a)(1) or (2) without calculating               part 61, subpart F, of this chapter shall             Compliance Status required by
                                                 the TRE index value for the vent                        comply with the provisions specified in               § 63.152(b).
                                                 according to the procedures specified in                either paragraph (f)(2)(i) or (ii) of this               (2) For each source as defined in
                                                 § 63.115(d), then the owner or operator                 section.                                              § 63.101, beginning no later than the
                                                 shall comply with the testing,                          *      *     *      *     *                           compliance dates specified in
                                                 monitoring, reporting, and                                 (3) After the compliance dates                     § 63.100(k)(10) of subpart F of this part,
                                                 recordkeeping provisions of this subpart                specified in § 63.100, if an owner or                 paragraph (h)(1) of this section no
                                                 and shall be exempt from the testing,                   operator of a process vent subject to this            longer applies.
                                                 monitoring, reporting, and                              subpart that is also subject to the                      (i) Alternative means of compliance—
                                                 recordkeeping provisions of part 60,                    provisions of part 61, subpart F, of this             For each source as defined in § 63.101,
                                                 subpart NNN. For each source as                         chapter elects to control the process                 on and after July 15, 2027, this
                                                 defined in § 63.101, on and after July 15,              vent to the levels required in                        paragraph (i) no longer applies.
                                                 2027, this paragraph no longer applies.                 § 63.113(a)(1) or (2) without calculating                (1) * * *
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                                                 *      *     *     *     *                              the TRE index value for the vent                         (iv) For equipment, comply with
                                                    (8) After the compliance dates                       according to the procedures specified in              § 63.160(g).
                                                 specified in § 63.100, the owner or                     § 63.115(d), then the owner or operator               *      *      *    *     *
                                                 operator of a Group 2 process vent that                 shall comply with the testing,                           (j) Overlap with other regulations for
                                                 is also subject to the provisions of part               monitoring, reporting, and                            flares. (1) For each source as defined in
                                                 60, subpart RRR, of this chapter shall                  recordkeeping provisions of this subpart              § 63.101, beginning no later than the
                                                 determine requirements according to                     and shall be exempt from the testing,                 compliance dates specified in


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                                                 § 63.100(k)(10), flares used as a control               used to comply with paragraph (a)(2) of               the requirements of paragraph (f) or (g)
                                                 device to comply with the overlap                       this section by reducing emissions of                 of this section.
                                                 provisions in either paragraph (b)(3),                  total organic hazardous air pollutants by                (i) Paragraphs (a)(3), (d), and (e) of
                                                 (c)(2)(i), (e)(1), (f)(2)(i), (f)(2)(ii), or            98 weight-percent, except as provided                 this section;
                                                 (f)(4)(i) or (ii) of this section must                  in paragraph (a)(2)(ii) of this section.                 (ii) Section 63.114(b) and (c)(2);
                                                 comply with the provisions specified in                    (ii) An owner or operator may use a                   (iii) Section 63.115(d), except
                                                 § 63.108 and are no longer subject to any               recovery device, alone or in                          (d)(2)(v);
                                                 flare related provisions of part 61,                    combination with one or more                             (iv) The following phrases in
                                                 subparts F, Y, BB, and FF, of this                      combustion or recapture devices, to                   § 63.115(e): ‘‘TRE index value’’,
                                                 chapter or § 60.18 of this chapter.                     reduce emissions of total organic                     ‘‘changes that are within the range on
                                                    (2) Owners and operators of flares that              hazardous air pollutants by 98 weight-                which the original TRE calculation was
                                                 are subject to the flare related                        percent if all the conditions of                      based’’, and ‘‘the recalculated TRE
                                                 requirements of this subpart and flare                  paragraphs (a)(2)(ii)(A) through                      index value is less than or equal to 1.0,
                                                 related requirements of any other                       (a)(2)(ii)(D) of this section are met.                or less than or equal to 4.0 but greater
                                                 regulation in part 60, 61, or 63 of this                   (A) The recovery device (and any                   than 1.0’’;
                                                 chapter, may elect to comply with the                   combustion device or recapture device                    (v) The following phrases in
                                                 requirements in § 63.108 in lieu of all                 which operates in combination with the                § 63.115(f): ‘‘TRE index value’’, and
                                                 flare related requirements in any other                 recovery device to reduce emissions of                ‘‘regardless of the TRE index value
                                                 regulation in part 60, 61, or 63.                       total organic hazardous air pollutants by             determined at the location specified in
                                                 ■ 56. Revise § 63.111 to read as follows:
                                                                                                         98 weight-percent) was installed before               § 63.115(a)’’;
                                                                                                         the date of proposal of the subpart of                   (vi) The last two sentences in
                                                 § 63.111   Definitions.                                 this part 63 that makes this subpart G                § 63.115(f)(2): ‘‘If the combined vent
                                                   All terms used in this subpart shall                  applicable to process vents in the                    stream is a Group 2 process vent as
                                                 have the meaning given them in the Act                  chemical manufacturing process unit.                  determined by the previous sentence,
                                                 and in subpart F of this part.                             (B) The recovery device that will be               but one or more of the HON streams, or
                                                 ■ 57. Revise and republish § 63.113 to
                                                                                                         used to reduce emissions of total                     combinations of HON streams, has a
                                                 read as follows:                                        organic hazardous air pollutants by 98                TRE index value greater than 1 but less
                                                                                                         weight-percent is the last recovery                   than or equal to 4, the combined vent
                                                 § 63.113 Process vent provisions—                       device before emission to the                         stream is a process vent with a TRE
                                                 reference control technology.                           atmosphere.                                           index value greater than 1 but less than
                                                    (a) The owner or operator of a Group                    (C) The recovery device, alone or in               or equal to 4. In this case, the owner or
                                                 1 process vent as defined in this subpart               combination with one or more                          operator shall monitor the combined
                                                 shall comply with the requirements of                   combustion or recapture devices, is                   vent stream as required by § 63.114(b).’’;
                                                 paragraph (a)(1), (2), (3), or (4) of this              capable of reducing emissions of total                   (vii) The phrase in § 63.117(a): ‘‘or the
                                                 section, and paragraph (a)(5) of this                   organic hazardous air pollutants by 98                provisions for Group 2 process vents
                                                 section. The owner or operator who                      weight-percent, but is not capable of                 with a TRE index value greater than 1.0
                                                 transfers a gas stream that has the                     reliably reducing emissions of total                  but less than or equal to 4.0 in
                                                 characteristics specified in § 63.107(b)                organic hazardous air pollutants to a                 § 63.113(d)’’;
                                                 through (h) or meets the criteria                       concentration of 20 parts per million by                 (viii) The phrase in § 63.117(a)(3):
                                                 specified in § 63.107(i) to an off-site                 volume.                                               ‘‘TRE determinations or’’;
                                                 location or an on-site location not                        (D) If the owner or operator disposed                 (ix) Section 63.117(a)(7) and (b);
                                                 owned or operated by the owner or                       of the recovered material, the recovery                  (x) Section 63.118(b), (c), (d)(3), (e)(3),
                                                 operator of the source for disposal shall               device would comply with the                          (h), (i), (j), and (k)(4);
                                                 comply with the requirements of                         requirements of this subpart for                         (xi) The following phrase in
                                                 paragraph (i) of this section.                          recapture devices.                                    § 63.118(g)(2): ‘‘and TRE index value’’;
                                                    (1) Reduce emissions of organic HAP                     (3) Except as specified in paragraph                  (xii) The last sentence in
                                                 using a flare.                                          (a)(4) of this section, achieve and                   § 63.150(g)(2)(iii)(B)(2);
                                                    (i) Except as specified in § 63.108(a),              maintain a TRE index value greater than                  (xiii) The phrase in § 63.150(m)(2)(i):
                                                 the flare shall comply with the                         1.0 at the outlet of the final recovery               ‘‘and TRE index value’’;
                                                 requirements of § 63.11(b).                             device, or prior to release of the vent                  (xiv) The last sentence in
                                                    (ii) Halogenated vent streams, as                    stream to the atmosphere if no recovery               § 63.151(d)(6)(i); and
                                                 defined in § 63.111, shall not be vented                device is present. If the TRE index value                (xv) Table 4 to subpart G of this part.
                                                 to a flare.                                             is greater than 1.0, the process vent shall              (5) For each source as defined in
                                                    (2) Reduce emissions of total organic                comply with the provisions for a Group                § 63.101, beginning no later than the
                                                 hazardous air pollutants by 98 weight-                  2 process vent specified in either                    compliance dates specified in
                                                 percent or to a concentration of 20 parts               paragraph (d) or (e) of this section,                 § 63.100(k)(10), an owner or operator of
                                                 per million by volume. For combustion                   whichever is applicable.                              a Group 1 process vent as defined in
                                                 devices, the emission reduction or                         (4) For each source as defined in                  § 63.101 that contains chlorine,
                                                 concentration shall be calculated on a                  § 63.101, beginning no later than the                 hydrogen chloride, or any other
                                                 dry basis, corrected to 3-percent oxygen,               compliance dates specified in                         chlorinated compound must reduce
                                                 and compliance can be determined by                     § 63.100(k)(10), the provisions specified             emissions of dioxins and furans (toxic
                                                                                                         in paragraphs (a)(4)(i) through (xv) of
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                                                 measuring either organic hazardous air                                                                        equivalency basis) to a concentration of
                                                 pollutants or total organic carbon using                this section no longer apply. Instead, an             0.054 nanograms per standard cubic
                                                 the procedures in § 63.116.                             owner or operator of a Group 1 process                meter on a dry basis corrected to 3
                                                    (i) Compliance with paragraph (a)(2)                 vent as defined in § 63.101 must comply               percent oxygen.
                                                 of this section may be achieved by using                with the requirements of paragraph                       (b) If a boiler or process heater is used
                                                 any combination of combustion,                          (a)(1) or (2) of this section; and an owner           to comply with the percent reduction
                                                 recovery, and/or recapture devices,                     or operator of a Group 2 process vent as              requirement or concentration limit
                                                 except that a recovery device may not be                defined in § 63.101 must comply with                  specified in paragraph (a)(2) of this


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                                                 section, then the vent stream shall be                  § 63.115 and the reporting and                        written certification that the transferee
                                                 introduced into the flame zone of such                  recordkeeping provisions in                           will manage and treat any gas stream
                                                 a device.                                               §§ 63.117(b) and 63.118(c) and (h), and               transferred under this paragraph (i) and
                                                    (c) Halogenated vent streams from                    is not subject to monitoring or any other             received from a source subject to the
                                                 Group 1 process vents that are                          provisions of §§ 63.114 through 63.118.               requirements of this subpart in
                                                 combusted shall be controlled according                    (f) Except as specified in paragraph (l)           accordance with the requirements of
                                                 to paragraph (c)(1) or (2) of this section.             of this section, the owner or operator of             either §§ 63.113 through 63.118, or
                                                    (1) If a combustion device is used to                a Group 2 process vent with a flow rate               § 63.102(b), or subpart D of this part if
                                                 comply with paragraph (a)(2) of this                    less than 0.005 standard cubic meter per              alternative emission limitations have
                                                 section for a halogenated vent stream,                  minute shall maintain a flow rate less                been granted the transferor in
                                                 then the gas stream exiting the                         than 0.005 standard cubic meter per                   accordance with those provisions. The
                                                 combustion device shall be conveyed to                  minute; comply with the Group                         certifying entity may revoke the written
                                                 a halogen reduction device, such as a                   determination procedures in § 63.115                  certification by sending a written
                                                 scrubber, before it is discharged to the                (a), (b), and (e); and the reporting and              statement to EPA and the owner or
                                                 atmosphere.                                             recordkeeping requirements in                         operator giving at least 90 days notice
                                                    (i) Except as provided in paragraph                  §§ 63.117(c), 63.118(d), and 63.118(i);               that the certifying entity is rescinding
                                                 (c)(1)(ii) of this section, the halogen                 and is not subject to monitoring or any               acceptance of responsibility for
                                                 reduction device shall reduce overall                   other provisions of §§ 63.114 through                 compliance with the regulatory
                                                 emissions of hydrogen halides and                       63.118.                                               provisions listed in this paragraph (i).
                                                 halogens, as defined in § 63.111 of this                   (g) Except as specified in paragraph (l)           Upon expiration of the notice period,
                                                 subpart, by 99 percent or shall reduce                  of this section, the owner or operator of             the owner or operator may not transfer
                                                 the outlet mass of total hydrogen halides               a Group 2 process vent with a total                   the gas stream to the transferee. Records
                                                 and halogens to less than 0.45 kilogram                 organic HAP concentration less than 50                retained by the transferee shall be
                                                 per hour.                                               parts per million by volume shall                     retained in accordance with § 63.103(c).
                                                    (ii) If a scrubber or other halogen                  maintain a total organic HAP                             (3) By providing this written
                                                 reduction device was installed prior to                 concentration less than 50 parts per                  certification to EPA, the certifying entity
                                                 December 31, 1992, the device shall                     million by volume; comply with the                    accepts responsibility for compliance
                                                 reduce overall emissions of hydrogen                    Group determination procedures in                     with the regulatory provisions listed in
                                                 halides and halogens, as defined in                     § 63.115(a), (c), and (e); the reporting              paragraph (i)(2) of this section with
                                                 § 63.111, by 95 percent or shall reduce                 and recordkeeping requirements in                     respect to any transfer covered by the
                                                 the outlet mass of total hydrogen halides               §§ 63.117(d) and 63.118(e) and (j); and               written certification. Failure to abide by
                                                 and halogens to less than 0.45 kilograms                is not subject to monitoring or any other             any of those provisions with respect to
                                                 per hour.                                               provisions of §§ 63.114 through 63.118.               such transfers may result in
                                                    (2) A halogen reduction device, such                    (h) The owner or operator of a process             enforcement action by EPA against the
                                                 as a scrubber or other technique, may be                vent complying with paragraph (a)(1) or               certifying entity in accordance with the
                                                 used to reduce the vent stream halogen                  (2) of this section is not required to                enforcement provisions applicable to
                                                 atom mass emission rate to less than                    perform the group determination                       violations of these provisions by owners
                                                 0.45 kilogram per hour prior to any                     described in § 63.115.                                or operators of sources.
                                                 combustion control device, and thus                        (i) Off-site control or on-site control               (4) Written certifications and
                                                 make the vent stream nonhalogenated;                    not owned or operated by the source.                  revocation statements to EPA from the
                                                 the vent stream must comply with the                    This paragraph (i) applies to gas streams             transferees of such gas streams shall be
                                                 requirements of paragraph (a)(1) or (2) of              that have the characteristics specified in            signed by a responsible official of the
                                                 this section.                                           § 63.107(b) through (h) or meet the                   certifying entity, provide the name and
                                                    (d) Except as specified in paragraph                 criteria specified in § 63.107(i); that are           address of the certifying entity, and be
                                                 (a)(4) of this section, the owner or                    transferred for disposal to an on-site                sent to the appropriate EPA Regional
                                                 operator of a Group 2 process vent                      control device (or other compliance                   Office at the addresses listed in § 63.13.
                                                 having a flow rate greater than or equal                equipment) not owned or operated by                   Such written certifications are not
                                                 to 0.005 standard cubic meter per                       the owner or operator of the source                   transferable by the transferee.
                                                 minute, a HAP concentration greater                     generating the gas stream, or to an off-                 (j) For each source as defined in
                                                 than or equal to 50 parts per million by                site control device or other compliance               § 63.101, beginning no later than the
                                                 volume, and a TRE index value greater                   equipment; and that have the                          compliance dates specified in
                                                 than 1.0 but less than or equal to 4.0                  characteristics (e.g., flow rate, total               § 63.100(k)(11), if the Group 1 or Group
                                                 shall maintain a TRE index value greater                organic HAP concentration, or TRE                     2 process vent contains ethylene oxide
                                                 than 1.0 and shall comply with the                      index value as applicable) of a Group 1               such that it is considered to be in
                                                 monitoring of recovery device                           process vent, determined at the point of              ethylene oxide service, as defined in
                                                 parameters in § 63.114(b) or (c), the TRE               transfer.                                             § 63.101, then the owner or operator
                                                 index calculations of § 63.115 of this                     (i) Comply with the provisions                     must comply with the requirements of
                                                 subpart, and the applicable reporting                   specified in § 63.114(d) for each gas                 paragraphs (j)(1) or (2) of this section in
                                                 and recordkeeping provisions of                         stream prior to transfer.                             addition to all other applicable
                                                 §§ 63.117 and 63.118. Such owner or                        (ii) Notify the transferee that the gas            requirements specified elsewhere in this
                                                 operator is not subject to any other                    stream contains organic hazardous air                 section.
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                                                 provisions of §§ 63.114 through 63.118.                 pollutants that are to be treated in                     (1) Reduce emissions of ethylene
                                                    (e) Except as specified in paragraph                 accordance with the provisions of this                oxide by venting emissions through a
                                                 (a)(4) of this section, the owner or                    subpart. The notice shall be submitted                closed vent system to a flare; or
                                                 operator of a Group 2 process vent with                 to the transferee initially and whenever                 (2) Reduce emissions of ethylene
                                                 a TRE index value greater than 4.0 shall                there is a change in the required control.            oxide by venting emissions through a
                                                 maintain a TRE index value greater than                    (2) The owner or operator may not                  closed vent system to a control device
                                                 4.0, comply with the provisions for                     transfer the gas stream unless the                    that reduces ethylene oxide by greater
                                                 calculation of a TRE index value in                     transferee has submitted to the EPA a                 than or equal to 99.9 percent by weight,


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                                                 or to a concentration less than 1 ppmv                  pounds of total volatile organic                      comply with the Group determination
                                                 for each process vent or to less than 5                 compounds (VOC).                                      procedures in § 63.115(g); and the
                                                 pounds per year for all combined                           (iv) If, after applying best practices to          reporting and recordkeeping
                                                 process vents within the process. If a                  isolate and purge equipment served by                 requirements in §§ 63.117(g) and
                                                 combustion device is used, the ethylene                 a maintenance vent, none of the                       63.118(n); and is not subject to
                                                 oxide concentration of 1 ppmv must be                   applicable criterion in paragraphs                    monitoring or any other provisions of
                                                 corrected to 3 percent oxygen.                          (k)(1)(i) through (iii) of this section can           §§ 63.114 through 63.118.
                                                    (k) For each source as defined in                    be met prior to installing or removing a              ■ 58. Revise and republish § 63.114 to
                                                 § 63.101, beginning no later than the                   blind flange or similar equipment blind,              read as follows:
                                                 compliance dates specified in                           then the pressure in the equipment
                                                 § 63.100(k)(10), an owner or operator                   served by the maintenance vent must be                § 63.114 Process vent provisions—
                                                                                                         reduced to 2 psig or less before                      monitoring requirements.
                                                 may designate a process vent as a
                                                 maintenance vent if the vent is only                    installing or removing the equipment                     (a) Each owner or operator of a
                                                 used as a result of startup, shutdown,                  blind. During installation or removal of              process vent that uses a combustion
                                                 maintenance, or inspection of                           the equipment blind, active purging of                device to comply with the requirements
                                                 equipment where equipment is emptied,                   the equipment may be used provided                    in § 63.113(a)(1), (2), or (5), or that uses
                                                 depressurized, degassed, or placed into                 the equipment pressure at the location                a recovery device or recapture device to
                                                 service. The owner or operator must                     where purge gas is introduced remains                 comply with the requirements in
                                                 comply with the applicable                              at 2 psig or less.                                    § 63.113(a)(2), shall install monitoring
                                                 requirements in paragraphs (k)(1)                          (2) Except for maintenance vents                   equipment specified in paragraph (a)(1),
                                                 through (4) of this section for each                    complying with the alternative in                     (2), (3), (4), (5), or (6) of this section,
                                                 maintenance vent. Any vent designated                   paragraph (k)(1)(iii) of this section, the            depending on the type of device used.
                                                 as a maintenance vent is only subject to                owner or operator must determine the                  All monitoring equipment shall be
                                                 the maintenance vent provisions in this                 concentration or, if applicable,                      installed, calibrated, maintained, and
                                                 paragraph (k) and the associated                        equipment pressure using process                      operated according to manufacturer’s
                                                 reporting and recordkeeping                             instrumentation or portable                           specifications or other written
                                                 requirements in § 63.118(f)(9) and (m),                 measurement devices and follow                        procedures that provide adequate
                                                                                                         procedures for calibration and                        assurance that the equipment would
                                                 respectively. The owner or operator
                                                                                                         maintenance according to                              reasonably be expected to monitor
                                                 does not need to designate a
                                                                                                         manufacturer’s specifications.                        accurately.
                                                 maintenance vent as a Group 1 or Group                     (3) For maintenance vents complying
                                                 2 process vent nor identify maintenance                                                                          (1) Where an incinerator is used, a
                                                                                                         with the alternative in paragraph                     temperature monitoring device
                                                 vents in a Notification of Compliance                   (k)(1)(iii) of this section, the owner or
                                                 Status report.                                                                                                equipped with a continuous recorder is
                                                                                                         operator must determine mass of VOC                   required.
                                                    (1) Prior to venting to the atmosphere,              in the equipment served by the                           (i) Where an incinerator other than a
                                                 remove process liquids from the                         maintenance vent based on the                         catalytic incinerator is used, a
                                                 equipment as much as practical and                      equipment size and contents after                     temperature monitoring device shall be
                                                 depressurize the equipment to either: A                 considering any contents drained or                   installed in the firebox or in the
                                                 flare meeting the requirements of                       purged from the equipment. Equipment                  ductwork immediately downstream of
                                                 § 63.108, as applicable, or using any                   size may be determined from equipment                 the firebox in a position before any
                                                 combination of a non-flare combustion,                  design specifications. Equipment                      substantial heat exchange occurs.
                                                 recovery, and/or recapture device                       contents may be determined using                         (ii) Where a catalytic incinerator is
                                                 meeting the requirements in paragraph                   process knowledge.                                    used, temperature monitoring devices
                                                 (a)(2) of this section until one of the                    (4) In addition to complying with the              shall be installed in the gas stream
                                                 following conditions, as applicable, is                 requirements in paragraphs (k)(1)                     immediately before and after the
                                                 met.                                                    through (3) of this section, for process              catalyst bed.
                                                    (i) The concentration of the vapor in                vents in ethylene oxide service, subject                 (2) Where a flare is used, except as
                                                 the equipment served by the                             to the requirements of § 63.124 that are              specified in § 63.108(a), the following
                                                 maintenance vent is less than 10 percent                designated as maintenance vents,                      monitoring equipment is required: A
                                                 of its lower explosive limit (LEL) and                  owners and operators may not release                  device (including but not limited to a
                                                 has an outlet concentration less than or                more than 1.0 tons of ethylene oxide                  thermocouple, ultra-violet beam sensor,
                                                 equal to 20 ppmv hydrogen halide and                    from all maintenance vents combined                   or infrared sensor) capable of
                                                 halogen HAP.                                            per any consecutive 12-month period.                  continuously detecting the presence of a
                                                    (ii) If there is no ability to measure the           The owner or operator must keep                       pilot flame.
                                                 concentration of the vapor in the                       monthly records of the quantity in tons                  (3) Where a boiler or process heater of
                                                 equipment based on the design of the                    of ethylene oxide released from each                  less than 44 megawatts design heat
                                                 equipment, the pressure in the                          maintenance vent and include a                        input capacity is used, the following
                                                 equipment served by the maintenance                     description of the method used to                     monitoring equipment is required: a
                                                 vent is reduced to 5 pounds per square                  estimate this quantity.                               temperature monitoring device in the
                                                 inch gauge (psig) or less. Upon opening                    (l) For each source as defined in                  firebox equipped with a continuous
                                                 the maintenance vent, active purging of                 § 63.101, beginning no later than the                 recorder. This requirement does not
                                                 the equipment cannot be used until the                  compliance dates specified in
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                                                                                                                                                               apply to gas streams that are introduced
                                                 concentration of the vapors in the                      § 63.100(k)(10), paragraphs (f) and (g) of            with primary fuel or are used as the
                                                 maintenance vent (or inside the                         this section no longer apply. Instead, the            primary fuel.
                                                 equipment if the maintenance is a hatch                 owner or operator of a Group 2 process                   (4) Where a scrubber is used with an
                                                 or similar type of opening) is less than                vent with a total organic HAP mass flow               incinerator, boiler, or process heater in
                                                 10 percent of its LEL.                                  rate less than 1.0 pound per hour shall               the case of halogenated vent streams,
                                                    (iii) The equipment served by the                    maintain a total organic HAP mass flow                the following monitoring equipment is
                                                 maintenance vent contains less than 50                  rate less than 1.0 pound per hour;                    required for the scrubber.


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                                                    (i) A pH monitoring device equipped                     (i) Install either an organic monitoring           breakthrough, as defined in § 63.101, is
                                                 with a continuous recorder shall be                     device equipped with a continuous                     detected between the first and second
                                                 installed to monitor the pH of the                      recorder;                                             adsorber. The original second adsorber
                                                 scrubber effluent.                                         (ii) Where an absorber is the final                (or a fresh canister) will become the new
                                                    (ii) A flow meter equipped with a                    recovery device in the recovery system,               first adsorber and a fresh adsorber will
                                                 continuous recorder shall be located at                 a scrubbing liquid temperature                        become the second adsorber. For
                                                 the scrubber influent for liquid flow.                  monitoring device and a specific gravity              purposes of this paragraph,
                                                 Gas flow rate shall be determined using                 monitoring device, each equipped with                 ‘‘immediately’’ means within 8 hours of
                                                 one of the procedures specified in                      a continuous recorder shall be used;                  the detection of a breakthrough for
                                                 paragraphs (a)(4)(ii)(A) through (C) of                    (iii) Where a condenser is the final               adsorbers of 55 gallons or less, and
                                                 this section.                                           recovery device in the recovery system,               within 24 hours of the detection of a
                                                    (A) The owner or operator may                        a condenser exit (product side)                       breakthrough for adsorbers greater than
                                                 determine gas flow rate using the design                temperature monitoring device                         55 gallons. The owner or operator must
                                                 blower capacity, with appropriate                       equipped with a continuous recorder                   monitor at the outlet of the first adsorber
                                                 adjustments for pressure drop.                          shall be used;                                        within 3 days of replacement to confirm
                                                    (B) If the scrubber is subject to rules                 (iv) Except as specified in paragraph              it is performing properly.
                                                 in 40 CFR parts 264 through 266 that                    (a)(5)(v) of this section, where a carbon                (2) Based on the adsorber bed life
                                                 have required a determination of the                    adsorber is the final recovery device in              established according to paragraph
                                                 liquid to gas (L/G) ratio prior to the                  the recovery system, an integrating                   (a)(5)(v)(A) of this section and the date
                                                 applicable compliance date for this                     regeneration stream flow monitoring                   the adsorbent was last replaced, conduct
                                                 subpart specified in § 63.100(k), the                   device having an accuracy of ±10                      monitoring to detect breakthrough at
                                                 owner or operator may determine gas                     percent or better, capable of recording               least monthly if the adsorbent has more
                                                 flow rate by the method that had been                   the total regeneration stream mass or                 than 2 months of life remaining, at least
                                                 utilized to comply with those rules. A                  volumetric flow for each regeneration                 weekly if the adsorbent has between 2
                                                 determination that was conducted prior                  cycle; and a carbon bed temperature                   months and 2 weeks of life remaining,
                                                 to the compliance date for this subpart                 monitoring device, capable of recording               and at least daily if the adsorbent has 2
                                                 may be utilized to comply with this                     the carbon bed temperature after each                 weeks or less of life remaining.
                                                 subpart if it is still representative.                  regeneration and within 15 minutes of                    (6) Where sorbent injection is used,
                                                    (C) The owner or operator may                        completing any cooling cycle shall be                 the following monitoring equipment is
                                                 prepare and implement a gas flow rate                   used.                                                 required for the sorbent injection
                                                 determination plan that documents an                       (v) Beginning no later than the                    system:
                                                 appropriate method which will be used                   compliance dates specified in                            (i) A sorbent injection rate monitoring
                                                 to determine the gas flow rate. The plan                § 63.100(k)(10), if the owner or operator             device (e.g., weigh belt, weigh hopper,
                                                 shall require determination of gas flow                 vents emissions through a closed vent                 hopper flow measurement device)
                                                 rate by a method which will at least                    system to an adsorber(s) that cannot be               installed in a position that provides a
                                                 provide a value for either a                            regenerated or a regenerative adsorber(s)             representative measurement equipped
                                                 representative or the highest gas flow                  that is regenerated offsite, then the                 with a continuous recorder to monitor
                                                 rate anticipated in the scrubber during                 owner or operator must install a system               the sorbent injection rate; and
                                                 representative operating conditions                     of two or more adsorber units in series                  (ii) A flow measurement device
                                                 other than startups, shutdowns, or                      and comply with the requirements                      equipped with a continuous recorder to
                                                 malfunctions. The plan shall include a                  specified in paragraphs (a)(5)(v)(A)                  monitor the carrier gas flow rate.
                                                 description of the methodology to be                    through (C) of this section.                             (b) Except as specified in
                                                 followed and an explanation of how the                     (A) Conduct an initial performance                 § 63.113(a)(4), each owner or operator of
                                                 selected methodology will reliably                      test or design evaluation of the adsorber             a process vent with a TRE index value
                                                 determine the gas flow rate, and a                      and establish the breakthrough limit and              greater than 1.0 as specified under
                                                 description of the records that will be                 adsorber bed life.                                    § 63.113(a)(3) or (d) that uses one or
                                                 maintained to document the                                 (B) Monitor the HAP or total organic               more recovery devices shall install
                                                 determination of gas flow rate. The                     compound (TOC) concentration through                  either an organic monitoring device
                                                 owner or operator shall maintain the                    a sample port at the outlet of the first              equipped with a continuous recorder or
                                                 plan as specified in § 63.103(c). For each              adsorber bed in series according to the               the monitoring equipment specified in
                                                 source as defined in § 63.101, on and                   schedule in paragraph (a)(5)(v)(C)(2) of              paragraph (b)(1), (2), or (3) of this
                                                 after July 15, 2027, the phrase ‘‘other                 this section. The owner or operator must              section, depending on the type of
                                                 than startups, shutdowns, or                            measure the concentration of HAP or                   recovery device used. All monitoring
                                                 malfunctions’’ in this paragraph no                     TOC using either a portable analyzer, in              equipment shall be installed, calibrated,
                                                 longer applies.                                         accordance with Method 21 of appendix                 and maintained according to the
                                                    (5) Where a recovery device or                       A–7 to part 60 of this chapter using                  manufacturer’s specifications or other
                                                 recapture device is used to comply with                 methane, propane, isobutylene, or the                 written procedures that provide
                                                 the requirements of § 63.113(a)(2) or (5),              primary HAP being controlled as the                   adequate assurance that the equipment
                                                 the owner or operator shall utilize the                 calibration gas or Method 25A of part                 would reasonably be expected to
                                                 appropriate monitoring device                           60, appendix A–7, using methane,                      monitor accurately. Monitoring is not
                                                 identified in paragraph (a)(5)(i), (ii), (iii),         propane, or the primary HAP being                     required for process vents with TRE
                                                 (iv), or (v) of this section. All monitoring
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                                                                                                         controlled as the calibration gas.                    index values greater than 4.0 as
                                                 equipment shall be installed, calibrated,                  (C) Comply with paragraph                          specified in § 63.113(e).
                                                 and maintained according to the                         (a)(5)(v)(C)(1) of this section and comply               (1) Where an absorber is the final
                                                 manufacturer’s specifications or other                  with the monitoring frequency                         recovery device in the recovery system,
                                                 written procedures that provide                         according to paragraph (a)(5)(v)(C)(2) of             a scrubbing liquid temperature
                                                 adequate assurance that the equipment                   this section.                                         monitoring device and a specific gravity
                                                 would reasonably be expected to                            (1) The first adsorber in series must be           monitoring device, each equipped with
                                                 monitor accurately.                                     replaced immediately when                             a continuous recorder shall be used;


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                                                    (2) Where a condenser is the final                      (2) Secure the bypass line valve in the            ■ 59. Amend § 63.115 by revising
                                                 recovery device in the recovery system,                 non-diverting position with a car-seal or             paragraphs (a) introductory text, (b)
                                                 a condenser exit (product side)                         a lock-and-key type configuration. A                  introductory text, (c) introductory text,
                                                 temperature monitoring device                           visual inspection of the seal or closure              (d) introductory text, (e) introductory
                                                 equipped with a continuous recorder                     mechanism shall be performed at least                 text and (f) introductory text and adding
                                                 shall be used;                                          once every month to ensure that the                   paragraph (g) to read as follows:
                                                    (3) Where a carbon adsorber is the                   valve is maintained in the non-diverting
                                                 final recovery device in the recovery                   position and the gas stream is not                    § 63.115 Process vent provisions—
                                                 system, an integrating regeneration                                                                           methods and procedures for process vent
                                                                                                         diverted through the bypass line
                                                                                                                                                               group determination.
                                                 stream flow monitoring device having                       (3) For each source as defined in
                                                 an accuracy of ±10 percent or better,                   § 63.101, beginning no later than the                    (a) For purposes of determining vent
                                                 capable of recording the total                          compliance dates specified in                         stream flow rate, total organic HAP or
                                                 regeneration stream mass or volumetric                  § 63.100(k)(10):                                      total organic carbon concentration or
                                                 flow for each regeneration cycle; and a                    (i) The use of a bypass line at any time           TRE index value as applicable, as
                                                 carbon bed temperature monitoring                       on a closed vent system to divert                     specified under paragraph (b), (c), or (d)
                                                 device, capable of recording the carbon                 emissions (subject to the emission                    of this section, the sampling site shall be
                                                 bed temperature after each regeneration                 standards in § 63.112) to the atmosphere              after the last recovery device (if any
                                                 and within 15 minutes of completing                     or to a control device not meeting the                recovery devices are present) but prior
                                                 any cooling cycle shall be used.                        requirements specified in this subpart is             to the inlet of any control device that is
                                                    (c) An owner or operator of a process                an emissions standards violation.                     present and prior to release to the
                                                 vent may request approval to monitor                       (ii) The last sentence in paragraph (d)            atmosphere.
                                                 parameters other than those listed in                   of this section no longer applies.                    *      *     *     *     *
                                                 paragraph (a) or (b) of this section. The               Instead, the exemptions specified in                     (b) Except as specified in paragraph
                                                 request shall be submitted according to                 paragraphs (d)(3)(ii)(A) and (B) of this              (g) of this section, to demonstrate that a
                                                 the procedures specified in § 63.151(f)                 section apply.                                        vent stream flow rate is less than 0.005
                                                 or § 63.152(e) of this subpart. Approval                   (A) Except for pressure relief devices             standard cubic meter per minute in
                                                 shall be requested if the owner or                      subject to § 63.165(e)(4) of subpart H of             accordance with the Group 2 process
                                                 operator:                                               this part, equipment such as low leg                  vent definition of this subpart, the
                                                    (1) Uses a combustion device other                   drains and equipment subject to the                   owner or operator shall measure flow
                                                 than an incinerator, boiler, process                    requirements of subpart H of this part                rate by the following procedures:
                                                 heater, or flare; or                                    are not subject to this paragraph (d) of
                                                                                                                                                               *      *     *     *     *
                                                    (2) Except as specified in                           this section.
                                                                                                            (B) Open-ended valves or lines that                   (c) Except as specified in paragraph
                                                 § 63.113(a)(4), maintains a TRE greater                                                                       (g) of this section, each owner or
                                                 than 1.0 but less than or equal to 4.0                  use a cap, blind flange, plug, or second
                                                                                                         valve and follow the requirements                     operator seeking to demonstrate that a
                                                 without a recovery device or with a                                                                           vent stream has an organic HAP
                                                 recovery device other than the recovery                 specified in § 60.482–6(a)(2), (b), and (c)
                                                                                                         of this chapter or follow requirements                concentration below 50 parts per
                                                 devices listed in paragraphs (a) and (b)                                                                      million by volume in accordance with
                                                 of this section; or                                     codified in another regulation that are
                                                                                                         the same as § 60.482–6(a)(2), (b), and (c)            the Group 2 process vent definition of
                                                    (3) Uses one of the combustion or
                                                                                                         are not subject to this paragraph (d).                this subpart shall measure either total
                                                 recovery or recapture devices listed in
                                                                                                            (e) The owner or operator shall                    organic HAP or TOC concentration
                                                 paragraphs (a) and (b) of this section,
                                                                                                         establish a range that indicates proper               using the following procedures:
                                                 but seeks to monitor a parameter other
                                                 than those specified in paragraphs (a)                  operation of the control or recovery                  *      *     *     *     *
                                                 and (b) of this section.                                device for each parameter monitored                      (d) Except as specified in
                                                    (d) The owner or operator of a process               under paragraphs (a), (b), and (c) of this            § 63.113(a)(4), to determine the TRE
                                                 vent shall comply with paragraphs                       section based on the results of the most              index value, the owner or operator shall
                                                 (d)(1) or (2) and (d)(3) of this section for            recent performance test. In order to                  conduct a TRE determination and
                                                 any bypass line between the origin of                   establish the range, the information                  calculate the TRE index value according
                                                 the gas stream (i.e., at an air oxidation               required in § 63.152(b) shall be                      to the procedures in paragraph (d)(1) or
                                                 reactor, distillation unit, or reactor as               submitted in the Notification of                      (2) of this section and the TRE equation
                                                 identified in § 63.107(b)) and the point                Compliance Status or the operating                    in paragraph (d)(3) of this section.
                                                 where the gas stream reaches the                        permit application or amendment. The                  *      *     *     *     *
                                                 process vent, as described in § 63.107,                 range may be based upon a prior                          (e) Except as specified in
                                                 that could divert the gas stream directly               performance test conducted for                        § 63.113(a)(4), the owner or operator of
                                                 to the atmosphere. Except as specified                  determining compliance with a                         a Group 2 process vent shall recalculate
                                                 in paragraph (d)(3)(ii) of this section,                regulation promulgated by the EPA, and                the TRE index value, flow, or organic
                                                 equipment such as low leg drains, high                  the owner or operator is not required to              hazardous air pollutants concentration
                                                 point bleeds, analyzer vents, open-                     conduct an initial performance test                   for each process vent, as necessary to
                                                 ended valves or lines, and pressure                     under § 63.116, if the prior performance              determine whether the vent is Group 1
                                                 relief valves needed for safety purposes                test was conducted using the same                     or Group 2, whenever process changes
                                                 are not subject to this paragraph (d).                  methods specified in § 63.116 and either              are made that could reasonably be
                                                    (1) Properly install, maintain, and                  no process changes have been made                     expected to change the vent to a Group
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                                                 operate a flow indicator that takes a                   since the test, or the owner or operator              1 vent. Examples of process changes
                                                 reading at least once every 15 minutes.                 can demonstrate that the results of the               include, but are not limited to, changes
                                                 Records shall be generated as specified                 performance test, with or without                     in production capacity, production rate,
                                                 in § 63.118(a)(3). The flow indicator                   adjustments, reliably demonstrate                     feedstock type, or catalyst type, or
                                                 shall be installed at the entrance to any               compliance despite process changes.                   whenever there is replacement, removal,
                                                 bypass line that could divert the gas                   Subsequent performance tests must be                  or addition of recovery equipment. For
                                                 stream to the atmosphere; or                            conducted according to § 63.103(b)(1).                purposes of this paragraph, process


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                                                 changes do not include: Process upsets;                   (g) For each source as defined in                   are all listed in section 1.1 of ASTM
                                                 unintentional, temporary process                        § 63.101, beginning no later than the                 D6420–18 as measurable; ASTM D6420–
                                                 changes; and changes that are within the                compliance dates specified in                         18 must not be used for methane and
                                                 range on which the original TRE                         § 63.100(k)(10), paragraphs (b) and (c) of            ethane; and ASTM D6420–18 may not
                                                 calculation was based.                                  this section no longer apply. Instead, to             be used as a total VOC method.
                                                 *      *    *     *     *                               demonstrate that a vent stream total                     (3) Where Method 18 of appendix A–
                                                                                                         organic HAP mass flow rate is less than               6 to part 60 of this chapter, Method 320
                                                    (f) Except as specified in                           1.0 pound per hour in accordance with                 of appendix A to this part, or ASTM
                                                 § 63.113(a)(4), notwithstanding any                     the Group 2 process vent definition of                D6420–18 is used, the following
                                                 other provisions of this subpart, in any                this subpart, the owner or operator must              procedures must be used to calculate
                                                 case where a process vent includes one                  use the following procedures:                         the total organic HAP mass flow rate:
                                                 or more gas streams that are not from a                   (1) The sampling site must be selected                 (i) The minimum sampling time for
                                                 source subject to this subpart (hereafter               as specified in paragraph (a) of this                 each run must be 1 hour in which either
                                                 called ‘‘non-HON streams’’ for purposes                 section.                                              an integrated sample or four grab
                                                 of this paragraph), and one or more gas                                                                       samples must be taken. If grab sampling
                                                                                                           (2) Method 18 or Method 25A of
                                                 streams that meet the criteria in                                                                             is used, then the samples must be taken
                                                                                                         appendices A–6 and A–7 to 40 CFR part
                                                 § 63.107(b) through (h) or the criteria in                                                                    at approximately equal intervals in time,
                                                                                                         60 of this chapter, respectively, or
                                                 § 63.107(i) (hereafter called ‘‘HON                                                                           such as 15 minute intervals during the
                                                                                                         Method 320 of appendix A to this part
                                                 streams’’ for purposes of this                                                                                run.
                                                                                                         must be used to measure concentration.
                                                 paragraph), the owner or operator may                                                                            (ii) The mass rate of total organic HAP
                                                                                                         ASTM D6420–18 (incorporated by
                                                 elect to comply with paragraphs (f)(1)                                                                        for each run must be computed using
                                                                                                         reference, see § 63.14) may also be used
                                                 through (3) of this section.                                                                                  the following equation:
                                                                                                         in lieu of Method 18 or Method 320, if
                                                 *      *    *     *     *                               the target compounds are all known and                Equation 6 to Paragraph (g)(3)(ii)

                                                                                                                                        n

                                                                                                                   EHAP = KQ           L
                                                                                                                                       j=l
                                                                                                                                             CjMj


                                                 Where:                                                  j = Individual organic HAP compound in the               (B) Use of Method 25A of appendix
                                                 EHAP = Emission rate of total organic HAP, lb/               gas stream. The list of organic HAPs is          A–7 to part 60 of this chapter is
                                                      hr.                                                     provided in table 2 of subpart F of this         acceptable if the response from the high-
                                                 K = 1.675 × 10–7 (parts per million)–1 (lb-mole              part.
                                                                                                                                                               level calibration gas is at least 20 times
                                                      per standard cubic feet) (minutes per              n = Number of organic HAP compounds j in
                                                      hour), where standard temperature is                    the gas stream.                                  the standard deviation of the response
                                                      68 °F (20 °C).                                                                                           from the zero calibration gas when the
                                                 Q = Flowrate of gas stream, dry standard
                                                                                                            (iii) The owner or operator must                   instrument is zeroed on the most
                                                      cubic feet per minute), where standard             demonstrate that the emission rate of                 sensitive scale.
                                                      temperature is 68 °F (20 °C), determined           total organic HAP is less than 1.0 pound
                                                      using Method 2, 2A, 2C, or 2D of 40 CFR            per hour for the vent stream to be                       (ii) The span value for Method 25A of
                                                      part 60, appendix A, as appropriate. The           considered a Group 2 process vent.                    appendix A–7 to part 60 of this chapter
                                                      flowrate may be based solely on an                    (4) Where Method 25A of appendix                   must be equal to approximately twice
                                                      engineering assessment if measurements             A–7 to part 60 of this chapter is used,               the expected concentration of TOC in
                                                      cannot be made with EPA reference                                                                        the gas stream.
                                                      methods.
                                                                                                         the following procedures must be used
                                                 Cj = Concentration of organic compound j in             to calculate parts per million by volume                 (iii) The minimum sampling time for
                                                      the gas stream as measured by Method               TOC concentration:                                    each run must be 1 hour. The results
                                                      18 of appendix A–6 to 40 CFR part 60,                 (i) Method 25A of appendix A–7 to                  must be corrected to a dry basis. You
                                                      Method 320 of appendix A to this part,             part 60 of this chapter must be used                  must use Method 4 of appendix A–3 to
                                                      or ASTM D6420–18 (incorporated by                  only if a single organic HAP compound                 part 60 of this chapter to convert the
                                                      reference, see § 63.14), ppmv dry basis.           is greater than 50 percent of total                   Method 25A results to a dry basis.
                                                      The concentration may be based solely
                                                                                                         organic HAP, by volume, in the vent                      (iv) The mass rate of TOC for each run
                                                      on an engineering assessment if
                                                      measurements cannot be made with EPA               stream.                                               must be computed using the following
                                                      reference methods.                                    (A) This organic HAP must be used as               equation:
                                                 Mi = Molecular weight of organic compound               the calibration gas for Method 25A of
                                                      j, lb/lb-mole.                                     appendix A–7 to part 60 of this chapter.              Equation 7 to Paragraph (g)(4)(iv)


                                                                                                                       Eroc = KCMQ
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                                                 Where:                                                      A to part 60 of this chapter ppmv dry             Q = Flowrate of gas stream, dry standard
                                                 ETOC = Emission rate of TOC, lb/hr.                         basis. The concentration may be based                 cubic feet per minute), where standard
                                                 K = 1.675 × 10–7 (parts per million)–1 (lb-mole                                                                   temperature is 68 °F (20 °C), determined
                                                                                                                                                                                                              ER16MY24.057</GPH>




                                                                                                             solely on an engineering assessment if
                                                     per standard cubic feet) (minutes per                   measurements cannot be made with EPA                  using Method 2, 2A, 2C, or 2D of
                                                     hour), where standard temperature is                    reference methods.                                    appendix A–1 to part 60 of this chapter,
                                                     68 °F (20 °C).                                      M = Molecular weight of the organic HAP                   as appropriate. The flowrate may be
                                                 C = Concentration of TOC in the gas stream                  used as the calibration gas, lb/lb-mole.              based solely on an engineering
                                                                                                                                                                                                              ER16MY24.056</GPH>




                                                     as measured by Method 25A of appendix



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                                                      assessment if measurements cannot be               without adjustments, reliably                            (c) Except as provided in paragraphs
                                                      made with EPA reference methods.                   demonstrate compliance despite process                (a) and (b) of this section, an owner or
                                                    (v) The owner or operator must                       changes is not required to conduct an                 operator using a control device to
                                                 demonstrate that the emission rate of                   initial performance test. Subsequent                  comply with the organic HAP
                                                 TOC is less than 1.0 pound per hour for                 performance tests must be conducted                   concentration limit or percent reduction
                                                 the vent stream to be considered a                      according to § 63.103(b)(1).                          efficiency requirements in § 63.113(a)(2)
                                                 Group 2 process vent.                                     (4) A boiler or process heater burning              of this subpart shall conduct
                                                    (5) The requirements specified in                    hazardous waste for which the owner or                performance tests using the procedures
                                                 paragraphs (g)(1) through (4) of this                   operator:                                             in paragraphs (c)(1) through (4) of this
                                                 section for an initial measurement or                     (i) Has been issued a final permit                  section according to the schedule in
                                                 initial performance test do not apply if                under part 270 of this chapter and                    § 63.103(b)(1) of subpart F of this part.
                                                 the conditions specified in paragraphs                  complies with the requirements of part                The organic HAP concentration and
                                                 (g)(5)(i) through (iv) of this section are              266, subpart H, of this chapter;                      percent reduction may be measured as
                                                 met for a previously conducted                            (ii) Has certified compliance with the              either total organic HAP or as TOC
                                                 measurement or performance test.                        interim status requirements of part 266,              minus methane and ethane according to
                                                    (i) No changes have been made to the                 subpart H, of this chapter;                           the procedures specified.
                                                 process since the time of the                             (iii) Meets the requirement specified               *       *    *     *     *
                                                 measurement or performance test;                        in paragraph (b)(4)(v) of this section,                  (3) To determine compliance with the
                                                    (ii) The operating conditions and test               and has submitted a Notification of                   20 parts per million by volume total
                                                 methods used during measurement or                      Compliance under § 63.1207(j) and                     organic HAP limit in § 63.113(a)(2) of
                                                 performance test conform to the                         complies with the requirements of                     this subpart, the owner or operator shall
                                                 requirements in paragraphs (g)(1)                       subpart EEE of this part; or                          use Method 18 of appendix A–6 to part
                                                 through (4) of this section;                              (iv) Meets the requirement specified                60 of this chapter to measure either TOC
                                                    (iii) The control device and process                 in paragraph (b)(4)(v) of this section,               minus methane and ethane or total
                                                 parameter values established during the                 complies with subpart EEE of this part,               organic HAP. ASTM D6420–18
                                                 previously conducted measurement or                     and will submit a Notification of                     (incorporated by reference, see § 63.14)
                                                 performance test are used to                            Compliance under § 63.1207(j) by the                  may also be used in lieu of Method 18,
                                                 demonstrate continuous compliance                       date the owner or operator would have                 if the target compounds are all known
                                                 with the related requirements of this                   been required to submit the initial                   and are all listed in Section 1.1 of
                                                 subpart, if applicable; and                             performance test report for this subpart.             ASTM D6420–18 as measurable; ASTM
                                                    (iv) The previously conducted                          (v) The owner and operator may not                  D6420–18 must not be used for methane
                                                 measurement or performance test was                     waive performance testing pursuant to                 and ethane; and ASTM D6420–18 may
                                                 completed within the last 60 months.                    § 63.1207(d)(4) and each performance                  not be used as a total VOC method.
                                                 ■ 60. Amend § 63.116 by:                                test required by § 63.1207(d) must show               Alternatively, any other method or data
                                                 ■ a. Revising paragraphs (a)                            compliance with the dioxins and furans                that has been validated according to the
                                                 introductory text, (b)(3) through (5), (c)              emission limit specified in                           applicable procedures in Method 301 of
                                                 introductory text, (c)(3) introductory                  § 63.113(a)(5).                                       appendix A of this part, may be used.
                                                 text, (c)(3)(iii)(A), (c)(4) introductory                 (5) A hazardous waste incinerator for               The following procedures shall be used
                                                 text, (c)(4)(ii)(B), and (d) introductory               which the owner or operator:                          to calculate parts per million by volume
                                                 text; and                                                 (i) Has been issued a final permit                  concentration, corrected to 3 percent
                                                 ■ b. Adding paragraphs (f) through (h).                 under 40 CFR part 270 and complies                    oxygen:
                                                    The revisions and additions read as                  with the requirements of part 264,                    *       *    *     *     *
                                                 follows:                                                subpart O, of this chapter;                              (iii) * * *
                                                                                                           (ii) Has certified compliance with the                 (A) Method 3A of appendix A–2 to
                                                 § 63.116 Process vent provisions—                       interim status requirements of part 265,              part 60 of this chapter or the manual
                                                 performance test methods and procedures                 subpart O, of this chapter.                           method in ANSI/ASME PTC 19.10–1981
                                                 to determine compliance.                                  (iii) Meets the requirement specified               (incorporated by reference, see § 63.14)
                                                    (a) When a flare is used to comply                   in paragraph (b)(5)(v) of this section,               shall be used to determine the oxygen
                                                 with § 63.113(a)(1), the owner or                       and has submitted a Notification of                   concentration (%O2d). The samples
                                                 operator shall comply with paragraphs                   Compliance under § 63.1207(j) and                     shall be taken during the same time that
                                                 (a)(1) through (3) of this section except               complies with the requirements subpart                the TOC (minus methane or ethane) or
                                                 as specified in § 63.108(a). The owner or               EEE of this part; or                                  total organic HAP samples are taken.
                                                 operator is not required to conduct a                     (iv) Meets the requirement specified                *       *    *     *     *
                                                 performance test to determine percent                   in paragraph (b)(5)(v) of this section,                  (4) To determine compliance with the
                                                 emission reduction or outlet organic                    complies with the requirements subpart                98 percent reduction requirement of
                                                 HAP or TOC concentration.                               EEE of this part, and will submit a                   § 63.113(a)(2), the owner or operator
                                                 *      *    *     *     *                               Notification of Compliance under                      shall use Method 18 of appendix A–6 to
                                                    (b) * * *                                            § 63.1207(j) by the date the owner or                 part 60 of this chapter; alternatively, any
                                                    (3) A control device for which a                     operator would have been required to                  other method or data that has been
                                                 performance test was conducted for                      submit the initial performance test                   validated according to the applicable
                                                 determining compliance with a                           report for this subpart.                              procedures in Method 301 of appendix
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                                                 regulation promulgated by the EPA and                     (v) The owner and operator may not                  A to this part may be used. ASTM
                                                 the test was conducted using the same                   waive performance testing pursuant to                 D6420–18 (incorporated by reference,
                                                 methods specified in this section and                   § 63.1207(d)(4) and each performance                  see § 63.14) may also be used in lieu of
                                                 either no process changes have been                     test required by § 63.1207(d) must show               Method 18, if the target compounds are
                                                 made since the test, or the owner or                    compliance with the dioxins and furans                all known and are all listed in section
                                                 operator can demonstrate that the                       emission limit specified in                           1.1 of ASTM D6420–18 as measurable;
                                                 results of the performance test, with or                § 63.113(a)(5).                                       ASTM D6420–18 must not be used for


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                                                 methane and ethane; and ASTM D6420–                     compliance dates specified in                         and furan congener emitted using
                                                 18 may not be used as a total VOC                       § 63.100(k)(10), an owner or operator                 Method 23 of appendix A–7 to part 60
                                                 method. The following procedures shall                  using a recapture device to comply with               of this chapter.
                                                 be used to calculate percent reduction                  the organic HAP concentration limit or                   (i) For each dioxin and furan
                                                 efficiency:                                             percent reduction efficiency                          congener, multiply the congener
                                                 *       *    *    *    *                                requirements in § 63.113(a)(2) shall                  concentration by its corresponding toxic
                                                    (ii) * * *                                           conduct a performance test using the                  equivalency factor specified in table 38
                                                    (B) Where the mass rate of TOC is                    same procedures specified in paragraph                to this subpart. For determination of
                                                 being calculated, all organic compounds                 (c) of this section, except the term                  toxic equivalency, zero may be used for
                                                 (minus methane and ethane) measured                     ‘‘recapture device’’ is substituted for               congeners with a concentration less
                                                 by Method 18 of appendix A–6 to part                    ‘‘control device.’’                                   than the estimated detection limit
                                                 60 of this chapter or ASTM D6420–18                        (h) To demonstrate compliance with                 (EDL). For congeners with estimated
                                                 (incorporated by reference, see § 63.14)                the dioxins and furans emission limit                 maximum pollutant concentration
                                                 are summed using the equation in                        specified in § 63.113(a)(5), owners and               (EMPC) results, if the value is less than
                                                 paragraph (c)(4)(ii)(A) of this section.                operators must conduct performance                    the EDL, zero may be used. Otherwise,
                                                                                                         tests using the procedures in paragraphs              the EMPC value must be used in the
                                                 *       *    *    *    *
                                                                                                         (h)(1) through (6) of this section                    calculation of toxic equivalency.
                                                    (d) An owner or operator using a
                                                                                                         according to the schedule in
                                                 combustion device followed by a                                                                                  (ii) Sum the products calculated in
                                                                                                         § 63.103(b)(1).
                                                 scrubber or other halogen reduction                                                                           accordance with paragraph (h)(5)(i) of
                                                                                                            (1) The performance test must consist
                                                 device to control halogenated vent                                                                            this section to obtain the total
                                                                                                         of three test runs. Collect at least 3 dry
                                                 streams in compliance with                                                                                    concentration of dioxins and furans
                                                                                                         standard cubic meters of gas per test
                                                 § 63.113(c)(1) shall conduct                                                                                  emitted in terms of toxic equivalency.
                                                                                                         run.
                                                 performance tests to determine                             (2) Use Method 1 or 1A of appendix                    (6) The concentration of dioxins and
                                                 compliance with the control efficiency                  A–1 to 40 CFR part 60 to select the                   furans shall be corrected to 3 percent
                                                 or emission limits for hydrogen halides                 sampling sites at the sampling location.              oxygen. Use Method 3A of 40 CFR part
                                                 and halogens according to the schedule                  The sampling location must be at the                  60, appendix A, or the manual method
                                                 in § 63.103(b)(1).                                      outlet of the final control device.                   in ANSI/ASME PTC 19.10–1981
                                                 *       *    *    *    *                                   (3) Determine the gas volumetric                   (incorporated by reference, see § 63.14)
                                                    (f) To demonstrate compliance with                   flowrate using Method 2, 2A, 2C, or 2D                to determine the oxygen concentration
                                                 the emission limits and work practice                   of appendix A–1 to part 60 of this                    (%O2d). The oxygen concentration must
                                                 standards specified in § 63.113(j) for                  chapter.                                              be determined concurrently with
                                                 process vents in ethylene oxide service,                   (4) Use Method 4 of appendix A–3 to                Method 23 of appendix A–7 to part 60
                                                 owners and operators must meet the                      part 60 of this chapter to convert the                of this chapter. The concentration
                                                 requirements specified in § 63.124.                     volumetric flowrate to a dry basis.                   corrected to 3 percent oxygen (Cc) shall
                                                    (g) For each source as defined in                       (5) Measure the concentration of each              be computed using the following
                                                 § 63.101, beginning no later than the                   tetra- through octa-chlorinated dioxin                equation:




                                                 Where:                                                  paragraphs (a)(4) through (10) of this                table 3 of this subpart, and averaged
                                                 Cc = Concentration of dioxins and furans                section, as applicable, and                           over the same time period of the
                                                     corrected to 3 percent oxygen, dry basis,              (2) Include the data in paragraphs                 performance testing.
                                                     nanograms per standard cubic meter.                 (a)(4) through (10) of this section in the
                                                 Cm = Concentration of dioxins and furans,
                                                                                                                                                                  (ii) For an incinerator, the percent
                                                                                                         Notification of Compliance Status report              reduction of organic HAP or TOC
                                                     dry basis, nanograms per standard cubic             as specified in § 63.152(b) of this
                                                     meter.                                                                                                    achieved by the incinerator determined
                                                 %O2d = Concentration of oxygen, dry basis,              subpart.                                              as specified in § 63.116(c), or the
                                                     percent by volume.                                     (3) Except as specified in                         concentration of organic HAP or TOC
                                                                                                         § 63.113(a)(4), if any subsequent TRE                 (parts per million by volume, by
                                                 ■ 61. Revise and republish § 63.117 to
                                                                                                         determinations or performance tests are               compound) determined as specified in
                                                 read as follows:
                                                                                                         conducted after the Notification of                   § 63.116(c) at the outlet of the
                                                 § 63.117 Process vent provisions—                       Compliance Status has been submitted,                 incinerator on a dry basis corrected to
                                                 reporting and recordkeeping requirements                report the data in paragraphs (a)(4)                  3 percent oxygen.
                                                 for group and TRE determinations and                    through (a)(10) of this section in the
                                                 performance tests.                                      next Periodic Report as specified in                     (iii) For a boiler or process heater, a
                                                   (a) Except as specified in                            § 63.152(c).                                          description of the location at which the
                                                 § 63.113(a)(4), each owner or operator                     (4) Record and report the following                vent stream is introduced into the boiler
                                                                                                                                                               or process heater.
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                                                 subject to the control provisions for                   when using a combustion device to
                                                 Group 1 process vents in § 63.113(a) or                 achieve a 98 weight percent reduction                    (iv) For a boiler or process heater with
                                                 the provisions for Group 2 process vents                in organic HAP or an organic HAP                      a design heat input capacity of less than
                                                 with a TRE index value greater than 1.0                 concentration of 20 parts per million by              44 megawatts and where the vent stream
                                                 but less than or equal to 4.0 in                        volume, as specified in § 63.113(a)(2):               is introduced with combustion air or
                                                 § 63.113(d) shall:                                         (i) The parameter monitoring results               used as a secondary fuel and is not
                                                   (1) Keep an up-to-date, readily                       for incinerators, catalytic incinerators,             mixed with the primary fuel, the
                                                                                                                                                                                                             ER16MY24.058</GPH>




                                                 accessible record of the data specified in              boilers or process heaters specified in               percent reduction of organic HAP or


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                                                 TOC, or the concentration of organic                       (i) The parameter monitoring results,              for the parameter that indicates proper
                                                 HAP or TOC (parts per million by                        as specified in table 3 of this subpart, for          operation of the control or recovery
                                                 volume, by compound) determined as                      the applicable device and averaged over               device. In order to establish the range,
                                                 specified in § 63.116(c) at the outlet of               the same time period of the performance               the information required in § 63.152(b)
                                                 the combustion device on a dry basis                    testing.                                              shall be submitted in the Notification of
                                                 corrected to 3 percent oxygen.                             (ii) The dioxins and furans                        Compliance Status or the operating
                                                    (5) Except as specified in § 63.108)(a),             concentration on a toxic equivalency                  permit application or amendment.
                                                 record and report the following when                    basis (nanograms per standard cubic                      (g) For each source as defined in
                                                 using a flare to comply with                            meter on a dry basis corrected to 3                   § 63.101, beginning no later than the
                                                 § 63.113(a)(1):                                         percent oxygen) determined as specified               compliance dates specified in
                                                    (i) Flare design (i.e., steam-assisted,              in § 63.116(h).                                       § 63.100(k)(10), paragraphs (c) and (d) of
                                                 air-assisted, or non-assisted);                            (b) Except as specified in                         this section no longer apply. Instead,
                                                    (ii) All visible emission readings, heat             § 63.113(a)(4), the owner or operator of              each owner or operator demonstrating
                                                 content determinations, flow rate                       a Group 2 process vent with a TRE                     that a process vent is a Group 2 process
                                                 measurements, and exit velocity                         index greater than 4.0 as specified in                vent based on total organic HAP mass
                                                 determinations made during the                          § 63.113(e), shall maintain records and               flow rate less than 1.0 pound per hour
                                                 compliance determination required by                    submit as part of the Notification of                 must submit to the Administrator a total
                                                 § 63.116(a); and                                        Compliance Status specified in § 63.152,              organic HAP measurement using the
                                                    (iii) All periods during the                         measurements, engineering assessments,                methods and procedures specified in
                                                 compliance determination when the                       and calculations performed to                         § 63.115(g) with the Notification of
                                                 pilot flame is absent.                                  determine the TRE index value of the                  Compliance Status specified in § 63.152.
                                                    (6) Record and report the following                  vent stream. Documentation of                         ■ 62. Revise and republish § 63.118 to
                                                 when using a scrubber following a                       engineering assessments shall include                 read as follows:
                                                 combustion device to control a                          all data, assumptions, and procedures
                                                 halogenated vent stream:                                used for the engineering assessments, as              § 63.118 Process vent provisions—
                                                    (i) The percent reduction or scrubber                specified in § 63.115(d)(1).                          periodic reporting and recordkeeping
                                                 outlet mass emission rate of total                         (c) Except as specified in paragraph               requirements.
                                                 hydrogen halides and halogens as                        (g) of this section, each owner or                       (a) Each owner or operator using a
                                                 specified in § 63.116(d);                               operator who elects to demonstrate that               control device to comply with
                                                    (ii) The pH of the scrubber effluent;                a process vent is a Group 2 process vent              § 63.113(a)(1), (2), or (5) shall keep the
                                                 and                                                     based on a flow rate less than 0.005                  following records up-to-date and readily
                                                    (iii) The scrubber liquid to gas ratio.              standard cubic meter per minute must                  accessible:
                                                    (7) Except as specified in                           submit to the Administrator the flow                     (1) Continuous records of the
                                                 § 63.113(a)(4), record and report the                   rate measurement using methods and                    equipment operating parameters
                                                 following when achieving and                            procedures specified in § 63.115(a) and               specified to be monitored under
                                                 maintaining a TRE index value greater                   (b) with the Notification of Compliance               § 63.114(a) to this subpart and listed in
                                                 than 1.0 but less than 4.0 as specified in              Status specified in § 63.152.                         table 3 to this subpart or specified by
                                                 § 63.113(a)(3) or (d):                                     (d) Except as specified in paragraph               the Administrator in accordance with
                                                    (i) The parameter monitoring results                 (g) of this section, each owner or                    § 63.114(c) and § 63.117(e). For flares,
                                                 for absorbers, condensers, or carbon                    operator who elects to demonstrate that               the hourly records and records of pilot
                                                 adsorbers, as specified in table 4 to this              a process vent is a Group 2 process vent              flame outages specified in table 3 to this
                                                 subpart, and averaged over the same                     based on organic HAP or TOC                           subpart shall be maintained in place of
                                                 time period of the measurements of vent                 concentration less than 50 parts per                  continuous records.
                                                 stream flow rate and concentration used                 million by volume must submit to the                     (2) Records of the daily average value
                                                 in the TRE determination (both                          Administrator an organic HAP or TOC                   of each continuously monitored
                                                 measured while the vent stream is                       concentration measurement using the                   parameter for each operating day
                                                 normally routed and constituted), and                   methods and procedures specified in                   determined according to the procedures
                                                    (ii) The measurements and                            § 63.115(a) and (c) with the Notification             specified in § 63.152(f). For flares
                                                 calculations performed to determine the                 of Compliance Status specified in                     complying with § 63.11(b), records of
                                                 TRE index value of the vent stream.                     § 63.152.                                             the times and duration of all periods
                                                    (8) Record and report the halogen                       (e) If an owner or operator uses a                 during which all pilot flames are absent
                                                 concentration in the vent stream                        control or recovery device other than                 shall be kept rather than daily averages.
                                                 determined according to the procedures                  those listed in tables 3 and 4 to this                For flares complying with § 63.108, the
                                                 specified in § 63.115(d)(2)(v).                         subpart or requests approval to monitor               owner or operator must comply with the
                                                    (9) When using a recapture device to                 a parameter other than those specified                recordkeeping requirements specified
                                                 achieve a 98 weight percent reduction                   in tables 3 and 4 to this subpart, the                therein.
                                                 in organic HAP or an organic HAP                        owner or operator shall submit a                         (3) Hourly records of whether the flow
                                                 concentration of 20 parts per million by                description of planned reporting and                  indicator specified under § 63.114(d)(1)
                                                 volume, as specified in § 63.113(a)(2),                 recordkeeping procedures as required                  was operating and whether a diversion
                                                 record and report the parameter                         under § 63.151(f) or § 63.152(e). The                 was detected at any time during the
                                                 monitoring results for absorbers,                       Administrator will specify appropriate                hour, as well as records of the times and
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                                                 condensers, or carbon adsorbers, as                     reporting and recordkeeping                           durations of all periods when the gas
                                                 specified in table 3 of this subpart, and               requirements as part of the review of the             stream is diverted to the atmosphere or
                                                 averaged over the same time period of                   permit application or by other                        the monitor is not operating.
                                                 the performance testing.                                appropriate means.                                       (4) Where a seal mechanism is used
                                                    (10) Record and report the following                    (f) For each parameter monitored                   to comply with § 63.114(d)(2), hourly
                                                 when using a control device, recapture                  according to tables 3 or 4 to this subpart            records of flow are not required. In such
                                                 device, or recovery device to meet the                  or paragraph (e) of this section, the                 cases, the owner or operator shall record
                                                 dioxins and furans emissions limit.                     owner or operator shall establish a range             that the monthly visual inspection of


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                                                 the seals or closure mechanism has been                    (d) Except as specified in paragraph               the information in paragraph (f)(7) of
                                                 done, and shall record the duration of                  (n) of this section, each owner or                    this section. Include the start date, start
                                                 all periods when the seal mechanism is                  operator who elects to comply by                      time and duration in hours of each
                                                 broken, the bypass line valve position                  maintaining a flow rate less than 0.005               period.
                                                 has changed, or the key for a lock-and-                 standard cubic meter per minute under                    (4) Reports of all periods recorded
                                                 key type lock has been checked out, and                 § 63.113(f), shall keep up-to-date,                   under paragraph (a)(4) of this section in
                                                 records of any car-seal that has broken.                readily accessible records of:                        which the seal mechanism is broken,
                                                    (5) For each source as defined in                       (1) Any process changes as defined in              the bypass line valve position has
                                                 § 63.101, beginning no later than the                   § 63.115(e) that increase the vent stream             changed, or the key to unlock the bypass
                                                 compliance dates specified in                           flow rate,                                            line valve was checked out and if
                                                 § 63.100(k)(10), the owner or operator                     (2) Any recalculation or measurement               applicable, the information in paragraph
                                                 must comply with this paragraph in                      of the flow rate pursuant to § 63.115(e),             (f)(7) of this section. Include the start
                                                 addition to the requirements in                         and                                                   date, start time and duration in hours of
                                                 paragraphs (a)(1) through (4) of this                      (3) Except as specified in                         each period.
                                                 section. For each flow event from a                     § 63.113(a)(4), if the flow rate increases               (5) Except as specified in paragraph
                                                 bypass line subject to the requirements                 to 0.005 standard cubic meter per                     (a) of § 63.108, reports of the times and
                                                 in § 63.114(d), the owner or operator                   minute or greater as a result of the                  durations of all periods recorded under
                                                 must maintain records sufficient to                     process change, the TRE determination                 paragraph (a)(2) of this section in which
                                                 determine whether or not the detected                   performed according to the procedures                 all pilot flames of a flare were absent.
                                                 flow included flow requiring control.                   of § 63.115(d).                                          (6) Reports of all carbon bed
                                                 For each flow event from a bypass line                     (e) Except as specified in paragraph               regeneration cycles during which the
                                                 requiring control that is released either               (n) of this section, each owner or                    parameters recorded under paragraph
                                                 directly to the atmosphere or to a                      operator who elects to comply by                      (b)(2)(v) of this section were outside the
                                                 control device not meeting the                          maintaining an organic HAP                            ranges established in the Notification of
                                                 requirements in this subpart, the owner                 concentration less than 50 parts per                  Compliance Status or operating permit.
                                                 or operator must include an estimate of                 million by volume organic HAP                         Include the identification of the carbon
                                                 the volume of gas, the concentration of                 concentration under § 63.113(g) shall                 bed, the monitored parameter that was
                                                 organic HAP in the gas and the resulting                keep up-to-date, readily accessible                   outside the established range, and the
                                                 emissions of organic HAP that bypassed                  records of:                                           start date, start time and duration in
                                                 the control device using process                           (1) Any process changes as defined in              hours of the regeneration cycle.
                                                 knowledge and engineering estimates.                    § 63.115(e) that increase the organic                    (7) For each source as defined in
                                                    (b) Except as specified in                           HAP concentration of the vent stream,                 § 63.101, beginning no later than the
                                                 § 63.113(a)(4), each owner or operator                     (2) Any recalculation or measurement               compliance dates specified in
                                                 using a recovery device or other means                  of the concentration pursuant to                      § 63.100(k)(10), the owner or operator
                                                 to achieve and maintain a TRE index                     § 63.115(e), and                                      must comply with this paragraph in
                                                 value greater than 1.0 but less than 4.0                   (3) Except as specified in                         addition to the requirements in
                                                 as specified in § 63.113(a)(3) or (d) shall             § 63.113(a)(4), if the organic HAP                    paragraphs (f)(3) and (4) of this section.
                                                 keep the following records up-to-date                   concentration increases to 50 parts per               For bypass lines subject to the
                                                 and readily accessible:                                 million by volume or greater as a result              requirements in § 63.114(d), the
                                                    (1) Continuous records of the                        of the process change, the TRE                        Periodic Report must include the start
                                                 equipment operating parameters                          determination performed according to                  date, start time, duration in hours,
                                                 specified to be monitored under                         the procedures of § 63.115(d).                        estimate of the volume of gas in
                                                 § 63.114(b) to this subpart and listed in                  (f) Each owner or operator who elects              standard cubic feet, the concentration of
                                                 table 4 to this subpart or specified by                 to comply with the requirements of                    organic HAP in the gas in parts per
                                                 the Administrator in accordance with                    § 63.113 of this subpart shall submit to              million by volume and the resulting
                                                 § 63.114(c) and § 63.114(e) and                         the Administrator Periodic Reports of                 mass emissions of organic HAP in
                                                    (2) Records of the daily average value               the following recorded information                    pounds that bypass a control device. For
                                                 of each continuously monitored                          according to the schedule in § 63.152.                periods when the flow indicator is not
                                                 parameter for each operating day                           (1) Reports of daily average values of             operating, report the start date, start
                                                 determined according to the procedures                  monitored parameters for all operating                time, and duration in hours.
                                                 specified in § 63.152(f). If carbon                     days when the daily average values                       (8) For process vents in ethylene
                                                 adsorber regeneration stream flow and                   recorded under paragraphs (a) and (b) of              oxide service subject to the
                                                 carbon bed regeneration temperature are                 this section were outside the ranges                  requirements of § 63.124, the Periodic
                                                 monitored, the records specified in table               established in the Notification of                    Report must include the records for
                                                 4 to this subpart shall be kept instead                 Compliance Status or operating permit,                periods specified in paragraph (l)(2) of
                                                 of the daily averages.                                  including the date that the parameter                 this section. Indicate the start date and
                                                    (c) Except as specified in                           was outside the range.                                time and end date and time for each
                                                 § 63.113(a)(4), each owner or operator                     (2) For Group 1 points, reports of the             period.
                                                 subject to the provisions of this subpart               duration (in hours) of periods when                      (9) For any maintenance vent release
                                                 and who elects to demonstrate                           monitoring data is not collected for each             exceeding the applicable limits in
                                                 compliance with the TRE index value                     excursion caused by insufficient                      § 63.113(k)(1), the compliance report
                                                                                                                                                               must include the information specified
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                                                 greater than 4.0 under § 63.113(e) or                   monitoring data as defined in
                                                 greater than 1.0 under § 63.113(a)(3) or                § 63.152(c)(2)(ii)(A), including the start            in paragraphs (f)(9)(i) through (iv) of this
                                                 (d) shall keep up-to-date, readily                      date of such periods.                                 section. For the purposes of this
                                                 accessible records of:                                     (3) Reports of the times and durations             reporting requirement, if an owner or
                                                    (1) Any process changes as defined in                of all periods recorded under paragraph               operator complies with
                                                 § 63.115(e); and                                        (a)(3) of this section when the gas                   § 63.113(k)(1)(iv) then the owner or
                                                    (2) Any recalculation of the TRE                     stream is diverted to the atmosphere                  operator must report each venting event
                                                 index value pursuant to § 63.115(e).                    through a bypass line and if applicable,              conducted under those provisions and


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                                                 include an explanation for each event as                made that causes a Group 2 process vent                  (l) For process vents in ethylene oxide
                                                 to why utilization of this alternative was              with a flow rate less than 0.005 standard             service subject to the requirements of
                                                 required.                                               cubic meter per minute to become a                    § 63.124, owners and operators must
                                                    (i) Identification of the maintenance                Group 2 process vent with a flow rate                 keep the records specified in paragraphs
                                                 vent and the equipment served by the                    of 0.005 standard cubic meter per                     (l)(1) and (2) of this section in addition
                                                 maintenance vent.                                       minute or greater and a TRE index value               to those records specified elsewhere in
                                                    (ii) The date and time the                           less than or equal to 4.0, the owner or               this section.
                                                 maintenance vent was opened to the                      operator shall submit a report within                    (1) For process vents, include all
                                                 atmosphere.                                             180 calendar days after the process                   uncontrolled, undiluted ethylene oxide
                                                    (iii) The LEL in percent, vessel                     change. The report may be submitted as                concentration measurements, and the
                                                 pressure in psig, or mass in pounds of                  part of the next periodic report. The                 calculations used to determine the total
                                                 VOC in the equipment, as applicable, at                 report shall include:                                 uncontrolled ethylene oxide mass
                                                 the start of atmospheric venting. If the                   (1) A description of the process                   emission rate for the sum of all vent gas
                                                 5 psig vessel pressure option in                        change,                                               streams.
                                                 § 63.113(k)(1)(ii) was used and active                     (2) The results of the recalculation of               (2) If emissions are vented through a
                                                 purging was initiated while the                         the flow rate and the TRE determination               closed-vent system to a non-flare control
                                                 concentration of the vapor was 10                       required under § 63.115(e) and recorded               device, then the owner or operator must
                                                 percent or greater of its LEL, also                     under paragraph (d) of this section, and              keep records of all periods during which
                                                 include the concentration of the vapors                    (3) A statement that the owner or                  operating values are outside of the
                                                 at the time active purging was initiated.               operator will comply with the                         applicable operating limits specified in
                                                    (iv) An estimate of the mass in                      requirements specified in § 63.113(d).                § 63.124(b)(4) through (6) when
                                                 pounds of organic HAP released during                      (j) Except as specified in                         regulated material is being routed to the
                                                 the entire atmospheric venting event.                   § 63.113(a)(4), whenever a process                    non-flare control device. The record
                                                    (g) Whenever a process change, as                    change, as defined in § 63.115(e), is                 must specify the identification of the
                                                 defined in § 63.115(e), is made that                    made that causes a Group 2 process vent               control device, the operating parameter,
                                                 causes a Group 2 process vent to                        with an organic HAP concentration less                the applicable limit, and the highest (for
                                                 become a Group 1 process vent, the                      than 50 parts per million by volume to                maximum operating limits) or lowest
                                                 owner or operator shall submit a report                 become a Group 2 process vent with an                 (for minimum operating limits) value
                                                 within 180 calendar days after the                      organic HAP concentration of 50 parts                 recorded during the period.(m) For each
                                                 process change as specified in                          per million by volume or greater and a                maintenance vent opening subject to the
                                                 § 63.151(j). The report shall include:                  TRE index value less than or equal to                 requirements of § 63.113(k), owners and
                                                    (1) A description of the process                     4.0, the owner or operator shall submit               operators must keep the applicable
                                                 change;                                                 a report within 180 calendar days after               records specified in paragraphs (m)(1)
                                                    (2) Except as specified in                           the process change. The report may be                 through (5) of this section.
                                                 § 63.113(a)(4), the results of the                      submitted as part of the next periodic                   (1) Owners and operators must
                                                 recalculation of the flow rate, organic                 report. The report shall include:                     maintain standard site procedures used
                                                 HAP concentration, and TRE index                           (1) A description of the process                   to deinventory equipment for safety
                                                 value required under § 63.115(e) and                    change,                                               purposes (e.g., hot work or vessel entry
                                                 recorded under paragraph (c), (d), or (e)                  (2) The results of the recalculation of            procedures) to document the procedures
                                                 of this section; and                                    the organic HAP concentration and the                 used to meet the requirements in
                                                    (3) A statement that the owner or                    TRE determination required under                      § 63.113(k). The current copy of the
                                                 operator will comply with the                           § 63.115(e) and recorded under                        procedures must be retained and
                                                 provisions of § 63.113 for Group 1                      paragraph (e) of this section, and                    available on-site at all times. Previous
                                                 process vents by the dates specified in                    (3) A statement that the owner or                  versions of the standard site procedures,
                                                 subpart F of this part.                                 operator will comply with the                         as applicable, must be retained for 5
                                                    (h) Except as specified in                           requirements specified in § 63.113(d).                years.
                                                 § 63.113(a)(4), whenever a process                         (k) The owner or operator is not                      (2) If complying with the
                                                 change, as defined in § 63.115(e), is                   required to submit a report of a process              requirements of § 63.113(k)(1)(i), and
                                                 made that causes a Group 2 process vent                 change if one of the conditions listed in             the concentration of the vapor at the
                                                 with a TRE greater than 4.0 to become                   paragraph (k)(1), (2), (3), or (4) of this            time of the vessel opening exceeds 10
                                                 a Group 2 process vent with a TRE less                  section is met.                                       percent of its LEL, identification of the
                                                 than 4.0, the owner or operator shall                      (1) The process change does not meet               maintenance vent, the process units or
                                                 submit a report within 180 calendar                     the definition of a process change in                 equipment associated with the
                                                 days after the process change. The                      § 63.115(e), or                                       maintenance vent, the date of
                                                 report may be submitted as part of the                     (2) The vent stream flow rate is                   maintenance vent opening, and the
                                                 next periodic report. The report shall                  recalculated according to § 63.115(e)                 concentration of the vapor at the time of
                                                 include:                                                and the recalculated value is less than               the vessel opening.
                                                    (1) A description of the process                     0.005 standard cubic meter per minute,                   (3) If complying with the
                                                 change,                                                 or                                                    requirements of § 63.113(k)(1)(ii), and
                                                    (2) The results of the recalculation of                 (3) The organic HAP concentration of               either the vessel pressure at the time of
                                                 the TRE index value required under                      the vent stream is recalculated                       the vessel opening exceeds 5 psig or the
                                                                                                                                                               concentration of the vapor at the time of
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                                                 § 63.115(e) and recorded under                          according to § 63.115(e) and the
                                                 paragraph (c) of this section, and                      recalculated value is less than 50 parts              the active purging was initiated exceeds
                                                    (3) A statement that the owner or                    per million by volume, or                             10 percent of its LEL, identification of
                                                 operator will comply with the                              (4) Except as specified in                         the maintenance vent, the process units
                                                 requirements specified in § 63.113(d).                  § 63.113(a)(4), the TRE index value is                or equipment associated with the
                                                    (i) Except as specified in                           recalculated according to § 63.115(e)                 maintenance vent, the date of
                                                 § 63.113(a)(4), whenever a process                      and the recalculated value is greater                 maintenance vent opening, the pressure
                                                 change, as defined in § 63.115(e), is                   than 4.0.                                             of the vessel or equipment at the time


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                                                 of discharge to the atmosphere and, if                     (2) Any recalculation or measurement               less than 10 percent of the LEL, or the
                                                 applicable, the concentration of the                    of the mass flow rate pursuant to                     organic HAP concentration in the vapor
                                                 vapors in the equipment when active                     § 63.115(g).                                          space is equal to or less than of 5,000
                                                 purging was initiated.                                  ■ 63. Amend § 63.119 by:                              ppmv as methane. The owner or
                                                    (4) If complying with the                            ■ a. Revising paragraph (a) introductory              operator must determine the
                                                 requirements of § 63.113(k)(1)(iii),                    text;                                                 concentration using process
                                                 records of the estimating procedures                    ■ b. Adding paragraphs (a)(5) through                 instrumentation or portable
                                                 used to determine the total quantity of                 (7);                                                  measurement devices and follow
                                                                                                         ■ c. Revising paragraphs (b)                          procedures for calibration and
                                                 VOC in the equipment and the type and
                                                 size limits of equipment that contain                   introductory text, (b)(5) introductory                maintenance according to
                                                 less than 50 pounds of VOC at the time                  text, and (b)(5)(ii);                                 manufacturer’s specifications. The
                                                                                                         ■ d. Adding paragraphs (b)(5)(ix)                     owner or operator must determine the
                                                 of maintenance vent opening. For each
                                                 maintenance vent opening that contains                  through (xii) and (b)(7);                             organic HAP concentration using
                                                                                                         ■ e. Revising and publishing paragraph                Method 18 or Method 25A of appendix
                                                 greater than 50 pounds of VOC for
                                                                                                         (e);                                                  A to part 60 of this chapter; or
                                                 which the deinventory procedures                        ■ f. Revising paragraphs (f)(3) and
                                                 specified in paragraph (m)(1) of this                                                                         alternatively, any other method or data
                                                                                                         revising and republishing paragraph (g).              that has been validated according to the
                                                 section are not followed or for which                      The revisions, additions and
                                                 the equipment opened exceeds the type                                                                         protocol in Method 301 of appendix A
                                                                                                         republications read as follows:                       of this part.
                                                 and size limits established in the
                                                 records specified in this paragraph                     § 63.119 Storage vessel provisions—                      (i) Remove liquids from the storage
                                                 (m)(4), records that identify the                       reference control technology.                         vessel as much as practicable.
                                                                                                            (a) For each storage vessel to which                  (ii) Comply with one of the following:
                                                 maintenance vent, the process units or
                                                                                                                                                                  (A) Reduce emissions of total organic
                                                 equipment associated with the                           this subpart applies, the owner or
                                                                                                                                                               HAP by venting emissions through a
                                                 maintenance vent, the date of                           operator shall comply with the
                                                                                                                                                               closed vent system to a flare.
                                                 maintenance vent opening, and records                   requirements of paragraphs (a)(1)                        (B) Reduce emissions of total organic
                                                 used to estimate the total quantity of                  through (6) of this section according to              HAP by 95 weight-percent by venting
                                                 VOC in the equipment at the time the                    the schedule provisions of § 63.100. For              emissions through a closed vent system
                                                 maintenance vent was opened to the                      each pressure vessel to which this                    to any combination of non-flare control
                                                 atmosphere.                                             subpart applies, the owner or operator                devices.
                                                    (5) If complying with the                            must comply with the requirements of                     (C) Reduce emissions of total organic
                                                 requirements of § 63.113(k)(1)(iv),                     paragraph (a)(7) of this section.                     HAP by routing emissions to a fuel gas
                                                 identification of the maintenance vent,                 *       *    *    *     *                             system or process and meet the
                                                 the process units or equipment                             (5) For each source as defined in                  requirements specified in paragraph (f)
                                                 associated with the maintenance vent,                   § 63.101, beginning no later than the                 of this section.
                                                 records documenting actions taken to                    compliance dates specified in                            (iii) Maintain records necessary to
                                                 comply with other applicable                            § 63.100(k)(11), if the storage vessel (of            demonstrate compliance with the
                                                 alternatives and why utilization of this                any capacity and vapor pressure) stores               requirements in § 63.102(f) of subpart F
                                                 alternative was required, the date of                   liquid containing ethylene oxide such                 of this part including, if appropriate,
                                                 maintenance vent opening, the                           that the storage vessel is considered to              records of existing standard site
                                                 equipment pressure and concentration                    be in ethylene oxide service, as defined              procedures used to empty and degas
                                                 of the vapors in the equipment at the                   in § 63.101, then the owner or operator               (deinventory) equipment for safety
                                                 time of discharge, an indication of                     must comply with the requirements of                  purposes.
                                                 whether active purging was performed                    paragraph (a)(5)(i) or (ii) of this section              (iv) For floating roof storage vessels,
                                                 and the pressure of the equipment                       in addition to all other applicable                   the storage vessel may be opened to set
                                                 during the installation or removal of the               requirements specified elsewhere in this              up equipment (e.g., making connections
                                                 blind if active purging was used, the                   section.                                              to a temporary control device) for the
                                                 duration the maintenance vent was                          (i) Reduce emissions of ethylene                   shutdown operations but must not be
                                                 open during the blind installation or                   oxide by venting emissions through a                  actively degassed during this time
                                                 removal process, and records used to                    closed vent system to a flare; or                     period.
                                                 estimate the total quantity of VOC in the                  (ii) Reduce emissions of ethylene                     (7) For each source as defined in
                                                 equipment at the time the maintenance                   oxide by venting emissions through a                  § 63.101, beginning no later than the
                                                 vent was opened to the atmosphere for                   closed vent system to a control device                compliance dates specified in
                                                 each applicable maintenance vent                        that reduces ethylene oxide by greater                § 63.100(k)(10), for each pressure vessel
                                                 opening.                                                than or equal to 99.9 percent by weight,              as defined in § 63.101 that is considered
                                                                                                         or to a concentration less than 1 ppmv                a Group 1 storage vessel (as defined in
                                                    (n) For each source as defined in                    for each storage vessel vent.                         table 5 of this subpart for existing
                                                 § 63.101, beginning no later than the                      (6) For each source as defined in                  sources and table 6 of the subpart for
                                                 compliance dates specified in                           § 63.101, beginning no later than the                 new sources), you must operate and
                                                 § 63.100(k)(10), paragraphs (d) and (e) of              compliance dates specified in                         maintain the pressure vessel, as
                                                 this section no longer apply. Instead,                  § 63.100(k)(10), for each storage vessel              specified in paragraphs (a)(7)(i) through
                                                 each owner or operator demonstrating                    subject to paragraph (a)(1), (2), or (5) of
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                                                                                                                                                               (v) of this section.
                                                 that a process vent is a Group 2 process                this section, the owner or operator must                 (i) The pressure vessel must be
                                                 vent based on total organic HAP mass                    comply with paragraphs (a)(6)(i)                      designed to operate with no detectable
                                                 flow rate less than 1.0 pound per hour                  through (iv) of this section during                   emissions at all times.
                                                 under § 63.113(l), shall keep up-to-date,               storage vessel shutdown operations (i.e.,                (ii) Except for connectors in ethylene
                                                 readily accessible records of:                          emptying and degassing of a storage                   oxide service, gas/vapor or light liquid
                                                    (1) Any process changes that increase                vessel) until the vapor space                         valves in ethylene oxide service, light
                                                 the vent stream mass flow rate, and                     concentration in the storage vessel is                liquid pumps in ethylene oxide service,


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                                                 and PRDs in ethylene oxide service, and                 equipped with a cover or lid. The cover                  (1) Except as provided in paragraph
                                                 except for equipment that meet the                      or lid shall be equipped with a gasket.               (e)(2) of this section, the control device
                                                 criteria specified in § 63.168(h) and (i)               *      *     *     *     *                            shall be designed and operated to
                                                 (for valves in gas/vapor service and in                    (ix) For each source as defined in                 reduce inlet emissions of total organic
                                                 light liquid service) and in § 63.174(f)                § 63.101, beginning no later than the                 HAP by 95 percent or greater. Except as
                                                 and (h) (for connectors in gas/vapor                    compliance dates specified in                         specified in § 63.108(a), if a flare is used
                                                 service and in light liquid service), you               § 63.100(k)(10), paragraph (b)(5)(i) of               as the control device, it shall meet the
                                                 must monitor each point on the pressure                 this section no longer applies. Instead,              specifications described in the general
                                                 vessel through which total organic                      each opening in the internal floating                 control device requirements of
                                                 hazardous air pollutants could                          roof except those for automatic bleeder               § 63.11(b).
                                                 potentially be emitted by conducting                    vents (vacuum breaker vents), rim space                  (2) If the owner or operator can
                                                 initial and annual performance tests                    vents, leg sleeves, and deck drains shall             demonstrate that a control device
                                                 using Method 21 of appendix A–7 to                      be equipped with a deck cover. The                    installed on a storage vessel on or before
                                                 part 60 of this chapter                                 deck cover shall be equipped with a                   December 31, 1992 is designed to
                                                    (iii) Each instrument reading greater                gasket between the cover and the deck.                reduce inlet emissions of total organic
                                                 than 500 ppmv is a violation.                              (x) For each source as defined in                  HAP by greater than or equal to 90
                                                    (iv) Estimate the flow rate and total                § 63.101, beginning no later than the                 percent but less than 95 percent, then
                                                 regulated material emissions from the                   compliance dates specified in                         the control device is required to be
                                                 defect. Assume the pressure vessel has                  § 63.100(k)(10), each opening for an                  operated to reduce inlet emissions of
                                                 been emitting for half of the time since                unslotted guidepole shall be equipped                 total organic HAP by 90 percent or
                                                 the last performance test, unless other                 with a pole wiper, and each unslotted                 greater.
                                                 information supports a different                                                                                 (3) Except as specified in (e)(7) of this
                                                                                                         guidepole shall be equipped with a
                                                 assumption.                                                                                                   section, periods of planned routine
                                                                                                         gasketed cap on the top of the
                                                    (v) Whenever total organic hazardous                                                                       maintenance of the control device,
                                                                                                         guidepole.
                                                 air pollutants are in the pressure vessel,                 (xi) For each source as defined in                 during which the control device does
                                                                                                         § 63.101, beginning no later than the                 not meet the specifications of paragraph
                                                 you must operate the pressure vessel as
                                                                                                                                                               (e)(1) or (2) of this section, as applicable,
                                                 a closed system that vents through a                    compliance dates specified in
                                                                                                                                                               shall not exceed 240 hours per year.
                                                 closed vent system to a control device                  § 63.100(k)(10), each opening for a
                                                                                                                                                                  (4) Except as specified in (e)(7) of this
                                                 as specified in paragraph (e) of this                   slotted guidepole shall be equipped                   section, the specifications and
                                                 section, as applicable. For purposes of                 with one of the control device                        requirements in paragraphs (e)(1) and
                                                 compliance with this paragraph, a                       configurations specified in paragraphs                (2) of this section for control devices do
                                                 release of total organic hazardous air                  (b)(5)(xi)(A) and (B) of this section.                not apply during periods of planned
                                                 pollutants through a pressure vessel’s                     (A) A pole wiper and a pole float. The
                                                                                                                                                               routine maintenance.
                                                 pressure relief device to the atmosphere                wiper or seal of the pole float shall be                 (5) Except as specified in (e)(7) of this
                                                 is a violation.                                         at or above the height of the pole wiper.             section, the specifications and
                                                    (b) The owner or operator who elects                    (B) A pole wiper and a pole sleeve.                requirements in paragraphs (e)(1) and
                                                 to use a fixed roof and an internal                        (xii) Each unslotted guidepole cap
                                                                                                                                                               (2) of this section for control devices do
                                                 floating roof, as defined in § 63.111, to               shall be closed at all times except when
                                                                                                                                                               not apply during a control system
                                                 comply with the requirements of                         gauging the liquid level or taking liquid
                                                                                                                                                               malfunction.
                                                 paragraph (a)(1) of this section shall                  samples.                                                 (6) An owner or operator may use a
                                                 comply with the requirements specified                  *      *     *     *     *                            combination of control devices to
                                                 in paragraphs (b)(1) through (7) of this                   (7) For each source as defined in                  achieve the required reduction of total
                                                 section.                                                § 63.101, beginning no later than the                 organic hazardous air pollutants
                                                    Note: The intent of paragraphs (b)(1) and            compliance dates specified in                         specified in paragraph (e)(1) of this
                                                 (2) of this section is to avoid having a vapor          § 63.100(k)(10), owners and operators                 section. An owner or operator may use
                                                 space between the floating roof and the                 that use a continuous sweep, purge, or                a combination of control devices
                                                 stored liquid for extended periods. Storage             inert blanket between the internal                    installed on a storage vessel on or before
                                                 vessels may be emptied for purposes such as             floating roof and fixed roof that causes              December 31, 1992 to achieve the
                                                 routine storage vessel maintenance,                     a pressure/vacuum vent to remain                      required reduction of total organic
                                                 inspections, petroleum liquid deliveries, or            continuously open to the atmosphere
                                                 transfer operations. Storage vessels where
                                                                                                                                                               hazardous air pollutants specified in
                                                                                                         where uncontrolled emissions are                      paragraph (e)(2) of this section.
                                                 liquid is left on walls, as bottom clingage, or
                                                 in pools due to floor irregularity are
                                                                                                         greater than or equal to 1.0 pound per                   (7) For each source as defined in
                                                 considered completely empty.                            hour of total organic HAP must route                  § 63.101, beginning no later than the
                                                                                                         emissions through a closed vent system                compliance dates specified in
                                                 *       *    *      *     *                             and control device and comply with                    § 63.100(k)(10), paragraphs (e)(3)
                                                    (5) Except as provided in paragraph                  paragraph (e) of this section.                        through (5) of this section no longer
                                                 (b)(5)(viii) of this section, each internal             *      *     *     *     *                            apply. Instead, whenever gases or
                                                 floating roof shall meet the                               (e) The owner or operator who elects               vapors containing total organic HAP are
                                                 specifications listed in paragraphs                     to use a closed vent system and control               routed from a storage vessel through a
                                                 (b)(5)(i) through (vii) of this section, and            device, as defined in § 63.111, to                    closed vent system connected to a
                                                 (b)(5)(ix) through (xii) of this section.               comply with the requirements of                       control device used to comply with the
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                                                 *       *    *      *     *                             paragraph (a)(1) or (2) of this section, or           requirements of paragraph (e)(1) or (2) of
                                                    (ii) Except as specified in paragraph                the owner or operator who meets the                   this section, the control device must be
                                                 (b)(5)(ix) of this section, each opening in             requirements specified in paragraph                   operating, except the control device may
                                                 the internal floating roof except for leg               (b)(7) of this section, shall comply with             only be bypassed for the purpose of
                                                 sleeves, automatic bleeder vents, rim                   the requirements specified in                         performing planned routine
                                                 space vents, column wells, ladder wells,                paragraphs (e)(1) through (7) of this                 maintenance of the control device.
                                                 sample wells, and stub drains shall be                  section.                                              When the control device is bypassed,


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                                                 the owner or operator must comply with                  fuel gas system or process during the                 in paragraph (g)(6)(i) or (ii) of this
                                                 paragraphs (e)(7)(i) through (iii) of this              calendar year without being routed to a               section.
                                                 section.                                                control device must not exceed 240                       (i) The railcar, tank truck, or barge
                                                    (i) The control device may only be                   hours. The level of material in the                   must be connected to a closed vent
                                                 bypassed when the planned routine                       storage vessel shall not be increased                 system with a control device that
                                                 maintenance cannot be performed                         during periods that the fuel gas system               reduces inlet emissions of HAP by 95
                                                 during periods that storage vessel                      or process is bypassed to perform                     percent by weight or greater.
                                                 emissions are vented to the control                     routine maintenance.                                     (ii) A vapor balancing system
                                                 device.                                                   (g) The owner or operator who elects                designed and operated to collect organic
                                                    (ii) On an annual basis, the total time              to vapor balance to comply with the                   HAP vapor displaced from the tank
                                                 that the closed-vent system or control                  requirements of paragraphs (a)(1) and                 truck, railcar, or barge during reloading
                                                 device is bypassed to perform planned                   (2) of this section shall comply with                 must be used to route the collected HAP
                                                 routine maintenance shall not exceed                    paragraphs (g)(1) through (7) of this                 vapor to the storage vessel from which
                                                 240 hours per each calendar year.                       section and the recordkeeping                         the liquid being transferred originated.
                                                    (iii) The level of material in the                   requirements of § 63.123(i).                             (7) The owner or operator of the
                                                 storage vessel shall not be increased                     (1) The vapor balancing system must                 facility where the railcar, tank truck, or
                                                 during periods that the closed vent                     be designed and operated to route                     barge is reloaded or cleaned must
                                                 system or control device is bypassed to                 organic HAP vapors displaced from                     comply with paragraphs (g)(7)(i)
                                                 perform planned routine maintenance.                    loading of the storage vessel to the                  through (iii) of this section.
                                                    (f) * * *                                            railcar, tank truck, or barge from which                 (i) Submit to the owner or operator of
                                                    (3) The fuel gas system or process                   the storage vessel is filled.                         the storage vessel and to the
                                                 shall be operating at all times when                      (2) Tank trucks and railcars must have              Administrator a written certification
                                                 organic hazardous air pollutants                        a current certification in accordance                 that the reloading or cleaning facility
                                                 emissions are routed to it except as                    with the U.S. Department of                           will meet the requirements of this
                                                 provided in § 63.102(a)(1) and in                       Transportation pressure test                          section. The certifying entity may
                                                 paragraphs (f)(3)(i) through (iv) of this               requirements of 49 CFR part 180 for                   revoke the written certification by
                                                 section. Whenever the owner or                          tank trucks and 49 CFR 173.31 for                     sending a written statement to the
                                                 operator bypasses the fuel gas system or                railcars. Barges must have a current                  owner or operator of the storage vessel
                                                 process, the owner or operator shall                    certification of vapor-tightness through              giving at least 90 days notice that the
                                                 comply with the recordkeeping                           testing in accordance with 40 CFR                     certifying entity is rescinding
                                                 requirement in § 63.123(h). Bypassing is                63.565.                                               acceptance of responsibility for
                                                 permitted if the owner or operator                        (3) Hazardous air pollutants must                   compliance with the requirements of
                                                 complies with one or more of the                        only be unloaded from tank trucks or                  this paragraph (g)(7).
                                                 conditions specified in paragraphs                      railcars when vapor collection systems                   (ii) If complying with paragraph
                                                 (f)(3)(i) through (iv) of this section.                 are connected to the storage vessel’s                 (g)(6)(i) of this section, comply with the
                                                    (i) The liquid level in the storage                  vapor collection system.                              requirements for closed vent system and
                                                 vessel is not increased;                                  (4) No pressure relief device on the                control device specified in §§ 63.119
                                                    (ii) The emissions are routed through                storage vessel, or on the railcar or tank             through 63.123. The notification and
                                                 a closed vent system to a control device                truck, shall open during loading or as a              reporting requirements in § 63.122 do
                                                 complying with § 63.119(e); or                          result of diurnal temperature changes                 not apply to the owner or operator of the
                                                    (iii) Except as specified in paragraph               (breathing losses).                                   offsite cleaning or reloading facility.
                                                 (f)(3)(iv) of this section, the total                     (5) Pressure relief devices must be set                (iii) If complying with paragraph
                                                 aggregate amount of time during which                   to no less than 2.5 psig at all times to              (g)(6)(ii) of this section, keep the records
                                                 the emissions bypass the fuel gas system                prevent breathing losses. Pressure relief             specified in § 63.123(i)(3).
                                                 or process during the calendar year                     devices may be set at values less than                   (iv) After the compliance dates
                                                 without being routed to a control                       2.5 psig if the owner or operator                     specified in § 63.100(k) at an offsite
                                                 device, for all reasons (except start-ups/              provides rationale in the notification of             reloading or cleaning facility subject to
                                                 shutdowns/malfunctions or product                       compliance status report explaining                   paragraph (g) of this section, compliance
                                                 changeovers of flexible operation units                 why the alternative value is sufficient to            with the monitoring, recordkeeping, and
                                                 and periods when the storage vessel has                 prevent breathing losses at all times.                reporting provisions of any other
                                                 been emptied and degassed), does not                    The owner or operator shall comply                    subpart of this part 63 constitutes
                                                 exceed 240 hours.                                       with paragraphs (g)(5)(i) through (iii) of            compliance with the monitoring,
                                                    (iv) For each source as defined in                   this section for each pressure relief                 recordkeeping, and reporting provisions
                                                 § 63.101, beginning no later than the                   valve.                                                of paragraph (g)(7)(ii) or (iii) of this
                                                 compliance dates specified in                             (i) The pressure relief valve shall be              section. You must identify in your
                                                 § 63.100(k)(10), paragraph (f)(3)(iii) of               monitored quarterly using the method                  Notification of Compliance Status report
                                                 this section no longer applies. Instead,                described in § 63.180(b).                             required by § 63.152(b), the subpart to
                                                 if you elect to route emissions from                      (ii) An instrument reading of 500                   the part 63 with which the owner or
                                                 storage vessels to a fuel gas system or to              ppmv or greater defines a leak.                       operator of the reloading or cleaning
                                                 a process to comply with the                              (iii) When a leak is detected, it shall             facility complies.
                                                 requirements of paragraph (a)(1), (2), or               be repaired as soon as practicable, but               ■ 64. Amend § 63.120 by:
                                                 (5) of this section, the fuel gas system or
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                                                                                                         no later than 5 days after it is detected,            ■ a. Revising paragraphs (b)(9);
                                                 process may only be bypassed when the                   and the owner or operator shall comply                ■ b. Revising and republishing
                                                 planned routine maintenance cannot be                   with the recordkeeping requirements of                paragraph (d);
                                                 performed during periods that storage                   § 63.181(d)(1) through (4).                           ■ c. Revising paragraphs (e)
                                                 vessel emissions are vented to the fuel                   (6) Railcars, tank trucks, or barges that           introductory text and (e)(3); and
                                                 gas system or process, and the total                    deliver HAP to a storage vessel must be               ■ d. Adding paragraph (g).
                                                 aggregate amount of time during which                   reloaded or cleaned at a facility that                   The revisions, addition, and
                                                 the breathing loss emissions bypass the                 utilizes the control techniques specified             republication read as follows:


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                                                 § 63.120 Storage vessel provisions—                     residence time at the combustion                         (A) Conduct an initial performance
                                                 procedures to determine compliance.                     temperature.                                          test or design evaluation of the adsorber
                                                 *      *     *      *     *                                (D) For carbon adsorbers, the design               and establish the breakthrough limit and
                                                    (b) * * *                                            evaluation shall include the affinity of              adsorber bed life.
                                                    (9) The owner or operator shall notify               the organic HAP vapors for carbon, the                   (B) Monitor the HAP or total organic
                                                 the Administrator in writing at least 30                amount of carbon in each bed, the                     compound (TOC) concentration through
                                                 calendar days in advance of any gap                     number of beds, the humidity of the                   a sample port at the outlet of the first
                                                 measurements required by paragraph                      feed gases, the temperature of the feed               adsorber bed in series according to the
                                                 (b)(1) or (2) of this section to afford the             gases, the flow rate of the organic HAP               schedule in paragraph (d)(1)(iii)(C)(2) of
                                                 Administrator the opportunity to have                   emission stream, the desorption                       this section. The owner or operator must
                                                 an observer present.                                    schedule, the regeneration stream                     measure the concentration of HAP or
                                                 *      *     *      *     *                             pressure or temperature, and the flow                 TOC using either a portable analyzer, in
                                                    (d) To demonstrate compliance with                   rate of the regeneration stream. For                  accordance with Method 21 of appendix
                                                 § 63.119(e) (storage vessel equipped                    vacuum desorption, pressure drop shall                A–7 to part 60 of this chapter using
                                                 with a closed vent system and control                   be included.                                          methane, propane, isobutylene, or the
                                                                                                            (E) For condensers, the design                     primary HAP being controlled as the
                                                 device) using a control device other
                                                                                                         evaluation shall include the final                    calibration gas or Method 25A of
                                                 than a flare, the owner or operator shall
                                                                                                         temperature of the organic HAP vapors,                appendix A–7 to part 60 using methane,
                                                 comply with the requirements in
                                                                                                         the type of condenser, and the design                 propane, or the primary HAP being
                                                 paragraphs (d)(1) through (7) of this
                                                                                                         flow rate of the organic HAP emission                 controlled as the calibration gas.
                                                 section, except as provided in                                                                                   (C) Comply with paragraph
                                                                                                         stream.
                                                 paragraphs (d)(8) and (9) of this section.                 (ii) If the control device used to                 (d)(1)(iii)(C)(1) of this section and
                                                    (1) Except as provided in paragraph                  comply with § 63.119(e) is also used to               comply with the monitoring frequency
                                                 (d)(1)(iii) of this section, the owner or               comply with § 63.113(a)(2),                           according to paragraph (d)(1)(iii)(C)(2)
                                                 operator shall either prepare a design                  § 63.126(b)(1), or § 63.139(c), the                   of this section.
                                                 evaluation, which includes the                          performance test required by                             (1) The first adsorber in series must be
                                                 information specified in paragraph                      § 63.116(c), § 63.128(a), or § 63.139(d)(1)           replaced immediately when
                                                 (d)(1)(i) of this section or submit the                 is acceptable to demonstrate compliance               breakthrough, as defined in § 63.101, is
                                                 results of a performance test as                        with § 63.119(e). The owner or operator               detected between the first and second
                                                 described in paragraph (d)(1)(ii) of this               is not required to prepare a design                   adsorber. The original second adsorber
                                                 section.                                                evaluation for the control device as                  (or a fresh canister) will become the new
                                                    (i) The design evaluation shall                      described in paragraph (d)(1)(i) of this              first adsorber and a fresh adsorber will
                                                 include documentation demonstrating                     section, if the performance tests meets               become the second adsorber. For
                                                 that the control device being used                      the criteria specified in paragraphs                  purposes of this paragraph,
                                                 achieves the required control efficiency                (d)(1)(ii)(A) and (B) of this section.                ‘‘immediately’’ means within 8 hours of
                                                 during reasonably expected maximum                         (A) The performance test                           the detection of a breakthrough for
                                                 filling rate. This documentation is to                  demonstrates that the control device                  adsorbers of 55 gallons or less, and
                                                 include a description of the gas stream                 achieves greater than or equal to the                 within 24 hours of the detection of a
                                                 which enters the control device,                        required control efficiency specified in              breakthrough for adsorbers greater than
                                                 including flow and organic HAP content                  § 63.119 (e)(1) or (2), as applicable; and            55 gallons. The owner or operator must
                                                 under varying liquid level conditions,                     (B) The performance test is submitted              monitor at the outlet of the first adsorber
                                                 and the information specified in                        as part of the Notification of Compliance             within 3 days of replacement to confirm
                                                 paragraphs (d)(1)(i)(A) through (E) of                  Status required by § 63.151(b). If the                it is performing properly.
                                                 this section, as applicable.                            performance test report is submitted                     (2) Based on the adsorber bed life
                                                    (A) If the control device receives                   electronically through the EPA’s CEDRI                established according to paragraph
                                                 vapors, gases or liquids, other than                    in accordance with § 63.152(h), the                   (d)(1)(iii)(A) of this section and the date
                                                 fuels, from emission points other than                  process unit(s) tested, the pollutant(s)              the adsorbent was last replaced, conduct
                                                 storage vessels subject to this subpart,                tested, and the date that such                        monitoring to detect breakthrough at
                                                 the efficiency demonstration is to                      performance test was conducted may be                 least monthly if the adsorbent has more
                                                 include consideration of all vapors,                    submitted in the notification of                      than 2 months of life remaining, at least
                                                 gases, and liquids, other than fuels,                   compliance status report in lieu of the               weekly if the adsorbent has between 2
                                                 received by the control device.                         performance test results. The                         months and 2 weeks of life remaining,
                                                    (B) If an enclosed combustion device                 performance test results must be                      and at least daily if the adsorbent has 2
                                                 with a minimum residence time of 0.5                    submitted to CEDRI by the date the                    weeks or less of life remaining.
                                                 seconds and a minimum temperature of                    notification of compliance status report                 (2) The owner or operator shall
                                                 760 °C is used to meet the emission                     is submitted.                                         submit, as part of the Notification of
                                                 reduction requirement specified in                         (iii) For each source as defined in                Compliance Status required by § 63.151
                                                 § 63.119 (e)(1) or (2), as applicable,                  § 63.101, beginning no later than the                 (b), a monitoring plan containing the
                                                 documentation that those conditions                     compliance dates specified in                         information specified in paragraph
                                                 exist is sufficient to meet the                         § 63.100(k)(10), if the owner or operator             (d)(2)(i) of this section and in either
                                                 requirements of paragraph (d)(1)(i) of                  vents emissions through a closed vent                 paragraph (d)(2)(ii) or (iii) of this
                                                 this section.                                           system to an adsorber(s) that cannot be
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                                                                                                                                                               section. This paragraph does not apply
                                                    (C) Except as provided in paragraph                  regenerated or a regenerative adsorber(s)             if the owner or operator complies with
                                                 (d)(1)(i)(B) of this section, for thermal               that is regenerated offsite, then the                 paragraph (d)(1)(iii) of this section.
                                                 incinerators, the design evaluation shall               owner or operator must install a system                  (i) A description of the parameter or
                                                 include the autoignition temperature of                 of two or more adsorber units in series               parameters to be monitored to ensure
                                                 the organic HAP, the flow rate of the                   and comply with the requirements                      that the control device is being properly
                                                 organic HAP emission stream, the                        specified in paragraphs (d)(1)(iii)(A)                operated and maintained, an
                                                 combustion temperature, and the                         through (C) of this section.                          explanation of the criteria used for


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                                                 selection of that parameter (or                         the monitored parameters remain within                compliance dates specified in
                                                 parameters), and the frequency with                     the ranges specified in the Notification              § 63.100(k)(11), paragraph (d)(1)(i) of
                                                 which monitoring will be performed                      of Compliance Status.                                 this section no longer applies to storage
                                                 (e.g., when the liquid level in the                       (6) Except as provided in paragraph                 vessels in ethylene oxide service, as
                                                 storage vessel is being raised); and                    (d)(7) of this section, each closed vent              defined in § 63.101.
                                                 either                                                  system shall be inspected as specified in                (e) Except as specified in paragraph
                                                    (ii) The documentation specified in                  § 63.148. The initial and annual                      (a) of § 63.108, to demonstrate
                                                 paragraph (d)(1)(i) of this section, if the             inspections required by § 63.148(b) shall             compliance with § 63.119(e) (storage
                                                 owner or operator elects to prepare a                   be done during filling of the storage                 vessel equipped with a closed vent
                                                 design evaluation; or                                   vessel.                                               system and control device) using a flare,
                                                    (iii) The information specified in                     (7) For any fixed roof tank and closed              the owner or operator shall comply with
                                                 paragraph (d)(2)(iii) (A) and (B) of this               vent system that are operated and                     the requirements in paragraphs (e)(1)
                                                 section if the owner or operator elects to              maintained under negative pressure, the               through (6) of this section.
                                                 submit the results of a performance test.               owner or operator is not required to                  *      *     *     *    *
                                                    (A) Identification of the storage vessel             comply with the requirements specified                   (3) The owner or operator shall
                                                 and control device for which the                        in § 63.148.                                          demonstrate compliance with the
                                                 performance test will be submitted, and                   (8) A design evaluation or                          requirements of §§ 63.119(e)(3) and (7)
                                                    (B) Identification of the emission                   performance test is not required, if the              (planned routine maintenance of a flare,
                                                 point(s) that share the control device                  owner or operator uses a combustion                   during which the flare does not meet the
                                                 with the storage vessel and for which                   device meeting the criteria in paragraph              specifications of § 63.119(e)(1), shall not
                                                 the performance test will be conducted.                 (d)(8)(i), (ii), (iii), or (iv) of this section.
                                                    (3) The owner or operator shall                                                                            exceed 240 hours per year) by including
                                                                                                           (i) A boiler or process heater with a               in each Periodic Report required by
                                                 submit, as part of the Notification of                  design heat input capacity of 44
                                                 Compliance Status required by                                                                                 § 63.152(c) the information specified in
                                                                                                         megawatts or greater.                                 § 63.122(g)(1).
                                                 § 63.152(b) of this subpart, the                          (ii) A boiler or process heater burning
                                                 information specified in paragraphs                     hazardous waste for which the owner or                *      *     *     *    *
                                                 (d)(3)(i) and, if applicable, (d)(3)(ii) of                                                                      (g) To demonstrate compliance with
                                                                                                         operator:
                                                 this section. This paragraph does not                     (A) Has been issued a final permit                  the emission limits and work practice
                                                 apply if the owner or operator complies                 under part 270 of this chapter and                    standards specified in § 63.119(a)(5) for
                                                 with paragraph (d)(1)(iii) of this section.             complies with the requirements of part                storage vessels in ethylene oxide
                                                    (i) The operating range for each                     266, subpart H, of this chapter;                      service, owners and operators must
                                                 monitoring parameter identified in the                    (B) Has certified compliance with the               meet the requirements specified in
                                                 monitoring plan. The specified                          interim status requirements of part 266,              § 63.124.
                                                 operating range shall represent the                     subpart H, of this chapter;                           ■ 65. Amend § 63.122 by:
                                                 conditions for which the control device                   (C) Has submitted a Notification of                 ■ a. Revising paragraphs (a)(4) and
                                                 is being properly operated and                          Compliance under § 63.1207(j) and                     (c)(2);
                                                 maintained.                                             complies with the requirements of                     ■ b. Revising and republishing
                                                    (ii) Results of the performance test                 subpart EEE of this part; or                          paragraph (g); and
                                                 described in paragraph (d)(1)(ii) of this                 (D) Complies with subpart EEE of this               ■ c. Adding paragraph (i).
                                                 section. If the performance test report is              part and will submit a Notification of                   The revisions, addition, and
                                                 submitted electronically through the                    Compliance under § 63.1207(j) by the                  republication read as follows:
                                                 EPA’s CEDRI in accordance with                          date the owner or operator would have                 § 63.122 Storage vessel provisions—
                                                 § 63.152(h), the process unit(s) tested,                been required to submit the initial                   reporting.
                                                 the pollutant(s) tested, and the date that              performance test report for this subpart.
                                                 such performance test was conducted                                                                              (a) * * *
                                                                                                           (iii) A hazardous waste incinerator for                (4) The owner or operator shall
                                                 may be submitted in the notification of                 which the owner or operator:
                                                 compliance status report in lieu of the                                                                       submit Periodic Reports as required by
                                                                                                           (A) Has been issued a final permit
                                                 performance test results. The                                                                                 § 63.152(c) of this subpart and shall
                                                                                                         under part 270 of this chapter and
                                                 performance test results must be                                                                              submit as part of the Periodic Reports
                                                                                                         complies with the requirements of part
                                                 submitted to CEDRI by the date the                                                                            the information specified in paragraphs
                                                                                                         264, subpart O, of this chapter;
                                                 notification of compliance status report                                                                      (d), (e), (f), (g), and (i) of this section.
                                                                                                           (B) Has certified compliance with the
                                                 is submitted.                                           interim status requirements of part 265,              *      *       *     *      *
                                                    (4) The owner or operator shall                      subpart O, of this chapter;                              (c) * * *
                                                 demonstrate compliance with the                           (C) Has submitted a Notification of                    (2) Except as specified in paragraph
                                                 requirements of §§ 63.119(e)(3) and (7)                 Compliance under § 63.1207(j) and                     (a) of § 63.108, if a flare is used, the
                                                 (planned routine maintenance of a                       complies with the requirements subpart                owner or operator shall submit the
                                                 control device, during which the control                EEE of this part; or                                  information specified in
                                                 device does not meet the specifications                   (D) Complies with the requirements                  § 63.120(e)(2)(i), (e)(2)(ii) through (iii).
                                                 of § 63.119 (e)(1) or (2), as applicable,               subpart EEE of this part and will submit              *      *       *     *      *
                                                 shall not exceed 240 hours per year) by                 a Notification of Compliance under                       (g) An owner or operator who elects
                                                 including in each Periodic Report                       § 63.1207(j) by the date the owner or                 to comply with § 63.119(e) by installing
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                                                 required by § 63.152(c) the information                 operator would have been required to                  a closed vent system and control device
                                                 specified in § 63.122(g)(1).                            submit the initial performance test                   shall submit, as part of the next Periodic
                                                    (5) The owner or operator shall                      report for this subpart.                              Report required by § 63.152(c), the
                                                 monitor the parameters specified in the                   (iv) A boiler or process heater into                information specified in paragraphs
                                                 Notification of Compliance Status                       which the vent stream is introduced                   (g)(1) through (4) of this section.
                                                 required in § 63.152(b) or in the                       with the primary fuel.                                   (1) As required by § 63.120(d)(4) and
                                                 operating permit and shall operate and                    (9) For each source as defined in                   (e)(3), the Periodic Report shall include
                                                 maintain the control device such that                   § 63.101, beginning no later than the                 the information specified in paragraphs


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                                                 (g)(1)(i) through (iii) of this section for               (ii) Reason the flare did not meet the                 (1) The reason it was necessary to
                                                 those planned routine maintenance                       general requirements specified in                     bypass the process equipment or fuel
                                                 operations that would require the                       § 63.11(b).                                           gas system;
                                                 control device not to meet the                            (4) For each nonregenerative adsorber                  (2) The duration of the period when
                                                 requirements of § 63.119 (e)(1) or (2), as              and regenerative adsorber that is                     the process equipment or fuel gas
                                                 applicable.                                             regenerated offsite subject to the                    system was bypassed;
                                                    (i) A description of the planned                     requirements in § 63.120(d)(1)(iii), the                 (3) Documentation or certification of
                                                 routine maintenance that is anticipated                 owner or operator must report the date                compliance with the applicable
                                                 to be performed for the control device                  of each instance when breakthrough, as                provisions of § 63.119(f)(3)(i) through
                                                 during the next 6 months. This                          defined in § 63.101, is detected between              (iv).
                                                 description shall include the type of                   the first and second adsorber and the                    (i) * * *
                                                 maintenance necessary, planned                          adsorber is not replaced according to                    (3) * * *
                                                 frequency of maintenance, and lengths                   § 63.120(d)(1)(iii)(C)(1) and an                         (i) A record of the equipment to be
                                                 of maintenance periods.                                 identification of the adsorber for which              used and the procedures to be followed
                                                    (ii) A description of the planned                    breakthrough was detected.                            when reloading the railcar, tank truck,
                                                 routine maintenance that was performed                                                                        or barge and displacing vapors to the
                                                 for the control device during the                       *      *     *    *     *                             storage vessel from which the liquid
                                                 previous 6 months. This description                       (i) For pressure vessels subject to the             originates.
                                                 shall include the type of maintenance                   requirements of § 63.119(a)(7), if you
                                                                                                                                                               *       *    *     *    *
                                                 performed and the total number of                       obtain an instrument reading greater
                                                                                                                                                                  (j) For each nonregenerative adsorber
                                                 hours during those 6 months that the                    than 500 ppmv of a leak when
                                                                                                                                                               and regenerative adsorber that is
                                                 control device did not meet the                         monitoring a pressure vessel in
                                                                                                                                                               regenerated offsite subject to the
                                                 requirements of § 63.119 (e)(1) or (2), as              accordance with § 63.119(a)(7)(ii), then
                                                                                                                                                               requirements in § 63.120(d)(1)(iii), the
                                                 applicable, due to planned routine                      the Periodic Report must include an
                                                                                                                                                               owner or operator must keep the
                                                 maintenance.                                            identification of the pressure vessel and
                                                                                                                                                               applicable records specified in (j)(1)
                                                    (iii) For each source as defined in                  a copy of the records specified in
                                                                                                                                                               through (3) of this section.
                                                 § 63.101, beginning no later than the                   § 63.123(b)(2).                                          (1) Breakthrough limit and bed life
                                                 compliance dates specified in                           ■ 66. Amend § 63.123 by adding                        established according to
                                                 § 63.100(k)(10), for each storage vessel                paragraph (b), revising paragraphs (h)                § 63.120(d)(1)(iii)(A).
                                                 for which planned routine maintenance                   and (i)(3)(i), and adding paragraphs (j)                 (2) Each outlet HAP or TOC
                                                 was performed during the previous 6                     and (k) to read as follows:                           concentration measured according to
                                                 months, report the identification of the                                                                      § 63.120(d)(1)(iii)(B) and (C).
                                                 storage vessel and the height of the                    § 63.123 Storage vessel provisions—                      (3) Date and time you last replaced
                                                                                                         recordkeeping.
                                                 liquid in the storage vessel at the time                                                                      the adsorbent.
                                                 the control device is bypassed to                       *       *     *    *     *                               (k) For storage vessels in ethylene
                                                 conduct the planned routine                                (b) Each owner or operator of a                    oxide service, subject to the
                                                 maintenance and at the time the control                 pressure vessel subject to the                        requirements of § 63.124, owners and
                                                 device is placed back in service after                  requirements of § 63.119(a)(7) shall keep             operators must keep the records
                                                 completing the routine maintenance.                     readily accessible records as specified in            specified in paragraphs (k)(1) and (2) of
                                                 These reports shall include the date and                paragraphs (b)(1) and (2) of this section.            this section in addition to those records
                                                 time the liquid height was measured.                       (1) The date of each performance test              specified elsewhere in this section.
                                                    (2) If a control device other than a                 conducted according to                                   (1) For storage vessels in ethylene
                                                 flare is used, the Periodic Report shall                § 63.119(a)(7)(ii).                                   oxide service, records of the
                                                 describe each occurrence when the                          (2) The record of each performance                 concentration of ethylene oxide of the
                                                 monitored parameters were outside of                    test conducted according to                           fluid stored in each storage vessel.
                                                 the parameter ranges documented in the                  § 63.119(a)(7)(ii), including the                        (2) If emissions are vented through a
                                                 Notification of Compliance Status in                    following:                                            closed-vent system to a non-flare control
                                                 accordance with § 63.120(d)(3)(i). The                     (i) Date each defect was detected and              device, then the owner or operator must
                                                 description shall include the                           the instrument reading (in ppmv) during               keep records of all periods during which
                                                 information specified in paragraphs                     the performance test.                                 operating values are outside of the
                                                 (g)(2)(i) and (ii) of this section.                        (ii) Date of the next performance test             applicable operating limits specified in
                                                    (i) Identification of the control device             that shows the instrument reading is                  § 63.124(b)(4) through (6) when
                                                 for which the measured parameters                       less than 500 ppmv and the instrument                 regulated material is being routed to the
                                                 were outside of the established ranges,                 reading (in ppmv) during the                          non-flare control device. The record
                                                 the date, and the parameter that was                    performance test.                                     must specify the operating parameter,
                                                 outside of the established ranges, and                     (iii) Start and end dates of each period           the applicable limit, and the highest (for
                                                    (ii) Cause for the measured parameters                                                                     maximum operating limits) or lowest
                                                                                                         after the date in paragraph (b)(2)(i) of
                                                 to be outside of the established ranges.                                                                      (for minimum operating limits) value
                                                    (3) Except as specified in paragraph                 this section when the pressure vessel
                                                                                                         was completely empty.                                 recorded during the period.
                                                 (a) of § 63.108, if a flare is used, the                                                                      ■ 67. Add § 63.124 to read as follows:
                                                 Periodic Report shall describe each                        (iv) Estimated emissions from each
                                                                                                         defect.
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                                                 occurrence when the flare does not meet                                                                       § 63.124 Process vents and storage
                                                 the general control device requirements                 *       *     *    *     *                            vessels that are in ethylene oxide service—
                                                 specified in § 63.11(b) and shall include                  (h) An owner or operator who uses                  procedures to determine compliance.
                                                 the information specified in paragraphs                 the bypass provisions of § 63.119(f)(3)                  This section applies beginning no
                                                 (g)(3)(i) and (ii) of this section.                     shall keep in a readily accessible                    later than the compliance dates
                                                    (i) Identification of the flare which                location the records specified in                     specified in § 63.100(k)(11). In order to
                                                 does not meet the general requirements                  paragraphs (h)(1) through (3) of this                 demonstrate compliance with the
                                                 specified in § 63.11(b), and                            section.                                              emission limits and work practice


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                                                 standards specified in § 63.113(j) (for                 concentration. Use Method 1 or 1A of                     (A) Scrubber liquid-to-gas ratio (L/G),
                                                 process vents in ethylene oxide service)                appendix A–1 to part 60 of this chapter               determined from the total scrubber
                                                 and § 63.119(a)(5) (for storage vessels in              to select the sampling sites at each                  liquid inlet flow rate and the inlet or
                                                 ethylene oxide service), owners and                     sampling location. Determine the gas                  exit gas flow rate. Determine the average
                                                 operators must meet the requirements                    volumetric flowrate using Method 2, 2A,               L/G during the performance test as the
                                                 specified in paragraphs (a) and (b) of                  2C, or 2D of appendix A–2 to part 60 of               average of the test run averages.
                                                 this section.                                           this chapter. Use Method 4 of appendix                Alternatively, separately monitor the
                                                    (a) For initial compliance, owners and               A–3 to part 60 of this chapter convert                total scrubber liquid flow rate and gas
                                                 operators must comply with paragraphs                   the volumetric flowrate to a dry basis.               flow rate through the scrubber.
                                                 (a)(1) through (4) of this section, as                    (iii) Calculate the mass emission rate              Determine the average total scrubber
                                                 applicable.                                             of ethylene oxide entering the control                liquid flow rate and gas flow through
                                                    (1) If an owner or operator chooses to               device and exiting the control device                 the scrubber as the average of the test
                                                 reduce emissions of ethylene oxide by                   using equations 1 and 2 to this                       run averages.
                                                 venting emissions through a closed vent                 paragraph.                                               (B) Scrubber liquid pH of the liquid
                                                 system to a flare as specified in                                                                             in the reactant tank. The pH may be
                                                 § 63.113(j)(1) or § 63.119(a)(5)(i), then               Equations 1 and 2 to Paragraph (a)(2)(iii)            measured at any point between the
                                                 the owner or operator must comply with                  E,inlet = K C,inlet M Qinlet (Eq. 1)                  discharge from the scrubber column and
                                                 § 63.148 and conduct the initial visible                E,outlet = K C,outlet M Qoutlet (Eq. 2)               the inlet to the reactant tank. Determine
                                                 emissions demonstration required by                     Where:                                                the average pH during the performance
                                                 § 63.670(h) as specified in § 63.108.                   E,inlet, E,outlet = Mass rate of ethylene oxide at    test as the average of the test run
                                                    (2) If an owner or operator chooses to                     the inlet and outlet of the control device,     averages.
                                                 reduce emissions of ethylene oxide by                         respectively, kilogram per hour.                   (C) Temperature of the scrubber liquid
                                                 venting emissions through a closed vent                 C,inlet, C,outlet = Concentration of ethylene         entering the scrubber column. The
                                                 system to a non-flare control device that                     oxide in the gas stream at the inlet and        temperature may be measured at any
                                                 reduces ethylene oxide by greater than                        outlet of the control device, respectively,     point after the heat exchanger and prior
                                                 or equal to 99.9 percent by weight as                         dry basis, parts per million by volume.         to entering the top of the scrubber
                                                                                                         M = Molecular weight of ethylene oxide,
                                                 specified in § 63.113(j)(2) or                                44.05 grams per gram-mole.
                                                                                                                                                               column. Determine the average inlet
                                                 § 63.119(a)(5)(ii), then the owner or                   Qinlet, Qoutlet = Flow rate of the gas stream at      scrubber liquid temperature as the
                                                 operator must comply with § 63.148 and                        the inlet and outlet of the control device,     average of the test run averages.
                                                 paragraphs (a)(2)(i) through (viii) of this                   respectively, dry standard cubic meter             (vii) If an owner or operator vents
                                                 section.                                                      per minute.                                     emissions through a closed vent system
                                                    (i) Conduct an initial performance test              K = Constant, 2.494 × 10¥6 (parts per                 to a thermal oxidizer, then the owner or
                                                 of the control device that is used to                         million)¥1 (gram-mole per standard              operator must establish operating
                                                 comply with the percent reduction                             cubic meter) (kilogram per gram)                parameter limits by monitoring the
                                                                                                               (minutes per hour), where standard
                                                 requirement at the inlet and outlet of the                    temperature (gram-mole per standard
                                                                                                                                                               operating parameters specified in
                                                 control device. For purposes of                               cubic meter) is 20 °C.                          paragraphs (a)(2)(vii)(A) and (B) of this
                                                 compliance with this paragraph, owners                                                                        section during the performance test.
                                                 and operators may not use a design                         (iv) Calculate the percent reduction                  (A) Combustion chamber temperature.
                                                 evaluation. This paragraph does not                     from the control device using equation                Determine the average combustion
                                                 apply if the conditions specified in                    3 to this paragraph. An owner or                      chamber temperature during the
                                                 paragraphs (a)(2)(i)(A) through (D) of                  operator has demonstrated initial                     performance test as the average of the
                                                 this section are met for a previously                   compliance with § 63.113(j)(2) or                     test run averages.
                                                 conducted measurement or performance                    § 63.119(a)(5)(ii) if the overall reduction              (B) Flue gas flow rate. Determine the
                                                 test.                                                   of ethylene oxide is greater than or                  average flue gas flow rate during the
                                                    (A) No changes have been made to the                 equal to 99.9 percent by weight.                      performance test as the average of the
                                                 process since the time of the                           Equation 3 to Paragraph (a)(2)(iv)                    test run averages.
                                                 measurement or performance test;                                                                                 (viii) If an owner or operator vents
                                                    (B) The operating conditions and test                Percent reduction = (E,inlet¥E,outlet)/E,inlet        emissions through a closed vent system
                                                 methods used during measurement or                          * 100 (Eq.3)                                      to a control device other than a flare,
                                                 performance test conform to the                         Where:                                                scrubber with a reactant tank, or thermal
                                                 ethylene oxide related requirements of                  E,inlet, E,outlet = Mass rate of ethylene oxide at    oxidizer, then the owner or operator
                                                 this subpart;                                                 the inlet and outlet of the control device,     must notify the Administrator of the
                                                    (C) The control device and process                         respectively, kilogram per hour,                operating parameters that are planned to
                                                 parameter values established during the                       calculated using Equations 1 and 2 to           be monitored during the performance
                                                 previously conducted measurement or                           paragraph (a)(2)(iii) of this section.          test prior to establishing operating
                                                 performance test are used to                              (v) If a new control device is installed,           parameter limits for the control device.
                                                 demonstrate continuous compliance                       then conduct a performance test of the                   (3) If an owner or operator chooses to
                                                 with the ethylene oxide related                         new device following the procedures in                reduce emissions of ethylene oxide by
                                                 requirements of this subpart; and                       paragraphs (a)(2)(i) through (iv) of this             venting emissions through a closed vent
                                                    (D) The previously conducted                         section.                                              system to a non-flare control device that
                                                 measurement or performance test was                       (vi) If an owner or operator vents                  reduces ethylene oxide to less than 1
                                                                                                         emissions through a closed vent system
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                                                 completed within the last 60 months.                                                                          ppmv as specified in § 63.113(j)(2) or
                                                    (ii) Conduct the performance test                    to a scrubber with a reactant tank, then              § 63.119(a)(5)(ii), then the owner or
                                                 according to the procedures in                          the owner or operator must establish                  operator must comply with § 63.148 and
                                                 § 63.116(c). Except as specified in                     operating parameter limits by                         either paragraph (a)(3)(i) or (ii) of this
                                                 § 63.109(a)(6), use Method 18 of                        monitoring the operating parameters                   section.
                                                 appendix A–6 to part 60 of this chapter                 specified in paragraphs (a)(2)(vi)(A)                    (i) Install a continuous emissions
                                                 or Method 320 of appendix A to this                     through (C) of this section during the                monitoring system (CEMS) to
                                                 part to determine the ethylene oxide                    performance test.                                     continuously monitor the ethylene


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                                                 oxide concentration at the exit of the                  concentration. Use Method 1 or 1A of                  the owner or operator must comply with
                                                 control device. The CEMS must meet                      appendix A–1 to part 60 of this chapter               § 63.148 and meet the operating
                                                 the requirements of either paragraph                    to select the sampling site. Determine                parameter limits specified in paragraphs
                                                 (a)(3)(i)(A) or (B) of this section. Comply             the gas volumetric flowrate using                     (b)(4)(i) through (v) of this section.
                                                 with the requirements specified in                      Method 2, 2A, 2C, or 2D of 40 CFR part                   (i) Minimum scrubber liquid-to-gas
                                                 § 63.2450(j) for CEMS.                                  60, appendix A–2. Use Method 4 of                     ratio (L/G), equal to the average L/G
                                                    (A) An FTIR CEMS meeting the                         appendix A–3 to part 60 of this chapter               measured during the most recent
                                                 requirements of Performance                             to convert the volumetric flowrate to a               performance test. Determine total
                                                 Specification 15 of appendix B to part                  dry basis.                                            scrubber liquid inlet flow rate with a
                                                 60 of this chapter.                                        (iii) Calculate the mass emission rate             flow sensor with a minimum accuracy
                                                    (B) A gas chromatographic CEMS                       of ethylene oxide exiting the control                 of at least ±5 percent over the normal
                                                 meeting the requirements of                             device using Equation 2 to paragraph                  range of flow measured, or 1.9 liters per
                                                 Performance Specification 9 of                          (a)(2)(iii) of this section. An owner or              minute (0.5 gallons per minute),
                                                 appendix B to part 60 of this chapter.                  operator has demonstrated initial                     whichever is greater. Determine gas flow
                                                    (ii) If the owner or operator does not               compliance with § 63.113(j)(2) if the                 rate at either the inlet or the exit of the
                                                 install a CEMS under paragraph (a)(3)(i)                ethylene oxide from all process vents                 scrubber with a flow sensor with a
                                                 of this section, then the owner or                      (controlled and uncontrolled) within the              minimum accuracy of at least ±5 percent
                                                 operator must comply with paragraphs                    process is less than 5 pounds per year                over the normal range of flow measured,
                                                 (a)(3)(ii)(A) through (C) of this section.              when combined.                                        or 280 liters per minute (10 cubic feet
                                                    (A) Conduct an initial performance                      (iv) Comply with the requirements                  per minute), whichever is greater. If gas
                                                 test at the outlet of the control device                specified in paragraphs (a)(2)(v) through             flow rate is determined at the inlet of
                                                 that is used to comply with the                         (viii) of this section, as applicable.                the scrubber, ensure that all gas flow
                                                 concentration requirement.                                 (b) For continuous compliance,                     through the scrubber is accounted for at
                                                    (B) Conduct the performance test                     owners and operators must comply with                 the measurement location. Compliance
                                                 according to the procedures in                          paragraphs (b)(1) through (6) of this                 with the minimum L/G operating limit
                                                 § 63.116(c). Except as specified in                     section, as applicable.                               must be determined continuously on a
                                                 § 63.109(a)(6), use Method 18 of                           (1) If an owner or operator chooses to             1-hour block basis. Alternatively,
                                                 appendix A–6 to part 60 of this chapter                 reduce emissions of ethylene oxide by                 minimum total scrubber liquid flow
                                                 or Method 320 of appendix A to this                     venting emissions through a closed vent               rate, equal to the average total scrubber
                                                 part to determine the ethylene oxide                    system to a flare as specified in                     liquid inlet flow rate measured during
                                                 concentration. If the non-flare control                 § 63.113(j)(1) or § 63.119(a)(5)(i), then             the most recent performance test, and
                                                 device is a combustion device, correct                  the owner or operator must comply with                maximum gas flow rate through the
                                                 the ethylene oxide concentration to 3                   §§ 63.148 and 63.108.                                 scrubber, equal to the average gas flow
                                                 percent oxygen according to                                (2) If you choose to reduce emissions              rate through the scrubber during the
                                                 § 63.116(c)(iii)(B), except ‘‘TOC or                    of ethylene oxide by venting emissions                most recent performance test.
                                                 organic HAP’’ and ‘‘TOC (minus                          through a closed-vent system to a non-                Compliance with the total scrubber
                                                 methane and ethane) or organic HAP’’                    flare control device that reduces                     liquid flow rate and gas flow rate
                                                 in the Variables Cc and Cm must be                      ethylene oxide to less than 1 ppmv as                 through the scrubber must be
                                                 replaced with ‘‘ethylene oxide’’. An                    specified in § 63.113(j)(2) or                        determined continuously on a 1-hour
                                                 owner or operator has demonstrated                      § 63.119(a)(5)(ii), and you choose to                 block basis.
                                                 initial compliance with § 63.113(j)(2) or               comply with paragraph (a)(3)(i) of this                  (ii) Maximum scrubber liquid pH of
                                                 § 63.119(a)(5)(ii), if the ethylene oxide               section, then continuously monitor the                the liquid in the reactant tank, equal to
                                                 concentration is less than 1 ppmv.                      ethylene oxide concentration at the exit              the average pH measured during the
                                                    (C) Comply with the requirements                     of the control device using an FTIR                   most recent performance test.
                                                 specified in paragraphs (a)(2)(v) through               CEMS meeting the requirements of                      Compliance with the pH operating limit
                                                 (viii) of this section, as applicable.                  Performance Specification 15 of                       must be determined continuously on a
                                                    (4) If owners and operators choose to                appendix B to part 60 of this chapter                 1-hour block basis. Use a pH sensor
                                                 reduce emissions of ethylene oxide by                   and § 63.2450(j). If an owner or operator             with a minimum accuracy of ±0.2 pH
                                                 venting emissions through a closed vent                 uses an FTIR CEMS, then the owner or                  units.
                                                 system to a non-flare control device that               operator does not need to conduct the                    (iii) Pressure drop across the scrubber
                                                 reduces ethylene oxide to less than 5                   performance testing required in                       column, within the pressure drop range
                                                 pounds per year for all combined                        paragraph (b)(3) of this section or the               specified by the manufacturer or
                                                 process vents within the process as                     operating parameter monitoring                        established based on engineering
                                                 specified in § 63.113(j)(2), then the                   required in paragraphs (b)(4) through (6)             analysis. Compliance with the pressure
                                                 owner or operator must comply with                      of this section.                                      drop operating limit must be
                                                 § 63.148 and paragraphs (a)(4)(i) through                  (3) Conduct a performance test no                  determined continuously on a 1-hour
                                                 (iv) of this section.                                   later than 60 months after the previous               block basis. Use pressure sensors with a
                                                    (i) Conduct an initial performance test              performance test and reestablish                      minimum accuracy of ±5 percent over
                                                 of the control device that is used to                   operating parameter limits following the              the normal operating range or 0.12
                                                 comply with the mass emission limit                     procedures in paragraph (a)(2) through                kilopascals, whichever is greater.
                                                 requirement at the outlet of the control                (4) of this section. The Administrator                   (iv) Maximum temperature of the
                                                                                                                                                               scrubber liquid entering the scrubber
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                                                 device.                                                 may request a repeat performance test at
                                                    (ii) Conduct the performance test                    any time. For purposes of compliance                  column, equal to the average
                                                 according to the procedures in                          with this paragraph, owners and                       temperature measured during the most
                                                 § 63.116(c). Except as specified in                     operators may not use a design                        recent performance test. Compliance
                                                 § 63.109(a)(6), use Method 18 of                        evaluation.                                           with the inlet scrubber liquid
                                                 appendix A–6 to part 60 of this chapter                    (4) If an owner or operator vents                  temperature operating limit must be
                                                 or Method 320 of appendix A to this                     emissions through a closed vent system                determined continuously on a 1-hour
                                                 part to determine the ethylene oxide                    to a scrubber with a reactant tank, then              block basis. Use a temperature sensor


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                                                 with a minimum accuracy of ±1 percent                   owner or operator must monitor the                       (A) Process knowledge that no
                                                 over the normal range of the                            operating parameters identified in                    halogen or hydrogen halides are present
                                                 temperature measured, expressed in                      paragraph (a)(2)(viii) of this section and            in the process, or
                                                 degrees Celsius, or 2.8 degrees Celsius,                meet the established operating                           (B) Applicable engineering
                                                 whichever is greater.                                   parameter limits to ensure continuous                 assessment as specified in
                                                    (v) Liquid feed pressure to the                      compliance. The frequency of                          § 63.115(d)(1)(iii), or
                                                 scrubber column within the feed                         monitoring and averaging time will be                    (C) Concentration of organic
                                                 pressure range specified by the                         determined based upon the information                 compounds containing halogens
                                                 manufacturer or established based on                    provided to the Administrator.                        measured by Method 18 of appendix A
                                                 engineering analysis. Compliance with                                                                         to part 60 of this chapter,
                                                                                                         ■ 68. Amend § 63.126 by revising
                                                 the liquid feed pressure operating limit                                                                         (D) Any other method or data that has
                                                                                                         paragraphs (b)(1), (b)(2)(i), (d)(1)(i) and
                                                 must be determined continuously on a                                                                          been validated according to the
                                                                                                         (ii), (d)(3)(i), (h) and (i) to read as
                                                 1-hour block basis. Use a pressure                                                                            applicable procedures in Method 301 of
                                                                                                         follows:
                                                 sensor with a minimum accuracy of ±5                                                                          appendix A of this part, or
                                                 percent over the normal operating range                 § 63.126 Transfer operations provisions—                 (E) ASTM D6420–18 (incorporated by
                                                 or 0.12 kilopascals, whichever is greater.              reference control technology.                         reference, see § 63.14) may also be used
                                                    (5) If an owner or operator vents                    *       *      *    *     *                           in lieu of Method 18 of appendix A–6
                                                 emissions through a closed vent system                     (b) * * *                                          to part 60 of this chapter, if the target
                                                 to a thermal oxidizer, then the owner or                                                                      compounds are all known and are all
                                                                                                            (1) Use a control device to reduce
                                                 operator must comply with § 63.148,                                                                           listed in section 1.1 of ASTM D6420–18
                                                                                                         emissions of total organic hazardous air
                                                 and the owner or operator must meet                                                                           as measurable; ASTM D6420–18 must
                                                                                                         pollutants by 98 weight-percent or to an
                                                 the operating parameter limits specified                                                                      not be used for methane and ethane; and
                                                                                                         exit concentration of 20 parts per
                                                 in paragraphs (b)(5)(i) and (ii) of this                                                                      ASTM D6420–18 may not be used as a
                                                                                                         million by volume. For combustion
                                                 section and the requirements in                                                                               total VOC method.
                                                                                                         devices, the emission reduction or
                                                 paragraph (b)(5)(iii) of this section.
                                                    (i) Minimum combustion chamber                       concentration shall be calculated on a                *      *     *      *      *
                                                 temperature, equal to the average                       dry basis, corrected to 3-percent oxygen.                (h) Except as specified in paragraph
                                                 combustion chamber temperature                          If a boiler or process heater is used to              (h)(1) of this section, the owner or
                                                 measured during the most recent                         comply with the percent reduction                     operator of a transfer rack subject to the
                                                 performance test. Determine combustion                  requirement, then the vent stream shall               provisions of this subpart shall ensure
                                                 chamber temperature with a                              be introduced into the flame zone of                  that no pressure-relief device in the
                                                 temperature sensor with a minimum                       such a device. Compliance may be                      transfer rack’s vapor collection system
                                                 accuracy of at least ±1 percent over the                achieved by using any combination of                  or in the organic hazardous air
                                                 normal range of temperature measured,                   combustion, recovery, and/or recapture                pollutants loading equipment of each
                                                 expressed in degrees Celsius, or 2.8                    devices.                                              tank truck or railcar shall begin to open
                                                 degrees Celsius, whichever is greater.                     (2) * * *                                          during loading. Pressure relief devices
                                                 Compliance with the minimum                                (i) Except as specified in § 63.108(a),            needed for safety purposes are not
                                                 combustion chamber temperature                          the flare shall comply with the                       subject to this paragraph (h).
                                                 operating limit must be determined                      requirements of § 63.11(b).                              (1) For each source as defined in
                                                 continuously on a 1-hour block basis.                   *       *      *    *     *                           § 63.101, beginning no later than the
                                                    (ii) Maximum flue gas flow rate, equal                  (d) * * *                                          compliance dates specified in
                                                 to the average flue gas flow rate                                                                             § 63.100(k)(10), this paragraph (h) does
                                                                                                            (1) * * *
                                                 measured during the most recent                                                                               not apply. Instead, pressure relief
                                                                                                            (i) Except as provided in paragraph                devices are subject to the requirements
                                                 performance test. Determine flue gas                    (d)(1)(ii) of this section, the halogen
                                                 flow rate with a flow sensor with a                                                                           specified in § 63.165(e).
                                                                                                         reduction device shall reduce overall
                                                 minimum accuracy of at least ±5 percent                 emissions of hydrogen halides and
                                                                                                                                                                  (2) [Reserved]
                                                 over the normal range of flow measured,                                                                          (i) Each valve in the vent system that
                                                                                                         halogens, as defined in § 63.111, by 99               would divert the vent stream to the
                                                 or 280 liters per minute (10 cubic feet                 percent or shall reduce the outlet mass
                                                 per minute), whichever is greater.                                                                            atmosphere, either directly or indirectly,
                                                                                                         emission rate of total hydrogen halides               shall be secured in a non-diverting
                                                 Compliance with the maximum flue gas                    and halogens to 0.45 kilograms per hour
                                                 flow rate operating limit must be                                                                             position using a carseal or a lock-and-
                                                                                                         or less.                                              key type configuration, or shall be
                                                 determined continuously on a 1-hour
                                                                                                            (ii) If a scrubber or other halogen                equipped with a flow indicator. Except
                                                 block basis.
                                                    (iii) The owner or operator must                     reduction device was installed prior to               as specified in paragraph (i)(1) of this
                                                 maintain the thermal oxidizer in                        December 31, 1992, the halogen                        section, equipment such as low leg
                                                 accordance with good combustion                         reduction device shall reduce overall                 drains, high point bleeds, analyzer
                                                 practices that ensure proper                            emissions of hydrogen halides and                     vents, open-ended valves or lines, and
                                                 combustion. Good combustion practices                   halogens, as defined in § 63.111, by 95               pressure relief devices needed for safety
                                                 include, but are not limited to, proper                 percent or shall reduce the outlet mass               purposes is not subject to this paragraph
                                                 burner maintenance, proper burner                       of total hydrogen halides and halogens                (i).
                                                 alignment, proper fuel to air distribution              to less than 0.45 kilograms per hour.                    (1) For each source as defined in
                                                                                                         *       *      *    *     *                           § 63.101, on and after July 15, 2027, the
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                                                 and mixing, routine inspection, and
                                                 preventative maintenance.                                  (3) * * *                                          last sentence in paragraph (i) of this
                                                    (6) If an owner or operator vents                       (i) The vent stream concentration of               section no longer applies. Instead, the
                                                 emissions through a closed vent system                  each organic compound containing                      exemptions specified in paragraphs
                                                 to a control device other than a flare,                 halogen atoms (parts per million by                   (i)(1)(i) and (ii) of this section apply.
                                                 scrubber with a reactant tank, or thermal               volume by compound) shall be                             (i) Except for pressure relief devices
                                                 oxidizer, then the owner or operator                    determined based on the following                     subject to § 63.165(e)(4) of subpart H of
                                                 must comply with § 63.148, and the                      procedures:                                           this part, equipment such as low leg


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                                                 drains and equipment subject to the                     for each regeneration cycle; and a                    weekly if the adsorbent has between 2
                                                 requirements of subpart H of this part                  carbon bed temperature monitoring                     months and 2 weeks of life remaining,
                                                 are not subject to this paragraph (i).                  device, capable of recording the                      and at least daily if the adsorbent has 2
                                                    (ii) Open-ended valves or lines that                 temperature of the carbon bed after                   weeks or less of life remaining.
                                                 use a cap, blind flange, plug, or second                regeneration and within 15 minutes of                 *       *      *    *     *
                                                 valve and follow the requirements                       completing any cooling cycle shall be                    (d) The owner or operator of a Group
                                                 specified in § 60.482–6(a)(2), (b), and (c)             used.                                                 1 transfer rack using a closed vent
                                                 or follow requirements codified in                         (4) Beginning no later than the                    system that contains bypass lines that
                                                 another regulation that are the same as                 compliance dates specified in                         could divert a vent stream flow away
                                                 § 60.482–6(a)(2), (b), and (c) are not                  § 63.100(k)(10), if the owner or operator             from the control device used to comply
                                                 subject to this paragraph (i).                          vents emissions through a closed vent                 with § 63.126(b) shall comply with
                                                    (2) [Reserved]                                       system to an adsorber(s) that cannot be               paragraph (d)(1) or (2) and (d)(3) of this
                                                 ■ 69. Amend § 63.127 by:                                regenerated or a regenerative adsorber(s)             section. Except as specified in
                                                 ■ a. Revising paragraphs (a)(2),                        that is regenerated offsite, then the                 paragraph (d)(3) of this section,
                                                 (a)(4)(ii)(C), and (b)(3);                              owner or operator must install a system               equipment such as low leg drains, high
                                                 ■ b. Adding paragraph (b)(4); and                       of two or more adsorber units in series               point bleeds, analyzer vents, open-
                                                 ■ c. Revising and republishing                          and comply with the requirements                      ended valves or lines, and pressure
                                                 paragraph (d).                                          specified in paragraphs (b)(4)(i) through             relief valves needed for safety purposes
                                                    The revisions, addition, and                         (iii) of this section.                                are not subject to this paragraph.
                                                 republication read as follows:                             (i) Conduct an initial performance test
                                                                                                                                                                  (1) Properly install, maintain, and
                                                                                                         or design evaluation of the adsorber and
                                                 § 63.127 Transfer operations provisions—                                                                      operate a flow indicator that takes a
                                                                                                         establish the breakthrough limit and
                                                 monitoring requirements.
                                                                                                         adsorber bed life.                                    reading at least once every 15 minutes.
                                                    (a) * * *                                               (ii) Monitor the HAP or total organic              Records shall be generated as specified
                                                    (2) Where a flare is used, except as                 compound (TOC) concentration through                  in § 63.130(b). The flow indicator shall
                                                 specified in § 63.108(a), a device                      a sample port at the outlet of the first              be installed at the entrance to any
                                                 (including but not limited to a                         adsorber bed in series according to the               bypass line that could divert the vent
                                                 thermocouple, infrared sensor, or an                    schedule in paragraph (b)(4)(iii)(B) of               stream away from the control device to
                                                 ultra-violet beam sensor) capable of                    this section. The owner or operator must              the atmosphere; or
                                                 continuously detecting the presence of a                measure the concentration of HAP or                      (2) Secure the bypass line valve in the
                                                 pilot flame is required.                                TOC using either a portable analyzer, in              closed position with a car-seal or a lock-
                                                 *       *    *     *     *                              accordance with Method 21 of appendix                 and-key type configuration.
                                                    (4) * * *                                            A–7 to part 60 of this chapter using                     (i) A visual inspection of the seal or
                                                    (ii) * * *                                           methane, propane, isobutylene, or the                 closure mechanism shall be performed
                                                    (C) The owner or operator may                        primary HAP being controlled as the                   at least once every month to ensure that
                                                 prepare and implement a gas stream                      calibration gas or Method 25A of part                 the valve is maintained in the closed
                                                 flow determination plan that documents                  60, appendix A–7, using methane,                      position and the vent stream is not
                                                 an appropriate method which will be                     propane, or the primary HAP being                     diverted through the bypass line.
                                                 used to determine the gas stream flow.                  controlled as the calibration gas.                       (ii) If a car-seal has been broken or a
                                                 The plan shall require determination of                    (iii) Comply with paragraph                        valve position changed, the owner or
                                                 gas stream flow by a method which will                  (b)(4)(iii)(A) of this section and comply             operator shall record that the vent
                                                 at least provide a value for either a                   with the monitoring frequency                         stream has been diverted. The car-seal
                                                 representative or the highest gas stream                according to paragraph (b)(4)(iii)(B) of              or lock-and-key combination shall be
                                                 flow anticipated in the scrubber during                 this section.                                         returned to the secured position as soon
                                                 representative operating conditions                        (A) The first adsorber in series must              as practicable but not later than 15
                                                 other than start-ups, shutdowns, or                     be replaced immediately when                          calendar days after the change in
                                                 malfunctions. The plan shall include a                  breakthrough, as defined in § 63.101, is              position is detected.
                                                 description of the methodology to be                    detected between the first and second                    (3) For each source as defined in
                                                 followed and an explanation of how the                  adsorber. The original second adsorber                § 63.101, beginning no later than the
                                                 selected methodology will reliably                      (or a fresh canister) will become the new             compliance dates specified in
                                                 determine the gas stream flow, and a                    first adsorber and a fresh adsorber will              § 63.100(k)(10):
                                                 description of the records that will be                 become the second adsorber. For                          (i) The use of a bypass line at any time
                                                 maintained to document the                              purposes of this paragraph,                           on a closed vent system to divert
                                                 determination of gas stream flow. The                   ‘‘immediately’’ means within 8 hours of               emissions (subject to the emission
                                                 owner or operator shall maintain the                    the detection of a breakthrough for                   standards in § 63.112) to the atmosphere
                                                 plan as specified in § 63.103(c). For each              adsorbers of 55 gallons or less, and                  or to a control device not meeting the
                                                 source as defined in § 63.101, on and                   within 24 hours of the detection of a                 requirements specified in this subpart is
                                                 after July 15, 2027, the phrase ‘‘other                 breakthrough for adsorbers greater than               an emissions standards violation.
                                                 than start-ups, shutdowns, or                           55 gallons. The owner or operator must                   (ii) The last sentence in paragraph (d)
                                                 malfunctions’’ in this paragraph no                     monitor at the outlet of the first adsorber           of this section no longer applies.
                                                 longer applies.                                         within 3 days of replacement to confirm               Instead, the exemptions specified in
                                                                                                                                                               paragraph (d)(3)(ii)(A) and (B) of this
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                                                    (b) * * *                                            it is performing properly.
                                                    (3) Except as specified in paragraph                    (B) Based on the adsorber bed life                 section apply.
                                                 (b)(4) of this section, where a carbon                  established according to paragraph                       (A) Except for pressure relief devices
                                                 adsorber is used, an integrating                        (b)(4)(i) of this section and the date the            subject to § 63.165(e)(4), equipment
                                                 regeneration stream flow monitoring                     adsorbent was last replaced, conduct                  such as low leg drains and equipment
                                                 device having an accuracy of ±10                        monitoring to detect breakthrough at                  subject to the requirements of subpart H
                                                 percent or better, capable of recording                 least monthly if the adsorbent has more               of this part are not subject to this
                                                 the total regeneration stream mass flow                 than 2 months of life remaining, at least             paragraph (d).


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                                                   (B) Open-ended valves or lines that                   Equation 1 to Paragraph (a)(9)(ii)                    measured in lieu of organic HAP
                                                 use a cap, blind flange, plug, or second                                                                      concentration.
                                                 valve and follow the requirements                                                                                (ii) If Method 25A of appendix A–7 to
                                                 specified in § 60.482–6(a)(2), (b), and (c)                                                                   part 60 of this chapter is used to
                                                 or follow requirements codified in                                                                            measure the concentration of organic
                                                 another regulation that are the same as                 Where:                                                compounds (CT), the principal organic
                                                 § 60.482–6(a)(2), (b), and (c) are not                  CT = Total concentration of organic                   HAP in the vent stream shall be used as
                                                 subject to this paragraph (d).                               compounds (minus methane and                     the calibration gas.
                                                 *     *     *     *     *                                    ethane), dry basis, parts per million by            (A) An emission testing interval shall
                                                                                                              volume.                                          consist of each 15-minute period during
                                                 ■ 70. Amend § 63.128 by:
                                                                                                         Cj = Concentration of sample components j,            the performance test. For each interval,
                                                 ■ a. Revising and republishing                               dry basis, parts per million by volume.          a reading from each measurement shall
                                                 paragraphs (a)(9) and (10);                             n = Number of components in the sample.               be recorded.
                                                 ■ b. Adding paragraph (a)(12); and                         (iii) If an owner or operator uses                    (B) The average organic compound
                                                 ■ c. Revising paragraphs (b)                            Method 18 of appendix A–6 to 40 CFR                   concentration and the volume
                                                 introductory text, (c)(2) and (7), (f)(2),              part 60 or ASTM D6420–18                              measurement shall correspond to the
                                                 and (h)(1)(iv).                                         (incorporated by reference, see § 63.14)              same emissions testing interval.
                                                   The revisions, addition, and                          to compute total organic HAP                             (C) The mass at the inlet and outlet of
                                                 republications read as follows:                         concentration rather than organic                     the control device during each testing
                                                                                                         compounds concentration, the equation                 interval shall be calculated as follows:
                                                 § 63.128 Transfer operations provisions—                in paragraph (a)(9)(ii) of this section
                                                 test methods and procedures.                                                                                  Equation 3 to Paragraph (a)(10)(ii)(C)
                                                                                                         shall be used except that only organic
                                                    (a) * * *                                            HAP species shall be summed. The list                 Mj = FKVs CT
                                                    (9) For the purpose of determining                   of organic HAP’s is provided in table 2               Where:
                                                 compliance with the 20 parts per                        to subpart F of this part.                            Mj = Mass of organic compounds emitted
                                                 million by volume limit in                                 (iv) Method 3A of appendix A–2 to 40                   during testing interval j, kilograms.
                                                 § 63.126(b)(1), Method 18 or Method                     CFR part 60 or the manual method in                   Vs = Volume of air-vapor mixture exhausted
                                                 25A of appendices A–6 and A–7 to part                   ANSI/ASME PTC 19.10–1981                                  at standard conditions, 20 °C and 760
                                                 60 of this chapter, respectively, shall be              (incorporated by reference, see § 63.14)                  millimeters mercury, standard cubic
                                                 used to measure either organic                          shall be used to determine the oxygen                     meters.
                                                 compound concentration or organic                       concentration. The sampling site shall                CT = Total concentration of organic
                                                 HAP concentration, except as provided                   be the same as that of the organic                        compounds (as measured) at the exhaust
                                                                                                         hazardous air pollutants or organic                       vent, parts per million by volume, dry
                                                 in paragraphs (a)(11) and (12) of this                                                                            basis.
                                                 section.                                                compound samples, and the samples                     K = Density, kilograms per standard cubic
                                                    (i) If Method 25A of appendix A–7 to                 shall be taken during the same time that                  meter organic HAP. 659 kilograms per
                                                 part 60 of this chapter is used, the                    the organic hazardous air pollutants or                   standard cubic meter organic HAP.
                                                 following procedures shall be used to                   organic compound samples are taken.                       (Note: The density term cancels out
                                                 calculate the concentration of organic                     (v) The organic compound                               when the percent reduction is
                                                 compounds (CT):                                         concentration corrected to 3 percent                      calculated. Therefore, the density used
                                                                                                         oxygen (Cc) shall be calculated using                     has no effect. The density of hexane is
                                                    (A) The principal organic HAP in the                                                                           given so that it can be used to maintain
                                                                                                         the following equation:
                                                 vent stream shall be used as the                                                                                  the units of Mj.)
                                                 calibration gas.                                        Equation 2 to Paragraph (a)(9)(v)                     F = 10–6 = Conversion factor, (cubic meters
                                                    (B) The span value for Method 25A of                                                                           organic HAP per cubic meters air) *
                                                 appendix A–7 to part 60 of this chapter                                                                           (parts per million by volume)–1.
                                                 shall be between 1.5 and 2.5 times the                                                                          (D) The organic compound mass
                                                 concentration being measured.                                                                                 emission rates at the inlet and outlet of
                                                    (C) Use of Method 25A of appendix                                                                          the control device shall be calculated as
                                                 A–7 to part 60 of this chapter is                       Where:
                                                                                                                                                               follows:
                                                 acceptable if the response from the high-               Cc = Concentration of organic compounds
                                                                                                             corrected to 3 percent oxygen, dry basis,         Equations 4 and 5 to Paragraph
                                                 level calibration gas is at least 20 times
                                                                                                             parts per million by volume.                      (a)(10)(ii)(D)
                                                 the standard deviation of the response                  CT = Total concentration of organic
                                                 from the zero calibration gas when the                      compounds, dry basis, parts per million
                                                 instrument is zeroed on the most                            by volume.
                                                 sensitive scale.                                        %O2d = Concentration of oxygen, dry basis,
                                                    (D) The concentration of TOC shall be                    percent by volume.
                                                 corrected to 3 percent oxygen using the                    (10) For the purpose of determining
                                                 procedures and equation in paragraph                    compliance with the 98-percent
                                                                                                                                                                                                              ER16MY24.060</GPH> ER16MY24.061</GPH>




                                                 (a)(9)(v) of this section.                              reduction requirement in § 63.126(b)(1),
                                                    (ii) If Method 18 of appendix A–6 to                 Method 18 or Method 25A of
                                                 40 CFR part 60 is used to measure the
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                                                                                                         appendices A–6 and A–7 to part 60 of
                                                 concentration of organic compounds or                   this chapter, respectively, shall be used,
                                                 ASTM D6420–18 (incorporated by                          except as provided in paragraphs (a)(11)
                                                 reference, see § 63.14), the organic                    and (12) of this section.                             Where:
                                                 compound concentration (CT) is the                         (i) For the purpose of determining                 Ei, Eo = Mass flow rate of organic compounds
                                                 sum of the individual components and                    compliance with the reduction                              at the inlet (i) and outlet (o) of the
                                                 shall be computed for each run using                    efficiency requirement, organic                            combustion or recovery device,
                                                                                                                                                                                                              ER16MY24.059</GPH>




                                                 the following equation:                                 compound concentration may be                              kilograms per hour.



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                                                 Mij, Moj = Mass of organic compounds at the                   or (a)(10)(iii) of this section, kilogram per      (2) A pressure measurement device
                                                      inlet (i) or outlet (o) during testing                   hour.                                           which has a precision of ±2.5
                                                      interval j, kilograms.                             *       *    *      *   *                             millimeters of mercury or better and
                                                 T = Total time of all testing intervals, hours.            (12) ASTM D6420–18 (incorporated                   which is capable of measuring above the
                                                 n = Number of testing intervals.
                                                                                                         by reference, see § 63.14) may also be                pressure at which the tank truck or
                                                    (iii) If Method 18 of appendix A–6 to                used in lieu of Method 18 of appendix                 railcar is to be tested for vapor tightness.
                                                 40 CFR part 60 or ASTM D6420–18                         A–6 to part 60 of this chapter, if the                   (h) * * *
                                                 (incorporated by reference, see § 63.14)                target compounds are all known and are                   (1) * * *
                                                 is used to measure organic compounds,                   all listed in section 1.1 of ASTM D6420–                 (iv) Except as provided in
                                                 the mass rates of organic compounds                     18 as measurable; ASTM D6420–18                       § 63.127(b)(4), for carbon adsorbers, the
                                                 (Ei, Eo) shall be computed using the                    must not be used for methane and                      design evaluation shall include the
                                                 following equations:                                    ethane; and ASTM D6420–18 may not                     affinity of the organic HAP vapors for
                                                                                                         be used as a total VOC method.                        carbon, the amount of carbon in each
                                                 Equations 6 and 7 to Paragraph
                                                                                                            (b) Except as specified in § 63.108(a),            bed, the number of beds, the humidity
                                                 (a)(10)(iii)
                                                                                                         when a flare is used to comply with                   of the feed gases, the temperature of the
                                                                                                         § 63.126(b)(2), the owner or operator                 feed gases, the flow rate of the organic

                                                        ~ -K.(teuuw, )~
                                                                                                         shall comply with paragraphs (b)(1)                   HAP emission stream, the desorption
                                                                                                         through (3) of this section. The owner or             schedule, the regeneration stream
                                                                                                         operator is not required to conduct a                 pressure or temperature, and the flow
                                                                                                         performance test to determine percent                 rate of the regeneration stream. For
                                                                                                         emission reduction or outlet organic                  vacuum desorption, pressure drop shall
                                                                                                         HAP or TOC concentration.                             be included.
                                                        E,-K,(tcp«)Q.                                    *       *
                                                                                                            (c) * * *
                                                                                                                      *      *   *                             *      *     *     *     *
                                                                                                                                                               ■ 71. Amend § 63.129 by revising
                                                 Where:
                                                                                                            (2) When a boiler or process heater                paragraphs (a)(2), (a)(5) introductory
                                                                                                         burning hazardous waste is used for                   text and (d) to read as follows:
                                                 Cij, Coj = Concentration of sample component
                                                       j of the gas stream at the inlet and outlet
                                                                                                         which the owner or operator:
                                                                                                            (i) Has been issued a final permit                 § 63.129 Transfer operations provisions—
                                                       of the control device, respectively, dry
                                                                                                         under part 270 of this chapter and                    reporting and recordkeeping for
                                                       basis, parts per million by volume.
                                                                                                         complies with the requirements of part                performance tests and notification of
                                                 MWij, MWoj = Molecular weight of sample
                                                                                                                                                               compliance status.
                                                       component j of the gas stream at the inlet        266, subpart H, of this chapter;
                                                       and outlet of the control device,                    (ii) Has certified compliance with the                (a) * * *
                                                       respectively, gram/gram-mole.                     interim status requirements of part 266,                 (2) Include the data specified in
                                                 Qi, Qo = Flow rate of gas stream at the inlet           subpart H, of this chapter;                           paragraphs (a)(4) through (a)(7) of this
                                                       and outlet of the control device,                    (iii) Has submitted a Notification of              section in the Notification of
                                                       respectively, dry standard cubic meter            Compliance under § 63.1207(j) and                     Compliance Status report as specified in
                                                       per minute.                                                                                             § 63.152(b) of this subpart. If the
                                                 K2 = Constant, 2.494 × 10–6 (parts per
                                                                                                         complies with the requirements of
                                                                                                         subpart EEE of this part; or                          performance test report is submitted
                                                       million)–1 (gram-mole per standard cubic
                                                       meter) (kilogram/gram) (minute/hour),                (iv) Complies with subpart EEE of this             electronically through the EPA’s CEDRI
                                                       where standard temperature for (gram-             part and will submit a Notification of                in accordance with § 63.152(h), the
                                                       mole per standard cubic meter) is 20 °C.          Compliance under § 63.1207(j) by the                  process unit(s) tested, the pollutant(s)
                                                                                                         date the owner or operator would have                 tested, and the date that such
                                                   (iv) Where Method 18 or 25A of                                                                              performance test was conducted may be
                                                 appendices A–6 and A–7 to part 60 of                    been required to submit the initial
                                                                                                         performance test report for this subpart.             submitted in the notification of
                                                 this chapter, respectively, or ASTM                                                                           compliance status report in lieu of the
                                                 D6420–18 (incorporated by reference,                    *       *    *      *   *
                                                                                                            (7) When a hazardous waste                         performance test results. The
                                                 see § 63.14) is used to measure the                                                                           performance test results must be
                                                 percent reduction in organic                            incinerator is used for which the owner
                                                                                                         or operator:                                          submitted to CEDRI by the date the
                                                 compounds, the percent reduction                                                                              notification of compliance status report
                                                 across the control device shall be                         (i) Has been issued a final permit
                                                                                                         under part 270 of this chapter and                    is submitted.
                                                 calculated as follows:
                                                                                                         complies with the requirements of part                *      *     *     *    *
                                                 Equation 8 to Paragraph (a)(10)(iv)                     264, subpart O, of this chapter;                         (5) Except as specified in paragraph
                                                                                                            (ii) Has certified compliance with the             (a) of § 63.108, record and report the
                                                                                                         interim status requirements of part 265,              following when using a flare to comply
                                                                                                         subpart O, of this chapter;                           with § 63.126(b)(2):
                                                                                                            (iii) Has submitted a Notification of              *      *     *     *    *
                                                 Where:                                                  Compliance under § 63.1207(j) and                        (d) Each owner or operator shall
                                                 R = Control efficiency of control device,               complies with the requirements subpart                maintain a record describing in detail
                                                      percent.                                           EEE of this part; or                                  the vent system used to vent each
                                                 Ei = Mass emitted or mass flow rate of                     (iv) Complies with the requirements                affected transfer vent stream to a control
                                                      organic compounds at the inlet to the              subpart EEE of this part and will submit              device. This document shall list all
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                                                      combustion or recovery device as                   a Notification of Compliance under                    valves and vent pipes that could vent
                                                      calculated under paragraph (a)(10)(ii)(D)          § 63.1207(j) by the date the owner or                 the stream to the atmosphere, thereby
                                                                                                                                                                                                              ER16MY24.063</GPH>




                                                      or (a)(10)(iii) of this section, kilogram per      operator would have been required to
                                                      hour.
                                                                                                                                                               bypassing the control device; identify
                                                                                                         submit the initial performance test                   which valves are secured by car-seals or
                                                 Eo = Mass emitted or mass flow rate of
                                                      organic compounds at the outlet of the             report for this subpart.                              lock-and-key type configurations; and
                                                      combustion or recovery device, as                  *       *    *      *   *                             indicate the position (open or closed) of
                                                                                                                                                                                                              ER16MY24.062</GPH>




                                                      calculated under paragraph (a)(10)(ii)(D)             (f) * * *                                          those valves which have car-seals.


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                                                 Except as specified in paragraph (d)(1)                 times and duration of all periods during              must comply with this paragraph in
                                                 of this section, equipment leaks such as                which the pilot flame is absent shall be              addition to the requirements in
                                                 low leg drains, high point bleeds,                      kept rather than daily averages.                      paragraphs (b)(1) and (b)(2) of this
                                                 analyzer vents, open-ended valves or                       (ii) If carbon adsorber regeneration               section. For each flow event from a
                                                 lines, and pressure relief valves needed                stream flow and carbon bed                            bypass line subject to the requirements
                                                 for safety purposes are not subject to                  regeneration temperature are monitored,               in § 63.127(d), the owner or operator
                                                 this paragraph.                                         the records specified in table 7 to this              must maintain records sufficient to
                                                    (1) For each source as defined in                    subpart shall be kept instead of the daily            determine whether or not the detected
                                                 § 63.101, on and after July 15, 2027, the               averages.                                             flow included flow requiring control.
                                                 last sentence in paragraph (d) of this                     (iii) Except as specified in paragraph             For each flow event from a bypass line
                                                 section no longer applies. Instead, the                 (a)(2)(iv) of this section, records of the            requiring control that is released either
                                                 exemptions specified in paragraph                       duration of all periods when the vent                 directly to the atmosphere or to a
                                                 (d)(1)(i) and (d)(1)(ii) of this section                stream is diverted through bypass lines               control device not meeting the
                                                 apply.                                                  shall be kept rather than daily averages.             requirements in this subpart, the owner
                                                    (i) Except for pressure relief devices                  (iv) For each flow event from a bypass             or operator must include an estimate of
                                                 subject to § 63.165(e)(4) of subpart H of               line subject to the requirements in                   the volume of gas, the concentration of
                                                 this part, equipment such as low leg                    § 63.127(d) for each source as defined in             organic HAP in the gas and the resulting
                                                 drains and equipment subject to the                     § 63.101, beginning no later than the                 emissions of organic HAP that bypassed
                                                 requirements of subpart H of this part                  compliance dates specified in                         the control device using process
                                                 are not subject to this paragraph (d) of                § 63.100(k)(10), the owner or operator                knowledge and engineering estimates.
                                                 this section.                                           must also maintain records sufficient to                 (c) Except as specified in paragraph
                                                    (ii) Open-ended valves or lines that                 determine whether or not the detected                 (a) of § 63.108, each owner or operator
                                                 use a cap, blind flange, plug, or second                flow included flow requiring control.                 of a Group 1 transfer rack who uses a
                                                 valve and follow the requirements                       For each flow event from a bypass line                flare to comply with § 63.126(b)(2) shall
                                                 specified in 40 CFR 60.482–6(a)(2), (b),                requiring control that is released either             keep up-to-date, readily accessible
                                                 and (c) or follow requirements codified                 directly to the atmosphere or to a                    records of the flare pilot flame
                                                 in another regulation that are the same                 control device not meeting the                        monitoring specified under
                                                 as 40 CFR 60.482–6(a)(2), (b), and (c) are              requirements in this subpart, the owner               § 63.127(a)(2).
                                                 not subject to this paragraph (d) of this               or operator must include an estimate of                  (d) Each owner or operator of a
                                                 section.                                                the volume of gas, the concentration of               transfer rack subject to the requirements
                                                    (2) [Reserved]                                       organic HAP in the gas and the resulting              of § 63.126 shall submit to the
                                                 *       *   *      *     *                              emissions of organic HAP that bypassed                Administrator Periodic Reports of the
                                                                                                         the control device using process                      following information according to the
                                                 ■ 72. Amend § 63.130 by:
                                                 ■ a. Revising paragraph (a)(1);                         knowledge and engineering estimates.                  schedule in § 63.152(c):
                                                 ■ b. Revising and publishing paragraphs
                                                                                                                                                                  (1) Reports of daily average values of
                                                                                                         *       *     *     *    *                            monitored parameters for all operating
                                                 (a)(2) and (b);                                            (b) If a vapor collection system
                                                 ■ c. Revising paragraph (c); and
                                                                                                                                                               days when the daily average values
                                                                                                         containing valves that could divert the               were outside the range established in
                                                 ■ d. Revising and republishing
                                                                                                         emission stream away from the control                 the Notification of Compliance Status or
                                                 paragraph (d).                                          device is used, each owner or operator
                                                    The revisions and republications read                                                                      operating permit. Additionally, report
                                                                                                         of a Group 1 transfer rack subject to the             the identification of the transfer rack,
                                                 as follows:
                                                                                                         provisions of § 63.127(d) shall keep up-              the monitored parameter out of range,
                                                 § 63.130 Transfer operations provisions—                to-date, readily accessible records of:               and the date of such occurrences.
                                                 periodic recordkeeping and reporting.                      (1) Hourly records of whether the flow                (2) Reports of the start date and
                                                    (a) * * *                                            indicator specified under § 63.127(d)(1)              duration (in hours) of periods when
                                                    (1) While the transfer vent stream is                was operating and whether a diversion                 monitoring data are not collected for
                                                 being vented to the control device,                     was detected at any time during the                   each excursion caused by insufficient
                                                 continuous records of the equipment                     hour, as well as records of the times of              monitoring data as defined in
                                                 operating parameters specified to be                    all periods when the vent stream is                   § 63.152(c)(2)(ii)(A).
                                                 monitored under § 63.127, and listed in                 diverted from the control device or the                  (3) Reports of the start date and time
                                                 table 7 of this subpart or specified by                 flow indicator is not operating.                      and duration (in hours) of all periods
                                                 the Administrator in accordance with                       (2) Where a seal mechanism is used                 recorded under paragraph (b)(1) of this
                                                 §§ 63.127(c) and 63.129(b). For flares                  to comply with § 63.127(d)(2), hourly                 section when the vent stream was
                                                 complying with§ 63.11(b), the hourly                    records of flow are not required. In such             diverted from the control device, and if
                                                 records and records of pilot flame                      cases, the owner or operator shall record             applicable, the information in paragraph
                                                 outages specified in table 7 shall be                   that the monthly visual inspection of                 (d)(7) of this section.
                                                 maintained in place of continuous                       the seals or closure mechanisms has                      (4) Reports of the start date and time
                                                 records. For flares complying with                      been done, and shall record the                       and duration (in hours) recorded under
                                                 § 63.108, the owner or operator must                    occurrence of all periods when the seal               paragraph (b)(2) of this section when
                                                 comply with the recordkeeping                           mechanism is broken, the bypass line                  maintenance is performed on car-sealed
                                                 requirements specified therein.                         valve position has changed, or the key                valves, when the car seal is broken,
                                                                                                         for a lock-and-key type lock has been
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                                                    (2) Records of the daily average value                                                                     when the bypass line valve position is
                                                 of each monitored parameter for each                    checked out, and records of any car-seal              changed, or the key for a lock-and-key
                                                 operating day determined according to                   that has broken, as listed in table 7 of              type configuration has been checked
                                                 the procedures specified in § 63.152(f),                this subpart.                                         out, and if applicable, the information
                                                 except as provided in paragraphs                           (3) For each source as defined in                  in paragraph (d)(7) of this section.
                                                 (a)(2)(i) through (a)(2)(iv) of this section.           § 63.101, beginning no later than the                    (5) Except as specified in paragraph
                                                    (i) For flares, except as specified in               compliance dates specified in                         (a) of § 63.108, reports of the times and
                                                 paragraph (a) of § 63.108, records of the               § 63.100(k)(10), the owner or operator                durations of all periods recorded under


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                                                 paragraph (a)(2)(i) of this section in                  position at all times except when it is                  (iii) For each source as defined in
                                                 which all pilot flames of a flare were                  necessary for the pressure relief device              § 63.101, beginning no later than the
                                                 absent.                                                 to open for the purpose of preventing                 compliance dates specified in
                                                    (6) Reports of all carbon bed                        physical damage or permanent                          § 63.100(k)(11), the process wastewater
                                                 regeneration cycles during which the                    deformation of the waste management                   stream contains ethylene oxide such
                                                 parameters recorded under paragraph                     unit in accordance with good                          that it is considered to be in ethylene
                                                 (a)(2)(ii) of this section were outside the             engineering and safety practices.                     oxide service, as defined in § 63.101.
                                                 ranges established in the Notification of                 (C) For each source as defined in                   *       *     *     *    *
                                                 Compliance Status or operating permit.                  § 63.101, beginning no later than the                    (d) How to determine Group 1 or
                                                 Include the identification of the carbon                compliance dates specified in                         Group 2 status for Table 8 compounds.
                                                 bed, the monitored parameter that was                   § 63.100(k)(10), paragraphs (a)(2)(i)(A)              This paragraph provides instructions for
                                                 outside the established range, and the                  and (a)(2)(i)(B) of this section do not               determining whether a wastewater
                                                 start date, start time, and duration (in                apply. Instead, pressure relief devices               stream is Group 1 or Group 2 for Table
                                                 hours) for the regeneration cycle in the                are subject to the requirements specified             8 compounds. Annual average
                                                 report.                                                 in § 63.165(e) of subpart H of this part.             concentration for each Table 8
                                                    (7) For each source as defined in                    *      *     *     *     *                            compound shall be determined
                                                 § 63.101, beginning no later than the                     (b) * * *                                           according to the procedures specified in
                                                 compliance dates specified in                             (3) * * *                                           § 63.144(b). Annual average flow rate
                                                 § 63.100(k)(10), the owner or operator                    (i) Comply with the applicable                      shall be determined according to the
                                                 must comply with this paragraph in                      requirements for wastewater tanks,                    procedures specified in § 63.144(c).
                                                 addition to the requirements in                         surface impoundments, containers,                        (1) A wastewater stream is a Group 1
                                                 paragraphs (d)(3) and (d)(4) of this                    individual drain systems, and oil/water               wastewater stream for Table 8
                                                 section. For bypass lines subject to the                separators specified in the requirements              compounds if:
                                                 requirements in § 63.127(d), the                        of § 63.133 through § 63.137 of this                     (i) The annual average flow rate is
                                                 Periodic Report must include the start                  subpart, except as provided in                        0.02 liter per minute or greater and the
                                                 date, start time, duration in hours,                    paragraphs (b)(3)(i)(A) through                       annual average concentration of any
                                                 estimate of the volume of gas in                        (b)(3)(i)(C) of this section and                      individual table 8 compound is 10 parts
                                                 standard cubic feet, the concentration of               § 63.138(a)(3) of this subpart.                       per million by weight or greater; or
                                                 organic HAP in the gas in parts per                                                                              (ii) For each source as defined in
                                                                                                           (A) Except as specified in paragraph
                                                 million by volume and the resulting                                                                           § 63.101, beginning no later than the
                                                                                                         (b)(3)(i)(C) of this section, the waste
                                                 mass emissions of organic HAP in                                                                              compliance dates specified in
                                                                                                         management units may be equipped
                                                 pounds that bypass a control device. For                                                                      § 63.100(k)(11), the process wastewater
                                                                                                         with pressure relief devices that vent
                                                 periods when the flow indicator is not                                                                        stream contains ethylene oxide such
                                                                                                         directly to the atmosphere provided the
                                                 operating, report the start date, start                                                                       that it is considered to be in ethylene
                                                                                                         pressure relief device is not used for
                                                 time, and duration in hours.                                                                                  oxide service, as defined in § 63.101.
                                                                                                         planned or routine venting of emissions.                 (2) A wastewater stream is a Group 2
                                                 *      *      *     *     *                               (B) Except as specified in paragraph                wastewater stream for Table 8
                                                 ■ 73. Amend § 63.132 by:                                (b)(3)(i)(C) of this section, the pressure            compounds if it does not meet the
                                                 ■ a. Revising paragraphs (a)(2)(i),                     relief device remains in a closed                     criteria specified in paragraph (d)(1)(ii)
                                                 (b)(3)(i), and (c)(1);                                  position at all times except when it is               of this section, and the annual average
                                                 ■ b. Revising and republishing                          necessary for the pressure relief device              flow rate is less than 0.02 liter per
                                                 paragraph (d);                                          to open for the purpose of preventing                 minute or the annual average
                                                 ■ c. Revising paragraph (f)(2); and                     physical damage or permanent                          concentration for each individual Table
                                                 ■ d. Adding paragraph (f)(5).                           deformation of the waste management
                                                    The revisions, addition and                                                                                8 compound is less than 10 parts per
                                                                                                         unit in accordance with good                          million by weight.
                                                 republication read as follows:                          engineering and safety practices.                        (3) The owner or operator of a Group
                                                 § 63.132 Process wastewater provisions—                   (C) For each source as defined in                   2 wastewater shall re-determine group
                                                 general.                                                § 63.101, beginning no later than the                 status for each Group 2 stream, as
                                                    (a) * * *                                            compliance dates specified in                         necessary, to determine whether the
                                                    (2) * * *                                            § 63.100(k)(10), paragraphs (b)(3)(i)(A)              stream is Group 1 or Group 2 whenever
                                                    (i) Comply with the applicable                       and (b)(3)(i)(B) of this section do not               process changes are made that could
                                                 requirements for wastewater tanks,                      apply. Instead, pressure relief devices               reasonably be expected to change the
                                                 surface impoundments, containers,                       are subject to the requirements specified             stream to a Group 1 stream. Examples of
                                                 individual drain systems, and oil/water                 in § 63.165(e).                                       process changes include, but are not
                                                 separators as specified in § 63.133                     *      *     *     *     *                            limited to, changes in production
                                                 through § 63.137 of this subpart, except                  (c) * * *                                           capacity, production rate, feedstock
                                                 as provided in paragraphs (a)(2)(i)(A)                    (1) A wastewater stream is a Group 1                type, or whenever there is a
                                                 through (a)(2)(i)(C) of this section and                wastewater stream for Table 9                         replacement, removal, or addition of
                                                 § 63.138(a)(3).                                         compounds if:                                         recovery or control equipment. For
                                                    (A) Except as specified in paragraph                   (i) The total annual average                        purposes of this paragraph (d)(3),
                                                 (a)(2)(i)(C) of this section, the waste                 concentration of Table 9 compounds is                 process changes do not include: Process
                                                                                                                                                               upsets; unintentional, temporary
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                                                 management units may be equipped                        greater than or equal to 10,000 parts per
                                                 with pressure relief devices that vent                  million by weight at any flow rate;                   process changes; and changes that are
                                                 directly to the atmosphere provided the                   (ii) The total annual average                       within the range on which the original
                                                 pressure relief device is not used for                  concentration of Table 9 compounds is                 determination was based.
                                                 planned or routine venting of emissions.                greater than or equal to 1,000 parts per              *       *     *     *    *
                                                    (B) Except as specified in paragraph                 million by weight and the annual                         (f) * * *
                                                 (a)(2)(i)(C) of this section, the pressure              average flow rate is greater than or equal               (2) Except as specified in paragraph
                                                 relief device remains in a closed                       to 10 liters per minute; or                           (f)(5) of this sections, activities included


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                                                 in maintenance or startup/shutdown/                     system shall be inspected in accordance               system shall be inspected in accordance
                                                 malfunction plans;                                      with § 63.148.                                        with § 63.148.
                                                 *      *     *     *     *                                (5) For any cover and closed vent                     (4) For any cover and closed vent
                                                   (5) For each source as defined in                     system that is operated and maintained                system that is operated and maintained
                                                 § 63.101, on and after July 15, 2027, the               under negative pressure, the owner or                 under negative pressure, the owner or
                                                 phrase ‘‘or startup/shutdown/                           operator is not required to comply with               operator is not required to comply with
                                                 malfunction’’ in paragraph (f)(2) of this               the requirements specified in § 63.148.               the requirements specified in § 63.148.
                                                 section does not apply.                                 *     *     *     *    *                              *     *     *      *    *
                                                 *      *     *     *     *                              ■ 76. Amend § 63.135 by revising                      ■ 78. Amend § 63.137 by revising
                                                                                                         paragraph (b)(3), adding paragraph                    paragraphs (a)(1), (b) introductory text,
                                                 ■ 74. Amend § 63.133 by revising
                                                                                                         (b)(4), and revising paragraphs (d)                   (b)(3) and (4) to read as follows:
                                                 paragraphs (a)(2)(i), (b) introductory
                                                                                                         introductory text, (d)(3) and (d)(4) to
                                                 text, (b)(3) and (b)(4) to read as follows:                                                                   § 63.137 Process wastewater provisions—
                                                                                                         read as follows:
                                                                                                                                                               oil-water separators.
                                                 § 63.133 Process wastewater provisions—
                                                 wastewater tanks.
                                                                                                         § 63.135 Process wastewater provisions—                  (a) * * *
                                                                                                         containers.                                              (1) A fixed roof and a closed vent
                                                    (a) * * *                                            *      *     *     *     *                            system that routes the organic
                                                    (2) * * *                                               (b) * * *                                          hazardous air pollutants vapors vented
                                                    (i) A fixed roof and a closed vent                      (3) Except as specified in paragraph               from the oil-water separator to a control
                                                 system that routes the organic                          (b)(4) of this section, the cover and all             device. The fixed roof, closed vent
                                                 hazardous air pollutants vapors vented                  openings shall be maintained in a                     system, and control device shall meet
                                                 from the wastewater tank to a control                   closed position (e.g., covered by a lid)              the requirements specified in paragraph
                                                 device.                                                 at all times that a Group 1 wastewater                (b) of this section;
                                                 *      *      *    *     *                              stream or residual removed from a                     *      *      *    *     *
                                                    (b) If the owner or operator elects to               Group 1 wastewater stream is in the                      (b) If the owner or operator elects to
                                                 comply with the requirements of                         container except when it is necessary to              comply with the requirements of
                                                 paragraph (a)(2)(i) of this section, the                use the opening for filling, removal,                 paragraphs (a)(1) or (a)(2) of this section,
                                                 fixed roof shall meet the requirements of               inspection, sampling, or pressure relief              the fixed roof shall meet the
                                                 paragraph (b)(1) of this section, the                   events related to safety considerations.              requirements of paragraph (b)(1) of this
                                                 control device shall meet the                              (4) For each source as defined in                  section, the control device shall meet
                                                 requirements of paragraph (b)(2) of this                § 63.101, beginning no later than the                 the requirements of paragraph (b)(2) of
                                                 section, and the closed vent system                     compliance dates specified in                         this section, and the closed vent system
                                                 shall meet the requirements of                          § 63.100(k)(10), pressure relief devices              shall meet the requirements of
                                                 paragraph (b)(3) of this section.                       are subject to the requirements specified             paragraph (b)(3) of this section.
                                                 *      *      *    *     *                              in § 63.165(e) of subpart H of this part.
                                                                                                                                                               *      *      *    *     *
                                                    (3) Except as provided in paragraph                  *      *     *     *     *                               (3) Except as provided in paragraph
                                                 (b)(4) of this section, the closed vent                    (d) During treatment of a Group 1                  (b)(4) of this section, the closed vent
                                                 system shall be inspected in accordance                 wastewater stream or residual removed                 system shall be inspected in accordance
                                                 with the requirements of § 63.148.                      from a Group 1 wastewater stream,                     with the requirements of § 63.148.
                                                    (4) For any fixed roof tank and closed               including aeration, thermal or other                     (4) For any fixed roof and closed vent
                                                 vent system that is operated and                        treatment, in a container, whenever it is             system that is operated and maintained
                                                 maintained under negative pressure, the                 necessary for the container to be open,               under negative pressure, the owner or
                                                 owner or operator is not required to                    the container shall be located within an              operator is not required to comply with
                                                 comply with the requirements specified                  enclosure with a closed vent system that              the requirements of § 63.148.
                                                 in § 63.148.                                            routes the organic hazardous air
                                                                                                                                                               *      *      *    *     *
                                                                                                         pollutants vapors vented from the
                                                 *      *      *    *     *                              container to a control device.                        ■ 79. Amend § 63.138 by:
                                                 ■ 75. Amend § 63.134 by revising                                                                              ■ a. Revising paragraph (b) introductory
                                                                                                         *      *     *     *     *                            text and adding paragraph (b)(3);
                                                 paragraphs (b) introductory text, (b)(4)                   (3) Except as provided in paragraph                ■ b. Revising paragraph (c) introductory
                                                 and (b)(5) to read as follows:                          (d)(4) of this section, the closed vent               text and adding paragraph (c)(3); and
                                                 § 63.134 Process wastewater provisions—
                                                                                                         system shall be inspected in accordance               ■ c. Revising paragraphs (h)(1) and (2).
                                                 surface impoundments.                                   with § 63.148 of this subpart.                           The revisions and additions read as
                                                                                                            (4) For any enclosure and closed vent              follows:
                                                 *      *     *     *     *                              system that is operated and maintained
                                                    (b) The owner or operator shall                      under negative pressure, the owner or                 § 63.138 Process wastewater provisions—
                                                 operate and maintain on each surface                    operator is not required to comply with               performance standards for treatment
                                                 impoundment either a cover (e.g., air-                  the requirements specified in § 63.148 of             processes managing Group 1 wastewater
                                                 supported structure or rigid cover) and                 this subpart.                                         streams and/or residuals removed from
                                                 a closed vent system that routes the                                                                          Group 1 wastewater streams.
                                                 organic hazardous air pollutants vapors                 *      *     *     *     *
                                                                                                                                                               *     *      *     *      *
                                                 vented from the surface impoundment                     ■ 77. Amend § 63.136 by revising                        (b) Control options: Group 1
                                                 to a control device in accordance with                  paragraphs (b)(3) and (4) to read as                  wastewater streams for Table 9
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                                                 paragraph (b)(1) of this section, or a                  follows:                                              compounds. The owner or operator
                                                 floating flexible membrane cover as                     § 63.136 Process wastewater provisions—               shall comply with either paragraph
                                                 specified in paragraph (b)(2) of this                   individual drain systems.                             (b)(1) or (b)(2) of this section, and
                                                 section.                                                *     *      *     *     *                            paragraph (b)(3) of this section, if
                                                 *      *     *     *     *                                (b) * * *                                           applicable, for the control of Table 9
                                                    (4) Except as provided in paragraph                    (3) Except as provided in paragraph                 compounds at new or existing sources.
                                                 (b)(5) of this section, the closed vent                 (b)(4) of this section, the closed vent               *     *      *     *      *


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                                                    (3) 1 ppmw ethylene oxide                            ■ 80. Amend § 63.139 by revising                         (3) Except as specified in paragraph
                                                 concentration. Reduce, by removal or                    paragraphs (c) and (d) to read as follows:            (a) of § 63.108, a flare shall comply with
                                                 destruction, the concentration of                                                                             the requirements of § 63.11(b).
                                                 ethylene oxide to a level less than 1                   § 63.139 Process wastewater provisions—                  (4) A scrubber, alone or in
                                                                                                         control devices.                                      combination with other control devices,
                                                 parts per million by weight as
                                                 determined in the procedures specified                  *       *     *       *      *                        shall reduce the total organic compound
                                                 in § 63.145(b) of this subpart.                            (c) The control device shall be                    emissions, less methane and ethane, or
                                                    (c) Control options: Group 1                         designed and operated in accordance                   total organic hazardous air pollutants
                                                 wastewater streams for Table 8                          with paragraph (c)(1), (2), (3), (4), or (5)          emissions in such a manner that 95
                                                 compounds. The owner or operator                        of this section.                                      weight-percent is either removed, or
                                                 shall comply with either paragraph                         (1) An enclosed combustion device                  destroyed by chemical reaction with the
                                                 (c)(1) or (c)(2) of this section, and                   (including but not limited to a vapor                 scrubbing liquid or achieve an outlet
                                                 paragraph (c)(3) of this section, if                    incinerator, boiler, or process heater)               total organic compound concentration,
                                                 applicable, for the control of Table 8                  shall meet the conditions in paragraph                less methane and ethane, or total
                                                 compounds at new sources.                               (c)(1)(i), (ii), or (iii) of this section, alone      organic hazardous air pollutants
                                                 *       *    *      *     *                             or in combination with other control                  concentration of 20 parts per million by
                                                    (3) 1 ppmw ethylene oxide                            devices. If a boiler or process heater is             volume. The 20 parts per million by
                                                 concentration. Reduce, by removal or                    used as the control device, then the vent             volume performance standard is not
                                                 destruction, the concentration of                       stream shall be introduced into the                   applicable to compliance with the
                                                 ethylene oxide to a level less than 1                   flame zone of the boiler or process                   provisions of § 63.134 or § 63.135.
                                                 parts per million by weight as                          heater.                                                  (5) Any other control device used
                                                 determined in the procedures specified                     (i) Reduce the total organic compound              shall, alone or in combination with
                                                 in § 63.145(b).                                         emissions, less methane and ethane, or                other control devices, reduce the total
                                                 *       *    *      *     *                             total organic hazardous air pollutants                organic compound emissions, less
                                                    (h) * * *                                            emissions vented to the control device                methane and ethane, or total organic
                                                    (1) The wastewater stream or residual                by 95 percent by weight or greater;                   hazardous air pollutants emissions
                                                 is discharged to a hazardous waste                         (ii) Achieve an outlet total organic               vented to the control device by 95
                                                 incinerator for which the owner or                      compound concentration, less methane                  percent by weight or greater or achieve
                                                 operator:                                               and ethane, or total organic hazardous                an outlet total organic compound
                                                    (i) Has been issued a final permit                   air pollutants concentration of 20 parts              concentration, less methane and ethane,
                                                 under 40 CFR part 270 and complies                      per million by volume on a dry basis                  or total organic hazardous air pollutants
                                                 with the requirements of 40 CFR part                    corrected to 3 percent oxygen. The                    concentration of 20 parts per million by
                                                 264, subpart O;                                         owner or operator shall use either                    volume. The 20 parts per million by
                                                    (ii) Has certified compliance with the               Method 18 of appendix A–6 to part 60                  volume performance standard is not
                                                 interim status requirements of 40 CFR                   of this chapter, any other method or                  applicable to compliance with the
                                                 part 265, subpart O;                                    data that has been validated according                provisions of § 63.134 or § 63.135.
                                                    (iii) Has submitted a Notification of                                                                         (d) Except as provided in paragraphs
                                                                                                         to the applicable procedures in Method
                                                 Compliance under § 63.1207(j) and                                                                             (d)(4) and (5) of this section, an owner
                                                                                                         301 of appendix A of this part, or ASTM
                                                 complies with the requirements subpart                                                                        or operator shall demonstrate that each
                                                                                                         D6420–18 (incorporated by reference,
                                                 EEE of this part; or                                                                                          control device or combination of control
                                                    (iv) Complies with the requirements                  see § 63.14) may also be used in lieu of
                                                                                                                                                               devices achieves the appropriate
                                                 subpart EEE of this part and will submit                Method 18, if the target compounds are
                                                                                                                                                               conditions specified in paragraph (c) of
                                                 a Notification of Compliance under                      all known and are all listed in Section
                                                                                                                                                               this section by using one or more of the
                                                 § 63.1207(j) by the date the owner or                   1.1 of ASTM D6420–18 as measurable;
                                                                                                                                                               methods specified in paragraphs (d)(1),
                                                 operator would have been required to                    ASTM D6420–18 must not be used for
                                                                                                                                                               (2), or (3) of this section.
                                                 submit the initial performance test                     methane and ethane; and ASTM D6420–                      (1) Performance tests conducted using
                                                 report for this subpart.                                18 may not be used as a total VOC                     the test methods and procedures
                                                    (2) The wastewater stream or residual                method; or                                            specified in § 63.145(i) for control
                                                 is discharged to a process heater or                       (iii) Provide a minimum residence                  devices other than flares; or
                                                 boiler burning hazardous waste for                      time of 0.5 seconds at a minimum                         (2) A design evaluation that addresses
                                                 which the owner or operator:                            temperature of 760 °C.                                the vent stream characteristics and
                                                    (i) Has been issued a final permit                      (2) A vapor recovery system                        control device operating parameters
                                                 under 40 CFR part 270 and complies                      (including but not limited to a carbon                specified in paragraphs (d)(2)(i) through
                                                 with the requirements of 40 CFR part                    adsorption system or condenser), alone                (vii) of this section.
                                                 266, subpart H;                                         or in combination with other control                     (i) For a thermal vapor incinerator, the
                                                    (ii) Has certified compliance with the               devices, shall reduce the total organic               design evaluation shall consider the
                                                 interim status requirements of 40 CFR                   compound emissions, less methane and                  vent stream composition, constituent
                                                 part 266, subpart H;                                    ethane, or total organic hazardous air                concentrations, and flow rate and shall
                                                    (iii) Has submitted a Notification of                pollutants emissions vented to the                    establish the design minimum and
                                                 Compliance under § 63.1207(j) and                       control device of 95 percent by weight                average temperature in the combustion
                                                 complies with the requirements of                       or greater or achieve an outlet total                 zone and the combustion zone residence
                                                 subpart EEE of this part; or                            organic compound concentration, less
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                                                                                                                                                               time.
                                                    (iv) Complies with subpart EEE of this               methane and ethane, or total organic                     (ii) For a catalytic vapor incinerator,
                                                 part and will submit a Notification of                  hazardous air pollutants concentration                the design evaluation shall consider the
                                                 Compliance under § 63.1207(j) by the                    of 20 parts per million by volume. The                vent stream composition, constituent
                                                 date the owner or operator would have                   20 parts per million by volume                        concentrations, and flow rate and shall
                                                 been required to submit the initial                     performance standard is not applicable                establish the design minimum and
                                                 performance test report for this subpart.               to compliance with the provisions of                  average temperatures across the catalyst
                                                 *       *    *      *     *                             § 63.134 or § 63.135.                                 bed inlet and outlet.


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                                                    (iii) For a boiler or process heater, the            concentration level and will include the              compliance dates specified in
                                                 design evaluation shall consider the                    additional information in paragraphs                  § 63.100(k)(10), if the owner or operator
                                                 vent stream composition, constituent                    (d)(2)(vii)(A) and (B) of this section for            vents emissions through a closed vent
                                                 concentrations, and flow rate; shall                    trays and a packed column scrubber.                   system to an adsorber(s) that cannot be
                                                 establish the design minimum and                           (A) Type and total number of                       regenerated or a regenerative adsorber(s)
                                                 average flame zone temperatures and                     theoretical and actual trays;                         that is regenerated offsite, then the
                                                 combustion zone residence time; and                        (B) Type and total surface area of                 requirements specified in paragraphs
                                                 shall describe the method and location                  packing for entire column, and for                    (d)(1) and (2) of this section do not
                                                 where the vent stream is introduced into                individual packed sections if column                  apply. Instead, the owner or operator
                                                 the flame zone.                                         contains more than one packed section.                must install a system of two or more
                                                    (iv) For a condenser, the design                        (3) For flares, except as specified in             adsorber units in series and comply
                                                 evaluation shall consider the vent                      paragraph (a) of § 63.108, the                        with the requirements specified in
                                                 stream composition, constituent                         compliance determination specified in                 paragraphs (d)(5)(i) through (iii) of this
                                                 concentrations, flow rate, relative                     § 63.11(b) and § 63.145(j) of this subpart.           section.
                                                 humidity, and temperature and shall                        (4) An owner or operator using any                    (i) Conduct an initial performance test
                                                 establish the design outlet organic                     control device specified in paragraphs                or design evaluation of the adsorber and
                                                 compound concentration level, design                    (d)(4)(i) through (iv) of this section is             establish the breakthrough limit and
                                                 average temperature of the condenser                    exempt from the requirements in                       adsorber bed life.
                                                 exhaust vent stream, and the design                     paragraphs (d)(1) through (3) of this                    (ii) Monitor the HAP or total organic
                                                 average temperatures of the coolant                     section and from the requirements in                  compound (TOC) concentration through
                                                 fluid at the condenser inlet and outlet.                § 63.6(f), and from the requirements of               a sample port at the outlet of the first
                                                    (v) For a carbon adsorption system                   paragraph (e) of this section.                        adsorber bed in series according to the
                                                 that regenerates the carbon bed directly                   (i) A boiler or process heater with a              schedule in paragraph (d)(5)(iii)(B) of
                                                 on-site in the control device such as a                 design heat input capacity of 44                      this section. The owner or operator must
                                                 fixed-bed adsorber, the design                          megawatts or greater.                                 measure the concentration of HAP or
                                                 evaluation shall consider the vent                         (ii) A boiler or process heater into               TOC using either a portable analyzer, in
                                                 stream composition, constituent                         which the emission stream is                          accordance with Method 21 of appendix
                                                 concentrations, flow rate, relative                     introduced with the primary fuel.                     A–7 to 40 CFR part 60, using methane,
                                                 humidity, and temperature and shall                        (iii) A boiler or process heater burning           propane, isobutylene, or the primary
                                                 establish the design exhaust vent stream                hazardous waste for which the owner or                HAP being controlled as the calibration
                                                 organic compound concentration level,                   operator:                                             gas or Method 25A of appendix A–7 to
                                                 adsorption cycle time, number and                          (A) Has been issued a final permit                 40 CFR part 60, using methane,
                                                 capacity of carbon beds, type and                       under part 270 of this chapter and                    propane, or the primary HAP being
                                                 working capacity of activated carbon                    complies with the requirements of part                controlled as the calibration gas.
                                                 used for carbon beds, design total                      266, subpart H of this chapter;                          (iii) Comply with paragraph
                                                                                                            (B) Has certified compliance with the              (d)(5)(iii)(A) of this section, and comply
                                                 regeneration stream mass or volumetric
                                                                                                         interim status requirements of part 266,              with the monitoring frequency
                                                 flow over the period of each complete
                                                                                                         subpart H of this chapter;                            according to paragraph (d)(5)(iii)(B) of
                                                 carbon bed regeneration cycle, design                      (C) Has submitted a Notification of
                                                 carbon bed temperature after                                                                                  this section.
                                                                                                         Compliance under § 63.1207(j) and                        (A) The first adsorber in series must
                                                 regeneration, design carbon bed                         complies with the requirements of
                                                 regeneration time, and design service                                                                         be replaced immediately when
                                                                                                         subpart EEE of this part; or                          breakthrough, as defined in § 63.101, is
                                                 life of carbon.                                            (D) Complies with subpart EEE of this
                                                    (vi) For a carbon adsorption system                                                                        detected between the first and second
                                                                                                         part and will submit a Notification of
                                                 that does not regenerate the carbon bed                                                                       adsorber. The original second adsorber
                                                                                                         Compliance under § 63.1207(j) by the
                                                 directly on-site in the control device                                                                        (or a fresh canister) will become the new
                                                                                                         date the owner or operator would have
                                                 such as a carbon canister, the design                                                                         first adsorber and a fresh adsorber will
                                                                                                         been required to submit the initial
                                                 evaluation shall consider the vent                                                                            become the second adsorber. For
                                                                                                         performance test report for this subpart.
                                                 stream composition, constituent                            (iv) A hazardous waste incinerator for             purposes of this paragraph,
                                                 concentrations, mass or volumetric flow                 which the owner or operator:                          ‘‘immediately’’ means within 8 hours of
                                                 rate, relative humidity, and temperature                   (A) Has been issued a final permit                 the detection of a breakthrough for
                                                 and shall establish the design exhaust                  under part 270 of this chapter and                    adsorbers of 55 gallons or less, and
                                                 vent stream organic compound                            complies with the requirements of part                within 24 hours of the detection of a
                                                 concentration level, capacity of carbon                 264, subpart O of this chapter;                       breakthrough for adsorbers greater than
                                                 bed, type and working capacity of                          (B) Has certified compliance with the              55 gallons. The owner or operator must
                                                 activated carbon used for carbon bed,                   interim status requirements of part 265,              monitor at the outlet of the first adsorber
                                                 and design carbon replacement interval                  subpart O of this chapter;                            within 3 days of replacement to confirm
                                                 based on the total carbon working                          (C) Has submitted a Notification of                it is performing properly.
                                                 capacity of the control device and                      Compliance under § 63.1207(j) and                        (B) Based on the adsorber bed life
                                                 source operating schedule.                              complies with the requirements subpart                established according to paragraph
                                                    (vii) For a scrubber, the design                     EEE of this part; or                                  (d)(5)(i) of this section and the date the
                                                 evaluation shall consider the vent                         (D) Complies with the requirements                 adsorbent was last replaced, conduct
                                                 stream composition; constituent                                                                               monitoring to detect breakthrough at
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                                                                                                         subpart EEE of this part and will submit
                                                 concentrations; liquid-to-vapor ratio;                  a Notification of Compliance under                    least monthly if the adsorbent has more
                                                 scrubbing liquid flow rate and                          § 63.1207(j) by the date the owner or                 than 2 months of life remaining, at least
                                                 concentration; temperature; and the                     operator would have been required to                  weekly if the adsorbent has between 2
                                                 reaction kinetics of the constituents                   submit the initial performance test                   months and 2 weeks of life remaining,
                                                 with the scrubbing liquid. The design                   report for this subpart.                              and at least daily if the adsorbent has 2
                                                 evaluation shall establish the design                      (5) For each source as defined in                  weeks or less of life remaining.
                                                 exhaust vent stream organic compound                    § 63.101, beginning no later than the                 *       *    *     *     *


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                                                 ■ 81. Amend § 63.143 by revising                        document operating conditions during                     (2) Concentration in gas stream
                                                 paragraph (c) to read as follows:                       the test.                                             entering or exiting the control device.
                                                                                                         *      *     *    *     *                             The concentration of total organic
                                                 § 63.143 Process wastewater provisions—                                                                       hazardous air pollutants or TOC in a gas
                                                 inspections and monitoring of operations.                  (10) For each source as defined in
                                                                                                         § 63.101, beginning no later than the                 stream shall be determined as provided
                                                 *     *      *    *     *                                                                                     in this paragraph. Samples may be grab
                                                                                                         compliance dates specified in
                                                   (c) If the owner or operator elects to                                                                      samples or composite samples (i.e.,
                                                                                                         § 63.100(k)(10), the requirement of
                                                 comply with Item 1 in table 12 to this                                                                        integrated samples). Samples shall be
                                                                                                         paragraph (a)(3) of this section no longer
                                                 subpart, the owner or operator shall                                                                          taken at approximately equally spaced
                                                                                                         applies. Instead, owners and operators
                                                 request approval to monitor appropriate                                                                       time intervals over a 1-hour period.
                                                                                                         must comply with the conditions
                                                 parameters that demonstrate proper                                                                            Each 1-hour period constitutes a run,
                                                                                                         specified in § 63.103(b)(3)(ii) of subpart
                                                 operation of the biological treatment                                                                         and the performance test shall consist of
                                                                                                         F of this part.
                                                 unit. The request shall be submitted                                                                          a minimum of 3 runs. Concentration
                                                 according to the procedures specified in                *      *     *    *     *
                                                                                                                                                               measurements shall be determined
                                                 § 63.151(f), and shall include a                           (d) * * *                                          using Method 18 of appendix A–6 to 40
                                                 description of planned reporting and                       (4) Concentration in vented gas                    CFR part 60. ASTM D6420–18
                                                 recordkeeping procedures. The owner or                  stream exiting the combustion treatment               (incorporated by reference, see § 63.14)
                                                 operator shall include as part of the                   process. The concentration of table 8                 may also be used in lieu of Method 18,
                                                 submittal the basis for the selected                    and/or table 9 compounds exiting the                  if the target compounds are all known
                                                 monitoring frequencies and the methods                  combustion treatment process in any                   and are all listed in Section 1.1 of
                                                 that will be used. The Administrator                    vented gas stream shall be determined                 ASTM D6420–18 as measurable; ASTM
                                                 will specify appropriate reporting and                  as provided in this paragraph. Samples                D6420–18 must not be used for methane
                                                 recordkeeping requirements as part of                   may be grab samples or composite                      and ethane; and ASTM D6420–18 may
                                                 the review of the permit application or                 samples. Samples shall be taken at                    not be used as a total VOC method.
                                                 by other appropriate means.                             approximately equally spaced time                     Alternatively, any other test method
                                                 *     *      *    *     *                               intervals over a 1-hour period. Each 1-               validated according to the procedures in
                                                                                                         hour period constitutes a run, and the                Method 301 of appendix A to this part
                                                 ■ 82. Amend § 63.144 by adding
                                                                                                         performance test shall consist of a                   may be used.
                                                 paragraph (b)(5)(i)(I) to read as follows:
                                                                                                         minimum of 3 runs. Concentration
                                                                                                                                                               *       *    *      *      *
                                                 § 63.144 Process wastewater provisions—                 measurements shall be determined
                                                 test methods and procedures for                         using Method 18 of appendix A–6 to 40                    (6) * * *
                                                 determining applicability and Group 1/                  CFR part 60. ASTM D6420–18                               (i) Oxygen concentration. The
                                                 Group 2 determinations (determining which               (incorporated by reference, see § 63.14)              concentration of TOC or total organic
                                                 wastewater streams require control).                    may also be used in lieu of Method 18,                hazardous air pollutants shall be
                                                 *     *     *    *      *                               if the target compounds are all known                 corrected to 3 percent oxygen if the
                                                   (b) * * *                                             and are all listed in Section 1.1 of                  control device is a combustion device.
                                                   (5) * * *                                             ASTM D6420–18 as measurable; ASTM                     Method 3A of appendix A–2 to 40 CFR
                                                   (i) * * *                                             D6420–18 must not be used for methane                 part 60 or the manual method in ANSI/
                                                   (I) Methods for ethylene oxide.                       and ethane; and ASTM D6420–18 may                     ASME PTC 19.10–1981 (incorporated by
                                                 Methods specified in § 63.109(d) for                    not be used as a total VOC method.                    reference, see § 63.14) shall be used to
                                                 analysis of ethylene oxide in                           Alternatively, any other test method                  determine the actual oxygen
                                                 wastewater.                                             validated according to the procedures in              concentration (%02d). The samples
                                                                                                         Method 301 of appendix A to this part                 shall be taken during the same time that
                                                 *     *     *    *      *                                                                                     the TOC (minus methane or ethane) or
                                                                                                         may be used.
                                                 ■ 83. Amend § 63.145 by:                                                                                      total organic hazardous air pollutants
                                                                                                         *      *     *    *     *
                                                 ■ a. Revising paragraph (a)(3),                                                                               samples are taken.
                                                 ■ b. Adding paragraph (a)(10), and
                                                                                                            (i) Performance tests for control
                                                                                                         devices other than flares. This                       *       *    *      *      *
                                                 ■ c. Revising paragraphs (d)(4), (i)                                                                             (j) Except as specified in paragraph (a)
                                                                                                         paragraph applies to performance tests
                                                 introductory text, (i)(2), (i)(6)(i), and (j)                                                                 of § 63.108, when a flare is used to
                                                                                                         that are conducted to demonstrate
                                                 introductory text.                                                                                            comply with § 63.139(c), the owner or
                                                                                                         compliance of a control device with the
                                                   The revisions and additions read as                                                                         operator shall comply with paragraphs
                                                                                                         efficiency limits specified in § 63.139(c).
                                                 follows:                                                                                                      (j)(1) through (3) of this section. The
                                                                                                         If complying with the 95-percent
                                                 § 63.145 Process wastewater provisions—                 reduction efficiency requirement,                     owner or operator is not required to
                                                 test methods and procedures to determine                comply with the requirements specified                conduct a performance test to determine
                                                 compliance.                                             in paragraphs (i)(1) through (i)(9) of this           percent emission reduction or outlet
                                                   (a) * * *                                             section. If complying with the 20 ppm                 organic HAP or TOC concentration.
                                                   (3) Representative process unit                       by volume requirement, comply with                    *       *    *      *      *
                                                 operating conditions. Except as                         the requirements specified in                         ■ 84. Amend § 63.146 by revising
                                                 specified in paragraph (a)(10) of this                  paragraphs (i)(1) through (6) and (9) of              paragraphs (b)(7)(i) introductory text,
                                                 section, compliance shall be                            this section. The 20 ppm by volume                    (b)(7)(ii)(C), (b)(9)(ii), and revising and
                                                                                                         limit or 95-percent reduction efficiency
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                                                 demonstrated for representative                                                                               republishing paragraphs (d) and (e) to
                                                 operating conditions. Operations during                 requirement shall be measured as either               read as follows:
                                                 periods of startup, shutdown, or                        total organic hazardous air pollutants or
                                                 malfunction and periods of                              as TOC minus methane and ethane.                      § 63.146 Process wastewater provisions—
                                                                                                         Performance tests must be conducted                   reporting.
                                                 nonoperation shall not constitute
                                                 representative conditions. The owner or                 according to the schedule in                          *       *    *    *    *
                                                 operator shall record the process                       § 63.103(b)(1) of subpart F of this part.                 (b) * * *
                                                 information that is necessary to                        *      *     *    *     *                                 (7) * * *


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                                                    (i) Except as specified in paragraph (a)             range established in the Notification of                 (1) For flares, except as specified in
                                                 of § 63.108, for each flare, the owner or               Compliance Status or operating permit.                paragraph (a) of § 63.108, records of the
                                                 operator shall submit the information                   Include the identification of the                     times and duration of all periods during
                                                 specified in paragraphs (b)(7)(i)(A)                    biological treatment unit, the parameter              which the pilot flame is absent shall be
                                                 through (b)(7)(i)(C) of this section.                   that was out of range and the date that               kept rather than daily averages.
                                                 *       *    *      *     *                             the parameter is out of range.                           (2) Regenerative carbon adsorbers.
                                                    (ii) * * *                                              (2) For Item 2 in table 12, the owner              Except as specified in paragraph (d)(4)
                                                    (C) Results of the performance test                  or operator shall submit the monitoring               of this section, for regenerative carbon
                                                 specified in § 63.139(d)(1) of this                     results for each operating day during                 adsorbers, the owner or operator shall
                                                 subpart. Performance test results shall                 which the daily average value of a                    keep the records specified in paragraphs
                                                 include operating ranges of key process                 continuously monitored parameter is                   (d)(2)(i) and (ii) of this section instead
                                                 and control parameters during the                       outside the range established in the                  of daily averages.
                                                 performance test; the value of each                     Notification of Compliance Status or                     (i) Records of the total regeneration
                                                 parameter being monitored in                            operating permit. Include the                         stream mass flow for each carbon bed
                                                 accordance with § 63.143 of this                        identification of the treatment process,              regeneration cycle.
                                                 subpart; and applicable supporting                      the parameter that was out of range, and                 (ii) Records of the temperature of the
                                                 calculations. If the performance test                   the date the parameter was out of range.              carbon bed after each regeneration
                                                 report is submitted electronically                         (3) For Item 3 in table 12 of this                 cycle.
                                                 through the EPA’s CEDRI in accordance                   subpart, the owner or operator shall                     (3) Non-regenerative carbon
                                                 with § 63.152(h), the process unit(s)                   submit the monitoring results for each                adsorbers. Except as specified in
                                                 tested, the pollutant(s) tested, and the                operating day during which the daily                  paragraph (d)(4) of this section, for non-
                                                 date that such performance test was                     average value of any monitored                        regenerative carbon adsorbers using
                                                 conducted may be submitted in the                       parameter approved in accordance with                 organic monitoring equipment, the
                                                 notification of compliance status report                § 63.151 (f) was outside the range                    owner or operator shall keep the records
                                                 in lieu of the performance test results.                established in the Notification of                    specified in paragraph (d)(3)(i) of this
                                                 The performance test results must be                    Compliance Status or operating permit.                section instead of daily averages. For
                                                 submitted to CEDRI by the date the                      Include the identification of the                     non-regenerative carbon adsorbers
                                                 notification of compliance status report                treatment process, the parameter that                 replacing the carbon adsorption system
                                                 is submitted.                                           was out of range, and the date the                    with fresh carbon at a regular
                                                 *       *    *      *     *                             parameter was out of range.                           predetermined time interval that is less
                                                    (9) * * *                                               (e) Except as provided in paragraph (f)            than the carbon replacement interval
                                                    (ii) Results of the performance test                 of this section, for each control device              that is determined by the maximum
                                                 specified in § 63.138(j)(2) of this                     used to comply with §§ 63.133 through                 design flow rate and organic
                                                 subpart. Performance test results shall                 63.139, the owner or operator shall                   concentration in the gas stream vented
                                                 include operating ranges of key process                 submit as part of the next Periodic                   to the carbon adsorption system, the
                                                 and control parameters during the                       Report required by § 63.152(c) the                    owner or operator shall keep the records
                                                 performance test; the value of each                     information specified in either                       specified in paragraph (d)(3)(ii) of this
                                                 parameter being monitored in                            paragraph (e)(1) or (e)(2) of this section.           section instead of daily averages.
                                                 accordance with § 63.143 of this                           (1) The information specified in table                (i)(A) Record of how the monitoring
                                                 subpart; and applicable supporting                      20 of this subpart, including the date of             frequency, as specified in table 13 of
                                                 calculations. If the performance test                   each occurrence, or                                   this subpart, was determined.
                                                 report is submitted electronically                         (2) If the owner or operator elects to                (B) Records of when organic
                                                 through the EPA’s CEDRI in accordance                   comply with § 63.143(e)(2) of this                    compound concentration of adsorber
                                                 with § 63.152(h), the process unit(s)                   subpart, i.e., an organic monitoring                  exhaust was monitored.
                                                 tested, the pollutant(s) tested, and the                device installed at the outlet of the                    (C) Records of when the carbon was
                                                 date that such performance test was                     control device, the owner or operator                 replaced.
                                                 conducted may be submitted in the                       shall submit the date and the                            (ii)(A) Record of how the carbon
                                                 notification of compliance status report                monitoring results for each operating                 replacement interval, as specified in
                                                 in lieu of the performance test results.                day during which the daily average                    table 13 of this subpart, was determined.
                                                 The performance test results must be                    concentration level or reading is outside                (B) Records of when the carbon was
                                                 submitted to CEDRI by the date the                      the range established in the Notification             replaced.
                                                 notification of compliance status report                of Compliance Status or operating                        (4) For each nonregenerative adsorber
                                                 is submitted.                                           permit.                                               and regenerative adsorber that is
                                                                                                         *      *      *    *    *                             regenerated offsite subject to the
                                                 *       *    *      *     *
                                                    (d) Except as provided in paragraph                                                                        requirements in § 63.139(d)(5), the
                                                                                                         ■ 85. Amend § 63.147 by revising and                  owner or operator must keep the
                                                 (f) of this section, for each treatment                 republishing paragraph (d) to read as
                                                 process used to comply with                                                                                   applicable records specified in (d)(4)(i)
                                                                                                         follows:                                              through (d)(4)(iii) of this section.
                                                 § 63.138(b)(1), (c)(1), (d), (e), (f), or (g),
                                                 the owner or operator shall submit as                   § 63.147 Process wastewater provisions—                  (i) Breakthrough limit and bed life
                                                 part of the next Periodic Report required               recordkeeping.                                        established according to
                                                                                                         *     *     *    *      *                             § 63.139(d)(5)(i).
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                                                 by § 63.152(c) the information specified
                                                 in paragraphs (d)(1), (2), and (3) of this                (d) The owner or operator shall keep                   (ii) Each outlet HAP or TOC
                                                 section for the monitoring required by                  records of the daily average value of                 concentration measured according to
                                                 § 63.143(b), (c), and (d).                              each continuously monitored parameter                 §§ 63.139(d)(5)(ii) and (d)(5)(iii).
                                                    (1) For Item 1 in table 12, the owner                for each operating day as specified in                   (iii) Date and time you last replaced
                                                 or operator shall submit the results of                 § 63.152(f), except as provided in                    the adsorbent.
                                                 measurements that indicate that the                     paragraphs (d)(1) through (4) of this                 *       *    *     *      *
                                                 biological treatment unit is outside the                section.                                              ■ 86. Amend § 63.148 by:



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                                                 ■ a. Revising paragraphs (a), (b)                          (A) Except for pressure relief devices                (1) The information specified in
                                                 introductory text, (f) introductory text                subject to § 63.165(e)(4), equipment                  paragraph (i)(4) of this section;
                                                 and (f)(3);                                             such as low leg drains and equipment                     (2) Reports of the times of all periods
                                                 ■ b. Adding paragraph (f)(4);                           subject to the requirements of subpart H              recorded under paragraph (i)(3)(i) of this
                                                 ■ c. revising paragraph (i)(3)                          of this part are not subject to this                  section when the vent stream is diverted
                                                 introductory text and adding paragraph                  paragraph (f) of this section.                        from the control device through a
                                                 (i)(3)(iii); and                                           (B) Open-ended valves or lines that                bypass line, including the start date,
                                                 ■ d. Revising paragraphs (j) and (k).                   use a cap, blind flange, plug, or second              start time, and duration in hours; and
                                                    The revisions and additions read as                  valve and follow the requirements
                                                 follows:                                                                                                         (3) Reports of all periods recorded
                                                                                                         specified in 40 CFR 60.482–6(a)(2), (b),              under paragraph (i)(3)(ii) of this section
                                                 § 63.148   Leak inspection provisions.                  and (c) or follow requirements codified               in which the seal mechanism is broken,
                                                    (a) Except as provided in paragraph                  in another regulation that are the same               the bypass line valve position has
                                                 (k) of this section, for each vapor                     as 40 CFR 60.482–6(a)(2), (b), and (c) are            changed, or the key to unlock the bypass
                                                 collection system, closed vent system,                  not subject to this paragraph (f) of this             line valve was checked out. Include the
                                                 fixed roof, cover, or enclosure required                section.                                              start date, start time, and duration in
                                                 to comply with this section, the owner                  *       *     *    *     *                            hours for each period.
                                                 or operator shall comply with the                          (i) * * *                                             (4) For each source as defined in
                                                 requirements of paragraphs (b) through                     (3) For each vapor collection system               § 63.101, beginning no later than the
                                                 (j) of this section.                                    or closed vent system that contains                   compliance dates specified in
                                                    (b) Except as provided in paragraphs                 bypass lines that could divert a vent                 § 63.100(k)(10), the owner or operator
                                                 (g) and (h) of this section, each vapor                 stream away from the control device                   must comply with this paragraph in
                                                 collection system and closed vent                       and to the atmosphere, the owner or                   addition to the requirements in
                                                 system shall be inspected according to                  operator shall keep a record of the                   paragraphs (j)(1) through (3) of this
                                                 the procedures and schedule specified                   information specified in either                       section. For bypass lines subject to the
                                                 in paragraphs (b)(1) and (b)(2) of this                 paragraph (i)(3)(i) or (i)(3)(ii) of this             requirements in paragraph (f) of this
                                                 section and each fixed roof, cover, and                 section in addition to the information                section, the Periodic Report must
                                                 enclosure shall be inspected according                  specified in paragraph (i)(3)(iii) of this            include the start date, start time,
                                                 to the procedures and schedule                          section.                                              duration in hours, estimate of the
                                                 specified in paragraph (b)(3) of this                   *       *     *    *     *                            volume of gas in standard cubic feet, the
                                                 section.                                                   (iii) For each source as defined in                concentration of organic HAP in the gas
                                                 *       *     *     *     *                             § 63.101, beginning no later than the                 in parts per million by volume and the
                                                    (f) For each vapor collection system or              compliance dates specified in                         resulting mass emissions of organic
                                                 closed vent system that contains bypass                 § 63.100(k)(10), the owner or operator                HAP in pounds that bypass a control
                                                 lines that could divert a vent stream                   must comply with this paragraph in                    device. For periods when the flow
                                                 away from the control device and to the                 addition to the requirements in                       indicator is not operating, report the
                                                 atmosphere, the owner or operator shall                 paragraphs (i)(3)(i) or (i)(3)(ii) of this            start date, start time, and duration in
                                                 comply with the provisions of either                    section. For each flow event from a                   hours.
                                                 paragraph (f)(1) or (f)(2), and (f)(4) of               bypass line subject to the requirements                  (k) If a closed vent system subject to
                                                 this section, except as provided in                     in paragraph (f) of this section, the                 this section is also subject to § 63.172,
                                                 paragraph (f)(3) of this section.                       owner or operator must maintain                       the owner or operator shall comply with
                                                 *       *     *     *     *                             records sufficient to determine whether               the provisions of § 63.172 and is exempt
                                                    (3) Except as specified in paragraph                 or not the detected flow included flow                from the requirements of this section.
                                                 (f)(4) of this section, equipment such as               requiring control. For each flow event
                                                 low leg drains, high point bleeds,                                                                            ■ 87. Amend § 63.150 by revising
                                                                                                         from a bypass line requiring control that
                                                 analyzer vents, open-ended valves or                                                                          paragraphs (f)(2), (g)(2)(ii),
                                                                                                         is released either directly to the
                                                 lines, and pressure relief valves needed                                                                      (g)(2)(iii)(B)(2), (m)(1)(ii) and (m)(2)(i) to
                                                                                                         atmosphere or to a control device not
                                                 for safety purposes are not subject to                                                                        read as follows:
                                                                                                         meeting the requirements in this
                                                 this paragraph.                                         subpart, the owner or operator must                   § 63.150   Emissions averaging provisions.
                                                    (4) For each source as defined in
                                                                                                         include an estimate of the volume of                  *       *    *     *     *
                                                 § 63.101, beginning no later than the
                                                                                                         gas, the concentration of organic HAP in                 (f) * * *
                                                 compliance dates specified in
                                                                                                         the gas and the resulting emissions of
                                                 § 63.100(k)(10):                                                                                                 (2) Periods of start-up, shutdown, and
                                                    (i) The use of a bypass line at any time             organic HAP that bypassed the control
                                                                                                         device using process knowledge and                    malfunction as described in the source’s
                                                 on a closed vent system to divert                                                                             start-up, shutdown, and malfunction
                                                 emissions (subject to the emission                      engineering estimates.
                                                                                                                                                               plan required by § 63.6(e)(3). For each
                                                 suppression requirements specified in                   *       *     *    *     *                            source as defined in § 63.101, on and
                                                 §§ 63.133 through 63.137) to the                           (j) The owner or operator shall submit             after July 15, 2027, this paragraph no
                                                 atmosphere or to a control device not                   with the reports required by § 63.182(b)              longer applies.
                                                 meeting the requirements specified in                   of subpart H of this part or with the
                                                                                                         reports required by § 63.152(c) of this               *       *    *     *     *
                                                 this subpart is an emissions standards
                                                 violation.                                              subpart, the information specified in                    (g) * * *
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                                                    (ii) Paragraph (f)(3) of this section no             paragraphs (j)(1) through (3) of this                    (2) * * *
                                                 longer applies. Instead, the exemptions                 section and if applicable, the                           (ii) The following equation shall be
                                                 specified in paragraphs (f)(4)(ii)(A) and               information in paragraph (j)(4) of this               used for each process vent i to calculate
                                                 (f)(4)(ii)(B) of this section apply.                    section.                                              EPViu:




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                                                 Where:                                                  § 63.151   Initial notification.                      compliance status report in lieu of the
                                                 EPViu = Uncontrolled process vent emission              *      *    *     *     *                             performance test results. The
                                                      rate from process vent i, megagrams per               (d) * * *                                          performance test results must be
                                                      month.                                                (6) * * *                                          submitted to CEDRI by the date the
                                                 Q = Vent stream flow rate, dry standard cubic              (i) The values of the parameters used              notification of compliance status report
                                                      meters per minute, measured using                  to determine whether the emission                     is submitted.
                                                      Method 2, 2A, 2C, or 2D of part 60,
                                                      appendix A, as appropriate.
                                                                                                         point is Group 1 or Group 2. Except as                *       *     *    *      *
                                                 h = Monthly hours of operation during which             specified in § 63.113(a)(4), where TRE                   (7) For flares subject to the
                                                      positive flow is present in the vent,              index value is used for process vent                  requirements in § 63.108, owners and
                                                      hours per month.                                   group determination, the estimated or                 operators must also submit the
                                                 Cj = Concentration, parts per million by                measured values of the parameters used                information in this paragraph in a
                                                      volume, dry basis, of organic HAP j as             in the TRE equation in § 63.115(d) (flow              supplement to the Notification of
                                                      measured by Method 18 of part 60,                  rate, organic HAP emission rate, TOC                  Compliance Status within 150 days after
                                                      appendix A, or ASTM D6420–18                       emission rate, and net heating value)                 the first applicable compliance date for
                                                      (incorporated by reference, see § 63.14).          and the resulting TRE index value shall               flare monitoring. The supplement to the
                                                 Mj = Molecular weight of organic HAP j,
                                                      gram per gram-mole.
                                                                                                         be submitted.                                         Notification of Compliance Status must
                                                 n = Number of organic HAP’s.                            *      *    *     *     *                             include flare design (e.g., steam-
                                                                                                            (v) The operating plan required in                 assisted, air-assisted, non-assisted, or
                                                    (A) The values of Q, Cj, and Mj shall                § 63.122(a)(2) and (b) for each storage               pressure-assisted multi-point); all
                                                 be determined during a performance test                 vessel controlled with a closed vent                  visible emission readings, heat content
                                                 conducted under representative                          system with a control device other than               determinations, flow rate
                                                 operating conditions as specified in                    a flare.                                              measurements, and exit velocity
                                                 § 63.103(b)(3). The values of Q, Cj, and                                                                      determinations made during the initial
                                                                                                         *      *    *     *     *
                                                 Mj shall be established in the                                                                                visible emissions demonstration
                                                 Notification of Compliance Status and                   ■ 89. Amend § 63.152 by:
                                                                                                         ■ a. Revising paragraph (b)(1)(i);
                                                                                                                                                               required by § 63.670(h) of subpart CC of
                                                 must be updated as provided in                                                                                this part, as applicable; and all periods
                                                                                                         ■ b. Adding paragraphs (b)(7) through
                                                 paragraph (g)(2)(ii)(B) of this section.                                                                      during the compliance determination
                                                                                                         (b)(10);
                                                 *       *    *    *     *                               ■ c. Revising and republishing                        when the pilot flame or flare flame is
                                                    (iii) * * *                                          paragraph (c);                                        absent.
                                                    (B) * * *                                            ■ d. Revising paragraphs (d)(1), (f)                     (8) For process vents and storage
                                                    (2) For determining debits from Group                introductory text and (f)(7) introductory             vessels subject to the requirements of
                                                 1 process vents, recovery devices shall                 text;                                                 § 63.124, owners and operators must
                                                 not be considered control devices and                   ■ e. Adding paragraph (f)(7)(vi);                     also submit the information in this
                                                 cannot be assigned a percent reduction                  ■ f. Revising and republishing                        paragraph in a supplement to the
                                                 in calculating EPViACTUAL. The sampling                 paragraphs (g)(1) and (2); and                        Notification of Compliance Status
                                                 site for measurement of uncontrolled                    ■ g. Adding paragraph (h) as follows:                 within 150 days after the first applicable
                                                 emissions is after the final recovery                                                                         compliance date. The supplement to the
                                                                                                         § 63.152 General reporting and continuous             Notification of Compliance Status must
                                                 device. However, as provided in                         records.
                                                 § 63.113(a)(3), except as specified in                                                                        identify all process vents and storage
                                                                                                         *      *     *    *    *                              vessels that are in ethylene oxide
                                                 § 63.113(a)(4), a Group 1 process vent
                                                                                                            (b) * * *                                          service as defined in § 63.101, the
                                                 may add sufficient recovery to raise the                   (1) * * *
                                                 TRE index value above 1.0, thereby                                                                            method(s) used to control ethylene
                                                                                                            (i) For performance tests and group                oxide emissions from each process vent
                                                 becoming a Group 2 process vent.                        determinations that are based on                      and storage vessel (i.e., use of a flare,
                                                 *       *    *    *     *                               measurements, the Notification of                     scrubber, or other control device) and
                                                    (m) * * *                                            Compliance Status shall include one                   the information specified in paragraphs
                                                    (1) * * *                                            complete test report for each test                    (b)(8)(i) and (b)(8)(ii) of this section, as
                                                    (ii) Conduct performance tests to                    method used for a particular kind of                  applicable.
                                                 determine percent reduction as                          emission point. For additional tests                     (i) For process vents, all uncontrolled,
                                                 specified in § 63.116 of this subpart;                  performed for the same kind of emission               undiluted ethylene oxide concentration
                                                 *       *    *    *     *                               point using the same method, the results              measurements, and the calculations
                                                    (2) * * *                                            and any other information required in                 used to determine the total uncontrolled
                                                                                                         § 63.117 for process vents, § 63.129 for              ethylene oxide mass emission rate for
                                                    (i) Except as specified in
                                                                                                         transfer, and § 63.146 for process                    the sum of all vent gas streams; and
                                                 § 63.113(a)(4), determine, consistent
                                                                                                         wastewater shall be submitted, but a                     (ii) For storage vessels, include the
                                                 with paragraph (g)(2)(i) of this section,
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                                                                                                         complete test report is not required. If              concentration of ethylene oxide of the
                                                 the flow rate, organic HAP
                                                                                                         the performance test report is submitted              fluid stored in each storage vessel.
                                                 concentration, and TRE index value
                                                                                                         electronically through the EPA’s CEDRI                   (9) For adsorbers subject to the
                                                 using the methods specified in § 63.115;
                                                                                                         in accordance with paragraph (h) of this              requirements of §§ 63.114(a)(5)(v),
                                                 *       *    *    *     *                               section, the process unit(s) tested, the              63.120(d)(1)(iii), 63.127(b)(4), and
                                                 ■ 88. Amend § 63.151 by revising                        pollutant(s) tested, and the date that                63.139(d)(5), you must also submit the
                                                 paragraphs (d)(6)(i) and (d)(6)(v) as                   such performance test was conducted                   information listed in paragraphs (b)(9)(i)
                                                                                                                                                                                                              ER16MY24.087</GPH>




                                                 follows:                                                may be submitted in the notification of               and (ii) of this section in a supplement


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                                                 to the Notification of Compliance Status                beginning and ending dates of the                     hour of data due to insufficient
                                                 within 150 days after the first applicable              reporting period.                                     monitoring data.
                                                 compliance date.                                           (2) Except as provided in paragraph                   (4) Monitoring data are insufficient to
                                                    (i) Whether the adsorber cannot be                   (c)(2)(iv) of this section, for an owner or           constitute a valid hour of data, as used
                                                 regenerated or is a regenerative                        operator of a source complying with the               in paragraphs (c)(2)(ii)(A)(2) and
                                                 adsorber(s) that is regenerated offsite.                provisions of §§ 63.113 through 63.147                (c)(2)(ii)(A)(3) of this section, if
                                                    (ii) The breakthrough limit and                      for any emission points, Periodic                     measured values are unavailable for any
                                                 adsorber bed life established during the                Reports shall include all information                 of the 15-minute periods within the
                                                 initial performance test or design                      specified in §§ 63.117 and 63.118 for                 hour. For data compression systems
                                                 evaluation of the adsorber.                             process vents, § 63.122 for storage                   approved under § 63.151(g)(4),
                                                    (10) For Group 2 process vents subject               vessels, §§ 63.129 and 63.130 for                     monitoring data are insufficient to
                                                 to the requirements in § 63.113(l),                     transfer operations, and § 63.146 for                 calculate a valid hour of data if there are
                                                 owners and operators must also submit                   process wastewater, including reports of              less than 4 data values recorded during
                                                 the information in this paragraph in a                  each excursion (i.e., each period when                the hour.
                                                 supplement to the Notification of                       a monitored parameter is outside the                     (B) The number of excused excursions
                                                 Compliance Status within 150 days after                 established range and periods of                      for each control device or recovery
                                                 the first applicable compliance date.                   insufficient monitoring data) using the               device for each semiannual period is
                                                 The supplement to the Notification of                   procedures described in paragraphs                    specified in paragraphs (c)(2)(ii)(B)(1)
                                                 Compliance Status must identify each                    (c)(2)(i) through (c)(2)(iv) of this section.         through (c)(2)(ii)(B)(6) of this section.
                                                 Group 2 process vent and include the                                                                          This paragraph applies to sources
                                                                                                            (i) Report the affected sources or
                                                 data and calculations specified in                                                                            required to submit Periodic Reports
                                                                                                         equipment, the monitored parameter
                                                 § 63.115(g) that are used to demonstrate                                                                      semiannually or quarterly. The first
                                                                                                         that was exceeded and the date of each
                                                 that the total organic HAP mass flow
                                                                                                         excursion.                                            semiannual period is the 6-month
                                                 rate of each vent stream is less than 1.0
                                                                                                            (ii) The parameter monitoring data for             period starting the date the Notification
                                                 pound per hour.
                                                    (c) The owner or operator of a source                Group 1 emission points and emission                  of Compliance Status is due.
                                                 subject to this subpart shall submit                    points included in emissions averages                    (1) For the first semiannual period—
                                                 Periodic Reports. On and after July 15,                 that are required to perform continuous               six excused excursions.
                                                 2027 or once the reporting template for                 monitoring shall be used to determine                    (2) For the second semiannual
                                                 this subpart has been available on the                  compliance with the required operating                period—five excused excursions.
                                                 CEDRI website for 1 year, whichever                     conditions for the monitored control                     (3) For the third semiannual period—
                                                 date is later, owners and operators must                devices or recovery devices. For each                 four excused excursions.
                                                 submit all subsequent reports following                 excursion as specified in paragraphs                     (4) For the fourth semiannual
                                                 the procedure specified in § 63.9(k),                   (c)(2)(ii)(A) through (c)(2)(ii)(E) of this           period—three excused excursions.
                                                 except any medium submitted through                     section, or paragraph (g)(2)(iv) of this                 (5) For the fifth semiannual period—
                                                 mail must be sent to the attention of the               section, except for excused excursions                two excused excursions.
                                                 Hazardous Organic Chemical                              described therein, the owner or operator                 (6) For the sixth and all subsequent
                                                 Manufacturing Sector Lead. Owners and                   shall be deemed to have failed to have                semiannual periods—one excused
                                                 operators must use the appropriate                      applied the control in a manner that                  excursion.
                                                 electronic report template on the CEDRI                 achieves the required operating                          (C) A monitored parameter that is
                                                 website (https://www.epa.gov/                           conditions and must report the                        outside its established range or
                                                 electronic-reporting-air-emissions/cedri)               information specified in paragraph                    monitoring data that are not collected
                                                 for this subpart. The date report                       (c)(2)(ii)(F) of this section.                        are excursions. However, if the
                                                 templates become available will be                         (A) An excursion means any of the                  conditions in paragraph (c)(2)(ii)(C)(1)
                                                 listed on the CEDRI website. Unless the                 three cases listed in paragraph                       or (c)(2)(ii)(C)(2) of this section are met,
                                                 Administrator or delegated state agency                 (c)(2)(ii)(A)(1), (c)(2)(ii)(A)(2), or                these excursions are not violations and
                                                 or other authority has approved a                       (c)(2)(ii)(A)(3) of this section. For a               do not count toward the number of
                                                 different schedule for submission of                    control device or recovery device where               excused excursions for determining
                                                 reports under § 63.9(i) and § 63.10(a),                 multiple parameters are monitored, if                 compliance.
                                                 the report must be submitted by the                     one or more of the parameters meets the                  (1) Periods of startup, shutdown, or
                                                 deadline specified in this subpart,                     excursion criteria in paragraph                       malfunction. During periods of startup,
                                                 regardless of the method in which the                   (c)(2)(ii)(A)(1), (c)(2)(ii)(A)(2), or                shutdown, or malfunction when the
                                                 report is submitted.                                    (c)(2)(ii)(A)(3) of this section, this is             source is operated during such periods
                                                    (1) Except as specified under                        considered a single excursion for the                 in accordance with § 63.102(a)(4). For
                                                 paragraphs (c)(5) and (c)(6) of this                    control device or recovery device.                    each source as defined in § 63.101, on
                                                 section, a report containing the                           (1) When the daily average value of                and after July 15, 2027, this paragraph
                                                 information in paragraphs (c)(2), (c)(3),               one or more monitored parameters is                   no longer applies.
                                                 (c)(4), and (c)(7) of this section shall be             outside the permitted range.                            (2) Periods of nonoperation. During
                                                 submitted semiannually no later than 60                    (2) When the period of control device              periods of nonoperation of the chemical
                                                 calendar days after the end of each 6-                  or recovery device operation is 4 hours               manufacturing process unit, or portion
                                                 month period. The first report shall be                 or greater in an operating day and                    thereof, that results in cessation of the
                                                 submitted no later than 8 months after                  monitoring data are insufficient to                   emissions to which the monitoring
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                                                 the date the Notification of Compliance                 constitute a valid hour of data for at                applies.
                                                 Status is due and shall cover the 6-                    least 75 percent of the operating hours.                (D) Nothing in paragraph (c)(2)(ii) of
                                                 month period beginning on the date the                     (3) When the period of control device              this section shall be construed to allow
                                                 Notification of Compliance Status is                    or recovery device operation is less than             or excuse a monitoring parameter
                                                 due. All periodic reports must contain                  4 hours in an operating day and more                  excursion caused by any activity that
                                                 the company name and address                            than one of the hours during the period               violates other applicable provisions of
                                                 (including county), as well as the                      of operation does not constitute a valid              subpart A, F, or G of this part.


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                                                    (E) Paragraph (c)(2)(ii) of this section,            EPA’s CEDRI in accordance with                        The performance test results must be
                                                 except paragraph (c)(2)(ii)(C) of this                  paragraph (h) of this section, the process            submitted to CEDRI by the date the
                                                 section, shall apply only to emission                   unit(s) tested, the pollutant(s) tested,              Periodic Report is submitted.;
                                                 points and control devices or recovery                  and the date that such performance test                  (E) Reports of daily average values of
                                                 devices for which continuous                            was conducted may be submitted in the                 monitored parameters for both excused
                                                 monitoring is required by §§ 63.113                     Periodic Report in lieu of the                        and unexcused excursions as defined in
                                                 through 63.150.                                         performance test results. The                         paragraph (c)(2)(ii)(A) of this section.
                                                    (F) For each source as defined in                    performance test results must be                      For excursions caused by lack of
                                                 § 63.101, beginning no later than the                   submitted to CEDRI by the date the                    monitoring data, the duration of periods
                                                 compliance dates specified in                           Periodic Report is submitted.                         when monitoring data were not
                                                 § 63.100(k)(10), for each excursion that                   (4) Periodic Reports shall include the             collected shall be specified. Include the
                                                 is not an excused excursion, the report                 information in paragraphs (c)(4)(i)                   affected sources or equipment,
                                                 must include a list of the affected                     through (iv) of this section, as                      monitored parameter, and the date for
                                                 sources or equipment, the monitored                     applicable:                                           each excursion.
                                                 parameter for which there was an                           (i) For process vents, reports of                     (iii) Paragraphs (c)(2)(i) through (iii) of
                                                 excursion, the date of the excursion, an                process changes as required under                     this section shall govern the use of
                                                 estimate of the quantity in pounds of                   § 63.118(g), (h), (i), and (j),                       monitoring data to determine
                                                 each regulated pollutant emitted over                      (ii) Any supplements required under                compliance for Group 1 and Group 2
                                                 any emission limit, a description of the                § 63.151(i) and (j),                                  points included in emissions averages.
                                                 method used to estimate the emissions,                     (iii) Notification if any Group 2
                                                                                                                                                               For storage vessels to which the
                                                 the cause of the excursion (including                   emission point becomes a Group 1
                                                                                                                                                               provisions of paragraphs (c)(2)(i)
                                                 unknown cause, if applicable), as                       emission point, including a compliance
                                                                                                                                                               through (iii) of this section do not apply
                                                 applicable, and the corrective action                   schedule as required in § 63.100, and
                                                                                                            (iv) For gas streams sent for disposal             (as specified in paragraph (c)(2)(iv) of
                                                 taken.
                                                    (iii) Periodic Reports shall include the             pursuant to § 63.113(i) or for process                this section), the owner or operator is
                                                 daily average values of monitored                       wastewater streams sent for treatment                 required to comply with the provisions
                                                 parameters for both excused and                         pursuant to § 63.132(g), reports of                   of the applicable monitoring plan, and
                                                 unexcused excursions, as defined in                     changes in the identity of the transferee.            monitoring records may be used to
                                                 paragraph (c)(2)(ii)(A) of this section.                   (5) The owner or operator of a source              determine compliance.
                                                 For excursions caused by lack of                        shall submit quarterly reports for all                   (iv) Every fourth quarterly report shall
                                                 monitoring data, the affected equipment                 emission points included in an                        include the following:
                                                 or source, the monitored parameter, the                 emissions average.                                       (A) A demonstration that annual
                                                 start date and duration in hours of                        (i) The quarterly reports shall be                 credits are greater than or equal to
                                                 periods when monitoring data were not                   submitted no later than 60 calendar                   annual debits as required by
                                                 collected shall be specified.                           days after the end of each quarter. The               § 63.150(e)(3); and
                                                    (iv) The provisions of paragraphs                    first report shall be submitted with the                 (B) A certification of compliance with
                                                 (c)(2) of this section, and (c)(2)(i)                   Notification of Compliance Status no                  all the emissions averaging provisions
                                                 through (iii) of this section, do not apply             later than 5 months after the compliance              in § 63.150.
                                                 to any storage vessel for which the                     date specified in § 63.100.                              (6) The owner or operator of a source
                                                 owner or operator is not required, by the                  (ii) The quarterly reports shall include           shall submit reports quarterly for
                                                 applicable monitoring plan established                  the information specified in this                     particular emission points not included
                                                 under § 63.120(d)(2), to keep continuous                paragraph for all emission points                     in an emissions average under the
                                                 records. If continuous records are                      included in an emissions average.                     circumstances described in paragraphs
                                                 required, the owner or operator shall                      (A) The credits and debits calculated              (c)(6)(i) through (v) of this section.
                                                 specify, in the monitoring plan, whether                each month during the quarter;                           (i) The owner or operator of a source
                                                 the provisions of paragraphs (c)(2) of                     (B) A demonstration that debits
                                                                                                                                                               subject to this subpart shall submit
                                                 this section, and (c)(2)(i) through (iii) of            calculated for the quarter are not more
                                                                                                                                                               quarterly reports for a period of one year
                                                 this section apply.                                     than 1.30 times the credits calculated
                                                                                                                                                               for an emission point that is not
                                                    (3) Except as specified in paragraph                 for the quarter, as required under
                                                                                                                                                               included in an emissions average if:
                                                 (c)(3)(iii) of this section, if any                     § 63.150(e)(4).
                                                                                                            (C) The values of any inputs to the                   (A) The emission point has more
                                                 performance tests are reported in a
                                                                                                         credit and debit equations in § 63.150(g)             excursions, as defined in paragraph
                                                 Periodic Report, the following
                                                                                                         and (h) that change from month to                     (c)(2)(ii) of this section, than the number
                                                 information shall be included:
                                                    (i) One complete test report shall be                month during the quarter or that have                 of excused excursions allowed under
                                                 submitted for each test method used for                 changed since the previous quarter;                   paragraph (c)(2)(ii)(B) of this section for
                                                 a particular kind of emission point                        (D) Results of any performance tests               a semiannual reporting period; and
                                                 tested. A complete test report shall                    conducted during the reporting period                    (B) The Administrator requests the
                                                 contain the information specified in                    including one complete report for each                owner or operator to submit quarterly
                                                 paragraph (b)(1)(ii) of this section.                   test method used for a particular kind of             reports for the emission point.
                                                    (ii) For additional tests performed for              emission point as described in                           (ii) The quarterly reports shall include
                                                 the same kind of emission point using                   paragraph (c)(3) of this section. If the              all information in paragraphs (c)(2), (3),
                                                                                                         performance test report is submitted                  and (4) of this section applicable to the
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                                                 the same method, results and any other
                                                 information required in § 63.117 for                    electronically through the EPA’s CEDRI                emission point(s) for which quarterly
                                                 process vents, § 63.129 for transfer, and               in accordance with paragraph (h) of this              reporting is required under paragraph
                                                 § 63.146 for process wastewater shall be                section, the process unit(s) tested, the              (c)(6)(i) of this section. Information
                                                 submitted, but a complete test report is                pollutant(s) tested, and the date that                applicable to other emission points
                                                 not required.                                           such performance test was conducted                   within the source shall be submitted in
                                                    (iii) If the performance test report is              may be submitted in the Periodic Report               the semiannual reports required under
                                                 submitted electronically through the                    in lieu of the performance test results.              paragraph (c)(1) of this section.


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                                                    (iii) Quarterly reports shall be                     recorded during periods identified in                    (C) The running average reflects a
                                                 submitted no later than 60 calendar                     paragraphs (f)(7)(i) through (f)(7)(v) of             period of operation other than a startup,
                                                 days after the end of each quarter.                     this section shall not be included in any             shutdown, or malfunction. For each
                                                    (iv) After quarterly reports have been               average computed under this subpart.                  source as defined in § 63.101, on and
                                                 submitted for an emission point for one                 Records shall be kept of the times and                after July 15, 2027, the phrase ‘‘other
                                                 year, the owner or operator may return                  durations of all such periods and any                 than a startup, shutdown, or
                                                 to semiannual reporting for the emission                other periods during process or control               malfunction’’ in this paragraph no
                                                 point unless the Administrator requests                 device operation when monitors are not                longer applies.
                                                 the owner or operator to continue to                    operating.                                               (iii) The monitoring system is capable
                                                 submit quarterly reports.                               *       *    *     *     *                            of detecting unchanging data during
                                                    (v) Paragraphs (c)(2)(i) through (iii) of               (vi) For each source as defined in                 periods of operation other than startups,
                                                 this section shall govern the use of                    § 63.101, on and after July 15, 2027,                 shutdowns, or malfunctions, except in
                                                 monitoring data to determine                            paragraphs (f)(7)(ii) through (f)(7)(iv) no           circumstances where the presence of
                                                 compliance for Group 1 emission                         longer apply.                                         unchanging data is the expected
                                                 points. For storage vessels to which the                   (g) * * *                                          operating condition based on past
                                                 provisions of paragraphs (c)(2)(i)                         (1) The owner or operator may retain               experience (e.g., pH in some scrubbers),
                                                 through (iii) of this section do not apply              only the daily average value, and is not              and will alert the operator by alarm or
                                                 (as specified in paragraph (c)(2)(iv) of                required to retain more frequent                      other means. The owner or operator
                                                 this section), the owner or operator is                 monitored operating parameter values,                 shall record the occurrence. All
                                                 required to comply with the provisions                  for a monitored parameter with respect                instances of the alarm or other alert in
                                                 of the applicable monitoring plan, and                  to an item of equipment, if the                       an operating day constitute a single
                                                 monitoring records may be used to                       requirements of paragraphs (g)(1)(i)                  occurrence. For each source as defined
                                                 determine compliance.                                   through (vi) of this section are met. An              in § 63.101, on and after July 15, 2027,
                                                    (7) The information specified in                     owner or operator electing to comply                  the phrase ‘‘other than startups,
                                                 § 63.108(l)(2) of subpart F of this part.               with the requirements of paragraph                    shutdowns, or malfunctions’’ in this
                                                    (d) * * *                                            (g)(1) of this section shall notify the               paragraph no longer applies.
                                                    (1) Reports of start-up, shutdown, and               Administrator in the Notification of                     (iv) The monitoring system will alert
                                                 malfunction required by § 63.10(d)(5).                  Compliance Status or, if the Notification             the owner or operator by an alarm or
                                                 The start-up, shutdown and malfunction                  of Compliance Status has already been                 other means, if the running average
                                                 reports may be submitted on the same                    submitted, in the periodic report                     parameter value calculated under
                                                 schedule as the Periodic Reports                        immediately preceding implementation                  paragraph (g)(1)(ii) of this section
                                                 required under paragraph (c) of this                    of the requirements of paragraph (g)(1)               reaches a set point that is appropriately
                                                 section instead of the schedule specified               of this section.                                      related to the established limit for the
                                                 in § 63.10(d)(5). For each source as                       (i) The monitoring system is capable               parameter that is being monitored.
                                                 defined in § 63.101, on and after July 15,              of detecting unrealistic or impossible                   (v) The owner or operator shall verify
                                                 2027, this paragraph no longer applies.                 data during periods of operation other                the proper functioning of the monitoring
                                                                                                         than startups, shutdowns, or                          system, including its ability to comply
                                                 *       *    *      *    *
                                                                                                         malfunctions (e.g., a temperature                     with the requirements of paragraph
                                                    (f) Owners or operators required to
                                                                                                         reading of ¥200 °C on a boiler), and                  (g)(1) of this section, at the times
                                                 keep continuous records by §§ 63.118,
                                                                                                         will alert the operator by alarm or other             specified in paragraphs (g)(1)(v)(A)
                                                 63.130, 63.147, 63.150, or other sections
                                                                                                         means. The owner or operator shall                    through (C) of this section. The owner
                                                 of this subpart shall keep records as
                                                                                                         record the occurrence. All instances of               or operator shall document that the
                                                 specified in paragraphs (f)(1) through
                                                                                                         the alarm or other alert in an operating              required verifications occurred.
                                                 (f)(7) of this section, unless an
                                                                                                         day constitute a single occurrence. For                  (A) Upon initial installation.
                                                 alternative recordkeeping system has                    each source as defined in § 63.101, on                   (B) Annually after initial installation.
                                                 been requested and approved under                       and after July 15, 2027, the phrase                      (C) After any change to the
                                                 § 63.151(f) or (g) or § 63.152(e) or under              ‘‘other than startups, shutdowns, or                  programming or equipment constituting
                                                 § 63.8(f), and except as provided in                    malfunctions (e.g., a temperature                     the monitoring system, which might
                                                 paragraph (c)(2)(ii)(C) of this section or              reading of ¥200 °C on a boiler),’’ in this            reasonably be expected to alter the
                                                 in paragraph (g) of this section. If a                  paragraph no longer applies.                          monitoring system’s ability to comply
                                                 monitoring plan for storage vessels                        (ii) The monitoring system generates,              with the requirements of this section.
                                                 pursuant to § 63.120(d)(2)(i) requires                  updated at least hourly throughout each                  (vi) The owner or operator shall retain
                                                 continuous records, the monitoring plan                 operating day, a running average of the               the records identified in paragraphs
                                                 shall specify which provisions, if any, of              monitoring values that have been                      (g)(1)(vi)(A) through (C) of this section.
                                                 paragraphs (f)(1) through (f)(7) of this                obtained during that operating day, and                  (A) Identification of each parameter,
                                                 section apply. Any records required to                  the capability to observe this average is             for each item of equipment, for which
                                                 be maintained by this part that are                     readily available to the Administrator                the owner or operator has elected to
                                                 submitted electronically via the EPA’s                  on-site during the operating day. The                 comply with the requirements of
                                                 CEDRI may be maintained in electronic                   owner or operator shall record the                    paragraph (g) of this section.
                                                 format. This ability to maintain                        occurrence of any period meeting the                     (B) A description of the applicable
                                                 electronic copies does not affect the                   criteria in paragraphs (g)(1)(ii)(A)                  monitoring system(s), and of how
                                                 requirement for facilities to make                                                                            compliance will be achieved with each
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                                                                                                         through (C) of this section. All instances
                                                 records, data, and reports available                    in an operating day constitute a single               requirement of paragraph (g)(1)(i)
                                                 upon request to a delegated air agency                  occurrence.                                           through (g)(1)(v) of this section. The
                                                 or the EPA as part of an on-site                           (A) The running average is above the               description shall include monitoring
                                                 compliance evaluation.                                  maximum or below the minimum                          equipment manufacturer(s) and model
                                                 *       *    *      *    *                              established limits;                                   number(s) and the pollutant or
                                                    (7) Except as specified in paragraph                    (B) The running average is based on                parameter monitored, and identify the
                                                 (f)(7)(vi) of this section monitoring data              at least 6 1-hour average values; and                 location and format (e.g., on-line


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                                                 storage; log entries) for each required                  the parameter limit and the monitoring                        during such periods in accordance with
                                                 record. If the description changes, the                  was required and/or approved by the                           § 63.102(a)(4). For each source as
                                                 owner or operator shall retain both the                  Administrator.                                                defined in § 63.101, on and after July 15,
                                                 current and the most recent superseded                      (i) If the owner or operator elects not                    2027, this paragraph no longer applies.
                                                 description. The description, and the                    to retain the daily average values, the                          (B) An excused excursion, as
                                                 most recent superseded description,                      owner or operator shall notify the                            described in § 63.152(c)(2)(ii)(B) and (C),
                                                 shall be retained as provided in                         Administrator in the next periodic                            shall not be considered an excursion for
                                                 § 63.103(c) of subpart F of this part,                   report. The notification shall identify                       purposes of this paragraph (g)(2).
                                                 except as provided in paragraph                          the parameter and unit of equipment.                             (h) Beginning no later than July 15,
                                                 (g)(1)(vi)(D) of this section.                              (ii) If, on any operating day after the
                                                                                                                                                                        2024, owners and operators must submit
                                                    (C) A description, and the date, of any               owner or operator has ceased recording
                                                                                                                                                                        performance test reports in accordance
                                                 change to the monitoring system that                     daily averages as provided in paragraph
                                                                                                                                                                        with this paragraph. Unless otherwise
                                                 would reasonably be expected to affect                   (g)(2) of this section, there is an
                                                                                                                                                                        specified in this subpart, within 60 days
                                                 its ability to comply with the                           excursion as defined in paragraph
                                                                                                                                                                        after the date of completing each
                                                 requirements of paragraph (g)(1) of this                 (g)(2)(iv) of this section, the owner or
                                                                                                                                                                        performance test required by this
                                                 section.                                                 operator shall immediately resume
                                                                                                                                                                        subpart, owners and operators must
                                                    (D) Owners and operators subject to                   retaining the daily average value for
                                                                                                          each day, and shall notify the                                submit the results of the performance
                                                 paragraph (g)(1)(vi)(B) of this section                                                                                test following the procedures specified
                                                 shall retain the current description of                  Administrator in the next periodic
                                                                                                          report. The owner or operator shall                           in § 63.9(k). Data collected using test
                                                 the monitoring system as long as the                                                                                   methods supported by the EPA’s
                                                 description is current, but not less than                continue to retain each daily average
                                                                                                          value until another period of 6                               Electronic Reporting Tool (ERT) as
                                                 5 years from the date of its creation. The                                                                             listed on the EPA’s ERT website
                                                                                                          consecutive months has passed without
                                                 current description shall, at all times, be                                                                            (https://www.epa.gov/electronic-
                                                                                                          an excursion as defined in paragraph
                                                 retained on-site or be accessible from a                                                                               reporting-air-emissions/electronic-
                                                                                                          (g)(2)(iv) of this section.
                                                 central location by computer or other                       (iii) The owner or operator shall retain                   reporting-tool-ert) at the time of the test
                                                 means that provides access within 2                      the records specified in paragraphs                           must be submitted in a file format
                                                 hours after a request. The owner or                      (g)(1) (i), (ii), (iii), (iv), (v), and (vi) of               generated through the use of the EPA’s
                                                 operator shall retain the most recent                    this section. For any calendar week, if                       ERT. Alternatively, owners and
                                                 superseded description at least until 5                  compliance with paragraphs (g)(1) (i),                        operators may submit an electronic file
                                                 years from the date of its creation. The                 (ii), (iii), and (iv) of this section does not                consistent with the extensible markup
                                                 superseded description shall be retained                 result in retention of a record of at least                   language (XML) schema listed on the
                                                 on-site (or accessible from a central                    one occurrence or measured parameter                          EPA’s ERT website. Data collected using
                                                 location by computer that provides                       value, the owner or operator shall                            test methods that are not supported by
                                                 access within 2 hours after a request) at                record and retain at least one parameter                      the EPA’s ERT as listed on the EPA’s
                                                 least 6 months after its creation.                       value during a period of operation other                      ERT website at the time of the test must
                                                 Thereafter, the superseded description                   than a startup, shutdown, or                                  be included as an attachment in the ERT
                                                 may be stored off-site.                                  malfunction. For each source as defined                       or alternate electronic file.
                                                    (2) If an owner or operator has elected               in § 63.101, on and after July 15, 2027,                      ■ 90. Amend § 63.153 by revising
                                                 to implement the requirements of                         the phrase ‘‘other than a startup,                            paragraph (c) introductory text and
                                                 paragraph (g)(1) of this section, and a                  shutdown, or malfunction’’ in this                            adding paragraph (c)(5) as follows:
                                                 period of 6 consecutive months has                       paragraph no longer applies.
                                                 passed without an excursion as defined                      (iv) For purposes of paragraph (g) of                      § 63.153     Implementation and enforcement.
                                                 in paragraph (g)(2)(iv) of this section,                 this section, an excursion means that                         *      *    *     *     *
                                                 the owner or operator is no longer                       the daily average value of monitoring                            (c) The authorities that cannot be
                                                 required to record the daily average                     data for a parameter is greater than the                      delegated to State, local, or Tribal
                                                 value for that parameter for that unit of                maximum, or less than the minimum                             agencies are as specified in paragraphs
                                                 equipment, for any operating day when                    established value, except as provided in                      (c)(1) through (5) of this section.
                                                 the daily average value is less than the                 paragraphs (g)(2)(iv)(A) and (B) of this
                                                 maximum, or greater than the minimum                                                                                   *      *    *     *     *
                                                                                                          section.
                                                 established limit. With approval by the                     (A) The daily average value during                            (5) Approval of an alternative to any
                                                 Administrator, monitoring data                           any startup, shutdown, or malfunction                         electronic reporting to the EPA required
                                                 generated prior to the compliance date                   shall not be considered an excursion for                      by this subpart.
                                                 of this subpart shall be credited toward                 purposes of this paragraph (g)(2), if the                     ■ 91. Revise table 3 to subpart G to read
                                                 the period of 6 consecutive months, if                   owner or operator operates the source                         as follows:
                                                           TABLE 3 TO SUBPART G OF PART 63—PROCESS VENTS—MONITORING, RECORDKEEPING, AND REPORTING
                                                                            REQUIREMENTS FOR CONTROL DEVICES AND RECAPTURE DEVICES
                                                         Control or recapture device                     Parameters to be monitored a                   Recordkeeping and reporting requirements for monitored parameters

                                                 Thermal incinerator, other than a thermal ox-   Firebox temperature b [63.114(a)(1)(i)] ..........    1. Continuous records.c
                                                   idizer used to comply with § 63.124.                                                                2. Record and report the firebox temperature averaged over the full pe-
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                                                                                                                                                         riod of the performance test—NCS.d
                                                                                                                                                       3. Record the daily average firebox temperature for each operating
                                                                                                                                                          day.e
                                                                                                                                                       4. Report all daily average temperatures that are outside the range es-
                                                                                                                                                          tablished in the NCS or operating permit and all operating days
                                                                                                                                                          when insufficient monitoring data are collected f—PR.g
                                                 Thermal oxidizer used to comply with            Combustion chamber temperature                        1. Continuous records.c
                                                   § 63.124.                                       [63.124(b)(5)(i)].                                  2. Record and report the combustion chamber temperature averaged
                                                                                                                                                         over the full period of the performance test—NCS.d



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                                                               TABLE 3 TO SUBPART G OF PART 63—PROCESS VENTS—MONITORING, RECORDKEEPING, AND REPORTING
                                                                           REQUIREMENTS FOR CONTROL DEVICES AND RECAPTURE DEVICES—Continued
                                                             Control or recapture device                                   Parameters to be monitored a                    Recordkeeping and reporting requirements for monitored parameters

                                                                                                                                                                          3. Record each 1-hour block average firebox temperature for each op-
                                                                                                                                                                             erating day.
                                                                                                                                                                          4. Report all 1-hour block temperatures that are outside the range es-
                                                                                                                                                                             tablished in the NCS or operating permit and all operating days
                                                                                                                                                                             when insufficient monitoring data are collected f—PR.g
                                                 Thermal oxidizer used to comply with                             Flue gas flow rate [63.124(b)(5)(ii)] ...............   1. Continuous records.c
                                                   § 63.124 (Continued).                                                                                                  2. Record and report the flue gas flow rate averaged over the full pe-
                                                                                                                                                                            riod of the performance test—NCS.d
                                                                                                                                                                          3. Record each 1-hour block average flue gas flow rate for each oper-
                                                                                                                                                                             ating day.
                                                                                                                                                                          4. Report all 1-hour block flue gas flow rates that are outside the range
                                                                                                                                                                             established in the NCS or operating permit and all operating days
                                                                                                                                                                             when insufficient monitoring data are collected f—PR.g
                                                 Catalytic incinerator ........................................   Temperature upstream and downstream of                  1. Continuous records.c
                                                                                                                    the catalyst bed [63.114(a)(1)(ii)].                  2. Record and report the upstream and downstream temperatures and
                                                                                                                                                                            the temperature difference across the catalyst bed averaged over the
                                                                                                                                                                            full period of the performance test—NCS.d
                                                                                                                                                                          3. Record the daily average upstream temperature and temperature
                                                                                                                                                                             difference across the catalyst bed for each operating day.e
                                                                                                                                                                          4. Report all daily average upstream temperatures that are outside the
                                                                                                                                                                             range established in the NCS or operating permit—PR.
                                                                                                                                                                          5. Report all daily average temperature differences across the catalyst
                                                                                                                                                                             bed that are outside the range established in the NCS or operating
                                                                                                                                                                             permit—PR.g
                                                                                                                                                                          6. Report all operating days when insufficient monitoring data are col-
                                                                                                                                                                             lected.f
                                                 Flare (if meeting the requirements of                            Presence of a flame at the pilot light                  1. Hourly records of whether the monitor was continuously operating
                                                   § 63.11(b)).                                                     [§ 63.114(a)(2)].                                       and whether the pilot flame was continuously present during each
                                                                                                                                                                            hour.
                                                                                                                                                                          2. Record and report the presence of a flame at the pilot light over the
                                                                                                                                                                             full period of the compliance determination—NCS.d
                                                                                                                                                                          3. Record the times and durations of all periods when all pilot flames
                                                                                                                                                                             are absent or the monitor is not operating.
                                                                                                                                                                          4. Report the times and durations of all periods when all pilot flames of
                                                                                                                                                                             a flare are absent—PR.g
                                                 Flare (if meeting the requirements of                            The parameters are specified in § 63.108 ....           1. Records as specified in § 63.108(m) of subpart F of this part.
                                                   § 63.108).
                                                                                                                                                                          2. Report information as specified in § 63.108(l) of subpart F of this
                                                                                                                                                                             part—PR.g
                                                 Boiler or process heater with a design heat                      Firebox temperature b [§ 63.114(a)(3)] ..........       1. Continuous records.c
                                                   input capacity less than 44 megawatts and                                                                              2. Record and report the firebox temperature averaged over the full pe-
                                                   vent stream is not introduced with or as                                                                                 riod of the performance test—NCS.d
                                                   the primary fuel.                                                                                                      3. Record the daily average firebox temperature for each operating
                                                                                                                                                                             day.e
                                                                                                                                                                          4. Report all daily average firebox temperatures that are outside the
                                                                                                                                                                             range established in the NCS or operating permit and all operating
                                                                                                                                                                             days when insufficient monitoring data are collected f—PR.g
                                                 Scrubber for halogenated vent streams                            pH of scrubber effluent [§ 63.114(a)(4)(i)],            1. Continuous records.c
                                                   (Note: Controlled by a combustion device                         and                                                   2. Record and report the pH of the scrubber effluent averaged over the
                                                   other than a flare).                                                                                                     full period of the performance test—NCS.d
                                                                                                                                                                          3. Record the daily average pH of the scrubber effluent for each oper-
                                                                                                                                                                             ating day.e
                                                                                                                                                                          4. Report all daily average pH values of the scrubber effluent that are
                                                                                                                                                                             outside the range established in the NCS or operating permit and all
                                                                                                                                                                             operating days when insufficient monitoring data are collected f—
                                                                                                                                                                            PR.g
                                                 Scrubber for halogenated vent streams                            Scrubber liquid and gas flow rates                      1. Continuous records of scrubber liquid flow rate.c
                                                   (Note: Controlled by a combustion device                         [§ 63.114(a)(4)(ii)].                                 2. Record and report the scrubber liquid/gas ratio averaged over the
                                                   other than a flare) (Continued).                                                                                          full period of the performance test—NCS.d
                                                                                                                                                                          3. Record the daily average scrubber liquid/gas ratio for each operating
                                                                                                                                                                             day.e
                                                                                                                                                                          4. Report all daily average scrubber liquid/gas ratios that are outside
                                                                                                                                                                             the range established in the NCS or operating permit and all oper-
                                                                                                                                                                             ating days when insufficient monitoring data are collected f—PR.g
                                                 All control devices ..........................................   Presence of flow diverted to the atmosphere             1. Hourly records of whether the flow indicator was operating and
                                                                                                                    from the control device [§ 63.114(d)(1)] or             whether diversion was detected at any time during each hour.
                                                                                                                                                                          2. Record and report the times and durations of all periods when the
                                                                                                                                                                            vent stream is diverted through a bypass line or the monitor is not
                                                                                                                                                                            operating—PR.g
                                                                                                                                                                          3. For each source as defined in § 63.101, beginning no later than the
                                                                                                                                                                             compliance dates specified in § 63.100(k)(10), record and report the
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                                                                                                                                                                             start date, start time, duration in hours, estimate of the volume of
                                                                                                                                                                             gas in standard cubic feet, the concentration of organic HAP in the
                                                                                                                                                                             gas in parts per million by volume and the resulting mass emissions
                                                                                                                                                                             of organic HAP in pounds that bypass a control device. For periods
                                                                                                                                                                             when the flow indicator is not operating, report the start date, start
                                                                                                                                                                             time, and duration in hours—PR.g
                                                 All control devices (Continued) ......................           Monthly inspections of sealed valves                    1. Records that monthly inspections were performed.
                                                                                                                   [§ 63.114(d)(2)].                                      2. Record and report all monthly inspections that show the valves are
                                                                                                                                                                            moved to the diverting position or the seal has been changed—PR.g



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                                                               TABLE 3 TO SUBPART G OF PART 63—PROCESS VENTS—MONITORING, RECORDKEEPING, AND REPORTING
                                                                           REQUIREMENTS FOR CONTROL DEVICES AND RECAPTURE DEVICES—Continued
                                                              Control or recapture device                                      Parameters to be monitored a                     Recordkeeping and reporting requirements for monitored parameters

                                                                                                                                                                               3. For each source as defined in § 63.101, beginning no later than the
                                                                                                                                                                                  compliance dates specified in § 63.100(k)(10), record and report the
                                                                                                                                                                                  start date, start time, duration in hours, estimate of the volume of
                                                                                                                                                                                  gas in standard cubic feet, the concentration of organic HAP in the
                                                                                                                                                                                  gas in parts per million by volume and the resulting mass emissions
                                                                                                                                                                                  of organic HAP in pounds that bypass a control device. For periods
                                                                                                                                                                                  when the flow indicator is not operating, report the start date, start
                                                                                                                                                                                  time, and duration in hours—PR.g
                                                 All recapture devices (as an alternative to                          Concentration level or reading indicated by              1. Continuous records.c
                                                    the below for absorbers, condensers, and                            an organic monitoring device at the outlet             2. Record and report the concentration level or reading averaged over
                                                    carbon adsorbers).                                                  of the recovery device [§ 63.114(a)(5)(i)].               the full period of the performance test—NCS.d
                                                                                                                                                                               3. Record the daily average concentration level or reading for each op-
                                                                                                                                                                                  erating day.e
                                                                                                                                                                               4. Report all daily average concentration levels or readings that are
                                                                                                                                                                                  outside the range established in the NCS or operating permit—PR.g
                                                 Absorber h .......................................................   Exit temperature of the absorbing liquid                 1. Continuous records.c
                                                                                                                        [§ 63.114(a)(5)(ii)], and                              2. Record and report the exit temperature of the absorbing liquid aver-
                                                                                                                                                                                  aged over the full period of the performance test—NCS.d
                                                                                                                                                                               3. Record the daily average exit temperature of the absorbing liquid for
                                                                                                                                                                                  each operating day.e
                                                                                                                                                                               4. Report all the daily average exit temperatures of the absorbing liquid
                                                                                                                                                                                  that are outside the range established in the NCS or operating per-
                                                                                                                                                                                  mit—PR.g
                                                 Absorber h (Continued) ...................................           Exit specific gravity [§ 63.114(a)(5)(ii)]               1. Continuous records.c
                                                                                                                                                                               2. Record and report the exit specific gravity averaged over the full pe-
                                                                                                                                                                                  riod of the performance test—NCS.d
                                                                                                                                                                               3. Record the daily average exit specific gravity for each operating
                                                                                                                                                                                  day.e
                                                                                                                                                                               4. Report all daily average exit specific gravity values that are outside
                                                                                                                                                                                  the range established in the NCS or operating permit—PR.g
                                                 Condenser h ....................................................     Exit (product side) temperature                          1. Continuous records.c
                                                                                                                        [§ 63.114(a)(5)(iii)].                                 2. Record and report the exit temperature averaged over the full period
                                                                                                                                                                                  of the performance test—NCS.d
                                                                                                                                                                               3. Record the daily average exit temperature for each operating day e.
                                                                                                                                                                               4. Report all daily average exit temperatures that are outside the range
                                                                                                                                                                                  established in the NCS or operating permit—PR.g
                                                 Carbon adsorber h ..........................................         Total regeneration stream mass or volu-                  1. Record of total regeneration stream mass or volumetric flow for each
                                                                                                                        metric flow during carbon bed regenera-                  carbon bed regeneration cycle.
                                                                                                                        tion cycle(s) [§ 63.114(a)(5)(iv)], and                2. Record and report the total regeneration stream mass or volumetric
                                                                                                                                                                                 flow during each carbon bed regeneration cycle during the period of
                                                                                                                                                                                 the performance test—NCS.d
                                                                                                                                                                               3. Report all carbon bed regeneration cycles when the total regenera-
                                                                                                                                                                                  tion stream mass or volumetric flow is outside the range established
                                                                                                                                                                                  in the NCS or operating permit—PR.g
                                                 Carbon adsorber h (Continued) ......................                 Temperature of the carbon bed after regen-               1. Records of the temperature of the carbon bed after each regenera-
                                                                                                                        eration [and within 15 minutes of com-                    tion.
                                                                                                                        pleting any cooling cycle(s)]                          2. Record and report the temperature of the carbon bed after each re-
                                                                                                                        [§ 63.114(a)(5)(iv)].                                     generation during the period of the performance test—NCS.d
                                                                                                                                                                               3. Report all carbon bed regeneration cycles during which temperature
                                                                                                                                                                                  of the carbon bed after regeneration is outside the range established
                                                                                                                                                                                  in the NCS or operating permit—PR.g
                                                 Carbon adsorber h (Continued) ......................                 Outlet HAP or TOC concentration                          For each nonregenerative adsorber and regenerative adsorber that is
                                                                                                                       [§ 63.114(a)(5)(v)].                                       regenerated offsite subject to the requirements in § 63.114(a)(5)(v),
                                                                                                                                                                                  the owner or operator must record each outlet HAP or TOC con-
                                                                                                                                                                                  centration measured according to §§ 63.114(a)(5)(v)(B) and (C).
                                                 Carbon adsorberh (Continued) .......................                 Adsorbent replacement [§ 63.114(a)(5)(v)] ...            1. For each nonregenerative adsorber and regenerative adsorber that
                                                                                                                                                                                  is regenerated offsite subject to the requirements in
                                                                                                                                                                                  § 63.114(a)(5)(v), the owner or operator must record date and time
                                                                                                                                                                                  the adsorbent was last replaced.
                                                 Carbon adsorber h (Continued) ......................                 Breakthrough [§ 63.114(a)(5)(v)] ...................     For each nonregenerative adsorber and regenerative adsorber that is
                                                                                                                                                                                  regenerated offsite subject to the requirements in § 63.114(a)(5)(v),
                                                                                                                                                                                  the owner or operator must:
                                                                                                                                                                               1. Record breakthrough limit and bed life established according to
                                                                                                                                                                                  § 63.114(a)(5)(v)(A).
                                                                                                                                                                               2. Report the date of each instance when breakthrough, as defined in
                                                                                                                                                                                  § 63.101, is detected between the first and second adsorber and the
                                                                                                                                                                                  adsorber is not replaced according to § 63.114(a)(5)(v)(A)(1)—PR.g
                                                 Scrubber with a reactant tank used to com-                           Liquid-to-gas ratio [§ 63.124(b)(4)(i)] .............    1. Continuous records.c
                                                   ply with § 63.124.                                                                                                          2. Record and report the L/G of the scrubber averaged over the full pe-
                                                                                                                                                                                  riod of the performance test—NCS.d
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                                                                                                                                                                               3. Record each 1-hour block L/G of the scrubber for each operating
                                                                                                                                                                                  day.
                                                                                                                                                                               4. Report all 1-hour block L/G values of the scrubber that are outside
                                                                                                                                                                                  the range established in the NCS or operating permit and all oper-
                                                                                                                                                                                  ating days when insufficient monitoring data are collected f—PR.g
                                                 Scrubber with a reactant tank used to com-                           In lieu of liquid-to-gas ratio, scrubber total           1. Continuous records.c
                                                   ply with § 63.124 (Continued).                                       liquid flow rate and gas flow rate through             2. Record and report both the total scrubber liquid flow rate and gas
                                                                                                                        scrubber [§ 63.124(b)(4)(i)].                             flow rate through the scrubber averaged over the full period of the
                                                                                                                                                                                  performance test—NCS.d



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                                                               TABLE 3 TO SUBPART G OF PART 63—PROCESS VENTS—MONITORING, RECORDKEEPING, AND REPORTING
                                                                           REQUIREMENTS FOR CONTROL DEVICES AND RECAPTURE DEVICES—Continued
                                                             Control or recapture device                                   Parameters to be monitored a                    Recordkeeping and reporting requirements for monitored parameters

                                                                                                                                                                          3. Record each 1-hour block total scrubber liquid flow rate and each 1-
                                                                                                                                                                             hour block gas flow rate through the scrubber for each operating
                                                                                                                                                                             day.
                                                                                                                                                                          4. Report all 1-hour block total scrubber liquid flow rate values and all
                                                                                                                                                                             1-hour block gas flow rate through the scrubber values that are out-
                                                                                                                                                                             side the range established in the NCS or operating permit and all op-
                                                                                                                                                                             erating days when insufficient monitoring data are collected f—PR.g
                                                 Scrubber with a reactant tank used to com-                       pH of liquid in reactant tank                           1. Continuous records.c
                                                   ply with § 63.124 (Continued).                                   [§ 63.124(b)(4)(ii)].                                 2. Record and report the pH of liquid in reactant tank averaged over
                                                                                                                                                                            the full period of the performance test—NCS.d
                                                                                                                                                                          3. Record each 1-hour block pH of liquid in reactant tank for each op-
                                                                                                                                                                             erating day.
                                                                                                                                                                          4. Report all 1-hour block values of the pH of liquid in reactant tank
                                                                                                                                                                             that are outside the range established in the NCS or operating per-
                                                                                                                                                                             mit and all operating days when insufficient monitoring data are col-
                                                                                                                                                                             lected f—PR.g
                                                 Scrubber with a reactant tank used to com-                       Pressure drop [§ 63.124(b)(4)(iii)] .................   1. Continuous records.c
                                                   ply with § 63.124 (Continued).                                                                                         2. Record and report the pressure drop of the scrubber averaged over
                                                                                                                                                                            the full period of the performance test—NCS.d
                                                                                                                                                                          3. Record each 1-hour block pressure drop of the scrubber for each
                                                                                                                                                                             operating day.
                                                                                                                                                                          4. Report all 1-hour block pressure drop values that are outside the
                                                                                                                                                                             range established in the NCS or operating permit and all operating
                                                                                                                                                                             days when insufficient monitoring data are collected f—PR.g
                                                 Scrubber with a reactant tank used to com-                       Temperature of scrubbing liquid entering                1. Continuous records.c
                                                   ply with § 63.124 (Continued).                                   column [§ 63.124(b)(4)(iv)].                          2. Record and report the temperature of scrubbing liquid entering col-
                                                                                                                                                                            umn averaged over the full period of the performance test—NCS.d
                                                                                                                                                                          3. Record each 1-hour block temperature of scrubbing liquid entering
                                                                                                                                                                             column for each operating day.
                                                                                                                                                                          4. Report all 1-hour block values of the temperature of scrubbing liquid
                                                                                                                                                                             entering column that are outside the range established in the NCS or
                                                                                                                                                                             operating permit and all operating days when insufficient monitoring
                                                                                                                                                                             data are collectedf—PR.g
                                                 Scrubber with a reactant tank used to com-                       Liquid feed pressure [§ 63.124(b)(4)(v)] ........       1. Continuous records.c
                                                   ply with § 63.124 (Continued).                                                                                         2. Record and report the liquid feed pressure of the scrubber averaged
                                                                                                                                                                            over the full period of the performance test—NCS.d
                                                                                                                                                                          3. Record each 1-hour block liquid feed pressure of the scrubber for
                                                                                                                                                                             each operating day.
                                                                                                                                                                          4. Report all 1-hour block liquid feed pressure values that are outside
                                                                                                                                                                             the range established in the NCS or operating permit and all oper-
                                                                                                                                                                             ating days when insufficient monitoring data are collected f—PR.g
                                                 Sorbent injection ............................................   Sorbent injection rate b [§ 63.114(a)(6)(i)] .....      1. Continuous records.c
                                                                                                                                                                          2. Record and report the sorbent injection rate averaged over the full
                                                                                                                                                                            period of the performance test—NCS.d
                                                                                                                                                                          3. Record the daily average sorbent injection rate for each operating
                                                                                                                                                                             day.e
                                                                                                                                                                          4. Report all daily average sorbent injection rates that are outside the
                                                                                                                                                                             range established in the NCS or operating permit and all operating
                                                                                                                                                                             days when insufficient monitoring data are collected f—PR.g
                                                 Sorbent injection (Continued) ........................           Carrier gas flow rate b [§ 63.114(a)(6)(ii)] ......     1. Continuous records.c
                                                                                                                                                                          2. Record and report the carrier gas flow rate averaged over the full
                                                                                                                                                                            period of the performance test—NCS.d
                                                                                                                                                                          3. Record the daily average carrier gas flow rate for each operating
                                                                                                                                                                             day.e
                                                                                                                                                                          4. Report all daily average carrier gas flow rates that are outside the
                                                                                                                                                                             range established in the NCS or operating permit and all operating
                                                                                                                                                                             days when insufficient monitoring data are collected f—PR.g
                                                   a Regulatory citations are listed in brackets.
                                                   b Monitor may be installed in the firebox or in the ductwork immediately downstream of the firebox before any substantial heat exchange is encountered.
                                                   c ‘‘Continuous records’’ is defined in § 63.111 of this subpart.
                                                   d NCS = Notification of Compliance Status described in § 63.152 of this subpart.
                                                    e The daily average is the average of all recorded parameter values for the operating day. If all recorded values during an operating day are within the range estab-
                                                 lished in the NCS or operating permit, a statement to this effect can be recorded instead of the daily average.
                                                    f The periodic reports shall include the duration of periods when monitoring data is not collected for each excursion as defined in § 63.152(c)(2)(ii)(A) of this subpart.
                                                    g PR = Periodic Reports described in § 63.152 of this subpart.
                                                    h Alternatively, these devices may comply with the organic monitoring device provisions listed at this table under ‘‘All recapture devices.’’.




                                                 ■ 92. Revise the heading of table 4 to                                     Table 4 to Subpart G of Part 63—                                ■ 93. Revise table 5 to subpart G to read
                                                 subpart G to read as follows:                                              Process Vents—Monitoring,                                       as follows:
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                                                                                                                            Recordkeeping, and Reporting
                                                                                                                            Requirements for Maintaining a TRE
                                                                                                                            Index Value >1.0 and. ≤4.0 [No Longer
                                                                                                                            Applicable in Accordance With
                                                                                                                            § 63.113(a)(4)]
                                                                                                                            *       *        *        *       *



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                                                                             TABLE 5 TO SUBPART G OF PART 63—GROUP 1 STORAGE VESSELS AT EXISTING SOURCES
                                                                                                                                   Vessel capacity                                                                                              Vapor pressure a
                                                                                                                                   (cubic meters)                                                                                                 (kilopascals)

                                                 75 ≤ capacity <151 b ....................................................................................................................................................................                b ≥13.1

                                                 38 ≤ capacity <151 c ....................................................................................................................................................................                  c ≥6.9

                                                 151 ≤ capacity .............................................................................................................................................................................                ≥5.2
                                                    a Maximum true vapor pressure of total organic HAP at storage temperature.
                                                   b For each source as defined in § 63.101, beginning no later than the compliance dates specified in § 63.100(k)(10), these vessel capacity and
                                                 vapor pressure criterion no longer apply.
                                                   c For each source as defined in § 63.101, beginning no later than the compliance dates specified in § 63.100(k)(10), these vessel capacity and
                                                 vapor pressure criterion apply.


                                                 ■ 94. Revise table 6 to subpart G to read
                                                 as follows:

                                                                                 TABLE 6 TO SUBPART G OF PART 63—GROUP 1 STORAGE VESSELS AT NEW SOURCES
                                                                                                                                   Vessel capacity                                                                                              Vapor pressure a
                                                                                                                                   (cubic meters)                                                                                                 (kilopascals)

                                                 38 ≤ capacity <151b ....................................................................................................................................................................                  ≥13.1b
                                                 38 ≤ capacity <151c .....................................................................................................................................................................                  ≥6.9c
                                                 151 ≤ capacity .............................................................................................................................................................................                ≥0.7
                                                    a Maximum true vapor pressure of total organic HAP at storage temperature.
                                                   b For each source as defined in § 63.101, beginning no later than the compliance dates specified in § 63.100(k)(10), these vessel capacity and
                                                 vapor pressure criterion no longer apply.
                                                   c For each source as defined in § 63.101, beginning no later than the compliance dates specified in § 63.100(k)(10), these vessel capacity and
                                                 vapor pressure criterion apply.


                                                 ■ 95. Revise table 7 to subpart G to read
                                                 as follows:
                                                   TABLE 7 TO SUBPART G OF PART 63—TRANSFER OPERATIONS—MONITORING, RECORDKEEPING, AND REPORTING RE-
                                                      QUIREMENTS FOR COMPLYING WITH 98 WEIGHT-PERCENT REDUCTION OF TOTAL ORGANIC HAZARDOUS AIR POLLUT-
                                                      ANTS EMISSIONS OR A LIMIT OF 20 PARTS PER MILLION BY VOLUME

                                                                      Control device                                      Parameters to be monitored a                           Recordkeeping and reporting requirements for monitored parameters

                                                 Thermal incinerator ........................................     Firebox temperature b [§ 63.127(a)(1)(i)] .......            1. Continuous records c during loading.
                                                                                                                                                                               2. Record and report the firebox temperature averaged over the full pe-
                                                                                                                                                                                  riod of the performance test—NCS.d
                                                                                                                                                                               3. Record the daily average firebox temperature for each operating
                                                                                                                                                                                  day.e
                                                                                                                                                                               4. Report daily average temperatures that are outside the range estab-
                                                                                                                                                                                 lished in the NCS or operating permit and all operating days when
                                                                                                                                                                                 insufficient monitoring data are collected f—PR.g
                                                 Catalytic incinerator ........................................   Temperature upstream and downstream of                       1. Continuous records during loading.
                                                                                                                    the catalyst bed [§ 63.127(a)(1)(ii)].                     2. Record and report the upstream and downstream temperatures and
                                                                                                                                                                                  the temperature difference across the catalyst bed averaged over the
                                                                                                                                                                                  full period of the performance test—NCS.
                                                                                                                                                                               3. Record the daily average upstream temperature and temperature
                                                                                                                                                                                  difference across catalyst bed for each operating day.e
                                                                                                                                                                               4. Report all daily average upstream temperatures that are outside the
                                                                                                                                                                                  range established in the NCS or operating permit—PR.
                                                                                                                                                                               5. Report all daily average temperature differences across the catalyst
                                                                                                                                                                                  bed that are outside the range established in the NCS or operating
                                                                                                                                                                                  permit—PR.
                                                                                                                                                                               6. Report all operating days when insufficient monitoring data are col-
                                                                                                                                                                                  lected.f
                                                 Boiler or process heater with a design heat                      Firebox temperature b [§ 63.127(a)(3)] ..........            1. Continuous records during loading.
                                                   input capacity less than 44 megawatts and                                                                                   2. Record and report the firebox temperature averaged over the full pe-
                                                   vent stream is not introduced with or as                                                                                       riod of the performance test—NCS.
                                                   the primary fuel.                                                                                                           3. Record the daily average firebox temperature for each operating
                                                                                                                                                                                  day.e
                                                                                                                                                                               4. Report all daily average firebox temperatures that are outside the
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                                                                                                                                                                                  range established in the NCS or operating permit and all operating
                                                                                                                                                                                  days when insufficient data are collectedf—PR.
                                                 Flare (if meeting the requirements of                            Presence of a flame at the pilot light                       1. Hourly records of whether the monitor was continuously operating
                                                   § 63.126(b)(2)(i)).                                              [§ 63.127(a)(2)].                                             and whether the pilot flame was continuously present during each
                                                                                                                                                                                  hour.
                                                                                                                                                                               2. Record and report the presence of a flame at the pilot light over the
                                                                                                                                                                                  full period of the compliance determination—NCS.
                                                                                                                                                                               3. Record the times and durations of all periods when all pilot flames
                                                                                                                                                                                  are absent or the monitor is not operating.



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                                                   TABLE 7 TO SUBPART G OF PART 63—TRANSFER OPERATIONS—MONITORING, RECORDKEEPING, AND REPORTING RE-
                                                      QUIREMENTS FOR COMPLYING WITH 98 WEIGHT-PERCENT REDUCTION OF TOTAL ORGANIC HAZARDOUS AIR POLLUT-
                                                      ANTS EMISSIONS OR A LIMIT OF 20 PARTS PER MILLION BY VOLUME—Continued

                                                                       Control device                                          Parameters to be monitored a                    Recordkeeping and reporting requirements for monitored parameters

                                                                                                                                                                              4. Report the duration of all periods when all pilot flames of a flare are
                                                                                                                                                                                 absent—PR.
                                                 Flare (if meeting the requirements of                                The parameters are specified in § 63.108 ....           1. Records as specified in § 63.108(m) of subpart F of this part.
                                                   § 63.108).                                                                                                                 2. Report information as specified in § 63.108(l) of subpart F of this
                                                                                                                                                                                 part—PR.
                                                 Scrubber for halogenated vent streams                                pH of scrubber effluent [§ 63.127(a)(4)(i)],            1. Continuous records during loading.
                                                   (Note: Controlled by a combustion device                             and.                                                  2. Record and report the pH of the scrubber effluent averaged over the
                                                   other than a flare).                                                                                                          full period of the performance test—NCS.
                                                                                                                                                                              3. Record the daily average pH of the scrubber effluent for each oper-
                                                                                                                                                                                 ating day.e
                                                                                                                                                                              4. Report all daily average pH values of the scrubber effluent that are
                                                                                                                                                                                 outside the range established in the NCS or operating permit and all
                                                                                                                                                                                 operating days when insufficient monitoring data are collected f—PR.
                                                                                                                      Scrubber liquid and gas flow rates                      1. Continuous records during loading of scrubber liquid flow rate.
                                                                                                                        [§ 63.127(a)(4)(ii)].                                 2. Record and report the scrubber liquid/gas ratio averaged over the
                                                                                                                                                                                 full period of the performance test—NCS.
                                                                                                                                                                              3. Record the daily average scrubber liquid/gas ratio for each operating
                                                                                                                                                                                 day.e
                                                                                                                                                                              4. Report all daily average scrubber liquid/gas ratios that are outside
                                                                                                                                                                                 the range established in the NCS or operating permit and all oper-
                                                                                                                                                                                 ating days when insufficient monitoring data are collected f—PR.
                                                 Absorber h .......................................................   Exit temperature of the absorbing liquid                1. Continuous records during loading.
                                                                                                                        [§ 63.127(b)(1)], and                                 2. Record and report the exit temperature of the absorbing liquid aver-
                                                                                                                                                                                 aged over the full period of the performance test—NCS.
                                                                                                                                                                              3. Record the daily average exit temperature of the absorbing liquid for
                                                                                                                                                                                 each operating day.e
                                                                                                                                                                              4. Report all daily average exit temperatures of the absorbing liquid
                                                                                                                                                                                 that are outside the range established in the NCS or operating per-
                                                                                                                                                                                 mit and all operating days when insufficient monitoring data are col-
                                                                                                                                                                                 lected f—PR.
                                                                                                                      Exit specific gravity [§ 63.127(b)(1)] ..............   1. Continuous records during loading.
                                                                                                                                                                              2. Record and report the exit specific gravity averaged over the full pe-
                                                                                                                                                                                 riod of the performance test—NCS.
                                                                                                                                                                              3. Record the daily average exit specific gravity for each operating
                                                                                                                                                                                 day.e
                                                                                                                                                                              4. Report all daily average exit specific gravity values that are outside
                                                                                                                                                                                 the range established in the NCS or operating permit and all oper-
                                                                                                                                                                                 ating days when insufficient monitoring data are collected f—PR.
                                                 Condenser h ....................................................     Exit (product side) temperature                         1. Continuous records during loading.
                                                                                                                        [§ 63.127(b)(2)].                                     2. Record and report the exit temperature averaged over the full period
                                                                                                                                                                                 of the performance test—NCS.
                                                                                                                                                                              3. Record the daily average exit temperature for each operating day.e
                                                                                                                                                                              4. Report all daily average exit temperatures that are outside the range
                                                                                                                                                                                 established in the NCS or operating permit and all operating days
                                                                                                                                                                                 when insufficient monitoring data are collected f—PR.
                                                 Carbon adsorber h ..........................................         Total regeneration stream mass or volu-                 1. Record of total regeneration stream mass or volumetric flow for each
                                                                                                                        metric or volumetric flow during carbon                 carbon bed regeneration cycle.
                                                                                                                        bed regeneration cycle(s) [§ 63.127(b)(3)],           2. Record and report the total regeneration stream mass or volumetric
                                                                                                                        and                                                     flow during each carbon bed regeneration cycle during the period of
                                                                                                                                                                                the performance test—NCS.
                                                                                                                                                                              3. Report all carbon bed regeneration cycles when the total regenera-
                                                                                                                                                                                 tion stream mass or volumetric flow is outside the range established
                                                                                                                                                                                 in the NCS or operating permit and all operating days when insuffi-
                                                                                                                                                                                 cient monitoring data are collected f—PR.
                                                                                                                      Temperature of the carbon bed after regen-              1. Records of the temperature of the carbon bed after each regenera-
                                                                                                                        eration [and within 15 minutes of com-                   tion.
                                                                                                                        pleting any cooling cycle(s)]                         2. Record and report the temperature of the carbon bed after each re-
                                                                                                                        [§ 63.127(b)(3)].                                        generation during the period of the performance test—NCS.
                                                                                                                                                                              3. Report all the carbon bed regeneration cycles during which the tem-
                                                                                                                                                                                 perature of the carbon bed after regeneration is outside the range
                                                                                                                                                                                 established in the NCS or operating permit and all operating days
                                                                                                                                                                                 when insufficient monitoring data are collected f—PR.
                                                                                                                      Outlet HAP or TOC concentration                         For each nonregenerative adsorber and regenerative adsorber that is
                                                                                                                       [§ 63.127(b)(4)].                                         regenerated offsite subject to the requirements in § 63.127(b)(4), the
                                                                                                                                                                                 owner or operator must record each outlet HAP or TOC concentra-
                                                                                                                                                                                 tion measured according to §§ 63.127(b)(4)(ii) and (iii).
                                                                                                                      Adsorbent replacement [§ 63.127(b)(4)] ........         1. For each nonregenerative adsorber and regenerative adsorber that
                                                                                                                                                                                 is regenerated offsite subject to the requirements in § 63.127(b)(4),
                                                                                                                                                                                 the owner or operator must record date and time the adsorbent was
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                                                                                                                                                                                 last replaced.
                                                                                                                      Breakthrough [§ 63.127(b)(4)] .......................   For each nonregenerative adsorber and regenerative adsorber that is
                                                                                                                                                                                 regenerated offsite subject to the requirements in § 63.127(b)(4), the
                                                                                                                                                                                 owner or operator must:
                                                                                                                                                                              1. Record breakthrough limit and bed life established according to
                                                                                                                                                                                 § 63.127(b)(4)(i).
                                                                                                                                                                              2. Report the date of each instance when breakthrough, as defined in
                                                                                                                                                                                 § 63.101, is detected between the first and second adsorber and the
                                                                                                                                                                                 adsorber is not replaced according to § 63.127(b)(4)(iii)(A)—PR.



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                                                   TABLE 7 TO SUBPART G OF PART 63—TRANSFER OPERATIONS—MONITORING, RECORDKEEPING, AND REPORTING RE-
                                                      QUIREMENTS FOR COMPLYING WITH 98 WEIGHT-PERCENT REDUCTION OF TOTAL ORGANIC HAZARDOUS AIR POLLUT-
                                                      ANTS EMISSIONS OR A LIMIT OF 20 PARTS PER MILLION BY VOLUME—Continued

                                                                     Control device                                     Parameters to be monitored a                  Recordkeeping and reporting requirements for monitored parameters

                                                 All recovery devices (as an alternative to the                 Concentration level or reading indicated by          1. Continuous records during loading.
                                                    above).                                                       an organic monitoring device at the outlet         2. Record and report the concentration level or reading averaged over
                                                                                                                  of the recovery device [§ 63.127(b)].                the full period of the performance test—NCS.
                                                                                                                                                                     3. Record the daily average concentration level or reading for each op-
                                                                                                                                                                       erating day.d
                                                                                                                                                                     4. Report all daily average concentration levels or readings that are
                                                                                                                                                                        outside the range established in the NCS or operating permit and all
                                                                                                                                                                        operating days when insufficient monitoring data are collected f—PR.
                                                 All control devices and vapor balancing sys-                   Presence of flow diverted to the atmosphere          1. Hourly records of whether the flow indicator was operating and
                                                    tems.                                                         from the control device [§ 63.127(d)(1)] or          whether a diversion was detected at any time during each hour.
                                                                                                                                                                     2. Record and report the duration of all periods when the vent stream
                                                                                                                                                                       is diverted through a bypass line or the monitor is not operating—
                                                                                                                                                                       PR.
                                                                                                                                                                     3. For each source as defined in § 63.101, beginning no later than the
                                                                                                                                                                        compliance dates specified in § 63.100(k)(10), record and report the
                                                                                                                                                                        start date, start time, duration in hours, estimate of the volume of
                                                                                                                                                                        gas in standard cubic feet, the concentration of organic HAP in the
                                                                                                                                                                        gas in parts per million by volume and the resulting mass emissions
                                                                                                                                                                        of organic HAP in pounds that bypass a control device. For periods
                                                                                                                                                                        when the flow indicator is not operating, report the start date, start
                                                                                                                                                                        time, and duration in hours—PR.
                                                                                                                Monthly inspections of sealed valves                 1. Records that monthly inspections were performed.
                                                                                                                 [§ 63.127(d)(2)].                                   2. Record and report all monthly inspections that show the valves are
                                                                                                                                                                       moved to the diverting position or the seal has been changed.
                                                                                                                                                                     3. For each source as defined in § 63.101, beginning no later than the
                                                                                                                                                                        compliance dates specified in § 63.100(k)(10), record and report the
                                                                                                                                                                        start date, start time, duration in hours, estimate of the volume of
                                                                                                                                                                        gas in standard cubic feet, the concentration of organic HAP in the
                                                                                                                                                                        gas in parts per million by volume and the resulting mass emissions
                                                                                                                                                                        of organic HAP in pounds that bypass a control device. For periods
                                                                                                                                                                        when the flow indicator is not operating, report the start date, start
                                                                                                                                                                        time, and duration in hours—PR.
                                                   a Regulatory citations are listed in brackets.
                                                   b Monitor may be installed in the firebox or in the ductwork immediately downstream of the firebox before any substantial heat exchange is encountered.
                                                   c ‘‘Continuous records’’ is defined in § 63.111 of this subpart.
                                                   d NCS = Notification of Compliance Status described in § 63.152 of this subpart.
                                                    e The daily average is the average of all recorded parameter values for the operating day. If all recorded values during an operating day are within the range estab-
                                                 lished in the NCS or operating permit, a statement to this effect can be recorded instead of the daily average.
                                                    f The periodic reports shall include the duration of periods when monitoring data are not collected for each excursion as defined in § 63.152(c)(2)(ii)(A) of this sub-
                                                 part.
                                                    g PR = Periodic Reports described in § 63.152 of this subpart.
                                                    h Alternatively, these devices may comply with the organic monitoring device provisions listed at the end of this table under ‘‘All Recovery Devices.’’




                                                 ■ 96. Amend table 8 to subpart G by                                         TABLE 8 TO SUBPART G OF PART                                      TABLE 8 TO SUBPART G OF PART
                                                 adding the entry for ‘‘Ethylene oxide’’ in                                  63—ORGANIC HAP’S SUBJECT TO                                       63—ORGANIC HAP’S SUBJECT TO
                                                 alphabetical order to read as follows:                                      THE WASTEWATER PROVISIONS FOR                                     THE WASTEWATER PROVISIONS FOR
                                                                                                                             PROCESS      UNITS   AT    NEW                                    PROCESS      UNITS   AT    NEW
                                                    TABLE 8 TO SUBPART G OF PART                                             SOURCES—Continued                                                 SOURCES—Continued
                                                    63—ORGANIC HAP’S SUBJECT TO
                                                    THE WASTEWATER PROVISIONS FOR                                                  Chemical name                       CAS No. a                       Chemical name                    CAS No. a
                                                    PROCESS UNITS AT NEW SOURCES
                                                                                                                         *           *            *           *             *              *             *           *           *          *
                                                             Chemical name                                CAS No. a
                                                                                                                         Ethylene oxide ..........................              75218
                                                                                                                                                                                           ■ 97. Revise table 13 to subpart G to
                                                                                                                                                                                           read as follows:
                                                           TABLE 13 TO SUBPART G OF PART 63—WASTEWATER—MONITORING REQUIREMENTS FOR CONTROL DEVICES
                                                                  Control device                               Monitoring equipment required                   Parameters to be monitored                                  Frequency

                                                 All control devices ..................................    1. Flow indicator installed at all bypass    1. Presence of flow diverted from the                Hourly records of whether the flow indi-
                                                                                                              lines to the atmosphere and                 control device to the atmosphere or                  cator was operating and whether a
                                                                                                              equipped with continuous recorder b                                                              diversion was detected at any time
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                                                                                                             or                                                                                                during each hour.
                                                                                                           2. Valves sealed closed with car-seal        2. Monthly inspections of sealed valves              Monthly.
                                                                                                              or lock-and-key configuration.
                                                 Thermal Incinerator ................................      Temperature monitoring device in-            Firebox temperature ..............................   Continuous.
                                                                                                              stalled in firebox or in ductwork im-
                                                                                                              mediately downstream of firebox a
                                                                                                             and equipped with a continuous re-
                                                                                                             corder b.




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                                                          TABLE 13 TO SUBPART G OF PART 63—WASTEWATER—MONITORING REQUIREMENTS FOR CONTROL DEVICES—
                                                                                                  Continued
                                                                  Control device                                Monitoring equipment required                 Parameters to be monitored                              Frequency

                                                 Catalytic Incinerator ...............................      Temperature monitoring device in-           1. Temperature upstream of catalyst             Continuous.
                                                                                                              stalled in gas stream immediately be-       bed or
                                                                                                              fore and after catalyst bed and           2. Temperature difference across cata-
                                                                                                              equipped with a continuous re-              lyst bed.
                                                                                                              corder b.
                                                 Flare (if meeting the requirements of                      Heat sensing device installed at the        Presence of a flame at the pilot light ....     Hourly records of whether the monitor
                                                   § 63.139(c)(3)).                                           pilot light and equipped with a contin-                                                     was continuously operating and
                                                                                                              uous recorder a.                                                                            whether the pilot flame was continu-
                                                                                                                                                                                                          ously present during each hour.
                                                 Flare (if meeting the requirements of                      The monitoring equipment is specified       The parameters are specified in                 The frequency is specified in § 63.108.
                                                   § 63.108).                                                  in § 63.108.                               § 63.108.
                                                 Boiler or process heater <44 megawatts                     Temperature monitoring device in-           Combustion temperature ......................   Continuous.
                                                   and vent stream is not mixed with the                       stalled in firebox a and equipped with
                                                   primary fuel.                                               continuous recorder b.
                                                 Condenser ..............................................   Temperature monitoring device in-           Condenser exit (product side) tempera-          Continuous.
                                                                                                               stalled at condenser exit and              ture.
                                                                                                               equipped with continuous recorder b.
                                                 Carbon adsorber (regenerative, regen-                      Integrating regeneration stream flow        Total regeneration stream mass or vol-          For each regeneration cycle, record the
                                                   erated onsite).                                             monitoring device having an accu-          umetric flow during carbon bed re-              total regeneration stream mass or
                                                                                                               racy of ±10 percent, and                   generation cycle(s).                            volumetric flow.
                                                                                                            Carbon bed temperature monitoring de-       Temperature of carbon bed after re-             For each regeneration cycle and within
                                                                                                               vice.                                      generation [and within 15 minutes of            15 minutes of completing any cooling
                                                                                                                                                          completing any cooling cycle(s)].               cycle, record the carbon bed tem-
                                                                                                                                                                                                          perature.
                                                 Carbon adsorber (Non-regenerative or                       Organic compound concentration moni-        Organic compound concentration of               Daily or at intervals no greater than 20
                                                   regenerative, regenerated offsite).                        toring devicec.                             adsorber exhaust.                               percent of the design carbon re-
                                                                                                                                                                                                          placement interval, whichever is
                                                                                                                                                                                                          greater.
                                                                                                            The monitoring equipment is specified       The parameters are specified in                 The frequency is specified in
                                                                                                              in § 63.139(d)(5).                          § 63.139(d)(5).                                 § 63.139(d)(5).
                                                 Organic monitoring device d ...................            Organic monitoring device installed at      Organic compound concentration of               Continuous.
                                                                                                              the outlet of the control device.           control device exhaust.
                                                 Alternative monitoring parameters .........                Other parameters may be monitored
                                                                                                              upon approval from the Administrator
                                                                                                              in accordance with the requirements
                                                                                                              in § 63.143(e)(3).
                                                   a Monitor may be installed in the firebox or in the ductwork immediately downstream of the firebox before any substantial heat exchange is encountered.
                                                   b ‘‘Continuous recorder’’ is defined in § 63.111 of this subpart.
                                                    c As an alternative to conducting this monitoring, an owner or operator may replace the carbon in the carbon adsorption system with fresh carbon at a regular pre-
                                                 determined time interval that is less than the carbon replacement interval that is determined by the maximum design flow rate and organic concentration in the gas
                                                 stream vented to the carbon adsorption system. For each source as defined in § 63.101, on and after July 15, 2027, this footnote no longer applies.
                                                    d A continuous organic monitoring device may be used in lieu of the requirements outlined for thermal incinerators, catalytic incinerators, boilers, process heaters,
                                                 condensers, and carbon adsorbers.


                                                 ■ 98. Revise table 20 to subpart G to
                                                 read as follows:

                                                   TABLE 20 TO SUBPART G OF PART 63—WASTEWATER—PERIODIC REPORTING REQUIREMENTS FOR CONTROL DEVICES
                                                                     SUBJECT TO § 63.139 USED TO COMPLY WITH §§ 63.13 THROUGH 63.139
                                                                                   Control device                                                                             Reporting requirements

                                                 (1) Thermal Incinerator. Report all daily average a temperatures that are outside the range established in the NCS b or operating permit and all
                                                   operating days when insufficient monitoring data are collected.c

                                                 (2) Catalytic Incinerator ......................................................     (i) Report all daily average a upstream temperatures that are outside the range estab-
                                                                                                                                          lished in the NCS b or operating permit.
                                                                                                                                      (ii) Report all daily average a temperature differences across the catalyst bed that are
                                                                                                                                          outside the range established in the NCS b or operating permit.
                                                                                                                                      (iii) Report all operating days when insufficient monitoring data are collected.c
                                                 (3) Boiler or Process Heater with a design heat input ca-                            Report all daily average a firebox temperatures that are outside the range established
                                                   pacity less than 44 megawatts and vent stream is not                                   in the NCS b or operating permit and all operating days when insufficient moni-
                                                   mixed with the primary fuel.                                                           toring data are collected.c
                                                 (4a) Flare (if meeting the requirements of § 63.139(c)(3))                           Report the duration of all periods when all pilot flames are absent.
                                                 (4b) Flare (if meeting the requirements of § 63.108) .........                       The reporting requirements are specified in § 63.108(l) of subpart F of this part.
                                                 (5) Condenser ....................................................................   Report all daily average a exit temperatures that are outside the range established in
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                                                                                                                                          the NCS b or operating permit and all operating days when insufficient monitoring
                                                                                                                                          data are collected.c
                                                 (6) Carbon Adsorber (Regenerative) .................................                 (i) Report all carbon bed regeneration cycles when the total regeneration stream
                                                                                                                                          mass or volumetric flow is outside the range established in the NCS b or operating
                                                                                                                                          permit.
                                                                                                                                      (ii) Report all carbon bed regeneration cycles during which the temperature of the
                                                                                                                                          carbon bed after regeneration is outside the range established in the NCS b or op-
                                                                                                                                          erating permit.



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                                                   TABLE 20 TO SUBPART G OF PART 63—WASTEWATER—PERIODIC REPORTING REQUIREMENTS FOR CONTROL DEVICES
                                                                SUBJECT TO § 63.139 USED TO COMPLY WITH §§ 63.13 THROUGH 63.139—Continued
                                                                                Control device                                                                                         Reporting requirements

                                                                                                                                         (iii) Report all operating days when insufficient monitoring data are collectedc.
                                                                                                                                         (iv) For each regenerative adsorber that is regenerated offsite subject to the require-
                                                                                                                                             ments in § 63.139(d)(5) report the date of each instance when breakthrough, as
                                                                                                                                             defined in § 63.101, is detected between the first and second adsorber and the
                                                                                                                                             adsorber is not replaced according to § 63.139(d)(5)(iii)(A).
                                                 (7) Carbon Adsorber (Non-Regenerative) .........................                        (i) Report all operating days when inspections not done according to the schedule
                                                                                                                                             developed as specified in table 13 of this subpart.
                                                                                                                                         (ii) Report all operating days when carbon has not been replaced at the frequency
                                                                                                                                             specified in table 13 of this subpart.
                                                                                                                                         (iii) For each nonregenerative adsorber subject to the requirements in § 63.139(d)(5),
                                                                                                                                             report the date of each instance when breakthrough, as defined in § 63.101, is de-
                                                                                                                                             tected between the first and second adsorber and the adsorber is not replaced ac-
                                                                                                                                             cording to § 63.139(d)(5)(iii)(A).
                                                 (8) All Control Devices .......................................................         (i) Report the times and durations of all periods when the vent stream is diverted
                                                                                                                                             through a bypass line or the monitor is not operating, or
                                                                                                                                         (ii) Report all monthly inspections that show the valves are moved to the diverting
                                                                                                                                             position or the seal has been changed.
                                                                                                                                         (iii) For each source as defined in § 63.101, beginning no later than the compliance
                                                                                                                                             dates specified in § 63.100(k)(10), report the start date, start time, duration in
                                                                                                                                             hours, estimate of the volume of gas in standard cubic feet, the concentration of
                                                                                                                                             organic HAP in the gas in parts per million by volume and the resulting mass
                                                                                                                                             emissions of organic HAP in pounds that bypass a control device. For periods
                                                                                                                                             when the flow indicator is not operating, report the start date, start time, and dura-
                                                                                                                                             tion in hours.
                                                 (9) Thermal Incinerator, Catalytic Incinerator, Boiler,                                 (i) Report all daily average a concentration levels or readings that are outside the
                                                   Process Heater, Condenser, or Carbon Adsorber using                                       range established in the NCS or operating permit.c
                                                   a continuous organic monitoring device as specified in                                (ii) Report all operating days when insufficient monitoring data are collected.c
                                                   § 63.143(e)(2).
                                                    a The daily average is the average of all values recorded during the operating day, as specified in § 63.147(d).
                                                    b NCS = Notification of Compliance Status described in § 63.152.
                                                    c The periodic reports shall include the duration of periods when monitoring data are not collected for each excursion as defined in
                                                 § 63.152(c)(2)(ii)(A).


                                                 ■ 99. Add table 38 to subpart G to read
                                                 as follows:

                                                                                             TABLE 38 TO SUBPART G OF PART 63—TOXIC EQUIVALENCY FACTORS
                                                                                                                                                                                                                                            Toxic
                                                                                                                      Dioxin and furan congener                                                                                       equivalency factor

                                                 1,2,3,7,8-pentachlorodibenzo-p-dioxin .....................................................................................................................................                             1
                                                 1,2,3,4,7,8-hexachlorodibenzo-p-dioxin ...................................................................................................................................                            0.1
                                                 1,2,3,7,8,9-hexachlorodibenzo-p-dioxin ...................................................................................................................................                            0.1
                                                 1,2,3,6,7,8-hexachlorodibenzo-p-dioxin ...................................................................................................................................                            0.1
                                                 1,2,3,4,6,7,8-heptachlorodibenzo-p-dioxin ...............................................................................................................................                           0.01
                                                 octachlorodibenzo-p-dioxin ......................................................................................................................................................                 0.0003
                                                 2,3,7,8-tetrachlorodibenzofuran ...............................................................................................................................................                       0.1
                                                 2,3,4,7,8-pentachlorodibenzofuran ..........................................................................................................................................                          0.3
                                                 1,2,3,7,8-pentachlorodibenzofuran ..........................................................................................................................................                         0.03
                                                 1,2,3,4,7,8-hexachlorodibenzofuran ........................................................................................................................................                           0.1
                                                 1,2,3,6,7,8-hexachlorodibenzofuran ........................................................................................................................................                           0.1
                                                 1,2,3,7,8,9-hexachlorodibenzofuran ........................................................................................................................................                           0.1
                                                 2,3,4,6,7,8-hexachlorodibenzofuran ........................................................................................................................................                           0.1
                                                 1,2,3,4,6,7,8-heptachlorodibenzofuran ....................................................................................................................................                          0.01
                                                 1,2,3,4,7,8,9-heptachlorodibenzofuran ....................................................................................................................................                          0.01
                                                 Octachlorodibenzofuran ...........................................................................................................................................................                0.0003



                                                 ■ 100. Revise the heading to subpart H                                  Subpart H—National Emission                                              ■ b. Revising and republishing
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                                                 to read as follows:                                                     Standards for Hazardous Air Pollutants                                   paragraph (c); and
                                                                                                                         for Equipment Leaks and Fenceline                                        ■ c. Revising paragraphs (g)
                                                                                                                         Monitoring for All Emission Sources                                      introductory text and (g)(1).
                                                                                                                                                                                                    The revisions and republication read
                                                                                                                         ■ 101. Amend § 63.160 by:
                                                                                                                                                                                                  as follows:
                                                                                                                         ■ a. Revising paragraph (b)(1);




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                                                 § 63.160   Applicability and designation of             ■ 103. Amend § 63.163 by:                             equipped with a dual mechanical seal
                                                 source.                                                 ■ a. Adding paragraph (a)(1)(iii);                    system that includes a barrier fluid
                                                 *      *     *      *     *                             ■ b. Revising paragraph (b)(2)                        system is exempt from the requirements
                                                   (b) * * *                                             introductory text and adding paragraph                of paragraphs (a) through (d) of this
                                                   (1) Part 60 of this chapter will be                   (b)(2)(iv);                                           section, provided the following
                                                 required to comply only with the                        ■ c. Revising paragraph (c)(3) and                    requirements are met:
                                                 provisions of this subpart, except as                   adding paragraph (c)(4);                              *      *      *    *     *
                                                 specified in §§ 60.480a(e)(2)(i) and                    ■ d. Revising paragraph (e) introductory                 (7) For each source as defined in
                                                 60.480b(e)(2)(i) of this chapter.                       text and adding paragraph (e)(7); and                 § 63.101, and for each source as defined
                                                 *      *     *      *     *                             ■ e. Revising paragraphs (g), (j)                     in § 63.191, beginning no later than the
                                                   (c) If a process unit subject to the                  introductory text and (j)(1).                         compliance dates specified in
                                                 provisions of this subpart has                            The revisions and additions read as                 § 63.100(k)(11), for pumps in ethylene
                                                 equipment to which this subpart does                    follows:                                              oxide service, as defined in § 63.101,
                                                 not apply, but which is subject to a                    § 63.163   Standards: Pumps in light liquid           paragraph (e) of this section is not
                                                 standard identified in paragraph (c)(1),                service.                                              applicable.
                                                 (2), or (3) of this section, the owner or                                                                     *      *      *    *     *
                                                                                                            (a) * * *
                                                 operator may elect to apply this subpart                                                                         (g) Any pump that is routed to a
                                                                                                            (1) * * *
                                                 to all such equipment in the process                       (iii) For each source as defined in                process or fuel gas system or equipped
                                                 unit. If the owner or operator elects this              § 63.101, and for each source as defined              with a closed vent system capable of
                                                 method of compliance, all VOC in such                   in § 63.191, beginning no later than the              capturing and transporting leakage from
                                                 equipment shall be considered, for                      compliance dates specified in                         the pump to a control device meeting
                                                 purposes of applicability and                           § 63.100(k)(11), for each pump in                     the requirements of § 63.172 is exempt
                                                 compliance with this subpart, as if it                  ethylene oxide service, as defined in                 from the requirements of paragraphs
                                                 were organic hazardous air pollutant                    § 63.101, that is added to a CMPU, and                (a)(1)(iii), and (b) through (e) of this
                                                 (HAP). Compliance with the provisions                   for each pump in ethylene oxide                       section.
                                                 of this subpart, in the manner described                service, that replaces a pump in                      *      *      *    *     *
                                                 in this paragraph, shall be deemed to                   ethylene oxide service, owners and                       (j) Any pump that is designated, as
                                                 constitute compliance with the standard                 operators must initially monitor for                  described in § 63.181(b)(7)(i), as an
                                                 identified in paragraph (c)(1), (2), or (3)             leaks within 5 days after initial startup             unsafe-to-monitor pump is exempt from
                                                 of this section.                                        of the equipment.                                     the requirements of paragraphs
                                                   (1) Part 60, subpart VV, VVa, VVb,                                                                          (a)(1)(iii), and (b) through (e) of this
                                                 GGG, or KKK, of this chapter, except as                 *       *     *    *     *
                                                                                                            (b) * * *                                          section if:
                                                 specified in §§ 60.480a(e)(2)(i) and                                                                             (1) The owner or operator of the pump
                                                 60.480b(e)(2)(i) of this chapter;                          (2) Except as specified in paragraph
                                                                                                         (b)(2)(iv) of this section, the instrument            determines that the pump is unsafe to
                                                   (2) Part 61, subpart F or J of this                                                                         monitor because monitoring personnel
                                                 chapter; or                                             reading, as determined by the method as
                                                                                                         specified in § 63.180(b), that defines a              would be exposed to an immediate
                                                   (3) Part 264, subpart BB of this                                                                            danger as a consequence of complying
                                                 chapter or part 265, subpart BB of this                 leak in each phase of the standard is:
                                                                                                                                                               with paragraphs (a)(1)(iii), and (b)
                                                 chapter.                                                *       *     *    *     *                            through (d) of this section; and
                                                 *      *     *      *     *                                (iv) For each source as defined in
                                                                                                         § 63.101, and for each source as defined              *      *      *    *     *
                                                   (g) Alternative means of compliance—
                                                                                                         in § 63.191, beginning no later than the              ■ 104. Amend § 63.164 by revising
                                                 For each source as defined in § 63.101,
                                                                                                         compliance dates specified in                         paragraph (h) to read as follows:
                                                 and for each source as defined in
                                                 § 63.191, on and after July 15, 2027, this              § 63.100(k)(11), for pumps in ethylene                § 63.164   Standards: Compressors.
                                                 paragraph no longer applies.                            oxide service, as defined in § 63.101, the
                                                                                                         instrument reading that defines a leak                *      *     *     *      *
                                                   (1) Option to comply with 40 CFR part                                                                          (h) A compressor is exempt from the
                                                 65. Owners or operators of CMPU that                    for pumps is 500 parts per million or
                                                                                                                                                               requirements of paragraphs (a) through
                                                 are subject to § 63.100 may choose to                   greater.
                                                                                                                                                               (g) of this section if it is equipped with
                                                 comply with the provisions of 40 CFR                    *       *     *    *     *                            a system to capture and transport
                                                 part 65 for all Group 1 and Group 2                        (c) * * *                                          leakage from the compressor drive shaft
                                                 process vents, Group 1 storage vessels,                    (3) Except as specified in paragraph               seal to a process or a fuel gas system or
                                                 Group 1 transfer operations, and                        (c)(4) of this section, for pumps in Phase            to a closed vent system that captures
                                                 equipment that are subject to § 63.100,                 III to which a 1,000 parts per million                and transports leakage from the
                                                 that are part of the CMPU. Other                        leak definition applies, repair is not                compressor to a control device meeting
                                                 provisions applying to an owner or                      required unless an instrument reading                 the requirements of § 63.172 of this
                                                 operator who chooses to comply with 40                  of 2,000 parts per million or greater is              subpart.
                                                 CFR part 65 are provided in 40 CFR                      detected.
                                                                                                                                                               *      *     *     *      *
                                                 65.1.                                                      (4) For each source as defined in
                                                                                                         § 63.101, and for each source as defined              ■ 105. Revise and republish § 63.165 to
                                                 *      *     *      *     *                                                                                   read as follows:
                                                 ■ 102. Revise § 63.161 to read as
                                                                                                         in § 63.191, beginning no later than the
                                                                                                         compliance dates specified in
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                                                 follows:                                                                                                      § 63.165 Standards: Pressure relief
                                                                                                         § 63.100(k)(11), for pumps in ethylene                devices in gas/vapor service or light liquid
                                                 § 63.161   Definitions.                                 oxide service, as defined in § 63.101,                service.
                                                   All terms used in this subpart shall                  paragraph (c)(3) of this section is not                 (a) Except during pressure releases,
                                                 have the meaning given them in the Act                  applicable.                                           each pressure relief device in gas/vapor
                                                 and in subpart F of this part, except as                *       *     *    *     *                            service shall be operated with an
                                                 provided in any subpart that references                    (e) Except as specified in paragraph               instrument reading of less than 500
                                                 this subpart.                                           (e)(7) of this section, each pump                     parts per million above background


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                                                 except as provided in paragraph (b) of                  relief devices, such as relief valves or                 (C) Notifying operators immediately
                                                 this section, as measured by the method                 rupture disks, in organic HAP gas or                  that a pressure release is occurring. The
                                                 specified in § 63.180(c). For each source               vapor service instead of the pressure                 device or monitoring system must be
                                                 as defined in § 63.101, and for each                    relief device requirements of paragraph               either specific to the pressure relief
                                                 source as defined in § 63.191, beginning                (a) through (d) of this section. Except as            device itself or must be associated with
                                                 no later than the compliance dates                      specified in paragraphs (e)(4) and (5) of             the process system or piping, sufficient
                                                 specified in § 63.100(k)(10), this                      this section, owners and operators must               to indicate a pressure release to the
                                                 paragraph (a) no longer applies and                     also comply with the requirements                     atmosphere. Examples of these types of
                                                 instead the owner or operator must                      specified in paragraphs (e)(3), (6), (7),             devices and systems include, but are not
                                                 comply with paragraph (e) of this                       and (8) of this section for all pressure              limited to, a rupture disk indicator,
                                                 section.                                                relief devices in organic HAP service.                magnetic sensor, motion detector on the
                                                    (b) Except as specified in paragraph                    (1) Operating requirements. Except                 pressure relief valve stem, flow monitor,
                                                 (e) of this section, comply with                        during a pressure release, operate each               or pressure monitor.
                                                 paragraphs (b)(1) and (b)(2) of this                    pressure relief device in organic HAP                    (ii) Owners and operators must apply
                                                 section.                                                gas or vapor service with an instrument               at least three redundant prevention
                                                    (1) After each pressure release, the                 reading of less than 500 ppm above                    measures to each affected pressure relief
                                                 pressure relief device shall be returned                background as measured by the method                  device and document these measures.
                                                 to a condition indicated by an                          in § 63.180(c).                                       Examples of prevention measures
                                                 instrument reading of less than 500                        (2) Pressure release requirements. For             include:
                                                 parts per million above background, as                  pressure relief devices in organic HAP                   (A) Flow, temperature, liquid level
                                                 soon as practicable, but no later than 5                gas or vapor service, owners and                      and pressure indicators with deadman
                                                 calendar days after each pressure                       operators must comply with the                        switches, monitors, or automatic
                                                 release, except as provided in § 63.171.                applicable requirements paragraphs                    actuators. Independent, non-duplicative
                                                    (2) No later than 5 calendar days after                                                                    systems within this category count as
                                                                                                         (e)(2)(i) through (iii) of this section
                                                 the pressure release and being returned                                                                       separate redundant prevention
                                                                                                         following a pressure release.
                                                 to organic HAP service, the pressure                                                                          measures.
                                                                                                            (i) If the pressure relief device does
                                                 relief device shall be monitored to
                                                                                                         not consist of or include a rupture disk,                (B) Documented routine inspection
                                                 confirm the condition indicated by an
                                                                                                         conduct instrument monitoring, as                     and maintenance programs and/or
                                                 instrument reading of less than 500
                                                                                                         specified in § 63.180(c), no later than 5             operator training (maintenance
                                                 parts per million above background, as
                                                                                                         calendar days after the pressure relief               programs and operator training may
                                                 measured by the method specified in
                                                                                                         device returns to organic HAP gas or                  count as only one redundant prevention
                                                 § 63.180(c).
                                                                                                         vapor service following a pressure                    measure).
                                                    (c) Except as specified in paragraph
                                                 (e) of this section, any pressure relief                release to verify that the pressure relief               (C) Inherently safer designs or safety
                                                 device that is routed to a process or fuel              device is operating with an instrument                instrumentation systems.
                                                 gas system or equipped with a closed-                   reading of less than 500 ppm.                            (D) Deluge systems.
                                                 vent system capable of capturing and                       (ii) If the pressure relief device                    (E) Staged relief system where the
                                                 transporting leakage from the pressure                  includes a rupture disk, either comply                initial pressure relief device (with lower
                                                 relief device to a control device as                    with the requirements in paragraph                    set release pressure) discharges to a flare
                                                 described in § 63.172 is exempt from the                (e)(2)(i) of this section (and do not                 or other closed vent system and control
                                                 requirements of paragraphs (a) and (b) of               replace the rupture disk) or install a                device.
                                                 this section.                                           replacement disk as soon as practicable                  (iii) If any affected pressure relief
                                                    (d) Except as specified in paragraph                 after a pressure release, but no later than           device releases to atmosphere as a result
                                                 (e) of this section, comply with                        5 calendar days after the pressure                    of a pressure release event, owners and
                                                 paragraphs (d)(1) and (d)(2) of this                    release.                                              operators must perform root cause
                                                 section.                                                   (iii) If the pressure relief device                analysis and corrective action analysis
                                                    (1) Any pressure relief device that is               consists only of a rupture disk, install a            according to the requirement in
                                                 equipped with a rupture disk upstream                   replacement disk as soon as practicable               paragraph (e)(6) of this section and
                                                 of the pressure relief device is exempt                 after a pressure release, but no later than           implement corrective actions according
                                                 from the requirements of paragraphs (a)                 5 calendar days after the pressure                    to the requirements in paragraph (e)(7)
                                                 and (b) of this section, provided the                   release. Owners and operators must not                of this section. Owners and operators
                                                 owner or operator complies with the                     initiate startup of the equipment served              must also calculate the quantity of
                                                 requirements in paragraph (d)(2) of this                by the rupture disk until the rupture                 organic HAP released during each
                                                 section.                                                disc is replaced.                                     pressure release event and report this
                                                    (2) After each pressure release, a                      (3) Pressure release management.                   quantity as required in
                                                 rupture disk shall be installed upstream                Except as specified in paragraphs (e)(4)              § 63.182(d)(2)(xviii). Calculations may
                                                 of the pressure relief device as soon as                and (5) of this section, owners and                   be based on data from the pressure relief
                                                 practicable, but no later than 5 calendar               operators must comply with the                        device monitoring alone or in
                                                 days after each pressure release, except                requirements specified in paragraphs                  combination with process parameter
                                                 as provided in § 63.171.                                (e)(3)(i) through (v) of this section for all         monitoring data and process knowledge.
                                                    (e) For each source as defined in                    pressure relief devices in organic HAP                   (iv) Owners and operators must
                                                 § 63.101, and for each source as defined                service.                                              determine the total number of release
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                                                 in § 63.191, beginning no later than the                   (i) Owners and operators must equip                events that occurred during the calendar
                                                 compliance dates specified in                           each affected pressure relief device with             year for each affected pressure relief
                                                 § 63.100(k)(10), except as specified in                 a device(s) or use a monitoring system                device separately.
                                                 paragraph (e)(4) of this section, owners                that is capable of:                                      (v) Except for pressure relief devices
                                                 and operators must comply with the                         (A) Identifying the pressure release;              described in paragraphs (e)(4) and (5) of
                                                 requirements specified in paragraphs                       (B) Recording the time and duration                this section, the following release events
                                                 (e)(1) and (2) of this section for pressure             of each pressure release; and                         from an affected pressure relief device


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                                                 are a violation of the pressure release                 process, to the fuel gas system, or to a              already completed, a schedule for
                                                 management work practice standards.                     drain system.                                         implementation, including proposed
                                                    (A) Except as specified in paragraph                    (6) Root cause analysis and corrective             commencement and completion dates.
                                                 (e)(3)(v)(D) of this section, any release               action analysis. A root cause analysis                   (8) Flowing pilot-operated pressure
                                                 event for which the root cause of the                   and corrective action analysis must be                relief devices. For affected sources that
                                                 event was determined to be operator                     completed as soon as possible, but no                 commenced construction or
                                                 error or poor maintenance.                              later than 45 days after a release event.             reconstruction on or before April 25,
                                                    (B) Except as specified in paragraph                 Special circumstances affecting the                   2023, owners and operators are
                                                 (e)(3)(v)(D) of this section, a second                  number of root cause analyses and/or                  prohibited from installing a flowing
                                                 release event from a single pressure                    corrective action analyses are provided               pilot-operated pressure relief device or
                                                 relief device in a 3 calendar year period               in paragraphs (e)(6)(i) through (iii) of              replacing any pressure relief device
                                                 for the same root cause for the same                    this section.                                         with a flowing pilot-operated pressure
                                                 equipment.                                                 (i) Owners and operators may conduct               relief device after July 15, 2027. For
                                                    (C) Except as specified in paragraph                 a single root cause analysis and                      affected sources that commenced
                                                 (e)(3)(v)(D) of this section, a third                   corrective action analysis for a single               construction or reconstruction after
                                                 release event from a single pressure                    emergency event that causes two or
                                                                                                                                                               April 25, 2023, owners and operators
                                                 relief device in a 3 calendar year period               more pressure relief devices installed on
                                                                                                                                                               are prohibited from installing and
                                                 for any reason.                                         the same equipment to release.
                                                                                                            (ii) [Reserved]                                    operating flowing pilot-operated
                                                    (D) Paragraphs (e)(3)(v)(A) through                                                                        pressure relief devices. For purpose of
                                                 (e)(3)(v)(C) of this section do not apply                  (iii) Except as provided in paragraph
                                                                                                         (e)(6)(i) of this section, if more than one           compliance with this paragraph, a
                                                 to pressure relief devices in ethylene                                                                        flowing pilot-operated pressure relief
                                                 oxide service, as defined in § 63.101;                  pressure relief device has a release
                                                                                                         during the same time period, an initial               device means the type of pilot-operated
                                                 instead, any release event from an                                                                            pressure relief device where the pilot
                                                 affected pressure relief device in                      root cause analysis must be conducted
                                                                                                         separately for each pressure relief                   discharge vent continuously releases
                                                 ethylene oxide service is a violation of                                                                      emissions to the atmosphere when the
                                                 the pressure release management work                    device that had a release. If the initial
                                                                                                         root cause analysis indicates that the                pressure relief device is actuated.
                                                 practice standards.
                                                    (4) Pressure relief devices routed to a              release events have the same root                     ■ 106. Amend § 63.168 by:
                                                 control device, process, fuel gas system,               cause(s), the initially separate root cause           ■ a. Revising paragraph (b)(2)
                                                 or drain system. (i) If all releases and                analyses may be recorded as a single                  introductory text and adding paragraph
                                                 potential leaks from a pressure relief                  root cause analysis and a single                      (b)(2)(iv); and
                                                 device are routed through a closed vent                 corrective action analysis may be                     ■ b. Revising paragraph (d) introductory
                                                 system to a control device, back into the               conducted.                                            text and and adding paragraph (d)(5).
                                                 process, to the fuel gas system, or to a                   (7) Corrective action implementation.
                                                                                                         Owners and operators must conduct a                     The revisions and additions read as
                                                 drain system, then owners and operators                                                                       follows:
                                                 are not required to comply with                         root cause analysis and corrective action
                                                 paragraph (e)(1), (2), or (3) of this                   analysis as specified in paragraphs                   § 63.168 Standards: Valves in gas/vapor
                                                 section.                                                (e)(3)(iii) and (e)(6) of this section, and           service and in light liquid service.
                                                    (ii) Both the closed vent system and                 owners and operators must implement                   *      *     *     *     *
                                                 control device (if applicable) referenced               the corrective action(s) identified in the
                                                                                                                                                                  (b) * * *
                                                 in paragraph (e)(4)(i) of this section                  corrective action analysis in accordance
                                                                                                         with the applicable requirements in                      (2) Except as specified in paragraph
                                                 must meet the applicable requirements
                                                                                                         paragraphs (e)(7)(i) through (iii) of this            (b)(2)(iv) of this section, the instrument
                                                 specified in § 63.172.
                                                                                                         section.                                              reading that defines a leak in each phase
                                                    (iii) The drain system (if applicable)
                                                                                                            (i) All corrective action(s) must be               of the standard is:
                                                 referenced in paragraph (e)(4)(i) of this
                                                 section must meet the applicable                        implemented within 45 days of the                     *      *     *     *     *
                                                 requirements specified in § 63.136(e).                  event for which the root cause and                       (iv) For each source as defined in
                                                    (5) Pressure relief devices exempted                 corrective action analyses were required              § 63.101, and for each source as defined
                                                 from pressure release management                        or as soon thereafter as practicable. If              in § 63.191, beginning no later than the
                                                 requirements. The following types of                    the owner or operator concludes that no               compliance dates specified in
                                                 pressure relief devices are not subject to              corrective action should be                           § 63.100(k)(11), for valves in ethylene
                                                 the pressure release management                         implemented, the owner or operator                    oxide service, as defined in § 63.101,
                                                 requirements in paragraph (e)(3) of this                must record and explain the basis for                 that are either in gas service or in light
                                                 section.                                                that conclusion no later than 45 days                 liquid service the instrument reading
                                                    (i) Pressure relief devices in heavy                 following the event.                                  that defines a leak is 100 parts per
                                                 liquid service, as defined in § 63.161.                    (ii) For corrective actions that cannot            million or greater.
                                                    (ii) Thermal expansion relief valves.                be fully implemented within 45 days                   *      *     *     *     *
                                                    (iii) Pressure relief devices on mobile              following the event for which the root
                                                                                                         cause and corrective action analyses                     (d) Except as specified in paragraph
                                                 equipment.
                                                    (iv) Pilot-operated pressure relief                  were required, owners and operators                   (d)(5) of this section, in Phase III, the
                                                 devices where the primary release valve                 must develop an implementation                        owner or
                                                                                                                                                               *      *     *     *     *
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                                                 is routed through a closed vent system                  schedule to complete the corrective
                                                 to a control device or back into the                    action(s) as soon as practicable.                        (5) For each source as defined in
                                                 process, to the fuel gas system, or to a                   (iii) No later than 45 days following              § 63.101, and for each source as defined
                                                 drain system.                                           the event for which a root cause and                  in § 63.191, beginning no later than the
                                                    (v) Balanced bellows pressure relief                 corrective action analyses were                       compliance dates specified in
                                                 devices where the primary release valve                 required, owners and operators must                   § 63.100(k)(11), for valves in ethylene
                                                 is routed through a closed vent system                  record the corrective action(s)                       oxide service, as defined in § 63.101,
                                                 to a control device or back into the                    completed to date, and, for action(s) not             that are either in gas service or in light


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                                                 liquid service the monitoring period is                 for a valve if valve assembly                         compliance dates specified in
                                                 once per month.                                         replacement is necessary during the                   § 63.100(k)(10):
                                                 *     *    *     *    *                                 process unit shutdown, valve assembly                    (i) The use of a bypass line at any time
                                                 ■ 107. Revise § 63.170 to read as                       supplies have been depleted, and valve                on a closed vent system (used to comply
                                                 follows:                                                assembly supplies had been sufficiently               with the provisions of this subpart) to
                                                                                                         stocked before the supplies were                      divert emissions to the atmosphere or to
                                                 § 63.170 Standards: Surge control vessels               depleted. Delay of repair beyond the                  a control device not meeting the
                                                 and bottoms receivers.                                  second process unit shutdown will not                 requirements specified in this subpart is
                                                    (a) Except as specified in paragraph                 be allowed unless the third process unit              an emissions standards violation.
                                                 (b) of this section, each surge control                 shutdown occurs sooner than 6 months                     (ii) Paragraph (j)(3) of this section
                                                 vessel or bottoms receiver that is not                  after the first process unit shutdown.                does not apply. Instead, the exemptions
                                                 routed back to the process and that                        (f) For each source as defined in                  specified in paragraph (j)(4)(ii)(A) and
                                                 meets the conditions specified in table                 § 63.101, and for each source as defined              (j)(4)(ii)(B) of this section apply.
                                                 2 or table 3 of this subpart shall be                   in § 63.191, beginning no later than the                 (A) Except for pressure relief devices
                                                 equipped with a closed-vent system that                 compliance dates specified in                         subject to § 63.165(e)(4), equipment
                                                 routes the organic vapors vented from                   § 63.100(k)(11), delay of repair is not               such as low leg drains and equipment
                                                 the surge control vessel or bottoms                     allowed for light liquid pumps in                     subject to the requirements specified in
                                                 receiver back to the process or to a                    ethylene oxide service, gas/vapor and                 subpart H of this part are not subject to
                                                 control device that complies with the                   light liquid valves in ethylene oxide                 this paragraph (j) of this section.
                                                 requirements in § 63.172, except as                     service, and connectors in ethylene                      (B) Open-ended valves or lines that
                                                 provided in § 63.162(b), or comply with                 oxide service.                                        use a cap, blind flange, plug, or second
                                                 the requirements of § 63.119(b) or (c).                 ■ 109. Amend § 63.172 by revising                     valve and follow the requirements
                                                    (b) For each source as defined in                    paragraphs (b), (d), (j) introductory text            specified in 40 CFR 60.482–6(a)(2), (b),
                                                 § 63.101, and for each source as defined                and (j)(3), and adding paragraph (j)(4) to            and (c) or follow requirements codified
                                                 in § 63.191, beginning no later than the                read as follows:                                      in another regulation that are the same
                                                 compliance dates specified in                                                                                 as 40 CFR 60.482–6(a)(2), (b), and (c) are
                                                 § 63.100(k)(10), paragraph (a) of this                  § 63.172 Standards: Closed-vent systems               not subject to this paragraph (j) of this
                                                 section no longer applies. Instead, each                and control devices.                                  section.
                                                 surge control vessel and bottoms                        *       *    *      *     *                           *       *     *     *     *
                                                 receiver that is not routed back to the                    (b) Recovery or recapture devices
                                                                                                                                                               ■ 110. Amend § 63.173 by revising
                                                 process and emits greater than or equal                 (e.g., condensers and absorbers) shall be
                                                                                                         designed and operated to recover the                  paragraph (f) as follows:
                                                 to 1.0 lb/hr of total organic HAP must
                                                 be equipped with a closed-vent system                   organic hazardous air pollutant                       § 63.173 Standards: Agitators in gas/vapor
                                                 that routes the organic vapors vented                   emissions or volatile organic                         service and in light liquid service.
                                                 from the surge control vessel or bottoms                compounds emissions vented to them                    *      *     *    *       *
                                                 receiver back to the process or to a                    with an efficiency of 95 percent or                      (f) Any agitator if it is equipped with
                                                 control device that complies with the                   greater, or to an exit concentration of 20            a system to capture and transport
                                                 requirements in § 63.172, except as                     parts per million by volume, whichever                leakage from the agitator to a process or
                                                 provided in § 63.162(b), or comply with                 is less stringent. The 20 parts per                   a fuel gas system or to a closed vent
                                                 the requirements of § 63.113(a)(1) or                   million by volume performance                         system that captures and transports
                                                 (a)(2).                                                 standard is not applicable to the                     leakage from the agitator to a control
                                                 ■ 108. Amend § 63.171 by revising                       provisions of § 63.179.                               device meeting the requirements of
                                                 paragraphs (a), (c) introductory text, (d)              *       *    *      *     *                           § 63.172 is exempt from the
                                                 introductory text and (e), and adding                      (d) Except as specified in paragraph               requirements of paragraphs (a) through
                                                 paragraph (f) to read as follows:                       (a) of § 63.108, flares used to comply                (c) of the section.
                                                                                                         with this subpart shall comply with the               *      *     *    *       *
                                                 § 63.171   Standards: Delay of repair.                  requirements of § 63.11(b).
                                                     (a) Except as specified in paragraph (f)                                                                  ■ 111. Amend § 63.174 by:
                                                                                                         *       *    *      *     *                           ■ a. Revising paragraph (a)(2) and
                                                 of this section, delay of repair of                        (j) For each closed-vent system that
                                                 equipment for which leaks have been                                                                           adding (a)(3);
                                                                                                         contains bypass lines that could divert               ■ b. Revising paragraphs (b)
                                                 detected is allowed if repair within 15                 a vent stream away from the control
                                                 days is technically infeasible without a                                                                      introductory text, (b)(3) introductory
                                                                                                         device and to the atmosphere, the owner               text, and adding paragraphs (b)(3)(vi)
                                                 process unit shutdown. Repair of this                   or operator shall comply with the
                                                 equipment shall occur by the end of the                                                                       and (b)(5); and
                                                                                                         provisions of either paragraphs (j)(1) or             ■ c. Revising paragraphs (g)
                                                 next process unit shutdown.                             (j)(2), and (j)(4) of this section, except as         introductory text and (g)(3).
                                                 *       *    *     *     *                              provided in paragraph (j)(3) of this
                                                     (c) Except as specified in paragraph (f)                                                                     The revisions and additions read as
                                                                                                         section.                                              follows:
                                                 of this section, delay of repair for valves,            *       *    *      *     *
                                                 connectors, and agitators is also allowed                  (3) Except as specified in paragraph               § 63.174 Standards: Connectors in gas/
                                                 if:                                                     (j)(4) of this section, equipment such as             vapor service and in light liquid service.
                                                 *       *    *     *     *
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                                                                                                         low leg drains, high point bleeds,                       (a) * * *
                                                     (d) Except as specified in paragraph                analyzer vents, open-ended valves or                     (2) Except as specified in paragraph
                                                 (f) of this section, delay of repair for                lines, and pressure relief valves needed              (a)(3) of this section, if an instrument
                                                 pumps is also allowed if:                               for safety purposes are not subject to                reading greater than or equal to 500
                                                 *       *    *     *     *                              this paragraph.                                       parts per million is measured, a leak is
                                                     (e) Except as specified in paragraph (f)               (4) For each source as defined in                  detected.
                                                 of this section, delay of repair beyond a               § 63.101, and for each source as defined                 (3) For each source as defined in
                                                 process unit shutdown will be allowed                   in § 63.191, beginning no later than the              § 63.101, and for each source as defined


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                                                 in § 63.191, beginning no later than the                § 63.180   Test methods and procedures.               ■ a. Revising paragraphs (b)(2)(i) and
                                                 compliance dates specified in                           *      *     *     *    *                             (b)(3), and adding paragraphs (b)(11)
                                                 § 63.100(k)(11), for connectors in                                                                            and (12);
                                                                                                            (c) When equipment is monitored for
                                                 ethylene oxide service, as defined in                                                                         ■ b. Revising paragraphs (d)(5)(i),
                                                                                                         compliance as required in §§ 63.164(i),
                                                 § 63.101, the instrument reading that                                                                         (g)(1)(iii), (g)(2)(i) and (g)(3)
                                                                                                         63.165(a) or (e)(1), and 63.172(f) or
                                                 defines a leak for connectors is 100 parts                                                                    introductory text; and
                                                                                                         when equipment subject to a leak                      ■ c. Adding paragraphs (g)(3)(iii) and (l).
                                                 per million or greater.
                                                    (b) The owner or operator shall                      definition of 500 ppm is monitored for                   The revisions and additions read as
                                                 monitor for leaks at the intervals                      leaks as required by this subpart, the                follows:
                                                 specified in either paragraph (b)(1) or                 owner or operator may elect to adjust or
                                                 (b)(2) of this section and in paragraphs                not to adjust the instrument readings for             § 63.181   Recordkeeping requirements.
                                                 (b)(3) through (b)(5) of this section.                  background. If an owner or operator                   *       *     *      *    *
                                                                                                         elects to not adjust instrument readings                 (b) * * *
                                                 *      *     *     *     *                              for background, the owner or operator                    (2)(i) A list of identification numbers
                                                    (3) After conducting the initial survey
                                                                                                         shall monitor the equipment according                 for equipment that the owner or
                                                 required in paragraph (b)(1) or (b)(2) of
                                                                                                         to the procedures specified in                        operator elects to equip with a closed-
                                                 this section, the owner or operator shall
                                                                                                         paragraphs (b)(1) through (4) of this                 vent system and control device, under
                                                 perform all subsequent monitoring of
                                                                                                         section. In such case, all instrument                 the provisions of § 63.163(g),
                                                 connectors at the frequencies specified
                                                 in paragraphs (b)(3)(i) through (b)(3)(v)               readings shall be compared directly to                § 63.164(h), § 63.165(c) or (e)(4), or
                                                 of this section, except as provided in                  the applicable leak definition to                     § 63.173(f), as applicable.
                                                 paragraphs (b)(3)(vi) and (c)(2) of this                determine whether there is a leak. If an              *       *     *      *    *
                                                 section:                                                owner or operator elects to adjust                       (3)(i) A list of identification numbers
                                                                                                         instrument readings for background, the               for pressure relief devices subject to the
                                                 *      *     *     *     *                              owner or operator shall monitor the
                                                    (vi) For each source as defined in                                                                         provisions in § 63.165(a) or (e)(1), as
                                                                                                         equipment according to the procedures                 applicable.
                                                 § 63.101, and for each source as defined
                                                                                                         specified in paragraphs (c)(1) through                   (ii) A list of identification numbers for
                                                 in § 63.191, beginning no later than the
                                                                                                         (c)(4) of this section.                               pressure relief devices equipped with
                                                 compliance dates specified in
                                                 § 63.100(k)(11), for connectors in                      *      *     *     *    *                             rupture disks, under the provisions of
                                                 ethylene oxide service, as defined in                                                                         § 63.165(d), (e)(2)(ii), or (e)(2)(iii), as
                                                                                                            (d)(1) Each piece of equipment within
                                                 § 63.101, the monitoring period is once                                                                       applicable.
                                                                                                         a process unit that can reasonably be
                                                 every month and paragraph (c)(2) of this                expected to contain equipment in                      *       *     *      *    *
                                                 section is not applicable.                              organic HAP service is presumed to be                    (11) For each pressure relief device
                                                 *      *     *     *     *                              in organic HAP service unless an owner                subject to the pressure release
                                                    (5) For each source as defined in                    or operator demonstrates that the piece               management work practice standards in
                                                 § 63.101, and for each source as defined                of equipment is not in organic HAP                    § 63.165(e), owners and operators must
                                                 in § 63.191, beginning no later than the                service. For a piece of equipment to be               keep the records specified in paragraphs
                                                 compliance dates specified in                           considered not in organic HAP service,                (b)(11)(i) through (iii) of this section in
                                                 § 63.100(k)(11), for each connector in                  it must be determined that the percent                addition to the records specified in
                                                 ethylene oxide service, as defined in                   organic HAP content can be reasonably                 paragraph (f) of this section.
                                                 § 63.101, that is added to a CMPU, and                  expected not to exceed 5 percent by                      (i) Records of the prevention measures
                                                 for each connector in ethylene oxide                    weight on an annual average basis. For                implemented as required in
                                                 service that replaces a connector in                    purposes of determining the percent                   § 63.165(e)(3)(ii).
                                                 ethylene oxide service, owners and                                                                               (ii) Records of the number of releases
                                                                                                         organic HAP content of the process fluid
                                                 operators must initially monitor for                                                                          during each calendar year. Keep these
                                                                                                         that is contained in or contacts
                                                 leaks within 5 days after initial startup                                                                     records for the current calendar year
                                                                                                         equipment, Method 18 of 40 CFR part
                                                 of the equipment.                                                                                             and the past 5 calendar years.
                                                                                                         60, appendix A shall be used. ASTM                       (iii) For each release to the
                                                 *      *     *     *     *                              D6420–18 (incorporated by reference,                  atmosphere, owners and operators must
                                                    (g) Except as specified in paragraph                 see § 63.14) may also be used in lieu of              keep the records specified in paragraphs
                                                 (g)(3) of this section, any connector that              Method 18, if the target compounds are                (b)(11)(iii)(A) through (D) of this section.
                                                 is designated, as described in                          all known and are all listed in Section                  (A) The start and end time and date
                                                 § 63.181(b)(7)(iii), as an unsafe-to-repair             1.1 of ASTM D6420–18 as measurable;                   of each pressure release to the
                                                 connector is exempt from the                            ASTM D6420–18 must not be used for                    atmosphere.
                                                 requirements of paragraphs (a), (d), and                methane and ethane; and ASTM D6420–                      (B) Records of any data, assumptions,
                                                 (e) of this section if:                                 18 may not be used as a total VOC                     and calculations used to estimate of the
                                                 *      *     *     *     *                              method.                                               mass quantity of each organic HAP
                                                    (3) For each source as defined in                    *      *     *     *    *                             released during the event.
                                                 § 63.101, and for each source as defined                                                                         (C) Records of the root cause analysis
                                                                                                            (e) When a flare is used to comply
                                                 in § 63.191, beginning no later than the                                                                      and corrective action analysis
                                                                                                         with § 63.172(d), the owner or operator
                                                 compliance dates specified in                                                                                 conducted as required in
                                                                                                         shall comply with paragraphs (e)(1)
                                                 § 63.100(k)(11), for connectors in                                                                            § 63.165(e)(3)(iii), including an
                                                                                                         through (3) of this section, except as
                                                 ethylene oxide service, as defined in                                                                         identification of the affected facility, a
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                                                 § 63.101, paragraph (g) of this section is              specified in paragraph (a) of § 63.108.
                                                                                                         The owner or operator is not required to              statement noting whether the event
                                                 no longer applicable.                                                                                         resulted from the same root cause(s)
                                                                                                         conduct a performance test to determine
                                                 *      *     *     *     *                              percent emission reduction or outlet                  identified in a previous analysis and
                                                 ■ 112. Amend § 63.180 by revising                       organic HAP or TOC concentration.                     either a description of the recommended
                                                 paragraphs (c) introductory text, (d)(1)                                                                      corrective action(s) or an explanation of
                                                                                                         *      *     *     *    *
                                                 and (e) introductory text to read as                                                                          why corrective action is not necessary
                                                 follows:                                                ■ 113. Amend § 63.181 by:                             under § 63.165(e)(7)(i).


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                                                    (D) For any corrective action analysis               in § 63.191, beginning no later than the              compound for each sampling period and
                                                 for which implementation of corrective                  compliance dates specified in                         the two samples used to determine it,
                                                 actions are required in § 63.165(e)(7), a               § 63.100(k)(10), the owner or operator                whether correction for offsite impacts
                                                 description of the corrective action(s)                 must comply with this paragraph in                    was used, and the annual average Dc for
                                                 completed within the first 45 days                      addition to the requirements in                       each monitored compound calculated
                                                 following the discharge and, for                        paragraphs (g)(3)(i) and (ii) of this                 after each sampling period.
                                                 action(s) not already completed, a                      section. For each flow event from a                      (7) Method detection limit for each
                                                 schedule for implementation, including                  bypass line subject to the requirements               sample, including co-located samples
                                                 proposed commencement and                               in § 63.172(j), the owner or operator                 and blanks.
                                                 completion dates.                                       must maintain records sufficient to                      (8) Documentation of the root cause
                                                    (12) For equipment in ethylene oxide                 determine whether or not the detected                 analysis and any resulting corrective
                                                 service, as defined in § 63.101, records                flow included flow requiring control.                 action taken each time an action level is
                                                 of the percent ethylene oxide content of                For each flow event from a bypass line                exceeded, including the dates the root
                                                 the process fluid and the method used                   requiring control that is released either             cause analysis was initiated and the
                                                 to determine it.                                        directly to the atmosphere or to a                    resulting correction action(s) were
                                                 *       *     *    *     *                              control device not meeting the                        taken. If real-time sampling techniques
                                                    (d) * * *                                            requirements in this subpart, the owner               are required under § 63.184(e)(3)(B), the
                                                    (5) * * *                                            or operator must include an estimate of               location of the real-time monitors for
                                                    (i) The owner or operator may                        the volume of gas, the concentration of               each 48-hour period.
                                                 develop a written procedure that                        organic HAP in the gas and the resulting                 (9) Any corrective action plan
                                                 identifies the conditions that justify a                emissions of organic HAP that bypassed                developed under § 63.184(f).
                                                 delay of repair. The written procedures                 the control device using process                         (10) Other records as required by
                                                 may be included as part of the startup/                 knowledge and engineering estimates.                  Methods 325A, 325B, and 327 of
                                                 shutdown/malfunction plan, required                     *      *     *    *     *                             appendix A of this part.
                                                 by § 63.6(e)(3), for the source or may be                  (1) For fenceline monitoring systems                  (11) If monitoring is conducted using
                                                 part of a separate document that is                     subject to § 63.184, each owner or                    canisters in accordance with § 63.184(b),
                                                 maintained at the plant site. In such                   operator must keep the records specified              if a near-field source correction is used
                                                 cases, reasons for delay of repair may be               in paragraphs (l)(1) through (11) of this             as provided in § 63.184(g), or if an
                                                 documented by citing the relevant                       section.                                              alternative test method is used that
                                                 sections of the written procedure. For                     (1) Coordinates of all passive tube and            provides time-resolved measurements,
                                                 each source as defined in § 63.101, and                 canister monitors, including co-located               records of hourly meteorological data,
                                                 for each source as defined in § 63.191,                 samplers and field blanks, and if                     including temperature, barometric
                                                 on and after July 15, 2027, the sentence                applicable, the meteorological station.               pressure, wind speed and wind
                                                 ‘‘The written procedures may be                         The owner or operator shall determine                 direction, calculated daily unit vector
                                                 included as part of the startup/                        the coordinates using an instrument                   wind direction and daily sigma theta,
                                                 shutdown/malfunction plan, required                     with an accuracy of at least 3 meters.                and other records specified in the site-
                                                 by § 63.6(e)(3), for the source or may be               The coordinates shall be in decimal                   specific monitoring plan.
                                                 part of a separate document that is                     degrees with at least five decimal                    ■ 114. Amend § 63.182 by:
                                                 maintained at the plant site.’’ in this                 places.                                               ■ a. Revising paragraph (a)(3) and
                                                 paragraph no longer applies.                               (2) The start and stop times and dates             adding paragraph (a)(4);
                                                 *       *     *    *     *                              for each sample, as well as the tube or               ■ b. Revising paragraph (c) introductory
                                                    (g) * * *                                            canister identifying information.                     text and adding paragraphs (c)(5) and
                                                    (1) * * *                                               (3) Sampling period average                        (6);
                                                    (iii) Except as specified in paragraph               temperature and barometric pressure                   ■ c. Revising paragraphs (d)
                                                 (a) of § 63.108, the flare design (i.e.,                measurements.                                         introductory text and (d)(2) introductory
                                                 steam-assisted, air-assisted, or non-                      (4) For each outlier determined in                 text; and
                                                 assisted) and the results of the                        accordance with Section 9.2 of Method                 ■ d. Adding paragraphs (d)(2)(xviii) and
                                                 compliance demonstration required by                    325A of appendix A of this part the                   (xix) and (e).
                                                 § 63.11(b).                                             sampler location of and the                              The revisions and additions read as
                                                 *       *     *    *     *                              concentration of the outlier and the                  follows:
                                                    (2) * * *                                            evidence used to conclude that the
                                                    (i) Except as specified in paragraph (a)             result is an outlier. The evidence must               § 63.182   Reporting requirements.
                                                 of § 63.108, dates and durations when                   include documentation of accidental                     (a) * * *
                                                 the closed-vent systems and control                     contamination by the sample handler.                    (3) Periodic Reports described in
                                                 devices required in §§ 63.163 through                   High sample results attributed to                     paragraph (d) of this section,
                                                 63.166, and § 63.170 are not operated as                unknown causes are not outliers if there                (4) Fenceline Monitoring Reports
                                                 designed as indicated by the monitored                  is no evidence of sample contamination                described in paragraph (e) of this
                                                 parameters, including periods when a                    and the sample does not meet the                      section, and
                                                 flare pilot light system does not have a                requirements in Section 9.2 of Method                 *     *     *     *    *
                                                 flame.                                                  325A of appendix A of this part.                        (c) Each owner or operator of a source
                                                 *       *     *    *     *                                 (5) For samples that will be adjusted              subject to this subpart shall submit a
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                                                    (3) Records of inspections of closed-                for offsite impacts, the location of and              Notification of Compliance Status
                                                 vent systems subject to the provisions of               the concentration measured                            within 90 days after the compliance
                                                 § 63.172, as specified in paragraphs                    simultaneously by the additional                      dates specified in the subpart in this
                                                 (g)(3)(i) through (iii) of this section.                sampler(s), and the perimeter samplers                part 63 that references this subpart,
                                                 *       *     *    *     *                              to which it applies.                                  except as provided in paragraph (c)(4) of
                                                    (iii) For each source as defined in                     (6) Individual sample results, the                 this section. The owner or operator shall
                                                 § 63.101, and for each source as defined                calculated Dc for each monitored                      also submit a supplement to the


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                                                 Notification of Compliance Status as                    (including county), and beginning and                    (e) For fenceline monitoring systems
                                                 specified in paragraphs (c)(5) and (6) of               ending dates of the reporting period.                 subject to § 63.184, each owner or
                                                 this section, if applicable.                            *      *     *    *     *                             operator must submit Fenceline
                                                 *        *    *     *     *                                (2) For each process unit complying                Monitoring Reports on a quarterly basis
                                                     (5) For pressure relief devices subject             with the provisions of § 63.163 through               using the appropriate electronic report
                                                 to the pressure release management                      § 63.174, the summary information                     template on the CEDRI website (https://
                                                 work practice standards in § 63.165(e),                 listed in paragraphs (d)(2)(i) through                www.epa.gov/electronic-reporting-air-
                                                 owners and operators must also submit                   (xix) of this paragraph for each                      emissions/cedri) for this subpart and
                                                 the information listed in paragraphs                    monitoring period during the 6-month                  following the procedure specified in
                                                 (c)(5)(i) and (ii) of this section in a                 period.                                               § 63.9(k), except any medium submitted
                                                 supplement to the Notification of                                                                             through mail must be sent to the
                                                                                                         *      *     *    *     *                             attention of the Hazardous Organic
                                                 Compliance Status within 150 days after                    (xviii) Compliance reports for
                                                 the first applicable compliance date for                                                                      Chemical Manufacturing Sector Lead.
                                                                                                         pressure relief devices subject to the                The first quarterly report must be
                                                 pressure relief device monitoring.                      requirements § 63.165(e) must include
                                                     (i) A description of the monitoring                                                                       submitted once the owner or operator
                                                                                                         the information specified in paragraphs               has obtained 12 months of data. The
                                                 system to be implemented, including                     (d)(2)(xviii)(A) through (C) of this
                                                 the relief devices and process                                                                                first quarterly report must cover the
                                                                                                         section.                                              period beginning on the compliance
                                                 parameters to be monitored, and a
                                                                                                            (A) For pressure relief devices in                 date that is specified in § 63.100(k)(12)
                                                 description of the alarms or other
                                                                                                         organic HAP gas or vapor service,                     and ending on March 31, June 30,
                                                 methods by which operators will be
                                                                                                         pursuant to § 63.165(e)(1), report the                September 30 or December 31,
                                                 notified of a pressure release.
                                                                                                         instrument readings and dates for all                 whichever date is the first date that
                                                     (ii) A description of the prevention
                                                                                                         readings of 500 ppm or greater.                       occurs after the owner or operator has
                                                 measures to be implemented for each
                                                 affected pressure relief device.                           (B) For pressure relief devices in                 obtained 12 months of data (i.e., the first
                                                                                                         organic HAP gas or vapor service subject              quarterly report will contain between 12
                                                     (6) For equipment that are in ethylene
                                                                                                         to § 63.165(e)(2), report the instrument              and 15 months of data). Each
                                                 oxide service, as defined in § 63.101,
                                                                                                         readings and dates of instrument                      subsequent quarterly report must cover
                                                 owners and operators must also submit
                                                                                                         monitoring conducted.                                 one of the following reporting periods:
                                                 the information in this paragraph in a
                                                                                                            (C) For pressure relief devices in                 Quarter 1 from January 1 through March
                                                 supplement to the Notification of
                                                                                                         organic HAP service subject to                        31; Quarter 2 from April 1 through June
                                                 Compliance Status within 150 days after
                                                                                                         § 63.165(e)(3), report each pressure                  30; Quarter 3 from July 1 through
                                                 the first applicable compliance date.
                                                                                                         release to the atmosphere, including                  September 30; and Quarter 4 from
                                                 The supplement to the Notification of
                                                                                                         pressure relief device identification                 October 1 through December 31. Each
                                                 Compliance Status must identify all
                                                                                                         name or number, the start date, start                 quarterly report must be electronically
                                                 equipment that are in ethylene oxide
                                                                                                         time, and duration (in minutes) of the                submitted no later than 45 calendar
                                                 service, and include the percent
                                                                                                         pressure release; an estimate of the mass             days following the end of the reporting
                                                 ethylene oxide content of the process
                                                                                                         quantity in pounds of each organic HAP                period.
                                                 fluid and the method used to determine                                                                           (1) Facility name and address
                                                 it.                                                     released; the results of any root cause
                                                                                                         analysis and corrective action analysis               (including the county).
                                                     (d) The owner or operator of a source                                                                        (2) Year and reporting quarter (i.e.,
                                                 subject to this subpart shall submit                    completed during the reporting period,
                                                                                                         including the corrective actions                      Quarter 1, Quarter 2, Quarter 3, or
                                                 Periodic Reports. On and after July 15,                                                                       Quarter 4).
                                                 2027 or once the reporting template for                 implemented during the reporting
                                                                                                                                                                  (3) For each passive tube or canister
                                                 this subpart has been available on the                  period; and, if applicable, the
                                                                                                                                                               monitor: The latitude and longitude
                                                 CEDRI website for 1 year, whichever                     implementation schedule for planned
                                                                                                                                                               location coordinates; the sampler name;
                                                 date is later, owners and operators must                corrective actions to be implemented
                                                                                                                                                               and identification of the type of sampler
                                                 submit all subsequent reports following                 subsequent to the reporting period.
                                                                                                                                                               (i.e., regular monitor, extra monitor,
                                                 the procedure specified in § 63.9(k),                      (xix) For each source as defined in                duplicate, field blank, inactive).
                                                 except any medium submitted through                     § 63.101, and for each source as defined              Coordinates must be in decimal degrees
                                                 mail must be sent to the attention of the               in § 63.191, beginning no later than the              with at least five decimal places.
                                                 Hazardous Organic Chemical                              compliance dates specified in                            (4) The beginning and ending dates
                                                 Manufacturing Sector Lead. Owners and                   § 63.100(k)(10), the owner or operator                for each sampling period.
                                                 operators must use the appropriate                      must comply with this paragraph in                       (5) Individual sample results for each
                                                 electronic report template on the CEDRI                 addition to the requirements in                       monitored compound, reported in units
                                                 website (https://www.epa.gov/                           paragraphs (d)(2)(i) through (d)(2)(xviii)            of mg/m3, for each monitor for each
                                                 electronic-reporting-air-emissions/cedri)               of this section. For bypass lines subject             sampling period that ends during the
                                                 for this subpart. The date report                       to the requirements in § 63.172(j), the               reporting period. Results below the
                                                 templates become available will be                      Periodic Report must include the start                method detection limit must be flagged
                                                 listed on the CEDRI website. Unless the                 date, start time, duration in hours,                  as below the detection limit and
                                                 Administrator or delegated state agency                 estimate of the volume of gas in                      reported at the method detection limit.
                                                 or other authority has approved a                       standard cubic feet, the concentration of                (6) Data flags for each outlier
                                                 different schedule for submission of                    organic HAP in the gas in parts per                   determined in accordance with Section
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                                                 reports under § 63.9(i) and § 63.10(a),                 million by volume and the resulting                   9.2 of Method 325A of appendix A of
                                                 the report must be submitted by the                     mass emissions of organic HAP in                      this part. For each outlier, the owner or
                                                 deadline specified in this subpart,                     pounds that bypass a control device. For              operator must submit the individual
                                                 regardless of the method in which the                   periods when the flow indicator is not                sample result of the outlier, as well as
                                                 report is submitted. All Periodic Reports               operating, report the start date, start               the evidence used to conclude that the
                                                 must include the following general                      time, and duration in hours.                          result is an outlier. The evidence must
                                                 information: company name, address                      *      *     *    *     *                             include documentation of accidental


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                                                 contamination by the sample handler.                    the target analyte(s) specified in                    agitators in organic HAP service are
                                                 High sample results attributed to                       paragraph (a)(1) of this section that are             present within 50 meters of the
                                                 unknown causes are not outliers if there                located within the facility’s property                monitoring boundary, the additional
                                                 is no evidence of sample contamination                  boundary.                                             passive monitoring location specified in
                                                 and the sample does not meet the                           (1) The owner or operator must                     Section 8.2.1.3 in Method 325A of
                                                 requirements in Section 9.2 of Method                   monitor the target analyte(s), as                     appendix A to this part must be used.
                                                 325A of appendix A of this part.                        specified in paragraphs (a)(1)(i) through                (B) All equipment leak sources in gas
                                                    (7) The concentration difference (Dc)                (iv) of this section. The owner or                    or light liquid service (and in organic
                                                 for each monitored compound for each                    operator must follow the procedure in                 HAP service), including valves, pumps,
                                                 sampling period and the annual average                  Section 9.6 of Method 325B of appendix                connectors, sampling connections and
                                                 Dc for each monitored compound for                      A to this part to determine the detection             open-ended lines, must be monitored
                                                 each sampling period.                                   limit of benzene, 1,3-butadiene,                      using Method 21 of appendix A–7 to 40
                                                    (8) Indication of whether the owner or               chloroprene, and ethylene dichloride for              CFR part 60 no less frequently than
                                                 operator was required to develop a                      each sampler used to collect samples                  quarterly with no provisions for skip
                                                 corrective action plan under § 63.184(f).               and blanks.                                           period monitoring, or according to the
                                                    (9) Data flags for each monitor for                     (i) If an affected source uses,                    provisions of § 63.11(c) Alternative
                                                 each analyte that was skipped for the                   produces, stores, or emits benzene, the               Work practice for monitoring equipment
                                                 sampling period, if the owner or                        owner or operator must include benzene                for leaks. For the purpose of this
                                                 operator uses an alternative sampling                   as a target analyte.                                  provision, a leak is detected if the
                                                 frequency under § 63.184(a)(3)(iii) or                     (ii) If an affected source uses,                   instrument reading equals or exceeds
                                                 § 63.184(b)(2)(iii).                                    produces, stores, or emits 1,3-butadiene,             the applicable limits in paragraphs
                                                                                                         the owner or operator must include 1,3-               (a)(2)(i)(B)(1) through (5) of this section:
                                                 ■ 115. Amend § 63.183 by revising
                                                                                                         butadiene as a target analyte.
                                                 paragraph (c) introductory text and                                                                              (1) For valves, pumps or connectors at
                                                                                                            (iii) If an affected source uses,
                                                 adding paragraph (c)(5) to read as                                                                            an existing source, an instrument
                                                                                                         produces, stores, or emits chloroprene,
                                                 follows:                                                                                                      reading of 10,000 ppmv.
                                                                                                         the owner or operator must include
                                                                                                         chloroprene as a target analyte.                         (2) For valves or connectors at a new
                                                 § 63.183   Implementation and enforcement.                                                                    source, an instrument reading of 500
                                                                                                            (iv) If an affected source uses,
                                                 *      *    *     *     *                               produces, stores, or emits ethylene                   ppmv.
                                                    (c) The authorities that cannot be                   dichloride, the owner or operator must                   (3) For pumps at a new source, an
                                                 delegated to State, local, or Tribal                    include ethylene dichloride as a target               instrument reading of 2,000 ppmv.
                                                 agencies are as specified in paragraphs                 analyte.                                                 (4) For sampling connections or open-
                                                 (c)(1) through (5) of this section.                        (2) The owner or operator must                     ended lines, an instrument reading of
                                                 *      *    *     *     *                               determine passive monitor locations in                500 ppmv above background.
                                                    (5) Approval of an alternative to any                accordance with Section 8.2 of Method                    (5) For equipment monitored
                                                 electronic reporting to the EPA required                325A of appendix A to this part.                      according to the Alternative Work
                                                 by this subpart.                                           (i) As it pertains to this subpart,                practice for monitoring equipment for
                                                 ■ 116. Add § 63.184 to read as follows:                 known sources of VOCs, as used in                     leaks, the leak definitions contained in
                                                                                                         Section 8.2.1.3 in Method 325A of                     § 63.11(c)(6)(i) through (iii).
                                                 § 63.184   Fenceline monitoring provisions.             appendix A to this part for siting                       (C) All equipment leak sources in
                                                    For each source as defined in                        passive monitors, means a wastewater                  organic HAP service, including sources
                                                 § 63.101, and for each source as defined                treatment unit, process unit, or any                  in gas, light liquid and heavy liquid
                                                 in § 63.191, beginning no later than the                emission source requiring control                     service, must be inspected using visual,
                                                 compliance dates specified in                           according to the requirements of this                 audible, olfactory, or any other
                                                 § 63.100(k)(12), the owner or operator                  subpart, including marine vessel                      detection method at least monthly. A
                                                 must conduct sampling along the                         loading operations. For marine vessel                 leak is detected if the inspection
                                                 facility property boundary and analyze                  loading operations, one passive monitor               identifies a potential leak to the
                                                 the samples in accordance with                          should be sited on the shoreline                      atmosphere or if there are indications of
                                                 paragraphs (a) through (i) of this section.             adjacent to the dock. For this subpart,               liquids dripping.
                                                 Sampling of benzene, 1,3-butadiene,                     an additional monitor is not required if                 (ii) If there are 19 or fewer monitoring
                                                 chloroprene, and ethylene dichloride                    the only emission sources within 50                   locations, the owner or operator must
                                                 must be conducted in accordance with                    meters of the monitoring boundary are                 collect at least one co-located duplicate
                                                 paragraph (a) of this section. Sampling                 equipment leak sources satisfying all of              sample per sampling period and at least
                                                 of ethylene oxide and vinyl chloride                    the conditions in paragraphs (a)(2)(i)(A)             one field blank per sampling period. If
                                                 must be conducted in accordance with                    through (C) of this section. If a leak is             there are 20 or more monitoring
                                                 paragraph (b) of this section. Paragraphs               found, it must be repaired no later than              locations, the owner or operator must
                                                 (c) through (i) of this section apply for               15 calendar days after it is detected with            collect at least two co-located duplicate
                                                 any compound required to be sampled.                    no provisions for delay of repair. If a               samples per sampling period and at
                                                    (a) The owner or operator must                       repair is not completed within 15                     least one field blank per sampling
                                                 conduct sampling along the facility                     calendar days, the additional passive                 period. The co-located duplicates may
                                                 property boundary and analyze the                       monitor specified in Section 8.2.1.3 in               be collected at any of the perimeter
                                                 samples in accordance with Methods                                                                            sampling.
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                                                                                                         Method 325A of appendix A to this part
                                                 325A and 325B of appendix A to this                     must be used.                                            (iii) Samplers are not required to be
                                                 part and paragraphs (a)(1) through (3) of                  (A) The equipment leak sources in                  placed along internal roads, waterways,
                                                 this section. The monitoring perimeter                  organic HAP service within 50 meters of               or other right of ways that may bisect
                                                 may be located inside the facility, away                the monitoring boundary are limited to                the facility. If a facility is bounded by
                                                 from the facility property boundary.                    valves, pumps, connectors, sampling                   a waterway on one or more sides, the
                                                 However, the monitoring perimeter                       connections, and open-ended lines. If                 shoreline is considered the facility
                                                 must encompass all potential sources of                 compressors, pressure relief devices, or              property boundary.


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                                                    (3) The owner or operator must use a                 sampling will occur approximately once                site once the requirements of paragraph
                                                 sampling period and sampling                            per month.                                            (a)(3)(iii)(A) of this section are met
                                                 frequency as specified in paragraphs                       (B) For the analyte of interest, if every          again, i.e., after 52 contiguous 14-day
                                                 (a)(3)(i) through (iii) of this section.                sample at a monitoring site that is                   samples with no results above the level
                                                    (i) Sampling period. A 14-day                        monitored at the frequency specified in               specified in paragraph (a)(4) of this
                                                 sampling period must be used, unless a                  paragraph (a)(3)(iii)(A) of this section is           section.
                                                 shorter sampling period is determined                   at or below the level specified in                       (4) To use the alternative sampling
                                                 to be necessary under paragraph (e) or                  paragraph (a)(4) of this section for 2                frequency outlined in paragraph (a)(3) of
                                                 (g) of this section. A sampling period is               years (i.e., 26 consecutive ‘‘monthly’’               this section, an individual monitor must
                                                 defined as the period during which                      samples), five 14-day sampling periods                consistently achieve results for the
                                                 sampling tube is deployed at a specific                 can be skipped for that analyte for that              analyte at or below the level specified
                                                 sampling location with the diffusive                    monitoring site following each period of              in paragraphs (a)(4)(i) through (iii) of
                                                 sampling end cap in-place and does not                  sampling, i.e., sampling will occur                   this section.
                                                 include the time required to analyze the                approximately once per quarter.                          (i) For benzene, the results must be
                                                 sample. For the purpose of this subpart,                   (C) For the analyte of interest, if every          consistently at or below 0.9 mg/m3.
                                                 a 14-day sampling period may be no                      sample at a monitoring site that is                      (ii) For 1,3-butadiene, the results must
                                                 shorter than 13 calendar days and no                    monitored at the frequency specified in               be consistently at or below 0.3 mg/m3.
                                                 longer than 15 calendar days, but the                   paragraph (a)(3)(iii)(B) of this section is              (iii) For ethylene dichloride, the
                                                 routine sampling period must be 14                      at or below the level specified in                    results must be consistently at or below
                                                 calendar days.                                          paragraph (a)(4) of this section for 2                0.4 mg/m3.
                                                    (ii) Base sampling frequency. Except                 years (i.e., 8 consecutive quarterly                     (b) The owner or operator must
                                                                                                         samples), twelve 14-day sampling                      conduct sampling along the facility
                                                 as provided in paragraph (a)(3)(iii) of
                                                                                                         periods can be skipped for that analyte               property boundary and analyze the
                                                 this section, the frequency of sample
                                                                                                         for that monitoring site following each               samples in accordance with Method 327
                                                 collection must be once each contiguous
                                                                                                         period of sampling, i.e., sampling will               of appendix A to this part and
                                                 14-day sampling period, such that the
                                                                                                         occur twice a year.                                   paragraphs (b)(1) through (3) of this
                                                 beginning of the next 14-day sampling                      (D) For the analyte of interest, if every
                                                 period begins immediately upon the                                                                            section.
                                                                                                         sample at a monitoring site that is                      (1) The owner or operator must
                                                 completion of the previous 14-day                       monitored at the frequency specified in               monitor the target analyte(s), as
                                                 sampling period.                                        paragraph (a)(3)(iii)(C) of this section is           specified in paragraphs (b)(1)(i) and (ii)
                                                    (iii) Alternative sampling frequency                 at or below the level specified in                    of this section.
                                                 for burden reduction. When an                           paragraph (a)(4) of this section for 2                   (i) If an affected source uses,
                                                 individual monitor consistently                         years (i.e., 4 consecutive semiannual                 produces, stores, or emits ethylene
                                                 achieves results for a particular analyte               samples), only one sample per year is                 oxide, the owner or operator must
                                                 at or below the level specified in                      required for that analyte for that                    include ethylene oxide as a target
                                                 paragraph (a)(4) of this section, the                   monitoring site. For yearly sampling,                 analyte.
                                                 owner or operator may elect to use the                  samples shall occur at least 10 months                   (ii) If an affected source uses,
                                                 applicable minimum sampling                             but no more than 14 months apart.                     produces, stores, or emits vinyl
                                                 frequency specified in paragraphs                          (E) If at any time a sample for a                  chloride, the owner or operator must
                                                 (a)(3)(iii)(A) through (E) of this section              monitoring site that is monitored for the             include vinyl chloride as a target
                                                 for that monitoring site for that analyte.              analyte at the frequency specified in                 analyte.
                                                 When calculating Dc for the monitoring                  paragraph (a)(3)(iii)(A) through (D) of                  (2) The owner or operator must use a
                                                 period when using this alternative for                  this section returns a result for the                 sampling period and sampling
                                                 burden reduction, use zero for the                      analyte that is above the level specified             frequency as specified in paragraphs
                                                 lowest sampling result for each                         in paragraph (a)(4) of this section, the              (b)(2)(i) and (ii) of this section.
                                                 monitoring period where one or more                     sampling site must return to the original                (i) Sampling period. A 24-hour
                                                 samples was not taken and/or analyzed                   sampling requirements for the analyte of              sampling period must be used, unless a
                                                 for the analyte(s) that qualifies for this              contiguous 14-day sampling periods                    shorter sampling period is determined
                                                 alternative sampling frequency. This                    with no skip periods for one quarter (six             to be necessary under paragraph (e) or
                                                 alternative for burden reduction is                     14-day sampling periods). If every                    (g) of this section. A sampling period is
                                                 determined on an analyte specific basis.                sample collected for the analyte during               defined as the period during which the
                                                 If an owner or operator is not required                 this quarter is at or below the level                 canister is deployed at a specific
                                                 to sample for a particular analyte for a                specified in paragraph (a)(4) of this                 sampling location and actively sampling
                                                 particular monitoring site in accordance                section, the owner or operator may                    and does not include the time required
                                                 with this paragraph (a)(3)(iii), the owner              revert back to the reduced monitoring                 to analyze the sample. For the purpose
                                                 or operator must still sample for any                   schedule applicable for that analyte for              of this subpart, a 24-hour sampling
                                                 other analytes required by paragraph                    that monitoring site prior to the sample              period may be no shorter than 23 hours
                                                 (a)(1) of this section at the frequency                 reading exceeding the level specified in              and no longer than 25 hours.
                                                 specified in paragraph (a)(3)(ii) of this               paragraph (a)(4) of this section. If any                 (ii) Base sampling frequency. Except
                                                 section, unless the other analyte(s) also               sample collected for the analyte during               as provided in paragraph (b)(2)(iii) of
                                                 qualifies for this alternative for burden               this quarter is above the level specified             this section, the frequency of sample
                                                 reduction.                                              in paragraph (a)(4) of this section, that
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                                                                                                                                                               collection must be once every 5
                                                    (A) For the analyte of interest, if every            monitoring site must return to the                    calendar days, such that the beginning
                                                 sample at a monitoring site is at or                    original sampling requirements for that               of each sampling period begins
                                                 below the level specified in paragraph                  analyte of contiguous 14-day sampling                 approximately 96 hours (± 24 hours)
                                                 (a)(4) of this section for 2 years (52                  periods with no skip periods for a                    from the end of the previous sample.
                                                 consecutive samples), every other                       minimum of two years. The burden                         (iii) Alternative sampling frequency
                                                 sampling period can be skipped for that                 reduction requirements can be used                    for burden reduction. This alternative is
                                                 analyte for that monitoring site, i.e.,                 again for that analyte for that monitoring            only applicable for the measurement of


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                                                 vinyl chloride from sites with a                        may revert back to the reduced                        requirements of paragraph (b)(3)(iii)(A)
                                                 monitoring perimeter less than or equal                 monitoring schedule applicable for that               of this section.
                                                 to 5,000 meters. When an individual                     sampling site prior to the sample                        (D) If the monitoring perimeter is
                                                 sampling point consistently achieves                    reading exceeding 0.3 mg/m3. If any                   greater than 10,000 meters, divide the
                                                 results at or below 0.3 mg/m3, the owner                sample collected during this quarter is               monitoring perimeter into 24 evenly
                                                 or operator may elect to use the                        above 0.3 mg/m3, that sampling site must              spaced sampling points, with one point
                                                 applicable minimum sampling                             return to the original sampling                       located in accordance with the
                                                 frequency specified in paragraphs                       requirements of sampling every 5                      requirements of paragraph (b)(3)(iii)(A)
                                                 (b)(2)(iii)(A) through (E) of this section              calendar days with no skip periods for                of this section.
                                                 for that sampling site for vinyl chloride.              a minimum of two years. The burden                       (iv) Place canisters on the monitoring
                                                 If ethylene oxide is a required analyte,                reduction requirements can be used                    perimeter at the sampling points as
                                                 the owner or operator must continue to                  again for that sampling site once the                 follows.
                                                 monitor ethylene oxide at the frequency                 requirements of paragraph (b)(2)(ii)(A)                  (A) If there are only 8 sampling points
                                                 specified in paragraph (b)(2)(ii) of this               of this section are met again, i.e., after            for the site, monitor each sampling
                                                 section. When calculating Dc for the                    146 consecutive samples with no results               point during each sampling period.
                                                 monitoring period when using this                       above 0.3 mg/m3.                                         (B) If there are 16 sampling points for
                                                 alternative for burden reduction, use                                                                         the site, number the sampling points
                                                                                                           (3) The owner or operator must
                                                 zero for the lowest sampling result for                                                                       consecutively along the monitoring
                                                                                                         determine canister sample locations in
                                                 each monitoring period where one or                                                                           perimeter. During the first sampling
                                                                                                         accordance with paragraphs (b)(3)(i)
                                                 more samples was not taken for vinyl                                                                          period, monitor the odd numbered
                                                                                                         through (v) of this section.
                                                 chloride.                                                                                                     sampling points. During the second
                                                                                                           (i) The monitoring perimeter must be                sampling period, monitor the even
                                                    (A) If every sample at a monitoring                  located on or inside the facility property
                                                 site is at or below 0.3 mg/m3 for 2 years                                                                     numbered sampling points. Continue to
                                                                                                         boundary. If the monitoring perimeter is              alternate between the odd numbered
                                                 (52 consecutive samples), every other                   located away from the facility property
                                                 sampling period can be skipped for that                                                                       and even numbered sampling points in
                                                                                                         boundary, the monitoring perimeter                    subsequent sampling periods.
                                                 sampling site, i.e., sampling will occur                must encompass all potential sources of
                                                 approximately once per month.                                                                                    (C) If there are 24 sampling points for
                                                                                                         the target analyte(s) specified in                    the site, number the sampling points
                                                    (B) If every sample at a sampling site
                                                                                                         paragraph (b)(1) of this section that are             consecutively along the monitoring
                                                 that is monitored at the frequency
                                                                                                         located within the facility’s property                perimeter. During the first sampling
                                                 specified in paragraph (b)(2)(iii)(A) of
                                                                                                         boundary. If the site contains process                period, monitor every third sampling
                                                 this section is at or below 0.3 mg/m3 for
                                                                                                         units that are disconnected (i.e., one or             point starting with the first sampling
                                                 2 years (i.e., 26 consecutive ‘‘monthly’’
                                                                                                         more process areas are not within the                 point (i.e., points 1, 4, 7, etc.). During
                                                 samples), five 14-day sampling periods
                                                                                                         boundary of the main facility), the                   the second sampling period, monitor
                                                 can be skipped for that sampling site
                                                                                                         owner or operator must follow the                     every third sampling point starting with
                                                 following each period of sampling, i.e.,
                                                                                                         requirements in paragraph (b)(3)(v) of                the second sampling point (i.e., points 2,
                                                 sampling will occur approximately once
                                                 per quarter.                                            this section. Canisters are not required              5, 8, etc.). During the third sampling
                                                    (C) If every sample at a sampling site               to be placed along internal roads,                    period, monitor every third sampling
                                                 that is monitored at the frequency                      waterways, or other right of ways that                point starting with the third sampling
                                                 specified in paragraph (b)(2)(iii)(B) of                may bisect the facility. If a facility is             point (i.e., points 3, 6, 9, etc.). Continue
                                                 this section is at or below 0.3 mg/m3 for               bounded by a waterway on one or more                  to alternate between these placements
                                                 2 years (i.e., 8 consecutive quarterly                  sides, the shoreline is considered the                for each subsequent sampling period
                                                 samples), twelve 14-day sampling                        facility property boundary.                           (i.e., the fourth sampling period will
                                                 periods can be skipped for that                           (ii) The owner or operator must place               include every third sampling point
                                                 sampling site following each period of                  8 canisters around the monitoring                     starting with the first sampling point,
                                                 sampling, i.e., sampling will occur twice               perimeter during each sampling period.                the fifth sampling period will include
                                                 a year.                                                   (iii) To determine sampling locations,              every third sampling point starting with
                                                    (D) If every sample at a sampling site               measure the length of the monitoring                  the second sampling point, and so on).
                                                 that is monitored at the frequency                      perimeter.                                               (v) If the site consists of small areas
                                                 specified in paragraph (b)(2)(iii)(C) of                  (A) Locate the point on the                         disconnected from the main facility,
                                                 this section is at or below 0.3 mg/m3 for               monitoring perimeter that is closest to               additional monitors must be placed on
                                                 2 years (i.e., 4 consecutive semiannual                 sources of the target analyte(s). If one of           these areas in accordance with
                                                 samples), only one sample per year is                   the target analytes is ethylene oxide,                paragraphs (b)(3)(v)(A) through (C) of
                                                 required for that sampling site. For                    this point must be the point on the                   this section. The monitoring perimeter
                                                 yearly sampling, samples shall occur at                 monitoring perimeter that is closest to               for the disconnected area(s) must be
                                                 least 10 months but no more than 14                     the sources of ethylene oxide.                        located between the property boundary
                                                 months apart.                                             (B) If the monitoring perimeter is less             of the area and the process unit(s), such
                                                    (E) If at any time a sample for a                    than or equal to 5,000 meters, divide the             that the monitoring perimeter for the
                                                 sampling site that is monitored at the                  monitoring perimeter into 8 evenly                    disconnected area encompasses all
                                                 frequency specified in paragraphs                       spaced sampling points, with one point                potential sources of the target analyte(s)
                                                 (b)(2)(iii)(A) through (E) of this section              located in accordance with the                        specified in paragraph (b)(1) of this
                                                 returns a result that is above 0.3 mg/m3,               requirements of paragraph (b)(3)(iii)(A)
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                                                                                                                                                               section.
                                                 the sampling site must return to the                    of this section.                                         (A) If the disconnected area is less
                                                 original sampling requirements of                         (C) If the monitoring perimeter is                  than 50 acres, the owner or operator
                                                 sampling every 5 calendar days with no                  greater than 5,000 meters, but less than              must sample at two locations each
                                                 skip periods for one quarter (18 5-day                  or equal to 10,000 meters, divide the                 sampling period. One location must be
                                                 sampling periods). If every sample                      monitoring perimeter into 16 evenly                   placed in the expected prevailing wind
                                                 collected during this quarter is at or                  spaced sampling points, with one point                direction for the sampling period,
                                                 below 0.3 mg/m3, the owner or operator                  located in accordance with the                        downwind of the main source of


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                                                 emissions of the target analyte(s). The                 meteorological measurements in EPA–                   or operator must determine Dc using the
                                                 other location must be located on the                   454/B–08–002 (incorporated by                         calculation protocols outlined in
                                                 monitoring perimeter at 180 degrees                     reference, see § 63.14).                              paragraph (d)(1)(i) of this section, except
                                                 from the first sample location.                            (d) Within 45 days of completion of                as provided in this paragraph (d)(1)(ii),
                                                    (B) If the disconnected area is equal                each sampling period, the owner or                    and the additional requirements in
                                                 to or greater than 50 acres but less than               operator must determine whether the                   paragraph (g)(2) of this section, as well
                                                 or equal to 150 acres, the owner or                     results are above or below the action                 as any additional requirements outlined
                                                 operator must sample at four equally                    level for each measured compound as                   in the approved site-specific monitoring
                                                 spaced locations. One sampling point                    follows. If the owner or operator is                  plan. The Dc for the compound for the
                                                 must be located on the monitoring                       required to monitor any small                         sampling period is equal to the higher
                                                 perimeter at the point that is closest to               disconnected area(s) of the facility                  of the values in paragraphs (d)(1)(ii)(A)
                                                 sources of the target analyte(s). If one of             under paragraph (b)(3)(v) of this section,            and (B) of this section.
                                                 the target analytes is ethylene oxide,                  the procedure for determining whether                    (A) The highest corrected sample
                                                 this point must be the point on the                     the results are above or below the action             result for the compound from a
                                                 monitoring perimeter that is closest to                 level for each measured compound must                 sampling location where near-field
                                                 the sources of ethylene oxide.                          be performed for the disconnected                     source correction for the compound is
                                                    (C) If the disconnected area is greater              area(s) separately.                                   used during the sampling period.
                                                 than 150 acres, the sampling points for                    (1) The owner or operator must
                                                                                                                                                                  (B) The difference in concentration
                                                 the disconnected area must be                           determine the facility impact on the
                                                                                                                                                               between the highest sample result that
                                                 determined according to paragraphs                      concentration (Dc) of each compound
                                                                                                         for each sampling period according to                 was not corrected for a near-field source
                                                 (b)(3)(ii) through (iv) of this section.
                                                    (4) At least one co-located duplicate                either paragraph (d)(1)(i) or (ii) of this            for the compound during the sampling
                                                 sample and at least one field blank must                section, as applicable.                               period and the lowest sample result for
                                                 be collected per sampling period.                          (i) Except when near-field source                  the compound for the sampling period.
                                                    (5) The owner or operator must follow                correction is used as provided in                        (2) The owner or operator must
                                                 the procedures in Method 327 of                         paragraph (d)(1)(ii) of this section, the             calculate the annual average Dc for each
                                                 appendix A to this part to determine the                owner or operator must determine the                  monitored compound as follows:
                                                 detection limit of the target analyte(s)                highest and lowest sample results for                    (i) For sampling conducted under
                                                 and requirements for quality assurance                  each compound individually from the                   paragraph (a) of this section, the annual
                                                 samples.                                                sample pool and calculate each                        average Dc for each compound is based
                                                    (c) The owner or operator must collect               compound’s Dc as the difference in                    on the average of the Dc values for the
                                                 and record meteorological data                          these concentrations. Co-located                      26 most recent 14-day sampling periods.
                                                 according to the applicable                             samples must be averaged together for                 The owner or operator must update this
                                                 requirements in paragraphs (c)(1)                       the purposes of determining the                       annual average value after receiving the
                                                 through (3) of this section.                            concentration at a particular sampling                results of each subsequent 14-day
                                                    (1) If monitoring is conducted under                 location, and, if applicable, for                     sampling period.
                                                 paragraph (b) of this section, if a near-               determining Dc. The owner or operator                    (ii) For sampling conducted under
                                                 field source correction is used as                      must adhere to the following procedures               paragraph (b) of this section, the annual
                                                 provided in paragraph (g)(2) of this                    when one or more samples for the                      average Dc for each compound is based
                                                 section, or if an alternative test method               sampling period are below the method                  on the average of the Dc values for the
                                                 is used that provides time-resolved                     detection limit for a particular                      73 most recent sampling periods. The
                                                 measurements, the owner or operator                     compound:                                             owner or operator must update this
                                                 must use an on-site meteorological                         (A) If the lowest detected value of a              annual average value after receiving the
                                                 station in accordance with Section 8.3                  compound is below detection, the                      results of each subsequent sampling
                                                 of Method 325A of appendix A to this                    owner or operator must use zero as the                period.
                                                 part. Collect and record hourly average                 lowest sample result when calculating                    (3) The action level for each
                                                 meteorological data, including                          Dc.                                                   compound is listed in paragraphs
                                                 temperature, barometric pressure, wind                     (B) If all sample results are below the            (d)(3)(i) through (vi) of this section. If
                                                 speed and wind direction and calculate                  method detection limit, the owner or                  the annual average Dc value for a
                                                 daily unit vector wind direction and                    operator must use the highest method                  compound is greater than the listed
                                                 daily sigma theta.                                      detection limit for the sample set as the             action level for the compound, the
                                                    (2) For cases other than those                       highest sample result and zero as the                 concentration is above the action level,
                                                 specified in paragraph (c)(1) of this                   lowest sample result when calculating                 and the owner or operator must conduct
                                                 section, the owner or operator must                     Dc.                                                   a root cause analysis and corrective
                                                 collect and record sampling period                         (C) In the case of co-located samples,             action in accordance with paragraph (e)
                                                 average temperature and barometric                      if one sample is above the method                     of this section.
                                                 pressure using either an on-site                        detection limit while the other sample
                                                                                                                                                                  (i) The action level for benzene is 9
                                                 meteorological station in accordance                    is below the method detection limit, the
                                                                                                                                                               micrograms per cubic meter (mg/m3) on
                                                 with Section 8.3 of Method 325A of                      owner or operator must use the method
                                                                                                                                                               an annual average basis.
                                                 appendix A to this part or, alternatively,              detection limit as the result for the
                                                 using data from a National Weather                      sample that is below the method                          (ii) The action level for 1,3-butadiene
                                                                                                                                                               is 3 mg/m3 on an annual average basis.
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                                                 Service (NWS) meteorological station                    detection limit for purposes of averaging
                                                 provided the NWS meteorological                         the results to determine the                             (iii) The action level for chloroprene
                                                 station is within 40 kilometers (25                     concentration at a particular sampling                is 0.8 mg/m3 on an annual average basis.
                                                 miles) of the facility.                                 location, and, if applicable, for                        (iv) The action level for ethylene
                                                    (3) If an on-site meteorological station             determining Dc.                                       oxide is 0.2 mg/m3 on an annual average
                                                 is used, the owner or operator must                        (ii) When near-field source correction             basis.
                                                 follow the calibration and                              for a compound is used as provided in                    (v) The action level for vinyl chloride
                                                 standardization procedures for                          paragraph (g) of this section, the owner              is 3 mg/m3 on an annual average basis.


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                                                   (vi) The action level for ethylene                    real-time monitors must continue after                However, if upon review, the
                                                 dichloride is 4 mg/m3 on an annual                      each 48-hour period of                                Administrator disagrees with the
                                                 average basis.                                          nonidentification until the owner or                  additional measures outlined in the
                                                   (e) Once any action level in paragraph                operator can identify the root cause of               plan, the owner or operator must revise
                                                 (d)(3) of this section has been exceeded,               the exceedance.                                       and resubmit the plan within 7 calendar
                                                 the owner or operator must take the                        (2) If the underlying primary and                  days of receiving comments from the
                                                 following actions to bring the annual                   other contributing causes of the                      Administrator.
                                                 average Dc back below the action                        exceedance are deemed to be under the                    (1) If the compound that exceeded the
                                                 level(s).                                               control of the owner or operator, the                 action level was benzene, 1,3-butadiene,
                                                   (1) Within 5 days of updating the                     owner or operator must take appropriate               chloroprene, or ethylene dichloride, the
                                                 annual average value as required in                     corrective action as expeditiously as                 owner or operator must develop a
                                                 paragraph (d)(2) of this section and                    possible to bring annual average                      corrective action plan if, upon
                                                 determining that any action level in                    fenceline concentrations back below the               completion of the root cause analysis
                                                 paragraph (d)(3) of this section has been               action level(s) set forth in paragraph                and initial corrective actions required in
                                                 exceeded (i.e., in no case longer than 50               (d)(3) of this section. At a minimum, the             paragraph (e) of this section, the Dc
                                                 days after completion of the sampling                   corrective actions taken must address                 value for the next sampling period, for
                                                 period), the owner or operator must                     the underlying primary and other                      which the sampling start time begins
                                                 initiate a root cause analysis to                       contributing cause(s) determined in the               after the completion of the initial
                                                 determine appropriate corrective action.                root cause analysis to prevent future                 corrective actions, is greater than the
                                                 A root cause analysis is an assessment                  exceedances from the same underlying                  level specified in paragraphs (f)(1)(i)
                                                 conducted through a process of                          cause(s).                                             through (iv) of this section for the
                                                 investigation to determine the primary                     (3) The root cause analysis must be                compound(s) that initially exceeded the
                                                 underlying cause and all other                          completed and initial corrective actions              action level. The corrective action plan
                                                 contributing causes to an exceedance of                 taken no later than 45 days after                     must include the implementation of
                                                 an action level(s) set forth in paragraph               determining there is an exceedance of                 real-time sampling techniques to locate
                                                 (d)(3) of this section.                                 an action level.                                      the primary and other contributing
                                                   (i) The initial root cause analysis may                  (4) Until the annual average Dc is                 causes of the exceedance. The owner or
                                                 include, but is not limited to:                         below the action level again, following               operator must submit the corrective
                                                   (A) Leak inspection using Method 21                   completion of the initial corrective                  action plan to the Administrator within
                                                 of appendix A–7 to 40 CFR part 60,                      action, the owner or operator must                    60 days after receiving the analytical
                                                 optical gas imaging, or handheld                        conduct a new root cause analysis                     results indicating that the Dc value for
                                                 monitors.                                               according to this paragraph (e), and if               the sampling period following the
                                                   (B) Visual inspection to determine the                required, submit a corrective action plan             completion of the initial corrective
                                                 cause of the high emissions.                            under paragraph (f) of this section                   action is greater than the level specified
                                                   (C) Operator knowledge of process                     following any sampling period for                     in paragraphs (f)(1)(i) through (iv) of this
                                                 changes (e.g., a malfunction or release                 which the sampling start time begins                  section.
                                                 event).                                                 after the completion of the initial                      (i) For benzene, a sampling period Dc
                                                   (ii) If the initial root cause cannot be              corrective actions and for which the Dc               of 9 mg/m3.
                                                 identified using the type of techniques                 for the sampling period is greater than                  (ii) For 1,3-butadiene, a sampling
                                                 described in paragraph (e)(1)(i) of this                the level specified in paragraphs (e)(4)(i)           period Dc of 3 mg/m3.
                                                 section, the owner or operator must                     through (vi) of this section for the                     (iii) For chloroprene, a sampling
                                                 employ more frequent sampling and                       compound(s) that initially exceeded the               period Dc of 0.8 mg/m3.
                                                 analysis to determine the root cause of                                                                          (iv) For ethylene dichloride, a
                                                                                                         action level.
                                                 the exceedance.                                            (i) For benzene, a sampling period Dc              sampling period Dc of 4 mg/m3.
                                                   (A) The owner or operator may first                                                                            (2) If the compound that exceeded the
                                                                                                         of 9 mg/m3.
                                                 employ additional monitoring points                        (ii) For 1,3-butadiene, a sampling                 action level was ethylene oxide or vinyl
                                                 and shorter sampling periods for                        period Dc of 3 mg/m3.                                 chloride, the owner or operator must
                                                 Methods 325A and 325B of appendix A                        (iii) For chloroprene, a sampling                  develop a corrective action plan if, upon
                                                 to this part for benzene, 1,3-butadiene,                period Dc of 0.8 mg/m3.                               completion of the root cause analysis
                                                 chloroprene, or ethylene dichloride or                     (iv) For ethylene dichloride, a                    and initial corrective actions required in
                                                 more frequent sampling with Method                      sampling period Dc of 4 mg/m3.                        paragraph (e) of this section, the Dc
                                                 327 of appendix A to this part for                         (v) For ethylene oxide, a sampling                 value for any of the next three sampling
                                                 ethylene oxide or vinyl chloride to                     period Dc of 0.2 mg/m3.                               periods, for which the sampling start
                                                 determine the root cause of the                            (vi) For vinyl chloride, a sampling                time begins after the completion of the
                                                 exceedance.                                             period Dc of 3 mg/m3.                                 initial corrective actions, is greater than
                                                   (B) If the owner or operator has not                     (f) An owner or operator must develop              the level specified in paragraphs (f)(2)(i)
                                                 determined the root cause of the                        a corrective action plan if the conditions            and (ii) of this section for the
                                                 exceedance within 30 days of                            in paragraphs (f)(1), (2), or (3) of this             compound(s) that initially exceeded the
                                                 determining that the action level has                   section are met. The corrective action                action level. The corrective action plan
                                                 been exceeded, the owner or operator                    plan must describe the corrective                     must include the implementation of
                                                 must employ the appropriate real-time                   action(s) completed to date, additional               real-time sampling techniques to locate
                                                 sampling techniques (e.g., mobile gas                   measures that the owner or operator                   the primary and other contributing
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                                                 chromatographs, optical spectroscopy                    proposes to employ to reduce annual                   causes of the exceedance. The owner or
                                                 instruments, sensors) to locate the cause               average fenceline concentrations below                operator must submit the corrective
                                                 of the exceedance. If the root cause is                 the action level(s) set forth in paragraph            action plan to the Administrator within
                                                 not identified after 48 hours, either the               (d)(3) of this section, and a schedule for            60 days after receiving the analytical
                                                 real-time monitor must be relocated or                  completion of these measures. The                     results indicating that the Dc value for
                                                 an additional real-time monitor must be                 corrective action plan does not need to               the sampling period following the
                                                 added. Relocation or addition of extra                  be approved by the Administrator.                     completion of the initial corrective


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                                                 action is greater than the level specified              procedures, measurement frequency,                    when the Administrator receives the
                                                 in paragraphs (f)(2)(i) and (ii) of this                recording frequency, measurement                      plan.
                                                 section.                                                detection limit, and data quality                        (iv) If the Administrator finds any
                                                    (i) For ethylene oxide, a sampling                   indicators to ensure accuracy, precision,             deficiencies in the site-specific
                                                 period Dc of 0.2 mg/m3.                                 and validity of the data.                             monitoring plan and disapproves the
                                                    (ii) For vinyl chloride, a sampling                     (vi) A detailed description of how                 plan in writing, the owner or operator
                                                 period Dc of 3 mg/m3.                                   data will be handled during periods of                may revise and resubmit the site-
                                                    (3) The owner or operator must                       calm wind conditions (i.e., less than 2               specific monitoring plan following the
                                                 develop a corrective action plan if                     miles per hour).                                      requirements in paragraphs (g)(3)(i) and
                                                 complete implementation of all                             (2) When an approved site-specific                 (ii) of this section. The 90-day period
                                                 corrective measures identified in the                   monitoring plan is used, the owner or                 starts over with the resubmission of the
                                                 root cause analysis required by                         operator must determine Dc for                        revised monitoring plan.
                                                 paragraph (e) of this section will require              comparison with the action level                         (4) The approval by the Administrator
                                                 more than 45 days. The owner or                         according to paragraph (d) of this                    of a site-specific monitoring plan will be
                                                 operator must submit the corrective                     section. When determining the highest                 based on the completeness, accuracy
                                                 action plan to the Administrator no later               and lowest sample results for use in the              and reasonableness of the request for a
                                                 than 60 days following the completion                   Dc calculation, the concentration for any             site-specific monitoring plan. Factors
                                                 of the root cause analysis required in                  monitor that has been corrected using                 that the Administrator will consider in
                                                 paragraph (e) of this section.                          an approved site-specific monitoring                  reviewing the request for a site-specific
                                                    (g) An owner or operator may request                 plan will be corrected according to the               monitoring plan include, but are not
                                                 approval from the Administrator for a                   procedures specified in paragraphs                    limited to, those described in
                                                 site-specific monitoring plan to account                (g)(2)(i) and (ii) of this section.                   paragraphs (g)(4)(i) through (v) of this
                                                 for offsite upwind sources according to                    (i) For each monitoring location                   section.
                                                 the requirements in paragraphs (g)(1)                   corrected using the site-specific                        (i) The identification of the near-field
                                                 through (4) of this section.                            monitoring plan, the corrected fenceline              source or sources and evidence of how
                                                    (1) The owner or operator must                       concentration at that monitoring station              the sources impact the fenceline
                                                 prepare and submit a site-specific                      will be equal to the fenceline                        concentrations.
                                                 monitoring plan and receive approval of                 concentration measured with Methods                      (ii) The location(s) selected for
                                                 the site-specific monitoring plan prior to              325A and 325B or Method 327 of                        additional monitoring to determine the
                                                 using the near-field source alternative                 appendix A to this part minus the near-               near-field source concentration
                                                 calculation for determining Dc provided                 field source contributing concentration               contribution.
                                                 in paragraph (g)(2) of this section. The                at the measurement location determined                   (iii) The identification of the fenceline
                                                 site-specific monitoring plan must                      using the additional measurements and                 monitoring locations impacted by the
                                                 include, at a minimum, the elements                     calculation procedures included in the                near-field source or sources.
                                                 specified in paragraphs (g)(1)(i) through               site-specific monitoring plan.                           (iv) The appropriateness of the
                                                 (vi) of this section. The procedures in                    (ii) If the fenceline concentration at             planned data reduction and calculations
                                                 Section 12 of Method 325A of appendix                   the monitoring station is below the                   to determine the near-field source
                                                 A to this part are not required, but may                method detection limit for Methods                    concentration contribution for each
                                                 be used, if applicable, when                            325A and 325B or Method 327 of                        monitoring location, including the
                                                 determining near-field source                           appendix A to this part, no near-field                handling of invalid data, data below the
                                                 contributions.                                          source contribution can be subtracted                 detection limit, and data during calm
                                                    (i) Identification of the near-field                 from that monitoring station for that                 periods.
                                                 source or sources.                                      sampling period.                                         (v) The adequacy of the description of
                                                    (ii) Location of the additional                         (3) The site-specific monitoring plan              and rationale for the measurement
                                                 monitoring stations that will be used to                must be submitted and approved as                     technique, measurement location(s), the
                                                 determine the near-field source                         described in paragraphs (g)(3)(i) through             standard operation procedure,
                                                 concentration contribution. The owner                   (iv) of this section.                                 measurement frequency, recording
                                                 or operator must use additional                            (i) The site-specific monitoring plan              frequency, measurement detection limit,
                                                 monitoring stations to determine the                    must be submitted to the Administrator                and data quality indicators to ensure
                                                 near-field source contribution.                         for approval.                                         accuracy, precision, and validity of the
                                                    (iii) Identification of the fenceline                   (ii) The site-specific monitoring plan             data.
                                                 monitoring locations impacted by the                    must also be submitted to the following                  (h) The owner or operator must
                                                 near-field source. If more than one near-               address: U.S. Environmental Protection                comply with the applicable
                                                 field source is present, identify the near-             Agency, Office of Air Quality Planning                recordkeeping and reporting
                                                 field source or sources that are expected               and Standards, Sector Policies and                    requirements in §§ 63.181 and 63.182.
                                                 to contribute to the concentration at that              Programs Division, U.S. EPA Mailroom                     (i) As outlined in § 63.7(f), the owner
                                                 monitoring location.                                    (E143–01), Attention: Hazardous                       or operator may submit a request for an
                                                    (iv) A description of (including                     Organic Chemical Manufacturing Sector                 alternative test method. At a minimum,
                                                 sample calculations illustrating) the                   Lead, 109 T.W. Alexander Drive, P.O.                  the request must follow the
                                                 planned data reduction; the treatment of                Box 12055, Research Triangle Park, NC                 requirements outlined in paragraphs
                                                 invalid data, data below detection                      27711. Electronic copies in lieu of hard              (i)(1) through (7) of this section.
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                                                 limits, and data collected during calm                  copies may also be submitted to                          (1) The alternative method may be
                                                 wind periods; and calculations to                       fencelineplan@epa.gov.                                used in lieu of all or a partial number
                                                 determine the near-field source                            (iii) The Administrator will approve               of passive samplers required in Method
                                                 concentration contribution for each                     or disapprove the plan in 90 days. The                325A of appendix A to this part or the
                                                 monitoring location.                                    plan is considered approved if the                    canister sampling locations required
                                                    (v) A detailed description of the                    Administrator either approves the plan                under paragraph (b) of this section.
                                                 measurement technique, measurement                      in writing or fails to disapprove the plan               (2) The alternative method must be
                                                 location(s), the standard operating                     in writing. The 90-day period begins                  validated according to Method 301 in


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                                                 appendix A to this part or contain                                         (the spacing that would be provided by                                     recording) for each successive 15-
                                                 performance-based procedures and                                           the sorbent traps when following                                           minute period.
                                                 indicators to ensure self-validation.                                      Method 325A of appendix A to this                                             (6) For alternative test methods
                                                    (3) The method detection limit must                                     part) or canister sample footprint, as                                     capable of real time measurements (less
                                                 nominally be at least one-third of the                                     applicable. For example, if Method                                         than a 5 minute sampling and analysis
                                                 action level for the compound(s) that                                      325A requires spacing monitors A and                                       cycle), the alternative test method may
                                                 will be monitored with the alternative                                     B 610 meters (2,000 feet) apart, then the                                  allow for elimination of data points
                                                 method. The alternate test method must                                     physical path length limit for the                                         corresponding to outside emission
                                                 describe the procedures used to provide                                    measurement at that portion of the                                         sources for purpose of calculation of the
                                                 field verification of the detection limit.                                 fenceline must be no more than 610                                         high point for the two week average.
                                                    (4) If the alternative test method will                                 meters (2,000 feet).                                                       The alternative test method approach
                                                 be used to replace some or all passive                                        (ii) For range resolved open-path                                       must have wind speed, direction and
                                                 samplers required under paragraph (a)                                      instrument or approach, the instrument                                     stability class of the same time
                                                 of this section, the spatial coverage must                                 or approach must be able to resolve an                                     resolution and within the footprint of
                                                 be equal to or better than the spatial                                                                                                                the instrument.
                                                                                                                            average concentration over each passive
                                                 coverage provided in Method 325A of
                                                                                                                            sampler footprint or canister sample                                          (7) For purposes of averaging data
                                                 appendix A to this part. If the
                                                                                                                            footprint within the path length of the                                    points to determine the Dc for the
                                                 alternative test method will be used to
                                                                                                                            instrument.                                                                individual sampling period, all results
                                                 replace some or all canisters required
                                                                                                                               (iii) The extra samplers required in                                    measured under the method detection
                                                 under paragraph (b) of this section, the
                                                 spatial coverage must be equal to or                                       Sections 8.2.1.3 of Method 325A of                                         limit must use the method detection
                                                 better than the spatial coverage                                           appendix A to this part may be omitted                                     limit. For purposes of averaging data
                                                 provided under paragraph (b) of this                                       when they fall within the path length of                                   points for the individual sampling
                                                 section.                                                                   an open-path instrument.                                                   period low sample result, all results
                                                    (i) For path average concentration                                         (5) At a minimum, non-integrating                                       measured under the method detection
                                                 open-path instruments, the physical                                        alternative test methods must provide a                                    limit must use zero.
                                                 path length of the measurement must be                                     minimum of one cycle of operation                                          ■ 117. Revise tables 1 through 4 to
                                                 no more than a passive sample footprint                                    (sampling, analyzing, and data                                             subpart H to read as follows:

                                                                                                          TABLE 1 TO SUBPART H OF PART 63—BATCH PROCESSES
                                                                                                                  [Monitoring frequency for equipment other than connectors]

                                                                                                                                              Equivalent continuous process monitoring frequency time in use
                                                                    Operating time
                                                                     (% of year)                                                         Monthly                                                       Quarterly                                   Semiannually

                                                 0 to <25 .................................................      Quarterly ...............................................      Annually ................................................       Annually.
                                                 25 to <50 ...............................................       Quarterly ...............................................      Semiannually ........................................           Annually.
                                                 50 to <75 ...............................................       Bimonthly ..............................................       Three times ..........................................          Semiannually.
                                                 75 to 100 ...............................................       Monthly .................................................      Quarterly ...............................................       Semiannually.


                                                      TABLE 2 TO SUBPART H OF PART 63—SURGE CONTROL VESSELS AND BOTTOMS RECEIVERS AT EXISTING SOURCES
                                                                                                                                   Vessel capacity                                                                                               Vapor pressure 1
                                                                                                                                   (cubic meters)                                                                                                  (kilopascals)

                                                 75 ≤ capacity <151 ......................................................................................................................................................................                      ≥13.1
                                                 151 ≤ capacity .............................................................................................................................................................................                   a ≥5.2

                                                    1 Maximum true vapor pressure of total organic HAP at operating temperature as defined in subpart G of this part.



                                                         TABLE 3 TO SUBPART H OF PART 63—SURGE CONTROL VESSELS AND BOTTOMS RECEIVERS AT NEW SOURCES
                                                                                                                                   Vessel capacity                                                                                               Vapor pressure 1
                                                                                                                                   (cubic meters)                                                                                                  (kilopascals)

                                                 38 ≤ capacity <151 ......................................................................................................................................................................                      ≥13.1
                                                 151 ≤ capacity .............................................................................................................................................................................                    ≥0.7
                                                    1 Maximum true vapor pressure of total organic HAP at operating temperature as defined in subpart G of this part.



                                                                            TABLE 4 TO SUBPART H OF PART 63—APPLICABLE 40 CFR PART 63 GENERAL PROVISIONS
                                                                                                                40 CFR part 63, subpart A, provisions applicable to subpart H
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                                                 § 63.1(a)(1), (a)(2), (a)(3), (a)(13), (a)(14), (b)(2) and (c)(4).
                                                 § 63.2.
                                                 § 63.5(a)(1), (a)(2), (b), (d)(1)(ii), (d)(4), (e), (f)(1) and (f)(2).
                                                 § 63.6(a), (b)(3), (c)(5), (i)(1), (i)(2), (i)(4)(i)(A), (i)(5) through (i)(14), (i)(16) and (j).
                                                 § 63.9(a)(2), (b)(4)(i),a (b)(4)(ii), (b)(4)(iii), (b)(5),a (c), (d), (j) and (k).
                                                 § 63.10(d)(4).
                                                 § 63.11 (c), (d), and (e).



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                                                             TABLE 4 TO SUBPART H OF PART 63—APPLICABLE 40 CFR PART 63 GENERAL PROVISIONS—Continued
                                                                                                 40 CFR part 63, subpart A, provisions applicable to subpart H

                                                 § 63.12(b).
                                                     a The notifications specified in § 63.9(b)(4)(i) and (b)(5) shall be submitted at the times specified in 40 CFR part 65.




                                                 ■ 118. Revise the heading to subpart I to                   (i) The owner or operator of a source              malfunction. You must record the
                                                 read as follows:                                         subject to this subpart shall comply                  process information that is necessary to
                                                                                                          with the requirements at all times,                   document operating conditions during
                                                 Subpart I—National Emission                              except during periods of nonoperation                 the test and include in such record an
                                                 Standards for Hazardous Air Pollutants                   of the source (or specific portion                    explanation to support that such
                                                 for Certain Processes Subject to the                     thereof) resulting in cessation of the                conditions represent normal operation.
                                                 Negotiated Regulation for Equipment                      emissions to which this subpart or                    Upon request, you must make available
                                                 Leaks                                                    subpart H of this part applies.                       to the Administrator such records as
                                                                                                             (ii) At all times, owners and operators            may be necessary to determine the
                                                 ■ 119. Amend § 63.192 by:                                subject to this subpart must operate and              conditions of performance tests.
                                                 ■ a. Revising paragraphs (b)(6), (7) and                 maintain any source, including
                                                 (10), and adding paragraph (b)(12);                                                                            *       *     *    *     *
                                                                                                          associated air pollution control
                                                 revising paragraph (c)(3) and adding                                                                              (f) * * *
                                                                                                          equipment and monitoring equipment,
                                                 paragraph (c)(5); and                                    in a manner consistent with safety and                   (2) The owner or operator subject to
                                                 ■ b. Revising and republishing
                                                                                                          good air pollution control practices for              subparts I and H of this part shall keep
                                                 paragraph (f)(2) and revising (g)                        minimizing emissions. The general duty                the records specified in this paragraph,
                                                 introductory text.                                       to minimize emissions does not require                as well as records specified in subpart
                                                   The revisions, additions and                           owners and operators to make any                      H of this part.
                                                 republication read as follows:                           further efforts to reduce emissions if                   (i) Records of the occurrence and
                                                                                                          levels required by the applicable                     duration of each start-up, shutdown,
                                                 § 63.192      Standard.
                                                                                                          standard have been achieved.                          and malfunction of operation of a
                                                 *       *      *      *      *                                                                                 process subject to this subpart as
                                                    (b) * * *                                             Determination of whether a source is
                                                                                                          operating in compliance with operation                specified in § 63.190(b). On and after
                                                    (6)(i) Except as specified in paragraph                                                                     July 15, 2027, this paragraph no longer
                                                 (b)(12) of this section, the compliance                  and maintenance requirements will be
                                                                                                          based on information available to the                 applies; however, for historical
                                                 with standards and maintenance                                                                                 compliance purposes, a copy of these
                                                 requirements of § 63.6(a), (b)(3), (c)(5),               Administrator which may include, but
                                                                                                          is not limited to, monitoring results,                records must be retained and available
                                                 (e), (i)(1), (i)(2), (i)(4)(i)(A), (i)(6)(i), (i)(8)                                                           on-site for at least five years after the
                                                 through (i)(10), (i)(12) through (i)(14),                review of operation and maintenance
                                                                                                          procedures, review of operation and                   date of occurrence.
                                                 (i)(16), and (j);
                                                    (ii) Except as specified in paragraph                 maintenance records, and inspection of                   (ii) Records of the occurrence and
                                                 (b)(12) of this section, the operational                 the source.                                           duration of each malfunction of air
                                                                                                             (iii) Owners and operators that use a              pollution control equipment or
                                                 and maintenance requirements of
                                                                                                          flare to comply with this subpart must                continuous monitoring systems used to
                                                 § 63.6(e). The startup, shutdown, and
                                                                                                          comply with § 63.108.                                 comply with subparts I and H of this
                                                 malfunction plan requirement of                             (c) * * *
                                                 § 63.6(e)(3) is limited to control devices                                                                     part.
                                                                                                             (3) Performance tests shall be                        (iii) For each start-up, shutdown, and
                                                 subject to the provisions of subpart H of                conducted according to the provisions
                                                 this part and is optional for other                                                                            malfunction, records that the
                                                                                                          of § 63.7(e), except that performance                 procedures specified in the source’s
                                                 equipment subject to subpart H. The                      tests shall be conducted at maximum
                                                 startup, shutdown, and malfunction                                                                             start-up, shutdown, and malfunction
                                                                                                          representative operating conditions for               plan were followed, and documentation
                                                 plan may include written procedures                      the process except as specified in
                                                 that identify conditions that justify a                                                                        of actions taken that are not consistent
                                                                                                          paragraph (c)(5) of this section. During              with the plan. These records may take
                                                 delay of repair. On and after July 15,                   the performance test, an owner or
                                                 2027, the last two sentences of this                                                                           the form of a ‘‘checklist,’’ or other form
                                                                                                          operator may operate the control or                   of recordkeeping that confirms
                                                 paragraph do not apply.                                  recovery device at maximum or
                                                    (7) With respect to flares, except as                                                                       conformance with the startup,
                                                                                                          minimum representative operating                      shutdown, and malfunction plan for the
                                                 specified in paragraph (b)(12) of this                   conditions for monitored control or
                                                 section, the performance testing                                                                               event. On and after July 15, 2027, this
                                                                                                          recovery device parameters, whichever                 paragraph no longer applies; however,
                                                 requirements of § 63.7(a)(3), (d), (e)(1),               results in lower emission reduction.
                                                 (e)(2), (e)(4), and (h);                                                                                       for historical compliance purposes, a
                                                                                                          *       *     *    *    *                             copy of the plan and these records must
                                                 *       *      *      *      *                              (5) On and after July 15, 2027, in lieu
                                                    (10) Except as specified in paragraph                                                                       be retained and available on-site for at
                                                                                                          of the requirements specified in                      least five years after the date of
                                                 (b)(12) of this section, the control device              § 63.7(e)(1) you must conduct
                                                 requirements of § 63.11(b); and                                                                                occurrence.
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                                                                                                          performance tests under such
                                                                                                                                                                   (g) All reports required under subpart
                                                 *       *      *      *      *                           conditions as the Administrator
                                                                                                                                                                H shall be submitted as required in
                                                    (12) On and after July 15, 2027,                      specifies based on representative
                                                                                                                                                                § 63.182.
                                                 § 63.6(e)(1)(i), (e)(1)(ii), and (e)(3),                 performance of the affected source for
                                                 § 63.7(e)(1), and § 63.11(b) do not apply.               the period being tested. Representative               *       *     *    *     *
                                                 Instead, you must comply with                            conditions exclude periods of startup                 ■ 120. Amend § 63.480 by revising
                                                 paragraphs (b)(12)(i) through (iii) of this              and shutdown. You may not conduct                     paragraphs (j) introductory text and
                                                 section.                                                 performance tests during periods of                   (j)(4) introductory text as follows:


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                                                 § 63.480 Applicability and designation of               section, and paragraphs (n) and (o) of                § 63.504(a)(1)(iii), and
                                                 affected sources.                                       this section, existing affected sources               § 63.506(e)(6)(iii)(C).
                                                 *      *    *      *     *                              shall be in compliance with § 63.502 no                  (2) For flares, the requirements
                                                    (j) Applicability of this subpart.                   later than July 31, 1997, unless an                   specified in § 63.508.
                                                 Paragraphs (j)(1) through (3) of this                   extension has been granted pursuant to                   (3) For storage vessels, the
                                                 section must be followed during periods                 paragraph (e) of this section.                        requirements specified in § 63.484(t)
                                                 of non-operation of the affected source                 *      *     *     *     *                            and § 63.506(e)(4)(ii)(F)(6).
                                                 or any part thereof.                                       (k) Applicability of other regulations                (4) For continuous front-end process
                                                 *      *    *      *     *                              for monitoring, recordkeeping or                      vents, the requirements specified in
                                                    (4) Beginning on July 15, 2024, this                 reporting with respect to combustion                  §§ 63.485(l)(6), (o)(6), (p)(5), (q)(1)(vii),
                                                 paragraph (j)(4) no longer applies. In                  devices, recovery devices, or recapture               (x), § 63.503(g)(2)(iii)(B)(4), and
                                                 response to an action to enforce the                    devices. (1) After the compliance dates               § 63.506(e)(4)(ii)(F)(6).
                                                 standards set forth in this subpart, an                                                                          (5) For batch front-end process vents,
                                                                                                         specified in this subpart, if any
                                                 owner or operator may assert an                                                                               the requirements specified in
                                                                                                         combustion device, recovery device or
                                                 affirmative defense to a claim for civil                                                                      §§ 63.487(a)(3), (b)(3), and (e)(1)(iv) and
                                                                                                         recapture device subject to this subpart
                                                 penalties for exceedances of such                                                                             (i), §§ 63.488(d)(2), (e)(4), (f)(2), and
                                                                                                         is also subject to monitoring,
                                                 standards that are caused by a                                                                                (g)(3), §§ 63.489(b)(10) and (d)(3),
                                                                                                         recordkeeping, and reporting
                                                 malfunction, as defined in § 63.2.                                                                            §§ 63.491(d)(1)(iii), (e)(6), and (h),
                                                                                                         requirements in 40 CFR part 264 subpart
                                                 Appropriate penalties may be assessed,                                                                        § 63.492(g), and Table 6 to this subpart,
                                                                                                         AA or CC, or is subject to monitoring
                                                 however, if the owner or operator fails                                                                       item 3 in column 3 for diversion to the
                                                                                                         and recordkeeping requirements in 40
                                                 to meet the burden of proving all the                                                                         atmosphere and monthly inspections of
                                                                                                         CFR part 265 subpart AA or CC and the
                                                 requirements in the affirmative defense.                                                                      sealed valves for all control devices.
                                                                                                         owner or operator complies with the
                                                 The affirmative defense shall not be                                                                             (6) For back-end processes, the
                                                                                                         periodic reporting requirements under
                                                 available for claims for injunctive relief.                                                                   requirements specified in
                                                                                                         40 CFR part 264 subpart AA or CC that
                                                 *      *    *      *     *                                                                                    §§ 63.497(a)(8) and (d)(3), and
                                                                                                         would apply to the device if the facility
                                                                                                                                                               § 63.498(d)(5)(v).
                                                 ■ 121. Amend § 63.481 by revising                       had final-permitted status, the owner or                 (7) For wastewater, the requirements
                                                 paragraph (a), (b), (c) introductory text,              operator may elect to comply either                   specified in §§ 63.501(d), (e), and (f).
                                                 (d) introductory text, (k), and adding                  with the monitoring, recordkeeping and                   (8) For equipment leaks, the
                                                 paragraphs (k)(2) and (n) through (p) as                reporting requirements of this subpart,               requirements specified in
                                                 follows:                                                or with the monitoring, recordkeeping                 §§ 63.502(a)(2) and (k)(2).
                                                                                                         and reporting requirements in 40 CFR                     (9) For heat exchange systems, the
                                                 § 63.481 Compliance dates and
                                                 relationship of this subpart to existing                parts 264 and/or 265, as described in                 requirements specified in
                                                 applicable rules.                                       this paragraph, which shall constitute                §§ 63.502(n)(7) and (n)(8).
                                                    (a) Affected sources are required to                 compliance with the monitoring,                          (o) All affected sources that
                                                 achieve compliance on or before the                     recordkeeping and reporting                           commenced construction or
                                                 dates specified in paragraphs (b)                       requirements of this subpart. The owner               reconstruction on or before April 25,
                                                 through (d) of this section and                         or operator shall identify which option               2023, must be in compliance with the
                                                 paragraphs (n) and (o) of this section.                 has been selected in the Notification of              chloroprene requirements in
                                                 Paragraph (e) of this section provides                  Compliance Status required by                         §§ 63.484(u), 63.485(y) and (z),
                                                 information on requesting compliance                    § 63.506(e)(5).                                       63.487(j), 63.494(a)(7), 63.501(a)(10)(iv),
                                                 extensions. Paragraphs (f) through (l) of                  (2) Owners and operators of flares that            63.502(a)(3) and (a)(7), 63.509, and
                                                 this section discuss the relationship of                are subject to the flare related                      63.510 upon initial startup or on
                                                 this subpart to subpart A and to other                  requirements of this subpart and are                  October 15, 2024, whichever is later. All
                                                 applicable rules. Where an override of                  also subject to flare related requirements            affected sources that commenced
                                                 another authority of the Act is indicated               of any other regulation in this part or 40            construction or reconstruction after
                                                 in this subpart, only compliance with                   CFR part 61 or 63, may elect to comply                April 25, 2023, must be in compliance
                                                 the provisions of this subpart is                       with the requirements in § 63.508 in                  with the chloroprene requirements in
                                                 required. Paragraph (m) of this section                 lieu of all flare related requirements in             §§ 63.484(u), 63.485(x) and (z),
                                                 specifies the meaning of time periods.                  any other regulation in this part or 40               63.487(j), 63.494(a)(7),
                                                    (b) Except as specified in paragraphs                CFR part 61 or 63.                                    § 63.501(a)(10)(iv), 63.502(q),
                                                 (n) and (o) of this section, new affected               *      *     *     *     *                            63.502(a)(3) and (a)(7), 63.509, and
                                                 sources that commence construction or                      (n) All affected sources that                      63.510 upon initial startup, or on July
                                                 reconstruction after June 12, 1995 shall                commenced construction or                             15, 2024, whichever is later.
                                                 be in compliance with this subpart upon                 reconstruction on or before April 25,                    (p) The compliance schedule for
                                                 initial start-up or by June 19, 2000,                   2023, must be in compliance with the                  fenceline monitoring is specified in
                                                 whichever is later.                                     requirements listed in paragraphs (n)(1)              paragraphs (p)(1) and (2) of this section.
                                                    (c) With the exceptions provided in                  through (9) of this section upon initial                 (1) Except as specified in paragraph
                                                 paragraphs (c)(1) through (3) of this                   startup or on July 15, 2027, whichever                (p)(2) of this section, all affected sources
                                                 section and paragraphs (n) and (o) of                   is later. All affected sources that                   that commenced construction or
                                                 this section, existing affected sources                 commenced construction or                             reconstruction on or before April 25,
                                                 shall be in compliance with this subpart                                                                      2023, must commence fenceline
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                                                                                                         reconstruction after April 25, 2023,
                                                 no later than June 19, 2001, as provided                must be in compliance with the                        monitoring according to the
                                                 in § 63.6(c), unless an extension has                   requirements listed in paragraphs (n)(1)              requirements in § 63.502(a)(4) by no
                                                 been granted as specified in paragraph                  through (9) of this section upon initial              later than July 15, 2026, however
                                                 (e) of this section.                                    startup, or on July 15, 2024, whichever               requirements for corrective actions are
                                                 *      *     *     *     *                              is later.                                             not required until on or after July 15,
                                                    (d) Except as provided for in                           (1) The general requirements specified             2027. All affected sources that
                                                 paragraphs (d)(1) through (d)(6) of this                in § 63.483(e), § 63.504(a),                          commenced construction or


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                                                 reconstruction after April 25, 2023,                    Hazardous air pollutant (§ 63.2)                      Temperature monitoring device
                                                 must be in compliance with the                          Heat exchange system (§ 63.101)                          (§ 63.101)
                                                 fenceline monitoring requirements                       Impurity (§ 63.101)                                   Test method (§ 63.2)
                                                 listed in § 63.502(a)(4) upon initial                   Incinerator (§ 63.101)                                Treatment process (§ 63.101)
                                                 startup, or on July 15, 2024, whichever                 In organic hazardous air pollutant                    Unit operation (§ 63.101)
                                                 is later.                                                 service or in organic HAP service                   Visible emission (§ 63.2)
                                                    (2) For affected sources producing                     (§ 63.101)                                             (b) All other terms used in this
                                                 neoprene, the compliance schedule                       Instrumentation system (§ 63.101)                     subpart shall have the meaning given
                                                 specified in paragraph (p)(1) of this                   Internal floating roof (§ 63.101)                     them in this section. If a term is defined
                                                 section does not apply for chloroprene.                 Lesser quantity (§ 63.2)                              in a subpart referenced in this section,
                                                 Instead, all affected sources producing                 Major source (§ 63.2)                                 it shall have the meaning given in this
                                                 neoprene that commenced construction                    Malfunction (§ 63.2)                                  section for purposes of this subpart.
                                                 or reconstruction on or before April 25,                Oil-water separator or organic-water                     Affected source is defined in
                                                 2023, must be in compliance with the                      separator (§ 63.101)                                § 63.480(a).
                                                 fenceline monitoring requirements for                   Open-ended valve or line (§ 63.101)                      Affirmative defense means, in the
                                                 chloroprene listed in § 63.502(a)(4) and                Operating permit (§ 63.101)                           context of an enforcement proceeding, a
                                                 (a)(7) upon initial startup or on October               Organic monitoring device (§ 63.101)
                                                                                                                                                               response or a defense put forward by a
                                                 15, 2024, whichever is later. All affected              Owner or operator (§ 63.2)
                                                                                                                                                               defendant, regarding which the
                                                 sources producing neoprene that                         Performance evaluation (§ 63.2)
                                                                                                                                                               defendant has the burden of proof, and
                                                 commenced construction or                               Performance test (§ 63.2)
                                                                                                                                                               the merits of which are independently
                                                 reconstruction after April 25, 2023,                    Permitting authority (§ 63.2)
                                                                                                         Plant site (§ 63.101)                                 and objectively evaluated in a judicial
                                                 must be in compliance with the                                                                                or administrative proceeding. Beginning
                                                 fenceline monitoring requirements for                   Potential to emit (§ 63.2)
                                                                                                         Pressure release (§ 63.101)                           on July 15, 2024, this definition of
                                                 chloroprene listed in § 63.502(a)(4) and                                                                      affirmative defense no longer applies.
                                                 (a)(7) upon initial startup, or on July 15,             Primary fuel (§ 63.101)
                                                                                                         Pressure release (§ 63.101)                              Aggregate batch vent stream means a
                                                 2024, whichever is later.                                                                                     gaseous emission stream containing
                                                                                                         Pressure relief device (§ 63.101)
                                                 ■ 122. Revise and republish § 63.482 to                 Pressure vessel (§ 63.101)                            only the exhausts from two or more
                                                 read as follows:                                        Process heater (§ 63.101)                             batch front-end process vents that are
                                                                                                         Process unit shutdown (§ 63.101)                      ducted, hard-piped, or otherwise
                                                 § 63.482   Definitions.                                                                                       connected together for a continuous
                                                                                                         Process wastewater (§ 63.101)
                                                   (a) The following terms used in this                                                                        flow.
                                                                                                         Process wastewater stream (§ 63.101)
                                                 subpart shall have the meaning given                    Reactor (§ 63.101)                                       Annual average batch vent
                                                 them in § 63.2, § 63.101, or the Act, as                Recapture device (§ 63.101)                           concentration is determined using
                                                 specified after each term:                              Relief valve (§ 63.101)                               Equation 17, as described in
                                                 Act (§ 63.2)                                            Repaired (§ 63.101)                                   § 63.488(h)(2) for halogenated
                                                 Administrator (§ 63.2)                                  Research and development facility                     compounds.
                                                 Automated monitoring and recording                        (§ 63.101)                                             Annual average batch vent flow rate
                                                   system (§ 63.101)                                     Routed to a process or route to a process             is determined by the procedures in
                                                 Boiler (§ 63.101)                                         (§ 63.101)                                          § 63.488(e)(3).
                                                 Bottoms receiver (§ 63.101)                             Run (§ 63.2)                                             Annual average concentration, as
                                                 Breakthrough (§ 63.101)                                 Secondary fuel (§ 63.101)                             used in the wastewater provisions,
                                                 By compound (§ 63.101)                                  Sensor (§ 63.101)                                     means the flow-weighted annual
                                                 By-product (§ 63.101)                                   Specific gravity monitoring device                    average concentration, as determined
                                                 Car-seal (§ 63.101)                                       (§ 63.101)                                          according to the procedures specified in
                                                 Closed-vent system (§ 63.101)                           Start-up, shutdown, and malfunction                   § 63.144(b), with the exceptions noted
                                                 Combustion device (§ 63.101)                              plan (§ 63.101) On and after July 15,               in § 63.501, for the purposes of this
                                                 Commenced (§ 63.2)                                        2027, this definition no longer                     subpart.
                                                 Compliance date (§ 63.2)                                  applies.                                               Annual average flow rate, as used in
                                                 Connector (§ 63.101)                                    State (§ 63.2)                                        the wastewater provisions, means the
                                                 Continuous monitoring system (§ 63.2)                   Stationary Source (§ 63.2)                            annual average flow rate, as determined
                                                 Distillation unit (§ 63.101)                            Surge control vessel (§ 63.101)                       according to the procedures specified in
                                                 Duct work (§ 63.101)                                    Temperature monitoring device                         § 63.144(c), with the exceptions noted in
                                                 Emission limitation (Section 302(k) of                    (§ 63.101)                                          § 63.501, for the purposes of this
                                                   the Act)                                              Test method (§ 63.2)                                  subpart.
                                                 Emission standard (§ 63.2)                              Treatment process (§ 63.101)                             Average batch vent concentration is
                                                 Emissions averaging (§ 63.2)                            Unit operation (§ 63.101)                             determined by the procedures in
                                                 EPA (§ 63.2)                                            Visible emission (§ 63.2)                             § 63.488(b)(5)(iii) for HAP
                                                 Equipment leak (§ 63.101)                               Secondary fuel (§ 63.101)                             concentrations and is determined by the
                                                 External floating roof (§ 63.101)                       Sensor (§ 63.101)                                     procedures in § 63.488(h)(1)(iii) for
                                                 Fill or filling (§ 63.101)                              Specific gravity monitoring device                    organic compounds containing halogens
                                                 Fixed capital cost (§ 63.2)                                                                                   and hydrogen halides.
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                                                                                                           (§ 63.101)
                                                 Flame zone (§ 63.101)                                   Start-up, shutdown, and malfunction                      Average batch vent flow rate is
                                                 Floating roof (§ 63.101)                                  plan (§ 63.101) On and after July 15,               determined by the procedures in
                                                 Flow indicator (§ 63.101)                                 2027, this definition no longer                     § 63.488(e)(1) and (2).
                                                 Fuel gas system (§ 63.101)                                applies.                                               Back-end refers to the unit operations
                                                 Halogens and hydrogen halides                           State (§ 63.2)                                        in an EPPU following the stripping
                                                   (§ 63.101)                                            Stationary Source (§ 63.2)                            operations. Back-end process operations
                                                 Hard-piping (§ 63.101)                                  Surge control vessel (§ 63.101)                       include, but are not limited to, filtering,


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                                                 coagulation, blending, concentration,                   The primary occurrence of a combined                  the term ‘‘process vent,’’ for the purpose
                                                 drying, separating, and other finishing                 vent stream is as combined emissions                  of this subpart.
                                                 operations, as well as latex and crumb                  from a continuous front-end process                      Crumb rubber dry weight means the
                                                 storage. Back-end does not include                      vent and a batch front-end process vent.              weight of the polymer, minus the weight
                                                 storage and loading of finished product                    Combustion device burner means a                   of water and residual organics.
                                                 or emission points that are regulated                   device designed to mix and ignite fuel                   Dioxins and furans means total tetra-
                                                 under § 63.484, § 63.501, or § 63.502.                  and air to provide a flame to heat and                through octachlorinated dibenzo-p-
                                                   Batch cycle means the operational                     oxidize waste organic vapors in a                     dioxins and dibenzofurans.
                                                 step or steps, from start to finish, that               combustion device.                                       Drawing unit means a unit operation
                                                 occur as part of a batch unit operation.                   Compounding unit means a unit                      which converts polymer into a different
                                                   Batch emission episode means a                        operation which blends, melts, and                    shape by melting or mixing the polymer
                                                 discrete emission venting episode                       resolidifies solid polymers for the                   and then pulling it through an orifice to
                                                 associated with a single batch unit                     purpose of incorporating additives,                   create a continuously extruded product.
                                                 operation. Multiple batch emission                      colorants, or stabilizers into the final                 Elastomer means any polymer having
                                                 episodes may occur from a single batch                  elastomer product. A unit operation                   a glass transition temperature lower
                                                 unit operation.                                         whose primary purpose is to remove                    than ¥10 °C, or a glass transition
                                                   Batch front-end process vent means a                  residual monomers from polymers is not                temperature between ¥10 °C and 25 °C
                                                 process vent with annual organic HAP                    a compounding unit.                                   that is capable of undergoing
                                                 emissions greater than 225 kilograms                       Construction means the on-site                     deformation (stretching) of several
                                                 per year from a batch unit operation                    fabrication, erection, or installation of             hundred percent and recovering
                                                 within an affected source and located in                an affected source. Construction also                 essentially when the stress is removed.
                                                 the front-end of a process unit. Annual                 means the on-site fabrication, erection,              For the purposes of this subpart, resins
                                                 organic HAP emissions are determined                    or installation of a process unit or                  are not considered to be elastomers.
                                                 as specified in § 63.488(b) at the                      combination of process units which                       Elastomer product means one of the
                                                 location specified in § 63.488(a)(2).                   subsequently becomes an affected                      following types of products, as they are
                                                   Batch mass input limitation means an                  source or part of an affected source, due             defined in this section:
                                                 enforceable restriction on the total mass               to a change in primary product.                          (i) Butyl Rubber;
                                                 of HAP or material that can be input to                    Continuous front-end process vent                     (ii) Epichlorohydrin Elastomer;
                                                 a batch unit operation in one year.                     means a process vent located in the                      (iii) Ethylene Propylene Rubber;
                                                   Batch mode means the discontinuous                    front-end of a process unit and                          (iv) HypalonTM;
                                                 bulk movement of material through a                     containing greater than 0.005 weight                     (v) Neoprene;
                                                 unit operation. Mass, temperature,                      percent total organic HAP from a                         (vi) Nitrile Butadiene Rubber;
                                                 concentration, and other properties may                 continuous unit operation within an                      (vii) Nitrile Butadiene Latex;
                                                 vary with time. For a unit operation                    affected source. The total organic HAP                   (viii) Polybutadiene Rubber/Styrene
                                                 operated in a batch mode (i.e., batch                   weight percent is determined after the                Butadiene Rubber by Solution;
                                                 unit operation), the addition of material               last recovery device, as described in                    (ix) Polysulfide Rubber;
                                                 and withdrawal of material do not                       § 63.115(a), and is determined as                        (x) Styrene Butadiene Rubber by
                                                 typically occur simultaneously.                         specified in § 63.115(c).                             Emulsion; and
                                                   Batch process means, for the purposes                    Continuous mode means the                             (xi) Styrene Butadiene Latex.
                                                 of this subpart, a process where the                    continuous movement of material                          Elastomer product process unit
                                                 reactor(s) is operated in a batch mode.                 through a unit operation. Mass,                       (EPPU) means a collection of equipment
                                                   Batch unit operation means a unit                     temperature, concentration, and other                 assembled and connected by hard-
                                                 operation operated in a batch mode.                     properties typically approach steady-                 piping or duct work, used to process
                                                   Block polymer means a polymer                         state conditions. For a unit operation                raw materials and to manufacture an
                                                 where the polymerization is controlled,                 operated in a continuous mode (i.e.,                  elastomer product as its primary
                                                 usually by performing discrete                          continuous unit operation), the                       product. This collection of equipment
                                                 polymerization steps, such that the final               simultaneous addition of raw material                 includes unit operations; recovery
                                                 polymer is arranged in a distinct pattern               and withdrawal of product is typical.                 operations equipment; process vents;
                                                 of repeating units of the same monomer.                    Continuous process means, for the                  storage vessels, as determined in
                                                   Butyl rubber means a copolymer of                     purposes of this subpart, a process                   § 63.480(g); equipment that is identified
                                                 isobutylene and other monomers.                         where the reactor(s) is operated in a                 in § 63.149; and the equipment that is
                                                 Typical other monomers include                          continuous mode.                                      subject to the equipment leak provisions
                                                 isoprene and methylstyrene. A typical                      Continuous record means                            as specified in § 63.502. Utilities, lines
                                                 composition of butyl rubber is                          documentation, either in hard copy or                 and equipment not containing process
                                                 approximately 85- to 99-percent                         computer readable form, of data values                fluids, and other non-process lines, such
                                                 isobutylene, and 1- to 15-percent other                 measured at least once every 15 minutes               as heating and cooling systems which
                                                 monomers. Most butyl rubber is                          and recorded at the frequency specified               do not combine their materials with
                                                 produced by precipitation                               in § 63.506(d) or (h).                                those in the processes they serve, are
                                                 polymerization, although other methods                     Continuous recorder means a data                   not part of an elastomer product process
                                                 may be used. Halobutyl rubber is a type                 recording device that either records an               unit. An elastomer product process unit
                                                 of butyl rubber elastomer produced                      instantaneous data value at least once                consists of more than one unit
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                                                 using halogenated copolymers.                           every 15 minutes or records 1—hour or                 operation.
                                                   Combined vent stream, as used in                      more frequent block average values.                      Elastomer type means one of the
                                                 reference to batch front-end process                       Continuous unit operation means a                  elastomers listed under ‘‘elastomer
                                                 vents, continuous front-end process                     unit operation operated in a continuous               product’’ in this section. Each elastomer
                                                 vents, and aggregate batch vent streams,                mode.                                                 identified in that definition represents a
                                                 means the emissions from a                                 Control device is defined in § 63.111,             different elastomer type.
                                                 combination of two or more of the                       except that the term ‘‘continuous front-                 Emission point means an individual
                                                 aforementioned types of process vents.                  end process vent’’ shall apply instead of             continuous front-end process vent,


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                                                 batch front-end process vent, back-end                     Flexible operation unit means a                    process vent means a process vent that
                                                 process vent, storage vessel, waste                     process unit that manufactures different              emits greater than or equal to 1.0 pound
                                                 management unit, heat exchange                          chemical products, polymers, or resins                per hour of total organic HAP.
                                                 system, or equipment leak, or                           periodically by alternating raw materials                Group 2 continuous front-end process
                                                 equipment subject to § 63.149.                          or operating conditions. These units are              vent means, before July 15, 2027, a
                                                    Emulsion process means a process                     also referred to as campaign plants or                continuous front-end process vent for
                                                 where the monomer(s) is dispersed in                    blocked operations.                                   which the flow rate is less than 0.005
                                                 droplets throughout a water phase, with                    Front-end refers to the unit operations            standard cubic meter per minute, the
                                                 the aid of an emulsifying agent such as                 in an EPPU prior to, and including, the               total organic HAP concentration is less
                                                 soap or a synthetic emulsifier. The                     stripping operations. For all gas-phased              than 50 parts per million by volume, or
                                                 polymerization occurs either within the                 reaction processes, all unit operations               the total resource effectiveness index
                                                 emulsion droplet or in the aqueous                      are considered to be front-end.                       value, calculated according to § 63.115,
                                                 phase.                                                     Gas-phased reaction process means                  is greater than 1.0. On and after July 15,
                                                    Epichlorohydrin elastomer means an                   an elastomer production process where                 2027, Group 2 continuous front-end
                                                 elastomer formed from the                               the reaction occurs in a gas phase,                   process vent means a process vent that
                                                 polymerization or copolymerization of                   fluidized bed.                                        emits less than 1.0 pound per hour of
                                                 epichlorohydrin (EPI). The main                            Glass transition temperature means                 total organic HAP.
                                                 epichlorohydrin elastomers are                          the temperature at which an elastomer                    Group 1 storage vessel means a
                                                 polyepichlorohydrin, epi-ethylene oxide                 polymer becomes rigid and brittle.                    storage vessel at an existing affected
                                                 (EO) copolymer, epi-allyl glycidyl ether                   Grade means a group of recipes of an               source that meets the applicability
                                                 (AGE) copolymer, and epi-EO-AGE                         elastomer type having similar                         criteria specified in Table 3 of this
                                                 terpolymer. Epoxies produced by the                     characteristics such as molecular                     subpart, or a storage vessel at a new
                                                 copolymerization of EPI and bisphenol                   weight, monomer composition,                          affected source that meets the
                                                 A are not epichlorohydrin elastomers.                   significant mooney values, and the                    applicability criteria specified in Table
                                                    Equipment means, for the purposes of                 presence or absence of extender oil and/              4 of this subpart.
                                                 the provisions in § 63.502(a) through                   or carbon black. More than one recipe                    Group 2 storage vessel means a
                                                 (m) and the requirements in subpart H                   may be used to produce the same grade.                storage vessel that does not fall within
                                                 that are referred to in § 63.502(a)                        Group 1 batch front-end process vent               the definition of a Group 1 storage
                                                 through (m), each pump, compressor,                     means, before July 15, 2027, a batch                  vessel.
                                                 agitator, pressure relief device, sampling              front-end process vent releasing annual                  Group 1 wastewater stream means a
                                                 connection system, open-ended valve or                  organic HAP emissions greater than or                 wastewater stream consisting of process
                                                 line, valve, connector, surge control                   equal to 11,800 kg/yr and with a cutoff               wastewater from an existing or new
                                                 vessel, bottoms receiver, and                           flow rate, calculated in accordance with              affected source that meets the criteria
                                                 instrumentation system in organic                       § 63.488(f), greater than or equal to the             for Group 1 status in § 63.132(c), with
                                                 hazardous air pollutant service; and any                annual average batch vent flow rate.                  the exceptions listed in § 63.501(a)(10)
                                                 control devices or systems required by                  Annual organic HAP emissions and                      for the purposes of this subpart (i.e., for
                                                 subpart H of this part.                                 annual average batch vent flow rate are               organic HAP as defined in this section).
                                                    Ethylene-propylene rubber means an                   determined at the exit of the batch unit                 Group 2 wastewater stream means any
                                                 ethylene-propylene copolymer or an                      operation, as described in § 63.488(a)(2).            process wastewater stream that does not
                                                 ethylene-propylene terpolymer.                          Annual organic HAP emissions are                      meet the definition of a Group 1
                                                 Ethylene-propylene copolymers (EPM)                     determined as specified in § 63.488(b),               wastewater stream.
                                                 result from the polymerization of                       and annual average batch vent flow rate                  Halogenated aggregate batch vent
                                                 ethylene and propylene and contain a                    is determined as specified in                         stream means an aggregate batch vent
                                                 saturated chain of the polymethylene                    § 63.488(e). On and after July 15, 2027,              stream determined to have a total mass
                                                 type. Ethylene-propylene terpolymers                    Group 1 batch front-end process vent                  emission rate of halogen atoms
                                                 (EPDM) are produced in a similar                        means, each batch front-end process                   contained in organic compounds of
                                                 manner as EPM, except that a third                      vent that, when combined, the sum of                  3,750 kg/yr or greater determined by the
                                                 monomer is added to the reaction                        all these process vents would release                 procedures presented in § 63.488(h).
                                                 sequence. Typical third monomers                        annual organic HAP emissions greater                     Halogenated batch front-end process
                                                 include ethylidene norbornene, 1,4-                     than or equal to 4,536 kg/yr (10,000 lb/              vent means a batch front-end process
                                                 hexadiene, or dicyclopentadiene.                        yr) as determined using the procedures                vent determined to have a mass
                                                 Ethylidene norbornene is the most                       specified in § 63.488(b).                             emission rate of halogen atoms
                                                 commonly used. The production                              Group 2 batch front-end process vent               contained in organic compounds of
                                                 process includes, but is not limited to,                means a batch front-end process vent                  3,750 kg/yr or greater determined by the
                                                 polymerization, recycle, recovery, and                  that does not fall within the definition              procedures presented in § 63.488(h).
                                                 packaging operations. The                               of a Group 1 batch front-end process                     Halogenated continuous front-end
                                                 polymerization reaction may occur in                    vent.                                                 process vent means a continuous front-
                                                 either a solution process or a suspension                  Group 1 continuous front-end process               end process vent determined to have a
                                                 process.                                                vent means, before July 15, 2027, a                   mass emission rate of halogen atoms
                                                    Existing affected source is defined in               continuous front-end process vent for                 contained in organic compounds of 0.45
                                                 § 63.480(a)(3).                                         which the flow rate is greater than or                kg/hr or greater determined by the
                                                                                                         equal to 0.005 standard cubic meter per
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                                                    Existing process unit means any                                                                            procedures presented in
                                                 process unit that is not a new process                  minute, the total organic HAP                         § 63.115(d)(2)(v).
                                                 unit.                                                   concentration is greater than or equal to                High conversion latex means a latex
                                                    Extruding unit means a unit operation                50 parts per million by volume, and the               where all monomers are reacted to at
                                                 which converts polymer into a different                 total resource effectiveness index value,             least 95 percent conversion.
                                                 shape by melting or mixing the polymer                  calculated according to § 63.115, is less                Highest-HAP recipe for a product
                                                 and then forcing it through an orifice to               than or equal to 1.0. On and after July               means the recipe of the product with the
                                                 create a continuously extruded product.                 15, 2027, Group 1 continuous front-end                highest total mass of HAP charged to the


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                                                 reactor during the production of a single                  (iii) For wastewater streams, any                  liquid and/or vapor contains more than
                                                 batch of product.                                       wastewater stream in a process at                     one compound.
                                                    HypalonTM means a chlorosulfonated                   affected sources producing neoprene                      Neoprene means a polymer of
                                                 polyethylene that is a synthetic rubber                 that contains total annual average                    chloroprene (2-chloro-1,3-butadiene).
                                                 produced for uses such as wire and                      concentration of chloroprene greater                  The free radical emulsion process is
                                                 cable insulation, shoe soles and heels,                 than or equal to 10 parts per million by              generally used to produce neoprene,
                                                 automotive components, and building                     weight at any flow rate. If knowledge                 although other methods may be used.
                                                 products.                                               exists that suggests chloroprene could                   New process unit means a process
                                                    In chloroprene service means the                     be present in a wastewater stream, then               unit for which the construction or
                                                 following:                                              the wastewater stream is considered to                reconstruction commenced after June
                                                    (i) For process vents, each continuous               be ‘‘in chloroprene service’’ unless                  12, 1995.
                                                 front-end process vent, each batch front-               sampling and analysis is performed as                    Nitrile butadiene latex means a
                                                 end process vent, and each back-end                     specified in § 63.509 to demonstrate that             polymer consisting primarily of
                                                 process vent in a process at affected                   the wastewater stream does not meet the               unsaturated nitriles and dienes, usually
                                                 sources producing neoprene that, when                   definition of being ‘‘in chloroprene                  acrylonitrile and 1,3-butadiene, that is
                                                 uncontrolled, contains a concentration                  service’’. Examples of information that               sold as a latex.
                                                 of greater than or equal to 1 ppmv                      could suggest chloroprene could be                       Nitrile butadiene rubber means a
                                                 undiluted chloroprene, and when                         present in a wastewater stream, include               polymer consisting primarily of
                                                 combined, the sum of all these process                  calculations based on safety data sheets,             unsaturated nitriles and dienes, usually
                                                 vents within the process would emit                     material balances, process                            acrylonitrile and 1,3-butadiene, not
                                                 uncontrolled, chloroprene emissions                     stoichiometry, or previous test results               including nitrile butadiene latex.
                                                 greater than or equal to 5 lb/yr (2.27 kg/              provided the results are still relevant to               On-site or on site means, with respect
                                                 yr). If information exists that suggests                the current operating conditions.                     to records required to be maintained by
                                                 chloroprene could be present in a                          Initial start-up means the first time a            this subpart or required by another
                                                 continuous front-end process vent,                      new or reconstructed affected source                  subpart referenced by this subpart, that
                                                 batch front-end process vent, or back-                  begins production of an elastomer                     records are stored at a location within
                                                 end process vent, then the process vent                 product, or, for equipment added or                   a major source which encompasses the
                                                 is considered to be ‘‘in chloroprene                    changed as described in § 63.480(i), the              affected source. On-site includes, but is
                                                 service’’ unless an analysis is performed               first time the equipment is put into                  not limited to, storage at the affected
                                                 as specified in § 63.509 to demonstrate                 operation to produce an elastomer                     source or EPPU to which the records
                                                 that the process vent does not meet the                 product. Initial start-up does not                    pertain, or storage in central files
                                                 definition of being ‘‘in chloroprene                    include operation solely for testing                  elsewhere at the major source.
                                                 service’’. Examples of information that                 equipment. Initial start-up does not                     Operating day means the period
                                                 could suggest chloroprene could be                      include subsequent start-ups of an                    defined by the owner or operator in the
                                                 present in a process vent, include                      affected source or portion thereof                    Notification of Compliance Status
                                                 calculations based on safety data sheets,               following shutdowns, or following                     required by § 63.506(e)(5). The operating
                                                 material balances, process                              changes in product for flexible                       day is the period for which daily
                                                 stoichiometry, or previous test results                 operation units, or following recharging              average monitoring values and batch
                                                 provided the results are still relevant to              of equipment in batch operation.                      cycle daily average monitoring values
                                                 the current operating conditions.                          Latex means a colloidal aqueous                    are determined.
                                                    (ii) For storage vessels, storage vessels            emulsion of elastomer. A latex may be                    Organic hazardous air pollutant(s)
                                                 of any capacity and vapor pressure in a                 further processed into finished products              (organic HAP) means one or more of the
                                                 process at affected sources producing                   by direct use as a coating or as a foam,              chemicals listed in table 5 to this
                                                 neoprene storing a liquid that is at least              or it may be precipitated to separate the             subpart or any other chemical which:
                                                 0.1 percent by weight of chloroprene. If                rubber particles, which are then used in                 (i) Is knowingly produced or
                                                 knowledge exists that suggests                          dry state to prepare finished products.               introduced into the manufacturing
                                                 chloroprene could be present in a                          Latex weight includes the weight of                process other than as an impurity; and
                                                 storage vessel, then the storage vessel is              the polymer and the weight of the water                  (ii) Is listed in table 2 to subpart F of
                                                 considered to be ‘‘in chloroprene                       solution.                                             this part.
                                                 service’’ unless the procedures specified                  Maintenance wastewater is defined in                  Polybutadiene rubber by solution
                                                 in § 63.509 are performed to                            § 63.101, except that the term                        means a polymer of 1,3-butadiene
                                                 demonstrate that the storage vessel does                ‘‘elastomer product process unit’’ shall              produced using a solution process.
                                                 not meet the definition of being ‘‘in                   apply whenever the term ‘‘chemical                       Polysulfide rubber means a polymer
                                                 chloroprene service’’. The exemption for                manufacturing process unit’’ is used.                 produced by reacting sodium
                                                 vessels ‘‘storing and/or handling                       Further, the generation of wastewater                 polysulfide and chloroethyl formal.
                                                 material that contains no organic HAP,                  from the routine rinsing or washing of                Polysulfide rubber may be produced as
                                                 or organic HAP as impurities only’’                     equipment in batch operation between                  latexes or solid product.
                                                 listed in the definition of ‘‘storage                   batches is not maintenance wastewater,                   Primary product is defined in and
                                                 vessel’’ in this section does not apply                 but is considered to be process                       determined by the procedures specified
                                                 for storage vessels that are in                         wastewater, for the purposes of this                  in § 63.480(f).
                                                 chloroprene service. Examples of                        subpart.                                                 Process section means the equipment
                                                 information that could suggest                                                                                designed to accomplish a general but
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                                                                                                            Maximum true vapor pressure is
                                                 chloroprene could be present in a                       defined in § 63.111, except that the                  well-defined task in polymers
                                                 storage vessel, include calculations                    terms ‘‘transfer’’ and ‘‘transferred’’ shall          production. Process sections include
                                                 based on safety data sheets, material                   not apply for the purposes of this                    raw materials preparation,
                                                 balances, process stoichiometry, or                     subpart.                                              polymerization reaction, and material
                                                 previous test results provided the                         Multicomponent system means, as                    recovery. A process section may be
                                                 results are still relevant to the current               used in conjunction with batch front-                 dedicated to a single EPPU or may be
                                                 operating conditions.                                   end process vents, a stream whose                     common to more than one EPPU.


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                                                    Process unit means a collection of                   reconstructed source to meet the                      63.492, the cessation of equipment in
                                                 equipment assembled and connected by                    provisions of this subpart.                           batch operation is not a shutdown,
                                                 hard-piping or duct work, used to                          Recovery device means:                             unless the equipment undergoes
                                                 process raw materials and to                               (i) An individual unit of equipment                maintenance, is replaced, or is repaired.
                                                 manufacture a product.                                  capable of and normally used for the                     Solution process means a process
                                                    Process vent means a gaseous                         purpose of recovering chemicals for:                  where both the monomers and the
                                                 emission stream from a unit operation                      (A) Use;                                           resulting polymers are dissolved in an
                                                 that is discharged to the atmosphere                       (B) Reuse;                                         organic solvent.
                                                 either directly or after passing through                   (C) Fuel value (i.e., net heating value);             Start-up means the setting into
                                                 one or more control, recovery, or                       or                                                    operation of an affected source, an EPPU
                                                 recapture devices. Unit operations that                    (D) For sale for use, reuse, or fuel               within the affected source, a waste
                                                 may have process vents are condensers,                  value (i.e., net heating value).                      management unit or unit operation
                                                 distillation units, reactors, or other unit                (ii) Examples of equipment that may                within an affected source, or equipment
                                                 operations within the EPPU. Process                     be recovery devices include absorbers,                required or used to comply with this
                                                 vents exclude pressure releases, gaseous                carbon adsorbers, condensers, oil-water               subpart, or a storage vessel after
                                                 streams routed to a fuel gas system(s),                 separators or organic-water separators,               emptying and degassing. For both
                                                 and leaks from equipment regulated                      or organic removal devices such as                    continuous and batch front-end
                                                 under § 63.502. A gaseous emission                      decanters, strippers, or thin film                    processes, start-up includes initial start-
                                                 stream is no longer considered to be a                  evaporation units. For the purposes of                up and operation solely for testing
                                                 process vent after the stream has been                  the monitoring, recordkeeping, or                     equipment. For both continuous and
                                                 controlled and monitored in accordance                  reporting requirements of this subpart,               batch front-end processes, start-up does
                                                 with the applicable provisions of this                  recapture devices are considered                      not include the recharging of equipment
                                                 subpart.                                                recovery devices.                                     in batch operation. For continuous
                                                    Product means a polymer produced                        Recovery operations equipment                      front-end processes, start-up includes
                                                 using the same monomers, and varying                    means the equipment used to separate                  transitional conditions due to changes
                                                 in additives (e.g., initiators, terminators,            the components of process streams.                    in product for flexible operation units.
                                                 etc.); catalysts; or in the relative                    Recovery operations equipment                         For batch front-end processes, start-up
                                                 proportions of monomers, that is                        includes distillation units, condensers,              does not include transitional conditions
                                                 manufactured by a process unit. With                    etc. Equipment used for wastewater                    due to changes in product for flexible
                                                 respect to polymers, more than one                      treatment and recovery or recapture                   operation units.
                                                 recipe may be used to produce the same                  devices used as control devices shall not                Steady-state conditions means that all
                                                 product, and there can be more than one                 be considered recovery operations                     variables (temperatures, pressures,
                                                 grade of a product. As an example,                      equipment.                                            volumes, flow rates, etc.) in a process do
                                                 styrene butadiene latex and butyl rubber                   Residual is defined in § 63.111, except            not vary significantly with time; minor
                                                 each represent a different product.                     that when the definition in § 63.111                  fluctuations about constant mean values
                                                 Product also means a chemical that is                   uses the term ‘‘table 9 compounds,’’ the              may occur.
                                                 not a polymer, is manufactured by a                     term ‘‘organic HAP listed in table 5 to                  Storage vessel means a tank or other
                                                 process unit. By-products, isolated                     subpart U of this part’’ shall apply, for             vessel that is used to store liquids that
                                                 intermediates, impurities, wastes, and                  the purposes of this subpart.                         contain one or more organic HAP.
                                                 trace contaminants are not considered                      Resin, for the purposes of this subpart,           Storage vessels do not include:
                                                 products.                                               means a polymer with the following                       (i) Vessels permanently attached to
                                                    Recipe means a specific composition,                 characteristics:                                      motor vehicles such as trucks, railcars,
                                                 from among the range of possible                           (i) The polymer is a block polymer;                barges, or ships;
                                                 compositions that may occur within a                       (ii) The manufactured polymer does                    (ii) Except for storage vessels in
                                                 product, as defined in this section. A                  not require vulcanization to make useful              chloroprene service, vessels with
                                                 recipe is determined by the proportions                 products;                                             capacities smaller than 38 cubic meters;
                                                 of monomers and, if present, other                         (iii) The polymer production process                  (iii) Except for storage vessels in
                                                 reactants and additives that are used to                is operated to achieve at least 99 percent            chloroprene service, vessels and
                                                 make the recipe. For example, styrene                   monomer conversion; and                               equipment storing and/or handling
                                                 butadiene latex without additives;                         (iv) The polymer process unit does                 material that contains no organic HAP,
                                                 styrene butadiene latex with an                         not recycle unreacted monomer back to                 or organic HAP as impurities only;
                                                 additive; and styrene butadiene latex                   the process.                                             (iv) Surge control vessels and bottoms
                                                 with different proportions of styrene to                   Shutdown means for purposes                        receivers; and
                                                 butadiene are all different recipes of the              including, but not limited to, periodic                  (v) Wastewater storage tanks.
                                                 same product, styrene butadiene latex.                  maintenance, replacement of                              Stripper means a unit operation
                                                    Reconstruction means the                             equipment, or repair, the cessation of                where stripping occurs.
                                                 replacement of components of an                         operation of an affected source, an EPPU                 Stripping means the removal of
                                                 affected source or of a previously                      within an affected source, a waste                    organic compounds from a raw
                                                 unaffected stationary source that                       management unit or unit operation                     elastomer product. In the production of
                                                 becomes an affected source as a result                  within an affected source, or equipment               an elastomer, stripping is a discrete step
                                                 of the replacement, to such an extent                   required or used to comply with this                  that occurs after the reactors and before
                                                                                                         subpart, or the emptying or degassing of              the dryers (other than those dryers with
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                                                 that:
                                                    (i) The fixed capital cost of the new                a storage vessel. For purposes of the                 a primary purpose of devolitalization)
                                                 components exceeds 50 percent of the                    wastewater provisions of § 63.501,                    and other finishing operations.
                                                 fixed capital cost that would be required               shutdown does not include the routine                 Examples of types of stripping include
                                                 to construct a comparable new source;                   rinsing or washing of equipment in                    steam stripping, direct volatilization,
                                                 and                                                     batch operation between batches. For                  chemical stripping, and other methods
                                                    (ii) It is technologically and                       purposes of the batch front-end process               of devolatilization. For the purposes of
                                                 economically feasible for the                           vent provisions in §§ 63.486 through                  this subpart, devolatilization that occurs


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                                                 in dryers (other than those dryers with                    Vent stream, as used in reference to               than the compliance dates specified in
                                                 a primary purpose of devolatilization),                 batch front-end process vents,                        § 63.481(n), owners and operators of
                                                 extruders, and other finishing                          continuous front-end process vents, and               sources as defined in § 63.480 shall
                                                 operations is not stripping.                            aggregate batch vent streams, means the               comply with the requirements of this
                                                    Styrene butadiene latex means a                      emissions from one or more process                    subpart at all times, except during
                                                 polymer consisting primarily of styrene                 vents.                                                periods of nonoperation of the source
                                                 and butadiene monomer units produced                       Waste management unit is defined in                (or specific portion thereof) resulting in
                                                 using an emulsion process and sold as                   § 63.111, except that where the                       cessation of the emissions to which this
                                                 a latex.                                                definition in § 63.111 uses the term                  subpart applies.
                                                    Styrene butadiene rubber by emulsion                 ‘‘chemical manufacturing process unit,’’              ■ 124. Amend § 63.484 by revising
                                                 means a polymer consisting primarily of                 the term ‘‘EPPU’’ shall apply for the                 paragraphs (a) and (i)(2), and adding
                                                 styrene and butadiene monomer units                     purposes of this subpart.                             paragraphs (t) and (u) to read as follows:
                                                 produced using an emulsion process.                        Wastewater means water that:
                                                 Styrene butadiene rubber by emulsion                       (i) Contains either:                               § 63.484   Storage vessel provisions.
                                                 does not include styrene butadiene                         (A) An annual average concentration                   (a) This section applies to each
                                                 latex.                                                  of organic HAP listed in table 5 to this              storage vessel that is assigned to an
                                                    Styrene butadiene rubber by solution                 subpart of at least 5 parts per million by            affected source, as determined by
                                                 means a polymer that consists primarily                 weight and has an annual average flow                 § 63.480(g). Except for those storage
                                                 of styrene and butadiene monomer units                  rate of 0.02 liter per minute or greater;             vessels exempted by paragraph (b) of
                                                 and is produced using a solution                        or                                                    this section, the owner or operator of
                                                 process.                                                   (B) An annual average concentration
                                                                                                                                                               affected sources shall comply with the
                                                    Supplemental combustion air means                    of organic HAP listed in table 5 to this
                                                                                                                                                               requirements of §§ 63.119 through
                                                 the air that is added to a vent stream                  subpart of at least 10,000 parts per
                                                                                                                                                               63.123 and 63.148, with the differences
                                                 after the vent stream leaves the unit                   million by weight at any flow rate; and
                                                                                                            (ii) Is discarded from an EPPU that is             noted in paragraphs (c) through (u) of
                                                 operation. Air that is part of the vent
                                                                                                         part of an affected source. Wastewater is             this section, for the purposes of this
                                                 stream as a result of the nature of the
                                                                                                         process wastewater or maintenance                     subpart.
                                                 unit operation is not considered
                                                 supplemental combustion air. Air                        wastewater.                                           *      *     *     *     *
                                                 required to operate combustion device                      Wastewater stream means a stream                      (i) * * *
                                                 burner(s) is not considered                             that contains wastewater as defined in                   (2) The performance test is submitted
                                                 supplemental combustion air. Air                        this section.                                         as part of the Notification of Compliance
                                                 required to ensure the proper operation                 ■ 123. Amend § 63.483 by revising                     Status required by § 63.506(e)(5). If the
                                                 of catalytic oxidizers, to include the                  paragraph (a) introductory text and                   performance test report is submitted
                                                 intermittent addition of air upstream of                adding paragraph (e) to read as follows:              electronically through the EPA’s CEDRI
                                                 the catalyst bed to maintain a minimum                                                                        in accordance with § 63.152(h), the
                                                                                                         § 63.483   Emission standards.                        process unit(s) tested, the pollutant(s)
                                                 threshold flow rate through the catalyst
                                                 bed or to avoid excessive temperatures                     (a) At all times, each owner or                    tested, and the date that such
                                                 in the catalyst bed, is not considered to               operator must operate and maintain any                performance test was conducted may be
                                                 be supplemental combustion air.                         affected source subject to the                        submitted in the notification of
                                                    Suspension process means a                           requirements of this subpart, including               compliance status report in lieu of the
                                                 polymerization process where the                        associated air pollution control                      performance test results. The
                                                 monomer(s) is in a state of suspension,                 equipment and monitoring equipment,                   performance test results must be
                                                 with the help of suspending agents in a                 in a manner consistent with safety and                submitted to CEDRI by the date the
                                                 medium other than water (typically an                   good air pollution control practices for              notification of compliance status report
                                                 organic solvent). The resulting polymers                minimizing emissions. The general duty                is submitted.
                                                 are not soluble in the reactor medium.                  to minimize emissions does not require                *      *     *     *     *
                                                    Total organic compounds (TOC)                        the owner or operator to make any                        (t) Owners and operators of affected
                                                 means those compounds, excluding                        further efforts to reduce emissions if                sources must make the substitutions as
                                                 methane and ethane, measured                            levels required by this standard have                 specified in paragraphs (t)(1) through (4)
                                                 according to the procedures of Method                   been achieved. Determination of                       of this section:
                                                 18 or Method 25A of appendices A–6                      whether a source is operating in                         (1) Substitute ‘‘For each affected
                                                 and A–7 to 40 CFR part 60, respectively,                compliance with operation and                         source as described in § 63.480’’ for
                                                 or ASTM D6420–18 (incorporated by                       maintenance requirements will be based                each occurrence of the phrase ‘‘For each
                                                 reference, see § 63.14) as specified in                 on information available to the                       source as defined in § 63.101’’.
                                                 this subpart.                                           Administrator which may include, but                     (2) Substitute ‘‘beginning no later than
                                                    Total resource effectiveness index                   is not limited to, monitoring results,                the compliance dates specified in
                                                 value or TRE index value means a                        review of operation and maintenance                   § 63.481(n)’’ for each occurrence of the
                                                 measure of the supplemental total                       procedures, review of operation and                   phrase ‘‘beginning no later than the
                                                 resource requirement per unit reduction                 maintenance records, and inspection of                compliance dates specified in
                                                 of organic HAP associated with a                        the source. Except as allowed under                   § 63.100(k)(10)’’.
                                                 continuous front-end process vent                       paragraphs (b) through (d) of this                       (3) Substitute ‘‘owners and operators
                                                 stream, based on vent stream flow rate,                 section, the owner or operator of an
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                                                                                                                                                               of affected sources as described in
                                                 emission rate of organic HAP, net                       existing or new affected source shall                 § 63.480’’ for each occurrence of the
                                                 heating value, and corrosion properties                 comply with the provisions in                         phrase ‘‘owners and operators of sources
                                                 (whether or not the continuous front-                   paragraphs (a)(1) through (a)(9) of this              as defined in § 63.101’’.
                                                 end process vent stream contains                        section.                                                 (4) Substitute ‘‘§ 63.508’’ for each
                                                 halogenated compounds), as quantified                   *      *     *     *     *                            occurrence of ‘‘§ 63.108’’.
                                                 by the equations given under § 63.115,                     (e) For each affected source as                       (u) For each affected source as
                                                 with the exceptions noted in § 63.485.                  described in § 63.480, beginning no later             described in § 63.480, beginning no later


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                                                 than the compliance dates specified in                  provided for in paragraphs (b) through                process change is made or with the next
                                                 § 63.481(o), if the storage vessel (of any              (z) of this section. The owner or                     Periodic Report, whichever is later. A
                                                 capacity and vapor pressure) stores                     operator of continuous front-end                      description of the process change shall
                                                 liquid containing chloroprene such that                 process vents that are combined with                  be submitted with the report of the
                                                 the storage vessel is considered to be in               one or more batch front-end process                   process change, and the owner or
                                                 chloroprene service, as defined in                      vents shall comply with paragraph (o) or              operator shall comply with the
                                                 § 63.482, then the owner or operator                    (p) of this section.                                  provisions in § 63.113(d) by the dates
                                                 must comply with the requirements of                    *      *     *      *    *                            specified in § 63.481.
                                                 paragraphs (u)(1) through (3) of this                      (l) When reports of process changes                   (5) * * *
                                                 section in addition to all other                        are required under § 63.118(g), (h), (i), or             (iv) Except as specified in paragraph
                                                 applicable requirements specified in                    (j), paragraphs (l)(1) through (4) and                (l)(6) of this section, the TRE index
                                                 § 63.483 and elsewhere in this section.                 (l)(6) of this section shall apply for the            value is recalculated according to
                                                    (1) Reduce emissions of chloroprene                  purposes of this subpart. In addition, for            § 63.115(e) and the recalculated value is
                                                 by venting emissions through a closed                   the purposes of this subpart paragraph                greater than 4.0.
                                                 vent system to a non-flare control device               (l)(5) of this section applies, and                      (6) For each affected source as
                                                 that reduces chloroprene by greater than                § 63.118(k) does not apply to owners or               described in § 63.480, beginning no later
                                                 or equal to 98 percent by weight, or to                 operators of affected sources.                        than the compliance dates specified in
                                                 a concentration less than 1 ppmv for                                                                          § 63.481(n), paragraphs (l)(2), (3), (4),
                                                                                                         *      *     *      *    *                            and (l)(5)(iv) of this section no longer
                                                 each storage vessel vent. If a combustion                  (2) Except as specified in paragraph
                                                 device is used, the chloroprene                                                                               apply.
                                                                                                         (l)(6) of this section, whenever a process
                                                 concentration of 1 ppmv must be                         change, as defined in § 63.115(e), is                 *      *      *     *     *
                                                 corrected to 3 percent oxygen.                          made that causes a Group 2 continuous                    (o) If a batch front-end process vent or
                                                    (2) To demonstrate compliance with                   front-end process vent with a TRE                     aggregate batch vent stream is combined
                                                 the emission limits specified in                        greater than 4.0 to become a Group 2                  with a continuous front-end process
                                                 paragraph (u)(1) of this section for                    continuous front-end process vent with                vent, the owner or operator of the
                                                 storage vessels in chloroprene service,                 a TRE less than 4.0, the owner or                     affected source containing the combined
                                                 owners and operators must meet the                      operator shall submit a report within                 vent stream shall comply with
                                                 requirements specified in § 63.510.                     180 days after the process change is                  paragraph (o)(1); with paragraph (o)(2)
                                                    (3) Owners and operators must keep                   made or with the next Periodic Report,                and (o)(6) with paragraph (o)(3) or (o)(4);
                                                 the records specified in paragraphs                     whichever is later. A description of the              or with paragraph (o)(5) of this section,
                                                 (u)(3)(i) and (u)(3)(ii) of this section in             process change shall be submitted with                as appropriate.
                                                 addition to those records specified                     the report of the process change, and the             *      *      *     *     *
                                                 elsewhere in this section.                              owner or operator shall comply with the                  (2) Except as specified in paragraph
                                                    (i) For storage vessels in chloroprene                                                                     (o)(6) of this section, if a batch front-end
                                                                                                         provisions in § 63.113(d) by the dates
                                                 service, records of the concentration of                                                                      process vent or aggregate batch vent
                                                                                                         specified in § 63.481.
                                                 chloroprene of the fluid stored in each                    (3) Except as specified in paragraph               stream is combined with a continuous
                                                 storage vessel.                                         (l)(6) of this section, whenever a process            front-end process vent prior to the
                                                    (ii) The owner or operator must keep                                                                       combined vent stream being routed to a
                                                                                                         change, as defined in § 63.115(e), is
                                                 records of all periods during which                                                                           recovery device, the TRE index value for
                                                                                                         made that causes a Group 2 continuous
                                                 operating values are outside of the                                                                           the combined vent stream shall be
                                                                                                         front-end process vent with a flow rate
                                                 applicable operating limits specified in                                                                      calculated at the exit of the last recovery
                                                                                                         less than 0.005 standard cubic meter per
                                                 § 63.510(b)(4) through (6) when                                                                               device. The TRE shall be calculated
                                                                                                         minute (scmm) to become a Group 2
                                                 regulated material is being routed to the                                                                     during periods when one or more batch
                                                                                                         continuous front-end process vent with
                                                 non-flare control device. The record                                                                          emission episodes are occurring that
                                                                                                         a flow rate of 0.005 scmm or greater and
                                                 must specify the operating parameter,                                                                         result in the highest organic HAP
                                                                                                         a TRE index value less than or equal to
                                                 the applicable limit, and the highest (for                                                                    emission rate (in the combined vent
                                                                                                         4.0, the owner or operator shall submit
                                                 maximum operating limits) or lowest                                                                           stream that is being routed to the
                                                                                                         a report within 180 days after the
                                                 (for minimum operating limits) value                                                                          recovery device) that is achievable
                                                                                                         process change is made or with the next
                                                 recorded during the period.                                                                                   during the 6-month period that begins 3
                                                                                                         Periodic Report, whichever is later. A
                                                 ■ 125. Amend § 63.485 by:                               description of the process change shall               months before and ends 3 months after
                                                 ■ a. Revising paragraphs (a), (l), (o) and                                                                    the TRE calculation, without causing
                                                                                                         be submitted with the report of the
                                                 (p)(3);                                                 process change, and the owner or                      any of the situations described in
                                                 ■ b. Adding paragraph (p)(5);                                                                                 paragraphs (o)(2)(i) through (o)(2)(iii) of
                                                                                                         operator shall comply with the
                                                 ■ c. Revising paragraphs (q)(1)                                                                               this section to occur.
                                                                                                         provisions in § 63.113(d) by the dates
                                                 introductory text, (q)(1)(ii), and (q)(2);
                                                                                                         specified in § 63.481.                                *      *      *     *     *
                                                 ■ d. Adding paragraph (q)(3);
                                                                                                            (4) Except as specified in paragraph                  (3) Except as specified in paragraph
                                                 ■ e. Revising paragraphs (s)
                                                                                                         (l)(6) of this section, whenever a process            (o)(6) of this section, if the combined
                                                 introductory text, (s)(5), and (t); and
                                                 ■ f. Adding paragraphs (x), (y) and (z).
                                                                                                         change, as defined in § 63.115(e), is                 vent stream described in paragraph
                                                    The revisions and additions read as                  made that causes a Group 2 continuous                 (o)(2) of this section meets the
                                                 follows:                                                front-end process vent with an organic                requirements in paragraphs (o)(3)(i),
                                                                                                         HAP concentration less than 50 parts                  (o)(3)(ii), and (o)(3)(iii) of this section,
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                                                 § 63.485 Continuous front-end process                   per million by volume (ppmv) to                       the combined vent stream shall be
                                                 vent provisions.                                        become a Group 2 continuous front-end                 subject to the requirements for Group 1
                                                   (a) For each continuous front-end                     process vent with an organic HAP                      process vents in §§ 63.113 through
                                                 process vent located at an affected                     concentration of 50 ppmv or greater and               63.118, except as otherwise provided in
                                                 source, the owner or operator shall                     a TRE index value less than or equal to               this section, as applicable. Performance
                                                 comply with the requirements of                         4.0, the owner or operator shall submit               tests for the combined vent stream shall
                                                 §§ 63.113 through 63.118, except as                     a report within 180 days after the                    be conducted at maximum


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                                                 representative operating conditions, as                 solution process are not exempt from                  requirements in paragraphs (t)(1) and (2)
                                                 described in paragraph (o)(1) of this                   § 63.113(a)(1)(ii) and § 63.113(c).                   of this section.
                                                 section.                                                *       *    *     *     *                               (1) The organic HAP used as the
                                                 *      *      *     *     *                                (ii) Except as specified in paragraph              calibration gas for Method 25A of
                                                    (4) Except as specified in paragraph                 (q)(3) of this section, if the requirements           appendix A–7 to 40 CFR part 60 must
                                                 (o)(6) of this section, if the combined                 of § 63.113(a)(2); § 63.113(a)(3);                    be the single organic HAP representing
                                                 vent stream described in paragraph                      § 63.113(b) and the associated testing                the largest percent by volume of the
                                                 (o)(2) of this section meets the                        requirements in § 63.116; or § 63.11(b)               emissions.
                                                 requirements in paragraph (o)(4)(i), (ii),              and § 63.504(c) are met.                              *      *     *     *      *
                                                 or (iii) of this section, the combined                  *       *    *     *     *                               (x) Owners and operators of affected
                                                 vent stream shall be subject to the                        (2) Except as specified in paragraph               sources must make the substitutions as
                                                 requirements for Group 2 process vents                  (q)(3) of this section, Group 1                       specified in paragraphs (x)(1) through
                                                 in §§ 63.113 through 63.118, except as                  halogenated continuous front-end                      (4) of this section:
                                                 otherwise provided in this section, as                  process vents at new and existing                        (1) Substitute ‘‘For each affected
                                                 applicable.                                             affected sources producing an elastomer               source as described in § 63.480’’ for
                                                                                                         using a gas-phased reaction process,                  each occurrence of the phrase ‘‘For each
                                                 *      *      *     *     *                             provided that the requirements of                     source as defined in § 63.101’’.
                                                    (6) For each affected source as                      § 63.113(a)(2); § 63.113(a)(3); § 63.113(b)              (2) Substitute ‘‘beginning no later than
                                                 described in § 63.480, beginning no later               and the associated testing requirements               the compliance dates specified in
                                                 than the compliance dates specified in                  in § 63.116; or § 63.11(b) and § 63.504(c)            § 63.481(n)’’ for each occurrence of the
                                                 § 63.481(n), paragraphs (o)(2) through                  are met.                                              phrase ‘‘beginning no later than the
                                                 (4) of this section no longer apply.                       (3) For each affected source as                    compliance dates specified in
                                                    (p) * * *                                            described in § 63.480, beginning no later             § 63.100(k)(10)’’.
                                                    (3) Except as specified in paragraph                 than the compliance dates specified in                   (3) Substitute ‘‘owners and operators
                                                 (p)(5) of this section, the efficiency of               § 63.481(n), paragraphs (q)(1)(ii) and                of affected sources as described in
                                                 the final recovery device (determined                   (q)(2) of this section no longer apply.               § 63.480’’ for each occurrence of the
                                                 according to paragraph (p)(4) of this                   Instead, the requirements of                          phrase ‘‘owners and operators of sources
                                                 section) shall be applied to the total                  § 63.113(a)(2); §§ 63.113(b) and the                  as defined in § 63.101’’.
                                                 organic HAP or TOC concentration                        associated testing requirements in                       (4) Substitute ‘‘§ 63.508’’ for each
                                                 measured at the sampling site described                 § 63.116; or § 63.508 must be met.                    occurrence of ‘‘§ 63.108’’.
                                                 in paragraph (p)(2) of this section to                  *       *    *     *     *                               (y) For each affected source as
                                                 determine the exit concentration. This                     (s) Internal combustion engines. In                described in § 63.480, beginning no later
                                                 exit concentration of total organic HAP                 addition to the three options for the                 than the compliance dates specified in
                                                 or TOC shall then be used to perform                    control of a Group 1 continuous front-                § 63.481(o), if the Group 1 or Group 2
                                                 the calculations outlined in                            end process vent listed in § 63.113(a)(1)             continuous front-end process vent
                                                 § 63.115(d)(2)(iii) and § 63.115(d)(2)(iv),             through (3), except as specified in                   contains chloroprene such that it is
                                                 for the combined vent stream exiting the                § 63.113(a)(4) of subpart G of this part,             considered to be in chloroprene service,
                                                 final recovery device.                                  an owner or operator will be permitted                as defined in § 63.482, then the owner
                                                                                                         to route emissions of organic HAP to an               or operator must comply with the
                                                 *      *      *     *     *
                                                                                                         internal combustion engine, provided                  requirements of paragraphs (y)(1)
                                                    (5) For each affected source as                      the conditions listed in paragraphs (s)(1)            through (4) of this section in addition to
                                                 described in § 63.480, beginning no later               through (s)(5) of this section are met.               all other applicable requirements
                                                 than the compliance dates specified in                  *       *    *     *     *                            specified in § 63.483 and elsewhere in
                                                 § 63.481(n), the last sentence in                          (5) The owner or operator shall                    this section.
                                                 paragraph (p)(3) of this section: ‘‘This                include in the Periodic Report a report                  (1) Reduce emissions of chloroprene
                                                 exit concentration of total organic HAP                 of all times that the internal combustion             by venting emissions through a closed
                                                 or TOC shall then be used to perform                    engine was not operating while                        vent system to a non-flare control device
                                                 the calculations outlined in                            emissions were being routed to it.                    that reduces chloroprene by greater than
                                                 § 63.115(d)(2)(iii) and § 63.115(d)(2)(iv),             Include the start date and time and end               or equal to 98 percent by weight, or to
                                                 for the combined vent stream exiting the                date and time for all such periods.                   a concentration less than 1 ppmv for
                                                 final recovery device.’’ no longer                                                                            each process vent or to less than 5
                                                                                                         *       *    *     *     *
                                                 applies.                                                   (t) When the provisions of                         pounds per year for all combined
                                                    (q) * * *                                            § 63.116(c)(3) and (4) specify that                   process vents within the process. If a
                                                    (1) Group 1 halogenated continuous                   Method 18 of appendix A–6 to 40 CFR                   combustion device is used, the
                                                 front-end process vents at existing                     part 60 must be used, Method 18 or                    chloroprene concentration of 1 ppmv
                                                 affected sources producing butyl rubber                 Method 25A of appendices A–6 and A–                   must be corrected to 3 percent oxygen.
                                                 or ethylene propylene rubber using a                    7 to 40 CFR part 60, respectively, may                   (2) To demonstrate compliance with
                                                 solution process are exempt from the                    be used for the purposes of this subpart.             the emission limits specified in
                                                 provisions of § 63.113(a)(1)(ii) and                    ASTM D6420–18 (incorporated by                        paragraph (y)(1) of this section for
                                                 § 63.113(c) if the conditions in                        reference, see § 63.14) may also be used              continuous front-end process vents in
                                                 paragraphs (q)(1)(i) and (ii) of this                   in lieu of Method 18, if the target                   chloroprene service, owners and
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                                                 section are met, and shall comply with                  compounds are all known and are all                   operators must meet the requirements
                                                 the requirements in paragraphs                          listed in Section 1.1 of ASTM D6420–                  specified in § 63.510.
                                                 (q)(1)(iii) through (vi) of this section.               18 as measurable; ASTM D6420–18                          (3) Owners and operators must keep
                                                 Group 1 halogenated continuous front-                   must not be used for methane and                      the records specified in paragraphs
                                                 end process vents at new affected                       ethane; and ASTM D6420–18 may not                     (y)(3)(i) and (y)(3)(ii) of this section in
                                                 sources producing butyl rubber or                       be used as a total VOC method. The use                addition to those records specified
                                                 ethylene propylene rubber using a                       of Method 25A must conform with the                   elsewhere in this section.


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                                                    (i) For process vents, include all                   comply with the requirements of either                   (iii) For each affected source as
                                                 uncontrolled, undiluted chloroprene                     paragraph (a)(1) or (a)(2) of this section,           described in § 63.480, beginning no later
                                                 concentration measurements, and the                     and paragraph (a)(3) of this section.                 than the compliance dates specified in
                                                 calculations used to determine the total                Compliance may be based on either                     § 63.481(n), paragraph (b)(1)(i) of this
                                                 uncontrolled chloroprene mass                           organic HAP or TOC.                                   section no longer applies and instead
                                                 emission rate for the sum of all vent gas                  (1) For each batch front-end process               the owner or operator of the affected
                                                 streams.                                                vent, reduce organic HAP emissions                    source must comply with § 63.508 for
                                                    (ii) The owner or operator must keep                 using a flare.                                        the flare.
                                                 records of all periods during which                        (i) Except as specified in paragraph                  (2) For each aggregate batch vent
                                                 operating values are outside of the                     (a)(1)(iii) of this section, the owner or             stream, reduce organic HAP emissions
                                                 applicable operating limits specified in                operator of the affected sources shall                by 90 weight percent or to a
                                                 § 63.510(b)(4) through (6) when                         comply with the requirements of                       concentration of 20 ppmv, on a
                                                 regulated material is being routed to the               § 63.504(c) for the flare.                            continuous basis using a control device.
                                                 non-flare control device. The record                       (ii) Halogenated batch front-end                   For purposes of complying with the 20
                                                 must specify the operating parameter,                   process vents, as defined in § 63.482,                ppmv outlet concentration standard, the
                                                 the applicable limit, and the highest (for              shall not be vented to a flare.                       outlet concentration shall be calculated
                                                 maximum operating limits) or lowest                        (iii) For each affected source as                  on a dry basis. When a combustion
                                                 (for minimum operating limits) value                    described in § 63.480, beginning no later             device is used for purposes of
                                                 recorded during the period.                             than the compliance dates specified in                complying with the 20 ppmv outlet
                                                    (4) The Periodic Report must include                 § 63.481(n), paragraph (a)(1)(i) of this              concentration standard, the
                                                 the records for the periods specified in                section no longer applies and instead                 concentration shall be corrected to 3
                                                 paragraph (y)(3)(ii) of this section.                   the owner or operator of the affected                 percent oxygen if supplemental
                                                 Indicate the start date, start time and                 sources must comply with § 63.508 for                 combustion air is used to combust the
                                                 duration in hours for each period.                      the flare.                                            emissions. If supplemental combustion
                                                    (z) For continuous front-end process                    (2) For each batch front-end process               air is not used, a correction to 3 percent
                                                 vents that are in chloroprene service                   vent, reduce organic HAP emissions for                oxygen is not required.
                                                 and subject to the requirements of                      the batch cycle by 90 weight percent                     (3) For each affected source as
                                                 § 63.510, the requirements in 40 CFR                    using a control device. Owners or                     described in § 63.480, beginning no later
                                                 63.113(k)(4) do not apply. Instead, in                  operators may achieve compliance with                 than the compliance dates specified in
                                                 addition to complying with the                          this paragraph through the control of                 § 63.481(n), for each aggregate batch
                                                 requirements in paragraphs 40 CFR                       selected batch emission episodes or the               vent stream that contains chlorine, HCl,
                                                 63.113(k)(1) through (3), for continuous                control of portions of selected batch                 or any other chlorinated compound,
                                                 front-end process vents that are in                     emission episodes. Documentation                      reduce emissions of dioxins and furans
                                                 chloroprene service and subject to the                  demonstrating how the 90 weight                       (toxic equivalency basis) to a
                                                 requirements of § 63.510 that are                       percent emission reduction is achieved                concentration of 0.054 nanograms per
                                                 designated as maintenance vents,                        is required by § 63.490(c)(2).                        standard cubic meter on a dry basis
                                                 owners and operators may not release                       (3) For each affected source as
                                                                                                                                                               corrected to 3 percent oxygen
                                                 more than 1.0 tons of chloroprene from                  described in § 63.480, beginning no later
                                                                                                                                                                  (c) Halogenated emissions.
                                                 all maintenance vents combined (i.e.,                   than the compliance dates specified in
                                                                                                                                                               Halogenated Group 1 batch front-end
                                                 including maintenance vents subject to                  § 63.481(n), for each batch front-end
                                                                                                                                                               process vents, halogenated aggregate
                                                 this paragraph (z), § 63.487(i)(4), or                  process vent that contains chlorine, HCl,
                                                                                                                                                               batch vent streams, and halogenated
                                                 § 63.494(a)(7)(iii)) per any consecutive                or any other chlorinated compound,
                                                                                                                                                               continuous front-end process vents that
                                                 12-month period. The owner or operator                  reduce emissions of dioxins and furans
                                                                                                                                                               are combusted as part of complying
                                                 must keep monthly records of the                        (toxic equivalency basis) to a
                                                                                                                                                               with paragraph (a)(2), (a)(3), (b)(2), or
                                                 quantity in tons of chloroprene released                concentration of 0.054 nanograms per
                                                                                                                                                               (b)(3) of this section, shall be controlled
                                                 from each maintenance vent and                          standard cubic meter on a dry basis
                                                                                                                                                               according to either paragraph (c)(1) or
                                                 include a description of the method                     corrected to 3 percent oxygen.
                                                                                                            (b) Aggregate batch vent streams.                  (c)(2) of this section.
                                                 used to estimate this quantity.                                                                                  (1) If a combustion device is used to
                                                                                                         Except as specified in paragraph (j) of
                                                 ■ 126. Amend § 63.487 by:                                                                                     comply with paragraph (a)(2), (a)(3),
                                                 ■ a. Revising and republishing
                                                                                                         this section the owner or operator of an
                                                                                                         aggregate batch vent stream that                      (b)(2), or (b)(3) of this section for a
                                                 paragraphs (a) and (b);                                                                                       halogenated batch front-end process
                                                 ■ b. Revising paragraphs (c)
                                                                                                         contains one or more Group 1 batch
                                                                                                         front-end process vents shall comply                  vent or halogenated aggregate batch vent
                                                 introductory text, (c)(1) and (e)(1)(iii);                                                                    stream, the emissions exiting the
                                                 ■ c. Adding paragraph (e)(1)(iv);                       with the requirements of either
                                                                                                         paragraph (b)(1) or (b)(2) of this section,           combustion device shall be ducted to a
                                                 ■ d. Revising paragraphs (f)                                                                                  halogen reduction device that reduces
                                                 introductory text and (g) introductory                  and paragraph (b)(3) of this section.
                                                                                                         Compliance may be based on either                     overall emissions of hydrogen halides
                                                 text; and                                                                                                     and halogens by at least 99 percent
                                                 ■ e. Adding paragraphs (i) and (j).                     organic HAP or TOC.
                                                                                                            (1) For each aggregate batch vent                  before discharge to the atmosphere.
                                                    The revisions, additions and
                                                 republications read as follows:                         stream, reduce organic HAP emissions                  *       *     *     *     *
                                                                                                         using a flare.                                           (e) * * *
                                                                                                                                                                  (1) * * *
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                                                 § 63.487 Batch front-end process vents—                    (i) Except as specified in paragraph
                                                 reference control technology.                           (b)(1)(iii) of this section, the owner or                (iii) Except as specified in paragraph
                                                    (a) Batch front-end process vents.                   operator of the affected source shall                 (e)(1)(iv) of this section, the batch front-
                                                 Except as specified in paragraph (j) of                 comply with the requirements of                       end process vent or aggregate batch vent
                                                 this section, the owner or operator of an               § 63.504(c) for the flare.                            stream is combined with a continuous
                                                 affected source with a Group 1 batch                       (ii) Halogenated aggregate batch vent              front-end process vent stream prior to
                                                 front-end process vent, as determined                   streams, as defined in § 63.482, shall not            being routed to a recovery device. In
                                                 using the procedures in § 63.488, shall                 be vented to a flare.                                 this paragraph (e)(1)(iii), the definition


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                                                 of recovery device as it relates to                     combination of a non-flare combustion,                design specifications. Equipment
                                                 continuous front-end process vents shall                recovery, and/or recapture device                     contents may be determined using
                                                 be used. Furthermore, the combined                      meeting the requirements in paragraph                 process knowledge.
                                                 vent stream discussed in this paragraph                 (a)(2) of this section until one of the                  (4) In addition to complying with the
                                                 (e)(1)(iii) shall be subject to                         following conditions, as applicable, is               requirements in paragraphs (i)(1)
                                                 § 63.485(o)(2).                                         met.                                                  through (i)(3) of this section, for batch
                                                    (iv) For each affected source as                        (i) The concentration of the vapor in              front-end process vents that are in
                                                 described in § 63.480, beginning no later               the equipment served by the                           chloroprene service and subject to the
                                                 than the compliance dates specified in                  maintenance vent is less than 10 percent              requirements of § 63.510 that are
                                                 § 63.481(n), paragraph (e)(1)(iii) of this              of its lower explosive limit (LEL) and                designated as maintenance vents,
                                                 section no longer applies.                              has an outlet concentration less than or              owners and operators may not release
                                                 *      *     *      *      *                            equal to 20 ppmv hydrogen halide and                  more than 1.0 tons of chloroprene from
                                                    (f) Group 2 batch front-end process                  halogen HAP.                                          all maintenance vents combined (i.e.,
                                                 vents with annual emissions greater                        (ii) If there is no ability to measure the         including maintenance vents subject to
                                                 than or equal to the level specified in                 concentration of the vapor in the                     this paragraph (i)(4), § 63.485(z), or
                                                 § 63.488(d). Except as specified in                     equipment based on the design of the                  § 63.494(a)(7)(iii)) per any consecutive
                                                 paragraph (j) of this section, the owner                equipment, the pressure in the                        12-month period. The owner or operator
                                                 or operator of a Group 2 batch front-end                equipment served by the maintenance                   must keep monthly records of the
                                                 process vent with annual emissions                      vent is reduced to 5 pounds per square                quantity in tons of chloroprene released
                                                 greater than or equal to the level                      inch gauge (psig) or less. Upon opening               from each maintenance vent and
                                                 specified in § 63.488(d) shall comply                   the maintenance vent, active purging of               include a description of the method
                                                 with the provisions of paragraph (f)(1),                the equipment cannot be used until the                used to estimate this quantity.
                                                 (f)(2), or (h) of this section.                         concentration of the vapors in the                       (j) For each affected source as
                                                                                                         maintenance vent (or inside the                       described in § 63.480, beginning no later
                                                 *      *     *      *      *                            equipment if the maintenance is a hatch               than the compliance dates specified in
                                                    (g) Group 2 batch front-end process                  or similar type of opening) is less than              § 63.481(o), if the Group 1 or Group 2
                                                 vents with annual emissions less than                   10 percent of its LEL.                                batch front-end process vent contains
                                                 the level specified in § 63.488(d). Except                 (iii) The equipment served by the                  chloroprene such that it is considered to
                                                 as specified in paragraph (j) of this                   maintenance vent contains less than 50                be in chloroprene service, as defined in
                                                 section, the owner or operator of a                     pounds of total volatile organic                      § 63.482, then the owner or operator
                                                 Group 2 batch front-end process vent                    compounds (VOC).                                      must comply with the requirements of
                                                 with annual organic HAP emissions less                     (iv) If, after applying best practices to          paragraphs (j)(1) through (j)(4) of this
                                                 than the level specified in § 63.488(d),                isolate and purge equipment served by                 section in addition to all other
                                                 shall comply with paragraph (g)(1),                     a maintenance vent, none of the                       applicable requirements specified in
                                                 (g)(2), (g)(3), or (g)(4) of this section.              applicable criterion in paragraphs                    § 63.483 and elsewhere in this section.
                                                 *      *     *      *      *                            (i)(1)(i) through (i)(1)(iii) of this section            (1) Reduce emissions of chloroprene
                                                    (i) For each affected source as                      can be met prior to installing or                     by venting emissions through a closed
                                                 described in § 63.480, beginning no later               removing a blind flange or similar                    vent system to a non-flare control device
                                                 than the compliance dates specified in                  equipment blind, then the pressure in                 that reduces chloroprene by greater than
                                                 § 63.481(n), an owner or operator may                   the equipment served by the                           or equal to 98 percent by weight, or to
                                                 designate a batch front-end process vent                maintenance vent must be reduced to 2                 a concentration less than 1 ppmv for
                                                 as a maintenance vent if the vent is only               psig or less before installing or removing            each process vent or to less than 5
                                                 used as a result of startup, shutdown,                  the equipment blind. During installation              pounds per year for all combined
                                                 maintenance, or inspection of                           or removal of the equipment blind,                    process vents within the process. If a
                                                 equipment where equipment is emptied,                   active purging of the equipment may be                combustion device is used, the
                                                 depressurized, degassed, or placed into                 used provided the equipment pressure                  chloroprene concentration of 1 ppmv
                                                 service. The owner or operator must                     at the location where purge gas is                    must be corrected to 3 percent oxygen.
                                                 comply with the applicable                              introduced remains at 2 psig or less.                    (2) To demonstrate compliance with
                                                 requirements in paragraphs (i)(1)                          (2) Except for maintenance vents                   the emission limits specified in
                                                 through (i)(4) of this section for each                 complying with the alternative in                     paragraph (j)(1) of this section for batch
                                                 maintenance vent. Any vent designated                   paragraph (i)(1)(iii) of this section, the            front-end process vents in chloroprene
                                                 as a maintenance vent is only subject to                owner or operator must determine the                  service, owners and operators must
                                                 the maintenance vent provisions in this                 concentration or, if applicable,                      meet the requirements specified in
                                                 paragraph (i) and the associated                        equipment pressure using process                      § 63.510.
                                                 recordkeeping and reporting                             instrumentation or portable                              (3) Owners and operators must keep
                                                 requirements in § 63.491(h) and                         measurement devices and follow                        the records specified in paragraphs
                                                 § 63.492(g), respectively. The owner or                 procedures for calibration and                        (j)(3)(i) and (j)(3)(ii) of this section in
                                                 operator does not need to designate a                   maintenance according to                              addition to those records specified
                                                 maintenance vent as a Group 1 or Group                  manufacturer’s specifications.                        elsewhere in this section.
                                                 2 batch front-end process vent nor                         (3) For maintenance vents complying                   (i) For process vents, include all
                                                 identify maintenance vents in a                         with the alternative in paragraph                     uncontrolled, undiluted chloroprene
                                                                                                         (i)(1)(iii) of this section, the owner or
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                                                 Notification of Compliance Status                                                                             concentration measurements, and the
                                                 report.                                                 operator must determine mass of VOC                   calculations used to determine the total
                                                    (1) Prior to venting to the atmosphere,              in the equipment served by the                        uncontrolled chloroprene mass
                                                 remove process liquids from the                         maintenance vent based on the                         emission rate for the sum of all vent gas
                                                 equipment as much as practical and                      equipment size and contents after                     streams.
                                                 depressurize the equipment to either: A                 considering any contents drained or                      (ii) The owner or operator must keep
                                                 flare meeting the requirements of                       purged from the equipment. Equipment                  records of all periods during which
                                                 § 63.508, as applicable, or using any                   size may be determined from equipment                 operating values are outside of the


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                                                 applicable operating limits specified in                required to comply with the provisions                shall be made using the criteria
                                                 § 63.510(b)(4) through (6) when                         in paragraphs (e) through (g) of this                 specified in paragraphs (g)(1) and (g)(2)
                                                 regulated material is being routed to the               section.                                              of this section.
                                                 non-flare control device. The record                       (2) For each affected source as                      (1) If the cutoff flow rate is greater
                                                 must specify the operating parameter,                   described in § 63.480, beginning no later             than or equal to the annual average
                                                 the applicable limit, and the highest (for              than the compliance dates specified in                batch vent flow rate of the stream, the
                                                 maximum operating limits) or lowest                     § 63.481(n), paragraph (d)(1) of this                 batch front-end process vent is
                                                 (for minimum operating limits) value                    section no longer applies and instead                 classified as a Group 1 batch front-end
                                                 recorded during the period.                             the collection of all batch front-end                 process vent.
                                                    (4) The Periodic Report must include                 process vents with combined total                       (2) If the cutoff flow rate is less than
                                                 the records of periods specified in                     annual emissions of TOC or organic                    the annual average batch vent flow rate
                                                 paragraph (j)(3)(ii) of this section.                   HAP less than 4,536 kg/yr (10,000 lb/yr)              of the stream, the batch front-end
                                                 Indicate the start date, start time and                 are considered Group 2 batch front-end                process vent is classified as a Group 2
                                                 duration in hours for each period.                      process vents. Annual emissions of TOC                batch front-end process vent.
                                                 ■ 127. Amend § 63.488 by:                               or organic HAP are determined at the                    (3) For each affected source as
                                                 ■ a. Revising paragraphs (b)(5)(iii), (d),              exit of each batch unit operation, as                 described in § 63.480, beginning no later
                                                 and (e) introductory text,                              described in paragraph (a)(2) of this                 than the compliance dates specified in
                                                 ■ b. Adding paragraph (e)(4); and                       section, and are determined as specified              § 63.481(n), paragraph (g) of this section
                                                 ■ c. Revising paragraphs (f) and (g).                   in paragraph (b) of this section.                     no longer applies.
                                                    The revisions and addition read as                      (e) Determination of average batch                 *     *      *     *    *
                                                 follows:                                                vent flow rate and annual average batch               ■ 128. Amend § 63.489 by:
                                                                                                         vent flow rate. Except as specified in                ■ a. Revising paragraphs (a)
                                                 § 63.488 Methods and procedures for
                                                 batch front-end process vent group                      paragraph (e)(4) of this section, the                 introductory text, (b) introductory text,
                                                 determination.                                          owner or operator shall determine the                 (b)(2), and (b)(7);
                                                                                                         average batch vent flow rate for each                 ■ b. Adding paragraphs (b)(9), (10) and
                                                 *       *    *    *    *                                                                                      (11);
                                                    (b) * * *                                            batch emission episode in accordance
                                                                                                         with one of the procedures provided in                ■ c. Revising paragraph (d) introductory
                                                    (5) * * *                                                                                                  text and adding paragraph (d)(3); and
                                                    (iii) Method 18 or Method 25A of                     paragraphs (e)(1) through (e)(2) of this
                                                                                                         section. The annual average batch vent                ■ d. Revising paragraph (e)(1)(i), and
                                                 appendices A–6 and A–7 to 40 CFR part                                                                         adding paragraph (e)(1)(iii).
                                                 60, respectively, must be used to                       flow rate for a batch front-end process
                                                                                                         vent shall be calculated as specified in                The revisions and additions read as
                                                 determine the concentration of TOC or                                                                         follows:
                                                 organic HAP, as appropriate. ASTM                       paragraph (e)(3) of this section.
                                                 D6420–18 (incorporated by reference,                    *      *     *      *     *                           § 63.489 Batch front-end process vents—
                                                 see § 63.14) may also be used in lieu of                   (4) For each affected source as                    monitoring equipment.
                                                 Method 18, if the target compounds are                  described in § 63.480, beginning no later               (a) General requirements. Each owner
                                                 all known and are all listed in Section                 than the compliance dates specified in                or operator of a batch front-end process
                                                 1.1 of ASTM D6420–18 as measurable;                     § 63.481(n), paragraph (e) of this section            vent or aggregate batch vent stream that
                                                 ASTM D6420–18 must not be used for                      no longer applies.                                    uses a control device to comply with the
                                                 methane and ethane; and ASTM D6420–                        (f) Determination of cutoff flow rate.             requirements in § 63.487(a)(2) or (3) or
                                                 18 may not be used as a total VOC                       (1) Except as specified in paragraph                  § 63.487(b)(2) or (3) shall install the
                                                 method. The use of Method 25A must                      (f)(2) of this section, for each batch                monitoring equipment specified in
                                                 conform with the requirements in                        front-end process vent, the owner or                  paragraph (b) of this section. All
                                                 paragraphs (b)(5)(iii)(A) and (B) of this               operator shall calculate the cutoff flow              monitoring equipment shall be
                                                 section.                                                rate using Equation 15.                               installed, calibrated, maintained, and
                                                    (A) The organic HAP used as the                                                                            operated according to the
                                                                                                         Equation 15 to Paragraph (f)
                                                 calibration gas for Method 25A of                                                                             manufacturer’s specifications or other
                                                 appendix A–7 to 40 CFR part 60 must                     CFR=(0.00437)(AE)¥51.6 [Eq. 15]                       written procedures that provide
                                                 be the single organic HAP representing                  Where:                                                adequate assurance that the equipment
                                                 the largest percent by volume of the                    CFR = Cutoff flow rate, scmm.                         would reasonably be expected to
                                                 emissions.                                              AE = Annual TOC or organic HAP emissions,             monitor accurately.
                                                 *       *    *    *    *                                    as determined in paragraph (b)(8) of this         *     *      *    *     *
                                                    (d) Minimum emission level                               section, kg/yr.                                     (b) Batch front-end process vent and
                                                 exemption. (1) Except as specified in                     (2) For each affected source as                     aggregate batch vent stream monitoring
                                                 paragraph (d)(2) of this section, a batch               described in § 63.480, beginning no later             equipment. The monitoring equipment
                                                 front-end process vent with annual                      than the compliance dates specified in                specified in paragraphs (b)(1) through
                                                 emissions of TOC or organic HAP less                    § 63.481(n), paragraph (f) of this section            (b)(11) of this section shall be installed
                                                 than 11,800 kg/yr is considered a Group                 no longer applies.                                    as specified in paragraph (a) of this
                                                 2 batch front-end process vent and the                    (g) Group 1/Group 2 status                          section. The parameters to be monitored
                                                 owner or operator of that batch front-                  determination. Except as specified in                 are specified in Table 6 of this subpart.
                                                 end process vent shall comply with the                  paragraph (g)(3) of this section, the                 *     *      *    *     *
                                                 requirements in § 63.487(f) or (g).                                                                             (2) Where a flare is used, except as
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                                                                                                         owner or operator shall compare the
                                                 Annual emissions of TOC or organic                      cutoff flow rate, calculated in                       specified in paragraph (b)(9) of this
                                                 HAP are determined at the exit of the                   accordance with paragraph (f) of this                 section, a device (including, but not
                                                 batch unit operation, as described in                   section, with the annual average batch                limited to, a thermocouple, ultra-violet
                                                 paragraph (a)(2) of this section, and are               vent flow rate, determined in                         beam sensor, or infrared sensor) capable
                                                 determined as specified in paragraph (b)                accordance with paragraph (e)(3) of this              of continuously detecting the presence
                                                 of this section. The owner or operator of               section. The group determination status               of a pilot flame is required.
                                                 that batch front-end process vent is not                for each batch front-end process vent                 *     *      *    *     *


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                                                    (7) Except as specified in paragraph                 first adsorber and a fresh adsorber will              Instead, the exemptions specified in
                                                 (b)(10) of this section, where a carbon                 become the second adsorber. For                       paragraph (d)(3)(ii)(A) and (d)(3)(ii)(B)
                                                 adsorber is used, an integrating                        purposes of this paragraph,                           of this section apply.
                                                 regeneration steam flow, nitrogen flow,                 ‘‘immediately’’ means within 8 hours of                  (A) Except for pressure relief devices
                                                 or pressure monitoring device having an                 the detection of a breakthrough for                   subject to § 63.165(e)(4) of subpart H of
                                                 accuracy of ±10 percent of the flow rate,               adsorbers of 55 gallons or less, and                  this part, equipment such as low leg
                                                 level, or pressure, or better, capable of               within 24 hours of the detection of a                 drains and equipment subject to the
                                                 recording the total regeneration steam                  breakthrough for adsorbers greater than               requirements of subpart H of this part
                                                 flow or nitrogen flow, or pressure (gauge               55 gallons. The owner or operator must                are not subject to this paragraph (d).
                                                 or absolute) for each regeneration cycle;               monitor at the outlet of the first adsorber              (B) Open-ended valves or lines that
                                                 and a carbon bed temperature                            within 3 days of replacement to confirm               use a cap, blind flange, plug, or second
                                                 monitoring device, capable of recording                 it is performing properly.                            valve and follow the requirements
                                                 the carbon bed temperature after each                      (B) Based on the adsorber bed life                 specified in 40 CFR 60.482–6(a)(2), (b),
                                                 regeneration and within 15 minutes of                   established according to paragraph                    and (c) or follow requirements codified
                                                 completing any cooling cycle are                        (b)(10)(i) of this section and the date the           in another regulation that are the same
                                                 required.                                               adsorbent was last replaced, conduct                  as 40 CFR 60.482–6(a)(2), (b), and (c) are
                                                 *       *    *     *     *                              monitoring to detect breakthrough at                  not subject to this paragraph (d) of this
                                                    (9) For each affected source as                      least monthly if the adsorbent has more               section.
                                                 described in § 63.480, beginning no later               than 2 months of life remaining, at least                (e) * * *
                                                 than the compliance dates specified in                  weekly if the adsorbent has between 2                    (1) * * *
                                                 § 63.481(n), paragraph (b)(2) of this                   months and 2 weeks of life remaining,                    (i) For batch front-end process vents
                                                 section no longer applies and instead                   and at least daily if the adsorbent has 2             using a control device to comply with
                                                 the owner or operator of the affected                   weeks or less of life remaining.                      § 63.487(a)(2), the established level shall
                                                 source must comply with § 63.508 for                       (11) Where sorbent injection is used,              reflect the control efficiency established
                                                 the flare.                                              the following monitoring equipment is                 as part of the most recent compliance
                                                    (10) Beginning no later than the                     required for the sorbent injection                    demonstration specified in
                                                 compliance dates specified in                           system:                                               § 63.490(c)(2).
                                                 § 63.481(n), if the owner or operator                      (i) A sorbent injection rate monitoring            *       *     *    *     *
                                                 vents emissions through a closed vent                   device (e.g., weigh belt, weigh hopper,                  (iii) For batch front-end process vents
                                                 system to an adsorber(s) that cannot be                 hopper flow measurement device)                       using a control device to comply with
                                                 regenerated or a regenerative adsorber(s)               installed in a position that provides a               § 63.487(a)(3) and aggregate batch vent
                                                 that is regenerated offsite, then the                   representative measurement equipped                   streams using a control device to
                                                 owner or operator must install a system                 with a continuous recorder to monitor                 comply with § 63.487 (b)(3), the
                                                 of two or more adsorber units in series                 the sorbent injection rate; and                       established level shall reflect the level
                                                 and comply with the requirements                           (ii) A flow measurement device                     of control established as part of the most
                                                 specified in paragraphs (b)(10)(i)                      equipped with a continuous recorder to                recent compliance demonstration
                                                 through (b)(10)(iii) of this section.                   monitor the carrier gas flow rate.                    specified in § 63.490(g).
                                                    (i) Conduct an initial performance test              *       *    *     *     *                            *       *     *    *     *
                                                 or design evaluation of the adsorber and                   (d) Monitoring of bypass lines. The                ■ 129. Amend § 63.490 by revising
                                                 establish the breakthrough limit and                    owner or operator of a batch front-end                paragraphs (a), (c)(1)(i)(D), and (e)(1),
                                                 adsorber bed life.                                      process vent or aggregate batch vent                  and adding paragraph (g) as follows:
                                                    (ii) Monitor the HAP or total organic                stream using a vent system that contains
                                                 compound (TOC) concentration through                    bypass lines that could divert emissions              § 63.490 Batch front-end process vents—
                                                 a sample port at the outlet of the first                away from a control device used to                    performance test methods and procedures
                                                 adsorber bed in series according to the                 comply with § 63.487(a) or § 63.487(b)                to determine compliance.
                                                 schedule in paragraph (b)(10)(iii)(B) of                shall comply with either paragraph                      (a) Use of a flare. (1) Except as
                                                 this section. The owner or operator must                (d)(1) or (d)(2), and (d)(3) of this section.         specified in paragraph (a)(2) of this
                                                 measure the concentration of HAP or                     Except as specified in paragraph (d)(3)               section, when a flare is used to comply
                                                 TOC using either a portable analyzer, in                of this section, equipment such as low                with § 63.487(a)(1) or (b)(1), the owner
                                                 accordance with Method 21 of 40 CFR                     leg drains, high point bleeds, analyzer               or operator of an affected source shall
                                                 part 60, appendix A–7 using methane,                    vents, open-ended valves or lines, and                comply with § 63.504(c).
                                                 propane, isobutylene, or the primary                    pressure relief valves needed for safety                (2) For each affected source as
                                                 HAP being controlled as the calibration                 purposes are not subject to this                      described in § 63.480, beginning no later
                                                 gas or Method 25A of 40 CFR part 60,                    paragraph (d).                                        than the compliance dates specified in
                                                 appendix A–7 using methane, propane,                    *       *    *     *     *                            § 63.481(n), paragraph (a)(1) of this
                                                 or the primary HAP being controlled as                     (3) For each affected source as                    section no longer applies and instead
                                                 the calibration gas.                                    described in § 63.480, beginning no later             the owner or operator of the affected
                                                    (iii) Comply with paragraph                          than the compliance dates specified in                source must comply with § 63.508 for
                                                 (b)(10)(iii)(A) of this section, and                    § 63.481(n):                                          the flare.
                                                 comply with the monitoring frequency                       (i) The use of a bypass line at any time           *     *     *     *      *
                                                 according to paragraph (b)(10)(iii)(B) of
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                                                                                                         on a closed vent system to divert                       (c) * * *
                                                 this section.                                           emissions (subject to the emission                      (1) * * *
                                                    (A) The first adsorber in series must                standards in § 63.487) to the atmosphere                (i) * * *
                                                 be replaced immediately when                            or to a control device not meeting the                  (D) Method 18 or Method 25A of
                                                 breakthrough, as defined in § 63.482, is                requirements specified in this subpart is             appendices A–6 and A–7 to 40 CFR part
                                                 detected between the first and second                   an emissions standards violation.                     60, respectively must be used to
                                                 adsorber. The original second adsorber                     (ii) The last sentence in paragraph (d)            determine the concentration of organic
                                                 (or a fresh canister) will become the new               of this section no longer applies.                    HAP or TOC, as appropriate. ASTM


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                                                 D6420–18 (incorporated by reference,                    must not be used for methane and                         (3) Determine the gas volumetric
                                                 see § 63.14) may also be used in lieu of                ethane; and ASTM D6420–18 may not                     flowrate using Method 2, 2A, 2C, or 2D
                                                 Method 18, if the target compounds are                  be used as a total VOC method. The use                of appendix A–2 to 40 CFR part 60.
                                                 all known and are all listed in Section                 of Method 25A of appendix A–7 to 40                      (4) Use Method 4 of appendix A–3 to
                                                 1.1 of ASTM D6420–18 as measurable;                     CFR part 60 must conform with the                     40 CFR part 60 to convert the
                                                 ASTM D6420–18 must not be used for                      requirements in paragraphs (e)(1)(i) and              volumetric flowrate to a dry basis.
                                                 methane and ethane; and ASTM D6420–                     (ii) of this section.                                    (5) Measure the concentration of each
                                                 18 may not be used as a total VOC                          (i) The organic HAP used as the                    tetra- through octa-chlorinated dioxin
                                                 method. Alternatively, any other                        calibration gas for Method 25A of                     and furan congener emitted using
                                                 method or data that has been validated                  appendix A–7 to 40 CFR part 60 must                   Method 23 of appendix A–7 to 40 CFR
                                                 according to the applicable procedures                  be the single organic HAP representing                part 60.
                                                 in Method 301 of appendix A to this                     the largest percent by volume of the                     (i) For each dioxin and furan
                                                 part may be used. The use of Method                     emissions.                                            congener, multiply the congener
                                                 25A must conform with the                                  (ii) The use of Method 25A of                      concentration by its corresponding toxic
                                                 requirements in paragraphs                              appendix A–7 to 40 CFR part 60 is                     equivalency factor specified in table 10
                                                 (c)(1)(i)(D)(1) and (2) of this section.                acceptable if the response from the high-             to this subpart. For determination of
                                                    (1) The organic HAP used as the                      level calibration gas is at least 20 times            toxic equivalency, zero may be used for
                                                 calibration gas for Method 25A                          the standard deviation of the response                congeners with a concentration less
                                                 appendix A–7 to 40 CFR part 60 must                     from the zero calibration gas when the
                                                 be the single organic HAP representing                                                                        than the estimated detection limit
                                                                                                         instrument is zeroed on the most                      (EDL). For congeners with estimated
                                                 the largest percent by volume of the                    sensitive scale.
                                                 emissions.                                                                                                    maximum pollutant concentration
                                                    (2) The use of Method 25A appendix                   *       *     *    *    *                             (EMPC) results, if the value is less than
                                                 A–7 to 40 CFR part 60 is acceptable if                     (g) Testing for compliance with                    the EDL, zero may be used. Otherwise,
                                                 the response from the high-level                        § 63.487(a)(3) and (b)(3) [dioxins and                the EMPC value must be used in the
                                                 calibration gas is at least 20 times the                furans]. Except as specified in                       calculation of toxic equivalency.
                                                 standard deviation of the response from                 paragraph (g)(7) of this section, an                     (ii) Sum the products calculated in
                                                 the zero calibration gas when the                       owner or operator complying with                      accordance with paragraph (g)(5)(i) of
                                                 instrument is zeroed on the most                        § 63.487(a)(3) and/or (b)(3) must                     this section to obtain the total
                                                 sensitive scale                                         conduct a performance test using the                  concentration of dioxins and furans
                                                 *      *     *    *      *                              procedures in paragraphs (g)(1) through               emitted in terms of toxic equivalency.
                                                    (e) * * *                                            (6) of this section. Conduct subsequent                  (6) The concentration of dioxins and
                                                    (1) For the purposes of this subpart,                performance tests no later than 60                    furans shall be corrected to 3 percent
                                                 when the provisions of § 63.116(c)                      calendar months after the previous                    oxygen. Use Method 3A of appendix A–
                                                 specify that Method 18 of appendix A–                   performance test.                                     2 to 40 CFR part 60 or the manual
                                                 6 to 40 CFR part 60 must be used,                          (1) The performance test must consist              method in ANSI/ASME PTC 19.10–1981
                                                 Method 18 or Method 25A of appendix                     of three test runs. Collect at least 3 dry            (incorporated by reference, see § 63.14)
                                                 A–7 to 40 CFR part 60 may be used.                      standard cubic meters of gas per test                 to determine the oxygen concentration
                                                 ASTM D6420–18 (incorporated by                          run.                                                  (%O2d). The oxygen concentration must
                                                 reference, see § 63.14) may also be used                   (2) Use Method 1 or 1A of appendix                 be determined concurrently with
                                                 in lieu of Method 18, if the target                     A–1 to 40 CFR part 60 to select the                   Method 23 of appendix A–7 to 40 CFR
                                                 compounds are all known and are all                     sampling sites at the sampling location.              part 60. The concentration corrected to
                                                 listed in Section 1.1 of ASTM D6420–                    The sampling location must be at the                  3 percent oxygen (Cc) shall be computed
                                                 18 as measurable; ASTM D6420–18                         outlet of the final control device.                   using the following equation:


                                                                                                                                       17.9         ]
                                                                                                                 c,, - c. ( 20.9 -%024

                                                 Where:                                                  with the requirements of 40 CFR part                  been required to submit the initial
                                                 Cc = Concentration of dioxins and furans                266, subpart H;                                       performance test report for this subpart.
                                                     corrected to 3 percent oxygen, dry basis,             (ii) Has certified compliance with the                (v) The owner and operator may not
                                                     nanograms per standard cubic meter.                 interim status requirements of 40 CFR                 waive performance testing pursuant to
                                                 Cm = Concentration of dioxins and furans,               part 266, subpart H;                                  § 63.1207(d)(4) and each performance
                                                     dry basis, nanograms per standard cubic
                                                     meter.                                                (iii) Meets the requirement specified               test required by § 63.1207(d) must show
                                                 %O2d = Concentration of oxygen, dry basis,              in paragraph (g)(7)(v) of this section,               compliance with the dioxins and furans
                                                     percent by volume.                                  and has submitted a Notification of                   emission limit specified in
                                                                                                         Compliance under § 63.1207(j) and                     § 63.487(a)(3) and (b)(3), as applicable.
                                                   (7) An owner or operator is not                       complies with the requirements of
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                                                                                                                                                               ■ 130. Amend § 63.491 by:
                                                 required to conduct a performance test                  subpart EEE of this part; or
                                                 when either a boiler or process heater                                                                        ■ a. Revising paragraph (b)(3)
                                                                                                           (iv) Meets the requirement specified                introductory text;
                                                 burning hazardous waste, or hazardous                   in paragraph (g)(7)(v) of this section,
                                                 waste incinerator, is used for which the                complies with subpart EEE of this part,               ■ b. Adding paragraphs (b)(3)(iv) and
                                                 owner or operator:                                      and will submit a Notification of                     (b)(6);
                                                   (i) Has been issued a final permit                    Compliance under § 63.1207(j) by the                  ■ c. Revising and republishing
                                                                                                                                                                                                           ER16MY24.064</GPH>




                                                 under 40 CFR part 270 and complies                      date the owner or operator would have                 paragraph (d)(1);


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                                                 ■ d. Revising paragraphs (e)(3) and                     whether a diversion was detected at any               10 percent of its LEL, identification of
                                                 (e)(4) introductory text;                               time are not required.                                the maintenance vent, the process units
                                                 ■ e. Adding paragraph (e)(6);                           *      *     *    *     *                             or equipment associated with the
                                                 ■ f. Revising paragraph (f)(3); and                        (6) For each flow event from a bypass              maintenance vent, the date of
                                                 ■ g. Adding paragraph (h).                              line subject to the requirements in                   maintenance vent opening, the pressure
                                                    The revisions, additions and                         § 63.489(d) for each affected source as               of the vessel or equipment at the time
                                                 republication read as follows:                          described in § 63.480, beginning no later             of discharge to the atmosphere and, if
                                                                                                         than the compliance dates specified in                applicable, the concentration of the
                                                 § 63.491 Batch front-end process vents—                                                                       vapors in the equipment when active
                                                 recordkeeping requirements.                             § 63.481(n), the owner or operator must
                                                                                                         also maintain records sufficient to                   purging was initiated.
                                                 *       *     *     *     *                                                                                      (4) If complying with the
                                                    (b) * * *                                            determine whether or not the detected
                                                                                                         flow included flow requiring control.                 requirements of § 63.487(i)(1)(iii),
                                                    (3) Except as specified in paragraph                                                                       records of the estimating procedures
                                                 (b)(3)(iv) of this section, when using a                For each flow event from a bypass line
                                                                                                         requiring control that is released either             used to determine the total quantity of
                                                 flare to comply with § 63.487(a)(1):                                                                          VOC in the equipment and the type and
                                                                                                         directly to the atmosphere or to a
                                                 *       *     *     *     *                             control device not meeting the                        size limits of equipment that contain
                                                    (iv) For each affected source as                     requirements in this subpart, the owner               less than 50 pounds of VOC at the time
                                                 described in § 63.480, beginning no later               or operator must include an estimate of               of maintenance vent opening. For each
                                                 than the compliance dates specified in                  the volume of gas, the concentration of               maintenance vent opening that contains
                                                 § 63.481(n), paragraphs (b)(3)(i) through               organic HAP in the gas and the resulting              greater than 50 pounds of VOC for
                                                 (b)(3)(iii) of this section no longer apply             emissions of organic HAP that bypassed                which the deinventory procedures
                                                 and instead the owner or operator of the                                                                      specified in paragraph (h)(1) of this
                                                                                                         the control device using process
                                                 affected source must keep the records                                                                         section are not followed or for which
                                                                                                         knowledge and engineering estimates.
                                                 specified in § 63.108(m) of subpart F of                   (f) * * *                                          the equipment opened exceeds the type
                                                 this part and § 63.508, readily accessible                 (3) For demonstrating compliance                   and size limits established in the
                                                 when using a flare to comply with                       with the monitoring of bypass lines as                records specified in this paragraph
                                                 § 63.487(a)(1).                                         specified in § 63.489(d), records as                  (h)(4), records that identify the
                                                 *       *     *     *     *                                                                                   maintenance vent, the process units or
                                                                                                         specified in paragraph (e)(3) or (4) of
                                                    (6) Records of the dioxins and furans                                                                      equipment associated with the
                                                                                                         this section, and (e)(6) of this section as
                                                 concentration, as determined in                                                                               maintenance vent, the date of
                                                                                                         appropriate.
                                                 § 63.490(g).                                                                                                  maintenance vent opening, and records
                                                                                                         *      *     *    *     *                             used to estimate the total quantity of
                                                 *       *     *     *     *                                (h) Maintenance vent compliance                    VOC in the equipment at the time the
                                                    (d) * * *                                            records for batch front-end process                   maintenance vent was opened to the
                                                    (1) The owner or operator of a Group                 vents. For each maintenance vent                      atmosphere.
                                                 2 batch front-end process vent required                 opening subject to the requirements of                   (5) If complying with the
                                                 to comply with § 63.487(g) shall keep                   § 63.487(i), owners and operators must                requirements of § 63.487(i)(1)(iv),
                                                 the following records readily accessible:               keep the applicable records specified in              identification of the maintenance vent,
                                                    (i) Except as specified in paragraph                 paragraphs (h)(1) through (5) of this                 the process units or equipment
                                                 (d)(1)(iii) of this section, records                    section.                                              associated with the maintenance vent,
                                                 designating the established batch mass                     (1) Owners and operators must                      records documenting actions taken to
                                                 input limitation required by                            maintain standard site procedures used                comply with other applicable
                                                 § 63.487(g)(1) and specified in                         to deinventory equipment for safety                   alternatives and why utilization of this
                                                 § 63.490(f).                                            purposes (e.g., hot work or vessel entry              alternative was required, the date of
                                                    (ii) Records specifying the mass of                  procedures) to document the procedures                maintenance vent opening, the
                                                 HAP or material charged to the batch                    used to meet the requirements in                      equipment pressure and concentration
                                                 unit operation.                                         § 63.487(i). The current copy of the                  of the vapors in the equipment at the
                                                    (iii) For each affected source as                    procedures must be retained and                       time of discharge, an indication of
                                                 described in § 63.480, beginning no later               available on-site at all times. Previous              whether active purging was performed
                                                 than the compliance dates specified in                  versions of the standard site procedures,             and the pressure of the equipment
                                                 § 63.481(n), paragraph (d)(1)(i) of this                as applicable, must be retained for five              during the installation or removal of the
                                                 section no longer applies.                              years.                                                blind if active purging was used, the
                                                 *       *     *     *     *                                (2) If complying with the                          duration the maintenance vent was
                                                    (e) * * *                                            requirements of § 63.487(i)(1)(i), and the            open during the blind installation or
                                                    (3) Except as specified in paragraph                 concentration of the vapor at the time of             removal process, and records used to
                                                 (e)(6) of this section, hourly records of               the vessel opening exceeds 10 percent of              estimate the total quantity of VOC in the
                                                 whether the flow indicator for bypass                   its LEL, identification of the                        equipment at the time the maintenance
                                                 lines specified under § 63.489(d)(1) was                maintenance vent, the process units or                vent was opened to the atmosphere for
                                                 operating and whether a diversion was                   equipment associated with the                         each applicable maintenance vent
                                                 detected at any time during the hour.                   maintenance vent, the date of                         opening.
                                                 Also, records of the times of all periods               maintenance vent opening, and the                     ■ 131. Amend § 63.492 by revising
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                                                 when the vent is diverted from the                      concentration of the vapor at the time of             paragraph (f) and adding paragraph (g)
                                                 control device, or the flow indicator                   the vessel opening.                                   to read as follows:
                                                 specified in § 63.489(d)(1) is not                         (3) If complying with the
                                                 operating.                                              requirements of § 63.487(i)(1)(ii), and               § 63.492 Batch front-end process vents—
                                                    (4) Except as specified in paragraph                 either the vessel pressure at the time of             reporting requirements.
                                                 (e)(6) of this section, where a seal or                 the vessel opening exceeds 5 psig or the              *     *   *      *    *
                                                 closure mechanism is used to comply                     concentration of the vapor at the time of               (f) Owners or operators of affected
                                                 with § 63.489(d)(2), hourly records of                  the active purging was initiated exceeds              sources complying with § 63.489(d),


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                                                 shall comply with paragraph (f)(1) or (2)               and nitrile butadiene rubber shall not                description of the method used to
                                                 of this section, as appropriate.                        exceed the limits determined in                       estimate this quantity.
                                                    (1) Submit reports of the times of all               accordance with paragraphs (a)(4)(i)                  *      *     *     *      *
                                                 periods recorded under § 63.491(e)(3)                   through (iv) of this section for any                     (d) Except as specified in paragraph
                                                 when the batch front-end process vent                   consecutive 12-month period. The                      (e) of this section, if the owner or
                                                 is diverted away from the control device                specific limitation for each elastomer                operator complies with the residual
                                                 through a bypass line, with the next                    type shall be determined based on the                 organic HAP limitations in paragraph
                                                 Periodic Report. Include the start date,                calculation or the emissions level                    (a)(1) through (3) of this section using a
                                                 start time and duration in hours of each                provided in paragraphs (a)(4)(i) through              flare, the owner or operator of an
                                                 period.                                                 (iv) of this section divided by the base              affected source shall comply with the
                                                    (2) Submit reports of all occurrences                year elastomer product that leaves the                requirements in § 63.504(c).
                                                 recorded under § 63.491(e)(4) in which                  stripping operation (or the reactor(s), if               (e) For each affected source as
                                                 the seal mechanism is broken, the                       the plant has no stripper(s)). The                    described in § 63.480, beginning no later
                                                 bypass line damper or valve position                    limitation shall be calculated and                    than the compliance dates specified in
                                                 has changed, or the key to unlock the                   submitted in accordance with                          § 63.481(n), paragraph (d) of this section
                                                 bypass line damper or valve was                         § 63.499(f)(1).                                       no longer applies and instead if the
                                                 checked out, with the next Periodic                     *       *    *     *    *                             owner or operator complies with the
                                                 Report. Include the start date, start time                 (7) For each affected source as                    residual organic HAP limitations in
                                                 and duration in hours of each period.                   described in § 63.480, beginning no later             paragraph (a)(1) through (3) of this
                                                    (g) For any maintenance vent release                 than the compliance dates specified in                section using a flare, the owner or
                                                 exceeding the applicable limits in                      § 63.481(o), if the back-end process vent             operator of the affected source must
                                                 § 63.487(i)(1), the Periodic Report must                contains chloroprene such that it is                  comply with § 63.508 for the flare.
                                                 include the information specified in                    considered to be in chloroprene service,              ■ 133. Amend § 63.496 by revising
                                                 paragraphs (g)(1) through (4) of this                   as defined in § 63.482, then the owner                paragraphs (b)(5)(iii) and (b)(7)(i) to read
                                                 section. For the purposes of this                       or operator must comply with the                      as follows:
                                                 reporting requirement, if an owner or                   requirements of paragraphs (a)(7)(i)
                                                 operator complies with                                                                                        § 63.496 Back-end process provisions—
                                                                                                         through (iii) of this section in addition             procedures to determine compliance with
                                                 § 63.487(i)(1)(iv), then the owner or                   to all other applicable requirements
                                                 operator must report each venting event                                                                       residual organic HAP limitations using
                                                                                                         specified in § 63.483 and elsewhere in                control or recovery devices.
                                                 conducted under those provisions and                    this section.
                                                 include an explanation for each event as                                                                      *       *    *      *    *
                                                                                                            (i) Reduce emissions of chloroprene                   (b) * * *
                                                 to why utilization of this alternative was              by venting emissions through a closed                    (5) * * *
                                                 required.                                               vent system to a non-flare control device                (iii) To determine the inlet and outlet
                                                    (1) Identification of the maintenance                that reduces chloroprene by greater than              total organic HAP concentrations, the
                                                 vent and the equipment served by the                    or equal to 98 percent by weight, or to               owner or operator must use Method 18
                                                 maintenance vent.                                       a concentration less than 1 ppmv for
                                                    (2) The date and time the                                                                                  or Method 25A of appendices A–6 and
                                                                                                         each process vent or to less than 5                   A–7 to 40 CFR part 60, respectively.
                                                 maintenance vent was opened to the
                                                                                                         pounds per year for all combined                      ASTM D6420–18 (incorporated by
                                                 atmosphere.
                                                    (3) The LEL in percent, vessel                       process vents within the process. If a                reference, see § 63.14) may also be used
                                                 pressure in psig, or mass in pounds of                  combustion device is used, the                        in lieu of Method 18, if the target
                                                 VOC in the equipment, as applicable, at                 chloroprene concentration of 1 ppmv                   compounds are all known and are all
                                                 the start of atmospheric venting. If the                must be corrected to 3 percent oxygen.                listed in Section 1.1 of ASTM D6420–
                                                 5 psig vessel pressure option in                           (ii) To demonstrate compliance with                18 as measurable; ASTM D6420–18
                                                 § 63.487(i)(1)(ii) was used and active                  the emission limits specified in                      must not be used for methane and
                                                 purging was initiated while the                         paragraph (a)(7)(i) of this section for               ethane; and ASTM D6420–18 may not
                                                 concentration of the vapor was 10                       back-end process vents in chloroprene                 be used as a total VOC method.
                                                 percent or greater of its LEL, also                     service, owners and operators must                    Alternatively, any other method or data
                                                 include the concentration of the vapors                 meet the requirements specified in                    that has been validated according to the
                                                 at the time active purging was initiated.               § 63.510.                                             applicable procedures in Method 301 of
                                                    (4) An estimate of the mass in pounds                   (iii) An owner or operator may                     appendix A to this part may be used.
                                                 of organic HAP released during the                      designate a back-end process vent in                  The minimum sampling time for each
                                                 entire atmospheric venting event.                       chloroprene service as a maintenance                  run must be in accordance with
                                                                                                         vent if the vent is only used as a result             paragraph (b)(1) of this section, during
                                                 ■ 132. Amend § 63.494 by revising
                                                                                                         of startup, shutdown, maintenance, or                 which either an integrated sample or
                                                 paragraph (a)(4) introductory text,
                                                                                                         inspection of equipment where                         grab samples shall be taken. If grab
                                                 adding paragraph (a)(7), revising
                                                                                                         equipment is emptied, depressurized,                  sampling is used, then the samples must
                                                 paragraph (d), and adding paragraph (e)
                                                                                                         degassed, or placed into service;                     be taken at approximately equal
                                                 to read as follows:
                                                                                                         however, owners and operators may not                 intervals during the run, with the time
                                                 § 63.494 Back-end process provisions—                   release more than 1.0 tons of                         between samples no greater than 15
                                                 residual organic HAP and emission                       chloroprene from all maintenance vents                minutes.
                                                                                                         combined (i.e., including maintenance
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                                                 limitations.                                                                                                  *       *    *      *    *
                                                   (a) * * *                                             vents subject to this paragraph (a)(7)(iii),             (7) * * *
                                                   (4) In addition to the requirements                   § 63.485(z), or § 63.487(i)(4)) per any                  (i) A flare. (A) Except as specified in
                                                 specified in paragraph (a)(7) of this                   consecutive 12-month period. The                      paragraph (b)(7)(i)(B) of this section, the
                                                 section, the organic HAP emissions from                 owner or operator must keep monthly                   owner or operator shall demonstrate
                                                 back-end processes at affected sources                  records of the quantity in tons of                    compliance as provided in § 63.504(c).
                                                 producing butyl rubber,                                 chloroprene released from each                           (B) For each affected source as
                                                 epichlorohydrin elastomer, neoprene,                    maintenance vent and include a                        described in § 63.480, beginning no later


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                                                 than the compliance dates specified in                  of two or more adsorber units in series               Except as specified in paragraph (d)(3)
                                                 § 63.481(n), paragraph (b)(7)(i)(A) of this             and comply with the requirements                      of this section, equipment such as low
                                                 section no longer applies and instead                   specified in paragraphs (a)(8)(i) through             leg drains, high point bleeds, analyzer
                                                 the owner or operator of the affected                   (iii) of this section.                                vents, open-ended valves or lines, and
                                                 source must comply with § 63.508 for                       (i) Conduct an initial performance test            pressure relief valves needed for safety
                                                 the flare.                                              or design evaluation of the adsorber and              purposes are not subject to this
                                                 *      *    *     *    *                                establish the breakthrough limit and                  paragraph.
                                                 ■ 134. Amend § 63.497 by revising
                                                                                                         adsorber bed life.                                    *      *    *     *     *
                                                 paragraphs (a) introductory text, (a)(2)                   (ii) Monitor the HAP or total organic                (3) For each affected source as
                                                 and (6), adding paragraphs (a)(7) and                   compound (TOC) concentration through                  described in § 63.480, beginning no later
                                                 (8), revising paragraph (d) introductory                a sample port at the outlet of the first              than the compliance dates specified in
                                                 text, and adding paragraph (d)(3) to read               adsorber bed in series according to the               § 63.481(n):
                                                                                                         schedule in paragraph (a)(8)(iii)(B) of                 (i) The use of a bypass line at any time
                                                 as follows:
                                                                                                         this section. The owner or operator must              on a closed vent system to divert
                                                 § 63.497 Back-end process provisions—                   measure the concentration of HAP or                   emissions (subject to the emission
                                                 monitoring provisions for control and                   TOC using either a portable analyzer, in              standards in § 63.487) to the atmosphere
                                                 recovery devices used to comply with                    accordance with Method 21 of 40 CFR                   or to a control device not meeting the
                                                 residual organic HAP limitations.                       part 60, appendix A–7 using methane,                  requirements specified in this subpart is
                                                    (a) An owner or operator complying                   propane, isobutylene, or the primary                  an emissions standards violation.
                                                 with the residual organic HAP                           HAP being controlled as the calibration                 (ii) The last sentence in paragraph (d)
                                                 limitations in § 63.494(a)(1) through (3)               gas or Method 25A of 40 CFR part 60,                  of this section no longer applies.
                                                 using control or recovery devices, or a                 appendix A–7 using methane, propane,                  Instead, the exemptions specified in
                                                 combination of stripping and control or                 or the primary HAP being controlled as                paragraph (d)(3)(ii)(A) and (d)(3)(ii)(B)
                                                 recovery devices, shall install the                     the calibration gas.                                  of this section apply.
                                                 monitoring equipment specified in                          (iii) Comply with paragraph                          (A) Except for pressure relief devices
                                                 paragraphs (a)(1) through (7) of this                   (a)(8)(iii)(A) of this section, and comply            subject to § 63.165(e)(4) of subpart H of
                                                 section, as appropriate.                                with the monitoring frequency                         this part, equipment such as low leg
                                                 *      *     *     *     *                              according to paragraph (a)(8)(iii)(B) of              drains and equipment subject to the
                                                    (2) Where a flare is used, except as                 this section.                                         requirements of subpart H of this part
                                                 specified in paragraph (a)(7) of this                      (A) The first adsorber in series must              are not subject to this paragraph (d) of
                                                 section, a device (including, but not                   be replaced immediately when                          this section.
                                                 limited to, a thermocouple, ultra-violet                breakthrough, as defined in § 63.482, is                (B) Open-ended valves or lines that
                                                 beam sensor, or infrared sensor) capable                detected between the first and second                 use a cap, blind flange, plug, or second
                                                 of continuously detecting the presence                  adsorber. The original second adsorber                valve and follow the requirements
                                                 of a pilot flame is required.                           (or a fresh canister) will become the new             specified in 40 CFR 60.482–6(a)(2), (b),
                                                                                                         first adsorber and a fresh adsorber will              and (c) or follow requirements codified
                                                 *      *     *     *     *                                                                                    in another regulation that are the same
                                                    (6) Except as specified in paragraph                 become the second adsorber. For
                                                                                                         purposes of this paragraph,                           as 40 CFR 60.482–6(a)(2), (b), and (c) are
                                                 (a)(8) of this section, for a carbon
                                                                                                         ‘‘immediately’’ means within 8 hours of               not subject to this paragraph (d) of this
                                                 adsorber, an integrating regeneration
                                                                                                         the detection of a breakthrough for                   section.
                                                 steam flow, nitrogen flow, or pressure
                                                                                                         adsorbers of 55 gallons or less, and                  ■ 135. Amend § 63.498 by:
                                                 monitoring device having an accuracy of
                                                                                                                                                               ■ a. Revising paragraph (a) introductory
                                                 at least ±10 percent of the flow rate,                  within 24 hours of the detection of a
                                                                                                         breakthrough for adsorbers greater than               text;
                                                 level, or pressure, capable of recording                                                                      ■ b. Revising and republishing
                                                 the total regeneration steam flow or                    55 gallons. The owner or operator must
                                                                                                         monitor at the outlet of the first adsorber           paragraph (d); and
                                                 nitrogen flow, or pressure (gauge or                                                                          ■ c. Adding paragraph (f).
                                                 absolute) for each regeneration cycle;                  within 3 days of replacement to confirm
                                                                                                                                                                 The addition, revisions and
                                                 and a carbon bed temperature                            it is performing properly.
                                                                                                                                                               republication read as follows:
                                                 monitoring device, capable of recording                    (B) Based on the adsorber bed life
                                                 the carbon bed temperature after each                   established according to paragraph                    § 63.498 Back-end process provisions—
                                                 regeneration and within 15 minutes of                   (a)(8)(i) of this section and the date the            recordkeeping.
                                                 completing any cooling cycle are                        adsorbent was last replaced, conduct                    (a) Each owner or operator shall
                                                 required.                                               monitoring to detect breakthrough at                  maintain the records specified in
                                                    (7) For each affected source as                      least monthly if the adsorbent has more               paragraphs (a)(1) through (4), and
                                                 described in § 63.480, beginning no later               than 2 months of life remaining, at least             paragraphs (b) through (f) of this
                                                 than the compliance dates specified in                  weekly if the adsorbent has between 2                 section, as appropriate.
                                                 § 63.481(n), paragraph (a)(2) of this                   months and 2 weeks of life remaining,                 *     *     *     *    *
                                                 section no longer applies and instead                   and at least daily if the adsorbent has 2               (d) Each owner or operator of a back-
                                                 the owner or operator of the affected                   weeks or less of life remaining.                      end process operation using control or
                                                 source must comply with § 63.508 for                    *       *     *     *     *                           recovery devices to comply with a
                                                 the flare.                                                 (d) The owner or operator of an                    residual organic HAP limitation in
                                                    (8) Beginning no later than the                      affected source with a controlled back-               § 63.494(a)(1) through (3), shall
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                                                 compliance dates specified in                           end process vent using a vent system                  maintain the records specified in
                                                 § 63.481(n), if the owner or operator                   that contains bypass lines that could                 paragraphs (d)(1) through (5) of this
                                                 vents emissions through a closed vent                   divert a vent stream away from the                    section. The recordkeeping
                                                 system to an adsorber(s) that cannot be                 control or recovery device used to                    requirements contained in paragraphs
                                                 regenerated or a regenerative adsorber(s)               comply with § 63.494(a)(1) through (3),               (d)(1) through (4) pertain to the results
                                                 that is regenerated offsite, then the                   shall comply with either paragraph                    of the testing required by § 63.496(b), for
                                                 owner or operator must install a system                 (d)(1) or (d)(2), and (d)(3) of this section.         each of the three required test runs.


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                                                    (1) The uncontrolled residual organic                midnight to midnight or another 24-                   requiring control that is released either
                                                 HAP content in the latex or dry crumb                   hour period.                                          directly to the atmosphere or to a
                                                 rubber, as required to be determined by                    (D) If all recorded values for a                   control device not meeting the
                                                 § 63.496(b)(3), including the test results              monitored parameter during an                         requirements in this subpart, the owner
                                                 of the analysis;                                        operating day are below the maximum,                  or operator must include an estimate of
                                                    (2) The total quantity of material                   or above the minimum, level established               the volume of gas, the concentration of
                                                 (weight of latex or dry crumb rubber)                   in the Notification of Compliance Status              organic HAP in the gas and the resulting
                                                 processed during the test run, recorded                 in § 63.506(e)(5) or in the operating                 emissions of organic HAP that bypassed
                                                 in accordance with § 63.496(b)(4);                      permit, the owner or operator may                     the control device using process
                                                    (3) The organic HAP emissions at the                 record that all values were below the                 knowledge and engineering estimates.
                                                 inlet and outlet of the control or                      maximum or above the minimum level,                   *      *    *     *    *
                                                 recovery device, determined in                          rather than calculating and recording a                  (f) Owners and operators subject to
                                                 accordance with § 63.496(b)(5) through                  daily average for that operating day.                 § 63.494(a)(7), must keep the records
                                                 (8), including all test results and                        (E) Except as specified in paragraph               specified in paragraphs (f)(1) and (2) of
                                                 calculations.                                           (d)(5)(ii)(F) of this section, for flares,            this section in addition to those records
                                                    (4) The residual organic HAP content,                records of the times and duration of all              specified elsewhere in this section.
                                                 adjusted for the control or recovery                    periods during which the pilot flame is                  (1) For back-end process vents in
                                                 device emission reduction, determined                   absent, shall be kept rather than daily               chloroprene service, include all
                                                 in accordance with § 63.496(c)(1).                      averages. The records specified in this               uncontrolled, undiluted chloroprene
                                                    (5) Each owner or operator using a                   paragraph are not required during                     concentration measurements, and the
                                                 control or recovery device shall keep the               periods when emissions are not routed                 calculations used to determine the total
                                                 following records readily accessible:                   to the flare.                                         uncontrolled chloroprene mass
                                                                                                            (F) For each affected source as                    emission rate for the sum of all vent gas
                                                    (i) Continuous records of the
                                                                                                         described in § 63.480, beginning no later             streams.
                                                 equipment operating parameters
                                                                                                         than the compliance dates specified in                   (2) The owner or operator must keep
                                                 specified to be monitored under
                                                                                                         § 63.481(n), paragraph (d)(5)(ii)(E) of               records of all periods during which
                                                 § 63.497(a) or specified by the
                                                                                                         this section no longer applies and                    operating values are outside of the
                                                 Administrator in accordance with
                                                                                                         instead the owner or operator of the                  applicable operating limits specified in
                                                 § 63.497(b). For flares, the records
                                                                                                         affected source must keep the records                 § 63.510(b)(4) through (6) when
                                                 specified in § 63.508, if applicable, and
                                                                                                         specified in § 63.108(m) of subpart F of              regulated material is being routed to the
                                                 table 3 to subpart G of this part shall be
                                                                                                         this part and § 63.508.                               non-flare control device. The record
                                                 maintained in place of continuous                          (iii) Except as specified in paragraph
                                                 records.                                                                                                      must specify the operating parameter,
                                                                                                         (d)(5)(v) of this section, hourly records             the applicable limit, and the highest (for
                                                    (ii) Records of the daily average value              of whether the flow indicator specified
                                                 of each continuously monitored                                                                                maximum operating limits) or lowest
                                                                                                         under § 63.497(d)(1) was operating and                (for minimum operating limits) value
                                                 parameter for each operating day, except                whether a diversion was detected at any
                                                 as provided in paragraphs (d)(5)(ii)(D)                                                                       recorded during the period.
                                                                                                         time during the hour, as well as records
                                                 through (d)(5)(ii)(F) of this section.                                                                        ■ 136. Amend § 63.499 by adding
                                                                                                         of the times of all periods when the vent
                                                    (A) The daily average shall be                       stream is diverted from the control                   paragraph (g) as follows:
                                                 calculated as the average of all values                 device or the flow indicator is not                   § 63.499 Back-end process provisions—
                                                 for a monitored parameter recorded                      operating.                                            reporting.
                                                 during the operating day, except as                        (iv) Except as specified in paragraph
                                                 provided in paragraph (d)(5)(ii)(B) of                                                                        *     *     *     *     *
                                                                                                         (d)(5)(v) of this section, where a seal                 (g) Owners and operators subject to
                                                 this section. The average shall cover a                 mechanism is used to comply with                      § 63.494(a)(7), must include in the
                                                 24-hour period if operation is                          § 63.497(d)(2), hourly records of flow                periodic report, the records for the
                                                 continuous, or the number of hours of                   are not required.                                     periods specified in § 63.498(f)(2).
                                                 operation per operating day if operation                   (A) For compliance with                            Indicate the start date, start time and
                                                 is not continuous.                                      § 63.497(d)(2), the owner or operator                 duration in hours for each period.
                                                    (B) Monitoring data recorded during                  shall record whether the monthly visual
                                                                                                                                                               ■ 137. Amend § 63.500 by revising
                                                 periods of monitoring system                            inspection of the seals or closure
                                                 breakdowns, repairs, calibration checks,                                                                      paragraph (c)(1)(iii) introductory text to
                                                                                                         mechanisms has been done, and shall
                                                 and zero (low-level) and high-level                                                                           read as follows:
                                                                                                         record instances when the seal
                                                 adjustments, shall not be included in                   mechanism is broken, the bypass line                  § 63.500 Back-end process provisions—
                                                 computing the hourly or daily averages.                 damper or valve position has changed,                 carbon disulfide limitations for styrene
                                                 In addition, monitoring data recorded                   or the key for a lock-and-key type                    butadiene rubber by emulsion processes.
                                                 during periods of non-operation of the                  configuration has been checked out, and               *       *    *    *    *
                                                 EPPU (or specific portion thereof)                      records of any car-seal that has broken.                 (c) * * *
                                                 resulting in cessation of organic HAP                      (B) [Reserved]                                        (1) * * *
                                                 emissions, shall not be included in                        (v) For each flow event from a bypass                 (iii) To determine compliance with
                                                 computing the hourly or daily averages.                 line subject to the requirements in                   the carbon disulfide concentration limit
                                                 Records shall be kept of the times and                  § 63.127(d) of subpart G of this part for             in paragraph (a) of this section, the
                                                 durations of all such periods and any                   each affected source as described in                  owner or operator shall use Method 18
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                                                 other periods of process or control                     § 63.480, beginning no later than the                 or Method 25A of appendices A–6 and
                                                 device operation when monitors are not                  compliance dates specified in                         A–7 to 40 CFR part 60, respectively to
                                                 operating.                                              § 63.481(n), the owner or operator must               measure carbon disulfide. ASTM
                                                    (C) The operating day shall be the                   also maintain records sufficient to                   D6420–18 (incorporated by reference,
                                                 period defined in the operating permit                  determine whether or not the detected                 see § 63.14) may also be used in lieu of
                                                 or the Notification of Compliance Status                flow included flow requiring control.                 Method 18, if the target compounds are
                                                 in § 63.506(e)(5) or (8). It may be from                For each flow event from a bypass line                all known and are all listed in Section


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                                                 1.1 of ASTM D6420–18 as measurable;                        (iv) For each affected source as                   of ‘‘For each source as defined in
                                                 ASTM D6420–18 must not be used for                      described in § 63.480, beginning no later             § 63.101, on and after July 15, 2027,’’.
                                                 methane and ethane; and ASTM D6420–                     than the compliance dates specified in                  (e) Substitute ‘‘For each affected
                                                 18 may not be used as a total VOC                       § 63.481(o), the provisions specified in              source as described in § 63.480,
                                                 method. Alternatively, any other                        § 63.132(c)(1)(iii) do not apply. Instead,            beginning no later than the compliance
                                                 method or data that has been validated                  if the wastewater stream contains                     dates specified in § 63.481(n),’’ for each
                                                 according to the applicable procedures                  chloroprene such that it is considered to             occurrence of ‘‘For each source as
                                                 in Method 301 of appendix A to this                     be in chloroprene service, as defined in              defined in § 63.101, beginning no later
                                                 part, may be used. The following                        § 63.482, then the wastewater stream is               than the compliance dates specified in
                                                 procedures shall be used to calculate                   a Group 1 wastewater stream. For                      § 63.100(k)(10),’’.
                                                 carbon disulfide concentration:                         wastewater streams in chloroprene                       (f) Substitute ‘‘§ 63.508’’ for each
                                                 *      *     *     *     *                              service, owners and operators must also               occurrence of ‘‘§ 63.108’’.
                                                 ■ 138. Amend § 63.501 by revising
                                                                                                         meet the requirements specified in                    ■ 139. Amend § 63.502 by revising the
                                                 paragraphs (a) introductory text,                       § 63.510.                                             section heading, paragraphs (a) (j), (k),
                                                 revising and republishing (a)(10) and                   *       *    *     *     *                            and (n) to read as follows:
                                                 (20), and (b), and adding paragraphs (d),                  (20) When the provisions of
                                                                                                                                                               § 63.502 Equipment leak, fenceline
                                                 (e), and (f) to read as follows:                        § 63.139(c)(1)(ii), § 63.145(d)(4), or
                                                                                                                                                               monitoring, and heat exchange system
                                                                                                         § 63.145(i)(2) specify that Method 18 of              provisions.
                                                 § 63.501   Wastewater provisions.                       appendix A–6 to 40 CFR part 60 must
                                                    (a) Except as specified in paragraphs                be used, Method 18 or Method 25A of                      (a) The owner or operator of each
                                                 (c) through (f) of this section, the owner              appendices A–6 and A–7 to 40 CFR part                 affected source, shall comply with the
                                                 or operator of each affected source shall               60, respectively, may be used for the                 requirements of subpart H of this part,
                                                 comply with the requirements of                         purposes of this subpart. ASTM D6420–                 with the exceptions noted in paragraphs
                                                 §§ 63.132 through 63.147 for each                       18 (incorporated by reference, see                    (a)(1) through (7), and (b) through (m) of
                                                 process wastewater stream originating at                § 63.14) may also be used in lieu of                  this section. Except as specified in
                                                 an affected source, with the                            Method 18, if the target compounds are                § 63.170(b), surge control vessels
                                                 requirements of § 63.148 for leak                       all known and are all listed in Section               required to be controlled by subpart H
                                                 inspection provisions, and with the                     1.1 of ASTM D6420–18 as measurable;                   may, alternatively, comply with the
                                                 requirements of § 63.149 for equipment                  ASTM D6420–18 must not be used for                    Group 1 storage vessel provisions
                                                 that is subject to § 63.149, with the                   methane and ethane; and ASTM D6420–                   specified in § 63.484.
                                                 differences noted in paragraphs (a)(1)                  18 may not be used as a total VOC                        (1) Substitute ‘‘For each affected
                                                 through (23) of this section. Further, the              method. The use of Method 25A must                    source as described in § 63.480, on and
                                                 owner or operator of each affected                      conform with the requirements in                      after July 15, 2027,’’ for each occurrence
                                                 source shall comply with the                            paragraphs (a)(20)(i) and (ii) of this                of ‘‘For each source as defined in
                                                 requirements of § 63.105(a) for                         section.                                              § 63.101, and for each source as defined
                                                 maintenance wastewater, as specified in                                                                       in § 63.191, on and after July 15, 2027,’’.
                                                                                                            (i) The organic HAP used as the
                                                 paragraph (b) of this section.                                                                                   (2) Substitute ‘‘For each affected
                                                                                                         calibration gas for Method 25A of
                                                 *       *    *     *     *                                                                                    source as described in § 63.480,
                                                                                                         appendix A–7 to 40 CFR part 60 must
                                                    (10) The provisions of paragraphs                                                                          beginning no later than the compliance
                                                                                                         be the single organic HAP representing
                                                 (a)(10)(i) through (iv) of this section                                                                       dates specified in § 63.481(n),’’ for each
                                                                                                         the largest percent by volume of the
                                                 clarify the organic HAP that an owner                                                                         occurrence of ‘‘For each source as
                                                                                                         emissions.
                                                 or operator must consider when                                                                                defined in § 63.101, and for each source
                                                                                                            (ii) The use of Method 25A of                      as defined in § 63.191, beginning no
                                                 complying with the requirements of                      appendix A–7 to 40 CFR part 60 is
                                                 §§ 63.132 through 63.149.                                                                                     later than the compliance dates
                                                                                                         acceptable if the response from the high-             specified in § 63.100(k)(10),’’.
                                                    (i) Owners and operators are exempt                  level calibration gas is at least 20 times
                                                 from all requirements in §§ 63.132                                                                               (3) Substitute ‘‘For each affected
                                                                                                         the standard deviation of the response                source as described in § 63.480,
                                                 through 63.149 that pertain solely and                  from the zero calibration gas when the
                                                 exclusively to organic HAP listed on                                                                          beginning no later than the compliance
                                                                                                         instrument is zeroed on the most                      dates specified in § 63.481(o),’’ for each
                                                 table 8 to 40 CFR part 63, subpart G.                   sensitive scale
                                                    (ii) When §§ 63.132 through 63.149                                                                         occurrence of ‘‘For each source as
                                                 refer to table 9 compounds, the owner                      (b) Except for those streams exempted              defined in § 63.101, and for each source
                                                 or operator is only required to consider                by paragraphs (c) and (d) of this section,            as defined in § 63.191, beginning no
                                                 compounds that meet the definition of                   the owner or operator of each affected                later than the compliance dates
                                                 organic HAP in § 63.482 and that are                    source shall comply with the                          specified in § 63.100(k)(11),’’.
                                                 listed in table 9 to 40 CFR part 63,                    requirements for maintenance                             (4) Substitute ‘‘For each affected
                                                 subpart G, for the purposes of this                     wastewater in § 63.105, except that                   source as described in § 63.480,
                                                 subpart.                                                when § 63.105(a) refers to ‘‘organic                  beginning no later than the compliance
                                                    (iii) When §§ 63.132 through 63.149                  HAPs listed in table 9 to subpart G of                dates specified in § 63.481(p),’’ for each
                                                 refer to compounds in table 36 to 40                    this part,’’ the owner or operator is only            occurrence of ‘‘For each source as
                                                 CFR part 63, subpart G, or compounds                    required to consider compounds that                   defined in § 63.101, and for each source
                                                 in List 1 and/or List 2, as listed in table             meet the definition of organic HAP in                 as defined in § 63.191, beginning no
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                                                 36 to 40 CFR part 63, subpart G, the                    § 63.482 and that are listed in table 9 to            later than the compliance dates
                                                 owner or operator is only required to                   subpart G of this part, for the purposes              specified in § 63.100(k)(12),’’.
                                                 consider compounds that meet the                        of this subpart.                                         (5) Substitute ‘‘§ 63.508’’ for each
                                                 definition of organic HAP in § 63.482                   *       *    *     *     *                            occurrence of ‘‘§ 63.108’’.
                                                 and that are listed in table 36 to 40 CFR                  (d) Substitute ‘‘For each affected                    (6) Substitute ‘‘in chloroprene
                                                 part 63, subpart G, for the purposes of                 source as described in § 63.480, on and               service’’ for each occurrence of ‘‘in
                                                 this subpart.                                           after July 15, 2027,’’ for each occurrence            ethylene oxide service’’.


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                                                    (7) If an affected source uses,                      noted in paragraphs (n)(1) through (8) of             specified in § 63.481(n), owners and
                                                 produces, stores, or emits chloroprene,                 this section.                                         operators must not inject water into or
                                                 the action level for chloroprene in                        (1) When the term ‘‘chemical                       dispose of water through any heat
                                                 § 63.184(d)(3) is 0.3 mg/m3 on an annual                manufacturing process unit’’ is used in               exchange system in an EPPU if the
                                                 average basis for the purposes of this                  § 63.104, the term ‘‘elastomer product                water contains any amount of
                                                 subpart. Additionally, the sampling                     process unit’’ (or EPPU) shall apply for              chloroprene, has been in contact with
                                                 period Dc in § 63.184(e)(4)(iii) and                    the purposes of this subpart, with the                any process stream containing
                                                 (f)(1)(iii) is 0.3 mg/m3 instead of 0.8 mg/             exception noted in paragraph (n)(2) of                chloroprene, or the water is considered
                                                 m3 for the purposes of this subpart.                    this section.                                         wastewater as defined in § 63.482.
                                                 *      *      *     *     *                                (2) When the phrase ‘‘a chemical                   ■ 140. Amend § 63.503 by revising
                                                    (j) When the provisions of subpart H                 manufacturing process unit meeting the                paragraphs (a)(3), (g)(2)(ii) introductory
                                                 of this part specify that Method 18 of                  conditions of § 63.100(b)(1) through                  text and (g)(2)(iii)(B)(2), adding
                                                 appendix A–6 to 40 CFR part 60 must                     (b)(3) of this subpart, except for                    paragraph (g)(2)(iii)(B)(4), and revising
                                                 be used, either Method 18 or Method                     chemical manufacturing process units                  paragraphs (g)(7)(ii) introductory text,
                                                 25A of appendices A–6 and A–7 to 40                     meeting the condition specified in                    (m)(1)(ii) and (m)(2)(i) to read as
                                                 CFR part 60, respectively, may be used                  § 63.100(c) of this subpart’’ is used in              follows:
                                                 for the purposes of this subpart. ASTM                  the first sentence of § 63.104(a), the term
                                                 D6420–18 (incorporated by reference,                    ‘‘an EPPU, except for EPPUs meeting the               § 63.503   Emissions averaging provisions.
                                                 see § 63.14) may also be used in lieu of                condition specified in § 63.480(b)’’ shall               (a) * * *
                                                 Method 18, if the target compounds are                  apply for the purposes of this subpart.                  (3) For the purposes of the provisions
                                                 all known and are all listed in Section                 When the phrase ‘‘a chemical                          in this section, whenever Method 18 of
                                                 1.1 of ASTM D6420–18 as measurable;                     manufacturing process unit meeting the                appendix A–6 to 40 CFR part 60 is
                                                 ASTM D6420–18 must not be used for                      conditions of § 63.100(b)(1) through                  specified within the paragraphs of this
                                                 methane and ethane; and ASTM D6420–                     (b)(3),’’ is used in the last sentence of             section or is specified by reference
                                                 18 may not be used as a total VOC                       § 63.104(a) of subpart F of this part, the            through provisions outside this section,
                                                 method. The use of Method 25A must                      term ‘‘an EPPU’’ shall apply for                      Method 18 or Method 25A of
                                                 conform with the requirements in                        purposes of this subpart.                             appendices A–6 and A–7 to 40 CFR part
                                                 paragraphs (j)(1) and (2) of this section.                 (3) When § 63.104 refers to table 4 to             60, respectively, may be used. ASTM
                                                    (1) The organic HAP used as the                      subpart F of this part or table 9 to                  D6420–18 (incorporated by reference,
                                                 calibration gas for Method 25A of                       subpart G of this part, the owner or                  see § 63.14) may also be used in lieu of
                                                 appendix A–7 to 40 CFR part 60 must                     operator is only required to consider                 Method 18, if the target compounds are
                                                 be the single organic HAP representing                  organic HAP listed on table 5 to this                 all known and are all listed in Section
                                                 the largest percent by volume of                        subpart.                                              1.1 of ASTM D6420–18 as measurable;
                                                 emissions.                                                 (4) When § 63.104(c)(3) specifies the              ASTM D6420–18 must not be used for
                                                    (2) The use of Method 25A of                         monitoring plan retention requirements,               methane and ethane; and ASTM D6420–
                                                 appendix A–7 to 40 CFR part 60 is                       and when § 63.104(f)(1) refers to the                 18 may not be used as a total VOC
                                                 acceptable if the response from the high-               record retention requirements in                      method. The use of Method 25A, must
                                                 level calibration gas is at least 20 times              § 63.103(c)(1), the requirements in                   conform with the requirements in
                                                 the standard deviation of the response                  § 63.506(a) and § 63.506(h) shall apply,              paragraphs (a)(3)(i) and (ii) of this
                                                 from the zero calibration gas when the                  for the purposes of this subpart.                     section.
                                                 instrument is zeroed on the most                           (5) When § 63.104(f)(2) requires                      (i) The organic HAP used as the
                                                 sensitive scale.                                        information to be reported in the                     calibration gas for Method 25Aof
                                                    (k)(1) Except as specified in paragraph              Periodic Reports required by § 63.152(c),             appendix A–7 to 40 CFR part 60 must
                                                 (k)(2) of this section, an owner or                     the owner or operator shall instead                   be the single organic HAP representing
                                                 operator using a flare to comply with                   report the information specified in                   the largest percent by volume of the
                                                 the requirements of this section shall                  § 63.104(f)(2) in the Periodic Reports                emissions.
                                                 conduct a compliance demonstration as                   required by § 63.506(e)(6), for the
                                                 specified in § 63.504(c).                                                                                        (ii) The use of Method 25A of
                                                                                                         purposes of this subpart.
                                                    (2) For each affected source as                                                                            appendix A–7 to 40 CFR part 60, is
                                                                                                            (6) The compliance date for heat
                                                 described in § 63.480, beginning no later                                                                     acceptable if the response from the high-
                                                                                                         exchange systems subject to the
                                                 than the compliance dates specified in                                                                        level calibration gas is at least 20 times
                                                                                                         provisions of this section is specified in
                                                 § 63.481(n), paragraph (k)(1) of this                                                                         the standard deviation of the response
                                                                                                         § 63.481(d)(6).
                                                 section no longer applies and instead                      (7) Substitute ‘‘Beginning no later                from the zero calibration gas when the
                                                 the owner or operator of the affected                   than the compliance dates specified in                instrument is zeroed on the most
                                                 source must comply with § 63.508 for                    § 63.481(n),’’ for each occurrence of                 sensitive scale.
                                                 the flare.                                              ‘‘Beginning no later than the compliance              *       *    *     *    *
                                                 *      *      *     *     *                             dates specified in § 63.100(k)(10),’’.                   (g) * * *
                                                    (n) The owner or operator of each                       (8) § 63.104(k) of subpart F of this part             (2) * * *
                                                 affected source shall comply with the                   does not apply. Instead for each source                  (ii) ECFEPViu for each continuous
                                                 requirements of § 63.104 for heat                       as described in § 63.480, beginning no                front-end process vent i shall be
                                                 exchange systems, with the exceptions                   later than the compliance dates                       calculated using equation 34.
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                                                 Where:                                                  n = Number of organic HAP in stream.                  a continuous front-end process vent is
                                                 ECFEPViu = Uncontrolled continuous front-               *       *    *   *     *                              not a Group 1 continuous front-end
                                                      end process vent emission rate from                   (iii) * * *                                        process vent and should, therefore, not
                                                      continuous front-end process vent i, Mg/              (B) * * *                                          be included in determining debits under
                                                      month.                                                (2) For determining debits from Group              this paragraph, except as specified in
                                                 Q = Vent stream flow rate, dry standard m3/             1 continuous front-end process vents,
                                                      min, measured using Method 2, 2A, 2C,
                                                                                                                                                               paragraph (g)(2)(iii)(B)(4) of this section.
                                                      or 2D of 40 CFR part 60, appendix A, as            product recovery devices shall not be                 *      *    *     *     *
                                                      appropriate.                                       considered control devices and shall not                (4) For each affected source as
                                                 h = Monthly hours of operation during which             be assigned a percent reduction in                    described in § 63.480, beginning no later
                                                      positive flow is present in the                    calculating ECFEPViACTUAL. The                        than the compliance dates specified in
                                                      continuous front-end process vent, hr/             sampling site for measurement of                      § 63.481(n), that last two sentences of
                                                      month.                                             uncontrolled emissions shall be after the
                                                 Cj = Concentration, ppmv, dry basis, of                                                                       paragraph (g)(2)(iii)(B)(2) of this section
                                                                                                         final uncontrolled recovery device.                   no longer apply.
                                                      organic HAP j as measured by Method 18             However, as provided in § 63.113(a)(3),
                                                      or Method 25A of appendices A–6 and                                                                      *      *    *     *     *
                                                      A–7 to 40 CFR part 60, respectively, or
                                                                                                         a Group 1 continuous front-end process
                                                                                                         vent may add sufficient product                         (7) * * *
                                                      ASTM D6420–18 (incorporated by
                                                      reference, see § 63.14).                           recovery to raise the TRE index value                   (ii) EABViu for each aggregate batch
                                                 Mj = Molecular weight of organic HAP j,                 above 1.0, thereby becoming a Group 2                 vent i shall be calculated using equation
                                                      gram per gram-mole.                                continuous front-end process vent. Such               39.




                                                 Where:                                                  § 63.504 Additional requirements for                  conditions exclude periods of startup
                                                 EABViu = Uncontrolled aggregate batch vent              performance testing.                                  and shutdown. You may not conduct
                                                      emission rate from aggregate batch vent               (a) Performance testing shall be                   performance tests during periods of
                                                      i, Mg/month.                                       conducted in accordance with                          malfunction. You must record the
                                                 Q = Vent stream flow rate, dry standard cubic           § 63.7(a)(1), (a)(3), (d), (e)(1) and (2),            process information that is necessary to
                                                      meters per minute, measured using                  (e)(4), (g), and (h), with the exceptions             document operating conditions during
                                                      Method 2, 2A, 2C, or 2D of 40 CFR part             specified in paragraphs (a)(1) through                the test and include in such record an
                                                      60, appendix A, as appropriate.                    (5) of this section and the additions                 explanation to support that such
                                                 h = Monthly hours of operation during which             specified in paragraph (b) of this                    conditions represent normal operation.
                                                      positive flow is present from the                  section. Sections 63.484 through 63.501               Upon request, you must make available
                                                      aggregate batch vent stream, hr/month.             also contain specific testing                         to the Administrator such records as
                                                 Cj = Concentration, ppmv, dry basis, of                                                                       may be necessary to determine the
                                                                                                         requirements. Beginning no later than
                                                      organic HAP j as measured by Method 18                                                                   conditions of performance tests.
                                                                                                         the compliance dates specified in
                                                      of appendix A–6 to 40 CFR part 60 or
                                                      ASTM D6420–18 (incorporated by
                                                                                                         § 63.481(n), conduct subsequent                       *      *     *     *     *
                                                      reference, see § 63.14).                           performance tests no later than 60                       (c) Except as specified in paragraph
                                                 Mj = Molecular weight of organic HAP j,                 calendar months after the previous                    (c)(4) of this section, notwithstanding
                                                      gram per gram-mole.                                performance test.                                     any other provision of this subpart, if an
                                                 n = Number of organic HAP in the stream.                   (1) Except as specified in paragraph               owner or operator of an affected source
                                                                                                         (a)(1)(iii) of this section, performance              uses a flare to comply with any of the
                                                 *      *   *      *     *
                                                                                                         tests shall be conducted at maximum                   requirements of this subpart, the owner
                                                   (m) * * *                                             representative operating conditions                   or operator shall comply with
                                                   (1) * * *                                             achievable during one of the time                     paragraphs (c)(1) through (3) of this
                                                                                                         periods described in paragraph (a)(1)(i)              section. The owner or operator is not
                                                   (ii) Conduct initial and subsequent
                                                                                                         of this section, without causing any of               required to conduct a performance test
                                                 performance tests to determine percent
                                                                                                         the situations described in paragraph                 to determine percent emission reduction
                                                 reduction as specified in § 63.116 and as
                                                                                                         (a)(1)(ii) of this section to occur. Upon             or outlet organic HAP or TOC
                                                 required by § 63.485; and
                                                                                                         request, the owner or operator shall                  concentration. If a compliance
                                                 *      *   *      *     *                               make available to the Administrator                   demonstration has been conducted
                                                   (2) * * *                                             such records as may be necessary to                   previously for a flare, using the
                                                   (i) Determine the flow rate, organic                  determine the conditions of                           techniques specified in paragraphs (c)(1)
                                                 HAP concentration, and TRE index                        performance tests.                                    through (3) of this section, that
                                                 value according to the procedures                       *       *     *     *     *                           compliance demonstration may be used
                                                 specified in § 63.115, except as specified                 (iii) Beginning no later than the                  to satisfy the requirements of this
                                                 in § 63.113(a)(4) and § 63.485(x); and                  compliance dates specified in                         paragraph if either no deliberate process
                                                                                                         § 63.481(n), paragraphs (a)(1)(i) and (ii)            changes have been made since the
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                                                 *      *   *      *     *                                                                                     compliance demonstration, or the
                                                                                                         of this section no longer applies and
                                                 ■ 141. Amend § 63.504 by revising                       instead the owner or operator must                    results of the compliance demonstration
                                                 paragraphs (a) introductory text and                    conduct performance tests under such                  reliably demonstrate compliance despite
                                                 (a)(1) introductory text, adding                        conditions as the Administrator                       process changes.
                                                 paragraph (a)(1)(iii), revising paragraph               specifies based on representative                     *      *     *     *     *
                                                 (c) introductory text and adding                        performance of the affected source for                   (4) For each affected source as
                                                                                                                                                                                                              ER16MY24.066</GPH>




                                                 paragraph (c)(4) to read as follows:                    the period being tested. Representative               described in § 63.480, beginning no later


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                                                 than the compliance dates specified in                  controlled, the procedures in paragraph               compliance for partial batch cycles (i.e.,
                                                 § 63.481(n), paragraphs (c)(1) through                  (c) of this section shall be used.                    when part of a batch cycle is
                                                 (c)(3) of this section no longer apply and                 (i) If more than one batch emission                accomplished during two different
                                                 instead the owner or operator of the                    episode or more than one portion of a                 operating days).
                                                 affected source must comply with                        batch emission episode has been                         (4) Aggregate batch vent streams. For
                                                 § 63.508 for the flare.                                 selected to be controlled, a single level             aggregate batch vent streams, except as
                                                 ■ 142. Amend § 63.505 by:                               for the batch cycle shall be calculated as            specified in paragraph (b)(5) of this
                                                 ■ a. Revising and republishing                          follows:                                              section, the monitoring level shall be
                                                 paragraph (b); and                                         (A) The average monitored parameter                established in accordance with
                                                 ■ b. Revising paragraph (g)(2)(ii)(B)                   value shall be calculated for each batch              paragraph (b)(2) of this section.
                                                 introductory text and adding paragraph                  emission episode, or portion thereof, in                 (5) Batch front-end process vents and
                                                 (g)(2)(ii)(B)(5).                                       the batch cycle selected to be controlled.            aggregate batch vent streams testing for
                                                    The addition, revisions, and                         The average shall be based on all values              dioxins and furans. During each
                                                 republication read as follows:                          measured during the required                          compliance test using the procedures
                                                                                                         performance test.                                     specified in § 63.490(g), the appropriate
                                                 § 63.505 Parameter monitoring levels and                   (B) If the level to be established is a
                                                 excursions.                                                                                                   parameter shall be continuously
                                                                                                         maximum operating parameter, the level                monitored during the required test runs.
                                                 *      *     *     *     *                              shall be defined as the minimum of the                The monitoring level(s) shall then be
                                                    (b) Establishment of parameter                       average parameter values of the batch                 established as the average of the
                                                 monitoring levels based exclusively on                  emission episodes, or portions thereof,               maximum (or minimum) point values
                                                 performance tests. In cases where a                     in the batch cycle selected to be                     from the three test runs. The average of
                                                 performance test is required by this                    controlled (i.e., identify the emission               the maximum values shall be used
                                                 subpart, or the owner or operator of the                episode, or portion thereof, which                    when establishing a maximum level,
                                                 affected source elects to do a                          requires the lowest parameter value in                and the average of the minimum values
                                                 performance test in accordance with the                 order to assure compliance. The average               shall be used when establishing a
                                                 provisions of this subpart, and an owner                parameter value that is necessary to                  minimum level.
                                                 or operator elects to establish a                       assure compliance for that emission
                                                 parameter monitoring level for a control,               episode, or portion thereof, shall be the             *       *    *      *     *
                                                 recovery, or recapture device based                     level for all emission episodes, or                      (g) * * *
                                                 exclusively on parameter values                         portions thereof, in the batch cycle, that               (2) * * *
                                                 measured during the performance test,                   are selected to be controlled).                          (ii) * * *
                                                 the owner or operator of the affected                      (C) If the level to be established is a               (B) Except as specified in paragraph
                                                 source shall comply with the                            minimum operating parameter, the level                (g)(2)(ii)(B)(5) of this section, subtract
                                                 procedures in paragraphs (b)(1) through                 shall be defined as the maximum of the                the time during the periods identified in
                                                 (b)(5) of this section, as applicable.                  average parameter values of the batch                 paragraphs (g)(2)(ii)(B)(1) through (4) of
                                                    (1) [Reserved]                                       emission episodes, or portions thereof,               this section from the total amount of
                                                    (2) Back-end process operations using                in the batch cycle selected to be                     time determined in paragraph
                                                 a control or recovery device to comply                  controlled (i.e., identify the emission               (g)(2)(ii)(A) of this section, to obtain the
                                                 with §§ 63.493 through 63.500 and                       episode, or portion thereof, which                    operating time used to determine if
                                                 continuous front-end process vents.                     requires the highest parameter value in               monitoring data are insufficient.
                                                 During each compliance test, the                        order to assure compliance. The average               *       *    *      *     *
                                                 appropriate parameter shall be                          parameter value that is necessary to                     (5) On and after July 15, 2027,
                                                 continuously monitored during the                       assure compliance for that emission                   paragraphs (g)(2)(ii)(B)(1) through (4) of
                                                 required 1-hour runs. The monitoring                    episode, or portion thereof, shall be the             this section no longer apply.
                                                 level(s) shall then be established as the               level for all emission episodes, or                   *       *    *      *     *
                                                 average of the maximum (or minimum)                     portions thereof, in the batch cycle, that            ■ 143. Amend § 63.506 by:
                                                 point values from the three test runs.                  are selected to be controlled).                       ■ a. Revising and republishing
                                                 The average of the maximum values                          (D) Alternatively, an average                      paragraph (b)(1);
                                                 shall be used when establishing a                       monitored parameter value shall be                    ■ b. Revising paragraph (e)(4)(ii)(F)(1);
                                                 maximum level, and the average of the                   calculated for the entire batch cycle                 ■ c. Adding paragraph (e)(4)(ii)(F)(6);
                                                 minimum values shall be used when                       based on all values measured during                   ■ d. Revising paragraph (e)(5)
                                                 establishing a minimum level.                           each batch emission episode, or portion               introductory text;
                                                    (3) Batch front-end process vents. The               thereof, selected to be controlled.                   ■ e. Revising and republishing
                                                 monitoring level(s) shall be established                   (ii) Instead of establishing a single              paragraph (e)(5)(i);
                                                 using the procedures specified in either                level for the batch cycle, as described in            ■ f. Adding paragraph (e)(5)(xiii);
                                                 paragraph (b)(3)(i) or (b)(3)(ii) of this               paragraph (b)(3)(i) of this section, an               ■ g. Revising and republishing
                                                 section, except as specified in paragraph               owner or operator may establish                       paragraph (e)(6);
                                                 (b)(5) of this section. The procedures                  separate levels for each batch emission               ■ h. Revising paragraph (e)(7)
                                                 specified in this paragraph (b)(3) may                  episode, or portion thereof, selected to              introductory text;
                                                 only be used if the batch emission                      be controlled. Each level shall be                    ■ i. Adding paragraph (e)(7)(vi);
                                                 episodes, or portions thereof, selected to              determined as specified in paragraph                  ■ j. Revising paragraph (i)(1); and
                                                 be controlled were tested, and
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                                                                                                         (b)(3)(i)(A) of this section.                         ■ k. Adding paragraph (i)(3).
                                                 monitoring data were collected, during                     (iii) The batch cycle shall be defined               The additions, revisions, and
                                                 the entire period in which emissions                    in the Notification of Compliance                     republications read as follows:
                                                 were vented to the control device, as                   Status, as specified in § 63.506(e)(5).
                                                 specified in § 63.490(c)(1)(i). If the                  The definition shall include an                       § 63.506 General recordkeeping and
                                                 owner or operator chose to test only a                  identification of each batch emission                 reporting provisions.
                                                 portion of the batch emission episode,                  episode and the information required to               *       *    *    *     *
                                                 or portion thereof, selected to be                      determine parameter monitoring                            (b) * * *


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                                                    (1) Malfunction records. Each owner                  § 63.10(d)(5)(i). The reports shall                   for process wastewater, and § 63.503 for
                                                 or operator of an affected source subject               include the information specified in                  emission points included in an
                                                 to this subpart shall maintain records of               § 63.10(d)(5)(i). On and after July 15,               emissions average. In addition, the
                                                 the occurrence and duration of each                     2027, this paragraph no longer applies.               owner or operator of an affected source
                                                 malfunction of operation (i.e., process                 *      *    *      *    *                             shall comply with paragraphs
                                                 equipment), air pollution control                         (e) * * *                                           (e)(5)(i)(A) and (B) of this section.
                                                 equipment, or monitoring equipment.                       (4) * * *                                              (A) For performance tests, group
                                                 Each owner or operator shall maintain                     (ii) * * *                                          determinations, and process section
                                                 records of actions taken during periods                   (F) * * *                                           applicability determinations that are
                                                 of malfunction to minimize emissions in                   (1) The required documentation shall                based on measurements, the
                                                 accordance with § 63.483(a), including                  include the values of the parameters                  Notification of Compliance Status shall
                                                 corrective actions to restore                           used to determine whether the emission                include one complete test report, except
                                                 malfunctioning process and air                          point is Group 1 or Group 2. Except as                as specified in paragraph (e)(5)(i)(B) of
                                                 pollution control and monitoring                        specified in paragraph (e)(4)(ii)(F)(6) of            this section, for each test method used
                                                 equipment to its normal or usual                        this section, where a TRE index value is              for a particular kind of emission point.
                                                 manner of operation.                                    used for continuous front-end process                 For additional tests performed for the
                                                    (i) Records of start-up, shutdown, and               vent group determination, the estimated               same kind of emission point using the
                                                 malfunction. Except as specified in                     or measured values of the parameters                  same method, the results and any other
                                                 paragraph (b)(1)(i)(D) of this section, the             used in the TRE equation in § 63.115(d)               information, from the test report, that is
                                                 owner or operator shall keep the records                and the resulting TRE index value shall               requested on a case-by-case basis by the
                                                 specified in paragraphs (b)(1)(i)(A)                    be submitted.                                         Administrator shall be submitted, but a
                                                 through (b)(1)(i)(C) of this section.                   *      *    *      *    *                             complete test report is not required.
                                                    (A) Records of the occurrence and                                                                             (B) If the performance test results
                                                                                                           (6) For each affected source as
                                                 duration of each start-up, shutdown,                                                                          have been submitted electronically via
                                                                                                         described in § 63.480, beginning no later
                                                 and malfunction of operation of process                                                                       the Compliance and Emissions Data
                                                                                                         than the compliance dates specified in
                                                 equipment or control devices or                                                                               Reporting Interface (CEDRI) in
                                                                                                         § 63.481(n), that last sentence of
                                                 recovery devices or continuous                                                                                accordance with paragraph (i) of this
                                                                                                         paragraph (e)(4)(ii)(F)(1) of this section
                                                 monitoring systems used to comply                                                                             section, the unit(s) tested, the
                                                                                                         no longer applies.
                                                 with this subpart during which excess                                                                         pollutant(s) tested, and the date that
                                                 emissions occur.                                        *      *    *      *    *
                                                                                                           (5) Notification of Compliance Status.              such performance test was conducted
                                                    (B) For each start-up, shutdown, or
                                                                                                         For existing and new affected sources, a              may be submitted in the Notification of
                                                 malfunction during which excess
                                                                                                         Notification of Compliance Status shall               Compliance Status in lieu of the
                                                 emissions occur, records reflecting
                                                                                                         be submitted. For equipment leaks                     performance test report. The
                                                 whether the procedures specified in the
                                                                                                         subject to § 63.502, the owner or                     performance test results must be
                                                 affected source’s start-up, shutdown,
                                                                                                         operator shall submit the information                 submitted to CEDRI by the date the
                                                 and malfunction plan were followed,
                                                                                                         required in § 63.182(c) in the                        Notification of Compliance Status is
                                                 and documentation of actions taken that
                                                                                                         Notification of Compliance Status                     submitted. A complete test report shall
                                                 are not consistent with the plan. For
                                                                                                         within 150 days after the first applicable            include a brief process description,
                                                 example, if a start-up, shutdown, and
                                                                                                         compliance date for equipment leaks in                sampling site description, description of
                                                 malfunction plan includes procedures
                                                                                                         the affected source, and an update shall              sampling and analysis procedures and
                                                 for routing a control device to a backup
                                                                                                         be provided in the first Periodic Report              any modifications to standard
                                                 control device, records shall be kept of
                                                                                                         that is due at least 150 days after each              procedures, quality assurance
                                                 whether the plan was followed. These
                                                                                                         subsequent applicable compliance date                 procedures, record of operating
                                                 records may take the form of a
                                                                                                         for equipment leaks in the affected                   conditions during the test, record of
                                                 ‘‘checklist,’’ or other form of
                                                                                                         source. For all other emission points,                preparation of standards, record of
                                                 recordkeeping that confirms
                                                                                                         including heat exchange systems, the                  calibrations, raw data sheets for field
                                                 conformance with the start-up,
                                                                                                         Notification of Compliance Status shall               sampling, raw data sheets for field and
                                                 shutdown, and malfunction plan for the
                                                                                                         contain the information listed in                     laboratory analyses, documentation of
                                                 event.
                                                    (C) Records specified in paragraphs                  paragraphs (e)(5)(i) through (xiii) of this           calculations, and any other information
                                                 (b)(1)(i)(A) and (B) of this section are not            section, as applicable, and shall be                  required by the test method.
                                                 required if they pertain solely to Group                submitted no later than 150 days after                *      *     *      *    *
                                                 2 emission points that are not included                 the compliance dates specified in this                   (xiii) For flares subject to the
                                                 in an emissions average.                                subpart.                                              requirements in § 63.508, owners and
                                                    (D) On and after July 15, 2027,                        (i) The results of any emission point               operators must also submit the
                                                 paragraphs (b)(1)(i)(A) through                         group determinations, process section                 information in this paragraph in a
                                                 (b)(1)(i)(C) no longer apply; however, for              applicability determinations,                         supplement to the Notification of
                                                 historical compliance purposes, a copy                  performance tests, inspections, any                   Compliance Status within 150 days after
                                                 of these records must be retained and                   other information used to demonstrate                 the first applicable compliance date for
                                                 available on-site for five years after July             compliance, values of monitored                       flare monitoring. The supplement to the
                                                 15, 2027.                                               parameters established during                         Notification of Compliance Status must
                                                    (ii) Reports of start-up, shutdown, and              performance tests, and any other                      include flare design (e.g., steam-
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                                                 malfunction. For the purposes of this                   information required to be included in                assisted, air-assisted, or non-assisted);
                                                 subpart, the semiannual start-up,                       the Notification of Compliance Status                 all visible emission readings, heat
                                                 shutdown, and malfunction reports                       under §§ 63.122 and 63.484 for storage                content determinations, flow rate
                                                 shall be submitted on the same schedule                 vessels, § 63.117 for continuous front-               measurements, and exit velocity
                                                 as the Periodic Reports required under                  end process vents, § 63.492 for batch                 determinations made during the initial
                                                 paragraph (e)(6) of this section instead                front-end process vents, § 63.499 for                 visible emissions demonstration
                                                 of the schedule specified in                            back-end process operations, § 63.146                 required by § 63.670(h), as applicable;


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                                                 and all periods during the compliance                   the date the Notification of Compliance                  (2) Notification if a process change is
                                                 determination when the pilot flame or                   Status is due and shall cover the 6-                  made such that the group status of any
                                                 flare flame is absent.                                  month period beginning on the date the                emission point changes from Group 2 to
                                                    (6) Periodic Reports. For existing and               Notification of Compliance Status is                  Group 1. The owner or operator is not
                                                 new affected sources, the owner or                      due. All periodic reports must contain                required to submit a notification of a
                                                 operator shall submit Periodic Reports                  the company name and address                          process change if that process change
                                                 as specified in paragraphs (e)(6)(i)                    (including county), as well as the                    caused the group status of an emission
                                                 through (xiii) of this section. In                      beginning and ending dates of the                     point to change from Group 1 to Group
                                                 addition, for equipment leaks subject to                reporting period.                                     2. However, until the owner or operator
                                                 § 63.502, the owner or operator shall                      (ii) If none of the compliance                     notifies the Administrator that the group
                                                 submit the information specified in                     exceptions in paragraphs (e)(6)(iii)                  status of an emission point has changed
                                                 § 63.182(d) under the conditions listed                 through (ix) or (xiii) of this section                from Group 1 to Group 2, the owner or
                                                 in § 63.182(d) as part of the Periodic                  occurred during the 6-month period, the               operator is required to continue to
                                                 Report required by this paragraph (e)(6),               Periodic Report required by paragraph                 comply with the Group 1 requirements
                                                 and for heat exchange systems subject to                (e)(6)(i) of this section shall be a                  for that emission point. This notification
                                                 § 63.502(n), the owner or operator shall                statement that there were no compliance               may be submitted at any time.
                                                 submit the information specified in                     exceptions as described in this                          (3) Notification if one or more
                                                 § 63.104(f)(2) as part of the Periodic                  paragraph for the 6-month period                      emission points (other than equipment
                                                 Report required by this paragraph (e)(6).               covered by that report and that none of               leaks) or one or more EPPU is added to
                                                 Section § 63.505 shall govern the use of                the activities specified in paragraphs                an affected source. The owner or
                                                 monitoring data to determine                            (e)(6)(iii) through (ix) or (xiii) of this            operator shall submit the information
                                                 compliance for Group 1 emission points                  section occurred during the 6-month                   contained in paragraphs
                                                 and for Group 1 and Group 2 emission                    period covered by that report.                        (e)(6)(iii)(D)(3)(i) through
                                                 points included in emissions averages                      For an owner or operator of an                     (e)(6)(iii)(D)(3)(ii) of this section.
                                                 with the following exception: As                        affected source complying with the                       (i) A description of the addition to the
                                                 discussed in § 63.484(k), for storage                   provisions of §§ 63.484 through 63.501                affected source; and
                                                 vessels to which the provisions of                      for any emission point, Periodic Reports                 (ii) Notification of the group status of
                                                 § 63.505 do not apply, as specified in                  shall include:                                        the additional emission point or all
                                                 the monitoring plan required by                            (A) All information specified in                   emission points in the EPPU.
                                                 § 63.120(d)(2), the owner or operator is                § 63.122(a)(4) for storage vessels,                      (4) Notification if a standard operating
                                                 required to comply with the                             §§ 63.117(a)(3) and 63.118(f) and                     procedure, as defined in § 63.500(a)(2),
                                                 requirements set out in the monitoring                  63.485(s)(5) for continuous front-end                 is changed and the change has the
                                                 plan, and monitoring records may be                     process vents, § 63.492 for batch front-              potential for increasing the
                                                 used to determine compliance. On and                    end process vents and aggregate batch                 concentration of carbon disulfide in the
                                                 after July 15, 2027 or once the reporting               vent streams, § 63.499 for back-end                   crumb dryer exhaust. This notification
                                                 template for this subpart has been                      process operations, § 63.104(f)(2) for                shall also include a summary of the test
                                                 available on the CEDRI website for 1                    heat exchange systems, and §§ 63.146(c)               results of the carbon disulfide
                                                 year, whichever date is later, owners                   through 63.146(g) for process                         concentration resulting from the new
                                                 and operators must submit all                           wastewater.                                           standard operating procedure. The
                                                 subsequent reports following the                           (B) The daily average values or batch              results of the performance test must be
                                                 procedure specified in § 63.9(k), except                cycle daily average values of monitored               submitted according to paragraph (i) of
                                                 any medium submitted through mail                       parameters for all excursions, as defined             this section by the date the Periodic
                                                 must be sent to the attention of the                    in § 63.505(g) and § 63.505(h). For                   Report is submitted.
                                                 Polymers and Resins Sector Lead.                        excursions caused by lack of monitoring                  (5) For process wastewater streams
                                                 Owners and operators must use the                       data, the start date and time and                     sent for treatment pursuant to
                                                 appropriate electronic report template                  duration (in hours) of periods when                   § 63.132(g), reports of changes in the
                                                 on the CEDRI website (https://                          monitoring data were not collected shall              identity of the treatment facility or
                                                 www.epa.gov/electronic-reporting-air-                   be specified.                                         transferee.
                                                 emissions/cedri) for this subpart. The                     (C) For each affected source as                       (E) The start date, start time, duration
                                                 date report templates become available                  described in § 63.480, beginning no later             in hours, and a brief description for
                                                 will be listed on the CEDRI website.                    than the compliance dates specified in                each type of malfunction which
                                                 Unless the Administrator or delegated                   § 63.481(n), for each excursion that is               occurred during the reporting period
                                                 state agency or other authority has                     not an excused excursion, the report                  and which caused or may have caused
                                                 approved a different schedule for                       must include the date of the excursion,               any applicable emission limitation to be
                                                 submission of reports under § 63.9(i)                   a list of the affected sources or                     exceeded. The report must also include
                                                 and § 63.10(a), the report must be                      equipment, an estimate of the quantity                a description of actions taken by an
                                                 submitted by the deadline specified in                  in pounds of each regulated pollutant                 owner or operator during a malfunction
                                                 this subpart, regardless of the method in               emitted over any emission limit, a                    of an affected source to minimize
                                                 which the report is submitted.                          description of the method used to                     emissions in accordance with
                                                    (i) Except as specified in paragraphs                estimate the emissions, the cause of the              § 63.483(a), including actions taken to
                                                 (e)(6)(xi) and (xii) of this section, a                 excursion (including unknown cause, if                correct a malfunction.
                                                                                                                                                                  (iv) For each batch front-end process
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                                                 report containing the information in                    applicable), as applicable, and the
                                                 paragraph (e)(6)(ii) of this section or                 corrective action taken.                              vent with a batch mass input limitation,
                                                 paragraphs (e)(6)(iii) through (x) and                     (D) The information in paragraphs                  every second Periodic Report shall
                                                 (xiii) of this section, as appropriate,                 (e)(6)(iii)(D)(1) through (e)(6)(iii)(D)(5) of        include the mass of HAP or material
                                                 shall be submitted semiannually no                      this section, as applicable:                          input to the batch unit operation during
                                                 later than 60 days after the end of each                   (1) Any supplements to the Emissions               the 12-month period covered by the
                                                 6-month period. The first report shall be               Averaging Plan, as required in                        preceding and current Periodic Reports,
                                                 submitted no later than 240 days after                  paragraph (e)(4)(iii) of this section;                and a statement of whether the batch


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                                                 front-end process vent was in or out of                 this section for all emission points                  § 63.505(i) for a semiannual reporting
                                                 compliance with the batch mass input                    included in an emissions average.                     period; or
                                                 limitation.                                                (1) The credits and debits calculated                 (2) The Administrator requests that
                                                    (v) Except as specified in paragraph (i)             each month during the quarter;                        the owner or operator submit quarterly
                                                 of this section, if any performance tests                  (2) A demonstration that debits                    reports for the emission point or process
                                                 are reported in a Periodic Report, the                  calculated for the quarter are not more               section.
                                                 following information shall be included:                than 1.30 times the credits calculated                   (B) The quarterly reports shall include
                                                    (A) One complete test report shall be                for the quarter, as required under                    all information specified in paragraphs
                                                 submitted for each test method used for                 § 63.503(e)(4);                                       (e)(6)(iii) through (ix) of this section, as
                                                 a particular kind of emission point                        (3) The values of any inputs to the                applicable to the emission point or
                                                 tested. A complete test report shall                    debit and credit equations in § 63.503(g)             process section for which quarterly
                                                 contain the information specified in                    and (h) that change from month to                     reporting is required under paragraph
                                                 paragraph (e)(5)(i)(B) of this section.                 month during the quarter or that have                 (e)(6)(xii)(A) of this section. Information
                                                    (B) For additional tests performed for               changed since the previous quarter;                   applicable to other emission points
                                                 the same kind of emission point using                      (4) Except as specified in paragraph (i)           within the affected source shall be
                                                 the same method, results and any other                  of this section, results of any                       submitted in the semiannual reports
                                                 information, pertaining to the                          performance tests conducted during the                required under paragraph (e)(6)(i) of this
                                                 performance test, that is requested on a                reporting period including one complete               section.
                                                 case-by-case basis by the Administrator                 report for each test method used for a                   (C) Quarterly reports shall be
                                                 shall be submitted, but a complete test                 particular kind of emission point as                  submitted no later than 60 days after the
                                                 report is not required.                                 described in paragraph (e)(6)(v) of this              end of each quarter.
                                                    (vi) Notification of a change in the                 section. If the performance test was                     (D) After quarterly reports have been
                                                 primary product of an EPPU, in                          submitted to CEDRI, include the unit(s)               submitted for an emission point for 1
                                                 accordance with the provisions in                       tested, the pollutant(s) tested, and the              year without more excursions occurring
                                                 § 63.480(f). This includes a change in                  date of the performance test(s) in the                (during that year) than the number of
                                                 primary product from one elastomer                      quarterly report. The performance test                excused excursions allowed under
                                                 product to either another elastomer                     results must be submitted to CEDRI by                 § 63.505(i), the owner or operator may
                                                 product or to a non-elastomer product.                  the date the quarterly report is due;                 return to semiannual reporting for the
                                                    (vii) The results for each change made                                                                     emission point or process section.
                                                                                                            (5) Reports of daily average values or
                                                 to a predominant use determination                                                                               (xiii) The information specified in
                                                                                                         batch cycle daily averages of monitored
                                                 made under § 63.480(g) for a storage                                                                          § 63.108(l)(2).
                                                                                                         parameters for excursions as defined in
                                                 vessel that is assigned to an affected                                                                           (7) Other reports. Other reports shall
                                                                                                         § 63.505(g) or (h) and the date of the
                                                 source subject to this subpart after the                                                                      be submitted as specified in paragraphs
                                                                                                         excursion;
                                                 change.                                                                                                       (e)(7)(i) through (vi) of this section.
                                                    (viii) The results for each change                      (6) For excursions caused by lack of
                                                                                                         monitoring data, the start date and time              *      *      *     *    *
                                                 made to a predominant use                                                                                        (vi) For fenceline monitoring systems
                                                 determination made under § 63.480(h)                    and duration in hours of periods when
                                                                                                         monitoring data were not collected shall              subject to § 63.184, each owner or
                                                 for recovery operations equipment                                                                             operator must submit the Fenceline
                                                 assigned to an affected source subject to               be specified; and
                                                                                                            (7) Any other information the affected             Monitoring Reports required by
                                                 this subpart after the change.                                                                                § 63.182(e) on a quarterly basis
                                                    (ix) An owner or operator complying                  source is required to report under the
                                                                                                         operating permit or Emissions                         following the procedures specified in
                                                 with paragraph (h)(1) of this section                                                                         § 63.182(e).
                                                 shall notify the Administrator of the                   Averaging Plan for the affected source.
                                                 election to comply with paragraph (h)(1)                   (C) Every fourth quarterly report shall            *      *      *     *    *
                                                                                                         include the following:                                   (i)(1) Except as specified in paragraph
                                                 of this section as part of the Periodic
                                                                                                            (1) A demonstration that annual                    (i)(3) of this section, as of January 1,
                                                 Report or as part of the Notification of
                                                                                                         credits are greater than or equal to                  2012, and within 60 days after the date
                                                 Compliance Status as specified in
                                                                                                         annual debits as required by                          of completing each performance test, as
                                                 paragraph (e)(5)(xi) of this section.
                                                    (x) An owner or operator electing not                § 63.503(e)(3); and                                   defined in § 63.2 and as required in this
                                                 to retain daily average or batch cycle                     (2) A certification of compliance with             subpart, you must submit performance
                                                 daily average values under paragraph                    all the emissions averaging provisions                test data, except opacity data,
                                                 (h)(2) of this section shall notify the                 in § 63.503.                                          electronically to EPA’s Central Data
                                                 Administrator as specified in paragraph                    (xii) The owner or operator of an                  Exchange by using the Electronic
                                                 (h)(2)(i) of this section.                              affected source shall submit quarterly                Reporting Tool (ERT) (see http://
                                                    (xi) The owner or operator of an                     reports for particular emission points                www.epa.gov/ttn/chief/ert/erttool.html/)
                                                 affected source shall submit quarterly                  and process sections not included in an               or other compatible electronic
                                                 reports for all emission points included                emissions average as specified in                     spreadsheet. Only data collected using
                                                 in an emissions average as specified in                 paragraphs (e)(6)(xii)(A) through (D) of              test methods compatible with ERT are
                                                 paragraphs (e)(6)(xi)(A) through (C) of                 this section.                                         subject to this requirement to be
                                                 this section.                                              (A) The owner or operator of an                    submitted electronically into EPA’s
                                                    (A) The quarterly reports shall be                   affected source shall submit quarterly                WebFIRE database.
                                                                                                         reports for a period of 1 year for an
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                                                 submitted no later than 60 days after the                                                                     *      *      *     *    *
                                                 end of each quarter. The first report                   emission point or process section that is                (3) Beginning no later than July 15,
                                                 shall be submitted with the Notification                not included in an emissions average if:              2024, owners and operators must submit
                                                 of Compliance Status no later than 150                     (1) A control or recovery device for a             performance test reports in accordance
                                                 days after the compliance date.                         particular emission point or process                  with this paragraph. Unless otherwise
                                                    (B) The quarterly reports shall include              section has more excursions, as defined               specified in this subpart, within 60 days
                                                 the information specified in paragraphs                 in § 63.505(g) or (h), than the number of             after the date of completing each
                                                 (e)(6)(xi)(B)(1) through (e)(6)(xi)(B)(7) of            excused excursions allowed under                      performance test required by this


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                                                 subpart, owners and operators must                      section. This requirement also applies to             used, the phrase ‘‘Polymers and Resins’’
                                                 submit the results of the performance                   any flare using fuel gas from a fuel gas              applies instead for the purposes of this
                                                 test following the procedures specified                 system, of which 50 percent or more of                subpart.
                                                 in § 63.9(k). Data collected using test                 the fuel gas is derived from a EPPU, as                  (4) Where the reference
                                                 methods supported by the EPA’s                          determined on an annual average basis.                ‘‘§ 63.152(b)(7) of subpart G of this part’’
                                                 Electronic Reporting Tool (ERT) as                      For purposes of compliance with this                  is used, the reference
                                                 listed on the EPA’s ERT website                         paragraph, the following terms are                    ‘‘§ 63.506(e)(5)(xiii)’’ applies instead for
                                                 (https://www.epa.gov/electronic-                        defined in § 63.641 of subpart CC of this             the purposes of this subpart.
                                                 reporting-air-emissions/electronic-                     part: Assist air, assist steam, center                   (5) Section 63.108(i) does not apply.
                                                 reporting-tool-ert) at the time of the test             steam, combustion zone, combustion                    ■ 146. Add § 63.509 to read as follows:
                                                 must be submitted in a file format                      zone gas, flare, flare purge gas, flare
                                                 generated through the use of the EPA’s                  supplemental gas, flare sweep gas, flare              § 63.509 Procedures for determining
                                                                                                                                                               whether process vents, storage vessels, or
                                                 ERT. Alternatively, owners and                          vent gas, lower steam, net heating value,             wastewater are in chloroprene service.
                                                 operators may submit an electronic file                 perimeter assist air, pilot gas, premix
                                                 consistent with the extensible markup                   assist air, total steam, and upper steam.                This section applies beginning no
                                                 language (XML) schema listed on the                        (1) §§ 63.487(a)(1)(i) and (b)(1)(i);              later than the compliance dates
                                                 EPA’s ERT website. Data collected using                    (2) § 63.489(b)(2);                                specified in § 63.481(o). To determine if
                                                 test methods that are not supported by                     (3) § 63.490(a)(1);                                process vents, storage vessels, or
                                                 the EPA’s ERT as listed on the EPA’s                       (4) §§ 63.491(b)(3)(i) through                     wastewater in a process at affected
                                                 ERT website at the time of the test must                (b)(3)(iii);                                          sources producing neoprene are in
                                                 be included as an attachment in the ERT                    (5) § 63.494(d);                                   chloroprene service, as defined in
                                                 or alternate electronic file.                              (6) § 63.496(b)(7)(i)(A);                          § 63.482, owners and operators must
                                                                                                            (7) § 63.497(a)(2);                                comply with the requirements in
                                                 ■ 144. Amend § 63.507 by revising
                                                                                                            (8) § 63.498(d)(5)(ii)(E);                         paragraphs (a) through (c) of this
                                                 paragraph (c) introductory text and                                                                           section, as applicable.
                                                                                                            (9) § 63.502(k)(1);
                                                 adding paragraphs (c)(5) and (6) to read                                                                         (a) For each continuous front-end
                                                                                                            (10) §§ 63.504(c)(1) through (c)(3);
                                                 as follows:                                                                                                   process vent, each batch front-end
                                                                                                            (11) § 63.107(h)(9)(i) related to criteria
                                                 § 63.507   Implementation and enforcement.              in § 63.11(b);                                        process vent, and each back-end process
                                                                                                            (12) § 63.113(a)(1);                               vent in a process at affected sources
                                                 *      *    *     *     *
                                                                                                            (13) § 63.114(a)(2);                               producing neoprene, owners and
                                                    (c) The authorities that cannot be
                                                                                                            (14) §§ 63.116(a)(1) through (a)(3);               operators must measure the flow rate
                                                 delegated to State, local, or Tribal
                                                                                                            (15) §§ 63.117(a)(5)(i) through                    and concentration of chloroprene of
                                                 agencies are as specified in paragraphs
                                                                                                         (a)(5)(iii);                                          each process vent as specified in
                                                 (c)(1) through (6) of this section.
                                                                                                            (16) § 63.118(f)(5);                               paragraphs (a)(1) through (5) of this
                                                 *      *    *     *     *                                  (17) The last sentence in                          section.
                                                    (5) Approval of an alternative to any                § 63.119(e)(1);                                          (1) Measurements must be made prior
                                                 electronic reporting to the EPA required                   (18) §§ 63.120(e)(1) through (e)(6);               to any dilution of the vent streams.
                                                 by this subpart.                                           (19) §§ 63.122(c)(2) and (g)(3);                      (2) Measurements may be made on the
                                                    (6) Approval of an extension request                    (20) § 63.126(b)(2)(i);                            combined vent streams at an elastomer
                                                 under § 63.6(i)(4)(ii).                                    (21) § 63.127(a)(2);                               product process unit or for each
                                                 ■ 145. Add § 63.508 to read as follows:                    (22) §§ 63.128(b)(1) through (b)(3);               separate vent stream.
                                                                                                            (23) §§ 63.129(a)(5)(i) through                       (3) The sampling site shall be after the
                                                 § 63.508   Flare requirements.                                                                                last recovery device (if any recovery
                                                                                                         (a)(5)(iii);
                                                   (a) For any flare that is used to reduce                 (24) §§ 63.130(a)(2)(i), (c), and (d)(5);          devices are present) but prior to the
                                                 organic HAP emissions from an EPPU,                        (25) §§ 63.139(c)(3) and (d)(3);                   inlet of any control device that is
                                                 the owner or operator may elect to                         (26) §§ 63.145(j)(1) through (j)(3);               present and prior to release to the
                                                 comply with the requirements in this                       (27) §§ 63.146(b)(7)(i)(A) through                 atmosphere. Method 1 or 1A of
                                                 section in lieu of the requirements of                  (b)(7)(i)(C);                                         appendix A–1 to 40 CFR part 60, as
                                                 § 63.11(b) and the requirements                            (28) § 63.147(d)(1);                               appropriate, must be used for the
                                                 referenced therein. The owner or                           (29) §§ 63.172(d);                                 selection of the sampling sites. For vents
                                                 operator may also elect to comply with                     (30) §§ 63.180(e)(1) through (e)(3);               smaller than 0.10 meter in diameter,
                                                 the requirements in this section                           (31) § 63.181(g)(1)(iii); and                      sample at one point at the center of the
                                                 pursuant to the overlap provisions                         (32) The phrase ‘‘including periods                duct.
                                                 provided in § 63.481(k)(2). However,                    when a flare pilot light system does not                 (4) The gas volumetric flow rate must
                                                 beginning no later than the compliance                  have a flame’’ in § 63.181(g)(2)(i).                  be determined using Method 2, 2A, 2C,
                                                 dates specified in § 63.481(n), the                        (b) The exceptions specified in                    2D, 2F, or 2G of appendices A–1 and A–
                                                 provisions specified in paragraphs (a)(1)               paragraphs (b) through (o) of § 63.108                2 to 40 CFR part 60, as appropriate.
                                                 through (32) of this section no longer                  apply, except as specified in paragraphs                 (5) Except as specified in paragraph
                                                 apply. Instead, if an owner or operator                 (b)(1) through (5) of this section.                   (a)(6) of this section, the concentration
                                                 reduces organic HAP emissions from an                      (1) Where the term ‘‘chemical                      of chloroprene must be determined
                                                 EPPU by venting emissions through a                     manufacturing process unit’’ is used, the             using Method 18 of appendix A–6 to 40
                                                 closed-vent system to a steam-assisted,
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                                                                                                         term ‘‘EPPU’’ applies instead for the                 CFR part 60 or Method 320 of appendix
                                                 air-assisted, or non-assisted flare, then               purposes of this subpart.                             A to this part.
                                                 the owner or operator must meet the                        (2) Where the reference                               (6) You may elect to use ASTM
                                                 applicable requirements for flares as                   ‘‘§ 63.100(k)(10)’’ is used, the reference            D6348–12 (Reapproved 2020)
                                                 specified in §§ 63.670 and 63.671,                      § 63.481(n) applies instead for the                   (incorporated by reference, § 63.14) in
                                                 including the provisions in tables 12                   purposes of this subpart.                             lieu of Method 320 of appendix A to
                                                 and 13 to subpart CC of this part, except                  (3) Where the phrase ‘‘Hazardous                   this part as specified in paragraph (a)(5)
                                                 as specified in paragraph (b) of this                   Organic Chemical Manufacturing’’ is                   of this section. To comply with this


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                                                 paragraph, Annexes Al through A8 to                     pressure vessel, then the owner or                    demonstrate continuous compliance
                                                 ASTM D6348–12 (Reapproved 2020) are                     operator must maintain the sample                     with the chloroprene related
                                                 mandatory; the percent (%) R must be                    under pressure both during and                        requirements of this subpart; and
                                                 determined for each target analyte using                following sampling.                                      (D) The previously-conducted
                                                 Equation A5.5 of ASTM D6348–12                          ■ 147. Add § 63.510 to read as follows:               measurement or performance test was
                                                 (Reapproved 2020) Annex A5 (Analyte                                                                           completed within the last 60 months.
                                                 Spiking Technique); and in order for the                § 63.510 Process vents, storage vessels,                 (ii) Conduct the performance test
                                                 test data to be acceptable for a                        and wastewater that are in chloroprene
                                                                                                         service—procedures to determine
                                                                                                                                                               according to the procedures in § 63.504
                                                 compound, the %R must be 70% ≥ R ≤                                                                            and in § 63.116(c). Except as specified
                                                                                                         compliance.
                                                 130%. If the %R value does not meet                                                                           in § 63.509(a)(6), use Method 18 of 40
                                                 this criterion for a target compound,                      This section applies beginning no
                                                                                                                                                               CFR part 60, appendix A–6 or Method
                                                 then the test data is not acceptable for                later than the compliance dates
                                                                                                                                                               320 of appendix A to this part to
                                                 that compound and the test must be                      specified in § 63.481(o). In order to
                                                                                                                                                               determine the chloroprene
                                                 repeated for that analyte (i.e., the                    demonstrate compliance with the
                                                                                                                                                               concentration. Use Method 1 or 1A of 40
                                                 sampling and/or analytical procedure                    emission limits and work practice
                                                                                                                                                               CFR part 60, appendix A–1 to select the
                                                 should be adjusted before a retest). The                standards specified in § 63.485(y) (for
                                                                                                                                                               sampling sites at each sampling
                                                 %R value for each compound must be                      continuous front-end process vents in
                                                                                                                                                               location. Determine the gas volumetric
                                                 reported in the test report, and all field              chloroprene service), § 63.487(j) (for
                                                                                                                                                               flowrate using Method 2, 2A, 2C, or 2D
                                                 measurements must be corrected with                     batch front-end process vents in
                                                                                                                                                               of 40 CFR part 60, appendix A–2. Use
                                                 the calculated %R value for that                        chloroprene service), § 63.494(a)(7) (for
                                                                                                                                                               Method 4 of 40 CFR part 60, appendix
                                                 compound by using the following                         back-end process vents in chloroprene
                                                                                                                                                               A–3 to convert the volumetric flowrate
                                                 equation:                                               service), § 63.484(u) (for storage vessels
                                                                                                                                                               to a dry basis.
                                                                                                         in chloroprene service), and
                                                 Equation 1 to Paragraph (a)(6)                          § 63.501(a)(10)(iv) (for wastewater in                   (iii) Calculate the mass emission rate
                                                 Reported Results = (Measured                            chloroprene service), owners and                      of chloroprene entering the control
                                                       Concentration in the Stack × 100)/                operators must meet the requirements                  device and exiting the control device
                                                       %R.                                               specified in paragraphs (a) and (b) of                using Equations 1 and 2 to this
                                                    (b) For storage vessels in a process at              this section.                                         paragraph.
                                                 affected sources producing neoprene,                       (a) For initial compliance, owners and             Equations 1 and 2 to Paragraph (a)(2)(iii)
                                                 owners and operators must determine                     operators must comply with paragraphs
                                                 the concentration of chloroprene of the                 (a)(1) through (4) of this section, as                E,inlet = K C,inlet M Qinlet (Eq. 1)
                                                 fluid stored in the storage vessels by                  applicable.                                           E,outlet = K C,outlet M Qoutlet (Eq. 2)
                                                 complying with the requirements in                         (1) [Reserved]                                     Where:
                                                 paragraph (b)(1) or (2) of this section.                   (2) If an owner or operator chooses to             E,inlet, E,outlet = Mass rate of chloroprene at the
                                                    (1) The owner or operator must                       reduce emissions of chloroprene by                          inlet and outlet of the control device,
                                                 measure concentration of chloroprene of                 venting emissions through a closed vent                     respectively, kilogram per hour.
                                                 the fluid stored in the storage vessel                  system to a non-flare control device that             C,inlet, C,outlet = Concentration of chloroprene
                                                 using Method 624.1 of appendix A to 40                  reduces chloroprene by greater than or                      in the gas stream at the inlet and outlet
                                                 CFR part 136 or preparation by Method                   equal to 98 percent by weight as                            of the control device, respectively, dry
                                                 SW–846–5030B (incorporated by                           specified in § 63.484(u), § 63.485(y),                      basis, parts per million by volume.
                                                                                                                                                               M = Molecular weight of chloroprene, 88.54
                                                 reference, see § 63.14) and analysis by                 § 63.487(j), or § 63.494(a)(7) then the                     grams per gram-mole.
                                                 Method SW–846–8260D (incorporated                       owner or operator must comply with                    Qinlet, Qoutlet = Flow rate of the gas stream at
                                                 by reference, see § 63.14). If owners and               § 63.148 and paragraphs (a)(2)(i) through                   the inlet and outlet of the control device,
                                                 operators collect a sample from a                       (viii) of this section.                                     respectively, dry standard cubic meter
                                                 pressure vessel, then the owner or                         (i) Conduct an initial performance test                  per minute.
                                                 operator must maintain the sample                       of the control device that is used to                 K = Constant, 2.494 × 10¥6 (parts per
                                                 under pressure both during and                          comply with the percent reduction                           million)¥1 (gram-mole per standard
                                                 following sampling.                                     requirement at the inlet and outlet of the                  cubic meter) (kilogram per gram)
                                                    (2) Unless specified by the                          control device. For purposes of                             (minutes per hour), where standard
                                                 Administrator, the owner or operator                                                                                temperature (gram-mole per standard
                                                                                                         compliance with this paragraph, owners
                                                                                                                                                                     cubic meter) is 20 °C.
                                                 may calculate the concentration of                      and operators may not use a design
                                                 chloroprene of the fluid stored in the                  evaluation. This paragraph does not                      (iv) Calculate the percent reduction
                                                 storage vessels if information specific to              apply if the conditions specified in                  from the control device using equation
                                                 the fluid stored is available. Information              paragraphs (a)(2)(i)(A) through (D) of                3 to this paragraph. An owner or
                                                 specific to the fluid stored includes                   this section are met for a previously-                operator has demonstrated initial
                                                 concentration data from safety data                     conducted measurement or performance                  compliance with § 63.113(j)(2) or
                                                 sheets.                                                 test.                                                 § 63.119(a)(5)(ii) if the overall reduction
                                                    (c) For wastewater in a process at                      (A) No changes have been made to the               of chloroprene is greater than or equal
                                                 affected sources producing neoprene,                    process since the time of the                         to 98 percent by weight.
                                                 owners and operators must measure                       measurement or performance test;
                                                 concentration of chloroprene of the                                                                           Equation 3 to Paragraph (a)(2)(iv)
                                                                                                            (B) The operating conditions and test
                                                 fluid stored in the storage vessel using                                                                      Percent reduction = (E,inlet¥E,outlet)/E,inlet
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                                                                                                         methods used during measurement or
                                                 Method 624.1 of appendix A to 40 CFR                    performance test conform to the                           * 100 (Eq. 3)
                                                 part 136, or preparation by Method SW–                  chloroprene related requirements of this              Where:
                                                 846–5030B (incorporated by reference,                   subpart;                                              E,inlet, E,outlet = Mass rate of chloroprene at the
                                                 see § 63.14) and analysis by Method                        (C) The control device and process                       inlet and outlet of the control device,
                                                 SW–846–8260D (incorporated by                           parameter values established during the                     respectively, kilogram per hour,
                                                 reference, see § 63.14). If owners and                  previously-conducted measurement or                         calculated using Equations 5 and 6 to
                                                 operators collect a sample from a                       performance test are used to                                paragraph (a)(2)(iii) of this section.



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                                                    (v) If a new control device is installed,            percent oxygen according to                           § 63.119(a)(5)(ii) of subpart G of this
                                                 then conduct a performance test of the                  § 63.116(c)(iii)(B), except ‘‘TOC or                  part, and you choose to comply with
                                                 new device following the procedures in                  organic HAP’’ and ‘‘TOC (minus                        paragraph (a)(3)(i) of this section, then
                                                 paragraphs (a)(2)(i) through (iv) of this               methane and ethane) or organic HAP’’                  continuously monitor the chloroprene
                                                 section.                                                in the Variables Cc and Cm must be                    concentration at the exit of the control
                                                    (vi) [Reserved]                                      replaced with ‘‘chloroprene’’. An owner               device using an FTIR CEMS meeting the
                                                    (vii) If an owner or operator vents                  or operator has demonstrated initial                  requirements of Performance
                                                 emissions through a closed vent system                  compliance with § 63.484(u),                          Specification 15 of 40 CFR part 60,
                                                 to a thermal oxidizer, then the owner or                § 63.485(y), § 63.487(j), or § 63.494(a)(7)           appendix B and § 63.2450(j). If an owner
                                                 operator must establish operating                       if the chloroprene concentration is less              or operator uses an FTIR CEMS, then
                                                 parameter limits by monitoring the                      than 1 ppmv.                                          the owner or operator does not need to
                                                 operating parameters specified in                          (C) Comply with the requirements                   conduct the performance testing
                                                 paragraphs (a)(2)(vii)(A) and (B) of this               specified in paragraphs (a)(2)(v) through             required in paragraph (b)(3) of this
                                                 section during the performance test.                    (viii) of this section, as applicable.                section or the operating parameter
                                                    (A) Combustion chamber temperature.                     (4) If owners and operators choose to              monitoring required in paragraphs (b)(4)
                                                 Determine the average combustion                        reduce emissions of chloroprene by                    through (6) of this section.
                                                 chamber temperature during the                          venting emissions through a closed vent                  (3) Conduct a performance test no
                                                 performance test as the average of the                  system to a non-flare control device that             later than 60 months after the previous
                                                 test run averages.                                      reduces chloroprene to less than 5                    performance test and reestablish
                                                    (B) Flue gas flow rate. Determine the                pounds per year for all combined                      operating parameter limits following the
                                                 average flue gas flow rate during the                   process vents within the process as                   procedures in paragraph (a)(2) through
                                                 performance test as the average of the                  specified in § 63.113(j)(2), then the                 (4) of this section. The Administrator
                                                 test run averages.                                      owner or operator must comply with                    may request a repeat performance test at
                                                    (viii) If an owner or operator vents                 § 63.148 and paragraphs (a)(4)(i) through             any time. For purposes of compliance
                                                 emissions through a closed vent system                  (iv) of this section.                                 with this paragraph, owners and
                                                 to a control device other than a thermal                   (i) Conduct an initial performance test            operators may not use a design
                                                 oxidizer, then the owner or operator                    of the control device that is used to                 evaluation.
                                                 must notify the Administrator of the                    comply with the mass emission limit                      (4) [Reserved]
                                                 operating parameters that are planned to                requirement at the outlet of the control                 (5) If an owner or operator vents
                                                 be monitored during the performance                     device.                                               emissions through a closed vent system
                                                 test prior to establishing operating                       (ii) Conduct the performance test                  to a thermal oxidizer, then the owner or
                                                 parameter limits for the control device.                according to the procedures in § 63.504               operator must comply with § 63.148,
                                                    (3) If an owner or operator chooses to               and in § 63.116(c). Except as specified               and the owner or operator must meet
                                                 reduce emissions of chloroprene by                      in § 63.509(a)(6), use Method 18 of 40                the operating parameter limits specified
                                                 venting emissions through a closed vent                 CFR part 60, appendix A–6 or Method                   in paragraphs (b)(5)(i) and (ii) of this
                                                 system to a non-flare control device that               320 of appendix A to this part to                     section and the requirements in
                                                 reduces chloroprene to less than 1 ppmv                 determine the chloroprene                             paragraph (b)(5)(iii) of this section.
                                                 as specified in § 63.484(u), § 63.485(y),               concentration. Use Method 1 or 1A of 40                  (i) Minimum combustion chamber
                                                 § 63.487(j), or § 63.494(a)(7) then the                 CFR part 60, appendix A–1 to select the               temperature, equal to the average
                                                 owner or operator must comply with                      sampling site. Determine the gas                      combustion chamber temperature
                                                 § 63.148 and either paragraph (a)(3)(i) or              volumetric flowrate using Method 2, 2A,               measured during the most recent
                                                 (ii) of this section.                                   2C, or 2D of 40 CFR part 60, appendix                 performance test. Determine combustion
                                                    (i) Install an FTIR CEMS meeting the                 A–2. Use Method 4 of 40 CFR part 60,                  chamber temperature with a
                                                 requirements of Performance                             appendix A–3 to convert the volumetric                temperature sensor with a minimum
                                                 Specification 15 of 40 CFR part 60,                     flowrate to a dry basis.                              accuracy of at least ±1 percent over the
                                                 appendix B to continuously monitor the                     (iii) Calculate the mass emission rate             normal range of temperature measured,
                                                 chloroprene concentration at the exit of                of chloroprene exiting the control                    expressed in degrees Celsius, or 2.8
                                                 the control device. Comply with the                     device using Equation 2 to paragraph                  degrees Celsius, whichever is greater.
                                                 requirements specified in § 63.2450(j)                  (a)(2)(iii) of this section. An owner or              Compliance with the minimum
                                                 for CEMS.                                               operator has demonstrated initial                     combustion chamber temperature
                                                    (ii) If the owner or operator does not               compliance with § 63.113(j)(2) if the                 operating limit must be determined
                                                 install a CEMS under paragraph (a)(3)(i)                chloroprene from all process vents                    continuously on a 1-hour block basis.
                                                 of this section, then the owner or                      (controlled and uncontrolled) within the                 (ii) Maximum flue gas flow rate, equal
                                                 operator must comply with paragraphs                    process is less than 5 pounds per year                to the average flue gas flow rate
                                                 (a)(3)(ii)(A) through (C) of this section.              when combined.                                        measured during the most recent
                                                    (A) Conduct an initial performance                      (iv) Comply with the requirements                  performance test. Determine flue gas
                                                 test at the outlet of the control device                specified in paragraphs (a)(2)(v) through             flow rate with a flow sensor with a
                                                 that is used to comply with the                         (viii) of this section, as applicable.                minimum accuracy of at least ±5 percent
                                                 concentration requirement.                                 (b) For continuous compliance,                     over the normal range of flow measured,
                                                    (B) Conduct the performance test                     owners and operators must comply with                 or 280 liters per minute (10 cubic feet
                                                 according to the procedures in § 63.504                 paragraphs (b)(1) through (6) of this                 per minute), whichever is greater.
                                                 and in § 63.116(c). Except as specified
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                                                                                                         section, as applicable.                               Compliance with the maximum flue gas
                                                 in § 63.509(a)(6), use Method 18 of 40                     (1) [Reserved]                                     flow rate operating limit must be
                                                 CFR part 60, appendix A–6 or Method                        (2) If you choose to reduce emissions              determined continuously on a 1-hour
                                                 320 of appendix A to this part to                       of chloroprene by venting emissions                   block basis.
                                                 determine the chloroprene                               through a closed-vent system to a non-                   (iii) The owner or operator must
                                                 concentration. If the non-flare control                 flare control device that reduces                     maintain the thermal oxidizer in
                                                 device is a combustion device, correct                  chloroprene to less than 1 ppmv as                    accordance with good combustion
                                                 the chloroprene concentration to 3                      specified in § 63.113(j)(2) or                        practices that ensure proper


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                                                 combustion. Good combustion practices                                must comply with § 63.148, and the                                  ■ 148. Amend Table 1 to Subpart U by
                                                 include, but are not limited to, proper                              owner or operator must monitor the                                  revising entry ‘‘§ 63.6(e)(1)(i)’’, adding
                                                 burner maintenance, proper burner                                    operating parameters identified in                                  entry ‘‘§ 63.7(a)(4)’’, revising entries
                                                 alignment, proper fuel to air distribution                           paragraph (a)(2)(viii) of this section and                          ‘‘§ 63.8(c)(1)(i)’’, ‘‘§ 63.8(c)(1)(iii)’’,
                                                 and mixing, routine inspection, and                                  meet the established operating                                      ‘‘§ 63.9(k)’’ and ‘‘63.10(d)(5)(i)’’,
                                                 preventative maintenance.                                            parameter limits to ensure continuous                               removing entry ‘‘§ 63.10(d)(5)(ii)’’,
                                                    (6) If an owner or operator vents                                 compliance. The frequency of                                        revising entry ‘‘§ 63.11’’, and removing
                                                 emissions through a closed vent system                               monitoring and averaging time will be                               note a to read as follows:
                                                 to a control device other than a thermal                             determined based upon the information
                                                 oxidizer, then the owner or operator                                 provided to the Administrator.

                                                     TABLE 1 TO SUBPART U OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART U AFFECTED SOURCES
                                                                                                          Applies to
                                                              Reference                                                                                                                  Explanation
                                                                                                          subpart U


                                                           *                              *                            *                          *                    *                   *                    *
                                                 § 63.6(e)(1)(i) ........................ No .......................................    See § 63.483(a) for general duty requirement. Any cross reference to § 63.6(e)(1)(i)
                                                                                                                                          in any other general provision incorporated by reference shall be treated as a
                                                                                                                                          cross reference to § 63.483(a).

                                                            *                              *                   *                                        *                          *                        *                    *
                                                 § 63.6(i)(4)(ii) ........................ No; except yes for affected
                                                                                             sources producing neo-
                                                                                             prene.

                                                           *                              *                            *                                *                          *                        *                    *
                                                 § 63.7(a)(4) ........................... Yes.
                                                 § 63.8(a)(3) ........................... No .......................................    [Reserved.].
                                                 § 63.8(a)(4) ........................... Yes, except for flares sub-
                                                                                            ject to § 63.508.
                                                 § 63.8(b)(1) ........................... Yes.
                                                 § 63.8(b)(2) ........................... No .......................................    Subpart U specifies locations to conduct monitoring.
                                                 § 63.8(b)(3) ........................... Yes.

                                                           *                              *                   *                                         *                          *                        *                    *
                                                 § 63.8(c)(1)(i) ........................ Yes, before July 15, 2027.
                                                                                            No, beginning on and
                                                                                            after July 15, 2027.

                                                           *                              *                   *                                         *                          *                        *                    *
                                                 § 63.8(c)(1)(iii) ...................... Yes, before July 15, 2027.
                                                                                            No, beginning on and
                                                                                            after July 15, 2027.

                                                           *                                *                            *                              *                          *                        *                    *
                                                 § 63.9(k) ................................ Yes.

                                                          *                               *                              *                              *                          *                        *                    *
                                                 63.10(d)(5) ............................ No.

                                                           *                                *                           *                          *                    *                      *                     *
                                                 § 63.11 .................................. Yes .....................................   Except for flares subject to § 63.508, § 63.11(b) specifies requirements for flares
                                                                                                                                          used to comply with provisions of this subpart. § 63.504(c) contains the require-
                                                                                                                                          ments to conduct compliance demonstrations for flares subject to this subpart
                                                                                                                                          that are not subject to § 63.508. § 63.11(c), (d), and (e) specifies requirements for
                                                                                                                                          an alternative work practice for equipment leaks.

                                                              *                            *                             *                              *                          *                        *                    *



                                                 ■ 149. Revise table 6 to subpart U to
                                                 read as follows:
                                                    TABLE 6 TO SUBPART U OF PART 63—GROUP 1 BATCH FRONT-END PROCESS VENTS AND AGGREGATE BATCH VENT
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                                                                     STREAMS—MONITORING, RECORDKEEPING, AND REPORTING REQUIREMENTS
                                                              Control/recovery device                                 Parameter to be monitored                          Recordkeeping and reporting requirements for monitored parameters

                                                 Thermal incinerators other than those used                Firebox temperature a ....................................   1. Continuous records as specified in § 63.491(e)(1).b
                                                   for vents in chloroprene service.
                                                                                                                                                                        2. Record and report the average firebox temperature measured during
                                                                                                                                                                          the performance test—NCS.c




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                                                     TABLE 6 TO SUBPART U OF PART 63—GROUP 1 BATCH FRONT-END PROCESS VENTS AND AGGREGATE BATCH VENT
                                                                 STREAMS—MONITORING, RECORDKEEPING, AND REPORTING REQUIREMENTS—Continued
                                                               Control/recovery device                                       Parameter to be monitored                           Recordkeeping and reporting requirements for monitored parameters

                                                                                                                                                                                3. Record the batch cycle daily average firebox temperature as speci-
                                                                                                                                                                                  fied in § 63.491(e)(2).
                                                                                                                                                                                4. Report all batch cycle daily average temperatures that are below the
                                                                                                                                                                                  minimum operating value established in the NCS or operating permit
                                                                                                                                                                                  and all instances when monitoring data are not collected—PR.d e
                                                 Thermal oxidizers used for vents in chloro-                      a. Combustion chamber temperature ...........                 1. Continuous records as specified in § 63.491(e)(1).b
                                                   prene service.
                                                                                                                                                                                2. Record and report the average firebox temperature measured during
                                                                                                                                                                                   the performance test—NCS.c
                                                                                                                                                                                3. Record the 1-hour block average firebox temperature as specified in
                                                                                                                                                                                   § 63.510(b)(5)(i).
                                                                                                                                                                                4. Report all 1-hour block average temperatures that are below the
                                                                                                                                                                                   minimum operating value established in the NCS or operating permit
                                                                                                                                                                                   and all instances when monitoring data are not collected—PR.d e
                                                                                                                  b. Flue gas flow rate .....................................   1. Continuous records as specified in § 63.491(e)(1).b
                                                                                                                                                                                2. Record and report the average flue gas flow rate measured during
                                                                                                                                                                                   the performance test—NCS.c
                                                                                                                                                                                3. Record the 1-hour block average flue gas flow rate as specified in
                                                                                                                                                                                   § 63.510(b)(5)(ii).
                                                                                                                                                                                4. Report all 1-hour block average flow rates that are above the max-
                                                                                                                                                                                   imum operating value established in the NCS or operating permit
                                                                                                                                                                                   and all instances when monitoring data are not collected—PR.d e
                                                 Catalytic incinerator ........................................   Temperature upstream and downstream of                        1. Continuous records as specified in § 63.491(e)(1).b
                                                                                                                    the catalyst bed.
                                                                                                                                                                                2. Record and report the average upstream and downstream tempera-
                                                                                                                                                                                   tures and the average temperature difference across the catalyst bed
                                                                                                                                                                                   measured during the performance test—NCS.c
                                                                                                                                                                                3. Record the batch cycle daily average upstream temperature and
                                                                                                                                                                                   temperature difference across catalyst bed as specified in
                                                                                                                                                                                   § 63.491(e)(2).
                                                                                                                                                                                4. Report all batch cycle daily average upstream temperatures that are
                                                                                                                                                                                   below the minimum upstream value established in the NCS or oper-
                                                                                                                                                                                   ating permit—PR.d e
                                                                                                                                                                                5. Reporting all batch cycle daily average temperature differences
                                                                                                                                                                                   across the catalyst bed that are below the minimum difference estab-
                                                                                                                                                                                   lished in the NCS or operating permit—PR.d e
                                                                                                                                                                                6. Report all instances when monitoring data are not collected.
                                                 Boiler or process heater with a design heat    Firebox temperature a ....................................                      1. Continuous records as specified in § 63.491(e)(1).b
                                                   input capacity less than 44 megawatts and
                                                   where the batch front—end process vents
                                                   or aggregate batch vent streams are ‘‘not’’
                                                   introduced with or used as the primary fuel.
                                                                                                                                                                                2. Record and report the average firebox temperature measured during
                                                                                                                                                                                  the performance test—NCS.c
                                                                                                                                                                                3. Record the batch cycle daily average firebox temperature as speci-
                                                                                                                                                                                  fied in § 63.491(e)(2).d
                                                                                                                                                                                4. Report all batch cycle daily average temperatures that are below the
                                                                                                                                                                                  minimum operating value established in the NCS or operating permit
                                                                                                                                                                                  and all instances when monitoring data are not collected—PR.d e
                                                 Flare (if meeting the requirements of                            Presence of a flame at the pilot light ............           1. Hourly records of whether the monitor was continuously operating
                                                   § 63.487(a)(1)(i) or (b)(1)(i)).                                                                                               during light batch emission episodes selected for control and wheth-
                                                                                                                                                                                  er a flame was continuously present at the pilot light during each
                                                                                                                                                                                  hour.
                                                                                                                                                                                2. Record and report the presence of a flame at the pilot light over the
                                                                                                                                                                                  full period of the compliance determination—NCS.c
                                                                                                                                                                                3. Record the times and durations of all periods during batch emission
                                                                                                                                                                                  episodes when all flames at the pilot light of a flare are absent or the
                                                                                                                                                                                  monitor is not operating.
                                                                                                                                                                                4. Report the times and durations of all periods during batch emission
                                                                                                                                                                                  episodes selected for control when all flames at the pilot light of a
                                                                                                                                                                                  flare are absent—PR.d
                                                 Flare (if meeting the requirements of                            The parameters are specified in paragraphs                    1. Records as specified in paragraph (m) of § 63.108 and § 63.508.
                                                   § 63.487(a)(1)(iii) or (b)(1)(iii)).                             (b) through (o) of § 63.108 and § 63.508.                   2. Report information as specified in in paragraph (l) of § 63.108 and
                                                                                                                                                                                  § 63.508—PR.
                                                 Scrubber for halogenated batch front-end                         a. pH of scrubber effluent, and .....................         1. Continuous records as specified in § 63.491(e)(1).b
                                                   process vents or aggregate batch vent                                                                                        2. Record and report the average pH of the scrubber effluent meas-
                                                   streams (Note: Controlled by a combustion                                                                                       ured during the performance test—NCS.c
                                                   device other than a flare).
                                                                                                                                                                                3. Record the batch cycle daily average pH of the scrubber effluent as
                                                                                                                                                                                   specified in § 63.491(e)(2).
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                                                                                                                                                                                4. Report all batch cycle daily average pH values of the scrubber efflu-
                                                                                                                                                                                   ent that are below the minimum operating value established in the
                                                                                                                                                                                   NCS or operating permit and all instances when insufficient moni-
                                                                                                                                                                                   toring data are collected—PR.d e
                                                                                                                  b. Scrubber liquid and gas flow rates                         1. Records as specified in § 63.491(e)(1).b
                                                                                                                    (§ 63.489(b)(4)(ii)).                                       2. Record and report the scrubber liquid/gas ratio averaged over the
                                                                                                                                                                                   full period of the performance test—NCS.c
                                                                                                                                                                                3. Record the batch cycle daily average scrubber liquid/gas ratio as
                                                                                                                                                                                   specified in § 63.491(e)(2).



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                                                     TABLE 6 TO SUBPART U OF PART 63—GROUP 1 BATCH FRONT-END PROCESS VENTS AND AGGREGATE BATCH VENT
                                                                 STREAMS—MONITORING, RECORDKEEPING, AND REPORTING REQUIREMENTS—Continued
                                                                Control/recovery device                                           Parameter to be monitored                             Recordkeeping and reporting requirements for monitored parameters

                                                                                                                                                                                       4. Report all batch cycle daily average scrubber liquid/gas ratios that
                                                                                                                                                                                          are below the minimum value established in the NCS or operating
                                                                                                                                                                                          permit and all instances when insufficient monitoring data are col-
                                                                                                                                                                                          lected—PR.d e
                                                 Absorber f .......................................................   a. Exit temperature of the absorbing liquid,                     1. Continuous records as specified in § 63.491(e)(1).b
                                                                                                                         and.
                                                                                                                                                                                       2. Record and report the average exit temperature of the absorbing liq-
                                                                                                                                                                                          uid measured during the performance test—NCS.c
                                                                                                                                                                                       3. Record the batch cycle daily average exit temperature of the absorb-
                                                                                                                                                                                          ing liquid as specified in § 63.491(e)(2) for each batch cycle.
                                                                                                                                                                                       4. Report all the batch cycle daily average exit temperatures of the ab-
                                                                                                                                                                                          sorbing liquid that are above the maximum operating temperature
                                                                                                                                                                                          established in the NCS or operating permit and all instances when
                                                                                                                                                                                          monitoring data are not collected—PR.d e
                                                                                                                      b. Exit specific gravity of the absorbing liquid                 1. Continuous records as specified in § 63.491(e)(1).b
                                                                                                                                                                                       2. Record and report the average exit specific gravity measured during
                                                                                                                                                                                          the performance test—NCS.
                                                                                                                                                                                       3. Record the batch cycle daily average exit specific gravity as speci-
                                                                                                                                                                                          fied in § 63.491(e)(2).
                                                                                                                                                                                       4. Report all batch cycle daily average exit specific gravity values that
                                                                                                                                                                                          are below the minimum operating value established in the NCS or
                                                                                                                                                                                          operating permit and all instances when monitoring data are not col-
                                                                                                                                                                                          lected—PR.d e
                                                 Condenser f ....................................................     Exit (product side) temperature .....................            1. Continuous records as specified in § 63.491(e)(1) b
                                                                                                                                                                                       2. Record and report the average exit temperature measured during
                                                                                                                                                                                          the performance test—NCS.
                                                                                                                                                                                       3. Record the batch cycle daily average exit temperature as specified
                                                                                                                                                                                          in § 63.491(e)(2).
                                                                                                                                                                                       4. Report all batch cycle daily average exit temperatures that are
                                                                                                                                                                                          above the maximum operating value established in the NCS or oper-
                                                                                                                                                                                          ating permit and all instances when monitoring data are not col-
                                                                                                                                                                                          lected—PR.d e
                                                 Carbon adsorber f ...........................................        a. Total regeneration steam flow or nitrogen                     1. Record of total regeneration steam flow or nitrogen flow, or pressure
                                                                                                                        flow, or pressure gauge or absolute) dur-                        for each carbon bed regeneration cycle.
                                                                                                                        ing carbon bed regeneration cycle(s), and.
                                                                                                                                                                                       2. Record and report the total regeneration steam flow or nitrogen flow,
                                                                                                                                                                                          or pressure during each carbon bed regeneration cycle during the
                                                                                                                                                                                          performance test—NCS.c
                                                                                                                                                                                       3. Report all carbon bed regeneration cycles when the total regenera-
                                                                                                                                                                                          tion steam flow or nitrogen flow, or pressure is above the maximum
                                                                                                                                                                                          value established in the NCS or operating permit—PR.d e
                                                                                                                      b. Temperature of the carbon bed after re-                       1. Record the temperature of the carbon bed after each regeneration
                                                                                                                        generation and within 15 minutes of com-                         and within 15 minutes of completing any cooling cycle(s).
                                                                                                                        pleting any cooling cycle(s).
                                                                                                                                                                                       2. Record and report the temperature of the carbon bed after each re-
                                                                                                                                                                                          generation and within 15 minutes of completing any cooling cycle(s)
                                                                                                                                                                                          measured during the performance test—NCS.c
                                                                                                                                                                                       3. Report all carbon bed regeneration cycles when the temperature of
                                                                                                                                                                                          the carbon bed after regeneration, or within 15 minutes of completing
                                                                                                                                                                                          any cooling cycle(s), is above the maximum value established in the
                                                                                                                                                                                          NCS or operating permit—PR.d e
                                                                                                                      Outlet HAP or TOC concentration ................                 For each nonregenerative adsorber and regenerative adsorber that is
                                                                                                                                                                                          regenerated offsite subject to the requirements in § 63.489(b)(10),
                                                                                                                                                                                          the owner or operator must record each outlet HAP or TOC con-
                                                                                                                                                                                          centration measured according to §§ 63.489(b)(10)(i) and (b)(10)(ii).
                                                                                                                      Adsorbent replacement .................................          1. For each nonregenerative adsorber and regenerative adsorber that
                                                                                                                                                                                          is regenerated offsite subject to the requirements in § 63.489(b)(10),
                                                                                                                                                                                          the owner or operator must record date and time the adsorbent was
                                                                                                                                                                                          last replaced.
                                                                                                                      Breakthrough .................................................   For each nonregenerative adsorber and regenerative adsorber that is
                                                                                                                                                                                          regenerated offsite subject to the requirements in § 63.489(b)(10),
                                                                                                                                                                                          the owner or operator must:
                                                                                                                                                                                       1. Record breakthrough limit and bed life established according to
                                                                                                                                                                                          § 63.489(b)(10)(i).
                                                                                                                                                                                       2. Report the date of each instance when breakthrough, as defined in
                                                                                                                                                                                          § 63.101, is detected between the first and second adsorber and the
                                                                                                                                                                                          adsorber is not replaced according to § 63.489(b)(10)(iii)(A)—PR.g
                                                 Sorbent injection ............................................       a. Sorbent injection rate ................................       1. Continuous records as specified in § 63.491(e)(1).b
                                                                                                                                                                                       2. Record and report the average sorbent injection rate measured dur-
                                                                                                                                                                                          ing the performance test—NCS.c
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                                                                                                                                                                                       3. Record the batch cycle daily average sorbent injection rate as speci-
                                                                                                                                                                                          fied in § 63.491(e)(2).
                                                                                                                                                                                       4. Report all batch cycle daily average sorbent injection rates that are
                                                                                                                                                                                          below the minimum value established in the NCS or operating permit
                                                                                                                                                                                          and all instances when insufficient monitoring data are collected—
                                                                                                                                                                                          PR.d e
                                                                                                                      b. Carrier gas flow rate .................................       1. Continuous records as specified in § 63.491(e)(1).b
                                                                                                                                                                                       2. Record and report the average carrier gas flow rate measured dur-
                                                                                                                                                                                          ing the performance test—NCS.c



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                                                     TABLE 6 TO SUBPART U OF PART 63—GROUP 1 BATCH FRONT-END PROCESS VENTS AND AGGREGATE BATCH VENT
                                                                 STREAMS—MONITORING, RECORDKEEPING, AND REPORTING REQUIREMENTS—Continued
                                                               Control/recovery device                                      Parameter to be monitored                       Recordkeeping and reporting requirements for monitored parameters

                                                                                                                                                                           3. Record the batch cycle daily average carrier gas flow rate as speci-
                                                                                                                                                                              fied in § 63.491(e)(2).
                                                                                                                                                                           4. Report all batch cycle daily average carrier gas flow rates that are
                                                                                                                                                                              below the minimum value established in the NCS or operating permit
                                                                                                                                                                              and all instances when insufficient monitoring data are collected—
                                                                                                                                                                              PR.d e
                                                 All control devices ..........................................   a. Diversion to the atmosphere from the                  1. Hourly records of whether the flow indicator was operating during
                                                                                                                     control device or.                                      batch emission episodes selected for control and whether a diversion
                                                                                                                                                                             was detected at any time during the hour, as specified in
                                                                                                                                                                             § 63.491(e)(3).
                                                                                                                                                                           2. Record and report the times of all periods during batch emission epi-
                                                                                                                                                                              sodes selected for control when emissions are diverted through a by-
                                                                                                                                                                              pass line, or the flow indicator is not operating—PR.d
                                                                                                                                                                           3. For each affected source as described in § 63.480, beginning no
                                                                                                                                                                              later than the compliance dates specified in § 63.481(n), record and
                                                                                                                                                                              report the start date, start time, duration in hours, estimate of the vol-
                                                                                                                                                                              ume of gas in standard cubic feet, the concentration of organic HAP
                                                                                                                                                                              in the gas in parts per million by volume and the resulting mass
                                                                                                                                                                              emissions of organic HAP in pounds that bypass a control device.
                                                                                                                                                                              For periods when the flow indicator is not operating, report the start
                                                                                                                                                                              date, start time, and duration in hours—PR.d
                                                                                                                  b. Monthly inspections of sealed valves .......          1. Records that monthly inspections were performed as specified in
                                                                                                                                                                             § 63.491(e)(4)(i).
                                                                                                                                                                           2. Record and report all monthly inspections that show that valves are
                                                                                                                                                                             in the diverting position or that a seal has been broken—PR.d
                                                                                                                                                                           3. For each affected source as described in § 63.480, beginning no
                                                                                                                                                                              later than the compliance dates specified in § 63.481(n), record and
                                                                                                                                                                              report the start date, start time, duration in hours, estimate of the vol-
                                                                                                                                                                              ume of gas in standard cubic feet, the concentration of organic HAP
                                                                                                                                                                              in the gas in parts per million by volume and the resulting mass
                                                                                                                                                                              emissions of organic HAP in pounds that bypass a control device.
                                                                                                                                                                              For periods when the flow indicator is not operating, report the start
                                                                                                                                                                              date, start time, and duration in hours—PR.d
                                                 Absorber, condenser, and carbon adsorber                         Concentration level or reading indicated by              1. Continuous records as specified in § 63.491(e)(1).b
                                                   (as an alternative to the above).                                an organic monitoring device at the outlet             2. Record and report and average batch vent concentration level or
                                                                                                                    of the recovery device.                                   reading measured during the performance test—NCS.
                                                                                                                                                                           3. Record the batch cycle daily average concentration level or reading
                                                                                                                                                                              as specified in § 63.491(e)(2).
                                                                                                                                                                           4. Report all batch cycle daily average concentration levels or readings
                                                                                                                                                                              that are above the maximum values established in the NCS or oper-
                                                                                                                                                                              ating permit and all instances when monitoring data are not col-
                                                                                                                                                                              lected—PR.d e
                                                   a Monitor may be installed in the firebox or in the duct work immediately downstream of the firebox before any substantial heat exchange is encountered.
                                                   b ‘‘Continuous records’’ is defined in § 63.111.
                                                   c NCS = Notification of Compliance Status described in § 63.506(e)(5).
                                                   d PR = Periodic Reports described in § 63.506(e)(6).
                                                   e The periodic reports shall include the duration of periods when monitoring data are not collected as specified in § 63.506(e)(6)(iii)(C).
                                                   f Alternatively, these devices may comply with the organic monitoring device provisions listed at the end of this table.




                                                 ■ 150. Revise table 7 to subpart U to
                                                 read as follows:

                                                  TABLE 7 TO SUBPART U OF PART 63—OPERATING PARAMETERS FOR WHICH MONITORING LEVELS ARE REQUIRED TO BE
                                                    ESTABLISHED FOR CONTINUOUS AND BATCH FRONT-END PROCESS VENTS AND AGGREGATE BATCH VENT STREAMS
                                                           Control/recovery device                                            Parameters to be monitored                                            Established operating parameter(s)

                                                 Thermal incinerator .......................              Firebox temperature ....................................................      Minimum temperature.
                                                 Thermal oxidizers used for vents                         Combustion chamber temperature .............................                  Minimum temperature.
                                                   in chloroprene service.
                                                 Thermal oxidizers used for vents                         Flue gas flow rate .......................................................    Maximum flue gas flow rate.
                                                   in chloroprene service.
                                                 Catalytic incinerator ......................             Temperature upstream and downstream of the cata-                              Minimum upstream temperature; and minimum tem-
                                                                                                             lyst bed.                                                                    perature difference across the catalyst bed.
                                                 Boiler or process heater ...............                 Firebox temperature ....................................................      Minimum temperature.
                                                 Scrubber for halogenated vents ...                       pH of scrubber effluent; and scrubber liquid and gas                          Minimum pH; and minimum liquid/gas ratio.
                                                                                                             flow rates [§ 63.489(b)(4)(ii)].
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                                                 Absorber .......................................         Exit temperature of the absorbing liquid; and exit                            Maximum temperature; and maximum specific grav-
                                                                                                             specific gravity of the absorbing liquid.                                   ity.
                                                 Condenser ....................................           Exit temperature ..........................................................   Maximum temperature.
                                                 Carbon adsorber ...........................              Total regeneration steam flow or nitrogen flow, or                            Maximum flow or pressure; and maximum tempera-
                                                                                                             pressure (gauge or absolute) a during carbon bed                            ture.
                                                                                                             regeneration cycle; and temperature of the carbon
                                                                                                             bed after regeneration (and within 15 minutes of
                                                                                                             completing any cooling cycle(s)).



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                                                  TABLE 7 TO SUBPART U OF PART 63—OPERATING PARAMETERS FOR WHICH MONITORING LEVELS ARE REQUIRED TO BE
                                                     ESTABLISHED FOR CONTINUOUS AND BATCH FRONT-END PROCESS VENTS AND AGGREGATE BATCH VENT
                                                     STREAMS—Continued
                                                           Control/recovery device                                          Parameters to be monitored                                                   Established operating parameter(s)

                                                 Sorbent injection ...........................         Sorbent injection rate ..................................................         Minimum injection rate.
                                                 Sorbent injection ...........................         Carrier gas flow rate ...................................................         Minimum carrier gas flow rate.
                                                 Other devices (or as an alternate                     HAP concentration level or reading at outlet of de-                               Maximum HAP concentration or reading.
                                                   to the above) b.                                      vice.
                                                     a 25 to 50 mm (absolute) is a common pressure level obtained by pressure swing absorbers.
                                                     b Concentration is measured instead of an operating parameter.




                                                 ■ 151. Amend table 9 to subpart U by
                                                 adding an entry for § 63.506(e)(7)(vi) to
                                                 read as follows:

                                                                               TABLE 9 TO SUBPART U OF PART 63—ROUTINE REPORTS REQUIRED BY THIS SUBPART
                                                                                                         Description of
                                                              Reference                                                                                                                            Due date
                                                                                                            report


                                                          *                            *                  *                                            *                   *                   *                    *
                                                 § 63.506(e)(7)(vi) .................. Fenceline Monitoring Re-                             Quarterly, no later than 45 calendar days following the end of each quarterly re-
                                                                                         ports.                                              porting period. See § 63.182(e) of subpart H of this part for the due date for this
                                                                                                                                             report.
                                                   a There may be two versions of this report due at different times; one for equipment subject to § 63.502 and one for other emission points sub-
                                                 ject to this subpart.
                                                   b There will be two versions of this report due at different times; one for equipment subject to § 63.502 and one for other emission points sub-
                                                 ject to this subpart.
                                                   c Note that the EPPU remains subject to this subpart until the notification under § 63.480(f)(3)(i) is made.




                                                 ■ 152. Add table 10 to subpart U to read
                                                 as follows:

                                                                                             TABLE 10 TO SUBPART U OF PART 63—TOXIC EQUIVALENCY FACTORS
                                                                                                                                                                                                                                            Toxic
                                                                                                                     Dioxin and Furan Congener                                                                                        equivalency factor

                                                 1,2,3,7,8-pentachlorodibenzo-p-dioxin .....................................................................................................................................                             1
                                                 1,2,3,4,7,8-hexachlorodibenzo-p-dioxin ...................................................................................................................................                            0.1
                                                 1,2,3,7,8,9-hexachlorodibenzo-p-dioxin ...................................................................................................................................                            0.1
                                                 1,2,3,6,7,8-hexachlorodibenzo-p-dioxin ...................................................................................................................................                            0.1
                                                 1,2,3,4,6,7,8-heptachlorodibenzo-p-dioxin ...............................................................................................................................                           0.01
                                                 octachlorodibenzo-p-dioxin ......................................................................................................................................................                 0.0003
                                                 2,3,7,8-tetrachlorodibenzofuran ...............................................................................................................................................                       0.1
                                                 2,3,4,7,8-pentachlorodibenzofuran ..........................................................................................................................................                          0.3
                                                 1,2,3,7,8-pentachlorodibenzofuran ..........................................................................................................................................                         0.03
                                                 1,2,3,4,7,8-hexachlorodibenzofuran ........................................................................................................................................                           0.1
                                                 1,2,3,6,7,8-hexachlorodibenzofuran ........................................................................................................................................                           0.1
                                                 1,2,3,7,8,9-hexachlorodibenzofuran ........................................................................................................................................                           0.1
                                                 2,3,4,6,7,8-hexachlorodibenzofuran ........................................................................................................................................                           0.1
                                                 1,2,3,4,6,7,8-heptachlorodibenzofuran ....................................................................................................................................                          0.01
                                                 1,2,3,4,7,8,9-heptachlorodibenzofuran ....................................................................................................................................                          0.01
                                                 Octachlorodibenzofuran ...........................................................................................................................................................                0.0003



                                                 ■ 153. Amend § 63.521 by adding                                         and § 63.528(a)(4) upon initial startup or                               ■ a. Revising the definition of ‘‘Affected
                                                 paragraph (c) to read as follows:                                       on July 15, 2027, whichever is later. All                                source’’;
                                                                                                                         affected sources that commenced                                          ■ b. Adding the definition of ‘‘Dioxins
                                                 § 63.521       Compliance schedule.
                                                                                                                         construction or reconstruction after                                     and furans’’,
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                                                 *       *      *     *      *                                           April 25, 2023, must be in compliance
                                                    (c) All affected sources that                                                                                                                 ■ c. Revising the definition of
                                                                                                                         with the requirements in § 63.523(d),                                    ‘‘Equipment leaks’’ and
                                                 commenced construction or                                               § 63.524(a)(3), (b)(3), and (c), § 63.525(a),
                                                 reconstruction on or before April 25,                                   (e), (j), (k), and (l), § 63.527(f) and (g),                             ■ d. Adding definitions of ‘‘Heat
                                                 2023, must be in compliance with the                                                                                                             Exchange System’’, ‘‘In organic
                                                                                                                         and § 63.528(a)(4) upon initial startup,
                                                 requirements in § 63.523(d),                                                                                                                     hazardous air pollutant or in organic
                                                                                                                         or on July 15, 2024, whichever is later.
                                                 § 63.524(a)(3), (b)(3), and (c), § 63.525(a),                                                                                                    HAP service’’ and ‘‘Pressure relief
                                                 (e), (j), (k), and (l), § 63.527(f) and (g),                            ■ 154. Amend § 63.522 by:                                                device or valve’’.


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                                                   The additions and revisions read as                   gauge or by a vacuum are not pressure                 the owner or operator shall instead
                                                 follows:                                                relief devices.                                       report the information specified in
                                                                                                         *      *    *    *    *                               § 63.104(f)(2) in the Periodic Reports
                                                 § 63.522   Definitions.                                                                                       required by § 63.528(a), for the purposes
                                                                                                         ■ 155. Amend § 63.523 by revising
                                                 *      *    *     *     *                                                                                     of this subpart.
                                                    Affected source means all HAP                        paragraph (a), and adding paragraphs (d)
                                                                                                                                                                  (6) The compliance date for heat
                                                 emission points within a facility that are              and (e) as follows:
                                                                                                                                                               exchange systems subject to the
                                                 related to the production of BLR or                     § 63.523 Standards for basic liquid resins            provisions of this section is specified in
                                                 WSR, including process vents, storage                   manufacturers.                                        § 63.521(c).
                                                 tanks, wastewater systems, equipment                       (a) Owners or operators of existing                   (7) Substitute ‘‘Beginning no later
                                                 leaks, and heat exchange systems.                       affected BLR sources shall operate                    than the compliance dates specified in
                                                 *      *    *     *     *                               sources such that the rate of emissions               § 63.521(c),’’ for each occurrence of
                                                    Dioxins and furans means total tetra-                of hazardous air pollutants from all                  ‘‘Beginning no later than the compliance
                                                 through octachlorinated dibenzo-p-                      process vents, storage tanks, and                     dates specified in § 63.100(k)(10),’’.
                                                 dioxins and dibenzofurans.                              wastewater systems combined shall not                    (8) § 63.104(k) does not apply. Instead
                                                                                                         exceed 130 pounds per 1 million                       for each existing, new, or reconstructed
                                                 *      *    *     *     *                                                                                     affected BLR source, beginning no later
                                                    Equipment leaks means, before July                   pounds of BLR produced, and comply
                                                                                                         with the dioxin and furans emissions                  than the compliance dates specified in
                                                 15, 2027, emissions of hazardous air                                                                          § 63.521(c), owners and operators must
                                                 pollutants from a connector, pump,                      limit for process vents specified in
                                                                                                                                                               not inject water into or dispose of water
                                                 compressor, agitator, pressure relief                   paragraph (e) of this section.
                                                                                                                                                               through any heat exchange system in an
                                                 device, sampling connection system,                     *      *      *    *      *                           affected source if the water is
                                                 open-ended valve or line, or                               (d) For each existing, new, or                     considered wastewater as defined in
                                                 instrumentation system in organic                       reconstructed affected BLR source,                    § 63.522.
                                                 hazardous air pollutant service. On and                 beginning no later than the compliance                   (e) For each existing, new, or
                                                 after July 15, 2027, equipment leaks                    dates specified in § 63.521(c), the owner             reconstructed affected BLR source,
                                                 means emissions of hazardous air                        or operator must comply with the                      beginning no later than the compliance
                                                 pollutants from a connector, pump,                      requirements of § 63.104 for heat                     dates specified in § 63.521(c), the owner
                                                 compressor, agitator, pressure relief                   exchange systems, with the exceptions                 or operator of a process vent that
                                                 device, sampling connection system,                     noted in paragraphs (d)(1) through (8) of             contains chlorine, hydrogen chloride, or
                                                 open-ended valve or line, valve, or                     this section.                                         any other chlorinated compound must
                                                 instrumentation system in organic                          (1) When the term ‘‘chemical                       reduce emissions of dioxins and furans
                                                 hazardous air pollutant service.                        manufacturing process unit’’ is used in               (toxic equivalency basis) to a
                                                    Heat Exchange System means any                       § 63.104, the term ‘‘existing, new, or                concentration of 0.054 nanograms per
                                                 cooling tower system or once-through                    reconstructed affected BLR source’’                   standard cubic meter on a dry basis
                                                 cooling water system (e.g., river or pond               shall apply for the purposes of this                  corrected to 3 percent oxygen.
                                                 water). A heat exchange system can                      subpart.                                              ■ 156. Amend § 63.524 by revising
                                                 include more than one heat exchanger                       (2) When the phrase ‘‘a chemical                   paragraph (a) introductory text, adding
                                                 and can include an entire recirculating                 manufacturing process unit meeting the                paragraph (a)(3), revising paragraph (b)
                                                 or once-through cooling system.                         conditions of § 63.100(b)(1) through                  introductory text, and adding
                                                    In organic hazardous air pollutant or                (b)(3), except for chemical                           paragraphs (b)(3) and (c) as follows:
                                                 in organic HAP service means that a                     manufacturing process units meeting
                                                 piece of equipment either contains or                   the condition specified in § 63.100(c)’’ is           § 63.524 Standards for wet strength resins
                                                 contacts a fluid (liquid or gas) that is at             used in the first sentence of § 63.104(a),            manufacturers.
                                                 least 5 percent by weight of total organic              the term ‘‘an existing, new, or                          (a) In addition to the requirements
                                                 HAP’s as determined according to the                    reconstructed affected BLR source’’                   specified in paragraph (c) of this
                                                 provisions of § 63.180(d). The                          shall apply for the purposes of this                  section, and except as specified in
                                                 provisions of § 63.180(d) also specify                  subpart. When the phrase ‘‘a chemical                 paragraph (a)(3) of this section, owners
                                                 how to determine that a piece of                        manufacturing process unit meeting the                or operators of existing affected WSR
                                                 equipment is not in organic HAP                         conditions of § 63.100(b)(1) through                  sources shall either:
                                                 service.                                                (b)(3),’’ is used in the last sentence of             *      *     *     *    *
                                                    Pressure relief device or valve means                § 63.104(a), the term ‘‘an existing, new,                (3) For each existing affected WSR
                                                 a valve, rupture disk, or similar device                or reconstructed affected BLR source’’                source, beginning no later than the
                                                 used only to release an unplanned,                      shall apply for purposes of this subpart.             compliance dates specified in
                                                 nonroutine discharge of gas from                           (3) When § 63.104 refers to table 4 to             § 63.521(c), the owner or operator shall
                                                 process equipment in order to avoid                     subpart F of this part or table 9 of                  comply with both paragraphs (a)(1) and
                                                 safety hazards or equipment damage. A                   subpart G of this part, the owner or                  (a)(2) of this section and must reduce
                                                 pressure relief device discharge can                    operator is required to consider all                  emissions of dioxins and furans (toxic
                                                 result from an operator error, a                        hazardous air pollutants.                             equivalency basis) from each process
                                                 malfunction such as a power failure or                     (4) When § 63.104(c)(3) specifies the              vent that contains chlorine, hydrogen
                                                 equipment failure, or other unexpected                  monitoring plan retention requirements,               chloride, or any other chlorinated
                                                 cause. Such devices include
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                                                                                                         and when § 6 3.104(f)(1) refers to the                compound to a concentration of 0.054
                                                 conventional, spring-actuated relief                    record retention requirements in                      nanograms per standard cubic meter on
                                                 valves, balanced bellows relief valves,                 § 63.103(c)(1) of subpart F of this part,             a dry basis corrected to 3 percent
                                                 pilot-operated relief valves, rupture                   the requirements in § 63.527(d) shall                 oxygen.
                                                 disks, and breaking, buckling, or                       apply, for the purposes of this subpart.                 (b) In addition to the requirements
                                                 shearing pin devices. Devices that are                     (5) When § 63.104(f)(2) requires                   specified in paragraph (c) of this
                                                 actuated either by a pressure of less than              information to be reported in the                     section, and except as specified in
                                                 or equal to 2.5 pounds per square inch                  Periodic Reports required by § 63.152(c),             paragraph (b)(3) of this section, owners


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                                                 or operators of new or reconstructed                    required by § 63.528(a), for the purposes             simultaneously with the flow rate
                                                 affected WSR sources shall either:                      of this subpart.                                      measurements (every 15 minutes). If an
                                                 *      *     *    *      *                                 (6) The compliance date for heat                   integrated sample is collected for
                                                    (3) For each new or reconstructed                    exchange systems subject to the                       laboratory analysis, the sampling rate
                                                 affected WSR source, beginning no later                 provisions of this section is specified in            shall be adjusted proportionally to
                                                 than the compliance dates specified in                  § 63.521(c).                                          reflect variations in flow rate. If the flow
                                                 § 63.521(c), the owner or operator shall                   (7) Substitute ‘‘Beginning no later                of gaseous emissions is intermittent,
                                                 comply with both paragraphs (b)(1) and                  than the compliance dates specified in                determination of emissions from process
                                                 (2) of this section and must reduce                     § 63.521(c),’’ for each occurrence of                 vents shall be performed according to
                                                 emissions of dioxins and furans (toxic                  ‘‘Beginning no later than the compliance              the methods specified in paragraph (e)
                                                 equivalency basis) from each process                    dates specified in § 63.100(k)(10),                   of this section. For process vents with
                                                 vent that contains chlorine, hydrogen                      (8) § 63.104(k) of subpart F of this part          continuous gas streams, the emission
                                                 chloride, or any other chlorinated                      does not apply. Instead for each                      rate used to determine compliance shall
                                                 compound to a concentration of 0.054                    existing, new, or reconstructed affected              be the average emission rate of the 3 test
                                                 nanograms per standard cubic meter on                   WSR source, beginning no later than the               runs. For process vents with
                                                 a dry basis corrected to 3 percent                      compliance dates specified in                         intermittent emission streams, the
                                                 oxygen.                                                 § 63.521(c), owners and operators must                calculated emission rate or the emission
                                                    (c) For each existing, new, or                       not inject water into (or dispose of water            rate from a single test run may be used
                                                 reconstructed affected WSR source,                      through) any heat exchange system in                  to determine compliance.
                                                                                                         an affected source if the water is                       (i) Method 1 or 1A of appendix A–1
                                                 beginning no later than the compliance
                                                                                                         considered wastewater as defined in                   to 40 CFR part 60 as appropriate, shall
                                                 dates specified in § 63.521(c), the owner
                                                                                                         § 63.522.                                             be used for selection of the sampling
                                                 or operator shall comply with the
                                                                                                         ■ 157. Amend § 63.525 by:                             sites if the flow measuring device is a
                                                 requirements of § 63.104 for heat
                                                                                                         ■ a. Revising paragraphs (a) and (b)(1);              pitot tube. A traverse shall be conducted
                                                 exchange systems, with the exceptions
                                                                                                         ■ b. Adding paragraph (d)(3);                         before and after each 1-hour sampling
                                                 noted in paragraphs (d)(1) through (8) of
                                                                                                         ■ c. Revising paragraphs (e)                          period. No traverse is necessary when
                                                 this section.
                                                                                                         introductory text and (e)(2)(iii);                    using Method 2A or 2D of appendix A–
                                                    (1) When the term ‘‘chemical
                                                                                                         ■ d. Adding paragraph (e)(3);                         2 to 40 CFR part 60 to determine flow
                                                 manufacturing process unit’’ is used in                                                                       rate.
                                                                                                         ■ e. Revising paragraphs (f), (g), (h)
                                                 § 63.104, the term ‘‘existing, new, or                                                                           (ii) Method 2, 2A, 2C or 2D of
                                                                                                         introductory text, and (i); and
                                                 reconstructed affected WSR source’’                     ■ f. Adding paragraphs (j) through (m)                appendix A–1 to part 60 of this chapter,
                                                 shall apply for the purposes of this                    as follows:                                           as appropriate, shall be used for the
                                                 subpart.                                                                                                      determination of gas stream volumetric
                                                    (2) When the phrase ‘‘a chemical                     § 63.525   Compliance and performance                 flow rate. If Method 2 or 2C is used, the
                                                 manufacturing process unit meeting the                  testing.
                                                                                                                                                               velocity measurements shall be made at
                                                 conditions of § 63.100(b)(1) through                       (a) The owner or operator of any                   a single point, in conjunction with the
                                                 (b)(3) of this subpart, except for                      existing affected BLR source shall, in                traverse, to establish an average velocity
                                                 chemical manufacturing process units                    order to demonstrate compliance with                  across the stack.
                                                 meeting the condition specified in                      the applicable emission limits,                          (iii) Method 25A and/or Methods 18
                                                 § 63.100(c) of this subpart’’ is used in                determine the emission rate from all                  and 25A of appendices A–6 and A–7 to
                                                 the first sentence of § 63.104(a), the term             process vent, storage tank, and                       40 CFR part 60, as appropriate, must be
                                                 ‘‘an existing, new, or reconstructed                    wastewater system emission points                     used to determine the concentration of
                                                 affected WSR source’’ shall apply for the               using the methods described below.                    HAP in the streams. ASTM D6420–18
                                                 purposes of this subpart. When the                      Except as specified in paragraph (l) of               (incorporated by reference, see § 63.14)
                                                 phrase ‘‘a chemical manufacturing                       this section, compliance tests shall be               may also be used in lieu of Method 18,
                                                 process unit meeting the conditions of                  performed under normal operating                      if the target compounds are all known
                                                 § 63.100(b)(1) through (b)(3),’’ is used in             conditions. Beginning no later than the               and are all listed in Section 1.1 of
                                                 the last sentence of § 63.104(a), the term              compliance dates specified in                         ASTM D6420–18 as measurable; ASTM
                                                 ‘‘an existing, new, or reconstructed                    § 63.521(c), conduct subsequent                       D6420–18 must not be used for methane
                                                 affected WSR source’’ shall apply for                   performance tests no later than 60                    and ethane; and ASTM D6420–18 may
                                                 purposes of this subpart.                               calendar months after the previous                    not be used as a total VOC method.
                                                    (3) When § 63.104 refers to table 4 of               performance test.                                        (iv) Initial determination of de
                                                 subpart F of this part or Table 9 of                       (1) Except as specified in paragraph               minimis status for process vents may be
                                                 subpart G of this part, the owner or                    (m) of this section, the owner or                     made by engineering assessment, as
                                                 operator is required to consider all                    operator shall use the EPA test methods               specified in § 63.526(a)(1)(iv).
                                                 hazardous air pollutants.                               from 40 CFR part 60, listed in                           (2) Emissions from wastewater
                                                    (4) When § 63.104(c)(3) specifies the                paragraphs (a)(1) (i) through (iii) of this           treatment systems shall be determined
                                                 monitoring plan retention requirements,                 section, to determine emissions from                  in accordance with the methods
                                                 and when § 63.104(f)(1) refers to the                   process vents. Testing of process vents               described in 40 CFR part 63, appendix
                                                 record retention requirements in                        on equipment operating as part of a                   C.
                                                 § 63.103(c)(1), the requirements in                     continuous process will consist of                       (3) Emissions from storage tanks shall
                                                 § 63.527(d) shall apply, for the purposes               conducting three 1-hour runs. Gas                     be calculated in accordance with the
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                                                 of this subpart.                                        stream volumetric flow rates shall be                 methods specified in § 63.150(g)(3).
                                                    (5) When § 63.104(f)(2) requires                     measured every 15 minutes during each                    (b) * * *
                                                 information to be reported in the                       1-hour run. Organic HAP or TOC                           (1) The production-based emission
                                                 Periodic Reports required by § 63.152(c),               concentration shall be determined from                rate for process vents shall be calculated
                                                 the owner or operator shall instead                     samples collected in an integrated                    by dividing the average emission rate by
                                                 report the information specified in                     sample over the duration of each 1-hour               the average production rate.
                                                 § 63.104(f)(2) in the Periodic Reports                  test run, or from grab samples collected              *       *     *     *   *


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                                                    (d) * * *                                            the emission limit for process vents,                 the test and include in such record an
                                                    (3) To demonstrate compliance with                   storage tanks, and wastewater systems                 explanation to support that such
                                                 the process vent dioxins and furans                     shall calculate the average amount of                 conditions represent normal operation.
                                                 emission limit, the owner or operator                   WSR product manufactured per batch,                   Upon request, owners and operators
                                                 must use the procedures of paragraph                    using data from performance tests or                  must make available to the
                                                 (m) of this section.                                    from emission calculations, as                        Administrator such records as may be
                                                    (e) The owner or operator of any                     applicable, to determine the average                  necessary to determine the conditions of
                                                 existing, new, or reconstructed WSR                     WSR production per-batch production                   performance tests.
                                                 source that is subject to the emission                  data for an annual period representing                   (m) Except as specified in paragraph
                                                 limit for process vents, storage tanks,                 normal operating conditions.                          (m)(7) of this section, to demonstrate
                                                 and wastewater systems shall                            *       *    *     *    *                             compliance with the process vent
                                                 demonstrate compliance by determining                      (i) The owner or operator of any                   dioxins and furans emission limit, the
                                                 emissions for all process vent, storage                 affected BLR source or any affected                   owner or operator must conduct a
                                                 tank, and wastewater systems emission                   WSR source that is subject to the                     performance test using the procedures
                                                 points using the methods described in                   requirements of subpart H of this part                in paragraphs (m)(1) through (m)(6) of
                                                 this section. The owner or operator of                  must demonstrate the ability of its                   this section. Conduct subsequent
                                                 any existing, new, or reconstructed WSR                 specific program to meet the compliance               performance tests no later than 60
                                                 source that is subject to the process vent              requirements therein to achieve initial               calendar months after the previous
                                                 dioxins and furans emission limit must                  compliance.                                           performance test.
                                                 demonstrate compliance by following                        (j) For each existing, new, or                        (1) The performance test must consist
                                                 the procedures in paragraph (e)(3) of                   reconstructed affected BLR and WSR                    of three test runs. Collect at least 3 dry
                                                 this section. Beginning no later than the               source, beginning no later than the                   standard cubic meters of gas per test
                                                 compliance dates specified in                           compliance dates specified in                         run.
                                                 § 63.521(c), conduct subsequent                                                                                  (2) Use Method 1 or 1A of 40 CFR part
                                                                                                         § 63.521(c), owners and operators of
                                                 performance tests no later than 60                                                                            60, appendix A–1 to select the sampling
                                                                                                         sources as defined in § 63.520 shall
                                                 calendar months after the previous                                                                            sites at the sampling location. The
                                                                                                         comply with the requirements of this
                                                 performance test.                                                                                             sampling location must be at the outlet
                                                                                                         subpart at all times, except during
                                                 *       *    *    *     *                                                                                     of the final control device.
                                                                                                         periods of nonoperation of the source                    (3) Determine the gas volumetric
                                                    (2) * * *                                            (or specific portion thereof) resulting in            flowrate using Method 2, 2A, 2C, or 2D
                                                 *       *    *    *     *                               cessation of the emissions to which this              of 40 CFR part 60, appendix A–2.
                                                    (iii) Method 25A and/or Methods 18                   subpart applies.                                         (4) Use Method 4 of 40 CFR part 60,
                                                 and 25A of appendices A–6 and A–7 to                       (k) For each existing, new, or                     appendix A–3 to convert the volumetric
                                                 40 CFR part 60, as appropriate, must be                 reconstructed affected BLR and WSR                    flowrate to a dry basis.
                                                 used to determine the concentration of                  source, beginning no later than the                      (5) Measure the concentration of each
                                                 HAP in the streams. ASTM D6420–18                       compliance dates specified in                         tetra- through octa-chlorinated dioxin
                                                 (incorporated by reference, see § 63.14)                § 63.521(c), at all times, owners and                 and furan congener emitted using
                                                 may also be used in lieu of Method 18,                  operators must operate and maintain                   Method 23 at 40 CFR part 60, appendix
                                                 if the target compounds are all known                   any source, including associated air                  A–7.
                                                 and are all listed in Section 1.1 of                    pollution control equipment and                          (i) For each dioxin and furan
                                                 ASTM D6420–18 as measurable; ASTM                       monitoring equipment, in a manner                     congener, multiply the congener
                                                 D6420–18 must not be used for methane                   consistent with safety and good air                   concentration by its corresponding toxic
                                                 and ethane; and ASTM D6420–18 may                       pollution control practices for                       equivalency factor specified in table 2 to
                                                 not be used as a total VOC method.                      minimizing emissions. The general duty                this subpart. For determination of toxic
                                                 *       *    *    *     *                               to minimize emissions does not require                equivalency, zero may be used for
                                                    (3) To demonstrate compliance with                   owners and operators to make any                      congeners with a concentration less
                                                 the process vent dioxins and furans                     further efforts to reduce emissions if                than the estimated detection limit
                                                 emission limit, the owner or operator                   levels required by the applicable                     (EDL). For congeners with estimated
                                                 must use the procedures of paragraph                    standard have been achieved.                          maximum pollutant concentration
                                                 (m) of this section. Testing shall be                   Determination of whether a source is                  (EMPC) results, if the value is less than
                                                 performed for each unit operation.                      operating in compliance with operation                the EDL, zero may be used. Otherwise,
                                                    (f) The owner or operator of any                     and maintenance requirements will be                  the EMPC value must be used in the
                                                 affected WSR source that is subject to                  based on information available to the                 calculation of toxic equivalency.
                                                 the emissions limit for process vents,                  Administrator which may include, but                     (ii) Sum the products calculated in
                                                 storage tanks, and wastewater systems                   is not limited to, monitoring results,                accordance with paragraph (m)(5)(i) of
                                                 shall calculate emissions from storage                  review of operation and maintenance                   this section to obtain the total
                                                 tanks in accordance with the methods                    procedures, review of operation and                   concentration of dioxins and furans
                                                 specified in § 63.150(g)(3).                            maintenance records, and inspection of                emitted in terms of toxic equivalency.
                                                    (g) The owner or operator of any                     the source.                                              (6) The concentration of dioxins and
                                                 affected WSR source that is subject to                     (l) For each existing, new, or                     furans shall be corrected to 3 percent
                                                 the emission limit for process vents,                   reconstructed affected BLR and WSR                    oxygen. Use Method 3A of 40 CFR part
                                                                                                         source, beginning no later than the                   60, appendix A to determine the oxygen
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                                                 storage tanks, and wastewater systems
                                                 shall calculate emissions from                          compliance dates specified in                         concentration (%O2d). Method 3A of 40
                                                 wastewater treatment systems (if                        § 63.521(c), the owner or operator may                CFR part 60, appendix A must be run
                                                 applicable) in accordance with the                      not conduct performance tests during                  concurrently with Method 23 of 40 CFR
                                                 methods described in 40 CFR part 63,                    periods of malfunction. Owners and                    part 60, appendix A–7. The
                                                 appendix C.                                             operators must record the process                     concentration corrected to 3 percent
                                                    (h) The owner or operator of any                     information that is necessary to                      oxygen (Cc) shall be computed using the
                                                 affected WSR source that is subject to                  document operating conditions during                  following equation:


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                                                 Where:                                                  shall be established for processes and                established during the most recent
                                                 Cc = Concentration of dioxins and furans                control devices that will indicate the                compliance demonstration.
                                                     corrected to 3 percent oxygen, dry basis,           source is in compliance. If the operating             *       *      *     *    *
                                                     nanograms per standard cubic meter.                 parameter to be established is a
                                                 Cm = Concentration of dioxins and furans,
                                                                                                                                                                  (7) For affected sources using sorbent
                                                                                                         maximum, the value of the parameter                   injection, the owner or operator shall
                                                     dry basis, nanograms per standard cubic             shall be the average of the maximum
                                                     meter.                                                                                                    establish both a minimum sorbent
                                                                                                         values from each of the three test runs.              injection rate and minimum carrier gas
                                                 %O2d = Concentration of oxygen, dry basis,
                                                     percent by volume.                                  If the operating parameter to be                      flow rate flow rate as site-specific
                                                                                                         established is a minimum, the value of                operating parameters which must be
                                                   (7) An owner or operator is not                       the parameter shall be the average of the
                                                 required to conduct a performance test                                                                        measured and recorded every 15
                                                                                                         minimum values from each of the three                 minutes. The affected source will be
                                                 when either a boiler or process heater                  test runs. Parameter values for process
                                                 burning hazardous waste, or hazardous                                                                         considered to be out of compliance if
                                                                                                         vents with intermittent emission                      the sorbent injection rate or the carrier
                                                 waste incinerator, is used for which the                streams shall be determined as specified
                                                 owner or operator:                                                                                            gas flow rate flow rate, averaged over
                                                                                                         in paragraph (b)(1) of this section. The              any continuous 24-hour period, is below
                                                   (A) Has been issued a final permit                    owner or operator shall operate
                                                 under part 270 of this chapter and                                                                            the minimum values established during
                                                                                                         processes and control devices within                  the most recent compliance
                                                 complies with the requirements of 40                    these parameters to ensure continued
                                                 CFR part 266, subpart H;                                                                                      demonstration.
                                                                                                         compliance with the standard. A de
                                                   (B) Has certified compliance with the                                                                          (b) The owner or operator of any
                                                                                                         minimis level is specified in paragraph
                                                 interim status requirements of part 266,                                                                      existing, new, or reconstructed affected
                                                                                                         (a)(1) of this section. Monitoring
                                                 subpart H, of this chapter;                                                                                   WSR source that is subject to the
                                                                                                         parameters are specified for various
                                                   (C) Meets the requirement specified in                                                                      emission limit for process vents, storage
                                                                                                         process vent control scenarios in
                                                 paragraph (g)(7)(i)(E) of this section, and                                                                   tanks, and wastewater systems and/or is
                                                                                                         paragraphs (a) (2) through (7) of this
                                                 has submitted a Notification of                                                                               subject to the dioxins and furans
                                                                                                         section.
                                                 Compliance under § 63.1207(j) and                                                                             emission limit for process vents shall
                                                 complies with the requirements of                       *      *     *     *     *                            provide evidence of continued
                                                                                                            (2) For affected sources using water               compliance with the standard. As part
                                                 subpart EEE of this part; or
                                                   (D) Meets the requirement specified in                scrubbers, the owner or operator shall                of each compliance demonstrations for
                                                 paragraph (g)(7)(i)(E) of this section,                 establish a minimum scrubber water                    batch process vents, test data or
                                                 complies with subpart EEE of this part,                 flow rate as a site-specific operating                compliance calculations shall be used to
                                                 and will submit a Notification of                       parameter which must be measured and                  establish a maximum or minimum level
                                                 Compliance under § 63.1207(j) by the                    recorded every 15 minutes. The affected               of a relevant operating parameter for
                                                 date the owner or operator would have                   source will be considered to be out of                each unit operation. The parameter
                                                 been required to submit the initial                     compliance if the scrubber water flow                 value for each unit operation shall
                                                 performance test report for this subpart.               rate, averaged over any continuous 24-                represent the worst case value of the
                                                   (E) The owner and operator may not                    hour period, is below the minimum                     operating parameter from all episodes in
                                                 waive performance testing pursuant to                   value established during the most recent              the unit operation. The owner or
                                                 § 63.1207(d)(4) and each performance                    compliance demonstration.                             operator shall operate processes and
                                                 test required by § 63.1207(d) must show                    (3) For affected sources using
                                                                                                                                                               control devices within these parameters
                                                 compliance with the dioxins and furans                  condensers, the owner or operator shall
                                                                                                                                                               to ensure continued compliance with
                                                 emission limit specified in § 63.523(e)                 establish the maximum condenser outlet
                                                                                                                                                               the standard.
                                                 and § 63.524(a)(3) and (b)(3), as                       gas temperature as a site-specific
                                                                                                         operating parameter which must be                        (1) * * *
                                                 applicable.                                                                                                      (i) If testing is used to demonstrate
                                                                                                         measured and recorded every 15
                                                 ■ 158. Amend § 63.526 by:                                                                                     compliance, the appropriate parameter
                                                                                                         minutes. The affected source will be
                                                 ■ a. Revising paragraphs (a)                                                                                  shall be monitored during all batch
                                                                                                         considered to be out of compliance if
                                                 introductory text, (a)(2), (3) and (4);                                                                       emission episodes in the unit operation.
                                                 ■ b. Adding paragraph (a)(7);
                                                                                                         the condenser outlet gas temperature,
                                                                                                         averaged over any continuous 24-hour                  *       *      *     *    *
                                                 ■ c. Revising paragraphs (b)
                                                                                                         period, is greater than the maximum                      (2) Affected sources with condensers
                                                 introductory text, (b)(1)(i), (b)(2), (3),
                                                                                                         value established during the most recent              on process vents shall establish the
                                                 and (4);
                                                 ■ d. Adding paragraph (b)(7); and                       compliance demonstration.                             maximum condenser outlet gas
                                                 ■ e, Revising paragraphs (c) and (d).                      (4) For affected sources using carbon              temperature as a site-specific operating
                                                   The additions and revisions read as                   adsorbers or having uncontrolled                      parameter, which must be measured
                                                 follows:                                                process vents, the owner or operator                  every 15 minutes, or at least once for
                                                                                                         shall establish a maximum outlet HAP                  batch emission episodes less than 15
                                                 § 63.526   Monitoring requirements.                     concentration as the site-specific                    minutes in duration. The affected source
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                                                   (a) The owner or operator of any                      operating parameter which must be                     will be considered to be out of
                                                 existing, new, or reconstructed affected                measured and recorded every 15                        compliance if the maximum condenser
                                                 BLR source shall provide evidence of                    minutes. The affected source will be                  outlet gas temperature, averaged over
                                                 continued compliance with the                           considered to be out of compliance if                 the duration of the batch emission
                                                 standard. During each compliance                        the outlet HAP concentration, averaged                episode or unit operation, is greater than
                                                 demonstration, maximum or minimum                       over any continuous 24-hour period, is                the value established during the most
                                                                                                                                                                                                            ER16MY24.067</GPH>




                                                 operating parameters, as appropriate,                   greater than the maximum value                        recent compliance demonstration.


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                                                    (3) For affected sources using water                 § 63.527   Recordkeeping requirements.                   (2) An estimate of the mass quantity
                                                 scrubbers, the owner or operator shall                  *      *     *    *     *                             in pounds of each organic HAP released.
                                                 establish a minimum scrubber water                         (b) The owner or operator of any                      (3) Records of any data, assumptions,
                                                 flow rate as a site-specific operating                  affected WSR source subject to the                    and calculations used to estimate of the
                                                 parameter which must be measured and                    emission limit for process vents, storage             mass quantity of each organic HAP
                                                 recorded every 15 minutes, or at least                  tanks, and wastewater systems and/or                  released during the event.
                                                 once for batch emission episodes less                   subject to the dioxins and furans                        (g) For each existing, new, or
                                                 than 15 minutes in duration. The                        emission limit for process vents shall                reconstructed affected BLR and WSR
                                                 affected source will be considered to be                keep records of values of equipment                   source, beginning no later than the
                                                 out of compliance if the scrubber water                 operating parameters specified to be                  compliance dates specified in
                                                 flow rate, averaged over the duration of                monitored under § 63.526(b) or                        § 63.521(c), the owner or operator of any
                                                 the batch emission episode or unit                      specified by the Administrator. The                   affected BLR source, as well the owner
                                                 operation, is below the minimum flow                    records that shall be kept are the average            or operator of any affected WSR source
                                                 rate established during the most recent                 values of operating parameters,                       subject to the emission limit for process
                                                 compliance demonstration.                               determined for the duration of each unit              vents, storage tanks, and wastewater
                                                                                                         operation. Records shall be kept in                   systems, must keep the records
                                                    (4) For affected sources using carbon
                                                                                                         accordance with the requirements of                   specified in paragraphs (g)(1) through
                                                 adsorbers or having uncontrolled
                                                                                                         applicable paragraphs of § 63.10, as                  (3) of this section for each maintenance
                                                 process vents, the owner or operator
                                                                                                         specified in the General Provisions                   vent release. A process vent is
                                                 shall establish a maximum outlet HAP
                                                                                                         applicability table in this subpart. The              considered a maintenance vent if the
                                                 concentration as the site-specific
                                                                                                         owner or operator shall keep records up-              process vent is only used as a result of
                                                 operating parameter which must be
                                                                                                         to-date and readily accessible. In the                startup, shutdown, maintenance, or
                                                 measured and recorded every 15
                                                                                                         event of an excursion, the owner or                   inspection of equipment where
                                                 minutes, or at least once for batch
                                                                                                         operator must keep records of each 15-                equipment is emptied, depressurized,
                                                 emission episodes of duration shorter
                                                                                                         minute reading for the entire unit                    degassed, or placed into service.
                                                 than 15 minutes. The affected source                                                                             (1) Identification of the maintenance
                                                 will be considered to be out of                         operation in which the excursion
                                                                                                                                                               vent and the equipment served by the
                                                 compliance if the outlet HAP                            occurred.
                                                                                                            (c) The owner or operator of any                   maintenance vent.
                                                 concentration, averaged over the                                                                                 (2) The date and time the
                                                 duration of the batch emission episode                  affected BLR source, as well the owner
                                                                                                                                                               maintenance vent was opened to the
                                                 or unit operation, is greater than the                  or operator of any affected WSR source
                                                                                                                                                               atmosphere.
                                                 value established during the most recent                that is subject to the emission limit for                (3) An estimate of the mass in pounds
                                                 compliance demonstration.                               process vents, storage tanks, and                     of organic HAP released during the
                                                 *      *     *     *    *                               wastewater systems, who demonstrates                  entire atmospheric venting event.
                                                                                                         that certain process vents are below the
                                                    (7) For affected sources using sorbent                                                                     ■ 160. Revise and republish § 63.528 to
                                                                                                         de minimis cutoff for continuous
                                                 injection, the owner or operator shall                                                                        read as follows:
                                                                                                         monitoring specified in § 63.526(a)(1)(i),
                                                 establish both a minimum sorbent
                                                                                                         shall maintain up-to-date, readily                    § 63.528   Reporting requirements.
                                                 injection rate and minimum carrier gas
                                                                                                         accessible records of the following                      (a) The owner or operator of any
                                                 flow rate flow rate as site-specific
                                                                                                         information to document that a HAP                    affected BLR source, as well as the
                                                 operating parameters which must be
                                                                                                         emission rate of less than one pound per              owner or operator of any affected WSR
                                                 measured and recorded every 15
                                                                                                         year is maintained:                                   source that is subject to the emission
                                                 minutes. The affected source will be
                                                 considered to be out of compliance if                   *      *     *    *     *                             limit for process vents, storage tanks,
                                                 the sorbent injection rate or the carrier                  (d) The owner or operator of any                   and wastewater systems and/or is
                                                 gas flow rate flow rate, averaged over                  affected BLR source, as well as the                   subject to the dioxins and furans
                                                 any continuous 24-hour period, is below                 owner or operator of any affected WSR                 emission limit for process vents, shall
                                                 the minimum values established during                   source subject to the leak detection and              comply with the reporting requirements
                                                 the most recent compliance                              repair program specified in subpart H of              of applicable paragraphs of § 63.10, as
                                                 demonstration.                                          this part, shall implement the                        specified in the General Provisions
                                                                                                         recordkeeping requirements outlined                   applicability table in this subpart. The
                                                    (c) Periods of time when monitoring                  therein. All records shall be retained for            owner or operator shall also submit to
                                                 measurements exceed the parameter                       a period of 5 years, in accordance with               the Administrator, as part of the
                                                 values do not constitute a violation if                 the requirements of 40 CFR 63.10(b)(1).               quarterly excess emissions and
                                                 they occur during a startup, shutdown,
                                                                                                         *      *     *    *     *                             continuous monitoring system
                                                 or malfunction, and the facility is
                                                                                                            (f) For each existing, new, or                     performance report and summary report
                                                 operated in accordance with § 63.6(e)(1).
                                                                                                         reconstructed affected BLR and WSR                    required by § 63.10(e)(3), the following
                                                 For each existing, new, or reconstructed
                                                                                                         source, beginning no later than the                   recorded information. On and after July
                                                 affected BLR and WSR source, on and
                                                                                                         compliance dates specified in                         15, 2027 or once the reporting template
                                                 after July 15, 2027, this paragraph no
                                                                                                         § 63.521(c), the owner or operator of any             for this subpart has been available on
                                                 longer applies.
                                                                                                         affected BLR source, as well the owner                the CEDRI website for 1 year, whichever
                                                    (d) The owner or operator of any                     or operator of any affected WSR source                date is later, owners and operators must
                                                 affected WSR source that is subject to                                                                        submit all subsequent reports following
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                                                                                                         subject to the emission limit for process
                                                 the requirements of subpart H of this                   vents, storage tanks, and wastewater                  the procedure specified in § 63.9(k),
                                                 part shall meet the monitoring                          systems, must keep the records                        except any medium submitted through
                                                 requirements of subpart H of this part.                 specified in paragraphs (f)(1) through (3)            mail must be sent to the attention of the
                                                 ■ 159. Amend § 63.527 by revising                       of this section each pressure relief                  Polymers and Resins Sector Lead.
                                                 paragraphs (b), (c) introductory text and               device, as defined in § 63.522.                       Owners and operators must use the
                                                 (d), and adding paragraphs (f) and (g) as                  (1) The start and end time and date of             appropriate electronic report template
                                                 follows:                                                each pressure release to the atmosphere.              on the CEDRI website (https://


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                                                 www.epa.gov/electronic-reporting-air-                   used in paragraphs (a)(2)(i) and (ii) of              limit for process vents, storage tanks,
                                                 emissions/cedri) for this subpart. The                  this section, if measured values are                  and wastewater systems shall include
                                                 date report templates become available                  unavailable for any of the 15-minute                  records of all monitoring parameters in
                                                 will be listed on the CEDRI website.                    periods within the hour.                              the Notification of Compliance Status
                                                 Unless the Administrator or delegated                      (3) Whenever a process change, as                  and summary reports required by
                                                 state agency or other authority has                     defined in § 63.115(e), is made that                  subpart A of this part.
                                                 approved a different schedule for                       causes the emission rate from a de                       (d) Beginning no later than July 15,
                                                 submission of reports under § 63.9(i)                   minimis emission point to become a                    2024, owners and operators must submit
                                                 and § 63.10(a), the report must be                      process vent with an emission rate of                 performance test reports in accordance
                                                 submitted by the deadline specified in                  one pound per year or greater, the                    with this paragraph. Unless otherwise
                                                 this subpart, regardless of the method in               owner or operator shall submit a report               specified in this subpart, within 60 days
                                                 which the report is submitted. If a report              within 180 calendar days after the                    after the date of completing each
                                                 is submitted via CEDRI, the certifier’s                 process change. The report may be                     performance test required by this
                                                 electronic signature during the                         submitted as part of the next summary                 subpart, owners and operators must
                                                 submission process replaces the                         report required under § 63.10(e)(3). The              submit the results of the performance
                                                 requirements in § 63.10(e)(3)(v),                       report shall include:                                 test following the procedures specified
                                                 § 63.10(e)(3)(vi)(L), and                                  (i) A description of the process                   in § 63.9(k). Data collected using test
                                                 § 63.10(e)(3)(vi)(M) to submit the date of              change; and                                           methods supported by the EPA’s
                                                 the report and the name, title, and                        (ii) The results of the recalculation of           Electronic Reporting Tool (ERT) as
                                                 signature of the responsible official who               the emission rate.                                    listed on the EPA’s ERT website
                                                 is certifying the accuracy of the report.                  (4) For each existing, new, or                     (https://www.epa.gov/electronic-
                                                    (1) Reports of monitoring data,                      reconstructed affected BLR and WSR                    reporting-air-emissions/electronic-
                                                 including 15-minute monitoring values                   source, beginning no later than the                   reporting-tool-ert) at the time of the test
                                                 as well as daily average values or per-                 compliance dates specified in                         must be submitted in a file format
                                                 unit operation average values, as                       § 63.521(c), for each excursion that is               generated using the EPA’s ERT.
                                                 applicable, of monitored parameters for                 not an excused excursion, the report                  Alternatively, owners and operators
                                                 all operating days or unit operations                   must include a list of the affected                   may submit an electronic file consistent
                                                 when the average values were outside                    sources or equipment, the monitored                   with the extensible markup language
                                                 the ranges established in the                           parameter, an estimate of the quantity in             (XML) schema listed on the EPA’s ERT
                                                 Notification of Compliance Status or                    pounds of each regulated pollutant                    website. Data collected using test
                                                 operating permit, including reports                     emitted over any emission limit, a                    methods that are not supported by the
                                                 specified in paragraph (a)(4) of this                   description of the method used to                     EPA’s ERT as listed on the EPA’s ERT
                                                 section.                                                estimate the emissions, the cause of the
                                                    (2) Reports of the duration of periods                                                                     website at the time of the test must be
                                                                                                         excursion (including unknown cause, if                included as an attachment in the ERT or
                                                 when monitoring data is not collected
                                                                                                         applicable), as applicable, and the                   alternate electronic file.
                                                 for each excursion caused by
                                                                                                         corrective action taken. Include the start
                                                 insufficient monitoring data, including                                                                       ■ 161. Amend § 63.529 by revising
                                                                                                         date, start time, and duration in hours
                                                 reports specified in paragraph (a)(4) of                                                                      paragraph (c) introductory text, and
                                                                                                         of each excursion.
                                                 this section. An excursion means any of                                                                       adding paragraph (c)(5) as follows:
                                                                                                            (5) For pressure relief device subject
                                                 the three cases listed in paragraph
                                                                                                         to § 63.527(f), report each pressure                  § 63.529   Implementation and enforcement.
                                                 (a)(2)(i) or (a)(2)(ii) of this section. For
                                                                                                         release to the atmosphere, including                  *      *     *       *      *
                                                 a control device where multiple
                                                 parameters are monitored, if one or                     pressure relief device identification                    (c) The authorities that cannot be
                                                 more of the parameters meets the                        name or number, the start date, start                 delegated to State, local, or Tribal
                                                 excursion criteria in paragraph (a)(2)(i)               time, and duration (in minutes) of the                agencies are as specified in paragraphs
                                                 or (a)(2)(ii) of this section, this is                  pressure release; and an estimate of the              (c)(1) through (5) of this section.
                                                 considered a single excursion for the                   mass quantity in pounds of each organic
                                                                                                         HAP released.                                         *      *     *       *      *
                                                 control device. In the report, include the                                                                       (5) Approval of an alternative to any
                                                 identification of the source, start date,                  (6) For heat exchangers subject to
                                                                                                         § 63.104 of subpart F of this part, the               electronic reporting to the EPA required
                                                 start time, duration in hours, and                                                                            by this subpart.
                                                 monitored parameter(s) meeting the                      information specified in § 63.104(f)(2) of
                                                 excursion criteria.                                     subpart F of this part.                               ■ 162. Amend table 1 to subpart W by:
                                                    (i) When the period of control device                   (b) The owner or operator of any                   ■ a. Revising the header row;
                                                 operation is 4 hours or greater in an                   affected BLR source, as well as the                   ■ b. Revising entry ‘‘§ 63.6(e)(1)(i)’’;
                                                 operating day and monitoring data are                   owner or operator of any affected WSR
                                                                                                                                                               ■ c. Adding entries ‘‘§ 63.6(e)(1)(ii)’’,
                                                 insufficient to constitute a valid hour of              source who is subject to the leak
                                                                                                                                                               ‘‘§ 63.6(e)(1)(iii)’’, ‘‘63.6(e)(2)’’, and
                                                 data, as defined in paragraph (a)(2)(iii)               detection and repair program specified
                                                                                                                                                               ‘‘63.6(e)(3)’;
                                                 of this section, for at least 75 percent of             in subpart H of this part, shall
                                                                                                                                                               ■ d. Revising entry ‘‘§ 63.6(g)’’;
                                                 the operating hours.                                    implement the reporting requirements
                                                                                                         outlined therein. Copies of all reports               ■ e. Adding entry ‘‘§ 63.7(a)(4)’’; and
                                                    (ii) When the period of control device
                                                 operation is less than 4 hours in an                    shall be retained as records for a period             ■ f. Revising entries ‘‘§ 63.7(e)(1)’’,
                                                 operating day and more than one of the                  of 5 years, in accordance with the                    ‘‘§ 63.7(g)(1)’’, ‘‘§ 63.8(c)(1)(i)’’,
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                                                 hours during the period of operation                    requirements of 40 CFR 63.10(b)(1).                   ‘‘§ 63.8(c)(1)(iii)’’, ‘‘§ 63.9(k)’’,
                                                 does not constitute a valid hour of data                   (c) The owner or operator of any                   ‘‘§ 63.10(d)(2)’’, ‘‘§ 63.10(d)(5)’’ and
                                                 due to insufficient monitoring data.                    affected BLR source, as well as the                   ‘‘§ 63.10(e)(3)’’.
                                                    (iii) Monitoring data are insufficient               owner or operator of any affected WSR                    The revisions and additions read as
                                                 to constitute a valid hour of data, as                  source that is subject to the emission                follows:




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                                                                         TABLE 1 TO SUBPART W OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART W
                                                                                                                 Applies to subpart W

                                                                                                                                        WSR equipment leak
                                                           Reference                                                                     standard, and BLR                                                    Comment
                                                                                                BLR                  WSR                   equipment leak
                                                                                                                                       standard (40 CFR part
                                                                                                                                           63, subpart H)


                                                           *                                *                          *                               *                            *                   *                    *
                                                 § 63.6(e)(1)(i) .................                                   See Comment                                             Yes, before July 15, 2027. No, beginning on and after July
                                                                                                                                                                               15, 2027. See § 63.525(k) for general duty requirement.
                                                 § 63.6(e)(1)(ii) .................                                  See Comment                                             Yes, before July 15, 2027. No, beginning on and after July
                                                                                                                                                                               15, 2027.
                                                 § 63.6(e)(1)(iii) ................     Yes ...............    Yes ............... Yes.
                                                 63.6(e)(2) .......................     N/A ...............    N/A ............... N/A ...............................       Reserved.
                                                 63.6(e)(3) .......................                                See Comment                                               Yes, before July 15, 2027. No, beginning on and after July
                                                                                                                                                                               15, 2027.

                                                           *                              *                            *                             *                              *                     *                 *
                                                 § 63.6(g) .........................    Yes ...............    Yes ...............    Yes ..............................     Affected sources have the opportunity to demonstrate
                                                                                                                                                                               other alternatives to the Administrator.

                                                           *                              *                            *                               *                             *                            *                     *
                                                 § 63.7(a)(4) .....................     Yes ...............    Yes ...............    Yes.

                                                           *                              *                    *                   *                                               *                    *                    *
                                                 § 63.7(e)(1) .....................      Yes, before July 15, 2027. No, beginning on and after                               See § 63.525(l). Subpart W also contains test methods
                                                                                                             July 15, 2027.                                                    specific to BLR and WSR sources.

                                                           *                              *                            *                              *                              *                     *                  *
                                                 § 63.7(g)(1) .....................     Yes ...............    Yes ...............    No ................................    Subpart H specifies performance test reporting. Addition-
                                                                                                                                                                               ally, this subpart specifies how and when the perform-
                                                                                                                                                                               ance test results are reported for BLR and WSR.
                                                 § 63.8(b)(3) .....................     Yes ............... Yes ............... Yes.
                                                 § 63.8(c)(1)(i) ..................      Yes, before July 15, 2027. No, beginning on and after
                                                                                                                July 15, 2027.

                                                           *                              *                    *                   *                                                 *                            *                     *
                                                 § 63.8(c)(1)(iii) ................      Yes, before July 15, 2027. No, beginning on and after
                                                                                                             July 15, 2027.

                                                           *                              *                            *                               *                             *                            *                     *
                                                 § 63.9(k) .........................    Yes ...............    Yes ...............    Yes.

                                                          *                               *                            *                              *                             *                  *                   *
                                                 § 63.10(d)(2) ...................      No ................    No ................    No ................................    This subpart and Subpart H specify performance test re-
                                                                                                                                                                               porting requirements.

                                                          *                               *                    *                   *                                                 *                            *                     *
                                                 § 63.10(d)(5) ...................       Yes, before July 15, 2027. No, beginning on and after
                                                                                                             July 15, 2027.

                                                          *                               *                            *                              *                             *                    *                    *
                                                 § 63.10(e)(3) ...................      Yes ...............    Yes ...............    No ................................    Except that on and after July 15, 2027, the reports shall be
                                                                                                                                                                               submitted according to and in the format required by
                                                                                                                                                                               § 63.528(a).

                                                              *                             *                            *                             *                             *                            *                     *



                                                 ■ 163. Add table 2 to subpart W to read
                                                 as follows:

                                                                                             TABLE 2 TO SUBPART W OF PART 63—TOXIC EQUIVALENCY FACTORS
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                                                                                                                                                                                                                                     Toxic
                                                                                                                  Dioxin and Furan Congener                                                                                    equivalency factor

                                                 1,2,3,7,8-pentachlorodibenzo-p-dioxin .....................................................................................................................................                      1
                                                 1,2,3,4,7,8-hexachlorodibenzo-p-dioxin ...................................................................................................................................                     0.1
                                                 1,2,3,7,8,9-hexachlorodibenzo-p-dioxin ...................................................................................................................................                     0.1
                                                 1,2,3,6,7,8-hexachlorodibenzo-p-dioxin ...................................................................................................................................                     0.1



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                                                                                   TABLE 2 TO SUBPART W OF PART 63—TOXIC EQUIVALENCY FACTORS—Continued
                                                                                                                                                                                                                                            Toxic
                                                                                                                     Dioxin and Furan Congener                                                                                        equivalency factor

                                                 1,2,3,4,6,7,8-heptachlorodibenzo-p-dioxin ...............................................................................................................................                           0.01
                                                 octachlorodibenzo-p-dioxin ......................................................................................................................................................                 0.0003
                                                 2,3,7,8-tetrachlorodibenzofuran ...............................................................................................................................................                       0.1
                                                 2,3,4,7,8-pentachlorodibenzofuran ..........................................................................................................................................                          0.3
                                                 1,2,3,7,8-pentachlorodibenzofuran ..........................................................................................................................................                         0.03
                                                 1,2,3,4,7,8-hexachlorodibenzofuran ........................................................................................................................................                           0.1
                                                 1,2,3,6,7,8-hexachlorodibenzofuran ........................................................................................................................................                           0.1
                                                 1,2,3,7,8,9-hexachlorodibenzofuran ........................................................................................................................................                           0.1
                                                 2,3,4,6,7,8-hexachlorodibenzofuran ........................................................................................................................................                           0.1
                                                 1,2,3,4,6,7,8-heptachlorodibenzofuran ....................................................................................................................................                          0.01
                                                 1,2,3,4,7,8,9-heptachlorodibenzofuran ....................................................................................................................................                          0.01
                                                 Octachlorodibenzofuran ...........................................................................................................................................................                0.0003



                                                 ■ 164. Add Method 327 to appendix A                                     the same ion for known amounts of the                                    documents describing the equipment,
                                                 of part 63 to read as follows:                                          compound.                                                                equipment management, targeted
                                                                                                                           1.4 The sampling and analytical                                        compounds, procedures, and quality
                                                 Method 327—Fugitive and Area Source                                     approach included in this method is                                      assurance (QA) activities specific to that
                                                 Measurement of Selected Volatile                                        based on previously published EPA                                        laboratory, instrumentation, and
                                                 Organic Hazardous Air Pollutants                                        guidance in Compendium Method TO–                                        potentially specific for the targeted
                                                 Using Specially Prepared Canisters                                      15A, which describes the sampling and                                    analyte.
                                                 1.0     Scope and Application                                           analytical procedures for measuring                                        2.4 The key steps of this method
                                                                                                                         volatile organic compounds (VOCs) in                                     required for the collection of each
                                                    1.1 This method describes the                                        ambient air.                                                             sample include stringent leak testing
                                                 sampling and analysis of emissions from                                                                                                          under stop flow, using certified and
                                                                                                                         2.0 Summary of Method
                                                 fugitive and area sources collected using                                                                                                        clean canisters, using certified sampling
                                                 specially prepared canisters and                                           2.1 In this method, a whole air                                       devices, collecting accurate field data,
                                                 analyzed using a gas chromatograph                                      sample is collected through a particulate                                and collecting field blanks and
                                                 (GC) coupled with a low- or high-                                       filter with a flow control device into an                                duplicates. The key steps of this method
                                                 resolution mass spectrometer (MS) for                                   evacuated, specially prepared canister                                   required for sample analysis include the
                                                 the determination of the airborne                                       for a length of time specified by the                                    analysis of blanks, use of high-quality
                                                 concentration of selected volatile                                      applicable regulation, typically 24                                      reference standards, and initial and
                                                 organic hazardous air pollutants                                        hours. After the air sample is collected,                                ongoing calibration checks of the
                                                 (oHAPs) such as ethylene oxide or vinyl                                 the canister valve is closed, the canister                               instruments used.
                                                 chloride.                                                               pressure is measured, and the canister is
                                                                                                                         transported to the laboratory for                                        3.0 Definitions
                                                    1.2 Applicability. The use of this
                                                                                                                         analysis. Upon receipt at the laboratory,                                  3.1 Absolute pressure means the
                                                 method is strictly intended for
                                                                                                                         the sample collection information is                                     pressure measured with reference to
                                                 determining airborne concentrations of
                                                                                                                         verified, the canister pressure is                                       absolute zero pressure, usually
                                                 selected speciated oHAPs to determine
                                                                                                                         measured, and the canister is stored at                                  expressed in units of kilopascal (kPa)
                                                 compliance with a fenceline emission
                                                                                                                         ambient laboratory temperature until                                     absolute or pounds per square inch
                                                 standard and/or work practices when
                                                                                                                         analysis. For analysis, a known volume                                   absolute (psia).
                                                 specified by the applicable regulation.
                                                                                                                         of the sample is directed from the                                         3.2 Analytical batch means the
                                                 This method includes data quality
                                                                                                                         canister into a preconcentrator to collect                               batch of samples analyzed over a 24-
                                                 objectives (DQOs) specific to the
                                                                                                                         speciated oHAPs from the sample                                          hour period beginning with the daily
                                                 measurement of airborne concentrations
                                                                                                                         aliquot and to allow the majority of bulk                                instrument tune performance check.
                                                 of speciated oHAPs and must not be                                                                                                                 3.2 Collocated precision means the
                                                                                                                         gases (e.g., nitrogen, oxygen, argon, and
                                                 used for other compliance purposes                                                                                                               precision determined from the analyzed
                                                                                                                         carbon dioxide) and water vapor to be
                                                 (i.e., measurements from ducted                                                                                                                  concentrations of samples collected
                                                                                                                         vented.
                                                 sources).                                                                  2.2 The laboratory, field laboratory,                                 simultaneously from the same air mass
                                                    1.3 The analytical approach for this                                 and field personnel must have                                            using two discrete canisters and
                                                 method uses a GC coupled with a low-                                    experience with sampling trace-level                                     collected through two separate sampling
                                                 or high-resolution MS, which may                                        oHAPs using specially prepared                                           devices with separate inlets. This
                                                 consist of a linear quadrupole, ion trap,                               canisters and with operating                                             determines the precision of the method
                                                 or time-of-flight (TOF) system.                                         preconcentrator/GC/multidetector                                         including the sampling and analysis
                                                 Speciated oHAPs are identified by a                                     instrumentation (e.g., MS) for trace-level                               processes. Collocated precision is
                                                 combination of the retention times (RTs)                                analysis.                                                                determined by calculating the absolute
                                                 and the associated mass spectra by                                         2.3 This method is performance-
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                                                                                                                                                                                                  relative percent difference (RPD) for the
                                                 comparing observed fragmentation                                        based and includes a description of the                                  collocated measurements (the absolute
                                                 patterns to reference spectral patterns                                 equipment, instruments, operations, and                                  value of the difference between the two
                                                 and relative ion abundances established                                 acceptance and performance criteria.                                     collocated sample results divided by
                                                 during calibration. For the speciated                                   EPA developed these criteria to ensure                                   their average value and expressed as a
                                                 oHAPs, the intensity of the observed                                    the collection of high-quality data.                                     percentage).
                                                 quantitation ion in the unknown sample                                  Laboratories must develop their own                                        3.3 Continuing calibration
                                                 is compared with the system response to                                 standard operating procedure (SOP)                                       verification sample (CCV) means single


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                                                 level calibration samples run conducted                    3.12 Preconcentrator means a device                  3.20 Wetted surfaces mean the
                                                 periodically to confirm that the                        used to concentrate the target                        surfaces of the flow path, canister,
                                                 analytical system continues to generate                 compound(s) while the bulk gases are                  valving, pumps, etc., that contact the gas
                                                 sample results within acceptable                        effectively removed. The target                       undergoing collection, mixing, transfer,
                                                 agreement to the current calibration                    compound(s) are then desorbed and                     or analysis.
                                                 curve.                                                  injected into a GC–MS system.
                                                    3.4 Cryogen means a refrigerant used                    3.13 Quantitative accuracy means                   4.0 Interferences
                                                 to obtain sub-ambient temperatures in                   the degree of measurement accuracy                      4.1 Sample Collection. There are
                                                 the preconcentrator and/or the GC oven.                 required to measure the concentration of              potential physical interferents which
                                                 Typical cryogens are liquid nitrogen                    an identified compound, within a given                could impact the ability to properly
                                                 (boiling point [BP] ¥195.8 °C), liquid                  tolerance of uncertainty, with an                     time-integrate the sampling, such as
                                                 argon (BP ¥185.7 °C), and liquid carbon                 analytical system.                                    leaks of the sampling system or
                                                 dioxide (BP ¥79.5 °C).                                     3.14 Replicate precision means the                 introduction of foreign material (e.g.,
                                                    3.5 Deionized water means ASTM                       precision determined from repeated                    particulate matter [PM], insect nests,
                                                 Type I water or equivalent.                             analysis of a gas sample from one                     spider webs). These interferences are
                                                    3.6 Diluent gas means hydrocarbon-                   canister, which may be evaluated by                   mitigated by closely following the
                                                 free (HCF) synthetic ‘‘zero’’ air.                      calculating the absolute RPD for                      sampling protocols included in this
                                                    3.7 Dynamic dilution means a                         pairwise measurements (N = 2) or by                   method (e.g., leak check procedures and
                                                 technique for preparing calibration                     determining the relative standard                     sampling system requirements).
                                                 mixtures in which standard gas(es) from                 deviation (RSD) for replicate                           4.2 Canister Sampling Media
                                                 pressurized cylinders are continuously                  measurements where N ≥ 3. Replicate                   Interferences. Each canister will have its
                                                 blended with a diluent gas (such as                     analyses are used to determine precision              own specific performance
                                                 humidified HCF zero air) in a mixing                    of the analysis processes and do not                  characteristics and appropriate cleaning,
                                                 chamber or manifold so that a flowing                   provide information on sampling                       sampling, and handling procedures are
                                                 stream of calibration mixture is created.               precision.                                            required for attainment of acceptable
                                                    3.8 Gauge pressure means the                            3.15 Second Source Calibration                     initial and ongoing method
                                                 pressure measured with reference to the                 Verification (SSCV) Standard means a                  performance. Failure to adhere to the
                                                 surrounding atmospheric pressure,                       humidified calibration standard                       cleaning and certification requirements
                                                 usually expressed in units of kPa or                    prepared from a calibration stock gas                 included in this method may lead to the
                                                 inches of mercury (Hg). Gauge pressure                  procured from a separate supplier. An                 following interference issues:
                                                 is zero-referenced against ambient air                  SSCV can only be prepared with a                        (1) Incomplete deactivation of canister
                                                 pressure; zero is equal to the local                    calibration stock from the same supplier              interior surfaces (e.g., canister welds)
                                                 atmospheric (barometric) pressure,                      if it is unavailable from another supplier            may result in active sites for adsorption
                                                 which is nominally 101.3 kPa (29.92 in.                 and is prepared from a different lot of               or surfaces that facilitate the
                                                 Hg or 14.7 psia) at sea level.                          source material as the primary                        decomposition of labile VOCs to form
                                                    3.9 Mass spectrometer means an                       calibration stock.                                    other VOCs within the canister. Other
                                                 instrument that ionizes molecules and                      3.16 Static dilution means a                       potential sources of active sites include
                                                 atoms (typically into electrically                      technique for preparing calibration                   canister valves, valve stems, and
                                                 charged fragments), separates these ions                mixtures in which standard and diluent                ferrules. Damage to the canister interior
                                                 according to their mass-to-charge ratio                 gases are added to a fixed-volume vessel              that exposes untreated surfaces may also
                                                 (m/z or m/e), and responds to the                       or chamber at a known ratio. Standard                 result in active sites.
                                                 impact of the ions based on their                       and diluent gas amounts may be                          (2) Entrained PM deposited in the
                                                 population. MS systems suitable for this                measured gravimetrically, by volume,                  canister sampling pathway can adsorb
                                                 method include quadrupole, ion trap,                    and/or by pressure differential from                  VOCs making them unavailable in the
                                                 and TOF detectors. Quadrupole and ion                   pressurized cylinders or as neat                      canister gas phase which interferes with
                                                 trap MS operating modes (i.e., full-scan,               materials and blended with a known                    collected samples. Such trapped VOCs
                                                 selected ion monitoring [SIM], and                      amount of diluent gas (such as                        can potentially desorb later and result in
                                                 selected ion storage [SIS] modes) can be                humidified zero air) in a mixing                      the inability to achieve canister
                                                 selected to optimize the ion mass                       chamber or manifold.                                  cleanliness performance specifications
                                                 collection range.                                          3.17 Target concentration means                    and/or contaminate subsequent canister
                                                    3.10 Mechanical Flow Controlling                     desired, estimated, or approximate                    sampling events. Additionally, organic
                                                 Device (MFCD) means a device that is                    concentration (see ‘‘nominal                          PM can react with co-sampled ozone or
                                                 used to ensure constant flow to an                      concentration’’ above).                               other oxidative species to form target
                                                 evacuated canister to near ambient                         3.18 Theoretical concentration                     VOCs. PM can also clog tiny openings
                                                 pressure. MCFD are designed to                          means a reference concentration derived               in critical or restrictive orifices, which
                                                 maintain a constant pressure drop (and                  by applying measurements performed                    impacts collection flow rates.
                                                 thus a constant flow rate) across a                     with calibrated instruments with known                  (3) Under certain conditions, the
                                                 restrictive orifice by allowing a constant              tolerances to a certified reference                   composition of an air sample may
                                                 leak rate of sample into the canister as                standard concentration value.                         change upon its introduction into the
                                                 the canister vacuum decreases to near                   Measurements of the target                            canister and over time such that the air
                                                 ambient pressure without power.                         compound(s) concentrations are to be                  in the canister no longer represents the
                                                    3.11 Nominal concentration means a                                                                         air sampled. Such changes may be
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                                                                                                         determined using a calibration that is
                                                 requested, target, or named                             developed based on theoretical                        caused by interactions of the VOCs with
                                                 concentration that approximates the                     concentrations.                                       the interior canister surface or between
                                                 true, reference, or certified                              3.19 Time-of-flight (TOF) mass                     chemicals in the air matrix. The activity
                                                 concentration. For example, a nominal                   spectrometry means a MS method that                   of the interior canister surface is unique
                                                 200 parts per trillion by volume (pptv)                 determines the ion’s mass-to-charge                   to each canister and is based on several
                                                 standard may have an actual certified                   ratio by measuring the time the ion                   factors, including variability in canister
                                                 concentration of 206 pptv.                              takes to reach the detector.                          manufacturing defects, differences in


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                                                 canister surface deactivation treatments,               the breakdown of the stationary phase                    6.3.5 Humidification system, such as
                                                 the presence of PM and co-collected                     in an analytical column, can interfere                humidifier impinger or bubbler, capable
                                                 moisture in the canister, and artifacts                 with identification and quantitation of               of achieving relative humidity (RH) of at
                                                 from reactions of VOCs on the canister                  less volatile VOCs.                                   least 50% in the cannister.
                                                 walls.                                                    (7) Be cognizant of compounds that                     6.3.6 Programmable controller for
                                                    (4) Condensed water within the                       interfere with target analytes when                   selecting temperature and cycle time
                                                 canister can result in corrosion of the                 operating in MS modes that do not                     and for manually or automatically
                                                 interior surface of canisters with weak                 provide full-scan ion spectra (i.e.,                  switching between evacuation and
                                                 or deficient coatings and can result in                 selected ion monitoring [SIM] and                     pressurization.
                                                 the partitioning of hydrophilic polar                   selected ion storage [SIS]). Such                        6.3.7 A pressure release valve to
                                                 VOCs to liquid water. Under such                        interfering coeluting compounds may                   minimize the likelihood of system over
                                                 circumstances, concentrations of these                  share common ions, may have similar                   pressurization.
                                                 analytes in the gas phase will be biased                mass spectra, and may be difficult or                    6.3.8 Tubing and connections
                                                 low until the condensation is eliminated                impossible to separate from target VOCs.              constructed of borosilicate glass, quartz
                                                 by reduction of the canister pressure                                                                         glass, or chromatographic-grade
                                                 below the vapor saturation pressure of                  5.0 Safety                                            stainless-steel (minimum type 316 or
                                                 water.                                                     This method does not address all the               silicon-ceramic coated) to minimize
                                                    4.3 Analytical Interferences.                        safety concerns associated with its use.              dead volume of the system. You must
                                                 Contamination within the analytical                     It is the responsibility of the user of this          not use butyl rubber or perfluoroalkoxy
                                                 system may come from several sources                    standard to establish appropriate field               (PFA) materials. If needed for
                                                 including, but not limited to, off-gassing              and laboratory safety and health                      connections or seals, minimize the use
                                                 of materials within the sample                          practices prior to use.                               of Viton and Teflon to avoid adsorption
                                                 introduction or preconcentrator flow                                                                          and/or off-gassing of compounds of
                                                 path, carryover from high-concentration                 6.0 Equipment and Supplies
                                                                                                                                                               interest or introduction of other
                                                 samples or standards, and solvent                         6.1 Specially Prepared Canisters.                   potential interferences.
                                                 vapors within the laboratory.                           You must use specially prepared                          6.3.9 Purge gas such as HCF zero air
                                                    (1) Active sites within the sample                   canisters at least 6 liters in volume that            or ultra-high purity (UHP)-grade
                                                 introduction or preconcentration flow                   are suitable for trace gas analysis of the            cylinder nitrogen or liquid nitrogen
                                                 path are often caused by use of                         target compounds, such that they meet                 dewar headspace.
                                                 improper materials or degradation of                    the requirements in Section 8.3 of this                  6.3.10 Charcoal scrubber, catalytic
                                                 deactivated surfaces.                                   method. Canisters must be able to                     oxidizer, or other systems for
                                                    (2) Impurities in source materials or                withstand numerous cycles of                          eliminating trace contaminants from the
                                                 diluent gases for internal standard (IS)                evacuation to high vacuum of 0.0067                   purge gas.
                                                 gas mixtures may result in                              kPa (0.002 in. Hg) and pressurization to                 6.4 Sampling Device. The sampling
                                                 contamination of target VOCs.                           377 kPa (40 pounds per square inch                    device consists of the following
                                                    (3) Water and the delivery systems                   gauge, psig).                                         equipment and for the purpose of this
                                                 used to humidify canisters or diluent                     6.2 Valves. You must use canisters                  method, the sampling device consists of
                                                 gas streams may contaminate the                         with valves that are designed                         the aggregation of equipment in this
                                                 canister contents or humidified gases.                  specifically for trace level                          section. The sampling device must be
                                                    (4) Moisture in the sample gas may                   measurements. The wetted portions of                  individually named with an alpha-
                                                 interfere with VOC analysis by GC–MS.                   the valve must, at a minimum, be                      numeric serial number that is unique.
                                                 Poor or inconsistent water management                   constructed of chromatographic-grade                     6.4.1 A stainless-steel particulate
                                                 during preconcentration can cause peak                  stainless steel (preferably type 316), and            filter with pore size of 2 to 7
                                                 broadening and RT shifts that can result                the valve seal surfaces must be metal to              micrometers (mm) installed on the
                                                 in peak misidentification, particularly                 metal to minimize absorption and off-                 sampling device inlet.
                                                 for hydrophilic polar compounds. Water                  gassing of VOCs and other potential                      6.4.2 Sampling Probe. The internal
                                                 management systems that use                             contaminants. It is recommended that                  volume of the sample probe must be less
                                                 semipermeable fluoropolymer                             valve designs have minimal internal                   than 1% of the volume collected by the
                                                 membranes remove oxygenated and                         volume and surface area to minimize                   sample container with an inverted inlet
                                                 polar VOCs from the sample matrix and                   the risk of contamination.                            (e.g., sampling cane to prevent the entry
                                                 exhibit memory effects for several                        6.3 Canister Cleaning System. You                   of water droplets) consisting of only
                                                 VOCs. VOCs entrained in the                             must use a canister cleaning system that              chromatographic-grade stainless steel
                                                 fluoropolymer membrane can convert to                   includes the following components.                    (including silicon-ceramic lined steel)
                                                 ketones and alcohols, which are                           6.3.1 Manifold constructed of                       placed 1.5 to 3 meters (4.9 to 9.8 feet)
                                                 transported across the membrane                         chromatographic-grade stainless-steel                 above the ground.
                                                 bidirectionally such that these ketones                 tubing and connections for multiple                      6.4.3 You must use an MFCD to
                                                 and alcohols can contaminate the                        canisters.                                            regulate the flow at a constant flow rate
                                                 sample stream and VOCs in the sample                      6.3.2 Oil-free vacuum pump capable                  over the 24-hour collection period into
                                                 stream can be adsorbed into the                         of achieving vacuum of approximately                  an evacuated stainless-steel canister.
                                                 fluoropolymer and removed from the                      3.4 kPa absolute (1 in. Hg absolute or 0.5               6.4.4 Canister Sampling Timers
                                                 sample stream.                                          psia).                                                (Optional). A device with an inert valve
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                                                    (5) Carbon dioxide in the collected                    6.3.3 High-vacuum pump for                          that can be programmed to
                                                 sample can coelute with more volatile                   achieving a final canister vacuum of                  automatically start and stop canister
                                                 VOCs eluting early in the GC–MS run                     approximately 0.0067 kPa (0.002 in. Hg)               sampling periods
                                                 and interfere with their quantitation.                  or less.                                                 6.5 Vacuum/Pressure Gauges.
                                                    (6) Artifacts in chromatograms, such                   6.3.4 Heating oven that can contain                    6.5.1 Field Pressure Measurement
                                                 as silanol compounds formed from the                    the canister and allow heating of the                 Gauge. A vacuum/pressure gauge or
                                                 breakdown of silicon-ceramic linings of                 valve. The oven is also used to bake                  pressure transducer with an accuracy of
                                                 canisters and siloxane compounds from                   sampling system components.                           ±0.25% full scale calibrated over the


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                                                 range of use for the application with                      6.8 Tubing and Fittings. Connecting                humidifier for the diluent gas, and a
                                                 sufficient resolution to permit precise                 tubing and fittings for dilution and                  manifold or mixing chamber where the
                                                 measurement of pressure differentials                   standard gases must be constructed of                 diluent and standard gases can be
                                                 must be used for field sampling                         chromatographic-grade stainless steel                 sufficiently combined before
                                                 purposes. The accuracy of the vacuum                    (e.g., 316 type), which includes silicon-             introduction to the preconcentrator or
                                                 gauge must be measured verified on an                   ceramic–treated stainless steel.                      canister. The gas dilution system must
                                                 annual basis against a National Institute               Connections must be metal to metal.                   produce calibration gases whose
                                                 of Standards and Technology (NIST)-                     Lines may need to be heated to ensure                 measured values are within ±2% of the
                                                 certified standard.                                     that there is no condensation. You must               predicted values. The predicted values
                                                    6.5.2 Laboratory Canister Pressure                   not use PTFE thread sealants or Buna-                 are calculated based on the certified
                                                 Measurement Gauge. A vacuum/                            N rubber components on any wetted                     concentration of the supply gas
                                                 pressure gauge or pressure transducer                   surface in a sampling and analytical                  (protocol gases, when available, are
                                                 with an accuracy of ±0.1% full scale or                 system.                                               recommended for their accuracy) and
                                                 0.13 kPa, whichever is smaller,                            6.9 Analytical Instrumentation.                    the gas flow rates (or dilution ratios)
                                                 calibrated over the range of use for the                Conduct analyses under this method                    through the gas dilution system.
                                                 application with sufficient resolution to               using any combination of                                 6.10.1.2 Connection tubing for the
                                                 permit precise measurement of canister                  preconcentrator, GC, and MS provided                  dynamic dilution system must be
                                                 pressure must be used for pressurizing                  the equipment meets the performance                   constructed of chromatographic-grade or
                                                 field samples with HCF zero air or                      specifications of this method.                        silicon-ceramic–coated stainless steel.
                                                 ultrapure nitrogen for analysis. The                       6.9.1 Gas Chromatographic–Mass                     Mixing chambers or manifolds must be
                                                 accuracy of the vacuum gauge must be                    Spectrometric (GC–MS) System.                         constructed of chromatographic-grade or
                                                 measured verified on an annual basis                       6.9.1.1 Gas Chromatograph. The GC                  silicon-ceramic–coated stainless steel,
                                                 against a NIST-certified standard for                   used for analysis under this method                   borosilicate, or quartz glass.
                                                 analysis.                                               must allow temperature programming                       6.10.1.3 The gas dilution system
                                                    6.6 Gas Regulators. Regulators for                   with quick and accurate temperature                   must be recalibrated at least once per
                                                 high-pressure cylinders of dilution gas,                ramping. If needed for separation of                  two calendar years using NIST-traceable
                                                 stock standard gases, and internal                      very light VOCs from the targeted                     primary flow standards with an
                                                 standard gases must be constructed of                   oHAPs, the GC must be capable of sub-                 uncertainty ≤0.25%. You must report
                                                 non-reactive material, such as high-                    ambient cooling (e.g., ¥50 °C). Carrier               the results of the calibration whenever
                                                 purity stainless steel, and may be lined                gas connections must be constructed of                the dilution system is used, listing the
                                                 with an appropriate material that is                    stainless-steel or copper tubing.                     date of the most recent calibration, the
                                                 inert to the targeted VOC (e.g., silicon-                  6.9.1.2 Chromatographic Column. The                due date for the next calibration,
                                                 ceramic). Do not use regulators that                    capillary chromatographic column must                 calibration point, reference flow device
                                                 contain PFA materials (e.g., for seals                  be capable of achieving separation of                 (device identification [ID], serial
                                                 and diaphragms) and avoid using                         target compounds and any potential                    number [SN], and acceptance criteria.
                                                                                                         interferences per Section 4 and                          6.10.1.4 The gas dilution system
                                                 regulators that contain Teflon products
                                                                                                         maintaining retention time stability as               must be verified to be non-biasing under
                                                 such as polytetr-rafluoroethylene (PTFE)
                                                                                                         required in Section 9.                                HFC zero air and known standards at
                                                 and flouroethylenepropylene(FEP),
                                                                                                            6.9.1.3 Mass Spectrometer. The MS                  least one per calendar year for each
                                                 where possible, to minimize memory
                                                                                                         may be a linear quadrupole, ion trap, or              reactive target compounds (e.g.,
                                                 effects. All regulators must be rated for
                                                                                                         TOF unit, and must have minimum                       ethylene oxide and vinyl chloride). Zero
                                                 the pressure and flow expected during
                                                                                                         resolution of 1 atomic mass unit (amu)                air must be flowed through all
                                                 use. Regulators must be dedicated to a
                                                                                                         or less. The MS must be capable of                    applicable MFCs, tubing, and manifold
                                                 specific task and labeled for use (e.g., do
                                                                                                         analyzing the desired mass range every                used and verified to not be detectable
                                                 not use the same regulator on a high-
                                                                                                         1 second or less and operate with an                  for the target compounds. Additionally,
                                                 concentration stock VOC standard
                                                                                                         acquisition rate such that at least 12                a known standard within the calibration
                                                 cylinder and a low-concentration stock
                                                                                                         measurements are performed over a                     range of the analytical system for each
                                                 VOC cylinder).
                                                                                                         typical chromatographic peak.                         target compound must be flowed
                                                   Note: Some new regulators (e.g., stainless            Quadrupole and ion trap systems                       through all applicable MFCs, tubing,
                                                 steel regulators) should be sufficiently                employing electron impact (EI)                        and manifold to allow equilibration and
                                                 passivated prior to use to prevent potential
                                                                                                         ionization mode must provide nominal                  verified to not bias the standard by
                                                 sample loss.
                                                                                                         70 volt (V) electron energy in EI mode                ±15% of the concentrations in the
                                                   6.7 Reference Flow Meters.                            to produce a bromofluorobenzene (BFB)                 reference sample. The equilibration time
                                                   6.7.1 A flow meter (e.g., a calibrated                mass spectrum that meets all the                      for the bias verification must be used at
                                                 mass flow meter (MFM), a volumetric                     instrument performance acceptance                     a minimum for the development of
                                                 reference standard, or other similar                    criteria as specified in this method.                 standards.
                                                 measurement device) calibrated to                          6.10 Calibration Gas Standard                         6.10.1.5 The gas dilution system
                                                 measurement range appropriate to                        Preparation Equipment. This section                   MFCs used must be verified quarterly, at
                                                 measure continuous flow must be used.                   discusses the equipment needed to                     a minimum, per Section 3.2 of Method
                                                 The flow meter must not interfere with                  prepare working-level standards for                   205 using any available protocol gas and
                                                 the flow measurement (i.e., the pressure                calibrating the GC–MS by dilution of a                corresponding reference method.
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                                                 drop across the flow meter may affect                   higher concentration stock standard gas.                 6.10.2 Static Dilution System
                                                 the flow being measured).                                  6.10.1 Dynamic Dilution System                     Instrumentation.
                                                   6.7.2 Reference flow meters must be                   Instrumentation.                                         6.10.2.1 The static dilution system
                                                 calibrated on an annual basis and be                       6.10.1.1 The dynamic dilution                      must include, at a minimum, a
                                                 able to measure within ±2% of the                       system must include, at a minimum,                    calibrated pressure transducer or
                                                 predicted values (e.g., cubic centimeters               calibrated electronic mass flow                       pressure gauge to measure the partial
                                                 per minute) against a NIST-traceable                    controllers (MFCs) for the diluent gas                pressures of each standard gas to be
                                                 volumetric standard.                                    and each standard gas to be diluted, a                diluted and the balance gas, and a


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                                                 manifold to introduce the gases into the                reagents within their expiration period                  (d) Sampling device bias check, and
                                                 working standard canister or vessel.                    and evaluate working-level standards                     (e) Sampling device standard check.
                                                 Pressure transducer(s) or pressure                      prepared in canisters within 30 days of                  8.1.1 Flow Control Verification Test.
                                                 gauge(s) used for static dilution must                  preparation. The concentrations of the                Prior to initial field deployment and at
                                                 have an accuracy of ±0.1% full scale or                 target compounds in the mixture must                  least every twelve months, you must
                                                 0.13 kPa, whichever is smaller,                         be commensurate with the anticipated                  verify that the sampling device’s ability
                                                 calibrated over the range of use for the                dilution factor achievable by the                     to control flow to the canister is
                                                 application with sufficient resolution to               laboratory needed to dilute the mixture               acceptable. Assemble an evacuated
                                                 permit precise measurement of pressure                  to the desired working range. You must                canister with the sampling device
                                                 differentials.                                          retain and report the gas standard                    including filter connected to a certified
                                                    6.10.2.2 Connection tubing for the                   certificates of analysis.                             flow meter. Figure 1 of Section 17 of
                                                 static dilution system must be                             7.2 Carrier Gas. Use helium,                       this method provides an illustration of
                                                 constructed of chromatographic-grade or                 hydrogen, or nitrogen as the carrier gas              the apparatus for characterizing the flow
                                                 silicon-ceramic–coated stainless steel.                 in the GC. Carrier gas must be ultrapure              control device.
                                                 Manifolds must be constructed of                        (99.999% pure or better).                                8.1.1.1 Open the evacuated canister,
                                                 chromatographic-grade or silicon-                          7.3 HCF Zero Air. Purchase HCF                     monitor and record (manually or
                                                 ceramic–coated stainless steel,                         zero air in high-pressure cylinders from              electronically) the canister pressure
                                                 borosilicate, or quartz glass.                          reputable gas vendors or prepare HCF                  downstream of the flow control device
                                                    6.10.2.3 The static gas dilution                     zero air by passing ambient air through               and the flow upstream of the flow
                                                 system must be recalibrated once per                    molecular sieves, catalytic oxidizers,                control device on an hourly basis over
                                                 calendar year using NIST-traceable                      and subsequent charcoal filters or                    the period of 24-hours.
                                                 primary pressure gauge with an                          similar substrate. HFC zero air must                     8.1.1.2 The flow control verification
                                                 uncertainty ≤0.1%. You must report the                  contain impurities less than 20 pptv or               test is considered acceptable when the
                                                 results of the calibration whenever the                 undetected (whichever is more                         sampling apparatus maintains a
                                                 dilution system is used, listing the date               stringent) per compound of interest.                  constant flow rate for 24-hours and until
                                                 of the most recent calibration, the due                    7.5 Nitrogen. Use ultrapure                        at least 75% of the canister volume is
                                                 date for the next calibration, calibration              (99.999% pure or better) nitrogen from                collected, which is equivalent to
                                                 point, reference flow device (ID, S:N                   cylinders procured from commercial gas                approximately 28 kPa (7 in. Hg or 4
                                                 ratio), and acceptance criteria.                        vendors or from the headspace gas from                psia) below atmospheric pressure.
                                                    6.10.2.4 The gas dilution system                     a liquid nitrogen dewar.                                 8.1.1.3 Record the average flow rate
                                                 must be verified to be non-biasing under                   7.6 Cryogens. Cryogens (e.g., liquid               during this test. This value will be the
                                                 HFC zero air and known standards at                     nitrogen, liquid argon, and liquid                    reference flow rate for the sampling
                                                 least one per calendar year for each                    carbon dioxide) specified by the                      device until the next verification test.
                                                 reactive target compounds (e.g.,                        instrument manufacturer, if needed.                   Maintain the results as part of a
                                                 ethylene oxide and vinyl chloride). Zero                   7.7 Water for Canister                             laboratory record associated with the
                                                 air must be flowed through all                          Humidification. ASTM Type I                           sampling device.
                                                 applicable tubing and manifold used                     (resistivity ≥18 megaohm-centimeter                      8.1.2 Flow Control Flow Check.
                                                 and verified to not be detectable for the               [MΩ·cm]) or equivalent.                               Prior to and after each field sampling
                                                 target compounds. Additionally, a                                                                             event, establish or verify the flow rate of
                                                                                                         8.0 Sample Collection and                             the sampling apparatus. This
                                                 known standard within the calibration
                                                                                                         Preparation                                           verification must occur in the field prior
                                                 range of the analytical system for each
                                                 target compound must be flowed                            This section presents the sample                    to and after each field event.
                                                 through all applicable tubing and                       collection and handling procedures of                    8.1.2.1 Assemble an evacuated
                                                 manifold into the standard canister or                  this method with the initial and ongoing              canister and the sampling device
                                                 vessel and verified to not bias the                     performance evaluation of materials                   connected to a certified flow meter in
                                                 standard by ±15% of the concentrations                  used in sampling and analysis. This                   the same manner used for the flow
                                                 in the reference sample.                                method allows the user to choose the                  control verification test discussed
                                                    6.11 Calibrated Hygrometer.                          materials used for sampling. You must                 above.
                                                    6.11.1 The calibrated hygrometer                     record the exact materials used when                     8.1.2.2 Open the evacuated canister,
                                                 must be capable of a 1% RH resolution                   conducting this method and include                    allow sufficient time for the system to
                                                 with a yearly calibration to a NIST-                    that information in any report                        stabilize, and record the flowrate
                                                 traceable accuracy of ±3% RH within                     associated with sampling according to                 upstream of the flow control device.
                                                 the range of 20% to 80% RH.                             this method.                                          Collect two additional flow rate
                                                    6.11.2 The calibration hydrometer                      8.1 Sampling Device Performance                     measurements.
                                                 calibration must be verified weekly or                  Tests. Prior to initial field deployment                 8.1.2.3 Calculate the average
                                                 per use (whichever is less stringent) at                and as directed in this section, you must             flowrate. The flow control flow check is
                                                 a single point that is approximatively 40               verify that all equipment used to                     considered valid if within ±10% of the
                                                 to 50% RH to within ±5% using a                         conduct this method meets the                         reference flow rate.
                                                 second calibrated hygrometer or a                       performance criteria specified in this                   8.1.2.4 If the flow rate has changed
                                                 saturated salt solution.                                section. The primary objectives of the                and is outside the desired range, you
                                                                                                         performance tests in this section are to              must either adjust or replace the
                                                 7.0 Reagent and Standards
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                                                                                                         characterize the sampling system and to               controller and repeat the flow check.
                                                   7.1 You must use only NIST-                           verify that the sampling system used                     8.1.3 Sampling Device Leak Check.
                                                 certified or NIST-traceable calibration                 meets the criteria in the method. The                 You must demonstrate the sampling
                                                 standards, standard reference materials,                sampling system performance tests                     device and sampling system are leak-
                                                 and reagents that are stable through                    include the following:                                free immediately before you begin
                                                 certification and recertification for the                 (a) Flow control verification test,                 sampling.
                                                 tests and procedures required by this                     (b) Flow control flow check,                           8.1.3.1 Install the sampling device
                                                 method. You must use standards and                        (c) Sampling device leak check,                     on an evacuated canister equipped with


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                                                 a MFCD and tightly cap the inlet to the                    8.1.6 Sampling Device Standard                     must be consistent with the laboratory’s
                                                 sampling device.                                        Check. You must conduct the sampling                  nominal injection volume.
                                                    8.1.3.2 Open the canister valve fully,               device standard check prior to initial                   8.2.1.1 Use the analytical
                                                 and then re-close the valve and observe                 use and at least every twelve months,                 instrumentation to analyze humidified
                                                 the vacuum/pressure gauge for a                         and after replacement of components, or               (40 to 50% RH) HCF zero air from a
                                                 minimum of 2 minutes.                                   collection of potentially contaminating               known clean source (e.g., certified clean
                                                    8.1.3.3 If you observe an increase in                samples. For the procedures specified                 canister, clean cylinder gas, zero-air
                                                 pressure, the sampling device does not                  below, you must use only canisters that               generator) at the installation prior to
                                                 qualify as leak-free. If no changes are                 have been qualified as specified in                   initial use of the instrument.
                                                 observed, record the data and time of                   Section 8.3 of this method.                              8.2.1.2 Examine chromatograms for
                                                 the leak check on the Field Data Page                      8.1.6.1 Collect a humidified (>40%                 interferences and other chromatographic
                                                 (see Figure 4 in Section 17 of this                     RH) known-standard challenge gas                      artifacts such as nontarget peak
                                                 method for an example).                                 through the sampling device and into a                responses, large peaks or rises in the
                                                                                                         canister. The challenge gas must contain              chromatogram due to undifferentiated
                                                    8.1.4 Sampling Device Bias Check.
                                                                                                         the target oHAPs at 100 to 500 pptv each              compounds, and baseline anomalies.
                                                 You must demonstrate that sampling                                                                            The analysis must show that the
                                                 device is non-biasing under zero-air and                and you must choose the selected
                                                                                                         challenge concentration considering the               concentration of any detected target
                                                 known-standard conditions. For the                                                                            compounds in the zero-air challenge
                                                 procedures in Sections 8.1.5 and 8.1.6 of               expected measured concentration at the
                                                                                                         deployment location(s).                               sample is <20 pptv or undetected
                                                 this method, you must use only                                                                                (whichever is more stringent) per
                                                 canisters that have been qualified as                      8.1.6.2 Analyze the sample
                                                                                                         according to Section 11 of this method                compound of interest.
                                                 specified in Section 8.3 of this method.                                                                         8.2.1.3 If you identify exceedances
                                                    8.1.5 Sampling Device Zero-Air                       and record the concentration
                                                                                                                                                               of target compounds in the zero-air
                                                 Challenge. You must conduct the                         measurement and maintain the results
                                                                                                                                                               challenge, take steps (e.g., analyzing
                                                 sampler bias test at least every twelve                 as part of a laboratory record associated
                                                                                                                                                               replicates of humidified clean gas until
                                                 months, and after cleaning, replacement                 with the sampling device. The results
                                                                                                                                                               the contamination is eliminated) to
                                                 of components, or collection of                         must demonstrate that each oHAP in the
                                                                                                                                                               remove the contamination attributable
                                                 potentially contaminating samples. The                  sample collected through the sampling
                                                                                                                                                               to the analytical instrumentation by
                                                 volume of air analyzed for the zero-air                 device must be within ±15% of the
                                                                                                                                                               following the manufacturer’s
                                                 and reference standard gas must be                      concentrations in the reference sample.
                                                                                                                                                               instructions.
                                                 consistent with the laboratory’s typical                For compounds exceeding this criterion,
                                                                                                                                                                  8.2.1.4 You must repeat the
                                                 canister sample injection volume or                     you must take steps to eliminate the bias
                                                                                                                                                               analytical zero-air verification to ensure
                                                 nominal volume.                                         (e.g., cleaning as specified in Section
                                                                                                                                                               that you have mitigated any problems
                                                    8.1.5.1 Provide humidified (>40%                     8.6.1 of this method or replacement of
                                                                                                                                                               before using the analytical
                                                 RH) HCF zero air through the sampling                   compromised parts) and repeat the
                                                                                                                                                               instrumentation.
                                                 device into the canister, and then                      known-standard challenge.                                8.2.2 Analytical Known-Standard
                                                 analyze the sample according to Section                    8.1.6.3 Following successful                       Challenge for Analytical
                                                 11 of this method and record the                        completion of the known-standard                      Instrumentation. Prior to initial use and
                                                 concentration measurement and                           challenge, flush the sampling device or               as part of an instrument’s annual
                                                 maintain the results as part of a                       system with humidified (>50% RH)                      calibration, you must demonstrate that
                                                 laboratory record associated with the                   HCF zero-air or ultrapure nitrogen until              the analytical instrumentation
                                                 sampling device.                                        the device meets the criteria specified in            (preconcentrator, GC–MS system, and
                                                    8.1.5.2 The results must show that                   Section 8.1.5.2 prior field deployment.               all connections) is non-biasing under
                                                 the concentration of the target                            8.2 Qualification of Analytical                    known standards. The volume of air
                                                 compounds in the zero-air challenge                     Instrumentation. Prior to initial use and             analyzed must be consistent with the
                                                 sample collected through the sampling                   as directed in this section, you must                 laboratory’s nominal canister sample
                                                 unit is not greater than 20 pptv higher                 verify that the analytical equipment                  injection volume.
                                                 than the native concentration of the                    used in performing this method meets                     8.2.2.1 Analyze a humidified (40 to
                                                 target compounds in the reference                       the performance criteria in this section.             50% RH) reference standard in
                                                 sample (sample of zero-air collected                    The primary objectives of these                       duplicate containing all target
                                                 upstream of the sampling device) or not                 performance tests are to characterize the             compounds at approximately 100 to 500
                                                 detected at 22.1 psi absolute (152 kPa                  analytical instrumentation and verify                 pptv each, chosen in consideration of
                                                 absolute) whichever is more stringent. If               that the analytical instrumentation                   the expected concentration at the
                                                 a sampling device does not meet this                    meets the criteria in this method. The                deployment locations.
                                                 performance criteria, take action to                    analytical instrumentation performance                   8.2.2.2 The results must demonstrate
                                                 remove the contamination attributable                   tests consist of the following:                       that the target compounds in the sample
                                                 to the sampling unit (e.g., purging with                   (a) Analytical zero-air verification,              collected through the sampling device
                                                 humidified HCF zero air overnight or                       (b) Analytical known-standard                      are within ±15% of the expected
                                                 longer) and repeat the zero-air                         challenge for analytical instrumentation,             concentrations in the sample.
                                                 challenge. You must not use a sampling                  and                                                      8.2.2.3 Compounds demonstrating
                                                 device that has not met the standards in                   (c) Autosampler verification.                      poor response as indicated by peak
                                                                                                            8.2.1 Analytical Zero-Air                          absence or minimal peak area may be a
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                                                 this section.
                                                                                                         Verification. Prior to initial use and as             result of active sites in the analytical
                                                   Note: If extended purging durations are not           part of an instrument’s annual                        system, cold spots in transfer lines, gas
                                                 adequate to eliminate contaminants, then
                                                 disassemble and clean according to Section
                                                                                                         calibration, you must demonstrate that                impurities, improper choice of
                                                 8.4 of this method. If the unit cannot be               the analytical instrumentation                        preconcentrator sorbent traps or GC
                                                 cleaned to meet the specifications, retire the          (preconcentrator, GC–MS system, and                   columns, system leaks, and/or poor
                                                 unit from use or repurpose for source                   all connections) is non-biasing under                 moisture management. If you identify
                                                 sampling.                                               zero-air. The volume of air analyzed                  problems, consult the instrument


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                                                 manufacturer to determine the                           of options for surface preparation of the             pressure decay rate exceeds 0.69 kPa/
                                                 necessary steps to eliminate the bias.                  canister interior surfaces, valves, and               storage day (0.2 in. Hg or 0.1 psia/
                                                    8.2.3 Autosampler Verification.                      connections. Currently, canister interior             storage day).
                                                 Prior to initial use and as part of an                  surfaces are typically passivated by
                                                                                                         electropolishing or coating with a silicon-
                                                                                                                                                                 8.3.3 Canister Zero-Air Verification.
                                                 instrument’s annual calibration, you                    ceramic film. EPA does not require a specific         You must qualify each canister as being
                                                 must demonstrate that the auto                          treatment or design and any canister type             acceptably non-biasing under zero-air
                                                 sampling equipment is non-biasing                       may be used for this method contingent on             conditions to ensure sample validity.
                                                 under zero-air.                                         meeting the performance criteria in this              Qualify new canisters before initial use
                                                    8.2.3.1 If you use an autosampler to                 section; however, silicon-ceramic coated              and qualify all canisters used for
                                                 facilitate analysis of multiple canisters,              canisters have demonstrated superior                  sampling at least once every 18 months.
                                                 you must test all ports, transfer lines,                performance when used to sample reactive                8.3.3.1 Pressurize the clean
                                                 and connections of the autosampler                      compounds, (e.g., ethylene oxide).
                                                                                                                                                               evacuated canister with humidified
                                                 after you have calibrated the analytical                   8.3.1.2 Canisters should be handled                (>50% RH) HCF zero air to 152 kPa
                                                 system and prior to conducting the                      with care to ensure that the interior                 absolute (22.1 psia). Do not use
                                                 canister, sampling device and system                    canister surface is not compromised, the              ultrapure nitrogen to pressurize the
                                                 qualifications, or upon replacement of                  valve-to-canister connection remains                  canister because the inert nitrogen
                                                 transfer lines or after analysis of                     intact, and weld integrity is maintained.             atmosphere does not permit reactions
                                                 potentially contaminating samples.                      Excessive torque on unbraced canister                 within the canister that may occur
                                                    8.2.3.2 Connect humidified (40 to                    valve stems when making connections                   under sampling conditions.
                                                 50% RH) HCF zero air to each port and                   may cause damage and potentially leaks                  Note: Canister Zero-Air Verifications must
                                                 verify that the concentration for each                  in the valve stem weld or at the ferrule              also be performed after canister disassembly
                                                 target compound is <20 pptv or                          sealing the canister valve and canister               and/or replacement of components. Also,
                                                 undetected (whichever is more                           stem. Shocks resulting in dents to the                more frequent zero-air verifications may be
                                                 stringent) per compound of interest                     surface of the canister may damage                    appropriate when canisters are used in areas
                                                 using the procedures in Section 11 of                   welds or create small cracks in the                   with higher ambient VOC concentrations or
                                                 this method.                                            interior canister surface that may expose             for collection of potentially contaminating
                                                    8.2.3.3 After the zero-air test,                     active sites. You must not use any                    samples.
                                                 challenge each port of the autosampler                  canister with dents or compromised                      8.3.3.2 Allow the canister to
                                                 with a reference standard                               welds.                                                equilibrate for a minimum of 24 hours.
                                                 (approximately 100 to 500 pptv) to                         8.3.1.3 You must maintain a record                   8.3.3.3 After the equilibration
                                                 verify that the autosampler is not                      of the results for all canisters used for             period, conduct an initial cleanliness
                                                 causing bias using the procedures in                    this method. It is recommended that you               analysis as specified in Section 8.4 of
                                                 Section 11 of this method). The                         evaluate the results for any potential                this method.
                                                 concentration of each target compound                   trends that could result in erroneous                   8.3.3.4 Store the canister for a
                                                 must be within ±15% of the theoretical                  data.                                                 holding period equal to or exceeding the
                                                 concentration of the reference standard.                   8.3.2 Canister Leak Check. You must                typical laboratory holding time,
                                                    8.3 Qualification of Canisters. Prior                qualify each canister as being acceptably             nominally 8 days from the canister fill
                                                 to initial use and as directed in this                  leak-tight to ensure sample validity.                 date.
                                                 section, sampling canisters must meet                   Qualify new canisters before initial use                8.3.3.5 After the holding period,
                                                 the performance criteria in this section.               and qualify all canisters used for                    conduct a subsequent cleanliness
                                                 The primary objectives of these                         sampling at least annually.                           analysis as specified in Section 8.5 of
                                                 performance tests are to ensure canisters                  8.3.2.1 Leak Check. In conducting                  this method.
                                                 are well characterized and to verify they               the canister leak check, you can either                 8.3.3.6 The results of both the initial
                                                 are non-biasing. The performance                        evacuate the canister to high vacuum                  and subsequent cleanliness analysis
                                                 criteria in this section are specific to the            ≤0.0067 kPa absolute (0.002 in. Hg or                 must meet the cleanliness criteria
                                                 application of fenceline measurements                   0.001 psia) or pressurize the canister                specified in Section 8.5 of this method
                                                 for regulatory purposes at stationary                   with clean fill gas to >203 kPa absolute              to be used for sampling. You must
                                                 sources. The performance test consists                  (60 in. Hg or 29.4 psia).                             reclean and retest canisters that fail the
                                                 of the following:                                          8.3.2.2 After establishing the target              zero-air challenge.
                                                    (a) Canister design,                                 pressure in the canister, close the valve
                                                    (b) Canister leak check,                             and attach a vacuum/pressure gauge.                     Note: If necessary, use more aggressive
                                                    (c) Canister zero-air verification, and                 8.3.2.3 Open the valve and record                  cleaning techniques such as water rinses or
                                                    (d) Canister known-standard                                                                                other rinses as specified by manufacturers. If
                                                                                                         the initial pressure reading.
                                                 verification.                                                                                                 a canister continues to fail the zero-air
                                                                                                            8.3.2.4 Close the valve, remove the
                                                    8.3.1 Canister Design.                                                                                     challenges, remove the canister from service.
                                                                                                         vacuum/pressure gauge, and loosely cap
                                                    8.3.1.1 You must use specially                       the canister using a cap fitting to ensure               8.3.4 Canister Known-Standard
                                                 prepared canisters at least 6-liters                    that leakage through the valve is                     Verification. You must qualify each
                                                 volume in size that are suitable for trace              accurately assessed while avoiding                    canister as being acceptably non-biasing
                                                 gas analysis of the target compounds.                   potential entry of debris into the valve              under known-standard conditions to
                                                 The canister must include a fixed on/off                during storage.                                       ensure sample validity. Qualify new
                                                 valve made from chromatographic-grade                      8.3.2.5 After a minimum of two days                canisters before initial use and qualify
                                                 stainless with metal valve seal surfaces.
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                                                                                                         in storage, reinstall the vacuum/                     all canisters used for sampling at least
                                                 Each canister must also include a                       pressure gauge, open the valve, and                   every 18 months.
                                                 permanent alpha-numeric serial number                   record the canister pressure reading.                    8.3.4.1 Fill the clean evacuated
                                                 for identification purposes. Alternative                   8.3.2.6 Determine the pressure decay               canister with a humidified (40 to 50%
                                                 canister volumes may be used, subject                   rate as the absolute value of the                     RH) standard gas in HCF zero air with
                                                 to approval by the Administrator.                       difference between the initial and post-              each target compound at approximately
                                                   Note: Specially prepared canisters are                storage canister pressures. You must                  100 to 500 pptv. Choose the selected
                                                 commercially available with a modest range              remove the canister from service if the               challenge concentration based on the


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                                                 concentration expected to be measured                   cleaning to facilitate removal of                     sonicating in deionized water for at least
                                                 during the sampling event.                              compounds. Do not use heat bands or                   30 minutes.
                                                   8.3.4.2 Allow the canister to                         heating jackets.                                         8.6.1.3 After flushing/sonication,
                                                 equilibrate for a minimum of 24 hours.                     8.4.3.2 Table 1 of Section 17 of this              rinse the components with clean
                                                   8.3.4.3 After the equilibration                       method specifies the temperatures to                  deionized water and dry the
                                                 period, conduct an initial analysis                     use for canister cleaning procedures.                 components in an enclosed oven set to
                                                 according to Section 11 of this method.                    8.4.4 Canister Evacuation and                      at least 50 °C for a minimum of 12
                                                   8.3.4.4 Store the canister for a                      Pressurization Cycling.                               hours.
                                                 holding period equal to or exceeding the                   8.4.4.1 Evacuate canisters to                         8.6.1.4 Following drying, reinspect
                                                 typical laboratory holding time,                        minimally 7 kPa absolute (28 in. Hg                   components for defects, reassemble, and
                                                 nominally 8 days from the canister fill                 vacuum or 1 psia) and maintain this                   flush the sampler with humidified HCF
                                                 date.                                                   vacuum for a at least 1 minute.                       zero air or ultrapure nitrogen for at least
                                                   8.3.4.5 After the holding period,                        8.4.4.2 Pressurize canisters to                    12 hours.
                                                 conduct a subsequent analysis.                          414kPa absolute (≤30 psig) with
                                                   8.3.4.6 The results of both the initial                                                                       Note: To avoid damage to deactivated
                                                                                                         humidified (>50% RH) HCF zero air and                 stainless-steel components due to oxidation
                                                 and subsequent analysis must show that                  maintain this pressure for a minimum of               in the presence of oxygen-containing
                                                 the measured concentrations of the                      1 minute.                                             atmospheres (e.g., HCF zero air), you should
                                                 target analytes are within ±30% of the                     8.4.4.3 Repeat the cycle of canister               not heat components treated with silicon-
                                                 theoretical spiked concentration for                    evacuation and pressurization specified               ceramic coatings above 80 °C unless
                                                 each target compound. You must                          in Sections 8.4.4.1 and 8.4.4.2 of this               evacuated or under an inert atmosphere (e.g.,
                                                 reclean and retest canisters that fail the              method at least 5 times. You may need                 nitrogen).
                                                 known-standard verification.                            to perform 10 to 20 cycle repetitions or                 8.7 Sample Collection. Persons
                                                   8.4 Canister Cleaning. Clean                                                                                collecting field samples should be
                                                                                                         use other ancillary procedures to
                                                 canisters using repeated cycles of                                                                            familiar with all aspects of this
                                                                                                         remove stubborn interferents or
                                                 evacuation and pressurization. Table 1                                                                        sampling protocol. It is suggested that
                                                                                                         oxygenated compounds such as ketones,
                                                 in Section 17 of this method                                                                                  those collecting these measurements for
                                                                                                         alcohols, and aldehydes (U.S. EPA,
                                                 summarizes the canister cleaning                                                                              regulatory purposes develop site-
                                                                                                         2016b).
                                                 procedures.
                                                                                                            8.5 Verification of Canister                       specific SOPs to ensure samples are
                                                   8.4.1 Gas Source for Canister
                                                                                                         Cleanliness Prior to Sample Collection.               collected consistently and those doing
                                                 Cleaning, Pressurization, and Flushing.
                                                   8.4.1.1 Verify, by direct analysis, the                  8.5.1 After cleaning, pressurize each              the sampling are sufficiently trained on
                                                 cleanliness of the purge gas upon initial               canister from the batch with humidified               this method and the SOP.
                                                 setup. The analysis must show that the                  HCF zero air and maintain that pressure                  8.7.1 Pre-Sampling Activities.
                                                                                                         for at least 24 hours.                                   8.7.1.1 Clean canisters and verify
                                                 concentration of the individual target
                                                                                                            8.5.2 Connect each canister to the                 that the canisters meet cleanliness and
                                                 compounds is ≤20 pptv or undetected
                                                                                                         analytical system and measure the                     vacuum criteria specified in Sections
                                                 (whichever is more stringent) per
                                                                                                         concentration of each target compound                 8.3 through 8.5 of this method.
                                                 compound of interest at 101.3 kPa                                                                                8.7.1.2 If canisters were previously
                                                 absolute (29.92 in. Hg or 14.7 psia).                   according to the procedures in Section
                                                                                                         11 of this method.                                    cleaned and stored under pressure
                                                   8.4.1.2 Humidify the purge gas to
                                                                                                            8.5.3 The canister background                      while awaiting use, you must evacuate
                                                 >50% RH and measure the humidity by
                                                                                                         concentration for each target compound                the canisters prior to field deployment.
                                                 placing a calibrated hygrometer probe in
                                                 the humidified gas stream.                              must be ≤20 pptv (0.02 ppbv) or                       If canisters were stored under vacuum,
                                                   8.4.1.3 If using a bubbler-type                       undetected (whichever is more                         you must verify that the canisters
                                                 humidifier, ensure that the downstream                  stringent) when a canister is filled to               continue to meet vacuum threshold
                                                 pressure is lower than the humidifier                   22.1 psi absolute (152 kPa absolute).                 requirements.
                                                 upstream pressure to avoid backflow of                     8.5.4 Canisters that meet the blank                   8.7.1.3 Clean and verify the
                                                 the water.                                              criteria are suitable to be evacuated for             cleanliness and flowrates of sample
                                                   8.4.2 Pre-Evacuation of Canisters.                    use. If a canister fails to meet the                  devices that you will use for sampling
                                                 You may need to repeat the pre-                         criteria, you must not use that canister              and ensure that a clean particulate filter
                                                 evacuation process for canisters that                   until it has been re-cleaned and has met              is placed in the inlet of the sampling
                                                 contain VOCs at higher concentrations.                  the requirements in Section 8.5.3 of this             device.
                                                   8.4.2.1 Pre-evacuate canisters to be                  method.                                                  8.7.1.4 Establish sample codes
                                                 cleaned prior to connection to the                         8.5.5 Prior to field deployment,                   (unique identifiers) and develop field
                                                 canister cleaning system. To reduce the                 evacuate canisters to ≤0.0067 kPa                     data page and/or chain of custody
                                                 potential for contamination of the                      (≤0.002 in. Hg or 0.001 psia).                        (COC)/sample collection data form(s).
                                                 system, attach the canisters to an oil-free                8.6 Cleaning of Sampling                              8.7.1.5 If shipping equipment into
                                                 roughing pump and evacuate to                           Components.                                           the field, make sure you have the proper
                                                 approximately 7 kPa absolute (28 in. Hg                    8.6.1 Follow the manufacturer’s                    number of canisters and sampling
                                                 vacuum or 1.0 psia) with the exhaust of                 instructions for cleaning components                  devices for the number of samples
                                                 the pump directed to a fume hood or                     such as flow controllers and sampling                 required for the sampling location and
                                                 passed through a charcoal trap.                         unit parts, when necessary.                           QC samples, allowing for sufficient
                                                   8.4.2.2 Refill canisters to ambient                                                                         timing for samples to arrive at the site.
                                                                                                          Note: Disassembly of such instruments                   8.7.1.6 Develop a unique sampling
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                                                 pressure with HCF zero air.                             may void warranties or calibrations.
                                                   8.4.2.3 Attach the canisters to the                                                                         location ID. The sampling location must
                                                 cleaning system after completing the                      8.6.1.1 Flush the sampling units                    meet any requirements set in the
                                                 pre-evacuation and refilling steps.                     with humidified HCF zero air to remove                applicable regulation and be in a secure
                                                   8.4.3 Canister Heating During                         contamination for at least 15 minutes.                location that protects the canister and
                                                 Cleaning.                                                 8.6.1.2 Disassemble sampling                        sampling inlet from unwanted
                                                   8.4.3.1 Heat canisters by placing                     components and visually inspect for                   tampering or damage. The sampling
                                                 them in an enclosed oven during                         cracks, abrasions, and residue prior to               location must also be located away from


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                                                 the immediate vicinity of any biasing                      8.7.3.6 Attach the sampling device                 in the same manner as the method blank
                                                 sources (e.g., outdoor smoking areas;                   to the canister and locate at the                     (MB) described in Section 9.3.2 of this
                                                 vehicle exhaust; heating, ventilation,                  appropriate sampling location. Record                 method) to approximately 15 in. Hg ± 1
                                                 and air conditioning units/building                     the sampling location ID, latitude,                   in. Hg . Record the pressure and
                                                 exhaust; outdoor fuel storage areas;                    longitude, date, and time that you                    transport to the field site(s) to
                                                 shelter roofing materials; or exhaust                   installed the canister on the field data              accompany field-collected canisters.
                                                 from other sample collection devices).                  page.                                                 Canister field blanks are to be treated
                                                 In general, horizontal distances should                    8.7.3.7 Measure and record the                     identically to field-collected samples in
                                                 be >10 meters (m) from biasing sources.                 canister vacuum using the field pressure              the field and laboratory including
                                                    8.7.2 Sample Setup Activities.                       measurement gauge, and verify that the                pressure checks, MFCD leak checks, etc.
                                                    8.7.2.1 You must place the canister                  canister has not leaked and has                       The field blanks are analyzed by
                                                 in a location that protects the canister                sufficient vacuum to collect the sample.              interspersing them among the field
                                                 and sampling inlet from unwanted                        You must replace the canister if the                  samples.
                                                 tampering, damage, or theft.                            initial pressure is not within ¥1 in. Hg                 8.7.6 Canister Field Spike. For each
                                                    8.7.2.2 Protect the canister and                     absolute zero (¥3.39 kPa or 0.5 psi).                 sample day, you must collect a canister
                                                 sampling inlets by placing the canister                    8.7.3.8 Conduct leak checks as                     field spike. A canister field spike is
                                                 under shelter, if possible. Do not restrict             specified in Section 8.3.2 of this method             prepared by filling a canister with
                                                 air flow around inlets and do not locate                and record the results on the field data              humidified standard gas at a
                                                 inlets under building overhangs.                        page.                                                 concentration in the lower third of the
                                                    8.7.2.3 Do not place the canister                       8.7.3.9 Open the canister valve.                   calibration curve for the target
                                                 near vegetation or structures that block                Record the date and time that you                     compound to approximately ¥15 in. Hg
                                                 or significantly restrict air flow to the               opened the valve as the start time, and               ± 1 in. Hg. The field spike canister is
                                                 MFCD inlet or manifold. Ensure that                     record the initial canister vacuum/                   transported to the field site to
                                                 rain cannot be drawn directly into the                  pressure and any other comments such                  accompany field-collected canisters and
                                                 MFCD, and the inlet heights must be                     as unusual events or conditions that                  treated identically to field-collected
                                                 approximately 1.5 to 3 m above ground                   may impact sample results on the field                samples in the field and laboratory,
                                                 level.                                                  data page.                                            including pressure checks, MFCD leak
                                                    8.7.3 Sample Setup and                                  8.7.3.10 Sample for the period as                  checks, etc. The field spikes are
                                                 Deployment. Perform the following                       defined in the applicable standard (e.g.,             analyzed by interspersing them among
                                                 steps at the time of sample setup and                   24 hours +/¥1 hour).                                  the field samples. Field spike
                                                 deployment.                                                8.7.3.11 At the end of the sampling                acceptance criteria should be within
                                                    8.7.3.1 Based on the applicable                      period, close the valve. Record the date              ±30% of the theoretical spiked
                                                 standard, determine the appropriate                     and time that you closed the valve as                 concentrations.
                                                 number and placement of sampling                        the end time.                                            8.7.7 Prepare and secure the
                                                 locations at the fenceline. The                            8.7.3.12 Remove the sampling                       canisters for transport. You must ship
                                                 applicable standard will define the                     device and attach the field pressure                  canisters in protective hard-shell boxes
                                                 sampling schedule (e.g., one sampling                   measurement gauge.                                    and/or sturdy cardboard boxes to ensure
                                                 event over a 5-day period) and the                         8.7.3.13 Open the canister valve and               canister longevity. Do not use boxes that
                                                 sampling period. All sampling locations                 measure and record the final canister                 have lost integrity or rigidity.
                                                 must initiate sampling within 60                        vacuum/pressure and any other                            8.8 Method Detection Limit (MDL)
                                                 minutes of each other.                                  comments such as unusual events or                    Determination. Determine the MDL
                                                    8.7.3.2 You must document all                        conditions that may impact sample                     under the analytical conditions selected
                                                 activities associated with sampling on                  results on the field data page. Flag any              (see Section 11 of this method) using the
                                                 the field data page. (See Figure 4 in                   canisters with a final pressure greater               procedures in this section.
                                                 Section 17 of this method for an                        than ¥3 in. Hg gauge pressure (10.2                      8.8.1 Prepare at least seven blank
                                                 example field data page.) You may                       kPag or ¥1.5 psig).                                   samples according to the procedures
                                                 choose to use this field data page as the                  8.7.3.14 Disconnect the field                      Section 9.3.2 of this method using
                                                 COC, or you may choose to establish a                   canister pressure measurement gauge                   sampling media (i.e., canisters) that
                                                 separate COC form. The chain of                         and replace with a cap.                               have been deployed in the field, and
                                                 custody will accompany the canisters                       8.7.3.15 If applicable, verify the                 cleaned per Section 8.4 of this method.
                                                 during shipment and collection to                       sample device is still in working order               The blank samples must be prepared in
                                                 document sample handling and                            and verify the flow rate setting with a               at least three batches on three separate
                                                 transport.                                              reference flow meter. Record the final                calendar dates and analyzed on three
                                                    8.7.3.4 Verify that each canister has                flowrate on the field data page.                      separate calendar dates according to the
                                                 been blanked within the last 30 days.                      8.7.4 Field Duplicates. For each                   procedures in Section 11 of this method.
                                                 Label each canister with a sample ID                    sampling day, you must include the                       8.8.2 Prepare at least seven spike
                                                 code and record the canister and sample                 collection of a separate co-located                   samples according to the procedures in
                                                 ID on the field data page. You must not                 sample for at least one sampling                      either Section 10.2 or 10.3 of this
                                                 use a use a canister for sampling that                  location. The collocated duplicate must               method, at a concentration of the target
                                                 has not been blanked within 30 days of                  be sampled using a discrete MFCD. The                 compound within a factor of five of the
                                                 sampling.                                               collection of the field duplicates must               expected detection limits. The spike
                                                    8.7.3.5 Verify the sample device is
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                                                                                                         follow the same procedure and occur at                samples must be prepared in at least
                                                 in working order and calibrate/verify                   the same time as the co-located field                 three batches on three separate calendar
                                                 the flow rate setting, if applicable, with              sample.                                               dates and analyzed on three separate
                                                 a reference flow meter. Record the                         8.7.5 Canister Field Blanks. For each              calendar dates according to the
                                                 sample device ID, expected flowrate,                    sample day, you must collect canister                 procedures in Section 11 of this method.
                                                 and the reference flowrate if calibrated/               field blanks. A canister blank is                        8.8.3 Compute the standard
                                                 verified in the field, including the                    prepared by filling a canister with                   deviation for the replicate blank
                                                 reference flow meter if applicable.                     humidified clean diluent gas (prepared                samples concentrations and multiply


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                                                 this value by 3.14 to determine the                       of a certified standard in a canister at a                  instrument method as the standards and
                                                 blank MDL (MDLb).                                         concentration in the lower third of the                     field samples in the analytical sequence.
                                                    8.8.4 Compute the standard                             calibration curve. This certified                           Your MB must be the same diluent used
                                                 deviation for the replicate spike sample                  standard must be prepared from the                          for sample dilution.
                                                 concentrations and multiply this value                    same standard used for the ICAL                                9.3.3 Canister Field Blank. Analyze
                                                 by 3.14 to determine the spike MDL                        standards.                                                  the canister field blank as part of the
                                                 (MDLs).                                                      9.2.1 Analyze a CCV for each target                      same analytical sequence as the
                                                    8.8.5 Select the greater of MDLb or                    oHAP prior to analyzing samples, after                      accompanying field samples.
                                                 MDLs as the MDL for the compound of                       every 10 sample injections, and at the
                                                 interest. The results must demonstrate                    end of the analytical sequence. Prepare                        9.3.4 Calibration Blank (CB).
                                                 that the method is able to detect                         a humidified CCV standard as a dilution                     Analyze the CB when the ICAL is
                                                 analytes such as ethylene oxide at                        of a certified standard in a canister at a                  established and when preparing any
                                                 concentrations less than 20 pptv and at                   concentration in the lower third of the                     new CCV standard using the same
                                                 least 1/10th of the lowest concentration                  calibration curve. This certified                           instrument method that was used for
                                                 of interest (i.e., action-level), whichever               standard must be prepared from the                          standards and field samples when
                                                 is larger. If the MDL does not meet the                   cylinder used for the ICAL standards.                       establishing the ICAL. The CB consists
                                                 concentration requirement, perform                           9.2.2 The internal standard (IS) area                    of a canister filled with the humidified
                                                 corrective action and repeat the MDL                      responses for each CCV standard must                        (40 to 50% RH) clean diluent gas
                                                 determination.                                            meet the criteria outlined in Section                       sourced through the dilution system
                                                    8.8.6 MDL determinations must be                       10.8.1.5 of this method, and the                            employed to prepare standards. For
                                                 repeated at least annually or whenever                    quantitated concentrations of the target                    laboratories that do not employ a
                                                 significant changes have been made to                     compounds for each CCV standard must                        dynamic or automated static dilution
                                                 the sampling or analytical system.                        be within ±30% of the theoretical                           system, the CB consists of a humidified
                                                    Note: The MDL calculation is based on                  concentrations as determined using                          (40 to 50% RH) canister of the gas used
                                                 single-tailed 99th percentile t static at six             Equation 4 in Section 12 of this method.                    to dilute the calibration standard.
                                                 degrees of freedom. Additional blank or spike                9.2.3 If the CCV is not within                              9.4 Duplicate samples must be
                                                 samples would increase the degrees of                     specifications, you must invalidate any                     analyzed and reported as part of this
                                                 freedom.                                                  results after the last successful CCV.                      method. They are used to evaluate
                                                                                                           You must investigate and address CCV                        sampling and/or analytical precision.
                                                 9.0 Quality Control                                       failures and initiate corrective actions,
                                                                                                                                                                          9.4.1 Field Duplicate. The level of
                                                    Table 9–1 in this section lists the                    including, for example, reanalyzing the
                                                                                                                                                                       agreement between duplicate field
                                                 quality control (QC) parameters and                       CCV, preparing and analyzing a new
                                                                                                                                                                       samples is a measure of the precision
                                                 performance specifications for this                       CCV or standard canister, and
                                                                                                                                                                       achievable for the entire sampling and
                                                 method.                                                   performing a new ICAL.
                                                                                                              9.3 Blank Analyses. Analysis of all                      analysis. Analyze the field duplicate
                                                    9.1 Second Source Calibration
                                                                                                           blanks must demonstrate each target                         during the same analytical sequence as
                                                 Verification (SSCV) Standard.
                                                    9.1.1 Prepare a humidified SSCV                        compound is <20 pptv 14.7 psia or                           the accompanying field sample. The
                                                 standard in a canister at a concentration                 undetected (whichever is more                               RPD of the precision measurements
                                                 in the lower third of the calibration                     stringent) per compound of interest.                        should agree within ±30% when both
                                                 curve. The SSCV standard must contain                     Unless otherwise stated, the volume                         measurements are ≥5 times the MDL.
                                                 all compounds in the calibration                          used for analysis of blanks must match                      Flag associated results to indicate if the
                                                 mixture. The SSCV standard must be                        the volume of sample to be analyzed.                        RPD indicates poor method precision.
                                                 prepared independently from the                              9.3.1 Instrument Blanks (IB).                               9.4.2 Replicate Analysis. The level
                                                 calibration standards using a certified                   Analyze an IB at the beginning of the                       of agreement between replicate samples
                                                 secondary source calibration standard.                    sequence and prior to analysis of the                       is a measure of precision achievable for
                                                    9.1.2 Analyze the SSCV after the                       ICAL standard and daily CCV standard.                       the analysis. Analyze at least one
                                                 initial calibration (ICAL). Recovery of                      9.3.2 Method Blanks (MB). Analyze                        replicate analysis for each set of field-
                                                 each target oHAP in the SSCV standard                     a laboratory MB prior to and following                      collected samples. The RPD of the
                                                 must be within ±30% of the theoretical                    the ICAL in an ICAL sequence and prior                      precision measurements should agree
                                                 concentration.                                            to analyzing the CCV standard. The MB                       within ±25% when both measurements
                                                    9.2 Continuing Calibration                             consists of a canister filled with                          are ≥5 times the MDL. Flag associated
                                                 Verification (CCV) Standard. Prepare a                    humidified (40 to 50% RH) clean                             results to indicate if the RPD indicates
                                                 humidified CCV standard as a dilution                     diluent gas and is analyzed via the same                    poor method precision.
                                                                           TABLE 9–1—QUALITY CONTROL PARAMETERS AND PERFORMANCE SPECIFICATIONS
                                                       Parameter               Description and details                  Required frequency                     Acceptance criteria                  Corrective action

                                                 Analytical zero-air      Test of instrumentation to dem-       At installation prior to initial use    Analysis must show that any de-     Take steps to remove contamina-
                                                   verification.            onstrate cleanliness (positive        of the instrument.                      tected target compounds in the      tion attributable to the analyt-
                                                                            bias) by analyzing humidified                                                 zero-air challenge sample are       ical instrumentation by fol-
                                                                            zero air; performed by con-                                                   at response levels that are ex-     lowing the manufacturer’s in-
                                                                            necting the clean humidified                                                  pected to be <20 pptv or not        structions (e.g., analyzing rep-
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                                                                            gas sample to the pre concen-                                                 detected.                           licates of humidified clean
                                                                            trator to verify that the analyt-                                                                                 gas).
                                                                            ical instrument and all connec-
                                                                            tions are sufficiently clean.




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                                                                     TABLE 9–1—QUALITY CONTROL PARAMETERS AND PERFORMANCE SPECIFICATIONS—Continued
                                                       Parameter                 Description and details                   Required frequency                    Acceptance criteria                    Corrective action

                                                 Analytical known-          Test to demonstrate that the ana-      At installation prior to initial use   Verifies that all target compounds   Check for cold spots in transfer
                                                   standard challenge         lytical instrumentation                of the instrument and with in-         are detected by the system,          line, gas impurities, sorbent
                                                   for analytical instru-     (preconcentrator and GC–MS             strument’s annual calibration.         that they respond consistently       traps, GC column, system
                                                   mentation.                 system) is not causing loss of                                                upon repeated injection, and         leaks, and/or poor moisture
                                                                              compounds (negative bias).                                                    that they exhibit sufficient re-     management. Consult instru-
                                                                                                                                                            sponse to be quantifiable at         ment manufacturer for steps to
                                                                                                                                                            low concentrations (see Sec-         eliminate bias, as necessary.
                                                                                                                                                            tion 8.2.2 of this method).
                                                 Zero-air challenge of      After establishing the ICAL, each      Prior to initial use, upon replace-    Each target VOC’s concentration      (1) Heat and purge any lines,
                                                   autosamplers asso-         port of the autosampler is test-       ment of transfer lines, or after       must be <20 pptv or preferably       and/or
                                                   ciated with analyt-        ed to demonstrate cleanliness          analysis of potentially contami-       not detected (see Section 8.2.3    (2) Rinse with deionized water,
                                                   ical instrument sys-       (positive bias) by analyzing hu-       nating samples.                        of this method).                     dry, and purge any lines that
                                                   tems.                      midified zero air; performed by                                                                                    fail.
                                                                              connecting the clean humidi-
                                                                              fied gas sample to the port to
                                                                              verify that transfer lines and all
                                                                              connections are sufficiently
                                                                              clean.
                                                 Known-standard chal-       After establishing the ICAL, each      Prior to initial use and upon re-      Each target VOC’s concentration      (1) Heat and purge any lines,
                                                   lenge of                   port of the autosampler is test-       placement of transfer lines.           within ±15% of theoretical con-      and/or
                                                   autosamplers asso-         ed with a reference standard                                                  centration (see Section 8.2.3 of   (2) Rinse with deionized water,
                                                   ciated with analyt-        (approximately 100 to 500                                                     this method).                        dry, and purge any lines that
                                                   ical instrument sys-       pptv) to demonstrate that the                                                                                      fail.
                                                   tems.                      autosampler is not causing
                                                                              bias (typically loss of com-
                                                                              pounds or negative bias).
                                                 Canister leak check ...    Verification that canisters are        Prior to initial use and annually      A pressure change ≥0.69 kPa/         (1) Remove from service, and
                                                                              leak-free by performing a pres-        thereafter.                            day (see Section 8.3.2 of this     (2) Repair canister connections
                                                                              sure decay test of a canister                                                 method).                             and/or valve.
                                                                              pressurized to approximately
                                                                              203 kPa absolute (29.4 psia)
                                                                              over the course of two days.
                                                 Canister zero-air          Test of canisters to determine         Initially upon receipt in the lab-     Upon initial analysis after a min-   (1) Clean and retest canisters
                                                   verification.              that they are and remain ac-            oratory and every 18 months           imum of 24 hours and after 7         that fail the zero-air
                                                                              ceptably clean (show accept-            thereafter.                           days, each target VOC’s con-         verification.
                                                                              ably low positive bias) over the                                              centration ≤20 pptv at 152 kPa     (2) Remove canisters from serv-
                                                                              course of 7 days, by filling with                                             absolute (22.1 psia).                ice that cannot pass the zero-
                                                                              humidified zero air (not nitro-                                                                                    air verification after the clean-
                                                                              gen).                                                                                                              ing process.
                                                 Known-standard chal-       Test of canisters to determine         Initially upon receipt in the lab-     Upon initial analysis after a min-   (1) Clean and retest canisters
                                                   lenge of canisters         bias by filling with a known ref-       oratory and every 18 months           imum of 24 hours and subse-          that fail the zero-air
                                                   for qualification.         erence standard (approxi-               thereafter.                           quent analysis at 30 days or         verification.
                                                                              mately 100 to 500 pptv) pre-                                                  typical laboratory holding time,   (2) Remove canisters from serv-
                                                                              pared in humidified zero air                                                  each target VOC’s concentra-         ice that cannot pass the zero-
                                                                              (not nitrogen) and analyzing.                                                 tion must remain within ±30%         air verification after the clean-
                                                                                                                                                            of theoretical concentration         ing process.
                                                                                                                                                            (see Section 8.3.4 of this
                                                                                                                                                            method).
                                                 Zero-air challenge of      Assessment of positive bias of         Prior to initial field deployment      Analysis must show that the tar-     (1) Take steps to remove the
                                                   sampling devices.          sampling system by collecting          and every twelve months                get compounds in the zero-air        contamination attributable to
                                                                              humidified zero air through the        thereafter, following mainte-          challenge sample collected           the sampling unit (e.g., purging
                                                                              sampling device/system and             nance (component replace-              through the sampling unit are        with HCF zero air overnight or
                                                                              comparing it to the reference          ment), or after collection of po-      not >20 pptv higher than the         longer).
                                                                              sample collected upstream of           tentially contaminating sam-           concentration in the reference     (2) Disassemble and clean. See
                                                                              the sampling device/system.            ples.                                  sample (see Section 8.1.5 of         Section 8.6 of this method.
                                                                                                                                                            this method).
                                                 Flow control flow          Verification of the mechanical         Prior to and after each field sam-     Flow measurement must dem-           (1) Recalibrate or use a different
                                                   check.                     flow control device (MFCD)             pling event                            onstrate that the MFCD flow          MFCD for the sampling event
                                                                              flow rate.                                                                    rate is within ±10% of the cali-     as appropriate.
                                                                                                                                                            brated flow setting.               (2) Flag any sample(s) collected
                                                                                                                                                                                                 with a failing post-flow control
                                                                                                                                                                                                 flow check.
                                                 Known-standard chal-       Assessment of bias of sampling         Prior to initial field deployment      Each target VOC’s concentration      (1) Take steps to remove the
                                                   lenge of sampling          system by collecting a known           and at least every twelve              within ±15% of concentrations        contamination attributable to
                                                   devices/systems.           reference standard (approxi-           months thereafter, following           in the reference sample.             the sampling unit (e.g., purging
                                                                              mately 100 to 500 pptv)                maintenance (component re-                                                  with HCF zero air overnight or
                                                                              through the sampling device/           placement), or after collection                                             longer).
                                                                              system and comparing it to the         of potentially contaminating                                              (2) Disassemble and clean. See
                                                                              reference standard collected           samples or damaging sample                                                  Section 8.6 of this method.
                                                                              upstream of the sampling de-           matrices that may impact the
                                                                              vice/system.                           activity of the flow path sur-
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                                                                                                                     faces.
                                                 Purge gas check .......    Analysis of canister cleaning          Verified upon initial setup and in     Each target VOC’s concentration      Replace hydrocarbon trap, cata-
                                                                              purge gas to ensure contami-           the event of changes in gas            <20 pptv (see Section 8.4.1 of       lytic oxidizer, contaminated
                                                                              nants are acceptably low.              sourcing or after the replace-         this method).                        tubing, etc.
                                                                                                                     ment of scrubbers such as hy-
                                                                                                                     drocarbon traps and moisture
                                                                                                                     traps, or following maintenance
                                                                                                                     of zero-air generator.




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                                                                       TABLE 9–1—QUALITY CONTROL PARAMETERS AND PERFORMANCE SPECIFICATIONS—Continued
                                                        Parameter                   Description and details                 Required frequency                    Acceptance criteria                   Corrective action

                                                 Canister cleaning             Analysis of a sample of humidi-       Every canister from each batch        Upon analysis 24 hours after fill-   (1) Reclean canister, and/or
                                                   blank check.                  fied diluent gas in a canister        of cleaned canisters.                 ing, each target VOC’s con-        (2) Disassemble and clean the
                                                                                 after cleaning to ensure ac-                                                centration must meet the can-        components according to Sec-
                                                                                 ceptably low levels of VOCs in                                              ister blank acceptance criterion     tion 8.6 of this method.
                                                                                 the cleaned canisters.                                                      .(i.e., ≤20 pptv at 152 kPa ab-
                                                                                                                                                             solute, 22.1 psia) (see Section
                                                                                                                                                             8.5 of this method).
                                                 Holding time ..............   Duration from end of sample col-      Each field-collected or laboratory    ≤8 days                              (1) Reprepare any lab standard
                                                                                lection or canister preparation        QC (standard or blank) can-                                                or blank.
                                                                                to analysis.                           ister.                                                                   (2) Flag the results of any sam-
                                                                                                                                                                                                  ple analyzed outside of holding
                                                                                                                                                                                                  time.
                                                 Bromofluorobenzene            Injection of 1 to 2 nanograms         Prior to ICAL and prior to anal-      Abundance criteria for BFB listed    (1) Retune, and/or
                                                   instrument tune per-           (ng) BFB for tune verification       ysis of each day’s analytical         in Table 5 in Section 17 of this   (2) Perform maintenance.
                                                   formance check.                of quadrupole or ion trap MS         batch.                                method (see Section 10.7.2 of
                                                                                  detector.                                                                  this method)
                                                 Retention time (RT) ...       RT of each IS and target com-         All qualitatively identified com-     IS compounds and target oHAP         Flag data for possible invalida-
                                                                                  pound.                                pounds and internal standards.       within ±2 seconds of most re-        tion.
                                                                                                                                                             cent calibration check.
                                                 Samples—internal              Deuterated or other compounds         All laboratory QC samples, and        Area response for each IS com-       Flag data for possible invalida-
                                                   standards (IS).               not typically found in ambient         field-collected samples.             pound must be within ±30% of         tion.
                                                                                 air co-analyzed with samples                                                the average response as de-
                                                                                 to monitor instrument response                                              termined from the most recent
                                                                                 and assess matrix effects.                                                  calibration check.
                                                 Initial calibration           Analysis of a minimum of five         Before sample analysis, following     Average Relative Response Fac-       (1) Repeat calibration standard
                                                    (ICAL).                      calibration levels covering ap-       failed BFB tune check (as ap-         tor (RRF) ≤30% RSD and each          analysis.
                                                                                 proximately 20 to 5000 pptv.          plicable), failed IS criteria, or     calibration level within ±30% of   (2) Repeat linearity check.
                                                                                                                       failed CCV criteria; annually, or     theoretical concentration; Rel-    (3) Prepare new calibration
                                                                                                                       when changes/maintenance to           ative Retention Times (RRTs)         standards as necessary and
                                                                                                                       the instrument affect calibration     for target peaks within 0.06         repeat analysis.
                                                                                                                       response.                             units from mean RRT.
                                                 Second source cali-           Analysis of a secondary source        Immediately after each ICAL.          Measured concentrations of           (1) Repeat SSCV analysis.
                                                   bration verification          standard in the lower third of                                              VOCs must be within ±30% of        (2) Reprepare and reanalyze
                                                   (SSCV).                       the calibration curve to verify                                             theoretical concentration (see       SSCV standard.
                                                                                 ICAL accuracy for each target                                               Section 9.1 of this method).
                                                                                 analyte.
                                                 Continuing calibration        Analysis of a known standard in       Prior to analyzing samples in an      Measured concentrations of           (1) Repeat CCV analysis.
                                                   verification (CCV).           the lower third of the calibra-       analytical sequence and at the       VOCs within ±30% of theo-           (2) Repeat ICAL.
                                                                                 tion curve to verify ongoing in-      end of a sequence, unless the        retical concentration (see Sec-
                                                                                 strument calibration for each         sequence begins with an ICAL;        tion 9.2 of this method).
                                                                                 target analyte.                       and after every 10 sample in-
                                                                                                                       jections.
                                                 Instrument blank (IB)         Analysis of an injection where no     Prior to ICAL and at the begin-       Each target VOC’s concentration      (1) Repeat IB analysis.
                                                                                 sample or standard is intro-          ning of an analytical sequence.       must be <20 pptv (see Section      (2) Bakeout preconcentrator sys-
                                                                                 duced to the preconcentrator                                                9.3.1 of this method).               tem and repeat IB analysis.
                                                                                 to preliminarily demonstrate                                                                                   (3) Replace contaminated tubing/
                                                                                 the carrier gas and instrument                                                                                   traps as needed.
                                                                                 are sufficiently clean to begin
                                                                                 analysis.
                                                 Method blank (MB) ....        Canister filled with clean, humidi-   Prior to and following the ICAL       This must demonstrate accept-        (1) Repeat analysis.
                                                                                 fied diluent gas; indicates that      and daily following the IB/BFB        ably low carryover in the ana-     (2) Reprepare the MB canister
                                                                                 target VOCs and potential             and prior to the initial daily        lytical system prior to analysis     and reanalyze.
                                                                                 interferences are at acceptably       CCV/SSCV.                             of samples; each target VOC’s      (3) Check the system for leaks.
                                                                                 low levels in the system as a                                               concentration must be <20
                                                                                 whole; the MB is to help as-                                                pptv (see Section 9.3.2 of this
                                                                                 sess overall quality of the data.                                           method).
                                                 Calibration blank (CB)        Canister filled with clean, humidi-   Prepare one CB with each set of       CB must be sufficiently clean        (1) Reanalyze CB.
                                                                                 fied diluent gas sourced              calibration standard canisters        such that little or no positive    (2) Reprepare CB and ICAL can-
                                                                                 through the standard prepara-         and analyze with each ICAL            bias is imparted to the calibra-     ister standards.
                                                                                 tion dilution system; indicates                                             tion (see Section 9.3.3 of this
                                                                                 that diluent gas and dilution                                               method).
                                                                                 apparatus do not contribute
                                                                                 target VOCs, imparting a posi-
                                                                                 tive bias to the ICAL
                                                 Method precision .......      Duplicate samples: precision is       Applicable to the collection of       Precision ≤30% RPD of target         (1) Check for preconcentrator
                                                                                 determined from the analyzed          samples: one per sampling             VOCs in the compared sam-            volume measurement error.
                                                                                 concentrations of collocated          day.                                  ples when both measurements        (2) Reanalyze primary sample
                                                                                 samples.                                                                    are ≥ fivefold MDL (see Sec-         and collocated duplicate.
                                                                                                                                                             tion 9.4 of this method).          (3) Flag data for possible invali-
                                                                                                                                                                                                  dation.
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                                                 Instrument precision ..       Precision is determined from re-      One replicate analysis to be per-     Precision ≤25% RPD for target        (1) Check for preconcentrator
                                                                                 peated analyses of a sample          formed with each sampling              VOCs when both measure-              volume measurement error.
                                                                                 from a single canister; replicate    day.                                   ments are ≥ fivefold MDL (see      (2) Reanalyze primary sample
                                                                                 analyses are used to deter-                                                 Section 9.4 of this method).         and collocated duplicate.
                                                                                 mine precision of the analysis                                                                                 (3) Flag data for possible invali-
                                                                                 processes and do not provide                                                                                     dation.
                                                                                 information on sampling preci-
                                                                                 sion.




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                                                                    TABLE 9–1—QUALITY CONTROL PARAMETERS AND PERFORMANCE SPECIFICATIONS—Continued
                                                        Parameter               Description and details                Required frequency                  Acceptance criteria                  Corrective action

                                                 Preconcentrator leak      Pressurize or evacuate the can-       Each canister connected to the      <3.4 kPa (0.5 psi) change per     Check the tightness of all fittings
                                                   check.                    ister connection to verify as         instrument prior to analysis.       minute or as recommended by       and recheck.
                                                                             leak-free.                                                                the manufacturer (see Section
                                                                                                                                                       11.4.2 of this method).



                                                 10.0     Calibration and Standardization                     10.2.3.2 You must prepare                                10.5 Pre-Concentration System
                                                   10.1 Humidification of Canisters.                       humidified (40 to 50% RH) standards in                   Operation. Condition preconcentrator
                                                   10.1.1 Calculate the volume of water                    canisters from low concentration to high                 traps when first installed to eliminate
                                                 you must add to standard and blank                        concentration. When changing stock gas                   contaminants that act as interferences or
                                                 canisters to achieve 40 to 50% RH at                      flow rate(s) to prepare a different                      chromatographic artifacts, per
                                                 ambient laboratory temperature. (See                      concentration, allow the calibration gas                 manufacturer recommendation. After
                                                 Equation 6 in Section 12 of this                          sufficient time to flow through the                      the recommended conditioning
                                                 method).                                                  system prior to preparation of the                       procedure is completed, analyze the IBs
                                                   10.1.2 Use a bubbler or impinger                        working calibration canister (or                         and MBs to verify the preconcentrator
                                                 within the dilution gas stream, add                       delivering the working standard directly                 system meets the method criteria.
                                                 water to the canister, or use a                           to the preconcentrator).                                   Note: For preconcentrator traps that
                                                 combination of these two methods to                          10.2.3.3 The final pressure of the                    contain multiple types of sorbent beds, the
                                                 add the calculated volume of deionized                    calibration standard canister must not                   oven temperature must not exceed the lowest
                                                 water to the canister necessary to                        exceed the maximum pressure                              conditioning temperature of the sorbents
                                                 achieve internal RH of approximately 40                   permitted by the preconcentrator.                        contained in the trap.
                                                                                                              10.2.2.4 Calculate the final
                                                 to 50% at ambient laboratory                                                                                          10.6 GC–MS System. Optimize GC
                                                                                                           concentration of the diluted standard
                                                 temperature. For direct injection of                                                                               conditions for compound separation
                                                                                                           using Equation 7 in Section 12 of this
                                                 water into a canister with a syringe,                                                                              and sensitivity as indicated by baseline
                                                                                                           method.
                                                 install a high-pressure PTFE-sealed                          10.3 Static Dilution.                                 separation for the targeted compounds
                                                 septum on the canister. For canisters                        10.3.1 Static Gas Dilution System.                    by establishing GC carrier gas flow rates,
                                                 that are to be connected to a gas source                  The gas dilution system shall produce                    oven temperature program, and
                                                 for pressurization via a dynamic or                       calibration gases whose measured                         instrument run time based on the
                                                 static dilution system, you can add the                   values are within ±2% of the predicted                   manufacturer’s recommendations and
                                                 deionized water to the valve opening of                   values. The predicted values are                         customize, as needed, to separate the
                                                 the evacuated canister prior to                           calculated based on the certified                        desired target oHAPs.
                                                 connecting to the dilution system. Do                     concentration of the supply gases                           10.7 MS Tuning/Optimizing and
                                                 not add water to the canister using a                     (Protocol gases, when available, are                     Verification.
                                                 syringe via rubber septum or other                        recommended for their accuracy) and
                                                 materials that may introduce target or                                                                                10.7.1 General. Tune/optimize the
                                                                                                           their partial pressure measurements (or                  MS (quadrupole, ion trap, or TOF MS)
                                                 interfering compounds.                                    dilution ratios) in the prepared standard
                                                   10.2 Dynamic Dilution.                                                                                           to demonstrate acceptable performance
                                                                                                           canister.                                                across the selected ion mass range
                                                   10.2.1 Gas Dilution System. The gas                        10.3.2 Static Dilution by Addition of
                                                 dilution system must produce                                                                                       according to the manufacturer’s
                                                                                                           Partial Pressures into a Canister.                       specifications upon initial installation
                                                 calibration gases whose measured                             10.3.2.1 Connect a pressure
                                                 concentration values are within ±2% of                                                                             of the instrument and following
                                                                                                           transducer or gauge to an evacuated                      significant preventive maintenance or
                                                 the predicted values. The predicted                       canister to monitor the canister pressure
                                                 values are calculated based on the                                                                                 repair activities that impact the
                                                                                                           as you add gases. The pressure                           performance of the GC–MS system (e.g.,
                                                 certified concentration of the supply gas                 transducer or gauge must meet the
                                                 (Protocol gases, when available, are                                                                               cleaning the ion source or analyzer;
                                                                                                           requirements in Section 6.5 of this                      trimming or replacing the capillary
                                                 recommended for their accuracy) and                       method.
                                                 the gas flow rates (or dilution ratios)                                                                            column; and adjusting MS tune or
                                                                                                              10.3.2.2 Add stock and diluent gases                  optimization parameters).
                                                 through the gas dilution system.                          separately through a manifold or by
                                                   10.2.2 The gas dilution system must                     direct connection of the gas to the                         10.7.2 BFB Tuning Check. Before the
                                                 be calibrated and verified per Section                    standard canister or vessel.                             ICAL and at least once during every 24-
                                                 6.10.1 of this method.                                       10.3.2.3 Measure the canister                         hour period of analyzing samples,
                                                   10.2.3 Standards Preparation by                         pressure before and after standard and                   blanks, or calibration standards
                                                 Dynamic Dilution.                                         diluent gases are bled into the canister                 thereafter, you must conduct a BFB
                                                   10.2.3.1 Prior to use, power on the                     and input these pressures into the                       tuning check for linear quadrupole or
                                                 dynamic dilution system and allow the                     calculation of the dilution factor and                   ion trap MS instruments. The BFB
                                                 diluent and stock gases to flow through                   final concentrations.                                    tuning check may be combined with the
                                                 the respective MFC at operating flow                         10.3.2.4 Calculate the final                          IB.
                                                 rates. Allow gases to flow for at least the                                                                           10.7.2.1 Introduce 1 to 2 ng of BFB
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                                                                                                           concentration of each target compound
                                                 minimum time used during the yearly                       in the diluted standard using Equation                   into the preconcentrator and analyze the
                                                 bias check in Section 6.10.1.3 of this                    8 in Section 12 of this method.                          standard using the preconcentrator
                                                 method, to ensure the concentrations of                      10.4 Storage of Standards. Standards                  parameters established and used for the
                                                 the oHAPs in the blended gas are stable                   prepared in canisters at ambient                         analysis of calibration standards, QC
                                                 prior to transferring to the humidified                   laboratory conditions must be stored in                  samples, and field samples. You must
                                                 canister (or directly to the                              locations that are free of potential                     also use the method integration and
                                                 preconcentrator).                                         contaminants for up to 7 days.                           analysis parameters employed for


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                                                 routine analysis of standards, QC                       standard, field sample, blank, CCV)                   calibration curve for each target analyte
                                                 samples, and field samples.                             must be within ±30% of the mean area                  by determining the relative response
                                                    10.7.2.2 The BFB tuning check must                   response of the IS compound                           factor (RRF) of each concentration level.
                                                 show that the GC–MS system meets the                    determined from the ICAL determined                   Following data acquisition for the
                                                 mass spectral ion abundance criteria                    using Equation 10 in Section 12 of this               calibration standards, calculate the RRF
                                                 listed in Table 2 in Section 17 of this                 method or most recent calibration                     of each target compound in each
                                                 method for the target compounds before                  check, whichever is most appropriate.                 calibration level using Equation 10 in
                                                 you can use the system for any analysis.                   10.8.1.6 Choose the quantitation ion               Section 12 of this method.
                                                 If the GC–MS system cannot meet the                     for each IS compound as the most                         10.8.2.2.2 Choose the quantitation
                                                 BFB tuning criteria, adjust the tuning of               abundant ion (base peak) unless there is              ion for each target compound as the
                                                 the MS or take corrective actions. You                  a spectral interference from a coeluting              most abundant ion (base peak) unless
                                                 must not use this system until the                      or nearby compound or interference that               there is a spectral interference from a
                                                 abundance criteria has been met.                        impacts the quantitation of the base                  coeluting or nearby compound or
                                                    10.8 Internal Standards and                          peak. In such cases, select another                   interference that impacts the
                                                 Calibration.                                            abundant ion that is distinguishable                  quantitation of the base peak. In such
                                                    Method users must meet acceptance                    from the other compounds for                          cases, select another abundant ion that
                                                 criteria for the calibration and QC listed              quantitation.                                         is distinguishable from the other
                                                 in the following section for the suite of                  10.8.1.7 You must invalidate then                  compounds for quantitation.
                                                 target compounds.                                       reanalyze any samples for which the IS                   10.8.2.2.3 The %RSD of the RRFs of
                                                    10.8.1 Selection and Use of Internal                 area response differs by more than 30%                the ICAL levels for each target
                                                 Standards (IS).                                         from the mean IS area response.                       compound using Equation 17 in Section
                                                    10.8.1.1 Select IS compound(s) to be                    10.8.2 Establishing Calibration.                   12. The %RSD must be ≤30% for the
                                                 used for oHAP analysis. At a minimum,                   Calibrate the GC–MS initially, annually,              ICAL to be considered acceptable.
                                                 you must use a single IS compound. IS                   whenever CCV standards exceed                            10.8.2.2.4 The calculated
                                                 compounds must have similar retention                   acceptance criteria, or when the system
                                                                                                                                                               concentration for each target
                                                 times to the compounds being detected.                  is out of control as indicated by IS
                                                                                                                                                               compound(s) at each calibration level
                                                 Typical IS compounds include                            responses. Prior to calibration, analyze a
                                                                                                                                                               must be within ±30% of the theoretical
                                                 bromochloromethane; 1,4-                                sufficient number of humidified (40 to
                                                                                                                                                               concentration when quantitated against
                                                 difluorobenzene; chlorobenzene-d5; 1,2-                 50% RH) HCF zero air blanks or
                                                                                                                                                               the resulting calibration curve.
                                                 dichloroethane-d4; hexane-d14; toluene-                 humidified check standards to verify
                                                 d8; and 1,2-dichlorobenzene-d4.                         that instrument sensitivity is stable, as             11.0     Analytical Procedures
                                                    10.8.1.2 If using purchased IS stock                 indicated by IS response.                                11.1 Measurement of Canister
                                                 gases, evaluate the IS upon receipt for                    10.8.2.1 Preparation for Calibration.
                                                                                                            10.8.2.1.1 Prepare the calibration                 Receipt Pressure.
                                                 the presence of contaminants that may
                                                                                                         curve by preparing standards that                        11.1.1 Upon receipt at the
                                                 interfere with the quantitation of target
                                                                                                         bracket the expected concentration                    laboratory, review the sample collection
                                                 compounds by analyzing increasing
                                                                                                         levels at the sampling location(s).                   information documented on the field
                                                 volumes of the IS (e.g., 25, 50, 100, 250
                                                                                                            10.8.2.1.2 You must include at least               data page and/or COC form(s) for
                                                 milliliters [mL]) and examining the
                                                                                                         five levels in the ICAL to approximate                completeness and accuracy. Compare
                                                 results for compound contaminants
                                                                                                         concentrations of target oHAPs expected               the canister label with the sample
                                                 whose responses increase
                                                                                                         at the deployment location(s), including              collection data sheet and verify that the
                                                 proportionally with the increasing
                                                                                                         one level within a factor of five of the              canister and sample IDs are correct.
                                                 volume of IS analyzed. Do not use IS gas
                                                                                                         detection limits of the compounds of                     11.1.2 Measure and record the
                                                 standards that fail the MB acceptance
                                                                                                         interest, and another level within 10%                canister pressure using a calibrated
                                                 criteria.
                                                                                                         of the compound specific action-level,                vacuum/pressure gauge or transducer.
                                                    10.8.1.3 You must add the IS
                                                                                                         as defined in the applicable standard.                The measured canister absolute pressure
                                                 through a dedicated non-sample port in
                                                                                                                                                               must be within ±3.5 kPa (1 in. Hg or 0.5
                                                 the preconcentrator at the same                            Note: To establish the calibration curve,
                                                                                                                                                               psi) of that measured upon collection in
                                                 concentration for each injection (e.g.,                 the theoretical concentrations of the working
                                                                                                         calibration standards must be calculated              the field. Pressure differences exceeding
                                                 standard, sample, blank) to monitor
                                                                                                         using the certified concentration from the gas        this criterion indicate the canister has
                                                 instrument sensitivity and assess
                                                                                                         vendor or neat standard provider. Certificates        leaked and you must flag the results as
                                                 potential matrix effects. Choose the
                                                                                                         of analysis for stock standard gas mixtures           invalid.
                                                 concentration of IS added to each                       typically include both a nominal (or                     11.2 Dilution of Canister Samples. A
                                                 injection such that the peak area                       ‘‘requested’’) concentration (e.g., 100 ppbv)         canister must be pressurized to provide
                                                 response for the IS compound                            for each analyte and a certified concentration        sufficient pressure for removing an
                                                 approximates the area responses for                     (e.g., 108 ppbv), which should be within a
                                                                                                         specified tolerance (e.g., ±10%). These               aliquot from the canister for analysis.
                                                 target compounds in the lower half of
                                                                                                         tolerances may permit the certified                   Pressurize the canister with diluent gas
                                                 the calibration curve range, but that
                                                                                                         concentration to differ from the nominal              to a pressure less than or equal to the
                                                 minimally provides a peak that is on
                                                                                                         concentration by 10% to 20%, resulting in             final pressure of the standard gas
                                                 scale and does not exceed the area                      final theoretical concentration errors for the        canisters.
                                                 response of the highest calibration                     working-level standards when the nominal
                                                 standard.                                               concentration is input into standard                    Note: Minimum sample pressures will
                                                                                                                                                               depend on the size of the canister and the
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                                                    10.8.1.4 Internal Standard Retention                 concentration calculations instead of the
                                                 Time (RT). Each IS compound in each                     certified concentration. Calibration standards        capability of the preconcentrator to remove
                                                 sample injection must be within ±2                      prepared with neat materials must account             the desired aliquot of the sample and will be
                                                                                                         for the standard purity when calculating the          indicated by the instrument manufacturer.
                                                 seconds of the RT for each IS compound
                                                 in the most recent calibration.                         working standard concentrations.                        11.2.2 Measure the canister pressure
                                                    10.8.1.5 Internal Standard Response.                   10.8.2.2 Calibration Curve.                         using a calibrated vacuum/pressure
                                                 The area response for each IS compound                    10.8.2.2.1 Following analysis of all                gauge or pressure transducer just prior
                                                 in each injection (e.g., calibration                    calibration standards, prepare a                      to dilution and immediately following


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                                                 dilution and calculate the canister                        11.4.1.5 Following the successful                  must not include peak shoulders or
                                                 dilution correction factor (DFC) from the               leak check, evacuate all autosampler                  inflections indicative of a coelution. If a
                                                 two absolute pressure readings (see                     ports or sample introduction lines, open              peak has not been integrated properly,
                                                 Equation 12 in Section 12 of this                       the canister valves, and document the                 you may choose to manually integrate
                                                 method).                                                leak check results in the analysis                    the peak. If a peak has been manually
                                                    11.2.3 You must allow diluted                        records.                                              integrated, you must flag the results and
                                                 canisters to equilibrate for a minimum                     11.4.2 Sample Introduction.                        report how and why the peak was
                                                 of 12 hours before analysis.                               11.4.2.1 Prior to each sample                      manually integrated.
                                                    11.3 Sample Preconcentration. Draw                   analysis sequence, you must connect                     Note: Deconvolution techniques may be
                                                 a measured aliquot of the whole air                     each sample canister to the                           available to the operator to help resolve
                                                 sample (typically 100 to 1000 mL) from                  preconcentration unit through a port                  compound coelutions, depending on the
                                                 the sample canister by vacuum through                   and verify each canister as having a                  particular instrument and chromatography
                                                 a preconcentrator to minimize the                       leak-free connection.                                 software package that is in use.
                                                 moisture and bulk atmospheric gases                        11.4.2.2 Accurately measure the                      11.5.2 Identify target compounds
                                                 (e.g., oxygen, nitrogen, argon, and                     sample aliquot volume for analysis by                 qualitatively based on their RT and the
                                                 carbon dioxide) from the sample aliquot                 metering the sample with an MFC or                    relative abundance of their
                                                 prior to introduction of the target                     with the combination of a fixed-volume                characteristic ions from the MS by
                                                 compounds to the GC.                                    vessel and a pressure transducer.                     satisfying the following four criteria. If
                                                                                                         Sample introduction volume                            any of the four criteria are not met, the
                                                    Note: Preconcentrator instrument
                                                                                                         measurements must be made by the                      compound cannot be positively
                                                 manufacturers will typically indicate the
                                                 optimum factory default settings for the                same device as the calibration standards              identified.
                                                 sample aliquot volume, trapping time,                   to ensure that analyzed volumes of
                                                                                                         samples and standards are consistent.                   Note: Target compounds detected below
                                                 trapping temperature, gas flows, and
                                                                                                            11.4.3 Analysis of Field Samples.                  the lowest calibration standard are estimated
                                                 additional preconcentration parameters.
                                                                                                         Perform the following steps for readying              and may not be able to satisfy all four
                                                 Adjust each of these variables as needed for
                                                                                                                                                               criteria.
                                                 the target compounds.                                   the system and performing the GC–MS
                                                                                                         analytical sequence. Once these checks                   11.5.2.1 The RT of the compound
                                                    11.4 Sample Analysis. You must
                                                                                                         meet criteria (summarized in Table 9–1                must be within the RT window of ±2
                                                 analyze samples using the same
                                                                                                         of this method), verify the instrument                seconds of the most recent calibration
                                                 acquisition methods you used for
                                                                                                         calibration by analysis of a CCV and                  check.
                                                 establishing calibration (i.e.,                                                                                  11.5.2.2 The relative abundance
                                                 preconcentrator operation parameters,                   begin sample analysis.
                                                                                                            11.4.3.1 Perform an air/water check                ratio of qualifier ion response to target
                                                 GC oven program, MS parameters, and                                                                           ion response for at least one qualifier
                                                 integration methods). Field-collected                   of the MS prior to any analyses to
                                                                                                         ensure that the system is acceptably                  ion must be within ±30% of the average
                                                 samples and QC samples must be at                                                                             relative abundance ratio from the ICAL.
                                                 ambient laboratory temperature for                      leak-free.
                                                                                                            11.4.3.2 Conduct a thorough system                    11.5.2.3 The S:N ratio of the target
                                                 analysis. You must use approximately                                                                          and qualifier ions must be >3:1.
                                                                                                         bakeout per the manufacturer’s
                                                 the same sample aliquot volume for all                                                                           11.5.2.4 The target and qualifier ion
                                                                                                         instructions for the preconcentrator and
                                                 samples unless dilution is required.                                                                          peaks must be co-maximized (i.e., peak
                                                                                                         ramp the GC column temperature.
                                                 Adjustment of this sample aliquot                                                                             apexes within one scan of each other).
                                                                                                            11.4.3.3 Analyze a preliminary IB or
                                                 volume requires adjustment of a                                                                                  11.6 Compound Quantitation. After
                                                                                                         perform the BFB instrument tuning
                                                 dilution factor to account for the                                                                            determining the peak areas, initiate the
                                                                                                         check.
                                                 difference in relative analyzed volume,                    11.4.3.4 Analyze a laboratory MB to                quantitation process using the software
                                                 as discussed in Section 11.4.4 of this                  demonstrate that the system is                        package of choice to provide
                                                 method.                                                 acceptably clean and that each target                 quantitative results compound using the
                                                    11.4.1 Leak Check of                                 compound is <20 pptv or undetected                    RRF of the daily CCV for each target
                                                 Preconcentrator Connections.                            (whichever is more stringent) per                     compound to quantitate the samples for
                                                    11.4.1.1 Prior to beginning an                       compound of interest.                                 the analytical batch.
                                                 analytical sequence, including an ICAL                     11.4.3.5 Analyze a CCV to verify the                  11.6.2 Dilution Correction Factors.
                                                 sequence, verify each canister                          instrument calibration.                                  11.6.2.1 Calculate an instrument
                                                 connection as leak-free through the                        11.4.3.6 Analyze field samples and                 dilution correction factor (DFI) if you
                                                 preconcentrator.                                        additional CCV standards (every 10                    analyzed an aliquot from the sample
                                                    11.4.1.2 During the leak check,                      samples) and MBs to complete the                      canister that is different from the typical
                                                 connect canisters to the autosampler or                 sequence, ending with a CCV, as                       analysis volume (as described in Section
                                                 sample introduction lines and maintain                  discussed in Section 9.2 of this method.              11.4.4 of this method for performing
                                                 the canister valves in the closed                          11.4.4 Sample Dilution. If the on-                 effective dilution) using Equation 14 in
                                                 position.                                               column concentration of any compound                  Section 12 of this method.
                                                    11.4.1.3 Evacuate each port of the                   in any sample exceeds the calibration                    11.6.2.2 Use Equation 15 in Section
                                                 autosampler or sample introduction line                 range, you must dilute the sample for                 12 of this method to determine the final
                                                 and monitor for a change in pressure for                reanalysis by either reducing the sample              concentration of each target compound
                                                 1 minute. The pressure must not change                  aliquot volume for an effective dilution              in air by multiplying the instrument-
                                                 by more than 0.5 psig/minute.                                                                                 detected concentration by the dilution
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                                                                                                         or adding diluent gas to the sample
                                                    11.4.1.4 If a sample line fails the                  canister to physically dilute the sample.             factor from sample pressurization (DFC)
                                                 leak check, implement corrective                           11.5 Compound Identification.                      (see Section 11.2 of this method) and
                                                 actions (e.g., rechecking the tightness of                 11.5.1 After completing data                       the DFI.
                                                 all fittings) and then retest. Do not                   acquisition, examine each                               Note: The MDL reported with the final
                                                 perform analysis using any canister                     chromatogram. Chromatographic peaks                   concentration data will be corrected by
                                                 connection that does not pass the leak                  for the target compounds must be                      multiplying the MDL by the DFC and DFI
                                                 check.                                                  appropriately resolved, and integration               applied to the sample concentrations.



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                                                 12.0 Data Analysis and Calculations
                                                   12.1 Canister Final Air/Nitrogen
                                                 Volume (Vcalc).


                                                                                                              P· -P td)        )                            Eq. 1
                                                                                                    Veale = (( 1P st;   * Vcan                 + Vcan

                                                 Where:                                                   Pstd = 152.3 kPa absolute, standard                     12.2 Acceptable Blank Canister
                                                 Pclean = absolute pressure of canister cleaning               atmospheric pressure.                            Concentration Criterion (Cacc).
                                                      batch blank, kPa absolute.                          Vcan = volume of the canister (mL) at standard
                                                                                                               conditions (101.3 kPa absolute and
                                                                                                               25 °C).


                                                                                                                                    Pref)
                                                                                                            Caee = Catm * ( - -                      Eq.2
                                                                                                                                   Pc1ean


                                                 Where:                                                   Catm = 20 pptv, acceptance limit                        12.3 Percent Difference of the
                                                 Cacc = acceptance limit concentration at                      concentration at standard atmospheric            Measured Concentration of Each Target
                                                                                                               pressure.
                                                      measured canister pressure (pptv).                                                                        Compound in the CCV Standard
                                                                                                          Pref = 152 kPa absolute, reference pressure.
                                                                                                          Pclean = absolute pressure of cleaned canister,       (%DCCV) from the Theoretical
                                                                                                               kPa absolute.                                    Concentration.


                                                                                                                     Cccv- Ctheoretical
                                                                                                     %Dccv =                                  X 100         Eq. 3
                                                                                                                        Ctheoretical


                                                 Where:                                                       in the CCV standard from the theoretical          Ctheoretical = theoretical concentration of the
                                                 %DCCV = percent difference of the measured                   concentration.                                         CCV for each target compound (pptv).
                                                    concentration of each target compound                 CCCV = measured concentration of the CCV                12.4 Percent Recovery
                                                                                                              for each target compound (pptv).                  (%RecoveryCCV).


                                                                                                                     cc_c_v_ X 100
                                                                                                    %Recoveryccv = _ _                                        Eq. 4
                                                                                                                                Ctheoretical


                                                 Where:                                                     Ctheoretical = theoretical concentration of the       12.5    Relative Percent Difference
                                                 %RecoveryCCV = percent recovery of                       CCV for each target compound (pptv).                  (RPD).
                                                    measured versus actual concentration.




                                                                                                                                                                                                                  ER16MY24.073</GPH>
                                                                                                                                                      Eq. 5



                                                                                                                                                                                                                  ER16MY24.072</GPH>
                                                 Where:                                                   X2 = target compound concentration                      12.6 Water Volume to Add to
                                                 RPD = relative percent difference.                           measured in second measurement of the             Canister (Vw).
                                                 X1 = target compound concentration                           precision pair (pptv).                                                                              ER16MY24.071</GPH>

                                                     measured in first measurement of the
                                                     precision pair (pptv).


                                                                                                                                                          Eq. 6
                                                                                                                                                                                                                  ER16MY24.069</GPH> ER16MY24.070</GPH>
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                                                 Where:                                                   Vc = nominal internal volume of canister (L).           Note: The equation assumes the density of
                                                 Dsat = saturation vapor density of water (mg/            Pc = final absolute canister pressure (kPa            water to be 1 g/mL and that 100% of the
                                                      mL) at ambient laboratory temperature                    absolute).                                       added water to the canister is in the gas
                                                      (refer to Table 3 in Section 17 of this             Ps = standard ambient pressure (101.3 kPa             phase. The equation does not correct the
                                                      method).                                                 absolute).                                       density of water for the ambient temperature.
                                                 RHd = desired RH level expressed as a                    Dw = density of water (1 mg/mL).
                                                      decimal.
                                                                                                                                                                                                                  ER16MY24.068</GPH>




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                                                   12.7 Final Concentration of the
                                                 Diluted Standard (Cf)—Dynamic
                                                 Dilution.


                                                                                                                                            Eq. 7

                                                 Where:                                                  Fd = flow of diluent gas (mL/min).                    denominator is the sum of all gas flows
                                                 Cf = final concentration of the diluted                 Fs = flow of stock standard (mL/min).                 combined for preparing the dilution.
                                                      standard.                                            Note: If you combine multiple gas
                                                 Cs = certified concentration of stock standard                                                                  12.8 Final Concentration of the
                                                                                                         standards for dilution, the equation                  Diluted Standard (Cf)—Static Dilution.
                                                      (pptv).


                                                                                                                                                  Eq. 8

                                                 Where:                                                  Psa = absolute pressure of canister after             Pf = final absolute pressure of canister after
                                                 Cs = certified concentration of stock standard               adding standard gas (kPa).                            adding standard and diluent gases (kPa).
                                                      (pptv).                                            Psb = absolute pressure of canister before
                                                                                                              adding standard gas (kPa).                         12.9    Average Retention Time (RT).


                                                                                                                RT= ~~            RTi         Eq. 9
                                                                                                                           L..t=l n


                                                 Where:                                                  RTi = RT for the IS compound for each                   12.10    Relative Response Factor
                                                 RT = average RT for the IS compound (min).                  calibration level (min).                          (RRF).
                                                                                                         n = number of units used to generate a sum.



                                                                                                               RRF=                          Eq. 10

                                                 Where:                                                  AIS = peak area for quantitation ion of the           CIS = concentration of the assigned IS
                                                 As = peak area for quantitation ion of the                   assigned IS compound.                                 compound (pptv).
                                                     target compound.                                    Cs = certified concentration of stock standard          12.11 Average Area Response for the




                                                                                                                                                                                                                ER16MY24.080</GPH>
                                                                                                              (pptv).                                          Given IS Compound (Y).


                                                                                                                 y = L..t=l
                                                                                                                     ~~ Yi  n
                                                                                                                                           E q. 11




                                                                                                                                                                                                                ER16MY24.079</GPH>
                                                 Where:                                                  Yi = area response for an IS compound at                12.12 Dilution factor for sample
                                                                                                              calibration concentration i.                     pressurization (DFC).
                                                                                                         n = number of units used to generate a sum.




                                                                                                                                                                                                                ER16MY24.078</GPH>
                                                                                                                                                                                                                ER16MY24.077</GPH>



                                                 Where:                                                  Pi = absolute pressure of the canister                  12.13 Instrument-Detected Analyte
                                                 Pd = pressure of the canister following                      immediately preceding dilution (kPa).            Concentration (CD) in pptv.
                                                     dilution (kPa).
                                                                                                                                                                                                                ER16MY24.075</GPH> ER16MY24.076</GPH>
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                                                 Where:                                                  AIS = peak area for quantitation ion of the             12.14 Instrument Dilution
                                                 CD = instrument-detected analyte                            assigned IS compound.                             Correction Factor (DFI).
                                                     concentration (pptv).
                                                                                                                                                                                                                ER16MY24.074</GPH>




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                                                                                                                                            Eq. 14


                                                 Where:                                                    12.15 Concentration of the Target                    CD = measured concentration of the target
                                                 Vnom = The laboratory’s typical canister                Compound in Air (CF).                                      compound in the canister as analyzed
                                                      sample injection volume (mL).                                                                                 sample.
                                                                                                         CF = CD · DFI · DFC Eq. 15
                                                 Vinj = The actual volume of any given sample                                                                     12.16 Standard Deviation of the
                                                      injection (mL).                                    Where:                                                 Response Factors (SDRF).


                                                                                                                           II;,1(RRFi-RRF) 2
                                                                                                                                 (n-1)
                                                                                                                                                       Eq. 16


                                                   12.17 Percent Relative Deviation                           ASTM International. doi: 10.1520/                 16. Herrington, J.S. (2013, August 5). TO–15
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                                                                                                                     TABLE 1—CANISTER CLEANING PARAMETERS
                                                                                                                                 Suggested max-                                      Minimum number
                                                                                                  Pre-evacuate can-
                                                             Canister type                                                        imum canister                    Humidity            of pressure/               Cycle time
                                                                                                        ister                      temperature a                                     evacuation cycles

                                                 All ..........................................   Yes .......................   80 °C ....................                    50%                     5   Varies by system.
                                                    a Higher purge gas temperatures may be required depending on the canister type—do not exceed the manufacturer’s recommended maximum
                                                 temperatures for component parts such as valves and gauges.

                                                                                                  TABLE 2—BFB TUNING CHECK KEY IONS AND ABUNDANCE CRITERIA
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                                                              Mass                                                                                           Ion abundance criteria a

                                                 50 ...............................    8.0% to 40.0% of m/z 95.
                                                 75 ...............................    30.0% to 66.0% of m/z 95.
                                                 95 ...............................    Base peak, 100% relative abundance.
                                                 96 ...............................    5.0% to 9.0% of m/z 95.
                                                 173 .............................     <2.0% of m/z 174.
                                                 174 .............................     50.0% to 120.0% of m/z 95.



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                                                                                     TABLE 2—BFB TUNING CHECK KEY IONS AND ABUNDANCE CRITERIA—Continued
                                                             Mass                                                                                       Ion abundance criteria a

                                                 175 .............................       4.0% to 9.0% of m/z 174.
                                                 176 .............................       93.0% to 101.0% of m/z 174.
                                                 177 .............................       5.0% to 9.0% of m/z 176.
                                                   a All ion abundances must be normalized to m/z 95, the nominal base peak, even though the ion abundance of m/z 174 may be up to 120%
                                                 that of m/z 95.

                                                  TABLE 3—WATER SATURATION VAPOR                                     TABLE 3—WATER SATURATION VAPOR                                    TABLE 3—WATER SATURATION VAPOR
                                                  DENSITY AT VARIOUS TEMPERATURES                                     DENSITY AT VARIOUS TEMPERA-                                       DENSITY AT VARIOUS TEMPERA-
                                                                                                                      TURES—Continued                                                   TURES—Continued
                                                                                            Water saturation
                                                         Temperature                         vapor density                                                     Water saturation                                               Water saturation
                                                            (°C)                                                            Temperature                                                       Temperature
                                                                                               (mg/L) a                                                         vapor density                                                  vapor density
                                                                                                                               (°C)                                                              (°C)
                                                                                                                                                                  (mg/L) a                                                       (mg/L) a
                                                 15 ..................................                       12.8
                                                 16 ..................................                       13.6   24 ..................................                     21.8    32 ..................................                34.0
                                                 17 ..................................                       14.4   25 ..................................                     23.1    33 ..................................                35.8
                                                 18 ..................................                       15.3   26 ..................................                     24.4
                                                 19 ..................................                       16.3   27 ..................................                     25.9      a Values are generated according to the fol-

                                                 20 ..................................                       17.3   28 ..................................                     27.3    lowing formula (Nave, 2017): vapor density
                                                 21 ..................................                       18.3   29 ..................................                     28.9    (mg/L) = 5.018 + 0.32321 * T + 8.1847 ×
                                                 22 ..................................                       19.4   30 ..................................                     30.5    10¥3 * T 2 + 3.1243 × 10¥4 * T3, where: T =
                                                 23 ..................................                       20.6   31 ..................................                     32.2    temperature in °C.




                                                                                                                            Callbratad
                                                                                                                     VDCIRlmlpntssure
                                                                                                                               gauge

                                                                                                                                                                                       Cedifiad
                                                                                                                                                                                     flow meter

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                                                                                                                         Flow controllng
                                                                                                                                                                  t
                                                                                                                                                            Particulate
                                                                                                                            dnlc&tobe                         titer
                                                                                                                                 tested




                                                 Figure 1. Apparatus for Characterizing
                                                 the Flow Control Device
ddrumheller on DSK120RN23PROD with RULES2




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                                                 Figure 2. Mechanical Flow Control
                                                 Device




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                                                 Figure 3. Method 327 Sampler
ddrumheller on DSK120RN23PROD with RULES2




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                                                 Figure 4. Example Field Data Page
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ddrumheller on DSK120RN23PROD with RULES2




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